Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1 of 1282




         Exhibit 5
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 2 of 1282




Confidential Memorandum

To:              Srikant Datar
                 Harvard Business School Dean of the Faculty

From:            Teresa Amabile, Investigation Committee Chair
                 Robert (Bob) Kaplan, Investigation Committee Member
                 Shawn Cole, Investigation Committee Member

Re:              Final Report of Investigation Committee Concerning Allegations against Professor
                 Francesca Gino – Case RI21-001

Date:            March 7, 2023




I.       EXECUTIVE SUMMARY

         After reviewing the available evidence and interviewing Professor Gino and several witnesses,
the Investigation Committee has determined, by a preponderance of the evidence, that Professor Gino
significantly departed from accepted practices of the relevant research community and committed
research misconduct intentionally, knowingly, or recklessly, with regard to all five allegations examined
herein. For one allegation, the determination of the Investigation Committee, as described herein, was not
unanimous. Examination of each allegation, independently, is presented in the “Investigation Analysis”
section of this report (pp. 8-39) and a set of recommendations for institutional actions is included in the
“Conclusion and Recommendations” section (pp. 40-41).

II.      ALLEGATIONS

         Five allegations of research misconduct related to the work of Professor Francesca Gino
(“Respondent”) were examined as part of case RI21-001. Below are the relevant publications and
allegations under consideration:




                                                                                                              1

         THIS DOCUMENT IS CONFIDENTIAL AS REQUIRED BY FEDERAL REGULATIONS AND
      INSTITUTIONAL POLICIES FOR REVIEW OF ALLEGATIONS OF RESEARCH MISCONDUCT.
        DISCLOSURE OF THIS DOCUMENT OR OF ANY OF THE INFORMATION IT CONTAINS IS
        PROHIBITED EXCEPT AS PERMITTED BY THOSE POLICIES OR AS REQUIRED BY LAW.
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 3 of 1282



5HOHYDQW3XEOLFDWLRQV
*LQR).RXFKDNL0 &DVFLDUR7  :K\FRQQHFW"0RUDOFRQVHTXHQFHVRIQHWZRUNLQJZLWKD
SURPRWLRQRUSUHYHQWLRQIRFXV-RXUQDORI3HUVRQDOLW\DQG6RFLDO3V\FKRORJ\  ± ³
-3633DSHU´ 

*LQR).RXFKDNL0 *DOLQVN\$'  7KHPRUDOYLUWXHRIDXWKHQWLFLW\+RZLQDXWKHQWLFLW\
SURGXFHVIHHOLQJVRILPPRUDOLW\DQGLPSXULW\3V\FKRORJLFDO6FLHQFH  ± ³
3V\FKRORJLFDO6FLHQFH3DSHU´ 

*LQR) :LOWHUPXWK66  (YLOJHQLXV"+RZGLVKRQHVW\FDQOHDGWRJUHDWHUFUHDWLYLW\
3V\FKRORJLFDO6FLHQFH  ± ³3V\FKRORJLFDO6FLHQFH3DSHU´ 

6KX//0D]DU1*LQR)$ULHO\'DQG%D]HUPDQ0+  6LJQLQJDWWKHEHJLQQLQJPDNHV
HWKLFVVDOLHQWDQGGHFUHDVHVGLVKRQHVWVHOIUHSRUWVLQFRPSDULVRQWRVLJQLQJDWWKHHQG3URFHHGLQJVRIWKH
1DWLRQDO$FDGHP\RI6FLHQFHVRIWKH8QLWHG6WDWHVRI$PHULFD± ³31$63DSHU´ 

$OOHJDWLRQ
'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH-3633DSHUE\DOWHULQJ
REVHUYDWLRQVWRDIIHFWWKHVLJQLILFDQFHRIILQGLQJVRIWKHVWXG\LQWKHK\SRWKHVL]HGGLUHFWLRQ

$OOHJDWLRQ
'U*LQRIDOVLILHGDQGRUIDEULFDWHGSRUWLRQVRIWKHGDWDVHWVIRU6WXG\LQWKH3V\FKRORJLFDO
6FLHQFH3DSHUE\DOWHULQJDGGLQJRUGHOHWLQJDQXPEHURIREVHUYDWLRQV7KHVHFKDQJHVUHVXOWHGLQ
VLJQLILFDQWHIIHFWVVXSSRUWLQJWKHK\SRWKHVHVDVUHSRUWHGLQWKHSXEOLVKHGSDSHU$QDO\VHVRIWKHRULJLQDO 
4XDOWULFVGDWDGRQRWVXSSRUWWKHK\SRWKHVHV

$OOHJDWLRQ
'U*LQRIDOVLILHGDQGRUIDEULFDWHGGDWDZLWKLQWKHGDWDVHWVIRU6WXG\LQWKH3V\FKRORJLFDO
6FLHQFH3DSHU,QSDUWLFXODU


                                    


 ,QKHUUHVSRQVHWRWKHILQDOGUDIWRIWKLV5HSRUW ([KLELWKHUH 3URIHVVRU*LQRREMHFWHGWRRXUXVHRI
WKHZRUG³RULJLQDO´ZKHQUHIHUULQJWRGDWDVHWVLQKHU4XDOWULFVDFFRXQW LQ$OOHJDWLRQVDQG RQKHUKDUGGULYH LQ
$OOHJDWLRQ DQGSURYLGHGE\KHUIRUPHU5$                  LQ$OOHJDWLRQE 6KHFRQWHQGHGWKDW³RULJLQDO´
LPSOLHGDQXQIRXQGHGDVVXPSWLRQRQRXUSDUW$OWKRXJKZHFDQQRWDWWKLVSRLQWFODULI\RUFKDQJHRXUXVHRIWKDW
ZRUGLQWKHIRUPDODOOHJDWLRQVZHGLGFKDQJHWKDWZRUGLQJZKHUHDSSURSULDWHWKURXJKRXWWKHUHVWRIWKLV5HSRUW
                                                                                                                      
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 4 of 1282




       x   VRPHSDUWLFLSDQWFRQGLWLRQVDSSHDUWRKDYHEHHQVZLWFKHGLQDGLUHFWLRQWKDWIDYRUHGWKH
           K\SRWKHVL]HGDQGUHSRUWHGUHVXOWV
       x   VRPHSDUWLFLSDQWV¶5$7VFRUHVDSSHDUWRKDYHEHHQDOWHUHGLQDGLUHFWLRQIDYRULQJWKH
           K\SRWKHVL]HGDQGUHSRUWHGUHVXOWVDQG
       x   REVHUYDWLRQVZLWKLQWKHFKHDWLQJFRQGLWLRQDUHRXWRIVRUWZKHQVRUWHGE\ZKHWKHUSDUWLFLSDQWV
           FKHDWHGRQWKHWDVNWKH\ZHUHDVNHGWRSHUIRUPDQGE\KRZPDQ\XVHVIRUDQHZVSDSHUWKH\
           IRXQG7KHVHREVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HG
           HIIHFWV

$OOHJDWLRQ
:LWKUHVSHFWWR6WXG\LQWKH31$63DSHU
       D   'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJRUDOWHULQJSDUWVRIWKHGHVFULSWLRQVRI
           VWXG\SURFHGXUHVIURPGUDIWVRIWKHPDQXVFULSWVXEPLWWHGIRUSXEOLFDWLRQWKXVPLVUHSUHVHQWLQJ
           WKHVWXG\SURFHGXUHVLQWKHILQDOSXEOLFDWLRQ7KHRULJLQDOSURFHGXUHGHVFULSWLRQV VXEVHTXHQWO\
           UHPRYHGRUDOWHUHGE\3URIHVVRU*LQR SRLQWHGWRDVLJQLILFDQWIODZLQWKHH[HFXWLRQRIWKHGDWD
           FROOHFWLRQIRU6WXG\ZKLFKFDOOHGLQWRTXHVWLRQWKHYDOLGLW\RIWKHVWXG\UHVXOWV
       E   'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHRULJLQDO GDWDVHWE\DOWHULQJDQXPEHURIREVHUYDWLRQVLQD
           ZD\WKDWIDYRUHGWKHK\SRWKHVL]HGUHVXOWV
           
,,,       %$&.*5281'

           7KHILQDOUHSRUWRIWKH,QTXLU\&RPPLWWHHZKLFKZDVFRPSULVHGRI3URIHVVRU7HUHVD$PDELOH
    &KDLU DQG3URIHVVRU5REHUW.DSODQLVFRQWDLQHGLQ([KLELW$VGHVFULEHGPRUHIXOO\WKHUHLQ
DOOHJDWLRQVRIUHVHDUFKPLVFRQGXFWDJDLQVW3URIHVVRU*LQRZHUHVXEPLWWHGWRWKH+DUYDUG%XVLQHVV6FKRRO
    ³+%6´ 5HVHDUFK,QWHJULW\2IILFHU ³5,2´ RQ2FWREHUE\D&RPSODLQDQWZKRZLVKHGWR
UHPDLQDQRQ\PRXV8SRQUHFHLYLQJWKH5,2¶VSUHOLPLQDU\DVVHVVPHQWRQ2FWREHU'HDQ'DWDU
WKH+%6'HFLGLQJ2IILFLDODVNHGWKH5,2WRVWDUWDQRIILFLDOLQTXLU\LQWRWKHDOOHJDWLRQVLQDFFRUGDQFH
ZLWKWKH+DUYDUG%XVLQHVV6FKRRO¶V,QWHULP3ROLF\DQG3URFHGXUHVIRU5HVSRQGLQJWR$OOHJDWLRQVRI
5HVHDUFK0LVFRQGXFW ³+%63ROLF\´±,QTXLU\5HSRUW([KLELW 8SRQVHTXHVWUDWLRQRI3URIHVVRU

                                    


6HHSUHYLRXVIRRWQRWH

7KHDFFRPSDQ\LQJ([KLELWVWRWKH,QTXLU\5HSRUWDUHUHIHUHQFHGKHUHLQDV³,QTXLU\5HSRUW([KLELW;´$OO,QTXLU\
5HSRUWH[KLELWVFDQEHIRXQGDVSDUWRI([KLELWWRWKLV,QYHVWLJDWLRQ5HSRUW
                                                                                                                 
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
        ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 5 of 1282



*LQR¶VUHVHDUFKUHFRUGV VHH([KLELWIRUDOLVWRIWKHVHTXHVWHUHGHYLGHQFH WKH5,2VHQWDQRWLFHRI
LQTXLU\WR3URIHVVRU*LQRRQ2FWREHU ,QTXLU\5HSRUW([KLELW 7KHLQTXLU\VWDUWHGRQ
1RYHPEHU$IWHUUHYLHZLQJWKHHYLGHQFHDQGFRQGXFWLQJLQWHUYLHZVZLWK3URIHVVRU*LQRWKH
,QTXLU\&RPPLWWHHFRQFOXGHGWKDWDQLQYHVWLJDWLRQLQWRWKHDOOHJDWLRQVZDVZDUUDQWHG 2Q$SULO
WKH'HFLGLQJ2IILFLDODFFHSWHGWKHILQGLQJVFRQFOXVLRQVDQGUHFRPPHQGDWLRQVRIWKH,QTXLU\
&RPPLWWHHDQGDQLQYHVWLJDWLRQZDVLQLWLDWHG ([KLELW 

,9        ,19(67,*$7,21352&(66

           7KH5,2VHQWWKH5HVSRQGHQWDQRWLFHRILQYHVWLJDWLRQUHODWHGWRDOOHJDWLRQVRIUHVHDUFK
PLVFRQGXFWRQ$SULO ([KLELW 'HDQ'DWDUSURSRVHGDSSRLQWLQJ3URIHVVRU7HUHVD$PDELOH
    &KDLU 3URIHVVRU5REHUW %RE .DSODQDQG3URIHVVRU6KDZQ&ROHWRWKH,QYHVWLJDWLRQ&RPPLWWHH
SHQGLQJDQ\REMHFWLRQVORGJHGE\WKH5HVSRQGHQWEDVHGXSRQDSURSRVHG&RPPLWWHHPHPEHU VDOOHJHG
SHUVRQDOSURIHVVLRQDORUILQDQFLDOFRQIOLFWRILQWHUHVW3URIHVVRU*LQRKDGQRVXFKREMHFWLRQV8SRQ
FRQILUPDWLRQRIWKH&RPPLWWHHPHPEHUVWKHRIILFLDOLQYHVWLJDWLRQVWDUWHGRQ0D\

           %RWKWKH,QTXLU\DQGWKH,QYHVWLJDWLRQZHUHFRQGXFWHGLQDFFRUGDQFHZLWKWKH+%63ROLF\ZKLFK
DOLJQVZLWKWKH3XEOLF+HDOWK6HUYLFHV5XOH&)53DUWDQGZHUHDGPLQLVWUDWLYHO\VWDIIHGE\$ODLQ
%RQDFRVVD5HVHDUFK,QWHJULW\2IILFHU-RKQ*DOYLQ$VVRFLDWH'LUHFWRU5HVHDUFK$GPLQLVWUDWLRQ$OPD
&DVWUR$VVLVWDQW'LUHFWRU5HVHDUFK$GPLQLVWUDWLRQ,QDGGLWLRQWKLUGSDUW\IRUHQVLFH[SHUWV'U0DU\
:DOVKDQG'U&RULQQD5DLPRQGRRI0DLGVWRQH&RQVXOWLQJ*URXS ³0&*´ FRQGXFWHGDIRUHQVLF
DQDO\VLVIRUWKH&RPPLWWHH¶VUHYLHZ

           7KHVXPPDU\WDEOHEHORZSURYLGHVDFKURQRORJ\RIWKHLQYHVWLJDWLRQLQFOXGLQJWKHPHHWLQJVRI
WKH,QYHVWLJDWLRQ&RPPLWWHH 

           



                                     


  ³$QLQYHVWLJDWLRQLVZDUUDQWHGLIWKHUHLV  $UHDVRQDEOHEDVLVIRUFRQFOXGLQJWKDWWKHDOOHJDWLRQIDOOVZLWKLQWKH
GHILQLWLRQRIUHVHDUFKPLVFRQGXFWXQGHUWKLVSDUWDQGLQYROYHV3+6VXSSRUWHGELRPHGLFDORUEHKDYLRUDOUHVHDUFK
UHVHDUFKWUDLQLQJRUDFWLYLWLHVUHODWHGWRWKDWUHVHDUFKRUUHVHDUFKWUDLQLQJDVSURYLGHGLQDQG  
3UHOLPLQDU\LQIRUPDWLRQJDWKHULQJDQGSUHOLPLQDU\IDFWILQGLQJIURPWKHLQTXLU\LQGLFDWHVWKDWWKHDOOHJDWLRQPD\
KDYHVXEVWDQFH´&)5

  ,QDGGLWLRQDUHSUHVHQWDWLYHIURPWKH+DUYDUG8QLYHUVLW\2IILFHRIWKH*HQHUDO&RXQVHO +HDWKHU4XD\-' ZDV
DYDLODEOHWRDGYLVHWKH&RPPLWWHHWKURXJKRXWWKHSURFHHGLQJV3URIHVVRU*LQRKDVEHHQUHSUHVHQWHGLQWKH
SURFHHGLQJVE\0V6\GQH\6PLWK)RUTXHU$VVRFLDWH$WWRUQH\ZLWK&RKHQ6HJOLDV3DOODV*UHHQKDOO )XUPDQ3&

  $OOPHHWLQJVZHUHFRQGXFWHGWKURXJKWKH=RRPSODWIRUPXQOHVVRWKHUZLVHVWDWHG
                                                                                                                         
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
        ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 6 of 1282




    (YHQW'DWH         'HVFULSWLRQ

    $SULO     1RWLFHRILQYHVWLJDWLRQVHQWWR3URIHVVRU*LQR ([KLELW 

                        &RPPLWWHH0HHWLQJ
                        x   2ULHQWDWLRQUHYLHZRIFKDUJHIRULQYHVWLJDWLRQ
                        x   'LVFXVVLRQRIUHTXHVWVIRUH[WHUQDOIRUHQVLFILUP0DLGVWRQH&RQVXOWLQJ
                            *URXS ³0&*´ 
                        x   'LVFXVVLRQRISRVVLEOHOLVWRILQWHUYLHZHHV
                        x   5HTXHVWIRU3URIHVVRU*LQRWR
                           o 3URGXFHDOLVWRIUHVHDUFKDVVRFLDWHVGRFWRUDOVWXGHQWVDQGDQ\RQHHOVH
    0D\             ZKRKDGRUPLJKWKDYHKDGDFFHVVWRWKHGDWDDWDQ\VWDJHUHODWHGWR
                              $OOHJDWLRQVDQGE
                            o 3URYLGHDFKURQRORJ\RIWKHSXEOLFDWLRQSURFHVVIRUHDFKRIWKHSDSHUV
                              XQGHULQYHVWLJDWLRQ
                            o $UWLFXODWHZKHWKHUSDSHUFRDXWKRUVKDGDFFHVVWRWKHGDWDLQDQ\ZD\
                            o 3URYLGHLQIRUPDWLRQDERXWZKHQWKHZULWHXSRI6WXG\ $OOHJDWLRQD 
                              ZDVILUVWGUDIWHGE\ZKRPDQGZKRUHYLHZHGWKDWZULWHXS

                        3URIHVVRU*LQRSURYLGHGLQIRUPDWLRQDERXWWKHSXEOLFDWLRQSURFHVVDFFHVVWR
    0D\-XO\   WKHGDWDDQGKHUFROODERUDWRUVIRUHDFKRIWKHSDSHUVUHODWHGWRWKHILYH
                        DOOHJDWLRQV ([KLELW 

                        &RPPLWWHH0HHWLQJ
                        x   3UHSDUDWLRQIRULQWHUYLHZZLWK3URIHVVRU                   $OOHJDWLRQV
    -XQH           DQG 
                        x   5HYLHZRIZLWQHVVLQWHUYLHZTXHVWLRQVIRU$OOHJDWLRQDQG
                        x   'LVFXVVLRQRIZULWWHQTXHVWLRQVIRU            $OOHJDWLRQVDDQGE 

                        ,QWHUYLHZZLWK3URIHVVRU                    $OOHJDWLRQVDQG ZKLFKZDV
                        UHFRUGHGDQGWUDQVFULEHG2Q-XQHDFRS\RIWKHWUDQVFULSWZDV
    -XQH       SURYLGHGWR3URIHVVRU         IRUKHUUHYLHZFRUUHFWLRQDQGDWWHVWDWLRQ
                         ([KLELW 

                        &RPPLWWHH0HHWLQJ
                        x   3UHSDUDWLRQIRULQWHUYLHZZLWK3URIHVVRU                 $OOHJDWLRQ 
    -XQH
                        x   5HYLHZRIZLWQHVVLQWHUYLHZTXHVWLRQVIRU$OOHJDWLRQ
                        x   5HYLHZRIZULWWHQTXHVWLRQVIRU             $OOHJDWLRQVDDQGE 

                        ,QWHUYLHZZLWK3URIHVVRU                   $OOHJDWLRQ ZKLFKZDVUHFRUGHG
    -XQH       DQGWUDQVFULEHG2Q-XQHDFRS\RIWKHWUDQVFULSWZDVSURYLGHGWR
                        3URIHVVRU           IRUKLVUHYLHZFRUUHFWLRQDQGDWWHVWDWLRQ ([KLELW 



                                                                                                          
        7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
     ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
       352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 7 of 1282




                          &RPPLWWHH0HHWLQJ
    -XQH
                          x   5HYLHZRIZULWWHQTXHVWLRQVIRU                $OOHJDWLRQVDDQGE 

                          :ULWWHQTXHVWLRQVVHQWWR               $OOHJDWLRQVDDQGE 2Q-XO\
    -XQH                 QRWLILHGWKH5,2WKDWVKHKDGGHFLGHGQRWWRSDUWLFLSDWHLQWKH
                          ,QYHVWLJDWLRQ

                          ,QWHUYLHZZLWK            $OOHJDWLRQ ZKLFKZDVUHFRUGHGDQGWUDQVFULEHG
    -XQH        2Q-XQHDFRS\RIWKHWUDQVFULSWZDVSURYLGHGWR         IRUKLV
                          UHYLHZFRUUHFWLRQDQGDWWHVWDWLRQ ([KLELW 

                          &RPPLWWHH0HHWLQJ
                          x   3UHSDUDWLRQIRULQWHUYLHZZLWK3URIHVVRU                 $OOHJDWLRQ 
    -XQH
                          x   5HYLHZRIZLWQHVVLQWHUYLHZTXHVWLRQVIRU$OOHJDWLRQ
                          x   5HYLHZRIGUDIW0&*IRUHQVLFUHSRUWRQ$OOHJDWLRQ

                          ,QWHUYLHZZLWK3URIHVVRU                  $OOHJDWLRQ ZKLFKZDVUHFRUGHG
    -XQH        DQGWUDQVFULEHG2Q-XQHDFRS\RIWKHWUDQVFULSWZDVSURYLGHGWR
                          3URIHVVRU         IRUKLVUHYLHZFRUUHFWLRQDQGDWWHVWDWLRQ ([KLELW 

                          ,QWHUYLHZZLWK3URIHVVRU                   $OOHJDWLRQ ZKLFKZDVUHFRUGHG
    -XO\        DQGWUDQVFULEHG2Q-XO\DFRS\RIWKHWUDQVFULSWZDVSURYLGHGWR
                          3URIHVVRU        IRUKHUUHYLHZFRUUHFWLRQDQGDWWHVWDWLRQ ([KLELW 

                          ,QWHUYLHZZLWK                    $OOHJDWLRQVDDQGE ZKLFKZDVUHFRUGHG
    $XJXVW       DQGWUDQVFULEHG2Q$XJXVWDFRS\RIWKHWUDQVFULSWZDVSURYLGHGWR
                                   IRUKHUUHYLHZFRUUHFWLRQDQGDWWHVWDWLRQ ([KLELW 

                          &RPPLWWHH0HHWLQJ
                          x   5HYLHZRI0&*IRUHQVLFUHSRUWRQ$OOHJDWLRQVDDQGE
    $XJXVW      x   5HYLHZZULWWHQTXHVWLRQVIRU                 DQG3URIHVVRU             
                               $OOHJDWLRQVDDQGE 
                          x   'LVFXVVLRQRIILQDOIRUHQVLFUHSRUWE\0&*RQ$OOHJDWLRQ ([KLELW 
                          x   'LVFXVVLRQRITXHVWLRQVIRU5HVSRQGHQWLQWHUYLHZUHODWHGWR$OOHJDWLRQ

                          &RPPLWWHH0HHWLQJ
                          x   'LVFXVVLRQRIGUDIW0&*IRUHQVLFUHSRUWIRU$OOHJDWLRQ
    6HSWHPEHU
                          x   'LVFXVVLRQRITXHVWLRQVIRU5HVSRQGHQWLQWHUYLHZUHODWHGWR$OOHJDWLRQ
                          x   3UHSDUDWLRQIRU5HVSRQGHQWLQWHUYLHZ

    6HSWHPEHU   0&*IRUHQVLFUHSRUWIRU$OOHJDWLRQSURYLGHGWR3URIHVVRU*LQR


                                                                                                             
        7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
     ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
       352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 8 of 1282




                         &RPPLWWHH0HHWLQJ

    2FWREHU     x   'LVFXVVLRQRIZULWWHQUHVSRQVHVIURP                  UHFHLYHGRQ
                             6HSWHPEHUDQG±VHH([KLELW DERXW$OOHJDWLRQVDDQG
                             E

                         &RPPLWWHH0HHWLQJ
                         x   'LVFXVVLRQRIZULWWHQUHVSRQVHIURP3URIHVVRU              UHFHLYHGRQ
                             2FWREHU±VHH([KLELW DERXW$OOHJDWLRQVDDQGE
    2FWREHU
                         x   'LVFXVVLRQRIILQDO0&*IRUHQVLFUHSRUWVIRU$OOHJDWLRQVDDQGE
                             ([KLELWDQG([KLELW 
                         x   'LVFXVVLRQRITXHVWLRQVIRU3URIHVVRU*LQR¶VLQWHUYLHZUHODWHGWR
                             $OOHJDWLRQDDQGE
    2FWREHU    0&*IRUHQVLFUHSRUWVIRU$OOHJDWLRQDDQGESURYLGHGWR3URIHVVRU*LQR

                         &RPPLWWHH0HHWLQJ
                         x   'LVFXVVLRQRIILQDO0&*IRUHQVLFUHSRUWIRU$OOHJDWLRQ ([KLELW 
    2FWREHU    x   'LVFXVVLRQRITXHVWLRQVIRU3URIHVVRU*LQR¶VLQWHUYLHZUHODWHGWR
                             $OOHJDWLRQDDQGE
                         x   'LVFXVVLRQRIUHYLVLRQVWR$OOHJDWLRQVDDQGE

                         x   1RWLFHRIFKDQJHWR$OOHJDWLRQVDDQGEVHQWWR3URIHVVRU*LQR
    2FWREHU        ([KLELW 
                         x   0&*IRUHQVLFUHSRUWIRU$OOHJDWLRQSURYLGHGWR3URIHVVRU*LQR

                         &RPPLWWHH0HHWLQJ
                         x   'LVFXVVLRQRIILQDO0&*IRUHQVLFUHSRUWIRU$OOHJDWLRQ ([KLELW 
    2FWREHU
                         x   'LVFXVVLRQRITXHVWLRQVIRU3URIHVVRU*LQR¶VLQWHUYLHZUHODWHGWR
                             $OOHJDWLRQ
                         x   'LVFXVVLRQRIUHYLVLRQVWRODQJXDJHIRU$OOHJDWLRQ
                         &RPPLWWHH0HHWLQJ
    2FWREHU
                         x   3UHSDUDWLRQIRU5HVSRQGHQWLQWHUYLHZ

                         x   1RWLFHRIFKDQJHWR$OOHJDWLRQVHQWWR5HVSRQGHQW ([KLELW 
    2FWREHU
                         x   0&*IRUHQVLFUHSRUWIRU$OOHJDWLRQSURYLGHGWR5HVSRQGHQW
    1RYHPEHU   :ULWWHQVWDWHPHQWIURP5HVSRQGHQWUHFHLYHG ([KLELW 
                         &RPPLWWHH0HHWLQJ
    1RYHPEHU   x   'LVFXVVLRQRI5HVSRQGHQW¶VZULWWHQUHVSRQVHWRWKH&RPPLWWHH
                         x   )LQDOL]DWLRQRI5HVSRQGHQW¶VLQWHUYLHZTXHVWLRQV

                         ,QWHUYLHZZLWK5HVSRQGHQWZKLFKZDVUHFRUGHGDQGWUDQVFULEHG2Q
    1RYHPEHU   1RYHPEHUDFRS\RIWKHWUDQVFULSWZDVSURYLGHGWR5HVSRQGHQWIRU
                         KHUUHYLHZFRUUHFWLRQDQGDWWHVWDWLRQ ([KLELW 
                                                                                                         
        7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
     ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
       352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 9 of 1282




 1RYHPEHU       $GGLWLRQDOLQIRUPDWLRQZDVUHFHLYHGIURP5HVSRQGHQW ([KLELW 

 1RYHPEHUDQG
                      &RPPLWWHH'HFLVLRQ&RQIHUHQFHV
 

 'HFHPEHU       'UDIWLQYHVWLJDWLRQUHSRUWSURYLGHGWR5HVSRQGHQWIRUUHYLHZDQGFRPPHQW
                          3URIHVVRU*LQR¶VUHVSRQVHWRWKHGUDIWLQYHVWLJDWLRQUHSRUW ³5HVSRQVH´ ZDV
 )HEUXDU\
                          UHFHLYHGDQGLVDSSHQGHGWRWKLVUHSRUW ([KLELW 
                          &RPPLWWHH0HHWLQJ
 )HEUXDU\
                               x   'LVFXVVLRQRIFKDQJHVWRWKHGUDIWLQYHVWLJDWLRQUHSRUWEDVHGRQ
                                   3URIHVVRU*LQR¶V5HVSRQVH


9      5(6321'(17%$&.*5281'

        3URIHVVRU*LQRLVWKH7DQGRQ)DPLO\3URIHVVRURI%XVLQHVV$GPLQLVWUDWLRQDW+DUYDUG%XVLQHVV
6FKRRO ³+%6´ 6KHMRLQHGWKH1HJRWLDWLRQ2UJDQL]DWLRQVDQG0DUNHWV 120 XQLWDW+%6DVDQ
$VVRFLDWH3URIHVVRURI%XVLQHVV$GPLQLVWUDWLRQLQDQGEHFDPHDIXOO3URIHVVRULQ%HIRUH
MRLQLQJ+%63URIHVVRU*LQRZDVDQ$VVLVWDQW3URIHVVRURI2UJDQL]DWLRQDO%HKDYLRUDW7KH8QLYHUVLW\RI
1RUWK&DUROLQD&KDSHO+LOOIURP)URP3URIHVVRU*LQRZDVD9LVLWLQJ$VVLVWDQW
3URIHVVRURI2UJDQL]DWLRQDO%HKDYLRUDW&DUQHJLH0HOORQ8QLYHUVLW\DQGIURPVKHZDVD3RVW
'RFWRUDO)HOORZLQWKH7HFKQRORJ\ 2SHUDWLRQV0DQDJHPHQWXQLWDW+%6

        3URIHVVRU*LQRHDUQHGD%$LQ%XVLQHVV(FRQRPLFVIURPWKH8QLYHUVLW\RI7UHQWRLQ7UHQWR
,WDO\LQ6KHUHFHLYHGKHU3K'LQ(FRQRPLFVDQG0DQDJHPHQWIURPWKH6DQW¶$QQD6FKRRORI
$GYDQFHG6WXGLHVLQ3LVD,WDO\LQ

9,     ,19(67,*$7,21$1$/<6,6

        $VSDUWRIWKLVLQYHVWLJDWLRQZHFRQGXFWHGLQWHUYLHZVZLWKVHYHQLQGLYLGXDOVLQFOXGLQJWKH
5HVSRQGHQWDQGKDYHUHYLHZHGWKHHYLGHQFHUHODWLQJWRWKHDOOHJDWLRQVDJDLQVW3URIHVVRU*LQRLQFOXGLQJ
WKHVHTXHVWHUHGPDWHULDOVWKHIRUHQVLFDQDO\VHVRIWKHDOOHJDWLRQVXQGHULQYHVWLJDWLRQLQWHUYLHZ
WUDQVFULSWVZLWK3URIHVVRU)UDQFHVFD*LQR3URIHVVRU                                    3URIHVVRU
                3URIHVVRU                                  DQG3URIHVVRU                 DQG
ZULWWHQUHVSRQVHVIURP                   DQG3URIHVVRU             :HEHJLQWKLV,QYHVWLJDWLRQ$QDO\VLV
E\GLVFXVVLQJWKHVWDQGDUGRIUHYLHZZHDSSO\WRRXUILQGLQJVDQGSUHVHQWLQJREVHUYDWLRQVDSSOLFDEOHWR



                                                                                                           
        7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
     ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
       352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 10 of 1282



DOODOOHJDWLRQV6XEVHTXHQWO\ZHVHWIRUWKHDFKDOOHJDWLRQXQGHULQYHVWLJDWLRQWKHVSHFLILFHYLGHQFH
FRQVLGHUHGIRUWKHDOOHJDWLRQDQGRXUFRQFOXVLRQV

,QYHVWLJDWLRQ6WDQGDUGRI5HYLHZ

        $VPHPEHUVRIWKLV&RPPLWWHHZHDUHFKDUJHGZLWKGHWHUPLQLQJZKHWKHU3URIHVVRU*LQR
FRPPLWWHGUHVHDUFKPLVFRQGXFWGHILQHGDVWKH³IDEULFDWLRQIDOVLILFDWLRQRUSODJLDULVPLQSURSRVLQJ
SHUIRUPLQJRUUHYLHZLQJUHVHDUFKRULQUHSRUWLQJUHVHDUFKUHVXOWV´E\ERWK&)5DQGWKH
+%63ROLF\ ,QTXLU\5HSRUW([KLELW 3XUVXDQWWRWKH+%63ROLF\DILQGLQJRIUHVHDUFKPLVFRQGXFW
UHTXLUHVWKDW D WKHUHEHDVLJQLILFDQWGHSDUWXUHIURPDFFHSWHGSUDFWLFHVRIWKHUHOHYDQWUHVHDUFK
FRPPXQLW\ E WKHUHVSRQGHQWFRPPLWWHGWKHUHVHDUFKPLVFRQGXFWLQWHQWLRQDOO\NQRZLQJO\RU
UHFNOHVVO\DQG F WKHDOOHJDWLRQEHSURYHQE\DSUHSRQGHUDQFHRIWKHHYLGHQFH ,QTXLU\5HSRUW([KLELW
 7KH+%63ROLF\IXUWKHUH[SODLQVWKDWWKH5HVSRQGHQW³KDVWKHEXUGHQRISURYLQJE\DSUHSRQGHUDQFH
RIWKHHYLGHQFHDQ\DQGDOODIILUPDWLYHGHIHQVHVUDLVHG VXFKDVKRQHVWHUURU ´ ,QTXLU\5HSRUW([KLELW
 :HFRQGXFWHGRXU,QYHVWLJDWLRQLQDFFRUGDQFHZLWKERWKWKHIHGHUDOVWDQGDUGDQGWKH+%63ROLF\

*HQHUDO2EVHUYDWLRQV&RQFHUQLQJ$OO7HVWLPRQ\DQGWKH5HVSRQGHQW¶V&UHGLELOLW\

        ,QWKLVVHFWLRQZHGLVFXVVIDFWRUVUHOHYDQWWRRXUGHFLVLRQPDNLQJDFURVVDOOIRXUVWXGLHVDWLVVXH
LQWKHILYHDOOHJDWLRQVLQFOXGLQJ3URIHVVRU*LQR¶VRZQH[SODQDWLRQIRUWKHHYLGHQFHRIGDWDDQRPDOLHVDQG
GLVFUHSDQFLHVLQIRXURIWKHILYHDOOHJDWLRQV

        :HDFNQRZOHGJHDQGZHWRRNVHULRXVO\LQRXUGHFLVLRQPDNLQJVWDWHPHQWVE\DOOZLWQHVVHVWKDW
WKH\QHYHUGRXEWHGWKHLQWHJULW\RIWKHGDWDLQWKHVWXG\RUVWXGLHVLQTXHVWLRQ2QHZLWQHVVZKRNQHZ
3URIHVVRU*LQRZHOOVDLGWKH\QHYHUGRXEWHGKHULQWHJULW\LQDQ\ZD\,QDGGLWLRQVHYHUDOH[KLELWV
DSSHQGHGE\3URIHVVRU*LQRWRKHU5HVSRQVH ([KLELW FRQWDLQHGPHVVDJHVWRKHUIURPFRDXWKRUV
FROOHDJXHVDQGIRUPHUGRFWRUDOVWXGHQWVH[SUHVVLQJWKHLUDGPLUDWLRQIRUKHUUHVHDUFKULJRUDQGLQWHJULW\
7KHZLWQHVVHVZHLQWHUYLHZHGDOVRVDLGWKDWWKH\KDGQRHYLGHQFHWKDW3URIHVVRU*LQRKDGHYHUSUHVVXUHG
FROOHDJXHVGRFWRUDOVWXGHQWVSRVWGRFVRUUHVHDUFKDVVRFLDWHVLQFOXGLQJWKHPVHOYHVWRSURGXFH
SDUWLFXODUUHVXOWVLQDVWXG\RUWKDW3URIHVVRU*LQRKDGFUHDWHGDQHJDWLYHDWPRVSKHUHLQKHUODE
0RUHRYHUVRPHZLWQHVVHVVSRQWDQHRXVO\VDLGWKDWWKH\KDGZRUNHGRQPXOWLSOHVWXGLHVZLWK3URIHVVRU
*LQRWKDWZHUHQHYHUSXEOLVKHGEHFDXVHWKHVWXGLHVGLGQ¶WZRUNRXW:HFDUHIXOO\FRQVLGHUHGDOOWKHVH
VWDWHPHQWVEXWGLGQRWILQGWKHPJHUPDQHWRWKHVSHFLILFDOOHJDWLRQVEHIRUHXVRUDSODXVLEOHH[SODQDWLRQ
RIGDWDDQRPDOLHVRUGLVFUHSDQFLHV


                                                                                                              
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 11 of 1282



         7KURXJKRXWWKLVSURFHVVDQGDFURVVWKHDOOHJDWLRQV3URIHVVRU*LQRRIIHUHGWZRSULPDU\
H[SODQDWLRQVLQGHIHQVHRIKHUDVVHUWLRQWKDWVKHGLGQRWFRPPLWDQ\UHVHDUFKPLVFRQGXFW7KHILUVWLV
KRQHVWHUURU$VZHZLOOGHWDLOLQWKHVHFWLRQVDGGUHVVLQJVSHFLILFGDWDDQRPDOLHVDQGGLVFUHSDQFLHV
3URIHVVRU*LQRVXJJHVWVWKDWKHU5$VPD\KDYHPDGHHUURUVLQGDWDFRGLQJFKHFNLQJRUFOHDQLQJ6KH
VD\VWKDWLIVXFKHUURUVRFFXUUHGVKHWDNHVIXOOUHVSRQVLELOLW\EHFDXVHVKHZDVWKH3,XOWLPDWHO\
UHVSRQVLEOHIRUVXSHUYLVLQJWKHUHVHDUFKLQKHUODE+RZHYHUVKHGRHVQRWSURYLGHDQ\HYLGHQFHRI5$
HUURUWKDWZHILQGSHUVXDVLYHLQH[SODLQLQJWKHPDMRUDQRPDOLHVDQGGLVFUHSDQFLHV,QDGGLWLRQIRU
$OOHJDWLRQDVKHVD\VWKDWVKHKHUVHOIPD\KDYHPDGHKRQHVWHUURUVLQHDUO\GUDIWVRIWKHUHOHYDQW
PDQXVFULSWEHIRUHLWZDVILUVWVXEPLWWHGIRUSXEOLFDWLRQ:HZLOOGLVFXVVWKLVSRVVLELOLW\LQGHWDLOLQWKH
VHFWLRQRQWKDWVSHFLILFDOOHJDWLRQ

         3URIHVVRU*LQR¶VVHFRQGSULPDU\H[SODQDWLRQLVWKDWVRPHRQHRWKHUWKDQKHUVHOIWDPSHUHGZLWK
WKHGDWD)RXURIWKHILYHDOOHJDWLRQVLQYROYHDQRPDOLHVDQGRUGLVFUHSDQFLHVZLWKLQRUEHWZHHQVWXG\
GDWDVHWVDFFHVVHGIURPRQHRUPRUHRIWKHIROORZLQJVRXUFHVWKH2SHQ6FLHQFH)UDPHZRUN ³26)´ 
ZHEVLWHZKHUHSXEOLFO\DYDLODEOHYHUVLRQVRIVWXG\GDWDFDQEHSRVWHGE\UHVHDUFKHUVWKHVHTXHVWHUHG
KDUGGULYHRI3URIHVVRU*LQR¶VFRPSXWHU3URIHVVRU*LQR¶V4XDOWULFVDFFRXQWDQGWKH5$ZKRFROOHFWHG
WKHGDWD3URIHVVRU*LQRPDLQWDLQVWKDWVKHQHYHUDOWHUHGRUIDOVLILHGUHVHDUFKGDWDIRUDQ\RIWKHIRXU
VWXGLHVRUDQ\RWKHUVWXG\WKDWVKHKDVFRQGXFWHGLQKHUFDUHHU6KHVWDWHVWKDWWKHGDWDVKHDQDO\]HGIRU
SXEOLFDWLRQZHUHWRWKHEHVWRIKHUNQRZOHGJHWKHWUXHYDOLGGDWDWKDWZHUHFROOHFWHGIRUHDFKVWXG\FLWHG
LQWKHDOOHJDWLRQV+RZHYHUVKHGRHVQRWTXHVWLRQRUFRQYLQFLQJO\H[SODLQDQ\RIWKHDQDO\VHVGDWD
DQRPDOLHVRUGDWDGLVFUHSDQFLHVGHVFULEHGLQWKHIRUHQVLFUHSRUWV

         3URIHVVRU*LQRRIIHUHGRQO\RQHSRWHQWLDOH[SODQDWLRQIRUWKHGDWDGLVFUHSDQFLHVGHVFULEHGLQ
$OOHJDWLRQVDQGERQHRUPRUHSHUVRQVZKRKDGDFFHVVWRKHUFRPSXWHU4XDOWULFVDFFRXQWDQGRU
GDWDILOHVDOWHUHGFRSLHVRIGDWDLQWKRVHORFDWLRQVDIWHUWKHVWXGLHVZHUHSXEOLVKHGDQGGDWDKDGEHHQ
SRVWHGRQ26)LQDPDOLFLRXVHIIRUWWRSODQWIDOVHHYLGHQFHRIGDWDPDQLSXODWLRQ3URIHVVRU*LQR
GHVFULEHGWKLVSRVVLELOLW\ILUVWLQKHU1RYHPEHUPHPRWRWKH&RPPLWWHHDQGVXEVHTXHQWO\LQWKH


                                     


 ,QKHU5HVSRQVH3URIHVVRU*LQRRIIHUVVRPHDGGLWLRQDOGHIHQVHVZKLFKZHFRQVLGHULUUHOHYDQWWRWKHKHDUWRIWKH
DOOHJDWLRQV  WKDWLI³RQHZHUHWRHQJDJHLQGDWDPDQLSXODWLRQLWZRXOGPDNHOLWWOHVHQVH´ ([KLELWDWS WR
GRLWLQVXFKDQREYLRXVPDQQHUDVLVHYLGHQWLQVRPHRIWKHDOOHJDWLRQV  WKDWWHVWLPRQ\IURP5$V              DQG
              VKRXOGEHGLVUHJDUGHGEHFDXVHWKH\FRXOGQRWDFFXUDWHO\UHFDOOFHUWDLQGHWDLOVRIWKHLUZRUNIRUKHU  
WKDWLW¶VXQVXUSULVLQJWKDWZLWQHVVHVFRXOGQRWH[SODLQGDWDDQRPDOLHVSUHVHQWHGWRWKHPLQLQWHUYLHZVDQG  WKDWDV
LVHYLGHQWLQVHYHUDOHPDLOVIURPFROOHDJXHVVKHKDVRIWHQDEDQGRQHGSURMHFWVEHFDXVHWKHGDWDGLGQ¶WUHYHDO
VLJQLILFDQWLQWHUSUHWDEOHHIIHFWV
                                                                                                                     
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 12 of 1282



LQWHUYLHZRQ1RYHPEHU6KHDVVHUWHGWKDWDQXQNQRZQDFWRUZLWKPDOLFLRXVLQWHQWLRQVZDVD
PRUHSODXVLEOHH[SODQDWLRQWKDQKRQHVWHUURUVRULQWHQWLRQDOGDWDIDOVLILFDWLRQE\KHUVHOIRUE\UHVHDUFK
DVVRFLDWHVDWWKHWLPHWKHVWXGLHVZHUHFRQGXFWHGEHFDXVH D VKHNQRZVWKDWVKHQHYHUIDOVLILHGGDWDDQG
    E VKHLVFRQILGHQWWKDWKHUWUDLQLQJDQGVXSHUYLVLRQRIUHVHDUFKDVVRFLDWHVUHQGHUVVXFKHUURUVRU
IDOVLILFDWLRQVH[FHHGLQJO\XQOLNHO\6KHQDPHG3URIHVVRU                  DFROODERUDWRURQVHYHUDOUHVHDUFK
SURMHFWVDVWKHSHUVRQVKHEHOLHYHGPRVWOLNHO\WREHVXFKDQDFWRU

           3URIHVVRU*LQRLQGLFDWHGWKDWIRUPRVWRIKHUFDUHHUVKHURXWLQHO\DQGIUHTXHQWO\VKDUHGKHU
FRPSXWHUDQG4XDOWULFVDFFRXQWORJLQFUHGHQWLDOVZLWKFROODERUDWRUVUHVHDUFKDVVRFLDWHVGRFWRUDO
VWXGHQWVDQGODEVWDIIDQGWKDWVKHKDGQRWFKDQJHGKHU4XDOWULFVSDVVZRUGIRU\HDUVXQWLO2FWREHU
²JLYLQJPDQ\SHRSOHWKHPHDQVWRFRPPLWWKHPDQLSXODWLRQV,Q1RYHPEHULQVXSSRUWRIWKLV
DVVHUWLRQ3URIHVVRU*LQRSURYLGHGDOLVWRIVHYHQHPDLOVVKHVHQWWRVHYHQGLIIHUHQWLQGLYLGXDOVLQ
DQGLQZKLFKVKHVKDUHGKHUFUHGHQWLDOVQRQHRIWKRVHLQGLYLGXDOVLVDFROODERUDWRU5$RU
GRFWRUDOVWXGHQWQDPHGLQWKLVUHSRUW,QKHU5HVSRQVHRI)HEUXDU\VKHSURYLGHGHPDLOVIURPRQH
5$                  DQGWZR)DFXOW\6XSSRUW6SHFLDOLVWV                    DQG                ZKRKDG
SUHYLRXVO\ZRUNHGIRUKHUVWDWLQJWKDWVKHKDGVKDUHGKHU4XDOWULFVORJLQFUHGHQWLDOVZLWK5$VGRFWRUDO
VWXGHQWVFROODERUDWRUVDQGWKH)66VWKHPVHOYHVXVLQJHPDLODQGRUDOFRPPXQLFDWLRQDVLGHIURP               
          DQG     QRQDPHVRISHRSOHZKRKDGWKHORJLQFUHGHQWLDOVZHUHVKDUHG,QDGGLWLRQLQ)HEUXDU\
VKHSURYLGHGOHWWHUVIURPFROODERUDWRUVDQGIRUPHUGRFWRUDOVWXGHQWVFRQILUPLQJWKDWVKHKDG
VRPHWLPHVZRUNHGZLWKWKHPRQUHVHDUFKE\VLWWLQJWRJHWKHUVLGHE\VLGHDVWKH\FROODERUDWHGRQGDWD
DQDO\VLVRUZULWLQJRQKHUODSWRSRUWKHLUV%\SURYLGLQJHYLGHQFHRIWKLVW\SHRISK\VLFDOFROODERUDWLRQ
DQGLQGHVFULELQJLWLQKHULQWHUYLHZRI1RYHPEHU3URIHVVRU*LQRLPSOLHV EXWGRHVQRWGLUHFWO\
VWDWH WKDWDPDOLFLRXVDFWRUFRXOGKDYHDFFHVVHGKHUKDUGGULYHXQEHNQRZQVWWRKHUDQGWDPSHUHGZLWK
WKHGDWDLQ$OOHJDWLRQWKHRQO\VWXG\IRUZKLFKWKHGDWDFDQEHIRXQGRQO\RQKHUKDUGGULYH

           3URIHVVRU*LQRVXJJHVWHGWKDW3URIHVVRU          LVWKHPRVWOLNHO\DFWRUZLWKPDOLFLRXVLQWHQWLRQV
VD\LQJWKDW3URIHVVRU          KDGERWKWKHPHDQV±DFFHVVWR3URIHVVRU*LQR¶V4XDOWULFVDFFRXQW±DQGWKH
PRWLYH±EHLQJDQJU\DW3URIHVVRU*LQRIRUQRWVXIILFLHQWO\GHIHQGLQJ3URIHVVRU             DJDLQVWSHUFHLYHG
DWWDFNVE\DQRWKHUFRDXWKRUFRQFHUQLQJWKHILHOGH[SHULPHQWLQWKH31$6SDSHU$OWKRXJKZHKDYH
QRHYLGHQFHWKDW3URIHVVRU          DFWXDOO\KDG3URIHVVRU*LQR¶VORJLQFUHGHQWLDOVZHEHOLHYHLWLVSRVVLEOH
WKDWVKHPD\KDYHKDGWKHPDQGWKXVWKHPHDQVWRHQWHU3URIHVVRU*LQR¶V4XDOWULFVDFFRXQWXQGHWHFWHG
DWDQ\WLPHIURPWKHFUHDWLRQRIWKDWDFFRXQWLQRUXQWLO3URIHVVRU*LQRFKDQJHGKHU4XDOWULFV
SDVVZRUGLQ2FWREHU$VHYLGHQFHRIPRWLYHRQWKHSDUWRI3URIHVVRU               3URIHVVRU*LQR

                                                                                                               
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
        ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 13 of 1282



SURYLGHGLQKHU5HVSRQVH ([KLELW DODUJHYROXPHRIHPDLOFRUUHVSRQGHQFHDPRQJWKHFRDXWKRUVRI
KHU31$6SDSHU WKHVXEMHFWRI$OOHJDWLRQVDDQGE DQGDPRQJWKHFRDXWKRUVRID31$6
SDSHUWKDWIDLOHGWRUHSOLFDWHWKHSDSHU DJURXSWKDWLQFOXGHGDOOILYHRIWKHFRDXWKRUVRIWKHRULJLQDO
SDSHU 7KDWFRUUHVSRQGHQFHLQGLFDWHGVRPHWHQVLRQGLVDJUHHPHQWDQGKDUVKIHHOLQJVDPRQJWKRVH
ILYHFRDXWKRUVEXWQRWHQVLRQRUKDUVKIHHOLQJ WKDWZHFRXOGGHWHFW EHWZHHQ3URIHVVRUV          DQG*LQR
VSHFLILFDOO\

         ,QKHU1RYHPEHULQWHUYLHZZLWKXV ([KLELW DQGDOVRLQKHU5HVSRQVH ([KLELW 
3URIHVVRU*LQRGHVFULEHVDUHPDUNWKDW3URIHVVRU          PDGHWRKHURQ-XQHGXULQJDSULYDWH
FRQYHUVDWLRQDWDFRQIHUHQFH³'XULQJWKLVFRQYHUVDWLRQ          H[SUHVVHGWRPHKHUDQJHUDQG
GLVDSSRLQWPHQWWKDW,KDGQRWGRQHPRUHWRVXSSRUWKHU>DJDLQVWSHUFHLYHGDWWDFNVE\FRDXWKRU           
           @,WZDVGXULQJWKLVFRQYHUVDWLRQWKDW      VDLGWRPHWKDWVKHZLVKHG,µZRXOGVXIIHUDVPXFK
DVVKHGLG¶´ 5HVSRQVH([KLELWDWS 2QSRIWKH5HVSRQVH3URIHVVRU*LQRGHVFULEHGWKLV
UHPDUNDVD³WKUHDW´DQGVDLGWKDWVKHWROG+%6FROOHDJXH3URIHVVRU                RIWKLVWKUHDWRQ$XJXVW
$OHWWHUWKDW3URIHVVRU*LQRVROLFLWHGIURP3URIHVVRU      FRUURERUDWLQJWKLVDFFRXQWLV
DSSHQGHGDV([KLELWWRWKH5HVSRQVH:KLOHZHFDQEHOLHYHWKDWWKLVXQSOHDVDQWUHPDUNZDVLQGHHG
PDGHE\3URIHVVRU         ZHGRQRWYLHZLWDVDFOHDUWKUHDW(YHQLILWZHUHDFOHDUWKUHDWZHUHFRJQL]H
WKDWZRUGVGRQRWHTXDWHWRDFWLRQ0RUHRYHUEDVHGRQWKHDYDLODEOHHYLGHQFHZHGRQRWEHOLHYHWKDWDQ\
QHJDWLYHIHHOLQJVWKDW3URIHVVRU       PD\KDYHKDGWRZDUG3URIHVVRU*LQRZHUHVXIILFLHQWO\VWURQJWR
PRWLYDWHWKHH[WUHPHDQGH[WHQVLYHGHJUHHRIGDWDIDOVLILFDWLRQREVHUYHGDFURVVWKHIRXUVWXGLHVDWLVVXHLQ
WKHSUHVHQWDOOHJDWLRQV LQFOXGLQJDVWXG\LQDSDSHURQZKLFK         ZDVDFRDXWKRU 

         3URIHVVRU*LQR¶V5HVSRQVH ([KLELW DOVRLQFOXGHGDVHULHVRIDXGLRWDSHGDQGWUDQVFULEHG
VWDWHPHQWVIURPIRUPHU+%6GRFWRUDOVWXGHQW                   7KHVHVWDWHPHQWVUHVSRQVHVWRTXHVWLRQV
WKDW3URIHVVRU*LQRKDGDVNHGDERXWWKHLUZRUNWRJHWKHULQJHQHUDODQGVSHFLILFDOO\DERXWWKHIDLOXUHWR
UHSOLFDWHSURMHFWWKDWUHVXOWHGLQWKH31$6SDSHUZHUHRIIHUHGWRVXSSRUW3URIHVVRU*LQR¶V
VSHFXODWLRQWKDWWKHPDOLFLRXVDFWRUFRXOGEH3URIHVVRU          ,QRXUYLHZDOWKRXJK            ¶VUHSOLHV
GHVFULEHFRQVLGHUDEOHWHQVLRQDPRQJWKHPRUHVHQLRUFRDXWKRUVRIWKH31$6SDSHU                        
                           WKH\GRQRWSURYLGHHYLGHQFHRIVSHFLILFKRVWLOLW\RQWKHSDUWRI3URIHVVRU
       WRZDUG3URIHVVRU*LQR7KHUHIRUHJLYHQWKHHYLGHQFHEHIRUHXVZHGRQRWVHHDSODXVLEOHPRWLYH
IRU3URIHVVRU       WRKDYHFRPPLWWHGUHVHDUFKPLVFRQGXFWE\IDOVLI\LQJ3URIHVVRU*LQR¶VGDWD,QKHU
5HVSRQVH3URIHVVRU*LQRDOVRVXJJHVWVWKDWWKDWWKHUHPLJKWKDYHEHHQRQHRUPRUHRWKHUXQNQRZQ



                                                                                                                  
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 14 of 1282



LQGLYLGXDOVEHVLGHV3URIHVVRU            ZLWKERWKPHDQVDQGPRWLYHWRSODQWIDOVHGDWDLQRUGHUWRKDUPKHU
+RZHYHUVKHRIIHUVQRHYLGHQFHRIVXFKRWKHUDFWRUVRUWKHLUSRVVLEOHDFWLRQV

           ,QKHULQWHUYLHZRI1RYHPEHU3URIHVVRU*LQRDOVRPHQWLRQHG³WKH'DWD&RODGDWHDP´ 
DQG                     DVLQGLYLGXDOVZKRPLJKWKDYHDFWHGZLWKPDOLFLRXVLQWHQWLRQV                        ZDV
3URIHVVRU*LQR¶VODEPDQDJHUDWWKH8QLYHUVLW\RI1RUWK&DUROLQD&KDSHO+LOODWWKHWLPH6WXG\LQWKH
31$6SDSHUZDVEHLQJFRQGXFWHGDQGLWZDV                     ZKRSURYLGHGWKHGDWDILOHVIRUWKDWVWXG\WR
WKH&RPPLWWHHLQ0D\±GDWDILOHVWKDWVXEVHTXHQWIRUHQVLFDQDO\VLVVKRZHGWREHKLJKO\GLVFUHSDQW
ZLWKWKHGDWDVHWSXEOLFO\SRVWHGIRUWKDWVWXG\,QWKHLQWHUYLHZ3URIHVVRU*LQRLPSOLHGWKDWWKHGDWDILOHV
SURYLGHGWRXVPD\KDYHEHHQDOWHUHGEHIRUHEHLQJVHQW,QVXSSRUWRIWKHVHVSHFXODWLRQV3URIHVVRU*LQR
VDLGWKDW D WKH'DWD&RODGDWHDPPHPEHUVZHUHIULHQGO\ZLWK3URIHVVRU                  DQG E            KDG
EHFRPHIULHQGO\ZLWK3URIHVVRU             ZKHQ             VHUYHGDVUHVHDUFKDVVRFLDWHIRU3URIHVVRU       
         DW'XNH8QLYHUVLW\DIWHUOHDYLQJ81&RQSURMHFWVWKDWLQFOXGHGFROODERUDWLYHZRUNEHWZHHQ
         DQG       8OWLPDWHO\KRZHYHULQDOORIWKHVHVWDWHPHQWV3URIHVVRU*LQR¶VH[SODQDWLRQIRFXVHG
RQ3URIHVVRU         DVWKHVROHRULQLWLDWLQJEDGDFWRU

           ,QHYDOXDWLQJWKHPDOLFLRXVDFWRUH[SODQDWLRQZHQRWHWKDW  3URIHVVRU*LQRKDVQRWFODLPHG
WKDWWKH'DWD&RODGDWHDPRU                    KDGGLUHFWDFFHVVWRKHU4XDOWULFVDFFRXQWRUWRKHU+%6
ODSWRS  VSHFXODWLRQVDERXW          SHUWDLQRQO\WRRQHGDWDIDOVLILFDWLRQDOOHJDWLRQ $OOHJDWLRQE DQG
QRWWRWKHRWKHUWKUHH  WREHUHVSRQVLEOHIRUWKHGDWDIDOVLILFDWLRQVLQDOOIRXURIWKHGDWDUHODWHG
DOOHJDWLRQVWKHPDOLFLRXVDFWRU V ZRXOGKDYHQHHGHGDFFHVVWR3URIHVVRU*LQR¶V4XDOWULFVDFFRXQW
    $OOHJDWLRQVDQG DQG+%6ODSWRS $OOHJDWLRQ DQGWR                RUWKHGDWDVHWKHOGE\            
    $OOHJDWLRQE DQG  WKHPDOLFLRXVDFWRUWKHRU\FDQQRWH[SODLQWKHDQRPDOLHVLQWKH26)GDWDVHWV

           $OWKRXJKZHDFNQRZOHGJHWKDWWKHWKHRU\RIDPDOLFLRXVDFWRUPLJKWEHUHPRWHO\SRVVLEOHZHGR
QRWILQGLWSODXVLEOHIRUVHYHUDOUHDVRQV)LUVW3URIHVVRU*LQRKDVSURYLGHGQRHYLGHQFHWKDWDQ\RQH
DFFHVVHGKHU4XDOWULFVDFFRXQWRUKHUFRPSXWHU¶VKDUGGULYHIRUWKHSXUSRVHVRIIDOVLI\LQJGDWDDWDQ\
WLPHRUWKDW           IDOVLILHGWKH6WXG\GDWDXVHGLQWKH31$6SDSHURUDOORZHGLWWREHIDOVLILHG
:HDFNQRZOHGJHWKDWVXFKHYLGHQFHZRXOGEHYHU\GLIILFXOWWRREWDLQ+RZHYHU3URIHVVRU*LQRSURSRVHV
WKLVWKHRU\DVRQHRIKHUWZRSULPDU\DIILUPDWLYHGHIHQVHVDJDLQVWWKHDOOHJDWLRQV WKHRWKHUEHLQJKRQHVW

                                     


 7KH³'DWD&RODGD´WHDPUHIHUVWRWKUHHDFDGHPLFV 6LPRQVRKQ1HOVRQDQG6LPPRQV ZKRPDLQWDLQDEORJ
 GDWDFRODGDRUJ WKDWSXEOLVKHVVKRUWSRVWVWKDW³LQYROYHTXDQWLWDWLYHDQDO\VHVUHSOLFDWLRQVDQGRUGLVFXVVLRQVRI
LQWHUHVWWRDWOHDVWWKUHHEHKDYLRUDOVFLHQWLVWV´
                                                                                                                        
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
        ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 15 of 1282



HUURU DQGDFFRUGLQJWRWKH+%6SROLF\RQUHVHDUFKLQWHJULW\VKHEHDUVWKHEXUGHQRISURRIIRUVXFKDQ
DIILUPDWLYHGHIHQVHE\VKRZLQJWKDWKHUH[SODQDWLRQPHHWVWKHSUHSRQGHUDQFHRIWKHHYLGHQFHVWDQGDUG

         6HFRQGDOWKRXJKZHGRQRWGRXEWWKDWVKHVKDUHGKHUORJLQFUHGHQWLDOVZLWKPXOWLSOH
FROODERUDWRUVGRFWRUDOVWXGHQWVDQG5$VZHKDYHQRHYLGHQFHWKDW3URIHVVRU              KHUSULPHVXVSHFW
KDGDQ\RIKHUORJLQFUHGHQWLDOVRUDFFHVVWRKHUODSWRS

         7KLUGLQRUGHUWRIDOVLI\GDWDDFURVVDOOIRXUVWXGLHV¶UHFRUGVDFWRUVZLWKPDOLFLRXVLQWHQWLRQV
ZRXOGKDYHQHHGHGWKHIROORZLQJ)LUVWWKH\ZRXOGKDYHQHHGHGDFFHVVWRERWK3URIHVVRU*LQR¶V
4XDOWULFVDFFRXQWVDQGKHUFRPSXWHU¶VKDUGGULYHDVWZRDOOHJDWLRQV DQG LQYROYHGLVFUHSDQFLHVLQ
4XDOWULFVGDWDDQGRQHDOOHJDWLRQ  LQYROYHVGLVFUHSDQFLHVLQWKHFRPSXWHU¶VGDWD6HFRQGZLWKUHVSHFW
WRWKHIRXUWKGDWDUHOHYDQWDOOHJDWLRQ E DFWRUVZLWKPDOLFLRXVLQWHQWLRQVZRXOGKDYHQHHGHGDFFHVV
HLWKHUWR            SHUVRQDOFRPSXWHURUWR         KHUVHOILIWKHODWWHUWKH\ZRXOGKDYHQHHGHGWKH
DELOLW\WRFRQYLQFH          WRFROOXGHZLWKWKHPLQIDOVLI\LQJGDWDDQGWKHDELOLW\WRHLWKHULQVWUXFWKHULQ
KRZWRIDOVLI\WKHGDWDRUREWDLQWKHGDWDIURPKHUIDOVLI\LWDQGWKHQUHWXUQLWWRKHUEHIRUHVKHIRUZDUGHG
LWWRXVLQ0D\ DFFRPSOLVKLQJDOORIWKLVLQWKHUHODWLYHO\VKRUWWLPHIUDPH±RQHZHHN±EHWZHHQRXU
UHTXHVWIRU            UHFRUGVIURPWKLVVWXG\DQGKHUVXEPLVVLRQRIWKRVHUHFRUGV 

         )XUWKHUPRUHDFWRUVZLWKPDOLFLRXVLQWHQWLRQVZRXOGKDYHQHHGHGDVLJQLILFDQWDPRXQWRIWLPH
PRVWOLNHO\RYHUDYHU\ORQJSHULRGRIWLPHDQGWKHDELOLW\WRILQGPXOWLSOHUHOHYDQWYHUVLRQVRIGDWDVHWVLQ
YDULRXVORFDWLRQVWKDWKDGLGLRV\QFUDWLFILOHQDPHVVWUXFWXUHVDQGYDULDEOHQDPHVDFURVVWKHSURMHFWV
7KH\ZRXOGDOVRKDYHQHHGHGJUHDWH[SHUWLVHWRPDNHFKDQJHVWRHOLPLQDWHVLJQLILFDQWHIIHFWVRQWKH
GHSHQGHQWYDULDEOHVDQGRUWRFKDQJHFRQGLWLRQDVVLJQPHQWVZKLOHOHDYLQJUHPDLQLQJGDWDLQWDFW,QRUGHU
WRFDXVHWKHLQWHQGHGKDUPDQGDYRLGGLVFRYHU\WKH\ZRXOGKDYHQHHGHGWRWLPHWKHLUGDWDPDQLSXODWLRQ
FDUHIXOO\DIWHU3URIHVVRU*LQRKDGDFFHVVHGDQGDQDO\]HGWKHGDWDIRUHDFKVWXG\)RUKDUGGULYHGDWD
PDQLSXODWLRQLQDGGLWLRQWR3URIHVVRU*LQR¶V+%6ORJLQLQIRUPDWLRQWKH\ZRXOGKDYHQHHGHGDFFHVVWR
KHUVHFRQG³IDFWRU´SUREDEO\KHUFHOOSKRQHLQ+%6¶VWZRIDFWRUDXWKHQWLFDWLRQV\VWHPZKLFKZDV
LPSOHPHQWHGDW+%6LQ 1RWDEO\EHIRUHWKLVWLPHSDVVZRUGVZHUHUHTXLUHGWREHFKDQJHG
DQQXDOO\PHDQLQJWKDWDEDGDFWRUZRXOGKDYHKDGWROHDUQ3URIHVVRU*LQR¶VORJLQFUHGHQWLDOVIRUWKH
SDUWLFXODU\HDUWKDWWKH\DFFHVVHGWKHKDUGGULYHGDWDFLWHGLQ$OOHJDWLRQ 




                                                                                                                 
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 16 of 1282



         )LQDOO\DFWRUVZLWKPDOLFLRXVLQWHQWLRQVDOVRZRXOGKDYHKDGWRVRPHKRZSODQWDQRPDOLHVLQWKH
SXEOLFO\DYDLODEOHGDWDVHWVIRUWKHVHDOOHJDWLRQV±DQRPDOLHVVXIILFLHQWWRUDLVHWKHVXVSLFLRQVRIWKH
&RPSODLQDQWZKRLQLWLDOO\EURXJKWWKHVHDOOHJDWLRQVWR+%6DQGWRPRWLYDWHWKH&RPSODLQDQWWRGRWKH
H[WHQVLYHZRUNGRFXPHQWHGLQWKH&RPSODLQDQW¶VPHPR,QWKLVVFHQDULRWKHPDOLFLRXVDFWRUVDIWHU
SODQWLQJWKHDQRPDOLHVFRXOGKDYHDOHUWHGWKH&RPSODLQDQWWRORRNIRUWKHSODQWHGDQRPDOLHVRUVHUYHGDV
WKH&RPSODLQDQWWKHPVHOYHV

         $GGLWLRQDOLQIRUPDWLRQZDVXVHIXOWRXVLQDVVHVVLQJ3URIHVVRU*LQR¶VVSHFXODWLRQDERXWGDWD
IDOVLILFDWLRQZLWKUHVSHFWWRDOOHJDWLRQE$VZHKDYHQRWHG                SURYLGHGWKHGDWDILOHVWKDWWKH
IRUHQVLFH[SHUWVFRPSDUHGWRWKHSXEOLFO\SRVWHGYHUVLRQUHYHDOLQJGDWDGLVFUHSDQFLHV7KRVHGDWDILOHV
GLGQRWFRPHIURP3URIHVVRU*LQR¶V4XDOWULFVDFFRXQWRUKHUFRPSXWHU¶VKDUGGULYHVRWKHTXHVWLRQRI
XQDXWKRUL]HGDFFHVVWRWKRVHORFDWLRQVLVPRRWIRUWKLVDOOHJDWLRQ$ERYHZHDGGUHVVHGWKHSRVVLELOLW\WKDW
RWKHULQGLYLGXDOVZLWKPDOLFLRXVLQWHQWIDOVLILHGWKHGDWDE\DFFHVVLQJ                ¶VFRPSXWHUZLWKRXWKHU
NQRZOHGJHRUFRQYLQFHG                 WRHLWKHUVHQGWKHPWKHGDWDIRUIDOVLILFDWLRQRUIDOVLI\WKHGDWDKHUVHOI
IROORZLQJWKHLULQVWUXFWLRQV+RZHYHU3URIHVVRU*LQR¶VH[SODQDWLRQDOVRVXJJHVWVWKDW                    RQKHU
RZQLQLWLDWLYHFRXOGKDYHIDOVLILHGWKHGDWD:HILQGWKLVSRVVLELOLW\KLJKO\LPSODXVLEOH                ¶VRQOLQH
LQIRUPDWLRQLQGLFDWHVWKDWVKHKROGV                                                                                   
                                   DQGWKDWVKHKDVKDGQRLQYROYHPHQWLQDFDGHPLFUHVHDUFKVLQFHVKH
HQGHGKHUUHVHDUFKDVVRFLDWHZRUNLQ,QRXULQWHUYLHZZLWKKHU                  UHYHDOHGDODFNRI
NQRZOHGJHDERXWWKHEDVLFVRIH[SHULPHQWDOGHVLJQDQGVWDWLVWLFDODQDO\VLV                  KHUVHOIVDLGDVPXFK
LQKHUZLWQHVVWHVWLPRQ\:HWKLQNLWH[WUHPHO\XQOLNHO\WKDW                 KDGWKHVWDWLVWLFDODQG
PHWKRGRORJLFDOH[SHUWLVHQHFHVVDU\WRIDOVLI\GDWDVXFKWKDWVLJQLILFDQWHIIHFWVZHUHHOLPLQDWHGZKLOH
UHPDLQLQJGDWDZHUHOHIWLQWDFW:HIRXQGKHUWREHDFUHGLEOHZLWQHVVDQGGRQRWEHOLHYHWKDWVKHKDGD
PRWLYHWRIDOVLI\GDWDRUWRSDUWLFLSDWHLQGDWDIDOVLILFDWLRQ:HDOVRILQGLWH[FHHGLQJO\XQOLNHO\WKDWDFWRUV
ZLWKPDOLFLRXVLQWHQWLRQVZRXOGKDYHJDLQHGXQDXWKRUL]HGXQGHWHFWHGDFFHVVWR                     ¶VFRPSXWHURU
DFFRXQWVLQRUGHUWRLQWURGXFHGLVFUHSDQFLHVLQWKHGDWDILOHVWKDWVKHODWHUSURYLGHGWRWKH,QYHVWLJDWLRQ
&RPPLWWHH

         7RUHLWHUDWH3URIHVVRU*LQRSUHVHQWHGQRHYLGHQFHRIDQ\GDWDIDOVLILFDWLRQDFWLRQVE\DFWRUVZLWK
PDOLFLRXVLQWHQWLRQV6KHRIIHUHGRQO\VSHFXODWLRQWKDWRQHRUPRUHVXFKDFWRUVZHUHUHVSRQVLEOHIRUWKH

                                    


 7KHSXEOLFO\DYDLODEOHGDWDVHWVIRU$OOHJDWLRQVDQGEDUHRQ26)7KHGDWDVHWIRU$OOHJDWLRQLVQRWRQ26)
EXWZDVSURYLGHGE\3URIHVVRU*LQRWRDQXPEHURIIDFXOW\PHPEHUVDQGGRFWRUDOVWXGHQWVDW8&%HUNHOH\DQG
+%6 DVGRFXPHQWHGLQWKH5HVSRQVH([KLELW DQGLVWKXVSXEOLFO\DYDLODEOHLQDPRUHOLPLWHGIDVKLRQ
                                                                                                                   
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 17 of 1282



GDWDDQRPDOLHVDQGGLVFUHSDQFLHVDWLVVXHLQWKHDOOHJDWLRQV:HQRWHWKDWVXFKDFWVKDGWKH\RFFXUUHG
ZRXOGWKHPVHOYHVFRQVWLWXWHUHVHDUFKPLVFRQGXFW0RUHRYHUHLWKHUDFFHVVLQJKHUODSWRSDQGIDOVLI\LQJ
GDWDRQWKHKDUGGULYHRUFRPPXQLFDWLQJZLWK           IRUWKHSXUSRVHRIIDOVLI\LQJGDWDZRXOGFDUU\D
KLJKULVNRIGLVFRYHU\IROORZHGE\VHYHUHFRQVHTXHQFHVIRUWKHLQGLYLGXDOVUHVSRQVLEOH,QOLJKWRIWKLV
DQGFRQVLGHULQJZKDWZRXOGKDYHEHHQUHTXLUHGWRVXFFHVVIXOO\SODQWIDOVHGDWDDV3URIHVVRU*LQR
VXJJHVWVKDSSHQHGZHILQGWKH³EDGDFWRU´H[SODQDWLRQKLJKO\LPSODXVLEOH0RUHRYHURXULQYHVWLJDWLRQ
UHYHDOHGWKDW3URIHVVRU*LQRZDVWKHRQO\SHUVRQLQYROYHGLQDOOIRXUVWXGLHV7KXVZLWKUHVSHFWWRWKLV
DIILUPDWLYHGHIHQVHZHFRQFOXGHWKDWWKH5HVSRQGHQW3URIHVVRU*LQRKDVQRWIXOILOOHG³WKHEXUGHQRI
SURYLQJE\DSUHSRQGHUDQFHRIWKHHYLGHQFHDQ\DQGDOODIILUPDWLYHGHIHQVHVUDLVHG VXFKDVKRQHVW
HUURU ´DVUHTXLUHGE\WKH+%63ROLF\ ,QTXLU\5HSRUW([KLELW 0RUHRYHU3URIHVVRU*LQR VUHSHDWHG
DQGVWUHQXRXVDUJXPHQWIRUDVFHQDULRRIGDWDIDOVLILFDWLRQE\EDGDFWRUVDFURVVIRXUGLIIHUHQWVWXGLHVDQ
DUJXPHQWZHILQGWREHKLJKO\LPSODXVLEOHOHDGVXVWRGRXEWWKHFUHGLELOLW\RIKHUZULWWHQDQGRUDO
VWDWHPHQWVWRWKLV&RPPLWWHHPRUHJHQHUDOO\

                                




                                                                                                             
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 18 of 1282



$OOHJDWLRQ

        'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH-3633DSHU
        E\DOWHULQJREVHUYDWLRQVWRDIIHFWWKHVLJQLILFDQFHRIILQGLQJVRIWKHVWXG\LQWKH
        K\SRWKHVL]HGGLUHFWLRQ

)LQGLQJRI)DFWIRU$OOHJDWLRQ

        ,QRUGHUWRHYDOXDWHWKLVDOOHJDWLRQWKH,QYHVWLJDWLRQ&RPPLWWHHFRQVLGHUHGWKHIROORZLQJ
HYLGHQFHD DGHVFULSWLRQRIWKHGDWDDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQWLQWKH2SHQ6FLHQFH
)UDPHZRUN ³26)´ GDWDVHWDYDLODEOHWRWKHSXEOLF ,QTXLU\5HSRUW([KLELW E WKH,QTXLU\
&RPPLWWHH¶VRZQDQDO\VLVRIWKHGDWDVHWIURP3URIHVVRU*LQR¶V4XDOWULFVDFFRXQWDQGWKHGDWDVHW
DYDLODEOHRQ26) ,QTXLU\5HSRUW([KLELW F ZLWQHVVWHVWLPRQ\E\3URIHVVRU*LQR¶VFRDXWKRUVRQWKH
-363SDSHU3URIHVVRU                     DQG3URIHVVRU                  DVZHOODVWHVWLPRQ\E\
3URIHVVRU*LQR¶V+%6UHVHDUFKDVVRFLDWHDWWKHWLPHWKHGDWDZHUHEHLQJFROOHFWHGDQGDQDO\]HG              
      VHHLQWHUYLHZWUDQVFULSWVLQ([KLELWVDQGUHVSHFWLYHO\ G HPDLOUHFRUGVIRXQGRQ3URIHVVRU
*LQR¶VVHTXHVWHUHGKDUGGULYH ([KLELW DQGH 0&*¶VIRUHQVLFUHSRUWGHWDLOLQJGLVFUHSDQFLHVEHWZHHQ
WKH4XDOWULFVGDWDVHWDQGWKH26)GDWDVHW ([KLELW $GHVFULSWLRQRIWKHUHIHUHQFHGHYLGHQFHLV
SURYLGHGEHORZDQGDSSHQGHGDVH[KLELWVWRWKLVUHSRUW

        ,QWKHLUZULWWHQUHVSRQVHWRWKH,QTXLU\&RPPLWWHHWKH&RPSODLQDQWLGHQWLILHGDQRPDORXV
REVHUYDWLRQVZKHUHLQKLJKHUUDWLQJVRIIHOWPRUDOLPSXULW\ZHUHSDLUHGZLWKSRVLWLYHGHVFULSWRUVRIWKH
QHWZRUNLQJHYHQWDOORIZKLFKZHUHLQWKHSUHYHQWLRQIRFXVFRQGLWLRQDQGDQRPDORXVREVHUYDWLRQV
ZKHUHLQWKHORZHVWSRVVLEOHUDWLQJVRIIHOWPRUDOLPSXULW\ DOOV ZHUHSDLUHGZLWKQHJDWLYHGHVFULSWRUVRI
WKHQHWZRUNLQJHYHQWRIZKLFKZHUHLQWKHSURPRWLRQIRFXVFRQGLWLRQ ,QTXLU\5HSRUW([KLELWSS
 $OOEXWRIWKHVHDQRPDORXVREVHUYDWLRQVIDYRUHGWKHK\SRWKHVL]HGHIIHFWV,QDGGLWLRQWKH
,QTXLU\&RPPLWWHHSHUIRUPHGLWVRZQFRPSDULVRQRIWKHGDWDVHWIURP3URIHVVRU*LQR¶V4XDOWULFVDFFRXQW
ZLWKWKHSXEOLFO\SRVWHGGDWDVHWRQ26)ZKLFKUHYHDOHGWKDWWKHPHDQVRIWKHH[SHULPHQWDOFRQGLWLRQVDUH
GLUHFWLRQDOO\RSSRVLWHLQWKHWZRGDWDVHWV$QLQLWLDODQDO\VLVE\WKH,QTXLU\&RPPLWWHHRIDVPDOOVDPSOH
RIRWKHUZLVHLGHQWLFDOURZVRIGDWDVKRZHGODUJHGLVFUHSDQFLHVEHWZHHQWKHWZRGDWDVHWVLQWKHQXPHULFDO
UDWLQJVRIPRUDOLPSXULW\IHHOLQJVZLWKWKHQXPEHUVLQWKH26)GDWDVHWDOOVWURQJO\IDYRULQJWKH
K\SRWKHVL]HGDQGUHSRUWHGHIIHFWV ,QTXLU\5HSRUW([KLELWSS 

        7KH,QYHVWLJDWLRQ&RPPLWWHHVHSDUDWHO\LQWHUYLHZHGHDFKRI3URIHVVRU*LQR¶VFRDXWKRUVRQWKLV
SDSHU3URIHVVRU          DQG3URIHVVRU          DQGIRXQGERWKRIWKHPWREHFUHGLEOH7KHWZRFR
                                                                                                           
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 19 of 1282



DXWKRUVH[SUHVVHGVXUSULVHDWWKHGDWDGLVFUHSDQFLHVGLVSOD\HGGXULQJWKHLULQWHUYLHZVGLVFUHSDQFLHVWKDW
KDGEHHQLGHQWLILHGE\WKHIRUHQVLFDQDO\VWV1HLWKHURIWKHFRDXWKRUZLWQHVVHVKDGH[SODQDWLRQVIRUWKH
GLVFUHSDQFLHV,QDGGLWLRQHDFKFRDXWKRUVWDWHGWKDW3URIHVVRU*LQRZDVUHVSRQVLEOHIRUWKHGDWD
FROOHFWLRQDQGDQDO\VHVIRU6WXG\DWKDWWKH\SHUVRQDOO\KDGQHLWKHUDFFHVVWRWKHGDWDQRUDQ\
LQYROYHPHQWLQDQDO\]LQJWKHGDWDDQGWKDWWKH\ZHUHXQDZDUHRIDQ\RQHEHVLGHV3URIHVVRU*LQRKDYLQJ
DFFHVVWRWKHGDWD7KH,QYHVWLJDWLRQ&RPPLWWHHDOVRLQWHUYLHZHG                   3URIHVVRU*LQR¶V5$DW
WKHWLPHRIGDWDFROOHFWLRQIRUWKHVHVWXGLHVDQGIRXQGKLPWREHDFUHGLEOHZLWQHVV,QKLVWHVWLPRQ\     
        LQGLFDWHGWKDWKHGLGQ¶WXVH3URIHVVRU*LQR¶V4XDOWULFVDFFRXQWRUKDYHKHUFRPSXWHU¶VORJLQ
FUHGHQWLDOVDQGWKDWKHGLGQ¶WSHUIRUPDQ\GDWDFOHDQLQJEH\RQGVLPSOHFKHFNLQJIRUERWUHVSRQVHVRU
LQFRPSOHWHUHVSRQVHVIRUWKLVVWXG\+HDOVRLQGLFDWHGWKDWKHGLGQ¶WDQDO\]HWKHGDWDIRUWKLVVWXG\DQG
GLGQ¶WNQRZZKDWWKHK\SRWKHVHVIRUWKLVVWXG\ZHUH

           (PDLOFRUUHVSRQGHQFHEHWZHHQ3URIHVVRU*LQRDQG             DSSHDUHGWRLQGLFDWHWKDW           
GLGQRWKDYHDFFHVVWRWKH4XDOWULFVVXUYH\GDWD,QDGGLWLRQHPDLOVIURP3URIHVVRU*LQRWR            
VXJJHVWHGWKDW3URIHVVRU*LQRFUHDWHGWKH4XDOWULFVVXUYH\DQGSRVWHGLWRQOLQH/DVWO\XSRQVWXG\LQJWKH
HPDLOUHFRUGVFORVHO\WKH,QYHVWLJDWLRQ&RPPLWWHHFRQFOXGHGWKDWLQVRPHRIKLVLQWHUYLHZUHVSRQVHV
    VSHFLILFDOO\KLVUHVSRQVHVDERXWFRGLQJSDUWLFLSDQWHVVD\V        ZDVDFWXDOO\UHFDOOLQJKLV
LQYROYHPHQWLQWKHYHU\VLPLODU6WXG\ELQWKHVDPHSDSHUQRW6WXG\D WKHVXEMHFWRIWKLVDOOHJDWLRQ 

           7KH,QYHVWLJDWLRQ&RPPLWWHHFORVHO\H[DPLQHGWKHIRUHQVLFUHSRUWSURGXFHGE\0DLGVWRQH
&RQVXOWLQJ*URXSIRUWKLVDOOHJDWLRQ7KHIRUHQVLFDQDO\VLVZKLFKFRPSDUHGWKHGDWDVHWUHWULHYHGIURP
3URIHVVRU*LQR¶V4XDOWULFVDFFRXQWZLWKWKHGDWDVHWSRVWHGRQ26)UHYHDOHGDODUJHQXPEHURI
GLVFUHSDQFLHVLQERWKGHSHQGHQWYDULDEOHPHDVXUHVLQWKHWZRH[SHULPHQWDOFRQGLWLRQVDOORIZKLFK
IDYRUHGWKHK\SRWKHVL]HGDQGUHSRUWHGHIIHFWVDQGDQDEVHQFHRIDQ\GLVFUHSDQFLHVLQWKHFRQWURO
FRQGLWLRQ2YHUDOOVXUYH\VLQWKHSURPRWLRQIRFXVDQGSUHYHQWLRQIRFXVFRQGLWLRQVDFFRXQWLQJIRU
RIWKHWRWDOGDWDIRU6WXG\DKDGGLVFUHSDQFLHVEHWZHHQWKH4XDOWULFVGDWDVHWDQGWKHSXEOLFO\
DYDLODEOHGDWDVHWSRVWHGRQ26)WKDWIDYRUHGWKHK\SRWKHVL]HGDQGUHSRUWHGUHVXOWV 6HHSSLQ
([KLELW 

3URIHVVRU*LQR¶V5HVSRQVHIRU$OOHJDWLRQ

           ,QKHU1RYHPEHUPHPRUDQGXPWRWKH,QYHVWLJDWLRQ&RPPLWWHHDQGGXULQJKHU
1RYHPEHULQWHUYLHZZLWKWKHFRPPLWWHH VHH([KLELWVDQGUHVSHFWLYHO\ 3URIHVVRU*LQR
UHVSRQGHGWRWKHHYLGHQFHRIGDWDDQRPDOLHVE\VWDWLQJWKDWVKHQHYHUIDOVLILHGRUIDEULFDWHGDQ\GDWD6KH

                                                                                                             
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
        ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 20 of 1282



VSHFXODWHGWKDWDQDFWRUZLWKPDOLFLRXVLQWHQWLRQVWR³KXUW´KHUDQDFWRUZLWKZKRPVKHPD\KDYHVKDUHG
KHUORJLQLQIRUPDWLRQLQWKHSDVWPD\KDYHDOWHUHGWKH6WXG\DGDWDGLUHFWO\LQKHU4XDOWULFVDFFRXQW
DIWHUWKHSDSHUZDVSXEOLVKHGDQGWKHGDWDVHWSRVWHGRQ26)6KHUHLWHUDWHGWKLVWKHRU\LQKHU5HVSRQVH
    ([KLELW 7KH,QYHVWLJDWLRQ&RPPLWWHHGLGQRWILQGWKLVWKHRU\WREHSODXVLEOHIRUWKHUHDVRQV
DUWLFXODWHGLQWKH³*HQHUDO2EVHUYDWLRQV&RQFHUQLQJ$OO7HVWLPRQ\DQGWKH5HVSRQGHQW¶V&UHGLELOLW\´
VHFWLRQRIWKLVUHSRUW

           ,QKHU5HVSRQVH3URIHVVRU*LQRLQFOXGHGVHYHUDORWKHUVWDWHPHQWVDQGPDWHULDOVLQGHIHQVH
DJDLQVWWKLVDOOHJDWLRQ7KH,QYHVWLJDWLRQ&RPPLWWHHFDUHIXOO\FRQVLGHUHGDQGGLVFXVVHGWKHVHVWDWHPHQWV
DQGPDWHULDOVEXWGLGQRWILQGDQ\RIWKHPWREHSHUVXDVLYH

&RQFOXVLRQIRU$OOHJDWLRQ

           %\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKH,QYHVWLJDWLRQ&RPPLWWHHILQGVWKDW3URIHVVRU*LQR
LQWHQWLRQDOO\NQRZLQJO\RUUHFNOHVVO\IDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH
-3633DSHUE\DOWHULQJREVHUYDWLRQVWRDIIHFWWKHILQGLQJVRIWKHVWXG\LQWKHK\SRWKHVL]HGGLUHFWLRQ
$FFRUGLQJO\ZHILQG3URIHVVRU*LQRUHVSRQVLEOHIRUUHVHDUFKPLVFRQGXFWZLWKUHVSHFWWR$OOHJDWLRQ




                                     


  ,QEULHI3URIHVVRU*LQR  VWDWHGWKDWVKHZDVQ¶WSODFLQJDKLJKSULRULW\RQSXEOLVKLQJWKLVSDSHU LUUHOHYDQWWR
GDWDDQRPDOLHVDQGGLVFUHSDQFLHVDOVRZHKDYHUHPRYHGIURPWKLV5HSRUWODQJXDJHVXJJHVWLQJVKHGHVLUHG
SXEOLVKLQJWKHUHVXOWV   VWDWHGWKDWVKHRIWHQH[FKDQJHGGDWDZLWK5$VXVLQJIODVKGULYHV LUUHOHYDQW   
UHLWHUDWHGKHUVWDWHPHQWVLQWKDWLWLVXQVXUSULVLQJWKDWVRPHSDUWLFLSDQWV¶ZRUGVGRQ¶WPDWFKWKHLUQXPHULFDO
UDWLQJV LUUHOHYDQW   VWDWHGWKDWVKHGLGQRWKDYHDFFHVVWRWKHGDWDILOHVXVHGRUDQDO\VHVGRQHE\0&*
 LQDFFXUDWHVKHUHFHLYHGWKRVHDORQJZLWKWKH0&*UHSRUW   VWDWHGWKDWDFRDXWKRURQWKLVSDSHU3URIHVVRU
           KDGDFFHVVWRKHU4XDOWULFVDFFRXQW QRHYLGHQFHRIWKLVSURYLGHG DQG  TXHVWLRQHGWKLV5HSRUW¶V
VWDWHPHQWWKDWHPDLOFRUUHVSRQGHQFHEHWZHHQKHUDQG5$                   DSSHDUVWRLQGLFDWHWKDWKHGLGQRWKDYHDFFHVV
WRWKH4XDOWULFVVXUYH\GDWDIRUWKLVVWXG\ VXFKHYLGHQFHDSSHDUVLQKHUHPDLOVRI-DQXDU\DQG-DQXDU\
 
                                                                                                                       
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
        ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 21 of 1282



$OOHJDWLRQ

           'U*LQRIDOVLILHGDQGRUIDEULFDWHGSRUWLRQVRIWKHGDWDVHWVIRU6WXG\LQWKH
           3V\FKRORJLFDO6FLHQFH3DSHUE\DOWHULQJDGGLQJRUGHOHWLQJDQXPEHURI
           REVHUYDWLRQV7KHVHFKDQJHVUHVXOWHGLQVLJQLILFDQWHIIHFWVVXSSRUWLQJWKH
           K\SRWKHVHVDVUHSRUWHGLQWKHSXEOLVKHGSDSHU$QDO\VHVRIWKHRULJLQDO4XDOWULFV
           GDWDGRQRWVXSSRUWWKHK\SRWKHVHV

)LQGLQJRI)DFWIRU$OOHJDWLRQ

          ,QRUGHUWRHYDOXDWHWKLVDOOHJDWLRQWKH,QYHVWLJDWLRQ&RPPLWWHHFRQVLGHUHGWKHIROORZLQJ
HYLGHQFHD DGHVFULSWLRQRIWKHGDWDDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQWLQWKH2SHQ6FLHQFH
)UDPHZRUN ³26)´ GDWDVHWDYDLODEOHWRWKHSXEOLF ,QTXLU\5HSRUW([KLELW E WKH,QTXLU\
&RPPLWWHH¶VUHSOLFDWLRQRIWKHDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQW ,QTXLU\5HSRUW([KLELW DQG
LWVLGHQWLILFDWLRQRIRWKHUDQRPDOLHVF ZLWQHVVWHVWLPRQ\E\3URIHVVRU*LQR¶VFRDXWKRUVRQWKH
3V\FKRORJLFDO6FLHQFHSDSHU3URIHVVRU                       DQG3URIHVVRU                 VHHLQWHUYLHZ
WUDQVFULSWVLQ([KLELWVDQGUHVSHFWLYHO\ DQGG 0&*¶VIRUHQVLFUHSRUWGHWDLOLQJGLVFUHSDQFLHV
EHWZHHQWKHWZRGDWDVHWVIRUWKLVVWXG\LQ3URIHVVRU*LQR¶V4XDOWULFVDFFRXQWDQGWKH26)GDWDVHW
    ([KLELW $GHVFULSWLRQRIWKHUHIHUHQFHGHYLGHQFHLVSURYLGHGEHORZDQGDSSHQGHGDVH[KLELWVWRWKLV
UHSRUW

          ,QWKHLUZULWWHQUHVSRQVHWRWKH,QTXLU\&RPPLWWHHWKH&RPSODLQDQWLGHQWLILHGOLQHVRIGDWD
WKDWKDG³+DUYDUG´DVWKHUHVSRQVHWRWKH³<HDULQ6FKRRO´TXHVWLRQLQWKLVVWXG\DQGVKRZHGWKDWWKHVH
REVHUYDWLRQVVWURQJO\VXSSRUWWKHK\SRWKHVL]HGDQGUHSRUWHGHIIHFWV VHH,QTXLU\5HSRUW([KLELWSS
 7KH,QTXLU\&RPPLWWHHUHSOLFDWHGWKHDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQWE\FRQGXFWLQJLWVRZQ
FRPSDULVRQRIWKHGDWDVHWVIURP3URIHVVRU*LQR¶V4XDOWULFVDFFRXQWDQGWKHSXEOLFO\SRVWHGGDWDVHWRQ
26),QDGGLWLRQWKH,QTXLU\&RPPLWWHHIRXQGWKDWVRPHSDUWLFLSDQWVZKRDSSHDUHGLQWKHGDWDVHWVIURP
3URIHVVRU*LQR¶VVHTXHVWHUHGKDUGGULYHZHUHQRWLQWKH26)GDWDVHWDQGWKDWVRPHSDUWLFLSDQWVZKR
DSSHDUHGLQWKH26)GDWDVHWZHUHQRWLQWKHGDWDVHWVIURP3URIHVVRU*LQR¶VVHTXHVWHUHGKDUGGULYH
    ,QTXLU\5HSRUW([KLELWSS %XLOGLQJRQWKHDQDO\VHVFRQGXFWHGE\WKH,QTXLU\&RPPLWWHHWKH
,QYHVWLJDWLRQ&RPPLWWHHQRWHGIRXUDGGLWLRQDOSHFXOLDUIHDWXUHVRIWKHOLQHVRIGDWDWKDWKDG³+DUYDUG´




                                                                                                              
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
        ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 22 of 1282



DVWKHUHVSRQVHIRU³<HDULQVFKRRO´LQWKH5HVSRQGHQW¶V4XDOWULFVGDWDVHWVIRUWKLVVWXG\´ )LUVWWKHWH[W
    HVVD\ UHVSRQVHVDUHPXFKVKRUWHUWKDQDOPRVWDOOWKHRWKHUV6HFRQGWKHVHUHVSRQVHVZHUHVXEPLWWHGRQ
WKUHHVSHFLILFGDWHV6HSWHPEHU2FWREHUDQG2FWREHUDOOWRZDUGVWKHHQGRIWKH
VWXG\¶VGDWDFROOHFWLRQSHULRG7KLUGDOPRVWDOOWKHRWKHUSDUWLFLSDQWVSURYLGHGD+DUYDUGHPDLODGGUHVV
EXWQRQHRIWKHSDUWLFLSDQWVZKRUHVSRQGHGZLWK³+DUYDUG´DV³<HDULQVFKRRO´SURYLGHGD+DUYDUG
HPDLODGGUHVV)RXUWKDOPRVWDOOWKHRWKHUSDUWLFLSDQWVSURYLGHGD+DUYDUG,'EXWQRQHRIWKH
SDUWLFLSDQWVZKRUHVSRQGHGZLWK³+DUYDUG´DV³<HDULQVFKRRO´GLGVR

          7KH,QYHVWLJDWLRQ&RPPLWWHHVHSDUDWHO\LQWHUYLHZHGHDFKRI3URIHVVRU*LQR¶VFRDXWKRUVRQWKLV
SDSHU3URIHVVRU            DQG3URIHVVRU         DQGIRXQGERWKRIWKHPWREHFUHGLEOH1HLWKHURI
WKHVHFRDXWKRUZLWQHVVHVKDGFRPSHOOLQJH[SODQDWLRQVIRUWKHGLVFUHSDQFLHVLGHQWLILHGDW,QTXLU\ 7KH
IRUHQVLFUHSRUWRQ$OOHJDWLRQZDVQRWFRPSOHWHDWWKHWLPHRIWKHVHWZRLQWHUYLHZVVRWKHVHZLWQHVVHV
FRXOGQRWEHVKRZQWKHGLVFUHSDQFLHVLGHQWLILHGWKHUHLQ ,QDGGLWLRQHDFKRIWKHVHFRDXWKRUVVWDWHGWKDW
3URIHVVRU*LQRZDVUHVSRQVLEOHIRUWKHGDWDFROOHFWLRQDQGDQDO\VHVIRU6WXG\DQGHDFKVWDWHGWKDWWKH\
GLGQRWKDYHDFFHVVWRWKHGDWDRUDQ\LQYROYHPHQWLQDQDO\]LQJWKHP

           7KH,QYHVWLJDWLRQ&RPPLWWHHFORVHO\H[DPLQHGWKHIRUHQVLFUHSRUWSURGXFHGE\0DLGVWRQH
&RQVXOWLQJ*URXSIRUWKLVDOOHJDWLRQ0&*FRPSDUHGWKHSXEOLFO\DYDLODEOHGDWDSRVWHGRQ26)ZLWKWKH
GDWDVHWVIRUWKLVVWXG\IRXQGLQ3URIHVVRU*LQR¶V4XDOWULFVDFFRXQW7KLVDQDO\VLVVKRZHGWKDWVRPHGDWD
LQWKH26)GDWDVHWGRQRWDSSHDULQHLWKHURIWKHWZR4XDOWULFVGDWDVHWVIRUWKLVVWXG\WKDWWKRVHGDWD
VWURQJO\VXSSRUWWKHK\SRWKHVL]HGDQGUHSRUWHGUHVXOWVDQGWKDWVRPHGDWDLQWKHWZR4XDOWULFVGDWDVHWVGR
QRWDSSHDULQWKH26)GDWDVHW,QDGGLWLRQZKHQWKHDQDO\VHVUHSRUWHGLQWKHSXEOLVKHGSDSHUZHUHUXQRQ
WKHGDWDIURP3URIHVVRU*LQR¶V4XDOWULFVDFFRXQWWKHNH\UHVXOW±WKDWSDUWLFLSDQWVLQWKHSURDWWLWXGLQDO
FRQGLWLRQH[SUHVVHGVLJQLILFDQWO\ORZHUGHVLUDELOLW\RIFOHDQLQJSURGXFWV±IDLOHGWRUHSOLFDWH 6HHSS
LQ([KLELW 

3URIHVVRU*LQR¶V5HVSRQVHIRU$OOHJDWLRQ

           ,QKHU1RYHPEHUPHPRUDQGXPWRWKH,QYHVWLJDWLRQ&RPPLWWHHDQGGXULQJKHU
1RYHPEHULQWHUYLHZZLWKWKHFRPPLWWHH VHH([KLELWVDQGUHVSHFWLYHO\ 3URIHVVRU*LQR
DVVHUWHGWKDWVKHQHYHUIDOVLILHGRUIDEULFDWHGDQ\GDWDDQGVSHFXODWHGWKDWDQDFWRUZLWKPDOLFLRXV


                                   


  7KH³21/,1(GDWD´WDEIURP0&*B$OOHJDWLRQB$OOGDWD[OV[FRQWDLQVHQWULHVZKHUHWKH\HDULQVFKRRO
LVUHSRUWHGDV³+DUYDUG´RU³KDUYDUG´
                                                                                                            
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
        ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 23 of 1282



LQWHQWLRQVWR³KXUW´KHUDQDFWRUZLWKZKRPVKHPD\KDYHVKDUHGKHUORJLQLQIRUPDWLRQLQWKHSDVWPD\
KDYHDOWHUHGWKHGDWDFROOHFWHGIRUWKLVVWXG\GLUHFWO\LQKHU4XDOWULFVDFFRXQWDIWHUWKHSDSHUZDV
SXEOLVKHGDQGWKHGDWDVHWSRVWHGRQ26)6KHUHLWHUDWHGWKLVWKHRU\LQKHU5HVSRQVH ([KLELW 7KH
,QYHVWLJDWLRQ&RPPLWWHHGLGQRWILQGWKLVWKHRU\WREHSODXVLEOHIRUWKHUHDVRQVDUWLFXODWHGLQWKH
³*HQHUDO2EVHUYDWLRQV&RQFHUQLQJ$OO7HVWLPRQ\DQGWKH5HVSRQGHQW¶V&UHGLELOLW\´VHFWLRQRIWKLV
UHSRUW

         ,QKHU5HVSRQVH3URIHVVRU*LQRLQFOXGHGVHYHUDORWKHUVWDWHPHQWVDQGPDWHULDOVLQGHIHQVH
DJDLQVWWKLVDOOHJDWLRQ7KH,QYHVWLJDWLRQ&RPPLWWHHFDUHIXOO\FRQVLGHUHGDQGGLVFXVVHGWKHVHVWDWHPHQWV
DQGPDWHULDOVEXWGLGQRWILQGDQ\RIWKHPWREHSHUVXDVLYH

&RQFOXVLRQIRU$OOHJDWLRQ

         %\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKH,QYHVWLJDWLRQ&RPPLWWHHILQGVWKDW3URIHVVRU*LQR
LQWHQWLRQDOO\NQRZLQJO\RUUHFNOHVVO\IDOVLILHGDQGRUIDEULFDWHGSRUWLRQVRIWKHGDWDVHWVE\DOWHULQJ
DGGLQJRUGHOHWLQJDQXPEHURIREVHUYDWLRQVLQDZD\WKDWIDYRUHGWKHK\SRWKHVL]HGDQGUHSRUWHGUHVXOWV
$FFRUGLQJO\ZHILQG3URIHVVRU*LQRUHVSRQVLEOHIRUUHVHDUFKPLVFRQGXFWZLWKUHVSHFWWR$OOHJDWLRQ




                                    


  ,QEULHI3URIHVVRU*LQR  VWDWHGWKDWPDQ\GLIIHUHQW5$VDQG&/(5/DEVWDIIKHOSHGZLWKWKLVVWXG\ LUUHOHYDQW
WRWKHVXEVWDQFHRIWKLVDOOHJDWLRQ   SURYLGHGDQHPDLOIURPDQ5$RQWKLVVWXG\VWDWLQJWKDWVRPHSDUWLFLSDQWV
ZHUHQ¶WIROORZLQJLQVWUXFWLRQVDERXWHQWHULQJWKHFRPSXWHU,'QXPEHU LUUHOHYDQWWRWKH&RPPLWWHH¶VILQGLQJWKDW
GDWDIRUWKHSHRSOHZKRGLGQRWHQWHUD+DUYDUG,'QXPEHU±DVWKHYDVWPDMRULW\RISDUWLFLSDQWVGLG±VWURQJO\
VXSSRUWHGWKHK\SRWKHVL]HGDQGUHSRUWHGUHVXOWV DQG  SURYLGHGDQ³([SODQDWLRQRIGDWDDQRPDOLHV´VHFWLRQ SS
 WKDWIDLOVWRDGGUHVVWZRNH\0&*ILQGLQJVILUVWWKDWDQXPEHURIREVHUYDWLRQVLQWKH26)GDWDVHWFRXOGQRW
EHIRXQGLQWKH4XDOWULFVGDWDVHWVDQGWKHVHREVHUYDWLRQVVWURQJO\VXSSRUWHGWKHK\SRWKHVL]HGDQGUHSRUWHGUHVXOWV
DQGVHFRQGWKDWWKH0&*DQDO\VHVFRQGXFWHGRQWKHFRPELQHG4XDOWULFVGDWDVHWVUHYHDOHGWKDWWKHNH\UHSRUWHG
UHVXOWZDVQRORQJHUVLJQLILFDQW
                                                                                                                   
        7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
     ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
       352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 24 of 1282



$OOHJDWLRQ

           'U*LQRIDOVLILHGDQGRUIDEULFDWHGGDWDZLWKLQWKHGDWDVHWVIRU6WXG\LQWKH
           3V\FKRORJLFDO6FLHQFH3DSHU,QSDUWLFXODU
           x   VRPHSDUWLFLSDQWFRQGLWLRQVDSSHDUWRKDYHEHHQVZLWFKHGLQDGLUHFWLRQWKDW
               IDYRUHGWKHK\SRWKHVL]HGDQGUHSRUWHGUHVXOWV
           x   VRPHSDUWLFLSDQWV¶5$7VFRUHVDSSHDUWRKDYHEHHQDOWHUHGLQDGLUHFWLRQ
               IDYRULQJWKHK\SRWKHVL]HGDQGUHSRUWHGUHVXOWVDQG
           x   REVHUYDWLRQVZLWKLQWKHFKHDWLQJFRQGLWLRQDUHRXWRIVRUWZKHQVRUWHGE\
               ZKHWKHUSDUWLFLSDQWVFKHDWHGRQWKHWDVNWKH\ZHUHDVNHGWRSHUIRUPDQGE\
               KRZPDQ\XVHVIRUDQHZVSDSHUWKH\IRXQG7KHVHREVHUYDWLRQVVXEVWDQWLDOO\
               FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV

)LQGLQJRI)DFWIRU$OOHJDWLRQ

           ,QRUGHUWRHYDOXDWHWKLVDOOHJDWLRQWKH,QYHVWLJDWLRQ&RPPLWWHHFRQVLGHUHGWKHIROORZLQJ
HYLGHQFHD DGHVFULSWLRQRIWKHGDWDDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQWLQWKHGDWDVHWWKDWWKH
&RPSODLQDQWKDGUHFHLYHG³IURPDUHVHDUFKHUZKRKDG\HDUVDJRREWDLQHGLWIURP3URIHVVRU*LQR´
    ,QTXLU\5HSRUW([KLELWS DGDWDVHWWKDWZDVQRWSURYLGHGWRWKH&RPPLWWHHE WKH,QTXLU\
&RPPLWWHH¶VUHSOLFDWLRQRIWKHDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQW ,QTXLU\5HSRUW([KLELW XVLQJ
DGDWDVHWIRXQGRQ3URIHVVRU*LQR¶VFRPSXWHUF ZLWQHVVWHVWLPRQ\E\3URIHVVRU*LQR¶VFRDXWKRURQWKH
3V\FKRORJLFDO6FLHQFHSDSHU3URIHVVRU                        VHHLQWHUYLHZWUDQVFULSWLQ([KLELW DQG
G 0&*¶VIRUHQVLFUHSRUWGHWDLOLQJDQDSSDUHQWVHULHVRIPDQLSXODWLRQVWRWKHGDWDVHWIRUWKLVVWXG\SULRU
WRLWVSXEOLFDWLRQ ([KLELW EDVHGRQH[DPLQDWLRQRIWKHWZRGDWDVHWVIRUWKLVVWXG\IRXQGRQ3URIHVVRU
*LQR¶VFRPSXWHU $OWKRXJKWKHGDWDIRUWKLVVWXG\ZHUHSUHVXPDEO\FROOHFWHGXVLQJ4XDOWULFVQRVXFK
GDWDILOHFRXOGEHIRXQGLQ3URIHVVRU*LQR¶V4XDOWULFVDFFRXQW $GHVFULSWLRQRIWKHUHIHUHQFHGHYLGHQFH
LVSURYLGHGEHORZDQGDSSHQGHGDVH[KLELWVWRWKLVUHSRUW

           ,QWKHLUZULWWHQUHVSRQVHWRWKH,QTXLU\&RPPLWWHHWKH&RPSODLQDQWLGHQWLILHGREVHUYDWLRQV
ZLWKLQWKHFKHDWLQJFRQGLWLRQWKDWDUHRXWRIVRUWZKHQWKHGDWDVHWLVVRUWHGE\ZKHWKHUSDUWLFLSDQWV
FKHDWHGRQWKHWDVNWKH\ZHUHDVNHGWRSHUIRUPDQGE\KRZPDQ\XVHVIRUDQHZVSDSHUWKH\IRXQG7KHVH
REVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGDQGUHSRUWHGHIIHFWV ,QTXLU\
5HSRUW([KLELWSS ,QDGGLWLRQWKH,QTXLU\&RPPLWWHHUHSOLFDWHGWKHDQRPDOLHVLGHQWLILHGE\
WKH&RPSODLQDQWE\FRQGXFWLQJLWVRZQFRPSDULVRQDQGDQDO\VLVRIWKHGDWDVHWIURP3URIHVVRU*LQR¶V

                                                                                                              
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
        ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 25 of 1282



VHTXHVWHUHGKDUGGULYH,WIRXQGWKDWWKHPHDQ³5HVSRQVHV´VFRUHRI³LQVHTXHQFH´REVHUYDWLRQVLQWKH
FKHDWLQJFRQGLWLRQZDVZKLOHWKHPHDQ³5HVSRQVHV´VFRUHRI³RXWRIVHTXHQFH´REVHUYDWLRQVZDV
PXFKKLJKHUDW:KHQWKH&RPPLWWHHPDGHDQDGMXVWPHQWVLPLODUWRWKDWPDGHE\WKH&RPSODLQDQW
E\UHSODFLQJDQRXWRIVHTXHQFHHQWU\LQWKH³5HVSRQVHV´FROXPQZLWKDQDGMDFHQW³LQVHTXHQFH´VFRUH
WKHPHDQVFRUHRIUHVSRQGHQWVLQWKH&KHDWLQJFRQGLWLRQGHFUHDVHGIURPWRJUHDWO\FORVLQJWKHJDS
WRWKHPHDQVFRUHRIIRU+RQHVWUHVSRQGHQWV VHHSLQ([KLELWRIWKHLQTXLU\UHSRUW 

           7KH,QYHVWLJDWLRQ&RPPLWWHHLQWHUYLHZHG3URIHVVRU*LQR¶VFRDXWKRURQWKLVSDSHU3URIHVVRU
                    DQGIRXQGKLPWREHDFUHGLEOHZLWQHVV3URIHVVRU            ZDVSX]]OHGE\WKHGDWD
DQRPDOLHVGLVSOD\HGGXULQJKLVLQWHUYLHZKHWULHGWRFRPHXSZLWKEHQLJQH[SODQDWLRQVIRUKRZWKRVH
SDWWHUQVPLJKWKDYHFRPHDERXWEXWQRWHGWKDWWKHSRVVLELOLWLHVKHJHQHUDWHGZHUH³XQOLNHO\´,QDGGLWLRQ
KHVWDWHGWKDWKHQHYHUKDGDFFHVVWRWKHGDWDDQGWKDWKHZDVQ¶WLQYROYHGLQZULWLQJXSWKHPHWKRGRU
ILQGLQJVVHFWLRQVIRUWKLVVWXG\

           7KH,QYHVWLJDWLRQ&RPPLWWHHFORVHO\H[DPLQHGWKHIRUHQVLFUHSRUWSURGXFHGE\0DLGVWRQH
&RQVXOWLQJ*URXSIRUWKLVDOOHJDWLRQ7KLVDQDO\VLVUHYHDOHGWKUHHDQRPDOLHVLQWKHHDUOLHVWYHUVLRQVRIWKH
GDWDDYDLODEOHLQ3URIHVVRU*LQR¶VVHTXHVWHUHGKDUGGULYH VHHSSLQ([KLELW D ,QWKH
GDWDVHWOLQHVRIGDWDKDGJUH\KLJKOLJKWLQJLQWKH³FKHDW´FROXPQ7KHVHSDUWLFLSDQWV¶FRQGLWLRQV
VHHPHGWRKDYHEHHQPDQXDOO\VZLWFKHGDIWHUGDWDFROOHFWLRQIURPWKHQRQFKHDWLQJWRWKHFKHDWLQJ
FRQGLWLRQDOOKDGVFRUHVRQWKH5$7 WKHFUHDWLYLW\WHVW DERYHWKHPLGSRLQWWKXVIDYRULQJWKH
K\SRWKHVL]HGDQGUHSRUWHGUHVXOWV7KHJUH\KLJKOLJKWLQJLQWKHGDWDVHWZDVDEVHQWLQWKH
GDWDVHWE ,QWKHGDWDVHWOLQHVRIGDWDLQWKH³FKHDW´FRQGLWLRQKDGJUH\KLJKOLJKWLQJ KLJKOLJKWLQJ
DOVRDEVHQWLQWKHGDWDVHW DQGWKRVHSDUWLFLSDQWV¶VFRUHVRQWKH5$7DSSHDUHGWRKDYHEHHQ
PDQXDOO\HQWHUHGUDWKHUWKDQEHLQJFRPSXWHGYDOXHV7KHDSSDUHQWO\PDQXDOO\HQWHUHGYDOXHVGLGQRW
GHULYHIURPXQGHUO\LQJGDWDLQDQ\GLVFHUQLEOHZD\,PSRUWDQWO\DOOWKHVHYDOXHVZHUHPXFKKLJKHUWKDQ
WKHYDOXHVWKDWZRXOGKDYHUHVXOWHGIURPDSSOLFDWLRQRIWKHFRPSXWDWLRQIRUPXODLQDGLUHFWLRQWKDW
VXSSRUWHGWKHK\SRWKHVL]HGDQGUHSRUWHGUHVXOWVDQGF UHFDOFXODWLRQRIWKHVWDWLVWLFDODQDO\VLVRI
GLIIHUHQFHVEHWZHHQFRQGLWLRQVXVLQJWKHRULJLQDOFRQGLWLRQDVVLJQPHQWVDQGWKHRULJLQDO5$7VFRUHV
    XVLQJWKHXQGHUO\LQJGDWD DSSDUHQWLQWKHGDWDVHWUHYHDOHGWKDWWKHNH\5$7FUHDWLYLW\UHVXOWIRU
WKLVVWXG\DVUHSRUWHGLQWKHSXEOLVKHGSDSHUGLVDSSHDUHG,QIDFWUHFRPSXWHGPHDQVUHYHDOHGWKH
UHYHUVHQRQFKHDWHUVVFRUHGKLJKHURQWKH5$7WKDQFKHDWHUVGLG




                                                                                                                
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
        ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 26 of 1282



3URIHVVRU*LQR¶V5HVSRQVHIRU$OOHJDWLRQ

        ,QKHU1RYHPEHUPHPRUDQGXPWRWKH,QYHVWLJDWLRQ&RPPLWWHHDQGGXULQJKHU
1RYHPEHULQWHUYLHZZLWKWKH&RPPLWWHH VHH([KLELWVDQGUHVSHFWLYHO\ 3URIHVVRU*LQR
DVVHUWHGWKDWVKHQHYHUIDOVLILHGRUIDEULFDWHGDQ\GDWDDQGVSHFXODWHGWKDWHLWKHU D DQDFWRUZLWK
PDOLFLRXVLQWHQWLRQVWR³KXUW´KHUDQDFWRUZLWKZKRPVKHPD\KDYHVKDUHGKHUORJLQLQIRUPDWLRQLQWKH
SDVWPD\KDYHDOWHUHGWKHGDWDFROOHFWHGIRUWKLVVWXG\GLUHFWO\LQKHUSHUVRQDOFRPSXWHUDIWHUWKHSDSHU
ZDVSXEOLVKHGRU E KHU5$VPD\KDYHPDGHHUURUVZKLFKVKHFRXOGQ¶WDVFHUWDLQZLWKRXWDFFHVVWRWKH
UDZGDWDLQ4XDOWULFV $VQRWHGHDUOLHUWKHUDZGDWDIRUWKLVVWXG\FDQQRWEHIRXQGLQKHU4XDOWULFV
DFFRXQW 7KH,QYHVWLJDWLRQ&RPPLWWHHGLGQRWILQGWKHILUVWRIWKHVHWKHRULHVWREHSODXVLEOHIRUWKH
UHDVRQVDUWLFXODWHGLQWKH³*HQHUDO2EVHUYDWLRQV&RQFHUQLQJ$OO7HVWLPRQ\DQG5HVSRQGHQW¶V
&UHGLELOLW\´VHFWLRQRIWKLVUHSRUW0RUHRYHUWKH,QYHVWLJDWLRQ&RPPLWWHHGLGQRWILQGWKHVHFRQGRIWKHVH
WKHRULHVWREHSODXVLEOHJLYHQWKHQDWXUHRIWKHIRUHQVLFHYLGHQFH

        3URIHVVRU*LQR¶V5HVSRQVH ([KLELW UHLWHUDWHGWKHGHIHQVHVGHVFULEHGDERYH,QDGGLWLRQVKH
DUJXHGWKDWDSSDUHQWGLVFUHSDQFLHVEHWZHHQWKHDQGGDWDVHWVRQKHUFRPSXWHUDQGWKH
DQRPDOLHVQRWHGE\WKH&RPSODLQDQWPD\KDYHUHVXOWHGQRWIURPPDOLFLRXVWDPSHULQJZLWKKHUGDWDVHWV
RU5$HUURUEXWUDWKHUIURPSHUIHFWO\DSSURSULDWHGDWDVRXUFHPHUJLQJGDWDFOHDQLQJDQGPDQXDOGDWD
FRGLQJDQGGDWDHQWU\3URIHVVRU*LQRPDLQWDLQVWKDWZLWKRXW4XDOWULFVGDWDVHWVIRUWKLVVWXG\LW¶V
LPSRVVLEOHWRDVFHUWDLQZKHWKHUWKHDYDLODEOHGDWDVHWVFRQWDLQDFWXDODQRPDOLHVDQGGLVFUHSDQFLHV
+RZHYHUVKHIDLOVWRDGGUHVVWKHILQGLQJVE\0&*WKDWDOORIWKHDSSDUHQWDOWHUDWLRQVLQWKHGDWDVHW
IDYRUWKHK\SRWKHVL]HGDQGUHSRUWHGUHVXOWVDQGWKDWDQDO\VHVXVLQJWKHGDWDVHWZLWKWKHDSSDUHQWO\
RULJLQDOFRQGLWLRQDVVLJQPHQWVDQGFDOFXODWLRQVEDVHGRQUDZ5$7GDWDIDLOWRUHSOLFDWHWKHUHSRUWHG5$7
UHVXOWV

        ,QKHU5HVSRQVH ([KLELW 3URIHVVRU*LQRLQFOXGHGVHYHUDORWKHUVWDWHPHQWVDQGPDWHULDOVLQ
GHIHQVHDJDLQVWWKLVDOOHJDWLRQ7KH,QYHVWLJDWLRQ&RPPLWWHHFDUHIXOO\FRQVLGHUHGDQGGLVFXVVHGWKHVH
VWDWHPHQWVDQGPDWHULDOVEXWGLGQRWILQGDQ\RIWKHPWREHSHUVXDVLYH 


                                    


  ,QEULHI3URIHVVRU*LQR  DVVHUWHGRQSRIWKH5HVSRQVHWKDWWKH0&*UHSRUWRQWKLVDOOHJDWLRQDWS
FRQFOXGHGWKDW³ZLWKRXWWKHRULJLQDOGDWDQRFRQFOXVLRQRIUHVHDUFKPLVFRQGXFWFDQEHPDGH´ DJURVVPLVVWDWHPHQW
RIZKDWWKH([HFXWLYH6XPPDU\RIWKDWUHSRUWDFWXDOO\VD\V   GHVFULEHGKDYLQJVKDUHGWKHGDWDVHWIUHHO\IRU
XVHLQDGRFWRUDO³MRXUQDOFOXE´DW8&%HUNHOH\DQGDGRFWRUDOFRXUVHDW+%6VWDWLQJWKDWQRLUUHJXODULWLHVZHUH
LGHQWLILHGE\WKHGRFWRUDOVWXGHQWV LUUHOHYDQWWRWKLVDOOHJDWLRQ DQG  VWDWHGWKDWWKHLQDELOLW\RIKHUFRDXWKRU

                                                                                                                     
        7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
     ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
       352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 27 of 1282



&RQFOXVLRQIRU$OOHJDWLRQ

         %\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKH,QYHVWLJDWLRQ&RPPLWWHHILQGVWKDW3URIHVVRU*LQR
LQWHQWLRQDOO\NQRZLQJO\RUUHFNOHVVO\IDOVLILHGDQGRUIDEULFDWHGGDWDZLWKLQWKHGDWDVHWRQKHUKDUGGULYH
E\DOWHULQJDQXPEHURIREVHUYDWLRQVLQDZD\WKDWIDYRUHGWKHK\SRWKHVL]HGUHVXOWV$FFRUGLQJO\ZHILQG
3URIHVVRU*LQRUHVSRQVLEOHIRUUHVHDUFKPLVFRQGXFWZLWKUHVSHFWWR$OOHJDWLRQ

                                   




                                    

                   WRSURYLGHDQDGHTXDWHH[SODQDWLRQRIDSSDUHQWDQRPDOLHVLVQRWLQLWVHOIHYLGHQFHRIUHVHDUFK
PLVFRQGXFW LUUHOHYDQWDOWKRXJKWKH&RPPLWWHHDVNHG3URI            LIKHFRXOGH[SODLQWKHDQRPDOLHVWRPDNH
VXUHZHKDGQRWRYHUORRNHGDSRVVLEOHH[SODQDWLRQIRUWKHPWKH&RPPLWWHHGLGQRWUHO\RQKLVIDLOXUHWRSURYLGHDQ
H[SODQDWLRQLQUHDFKLQJLWVILQGLQJ 
                                                                                                                   
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 28 of 1282



$OOHJDWLRQD

        :LWKUHVSHFWWR6WXG\LQWKH31$63DSHU
        'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJRUDOWHULQJSDUWVRIWKH
        GHVFULSWLRQVRIVWXG\SURFHGXUHVIURPGUDIWVRIWKHPDQXVFULSWVXEPLWWHGIRU
        SXEOLFDWLRQWKXVPLVUHSUHVHQWLQJWKHVWXG\SURFHGXUHVLQWKHILQDOSXEOLFDWLRQ7KH
        RULJLQDOSURFHGXUHGHVFULSWLRQV VXEVHTXHQWO\UHPRYHGRUDOWHUHGE\3URIHVVRU
        *LQR SRLQWHGWRDVLJQLILFDQWIODZLQWKHH[HFXWLRQRIWKHGDWDFROOHFWLRQIRU6WXG\
        ZKLFKFDOOHGLQWRTXHVWLRQWKHYDOLGLW\RIWKHVWXG\UHVXOWV

)LQGLQJRI)DFWIRU$OOHJDWLRQD

       ,QRUGHUWRHYDOXDWHWKLVDOOHJDWLRQWKH,QYHVWLJDWLRQ&RPPLWWHHFRQVLGHUHGWKHIROORZLQJ
HYLGHQFHD WKH,QTXLU\&RPPLWWHH¶VLQLWLDODQDO\VLVRIWKHDYDLODEOHHYLGHQFHIURP3URIHVVRU*LQR¶V
VHTXHVWHUHGKDUGGULYHRXWOLQHGLQDPHPRUDQGXPWR3URIHVVRU*LQRGDWHG-DQXDU\ ,QTXLU\
5HSRUW([KLELW E RUDODQGZULWWHQWHVWLPRQ\E\3URIHVVRU*LQR¶VODEPDQDJHUDWWKHWLPHWKHGDWD
ZHUHFROOHFWHG                  DQGZULWWHQWHVWLPRQ\E\3URIHVVRU*LQR¶VFRDXWKRURQWKH
31$6SDSHU3URIHVVRU                VHH([KLELWV([KLELWDQG([KLELWUHVSHFWLYHO\ WKH
,QYHVWLJDWLRQ&RPPLWWHHDOVRUHDFKHGRXWWRWKHILUVWDXWKRURIWKLVSDSHU              ZKRGHFLGHGQRW
WRSDUWLFLSDWHLQWKHSURFHVVDIWHUUHFHLYLQJWKH&RPPLWWHH¶VZULWWHQTXHVWLRQVF HPDLOUHFRUGVIRXQGRQ
3URIHVVRU*LQR¶VVHTXHVWHUHGKDUGGULYH ([KLELW G 0&*¶VIRUHQVLFUHSRUWGHWDLOLQJPXOWLSOH
PRGLILFDWLRQVWRWKHFRQWHQWRIWKHPDQXVFULSWDVLWZHQWWKURXJKGUDIWLQJDQGUHYLVLRQLQWKHSHULRGRI
)HEUXDU\WKURXJK0D\EHIRUHLWVLQLWLDOMRXUQDOVXEPLVVLRQLQ0D\ ([KLELW DQG H 
WKH,QYHVWLJDWLRQ&RPPLWWHH¶VRZQDVVHVVPHQWRIWKHPDQXVFULSWFKDQJHVGXULQJWKDWSHULRGZLWK
SDUWLFXODUIRFXVRQGHVFULSWLRQVRISDUWLFLSDQWV¶SD\PHQWIRUSHUIRUPDQFHFROOHFWLRQRIWKH
GHSHQGHQWYDULDEOHPHDVXUHDQGWKHSXUSRVHRIWKHFROOHFWLRQVOLS ([KLELWDQG([KLELW $
GHVFULSWLRQRIWKHUHIHUHQFHGHYLGHQFHLVSURYLGHGEHORZDQGDSSHQGHGDVH[KLELWVWRWKLVUHSRUW

       7KH,QTXLU\&RPPLWWHH¶VLQLWLDODQDO\VLVRIWKLVDOOHJDWLRQLGHQWLILHGWZRVSHFLILFLVVXHVKDYLQJWR
GRZLWK  DSRWHQWLDOSURFHGXUDOIODZUHODWHGWRWKHWLPLQJRIWKHFROOHFWLRQRIDGHSHQGHQWYDULDEOH±
VSHFLILFDOO\WKDWSDUWLFLSDQWV¶VHOIUHSRUWRIWKHLUSX]]OHSHUIRUPDQFH DQGWKHLURSSRUWXQLW\WRFKHDWRQ
WKDWVHOIUHSRUW PLJKWKDYHRFFXUUHGEHIRUHWKHLQGHSHQGHQWYDULDEOH VHHLQJWKHWD[IRUPZKLFKUHTXLUHG
VLJQLQJDWWKHWRSRUWKHERWWRP ZDVPDQLSXODWHGDQG  WKHGHVFULSWLRQRIWKHVWXG\¶VSURFHGXUHLQWKH



                                                                                                               
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 29 of 1282



SXEOLVKHGDUWLFOHZKLFKFRXOGEHVHHQDVDPELJXRXVRUSRWHQWLDOO\PLVOHDGLQJDERXWWKHWLPLQJRIWKLV
GHSHQGHQWYDULDEOH VHH([KLELWLQWKHLQTXLU\UHSRUW 

        7KHVWXG\LQTXHVWLRQZDVFRQGXFWHGLQ3URIHVVRU*LQR¶VODEDWWKH8QLYHUVLW\RI1RUWK&DUROLQD
&KDSHO+LOO 81& LQWKHVXPPHURIDVXPPHUGXULQJZKLFKVKHWUDQVLWLRQHGIURPKHUIDFXOW\
DSSRLQWPHQWDW81&WRKHUIDFXOW\DSSRLQWPHQWDW+DUYDUG%XVLQHVV6FKRRO7KH,QYHVWLJDWLRQ
&RPPLWWHHLQWHUYLHZHG                 ZKRZDV3URIHVVRU*LQR¶V81&ODEPDQDJHUDWWKHWLPHWKLVVWXG\
ZDVFRQGXFWHG:HIRXQG             WREHDFUHGLEOHZLWQHVV,QKHUWHVWLPRQ\          LQGLFDWHGWKDW
RWKHUWKDQKHOSLQJ3URIHVVRU*LQRZLWKKHUVXEPLVVLRQVWRWKH81&,5%VKHZDVQHYHULQYROYHGZLWK
DQ\ZULWHXSRIWKHSURFHGXUHIRUDQ\VWXG\6KHDOVRLQGLFDWHGWKDWVKHZDVQHYHULQYROYHGLQGDWD
DQDO\VLVIRUDQ\RIWKHVWXGLHVFRQGXFWHGLQWKHODE6KHWROGWKH&RPPLWWHHWKDWKHUGXWLHVIRFXVHG
SULPDULO\RQWKHSUHFLVHLPSOHPHQWDWLRQRIHDFKVWXG\FROOHFWLQJGDWDDFFRUGLQJWR3URIHVVRU*LQR¶V
GLUHFWLYHV        VWDWHGWKDWWRWKHEHVWRIKHUNQRZOHGJHDQGUHFROOHFWLRQIRUHYHU\VWXG\WKDWVKHUDQ
IRU3URIHVVRU*LQRLWZDV3URIHVVRU*LQR DORQJZLWKSRVVLEO\KHUVWXG\FRDXWKRUV ZKRZDV
UHVSRQVLEOHIRUWKHRYHUDOOFRQFHSWXDOL]DWLRQDQGGHVLJQRIWKHVWXG\           DOVRDVVHUWHGWKDWDVD
UHJXODUSUDFWLFHVKHH[HFXWHGWKHGDWDFROOHFWLRQIRUDVWXG\LQOLQHZLWKWKHGHVFULSWLRQRIWKHVWXG\
SURFHGXUHDVVXEPLWWHGWRWKH81&,5%HYHQWKRXJKDWWKDWWLPHDW81&VPDOOWZHDNVZHUHXVXDOO\
DOORZHGZLWKRXWUHTXLULQJDQ,5%PRGLILFDWLRQWRDSUHYLRXVO\DSSURYHGSURWRFRO'XHWRWKHSDVVDJHRI
WLPHVLQFHGDWDFROOHFWLRQLQDQGWKHODUJHQXPEHURIVLPLODUVWXGLHVVKHFRQGXFWHGRUVXSHUYLVHGDW
81&           FRXOGQRWFRQILUPZLWKFHUWDLQW\ZKHWKHURQHRUWZRH[SHULPHQWHUVFRQGXFWHG6WXG\
ZKHWKHUVKHKHUVHOIZDVDQH[SHULPHQWHUIRUWKLVVWXG\ RUZKHWKHUDVODEPDQDJHUVKHVXSHUYLVHGRQH
RUPRUHRWKHU5$VFRQGXFWLQJWKHVWXG\ ZKHWKHUSDUWLFLSDQWVZHUHSDLGRQO\RQFHRUWZLFH LHRQO\LQ
URRPRULQERWKURRPDQGURRP RUZKHWKHUFKDQJHVZHUHPDGHWRWKHVWXG\PDWHULDOVDIWHU,5%
DSSURYDO6KHPDGHFOHDUKRZHYHUWKDWVKHDOZD\VH[HFXWHGDVWXG\SUHFLVHO\DFFRUGLQJWRWKH
LQVWUXFWLRQVSURYLGHGWRKHUE\3URIHVVRU*LQR           DOVRVDLGWKDWLQH[DPLQLQJWKHDYDLODEOH
PDWHULDOVIURP3URIHVVRU*LQR¶VVHTXHVWHUHGKDUGGULYH ZKLFKZHGLVSOD\HGGXULQJRXULQWHUYLHZZLWK
KHU LWDSSHDUHGWRKHUWKDWSDUWLFLSDQWVPD\KDYHFDOFXODWHGDQGUHSRUWHGWKHLUSX]]OHSHUIRUPDQFHDQG
UHFHLYHGSD\PHQWIRULWIURPWKHH[SHULPHQWHULQURRPEHIRUHEHLQJH[SRVHGWRWKHWD[IRUP ZKLFK
FRQWDLQHGWKHH[SHULPHQWDOPDQLSXODWLRQ LQURRP

        7KH,QYHVWLJDWLRQ&RPPLWWHHFORVHO\H[DPLQHGWKHIRUHQVLFUHSRUWSURGXFHGE\0DLGVWRQH
&RQVXOWLQJ*URXSIRUWKLVDOOHJDWLRQ ([KLELW %DVHGRQWKDWUHSRUWDQGLWVRZQFORVHUHYLHZRIWKH
PDQXVFULSWYHUVLRQVWKH&RPPLWWHHVXPPDUL]HGDQGDQDO\]HGWKHNH\FKDQJHVWRWKHGHVFULSWLRQVRIWKH

                                                                                                                
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 30 of 1282



WKUHHFHQWUDOLQWHUUHODWHGHOHPHQWVRIWKH6WXG\SURFHGXUH SDUWLFLSDQWV¶SD\PHQWIRUSHUIRUPDQFH
FROOHFWLRQRIWKHGHSHQGHQWYDULDEOHPHDVXUHRIFKHDWLQJRQWKHVHOIUHSRUWRISHUIRUPDQFHDQGWKH
SXUSRVHRIWKHFROOHFWLRQVOLS DFURVVGLIIHUHQWYHUVLRQVRIWKHPDQXVFULSW ([KLELW 7KLVDQDO\VLV
UHYHDOHGWKHIROORZLQJ

     9HUVLRQVGDWHGDQG7KHHDUOLHVWGUDIWVRIWKHPDQXVFULSWGHVFULEHGWKH
        GHSHQGHQWYDULDEOHRIVHOIUHSRUWHGPDWUL[SX]]OHSHUIRUPDQFHDVGHULYHGIURPWKHFROOHFWLRQVOLS
        ZKLFKSDUWLFLSDQWVILOOHGRXWLQURRPDQGRQWKHEDVLVRIZKLFKSDUWLFLSDQWVZHUHSDLGIRU
        SX]]OHSHUIRUPDQFHEHIRUHEHLQJJLYHQWKHWD[IRUPWKDWFRQWDLQHGWKHLQGHSHQGHQWYDULDEOH
        PDQLSXODWLRQ VLJQDWXUHUHTXLUHGRQWKHWRSRUWKHERWWRP 7KLVLVWKHZD\WKHSURFHGXUHZDVODLG
        RXWLQWKH,5%DSSOLFDWLRQDQGLW¶VWKHZD\WKHSURFHGXUHZDVGHVFULEHGLQWKHILUVWGUDIWRIWKH
        PDQXVFULSWGDWHG)HEUXDU\7KDWGHVFULSWLRQVXUYLYHGEDVLFDOO\LQWDFWWKURXJKUHYLVLRQV
        RIWKHPDQXVFULSWE\            DQG3URIHVVRU      LQHDUO\0DUFK,QWKH0DUFK
        UHYLVLRQ           DGGHGDFOHDUDQGH[SOLFLWVWDWHPHQWWKDWWKHFKHDWLQJGHSHQGHQWYDULDEOHZDV
        WKHGLIIHUHQFHEHWZHHQDFWXDOSHUIRUPDQFHRQWKHPDWUL[VKHHWDQGWKHVHOIUHSRUWRQWKH
        FROOHFWLRQVOLS

     9HUVLRQGDWHG,QDFRPPHQWLQVHUWHGLQWKH0DUFKYHUVLRQDQGDOVRLQWKH
        ERG\RIWKHHPDLOWRZKLFKLWZDVDWWDFKHG3URIHVVRU          UDLVHGFRQFHUQVDERXWZKHWKHUWKH
        GHSHQGHQWYDULDEOHRIFKHDWLQJRQSX]]OHSHUIRUPDQFHVHOIUHSRUWKDGEHHQFROOHFWHGEHIRUHWKH
        LQGHSHQGHQWYDULDEOH WKHWD[IRUP ZDVLQWURGXFHG

     9HUVLRQGDWHG2QWKHQH[WYHUVLRQRIWKHPDQXVFULSWGDWHG0DUFK
        3URIHVVRU*LQRPDGHIRXUNH\DOWHUDWLRQV

            D )LUVW3URIHVVRU*LQRGHOHWHGWKHPDWHULDOWKDW           KDGDGGHGWRWKHPDQXVFULSWRQ
                 0DUFKZKLFKKDGH[SOLFLWO\VWDWHGWKDWWKHVRXUFHRIWKHGHSHQGHQWYDULDEOHRIFKHDWLQJ
                 RQWKHSX]]OHSHUIRUPDQFHVHOIUHSRUWZDVWKHVHOIUHSRUWPDGHRQWKHFROOHFWLRQVOLSLQ
                 URRP

            E 6HFRQG3URIHVVRU*LQRDGGHGDVHFWLRQFDOOHG³2SSRUWXQLW\WRFKHDW´7KLVVHFWLRQ
                 H[SOLFLWO\VWDWHGWKDWWKHSX]]OHSHUIRUPDQFHGHSHQGHQWYDULDEOHFDPHIURPWKHVHOI
                 UHSRUWWKDWSDUWLFLSDQWVPDGHRQWKHWD[IRUP ZKLFKZDVDOVRUHIHUUHGWRDVWKH³SD\PHQW
                 IRUP´ LQURRP


                                                                                                               
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 31 of 1282



            F 7KLUGLQWKHQHZ³2SSRUWXQLW\WRFKHDW´VHFWLRQ3URIHVVRU*LQRLQFOXGHGDVHQWHQFH
                  UHOHYDQWWRDFKDQJHVKHODWHUPDGHWRWKH$SULOWKUHYLVLRQ7KDWVHQWHQFHH[SOLFLWO\
                  VWDWHGWKDWSDUWLFLSDQWVUHFHLYHGSD\PHQWDIWHUFRPSOHWLQJWKHPDWUL[WDVNDQGEHIRUH
                  VHHLQJWKHWD[IRUP RU³SD\PHQWIRUP´  ³:KHQSDUWLFLSDQWVUHFHLYHGSD\PHQWDIWHU
                  FRPSOHWLQJWKHILUVWSDUWRIWKHVWXG\>HPSKDVLVDGGHG@WKHH[SHULPHQWHUJDYHWKHPD
                  SD\PHQWIRUPDQGDVNHGHDFKSDUWLFLSDQWWRJRWRDVHFRQGURRPWRILOOLWRXW«´S 

            G )RXUWK3URIHVVRU*LQRPDGHDQRWKHUFKDQJHWKDWZDVDOVRUHOHYDQWWRKHUVXEVHTXHQW
                  HGLWVWRWKH$SULOWKUHYLVLRQ6KHDGGHGDSKUDVHH[SOLFLWO\VWDWLQJWKDWSDUWLFLSDQWVZHUH
                  WROGWRVXEPLWWKHLUFROOHFWLRQVOLSWRWKHH[SHULPHQWHULQURRP³VRWKDWVKHFRXOGFKHFN
                  WKHLUZRUNDQGJLYHWKHPSD\PHQW´

     9HUVLRQGDWHG3URIHVVRU*LQR¶V$SULOUHYLVLRQRIWKHPDQXVFULSWFRQWDLQHG
        QHZDOWHUDWLRQV6SHFLILFDOO\VKHUHPRYHGDOOPHQWLRQRISDUWLFLSDQWVEHLQJSDLGLQURRP
         VWDWHPHQWVVKHKDGSUHYLRXVO\LQVHUWHGVHHFDQGGDERYHLQKHU0DUFKUHYLVLRQ 7KHVH
        GHOHWLRQVDSSHDUWRKDYHEHHQSURPSWHGE\FRPPHQWV3URIHVVRU               LQVHUWHGWRWKH$SULO
        YHUVLRQZKLFKDJDLQUDLVHGFRQFHUQVDERXWSDUWLFLSDQWV¶VHOIUHSRUWLQJRIWKHLUSX]]OH
        SHUIRUPDQFHRQWKHFROOHFWLRQVOLSDQGEHLQJSDLGIRUWKDWSHUIRUPDQFHEHIRUHWKH\VDZWKHWD[
        IRUP

    7KLVDQDO\VLVVKRZVWKDW3URIHVVRU*LQR¶VRZQZULWWHQVWDWHPHQWVDERXWWKHSURFHGXUHDGGHGWRWKH
PDQXVFULSWLQWKH0DUFKUHYLVLRQFRQIOLFWPHDQLQJIXOO\ZLWKWKHSXEOLVKHGYHUVLRQRIWKHSDSHU
7KHSXEOLVKHGSDSHUGRHVQRWPHQWLRQDQ\SD\PHQWWRSDUWLFLSDQWVXQWLOWKHYHU\HQGRIWKHVWXG\DQGLW
H[SOLFLWO\VWDWHVWKDWWKHRQO\SXUSRVHRIWKHFROOHFWLRQVOLSZDV³IRUWKHSDUWLFLSDQWVWKHPVHOYHVWROHDUQ
KRZPDQ\SX]]OHVLQWRWDOWKH\KDGVROYHGFRUUHFWO\´ S 0RUHRYHUWKHSXEOLVKHGSDSHUFRQWDLQV
WKLVVWDWHPHQWDERXWWKHGHSHQGHQWYDULDEOH³$OORIWKHLQVWUXFWLRQVDQGGHSHQGHQWPHDVXUHVDSSHDUHGRQ
RQHSDJHWRHQVXUHWKDWSDUWLFLSDQWVNQHZIURPWKHRXWVHWWKDWDVLJQDWXUHZRXOGEHUHTXLUHG´ S 

       7KH,QYHVWLJDWLRQ&RPPLWWHHFRQVLGHUHG3URIHVVRU             ¶VZULWWHQUHVSRQVHWRDVHULHVRI
TXHVWLRQVWKH&RPPLWWHHVXEPLWWHGWRKHURQ2FWREHU ([KLELW 3URIHVVRU             UHVSRQGHG
WKDWVKHMRLQHGWKHSURMHFWLQ-DQXDU\XSRQUHFHLYLQJDQLQYLWDWLRQIURP3URIHVVRU*LQRDQGWKDWWR
WKHEHVWRIKHUNQRZOHGJH3URIHVVRU*LQR3URIHVVRU                     DWHQXUHGSURIHVVRUDW+DUYDUG
%XVLQHVV6FKRRO DQG+%6GRFWRUDOVWXGHQW              ZHUHLQYROYHGLQWKHVWXG\ZLWKWKHWZRSURIHVVRUV
VXSHUYLVLQJRUOHDGLQJLWVFRQFHSWXDOL]DWLRQDQGGHVLJQ3URIHVVRU          UHVSRQGHGPXOWLSOHWLPHVWKDW

                                                                                                                
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 32 of 1282



VKHKDGQRGLUHFWILUVWKDQGNQRZOHGJHRIKRZ6WXG\KDGEHHQFDUULHGRXW6KHQRWHGWKDWDPRQJDOO
WKHVWXG\PDWHULDOVVKHLQLWLDOO\KDGDFFHVVRQO\WRWKUHHWD[IRUPVHPEHGGHGLQWKHILUVWGUDIWRIWKH
PDQXVFULSWWKDW3URIHVVRU*LQRVKDUHGZLWKKHUFROODERUDWRUVRQ)HEUXDU\6KHDOVRLQGLFDWHG
WKDWVKHGLGQRWVHHRUKDYHDFFHVVWRDGGLWLRQDOVWXG\PDWHULDOVXQWLO6HSWHPEHUZKHQ          
               WKHQDGRFWRUDOVWXGHQWDW+%6HPEDUNHGRQDUHSOLFDWLRQRI6WXG\IURPWKHRULJLQDO
31$6SDSHU ,QGUDIWLQJWKLVUHSRUWZHDVVXPHGWKDW              KDGREWDLQHGWKRVHPDWHULDOVIURP
3URIHVVRU*LQREHFDXVH3URIHVVRU         VWDWHGWKDWVRPHRIWKHPPDWFKHGPDWHULDOVIURP3URIHVVRU
*LQR¶VVHTXHVWHUHGKDUGGULYHZKLFKZHKDGDWWDFKHGWRRXUZULWWHQTXHVWLRQV7KLVZDVFRQILUPHGE\WKH
DXGLRUHSOLHV SUHYLRXVO\GHVFULEHG VHQWE\            WR3URIHVVRU*LQRLQ)HEUXDU\ VHH([KLELW
WR3URIHVVRU*LQR¶V5HVSRQVH ([KLELW  3URIHVVRU         GHVFULEHGTXHVWLRQVWKDWERWKVKHDQG             
       KDGDERXWGLVFUHSDQFLHVEHWZHHQWKRVHPDWHULDOVDQGVSHFLILFVRIWKHSURFHGXUHIRU([SHULPHQW
DVGHVFULEHGLQWKH31$6SDSHUTXHVWLRQVVSHFLILFDOO\DERXWWKHQXPEHUORFDWLRQDQGWLPLQJRI
SD\PHQWVWRSDUWLFLSDQWV6KHDOVRGHVFULEHGFRQYHUVDWLRQVWKDWWKHWZRRIWKHPKDGGXULQJ6HSWHPEHU
1RYHPEHUWU\LQJWRUHVROYHWKRVHGLVFUHSDQFLHV$FFRUGLQJWR3URIHVVRU             VKHDVNHG       
       WR³FKHFNZLWK3URIHVVRU*LQRDQGFRQILUPZKLFKRIWKHWZRSURFHGXUHV LHSD\PHQWLQURRP
RULQURRP ZDVLPSOHPHQWHG´ ([KLELWS 3URIHVVRU          VWDWHGWKDWDIHZZHHNVODWHU       
       VHQW³XSGDWHGPDWHULDOV´ZKLFK³VXJJHVWHGWKDWWKHSD\PHQWKDSSHQHGLQURRPRQO\DQGWKDWWKH
'9ZDVWKHPDWUL[HVVROYHGDVUHSRUWHGRQWKHWD[IRUP´ ([KLELWS WKHVHPDWHULDOVILWWKH
SURFHGXUHGHVFULSWLRQRI([SHULPHQWDVSXEOLVKHGLQ3URIHVVRU           ¶VDFFRXQWRILQWHUDFWLRQV
EHWZHHQKHUVHOIDQG            LQWKH)DOORILVFORVHWRWKDWSURYLGHGE\            ZLWKDNH\
GLIIHUHQFH           GRHVQRWPHQWLRQDVSHFLILFSHUFHLYHGGLVFUHSDQF\RUFRQIXVLRQDERXWWKHQXPEHU
ORFDWLRQDQGRUWLPLQJRISD\PHQWVWRSDUWLFLSDQWV

        :LWKUHVSHFWWRWKH&RPPLWWHH¶VTXHVWLRQVDERXWFKDQJHVWRWKHGHVFULSWLRQRIWKHVWXG\
SURFHGXUHDFURVVGLIIHUHQWGUDIWVRIWKHPDQXVFULSW3URIHVVRU        ¶VUHVSRQVHVFORVHO\PDWFKWKH
&RPPLWWHH¶VRZQDQDO\VLVSUHVHQWHGDERYH ([KLELWSS 3URIHVVRU            LQGLFDWHGWKDWWRWKH
EHVWRIKHUNQRZOHGJHQRQHRIWKHRWKHUFRDXWKRUVFRPPHQWHGRQWKHFRQFHUQVVKHKDGUDLVHGDERXWWKH
SX]]OHVHOIUHSRUWGHSHQGHQWYDULDEOHRQ0DUFKDQG$SULODQGWKDWJLYHQKRZKHU
FRQFHUQVZHUHDGGUHVVHGLQDQGLQZKHQWKHUHSOLFDWLRQVWXG\ZDVFRQGXFWHGVKHZDVXQGHU
WKHLPSUHVVLRQWKDWWKH$SULOYHUVLRQRIWKHPDQXVFULSWDFFXUDWHO\GHVFULEHGWKHVWXG\SURFHGXUH
IRUH[SHULPHQW5HFHQWO\KRZHYHUWKH&RPPLWWHHQRWLFHGWKDWRQHRWKHUFRDXWKRUKDGLQGHHG
H[SUHVVHGDFRQFHUQDERXWFROOHFWLRQRIWKHGHSHQGHQWYDULDEOH6SHFLILFDOO\LQDQHPDLOWRWKHFRDXWKRU
WHDPGDWHG0DUFK VHH([KLELWS FRDXWKRU                   VWDWHG DIWHUKLVILUVWUHDGLQJRI
                                                                                                                       
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 33 of 1282



WKHPDQXVFULSW ³,QPXOWLSOHODEVWXGLHVZHQHHGWRFODULI\KRZZHNQRZZKHQVRPHRQHFKHDWV,
FRXOGQ¶WILQGWKDWLQWKHSDSHU«WKLVPD\EHP\HUURU´

3URIHVVRU*LQR¶V5HVSRQVHIRU$OOHJDWLRQD

        ,QERWKWKH,QTXLU\&RPPLWWHHDQG,QYHVWLJDWLRQ&RPPLWWHHSURFHHGLQJV3URIHVVRU*LQR
DFNQRZOHGJHGWKDWSD\LQJSDUWLFLSDQWVIRUWKHLUPDWUL[SX]]OHSHUIRUPDQFHRQWKHEDVLVRIWKHLUVHOI
UHSRUWHGSHUIRUPDQFHWRWKHH[SHULPHQWHULQURRPEHIRUHWKH\VDZWKHWD[IRUPZRXOGKDYH
UHSUHVHQWHGDVHULRXVIODZLQWKHSURFHGXUHDQGLQYDOLGDWHGWKHUHVXOWVIRUWKDWGHSHQGHQWYDULDEOH,QKHU
1RYHPEHUPHPRUDQGXPWRWKH,QYHVWLJDWLRQ&RPPLWWHHGXULQJKHU1RYHPEHU
LQWHUYLHZDQGLQDQHPDLOWRWKH&RPPLWWHHGDWHG1RYHPEHU VHH([KLELWVDQG
UHVSHFWLYHO\ 3URIHVVRU*LQRDIILUPHGKHUFRQILGHQFHLQWKHGHVFULSWLRQRIWKHVWXG\SURFHGXUHDVLW
DSSHDUVLQWKHSXEOLVKHGSDSHUDQGDVVHUWHGWKDWVKHKDVQHYHUZULWWHQDQ\WKLQJLQKHUSXEOLFDWLRQVZLWK
WKHLQWHQWLRQWRPLVOHDG6KHLQGLFDWHGWKDWWKHUHYLVLRQVVKHPDGHWRWKHPDQXVFULSWDWHDFKVWDJHZHUH
DLPHGDWLPSURYLQJWKHDFFXUDF\DQGFODULW\RIWKHSURFHGXUHGHVFULSWLRQ0RUHRYHUVKHVXJJHVWHGWKDW
KHUFKDQJHVWRWKH$SULOYHUVLRQSUREDEO\UHIOHFWHGZKDWVKHXQGHUVWRRGWKHVWXG\SURFHGXUHWREH
EDVHGRQDFRQYHUVDWLRQVKHZRXOGKDYHKDGZLWK               WRFODULI\H[DFWO\ZKDWSURFHGXUHKDGEHHQ
XVHGGXULQJGDWDFROOHFWLRQLQ-XO\6KHDOVRVWDWHGWKDWLWLVSRVVLEOHWKDWLQWKHILUVWGUDIWRIWKH
PDQXVFULSWVKHPD\KDYHFRSLHGDVWXG\SURFHGXUHIURPDSUHYLRXVVLPLODUVWXG\WKHUHE\LQWURGXFLQJ
LQDFFXUDFLHVVKHQRWHGWKDWW\SLFDOO\VKHGRHVQ¶WSD\PXFKDWWHQWLRQWRWKHSURFHGXUHGHVFULSWLRQVLQ
HDUO\GUDIWVRIKHUPDQXVFULSWV,QDGGLWLRQ3URIHVVRU*LQRDUJXHGWKDWWKH81&,5%DSSOLFDWLRQGHWDLOLQJ
WKHVWXG\SURFHGXUHZKLFKZDVRQKHUVHTXHVWHUHGKDUGGULYHPD\QRWUHSUHVHQWKRZ6WXG\ZDV
DFWXDOO\UXQVLQFHLWZDVFRPPRQWRREWDLQ,5%DSSURYDOZLWKDEURDGGHVFULSWLRQRIWKHVWXG\SURFHGXUH
DQGVWLPXOLDQGWRPDNHVPDOOWZHDNVDIWHUDSSURYDOZLWKRXWVXEPLWWLQJDPRGLILFDWLRQWRWKH,5%WR
DPHQGWKHRULJLQDOO\DSSURYHGSURWRFRO              VDLGHVVHQWLDOO\WKHVDPHWKLQJDERXWWKH,5% )LQDOO\
3URIHVVRU*LQRSRLQWHGRXW DQGSURYLGHGHYLGHQFHLQWKHIRUPRIDQHPDLOLQ0D\IURPILUVWDXWKRU
          WKDWGLIIHUHQWYHUVLRQVRIWKHPDQXVFULSWZHUHH[FKDQJHGLQUDSLGVXFFHVVLRQDPRQJWKHFR
DXWKRUVRIWKHSDSHUDQGWKDWWKHIRUHQVLFDQDO\VHVSHUIRUPHGE\0&*DQGWKH&RPPLWWHHPD\KDYH
HUURQHRXVO\DVVXPHGOLQHDULW\DFURVVYHUVLRQV±WKDWLVWKDWHDFKYHUVLRQWRRNWKHSUHYLRXVRQHLQWR
SURSHUFRQVLGHUDWLRQDQGLPSURYHGRQLW

        7KH,QYHVWLJDWLRQ&RPPLWWHHFDUHIXOO\HYDOXDWHGWKHVHSRVVLEOHH[SODQDWLRQVDVLWVWUXJJOHGWR
PDNHVHQVHRIWKHNH\SURFHGXUDOLVVXHFRQFHUQLQJWKHYDOLGLW\RIWKHGHSHQGHQWYDULDEOHPHDVXUHRI
FKHDWLQJRQVHOIUHSRUWHGSX]]OHSHUIRUPDQFHVSHFLILFDOO\ZKHQZKHUHDQGKRZSDUWLFLSDQWVVHOI
                                                                                                                 
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 34 of 1282



UHSRUWHGWKHLUSX]]OHSHUIRUPDQFHWRWKHH[SHULPHQWHU7KH&RPPLWWHHDOVRVWUXJJOHGZLWKWZRDGGLWLRQDO
ILQGLQJVWKDWHPHUJHGIURPDYDLODEOHHYLGHQFH)LUVWDVVKRZQLQWKH0&*IRUHQVLFUHSRUWRQDOOHJDWLRQ
ELWDSSHDUVWKDWLQWKHGDWDSURYLGHGE\          WKHUHLVDVLJQLILFDQWGLIIHUHQFHRQWKHPDWUL[
FKHDWLQJPHDVXUHEHWZHHQWKHVLJQDWWRSDQGWKHVLJQDWERWWRPFRQGLWLRQVZLWKPRUHFKHDWLQJLQWKH
VLJQDWERWWRPFRQGLWLRQ VHHIRUHQVLFUHSRUWLQ([KLELWSSDQG 7KH&RPPLWWHHGLVFXVVHGKRZ
WKDWPHDVXUHFRXOGVKRZDVLJQLILFDQWHIIHFWLIFROOHFWLRQRIWKDWGHSHQGHQWYDULDEOH VHOIUHSRUWRISX]]OH
SHUIRUPDQFHIRUSD\PHQW KDGRFFXUUHGEHIRUHPDQLSXODWLRQRIWKHLQGHSHQGHQWYDULDEOH ORFDWLRQRIWKH
VLJQDWXUHRQWKHWD[IRUP 6HFRQGWKH&RPPLWWHHQRWHGWKDWDVGRFXPHQWHGLQWKH0&*IRUHQVLFUHSRUW
IRUDOOHJDWLRQDLISDUWLFLSDQWVKDGEHHQSDLGLQURRPIRUSX]]OHSHUIRUPDQFHDQGWKHQDJDLQLQURRP
WKRVHZLWKFODLPHGH[SHQVHGHGXFWLRQVWKDWZHUHORZHUWKDQWKHWD[GXH±RUSDUWLFLSDQWV
    GHSHQGLQJRQWKHGDWDVHWXVHG ±ZRXOGKDYHRZHGPRQH\EDFNWRWKHH[SHULPHQWHULQURRP VHH
IRUHQVLFUHSRUWLQ([KLELWS $FFRUGLQJWRWKH&RPPLWWHH¶VFDOFXODWLRQVRQWKH26)GDWDVHWRI
WKHSDUWLFLSDQWVZRXOGKDYHRZHGPRQH\WZRRIWKHVHZRXOGKDYHRZHGPRUHWKDQ DQG 
           LQGLFDWHGWKDWVKHKDVQRPHPRU\RIHYHUDVNLQJIRUPRQH\EDFNIURPSDUWLFLSDQWVGXULQJKHU
WLPHDVDODEPDQDJHUDW81&QRUGRHVVKHUHFDOODQH[SHULPHQWZKHUHVHYHUDOSDUWLFLSDQWVRZHGPRQH\
EDFNDWWKHHQGRIWKHH[SHULPHQW0RUHRYHUERWK3URIHVVRU*LQRDQG               DUJXHGWKDWLWLV
LPSODXVLEOHWKDWDQH[SHULPHQWHUZRXOGGHPDQGPRQH\EDFNIURPSDUWLFLSDQWVDWWKHHQGRIDQ
H[SHULPHQW7KH&RPPLWWHHVLPLODUO\ILQGVWKLVLPSODXVLEOH+RZHYHUDVQRWHGEHORZWKH&RPPLWWHH
KDVHYLGHQFHIURP            ¶VWHVWLPRQ\VXJJHVWLQJWKDWSDUWLFLSDQWVFRXOGKDYHERWKRZHGPRQH\DWWKH
HQGRIWKHH[SHULPHQWDQGEHHQDOORZHGWROHDYHZLWKWKHPRQH\WKH\KDGDOUHDG\UHFHLYHG

           ,QKHU5HVSRQVH ([KLELW 3URIHVVRU*LQRUHLWHUDWHGWKHH[SODQDWLRQVVKHKDGJLYHQLQ
1RYHPEHUDJDLQKLJKOLJKWLQJWKHLPSODXVLELOLW\RIVRPDQ\SDUWLFLSDQWVRZLQJWKHH[SHULPHQWHU
PRQH\DWWKHHQGRIWKHH[SHULPHQW,QDGGLWLRQVKHSURYLGHGPDWHULDOVWRVXSSRUWKHUHDUOLHUGHIHQVHRI
SRVVLEOHKRQHVWHUURURQKHUSDUWLQWKHHDUOLHUGUDIWVRIWKH6WXG\SURFHGXUHVHFWLRQRIWKHPDQXVFULSW
6SHFLILFDOO\LQKHU([KLELWVKHSURYLGHGSDVVDJHVRISURFHGXUHVHFWLRQVIURPVHYHUDOHDUOLHUSDSHUVVKH
KDGSXEOLVKHGZLWKVWXGLHVXVLQJWKHVDPHPDWUL[WDVN+HUGHVFULEHGSXUSRVHLQSURYLGLQJWKHVHSDVVDJHV
ZDVWRVXSSRUWKHUVXSSRVLWLRQWKDWLQKHUKDVWHWRSUHSDUHWKHHDUO\GUDIWVLQVKHPLJKWKDYHVLPSO\
FRSLHGDSURFHGXUHVHFWLRQIURPDSUHYLRXVPDQXVFULSWDQGLQVHUWHGLWLQWRWKLVPDQXVFULSW:HIRXQGWKLV
SRVVLELOLW\DVZHOODVKHUVWDWHPHQWWKDWVKHUDUHO\SD\VFORVHDWWHQWLRQWRWKHSURFHGXUHVHFWLRQVRI
PDQXVFULSWVXQWLOWKH\QHDUWKHILQDOYHUVLRQWREHTXLWHSODXVLEOH+RZHYHUZHGLGQRWILQGZRUGLQJLQ
WKHSDVVDJHVSURYLGHGWRXVWREHVXIILFLHQWO\FORVHWRWKHDFWXDOZRUGLQJLQVHUWHGLQWKH)HEUXDU\DQG
0DUFKGUDIWVWRVXSSRUWKHUH[SODQDWLRQRIDKDVW\FRS\DQGSDVWHZULWLQJSURFHVV
                                                                                                           
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
        ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 35 of 1282



         ,QKHU5HVSRQVH3URIHVVRU*LQRDOVRSURSRVHGDGLIIHUHQWIRUPRIKRQHVWHUURURQKHUSDUWDVDQ
H[SODQDWLRQIRUWKHPDQXVFULSWFKDQJHVQDPHO\WKDWLQKHUKDVWHWRSUHSDUHWKHILUVWGUDIWVKHPLJKWQRW
KDYHSDLGFORVHDWWHQWLRQWRZKDWVKHZURWHLQWKHSURFHGXUHVHFWLRQLQWHQGLQJWRIL[LWLQODWHUGUDIWV7KLV
H[SODQDWLRQWRRVHHPHGSODXVLEOHDWIDFHYDOXH+RZHYHULWEHFDPHOHVVSODXVLEOHWRXVDVZHFRQVLGHUHG
WKHVSHFLILFQDWXUHRIWKHUHYLVLRQVPDGHWRWKHSURFHGXUHVHFWLRQRI6WXG\LQWKH0DUFKDQG$SULO
YHUVLRQVRIWKHPDQXVFULSW

         ,QKHU5HVSRQVH ([KLELW 3URIHVVRU*LQRLQFOXGHGVHYHUDORWKHUVWDWHPHQWVDQGPDWHULDOVLQ
GHIHQVHDJDLQVWWKLVDOOHJDWLRQ7KH,QYHVWLJDWLRQ&RPPLWWHHFDUHIXOO\FRQVLGHUHGDQGGLVFXVVHGWKHVH
VWDWHPHQWVDQGPDWHULDOVEXWGLGQRWILQGDQ\RIWKHPWREHSHUVXDVLYH 


                                      


  ,QEULHI3URIHVVRU*LQR  DWWHPSWHGWRXQGHUPLQHWKHWHVWLPRQ\RI3URIHVVRU              LUUHOHYDQWEHFDXVHZH
EDVHGRXUGHFLVLRQPDNLQJSULPDULO\RQRXUDQDO\VLVRI)HEUXDU\0D\YHUVLRQVRIWKHPDQXVFULSWZKLFK
3URIHVVRU        ¶VWHVWLPRQ\PHUHO\FRQILUPHG   TXHVWLRQHG3URIHVVRU           ¶VVWDQFHRQWKH6WXG\SURFHGXUH
IRUH[DPSOHRQSRIWKH5HVSRQVH3URIHVVRU*LQRVWDWHG³,ILQGLWUHDOO\SX]]OLQJWKDW            DJUHHGWRFRQGXFW
DGLUHFWUHSOLFDWLRQXVLQJODQJXDJHDQGDSURFHGXUHVKHDSSDUHQWO\KDGLVVXHVZLWK2UWKDWVKHDJUHHGWRUHSOLFDWHD
VWXG\WKDWPD\KDYHXVHGDGLIIHUHQWSURFHGXUHZLWKRXWUDLVLQJWKLVFRQFHUQ´ 7KLVLVEDVHGRQDIDOVHDVVXPSWLRQ
EHFDXVH3URIHVVRU         QHYHUVDLGLQKHUWHVWLPRQ\RUKHUHPDLOVLQHYLGHQFHWKDWVKHGRXEWHGWKHSURFHGXUHLQ
6WXG\DVLWDSSHDUHGLQWKHSXEOLVKHGSDSHU,QIDFWRQSRIKHUZULWWHQWHVWLPRQ\WRXV3URIHVVRU           VDLG
³*LYHQKRZP\FRPPHQWVFRQFHUQVDERXW([SHULPHQW¶VSURFHGXUHZHUHKDQGOHGLQDQG,KDYHEHHQ
XQGHUWKHLPSUHVVLRQWKDWWKHVHQWHQFHV\RXKDYHQRWHGLQWKHVFUHHQVKRWVEHORZPRUHRUOHVVDFFXUDWHO\GHVFULEHWKH
SURFHGXUHRI([SHULPHQW´7KRVHVFUHHQVKRWVZHUHRIWKH$SULOYHUVLRQRIWKHPDQXVFULSWZKLFKZHUH
VXEVWDQWLYHO\WKHVDPHLQWKHILQDOSXEOLVKHGSDSHU   DVVHUWHGRQSRIWKH5HVSRQVHWKDWQHLWKHUVKHQRUZH
KDYHWKHILQDODSSURYHGYHUVLRQRIWKH,5%IRU6WXG\ VSHFXODWLYHDV3URIHVVRU*LQRKDVSURGXFHGQRHYLGHQFH
WKDWZKDWZHIRXQGRQKHUKDUGGULYHLVQRWWKHILQDODSSURYHGYHUVLRQ   DVVHUWHGRQSRIWKH5HVSRQVHWKDW
VKHPD\KDYHLQVHUWHGLQDFFXUDFLHVLQWRWKH0DUFKDQG$SULOYHUVLRQVRIWKHPDQXVFULSWEHFDXVHVKHZDV
GLVWUDFWHGE\KHUGXWLHVDVDQHZIDFXOW\PHPEHUDW+%6DQGWHDFKLQJDW+%6IRUWKHILUVWWLPH LPSODXVLEOHDVVKH
SURDFWLYHO\LQVHUWHGFKDQJHVWKDWZHYLHZDVVHULRXVPLVVWDWHPHQWV   DVVHUWHGDOVRRQSRIWKH5HVSRQVHWKDW
3URIHVVRU        ¶VFRQFHUQVDERXWWKHSURFHGXUHUDLVHGLQKHUFRPPHQWLQDQGHPDLODERXWWKH0DUFK
YHUVLRQRIWKHPDQXVFULSW³GLGQRWVHHPOLNHVXFKDVHULRXVTXHVWLRQDERXWWKHSURFHGXUH´ LPSODXVLEOHEHFDXVHD
UHVHDUFKHUZLWK3URIHVVRU*LQR¶VH[SHULHQFHVKRXOGKDYHXQGHUVWRRGDTXHVWLRQDERXWWKHYDOLGLW\RIRQHRIWKHWZR
GHSHQGHQWYDULDEOHVWREHVHULRXV   DVVHUWHGWKDW            ¶VDXGLRUHSOLHVWRKHUTXHVWLRQVDQGWKHIDFWWKDWWKH
GLUHFWUHSOLFDWLRQVWXG\IROORZHGWKHSURFHGXUHDVGHVFULEHGLQWKHSURFHGXUHVHFWLRQRI6WXG\LQWKH
SDSHULQFOXGLQJWKHVDPHWD[IRUPDUHHYLGHQFHWKDWWKHWUXH6WXG\SURFHGXUHZDVLQIDFWDVLWZDVSXEOLVKHGLQ
 FLUFXODUUHDVRQLQJEHFDXVHDOORIWKHLQIRUPDWLRQ              KDGDERXW6WXG\ZKLFKVKHDQG3URIHVVRU
       XVHGWRGHYHORSWKHPDWHULDOVDQG5$LQVWUXFWLRQVIRUUXQQLQJWKHUHSOLFDWLRQVWXG\FDPHIURP
3URIHVVRU*LQR7KHSURFHGXUHVRIWKHGLUHFWUHSOLFDWLRQVWXG\DUHLUUHOHYDQWWRWKLVLQYHVWLJDWLRQ   UHSRUWHG
RQSRIWKH5HVSRQVHWKDWZKHQVKHFRQWDFWHGKHUIRUPHU5$               DERXWWKH6WXG\SURFHGXUHLQ         
     GLGQRW³UDLVHDQ\GRXEWDERXWWKHYDOLGLW\RIWKHVWXGLHVRUWKHSURFHGXUHVXVHG´ LUUHOHYDQWJLYHQWKHSDVVDJH
RI\HDUVVLQFHWKHVWXG\KDGEHHQFRQGXFWHGWKHPDQ\VLPLODUVWXGLHVWKDW               KDGUXQRUVXSHUYLVHGDQGWKH
&RPPLWWHH¶VREVHUYDWLRQWKDW             GLGQ¶WSRVVHVVVXIILFLHQWNQRZOHGJHRIH[SHULPHQWDOGHVLJQWRKDYHUDLVHG
YDOLGLW\FRQFHUQVDWDQ\SRLQW   DVVHUWHGRQSSRIWKH5HVSRQVHWKDWWKH&RPPLWWHHPLVLQWHUSUHWHGWKHSDVW
WHQVHZRUGLQJRI³SD\PHQW\RXUHFHLYHG´RQWKHWD[IRUPDVHYLGHQFHWKDWSDUWLFLSDQWVPD\KDYHEHHQSDLGIRU
SX]]OHSHUIRUPDQFHEHIRUHVHHLQJWKHWD[IRUPEDVHGRQWKHIDFWWKDWQHLWKHU                 QRUWKHUHSOLFDWLRQ

                                                                                                                           
        7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
     ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
       352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 36 of 1282



         7KH,QYHVWLJDWLRQ&RPPLWWHHVWUXJJOHGWRUHFRQFLOH3URIHVVRU*LQR¶VH[SODQDWLRQVDQGWKHWZR
SX]]OLQJSLHFHVRIHYLGHQFHGHVFULEHGDERYHZLWKWKHUHVWRIWKHDYDLODEOHHYLGHQFHSUHVHQWHGKHUHLQ
HYLGHQFHWKDWVHHPHGWRSRLQWWRDQLQWHQWLRQDOREIXVFDWLRQRIWKHDFWXDOVWXG\SURFHGXUHE\3URIHVVRU
*LQRRYHUPDQXVFULSWYHUVLRQVDQGLQWKHILQDOSXEOLFDWLRQ8OWLPDWHO\DIWHUFRQVLGHUDEOHGHOLEHUDWLRQWKH
,QYHVWLJDWLRQ&RPPLWWHHZDVVSOLWDVWRZKHWKHUDILQGLQJRIUHVHDUFKPLVFRQGXFWZDVZDUUDQWHGIRUWKLV
DOOHJDWLRQ2QH&RPPLWWHHPHPEHUIHOWWKDWWKHEXUGHQRISURRIE\DSUHSRQGHUDQFHRIWKHHYLGHQFH
VWDQGDUGZDVQRWPHWSULPDULO\EHFDXVHRIWKHVLJQLILFDQWGLIIHUHQFHIRXQGEHWZHHQWKHWZRH[SHULPHQWDO
FRQGLWLRQVLQWKH0&*DQDO\VLVRI               ¶VGDWDVHWDQGEHFDXVHRIWKHLPSODXVLELOLW\WKDW              
ZRXOGKDYHQRPHPRU\RIDQH[SHULPHQWZLWKVXFKDQXQXVXDOVLWXDWLRQDVRUPRUHSDUWLFLSDQWVRZLQJ
PRQH\DWWKHHQGRIWKHLUVHVVLRQV

         7KHRWKHUWZR&RPPLWWHHPHPEHUVZHUHSHUVXDGHGWKDWUHVHDUFKPLVFRQGXFWRFFXUUHGEDVHGRQ
WKHIROORZLQJIDFWRUVD 7KHVWHSE\VWHSH[SHULPHQWDOSURFHGXUHRXWOLQHGLQWKH,5%GRFXPHQWDQG
RWKHUVWXG\PDWHULDOVIRXQGRQ3URIHVVRU*LQR¶VVHTXHVWHUHGKDUGGULYHFRQWUDGLFWWKHSXEOLVKHGSDSHULQ
ZD\VWKDWJREH\RQGVPDOOWZHDNVE (YHQLI3URIHVVRU*LQRKDGFRSLHGDVWXG\SURFHGXUHIURPD
SUHYLRXVVLPLODUVWXG\DQGSDVWHGLWLQWRWKHQHZILUVWGUDIWGRFXPHQWIRUWKLVH[SHULPHQWWKHUHLVQR
H[SODQDWLRQIRUZK\VKHSURDFWLYHO\ZRXOGKDYHPDGHVXEVHTXHQWUHYLVLRQVWRWKHSURFHGXUHGHVFULSWLRQ
                                    

5$VQRUDQ\FRDXWKRUVQRU DFFRUGLQJWR3URIHVVRU*LQR WKHHGLWRUDQGUHYLHZHUVRIWKHDQG
SDSHUVHYHU³KDGWKDWPLVLQWHUSUHWDWLRQ´DERXWWKHSDVWWHQVHZRUGLQJ LQDFFXUDWHFKDUDFWHUL]DWLRQRIZKDW 
       VD\V             LQKHUUHSO\SRI([KLELW ±LQRXUYLHZWKHSHUVRQPRVWOLNHO\WRKDYHQRWLFHG
WKLVZRUGLQJEHFDXVHVKHZDVUHVSRQVLEOHIRUSUHSDULQJVWXG\PDWHULDOVIRUWKHUHSOLFDWLRQ±VD\V³,GLGQ¶WQRWLFHLW
>WKHSDVWWHQVHZRUGLQJ@´SRVVLEO\EHFDXVHWKHSULQWZDVVRVPDOODQGVKHIXUWKHUVD\VWKDWWKHSDVWWHQVHZRUGLQJ
ZDVQ¶WULJKWDQGVKRXOGEHFRUUHFWHGLQIXWXUHVWXGLHV7KXVZHUHDVRQWKDWWKHIDLOXUHRIDOOWKHVHSHRSOHWRUDLVHD
FRQFHUQDERXWWKHSDVWWHQVHZRUGLQJFRXOGVLPSO\LQGLFDWHWKDWWKH\KDGQ¶WQRWLFHGLW   DVVHUWHGRQSSRI
WKH5HVSRQVHWKDWWKH&RPPLWWHHLQDSSURSULDWHO\XVHGDVHYLGHQFHWKHPDWHULDOVRQKHUKDUGGULYHWKDWZHUHLQD
IROGHUWKDWVKHKDGSUHYLRXVO\LQGLFDWHGFRQWDLQHGWKHPDWHULDOVIRU6WXG\ ³7D[VWXG\´ ZLWK³FUHDWHG´GDWHVRI
VSULQJVXPPHU XQIRXQGHGEHFDXVHVKHQHYHUSURYLGHGWKH&RPPLWWHHZLWKRWKHUILOHVFUHDWHGLQWKDW
DFFRUGLQJWRKHUDUHWKHFRUUHFWPDWHULDOVXVHGLQ6WXG\0RUHRYHU             SURYLGHGVRPHRIWKRVHVDPHILOHV
LGHQWLILHGDVILOHVIRUWKDWVWXG\WKH\ZHUHDWWDFKHGWRHPDLOVIURP3URIHVVRU*LQRWRKHUZKLFKVKHVKDUHG
ZLWKWKH&RPPLWWHH DQG  QRWHG FRUUHFWO\ WKDWWKH&RPPLWWHHUHOLHGSULPDULO\RQWKH)HEUXDU\0D\
YHUVLRQVRIWKHPDQXVFULSWWKDWZHUHIRXQGRQKHUKDUGGULYHDQGDVVHUWHGWKDWVXFKUHOLDQFHZDVLQDSSURSULDWH
EHFDXVHWKHUHPD\KDYHEHHQRWKHUYHUVLRQVRIWKHPDQXVFULSW3URIHVVRU*LQRIXUWKHUVWDWHGWKDWWKH&RPPLWWHH
DVVXPHGOLQHDULW\RIWKHYHUVLRQVDQGSURYLGHGVRPHHYLGHQFH DQHPDLOIURP               WRWKHFRDXWKRUWHDPLQ
0D\ LQGLFDWLQJWKDWWKHYHUVLRQVEHLQJH[FKDQJHGDPRQJFRDXWKRUVPD\QRWKDYHEHHQSXUHO\OLQHDUDQGWKDW
 DVQRWHGLQWKH0&*UHSRUW WKHUHFRXOGKDYHEHHQRWKHUQRQHPDLOFRPPXQLFDWLRQVDPRQJWKHFRDXWKRUVWKDW
FRXOGFRQVWLWXWHLPSRUWDQWHYLGHQFH SRVVLEOHEXWQRWPDWHULDOWRRXUFRQFOXVLRQVRQWKLVDOOHJDWLRQ8SRQRXU
UHTXHVWIRUDOOYHUVLRQVRIWKLVPDQXVFULSWDVLWZDVEHLQJSUHSDUHGIRUILUVWMRXUQDOVXEPLVVLRQ3URIHVVRU        
SURYLGHGXVZLWKWKHVDPHGRFXPHQWVIRXQGRQ3URIHVVRU*LQR¶VKDUGGULYH0RUHRYHU3URIHVVRU*LQRIDLOHGWR
SURYLGHDQ\RWKHUYHUVLRQVRIWKHPDQXVFULSWRUH[SODLQKRZDQRQOLQHDULW\RIYHUVLRQVEHLQJH[FKDQJHGDPRQJFR
DXWKRUVRURWKHUFRPPXQLFDWLRQVWKDWWKHFRDXWKRUVPD\KDYHKDGFRXOGDIIHFWWKHREVHUYDWLRQVZHPDGHDERXWWKH
FKDQJHVPDGHE\3URIHVVRU*LQRLQFKURQRORJLFDOO\VHTXHQWLDOYHUVLRQV 
                                                                                                                      
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 37 of 1282



RQERWK0DUFKDQG$SULOWKDWZHUHDOVRLQDFFXUDWHDVWKHVHVXEVHTXHQWPRGLILFDWLRQVJRWRWKHKHDUW
RIH[SHULPHQWDOPHWKRGRORJ\ LHWKHUHTXLUHPHQWWKDWWKHLQGHSHQGHQWYDULDEOHPDQLSXODWLRQPXVWRFFXU
EHIRUHWKHGHSHQGHQWYDULDEOHLVPHDVXUHG DQGPRUHRYHU3URIHVVRU*LQRSURYLGHGQRHYLGHQFHRID
SULRUPDQXVFULSWZLWKWKHSURFHGXUDOZRUGLQJFORVHWRWKDWIRXQGLQWKHILUVWGUDIWRIWKHPDQXVFULSWF 
3URIHVVRU*LQRVXJJHVWHGWKDWVKHSUREDEO\GLGQ¶WWDONWR           WRFOHDUXSWKHSURFHGXUHXQWLODIWHUKHU
0DUFKWKUHYLVLRQZKLFKVHHPVXQOLNHO\JLYHQWKDW3URIHVVRU         UDLVHGVHULRXVTXHVWLRQVDERXWWKH
SURFHGXUHRQ0DUFK LH3URIHVVRU        GHVFULEHGKHUFRQFHUQDERXWWKHGHSHQGHQWYDULDEOHDWWKH
                                WK
EHJLQQLQJRIKHUEULHI0DUFK HPDLOWRFRDXWKRUVDQGDOVRGHVFULEHGLWLQDFRPPHQWZLWKLQWKH
GRFXPHQW G *LYHQWKDW3URIHVVRU*LQR¶VPDMRUFKDQJHVWRWKHDVSHFWRIWKHSURFHGXUHGHVFULSWLRQDW
LVVXH LHSD\PHQWIRUWKHSX]]OHWDVNEDVHGRQWKHFROOHFWLRQVOLSVXEPLWWHGWRWKHH[SHULPHQWHULQURRP
 RFFXUUHGLQWKHUHYLVLRQVWKDWVKHPDGHRQ0DUFKDQG$SULO±LQHDFKFDVHLPPHGLDWHO\IROORZLQJ
WKHYHUVLRQVLQZKLFK3URIHVVRU         KDGUDLVHGTXHVWLRQVDERXWWKDWDVSHFW VHH0DUFKDQG$SULO
HPDLOVLQ([KLELW ±LWLVSODXVLEOHWKDW3URIHVVRU*LQRPDGHFKDQJHVWRGUDIWVRIWKHPDQXVFULSWLQ
RUGHUWRREVFXUHWKHSUREOHPZLWKWKHGHSHQGHQWYDULDEOHFROOHFWLRQWKDW3URIHVVRU          KDGGHWHFWHGH 
,WLVSRVVLEOHWKDWWKHVLJQLILFDQWHIIHFWGHWHFWHGE\0&*RQWKHFKHDWLQJPHDVXUHLQWKHGDWDVHWSURYLGHG
E\0V       PD\EHDFFRXQWHGIRUE\VRPHRWKHUXQLGHQWLILHGYDULDEOHRUIDFWRURUE\FKDQFHDQGI ,Q
KHUWHVWLPRQ\          LQGLFDWHGWKDWRQWKHUDUHRFFDVLRQVZKHQDSDUWLFLSDQWLQWKH81&ODEZDV
PLVWDNHQO\SDLGPRUHPRQH\WKDQWKH\ZHUHGXHLQDQH[SHULPHQWWKHH[SHULPHQWHULQFKDUJHZRXOGQRW
UHTXHVWPRQH\EDFNIURPWKHPEXWZRXOGLQVWHDGVLPSO\OHWWKHPNHHSZKDWWKH\KDGUHFHLYHG:HWKXV
EHOLHYHLWLVSRVVLEOHWKDWLQWKLVVWXG\ZLWKWKHUHODWLYHO\VPDOODPRXQWVRIPRQH\WKDWZHUHRZHGWKH
H[SHULPHQWHUVDOORZHGSDUWLFLSDQWVZLWKORZHUH[SHQVHVWKDQWD[HVWRNHHSWKHPRQH\DOUHDG\UHFHLYHG

&RQFOXVLRQIRU$OOHJDWLRQD

          %\DSUHSRQGHUDQFHRIWKHHYLGHQFHDPDMRULW\RIWKH,QYHVWLJDWLRQ&RPPLWWHHILQGWKDW
3URIHVVRU*LQRLQWHQWLRQDOO\NQRZLQJO\RUUHFNOHVVO\IDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJ
RUDOWHULQJSDUWVRIWKHGHVFULSWLRQVRIVWXG\SURFHGXUHVIURPGUDIWVRIWKHPDQXVFULSWVXEPLWWHGIRU
SXEOLFDWLRQWKXVPLVUHSUHVHQWLQJWKHVWXG\SURFHGXUHVLQWKHILQDOSXEOLFDWLRQ$FFRUGLQJO\ZHILQG
3URIHVVRU*LQRUHVSRQVLEOHIRUUHVHDUFKPLVFRQGXFWZLWKUHVSHFWWR$OOHJDWLRQD



          


                                                                                                              
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 38 of 1282



$OOHJDWLRQE

        :LWKUHVSHFWWR6WXG\LQWKH31$63DSHU
        'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHRULJLQDOGDWDVHWE\DOWHULQJDQXPEHURI
        REVHUYDWLRQVLQDZD\WKDWIDYRUHGWKHK\SRWKHVL]HGUHVXOWV

)LQGLQJRI)DFWIRU$OOHJDWLRQE

        ,QRUGHUWRHYDOXDWHWKLVDOOHJDWLRQWKH,QYHVWLJDWLRQ&RPPLWWHHFRQVLGHUHGWKHIROORZLQJ
HYLGHQFHD DGHVFULSWLRQRIWKHGDWDDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQWLQWKH2SHQ6FLHQFH
)UDPHZRUN ³26)´ GDWDVHWDYDLODEOHWRWKHSXEOLF ,QTXLU\5HSRUW([KLELW E WKH,QTXLU\
&RPPLWWHH¶VUHSOLFDWLRQRIWKHDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQW ,QTXLU\5HSRUW([KLELW F 
RUDOWHVWLPRQ\E\3URIHVVRU*LQR¶VODEPDQDJHUDWWKHWLPHWKHGDWDZHUHFROOHFWHG                         
DQGZULWWHQWHVWLPRQ\E\3URIHVVRU*LQR¶VFRDXWKRURQWKH31$6SDSHU3URIHVVRU                       VHH
([KLELWVDQG([KLELWUHVSHFWLYHO\  WKHILUVWDXWKRURIWKLVSDSHU              GHFLGHGQRWWR
SDUWLFLSDWHLQWKHSURFHVVDIWHUUHFHLYLQJZULWWHQTXHVWLRQVIURPWKH&RPPLWWHH DQGG 0&*¶VIRUHQVLF
UHSRUWGHWDLOLQJGLVFUHSDQFLHVEHWZHHQWKHGDWDVHWVSURYLGHGE\              DQGWKH26)GDWDVHW ([KLELW
 $GHVFULSWLRQRIWKHUHIHUHQFHGHYLGHQFHLVSURYLGHGEHORZDQGDSSHQGHGDVH[KLELWVWRWKLVUHSRUW

        ,QWKHLUZULWWHQUHVSRQVHWRWKH,QTXLU\&RPPLWWHHWKH&RPSODLQDQWLGHQWLILHGRXWRIVRUW
REVHUYDWLRQVLQFOXGLQJGXSOLFDWHREVHUYDWLRQZKHQWKHGDWDVHWLVVRUWHGE\SDUWLFLSDQWV¶FRQGLWLRQ
DVVLJQPHQWDQGE\SDUWLFLSDQW,'7KH&RPSODLQDQW¶VDQDO\VLVLOOXVWUDWHGDVWURQJGLUHFWLRQDOLW\WRWKH
DQRPDORXVUHVSRQVHVLQWKHGLUHFWLRQRIWKHK\SRWKHVL]HGHIIHFW ,QTXLU\5HSRUW([KLELWSS 7KH
,QTXLU\&RPPLWWHHUHSOLFDWHGWKHDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQWE\FRQGXFWLQJLWVRZQ
FRPSDULVRQDQGDQDO\VLVRIWKHGDWDVHWIURP3URIHVVRU*LQR¶VVHTXHVWHUHGKDUGGULYH,WIRXQGWKDWZKHQ
WKHDQRPDORXVREVHUYDWLRQVZHUHUHPRYHGIURPWKHGDWDVHWWKHPHDQVFRUHRQWUDYHOH[SHQVHV RQHRIWKH
GHSHQGHQWPHDVXUHVRIFKHDWLQJ RIWKH³6LJQDWXUHDW7RS´FRQGLWLRQLQFUHDVHGIURPWRDQGWKH
PHDQVFRUHRIWKH³6LJQDWXUHDW%RWWRP´FRQGLWLRQGHFUHDVHGIURPWR7KHDGMXVWPHQWUHGXFHGWKH
GLIIHUHQFHEHWZHHQWKHWZRJURXSVLQDGLUHFWLRQRSSRVLWHWRWKDWRIWKHDXWKRUV¶K\SRWKHVLV VHHSLQ
([KLELWRIWKHLQTXLU\UHSRUW 

        7KH,QYHVWLJDWLRQ&RPPLWWHHLQWHUYLHZHG               3URIHVVRU*LQR¶VODEPDQDJHUDWWKHWLPH
ZKRRYHUVDZWKHGDWDFROOHFWLRQIRUWKLVVWXG\DWWKH8QLYHUVLW\RI1RUWK&DUROLQD&KDSHO+LOO                
DVVHUWHGWKDWVKHFRQGXFWHGWKHGDWDFROOHFWLRQXQGHUWKHGLUHFWLRQDQGVXSHUYLVLRQRI3URIHVVRU*LQR
IROORZLQJVWDQGDUGODESUDFWLFHVDWWKHWLPHDQGWKDWVKHHPDLOHGWKHUDZGDWDWR3URIHVVRU*LQRXSRQ
                                                                                                                 
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 39 of 1282



FRPSOHWLRQRIWKHGDWDFROOHFWLRQ VHHHPDLOFRUUHVSRQGHQFHLQ([KLELW               DOVRLQGLFDWHGWKDW
VKHGLGQRWKDYHNQRZOHGJHRIWKHVWXG\K\SRWKHVHVDQGWKDWVKHZDVQRWLQYROYHGLQWKHDQDO\VHVRIWKH
GDWDEHFDXVHVKHGLGQRWKDYHWKHUHTXLUHGVWDWLVWLFDODQGPHWKRGRORJLFDOH[SHUWLVH              DOVRVWDWHG
WKDWVKHQHYHUIHOWSUHVVXUHGE\3URIHVVRU*LQRWRSURGXFHFHUWDLQUHVXOWVLQDVWXG\DQGQHYHUGRXEWHG
3URIHVVRU*LQR¶VLQWHJULW\7KH,QYHVWLJDWLRQ&RPPLWWHHDOVRVXEPLWWHGZULWWHQTXHVWLRQVWR3URIHVVRU
       ,QKHUZULWWHQUHVSRQVHVWRWKHVHTXHVWLRQV3URIHVVRU       LQGLFDWHGWKDWVKHZDVQRWD
FROODERUDWRURQWKLVSURMHFWDWWKHWLPHWKHGDWDIRUWKLVVWXG\ZHUHEHLQJFROOHFWHGDQGDQDO\]HGDVVKH
DQG3URIHVVRU            MRLQHGWKHSURMHFWDVFROODERUDWRUVDWDODWHUWLPH3URIHVVRU        DOVR
LQGLFDWHGVKHGLGQRWKDYHDFFHVVWRWKHGDWDDQGZDVQRWLQYROYHGLQWKHGDWDDQDO\VHVIRUWKLVVWXG\
3URIHVVRU*LQR¶VWHVWLPRQ\DJUHHVZLWKWKHVHVWDWHPHQWVDERXW3URIHVVRU            ¶VLQYROYHPHQW7KH
,QYHVWLJDWLRQ&RPPLWWHHIRXQGWKHLQIRUPDWLRQSURYLGHGE\ERWK                 DQG3URIHVVRU       WREH
FUHGLEOH

         7KH,QYHVWLJDWLRQ&RPPLWWHHFORVHO\H[DPLQHGWKHIRUHQVLFUHSRUWSURGXFHGE\0DLGVWRQH
&RQVXOWLQJ*URXSIRUWKLVDOOHJDWLRQ ([KLELW 0&*FRPSDUHGWKHGDWDVHWSURYLGHGE\                   ZLWK
WKHGDWDVHWSRVWHGRQ26)DQGFDUULHGRXWWKHVDPHDQDO\VHVRQERWK7KLVDQDO\VLVUHYHDOHGDODUJH
QXPEHURIGLVFUHSDQFLHVEHWZHHQWKHWZRGDWDVHWV7ZRW\SHVRIGLVFUHSDQFLHVDUHSDUWLFXODUO\QRWDEOH
ILUVWSDUWLFLSDQWV¶FRQGLWLRQDVVLJQPHQWVGLIIHUHGLQWKHWZRGDWDVHWVDQGVHFRQGRIWKH
SDUWLFLSDQWVWKDWFRXOGEHFRQILGHQWO\PDWFKHGKDGGDWDWKDWZHUHGLIIHUHQWLQWKHWZRGDWDVHWVZLWKQR
FOHDUO\LGHQWLILHGUHDVRQIRUWKHGLVFUHSDQFLHV$OOEXWRQHRIWKHVHGLVFUHSDQFLHVIDYRUWKHK\SRWKHVL]HG
DQGUHSRUWHGHIIHFWV0RUHRYHUWKHIRUHQVLFUHSRUWSRLQWHGWRGLIIHUHQFHVLQWKHVWDWLVWLFDOUHVXOWVIRUERWK
GHSHQGHQWYDULDEOHVWKDWFRQWUDGLFWWKHSXEOLVKHGSDSHU VHH([KLELWSS 

3URIHVVRU*LQR¶V5HVSRQVHIRU$OOHJDWLRQE

         ,QKHU1RYHPEHUPHPRUDQGXPWRWKH,QYHVWLJDWLRQ&RPPLWWHHDQGGXULQJKHU
1RYHPEHULQWHUYLHZZLWKWKH&RPPLWWHH VHH([KLELWVDQGUHVSHFWLYHO\ 3URIHVVRU*LQR
DVVHUWHGWKDWVKHQHYHUIDOVLILHGRUIDEULFDWHGDQ\GDWDVKHVXJJHVWHGWKDW           PD\KDYHIDOVLILHGWKH
GDWDVHWSULRUWRVHQGLQJLWWRWKH+%65,2DVSDUWRIWKHVHSURFHHGLQJVSRVVLEO\XQGHUWKHLQIOXHQFHRI
3URIHVVRU       ZKRP3URIHVVRU*LQRVSHFXODWHGPLJKWEHDEDGDFWRUZLWKLQWHQWLRQVWR³KXUW´KHU7KH
,QYHVWLJDWLRQ&RPPLWWHHGLGQRWILQGWKLVWKHRU\WREHSODXVLEOHIRUWKHUHDVRQVDUWLFXODWHGLQWKH³*HQHUDO
2EVHUYDWLRQV&RQFHUQLQJ$OO7HVWLPRQ\DQG5HVSRQGHQW¶V&UHGLELOLW\´VHFWLRQRIWKLVUHSRUW




                                                                                                                
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 40 of 1282



         ,QKHU5HVSRQVH ([KLELW 3URIHVVRU*LQRLQFOXGHGVHYHUDORWKHUVWDWHPHQWVDQGPDWHULDOVLQ
GHIHQVHDJDLQVWWKLVDOOHJDWLRQ7KH,QYHVWLJDWLRQ&RPPLWWHHFDUHIXOO\FRQVLGHUHGDQGGLVFXVVHGWKHVH
VWDWHPHQWVDQGPDWHULDOVEXWGLGQRWILQGDQ\RIWKHPWREHSHUVXDVLYH 

&RQFOXVLRQIRU$OOHJDWLRQE

%\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKH,QYHVWLJDWLRQ&RPPLWWHHILQGVWKDW3URIHVVRU*LQRLQWHQWLRQDOO\
NQRZLQJO\RUUHFNOHVVO\IDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWE\DOWHULQJDQXPEHURIREVHUYDWLRQVLQD
ZD\WKDWIDYRUHGWKHK\SRWKHVL]HGUHVXOWV$FFRUGLQJO\ZHILQG3URIHVVRU*LQRUHVSRQVLEOHIRUUHVHDUFK
PLVFRQGXFWZLWKUHVSHFWWR$OOHJDWLRQE

                                    




                                     


  ,QEULHI3URIHVVRU*LQR  VWDWHGRQSRIWKH5HVSRQVHWKDW³$OOHJDWLRQEFODLPVWKDW,DOWHUHGDQXPEHURI
REVHUYDWLRQVLQWKHGDWD RIWKHP ´ LQDFFXUDWHEHFDXVHWKHILQDOZRUGLQJRIWKHDOOHJDWLRQZKLFKVKHUHFHLYHG
EHIRUHWKHGUDIW5HSRUWZDVSURYLGHGWRKHULQPLG'HFHPEHUVD\VWKDW³DQXPEHURIREVHUYDWLRQV´ZHUH
DOWHUHGZLWKRXWVSHFLI\LQJDQXPEHU7KH0&*UHSRUWUHYHDOVWKDWRYHURISDUWLFLSDQWV¶GDWDZHUHDOWHUHG   
GHVFULEHGLQJUHDWGHWDLOKHUZKHUHDERXWVLQWKHVXPPHURIDQGZKHWKHUZKHQVKHPHWZLWK                 WRGLVFXVV
6WXG\LQFOXGLQJDPHHWLQJZLWK            RQ-XO\LQRUGHUWRLQ3URIHVVRU*LQR¶VZRUGV³PDNHVXUHWKH
GDWDZHUHDFFXUDWH´ S  WKLVLQIRUPDWLRQLVODUJHO\LUUHOHYDQWWRRXUILQGLQJRIUHVHDUFKPLVFRQGXFWH[FHSWWKH
LQIRUPDWLRQDERXWWKHSXUSRVHRIKHU-XO\PHHWLQJZLWK              ZKLFKLQIDFWEROVWHUVRXUFRQILGHQFHLQWKH
DFFXUDF\RIWKHGDWDVHWWKDW          KDGLQKHUSRVVHVVLRQ   DVVHUWHGRQSRIWKH5HVSRQVHWKDWVKHZDVQHYHU
LQIDYRURIUHWUDFWLQJWKHSDSHUEHFDXVHVKH³GLGQRWEHOLHYHWKHGDWDKDGDQRPDOLHVRIDQ\VRUW´ LUUHOHYDQWWR
WKHVXEVWDQFHRIWKLVDOOHJDWLRQ   DVVHUWHGRQSDQGHOVHZKHUHLQWKH5HVSRQVHWKDWVKHKDV³ZDONHGDZD\
IURP´PDQ\UHVHDUFKSURMHFWVLQKHUFDUHHUZKHUHVKHKDGGRXEWVDERXWWKHVWXG\RUWKHGDWDDQGSURYLGHGOHWWHUV
IURPFROODERUDWRUVLQ([KLELWVDQGWRVXSSRUWKHUVWDWHPHQW DFFXUDWHEXWLUUHOHYDQWWRWKHVXEVWDQFHRIWKLV
DOOHJDWLRQ   DGGUHVVHGRQSSRIWKH5HVSRQVHWKHGDWDDQRPDOLHVQRWHGE\WKH&RPSODLQDQW LUUHOHYDQWLQRXU
FRQFOXVLRQVRQ$OOHJDWLRQEZHGRQRWUHO\SULPDULO\RQWKH&RPSODLQDQW¶VUHSRUWRUWKHDQRPDOLHVLWUHSRUWVEXW
LQVWHDGZHUHO\SULPDULO\RQWKHDQRPDOLHVIRXQGE\0&*DQGGRFXPHQWHGH[WHQVLYHO\LQLWVUHSRUW3URIHVVRU*LQR
IDLOVWRDGGUHVVWKRVHDQRPDOLHVLQKHUVHFWLRQRQ³([SODLQLQJWKH'DWD$QRPDOLHVIRU$OOHJDWLRQE´ SS RU
LQGHHGDQ\ZKHUHHOVHLQKHU5HVSRQVH 
                                                                                                                       
        7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
     ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
       352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 41 of 1282



9,,    &21&/86,21$1'5(&200(1'$7,216

        2QWKHEDVLVRIWKHHYLGHQFHJDWKHUHGDQGHYDOXDWHGE\WKH,QYHVWLJDWLRQ&RPPLWWHHWKH
&RPPLWWHHFRQFOXGHVWKDW3URIHVVRU*LQRKDVHQJDJHGLQPXOWLSOHLQVWDQFHVRIUHVHDUFKPLVFRQGXFW
DFURVVDOOIRXUVWXGLHVDWLVVXHLQWKHVHDOOHJDWLRQV%HFDXVHWKHSDSHUVUHSRUWLQJWKHVHVWXGLHVVSDQHLJKW
\HDUVLQWKHLUSXEOLFDWLRQGDWHVZLWKGLIIHUHQWFRDXWKRUVLQGLIIHUHQWMRXUQDOVDVVLVWHGE\GLIIHUHQWODE
SHUVRQQHODQGRXWRIGLIIHUHQWKRPHLQVWLWXWLRQVIRU3URIHVVRU*LQRWKH&RPPLWWHHLVFRQFHUQHGDERXW
RWKHUSRVVLEOHLQVWDQFHVRIUHVHDUFKPLVFRQGXFWLQ3URIHVVRU*LQR¶VVWXGLHV

        5HFRJQL]LQJWKDWLQWHJULW\LQVFKRODUVKLSDQGUHVHDUFKLVRQHRI+%6¶VIXQGDPHQWDOYDOXHVWKH
,QYHVWLJDWLRQ&RPPLWWHHUHFRPPHQGVWKHIROORZLQJLQVWLWXWLRQDODFWLRQVLQUHVSRQVHWRLWVILQGLQJRI
PXOWLSOHLQVWDQFHVRIUHVHDUFKPLVFRQGXFWE\3URIHVVRU*LQR

        &RUUHFWLRQRIWKHVFLHQWLILFUHFRUG:HUHFRPPHQGWKDW+%6FRQWDFWWKHHGLWRUVRIHDFKRI
WKHWKUHHMRXUQDOVWKDWSXEOLVKHGWKHSDSHUVFRQWDLQLQJWKHIRXUVWXGLHVLQTXHVWLRQWRQRWLI\WKHPWKDWWKH
6FKRROKDVIRXQGUHDVRQVWRTXHVWLRQWKHYDOLGLW\RIWKHVWXG\RUVWXGLHVDQGWRVXJJHVWWKDWDSSURSULDWH
VWHSVEHWDNHQWRUHWUDFWWKHSDSHUV RULQWKHFDVHRIWKHSDSHUWKDWKDVDOUHDG\EHHQUHWUDFWHGWRVXJJHVW
WKDWRWKHUDSSURSULDWHVWHSVEHWDNHQ 

        $QDXGLWRI3URIHVVRU*LQR¶VSXEOLFDWLRQV:HUHFRPPHQGWKDW+%6FRQGXFWDQDXGLWRI
RWKHUSXEOLVKHGHPSLULFDOVWXGLHVE\3URIHVVRU*LQREH\RQGWKHIRXUVWXGLHVDWLVVXHLQWKHVHDOOHJDWLRQV

        &RQVLGHUDWLRQRI5HVSRQVLEOH&RQGXFWRI5HVHDUFK 5&5 WUDLQLQJIRUWKH+%6IDFXOW\
GRFWRUDOVWXGHQWVDQGRWKHUUHVHDUFKVWDII:HUHFRPPHQGWKDW+%6FRQVLGHUWKHGHYHORSPHQWDQG
LPSOHPHQWDWLRQRIDQ5&5WUDLQLQJSURJUDPGHVLJQHGVSHFLILFDOO\IRUWKH+%6UHVHDUFKFRPPXQLW\5&5
WUDLQLQJLVFXUUHQWO\UHTXLUHGDWWKH8QLYHUVLW\OHYHOIRUUHVHDUFKXVLQJIHGHUDOIXQGVDQGLPSOHPHQWLQJDQ
5&5WUDLQLQJSURJUDPVSHFLILFWR+%6ZRXOGSURYLGHWKH+%6FRPPXQLW\ZLWKDSSURSULDWHHGXFDWLRQ
DQGJXLGDQFHZLWKUHVSHFWWRWKHUHTXLUHPHQWVDQGEHVWSUDFWLFHVUHODWHGWRUHVHDUFKLQWHJULW\GDWD
PDQDJHPHQWDQGSODQQLQJDQGPHQWRUVKLS

        ,QFOXVLRQRIWKLVPDWWHULQDQ\UHIHUHQFHOHWWHUVIRU3URIHVVRU*LQR:HUHFRPPHQGWKDW
DQ\OHWWHUVRIUHIHUHQFHVXSSRUWRUUHFRPPHQGDWLRQSURYLGHGIRU3URIHVVRU*LQRE\+%6LQFOXGHWKH
&RPPLWWHH¶VILQGLQJWKDWVKHFRPPLWWHGUHVHDUFKPLVFRQGXFW

        2WKHULQVWLWXWLRQDODFWLRQV7KH+%63ROLF\SURYLGHVIRUDUDQJHRISRWHQWLDORWKHU
DGPLQLVWUDWLYHDFWLRQVLQFOXGLQJ³SUREDWLRQVXVSHQVLRQOHDYHZLWKRXWSD\VDODU\UHGXFWLRQRULQLWLDWLRQ
                                                                                                                 
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 42 of 1282



RIVWHSVOHDGLQJWRUDQNUHGXFWLRQRUWHUPLQDWLRQRIHPSOR\PHQW´IRUWKRVHIRXQGWRKDYHFRPPLWWHG
UHVHDUFKPLVFRQGXFW7KH,QYHVWLJDWLRQ&RPPLWWHHEHOLHYHVWKDWWKHVHYHULW\RIWKHUHVHDUFKPLVFRQGXFW
WKDW3URIHVVRU*LQRKDVFRPPLWWHGFDOOVIRUDSSURSULDWHO\VHYHUHLQVWLWXWLRQDODFWLRQDQGVRZH
UHFRPPHQGWKDWWKH'HFLGLQJ2IILFLDOFRQVLGHUSODFLQJ3URIHVVRU*LQRLPPHGLDWHO\RQDQXQSDLGOHDYH
DQGLQLWLDWLQJVWHSVOHDGLQJWRWHUPLQDWLRQRIHPSOR\PHQW

        




                                                                                                      
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 43 of 1282



                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                ([KLELW
                             ,QTXLU\5HSRUW
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 44 of 1282




Confidential Memorandum

To:             Srikant Datar
                Harvard Business School Dean of the Faculty

From:           Teresa Amabile, Chair - Inquiry Committee
                Robert (Bob) Kaplan, Inquiry Committee Member

Re:             Report of Inquiry Committee Concerning Allegations against Dr. Francesca Gino –
                Case RI21-001

Date:           April 8, 2022




I.       INTRODUCTION

         The following is the report of an inquiry committee (the “Committee”) established to examine
four allegations of research misconduct reported to HBS related to the work of Dr. Francesca Gino
(“Respondent”) in case RI21-001. Below are the relevant publications and allegations:

Relevant Publications
Gino, F., Kouchaki, M., & Casciaro, T. (2020). Why connect? Moral consequences of networking with a
promotion or prevention focus. Journal of Personality and Social Psychology, 119(6), 1221–1238 (“2020
JPSP Paper”)

Gino, F., Kouchaki, M., & Galinsky, A. D. (2015). The moral virtue of authenticity: How inauthenticity
produces feelings of immorality and impurity. Psychological Science, 26(7), 983–996 (“2015
Psychological Science Paper”)

Gino, F., & Wiltermuth, S. S. (2014). Evil genius? How dishonesty can lead to greater creativity.
Psychological Science, 25(4), 973–981 (“2014 Psychological Science Paper”)




                                                                                                         1

        THIS DOCUMENT IS CONFIDENTIAL AS REQUIRED BY FEDERAL REGULATIONS AND
     INSTITUTIONAL POLICIES FOR REVIEW OF ALLEGATIONS OF RESEARCH MISCONDUCT.
      DISCLOSURE OF THIS DOCUMENT OR OF ANY OF THE INFORMATION IT CONTAINS IS
       PROHIBITED EXCEPT AS PERMITTED BY THOSE POLICIES OR AS REQUIRED BY LAW.
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 45 of 1282



6KX//0D]DU1*LQR)$ULHO\'DQG%D]HUPDQ0+  6LJQLQJDWWKHEHJLQQLQJPDNHV
HWKLFVVDOLHQWDQGGHFUHDVHVGLVKRQHVWVHOIUHSRUWVLQFRPSDULVRQWRVLJQLQJDWWKHHQG3URFHHGLQJVRIWKH
1DWLRQDO$FDGHP\RI6FLHQFHVRIWKH8QLWHG6WDWHVRI$PHULFD± ³31$63DSHU´ 

$OOHJDWLRQ
'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH-3633DSHUE\DOWHULQJ
REVHUYDWLRQVWRDIIHFWWKHVLJQLILFDQFHRIILQGLQJVRIWKHVWXG\LQWKHK\SRWKHVL]HGGLUHFWLRQ,QSDUWLFXODU
    x    ,QWKHSURPRWLRQIRFXVFRQGLWLRQE\FKDQJLQJH[WUHPHYDOXHVRI³´WR³´WRGULYHWKHH[SHFWHG
         HIIHFW6SHFLILFDOO\IRUREVHUYDWLRQVWKHUHVHHPVWREHDPLVPDWFKEHWZHHQSDUWLFLSDQWV¶
         LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWVFKRVHWRGHVFULEHKRZWKH\IHOW
    x    ,QWKHSUHYHQWLRQIRFXVFRQGLWLRQE\FKDQJLQJVRPHYDOXHVRI³´WRHLWKHU³´RU³´WRGULYH
         WKHH[SHFWHGHIIHFW$QXPEHURIREVHUYDWLRQVDOVRVKRZDPLVPDWFKEHWZHHQSDUWLFLSDQWV¶
         LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWVFKRVHWRGHVFULEHKRZWKH\IHOW

$OOHJDWLRQ
'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH3V\FKRORJLFDO6FLHQFH3DSHUE\
DOWHULQJDQXPEHURIREVHUYDWLRQV1RWDEO\REVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRI
WKHK\SRWKHVL]HGHIIHFWVDQGWKHVHVDPHREVHUYDWLRQVSUHVHQWHGDQDQRPDORXVUHVSRQVHSDWWHUQLQ
ZKLFKVWXG\SDUWLFLSDQWVVHHPLQJO\HQWHUHG³+DUYDUG´DVWKHLUUHVSRQVHWRDTXHVWLRQDVNLQJWKHPWR
LQGLFDWH³<HDULQ6FKRRO´LQFRQWUDVWWRWKHYDVWPDMRULW\RIUHVHDUFKSDUWLFLSDQWVZKRFRUUHFWO\DQVZHUHG
WKLVTXHVWLRQ

$OOHJDWLRQ
'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH3V\FKRORJLFDO6FLHQFH3DSHUE\
DOWHULQJDQXPEHURIREVHUYDWLRQV,QSDUWLFXODUZKHQVRUWHGE\ZKHWKHUSDUWLFLSDQWVFKHDWHGRQWKHWDVN
WKH\ZHUHDVNHGWRSHUIRUPDQGE\KRZPDQ\XVHVIRUDQHZVSDSHUWKH\IRXQGLWDSSHDUVWKHUHDUH
REVHUYDWLRQVRXWRIVRUWZLWKLQWKHFKHDWLQJFRQGLWLRQ7KHVHREVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKH
VLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV:KHQWKHVHREVHUYDWLRQVDUHFRUUHFWHGZLWKWKHYDOXHVLPSOLHG
E\WKHVRUWWKHHIIHFWLQWKHH[SHFWHGGLUHFWLRQLVQRORQJHUVLJQLILFDQW IURPS WRS! 





                                                                                                              2
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
     ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 46 of 1282



$OOHJDWLRQ
:LWKUHVSHFWWR6WXG\LQWKH31$63DSHU
      D    'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJSDUWRIWKHGHVFULSWLRQRIVWXG\
           LQVWUXFWLRQVWRUHVHDUFKSDUWLFLSDQWVIURPDGUDIWRIWKHPDQXVFULSWVXEPLWWHGIRUSXEOLFDWLRQWKXV
           PLVUHSUHVHQWLQJWKHVWXG\SURFHGXUHVLQWKHILQDOSXEOLFDWLRQ6XFKLQVWUXFWLRQVSRLQWHGWRD
           VLJQLILFDQWIODZLQWKHH[HFXWLRQRIWKHGDWDFROOHFWLRQIRU6WXG\ZKLFKFDOOHGLQWRTXHVWLRQWKH
           YDOLGLW\RIWKHVWXG\UHVXOWV

      E    'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVE\DOWHULQJDQXPEHURIREVHUYDWLRQV,Q
           SDUWLFXODUZKHQVRUWHGE\³H[SHULPHQWDOFRQGLWLRQ´DQGE\³SDUWLFLSDQW,'QXPEHU´WKHGDWDVHW
           IRU6WXG\DSSHDUVWRLQFOXGHGXSOLFDWHREVHUYDWLRQDQGREVHUYDWLRQVZKHUHWKH³SDUWLFLSDQW
           ,'QXPEHU´LVRXWRIVRUW7KHRXWRIVRUWREVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFH
           RIWKHK\SRWKHVL]HGHIIHFWV


,,        ,148,5<352&(66
           7KHVHDOOHJDWLRQVZHUHVXEPLWWHGWRWKH+DUYDUG%XVLQHVV6FKRRO ³+%6´ 5HVHDUFK,QWHJULW\
2IILFHU ³5,2´ RQ2FWREHUE\DFRPSODLQDQWZKRZLVKHVWRUHPDLQDQRQ\PRXV8SRQ
UHFHLYLQJWKHDOOHJDWLRQWKH5,2FRQGXFWHGDSUHOLPLQDU\DVVHVVPHQWWRGHWHUPLQHZKHWKHUHDFK
DOOHJDWLRQIHOOZLWKLQWKHGHILQLWLRQRIUHVHDUFKPLVFRQGXFWDQGZDVVXIILFLHQWO\FUHGLEOHDQGVSHFLILFVR
WKDWSRWHQWLDOHYLGHQFHRIUHVHDUFKPLVFRQGXFWPD\EHLGHQWLILHG7KH5,2FRQFOXGHGKLVSUHOLPLQDU\
DVVHVVPHQWDQGVKDUHGLWZLWK'HDQ'DWDUWKH+%6'HFLGLQJ2IILFLDORQ2FWREHU2QWKDWGD\
'HDQ'DWDUDVNHGWKH5,2WRVWDUWDQRIILFLDOLQTXLU\LQWRWKHDOOHJDWLRQVIROORZLQJWKHHarvard Business
School’s Interim Policy and Procedures for Responding to Allegations of Research Misconduct (“HBS
Policy” – Exhibit 1).

           The RIO sent the Respondent a notice of inquiry related to allegations of research misconduct on
October 27, 2021 (Exhibit 2). Dean Datar proposed appointing Professor Teresa Amabile (Chair) and
Professor 5REHUW %RE .DSODQWRWKHLQTXLU\FRPPLWWHHSHQGLQJDQ\REMHFWLRQVORGJHGE\WKH
5HVSRQGHQWEDVHGXSRQDSURSRVHGFRPPLWWHHPHPEHU VDOOHJHGSHUVRQDOSURIHVVLRQDORUILQDQFLDO
FRQIOLFWRILQWHUHVW7KH5HVSRQGHQWKDGQRVXFKREMHFWLRQV8SRQFRQILUPDWLRQRIWKH&RPPLWWHH




                                                                                                               3
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 47 of 1282



PHPEHUVWKHRIILFLDOLQTXLU\VWDUWHGRQ1RYHPEHU7KHVXPPDU\WDEOHEHORZSURYLGHVD
FKURQRORJ\RIWKHLQTXLU\LQFOXGLQJWKHVL[PHHWLQJVRIWKHLQTXLU\FRPPLWWHH

           

    (YHQW'DWH               'HVFULSWLRQ

    2FWREHU      6HTXHVWUDWLRQRIWKH5HVSRQGHQW¶VHOHFWURQLFUHVHDUFKUHFRUGVIURPVRXUFHV
                              RWKHUWKDQKHU+%6LVVXHGSHUVRQDOFRPSXWHUVLQFOXGLQJ+%6HPDLO2
                              2QH'ULYHGDWD+%6)LOHV3URMHFWZRUNVSDFH+%6)LOHVKRPHVSDFH4XDOWULFV
                              VXUYH\GDWD

    2FWREHU         1RWLFHRI,QTXLU\VHQWWRWKH5HVSRQGHQW ([KLELW 

    2FWREHU         6HTXHVWUDWLRQRI'U*LQR¶V+%6LVVXHGSHUVRQDOFRPSXWHUV

    1RYHPEHU         &RPPLWWHH0HHWLQJ
    
                              x   2ULHQWDWLRQUHYLHZRIFKDUJHDQGDOOHJDWLRQV
                              x   )RUPXODWLRQRIDVHWRITXHVWLRQVIRUWKHFRPSODLQDQWWREHDGGUHVVHGLQ
                                  ZULWLQJ
                              x   5HTXHVWIRU'U*LQRWRSURGXFHWKHUDZGDWDVHWVDVVRFLDWHGZLWKHDFK
                                  DOOHJDWLRQ

    1RYHPEHU        'U*LQRSURYLGHGWRWKH5,2WKHORFDWLRQZLWKLQWKHVHTXHVWHUHGPDWHULDOVRI
                              WKHUDZGDWDVHWVDVVRFLDWHGZLWKHDFKDOOHJDWLRQ

    'HFHPEHU         &RPSODLQDQWSURYLGHGWRWKH5,2DZULWWHQUHVSRQVHWRWKH&RPPLWWHH¶V
                              TXHVWLRQVGHVFULELQJHDFKDOOHJDWLRQLQGHWDLO ([KLELW 

    -DQXDU\          &RPPLWWHH0HHWLQJ
                              x   5HYLHZRIWKHFRPSODLQDQW¶VZULWWHQUHVSRQVH
                              x   'LVFXVVLRQRIWKH&RPPLWWHH¶VLQGHSHQGHQWDQDO\VLVRIWKHUDZDQG2SHQ
                                  6FLHQFH)UDPHZRUN ³26)´ GDWDVHWVDVVRFLDWHGZLWKHDFKDOOHJDWLRQ





    $OOPHHWLQJVZHUHFRQGXFWHGWKURXJKWKH=RRPSODWIRUPXQOHVVRWKHUZLVHVWDWHG
                                                                                                                 4
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 48 of 1282




    -DQXDU\      &RPPLWWHH0HHWLQJ
                           'LVFXVVLRQRIWKH&RPPLWWHH¶VPHPRUDQGXPWR'U*LQRUHJDUGLQJDOOHJDWLRQV
                           DQGE ([KLELW 7KHPHPRUDQGXPZKLFKZDVSURYLGHGWR'U*LQR
                           RQ-DQXDU\IROORZLQJWKLVPHHWLQJLVDFRPELQDWLRQRIH[FHUSWVIURPWKH
                           FRPSODLQDQW¶VZULWWHQUHVSRQVHDQGWKH&RPPLWWHH¶VRZQDQDO\VHVRIWKHUDZ
                           GDWDVHWVIURP'U*LQR¶VUHVHDUFKUHFRUGVDQGWKHGDWDVHWVSRVWHGRQ26)
                           'LVFXVVLRQRIDOOHJDWLRQD%HFDXVHWKHFRPSODLQDQW¶VUHSRUWGLGQRWLQFOXGH
                           LQIRUPDWLRQRQWKLVDOOHJDWLRQWKH&RPPLWWHHUHTXHVWHGWKDW'U*LQR¶V
                           VHTXHVWHUHGPDWHULDOVEHVHDUFKHGIRUGRFXPHQWVDQGHPDLOVUHOHYDQWWRWKLV
                           DOOHJDWLRQ

    -DQXDU\      $QDGGHQGXPWRWKH&RPPLWWHH¶VPHPRUDQGXPUHODWLQJWRDOOHJDWLRQDZDV
                           SURYLGHGWR'U*LQR ([KLELW 

    )HEUXDU\    &RPPLWWHH0HHWLQJ
                           x    5HYLHZRI'U*LQR¶VZULWWHQUHVSRQVHWRWKH&RPPLWWHH¶VPHPRUDQGD
                                 ([KLELW 
                           x    3UHSDUDWLRQIRUWKH5HVSRQGHQWLQWHUYLHZ

    )HEUXDU\     5HVSRQGHQW,QWHUYLHZ2Q0DUFKDIWHUWKHWUDQVFULSWZDVFKHFNHG
                           DJDLQVWWKHDXGLRUHFRUGLQJRIWKHLQWHUYLHZDQGFRUUHFWHGDVQHFHVVDU\DFRS\
                           RIWKHWUDQVFULSWZDVSURYLGHGWR'U*LQRIRUKHUUHYLHZFRUUHFWLRQDQG
                           DWWHVWDWLRQ ([KLELW 'U*LQRSURYLGHGKHUFRUUHFWLRQVDQGDWWHVWDWLRQRQ
                           0DUFKLQFOXGLQJVRPHFODULI\LQJFRPPHQWV ([KLELW 

    0DUFK         'HFLVLRQ&RQIHUHQFH
                           x    )ROORZLQJDUHYLHZRIWKHLQIRUPDWLRQDQGHYLGHQFHWRGDWHWKH
                                &RPPLWWHHFRQGXFWHGDGHFLVLRQFRQIHUHQFH

    
                           x    $GUDIWRIWKLVUHSRUWZDVSURYLGHGWR'U*LQRIRUUHYLHZDQGFRPPHQW
    0DUFK
                                'U*LQR¶VUHVSRQVHUHFHLYHGRQ$SULOLVDSSHQGHGWRWKLVUHSRUW
                                 ([KLELW 
                           x    $OOGRFXPHQWVXSRQZKLFKWKH&RPPLWWHHUHOLHGWRPDNHGHWHUPLQDWLRQV
                                DUHUHIHUHQFHGDQGDSSHQGHG



          -XVWLILFDWLRQIRU/HQJWKRI,QTXLU\3HU+%63ROLF\DQLQTXLU\LQWRWKHDOOHJDWLRQV³PXVWEH
FRPSOHWHGZLWKLQFDOHQGDUGD\VRILQLWLDWLRQRIWKHLQTXLU\XQOHVVWKH5,2GHWHUPLQHVWKDW
FLUFXPVWDQFHVFOHDUO\ZDUUDQWDORQJHUSHULRG´2Q'HFHPEHUWKH5,2PDGHDQLQLWLDO
GHWHUPLQDWLRQWKDWFLUFXPVWDQFHVZDUUDQWHGDGD\H[WHQVLRQWKXVH[WHQGLQJWKHLQTXLU\WKURXJK
)HEUXDU\,QPDNLQJWKLVGHWHUPLQDWLRQWKH5,2QRWHGWKDWWKH&RPPLWWHHQHHGHGWLPHWRVWXG\
                                                                                                              5
        7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
     ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
      ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
       352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 49 of 1282



DZULWWHQUHSRUWVXEPLWWHGE\WKHFRPSODLQDQWRQ'HFHPEHUDQGWKDW+DUYDUG8QLYHUVLW\ZDV
FORVHGIRUZLQWHUUHFHVVDQGRWKHUREVHUYHGKROLGD\VIURP0RQGD\'HFHPEHUWKURXJK)ULGD\
'HFHPEHU2Q-DQXDU\WKH5,2GHWHUPLQHGWKDWFLUFXPVWDQFHVZDUUDQWHGDQDGGLWLRQDO
GD\H[WHQVLRQWRWKHLQTXLU\DQGWKDWWKHLQTXLU\ZDVH[SHFWHGWREHFRPSOHWHGE\$SULO,Q
PDNLQJWKLVGHWHUPLQDWLRQWKH5,2WRRNLQWRDFFRXQWWKH5HVSRQGHQW¶VUHTXHVWWRKDYHVXIILFLHQWWLPHWR
SURFHVVWKHPHPRUDQGDUHJDUGLQJWKHDOOHJDWLRQVWKDWVKHUHFHLYHGIURPWKH&RPPLWWHHRQ-DQXDU\
DQGRQ-DQXDU\2Q0DUFKWKH5,2GHWHUPLQHGWKDWFLUFXPVWDQFHVZDUUDQWHGDQ
DGGLWLRQDOGD\H[WHQVLRQWRWKHLQTXLU\DQGWKDWWKHLQTXLU\ZDVH[SHFWHGWREHFRPSOHWHGE\$SULO
,QPDNLQJWKLVGHWHUPLQDWLRQWKH5,2FRQVLGHUHGWKH5HVSRQGHQW¶VUHTXHVWIRUDGGLWLRQDOWLPHWR
SURYLGHKHUZULWWHQUHVSRQVHWRWKHGUDIWLQTXLU\UHSRUWLQDGGLWLRQWRWKHEXVLQHVVGD\VDIIRUGHGWRKHU
E\WKH+%6SROLF\

,,,      %$&.*5281'
          'U*LQRLVWKH7DQGRQ)DPLO\3URIHVVRURI%XVLQHVV$GPLQLVWUDWLRQDW+DUYDUG%XVLQHVV6FKRRO
    ³+%6´ 6KHMRLQHGWKH1HJRWLDWLRQ2UJDQL]DWLRQVDQG0DUNHWV 120 XQLWDW+%6DVDQ$VVRFLDWH
3URIHVVRURI%XVLQHVV$GPLQLVWUDWLRQLQDQGEHFDPHDIXOO3URIHVVRULQ%HIRUHMRLQLQJ+%6
'U*LQRZDVDQ$VVLVWDQW3URIHVVRURI2UJDQL]DWLRQDO%HKDYLRUDW7KH8QLYHUVLW\RI1RUWK&DUROLQD
&KDSHO+LOOIURP)URP'U*LQRZDVD9LVLWLQJ$VVLVWDQW3URIHVVRURI
2UJDQL]DWLRQDO%HKDYLRUDW&DUQHJLH0HOORQ8QLYHUVLW\DQGIURPVKHZDVD3RVW'RFWRUDO
)HOORZLQWKH7HFKQRORJ\ 2SHUDWLRQV0DQDJHPHQWXQLWDW+%6

          'U*LQRHDUQHGD%$LQ%XVLQHVV(FRQRPLFVIURPWKH8QLYHUVLW\RI7UHQWRLQ7UHQWR,WDO\LQ
6KHUHFHLYHGKHU3K'LQ(FRQRPLFVDQG0DQDJHPHQWIURPWKH6DQW¶$QQD6FKRRORI$GYDQFHG
6WXGLHVLQ3LVD,WDO\LQ

,9       67$1'$5')25,148,5<
$VWKH&RPPLWWHHFRQVLGHUHGHDFKDOOHJDWLRQZHZHUHPLQGIXOWKDWRXUUHYLHZDVDQLQTXLU\
FRPPLWWHHLVDSUHOLPLQDU\RQH3XUVXDQWWRWKH+%63ROLF\DQG&)5 G ³$QLQYHVWLJDWLRQLV
ZDUUDQWHGLQWRDOOHJDWLRQVRIUHVHDUFKPLVFRQGXFWIROORZLQJDQLQTXLU\LI L WKHUHLVDUHDVRQDEOHEDVLVIRU
FRQFOXGLQJWKDWWKHDOOHJDWLRQIDOOVZLWKLQWKHGHILQLWLRQRIUHVHDUFKPLVFRQGXFWDQG LL SUHOLPLQDU\





 5HVHDUFKPLVFRQGXFWLVGHILQHGXQGHU&)5DVIDEULFDWLRQIDOVLILFDWLRQRUSODJLDULVPLQSURSRVLQJ
SHUIRUPLQJRUUHYLHZLQJUHVHDUFKRULQUHSRUWLQJUHVHDUFKUHVXOWV
    D )DEULFDWLRQLVPDNLQJXSGDWDRUUHVXOWVDQGUHFRUGLQJRUUHSRUWLQJWKHP
                                                                                                                    6
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 50 of 1282



LQIRUPDWLRQJDWKHULQJDQGSUHOLPLQDU\IDFWILQGLQJIURPWKHLQTXLU\LQGLFDWHVWKDWWKHDOOHJDWLRQPD\KDYH
VXEVWDQFH´

9          ,148,5<$1$/<6,6 &21&/86,216
            7KH&RPPLWWHHGHWHUPLQHGWKHUHLVDUHDVRQDEOHEDVLVIRUFRQFOXGLQJWKDWDOOHJDWLRQVD
DQGEIDOOZLWKLQWKHGHILQLWLRQRIUHVHDUFKPLVFRQGXFWDQGWKDWLWVSUHOLPLQDU\LQIRUPDWLRQJDWKHULQJDQG
SUHOLPLQDU\IDFWILQGLQJLQGLFDWHVWKDWWKHVHDOOHJDWLRQVPD\KDYHVXEVWDQFHThe basis for the
Committee’s determination, itemized by allegation, is outlined below.

Allegation 1

            'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH-3633DSHU
            E\DOWHULQJREVHUYDWLRQVWRDIIHFWWKHVLJQLILFDQFHRIILQGLQJVRIWKHVWXG\LQWKH
            K\SRWKHVL]HGGLUHFWLRQ,QSDUWLFXODU
                x    ,QWKHSURPRWLRQIRFXVFRQGLWLRQE\FKDQJLQJH[WUHPHYDOXHVRI³´WR³´
                WRGULYHWKHH[SHFWHGHIIHFW6SHFLILFDOO\IRUREVHUYDWLRQVWKHUHVHHPVWREHD
                PLVPDWFKEHWZHHQSDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWV
                FKRVHWRGHVFULEHKRZWKH\IHOW
                x    ,QWKHSUHYHQWLRQIRFXVFRQGLWLRQE\FKDQJLQJVRPHYDOXHVRI³´WRHLWKHU
                ³´RU³´WRGULYHWKHH[SHFWHGHIIHFW$QXPEHURIREVHUYDWLRQVDOVRVKRZD
                PLVPDWFKEHWZHHQSDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWV
                FKRVHWRGHVFULEHKRZWKH\IHOW

            7KH&RPPLWWHHFRPSDUHGWKHGDWDVHWIRUWKLVVWXG\WKDWZDVIRXQGLQ'U*LQR¶VVHTXHVWHUHG
UHVHDUFKUHFRUGVZLWKWKHSXEOLFO\SRVWHGGDWDVHWRQ26)7KHFRPSDULVRQVKRZVDFOHDUGLVFUHSDQF\
EHWZHHQWKHWZRGDWDVHWVVXJJHVWLQJWKDWWKHGDWDPD\KDYHEHHQIDEULFDWHGRUIDOVLILHG2XUSUHOLPLQDU\
DQDO\VLVVKRZVWKDW D WKHWZRGDWDVHWV\LHOGDYHUDJHVIRUWKHWZRH[SHULPHQWDOFRQGLWLRQVWKDWDUH



    E )DOVLILFDWLRQLVPDQLSXODWLQJUHVHDUFKPDWHULDOVHTXLSPHQWRUSURFHVVHVRUFKDQJLQJRURPLWWLQJGDWDRU
   UHVXOWVVXFKWKDWWKHUHVHDUFKLVQRWDFFXUDWHO\UHSUHVHQWHGLQWKHUHVHDUFKUHFRUG
    F 3ODJLDULVPLVWKHDSSURSULDWLRQRIDQRWKHUSHUVRQ¶VLGHDVSURFHVVHVUHVXOWVRUZRUGVZLWKRXWJLYLQJ
   DSSURSULDWHFUHGLW
5HVHDUFKPLVFRQGXFWGRHVQRWLQFOXGHKRQHVWHUURURUGLIIHUHQFHVRIRSLQLRQ

    )ROORZLQJWKHLQYHVWLJDWLRQDILQGLQJRIUHVHDUFKPLVFRQGXFWUHTXLUHV &)56HF 
        D 7KHUHEHDVLJQLILFDQWGHSDUWXUHIURPDFFHSWHGSUDFWLFHVRIWKHUHOHYDQWUHVHDUFKFRPPXQLW\DQG
        E 7KHPLVFRQGXFWEHFRPPLWWHGLQWHQWLRQDOO\NQRZLQJO\RUUHFNOHVVO\DQG
        F 7KHDOOHJDWLRQEHSURYHQE\DSUHSRQGHUDQFHRIWKHHYLGHQFH
                                                                                                                     7
         7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
      ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
       ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
        352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 51 of 1282



FRPSOHWHO\VZLWFKHGLQGLUHFWLRQDOLW\ VHH([KLELWSDJH LQRWKHUZRUGVWKHSXEOLVKHGGDWDVKRZD
UHVXOWWKDWLVRSSRVLWHWRWKHUHVXOW\LHOGHGE\WKHVHTXHVWHUHGGDWDDQG E DFRPSDULVRQEHWZHHQWKHWZR
GDWDVHWVVKRZVDFOHDUPLVPDWFKEHWZHHQRWKHUZLVHLGHQWLFDOOLQHVRIGDWDLQWKHFROXPQVWKDWFRQWDLQWKH
NH\GHSHQGHQWYDULDEOHPHDVXUHV VHH([KLELWSDJHV Neither Dr. Gino’s written response to our
memos nor our interview with Dr. Gino on February 28, 2022 yielded information that, in our view, could
explain these discrepancies.:HWKHUHIRUHILQGWKDW$OOHJDWLRQRIUHVHDUFKPLVFRQGXFWDJDLQVW'U*LQR
IDOOVZLWKLQWKHGHILQLWLRQRIUHVHDUFKPLVFRQGXFWDQGWKDWRXUSUHOLPLQDU\LQIRUPDWLRQJDWKHULQJDQG
SUHOLPLQDU\IDFWILQGLQJLQGLFDWHVWKDWWKHDOOHJDWLRQPD\KDYHVXEVWDQFH6HH,QTXLU\&RPPLWWHH0HPR
RI-DQ([KLELWIRUGHWDLOV 

$OOHJDWLRQ

        'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH
        3V\FKRORJLFDO6FLHQFH3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV1RWDEO\
        REVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV
        DQGWKHVHVDPHREVHUYDWLRQVSUHVHQWHGDQDQRPDORXVUHVSRQVHSDWWHUQLQZKLFK
        VWXG\SDUWLFLSDQWVVHHPLQJO\HQWHUHG³+DUYDUG´DVWKHLUUHVSRQVHWRDTXHVWLRQ
        DVNLQJWKHPWRLQGLFDWH³<HDULQ6FKRRO´LQFRQWUDVWWRWKHYDVWPDMRULW\RI
        UHVHDUFKSDUWLFLSDQWVZKRFRUUHFWO\DQVZHUHGWKLVTXHVWLRQ

        7KH&RPPLWWHHH[DPLQHGWKHGDWDVHWIRUWKLVVWXG\WKDWZDVIRXQGLQ'U*LQR¶VVHTXHVWHUHG
UHVHDUFKUHFRUGVDVZHOODVWKHSXEOLFO\SRVWHGGDWDVHWRQ26)%RWKGDWDVHWVLQFOXGHDQRPDORXV
REVHUYDWLRQVLQZKLFKVHYHUDOVWXG\SDUWLFLSDQWVZKR DFFRUGLQJWRWKHSXEOLVKHGSDSHU ZHUHDOO+DUYDUG
VWXGHQWVOLVWHG³+DUYDUG´DVWKHLUDQVZHUWRD³<HDULQ6FKRRO´TXHVWLRQ WKH³+DUYDUGJURXS´ DQG
XQOLNHPRVWRWKHUSDUWLFLSDQWVSURYLGHGDQHPDLODGGUHVVWKDWZDVQRW³FROOHJHKDUYDUGHGX´7KH
UHVSRQVHVE\WKH³+DUYDUGJURXS´RQWKHNH\GHSHQGHQWYDULDEOHVWURQJO\LQIOXHQFHGWKHRYHUDOO
H[SHULPHQWDOILQGLQJVLQWKHK\SRWKHVL]HGGLUHFWLRQVXJJHVWLQJWKDWWKHGDWDPD\KDYHEHHQIDEULFDWHGRU
IDOVLILHG)XUWKHUPRUHZHDOVRLGHQWLILHGDGLVFUHSDQF\LQWKH1 QXPEHURIREVHUYDWLRQV IRUWKHGDWDVHW
REWDLQHGIURP'U*LQR¶VUHFRUGVDQGWKH1IRUWKHSXEOLFO\SRVWHGGDWDVHWDYDLODEOHRQ26)ZLWKWKH
IRUPHUILOHFRQWDLQLQJREVHUYDWLRQVZKLOHWKHODWWHUKDGREVHUYDWLRQV VHH([KLELWSDJHV
 DGLVFUHSDQF\WKDWZHZHUHXQDEOHWRUHFRQFLOHNeither Dr. Gino’s written response to our memos
nor our interview with Dr. Gino on February 28, 2022 yielded information that, in our view, could explain
these discrepancies. :HWKHUHIRUHILQGWKDW$OOHJDWLRQRIUHVHDUFKPLVFRQGXFWDJDLQVW'U*LQRIDOOV
ZLWKLQWKHGHILQLWLRQRIUHVHDUFKPLVFRQGXFWDQGWKDWRXUSUHOLPLQDU\LQIRUPDWLRQJDWKHULQJDQG
                                                                                                            8
      7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
   ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
    ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
     352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 52 of 1282



SUHOLPLQDU\IDFWILQGLQJLQGLFDWHVWKDWWKHDOOHJDWLRQPD\KDYHVXEVWDQFH6HH,QTXLU\&RPPLWWHH0HPR
RI-DQ([KLELWIRUGHWDLOV

$OOHJDWLRQ

        'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH
        3V\FKRORJLFDO6FLHQFH3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV,QSDUWLFXODU
        ZKHQVRUWHGE\ZKHWKHUSDUWLFLSDQWVFKHDWHGRQWKHWDVNWKH\ZHUHDVNHGWR
        SHUIRUPDQGE\KRZPDQ\XVHVIRUDQHZVSDSHUWKH\IRXQGLWDSSHDUVWKHUHDUH
        REVHUYDWLRQVRXWRIVRUWZLWKLQWKHFKHDWLQJFRQGLWLRQ7KHVHREVHUYDWLRQV
        VXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV:KHQWKHVH
        REVHUYDWLRQVDUHFRUUHFWHGZLWKWKHYDOXHVLPSOLHGE\WKHVRUWWKHHIIHFWLQWKH
        H[SHFWHGGLUHFWLRQLVQRORQJHUVLJQLILFDQW IURPS WRS! 

        7KH&RPPLWWHHH[DPLQHGWKHGDWDVHWIRUWKLVVWXG\WKDWZDVIRXQGLQ'U*LQR¶VVHTXHVWHUHG
UHVHDUFKUHFRUGVDQGUHSOLFDWHGWKHDQRPDOLHVLGHQWLILHGLQWKHFRPSODLQDQW¶VZULWWHQUHVSRQVHWRWKH
&RPPLWWHH ([KLELW 7KHVHDQRPDORXVRXWRIVHTXHQFHREVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKH
VLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWVVXJJHVWLQJWKDWWKHGDWDPD\KDYHEHHQIDEULFDWHGRUIDOVLILHGDV
VHWIRUWKLQPRUHGHWDLOLQ([KLELWNeither Dr. Gino’s written response to our memos nor our interview
with Dr. Gino on February 28, 2022 yielded information that, in our view, could explain these
discrepancies. :HWKHUHIRUHILQGWKDW$OOHJDWLRQRIUHVHDUFKPLVFRQGXFWDJDLQVW'U*LQRIDOOVZLWKLQ
WKHGHILQLWLRQRIUHVHDUFKPLVFRQGXFWDQGWKDWRXUSUHOLPLQDU\LQIRUPDWLRQJDWKHULQJDQGSUHOLPLQDU\
IDFWILQGLQJLQGLFDWHVWKDWWKHDOOHJDWLRQPD\KDYHVXEVWDQFH

$OOHJDWLRQD

        :LWKUHVSHFWWR6WXG\LQWKH31$63DSHU

        'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJSDUWRIWKHGHVFULSWLRQ
        RIVWXG\LQVWUXFWLRQVWRUHVHDUFKSDUWLFLSDQWVIURPDGUDIWRIWKHPDQXVFULSW




4
  The Committee’s memorandum to Dr. Gino (Exhibit 4, page 23) stated there was an additional anomaly in the
number of participants in the dataset from Dr. Gino’s research records compared to number of participants in the
published paper. As pointed out by Dr. Gino in her written response (Exhibit 6), the Committee came to this
conclusion because it mistakenly looked at the N for a different study in the published paper. The Committee agrees
that there is, in fact, no anomaly in the reporting of the number of participants.
                                                                                                                  9
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
     ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 53 of 1282



        VXEPLWWHGIRUSXEOLFDWLRQWKXVPLVUHSUHVHQWLQJWKHVWXG\SURFHGXUHVLQWKHILQDO
        SXEOLFDWLRQ6XFKLQVWUXFWLRQVSRLQWHGWRDVLJQLILFDQWIODZLQWKHH[HFXWLRQRIWKH
        GDWDFROOHFWLRQIRU6WXG\ZKLFKFDOOHGLQWRTXHVWLRQWKHYDOLGLW\RIWKHVWXG\
        UHVXOWV

        7KH&RPPLWWHHFRQGXFWHGDUHYLHZRIVWXG\GRFXPHQWVWKDWZHUHIRXQGLQ'U*LQR¶V
VHTXHVWHUHGUHVHDUFKUHFRUGVDQGFRPSDUHGWKHVHGRFXPHQWVWRWKHZULWWHQGHVFULSWLRQRIWKHVWXG\
SURFHGXUHVLQWKHSXEOLVKHGSDSHU7KLVUHYLHZUHYHDOHGLQFRQVLVWHQFLHVFRQFHUQLQJWKHH[DFWSURFHGXUH
XVHGLQWKHVWXG\EHWZHHQWKHPHWKRGRORJ\GHVFULEHGLQWKHSXEOLVKHGSDSHUDQGWKHPHWKRGRORJ\
GHVFULEHGLQGRFXPHQWVORFDWHGLQ'U*LQR¶VILOHVGRFXPHQWVWKDWGDWHEDFNWRZKHQWKHVWXG\SURFHGXUH
DQGUHVXOWVZHUHEHLQJVXPPDUL]HGDQGWKHSDSHUZDVEHLQJGUDIWHG2XUDQDO\VHVLGHQWLILHGWZRLVVXHV
KDYLQJWRGRZLWK  DSRWHQWLDOIODZLQWKHVWXG\GHVLJQUHODWHGWRWKHWLPLQJRIWKHGHSHQGHQWYDULDEOH
DQG  WKHGHVFULSWLRQRIWKHVWXG\¶VSURFHGXUHLQWKHSXEOLVKHGDUWLFOHZKLFKFRXOGEHVHHQDV
DPELJXRXVRUSRWHQWLDOO\PLVOHDGLQJDVVHWIRUWKLQPRUHGHWDLOLQ([KLELWNeither Dr. Gino’s written
response to our memos nor our interview with Dr. Gino on February 28, 2022 yielded information that, in
our view, could explain these discrepancies. :HWKHUHIRUHILQGWKDWDOOHJDWLRQDRIUHVHDUFKPLVFRQGXFW
DJDLQVW'U*LQRIDOOVZLWKLQWKHGHILQLWLRQRIUHVHDUFKPLVFRQGXFWDQGWKDWRXUSUHOLPLQDU\LQIRUPDWLRQ
JDWKHULQJDQGSUHOLPLQDU\IDFWILQGLQJLQGLFDWHVWKDWWKHDOOHJDWLRQPD\KDYHVXEVWDQFH

$OOHJDWLRQE

        :LWKUHVSHFWWR6WXG\LQWKH31$63DSHU

        'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVE\DOWHULQJDQXPEHURI
        REVHUYDWLRQV,QSDUWLFXODUZKHQVRUWHGE\³H[SHULPHQWDOFRQGLWLRQ´DQGE\
        ³SDUWLFLSDQW,'QXPEHU´WKHGDWDVHWIRU6WXG\DSSHDUVWRLQFOXGHGXSOLFDWH
        REVHUYDWLRQDQGREVHUYDWLRQVZKHUHWKH³SDUWLFLSDQW,'QXPEHU´LVRXWRIVRUW
        7KHRXWRIVRUWREVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKH
        K\SRWKHVL]HGHIIHFWV

        7KH&RPPLWWHHDQDO\]HGWKHGDWDVHWIRUWKLVVWXG\WKDWZDVIRXQGLQ'U*LQR¶VVHTXHVWHUHG
UHVHDUFKUHFRUGVDVZHOODVWKHSXEOLFO\SRVWHGGDWDVHWRQ26):KHQVRUWHGE\FRQGLWLRQDQGSDUWLFLSDQW
,'QXPEHUERWKGDWDVHWVLQFOXGHRXWRIVHTXHQFHREVHUYDWLRQVVRPHLQRQHH[SHULPHQWDOFRQGLWLRQDQG
VRPHLQWKHRWKHUH[SHULPHQWDOFRQGLWLRQDQGWKHVHREVHUYDWLRQVFRQWULEXWHWRWKHVLJQLILFDQFHRIWKH
K\SRWKHVL]HGHIIHFWVVXJJHVWLQJWKDWWKHGDWDPD\KDYHEHHQIDEULFDWHGRUIDOVLILHGDVVHWIRUWKLQPRUH
                                                                                                            10
      7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
   ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
    ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
     352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 54 of 1282



GHWDLOLQ([KLELWNeither Dr. Gino’s written response to our memos nor our interview with Dr. Gino on
February 28, 2022 yielded information that, in our view, could explain these discrepancies. :HWKHUHIRUH
ILQGWKDWDOOHJDWLRQERIUHVHDUFKPLVFRQGXFWDJDLQVW'U*LQRIDOOVZLWKLQWKHGHILQLWLRQRIUHVHDUFK
PLVFRQGXFWDQGWKDWRXUSUHOLPLQDU\LQIRUPDWLRQJDWKHULQJDQGSUHOLPLQDU\IDFWILQGLQJLQGLFDWHVWKDWWKH
DOOHJDWLRQPD\KDYHVXEVWDQFH

        
9,     5(&200(1'$7,216
       $VGHVFULEHGDERYHZHKDYHUHYLHZHGWKHLQIRUPDWLRQSUHVHQWHGWRGDWHUHODWLQJWRWKH
DOOHJDWLRQVDJDLQVW'U*LQR,QUHYLHZLQJWKHVHPDWHULDOVZHKDYHEHHQPLQGIXOWKDWRXUWDVNDVLQTXLU\
FRPPLWWHHLVDSUHOLPLQDU\RQH,QOLJKWRIWKHHYLGHQFHUHIHUHQFHGKHUHLQZHKDYHGHWHUPLQHGWKDWWKHUH
LVDUHDVRQDEOHEDVLVIRUFRQFOXGLQJWKDWDOOHJDWLRQVDDQGEIDOOZLWKLQWKHGHILQLWLRQRI
UHVHDUFKPLVFRQGXFWDQGWKDWRXUSUHOLPLQDU\LQIRUPDWLRQJDWKHULQJDQGSUHOLPLQDU\IDFWILQGLQJ
LQGLFDWHVWKDWWKHDOOHJDWLRQVPD\KDYHVXEVWDQFH7KHUHIRUHZHUHFRPPHQGLQYHVWLJDWLRQRIDOOHJDWLRQV
DDQGESXUVXDQWWRWKH+%63ROLF\




                                                                                                           11
       7+,6'2&80(17,6&21),'(17,$/$65(48,5('%<)('(5$/5(*8/$7,216$1'
    ,167,787,21$/32/,&,(6)255(9,(:2)$//(*$7,2162)5(6($5&+0,6&21'8&7
     ',6&/2685(2)7+,6'2&80(17252)$1<2)7+(,1)250$7,21,7&217$,16,6
      352+,%,7('(;&(37$63(50,77('%<7+26(32/,&,(625$65(48,5('%</$:
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 55 of 1282




                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                      ([KLELW
                                          
+%6,QWHULP3ROLF\DQG3URFHGXUHVIRU5HVSRQGLQJWR$OOHJDWLRQVRI5HVHDUFK0LVFRQGXFW
                                          























       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 56 of 1282




Interim Policy and Procedures for
Responding to Allegations of Research Misconduct
August 2021



I.      Basis for Policy

Integrity in scholarship and research is one of Harvard University's—and Harvard Business School's—
fundamental values. Allegations of misconduct in scholarship and research must be treated with the
utmost seriousness, and examined carefully and responsibly in a timely and effective manner.

Toward that end, HBS has established this Policy and Procedures for Responding to Allegations of
Research Misconduct1 to guide its efforts in reviewing, investigating, and reporting allegations of
research misconduct.2

II.     Scope

This Policy applies to allegations of research misconduct—including fabrication, falsification, or
plagiarism in proposing, performing, or reviewing research, or in reporting research results—involving
any person who, at the time of the alleged research misconduct, was employed by, was an agent of, or
was affiliated by contract or agreement with HBS, including without limitation tenured and non-tenured
faculty, teaching and support staff, researchers and research associates, research coordinators, post-
doctoral and other fellows, students, volunteers, officials, technicians. The Policy may be applied to any
individual no longer affiliated with HBS if the alleged misconduct occurred while the person was
employed by, an agent of, or affiliated with the School. This Policy does not apply to authorship or
collaboration disputes. It applies only to allegations of research misconduct that occurred within six
years of the date HBS received the allegation, unless: the respondent has continued or renewed an
incident of alleged research misconduct through the citation, republication, or other use for the
potential benefit of the respondent of the research record in question; or HBS determines that the
alleged misconduct would possibly have a substantial adverse effect on the health or safety of the
public.

III.    General Policies and Principles

A.      Research Misconduct Prohibited, Standard of Proof

HBS prohibits research misconduct and investigates and responds to allegations of research misconduct
in accordance with this Policy. Throughout the research misconduct process, which begins at the time an
allegation is made, all participants shall bear in mind the importance, both in fact and in appearance, of
thoroughness, fairness, and objectivity.




1
 See Appendix 1 for a glossary of terms and definitions.
2
 See Appendix, here and throughout, for additional specifications and requirements when researchers have
received federal or other external funding for their research.
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 57 of 1282




  !$%$%! '&$#'$%&&/

      7 $%  &"$&'$$!"&"$&%!&$( &$%$!' &+.
      7 $%"!  &!&&&$%$%! '& & &! +- !) +-!$$%%+. 
      7 &! "$!( +"$"! $ !&( 0

%&$'&! !$%$$!$%-% !$%$$!$%-!$$%"!  &;%'$&!"$!(
$%$$!$%#'&+!' & &#'%&! $%$%( !$%$%! '&
)$& %&&'&! %&%%+"$"! $ !&( &&&$%"!  & & &! +-
 !) +-!$$%%+$%$$!$% %&$!+&-&!""!$&' &+&! & &
$!$%'& !&!%!-!$ & &$!$% &!"$!'& &+ $ 
&&&$%"!  &;%! '&! %&&'&%%  &"$&'$$!"&"$&%!&
$( &$%$!' &+0

  $%&'$ !"$!!!$   !$%$%! '&0$%"!  &%&
'$ !"$!( -+"$"! $ !&( - + $&( %%$%8%'%
! %&$$!$90

  ('%%'&&!&%"!+!' &!(!&&$%$%! '&+%'&&!
% &! %'"&!  ' &$ &! 0

0       &#"!&','"#"%' &"!('

 ('%%'&&!&% !+)$"!$&!%$(-%'%"&-!$""$ &$%$%! '&&!
&%$ &$&+ $8 90   ('%' %'$)&$%'%"&  &%)& 
& &! !$%$%! '&-&& ('+&)&!$! &&& &!%'%%&
%'%"&$%$%! '& !$+-)+ '%'%% & ! +!'%+ 3!$
+"!&&+0 &$'%& %%$+& ('! !&&& &! !$%$
%! '&-& & +$$& ('!$&! &!!&$!%!$!%-)$
""$!"$&0

0       ""#%'"!*'&% &"!('%"!&

 ('%%'&&!&% !+%!!"$&)&&  !&$ %&&'&! !% &
$()!&! % &! '&! #'$%  (%&&! %0 ('%%'&&!&%
  !+- ' $%"!  &%-( !&! &!"$!(( $( &&!$%$%! '&
&! %&!& !$!&$ %&&'&! !%0

0       (','" !'!"!!'',

'%!&"!& &!"$+&!&$"'&&!  $&%!$%"!  &-&  
!&&$%8%  &% !+9%)%!&$%& )!+ (!( &
$%$%! '&"$! %&!&*& &"!%%/8>9&%!%'$!& &&+!
$%"!  &% !"  &%&!&!%)! &! !) !$$&!$$+!'&&!$!'-!"& &-
!&(- $$%$%! '&"$! . 8?9*"&%!&$)%"$%$+)-&
                                      

    !#<:<;0<:<<(!)# "!#!#( !"""2            
                 3,


                                                                                                         <
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 58 of 1282




&%!%'$! +$!$%!$( $!)$%$%'&%& &&!&!%)!
  &! !) !$$&!$$+!'&$%$%! '&"$! 0$!' &! %!'&
$%$%! '&"$! %+! %$ %%$+!$(%- ($%&+!%%!'
'+&'  $ "%!$!' &!  %$ %! '& $! %0
   ""$!"$&%% &! ! !$&! +$%'& % &! %'"&!  ' &$ &! 0

0      '&!&#"!&'&"" #!!'

!"  &%$%"! %!$ &! % !!&- &  !  &&+- 
!!"$& )&& #'$+  (%&&! 0 & #'$+!&&%& %%$+-&
!"  &+ &$()&& #'$+%& -%!-)( &&$ %$"&!$$!$ 
!& &$()!$!$$&! 0!"  &!$ $+) &$()'$ & (%&&! 
"%- ( &&$ %$"&!$$!$ !& &$()!$!$$&! 0&$  &! 
!$%$%! '&-&!"  &%$%"! %!$"$!( (   !$&!  
! &! )&&$%$%! '&"$!%%'&% !& &&&!$( !$&! !'&&
%&&'%!$!'&!!&&"$!%%0

0      '&!&#"!&'&"&#"!!'

$%"!  &%$%"! %!$ &  !  &&+ !!"$& )&&! '&! 
 #'$+  (%&&! 0$%"!  &% &&&!&"$!'$$&% "$!&&! %%&!$& 
&% !+0%"!  &%+!!%'"&!&)!"$%! (%!$%!$%'""!$&'$ &"$!%%0
  $%! (%!$%+&&!$ +%.&++ !&"$ "%!$)& %%% &$%$%! '&
&&$0 $%! (%!$%+"$% && +"$! %!$ &$()%&&&$%"!  &&& %
'&+ !&#'%&! )& %%%!$!&$)%&"$& &$%$%! '&"$! %0

$%"!  &%!'( &!""!$&' &+&!&&&$%$%! '&!'$$ &&
&+!&&&$%$%! '&0&&(!&  3!$!&$ %&&'&! !%-
& !$&$% +  ;%$()! &! &&% &&0

0      %"''!" #!!'&-'!&&&-' -!"        ''  %&

   !' &+$%+ !&$&&  +)+ %&!"  &%-)& %%%-& -!$
!&&$%0 +!$""$ &$&&!  %&!"  &%-)& %%%-& -!$
!&&$%%!'$"!$&&+&!&
 8!$&!& ;% -%""9-)!%$()&&&$ -% %%$+-
$%!  "$&!$&%&!!' &$ +"!& &!$&'$&&!  "$!&& $%&!$
&"!%&!  $"'&&! !&"$%!  %&)!&$&&! %$&0

  0    % !%,&&&& !'"'"!&

"! $(  &! !$%$%! '&-& &+)%%%%&&! &!
&$ )&$&&! /
                                   
    
     ##"+//",%!,!%!,$/"/%!0
    $#"/"/$1!"1!1$#11!"!1"$#1!",




                                                                                                         =
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 59 of 1282





     7 %)& & &! !$%$%! '&- 
     7 %%' &+$ %"%!&&"!& &( !$%$%! '&+
         &0

  #'$+'%&! '&&%$&$$&0

  -'"! $"&! &&! -&""$%&&& % +' $%!("$%! -"$!%%! -!$
  ! &%! &$%&)&&!% (!( &&! %-&  !&$#' ('
%""! &+& !$&$% &!%$(% &$ )&$%"&&!$() &
&!  ! '&  +$%$%! '&"$! 0

%%%% &"$!%!'$-"$$+! ')& )0$&% !&%&!
! '&%%%% &)& )-&"$!%%%!'"$!*"&!'%+0 ! '& &
%%%% &-&% !& %%$+&! &$()&!"  &-$%"!  &-!$!&$)& %%%-!$&!
&$&+!  +&&+( %'&&)&&&! -*"&% %%$+&!
&$ )&$&&! %%' &+$ %"%!&&"!& &( !
$%$%! '&+ &0"$ $+%%%% &%!' & $!$%
"$&  &!&$()!&! %)$& +& !$"$!!%( 8D9+$%
!!) &!"&! !&"$! 0

0       $(&'%'"!"&%"%&! "''"&#"!!'

0       $(&'%'"!"&%"%&

% !+!($ %%%&!$%$$!$%- ' )&!'&&&! $!$%-!$"'$"!%%
!! '& $%$%! '&"$! %0!%   %&$ &% !+(
$&% %%$+&!%%$%$$!$%$&!$ & + ('%
%'&&!&% !+0

%&!& -! !$!$&&! )&$%"!  &% !&-!$& #'$+ %-)($
%$$-& '%&&$%!  "$&%&"%&!!& '%&!+!&$%$
$!$% (  &!! '&&$%$%! '&"$! 0 %!%
%#'%&$ +&! $%$$!$%&&!"$&  &&!  #'$+!$ (%&&! &$&
 &%#'%&$&! 0

 %$%"! %!$ ( &!$+ &$!$% (  %#'%&$ & %'$
 $0 $""$!"$&- %(&$%"!  &!"%!-!$$%! %'"$(%%%
&!-&$%$$!$%0

                                     

  !!#)!%!6" (""##!!#"("##"###"#(#
!%&"!"!"$##", #)#!%"##" "$#),>,

  !%!6" "!# &!" ("!##-#%!"#(""!#"&!"%!!"!#
!!#"$###%!"#()$!#$""#%!"#()!&#%!"#(!"$!").
$!#!"##"##-4&5#"""!(#"$!""2,,$!!"!"$#!3#
%!"#((#$"#(!"!#,. ( !$!") #;,),<,
  &%!)&!#!"!!!"!%"""#"#!$#""!($!$"!")
$"#((##"##!%"$"#!$#")""#""!


                                                                                                                      >
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 60 of 1282





0         "''"&#"!!'

&&&!!$!$    #'$+-& '%&!!&!$&&! !&+&
$%"!  & )$& -&$%"!  &% !) 0 & #'$+%'%#' &+ &%&! 
$%"!  &%-&+'%& !& )$& 0

 0       !$(%,

0        !''"!!(%#"&"' !$(%,

"'$"!%!& #'$+%&!! '&  &$()!&(( &!&$ )&$
&!! '&  (%&&! 0  #'$+!% !&$#'$'$()!&( $&&!&
&! 0

0       ##"!' !'"' !$(%,"         ''

 #'$+!&&)""! &+& !$&$% - ! %'&&! )&!&$
 %&&'&! !%%""$!"$&- )! %%&!! !$!$ ('%)!! !&(
' $%!("$%! -"$!%%! -!$  ! &%! &$%&)&&!% (!()&&$%$
%! '&"$! 0 #'$+!&&%!' ' ('%)&&""$!"$&%'&4
&&$*"$&%&!/('&&(  %%'%$&&!&&! . &$()&"$ "%
 +)& %%%. ! '&& #'$+0  %%$+&!%'$& %%$+*"$&%!$&!
(!! &%! &$%&-& !$&$% +%&!&&$%$!!'&%&
 %&&'&! 0

  $!$&!& &&! !& #'$+-&$%"!  &) !& )$& !& #'$+!&&;%
$%" %!$(8B9 $+%&!!!&! %%'"! !&&
$;%"$%! -"$!%%! -!$  ! &! &$%&0 !$&$% )
& &$ &! !)&$! &*%&%0

0       %'"'"       ''!%&' '!

 )"$"$$!$& #'$+!&&&&%&%!$&&"'$"!%!& #'$+ 
&*"&&$-&!&&;%$%"! %&%-&&! %-  +$&%%'%
 &'$ &"$ $+%%%% &0$%!% !$&!&&&& 
 (%&&! %)$$ &&!&&&$ %-%! &%$()'$ & #'$+-&&/8>9
&$%$%! %%!$! ' &&&&! %)& & &! !$%$
%! '&. 8?9&"$ $+ !$&! 4&$  "$ $+&4  $!& #'$+
 &%&&&&! +(%'%& 0

&&!&&;%$%&& -& )$()&$)&&!&&-%'%%&
&! %- +$&%%'%- &""$!"$&"$!'$%!$! '& & #'$+-%%%&&
!&&)&!$ , " %!$& #'$+-  %)$ +#'%&! %$%+&!&&0
 )"$% &!$(&$!'!'&& #'$+&!(%&!&&% 0

                                     
"$"##( $%###%#!(%$#"#!$#",


                                                                                                           ?
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 61 of 1282




0         !$(%,%"&&
          
 #'$+!&&!$ $+) &$()&!"  &- +-&$%"!  &- +
)& %%%%)%* $( &$%$$!$% &$%0 + &$()%)$!$!$
&$ %$-)&$!$ %!$&$ %$"&%"$!(&!& &$()!$!$$&! 0 & #'$+
!&&)('&&( - ' &&%&! +!& '$ & #'$+0 
! %'&&! )&& -&!&&$%))&$  (%&&! %)$$ &
%! &$&$ &% !+0

%!"!& #'$+% !&$#'$&! !% !& !$+ ' )&$%! '&
 &+!'$$-&$   &+)!!&&&$%$%! '&-!$! '& 
*'%&( &$()%  +%%0  !)($-+%' &%%! !$%$%! '&%
+&$%"!  &-%! '&+&$ && #'$+%&$( &%%'%$
$%!(0

0        !$(%,#"%'

)$&&  #'$+$"!$&'%&"$"$&& '%&!!)  !$&! /8>9&  
"!%&! !&$%"!  &.8?9%$"&! !&&! %!$%$%! '&.8@9&'  
%'""!$&- ' )&!'&&&!  +$ & '$%-$ &""&! %-! &$&% "'&! %
%& %'""!$&.8A9&%%!$$!  !$ !&$!  &&&&! %)$$ & 
 (%&&! .8B9 +! &%! &$&$"!$&+&$%"!  &0

 ! $!' %%(&!(%& #'$+!&& & )&
$%"&&!&$"!$&0 !&! %%!'%""$!"$& ! %'&&! )&&  &
 #'$+!&&0

0          "''"!"'&('&"' !$(%,.##"%'(!','""     !'

 % !&+&$%"!  &%&!)&$& #'$+!'   (%&&! &!)$$ &-
 '!"+!&$& #'$+$"!$&!$! &)& >='% %%+%-  '!"+!!$
 &!&% !+0

%! &! &%-& #'$+!&&+$(%&$&$"!$&%""$!"$& "$"$
&  !$0 +! &%&&$%'&&+&$%"!  &)&&&!&  #'$+
$"!$&0!&&)($& $"!$&&!& 0

0         !&''('"!&"!! "''"!

     >0       "  5 )&$ %&&  #'$+$"!$&  +
               ! &%&!& !$&$% -)!))$&& &$ &! %&!
               )&$  (%&&! %)$$ &0 #'$+%!"&) &%&$ &! %
               0 ) !&+ %&&'&! !%)!( &! !)!&%! 0
                                     
 "#%)%"##"&!!#####!")"#"!%&$!#
 $!()##+2;3#!"!"""!$####"&###!"!
"$#*2<3#!!(!#0#!!!(#0!# $!(#"
####(%"$"#,


                                                                                                                        @
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 62 of 1282




         
         ?0          5   (%&&! % !&)$$ &-& 
                  %%'$  & !$D+$%&$&&$ &! !& #'$+%' &+
                  &!' &&! !& #'$+&!"$&&$%%%% &!&$%! %)+ 
                   (%&&! )% !&! '&0

    0          "%" #'"!

 #'$+- ' "$"$&! !&  #'$+$"!$& &%! ! )&$ 
 (%&&! %)$$ &-'%&!"&)& C= $+%! &&! !& #'$+-' %%
& &$ %&&$'%& %$+)$$ &! $"$!0  *& %! %""$!(-&
 #'$+$!$'%& '!' &&! !&$%! %!$* &C=4+"$!0

 0      "!('!' !)&''"!

0        !''"!!(%#"&

 (%&&! !$ $+%!' %!$&+&$!"&! !& #'$+  !&$& @=
 $+%&$&&$ &! &&  (%&&! %)$$ &0 !$!$&&! 
)& (%&&!  %-& '%& !&+&$%"!  & )$& !&&! %&!
 (%&&0

"'$"!%!& (%&&! %&!(!"&'$!$+*"!$ &&! % & 
*  &(  "&- &!$!   %! )&$$%$%! '&
% !&&-+)!- &!)&*& &0 (%&&! !&&%"'$%' &+
%  &%%'% %%!($&&$&$ $( &&!& (%&&! - ' 
 +( !&!  %& %!"!%%$%$%! '&- ! & '& (%&&! &!
!"&! 0  )&! %$ &-& '%&%!(&$%"!  &)$&&  !&!
%'&! %)& $%! !' &!&! &!"'$%'&! % !&$%%
'$ & #'$+!$ & & !&!& (%&&! 0

0       $(&'%'"!"&%"%&

    !$!$&&! )&$%"!  &% !&-!$& (%&&!  %-)($%
$$-& '%&&$%!  "$&%&"%&!!& '%&!+! %#'%&$ 
%'$ $&$%$$!$% (  &!! '&&$%$%! '&
"$! &&)$ !&"$(!'%+%#'%&$'$ & #'$+0 !$&! 
%#'%&$&! !$!$%+!'$!$ + '$!$%! %- ' & %&&'&! ;%%! &!
 (%&&&! &! % !&! %$'$ & #'$+%&!$ &&! !$!$%
'$ & #'$+"$!%%&& !& "$(!'%+%'$0"$!'$%&!!!)!$
%#'%&$&! '$ & (%&&! $&%"$!'$%&&""+'$ & #'$+0

0       ##"!' !'"' !)&''"!"         ''
     
 !$&$% - ! %'&&! )&!&$ %&&'&! !%%""$!"$&-)""! &
 ! (%&&! !&& !&&$0 (%&&! !&&'%&! %%&!
 ('%)!! !&(' $%!("$%! -"$!%%! -!$  ! &%! &$%&)&
&!% (!()&& (%&&!  %!' ' ('%)&&""$!"$&%'&4&&$


                                                                                                            A
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 63 of 1282




*"$&%&!/('&&(  %%'%$&&!&&! . &$()&$%"!  & 
!"  &. ! '&& (%&&! 0 ('%""! &&!& (%&&! !&&%!
+(%$(! & #'$+!&&0  %%$+&!%'$& %%$+*"$&%!$&!
(!! &%! &$%&-& !$&$% +%& (%&&! !&&$%$!
!'&%& %&&'&! 0

  $!$&!& &&! !& (%&&! -&$%"!  &) !&!& (%&&! 
!&&;%$%" %!$(8B9 $+%&!!!&! %%'"! 
!&&$;%"$%! -"$!%%! -!$  ! &! &$%&0 !$&$
% )& &$ &! !)&$! &*%&%0

0       %'"'"       ''!'%&' '!

     >0      $&!&!&&5 ) &%'&&&$!& (%&&!  
              )$&& $&!&!&&&&%$%&&! % $&%%'% &
              '$ & #'$+. &%&$%"!  &. !$%&!&&&&&'%&! '&
              & (%&&! %"$%$+&% !+. %$%$%! '&.  %&$'&%&
               (%&&! !&&! &'$ !"$!!0$%%&&&&&!&&
              %&!('&&(  &%&! +!&$%"!  &-!"  &- +
              )& %%%&!&$ )&$-%! "$"! $ !&( -$%$
              %! '&!'$$ -%!-&!)&*& &-)!)%$%"! %- &%%$!'% %%0
               +-&$% !$&!&&&&&'%&"$"$)$&&  (%&&! 
              $"!$&&&&%&$#'$ &%!&% !+0

     ?0      $%& & 5&&!&&;%$%&& -& )$()&$-& #'$+
              $"!$&- &"$%$"$!'$% %& $%!$&! '&!& (%&&! -
               ' & %%&+!$!  &&+ !$(!" %" (%&&! " 0
               (%&&! !&&)"$!()&!"+!&% !+ -""-
              $$'&! %0 )"$% & (&$!'!'&& (%&&! &!
              (%&!&&% 0

0        !)&''"!%"&&

 (%&&! !&& & '%&/

      7 % &!$&%&! %'$&&& (%&&! %&!$!' %' &+!' & 
           '%* &! !$%$$!$% ( $( &&!$ %! ! &
          $&%!&! .
      
      7 $%! %&"%&! %'$ "$& ' % (%&&! &!&*'*& &
          "$&.
      
      7 $$%"!  &-!"  &-  +!&$("$%! )!% $%! +
           &%(  !$&! $$  +$( &%"&%!& (%&&! - ' 
          )& %%% &+&$%"!  &-&!""!$&' &+&! &$().$!$!$&$ %$
           &$()."$!(&$!$ !$&$ %$"&&!& &$()!$!$$&! . 
           '&$!$ !$&$ %$"& &$!$!& (%&&! . 
      


                                                                                                          B
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 64 of 1282




     7     '$%' &+%  &%%'% %%!($&&$&$ $( &&!&
           (%&&! - '  +( ! +&!  %& %!"!%%$%$
          %! '&- ! & '& (%&&! &!!"&! 0

0      !)&''"!#"%'

 (%&&! !&& & $$%"! %!$"$"$ )$&& $&$"!$&!&
 (%&&! &&/

     7 %$%& &'$!&&! !$%$%! '&- '  &&! !&
        $%"!  &0
     
     7 %$% !' &%  %'""!$&!$&$%$%'&&!&&! %- ' 
        )&!'&&&! & '$%! +$ &%&&$ (!(-$ &""&! %-! &$&%-
         "'&! %%& %'""!$&.
     
     7 %$%&%"&! %!$%$%! '&! %$ & (%&&! .
     
     7 '%& %&&'&! "!% "$!'$%' $)& (%&&! )%! '&.
     
     7  &% %'$,%&$%$$!$% ( $()  &% +
        ( &  &!'%&!+'& !&$(). 
     
     7 '%%&& &!  %!$&! !$%$%! '& &'$ &
         (%&&! 0%&& &!  %'%&/8>9 &+)&$&$%$%! '&
        )%%&! -$&! -!$"$%- )&$&)%!&& & &! +-
         !) +-!$$%%+.8?9%'$,&&% & +%%&&%'""!$&&! '%! 
         ! %$&$&%! +$%! *" &! +&$%"!  &- '  +!$&
        +$%"!  &&!%&%+"$"! $ !&( &&&+ !&  
        $%$%! '&'%!! %&$$!$!$$ !!" ! .8@9 &+&%"
        '  %'""!$&8 +9.8A9 &+)&$ +"'&! % !$$&! !$$&$&! .8B9
         &+&"$%! 8%9$%"! %!$&%! '&. 8C9%& +'$$ &%'""!$&!$ !) 
        ""&! %!$"$!"!%%!$%'""!$&&&&$%"!  &%"  )&$ %!$
        *&$ ' $%0
     
     7 '%$!  %&&'&! &! %0

 ! $!' %%(&!(%& (%&&! !&& & )&
$%"&&!&$"!$&0 !&! %%!'%""$!"$& ! %'&&! )&&  &
 (%&&! !&&0

0     "     !'&"!'%'#"%'!&&'")!

    >0     %"!  &5 )(&$%"!  &!"+!&$& (%&&! $"!$& 
            *&%!$! & -! '$$ &+-!"+!!$%'"$(%%%&!&( ! 
            )&$"!$&%%0$%"!  &)!)@=+%$!$"&!&$&
            $"!$&&!%'&! &%&!& 0$%"!  &;%! &%'%& ' 
            ! %$ & $"!$&0


                                                                                                               C
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 65 of 1282





    ?0     !  &&+5 %&$'& &$&$"!$&&!&$%"!  &!$! &-& )
            $ &$%"!  &!&!  &&+' $)&$&$"!$&%(
             +%&%$%! ! &! %&! %'$%'!  &&+0

   0    &"!,!

  (%&&! $"!$&)%'&&&!& -)!))$&& &$ &! %
&!/8>9)&$& %&&'&! "&%& (%&&! $"!$&-&%  %- &$! 
 %&&'&! &! %. 8?9&""$!"$& %&&'&! &! % $%"! %&!&"&  %!
$%$%! '&0 &%&$ &! ($%$!&  %!& (%&&! !&&-&
 )*"  &&%%!$$ $ %! $ &$!&  %!&
 (%&&! !&&0&$ &(+-& +$&'$ &$"!$&&!& (%&&! !&&
)&$#'%&!$'$&$&4  !$ +%%0

  %! ! &%% $-&$%"!  &) !& )$& 0
 - ! %'&&! )& %&&'&! !%% -%!)&$ )&$$( &"$&%
%!' !&!&!'&!!&%- ' "$!%%! %!&%-&!$%!!'$ % 
)%$"!$&%+( "'%-!!$&!$%!&$%"!  & &)!$-
"$!%%!  % !$%-!$) !$ & %-0

  0      !&''('"!'"!&

&$&$ &! !$%$%! '&%-& +! ""$!"$&&! %&!
& - ! %'&&! )&!&$%&& ($%&+%""$!"$&0 &! %!$$%$%! '&
%%! &%$!'% %%!&%! '&- ' '& !&&&!-&$&!)
&%! '&/9)% & &! - !) -!$$%%.9)% %!&( &!$"$&!"&&$ .
 9%  &"&! &$%$$!$-$%$%'&%-!&$$%$$%- %&&'&! %-
!$&"')$0$ ! %&$&(&! % '%-'&% !&&&!-&!$$&! 
!&"'$!$ ' &)&$)!$!$$&! !"  !$"'%%&$&% 
""$% & $!&$%$)$%! '&)%!' .$!(!&$%"! %"$%! 
$!&"$&'$"$!&-%"! &!$ !'&'$)!$-"$!&! -%'%" %! -()&!'&"+-
%$+$'&! -!$ &&! !%&"% &!$ $'&! !$&$ &! !"!+ &.
$%&&'&! !' %%""$!"$&.%'%" %! !$&$ &! ! &()$. !&$&! 
""$!"$&&!&$%$%! '&0!$%% (!( $%$%! '&+%&' &%-% &! %
%&$ +&""$!"$&%&' &%" $+!$0

  0      "%" #'"!

 (%&&! !$ $+%!"&)& >?=+%!  &- ' ! '& &
 (%&&! -"$"$ &$&$"!$&!  %-"$!( &!$! &- , &$"!$&- 
  %%$+ !&&! %0 !)($-& &$ %&&& (%&&! ) !&
!"&)& &%>?=4+"$!-&$&! !$&+)!' &0

  0     !'%  !&''('"!'"!&
       
$!'!'&&$%$%! '&"$! -& )$()&%&'&! &!&$ &$
% +&$&!$&!& &$&+!&$%$"$!%%0 &( &!%'&$&-& )-


                                                                                                         ;:
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 66 of 1282




 ! %'&&! )& %&&'&!  !&$!%-% %%$+-&""$!"$& &$&! %&!
"$!&& %& +%'&$&0

    &$&! & '/&! ! &!$ !&$%$"$!%%.$%%  &!"$%! .
&! $()!$%$& $%'&%.!$+ "'&! 0

0       " #'"!"&&

 $+- #'$%  (%&&! %)$$&$!'&!!"&!  %  &%%'%
)"'$%' &+0

 0      '%"!&%'"!&

0       % !'"!"%&!'"!%"%'"" #'! !$(%,"% !)&''"!

&$ &! !&$%"!  &;% "!+ &-+$% &! !$!&$)%-!$!$&$ 
&! !"!%%$%$%! '&% $"!$&-) !&"$'!$&$ &&
$%$%! '&"$! !$!&$)%& +! ;%$%"! %&%&!"'$%'&! %0

  &$%"!  &-)&!'&&& &!&%! '&-&%&!$% &$%"!  &;%"!%&! &$
   $(% &! !$%$%! '&-&%%%% &!&&! )"$!-%)
%& #'$+  (%&&! -%""$!"$&%! &!'&!!&"$ %&"%0 &
$%"!  &$'%%&!"$&"& &"$!%%&$$% &! -&   + #'$+!$
 (%&&! !&&)'%&$%&!$&%&!$! '%! ! $  &&! %-
   !&  &$"!$&&$%"!  &;%'$&!!!"$& &%&! &( 0

0       &'"%'"!"'&#"!!'1&#(''"!

!!)    ! !$%$%! '&-& '%&-&&$#'%&!&$%"!  &-
' $&$%!  "$&!$&%&!$%&!$&$%"!  &;%$"'&&! 0

0       '"!& "' !""'

  $( &-& !$&$% )&$ )&$&!"  &;%&! %!$%$
%! '&)$ !!&-!$)&$)& %%!$!&&$& !!&0 
& !$&$% &$ %&&&$)% % !!!&-& !$&$
% )&$ )&$ + %&$&(&! %!'&  %&&"$%! )!
&!& !!&0

0          !'!!"%&

   % & &$!$%!$%$%! '&"$!  %'$ $'$ &%
"  + !$%( 8D9+$%&$!"&! !&"$! !$!"&! ! + +
!($%&"$! -!$%$#'$+ +""$!$$& &! "$!(%! -)($%&$0

                                  




                                                                                                         ;;
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 67 of 1282




##!+2/"&&%,"% &!!'"!&

 /%!%'$!"!%%$%$%! '&&$!' + %!!' &! 0

/$! +!!&&""! &&!! '&!$"!$&! !&
$%$%! '&"$!%%' $&% !+0

  /"$%! )! !!&% &! !$%$%! '&0

/  -"$%! -!$"$!%%! $&! %"%&&+!"$!%-!$""$&!
!"$!%"$%! ;%%! %0

  # $/& %&&'&! !)!% &$ &! %!'&&! %!
$%$%! '&  + %&&'&! &! %-!$ $+& ! 0  !%
  !&%$(%&%$ &$&+ $ % !&$&+ (!( & %&&'&! ;%"$ $+
%%%% &- #'$+-!$ (%&&! 0  ;% (!( & &""! & &!
 ('%&!%%%%&! %!$%$%! '&-!$&!%$(!   #'$+!$ (%&&! 
!&&-% !&! %$&!$& (!( &0

 / +!' &!$!&$$!$-& &-!$&%&! +!$!$!& '$ 
$%$%! '&"$! &&& %&!"$!(!$%"$!(&*%& ! &0

  / '"&!$$%'&% $!$ !$$"!$& &0

  / "'& $%$&$%-#'" &-!$"$!%%%-!$  !$!&& &!$
$%'&%%'&&&$%$% !&'$&+$"$% & &$%$$!$0

 
            !/(  &&$'&!! ;%&! !$
&%&! +&&$%! "$%!  &%"!%&! !'(-%! & !$&!  !) &!
&"$%! &&&0 &! !$!!"$&! )&$%$%! '&"$! % !& 
!!&)& !) !$$%%%$$!$ !$&! &&)!' &&&! 
!$&%&! +0

          /!!"$& )&&$%$%! '&"$! +
$$+ !'&&'&%%% "$&+!$&"'$"!%!" & %&&'&! &&%
$%"! %&%' $& !+0!&&$!% !&& !!&&!&&
$;%&%!$!%%! %! &!&&$%! %&!$ ' +"$%! -"$!%%! -!$
  ! &%! &$%&)&&!% (!( &$%$%! '&"$! 0

"/"$ $+ !$&! 4&$  "$ $+&4   !$ )&& !+&!
&$ )&$ &! !$%$%! '&)$$ &% (%&&! 0

  /&!$(!" &!&'$!$ &* &! !&&$!$ &!
%! !'&)&$&!$!   !$%$%! '&-)+ '
$! &! !$!&$""$!"$&&! %- '  %&&'&! &! %0





                                                                                                       ;<
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 68 of 1282




    /&""$!"$&! ! !&$"$%! ;%%-"$!%%%-$%'&%-!$)!$%)&!'&( 
""$!"$&$&0

    /"$!!+ !$&! &&-!"$)&&&!""!% &-%&!&
! '%! &&&&&%%'%!$"$!+&$'&  !&0

   /%+%&&*"$ &-%&'+-('&! -! %&$&! -!$%'$(+% &!(!"!$
! &$'&&! $ !)!$%" !)+%&% -%!($ -(!" -
'& -!$! $  !$&! !'&-!$&' $+  %$& &!-&&&$%&!
%&'0

   " #  $/& %&&'&! !$%"! %!$/8>9$() &! %!
$%$%! '&&!&$ &+)& & &! !$%$%! '& )$$ &
  #'$+. 8?9!($%  #'$%  (%&&! %0

   /$&! -%&! -!$"$% "$!"!% -"$!$ -!$$() 
$%$-!$ $"!$& $%$$%'&%0%$%! '&!% !& '! %&$$!$!$
$ %!!" ! 0

   /&$!$!&!$$%'&%&&!+&&%$%'& $!% & #'$+!$
!&$%!$+ (!$%- ' '& !&&&!$%$"$!"!%%-!$&!$+$!$%8"+%
 &$! 9-"$!$%%$"!$&%-%&$&%-&%%-!$"$% &&! %- &$ $"!$&%-!'$ $&%-
!$$%"!  -  +!' &% &$%"$!(&!  %&&'&! ! &!'$%!
$%$%! '&"$! 0

  /&"$%!  %&)! &! !$%$%! '&%$&!$)!%&
%'&!$%$%! '&"$! 0

    / ($%&! &  %&!"  &-)& %%-!$!&&$+ 
 %&&'&! !$! !&%$% $%"! %&!!!&&! !$%$%! '&!$!!
&!!"$&! )&$%$%! '&"$! 0
                                  




                                                                                                          ;=
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 69 of 1282




##!+3/'"!%"(%&"%'"!& !)")!%(!!

   

% !+% & &!!"+)& %&&'&! $%"! %&%' $& ' &$(8 9
   !%! %$ %! '&-A? $&E@0 &$$ %("'%&$!) 
$%$%! '&$'&! %.&!&*& &&!%$'&! %""+&! &! !$%$
%! '& $ ! %%& &)&&% !+- %!"+)&&""$'&!$+
$#'$ &%0

% !+!% !&""+&!'&!$%"!$!!$&! %"'&% ""%! +&!&! %!
$%$%! '&&&!'$$)& %*+$%!&& $(&&! -%'&&!
&%'%#' &'%-&!$%&+!&"'- $ &$*"&! %$&'& A?000:
E@0>=B890

&$%"&&!%&' &% (!( &! %!$%$%! '&&& (!($'  -&
""$!"$&%&' &%" $+!$) !&!& &&! ! + #'$% 3!$
 (%&&! % ) !$!&  %! +%' #'$% 3!$ (%&&! %- ' 
$( !"%! #'$+ 3!$ (%&&! $"!$&%0!$&! %!$%$%! '&
 %&%&' &%&&! !& (!($'  - +-&&%%$&! -&$$$&&!&
""$!"$&%&' &%" $+!$-!$$()&' $&% !+  !&+&""$!"$&
%&' &%" $+!$%%$!(0

" 

  +%' &%%! !$%$%! '&%+&$%"!  &-%! '&+
&$ && #'$+%&$( &%%'%$$%!(0 &&%- %!'"$!"&+
! %'&)&&$( &$ +&!&$  *&%&"%0"& !&%%!   +
"$!"!%%&& &'%&""$!(+&$( &$ +0

   "

 )"$!(&$%"!  &)& &!!$!"+!A?000 $&E@8!$!&$""
$$'&! %90

   "

& @= $+%!&%! )&$  (%&&! %)$$ &-& )"$!(&
    !%$ &$&+81  29 8!$&$( &$ +9)&&)$&& %!  
!"+!&  #'$+$"!$&8!$!"+)& +!&$ !&!&! &!!($  & +!$
!&$' $90

   

    (%&&!  !&!"&)& >?=+%!  &-& )!' &&
                                   
   "!#!#(2 3#, ,!###$ !%"2 3"!""
!#"#"$#!"!#!#(#%#"#, , $# !%2  3,


                                                                                                              ;>
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 70 of 1282




$&! !$&+  !&+$ %%$#'$  !$ )&$
$'&! %0 ) %'$&&"$!"$!$%%$"!$&%$)&$ %  
!$ )&$$'&! %0

  

 & $% %! ! &%-& (%&&! %!"&- & )
&$ %&&!&""'   +/8>9!"+!&  (%&&! $"!$&)&
&& &%.8?9%&& &!)&$& %&&'&! "&%&  %!& (%&&! $"!$&.
8@9%&& &!)&$& %&&'&! !' %! '& -%!-)!!&&&%! '&.
 8A9%$"&! ! +"  !$!"& %&&'&! &! % %&&$%"!  &0

  "    

$!'!'&&$%$%! '&"$! -& )$()&%&'&! &!&$ &$
% +&$&!$&!"'&!$&!$' % #'" &0 &( &!%'&$&-
& )- ! %'&&! )&!&$ %&&'&! !%-   -% %%$+-&""$!"$&
 &$&! %&!"$!&& %& +%'&$&0 &$&! & '/&! ! &!$ !
&  !$' % #'" & 3!$$%%  &!"$%! !$!&$%"! %&+
!$&  !$' % #'" &0

  %-& +&'$ $%$%! '&"$! - !&+  8!$&$( &$
 +9&+&$%$%! &!(&& +!&!!) ! &! %*%&/
      7 &!$%&+!&"'%&$%- '  & &!"$!&&' !$ 
         %'&%.
      7 $$%!'$%!$ &$%&%$&$& .
      7 %$&(&%%!'%'%" .
      7 $%$%!  &! !"!%%(!&! %!(!$$ ).
      7 $&! %$#'$&!"$!&&& &$%&%!&!% (!( &$%$%! '&
         "$! .
      7 $%$%! '&"$! +"'"$&'$+ $&! +
          %%$+&!%'$(  "$!&&&$&%!&!% (!(.!$
      7 $%$!' &+!$"'%!' !$0

 

!$&! %&& ' ' $%$- '%& !&+   ( &$$" %&!
!%%&& #'$+!$ (%&&! %&! &%%&&$%"!  &%&&'&-
%&& &)&&$%"!  &% $-!$!$ +!&$$%! -*"&/8>9!% !%
&& #'$+%&! &%%&&  (%&&! % !&)$$ &.!$8?9  ! !%! '&
&& (%&&! %&-)'%&$"!$&&!  -%"$%$ &% !+ A?:
E@0@>B0!$&! %&& ' ! 4 ' $%$- '%&!"+)& +!&$ !&
!&! &!!($  & +!$!&$' $0

    #  

!!)    ! !$%$%! '&- '   ! '$$ )$$#'$+A?
  $&E@8!$-!$ ! 4 ' $%$-!&$""$ +$#'$ &%9-& '%&-


                                                                                                        ;?
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 71 of 1282




&&$#'%&!&$%"!  &-' $&$%!  "$&!$&%&!$%&!$&
$%"!  &;%$"'&&! 0

     !" 

 %% %&$ %$$'%&!+!&$!$%!$%$%! '&"$! %8% +A?
000:E@0@>D9&!&'   + !$ )&"")- % & &$!$%
!$%$%! '&"$!  %'$ $'$ &%"  + !$%( 8D9+$%
&$!"&! !&"$! !$!"&! ! + +!($%&"$! -!$%$#'$+
 +""$!$$& &! "$!(%! -)($%&$0




                                                                                                     ;@
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 72 of 1282




                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                          
                                      ([KLELW
                                          
             1RWLFHRI,QTXLU\6HQWWR5HVSRQGHQWRQ2FWREHU

























Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 73 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 74 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 75 of 1282
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 76 of 1282





                                    $33(1',;$
                                   $//(*$7,216
    
5HOHYDQW3XEOLFDWLRQV
    
       *LQR).RXFKDNL0 &DVFLDUR7  :K\FRQQHFW"0RUDO
       FRQVHTXHQFHVRIQHWZRUNLQJZLWKDSURPRWLRQRUSUHYHQWLRQIRFXV-RXUQDORI
       3HUVRQDOLW\DQG6RFLDO3V\FKRORJ\  ± ³-3633DSHU´ 
       
       *LQR).RXFKDNL0 *DOLQVN\$'  7KHPRUDOYLUWXHRI
       DXWKHQWLFLW\+RZLQDXWKHQWLFLW\SURGXFHVIHHOLQJVRILPPRUDOLW\DQGLPSXULW\
       3V\FKRORJLFDO6FLHQFH  ± ³3V\FKRORJLFDO6FLHQFH3DSHU´ 
       
       *LQR) :LOWHUPXWK66  (YLOJHQLXV"+RZGLVKRQHVW\FDQOHDGWR
       JUHDWHUFUHDWLYLW\3V\FKRORJLFDO6FLHQFH  ± ³3V\FKRORJLFDO
       6FLHQFH3DSHU´ 
       
       6KX//0D]DU1*LQR)$ULHO\'DQG%D]HUPDQ0+  
       6LJQLQJDWWKHEHJLQQLQJPDNHVHWKLFVVDOLHQWDQGGHFUHDVHVGLVKRQHVWVHOI
       UHSRUWVLQFRPSDULVRQWRVLJQLQJDWWKHHQG3URFHHGLQJVRIWKH1DWLRQDO
       $FDGHP\RI6FLHQFHVRIWKH8QLWHG6WDWHVRI$PHULFD±
         ³31$63DSHU´ 
    
    
$OOHJDWLRQ
    'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH-363
    3DSHUE\DOWHULQJREVHUYDWLRQVWRDIIHFWWKHVLJQLILFDQFHRIILQGLQJVRIWKHVWXG\LQ
    WKHK\SRWKHVL]HGGLUHFWLRQ,QSDUWLFXODU
        D LQWKHSURPRWLRQIRFXVFRQGLWLRQE\FKDQJLQJH[WUHPHYDOXHVRI³´WR³´
       WRGULYHWKHH[SHFWHGHIIHFW6SHFLILFDOO\IRUREVHUYDWLRQVWKHUHVHHPVWREHD
       PLVPDWFKEHWZHHQSDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWV
       FKRVHWRGHVFULEHKRZWKH\IHOW

        E LQWKHSUHYHQWLRQIRFXVFRQGLWLRQE\FKDQJLQJVRPHYDOXHVRI³´WRHLWKHU
       ³´RU³´WRGULYHWKHH[SHFWHGHIIHFW$QXPEHURIREVHUYDWLRQVDOVRVKRZD
       PLVPDWFKEHWZHHQSDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWVFKRVH
       WRGHVFULEHKRZWKH\IHOW


$OOHJDWLRQ
    'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH
    3V\FKRORJLFDO6FLHQFH3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV1RWDEO\
    REVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HG
    HIIHFWVDQGWKHVHVDPHREVHUYDWLRQVSUHVHQWHGDQDQRPDORXVUHVSRQVHSDWWHUQ
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 77 of 1282




    LQZKLFKVWXG\SDUWLFLSDQWVVHHPLQJO\HQWHUHG³+DUYDUG´DVWKHLUUHVSRQVHWRD
    TXHVWLRQDVNLQJWKHPWRLQGLFDWH³<HDULQ6FKRRO´LQFRQWUDVWWRWKHYDVWPDMRULW\
    RIUHVHDUFKSDUWLFLSDQWVZKRFRUUHFWO\DQVZHUHGWKLVTXHVWLRQ
    
$OOHJDWLRQ
    'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH
    3V\FKRORJLFDO6FLHQFH3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV,QSDUWLFXODU
    ZKHQVRUWHGE\ZKHWKHUSDUWLFLSDQWVFKHDWHGRQWKHWDVNWKH\ZHUHDVNHGWR
    SHUIRUPDQGE\KRZPDQ\XVHVIRUDQHZVSDSHUWKH\IRXQGLWDSSHDUVWKHUHDUH
    REVHUYDWLRQVRXWRIVRUWZLWKLQWKHFKHDWLQJFRQGLWLRQ7KHVHREVHUYDWLRQV
    VXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV:KHQWKHVH
    REVHUYDWLRQVDUHFRUUHFWHGZLWKWKHYDOXHVLPSOLHGE\WKHVRUWWKHHIIHFWLQWKH
    H[SHFWHGGLUHFWLRQLVQRORQJHUVLJQLILFDQW IURPS WRS! 

$OOHJDWLRQ
    :LWKUHVSHFWWR6WXG\LQWKH31$63DSHU
     D 'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJSDUWRIWKH
       GHVFULSWLRQRIVWXG\LQVWUXFWLRQVWRUHVHDUFKSDUWLFLSDQWVIURPDGUDIWRIWKH
       PDQXVFULSWVXEPLWWHGIRUSXEOLFDWLRQWKXVPLVUHSUHVHQWLQJWKHVWXG\
       SURFHGXUHVLQWKHILQDOSXEOLFDWLRQ6XFKLQVWUXFWLRQVSRLQWHGWRDVLJQLILFDQW
       IODZLQWKHH[HFXWLRQRIWKHGDWDFROOHFWLRQIRU6WXG\ZKLFKFDOOHGLQWR
       TXHVWLRQWKHYDOLGLW\RIWKHVWXG\UHVXOWV
     E 'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVE\DOWHULQJDQXPEHURI
       REVHUYDWLRQV,QSDUWLFXODUZKHQVRUWHGE\³H[SHULPHQWDOFRQGLWLRQ´DQGE\
       ³SDUWLFLSDQW,'QXPEHU´WKHGDWDVHWIRU6WXG\DSSHDUVWRLQFOXGHGXSOLFDWH
       REVHUYDWLRQDQGREVHUYDWLRQVZKHUHWKH³SDUWLFLSDQW,'QXPEHU´LVRXWRIVRUW
       7KHRXWRIVRUWREVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKH
       K\SRWKHVL]HGHIIHFWV
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 78 of 1282




                           $SSHQGL[%
                $UWLFOHV5HIHUHQFHGLQ$SSHQGL[$
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 79 of 1282
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 80 of 1282


                                                                                                                     1222                                                 GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     people’s motives when engaging in instrumental professional net-         1998). Which system is engaged at any given time depends on the
                                                                                                                     working predict the extent to which they feel inauthentic and morally    characteristics of the situation and the person’s regulatory orien-
                                                                                                                     impure in the process. Specifically, we argue that self-regulatory       tation (Higgins, 1997; Strauman, 1996).
                                                                                                                     focus, in the form of prevention and promotion, provides an essential       Regulatory focus is studied as either a chronic disposition people
                                                                                                                     motivational basis for networking behavior which shapes the emo-         have (Higgins, 1997, 1998) or a psychological state that is temporarily
                                                                                                                     tional and psychological experience of networking. Building on ear-      activated, such that a person’s emphasis on one over the other is
                                                                                                                     lier self-regulation models (Bowlby, 1969; Higgins, 1987), regulatory    primed by cues in the external environment (Friedman & Förster,
                                                                                                                     focus theory (RFT; Higgins, 1997) identifies two motivational sys-       2001; Liberman et al., 1999). In addition to chronic and state forms of
                                                                                                                     tems that regulate two different basic needs. The promotion-focus        regulatory foci, we echo developments in regulatory-focus theory
                                                                                                                     system serves nurturance needs. People in a promotion focus care         (Browman et al., 2017) by exploring a domain-specific form of
                                                                                                                     about growth, advancement, and accomplishment, and strive toward         regulatory foci, networking-specific promotion and prevention focus,
                                                                                                                     ideals, wishes, and aspirations. The prevention-focus system, instead,   to introduce the possibility that generalized trait and state regulatory
                                                                                                                     regulates security needs. People in a prevention focus care about        foci may differ systematically from how a promotion and a prevention
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     safety, maintaining the status quo, and meeting their responsibilities   focus regulate a specific behavior.
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     and duties (Friedman & Förster, 2001; Sacramento, Fay, & West,              Regulating behavior via promotion and prevention foci influences
                                                                                                                     2013).                                                                   goal attainment in various performance domains. This is because a
                                                                                                                        With this research, we aim to advance scholarly understanding         person’s regulatory focus affects the strategies the person uses to get
                                                                                                                     of the moral psychology of networking in four ways. First, we            to their goals (e.g., surpassing a high score) and to overcome chal-
                                                                                                                     theorize that people’s motivational approach—promotion versus            lenges that impede attainment of those goals (e.g., getting over an
                                                                                                                     prevention—predicts how morally impure they feel from instru-            error limit; Higgins, 1998). Because regulatory focus influences peo-
                                                                                                                     mental networking for professional goals. Casciaro et al. (2014)         ple’s performance, its role has been studied in organizations too
                                                                                                                     demonstrated how moral impurity is heightened by certain types of        (Brockner & Higgins, 2001; Johnson, Chang, & Yang, 2010; Wal-
                                                                                                                     networking behaviors and not others, and found evidence that             lace, Johnson, & Frazier, 2009). This research shows that whether
                                                                                                                     impurity reduces the frequency of networking, and thus perfor-
                                                                                                                                                                                              people approach work with a promotion or prevention focus is related
                                                                                                                     mance. Though insightful, their research is silent on what people
                                                                                                                                                                                              to distinct behaviors that are organizationally relevant, including pro-
                                                                                                                     could do to change their perspective toward instrumental network-
                                                                                                                                                                                              ductivity, innovation, and safety compliance (e.g., De Cremer, Mayer,
                                                                                                                     ing to avoid the costs of withdrawing from it, nor do Casciaro and
                                                                                                                                                                                              van Dijke, Bardes, & Schouten, 2009; Wallace et al., 2009). For
                                                                                                                     her colleagues shed light on the role that motives play in devel-
                                                                                                                                                                                              instance, Wallace and Chen (2006) found that prevention focus is
                                                                                                                     oping and nurturing professional ties. Here, we extend this work
                                                                                                                                                                                              positively and strongly related to safety behavior, while promotion
                                                                                                                     by arguing and showing that promotion and prevention focus are
                                                                                                                                                                                              focus is negatively and weakly related to it.
                                                                                                                     independent predictors of how people experience instrumental
                                                                                                                                                                                                 Similarly, regulatory focus can influence how people experience
                                                                                                                     networking and how much, as a result, they engage in it.
                                                                                                                                                                                              their social networks and how intensely they engage in profes-
                                                                                                                        Second, we further develop the theoretical link between regu-
                                                                                                                                                                                              sional networking. A promotion focus leads people to notice and
                                                                                                                     latory foci and morality advanced by Cornwell and Higgins (2015)
                                                                                                                     and establish it empirically. Third, we elaborate on the theoretical     remember information and emotions that result from positive
                                                                                                                     path between people’s motives to engage in instrumental profes-          outcomes, thus further directing their behavior toward achieving
                                                                                                                     sional networking, their experience of moral impurity, and how           them (Higgins, Roney, Crowe, & Hymes, 1994; Higgins, Shah, &
                                                                                                                     frequently they network. Fourth, we aim to establish that this path      Friedman, 1997; Higgins & Tykocinski, 1992). Promotion-focused
                                                                                                                     persists across three forms of regulatory focus: (a) the chronic         people invest their energy in activities that allow them to grow or
                                                                                                                     disposition (Higgins, 1997, 1998), (b) the temporarily activated         fulfill their aspirations, and away from those that translate into
                                                                                                                     psychological state (Liberman, Idson, Camacho, & Higgins, 1999),         sticking to the status quo (Neubert, Kacmar, Carlson, Chonko, &
                                                                                                                     and (c) a domain-specific form of promotion and prevention focus         Roberts, 2008). By contrast, a prevention focus leads people to
                                                                                                                     (Browman, Destin, & Molden, 2017), which we introduce to allow           pay attention to and remember information and emotions they
                                                                                                                     for the possibility that general trait and state regulatory foci may     experienced at some point in their past as a result of losses,
                                                                                                                     differ systematically from how a promotion and a prevention focus        failures, or punishments (Higgins & Tykocinski, 1992). As a result,
                                                                                                                     regulate a specific behavior, such as networking.                        prevention-focused individuals are vigilant and concerned with
                                                                                                                                                                                              accuracy when approaching tasks (Förster, Higgins, & Bianco,
                                                                                                                     How Motives Influence Moral Purity and Networking                        2003), as they seek to meet their obligations and others’ expecta-
                                                                                                                                                                                              tions (Higgins, 1997, 1998). Therefore, a prevention focus leads
                                                                                                                                                                                              people to engage in actions that will likely avoid negative out-
                                                                                                                     Self-Regulatory Foci and Moral Impurity
                                                                                                                                                                                              comes and comply with expectations or policies set by others
                                                                                                                        RFT states that promotion and prevention are mutually inhibi-         (Higgins et al., 1994). These motivational orientations lead indi-
                                                                                                                     tory modes of self-regulation: When one mode is unavailable or           viduals with a high prevention focus to derive greater life satis-
                                                                                                                     blocked, the other mode kicks in to compensate (Higgins, 1998).          faction when they are part of a highly dense network that allows
                                                                                                                     So, while a person may approach the same goal with both promo-           them to meet obligations and responsibilities. People with a high
                                                                                                                     tion and prevention, only one of the two systems is actively             promotion focus, instead, derive greater life satisfaction from a
                                                                                                                     engaged in achieving the goal at any point in time. When pursuing        low-density network that supports creative inspiration and per-
                                                                                                                     goals, people commonly use either a promotion or a prevention            sonal development (Zou, Ingram, & Higgins, 2015). Likewise, a
                                                                                                                     mode, and they can switch modes (Shah, Higgins, & Friedman,              promotion focus increases the frequency of professional network-
                                                                                                                                  Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 81 of 1282


                                                                                                                                                            NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                      1223

                                                                                                                     ing, whereas a prevention focus decreases it (Pollack, Forster,           subjective authenticity, in the context of both goal pursuit and inter-
                                                                                                                     Johnson, Coy, & Molden, 2015).                                            personal interaction (Kim et al., 2019).
                                                                                                                        We inform and deepen these insights by theorizing that the                The moral psychological foundations of this association be-
                                                                                                                     relationship between self-regulatory focus and networking behav-          tween regulatory focus and subjective authenticity are further
                                                                                                                     ior hinges on morality. We posit, in particular, that promotion and       corroborated by theory and evidence that people experience
                                                                                                                     prevention regulatory foci have distinct consequences for an indi-        feelings of authenticity as moral and pure; conversely, feelings
                                                                                                                     vidual’s sense of moral purity and authenticity when engaging in          of inauthenticity are experienced as immoral and impure (Gino,
                                                                                                                     instrumental professional networking. Our arguments hinge on a            Kouchaki, & Galinsky, 2015). These different streams of work
                                                                                                                     moral psychology of motivation that reflects advances in contem-          in moral philosophy and moral psychology, then, consistently
                                                                                                                     porary moral philosophy. A building block for such theorizing             provide arguments suggesting that prevention self-regulatory
                                                                                                                     stems from Cornwell and Higgins (2015), who underscored the               focus increases feelings of moral impurity because fulfilling the
                                                                                                                     existence of two ethical systems that motivate human behavior,            ought-self compromises authenticity; by contrast, promotion
                                                                                                                     mirroring the dual-process approach to motivation of RFT (Hig-            self-regulatory focus is negatively linked to moral impurity
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     gins, 1998). Specifically, Cornwell and Higgins (2015) posited that       because fulfilling the ideal-self does not compromise authen-
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     both promotion and prevention regulatory foci have ethical impli-         ticity.
                                                                                                                     cations: prevention focus refers to “a system of ethical oughts that         These arguments can be readily applied to the context of instru-
                                                                                                                     is concerned with maintaining obligations,” while promotion focus         mental networking. Namely, making professional connections with a
                                                                                                                     refers to “a system of ethical ideals that is concerned with attaining    prevention focus stems from an ethic consisting of a sense of profes-
                                                                                                                     virtues” (Cornwell & Higgins, 2015, p. 312). When motivated by            sional duty and adherence to behavioral norms in one’s field of
                                                                                                                     the pursuit of ethical oughts, the individual responds to duties and      activity. Prevention-focused instrumental networking is therefore
                                                                                                                     obligations imposed externally. By contrast, ethical ideals are           likely to induce feelings of inauthenticity and moral impurity because
                                                                                                                     internally held aspirations that the individual pursues freely.           the motivation to network instrumentally stems from oughts that a
                                                                                                                        Contemporary philosophy in turn sheds lights on the diametri-          professional context imposes on the individual. By contrast, people
                                                                                                                     cally different implications that ethical oughts and ethical ideals       who engage in instrumental networking with a promotion focus do so
                                                                                                                     have for authenticity. A fundamental premise of moral philosophy,         to achieve the aspirations of their ideal self. They are motivated by the
                                                                                                                     from Hegel’s phenomenology to Nietzsche and Sartre’s existen-             pursuit of advances and virtues that express their core individuality
                                                                                                                     tialist analyses, is that conducting one’s life by conforming to          (Taylor, 1991), instead of mechanically accepting an externally im-
                                                                                                                     prevailing morality—that is, in pursuit of the “ought” self— com-         posed code of values (Golomb, 1995). They are thus likely to expe-
                                                                                                                     promises authenticity as an ethical ideal (Varga, 2012). Hegel            rience instrumental networking as more authentic and morally pure
                                                                                                                     contrasts the “authentic self” that is incessantly committed to           than prevention-focused networkers are.
                                                                                                                     self-creation from the “honest individual” who submits to prevail-           According to moral psychology research, morality can be
                                                                                                                     ing duties and thus nullifies the urge of the human spirit to live in     thought in terms of purity and cleanliness (Zhong & Liljenquist,
                                                                                                                     complete freedom. In doing so, the “honest individual” in Hegel’s         2006). When people experience moral threats by acting in ways
                                                                                                                     analysis is a hypocrite who lacks real freedom and suffers from           that are not consistent with their moral values (e.g., by cheating
                                                                                                                     self-alienation (Golomb, 1995). Hegel’s premise paved the way for         when caring about honesty), they feel a greater need to cleanse
                                                                                                                     the existentialist revolution in modern moral philosophy, in which        physically, and cleansing-related concepts become more accessible
                                                                                                                     “the concept of authenticity is a protest against the blind, mechan-      in their minds (Zhong & Liljenquist, 2006). Thus, moral threats
                                                                                                                     ical acceptance of an externally imposed code of values” (Golomb,         lead people to engage in cleansing so that they can reaffirm their
                                                                                                                     1995, p. 11). Rejecting premodern views of morality as justified by       values and clean their tainted consciences (Tetlock, Kristel, Elson,
                                                                                                                     recourse to some higher authority, an ethic of authenticity is            Green, & Lerner, 2000). Regulatory focus may therefore predict
                                                                                                                     guided instead by motives and reasons that express a subject’s core       how inauthentic and dirty people feel in engaging in instrumental
                                                                                                                     individuality (Taylor, 1991), the ideal self (Cornwell & Higgins,         networking. Specifically, a promotion focus may yield networking
                                                                                                                     2015). An ethic of authenticity does not object to the normative          concerned with authentic virtues and meeting one’s ethical ideal,
                                                                                                                     content of motives but focuses instead on how a motive “fits with         and a prevention focus may yield networking motivated by the
                                                                                                                     the wholeness of a person’s life, and whether and how it expresses        “shoulds” prevailing in one’s professional environment and thus
                                                                                                                     who the person is” (Varga, 2012, p. 12).                                  triggers feelings of inauthenticity and impurity (Gino et al., 2015).
                                                                                                                        Consistent with these arguments, Kim and colleagues (Kim, Chen,        Thus, we hypothesize, engaging in instrumental networking with a
                                                                                                                     Davis, Hicks, & Schlegel, 2019) theorized a link between prevention       prevention focus increases feelings of inauthenticity and dirtiness,
                                                                                                                     and promotion self-regulatory focus— defined as the pursuit of exter-     whereas a promotion focus decreases them. As a result, people
                                                                                                                     nally imposed oughts versus personally held ideals, respectively          who engage in instrumental networking with a prevention focus
                                                                                                                     (Cornwell & Higgins, 2015)—and subjective authenticity. According         will experience higher levels of moral impurity as compared to
                                                                                                                     to their argument, “certain behaviors feel more natural and less          those with a promotion focus.
                                                                                                                     constrained by external influences. When individuals engage in these
                                                                                                                     actions, their subsequent psychological mindsets contribute to the        Moral Impurity and the Frequency of Instrumental
                                                                                                                     expression of core values and thus enhance subjective authenticity”; it
                                                                                                                                                                                               Networking
                                                                                                                     follows that “promotion focus, relative to prevention focus, functions
                                                                                                                     similarly in fostering authentic experiences” (Kim et al., 2019, p.         People vary in terms of both how likely they are to network
                                                                                                                     166). Evidence from both correlational studies and controlled exper-      and how frequently they engage in networking behavior (Forret
                                                                                                                     iments consistently supported a link between promotion focus and          & Dougherty, 2001; Wanberg et al., 2000), in part because they
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 82 of 1282


                                                                                                                     1224                                                GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     have different attitudes toward networking (Azrin & Besalel,             tory focus and their feelings of moral impurity from instrumental
                                                                                                                     1982). Those with low “networking comfort” (i.e., embarrass-             networking for professional goals. In Studies 3A and 3B, we use
                                                                                                                     ment and discomfort when asking others for job leads or advice;          online samples to provide further evidence for these relationships
                                                                                                                     Wanberg et al., 2000) or even stronger feelings of moral im-             using designs that also include a control condition in addition to a
                                                                                                                     purity (which underlies networking discomfort; Casciaro et al.,          prevention-focus and a promotion-focus condition. In Study 4, we
                                                                                                                     2014) tend to engage in networking less often than others                conducted a cross-sectional survey of lawyers in a law firm to test
                                                                                                                     (Casciaro et al., 2014; Wanberg et al., 2000). Given that a              our predictions in a field context, where we measured trait pro-
                                                                                                                     promotion focus versus a prevention focus results in lower               motion and prevention foci both as a general orientation and one
                                                                                                                     levels of feelings of impurity and authenticity when engaging in         specific to networking. We tested for a serial mediation from a
                                                                                                                     instrumental networking, we expect people in a promotion                 lawyer’s trait promotion and prevention focus, to feelings of moral
                                                                                                                     focus to engage in instrumental networking more frequently               impurity they experience when they network instrumentally, to the
                                                                                                                     than those in a prevention focus because the former approach             frequency with which they network, and to their job performance.
                                                                                                                     lowers feelings of moral impurity.                                       Finally, in Study 5, we used a field experiment with working
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                                                                                              professionals to test the causal link between state networking-
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     Instrumental Networking Frequency and Job                                specific regulatory focus, moral purity, and frequency of instru-
                                                                                                                     Performance                                                              mental professional networking.
                                                                                                                                                                                                 We report all participants recruited, all experimental condi-
                                                                                                                        Finally, we wish to further corroborate existing theory and           tions, and all measures in each of our studies. The sample size
                                                                                                                     evidence on the consequences of disengaging from instrumental            for each study was determined before data collection began. We
                                                                                                                     networking on a professional’s job performance (Casciaro et al.,         calculated our sample size based on an estimate of medium
                                                                                                                     2014; Forret & Dougherty, 2001, 2004; Pollack et al., 2015;              effect size (f ⫽ 0.25), requiring a sample size of approximately
                                                                                                                     Wolff & Moser, 2009). Consistent with that prior work, we                50 participants per condition for a study powered at 80%. These
                                                                                                                     expect that more frequent instrumental networking will give              numbers are also consistent with the recommendations of Sim-
                                                                                                                     people greater access to valuable information, opportunities and         mons, Nelson, and Simonsohn (2013). For the laboratory and
                                                                                                                     resources, and thus will lead them to perform better in their            field studies, the final number was dictated by the availability
                                                                                                                     jobs.                                                                    of participants, we targeted more participants hoping to recruit
                                                                                                                        Given that a promotion focus results in greater frequency of          at least about 50 of them for each condition. For our correla-
                                                                                                                     instrumental networking, we expect people with a promotion focus         tional studies, an a priori power analysis with 80% power and
                                                                                                                     to also experience higher levels of performance. We also expect          assuming modest correlations among variables (r ⫽ .25) re-
                                                                                                                     prevention focus to result in lower frequency of networking and          quires about 99 participants, however, we targeted larger sam-
                                                                                                                     thus lower levels of performance. Figure 1 summarizes the pre-           ples at the outset, which would provide higher power to detect
                                                                                                                     dicted associations between regulatory focus, moral impurity, fre-
                                                                                                                                                                                              a small to medium effect size.
                                                                                                                     quency of instrumental professional networking, and job perfor-
                                                                                                                                                                                                 All studies’ materials can be found on OSF at https://osf.io/
                                                                                                                     mance.
                                                                                                                                                                                              kf2ut/?view_only⫽26073af04f9046cd9e0a62159a5755d4, toge-
                                                                                                                                                                                              ther with the data from Studies 1, 3A and 3B. The consent form
                                                                                                                                        Overview of the Studies                               used in Studies 2 and 5 stated that we would not be sharing any
                                                                                                                                                                                              data outside of the research team, even if the data were deiden-
                                                                                                                        We tested our main hypotheses in six complementary studies of
                                                                                                                                                                                              tified. We collected data for these studies before the institu-
                                                                                                                     the consequences of regulatory focus for the moral experience of
                                                                                                                                                                                              tional review board changed the recommended language on
                                                                                                                     professional instrumental networking, relying on both correlational
                                                                                                                                                                                              consent forms, to allow for data sharing and posting. For Study
                                                                                                                     and causal evidence and using measures capturing either trait
                                                                                                                     regulatory focus (general and domain-specific) or state regulatory       4, we are prohibited from sharing the data by a nondisclosure
                                                                                                                     focus (see Figure 2 for an overview).                                    agreement with the law firm where the data was collected.
                                                                                                                        In Study 1, we tested our predictions using a correlational design
                                                                                                                     in which we measured individuals’ chronic regulatory focus and                                        Study 1
                                                                                                                     assessed their feelings of moral impurity. In Study 2, a laboratory
                                                                                                                     experiment conducted both in the United States (Sample A) and in            Study 1 used a correlational design to examine how chronic
                                                                                                                     Italy (Sample B), we manipulated regulatory focus and provided           promotion and prevention regulatory focus affect people’s feelings
                                                                                                                     causal evidence for a relationship between people’s state regula-        of moral impurity from instrumental networking.



                                                                                                                                          3URPRWLRQIRFXV
                                                                                                                                                                         0RUDO,PSXULW\            )UHTXHQF\RI     +
                                                                                                                                                                       IURP,QVWUXPHQWDO           ,QVWUXPHQWDO            -RE3HUIRUPDQFH
                                                                                                                                          3UHYHQWLRQIRFXV                1HWZRUNLQJ                1HWZRUNLQJ
                                                                                                                                                               +
                                                                                                                                                                      Figure 1. Summary of predicted associations.
                                                                                                                                   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 83 of 1282


                                                                                                                                                                 NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                                       1225

                                                                                                                      Study            Design             Tested Associaons                                                                                            Regulatory
                                                                                                                                                                                                                                                                        Focus Measure
                                                                                                                      1                Correlaonal                                                                                                                     Trait regulatory
                                                                                                                                       study of
                                                                                                                                                             3URPRWLRQIRFXV     -        0RUDO,PSXULW\                                                               focus
                                                                                                                                       M-Turk                                           IURP,QVWUXPHQWDO
                                                                                                                                       working adults                                      1HWZRUNLQJ
                                                                                                                                                            3UHYHQWLRQIRFXV
                                                                                                                                                                                  +
                                                                                                                      2                Laboratory                                                                                                                       State
                                                                                                                                       experiment            3URPRWLRQIRFXV              0RUDO,PSXULW\                                                              regulatory
                                                                                                                                       with students
                                                                                                                                                                                  -                                                                                     focus
                                                                                                                                                              YVSUHYHQWLRQ            IURP,QVWUXPHQWDO
                                                                                                                                       in US and                  IRFXV                     1HWZRUNLQJ
                                                                                                                                       Italian
                                                                                                                                       universies
                                                                                                                      3A and 3B        Online studies                                                                                                                   State
                                                                                                                                                             3URPRWLRQIRFXV     -
                                                                                                                                       of M-Turk                                                                                                                        regulatory
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                                                               YV&RQWURO                 0RUDO,PSXULW\        -
                                                                                                                                       working adults                                                                    1HWZRUNLQJ                                    focus (and
                                                                                                                                                                                         IURP,QVWUXPHQWDO
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                                                                                                                          ,QWHQWLRQV                                    control
                                                                                                                                                                                            1HWZRUNLQJ
                                                                                                                                                             3UHYHQWLRQIRFXV                                                                                          condion)
                                                                                                                                                                YV&RQWURO       +
                                                                                                                      4                Cross-seconal                                                                                                                   Trait &
                                                                                                                                                             3URPRWLRQIRFXV      -
                                                                                                                                       survey study                                        0RUDO,PSXULW\        -      )UHTXHQF\RI     +                            Domain-speciﬁc
                                                                                                                                       of law ﬁrm                                        IURP,QVWUXPHQWDO              ,QVWUXPHQWDO            -RE3HUIRUPDQFH      regulatory
                                                                                                                                                            3UHYHQWLRQIRFXV                1HWZRUNLQJ                   1HWZRUNLQJ                                  focus
                                                                                                                                                                                  +
                                                                                                                      5                Field                                                                                                                            Domain-speciﬁc
                                                                                                                                       experiment            3URPRWLRQIRFXV     -        0RUDO,PSXULW\        -      )UHTXHQF\RI                                  state
                                                                                                                                       with working           YVSUHYHQWLRQ            IURP,QVWUXPHQWDO              ,QVWUXPHQWDO                                  regulatory
                                                                                                                                       professionals              IRFXV                     1HWZRUNLQJ                   1HWZRUNLQJ                                  focus



                                                                                                                                                                                      Figure 2. Overview of studies.


                                                                                                                     Method                                                                                       events from their past. You will then be asked to answer a few questions.

                                                                                                                        Participants. A total of 412 people (Mage ⫽ 36.28, SD ⫽                               We asked all participants to recall a situation in which they
                                                                                                                     9.05, 56% male) from Amazon Mechanical Turk (MTurk; all                                  engaged in professional instrumental networking. The instructions
                                                                                                                     located in the United States) participated in a two-part study for $2.                   (adapted from Casciaro et al., 2014) read,
                                                                                                                     They received $0.50 for completing Part 1 and $1.50 for complet-
                                                                                                                     ing Part 2. We initially recruited 500 people, but only 412 com-                             Please recall a time in your professional life where you did something
                                                                                                                     pleted both Parts 1 and 2; thus, we used this smaller sample in our                          with the intention of strategically making a professional connection.
                                                                                                                     analyses.                                                                                    We are interested in a situation where you tried to create or maintain
                                                                                                                        Procedure. The initial instructions that welcomed participants                            relationships that would aid the execution of work tasks and your
                                                                                                                                                                                                                  professional success.
                                                                                                                     to the study included three attention checks. Those who failed one
                                                                                                                     or more received a message letting them know that they did not                               Other people engaging in this type of introspective task frequently
                                                                                                                     qualify for the study given their answer. Their data was not                                 write about instances where they attended receptions or networking
                                                                                                                     recorded.                                                                                    events because they wanted to meet potential clients or higher status
                                                                                                                        In Part 1, participants first indicated their age and gender. Next,                       colleagues.
                                                                                                                     they completed the Composite Regulatory Focus Scale (Haws,
                                                                                                                                                                                                                  Please describe the details about this situation. What was it like to be
                                                                                                                     Dholakia, & Bearden, 2010), which measures a person’s trait
                                                                                                                                                                                                                  in this situation? What thoughts and feelings did you experience?
                                                                                                                     promotion and prevention regulatory focus on a 7-point scale
                                                                                                                     (ranging from 1 ⫽ strongly disagree to 7 ⫽ strongly agree). A                                Please provide as many details as possible so that a person reading
                                                                                                                     sample item for promotion focus is “I see myself as someone who                              your entry would understand the situation and how you felt.
                                                                                                                     is primarily striving to reach my ‘ideal self’—to fulfill my hopes,
                                                                                                                     wishes, and aspirations.” A sample item for prevention focus is “I                          Next, to test the relationship between participants’ self-
                                                                                                                     see myself as someone who is primarily striving to become the self                       regulatory focus and the feeling of moral impurity they experience
                                                                                                                     I ‘ought’ to be—to fulfill my duties, responsibilities, and obliga-                      when engaging in instrumental networking, we measured partici-
                                                                                                                     tions.”                                                                                  pants’ feelings of impurity.
                                                                                                                                                                                                                 Moral impurity. Using a 7-point scale (ranging from 1 ⫽
                                                                                                                        We contacted participants four days later for the second part of
                                                                                                                                                                                                              not at all to 7 ⫽ very much), participants indicated the extent to
                                                                                                                     the study. In Part 2, participants received the following instruc-
                                                                                                                                                                                                              which the situation they described made them feel dirty, tainted,
                                                                                                                     tions:
                                                                                                                                                                                                              inauthentic, and ashamed (␣ ⫽ .90; adapted from Casciaro et
                                                                                                                          You will now be asked to recall a certain event and then write about it for         al., 2014). Though drawing on prior research, these items may
                                                                                                                          about five minutes. We are interested in how people remember and reflect on         evoke prevention rather than promotion focus. Thus, we also
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 84 of 1282


                                                                                                                     1226                                                GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     included items that are more regulatory-focus neutral: wrong,           sional networking. We also extend our findings from Study 1 by
                                                                                                                     unnatural and impure (␣ ⫽ .84; from the moral foundation                examining regulatory focus triggered in the moment rather than
                                                                                                                     questionnaire, Graham et al., 2011). When conducting a factor           measured as an individual difference. To examine the contextual
                                                                                                                     analysis, we found that the seven items loaded onto the same            robustness of our findings, we collected data on two culturally
                                                                                                                     factor, so we also created a composite measure by averaging all         different samples of students, one from the United States and one
                                                                                                                     items (␣ ⫽ .94).                                                        from Italy. This allowed us to test our main proposition in two
                                                                                                                        Comprehension check. We asked participants to indicate               different cultures.
                                                                                                                     whether they wrote about a professional or personal situation in the       Across our main dependent measures of interest (i.e., feelings of
                                                                                                                     initial writing task they had completed.                                moral impurity and desire to physically cleanse), we expect to find
                                                                                                                                                                                             a significant interaction between the two manipulations, such that
                                                                                                                                                                                             a promotion focus leads to lower feelings of moral impurity and a
                                                                                                                     Results
                                                                                                                                                                                             lower desire to cleanse oneself than a prevention focus in the case
                                                                                                                        All answers to the comprehension check question were correct.        of instrumental networking, but regulatory focus leads to no dif-
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     Table 1 reports the descriptive statistics and bivariate correlations   ferences on these measures in the case of spontaneous networking.
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     among the main variables we measured in this study. As expected,
                                                                                                                     on all three ways we constructed a measure of moral impurity (the
                                                                                                                                                                                             Method
                                                                                                                     four-item measure, the three-item measure with regulatory-focus
                                                                                                                     neutral words, and the composite seven-item measure), we found             Participants and design. Participants were randomly as-
                                                                                                                     a negative and significant correlation between the promotion ori-       signed to one of four conditions in a 2 (Type of Networking:
                                                                                                                     entation index and feelings of impurity, and a positive and signif-     instrumental vs. spontaneous) ⫻ 2 (Motive: promotion vs. preven-
                                                                                                                     icant correlation between the prevention orientation index and          tion focus) between-subjects design.
                                                                                                                     feelings of impurity.                                                      Sample A. A total of 367 students (Mage ⫽ 21.93, SD ⫽ 2.91;
                                                                                                                        We also conducted partial correlations analyses to test for the      43% male) recruited through a U.S. university-affiliated research
                                                                                                                     independent effects of a promotion focus and a prevention focus         pool participated in the study. Participants received $20 for com-
                                                                                                                     on felt moral impurity. When controlling for prevention, the pro-       pleting the experiment.
                                                                                                                     motion orientation index was negatively correlated with feelings of        Sample B. A total of 254 students (Mage ⫽ 20.80, SD ⫽ 1.76;
                                                                                                                     impurity (r ⫽ ⫺.10, p ⫽ .04 for the four-item measure, r ⫽ ⫺.10,        54% male) recruited through an Italian university-affiliated re-
                                                                                                                     p ⫽ .055 for the three-item measure with regulatory-focus neutral       search pool participated in the study. Participants received €15 for
                                                                                                                     words, and r ⫽ ⫺.10, p ⫽ .04 for the seven-item measure). When          completing the experiment. All the materials (including the word
                                                                                                                     controlling for promotion, the prevention orientation index was         completion task) were translated into Italian.
                                                                                                                     positively correlated with feelings of impurity (r ⫽ .18, p ⬍ .001         Procedure. We used the same procedure in each sample but
                                                                                                                     for the four-item measure, and r ⫽ .19, p ⬍ .001 for the three-item     used materials translated into Italian for the Italian sample.1 Par-
                                                                                                                     measure with regulatory-focus neutral words, and r ⫽ .19, p ⬍           ticipants read initial instructions that welcomed them to the study.
                                                                                                                     .001 for the seven-item measure).                                       Next, we asked them to complete a writing task, which was
                                                                                                                                                                                             intended to manipulate regulatory focus (as in Freitas & Higgins,
                                                                                                                                                                                             2002). The instructions specified that we were “interested in de-
                                                                                                                     Discussion
                                                                                                                                                                                             tailed writing skills, and in the way people naturally express
                                                                                                                        The results of Study 1 provide initial evidence for the relation-    themselves.” In the promotion condition, the instructions (as in
                                                                                                                     ship between regulatory focus and feelings of moral impurity that       Zhang, Higgins, & Chen, 2011) read, “Please think about some-
                                                                                                                     people commonly experience when engaging in instrumental pro-           thing you ideally would like to do. In other words, think about a
                                                                                                                     fessional networking.                                                   hope or aspiration that you currently have. Please list the hope or
                                                                                                                                                                                             aspiration below.” In the prevention condition, the instructions
                                                                                                                                                                                             read, “Please think about something you think you ought to do. In
                                                                                                                                                  Study 2
                                                                                                                                                                                             other words, think about a duty or obligation that you currently
                                                                                                                        In Study 2, we moved to the controlled environment of the            have. Please list the duty or obligation below.”
                                                                                                                     laboratory to examine how promotion and prevention regulatory              Next, participants engaged in a task designed to manipulate the
                                                                                                                     focus influence how people feel when engaging in instrumental           type of professional networking. Using the manipulation of instru-
                                                                                                                     professional networking. In this study, we included two manipu-         mental versus spontaneous professional networking in Casciaro et
                                                                                                                     lations: one for regulatory focus (promotion vs. prevention) and        al. (2014), we asked participants to put themselves in the shoes of
                                                                                                                     another for the type of professional networking (instrumental vs.       the protagonist in the story they were about to read. Each story
                                                                                                                     spontaneous). Previous work by Casciaro and colleagues (2014)           asked participants to imagine being invited to attend an event
                                                                                                                     distinguished between instrumental networking, where a person           during which they socialized with other people. In the story used
                                                                                                                     initiates a social relationship proactively and with the goal of        in the instrumental condition, the main character was described as
                                                                                                                     obtaining benefits (e.g., advancement or an advantage), and spon-       “actively and intentionally pursuing professional connections with
                                                                                                                     taneous networking, where the social tie emerges naturally, with
                                                                                                                     no premeditated purpose, and is initiated by someone else. The             1
                                                                                                                                                                                                  To ensure we had a proper translation of the materials, we first
                                                                                                                     authors found that the former leads to greater feelings of dirtiness    translated them from English to Italian (with the help of two Italian native
                                                                                                                     and inauthenticity than the latter. We build on this work by            speakers who are fluent in English) and then translated them back into
                                                                                                                     examining the effect of regulatory focus for each type of profes-       English to resolve any inconsistency.
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 85 of 1282


                                                                                                                                                                 NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                        1227

                                                                                                                                         Table 1
                                                                                                                                         Descriptive Statistics and Correlations Among the Variables Collected in Study 1

                                                                                                                                                                                                                        Bivariate correlations
                                                                                                                                                              Variable                      M (SD)            1           2           3            4      5

                                                                                                                                         1. Moral impurity (MI; 4 items)                   1.73 (1.27)
                                                                                                                                         2. MI, regulatory-focus neutral (3 items)         1.68 (1.26)      .89ⴱⴱⴱ
                                                                                                                                         3. MI (7 items)                                   1.71 (1.23)      .98ⴱⴱⴱ      .96ⴱⴱⴱ
                                                                                                                                         4. Promotion orientation index                    5.18 (1.08)     ⫺.13ⴱⴱ      ⫺.12ⴱ      ⫺.13ⴱⴱ
                                                                                                                                         5. Prevention orientation index                   4.57 (1.05)      .20ⴱⴱⴱ      .21ⴱⴱⴱ     .21ⴱⴱⴱ        ⫺.16ⴱⴱ
                                                                                                                                         ⴱ              ⴱⴱ               ⴱⴱⴱ
                                                                                                                                             p ⬍ .05.        p ⬍ .01.          p ⬍ .001.
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     the belief that connections are important for future professional                   relying on the first word they could think of. The task consisted of
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     success” (from Casciaro et al., 2014). In the story used in the                     six word fragments. Three of them (W _ _ H, S H _ _ E R, and
                                                                                                                     spontaneous condition, instead, the main character found herself or                 S _ _ P) could be turned into cleansing-related words (wash,
                                                                                                                     himself making connections rather than pursuing them intention-                     shower, and soap) or into unrelated, neutral words (e.g., wish,
                                                                                                                     ally.                                                                               shaker, and step), and the other three word fragments (F _ O _,
                                                                                                                        Next, participants saw a list of behaviors and had to indicate the               B _ _ K, and P A _ _ R) could be turned only into unrelated,
                                                                                                                     extent to which they found each of them to be desirable (1 ⫽                        neutral words (e.g., food, book, and paper). Finally, participants
                                                                                                                     completely undesirable to 7 ⫽ completely desirable). We listed                      indicated their age and gender.
                                                                                                                     both cleansing behaviors (i.e., taking a shower, washing hands, and
                                                                                                                     brushing teeth) and neutral behaviors (e.g., talking a walk, having
                                                                                                                     something to eat, going to the movies, listening to music, reading                  Results
                                                                                                                     a book, and watching TV), as in Zhong and Liljenquist (2006).
                                                                                                                                                                                                            We report the results of our analyses separately for each sample.
                                                                                                                        We then asked participants to report how they felt at that
                                                                                                                                                                                                         Importantly, the nature and significance of the results did not vary
                                                                                                                     moment, by indicating the extent to which they felt various posi-
                                                                                                                                                                                                         based on the location where the data was collected.
                                                                                                                     tive and negative emotions from the Positive and Negative Affec-
                                                                                                                                                                                                            Sample A: Data collected in the United States.
                                                                                                                     tivity Schedule (Watson, Clark, & Tellegen, 1988), using a 5-point
                                                                                                                                                                                                            Moral impurity. A 2 (Regulatory Focus) ⫻ 2 (Type of Net-
                                                                                                                     scale (1 ⫽ very slightly or not at all, 5 ⫽ extremely). Using the
                                                                                                                                                                                                         working) between-subjects analysis of variance (ANOVA) using
                                                                                                                     same scale, they also indicated how much they felt dirty, inau-
                                                                                                                                                                                                         feelings of moral impurity as the dependent measure revealed a
                                                                                                                     thentic, and impure (as in Gino et al., 2015) to assess feelings of
                                                                                                                                                                                                         significant main effect of regulatory focus, F(1, 363) ⫽ 4.41, p ⫽
                                                                                                                     moral impurity (␣U.S._sample ⫽ .64; ␣Italy_sample ⫽ .70). The order
                                                                                                                                                                                                         .036, ␩2p ⫽ .012, such that participants who approached networking
                                                                                                                     in which the Positive and Negative Affectivity Schedule items
                                                                                                                                                                                                         with a promotion focus reported feeling less impure (M ⫽ 1.58,
                                                                                                                     (negative affect, ␣U.S._sample ⫽ .88, ␣Italy_sample ⫽ .85; positive
                                                                                                                     affect, ␣U.S._sample ⫽ .92, ␣Italy_sample ⫽ .87) and those used to                  SD ⫽ 0.69) than those who approached networking with a pre-
                                                                                                                     measure feelings of impurity were presented to participants was                     vention focus (M ⫽ 1.74, SD ⫽ 0.77). The main effect of type of
                                                                                                                     random. Though we did not have predictions about positive and                       networking was also significant, F(1, 363) ⫽ 5.63, p ⫽ .018, ␩2p ⫽
                                                                                                                     negative affect, we included these measures to show that our                        .015: Participants who imagined engaging in instrumental net-
                                                                                                                     hypotheses are specific to moral emotions rather than general                       working felt more impure (M ⫽ 1.75, SD ⫽ 0.81) than did those
                                                                                                                     affect more broadly.                                                                who imagined engaging in spontaneous networking (M ⫽ 1.57,
                                                                                                                        Next, we reminded participants of the writing task they had                      SD ⫽ 0.64). Importantly, consistent with our predictions, the
                                                                                                                     completed earlier. The instructions for the promotion (prevention)                  interaction of regulatory focus and type of networking was also
                                                                                                                     condition (adapted from Lalot, Quiamzade, & Falomir-Pichastor,                      significant, F(1, 363) ⫽ 12.66, p ⬍ .001, ␩2p ⫽ .034. When
                                                                                                                     2018) read,                                                                         participants imagined engaging in instrumental networking,
                                                                                                                                                                                                         they reported feeling less dirty when they had a promotion
                                                                                                                         Now please take a minute and think about what you wrote earlier                 focus (M ⫽ 1.53, SD ⫽ 0.66) than when they had a prevention
                                                                                                                         about something you ideally would like to do [you ought to do]; in              focus (M ⫽ 1.96, SD ⫽ 0.88), F(1, 363) ⫽ 16.03, p ⬍ .001.
                                                                                                                         other words, think about a hope or aspiration [a duty or obligation]
                                                                                                                                                                                                         However, when they imagined engaging in spontaneous networking,
                                                                                                                         that you currently have. Please reflect on your experience for 1–2 min
                                                                                                                                                                                                         they felt about equally impure, independent of their regulatory focus
                                                                                                                         and then proceed to the next task.
                                                                                                                                                                                                         (Mpromotion ⫽ 1.62, SD ⫽ 0.71 vs. Mprevention ⫽ 1.51, SD ⫽ 0.56),
                                                                                                                     We also reminded participants of the story they read and asked                      F(1, 363) ⫽ 1.07, p ⫽ .30.
                                                                                                                     them to reflect on it for a minute or two and write a few words that                   Negative and positive affect. A similar 2 ⫻ 2 ANOVA using
                                                                                                                     came to mind regarding the story before proceeding to the next                      negative affect as the main dependent measure revealed no signif-
                                                                                                                     task.                                                                               icant effects (all ps ⬎ .18). As for positive affect, we only found
                                                                                                                        Next, participants moved onto a word-completion task we used                     a marginally significant effect of type of networking, F(1, 363) ⫽
                                                                                                                     to measure how accessible cleansing was in their mind at that                       3.60, p ⫽ .059, ␩2p ⫽ .01: Participants who imagined engaging in
                                                                                                                     moment (adapted from Zhong & Liljenquist, 2006). In this task,                      instrumental networking reported lower positive affect (M ⫽ 2.64,
                                                                                                                     participants need to turn word fragments into meaningful words by                   SD ⫽ 0.92) than did those who imagined engaging in spontaneous
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 86 of 1282


                                                                                                                     1228                                              GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     networking (M ⫽ 2.82, SD ⫽ 0.89). No other effects were signif-       networking, they reported about the same degree of desire, inde-
                                                                                                                     icant (ps ⬎ .24).                                                     pendent of their regulatory focus (Mpromotion ⫽ 4.46, SD ⫽ 1.31
                                                                                                                        Cleansing behaviors. As predicted, a 2 (regulatory Focus) ⫻ 2      vs. Mprevention ⫽ 4.15, SD ⫽ 1.58), F(1, 250) ⫽ 1.66, p ⫽ .20.
                                                                                                                     (Type of Networking) between-subjects ANOVA using desirabil-          When considering neutral behaviors, however, we did not find any
                                                                                                                     ity of cleansing behaviors as the dependent variable revealed a       significant effects (all ps ⬎ .14).
                                                                                                                     significant interaction, F(1, 363) ⫽ 4.15, p ⫽ .042, ␩2p ⫽ .011.         Accessibility of cleansing-related words. A similar 2 ⫻ 2
                                                                                                                     When participants imagined engaging in instrumental networking,       between-subjects ANOVA revealed the predicted interaction be-
                                                                                                                     they reported a lower desire for cleansing behaviors when they had    tween regulatory focus and type of networking, F(1, 250) ⫽ 14.80,
                                                                                                                     a promotion focus (M ⫽ 4.37, SD ⫽ 1.16) than when they had a          p ⬍ .001, ␩2p ⫽ .056. When participants imagined engaging in
                                                                                                                     prevention focus (M ⫽ 5.02, SD ⫽ 1.13), F(1, 363) ⫽ 15.48, p ⬍        instrumental networking, they generated fewer cleansing-related
                                                                                                                     .001. However, when they imagined engaging in spontaneous             words when they had a promotion focus (M ⫽ 1.05, SD ⫽ 0.78)
                                                                                                                     networking, they reported about the same degree of desire, inde-      than when they had a prevention focus (M ⫽ 1.77, SD ⫽ 1.08),
                                                                                                                     pendent of their regulatory focus (Mpromotion ⫽ 4.46, SD ⫽ 1.06       F(1, 250) ⫽ 20.45, p ⬍ .001. However, when they imagined
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     vs. Mprevention ⫽ 4.64, SD ⫽ 1.12), F(1, 363) ⫽ 1.11, p ⫽ .29.        engaging in spontaneous networking, they generated about the
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     When considering neutral behaviors, however, we did not find any      same number of cleansing-related words independent of their
                                                                                                                     significant effects (all ps ⬎ .34).                                   regulatory focus (Mpromotion ⫽ 1.02, SD ⫽ 0.89 vs. Mprevention ⫽
                                                                                                                        Accessibility of cleansing-related words. A similar 2 ⫻ 2          0.88, SD ⫽ 0.80), F(1, 250) ⬍ 1, p ⫽ .39.
                                                                                                                     between-subjects ANOVA revealed a significant interaction be-
                                                                                                                     tween regulatory focus and type of networking, F(1, 363) ⫽ 6.28,
                                                                                                                                                                                           Discussion
                                                                                                                     p ⫽ .013, ␩2p ⫽ .017, as predicted. When participants imagined
                                                                                                                     engaging in instrumental networking, they generated fewer                The results of our second study are consistent with our expec-
                                                                                                                     cleansing-related words when they had a promotion focus (M ⫽          tations and provide evidence that the motives people have when
                                                                                                                     1.08, SD ⫽ 0.97) than when they had a prevention focus (M ⫽           they approach networking influence how morally impure they feel
                                                                                                                     1.40, SD ⫽ 0.88), F(1, 363) ⫽ 5.88, p ⫽ .016. However, when           after engaging in instrumental networking as well as their resulting
                                                                                                                     they imagined engaging in spontaneous networking, they gener-         desire to physically cleanse themselves. Specifically, a focus on
                                                                                                                     ated about the same number of cleansing-related words indepen-        promotion rather than prevention in approaching instrumental net-
                                                                                                                     dent of their regulatory focus (Mpromotion ⫽ 0.99, SD ⫽ 0.87 vs.      working reduces both feelings of moral impurity and the desire to
                                                                                                                     Mprevention ⫽ 0.84, SD ⫽ 0.93), F(1, 363) ⫽ 1.28, p ⫽ .26.            physically cleanse oneself. We found support for these relation-
                                                                                                                        Sample B: Data collected in Italy.                                 ships in two different samples, in the United States and in Italy,
                                                                                                                        Moral impurity. A 2 (Regulatory Focus) ⫻ 2 (Type of Net-           suggesting that our observed effects may hold across cultures.
                                                                                                                     working) between-subjects ANOVA using feelings of moral im-
                                                                                                                     purity as the dependent measure revealed the predicted significant
                                                                                                                                                                                                                        Study 3
                                                                                                                     interaction of regulatory focus and type of networking, F(1,
                                                                                                                     250) ⫽ 9.57, p ⬍ .001, ␩2p ⫽ .037. When participants imagined           In Studies 3A and B, both conducted online, we further examine
                                                                                                                     engaging in instrumental networking, they reported feeling less       the independent effects of promotion and prevention regulatory
                                                                                                                     impure when they had a promotion focus (M ⫽ 1.70, SD ⫽ 0.62)          focus on feelings of impurity and intentions to engage in network-
                                                                                                                     than when they had a prevention focus (M ⫽ 2.27, SD ⫽ 0.82),          ing by also including a control condition in the experimental
                                                                                                                     F(1, 250) ⫽ 19.78, p ⬍ .001. However, when they imagined              design.
                                                                                                                     engaging in spontaneous networking, they felt about equally im-
                                                                                                                     pure, independent of their regulatory focus (Mpromotion ⫽ 1.66,
                                                                                                                                                                                           Study 3A
                                                                                                                     SD ⫽ 0.62 vs. Mprevention ⫽ 1.67, SD ⫽ 0.74), F(1, 250) ⬍ 1, p ⫽
                                                                                                                     .89.                                                                     Method.
                                                                                                                        Negative and positive affect. A similar 2 ⫻ 2 ANOVA using             Participants and design. A total of 599 working adults re-
                                                                                                                     negative affect as the main dependent measure revealed no signif-     cruited through MTurk (Mage ⫽ 36.94, SD ⫽ 9.15; 46% male), all
                                                                                                                     icant effects (all ps ⬎ .44). As for positive affect, we found a      located in the United States, participated in a 15-min online study,
                                                                                                                     significant effect of regulatory focus, F(1, 250) ⫽ 6.28, p ⫽ .013,   and received $2 for their participation. We recruited 600 partici-
                                                                                                                     ␩2p ⫽ .024: Participants in the prevention-focus condition reported   pants but only 599 completed the study in the time allotted. We
                                                                                                                     lower positive affect (M ⫽ 3.31, SD ⫽ 0.63) than those in the         randomly assigned participants to one of three conditions: control
                                                                                                                     promotion-focus condition (M ⫽ 3.51, SD ⫽ 0.64). No other             versus promotion focus versus prevention focus.
                                                                                                                     effects were significant (ps ⬎ .20).                                     Procedure. Participants read initial instructions that wel-
                                                                                                                        Cleansing behaviors. As predicted, a 2 (Regulatory Focus) ⫻ 2      comed them to the study. Next, we asked them to complete a
                                                                                                                     (Type of Networking) between-subjects ANOVA using desirabil-          writing task, which was intended to manipulate regulatory focus
                                                                                                                     ity of cleansing behaviors as the dependent measure revealed a        (as in Freitas & Higgins, 2002). The instructions specified that we
                                                                                                                     significant interaction, F(1, 250) ⫽ 11.18, p ⫽ .001, ␩2p ⫽ .043.     were “interested in detailed writing skills, and in the way people
                                                                                                                     When participants imagined engaging in instrumental networking,       naturally express themselves.” In the promotion condition, the
                                                                                                                     they reported a lower desire for cleansing behaviors when they had    instructions (as in Zhang et al., 2011) read, “Please think about
                                                                                                                     a promotion focus (M ⫽ 4.27, SD ⫽ 1.21) than when they had a          something you ideally would like to do. In other words, think
                                                                                                                     prevention focus (M ⫽ 5.09, SD ⫽ 1.22), F(1, 250) ⫽ 11.64, p ⫽        about a hope or aspiration that you currently have. Please list the
                                                                                                                     .001. However, when they imagined engaging in spontaneous             hope or aspiration below.” In the prevention condition, the instruc-
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 87 of 1282


                                                                                                                                                             NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                         1229

                                                                                                                     tions read, “Please think about something you think you ought to             1.93, SD ⫽ 1.34; p ⬍ .001). Moral impurity was also lower in the
                                                                                                                     do. In other words, think about a duty or obligation that you                promotion-focus condition than in the control condition (p ⫽
                                                                                                                     currently have. Please list the duty or obligation below.” In the            .024).
                                                                                                                     control condition, the instructions read, “Please think about some-             Networking intentions. Networking intentions also varied by
                                                                                                                     thing you usually do in the evening. Please list the activities you          condition, F(2, 596) ⫽ 19.84, p ⬍ .001, ␩2p ⫽ .062. Participants
                                                                                                                     engage in during the evening on a typical day below.”                        indicated they would network less frequently in the future in the
                                                                                                                        Next, participants engaged in a task simulating instrumental              prevention-focus condition (M ⫽ 4.07, SD ⫽ 1.70) as compared to
                                                                                                                     networking. Similar to Casciaro et al. (2014), we asked partici-             the promotion-focus condition (M ⫽ 5.12, SD ⫽ 1.68; p ⬍ .001)
                                                                                                                     pants to put themselves in the shoes of the protagonist in the story         or the control condition (M ⫽ 4.74, SD ⫽ 1.71; p ⬍ .001).
                                                                                                                     they were about to read. The story asked participants to imagine             Network intentions were higher in the promotion-focus condition
                                                                                                                     being invited to attend an event during which they socialized with           than they were in the control condition (p ⫽ .024).
                                                                                                                     other people. In the story, the main character was described as                 Mediation. We tested for moral impurity as the mediator of
                                                                                                                     “actively and intentionally making professional connections with             the relationship between our regulatory focus manipulation and
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     the belief that connections are important for future professional            networking intentions. We first conducted analyses using the
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     effectiveness” (from Casciaro et al., 2014).                                 dummy for the prevention-focus condition as the independent
                                                                                                                        Next, we asked participants to report how they felt at that               variable, and the dummy for the control condition as covariate.
                                                                                                                     moment, by indicating the extent to which they felt using the                Using bootstrapping with 10,000 iterations, we estimated the direct
                                                                                                                     comprehensive list of 7 items from Study 1: dirty, inauthentic, and          and indirect effects of prevention focus through moral impurity on
                                                                                                                     impure, ashamed, wrong, unnatural, and tainted (␣ ⫽ .95). We                 our dependent variable, networking intentions. The 95% bias-
                                                                                                                     then reminded participants of the writing task they had completed            corrected confidence interval (CI) for the size of the indirect effect
                                                                                                                     earlier. The instructions for the promotion (prevention) condition           (⫺0.36, SE ⫽ .06) excluded zero (95% CI [– 0.496, ⫺0.243]),
                                                                                                                     read,                                                                        suggesting that feelings of moral impurity mediated the link be-
                                                                                                                                                                                                  tween prevention focus and lower networking intentions.
                                                                                                                         Now please take a minute and think about what you wrote earlier             Next, we conducted analyses using the dummy for the
                                                                                                                         about something you ideally would like to do [you ought to do]; in
                                                                                                                                                                                                  promotion-focus condition as the independent variable, and the
                                                                                                                         other words, think about a hope or aspiration [a duty or obligation]
                                                                                                                         that you currently have. Please reflect on your experience for 1–2 min
                                                                                                                                                                                                  dummy for the control condition as covariate. Using bootstrapping
                                                                                                                         and then proceed to the next task.                                       with 10,000 iterations, we found that the 95% bias-corrected CI for
                                                                                                                                                                                                  the size of the indirect effect (0.36, SE ⫽ .06) excluded zero (95%
                                                                                                                     We also reminded participants of the story they read and asked               CI [0.242, 0.496]), suggesting that feelings of moral impurity
                                                                                                                     them to reflect on it for a minute or two and write a few words that         mediated the link between promotion focus and higher networking
                                                                                                                     came to mind regarding the story before proceeding to the next               intentions.
                                                                                                                     task.
                                                                                                                        Next, all participants were asked to answer questions about their
                                                                                                                     networking intentions, our main dependent measure. We relied on              Study 3B
                                                                                                                     a measure used in prior work (Raj, Fast, & Fisher, 2017): a                     Method.
                                                                                                                     self-reported measure of the extent to which participants intended              Participants and design. A total of 572 working adults (Mage ⫽
                                                                                                                     to engage in professional networking in the near future. Partici-            35.37, SD ⫽ 8.81; 52% male), all located in the United States and
                                                                                                                     pants indicated the extent to which they believed they would seek            recruited through MTurk, participated in a 15-min online study. They
                                                                                                                     to expand their professional network in the next month. We used              received $2 for their participation. Only participants who had a
                                                                                                                     the following four items: “To what degree will you try to strate-            LinkedIn account could participate. We recruited 600 participants, but
                                                                                                                     gically work on your professional network in the next month?”;               only 572 completed the study in the time allotted. We randomly
                                                                                                                     “In the next month, how likely are you to voluntarily engage in              assigned participants to one of three conditions: control versus pro-
                                                                                                                     behaviors that expand your professional network?”; “To what                  motion focus versus prevention focus.
                                                                                                                     degree do you plan to establish new professional connections in                 Procedure. In Study 3B, we used the same procedure and
                                                                                                                     the next month?”; and “In the next month, to what degree is having           design as in Study 3A with one difference: Instead of reading the
                                                                                                                     a strong professional network a goal that you plan to pursue?”               story as explained above, we asked participants to actually engage
                                                                                                                     Participants indicated their intention to network in the next month          in instrumental networking. We did so to add richness to the
                                                                                                                     using a 7-point Likert-type scale (1 ⫽ not at all, 7 ⫽ very much).           paradigm as we wanted participants to experience what it feels
                                                                                                                     These items were averaged to create a composite measure of                   like to engage in instrumental networking. Specifically, as in
                                                                                                                     networking intentions (␣ ⫽ .96). Finally, participants indicated             Casciaro et al. (2014, Study 4), we asked participants to select a
                                                                                                                     their age and gender.                                                        person in their network (someone they were already connected
                                                                                                                        Results.                                                                  with or someone they would like to connect with), draft a message,
                                                                                                                        Moral impurity. Given that all items loaded onto one factor,              and send the message to that individual through their personal
                                                                                                                     we averaged them all into a composite measure of moral impurity
                                                                                                                     (␣ ⫽ .95).2 We found that this seven-item measure varied by
                                                                                                                                                                                                     2
                                                                                                                     condition, F(2, 596) ⫽ 17.69, p ⬍ .001, ␩2p ⫽ .056. Participants                  Similar to Study 1, feeling of impurity varied by condition, indepen-
                                                                                                                                                                                                  dent of whether moral impurity was measured with four items: dirty,
                                                                                                                     felt more morally impure in the prevention-focus condition (M ⫽              tainted, inauthentic, and ashamed, ␣ ⫽ .91, F(2, 596) ⫽ 18.10, p ⬍ .001,
                                                                                                                     2.39, SD ⫽ 1.36) as compared to the promotion-focus condition                ␩2p ⫽ .057, or the three regulatory-focus neutral items: wrong, unnatural
                                                                                                                     (M ⫽ 1.64, SD ⫽ 1.07; p ⬍ .001) or the control condition (M ⫽                and impure, ␣ ⫽ .89, F(2, 596) ⫽ 16.15, p ⬍ .001, ␩2p ⫽ .051.
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 88 of 1282


                                                                                                                     1230                                              GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     LinkedIn account. Participants were told, “Your intention in send-    Second, we coded whether the message was aimed at forming a
                                                                                                                     ing the message should be to strategically make a professional        connection to meet a professional goal (value of 1), as we had
                                                                                                                     connection. With this message, you are trying to create a connec-     defined instrumental networking in the instructions, or whether
                                                                                                                     tion that would aid the execution of work tasks and your profes-      they were using the assigned task to just make a social connection
                                                                                                                     sional effectiveness.” We did not have a way of tracking whether      (e.g., saying hello to a friend; value of 0 in our coding). Given the
                                                                                                                     participants actually sent the message they wrote through             instructions we used we expected no differences across conditions
                                                                                                                     LinkedIn.                                                             on this dimension. Finally, we coded for language indicating
                                                                                                                        Afterward, all participants answered questions about their net-    promotion or prevention focus. We used a value of 1 when
                                                                                                                     working intentions, as in Study 3A. Specifically, they completed      messages related to growth, advancement, and accomplishment,
                                                                                                                     the four-item self-reported measure of the extent to which they       and striving toward wishes and aspirations (for promotion). We
                                                                                                                     believed they would seek to expand their professional network in      used a value of 0 when the messages related to missing opportu-
                                                                                                                     the next month (␣ ⫽ .95, adapted from Raj et al., 2017). Finally,     nities and meeting their responsibilities and duties (for prevention).
                                                                                                                     participants indicated their age and gender.                          When messages did not include either, we left the cell in the data
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                        Results.                                                           blank.
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                        Moral impurity. Given that all seven items loaded onto one            We found no differences across conditions on the first and second
                                                                                                                     factor, we averaged them all into a composite measure of moral        dimension (p ⫽ .20 and p ⫽ .51, respectively). As for the third
                                                                                                                     impurity (␣ ⫽ .93).3 We found that this seven-item measure varied     dimension, we found differences across conditions, ␹2(461) ⫽ 6.38,
                                                                                                                     by condition, F(2, 570) ⫽ 20.66, p ⬍ .001, ␩2p ⫽ .068. Participants   p ⫽ .041: A higher percentage of participants used promotion lan-
                                                                                                                     felt more morally impure in the prevention-focus condition (M ⫽       guage in the promotion condition (73% of them) as compared to the
                                                                                                                     2.30, SD ⫽ 1.33) as compared to the promotion-focus condition         prevention condition or the control condition (67.7% and 59.5%,
                                                                                                                     (M ⫽ 1.53, SD ⫽ 0.96; p ⬍ .001) or the control condition (M ⫽         respectively).
                                                                                                                     2.01, SD ⫽ 1.17; p ⫽ .016). However, moral impurity was lower
                                                                                                                     in the promotion-focus condition than it was in the control condi-
                                                                                                                                                                                           Discussion
                                                                                                                     tion (p ⬍ .001).
                                                                                                                        Networking intentions. Networking intentions also varied by           The results of Studies 3A and 3B provide further support for the
                                                                                                                     condition, F(2, 570) ⫽ 19.56, p ⬍ .001, ␩2p ⫽ .064. Participants      independent effects of promotion and prevention focus on feelings
                                                                                                                     indicated they would network less frequently in the future in the     of impurity and instrumental networking, by showing differences
                                                                                                                     prevention-focus condition (M ⫽ 4.17, SD ⫽ 1.53) as compared to       as compared to a control condition.
                                                                                                                     the promotion-focus condition (M ⫽ 5.19, SD ⫽ 1.51; p ⬍ .001)
                                                                                                                     or the control condition (M ⫽ 4.53, SD ⫽ 1.73; p ⫽ .025).
                                                                                                                     Network intentions were higher in the promotion-focus condition
                                                                                                                                                                                                                          Study 4
                                                                                                                     than they were in the control condition (p ⬍ .001).                      In Study 4, a field setting, we explored the implications of
                                                                                                                        Mediation. As in Study 3A, we tested for the mediating role of     networking-related promotion and prevention regulatory focus for
                                                                                                                     moral impurity in the relationship between our regulatory focus       the frequency of instrumental professional networking by profes-
                                                                                                                     manipulation and networking intentions. We first conducted anal-      sionals and the feelings of impurity they associate with it. To that
                                                                                                                     yses using the dummy for prevention-focus condition as the inde-      end, we surveyed lawyers employed at a large North American law
                                                                                                                     pendent variable, and the dummy for the control condition as          firm. Business lawyers work either as counsel when hired by client
                                                                                                                     covariate. Using bootstrapping with 10,000 iterations, we esti-       or as experts on a client’s file when asked by a colleague. In either
                                                                                                                     mated the direct and indirect effects of prevention focus through     case, acquiring the work requires having relationships with col-
                                                                                                                     moral impurity on our dependent variable, networking intentions.      leagues and clients. Thus, law professionals at both junior and
                                                                                                                     The 95% bias-corrected CI for the size of the indirect effect         senior levels can benefit from and care deeply about instrumental
                                                                                                                     (⫺0.29, SE ⫽ .06) excluded zero (95% CI [– 0.422, ⫺0.193]),           networking, making this a particularly appropriate empirical con-
                                                                                                                     suggesting that feelings of moral impurity mediated the link be-      text.
                                                                                                                     tween prevention focus and lower networking intentions.
                                                                                                                        Next, we conducted analyses using the dummy for the
                                                                                                                     promotion-focus condition as the independent variable, and the        Method
                                                                                                                     dummy for the control condition as covariate. Using bootstrapping        Sample and procedure. When we conducted our study, 425
                                                                                                                     with 10,000 iterations, we found that the 95% bias-corrected CI for   lawyers were employed at the law firm where we collected survey
                                                                                                                     the size of the indirect effect (0.29, SE ⫽ .06) excluded zero (95%   data. Hierarchically, the law firm was structured according to
                                                                                                                     CI [0.193, 0.426]), suggesting that feelings of moral impurity        levels of legal experience, as is common for the industry: junior
                                                                                                                     mediated the link between promotion focus and higher networking       associate, midlevel associate, senior associate, junior partner (i.e.,
                                                                                                                     intentions.                                                           nonequity partner), and senior partner (i.e., equity partner). The
                                                                                                                        Coding. We asked a research assistant blind to our hypotheses      firm had five offices across North America and 13 law practices.
                                                                                                                     and study conditions to code the messages participants wrote. We
                                                                                                                     coded the messages on three dimensions. First, we coded whether
                                                                                                                                                                                              3
                                                                                                                     the message was a new connection attempt: We used 0 if partic-             Similar to Studies 1 and 3A, feeling of impurity varied by condition,
                                                                                                                                                                                           independent of whether moral impurity was measured with four items:
                                                                                                                     ipants wrote the message to someone they already had a connec-        dirty, tainted, inauthentic, and ashamed, ␣ ⫽ .87; F(2, 570) ⫽ 19.54, p ⬍
                                                                                                                     tion with (existing connection) and 1 if they wrote the message to    .001, ␩2p ⫽ .064, or the three regulatory-focus neutral items: wrong,
                                                                                                                     someone who would be a new connection (new connection).               unnatural and impure, ␣ ⫽ .85; F(2, 570) ⫽ 19.34, p ⬍ .001, ␩2p ⫽ .064.
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 89 of 1282


                                                                                                                                                           NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                     1231

                                                                                                                     The lawyers employed at the firm served business clients working         that networking can open up for me,” “Networking allows me to
                                                                                                                     across practices and locations, as the needs of the clients required.    achieve my professional aspirations,” “I engage in professional
                                                                                                                     We sent to all the lawyers employed at the firm an invitation to         networking because I want to be successful,” and “I engage in
                                                                                                                     complete a survey about their approach to professional network-          professional networking because connections help me do well”
                                                                                                                     ing. In the invitation, we made clear that participation in the survey   (␣ ⫽ .81). The four items measuring prevention focus were “Net-
                                                                                                                     was voluntary, and withdrawal from the study was available at any        working is a necessary part of my job that I just have to do,” “It is
                                                                                                                     time with no penalty. We also reassured participants that all their      my professional duty and responsibility to network,” “I engage in
                                                                                                                     responses would be entirely confidential, such that the firm’s           professional networking because I am concerned that I’ll miss
                                                                                                                     management would never get access to any individual responses,           opportunities if I don’t,” and “I engage in professional networking
                                                                                                                     and would only receive aggregated findings with the goal of aiding       because I don’t want to fall behind in my profession” (␣ ⫽ .69).
                                                                                                                     the firm in supporting its lawyers’ development and effectiveness           Control variables.
                                                                                                                     as legal professionals. For their efforts, we offered to participants       Law practice and office location. To control for the law
                                                                                                                     a confidential and personalized report on how their own profes-          practice a lawyer belonged to, we used indicator variables for each
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     sional networking compared to that of their peers at the firm.           of the 13 departments of the firm (insolvency and restructuring,
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                        In total, 164 lawyers completed the survey in its entirety, for a     corporate law, intellectual property, etc.). Likewise, we used indi-
                                                                                                                     39% response rate. We compared participants to nonparticipant s,         cator variables to control for each of the firm’s five offices in
                                                                                                                     and we found no statistically significant differences between the        which each lawyer was located. None of these dummy variables
                                                                                                                     two groups regarding office location, legal specialty, sex, or formal    affected the study’s findings, and therefore we excluded them from
                                                                                                                     rank.                                                                    the analyses reported below because their inclusion reduced the
                                                                                                                        Dependent and independent variables.                                  models’ goodness of fit.
                                                                                                                        Job performance. We assess performance by using yearly                   Extraversion. In light of research documenting a positive as-
                                                                                                                     revenue generated by a lawyer, which is the standard metric for          sociation between extraversion and networking frequency (Cas-
                                                                                                                     evaluating performance in law firms. Firm management shared              ciaro et al., 2014; Wanberg et al., 2000), as well as a negative
                                                                                                                     with us the revenue data they had collected and on record for each       association between extraversion and feelings of dirtiness experi-
                                                                                                                     of the lawyers working there. We corrected for skewness in rev-          enced from engaging in instrumental networking (Casciaro et al.,
                                                                                                                     enue distribution using the lnskew0 function in STATA (STATA             2014), we controlled for a lawyer’s extraversion, measured with
                                                                                                                     13).                                                                     the two extraversion items of the Big Five Inventory (Rammstedt
                                                                                                                        Frequency of instrumental professional networking. In the             & John, 2007).
                                                                                                                     survey, we defined professional networking as “the purposeful               Power. Previous research has also documented the effects of
                                                                                                                     building and nurturing of relationships to create a system of            power on feelings of dirtiness that result from instrumental net-
                                                                                                                     information and support for professional and career success” (as in      working (Casciaro et al., 2014). To account for these effects, we
                                                                                                                     Casciaro et al., 2014). We then asked respondents, “How often do         operationalized power in terms of a lawyer’s formal rank (senior-
                                                                                                                     you engage in professional networking?” The respondents indi-            ity), which defines power differentials clearly in law firms (Nel-
                                                                                                                     cated their answers using one of the following options on a 5-point      son, 2004). This variable ranged from senior partner at the top of
                                                                                                                     scale: not at all, rarely, sometimes, frequently, and a great deal.      the hierarchy (denoted with a numerical value equal to 5), followed
                                                                                                                        Feelings of moral impurity from networking. We measured               by junior partner (4), senior associate (3), midlevel associate (2),
                                                                                                                     the experience of impurity from instrumental professional net-           and junior associate at the bottom of the hierarchy (1).
                                                                                                                     working by using the average and logged (to correct for skewness)           Modeling approach. To test simultaneously the paths that our
                                                                                                                     response to three survey items on the 5-point scale (adapted from        predictions entail, and also control for all relevant covariates, we
                                                                                                                     Casciaro et al., 2014), each starting with the sentence, “When I         estimated direct and indirect effects using the corresponding struc-
                                                                                                                     engage in professional networking, I usually feel. . .” followed by      tural equation model (Kline, 2011) of a path analysis (Wright,
                                                                                                                     the following adjectives: dirty, inauthentic, and ashamed (␣ ⫽           1934). This approach allows us to simultaneously account for
                                                                                                                     .78). To reduce demand effects, the list interspersed these adjec-       effects of promotion focus and prevention focus, so that we can
                                                                                                                     tives with markers of various emotions (Feldman Barrett & Rus-           examine the unique effects of each orientation.
                                                                                                                     sell, 1998), such as happy, excited, stressed, and satisfied.
                                                                                                                        Trait promotion and prevention regulatory focus. As in
                                                                                                                                                                                              Results
                                                                                                                     Study 1, we measured chronic regulatory focus with the Composite
                                                                                                                     Regulatory Focus Scale (Haws et al., 2010).                                 Descriptive statistics and correlation coefficients for all vari-
                                                                                                                        Networking-specific trait promotion and prevention focus.             ables are in Table 2, while the results of the path analysis are in
                                                                                                                     To measure the extent to which instrumental networking resulted          Table 3. The estimated models use two measures of promotion and
                                                                                                                     from a promotion or a prevention focus, we developed eight survey        prevention focus: general trait regulatory foci (right-hand side of
                                                                                                                     items intended to capture a concern with growth, advancement,            Table 3) and networking-specific trait regulatory foci (left-hand
                                                                                                                     and aspirations of promotion focus on the one hand, and a concern        side of Table 3). The path analysis provides estimate for both
                                                                                                                     with meeting one’s duties and the threat of lost opportunity of          direct effects and indirect effects. Directs effects occur when a
                                                                                                                     prevention focus on the other hand. These items were adapted from        predictor affects a dependent variable directly. Indirect effects
                                                                                                                     the Composite Regulatory Focus Scale (Haws et al., 2010) to fit          occur when the effect of a predictor on dependent variable is
                                                                                                                     the domain of instrumental networking. We thus measured pro-             mediated by another variable. Our theory predicted four direct
                                                                                                                     motion focus with the average response to four survey items (each        effects in the path analysis: (a) a positive effect of prevention focus
                                                                                                                     assessed on a 5-point scale): “I am excited about the opportunities      on moral impurity from instrumental networking, (b) a negative
                                                                                                                                  Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 90 of 1282


                                                                                                                     1232                                                     GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     Table 2
                                                                                                                     Study 4 Mean, Standard Deviations, and Correlation of Variables

                                                                                                                                 Variable                   M            SD            1      2         3        4        5        6        7        8        9     10

                                                                                                                      1. Job performance                1,603,193    3,063,196
                                                                                                                      2. Job performance (log)            10.568       3.886       .667
                                                                                                                      3. Networking frequency              3.579       0.904       .362     .458
                                                                                                                      4. Moral impurity                    1.562       0.633      ⫺.176    ⫺.208      ⫺.431
                                                                                                                      5. Moral impurity (log)            ⫺0.664        0.847      ⫺.173    ⫺.231      ⫺.494     .893
                                                                                                                      6. Extraversion                      3.102       1.491       .541     .860       .401    ⫺.147    ⫺.188
                                                                                                                      7. Seniority                         3.549       0.923      ⫺.032    ⫺.036       .342    ⫺.418    ⫺.463    ⫺.089
                                                                                                                      8. Chronic prevention focus          3.322       0.825      ⫺.217    ⫺.218      ⫺.236     .330     .308    ⫺.171    ⫺.263
                                                                                                                      9. Chronic promotion focus           3.533       0.741      ⫺.081    ⫺.039       .199    ⫺.164    ⫺.170    ⫺.065     .231     .396
                                                                                                                     10. Networking prevention focus       3.624       0.810      ⫺.109    ⫺.023       .266     .028    ⫺.013     .046    ⫺.051     .158    .173
                                                                                                                     11. Networking promotion focus        3.935       0.723       .007     .037       .545    ⫺.302    ⫺.333     .035     .459    ⫺.058    .310   .496
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     Note. Correlation coefficients ⬎.14 are significant at p ⬍ .05.
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     effect of promotion focus on moral impurity from instrumental                 theory, promotion focus and prevention focus also had significant
                                                                                                                     networking, (c) a negative effect of moral impurity on the fre-               indirect effects on network frequency, mediated by moral impu-
                                                                                                                     quency of instrumental networking, and (d) a positive effect of               rity, consistent with the theoretical model we advanced (see Table
                                                                                                                     networking frequency on job performance.                                      3).
                                                                                                                        When measuring regulatory focus as generalized trait promotion
                                                                                                                     and prevention focus (right-hand side of Table 3), all predictions            Discussion
                                                                                                                     were supported. Namely, networking frequency had a positive and
                                                                                                                     statistically significant direct effect on job performance (␤ ⫽ .550;            Taken together, the findings of Study 4 show that the effects of
                                                                                                                     p ⬍ .01). In turn, moral impurity had a negative direct effect on             trait promotion and prevention focus on moral impurity and in-
                                                                                                                     networking frequency (␤ ⫽ ⫺.364; p ⬍ .001). Generalized pro-                  strumental professional networking generalize to professionals in
                                                                                                                     motion focus had the predicted negative effect on moral impurity              field settings. People who are motivated to pursue ideals, growth,
                                                                                                                     (␤ ⫽ ⫺.282; p ⬍ .01), and generalized prevention focus had the                and aspirations feel more authentic and morally pure when net-
                                                                                                                     predicted positive effect on moral impurity (␤ ⫽ .294; p ⬍ .001).             working than do people who are motivated by the fulfilment of
                                                                                                                        When measuring regulatory focus as networking-specific trait               duties and obligations. These feelings of moral impurity in turn
                                                                                                                     promotion and prevention focus (left-hand side of Table 3), all               relate to how frequently professionals engage in networking, with
                                                                                                                     predictions were supported, except the positive effect of preven-             consequences for their job performance. The results of Study 4
                                                                                                                     tion focus on moral impurity. Namely, in addition to the predicted            also indicate that domain-specific regulatory foci are not as
                                                                                                                     direct effects of networking frequency on job performance and of              strongly predictive of either moral purity from instrumental net-
                                                                                                                     moral impurity on networking frequency, promotion focus had the               working or of the frequency with which people network profes-
                                                                                                                     predicted negative effect on moral impurity (␤ ⫽ ⫺.250; p ⬍ .05),             sionally. While we did find evidence that networking-specific
                                                                                                                     while the negative effect of prevention focus on moral impurity               promotion focus reduces moral impurity and networking fre-
                                                                                                                     was not statistically significant, contrary to our prediction.                quency, we did not find such evidence for a networking-specific
                                                                                                                        Thus, our predictions were strongly supported when regula-                 prevention focus.
                                                                                                                     tory foci were measured as a general trait, indicating that people
                                                                                                                     with a promotion focus experience lessened feelings of impurity                                            Study 5
                                                                                                                     from instrumental professional networking, while those with a
                                                                                                                     prevention focus tend to feel more morally impure when net-                   Method
                                                                                                                     working instrumentally. When regulatory foci were measured
                                                                                                                     as networking-specific promotion and prevention focus, how-                      Although in Study 4, networking-specific trait measures of
                                                                                                                     ever, these predictions were supported only for promotion fo-                 regulatory focus exhibited weaker effects on moral purity and
                                                                                                                     cus, which was negatively associated with moral impurity.                     networking frequency than did general trait regulatory focus, we
                                                                                                                     Figure 3 summarizes how the findings from Study 4 supported                   wished to explore the possibility that such domain-specific mo-
                                                                                                                     our theoretical model.                                                        tives might be amenable to manipulation in the field. In organiza-
                                                                                                                        In addition to the direct effects we predicted, the path analysis          tions, domain-specific situational cues can be particularly impor-
                                                                                                                     revealed effects of interest, both direct and indirect. Seniority (our        tant in evoking either promotion or prevention focus, as employees
                                                                                                                     operationalization of power in the context of law firms) had                  look for and pay attention to information about what behaviors are
                                                                                                                     positive direct and indirect effects on networking frequency, and             expected of them and their consequences (James, James, & Ashe,
                                                                                                                     negative effects on moral impurity, replicating the findings of               1990; Scott & Bruce, 1994). For instance, situational cues that
                                                                                                                     Casciaro et al. (2014). Likewise, positive direct and indirect effects        highlight potential gains and attainment of ideals are likely to
                                                                                                                     of extraversion on networking frequency, and its indirect effect on           trigger a promotion mindset. Instead, those that highlight potential
                                                                                                                     job performance mediated by networking frequency is consistent                losses and fulfillment of obligations are likely trigger a prevention
                                                                                                                     with previous work (Casciaro et al., 2014). More relevant to our              mindset (Higgins, 1997, 1998).
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 91 of 1282
                                                                                                                                  Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 92 of 1282


                                                                                                                     1234                                                     GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     no differences between the two conditions, even though partici-                ␣ ⫽ .88) and negative with three items (stressed, tired, and bored;
                                                                                                                     pants were randomly assigned to the intervention conditions and                ␣ ⫽ .81).
                                                                                                                     had not yet started receiving their text messages, we checked and
                                                                                                                     found there was no condition effect on responses rate (p ⬎ .10).
                                                                                                                     We also checked the baseline frequency of networking, network-                 Results
                                                                                                                     ing promotion (␣ ⫽ .90) and prevention (␣ ⫽ .79) focus, and Big                  Moral impurity. Consistent with our predictions, participants
                                                                                                                     5 personality traits and found no significant differences on any of
                                                                                                                     the measured variables between two conditions (ps ⬎ .10). Thus,                who received the promotion-focus intervention reported feeling
                                                                                                                     as expected, preintervention, there were no significant differences            less morally impure (M ⫽ 1.71, SD ⫽ 0.76) than those who
                                                                                                                     between the two groups. All participants (n ⫽ 444) who consented               received the prevention-focus intervention (M ⫽ 2.06, SD ⫽ 0.91),
                                                                                                                     to participate in our study received text messages once a week on              t(181) ⫽ 2.84, p ⫽ .005.
                                                                                                                     Mondays at 9 a.m. for 6 weeks.                                                    Positive and negative affect. Participants’ positive and neg-
                                                                                                                        In the promotion-focus group, participants received a text that             ative affect did not differ depending on whether they were in a
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     read,                                                                          promotion focus or a prevention focus, t(181) ⫽ ⫺.98, p ⫽ .33 and
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                                                                                                    t(181) ⫽ .98, p ⫽ .33, respectively.
                                                                                                                         We are interested in how people create and nurture relationships at
                                                                                                                                                                                                       Networking frequency. Consistent with our hypothesis, par-
                                                                                                                         work. Many people focus on the opportunities that networking can
                                                                                                                         open up for them. They also consider how networking can help them
                                                                                                                                                                                                    ticipants in a promotion focus reported engaging in networking
                                                                                                                         achieve their professional aspirations. Please set aside a few minutes     more frequently over the last month (M ⫽ 3.39, SD ⫽ 1.16) as
                                                                                                                         to identify how you will approach your next opportunity to network         compared to those in a prevention focus (M ⫽ 2.78, SD ⫽ 1.05),
                                                                                                                         with these potential benefits in mind.                                     t(181) ⫽ ⫺3.71, p ⬍ .001. Given that we have data on some of our
                                                                                                                                                                                                    participants’ baseline networking frequency, we also ran analyses
                                                                                                                     In the prevention-focus group, participants read,                              controlling for the frequency of networking before the start of the
                                                                                                                         We are interested in how people create and nurture relationships at        study and found a significant effect of regulatory focus manipu-
                                                                                                                         work. Many people consider networking a necessary part of their job        lation on network frequency on this more restricted sample, F(1,
                                                                                                                         that they just have to do, a professional obligation. They also focus on   113) ⫽ 9.33, p ⫽ .003, ␩2p ⫽ .076.
                                                                                                                         opportunities they will miss if they do not network. Please set aside a       New connections. When asked how many new connections
                                                                                                                         few minutes to identify how you will approach your next opportunity        they added to their professional network over the last month, 14
                                                                                                                         to network with these potential costs in mind.
                                                                                                                                                                                                    participants did not respond. Examining the responses from the re-
                                                                                                                        At the conclusion of the 6 weeks, we asked all 444 participants             maining 169 respondents, we found a significant effect of regulatory
                                                                                                                     who received the weekly text messages (whether they completed                  focus manipulation on creating new connections (Mpromotion ⫽ 7.80,
                                                                                                                     the initial survey or not) to fill out a final survey, which contained         SD ⫽ 8.05 vs. Mprevention ⫽ 5.52, SD ⫽ 5.05), t(167) ⫽ ⫺2.21, p ⫽
                                                                                                                     our dependent variables. A total of 183 participants responded to              .030.
                                                                                                                     this final survey (41% response rate), and 116 participants com-                  Nurturing existing ties. Eight participants did not respond to
                                                                                                                     pleted both surveys. There were no significant differences between             this question. Examining the responses from the remaining 175
                                                                                                                     conditions (promotion vs. prevention) on whether participants                  respondents, we found a significant effect of regulatory focus
                                                                                                                     returned to complete the last survey (p ⬎ .10). This confirms that             manipulation on nurturing existing ties (Mpromotion ⫽ 8.01, SD ⫽
                                                                                                                     our manipulation had no effect on participants’ likelihood of                  7.01 vs. Mprevention ⫽ 4.64, SD ⫽ 4.21), t(173) ⫽ ⫺3.90, p ⬍ .001.
                                                                                                                     returning to the final survey. In addition, among those who pro-                  Mediation. We tested for moral impurity as the mediator of
                                                                                                                     vided responses to the initial survey, there was no significant                the relationship between our regulatory focus manipulation and
                                                                                                                     difference on baseline networking or Big 5 personality traits be-              networking frequency over the last month. Using bootstrapping
                                                                                                                     tween those who responded to the final survey or not (ps ⬎ .10).               with 10,000 iterations, we estimated the direct and indirect effects
                                                                                                                        In the final survey, we asked participants to first report their            of regulatory focus condition through moral impurity on our de-
                                                                                                                     frequency of professional networking over the last month on a                  pendent variable, networking frequency. The 95% bias-corrected
                                                                                                                     5-point scale ranging from 1 (not at all) to 5 (a great deal). Next,           CI for the size of the indirect effect (0.20, SE ⫽ .07) excluded zero
                                                                                                                     they were asked to identify how many new people they added to
                                                                                                                                                                                                    (95% CI [0.071, 0.368]), suggesting that feelings of moral impu-
                                                                                                                     their professional network over the last month (new connections)
                                                                                                                                                                                                    rity mediated the link between promotion focus (vs. prevention
                                                                                                                     and how many existing professional relationships they nurtured or
                                                                                                                                                                                                    focus) and higher network frequency.
                                                                                                                     rekindled over the last month (nurturing). Afterward, they reported
                                                                                                                                                                                                       We also ran the mediation analysis with number of new con-
                                                                                                                     their feelings about the professional networking they engaged in
                                                                                                                     over the last month using 1 (strongly disagree) to 5 (strongly                 nections as a dependent variable. The 95% bias-corrected CI for
                                                                                                                     agree) scales, beginning with the stem, “When I engaged in                     the size of the indirect effect (0.65, SE ⫽ .33) excluded zero (95%
                                                                                                                     professional networking over the last month, I usually felt . . . ”            CI [0.134, 1.410]). The mediation analysis with nurturing existing
                                                                                                                        Moral impurity. We assessed moral impurity with four items                  ties yielded similar findings and the 95% bias-corrected CI for the
                                                                                                                     (dirty, tainted, inauthentic, and ashamed; ␣ ⫽ .80) from Casciaro              size of the indirect effect (0.99, SE ⫽ .34) excluded zero (95% CI
                                                                                                                     et al. (2014).                                                                 [0.404, 1.746]). In sum, the three analyses suggest that feelings of
                                                                                                                        Affect. To minimize demand effects, we also included posi-                  moral impurity mediated the link between promotion focus (vs.
                                                                                                                     tive and negative affect adjectives. Positive affect was measured              prevention focus) and higher networking (frequency as well nur-
                                                                                                                     with five items (enthusiastic, satisfied, happy, relaxed, excited;             turing existing tiles and creating new ones).
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 93 of 1282


                                                                                                                                                           NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                  1235

                                                                                                                     Discussion                                                               instrumental networking and that interventions that specifically
                                                                                                                                                                                              change the motives people have when approaching networking can
                                                                                                                        Together, the results of Study 5 provide further evidence that        potently impact their psychological experience and subsequent behav-
                                                                                                                     regulatory focus influences how people react to instrumental pro-        iors. A psychological account of motivation in networking behavior
                                                                                                                     fessional networking. As compared to participants encouraged to          can inform network theories of human agency by examining people’s
                                                                                                                     take a prevention focus, participants encouraged to take a promo-        motivational approach to goals and by conceptualizing agency itself
                                                                                                                     tion focus felt less inauthentic and morally impure, and engaged in      as a variable that can be measured or manipulated.
                                                                                                                     networking more often.                                                      Second, our work contributes to research on regulatory focus by
                                                                                                                                                                                              extending it to a new context—professional networking—and in-
                                                                                                                                           General Discussion                                 troducing a domain-specific form of promotion and prevention
                                                                                                                                                                                              focus to complement trait and state forms of regulatory foci
                                                                                                                        Despite the well-demonstrated and well-known benefits that            typically studied in the literature. By doing so, we echo and
                                                                                                                     creating and maintaining professional connections can have on the        strengthen new developments in research on regulatory focus
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     diversity and size of one’s network, people often shy away from          (Browman et al., 2017). RFT (Higgins, 1997) concerns how people
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     engaging in instrumental networking to pursue professional goals.        pursue goals. In a promotion focus, people’s goals are represented
                                                                                                                     This is because they feel inauthentic, impure, and even dirty            as hopes and aspirations; in a prevention focus, they are repre-
                                                                                                                     (Casciaro et al., 2014) when attempting to create and maintain           sented as duties and obligations. Given its wide applicability and
                                                                                                                     relationships with other people with the clear purpose of finding or     the importance of goal pursuit in organizations, several scholars
                                                                                                                     strengthening support for their professional goals and work tasks.       have explored the role of regulatory focus in work settings (e.g.,
                                                                                                                     Such feelings, unfortunately, are often detrimental to their devel-      Brockner & Higgins, 2001; Wallace et al., 2009) and found that
                                                                                                                     opment and job performance because they do not allow people to           promotion and prevention foci are uniquely associated with a
                                                                                                                     access valuable information, resources, and opportunities that are       variety of work behaviors (De Cremer et al., 2009; Neubert et al.,
                                                                                                                     important to their careers. In the current research, we proposed that    2008; Wallace et al., 2009). Our research advances this body of
                                                                                                                     the motives people have when engaging in networking can impact           work by examining how regulatory focus affects the way people
                                                                                                                     these feelings by affecting their moral experience of networking,        experience networking and how often they engage in it, with
                                                                                                                     and lead them to network with different frequency.                       important consequences for performance. We also demonstrate
                                                                                                                        Using two laboratory studies, two online studies, one field           that manipulations of state promotion and prevention foci specific
                                                                                                                     experiment with working professionals, and field data from law-          to the domain of networking are sufficient to change the network-
                                                                                                                     yers from a large North American business law firm, we examined          ing behavior of professionals in the field. Manipulating the gen-
                                                                                                                     how self-regulatory focus, in the form of promotion and preven-          eralized regulatory foci typically studied in the literature may
                                                                                                                     tion, affects people’s experiences and outcomes when networking.         therefore not be necessary to affect specific behaviors at work. By
                                                                                                                     Consistent with our propositions, we find that a promotion regu-         showing that people’s psychological reactions to networking vary
                                                                                                                     latory focus, as compared to a prevention focus or a control             depending on their promotion versus prevention focus, our work
                                                                                                                     condition, is beneficial to instrumental professional networking.        opens up new investigations of primary human motives, network-
                                                                                                                     People who are motivated to network professionally for the               ing, and the structure of networks.
                                                                                                                     growth, advancement, and accomplishments they can achieve                   Finally, our work also contributes to research on morality and
                                                                                                                     through their connections network more frequently and experience         behavioral ethics—research that has received increased attention
                                                                                                                     decreased feelings of moral impurity. In contrast, networking with       in the last decade from both psychology and management scholars.
                                                                                                                     the prevention focus of meeting one’s professional responsibilities      Prior work has shown that authenticity is experienced as a moral
                                                                                                                     reduces the frequency of instrumental networking because it wors-        state (Gino et al., 2015) and that instrumental networking leads
                                                                                                                     ens the feelings of impurity people experience from it.                  people to feel dirty and impure (Casciaro et al., 2014). Here, we
                                                                                                                                                                                              proposed and found that regulatory focus profoundly affects such
                                                                                                                                                                                              feelings, as the motives people have to engage in instrumental
                                                                                                                     Theoretical Implications
                                                                                                                                                                                              networking give them room to justify (or discourage) approaching
                                                                                                                        Our research contributes to the literature on networking, regu-       others to accomplish their professional goals. In so doing, we built
                                                                                                                     latory focus, and morality in various ways. First, building on the       on Cornwell and Higgins’ (2015) view of both promotion and
                                                                                                                     work of Casciaro et al. (2014), the current article contributes to the   prevention regulatory foci as ethical systems of ideals concerned
                                                                                                                     network literature by focusing on the primary motives people have        with attaining virtues (promotion) and of oughts concerned with
                                                                                                                     when approaching networking. Despite its many insights, existing         maintaining obligations (prevention). By connecting ought and
                                                                                                                     work on networks has focused primarily on their structural prop-         ideal selves to the moral philosophy of authenticity and moral
                                                                                                                     erties and paid less attention to the important role of individual       purity, we identified an important motivational factor that can
                                                                                                                     psychology in network dynamics. Although certain basic psycho-           change the perceived morality of instrumental professional net-
                                                                                                                     logical phenomena—such as affect, cognition, and personality—            working and be directly triggered or manipulated.
                                                                                                                     have been integrated to varying degrees with the network perspec-           Our research both assessed regulatory focus as an individual
                                                                                                                     tive on organizations, psychological theory on motivation is still       difference and manipulated it with simple interventions in lab and,
                                                                                                                     largely absent from network research (Casciaro et al., 2015). Our        importantly, in the field. Short writing tasks that focused partici-
                                                                                                                     work complements this body of research by suggesting and pro-            pants’ attention on their hopes and aspirations or on their duties
                                                                                                                     viding evidence that people’s psychological experience when net-         and obligations influenced the primary motivations they used
                                                                                                                     working has powerful effects on their likelihood of engaging in          when approaching instrumental networking. In addition, short text
                                                                                                                                  Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 94 of 1282


                                                                                                                     1236                                                  GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     messages that reinforced promotion versus prevention foci af-             people experience networking, because regulatory focus influences
                                                                                                                     fected real networking behaviors. The effectiveness of regulatory         creativity (Crowe & Higgins, 1997; Friedman & Förster, 2001), an
                                                                                                                     focus manipulations narrowly directed at networking behavior              important factor when individuals are justifying their actions,
                                                                                                                     shows that interventions to change people’s motivational orienta-         particularly those that may be morally problematic (Gino & Ariely,
                                                                                                                     tions need not generalize to all domains of their lives, but rather       2012). Future research examining how regulatory focus influences
                                                                                                                     can effectively target a specific domain of action. Our manipula-         one’s ability to justify selfish intentions during instrumental net-
                                                                                                                     tions and, in particular, our simple intervention study provide           working (through the greater creativity that regulatory focus trig-
                                                                                                                     insights into how organizations or managers could similarly focus         gers) would further our understanding of the impact of people’s
                                                                                                                     organizational members’ attention on specific aspects of network-         motives on their psychological state and actions when networking.
                                                                                                                     ing, thus influencing their willingness to engage in it and fre-             We note that these insights on the complex interrelationships
                                                                                                                     quency of doing so. Simply helping people focus on specific               between selfishness, authenticity, moral purity and regulatory fo-
                                                                                                                     motives before approaching networking could prove to be an                cus could well apply to behaviors beyond instrumental networking.
                                                                                                                     effective means of making networking morally palatable and in-            Any form of instrumental relational behavior— be it advice seeking
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     fluence their development and job performance for the better.             and giving, leadership, social influence, or intergroup relations—
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                                                                                               undertaken with selfish or altruistic motives, and invoking either
                                                                                                                     Limitations and Directions for Future Research                            promotion or prevention motivational orientations, may have signif-
                                                                                                                                                                                               icant consequences for an individual’s morality, which may in turn
                                                                                                                        Our findings, as well as the limitations of our studies, point to      affect the likelihood of engaging in such behavior. Further work is
                                                                                                                     several potential areas of future inquiry. First, our research focused    needed to further understand the interplay motivation, and the moral
                                                                                                                     heavily on individuals’ psychological states and their reported           psychology of instrumental behavior and its outcomes.
                                                                                                                     frequency of networking rather than on objective measures of                 Future research could also examine whether promotion and
                                                                                                                     networking. It is important to examine more objective variables,          prevention focus lead people to use different strategies when
                                                                                                                     such as frequency of networking—an outcome we considered in two           networking, and approach new professional connections with a
                                                                                                                     of our studies—and to measure them in more objective ways. More           different mindset. For instance, it is possible that people with a
                                                                                                                     importantly, potential differences in the psychological and behavioral    promotion focus create or nurture professional relationships to
                                                                                                                     patterns people display while networking deserve further inquiry. It is   learn something new, more so than people with a prevention focus,
                                                                                                                     possible that promotion-focused or prevention-focused individuals         and this attention to the potential for learning may contribute to
                                                                                                                     use different emotional and nonemotional expressions consciously or       their lower feelings of moral impurity as the connection feels less
                                                                                                                     unconsciously. For example, during a networking event, promotion-         instrumental.
                                                                                                                     focused individuals might display more positive emotions and ap-             Finally, in our studies, we tested our predications with different
                                                                                                                     proach their targets with a firm handshake. Additionally, while our       samples, such as Americans recruited through online platforms
                                                                                                                     studies focused on the person networking, it would be fascinating to
                                                                                                                                                                                               (Mturk) and panels, as well as U.S. college students and lawyers in
                                                                                                                     examine whether others can recognize the motivation behind individ-
                                                                                                                                                                                               a professional services firm. Additionally, we assessed the cultural
                                                                                                                     uals’ instrumental networking.
                                                                                                                                                                                               generalizability of our main prediction with a sample from Italy.
                                                                                                                        In our studies, we both measured and manipulated self-
                                                                                                                                                                                               Nonetheless, it is possible that some non-Western cultures differ in
                                                                                                                     regulatory focus. Future research could extend our work by inves-
                                                                                                                                                                                               their views of instrumental networking and as such our effects
                                                                                                                     tigating framing effects. An individual’s regulatory focus can be
                                                                                                                                                                                               might not hold in such cultures. Future research could further
                                                                                                                     shaped by her environment (e.g., the school she attends, the
                                                                                                                                                                                               examine the cultural generalizability of the current findings.
                                                                                                                     organization she works in), such that certain environments make
                                                                                                                     one regulatory focus predominant over the other. Future work
                                                                                                                     could examine the active role organizations can play in inducing a        Conclusion
                                                                                                                     promotion focus, because companies can shape members’ regula-
                                                                                                                     tory focus through their cultures, policies, and incentive schemes.          Why is it that many people do not take on opportunities to
                                                                                                                     Additionally, in our studies we examined the general self-                network or do so with dread, even when networking would benefit
                                                                                                                     regulatory focus and networking-specific regulatory focus (mea-           them professionally? How could they be encouraged to do so, and
                                                                                                                     sured or manipulated) at one time. It is likely that individuals’ past    with enthusiasm? Our research addresses both of these questions.
                                                                                                                     experiences with networking influence the extent to which they            Building on recent work showing that engaging in professional
                                                                                                                     adopt a promotion or prevention focus toward networking. For              instrumental networking makes people feel morally impure and
                                                                                                                     example, negative past experiences could lead people to view              physically dirty, we explored how the motives people have when
                                                                                                                     networking with dread and thus approach networking with a pre-            engaging in networking can reduce these feelings and lead people
                                                                                                                     vention focus.                                                            to network more often, with potentially beneficial effects on their
                                                                                                                        Future studies could examine the role of felt authenticity and         performance. By adopting a promotion focus rather than a preven-
                                                                                                                     selfishness in various types of networking. Casciaro and col-             tion one, individuals can orient their motivation to network toward
                                                                                                                     leagues (2014) argued that networking behaviors create negative           the growth, advancement, and accomplishment they can receive
                                                                                                                     self-attributions when the actions are difficult to justify to oneself.   from it and thus network more frequently and experience greater
                                                                                                                     People perceive instrumental professional networking specifically         authenticity and moral purity. That is, a promotion focus can help
                                                                                                                     as less justifiable to themselves and as morally tainted because it       people wash away their dirty feelings and draw their attention to
                                                                                                                     has a selfish intent, as the person initiating the relationship is        the aspirations they can pursue by creating new professional ties or
                                                                                                                     pursuing certain benefits. Regulatory focus can influence how             strengthening existing ones.
                                                                                                                                  Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 95 of 1282


                                                                                                                                                               NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                            1237

                                                                                                                                                   References                                       Förster, J., Higgins, E. T., & Bianco, A. T. (2003). Speed/accuracy deci-
                                                                                                                                                                                                      sions in task performance: Built-in trade-off or separate strategic con-
                                                                                                                     Adler, P. S., & Kwon, S. W. (2002). Social capital: Prospects for a new          cerns? Organizational Behavior and Human Decision Processes, 90,
                                                                                                                       concept. Academy of Management Review, 27, 17– 40. http://dx.doi.org/          148 –164. http://dx.doi.org/10.1016/S0749-5978(02)00509-5
                                                                                                                       10.5465/amr.2002.5922314                                                     Freitas, A. L., & Higgins, E. T. (2002). Enjoying goal-directed action: The
                                                                                                                     Azrin, N. H., & Besalel, V. B. (1982). Finding a job. Berkeley, CA: Ten          role of regulatory fit. Psychological Science, 13, 1– 6. http://dx.doi.org/
                                                                                                                       Speed Press.                                                                   10.1111/1467-9280.00401
                                                                                                                     Belmi, P., & Laurin, K. (2016). Who wants to get to the top? Class and lay     Friedman, R. S., & Förster, J. (2001). The effects of promotion and
                                                                                                                       theories about power. Journal of Personality and Social Psychology,            prevention cues on creativity. Journal of Personality and Social Psy-
                                                                                                                       111, 505–529. http://dx.doi.org/10.1037/pspi0000060                            chology, 81, 1001–1013. http://dx.doi.org/10.1037/0022-3514.81.6.1001
                                                                                                                     Bensaou, B. M., Galunic, C., & Jonczyk-Sédès, C. (2013). Players and           Gino, F., & Ariely, D. (2012). The dark side of creativity: Original thinkers
                                                                                                                       purists: Networking strategies and agency of service professionals. Or-        can be more dishonest. Journal of Personality and Social Psychology,
                                                                                                                       ganization Science, 25, 29 –56. http://dx.doi.org/10.1287/orsc.2013.0826       102, 445– 459. http://dx.doi.org/10.1037/a0026406
                                                                                                                     Borgatti, S. P., & Foster, P. C. (2003). The network paradigm in organi-       Gino, F., Kouchaki, M., & Galinsky, A. D. (2015). The moral virtue of
                                                                                                                       zational research: A review and typology. Journal of Management, 29,
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                                                                                                      authenticity: How inauthenticity produces feelings of immorality and
                                                                                                                       991–1013. http://dx.doi.org/10.1016/S0149-2063(03)00087-4
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                                                                                                      impurity. Psychological Science, 26, 983–996. http://dx.doi.org/10
                                                                                                                     Borgatti, S. P., Mehra, A., Brass, D. J., & Labianca, G. (2009). Network
                                                                                                                                                                                                      .1177/0956797615575277
                                                                                                                       analysis in the social sciences. Science, 323, 892– 895.
                                                                                                                                                                                                    Golomb, J. (1995). In search of authenticity: From Kierkegaard to Camus.
                                                                                                                     Bowlby, J. (1969). Attachment and loss: Vol. 1. Attachment. London,
                                                                                                                                                                                                      London, United Kingdom: Routledge.
                                                                                                                       England: Hogarth Press and the Institute of Psycho-Analysis.
                                                                                                                                                                                                    Gosling, S. D., Rentfrow, P. J., & Swann, W. B., Jr. (2003). A very brief
                                                                                                                     Brass, D. J., Galaskiewicz, J., Greve, H. R., & Tsai, W. (2004). Taking
                                                                                                                                                                                                      measure of the Big-Five personality domains. Journal of Research in
                                                                                                                       stock of networks and organizations: A multilevel perspective. Academy
                                                                                                                                                                                                      Personality, 37, 504 –528. http://dx.doi.org/10.1016/S0092-6566
                                                                                                                       of Management Journal, 47, 795– 817.
                                                                                                                                                                                                      (03)00046-1
                                                                                                                     Brockner, J., & Higgins, E. T. (2001). Regulatory focus theory: Implica-
                                                                                                                                                                                                    Graham, J., Nosek, B. A., Haidt, J., Iyer, R., Koleva, S., & Ditto, P. H.
                                                                                                                       tions for the study of emotions at work. Organizational Behavior and
                                                                                                                                                                                                      (2011). Mapping the moral domain. Journal of Personality and Social
                                                                                                                       Human Decision Processes, 86, 35– 66. http://dx.doi.org/10.1006/obhd
                                                                                                                                                                                                      Psychology, 101, 366 –385. http://dx.doi.org/10.1037/a0021847
                                                                                                                       .2001.2972
                                                                                                                                                                                                    Haws, K. L., Dholakia, U. M., & Bearden, W. O. (2010). An assessment of
                                                                                                                     Browman, A. S., Destin, M., & Molden, D. C. (2017). Identity-specific
                                                                                                                                                                                                      chronic regulatory focus measures. Journal of Marketing Research, 47,
                                                                                                                       motivation: How distinct identities direct self-regulation across distinct
                                                                                                                                                                                                      967–982. http://dx.doi.org/10.1509/jmkr.47.5.967
                                                                                                                       situations. Journal of Personality and Social Psychology, 113, 835– 857.
                                                                                                                                                                                                    Higgins, E. T. (1987). Self-discrepancy: A theory relating self and affect.
                                                                                                                       http://dx.doi.org/10.1037/pspa0000095
                                                                                                                                                                                                      Psychological Review, 94, 319 –340. http://dx.doi.org/10.1037/0033-
                                                                                                                     Casciaro, T., Barsade, S., Edmondson, A. C., Gibson, C., Krackhardt, D.,
                                                                                                                                                                                                      295X.94.3.319
                                                                                                                       & Labianca, G. (2015). The integration of psychological and network
                                                                                                                       perspectives in organizational scholarship. Organization Science, 26,        Higgins, E. T. (1997). Beyond pleasure and pain. American Psychologist,
                                                                                                                       1162–1176. http://dx.doi.org/10.1287/orsc.2015.0988                            52, 1280 –1300. http://dx.doi.org/10.1037/0003-066X.52.12.1280
                                                                                                                     Casciaro, T., Gino, F., & Kouchaki, M. (2014). The contaminating effects       Higgins, E. T. (1998). Promotion and prevention: Regulatory focus as a
                                                                                                                       of building instrumental ties how networking can make us feel dirty.           motivational principle. Advances in Experimental Social Psychology,
                                                                                                                       Administrative Science Quarterly, 59, 705–735. http://dx.doi.org/10            30, 1– 46. http://dx.doi.org/10.1016/S0065-2601(08)60381-0
                                                                                                                       .1177/0001839214554990                                                       Higgins, E. T., Roney, C. J., Crowe, E., & Hymes, C. (1994). Ideal versus
                                                                                                                     Cornwell, J. F., & Higgins, E. T. (2015). The “ought” premise of moral           ought predilections for approach and avoidance: Distinct self-regulatory
                                                                                                                       psychology and the importance of the ethical “ideal.” Review of General        systems. Journal of Personality and Social Psychology, 66, 276 –286.
                                                                                                                       Psychology, 19, 311–328. http://dx.doi.org/10.1037/gpr0000044                  http://dx.doi.org/10.1037/0022-3514.66.2.276
                                                                                                                     Crowe, E., & Higgins, E. T. (1997). Regulatory focus and strategic incli-      Higgins, E. T., Shah, J., & Friedman, R. (1997). Emotional responses to
                                                                                                                       nations: Promotion and prevention in decision-making. Organizational           goal attainment: Strength of regulatory focus as moderator. Journal of
                                                                                                                       Behavior and Human Decision Processes, 69, 117–132. http://dx.doi              Personality and Social Psychology, 72, 515–525. http://dx.doi.org/10
                                                                                                                       .org/10.1006/obhd.1996.2675                                                    .1037/0022-3514.72.3.515
                                                                                                                     De Cremer, D., Mayer, D. M., van Dijke, M., Bardes, M., & Schouten,            Higgins, T., & Tykocinski, O. (1992). Self-discrepancies and biographical
                                                                                                                       B. C. (2009). When does self-sacrificial leadership motivate prosocial         memory: Personality and cognition at the level of psychological situa-
                                                                                                                       behavior? It depends on followers’ prevention focus. Journal of Applied        tion. Personality and Social Psychology Bulletin, 18, 527–535. http://dx
                                                                                                                       Psychology, 94, 887– 899. http://dx.doi.org/10.1037/a0014782                   .doi.org/10.1177/0146167292185002
                                                                                                                     Fang, R., Landis, B., Zhang, Z., Anderson, M. H., Shaw, J. D., & Kilduff,      Hofmann, W., & Patel, P. V. (2015). SurveySignal: A convenient solution
                                                                                                                       M. (2015). Integrating personality and social networks: A meta-analysis        for experience sampling research using participants’ own smartphones.
                                                                                                                       of personality, network position, and work outcomes in organizations.          Social Science Computer Review, 33, 235–253. http://dx.doi.org/10
                                                                                                                       Organization Science, 26, 1243–1260. http://dx.doi.org/10.1287/orsc            .1177/0894439314525117
                                                                                                                       .2015.0972                                                                   James, L. R., James, L. A., & Ashe, D. K. (1990). The meaning of
                                                                                                                     Feldman Barrett, L., & Russell, J. A. (1998). Independence and bipolarity        organizations: The role of cognition and values. In B. Schneider (Ed.),
                                                                                                                       in the structure of current affect. Journal of Personality and Social          Organizational climate and culture (pp. 40 – 84). San Francisco, CA:
                                                                                                                       Psychology, 74, 967–984. http://dx.doi.org/10.1037/0022-3514.74.4.967          Jossey-Bass.
                                                                                                                     Forret, M. L., & Dougherty, T. W. (2001). Correlates of networking             Johnson, R. E., Chang, C.-H., & Yang, L.-Q. (2010). Commitment and
                                                                                                                       behavior for managerial and professional employees. Group & Organi-            motivation at work: The relevance of employee identity and regulatory
                                                                                                                       zation Management, 26, 283–311. http://dx.doi.org/10.1177/105                  focus. Academy of Management Review, 35, 226 –245.
                                                                                                                       9601101263004                                                                Kim, J., Chen, K., Davis, W. E., Hicks, J. A., & Schlegel, R. J. (2019).
                                                                                                                     Forret, M. L., & Dougherty, T. W. (2004). Networking behaviors and               Approaching the true self: Promotion focus predicts the experience of
                                                                                                                       career outcomes: Differences for men and women? Journal of Organi-             authenticity. Journal of Research in Personality, 78, 165–176. http://dx
                                                                                                                       zational Behavior, 25, 419 – 437. http://dx.doi.org/10.1002/job.253            .doi.org/10.1016/j.jrp.2018.12.001
                                                                                                                                   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 96 of 1282


                                                                                                                     1238                                                       GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     Kline, R. B. (2011). Principles and practice of structural equation mod-           and Social Psychology, 71, 1142–1153. http://dx.doi.org/10.1037/0022-
                                                                                                                        eling. New York, NY: Guilford Press.                                            3514.71.6.1142
                                                                                                                     Lalot, F., Quiamzade, A., & Falomir-Pichastor, J. M. (2018). Is regulatory       Taylor, C. (1991). The ethics of authenticity. Cambridge, MA: Harvard
                                                                                                                        focus related to minimal and maximal standards? Depends on how you              University Press.
                                                                                                                        ask! European Journal of Social Psychology, 48, 174 –186. http://dx.doi       Tetlock, P. E., Kristel, O. V., Elson, S. B., Green, M. C., & Lerner, J. S.
                                                                                                                        .org/10.1002/ejsp.2314                                                          (2000). The psychology of the unthinkable: Taboo trade-offs, forbidden
                                                                                                                     Liberman, N., Idson, L. C., Camacho, C. J., & Higgins, E. T. (1999).               base rates, and heretical counterfactuals. Journal of Personality and
                                                                                                                        Promotion and prevention choices between stability and change. Journal          Social Psychology, 78, 853– 870. http://dx.doi.org/10.1037/0022-3514
                                                                                                                        of Personality and Social Psychology, 77, 1135–1145. http://dx.doi.org/         .78.5.853
                                                                                                                        10.1037/0022-3514.77.6.1135                                                   Varga, S. (2012). Authenticity as an ethical ideal. New York, NY: Rout-
                                                                                                                     Magee, J. C., & Galinsky, A. D. (2008). Social hierarchy: The self-                ledge.
                                                                                                                        reinforcing nature of power and status. The Academy of Management             Wallace, J. C., & Chen, G. (2006). A multilevel integration of personality,
                                                                                                                        Annals, 2, 351–398. http://dx.doi.org/10.5465/19416520802211628                 climate, self-regulation, and performance. Personnel Psychology, 59,
                                                                                                                     Nelson, R. L. (2004). Partners with power: The social transformation of            529 –557. http://dx.doi.org/10.1111/j.1744-6570.2006.00046.x
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                        the large law firm. Berkeley: University of California Press.                 Wallace, J. C., Johnson, P. D., & Frazier, M. L. (2009). An examination of
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     Neubert, M. J., Kacmar, K. M., Carlson, D. S., Chonko, L. B., & Roberts,           the factorial, construct, and predictive validity and utility of the Regu-
                                                                                                                        J. A. (2008). Regulatory focus as a mediator of the influence of initiating     latory Focus at Work Scale. Journal of Organizational Behavior, 30,
                                                                                                                        structure and servant leadership on employee behavior. Journal of Ap-           805– 831. http://dx.doi.org/10.1002/job.572
                                                                                                                        plied Psychology, 93, 1220 –1233. http://dx.doi.org/10.1037/a0012695          Wanberg, C. R., Kanfer, R., & Banas, J. T. (2000). Predictors and out-
                                                                                                                     Pollack, J. M., Forster, W. R., Johnson, P. D., Coy, A., & Molden, D. C.           comes of networking intensity among unemployed job seekers. Journal
                                                                                                                        (2015). Promotion- and prevention-focused networking and its conse-             of Applied Psychology, 85, 491–503. http://dx.doi.org/10.1037/0021-
                                                                                                                        quences for entrepreneurial success. Social Psychological & Personality         9010.85.4.491
                                                                                                                        Science, 6, 3–12. http://dx.doi.org/10.1177/1948550614543030                  Watson, D., Clark, L. A., & Tellegen, A. (1988). Development and vali-
                                                                                                                     Raj, M., Fast, N. J., & Fisher, O. (2017). Identity and professional net-          dation of brief measures of positive and negative affect: The PANAS
                                                                                                                        working. Personality and Social Psychology Bulletin, 43, 772–784.               scales. Journal of Personality and Social Psychology, 54, 1063–1070.
                                                                                                                       http://dx.doi.org/10.1177/0146167217697299                                       http://dx.doi.org/10.1037/0022-3514.54.6.1063
                                                                                                                     Rammstedt, B., & John, O. P. (2007). Measuring personality in one minute         Wolff, H. G., & Moser, K. (2009). Effects of networking on career success:
                                                                                                                       or less: A 10 item short version of the Big Five Inventory in English and        A longitudinal study. Journal of Applied Psychology, 94, 196 –206.
                                                                                                                       German. Journal of Research in Personality, 41, 203–212. http://dx.doi           http://dx.doi.org/10.1037/a0013350
                                                                                                                       .org/10.1016/j.jrp.2006.02.001                                                 Wright, S. (1934). The method of path coefficients. Annals of Mathemat-
                                                                                                                     Sacramento, C. A., Fay, D., & West, M. A. (2013). Workplace duties or              ical Statistics, 5, 161–215. http://dx.doi.org/10.1214/aoms/1177732676
                                                                                                                       opportunities? Challenge stressors, regulatory focus, and creativity. Or-      Zhang, S., Higgins, E. T., & Chen, G. (2011). Managing others like you
                                                                                                                       ganizational Behavior and Human Decision Processes, 121, 141–157.                were managed: How prevention focus motivates copying interpersonal
                                                                                                                       http://dx.doi.org/10.1016/j.obhdp.2013.01.008                                    norms. Journal of Personality and Social Psychology, 100, 647– 663.
                                                                                                                     Scott, S. G., & Bruce, R. A. (1994). Determinants of innovative behavior:          http://dx.doi.org/10.1037/a0021750
                                                                                                                       A path model of individual innovation in the workplace. Academy of             Zhong, C. B., & Liljenquist, K. (2006). Washing away your sins: Threat-
                                                                                                                       Management Journal, 37, 580 – 607.                                               ened morality and physical cleansing. Science, 313, 1451–1452. http://
                                                                                                                     Shah, J., Higgins, E. T., & Friedman, R. S. (1998). Performance incentives         dx.doi.org/10.1126/science.1130726
                                                                                                                       and means: How regulatory focus influences goal attainment. Journal of         Zou, X., Ingram, P., & Higgins, E. T. (2015). Social networks and life
                                                                                                                       Personality and Social Psychology, 74, 285–293. http://dx.doi.org/10             satisfaction: The interplay of network density and regulatory focus.
                                                                                                                       .1037/0022-3514.74.2.285                                                         Motivation and Emotion, 39, 693–713. http://dx.doi.org/10.1007/
                                                                                                                     Simmons, J. P., Nelson, L. D., & Simonsohn, U. (2013, January). Life after         s11031-015-9490-1
                                                                                                                       p-hacking. Paper presented at the annual meeting of the society for
                                                                                                                       personality and social psychology, New Orleans, LA.                                                                Received September 22, 2019
                                                                                                                     Strauman, T. J. (1996). Stability within the self: A longitudinal study of the                                    Revision received April 20, 2020
                                                                                                                       structural implications of self-discrepancy theory. Journal of Personality                                                Accepted May 4, 2020 䡲
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 97 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 98 of 1282

984                                                                                                                                Gino et al.


                                                  Psychological
                                                   Discomfort
                                                  (Dissonance)
                                    +


                                                  Feeling Impure
               Inauthenticity         +                                    +           Desire to           +          Prosocial
             (vs. Authenticity)                    Lower Moral                      Cleanse Oneself                   Behavior
                                                   Self-Regard


                                                 Threatened Moral
                                                   Self-Concept

          Fig. 1. Theoretical model for the link between inauthenticity and moral cleansing. Inauthenticity leads to two main conse-
          quences of a threatened moral self-concept—feelings of impurity and lower self-regard—as well as dissonance. However,
          only a threatened moral self-concept explains the link between experiencing inauthenticity and a heightened desire to
          cleanse oneself and behave prosocially.


between feeling inauthentic and feeling immoral and                      one does not like or trying to fit in with a group that does
impure. We suggest that inauthenticity poses a challenge to              not share one’s values is not defined as immoral behavior
a person’s sense of self. Authenticity involves both owning              per se, but we argue that individuals experience those
one’s personal experiences (thoughts, emotions, needs,                   behaviors as immoral. Feeling as if one is an imposter to
and wants) and acting in accordance with those experi-                   oneself produces moral distress and feelings of being
ences. A commitment to one’s identity and values (Erickson,              morally tainted and impure that are similar to those that
1995) is important for effective self-regulation. When this              accompany dishonesty.
commitment is violated, people feel inauthentic.                             Previous studies have shown that moral threats acti-
   Though being untrue to oneself is psychologically                     vate the need to cleanse oneself (Lee & Schwarz, 2010a;
costly, by definition it does not constitute immoral behav-              Zhong & Liljenquist, 2006). Similarly, the sacred-value-
ior. Yet, we argue, people do experience inauthenticity as               protection model (see Tetlock, Kristel, Elson, Green, &
immoral, feeling that it taints their moral self-concept.                Lerner, 2000) suggests that when people violate their
Our arguments build on the writings of the numerous                      own values, they engage in symbolic or literal moral
philosophers—such as Kierkegaard, Nietzsche, Rand,                       cleansing to purify their contaminated conscience and
and Sartre—who have discussed authenticity in relation                   reaffirm their core values. Building on this research, we
to morality. For instance, Nietzsche and Sartre believed                 suggest that experiencing inauthenticity results in lower
that individuals need to create their own moral code and                 moral self-regard and feelings of impurity, which trigger
act in ways consistent with that code (i.e., they should act             a desire for physical cleansing and acting prosocially to
authentically).                                                          compensate for violating the true self (Fig. 1). We also
   By contrast, morality is commonly defined in social                   argue that cleansing breaks the link between inauthentic-
and interpersonal terms (Haidt & Kesebir, 2010). For                     ity and prosocial compensation.
example, Turiel (1983) defined morality as “prescriptive                     Our hypotheses differ from cognitive dissonance the-
judgments of justice, rights, and welfare pertaining to                  ory and its variants in two ways. First, building on the
how people ought to relate to each other” (p. 3).                        sacred-value-protection model, we suggest that the mere
Philosophers and psychologists alike have treated being                  contemplation of acting inauthentically is sufficient to
untrue to oneself (inauthenticity) differently from being                produce feelings of moral contamination. It is the inau-
untrue to others (dishonesty), and have suggested that                   thenticity and impurity experienced in these situations,
society tolerates or promotes inauthenticity but univer-                 and not the inconsistency itself, that lead to the desire to
sally prohibits dishonesty (Harter et al., 1996).                        cleanse and morally compensate. Second, dissonance
   We, however, suggest that inauthenticity and dishon-                  processes are often triggered not by mere inconsistency
esty share a similar root: They are both a violation of                  but rather by aversive consequences (Cooper & Fazio,
being true, whether to others or oneself. As a result, they              1984); what provokes dissonance is the knowledge that
elicit similar psychological and behavioral responses. For               one’s actions have produced material consequences that
instance, expressing excitement for an activity or person                violate one’s attitudes.
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 99 of 1282

Authentic Self                                                                                                          985

    Finally, the research we report here is related to the       not recorded. Participants were then asked to recall an
work by Lee and Schwarz (2010b) showing that the phys-           event and write about it for 5 to 10 min. In the authentic-
ical act of washing reduces cognitive dissonance by cre-         behavior, general-event condition, the instructions read
ating a clean slate. However, their research did not             as follows (word changes in the inauthentic-behavior,
examine whether experiencing dissonance increases the            general-event condition are shown in brackets):
desire for physical cleansing, whereas we theorized
about and empirically tested the link between inauthen-            Please recall a time in your personal or professional
ticity and cleansing. Specifically, we directly examined           life when you behaved in a way that made you feel
the need for cleansing as a result of feeling morally              true [untrue] to yourself, that made you feel
tainted by experiencing inauthenticity.                            authentic [inauthentic]. It should just be a situation
                                                                   in which you felt authentic [inauthentic] with your
                                                                   core self. Please describe the details about this
Overview of the Present Research                                   situation that made you feel authentic [inauthentic].
We tested our predictions in five studies in which people          What was it like to be in this situation? What
recalled and wrote about a time when they felt authentic or        thoughts and feelings did you experience?
inauthentic. We measured whether inauthenticity influenced
people’s moral self-regard and feelings of impurity                 In the authentic-behavior, event-unrelated-to-lying
(Experiments 1 and 3) and their desire to cleanse them-          condition, the instructions read as follows (word changes
selves (Experiments 2, 4, and 5). We also linked inauthentic-    in the inauthentic-behavior, event-unrelated-to-lying con-
ity to prosocial behavior in the form of helping (Experiment     dition are shown in brackets; boldface is used here for
3) and donating money (Experiment 5). To establish dis-          emphasis but was not used in the original instructions):
criminant validity, we compared the effects of inauthenticity
with the effects of recalling a morally irrelevant, negative       Please recall a time in your personal or professional
experience (i.e., failing a test) in Experiment 3 and with the     life when you behaved in a way that made you feel
effects of cognitive dissonance in Experiment 4.                   true [untrue] to yourself, that made you feel
                                                                   authentic [inauthentic]. It is important that you
                                                                   choose a situation that is unrelated to telling
Experiment 1: The Impurity of                                      the truth to others [unrelated to lying or
Inauthenticity                                                     deceiving others]. It should just be a situation in
Experiment 1 examined whether inauthenticity produces              which you felt authentic [inauthentic] with your
feelings of immorality and impurity, independently of              core self. Please describe the details about this
whether it involves being untrue to others or untrue only          situation that made you feel authentic [inauthentic].
to oneself.                                                        What was it like to be in this situation? What
                                                                   thoughts and feelings did you experience?
Method                                                              Next, participants completed measures assessing their
Participants and design. Two hundred sixty-nine                  moral self-regard and feelings of impurity. The order in
individuals (mean age = 30.73 years, SD = 8.07; 143 male)        which these two sets of questions were presented was
from Amazon Mechanical Turk participated in this study           randomly determined for each participant. Participants
for $1. We calculated our target sample size using an            then completed manipulation checks and reported their
estimated effect size, f, of 0.2, which would require a          age and gender.
sample size of approximately 270 participants for the
study to be powered at 90%.1 We randomly assigned par-              Moral self-regard. Participants indicated the extent to
ticipants to a 2 (type of behavior: authentic vs. inauthen-      which the event they described made them feel moral,
tic) × 2 (type of event: general vs. unrelated to lying)         generous, cooperative, helpful, loyal to others, depend-
between-subjects design. Two participants did not write          able, trustworthy, reliable, caring, and respectful (D =
an essay and were excluded from the analyses, according          .965; adapted from Walker & Hennig, 2004). Responses
to a decision made prior to conducting the study.                were on a 7-point scale (ranging from 1, not at all, to 7,
                                                                 to a great extent).
Procedure. Participants first read initial instructions
welcoming them to the study and answered an attention               Feelings of impurity. Using the same 7-point scale,
check. Those who failed the attention check were auto-           participants indicated the extent to which the event they
matically informed that, on the basis of their answers,          described made them feel impure, dirty, and tainted
they did not qualify for the study. Thus, their data were        (D = .94).
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 100 of 1282

986                                                                                                                              Gino et al.

Table 1. Distribution of Event Descriptions in Experiment 1 by Content Category

                                                                                                Event unrelated
                                                                                                   to lying or      General   Average across
Category                                                                                        telling the truth    event     event types
                                                    Inauthentic-behavior condition
1. Expressing emotions, attitudes, or opinions that do not match one’s internal state                 39.1%          46.7%        42.9%
2. Attempting to fit in by conforming to norms or shared attitudes and behaviors, or                  53.6%          30.0%        41.8%
   in the face of social pressure
3. Lying to obtain a material self-interested advantage                                               0.0%           13.3%         6.7%
4. Theft, stealing                                                                                    0.0%            5.0%         2.5%
5. Cheating in a relationship                                                                         0.0%            0.0%         0.0%
6. Not being able to create something for oneself                                                     0.0%            1.7%         0.8%
7. Generala                                                                                           7.2%            3.3%         5.3%
                                                     Authentic-behavior condition
1. Expressing emotions, attitudes, or opinions that match one’s internal state                        35.8%          31.0%        33.4%
2. Not conforming to norms or shared attitudes and behaviors in the face of social                    32.8%          36.6%        34.7%
   pressure
3. Avoiding lying to obtain a material self-interested advantage                                       0.0%           1.4%         0.7%
4. Helping (e.g., giving somebody assurance, advice, or support)                                      17.9%          21.1%        19.5%
5. Being honest in a relationship                                                                      0.0%           1.4%         0.7%
6. Creating something for oneself                                                                      6.0%           4.2%         5.1%
7. Generala                                                                                            7.5%           4.2%         5.9%
a
Essays in this category were mainly descriptions of general feelings resulting from the experience.


    Manipulation check: self-alienation. As a manipu-                      Manipulation check: content of the essay. All par-
lation check, we measured feelings of self-alienation                      ticipants correctly answered the manipulation-check
with four items (e.g., “After experiencing the situation                   question asking them to indicate how the event they
I described I felt out of touch with the ‘real me,’” “After                wrote about had made them feel.
experiencing the situation I described I felt as if I did not
know myself very well”; D = .88) that have been used                       Manipulation check: self-alienation. A 2 (type of
in prior work to measure inauthenticity (Gino, Norton,                     behavior: authentic vs. inauthentic) × 2 (type of event:
& Ariely, 2010). We asked participants to indicate their                   general vs. unrelated to lying) between-subjects analysis
agreement with each of the four items using a 7-point                      of variance (ANOVA) using self-alienation as the depen-
scale (from 1, strongly disagree, to 7, strongly agree).                   dent measure revealed only a main effect of type of
                                                                           behavior. Participants in the inauthentic-behavior condi-
    Manipulation check: content of the essay. As an addi-                  tion reported greater self-alienation (M = 4.04, SD = 1.37,
tional manipulation check, we asked participants to think                  95% confidence interval, CI = [3.82, 4.26]) compared with
back to the initial writing task and indicate whether they                 participants in the authentic-behavior condition (M =
had written about an event that made them feel authen-                     1.90, SD = 1.19, 95% CI = [1.70, 2.12]), F(1, 263) = 186.16,
tic, inauthentic, or neutral.                                              p < .001, Kp2 = .41.

                                                                           Impurity and moral self-regard. Similar 2 × 2
Results                                                                    ANOVAs using impurity and moral self-regard as depen-
Coding of the essays. Two coders, who were blind to                        dent measures also revealed only a significant main effect
conditions and hypotheses, categorized the situations                      of type of behavior. Participants in the inauthentic-behav-
participants described in their essays. The two coders                     ior condition reported greater feelings of impurity (M =
agreed on the categorization 94% of the time, and dis-                     3.56, SD = 1.86, 95% CI = [3.30, 3.85]) and lower moral
agreements were resolved with a third coder. As Table 1                    self-regard (M = 2.90, SD = 1.50, 95% CI = [2.61, 3.16])
shows, about 90% of the essays described situations                        than did participants in the authentic-behavior condition
unrelated to ethics. Most were situations in which people                  (impurity: M = 1.51, SD = 1.29, 95% CI = [1.25, 1.78]; moral
expressed emotions, attitudes, or opinions that did not                    self-regard: M = 4.99, SD = 1.68, 95% CI = [4.72, 5.26]), F(1,
match their internal state or attempted to fit in by con-                  263) = 111.06, p < .001, Kp2 = .30, and F(1, 263) = 115.25,
forming to social norms or peer attitudes.                                 p < .001, Kp2 = .31, respectively.
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 101 of 1282

Authentic Self                                                                                                          987

Word count. We also examined whether participants’                Next, participants completed measures assessing
essays varied in length across conditions and found that       accessibility of cleansing-related words, desire to use
they did not (all ps > .30).                                   cleansing-related products (e.g., Tide detergent), and
                                                               desire to cleanse through behaviors such as taking a
Discussion                                                     shower. The order in which these three sets of measures
                                                               were presented was randomly determined. Participants
Inauthentic experiences made participants feel more            then completed manipulation checks and reported their
impure and less moral than authentic ones, indepen-            age and gender.
dently of whether those experiences involved lying to
themselves or lying to others. Thus, people experience            Accessibility of cleansing-related words. Participants
inauthenticity as a moral state.                               completed a word-completion task using the first word
                                                               that came to mind (Zhong & Liljenquist, 2006). The
Experiment 2: From Inauthenticity to                           instructions read,
Cleansing                                                        You will now be presented with a word completion
Experiment 2 examined whether feelings of impurity that          task. You will be given a list of words with letters
result from experiencing inauthenticity lead to a desire to      missing. Your task is to fill in the blanks to make
physically cleanse oneself. We measured participants’            complete words. Please use the first word that
desire to physically cleanse themselves using both an            comes to mind.
implicit measure and an explicit measure (Zhong &
Liljenquist, 2006).                                               Three of the word segments (W_ _H, SH_ _ER, and
                                                               S_ _P) could be completed as cleansing-related words
                                                               (wash, shower, and soap) or as unrelated, neutral words
Method
                                                               (e.g., wish, shaker, and step). The remaining three word
Participants and design. Nine hundred six responses            segments (F_ O _, B_ _ K, and PA_ _ R) could be com-
were collected from individuals (mean age = 31.88 years,       pleted with neutral words only.
SD = 9.05; 439 male) recruited on Amazon Mechanical
Turk, who participated in exchange for $1. We calculated          Cleansing products. Participants indicated how desirable
our target sample size using an estimated effect size, f, of   they found a list of products to be (using a 7-point scale,
0.1, which would require a sample size of 900 partici-         ranging from 1, completely undesirable, to 7, completely
pants for the study to be powered at 85%. As in Experi-        desirable). The list included five cleansing products (i.e.,
ment 1, we randomly assigned participants to a 2 (type of      Dove shower soap, Crest toothpaste, Windex cleaner, Tide
behavior: authentic vs. inauthentic) × 2 (type of event:       detergent, and Lysol disinfectant) and five neutral prod-
general vs. unrelated to lying) between-subjects design.       ucts (i.e., Post-it Notes, Nantucket Nectars juice, Energizer
   Sixty-eight responses did not meet our inclusion crite-     batteries, Sony CD cases, and Snickers bars). We averaged
ria: Some participants completed the study two or more         responses to the five cleansing products to create one
times (22 participants, 49 responses), did not write the       aggregate measure (D = .86).
requested essay (3 participants), or failed the manipula-
tion check asking them to indicate what type of essay             Cleansing behaviors. Participants indicated the desir-
they wrote (16 participants). We excluded the responses        ability of various behaviors on a 7-point scale (ranging
of these participants from the analyses, according to a        from 1, completely undesirable, to 7, completely desir-
decision made prior to conducting the study. We con-           able). Some of the behaviors were related to cleansing
ducted analyses on the remaining 838 observations.             (taking a shower, washing hands, brushing teeth, and
                                                               taking a bath), and others were not (taking a walk, having
Procedure. Participants first read some welcoming              something to eat, watching TV, and listening to music).
instructions and then answered two attention checks.           We averaged responses to the four cleansing behaviors to
Those who failed either attention check were automati-         create one aggregate measure (D = .75).
cally informed that, on the basis of their answers, they
could not take part in the study. Participants who passed         Manipulation checks. As a manipulation check, we
both attention checks were asked to recall an event and        measured self-alienation using the same four-item mea-
write about it for 5 to 10 min. In each of the four condi-     sure as in Experiment 1 (D = .87). We also asked partici-
tions, we used the same instructions for the writing task      pants to think back to the initial writing task and indicate
as in Experiment 1.                                            the type of essay they wrote, that is, whether they wrote
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 102 of 1282

988                                                                                                                Gino et al.

about an event that made them feel authentic, inauthen-          effect of inauthenticity on the desirability of cleansing
tic, or neutral.                                                 behaviors but not noncleansing ones was confirmed by a
                                                                 significant interaction between type of behavior in the
                                                                 writing task (authentic vs. inauthentic) and type of behav-
Results
                                                                 ior in the rating task (i.e., cleansing related vs. neutral),
Manipulation check: self-alienation. A 2 (type of                F(1, 834) = 7.92, p = .005, Kp2 = .009.
behavior: authentic vs. inauthentic) × 2 (type of event:
general vs. unrelated to lying) between-subjects ANOVA
using self-alienation as the dependent measure revealed
                                                                 Discussion
only a main effect of type of behavior. Participants in the      Recalling and writing about an inauthentic experience
inauthentic-behavior condition reported greater self-            enhanced a desire for physical cleanliness as measured
alienation (M = 4.07, SD = 1.41, 95% CI = [3.95, 4.19])          both implicitly and explicitly. Thus, experiencing inau-
than did participants in the authentic-behavior condition        thenticity heightens the desire to cleanse oneself.
(M = 1.87, SD = 1.07, 95% CI = [1.75, 1.99]), F(1, 834) =
655.80, p < .001, Kp2 = .44.
                                                                 Experiment 3: Prosocial Compensation
Accessibility of cleansing-related words. A similar              and Discriminant Validity
2 × 2 ANOVA using the sum of cleansing-related words             One concern with the previous experiments is the pos-
participants generated as the dependent measure                  sibility that the results were driven by recalling a nega-
revealed only a main effect of type of behavior (authentic       tive, or uncomfortable, event. In Experiment 3, we
vs. inauthentic). Participants who recalled and wrote            compared effects of inauthenticity and effects of a mor-
about an inauthentic behavior (M = 1.32, SD = 0.99, 95%          ally irrelevant negative experience—failing a test—to test
CI = [1.23, 1.42]) generated more cleansing-related words        whether the observed link between inauthentic behavior
than did those who recalled and wrote about an authen-           and moral cleansing generalizes to any negative experi-
tic behavior (M = 1.11, SD = 0.93, 95% CI = [1.02, 1.20]),       ence. By so doing, we tested for discriminant validity and
F(1, 834) = 10.02, p = .002, Kp2 = .012.                         furthered our understanding of the triggers of moral
                                                                 cleansing. We also tested whether inauthenticity pro-
Desirability of cleansing products. Similarly, a 2 × 2           duces moral compensation, leading people to act proso-
ANOVA using participants’ desirability ratings of cleans-        cially, and whether feelings of impurity but not dissonance
ing products as the dependent measure revealed only a            mediate this effect.
main effect of type of behavior (authentic vs. inauthen-
tic). Recalling an inauthentic rather than an authentic
behavior led to greater desirability of cleansing products
                                                                 Method
(M = 3.47, SD = 1.48, 95% CI = [3.33, 3.61], vs. M = 3.11,       Participants and design. Two hundred ninety-one
SD = 1.39, 95% CI = [2.97, 3.24]), F(1, 834) = 13.03, p <        individuals (mean age = 30.06 years, SD = 7.87; 47%
.001, Kp2 = .015, but the desirability of noncleansing prod-     male) from local universities in the northeastern United
ucts did not differ between the inauthentic-behavior con-        States participated in this study for pay. We calculated
dition (M = 3.08, SD = 1.21, 95% CI = [2.96, 3.20]) and the      our target sample size using an estimated effect size, f, of
authentic-behavior condition (M = 3.09, SD = 1.18, 95%           0.2, which would require a sample size of approximately
CI = [2.98, 3.21]), F < 1. The effect of inauthenticity on the   280 participants for the study to be powered at 85%. At
desirability of cleansing products but not noncleansing          some of the experimental sessions, however, participants
ones was confirmed by a significant interaction between          showed up at a higher rate than expected. Experiment 3
type of behavior and type of product (i.e., cleansing            was the first in an hour-long series of experiments for
related or neutral), F(1, 834) = 23.94, p < .001, Kp2 = .028.    which participants received $20 as compensation. Partici-
                                                                 pants were randomly assigned to one of three conditions:
Desirability of cleansing behaviors. Similarly, recall-          inauthenticity, failure, or control. Three participants failed
ing an inauthentic experience increased the desirability         the manipulation check asking them to indicate the type
of cleansing behaviors (M = 4.36, SD = 1.37, 95% CI =            of essay they wrote and were thus excluded from the
[4.22, 4.50], vs. M = 4.04, SD = 1.46, 95% CI = [3.91, 4.18]),   analyses, according to a decision made prior to conduct-
F(1, 834) = 10.19, p = .001, Kp2 = .012, but the desirability    ing the study. We conducted analyses on the remaining
of noncleansing behaviors did not differ between the             288 participants.
inauthentic-behavior condition (M = 4.77, SD = 1.26, 95%
CI = [4.65, 4.89]) and the authentic-behavior condition          Procedure. Participants first read some general instruc-
(M = 4.70, SD = 1.19, 95% CI = [4.58, 4.82]), F < 1. The         tions welcoming them to the study, answered one
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 103 of 1282

Authentic Self                                                                                                          989

attention-check question, and then, if they successfully          Cognitive dissonance. To assess cognitive dissonance,
responded to it, moved on to the writing task. In the          we used a measure developed by Elliot and Devine
inauthenticity condition, the instructions read (as in the     (1994) that includes psychological discomfort, negative
inauthentic-behavior, general-event condition of Experi-       and positive affect, and also embarrassment. In their
ments 1 and 2):                                                work, Elliot and Devine found that psychological dis-
                                                               comfort was the distinct affective consequence of engag-
  Please recall a time in your personal or professional        ing in counterattitudinal behavior. For completeness,
  life when you behaved in a way that made you feel            however, we included all the original items. All items
  untrue to yourself, that made you feel inauthentic.          were rated on 7-point scales. Psychological discomfort
  It should just be a situation in which you felt              was assessed through three items: Participants rated how
  inauthentic with your core self.                             uncomfortable, uneasy, and bothered they felt (D = .94).
                                                               Negative affect was assessed with three items: “angry
  Please describe the details about this situation that        toward myself,” “disgusted with myself,” and “annoyed
  made you feel inauthentic. What was it like to be            with myself” (D = .93). Three items measured positive
  in this situation? What thoughts and feelings did            affect (“happy,” “good,” and “energetic”; D = .95), and
  you experience?                                              two items measured embarrassment (“embarrassed” and
                                                               “ashamed”; D = .90).
  In the failure condition, we asked participants to
describe a time when they failed in an activity, test, or         Manipulation Check 1: self-alienation. As a manipula-
project. The instructions read:                                tion check, we measured feelings of self-alienation as in
                                                               Experiments 1 and 2 (D = .90).
  Please recall a time in your personal or professional
  life when you failed in an activity, test, or project in         Manipulation Check 2: content of the essay. As an
  a way that made you feel disappointed.                       additional manipulation check, we asked participants to
                                                               think back to the initial writing task and indicate whether
  Please describe the details about this situation in          they wrote about an event that made them feel inauthen-
  which you did not succeed on a task. What was it             tic, what they did the day before, or a time when they
  like to be in this situation? What thoughts and              did not succeed.
  feelings did you experience?
                                                                  Helping. At the conclusion of the experiment, partici-
   Finally, in the control condition, we asked participants    pants were told that the “research team is interested in
to describe their activities from the previous day. The        understanding how people make choices across various
instructions read:                                             domains (health care, work, food purchases). We have
                                                               prepared a 15-minute survey. We would love your help.
  Please recall what happened yesterday, throughout            If you can help us out, please click yes below and you
  the day.                                                     will be redirected to the survey. Otherwise, please press
                                                               No. Note that you will receive no extra payment for com-
  Please describe the details about this situation.            pleting it.” If participants decided to help, they received a
  What was it like to be in this situation? What               message thanking them for choosing to help the research
  thoughts and feelings did you experience?                    team and then were asked to answer a short question-
                                                               naire with general bogus questions.
   After the writing task, participants completed a ques-
tionnaire with a few measures of interest (i.e., feelings of
impurity, psychological discomfort, negative and positive
                                                               Results
affect, and embarrassment), two manipulation-check             Table 2 reports the means and confidence intervals for
questions, and demographic questions (age and gender).         the variables in this study, separately for each condition.
They then indicated their willingness to help the experi-
menter with another survey that would take 15 min of           Manipulation check: self-alienation. A one-way
their time.                                                    ANOVA using self-alienation as the dependent measure
                                                               revealed a main effect of condition, F(2, 285) = 43.23, p <
   Feelings of impurity. As in Experiment 1, participants      .001, Kp2 = .23. Pairwise comparisons (with Bonferroni
used a 7-point scale to indicate the extent to which the       adjustment) revealed that participants reported greater
event they described made them feel impure, dirty, and         self-alienation when they recalled and wrote about an
tainted (D = .94).                                             inauthentic experience (M = 3.83, SD = 1.51) than when
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 104 of 1282

990                                                                                                                       Gino et al.

                   Table 2. Means and 95% Confidence Intervals (in Brackets) for the Variables Assessed in
                   Experiment 3

                                                                             Condition

                   Variable                      Inauthenticity                 Failure                   Control
                   Self-alienation              3.83a [3.53, 4.13]         3.21b [2.92, 3.50]        1.92c [1.64, 2.21]
                   Feelings of impurity         3.66a [3.37, 3.95]         2.09b [1.81, 2.37]        1.21c [0.93, 1.49]
                   Discomfort                   5.11a [4.78, 5.45]         4.90a [4.57, 5.23]        2.41b [2.09, 2.73]
                   Negative affect              4.62a [4.30, 4.95]         4.61a [4.30, 4.93]        1.88b [1.56, 2.19]
                   Positive affect              1.99a [1.72, 2.27]         1.84a [1.57, 2.11]        4.46b [4.29, 4.73]
                   Embarrassment                4.40a [4.07, 4.74]         4.69a [4.36, 5.01]        1.97b [1.64, 2.29]
                   Helping                     33.7%a [25.3, 42.1]        17.5%b [9.4, 25.7]        16.2%b [8.1, 24.3]

                   Note: Within a row, means with different subscripts are significantly different, p < .05.


they recalled and wrote about either a failure (M = 3.21,                 Moral compensation through helping. The percent-
SD = 1.62; p = .012) or what they had done the previous                   age of participants who decided to help the experimenter
day (M = 1.92, SD = 1.19; p < .001). Participants also                    varied by condition, F2(2, N = 288) = 10.35, p = .006,
reported greater self-alienation in the failure than in the               Cramér’s V = .19. Participants who recalled and wrote
control condition (p < .001).                                             about an inauthentic experience were more likely to help
                                                                          the experimenter (33.7%, 31 of 92 participants) than were
Feelings of impurity. Feelings of impurity also differed                  those in the failure condition (17.5%, 17 of 97 partici-
by condition, F(2, 285) = 72.29, p < .001, Kp2 = .34. Pair-               pants), F2(1, N = 189) = 6.48, p = .011, and those in the
wise comparisons (with Bonferroni adjustment) revealed                    control condition (16.2%, 16 of 99 participants), F2(1, N =
that participants reported feeling more impure in the                     191) = 6.88, p = .009.
inauthenticity condition (M = 3.66, SD = 1.82) than in
either the failure condition (M = 2.09, SD = 1.57; p < .001)              Mediation analysis. Next, we examined whether
or the control condition (M = 1.21, SD = 0.61; p < .001).                 feelings of impurity or psychological discomfort due to
Participants also reported greater feelings of impurity in                cognitive dissonance explained the link between inau-
the failure than in the control condition (p < .001).                     thenticity and greater helping. In the logistic regressions,
                                                                          we included a dummy variable for both the inauthenticity
Psychological discomfort. Psychological discomfort,                       condition and the failure condition, using the control
which has been tied to cognitive dissonance, varied                       condition as the condition of reference. When feelings of
across conditions, F(2, 285) = 82.67, p < .001, Kp2 = .37.                impurity and psychological discomfort were included in
Pairwise comparisons (with Bonferroni adjustment)                         the equation (in addition to the dummies for the failure
revealed that participants reported less psychological dis-               condition and the inauthenticity condition), the effect of
comfort in the control condition (M = 2.41, SD = 1.71)                    inauthenticity on helping was reduced (from b = −0.97,
than in either the inauthenticity condition (M = 5.11, SD =               SE = 0.35, Wald = 7.63, p = .006, to b = 0.37, SE = 0.49,
1.53; p < .001) or the failure condition (M = 4.90, SD =                  Wald = 0.57, p = .45). Feelings of impurity predicted help-
1.64; p < .001). Participants felt the same amount of                     ing (b = 0.38, SE = 0.11, Wald = 12.25, p < .001), but
psychological discomfort in the failure and inauthenticity                psychological discomfort did not (b = 0.14, SE = 0.11,
conditions (p = 1.00).                                                    Wald = 1.67, p = .20). We conducted bootstrap analyses
                                                                          with 10,000 iterations using a macro provided by Preacher
Negative and positive affect, and embarrassment. Our                      and Hayes (2008) for situations involving multiple media-
manipulation also led to differences across conditions in                 tors. The bootstrapped 95% bias-corrected CI around the
negative affect, F(2, 285) = 98.28, p < .001, Kp2 = .41; posi-            indirect effect for impurity, [0.38, 1.56], did not contain
tive affect, F(2, 285) = 116.76, p < .001, Kp2 = .45; and                 zero, but the 95% bias-corrected CI around the indirect
embarrassment, F(2, 285) = 80.77, p < .001, Kp2 = .36. As                 effect for psychological discomfort did, [−0.20, 1.01].
shown in Table 2, participants in the control condition
reported lower negative affect, higher positive affect, and
                                                                          Discussion
lower embarrassment compared with participants in both
the failure and the inauthenticity condition (all ps < .001),             Inauthenticity produced greater feelings of impurity and
whereas participants in the latter two conditions did not                 greater moral compensation compared with failing a test.
differ on these measures (all ps > .71).                                  This study demonstrates that the effect of inauthenticity
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 105 of 1282

Authentic Self                                                                                                          991

on moral compensation cannot be attributed to general           experience running online studies with this population—
negative experiences. It also shows that feeling impure,        that about 10% to 15% of them likely would not complete
not cognitive dissonance, explains the relationship             the study after reading the initial instructions. We ran-
between inauthenticity and moral compensation through           domly assigned participants to one of three conditions:
helping.                                                        high-choice, counterattitudinal; low-choice, counteratti-
                                                                tudinal; or high-choice, proattitudinal.
Experiment 4: Inauthenticity Is Not
                                                                Procedure. Participants first read initial instructions
Dissonance                                                      welcoming them to the study. They were then asked to
Experiment 3 provided preliminary evidence that inau-           confirm that they were college students at Harvard. Next,
thenticity is distinct from cognitive dissonance. In            as part of the cognitive dissonance manipulation, we
Experiment 4, we explored this issue further using a cog-       asked participants for their opinion whether or not diffi-
nitive dissonance paradigm. In a typical dissonance study,      culty ratings should be a part of the Q guide (in which all
participants are asked to write a counterattitudinal essay      Harvard courses are rated and reviewed by students who
on a personally relevant topic, and perceived choice is         have taken them in the past). This issue was topical and
manipulated. In the high-choice condition, participants         familiar because it was a common topic of debate at the
are persuaded to write a counterattitudinal essay, but the      college at the time of the study; most students supported
request provides a feeling of choice. In the low-choice         the inclusion of difficulty ratings, and most faculty were
condition, participants are instructed to write the coun-       against it. Participants indicated whether they were for or
terattitudinal essay, which gives them little choice.           against the inclusion of difficulty ratings in the Q guide
Dissonance studies show a positive correlation between          and reported how strongly they held their opinion (from
perceived choice and attitudes toward the counterattitu-        1, not at all, to 7, very much so).
dinal topic (Cooper & Fazio, 1984).                                Next, participants were asked for their age, gender,
   Whereas choice is critical in producing cognitive dis-       and year in school. They were then told that their first
sonance, we suggest that choice does not play a role in         task was to write an essay on a current topic, a task that
increasing the desire for cleanliness that is associated        would take about 5 to 10 min to complete. We manipu-
with feeling inauthentic. We tested our hypothesis in           lated dissonance by giving some participants a choice
Experiment 4 by including three conditions: high-choice,        and other participants no choice regarding whether to
counterattitudinal; low-choice, counterattitudinal; and         write a counterattitudinal essay. All participants were
high-choice, proattitudinal. We predicted that participants     told, “We are interested in the effectiveness of writing on
would experience a greater sense of choice in the high-         current topics of interest to students.” The rest of the
choice conditions than in the low-choice condition. But         instructions varied by condition.
we also predicted that participants would express a                Instructions in the low-choice, counterattitudinal con-
greater desire for cleanliness whenever they wrote essays       dition indicated,
that were not consistent with their internal beliefs, regard-
less of their perceived level of choice. We expected to           We are randomly assigning people to write either a
observe a greater desire for cleanliness in both the high-        short essay that indicates they are in favor of
choice, counterattitudinal condition and the low-choice,          including difficulty ratings in the Q guide or a short
counterattitudinal condition compared with the high-              essay that indicates that they are against it. You
choice, proattitudinal condition.                                 have been assigned to write a list of arguments in
                                                                  favor of/against [depending on their initial opinion]
                                                                  including difficulty ratings in the Q guide. Therefore,
Method
                                                                  you must argue in support of/against [depending
Participants and design. Four hundred ninety-one                  on their initial opinion] including difficulty ratings
college students (mean age = 20.42 years, SD = 1.90; 43%          in the Q guide.
male) from Harvard University participated in the study
in return for a $10 Amazon gift card. Fifty-four additional        In contrast, the instructions in the high-choice, coun-
students started the study, but dropped out after reading       terattitudinal condition indicated,
the initial instructions and before the manipulation took
place; their data were thus not recorded. We calculated           We are asking people to write a short essay about
our target sample size using an estimated effect size, f, of      including difficulty ratings in the Q guide. While we
0.15, which would require a sample size of approxi-               would like to stress the voluntary nature of your
mately 490 participants for the study to be powered at            decision regarding which side of the issue to write
85%. We recruited 550 participants, knowing—from prior            on, we would like you to list arguments in favor of/
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 106 of 1282

992                                                                                                                                Gino et al.

        Table 3. Means and 95% Confidence Intervals (in Brackets) for the Variables Assessed in Experiment 4

                                                                                              Condition

                                                                 Low-choice,                 High-choice,         High-choice,
        Variable                                               counterattitudinal          counterattitudinal     proattitudinal
        Perceived choice                                        2.85a [2.54, 3.15]          3.63b [3.29, 3.96]   5.24c [4.97, 5.52]
        Self-alienation                                         2.70a [2.49, 2.91]          2.56a [2.36, 2.77]   1.88b [1.75, 2.02]
        Desirability of neutral products                        3.84a [3.65, 4.03]          3.81a [3.61, 4.01]   3.64a [3.46, 3.83]
        Desirability of cleansing-related products              4.34a [4.12, 4.56]          4.18a [3.95, 4.42]   3.72b [3.51, 3.93]

        Note: Within a row, means with different subscripts are significantly different, p < .05.


   against [depending on their initial opinion] including                    Results
   difficulty ratings in the Q guide. Although you are
   under no obligation to write this, it would be very                       Table 3 reports the means and confidence intervals for
   helpful for us.                                                           the variables measured in this study, separately for each
                                                                             condition.
    Participants in this condition had to check a box to
confirm their willingness to write the counterattitudinal                    Manipulation check: self-alienation. A one-way
essay.                                                                       ANOVA using self-alienation as the dependent measure
    Finally, the instructions in the high-choice, proattitudi-               revealed a main effect of condition, F(2, 487) = 21.14, p <
nal condition were the same as the instructions in the                       .001, Kp2 = .08. Pairwise comparisons (with Bonferroni
high-choice, counterattitudinal condition except that par-                   adjustment) revealed that participants reported lower self-
ticipants were asked to write about the perspective they                     alienation in the proattitudinal condition (M = 1.88, SD =
supported.                                                                   0.87) than in both the high-choice, counterattitudinal con-
    In all three conditions, the last part of the instructions               dition (M = 2.56, SD = 1.31; p < .001) and the low-choice,
read,                                                                        counterattitudinal condition (M = 2.70, SD = 1.40; p <
                                                                             .001). Participants reported the same perceived self-alien-
   We will be using the essay you write to describe                          ation in the two counterattitudinal conditions (p = .94).
   this issue to current undergraduates at Harvard.
   So it is important that you be as persuasive and                          Perceived choice. A one-way ANOVA using perceived
   convincing as possible to convey the message                              amount of choice as the dependent measure revealed a
   that difficulty ratings should be included in the Q                       main effect of condition, F(2, 487) = 62.35, p < .001, Kp2 =
   guide.                                                                    .20. Pairwise comparisons (with Bonferroni adjustment)
                                                                             revealed that participants reported lower perceived
   Participants in all conditions were instructed to start                   choice in the low-choice, counterattitudinal condition
their essay with the same statement, which appeared at                       (M = 2.85, SD = 1.98) than in the high-choice, counterat-
the top of the open box where they wrote their essay: “I                     titudinal condition (M = 3.63, SD = 2.16; p = .001) and in
believe that Harvard College should [should not] include                     the proattitudinal condition (M = 5.24, SD = 1.78; p <
difficulty ratings in the Q guide because. . . .”                            .001). Perceived choice was higher in the proattitudinal
   After the writing task, participants received a list of                   condition than it was in the high-choice, counterattitudi-
products and indicated how desirable they found them                         nal condition (p < .001).
to be, as in Experiment 2. We averaged ratings of the
five cleansing products to create one aggregate measure                      Desirability of cleansing products. A one-way
(D = .84).                                                                   ANOVA using participants’ desirability ratings of cleansing
   Next, participants indicated the extent to which the                      products as the dependent measure revealed a main effect
writing task they had completed earlier made them feel                       of condition, F(2, 487) = 8.24, p < .001, Kp2 = .033. Pairwise
inauthentic. We measured inauthenticity using the mea-                       comparisons (with Bonferroni adjustment) revealed that
sure of self-alienation we employed in Experiments 1, 2,                     participants reported less desire for cleansing products in
and 3 (D = .91).                                                             the proattitudinal condition (M = 3.72, SD = 1.33) than in
   Finally, we asked participants, “How much choice did                      both the high-choice, counterattitudinal condition (M =
you have in writing the essay you wrote?” (1 = none at                       4.18, SD = 1.51; p = .012) and the low-choice, counterat-
all, 7 = a lot).                                                             titudinal condition (M = 4.34, SD = 1.44; p < .001).
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 107 of 1282

Authentic Self                                                                                                          993

Desirability ratings of cleansing products did not differ           Following this task, we informed participants that they
between the latter two conditions (p = .94). There were no      could donate money to a charity of their choosing. We
differences across conditions in desirability ratings of the    used willingness to donate money and the amount par-
noncleansing products, F(2, 487) = 1.21, p = .30, Kp2 = .005.   ticipants actually donated (from their pay for participating
                                                                in the experiment) as our main dependent measures.
Discussion                                                          Next, we asked participants to indicate the extent to
                                                                which the writing task they had completed earlier made
Whereas choice is a critical ingredient in producing cogni-     them feel inauthentic. We measured inauthenticity using
tive dissonance, it played no role in increasing the desire     the measure of self-alienation we employed in our other
for cleanliness. When participants wrote essays that were       studies (D = .88). Finally, participants reported their age
not consistent with their internal beliefs, regardless of       and gender.
choice, they showed a greater desire for cleanliness.

                                                                Results
Experiment 5: Reducing Prosocial
                                                                Manipulation check: self-alienation. As expected,
Compensation Through Cleansing                                  participants reported feeling more self-alienated in the
We have demonstrated that inauthenticity makes people           inauthentic-behavior condition (M = 3.12, SD = 1.42, 95%
feel morally tainted and leads to a greater desire for          CI = [2.89, 3.35]) than in the authentic-behavior condition
cleanliness. In Experiment 5, we used moderation to test        (M = 2.36, SD = 1.25, 95% CI = [2.15, 2.57]), F(1, 287) =
whether the relationship between inauthenticity and pro-        22.82, p < .001, Kp2 = .074.
social compensation is explained through a greater desire
for cleansing. We manipulated the opportunity to cleanse        Likelihood of donating. We examined whether hav-
to examine whether having this opportunity eliminated           ing the opportunity to cleanse would moderate the
the link between inauthenticity and helping.                    effect of inauthenticity on donations. There was a mar-
                                                                ginally significant interaction between the type of
                                                                behavior recalled and opportunity for cleansing in pre-
Method                                                          dicting the likelihood of donating, b = 1.65, SE = 0.93,
Participants and design. Two hundred ninety-one                 Wald(1) = 3.16, p = .076. As depicted in Figure 2, partici-
individuals (mean age = 22.38 years, SD = 2.99; 45%             pants in the inauthentic-behavior condition were more
male) from local universities in the northeastern United        likely to donate when they did not clean their hands
States participated in this study for pay ($20). We calcu-      (25.3%, 95% CI = [16, 35]) than when they did (4.5%,
lated our target sample size using an estimated effect          95% CI = [−0.1, 10]), F2(1, N = 149) = 11.72, p = .001,
size, f, of 0.2, which would require a sample size of           Cramér’s V = .28.
approximately 310 participants for the study to be pow-            Participants who recalled and wrote about an authen-
ered at 85%, but the rate at which participants showed up       tic behavior decided to donate about as often whether
for some of our experimental sessions was lower than            they cleaned their hands (6.0%, 95% CI = [0, 12]) or did
expected. We randomly assigned participants to a 2              not (8.0%, 95% CI = [2, 14]; see Fig. 2), F2(1, N = 142) =
(behavior recalled: authentic vs. inauthentic) × 2 (oppor-      0.22, p = .64, Cramér’s V = .04. Thus, increased helping
tunity for cleansing: cleansing vs. control) between-sub-       was observed in the inauthentic-behavior condition only
jects design.                                                   among those participants who were not given an oppor-
                                                                tunity to cleanse themselves. Our results suggest that the
Procedure. We manipulated authenticity using the                act of cleaning their hands assuaged participants’ feelings
same instructions as in the authentic-behavior general-         of impurity from acting inauthentically and reduced their
event conditions of Experiments 1 and 2. After complet-         motivation to compensate for these feelings by acting
ing the writing task, participants were told that the second    prosocially.
part of the study consisted of evaluating a product that
had been randomly chosen for them. In the cleansing             Amount donated. The results for the amount of money
condition, participants were asked to clean their hands         participants actually donated mirrored the results for the
carefully with a hand sanitizer placed next to their com-       likelihood of donating. There was a significant interac-
puter. In the control condition, they were instead asked        tion between the type of behavior recalled and opportu-
to place a pen in their hands for a few seconds and             nity for cleansing in predicting the amount donated, F(1,
examine it carefully. In both conditions, participants were     287) = 6.17, p = .014, Kp2 = .021. Participants in the inau-
told that they would answer questions about the product         thentic-behavior condition donated a larger amount of
later on—which they did, as a filler task.                      money when they did not clean their hands than when
                                         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 108 of 1282

994                                                                                                                                     Gino et al.

                              100%                                                     inauthenticity and moral compensation through both
                                                          Control Condition            mediation and moderation. Our results for feelings of
                                   90%                    Cleansing Condition          impurity, the desire to cleanse, and prosocial behavior
                                   80%                                                 cannot be attributed to negative experiences more gener-
 Participants Deciding to Donate




                                                                                       ally (e.g., failing a test), but rather must be attributed to
                                   70%                                                 inauthenticity. Our findings provide the first empirical
                                   60%
                                                                                       evidence of discriminant validity in the literature on
                                                                                       moral cleansing and moral compensation. We also found
                                   50%                                                 that the effects of inauthenticity were not reducible to
                                                                                       cognitive dissonance or driven by psychological distress.
                                   40%
                                                                                          Our research contributes to the literature on moral
                                   30%                                                 psychology and behavioral ethics. Past research has
                                            25%
                                                                                       found that morality is malleable and dynamic, that situa-
                                   20%                                                 tional and social pressure can lead moral people to act
                                   10%                                    8%           dishonestly (Monin & Jordan, 2009). It is commonly
                                                    5%                            6%
                                                                                       assumed that unethical behavior involves people violat-
                                   0%                                                  ing a norm shared by others and that this violation pro-
                                            Inauthentic                    Authentic   duces negative feelings. We have shown that violating
                                                      Behavior Recalled                internal norms can lead to very similar consequences.
Fig. 2. Results from Experiment 5: percentage of people who decided                    When people behave in ways that are inconsistent with
to donate by condition.                                                                their own sense of self, they feel morally tainted and
                                                                                       engage in behaviors to compensate for these feelings.
                                                                                          Our results also contribute to the literature examining
they did (M = $1.33, SD = $2.76, 95% CI = [$0.72, $1.93],                              compensatory behaviors that follow threats, and aversive
vs. M = $0.24, SD = $1.37, 95% CI = [−$0.09, $0.58]), F(1,                             states that accompany threats. Proulx and Inzlicht’s (2012;
287) = 12.09, p = .001. But when participants recalled and                             see also Proulx, Inzlicht, & Harmon-Jones, 2012) mean-
wrote about an authentic behavior, they tended to donate                               ing-maintenance model integrates various social-psycho-
the same amount of money whether they cleaned their                                    logical theories about compensatory behaviors following
hands with the hand sanitizer (M = $0.42, SD = $1.84,                                  threats and expectancy violations. Our results are consis-
95% CI = [−$0.03, $0.87]) or they did not (M = $0.35, SD =                             tent with this model: Inauthenticity serves as a threat and
$1.42, 95% CI = [$0.02, $0.67]), F(1, 287) < 1, p = .77.                               leads people to experience a greater desire for cleanli-
                                                                                       ness, to compensate for the aversive experience that
Discussion                                                                             made them feel immoral and impure.
                                                                                          Although we have demonstrated that inauthenticity is
Experiment 5 further established that the relationship                                 not reducible to dissonance, we have not established that
between inauthenticity and moral compensation is                                       inauthenticity is distinct from other inconsistency-related
explained through cleansing behavior. When participants                                threats (e.g., ambivalence, self-uncertainty). It is possible
had the opportunity to cleanse themselves, the relation-                               that the dissonance participants experienced in the low-
ship between inauthenticity and prosocial behavior was                                 choice condition of Experiment 4 resulted from a more
eliminated.                                                                            general sense of ambivalence, inconsistency, or self-
                                                                                       uncertainty (e.g., van Harreveld, Schneider, Nohlen, &
                                                                                       van der Pligt, 2012). Future research should establish the
General Discussion                                                                     unique characteristics that differentiate inauthenticity
People often act inauthentically, in various ways, from                                from these other inconsistency-related threats. We expect
arguing for a cause they do not believe in to expressing                               that ambivalence or self-uncertainty would not increase
affection toward someone they truly dislike. Our five                                  feelings of impurity or desire for cleanliness but would
experiments establish that authenticity is linked to a                                 lead to compensation through other pathways.
moral state. When participants recalled a time that they                                  From Shakespeare to Sartre to Rand, writers and phi-
behaved inauthentically, rather than authentically, they                               losophers alike have suggested that authenticity is a moral
felt more impure and less moral, and experienced a                                     state. Our research provides the first empirical demonstra-
greater desire for physical cleanliness. This heightened                               tion that there is indeed a link between authenticity and
desire, in turn, made them more likely to behave proso-                                morality. Our results suggest why laughing at the jokes of
cially to compensate for their feelings of impurity. We                                detested colleagues or dancing when one feels blue makes
established the role of cleanliness as the link between                                one run for the showers and behave more prosocially.
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 109 of 1282

Authentic Self                                                                                                                      995

Author Contributions                                                    self-society dynamic: Cognition, emotion, and action (pp.
                                                                        171–187). New York, NY: Cambridge University Press.
All authors developed the study concept and contributed to the
                                                                    Gino, F., Norton, M., & Ariely, D. (2010). The counterfeit self:
study design. Testing and data collection were performed by
                                                                        The deceptive costs of faking it. Psychological Science, 21,
F. Gino and M. Kouchaki. F. Gino and M. Kouchaki drafted the
                                                                        712–720.
manuscript, and A. D. Galinsky provided critical revisions. All
                                                                    Grandey, A. A. (2000). Emotional regulation in the workplace:
authors approved the final version of the manuscript for
                                                                        A new way to conceptualize emotional labor. Journal of
submission.
                                                                        Occupational Health Psychology, 5, 95–110.
                                                                    Haidt, J., & Kesebir, S. (2010). Morality. In S. Fiske, D. Gilbert, &
Declaration of Conflicting Interests                                    G. Lindzey (Eds.), Handbook of social psychology (5th ed.,
The authors declared that they had no conflicts of interest with        pp. 797–832). Hoboken, NJ: Wiley.
respect to their authorship or the publication of this article.     Harter, S. (2002). Authenticity. In C. R. Snyder & S. J. Lopez
                                                                        (Eds.), Handbook of positive psychology (pp. 382–394).
Open Practices                                                          London, England: Oxford University Press.
                                                                    Harter, S., Marold, D. B., Whitesell, N. R., & Cobbs, G. (1996).
                                                                        A model of the effects of perceived parent and peer sup-
                                                                        port on adolescent false self behavior. Child Development,
All data and materials have been made publicly available via
                                                                        67, 360–374.
the Harvard Dataverse Network and can be accessed at https://
                                                                    Lee, S. W. S., & Schwarz, N. (2010a). Of dirty hands and dirty
osf.io/sd76g/. The complete Open Practices Disclosure for this
                                                                        mouths: Embodiment of the moral purity metaphor is spe-
article can be found at http://pss.sagepub.com/content/by/
                                                                        cific to the motor modality involved in moral transgression.
supplemental-data. This article has received badges for Open
                                                                        Psychological Science, 21, 1423–1425.
Data and Open Materials. More information about the Open
                                                                    Lee, S. W. S., & Schwarz, N. (2010b). Washing away postdeci-
Practices badges can be found at https://osf.io/tvyxz/wiki/
                                                                        sional dissonance. Science, 328, 709.
view/ and http://pss.sagepub.com/content/25/1/3.full.
                                                                    Monin, B., & Jordan, A. H. (2009). The dynamic moral self:
                                                                        A social psychological perspective. In D. Narvaez &
Note                                                                    D. Lapsley (Eds.), Personality, identity, and character:
1. We used a high level of power for the first study we con-            Explorations in moral psychology (pp. 341–354). New York,
ducted and then adjusted power levels as we conducted more              NY: Cambridge University Press.
studies.                                                            Preacher, K. J., & Hayes, A. F. (2008). Asymptotic and resam-
                                                                        pling strategies for assessing and comparing indirect effects
                                                                        in multiple mediator models. Behavior Research Methods,
References                                                              40, 879–891.
Ashforth, B. E., & Tomiuk, M. A. (2000). Emotional labour and       Proulx, T., & Inzlicht, M. (2012). The five “A”s of meaning main-
     authenticity: Views from service agents. In S. Fineman             tenance: Finding meaning in the theories of sense-making.
     (Ed.), Emotion in organizations (pp. 184–203). London,             Psychological Inquiry, 23, 317–335.
     England: Sage.                                                 Proulx, T., Inzlicht, M., & Harmon-Jones, E. (2012). Understanding
Cooper, J., & Fazio, R. H. (1984). A new look at dissonance             all inconsistency compensation as a palliative response to
     theory. In L. Berkowitz (Ed.), Advances in experimental            violated expectations. Trends in Cognitive Sciences, 16,
     social psychology (Vol. 17, pp. 229–266). New York, NY:            285–291.
     Academic Press.                                                Rogers, C. (1961). On becoming a person: A therapist’s view of
Ekman, P., & Friesen, W. V. (1975). Unmasking the face: A               personality. Boston, MA: Houghton Mifflin.
     guide to recognizing emotions from facial clues. Englewood     Schlenker, B. R. (2002). Self-presentation. In M. R. Leary & J. P.
     Cliffs, NJ: Prentice-Hall.                                         Tangney (Eds.), Handbook of self and identity (pp. 492–
Elliot, A. J., & Devine, P. G. (1994). On the motivational nature       518). New York, NY: Guilford Press.
     of cognitive dissonance: Dissonance as psychological dis-      Shakespeare, W. (1885). Tragedy of Hamlet, Prince of Denmark
     comfort. Journal of Personality and Social Psychology, 67,         (H. B. Sprague, Ed.). Chicago, IL: S. R. Winchell. (Original
     382–394.                                                           work published 1603) Retrieved from https://archive.org/
Erickson, R. J. (1995). The importance of authenticity for self         details/shakespearestrag251shak
     and society. Symbolic Interaction, 18, 121–144.                Snyder, M. (1987). Public appearances/private realities: The psy-
Festinger, L. (1957). A theory of cognitive dissonance. Stanford,       chology of self-monitoring. New York, NY: Freeman.
     CA: Stanford University Press.                                 Tetlock, P. E., Kristel, O., Elson, B., Green, M., & Lerner, J.
Gecas, V. (1986). The motivational significance of self-con-            (2000). The psychology of the unthinkable: Taboo trade-
     cept for socialization theory. In E. Lawler (Ed.), Advances        offs, forbidden base rates, and heretical counterfactuals.
     in group processes (Vol. 3, pp. 131–156). Greenwich, CT:           Journal of Personality and Social Psychology, 78, 853–870.
     JAI.                                                           Turiel, E. (1983). The development of social knowledge:
Gecas, V. (1991). The self-concept as a basis for a theory of           Morality and convention. Cambridge, England: Cambridge
     motivation. In J. A. Howard & P. L. Callero (Eds.), The            University Press.
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 110 of 1282

996                                                                                                                 Gino et al.

van Harreveld, F., Schneider, I. K., Nohlen, H., & van der       Walker, L. J., & Hennig, K. H. (2004). Differing conceptions
   Pligt, J. (2012). Ambivalence and conflict in attitudes and      of moral exemplarity: Just, brave, and caring. Journal of
   decision-making. In B. Gawronski & F. Strack (Eds.),             Personality and Social Psychology, 86, 629–647.
   Cognitive consistency: A fundamental principle in             Zhong, C.-B., & Liljenquist, K. (2006). Washing away your sins:
   social cognition (pp. 285–304). New York, NY: Guilford           Threatened morality and physical cleansing. Science, 313,
   Press.                                                           1451–1452.
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 111 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 112 of 1282

974                                                                                                       Gino, Wiltermuth

more likely than less creative people to bend rules or
break laws (Cropley, Kaufman, & Cropley, 2003; Sternberg
& Lubart, 1995; Sulloway, 1996). Popular tales are replete
with images of “evil geniuses,” such as Rotwang in
Metropolis and “Lex” Luthor in Superman, who are both
creative and nefarious in their attempts to ruin humanity.
Similarly, news articles have applied the “evil genius”
moniker to Bernard Madoff, who made $20 billion disap-
pear using a creative Ponzi scheme.
   The causal relationship between creativity and unethi-
cal behavior may take two possible forms: The creative
process may trigger dishonesty; alternatively, acting
unethically may enhance creativity. Research has demon-
strated that enhancing the motivation to think outside the
box can drive people toward more dishonest decisions
(Beaussart, Andrews, & Kaufman, 2013; Gino & Ariely,
2012). But could acting dishonestly enhance creativity in
subsequent tasks?
   In five experiments, we obtained the first empirical
evidence that behaving dishonestly can spur creativity        Fig. 1. The Duncker candle problem presented to participants in
and examined the psychological mechanism explaining           Experiment 1.
this link. We suggest that after behaving dishonestly,
people feel less constrained by rules, and are thus more
likely to act creatively by constructing associations         The correct solution involves using the box of tacks as a
between previously unassociated cognitive elements.           candleholder: One should empty the box of tacks, tack it
                                                              to the wall, and then place the candle inside. Finding the
                                                              correct solution is considered a measure of insight cre-
Experiment 1: Cheaters Are Creative
                                                              ativity because it requires people to see objects as capa-
In our first study, we examined whether individuals who       ble of performing atypical functions (Maddux & Galinsky,
behave unethically are more creative than others on a         2009). Thus, the hidden solution to the problem is incon-
subsequent task, even after controlling for differences in    sistent with the preexisting associations and expectations
baseline creative skills.                                     individuals bring to the task (Duncker, 1945; Glucksberg
                                                              & Weisberg, 1966).
                                                                  Next, participants performed a filler task. They then
Method
                                                              completed a problem-solving task under time pressure.
Participants. One hundred fifty-three individuals            Each of 10 matrices presented a set of 12 three-digit num-
recruited on Amazon Mechanical Turk (MTurk; 59%               bers (e.g., 4.18; see Mazar, Amir, & Ariely, 2008), and the
male, 41% female; mean age = 30.08, SD = 7.12) partici-       task was to find two numbers in the matrix that added up
pated in the study for a $1 show-up fee and the opportu-      to 10. Participants were shown one matrix at a time and
nity to earn a $10 performance-based bonus. We told           had 20 s to solve each one. If participants did not find the
participants that 10% of the study participants would be      solution within the allotted time, the computer program
randomly selected to receive this bonus.                      moved to the next matrix. After participants attempted to
                                                              solve the 10 matrices, they self-reported their perfor-
Procedure. The study included four supposedly unre-          mance. For each correct solution, participants could
lated tasks: an initial creativity task (the Duncker candle   receive $1 if they were among those randomly selected
problem), a 2-min filler task, a problem-solving task, and    to receive the bonus. The program recorded participants’
the Remote Association Task (RAT; Mednick, 1962).             answer for each matrix, but the instructions did not
   Participants first completed the Duncker candle prob-      explicitly state this. Thus, participants could cheat by
lem (Fig. 1). They saw a picture containing several objects   inflating their performance on this task.
on a table and next to a cardboard wall: a candle, a pack         Finally, participants completed the RAT, which mea-
of matches, and a box of tacks. Participants had 3 min “to    sures creativity by assessing people’s ability to identify
figure out, using only the objects on the table, how to       associations between words that are normally associated.
attach the candle to the wall so that the candle burns        Each item consists of a set of three words (e.g., sore,
properly and does not drip wax on the table or the floor.”    shoulder, sweat), and participants must find a word that
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 113 of 1282

Evil Genius                                                                                                             975

is logically linked to them (cold). Participants had 5 min     Procedure. The study included two supposedly unre-
to solve 17 RAT items. Success on the RAT requires peo-        lated tasks: a computer-based math-and-logic game and
ple to think of uncommon associations that stimulus            the RAT. The cheating manipulation was implemented in
words may have instead of focusing on the most com-            the computer-based game (Vohs & Schooler, 2008; von
mon and familiar associations of those words.                  Hippel, Lakin, & Shakarchi, 2005), which involved
                                                               answering 20 different math and logic multiple-choice
                                                               problems presented individually. Participants had 40 s
Results and discussion
                                                               to answer each question and could earn 50¢ for each
Forty-eight percent of the participants correctly solved       correct answer.
the Duncker candle problem. Almost 59% of the partici-             In the control condition, participants completed the
pants cheated on the problem-solving task by reporting         task with no further instructions. In the likely-cheating
that they had solved more matrices than they had actu-         condition, the experimenter informed participants that
ally solved. Cheaters performed better on the RAT (M =         the computer had a programming glitch: While they
9.00 items correct, SD = 3.38) than did noncheaters (M =       worked on each problem, the correct answer would
5.76, SD = 3.38), even when we controlled for creative         appear on the screen unless they stopped it from being
performance on the Duncker candle problem, F(1, 150) =         displayed by pressing the space bar right after the prob-
22.03, p < .001, Kp2 = .13.                                    lem appeared. The experimenter also informed partici-
    Cheating on the matrix task mediated the effect of par-    pants that although no one would be able to tell whether
ticipants’ initial creativity on their RAT performance         they had pressed the space bar, they should try to solve
(Baron & Kenny, 1986). The effect of baseline creativity       the problems on their own (thus being honest). In actual-
weakened (from E = 0.30, p < .001, to E = 0.15, p = .056)      ity, the presentation of the answers was a feature of the
when cheating was included in the regression, and cheat-       program and not a glitch, and the number of space-bar
ing significantly predicted RAT performance (E = 0.37,         presses was recorded. We used the number of times par-
p < .001). A bootstrap analysis showed that the 95% bias-      ticipants did not press the space bar to prevent the cor-
corrected confidence interval (CI) for the size of the indi-   rect answer from appearing as our measure of cheating.
rect effect excluded zero (0.57, 1.80), suggesting a               After the math-and-logic game, participants completed
significant indirect effect (MacKinnon, Fairchild, & Fritz,    12 RAT problems, which constituted our creativity
2007).                                                         measure.
    These results provided initial evidence that behaving
dishonestly enhances creativity. Individual differences in
creative ability between cheaters and noncheaters did
                                                               Results and discussion
not explain this finding.                                      Most participants (51 out of 53) cheated in the likely-
                                                               cheating condition of the math-and-logic game. An anal-
                                                               ysis including only these 51 cheaters in the likely-cheating
Experiment 2: The Act of Cheating
                                                               condition revealed that RAT performance was higher in
Enhances Creativity                                            the likely-cheating condition (M = 6.20 items correct,
One limitation of Experiment 1 is that people decided for      SD = 2.72) than in the control condition (M = 4.65, SD =
themselves whether or not to cheat. In Experiment 2, we        2.98), t(97) = 2.71, p = .008. Similarly, we found a signifi-
used random assignment to test whether acting dishon-          cant difference in RAT performance between the two
estly increases creativity in subsequent tasks. To induce      conditions when all 53 participants in the likely-cheating
cheating, we used a manipulation in which cheating             condition were included in the analysis (likely-cheating
occurs by omission rather than commission and in which         condition: M = 6.25, SD = 2.70), t(99) = 2.83, p = .006.
people are tempted to cheat in multiple rounds. Because        These results indicate that cheating increased creativity
of these features, most people tend to cheat on this task      on a subsequent task and provide further support for our
(Shu & Gino, 2012).                                            main hypothesis.


Method                                                         Experiment 3: Breaking Rules With
Participants. One hundred one students from univer-
                                                               and Without Ethical Implications
sities in the southeastern United States (39% male, 61%        One may argue that people often deviate from rules
female; mean age = 21.48, SD = 7.23) participated in the       when they can and that this makes them more creative—
study for a $5 show-up fee and the opportunity to earn         even when the rule they break does not have ethical
an additional $10 performance-based bonus. We ran-             implications. In Experiment 3, we addressed this alterna-
domly assigned participants to either the likely-cheating      tive explanation by using two conditions that did not dif-
or the control condition.                                      fer in how likely participants were to disobey the rules
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 114 of 1282

976                                                                                                        Gino, Wiltermuth

on how to solve the task at hand but did differ in whether       tempted to cheat by inflating their performance (as in
they enabled participants to lie. Because of this feature,       Gino & Mogilner, 2014). In the control condition, we
participants who lied would break an additional rule, a          used the following options: “0–5: average for students in
rule with ethical implications. We reasoned that breaking        good colleges”; “6–10: typical for students in Ivy League
rules with ethical implications (i.e., people should not         colleges”; and “11–higher: common for English profes-
lie) promotes greater creativity than does violating rules       sors and novelists.” In this case, most participants would
without ethical implications because the former consti-          likely fall into an acceptable bracket and would therefore
tutes a stronger rejection of rules. As a result, we pre-        not feel tempted to lie. Thus, participants in both condi-
dicted that only the condition that enabled lying would          tions had the opportunity to break the numerous rules
enhance creativity, which would provide evidence that            listed in the instructions, but those in the likely-cheating
cheating specifically increases creativity. Another differ-      condition were more tempted to lie.
ence from the prior experiments is that we used two dif-             Following the anagram task, participants completed
ferent tasks to measure creativity in Experiment 3.              two tasks assessing their creativity: the uses task and 17
                                                                 RAT problems (as in Experiment 1). For the uses task, they
                                                                 had to generate as many creative uses for a newspaper as
Method                                                           possible within 1 min (Guilford, 1967). To assess creativity
Participants. One hundred twenty-nine individuals               on this task, we coded responses for fluency (i.e., the total
recruited on MTurk (58% male, 42% female; mean age =             number of uses), flexibility (i.e., the number of uses that
27.72, SD = 7.86) participated in this study for $2.             were different from one another), and originality (aver-
                                                                 aged across the different suggested ideas).
Procedure. We described the study as including various
tasks, the first of which was a standard anagram task that       Results and discussion
tested verbal abilities. To motivate successful performance
on this task, we told participants that performance on an        Table 1 reports the means for the key variables assessed
anagram task predicts verbal ability, which is correlated        in this study, separately for the two conditions.
with career potential. In this task (adapted from Irwin, Xu,        Forty percent of participants (26 out of 65) in the
& Zhang, 2014), participants had to complete as many             likely-cheating condition cheated, and only 4.7% (3 out
anagrams as they could in 3 min. The instructions speci-         of 64) in the control group did, F2(1, N = 129) = 23.08,
fied several rules participants had to follow (see the Sup-      p < .001. Actual performance on the anagram task did not
plemental Material available online). For each anagram,          differ between conditions, t(127) = 0.23, p = .82.
participants had to rearrange a set of letters to form a            All measures of creativity were higher in the likely-
meaningful word (e.g., tiarst can make artist). In addition,     cheating condition than in the control condition—RAT
participants were supposed to provide only one answer            performance: t(127) = 2.17, p = .032; fluency on the uses
per anagram, even if the anagram had more than one solu-         task: t(127) = 2.47, p = .015; flexibility on the uses task:
tion. Because each anagram had multiple answers, the             t(127) = 1.82, p = .072; and originality on the uses task:
instructions stated, the computer program could not vali-        t(127) = 3.24, p = .002. Thus, cheating enhanced
date their answers automatically. Thus, participants had to      creativity.1
keep track of how many anagrams they had solved and
self-report the number at the end of the task.                   Experiment 4: Feeling Unconstrained
    After participants completed the task, they were ran-
                                                                 by Rules
domly assigned to either the likely-cheating or the con-
trol condition. These two conditions differed in the             In Experiment 4, we examined why cheating enhances
choice options people were given to report their perfor-         creativity by measuring the extent to which participants
mance. In a pretest, we found that, on average, partici-         felt that they were not constrained by rules. We also used
pants recruited on MTurk (age range: 18–50) solved 5 to          a different task to assess cheating. In our previous stud-
8 anagrams in the allotted time. Thus, to induce partici-        ies, we used tasks in which performance was partially
pants to inflate their performance, in the likely-cheating       due to ability and effort. Such tasks may be cognitively
condition, we used the following options: “0–8: lower            depleting, and behaving honestly may have required
verbal learners”; “9–14: average for students in good col-       greater cognitive effort than behaving dishonestly. In
leges”; “15–20: typical for students in Ivy League col-          Experiment 4, we used a coin-toss task in which cheating
leges”; and “21–higher: common for English professors            and acting honestly likely involve the same cognitive
and novelists.” Because most participants would likely           effort. Finally, we also measured affect to rule out the
fall into the “lower verbal learners” category, their intelli-   possibility that emotions partially explain the effects of
gence would be threatened, and they would therefore be           dishonesty on creativity.
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 115 of 1282

Evil Genius                                                                                                                       977

          Table 1. Means for the Key Variables in Experiment 3

                                                                              Uses task
                               Number of anagrams                                                             Number of RAT
          Condition                 solved                  Fluency          Flexibility      Originality      items solved
          Likely-cheating           4.17 (3.26)            6.02 (2.02)       5.18 (2.01)     3.69 (1.21)            6.85 (3.82)
          Control                   4.05 (2.89)            5.20 (1.70)       4.58 (1.78)     3.06 (0.97)            5.47 (3.38)

          Note: The values in parentheses are standard deviations. RAT = Remote Association Task (Mednick, 1962).




Method                                                                   Results and discussion
Participants. One hundred seventy-eight individuals                     Twenty-four percent of participants (43 out of 178)
recruited on MTurk (47% male, 53% female; mean age =                     cheated on the coin-toss task. Table 2 reports the means
28.59, SD = 7.72) participated in the study for $1 and the               for the key variables assessed in this study, separately for
opportunity to earn a $1 bonus.                                          cheaters and noncheaters.
                                                                            Participants who cheated on the coin-toss task
Procedure. The instructions explained that the goal of                  reported caring less about rules than did those who did
the study was to investigate the relationships among peo-                not cheat, t(176) = 6.48, p < .001. All four measures of
ple’s different abilities, such as attention, performance                creativity were higher for cheaters than they were for
under pressure, and luck. Participants also learned that                 noncheaters—fluency on the uses task: t(176) = 4.24, p <
they would receive monetary bonuses based on their                       .001; flexibility on the uses task: t(176) = 4.02, p < .001;
performance on different tasks.                                          originality on the uses task: t(176) = 6.85, p < .001; and
    We first asked participants to guess whether the out-                RAT performance: t(176) = 2.54, p = .012. Cheaters and
come of a virtual coin toss would be heads or tails. After               noncheaters reported similar levels of positive and nega-
indicating their prediction, participants had to press a                 tive affect after the coin-toss task (ps > .36).
button to toss the coin virtually. They were asked to                       We tested whether participants’ feelings about rules
press the button only once. To give participants room                    explained the link between cheating and creativity. For
for justifying their own cheating, we included a note at                 this analysis, we standardized the four measures of cre-
the bottom of the screen that stated, “Before moving to                  ative performance and then averaged them into one
the next screen, please press the ‘Flip!’ button a few                   composite measure. The effect of cheating on subsequent
more times just to make sure the coin is legitimate” (a                  creativity was significantly reduced (from E = 0.43, p <
procedure adapted from Shalvi, Dana, Handgraaf, & De                     .001, to E = 0.35, p < .001) when participants’ caring
Dreu, 2011). Participants then reported whether they                     about rules was included in the equation, and such feel-
had guessed correctly and received a $1 bonus if they                    ing predicted creative performance (E = 0.18, p = .017;
had. The program recorded the outcomes of the initial                    95% bias-corrected CI = [0.02, 0.29]). These results pro-
virtual coin tosses so that we could tell whether partici-               vide evidence that feeling unconstrained by rules under-
pants cheated.                                                           lies the link between dishonesty and creativity.
    Afterward, for each of three pictures (see Fig. 2), par-
ticipants used a 7-point scale (1 = not at all, 7 = very                 Experiment 5: Evidence for Mediation
much) to respond to the question, “If you were in the
situation depicted in the picture, to what extent would
                                                                         Through Moderation
you care about following the rules?” We averaged each                    In Experiment 4, we tested whether caring about rules
participant’s answers across the three items to create a                 explained the relationship between dishonesty and cre-
measure for caring about rules (D = .81).                                ativity using a traditional mediation approach. In Experi-
    Participants then completed the same two creativity                  ment 5, we obtained further evidence for this mediating
tasks as in Experiment 3. Finally, participants indicated                mechanism using a moderation approach (as recom-
how they felt right after finishing the coin-toss task, using            mended by Spencer, Zanna, & Fong, 2005).
the 20-item Positive and Negative Affectivity Schedule
(PANAS; Watson, Clark, & Tellegen, 1988). The PANAS
captured both positive affect (D = .90) and negative affect
                                                                         Method
(D = .90) on a 5-point scale (1 = very slightly or not at all,           Participants. Two hundred eight individuals from the
5 = extremely).                                                          northeastern United States (56% male, 44% female; mean
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 116 of 1282

978                                                                                                                          Gino, Wiltermuth




                    Fig. 2. Images used to assess the extent to which participants in Experiment 4 felt unconstrained by
                    rules.




age = 21.66, SD = 2.64; 88% students) participated in the                opposite sides of the die added up to 7: 1 vs. 6, 2 vs. 5,
study for $10 and the opportunity to earn additional                     and 3 vs. 4. We called the visible side that was facing up
money.                                                                   “U” and the opposite, invisible side that was facing down
                                                                         “D.” Participants received the following instructions:
Procedure. Participants were randomly assigned to one
of four experimental conditions in a 2 (cheating condi-                     In each round, the number of points that you score
tion: opaque vs. transparent) × 2 (prime condition: rule-                   depends on the throw of the die as well as on the
breaking prime vs. neutral prime) between-subjects                          side that you have chosen in that round. Each round
design. They read that they would be completing a series                    consists of one throw. Before throwing, you have to
of short tasks involving luck and skill, and that some of                   choose the relevant side for that round. Note that
these tasks involved a bonus payment.                                       the die outcomes are random and the outcome you
   The first task was a die-throwing game ( Jiang, 2013).                   see on the screen corresponds to the upside. . . .
In this game, participants could throw a virtual six-sided                  For instance, if you have chosen “D” in your mind
die 20 times to earn points (which would be translated to                   and the die outcome turns up to be “4,” you earn 3
real dollars and added to participants’ final payment).                     points for that throw, whereas if you have chosen
Participants were reminded that each pair of numbers on                     “U” in your mind, you earn 4 points. Across the 20


 Table 2. Means for the Key Variables in Experiment 4

                                   Uses task
 Participant                                                      Number of RAT       Caring about
 group              Fluency        Flexibility    Originality      items solved           rules            Positive affect    Negative affect
 Cheaters          8.33 (2.80)    6.81 (2.85)     3.60 (1.26)        9.47 (4.38)        3.66 (1.76)         2.52 (0.80)         1.56 (0.62)
 Noncheaters       6.52 (2.31)    5.25 (1.98)     2.33 (1.00)        7.84 (3.38)        5.28 (1.31)         2.42 (0.89)         1.46 (0.63)

 Note: The values in parentheses are standard deviations. RAT = Remote Association Task (Mednick, 1962).
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 117 of 1282
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 118 of 1282

980                                                                                                                  Gino, Wiltermuth

dishonest behavior. It also provides new evidence that                Gino, F., & Ariely, D. (2012). The dark side of creativity: Original
dishonesty may therefore lead people to become more                       thinkers can be more dishonest. Journal of Personality and
creative in their subsequent endeavors.                                   Social Psychology, 102, 445–459.
                                                                      Gino, F., & Mogilner, C. (2014). Time, money, and morality.
                                                                          Psychological Science, 25, 414–421.
Author Contributions
                                                                      Glucksberg, S., & Weisberg, W. R. (1966). Verbal behavior and
Both authors developed the study concept, contributed to the              problem solving: Effects of labeling in a functional fixed-
study design, collected data, and performed the data analysis.            ness problem. Journal of Experimental Psychology, 71,
Both authors worked on various drafts of the manuscript and               659–664.
approved the final version of the manuscript for submission.          Guilford, J. P. (1950). Creativity. American Psychologist, 5,
                                                                          444–454.
Declaration of Conflicting Interests                                  Guilford, J. P. (1967). The nature of human intelligence. New
The authors declared that they had no conflicts of interest with          York, NY: McGraw-Hill.
respect to their authorship or the publication of this article.       Irwin, J., Xu, Q., & Zhang, Y. (2014). The upside of lying:
                                                                          How incidental deceptions increase task performance.
                                                                          Unpublished manuscript, The University of Texas at Austin,
Supplemental Material
                                                                          McCombs School of Business.
Additional supporting information may be found at http://pss          Jiang, T. (2013). Cheating in mind games: The subtlety of rules
.sagepub.com/content/by/supplemental-data                                 matters. Journal of Economic Behavior & Organization, 93,
                                                                          323–336.
Notes                                                                 Kelley, T., & Littman, J. (2001). The art of innovation: Lessons in
                                                                          creativity from IDEO, America’s leading design firm. New
1. We obtained the same results when we compared the creativ-
                                                                          York, NY: Currency.
ity of cheaters and noncheaters (all ps < .01).
                                                                      Langley, P., & Jones, R. (1988). A computational model of sci-
2. In a pilot study (N = 103), we tested the effect of our primes
                                                                          entific insight. In R. J. Sternberg (Ed.), The nature of creativ-
on participants’ willingness to follow rules as indicated by their
                                                                          ity: Contemporary psychological perspectives (pp. 171–201).
scores on a four-item scale adapted from Tyler and Blader (2005;
                                                                          Cambridge, England: Cambridge University Press.
e.g., “If I received a request from a supervisor or a person with
                                                                      MacKinnon, D. P., Fairchild, A. J., & Fritz, M. S. (2007). Mediation
authority right now, I would do as requested”). Participants in
                                                                          analysis. Annual Review of Psychology, 58, 593–614.
the rule-breaking prime condition demonstrated less willing-
                                                                      Maddux, W. W., & Galinsky, A. D. (2009). Cultural borders and
ness to follow rules (M = 5.65, SD = 0.79) than did participants
                                                                          mental barriers: The relationship between living abroad
in the neutral prime condition (M = 6.03, SD = 0.91), t(101) =
                                                                          and creativity. Journal of Personality and Social Psychology,
2.27, p = .025.
                                                                          96, 1047–1061.
                                                                      Mazar, N., Amir, O., & Ariely, D. (2008). The dishonesty of hon-
References                                                                est people: A theory of self-concept maintenance. Journal
Bailin, S. (1987). Critical and creative thinking. Informal Logic,        of Marketing Research, 45, 633–644.
     9, 23–30.                                                        Mednick, S. A. (1962). The associative basis of the creative pro-
Baron, R. M., & Kenny, D. A. (1986). The moderator-mediator               cess. Psychological Review, 69, 220–232.
     variable distinction in social psychological research:           PricewaterhouseCoopers. (2011). Cybercrime: Protecting against
     Conceptual, strategic, and statistical considerations. Journal       the growing threat (Global Economic Crime Survey).
     of Personality and Social Psychology, 51, 1173–1182.                 Retrieved from https://www.pwc.com/en_GX/gx/economic-
Baucus, M. S., Norton, W. I., Baucus, D. A., & Human, S. A.               crime-survey/assets/GECS_GLOBAL_REPORT.pdf
     (2008). Fostering creativity and innovation without encour-      Runco, M. A. (2010). Creativity has no dark side. In D. H.
     aging unethical behavior. Journal of Business Ethics, 81,            Cropley, A. J. Cropley, J. C. Kaufman, & M. A. Runco (Eds.),
     97–115.                                                              The dark side of creativity (pp. 15–32). New York, NY:
Bazerman, M. H., & Gino, F. (2012). Behavioral ethics: Toward             Cambridge University Press.
     a deeper understanding of moral judgment and dishonesty.         Shalvi, S., Dana, J., Handgraaf, M. J. J., & De Dreu, C. K. W.
     Annual Review of Law and Social Science, 8, 85–104.                  (2011). Justified ethicality: Observing desired coun-
Beaussart, M. L., Andrews, C. J., & Kaufman, J. C. (2013).                terfactuals modifies ethical perceptions and behavior.
     Creative liars: The relationship between creativity and              Organizational Behavior and Human Decision Processes,
     integrity. Thinking Skills and Creativity, 9, 129–134.               115, 181–190.
Brenkert, G. G. (2009). Innovation, rule breaking and the eth-        Shu, L., & Gino, F. (2012). Sweeping dishonesty under the rug:
     ics of entrepreneurship. Journal of Business Venturing, 24,          How unethical actions lead to forgetting of moral rules.
     448–464.                                                             Journal of Personality and Social Psychology, 102, 1164–1177.
Cropley, D. H., Kaufman, J. C., & Cropley, A. J. (2003).              Simonton, D. K. (1999). Creativity as blind variation and selective
     Malevolent creativity: A functional model of creativity              retention: Is the creative process Darwinian? Psychological
     in terrorism and crime. Creativity Research Journal, 20,             Inquiry, 10, 309–328.
     105–115.                                                         Spencer, S. J., Zanna, M. P., & Fong, G. T. (2005). Establishing
Duncker, K. (1945). On problem solving. Psychological                     a causal chain: Why experiments are often more effec-
     Monographs, 58(5, Serial No. 270).                                   tive than mediational analyses in examining psychological
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 119 of 1282

Evil Genius                                                                                                                          981

    processes. Journal of Personality and Social Psychology,           Tyler, T. R., & Blader, S. L. (2005). Can businesses effectively
    89, 845–851.                                                           regulate employee conduct? The antecedents of rule fol-
Sternberg, R. J. (1988). A three-facet model of creativity. In R. J.       lowing in work settings. Academy of Management Journal,
    Sternberg (Ed.), The nature of creativity: Contemporary psy-           48, 1143–1158.
    chological perspectives (pp. 125–147). Cambridge, England:         Vohs, K. D., & Schooler, J. W. (2008). The value of believing
    Cambridge University Press.                                            in free will: Encouraging a belief in determinism increases
Sternberg, R. J., & Lubart, T. I. (1995). Defying the crowd:               cheating. Psychological Science, 19, 49–54.
    Cultivating creativity in a culture of conformity. New York,       von Hippel, W., Lakin, J. L., & Shakarchi, R. J. (2005). Individual
    NY: Free Press.                                                        differences in motivated social cognition: The case of self-
Sulloway, F. (1996). Born to rebel. New York, NY: Pantheon.                serving information processing. Personality and Social
Sutton, R. I. (2001). The weird rules of creativity. Harvard               Psychology Bulletin, 31, 1347–1357.
    Business Review, 79(8), 94–103.                                    Watson, D., Clark, L. A., & Tellegen, A. (1988). Development
Sutton, R. I. (2002). Weird ideas that work: 11½ practices for             and validation of brief measures of positive and negative
    promoting, managing, and sustaining innovation. New                    affect: The PANAS scales. Journal of Personality and Social
    York, NY: Free Press.                                                  Psychology, 54, 1063–1070.
Treviño, L. K., Weaver, G. R., & Reynolds, S. J. (2006). Behavioral    Winslow, E. K., & Solomon, G. T. (1993). Entrepreneurs:
    ethics in organizations: A review. Journal of Management,              Architects of innovation, paradigm pioneers and change.
    32, 951–990.                                                           Journal of Creative Behavior, 27, 75–88.
                                                          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 120 of 1282




                                          Retraction


                                          PSYCHOLOGICAL AND COGNITIVE SCIENCES
                                          Retraction for “Signing at the beginning makes ethics salient and
                                          decreases dishonest self reports in comparison to signing at the
                                          end,” by Lisa L. Shu, Nina Mazar, Francesca Gino, Dan Ariely,
                                          and Max H. Bazerman, which was first published August 27,
                                          2012; 10.1073/pnas.1209746109 (Proc. Natl. Acad. Sci. U.S.A.
                                          109, 15197 15200).
                                            The editors are retracting this article and note that Simonsohn,
                                          Simmons, and Nelson (http://datacolada.org/98) have provided
                                          evidence to question the validity of the data in the article.
                                                                                         May R. Berenbaum
                                                                                               Editor in Chief
                                          Published under the PNAS license.
                                          Published September 13, 2021.




                                                                                                                                                                    RETRACTION
                                          www.pnas.org/cgi/doi/10.1073/pnas.2115397118
Downloaded by guest on October 21, 2021




                                          PNAS 2021 Vol. 118 No. 38 e2115397118                                  https://doi.org/10.1073/pnas.2115397118 | 1 of 1
                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 121 of 1282


Signing at the beginning makes ethics salient and
decreases dishonest self-reports in comparison to
signing at the end
Lisa L. Shua, Nina Mazarb,1, Francesca Ginoc, Dan Arielyd, and Max H. Bazermanc
a
 Kellogg School of Management, Northwestern University, Evanston, IL 60208; bRotman School of Management, University of Toronto, Toronto, ON,
Canada M5S 3E6; cHarvard Business School, Harvard University, Boston, MA 02163; and dFuqua School of Business, Duke University, Durham, NC 27708

Edited* by Daniel Kahneman, Princeton University, Princeton, NJ, and approved July 23, 2012 (received for review June 11, 2012)

Many written forms required by businesses and governments rely               the extent that written reports feel more distant and make it easier
on honest reporting. Proof of honest intent is typically provided            to disengage internal moral control than verbal reports, written
through signature at the end of, e.g., tax returns or insurance policy       reports are likely to be more prone to dishonest conduct (3, 10, 11).
forms. Still, people sometimes cheat to advance their ﬁnancial self-         However, for both types of reports (verbal or written) we hypoth
interests—at great costs to society. We test an easy-to-implement            esize a pledge to honesty to be more effective before rather than
method to discourage dishonesty: signing at the beginning rather             after self reporting. Thus, in this work, we test an easy to imple
than at the end of a self-report, thereby reversing the order of the         ment method of curtailing fraud in written reports: signing a state
current practice. Using laboratory and ﬁeld experiments, we ﬁnd              ment of honesty at the beginning rather than at the end of a self
that signing before–rather than after–the opportunity to cheat               report that people know from the outset will require a signature.
makes ethics salient when they are needed most and signiﬁcantly
reduces dishonesty.                                                          Results and Discussion
                                                                             Experiment 1 tested this intervention in the laboratory, using two
morality   | nudge | policy making | fraud                                   different measures of cheating: self reported earnings (income)
                                                                             on a math puzzles task wherein participants could cheat for ﬁ

T   he annual tax gap between actual and claimed taxes due in
    the United States amounts to roughly $345 billion. The In
ternal Revenue Service estimates more than half this amount is
                                                                             nancial gain (3), and travel expenses to the laboratory (deduc
                                                                             tions) claimed on a tax return form on research earnings. On the
                                                                             one page form where participants reported their income and
due to individuals misrepresenting their income and deductions               deductions, we varied whether participant signature was required
(1). Insurance is another domain burdened by the staggering cost             at the top of the form or at the end. We also included a control
of individual dishonesty; the Coalition Against Insurance Fraud              condition wherein no signature was required on the form.
estimated that the overall magnitude of insurance fraud in the                  We measured the extent to which participants overstated their
United States totaled $80 billion in 2006 (2). The problem with              income from the math puzzles task and the amount of deduc
curbing dishonesty in behaviors such as ﬁling tax returns, sub               tions they claimed. All materials were coded with unique iden
mitting insurance claims, claiming business expenses or reporting            tiﬁers that were imperceptible to participants, yet allowed us to
billable hours is that they primarily rely on self monitoring in lieu        track each participant’s true performance on the math puzzles
of external policing. The current paper proposes and tests an ef             against the performance underlying their income reported on
ﬁcient and simple measure to reduce such dishonesty.                         the tax forms. The percentage of participants who cheated by
   Whereas recent ﬁndings have successfully identiﬁed an in                  overclaiming income for math puzzles they purportedly solved
tervention to curtail dishonesty through introducing a code of               differed signiﬁcantly across conditions: fewer cheated in the
conduct in contexts where previously there was none (3, 4), many             signature at the top condition (37%) than in the signature at
important transactions already require signatures to conﬁrm                  the bottom and no signature conditions (79 and 64%, re
compliance to an expected standard of honesty. Nevertheless, as              spectively), χ2(2, n = 101) = 12.58, P = 0.002, with no differences
signiﬁcant economic losses demonstrate (1, 2), the current practice          between the latter two conditions (P = 0.17). The results also
appears insufﬁcient in countering self interested motivations to             hold when analyzing the average magnitude of cheating by con
falsify numbers. We propose that a simple change of the signature            dition; Fig. 1 depicts the reported and actual performance, as
location could lead to signiﬁcant improvements in compliance.                measured by the number of math puzzles solved, for each con
   Even subtle cues that direct attention toward oneself can lead            dition, F(2, 98) = 9.21, P < 0.001. Finally, claims of travel ex
to surprisingly powerful effects on subsequent moral behavior                penses followed that same pattern and differed by condition,
(5 7). Signing is one way to activate attention to the self (8).             F(2, 98) = 5.63, P < 0.01, η2 = 0.10. Participants claimed fewer
However, typically, a signature is requested at the end. Building            expenses in the signature at the top condition (M = $5.27,
on Duval and Wicklund’s theory of objective self awareness (9),              SD = 4.43) compared with signature at the bottom (M = $9.62,
we propose and test that signing one’s name before reporting                 SD = 6.20; P < 0.01) and the no signature condition (M =
information (rather than at the end) makes morality accessible               $8.45, SD = 5.92; P < 0.05), with no differences between the
right before it is most needed, which will consequently promote              latter two conditions (P = 0.39). Thus, signing before reporting
honest reporting. We propose that with the current practice of
signing after reporting information, the “damage” has already
been done: immediately after lying, individuals quickly engage in            Author contributions: L.L.S., N.M., F.G., D.A., and M.H.B. designed research; L.L.S., F.G.,
various mental justiﬁcations, reinterpretations, and other “tricks”          and D.A. performed research; N.M., F.G., and D.A. analyzed data; and L.L.S., N.M., F.G.,
                                                                                                                                                                           PSYCHOLOGICAL AND
                                                                                                                                                                           COGNITIVE SCIENCES




such as suppressing thoughts about their moral standards that                D.A., and M.H.B. wrote the paper.
allow them to maintain a positive self image despite having lied             The authors declare no conﬂict of interest.
(3, 10, 11). That is, once an individual has lied, it is too late to         *This Direct Submission article had a prearranged editor.
direct their focus toward ethics through requiring a signature.              1
                                                                              To whom correspondence should be addressed. E-mail: nina.mazar@rotman.utoronto.ca.
   In court cases, witnesses verbally declare their pledge to honesty        This article contains supporting information online at www.pnas.org/lookup/suppl/doi:10.
before giving their testimonies not after, perhaps for a reason. To          1073/pnas.1209746109/-/DCSupplemental.



www.pnas.org/cgi/doi/10.1073/pnas.1209746109                                              PNAS | September 18, 2012 | vol. 109 | no. 38 | 15197–15200
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 122 of 1282


                                                                          F(1, 58) = 4.22, P < 0.05, η2 = 0.07; this greater access to
                                                                          ethics related concepts (our proxy for saliency of morality)
                                                                          signiﬁcantly mediated the effect of assigned condition (signa
                                                                          ture at the top or signature at the bottom) on cheating on the
                                                                          tax forms [bootstrapping with 10,000 iterations (14): 95%
                                                                          conﬁdence interval −1.85, −0.04].
                                                                             Experiment 3 tested the effect of the signature location in a
                                                                          naturalistic setting. Partnering with an automobile insurance com
                                                                          pany in the southeastern United States, we manipulated the policy
                                                                          review form, which asked customers to report the current odometer
                                                                          mileage of all cars insured by the company. Customers were ran
                                                                          domly assigned to one of two forms, both of which required their
                                                                          signature following the statement: “I promise that the information I
Fig. 1. Reported and actual number of math puzzles solved by condition,   am providing is true.” Half the customers received the original
experiment 1 (n = 101). Error bars represent SEM.                         forms used by the insurance company, where their signature was
                                                                          required at the end of the form; the other half received our
                                                                          treatment forms, where they were required to sign at the beginning.
promoted honesty, whereas signing afterward was the same as               The forms were identical in every other respect. Reporting lower
not signing at all.                                                       odometer mileage indicated less driving, lower risk of accident
   Experiment 2 investigated the potential mechanism underlying           occurrence, and therefore lower insurance premiums. We expected
the effect through a word completion task (12, 13) serving as an          customers who signed at the beginning of the form to be more
implicit measure of mental access to ethics related concepts (4).         truthful and reveal higher use than those who signed at the end.
Sixty university participants were randomly assigned to one of               We compared the reported current odometer mileage on
two conditions: signature at the top or signature at the bottom.          13,488 completed policy forms for 20,741 cars to the latest records
Experiment 2 used the same math puzzles and tax form procedure            of each car’s odometer mileage to calculate its use (number of
as in experiment 1, but varied the incentives for performance on          miles driven). Customers who signed at the beginning on average
the math puzzles task and the tax rate. Finally, the one page tax         revealed higher use (M = 26,098.4, SD = 12,253.4) than those who
forms were modiﬁed to mimic the ﬂow of actual tax reporting               signed at the end [M = 23,670.6, SD = 12,621.4; F(1, 13,485) =
practices in the United States, and as in experiment 1, all               128.63, P < 0.001]. The difference was 2,427.8 miles per car. That
materials were imperceptibly coded with unique identiﬁers.                is, asking customers to sign at the beginning of the form led to
   After ﬁlling out the tax forms, all participants received a list of    a 10.25% increase in implied miles driven (based on reported
six word fragments with missing letters. They were instructed to          odometer readings) over the current practice of asking for a sig
complete them with meaningful words. Three fragments (_ _ R               nature at the end. Follow up analyses suggested that the higher
A L, _ I _ _ _ E, and E _ _ _ C _ _) could potentially be com             use in the signature at the top condition was not due to more
pleted with words related to ethics (moral, virtue, and ethical) or       detailed reporting (down to the last digit) in comparison with
neutral words. We used the number of times these fragments                customers who may have relied on simply rounding their odom
were completed with ethics related words as our measure of access         eter mileage in the signature at the bottom condition. Thus, the
to moral concepts.                                                        simple change in signature location likely reduced the extent to
   Similar to experiment 1, the percentage of participants who            which customers falsiﬁed mileage information in their own ﬁnancial
cheated by overstating their performance on the math puzzles task         self interest at cost to the insurance company who must pass this
was lower in the signature at the top condition (37%, 11 of 30)           expense on to all its policyholders, including honest customers who
than in the signature at the bottom condition (63%, 19 of 30), χ2(1,      bear the ultimate burden of paying for the dishonesty of others.
n = 60) = 4.27, P < 0.04. The same pattern of results held when              According to data from the US Department of Transportation
analyzing the magnitude of cheating (Fig. 2), t(58) = −2.07, P <          Ofﬁce of Highway Policy Information, the average annual amount
0.05, as well as the travel expenses that participants claimed on the     of travel per vehicle in the United States was roughly 12,500 miles
tax return form, F(1, 58) = 7.76, P < 0.01, η2 = 0.12: they were lower    in 2005 (15). This suggests that the average driver in our ﬁeld ex
in the signature at the top condition (M = 3.23, SD = 2.73) than in       periment had been a customer with the insurance company for 2 y.
the signature at the bottom condition (M = 7.06, SD = 7.02).              We estimated the annual per mile cost of automobile insurance in
   In the word completion task, participants who signed before            the United States to range from 4 to 10 cents, suggesting a mini
ﬁlling out the form generated more ethics related words (M = 1.40,        mum average difference of $48 in annual insurance premium per
SD = 1.04) than those who signed after (M = 0.87, SD = 0.97),             car between customers in the two conditions. The range of 4 10
                                                                          cents was determined from comparing usage based insurance
                                                                          also known as PAYD, or pay as you drive and calculating the
                                                                          premiums for different scenarios of car brand, model, mileage, and
                                                                          buyer demographic on two automobile insurance policy sites.
                                                                             The current practice of signing after reporting is insufﬁcient. It
                                                                          is important to make morality salient, right before it is needed
                                                                          most, so that it can remain active during the most tempting
                                                                          moments. When signing comes after reporting, the morality
                                                                          train has already left the station. The power of our intervention
                                                                          is precisely due to the fact that it is such a gentle nudge (16): it
                                                                          does not impose on the freedom of individuals, it does not require
                                                                          the passage of new legislation, and it can profoundly inﬂuence
                                                                          behaviors of ethical and economic signiﬁcance. In fact, because most
                                                                          self reports already require signing a pledge to honesty albeit not in
                                                                          the most effective location the cost of implementing our in
Fig. 2. Reported and actual number of math puzzles solved by condition,   tervention is minimal. Given the immense ﬁnancial resources de
experiment 2 (n = 60). Error bars represent SEM.                          voted to prevention, detection, and punishment of fraudulent

15198 | www.pnas.org/cgi/doi/10.1073/pnas.1209746109                                                                                   Shu et al.
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 123 of 1282


behavior, a truly minimal intervention like the one used in our re                  0111) that was identical to the digit of one number of one math puzzle of
search seems costly not to implement even if its effectiveness might                each individual’s worksheet (which was unique to each individual’s work
wane over time as signing before reporting becomes prevalent and                    station). This difference was completely imperceptible to participants but
                                                                                    allowed us to link the worksheet and the tax return form that belonged to
individuals may ﬁnd new “tricks” to disengage from morality.
                                                                                    the same participant. As a result, at the end of each session, we were able to
                                                                                    compare actual performance on the problem solving task and reported per
Materials and Methods
                                                                                    formance on the tax return form. If those numbers differed for any individual,
Informed consent was obtained from all participants, and the Institutional          this difference represented one measure of the individual’s level of cheating.
Review Boards of Harvard University and University of North Carolina                    First, we examined the percentage of participants who cheated by
reviewed and approved all materials and procedures in Experiments 1 and 2.          overstating their performance on the problem solving task when asked to
                                                                                    report it on the tax return form. This percentage varied across conditions,
Experiment 1: Participants and Procedure. A total of 101 students and               χ 2(2, n = 101) = 12.58, P = 0.002: The number of cheaters was lowest in the
employees at local universities in the southeastern United States (Mage =           signature at the top condition (37%, 13 of 35), higher in the signature at
22.10, SD = 4.98; 45% male; 82% students) completed the experiment for              the bottom condition (79%, 26 of 33), and somewhat in between those two
pay. They received a $2 show up fee and had the opportunity to earn ad              but closer to the latter for the no signature condition (64%, 21 of 33).
ditional money throughout the experiment.                                               Both actual and reported mean performances on the math puzzles task are
    Participants were randomly assigned to one of three conditions: (i) signature   shown in Fig. 1. As depicted, the number of math puzzles overreported in the
at the top of the tax return form (before ﬁlling it out); (ii) signature at the     tax return forms varied by condition, F(2, 98) = 9.21, P < 0.001, η2 = 0.16: It was
bottom (after ﬁlling it out); or (iii) no signature (control). The statement that   lowest in the signature at the top condition (M = 0.77, SD = 1.44) and higher
participants had to sign asked them to declare that they carefully examined         in the signature at the bottom condition (M = 3.94, SD = 4.07; P < 0.001) and
the return and that to the best of their knowledge and belief it was correct        in the no signature condition (M = 2.52, SD = 3.12; P < 0.05). The difference
and complete.                                                                       between these two latter conditions was only marginally signiﬁcant (P < 0.07).
    At the beginning of each session, participants were given instructions in           The credits for travel expenses (travel time and costs of commute) that
which they were informed that they would ﬁrst complete a problem solving            participants claimed in the tax return forms also varied by condition, F(2, 98) =
task under time pressure (i.e., they would have 5 min to complete the task). In     5.63, P < 0.01, η2 = 0.10 and followed the same pattern: Participants claimed
addition, the instructions included the following information, “For the prob        fewer expenses in the signature at the top condition (M = 5.27, SD = 4.43)
lem solving task, you will be paid a higher amount than what we usually pay         than in the signature at the bottom (M = 9.62, SD = 6.20; P < 0.01) and the no
participants because you will be taxed on your earnings. You will receive more      signature (control) conditions (M = 8.45, SD = 5.92; P < 0.05). The difference
details after the problem solving task.”                                            between these two latter conditions was not signiﬁcant (P = 0.39). These
Problem solving task. For this task (3), participants received a worksheet with     results suggest that the effect of the signature location is driven by the sign
20 math puzzles, each consisting of 12 three digit numbers (e.g., 4.78) and         ing at the top condition: Signing before a self reporting task promoted hon
a collection slip on which participants later reported their performance in         est reporting. Signing afterward did not promote cheating. In effect, signing
this part of the experiment. Participants were told that they would have            afterward was the same as having no signature at all.
5 min to ﬁnd two numbers in each puzzle that summed to 10. For each pair
of numbers correctly identiﬁed, they would receive $1, for a maximum                Experiment 2: Participants and Procedure. Sixty students and employees at
payment of $20. Once the 5 min were over, the experimenter asked par                local universities in the southeastern United States (Mage = 21.50, SD = 2.27;
ticipants to count the number of correctly solved puzzles, note that number         48% male; 90% students) completed the experiment for pay. They received
on the collection slip, and then submit both the test sheet and the collection      a $2 show up fee and had the opportunity to earn additional money
slip to the experimenter. We assume respondents had no problems adding 2            throughout the experiment.
numbers to 10, which means they should have been able to identify how                  Experiment 2 used one between subjects factor with two levels: signature
many math puzzles they had solved correctly without requiring a solution            at the top and signature at the bottom. The experiment used the same task
sheet. Neither of the two forms (math puzzles test sheet and collection slip)       and procedure of experiment 1 but varied the incentives for the problem
had any information on it that could identify the participants. The sole            solving task, the tax rate, and the tax return forms participants completed.
purpose of the collection slip was for the participants themselves to learn         Namely, participants in this experiment were paid $2 (rather than $1) for each
how many puzzles in total they had solved correctly.                                math puzzle successfully solved and were taxed at a higher rate of 50%.
Tax return form. After the problem solving task, participants went to a second      Finally, the tax forms were modiﬁed such that they mimicked the ﬂow of
room to ﬁll out a research study tax return form (based on IRS Form 1040). The      actual tax reporting practices in the United States: deductions (commuting
one page form we used was based on a typical tax return form. We varied             time and costs) were ﬁrst subtracted from gross income (earnings from math
whether participants were asked to sign the form and if so, whether at the top      puzzles task) to compute taxable income, and then taxes were paid on this
or bottom of the page (Figs. S1 S3). Participants ﬁlled out the form by self        total adjusted amount (Fig. S4 shows an example of the forms used).
reporting their income (i.e., their performance on the math puzzles task) on           After ﬁlling out the tax return forms, participants were asked to complete
which they paid a 20% tax (i.e., $0.20 for every dollar earned). In addition,       a word completion task. Participants received a list of six word fragments
they indicated how many minutes it took them to travel to the laboratory,           with letters missing and were asked to ﬁll in the blanks to make complete
and their cost of commute. These expenses were “credited” to their posttax          words by using the ﬁrst word that came to mind. Following prior research
earnings from the problem solving task to compute their ﬁnal payment. The           measuring implicit cognitive processes (12, 13), we used this word comple
instructions read: “We would like to compensate participants for extra              tion task to measure accessibility of moral concepts. Three of the word
expenses they have incurred to participate in this session.” We reimbursed          fragments (      R A L, I          E, and E        C     ) could potentially be
the time to travel to the laboratory at $0.10 per minute (up to 2 h or $12)         completed by words related to ethics (moral, virtue, and ethical); these were
and the cost of participants’ commute (up to $12). All of the instructions and      our measures of access to moral concepts.
dependent measures appeared on one page to ensure that participants                 Level of cheating. We ﬁrst examined the percentage of participants who
knew from the outset that a signature would be required. Thus, any dif              cheated by overstating their performance on the math puzzles task when
ferences in reporting could be attributed to the location of the signature.         ﬁlling out the tax return form. This percentage was lower in the signature at
Payment structure. Given the features of the experiment, participants could         the top condition (37%, 11 of 30) than in the signature at the bottom
make a total of $42 an amount which breaks down as follows: $2 show up              condition (63%, 19 of 30), χ 2(1, n = 60) = 4.27, P < 0.04.
fee, $20 on math puzzles task minus a 20% tax on income (i.e., $4), $12 as             Fig. 2 depicts actual performance on the math puzzles task and reported
credits for travel time, and $12 as credits for cost of commute.                    performance on the tax return form, by condition. This difference (a mea
Opportunity to cheat on the tax return form. The experiment was designed such       sure for cheating) was lower in the signature at the top condition (M = 1.67,
that participants could cheat on the tax return form and get away with it by        SD = 2.78) than in the signature at the bottom condition (M = 3.57, SD = 4.19),
                                                                                                                                                                          PSYCHOLOGICAL AND
                                                                                                                                                                          COGNITIVE SCIENCES




overstating their “income” from the problem solving task and by inﬂating            t(58) = 2.07, P < 0.05.
the travel expenses they incurred to participate in the experiment. When               The deductions participants reported on the tax return form followed the
participants completed the ﬁrst part of the experiment (problem solving             same pattern and varied signiﬁcantly by condition, F(1, 58) = 7.76, P < 0.01, η2 =
task), the experimenter gave them a tax return form and asked each partici          0.12: they were lower in the signature at the top condition (M = 3.23, SD =
pant to go to a second room with a second experimenter to ﬁll out the tax           2.73) than in the signature at the bottom condition (M = 7.06, SD = 7.02).
form and receive their payments. The tax return form included a one digit           Word fragment task. Participants who signed before ﬁlling out the tax form
identiﬁer (one digit in the top right of the form, in the code OMB no. 1555         generated more ethics related words (M = 1.40, SD = 1.04) than those who


Shu et al.                                                                                             PNAS | September 18, 2012 | vol. 109 | no. 38 | 15199
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 124 of 1282

signed after ﬁlling out the form (M = 0.87, SD = 0.97), F(1, 58) = 4.22, P < 0.05,            number of miles driven (our main dependent variable), we subtracted the
η2 = 0.07, suggesting that ethics are more salient when participants signed                   odometer reading that was in the insurance company’s database from the
before rather than after the temptation to cheat.                                             self reported current odometer reading we received from our audit forms.
Mediation analyses. We also tested whether ethics related concepts (our proxy                    Although there was no explicit statement on the policy review forms
for saliency of moral standards) mediated the effect of condition on the                      linking car use to insurance premiums, policyholders had an incentive to
extent of cheating. Both condition and the number of ethics related concepts                  report lower use: the fewer miles driven, the lower the accident risk, and the
were entered into a linear regression model predicting extent of cheating                     lower their insurance premium. Thus, when ﬁlling out the automobile policy
measured by the level of overreporting of income. The mediation analysis                      review form, customers likely faced a dilemma between honestly indicating
revealed that the effect of condition was signiﬁcantly reduced (from β =                      the current odometer mileage, and dishonestly indicating lower odometer
  0.262, P < 0.05 to β = 0.143, P = 0.23), and that the number of ethics                      mileage to reduce their insurance premium. We hypothesized that signing
related concepts was a signiﬁcant predictor of cheating (β = 0.456, P <                       before self reporting makes ethics salient right when it is needed most.
0.001). Using the bootstrapping method (with 10,000 iterations) recom                         Therefore, we expected that customers who signed the policy review form
mended by Preacher and Hayes (4), we tested the signiﬁcance of the indirect                   ﬁrst, before ﬁlling it out, would more likely be truthful, and reveal higher use,
effect of condition on dishonest behavior through the activation of ethics                    compared with those who signed at the end, after ﬁlling it out.
related concepts. The 95% conﬁdence interval for the indirect effect did not
                                                                                                 Completed forms were received from 13,488 policies for a total of 20,741
include zero ( 1.85, 0.04), suggesting signiﬁcant mediation.
                                                                                              cars. A single policy could cover up to four cars; 52% of policies had one car,
    Additionally, we computed the z score measure for both the deductions
                                                                                              42% had two cars, 5% had three cars, and less than 0.3% had four cars. If
claimed and the magnitude of cheating on the math puzzles for each par
                                                                                              a customer’s policy had more than one car, we averaged the reported
ticipant. We averaged the two measures to form an index for each indi
                                                                                              odometer mileages for all cars on the same policy. As hypothesized, con
vidual’s extent of cheating. Both condition and the number of ethics related
                                                                                              trolling for the number of cars per policy [F(1, 13,485) = 2.184, P = 0.14],
concepts were entered into a linear regression model predicting extent of
                                                                                              the calculated use (based on reported odometer readings) was signiﬁcantly
cheating measured by this composite index. The mediation analysis revealed
                                                                                              higher among customers who signed at the beginning of the form (M =
that the effect of treatment condition was signiﬁcantly reduced (from β =
                                                                                              26,098.4, SD = 12,253.4) than among those who signed at the end of the form
  0.424, P = 0.001 to β = 0.344, P = 0.005), and that the number of ethics
related concepts was a signiﬁcant predictor of cheating (β = 0.308, P = 0.011).               [M = 23,670.6, SD = 12,621.4; F(1, 13,485) = 128.631, P < 0.001]. The average
Using the bootstrapping method with 10,000 iterations (4), we found that the                  difference between the two conditions was 2,427.8 miles. The results also hold
95% conﬁdence interval for the indirect effect did not include zero ( 0.29,                   for the use of the ﬁrst car only [signature at the top: M = 26,204.8 miles, SD =
  0.01), suggesting signiﬁcant mediation.                                                     14,226.3 miles and signature at the bottom: M = 23,622.5 miles, SD = 14,505.8
    Using an implicit measure of ethical saliency, this experiment shows that                 miles; t(13,486) = 10.438, P < 0.001].
signing before the opportunity to cheat increases the saliency of moral                          Asking customers to sign at the beginning of the form led to a 10.25%
standards compared with signing after having had the opportunity to cheat;                    increase in the calculated miles driven over the current practice of asking for
subsequently, this discourages cheating.                                                      a signature at the end. An alternative explanation for our ﬁndings could be
                                                                                              that this difference is due to extra diligence of customers in the treatment
Experiment 3: Participants and Procedure. We conducted a ﬁeld experiment                      condition relative to customers in the control condition, rather than higher
with an insurance company in the southeastern United States asking some of                    rates of deliberate falsiﬁcation of information among customers in the
their existing customers to report their odometer reading.                                    control condition. That is, perhaps those who signed at the top of the form
   When a new policy is issued, each customer submits information about the                   were actually checking their odometers, whereas those who signed at the
exact current odometer mileage of all cars insured under their policy, along with             bottom of the form simply estimated their mileage without actually checking
other information. For our audit experiment, we sent out automobile policy                    their cars. To address this possibility, we compared the last digits of the
review forms to policyholders, randomly assigning them to either the original                 odometer mileage that customers in the two conditions reported. Speciﬁ
form used by the insurance company or to our redesigned form. The original                    cally, we ran analyses examining whether the two conditions differed in the
form asked customers to sign the statement: “I promise that the information I                 number of instances wherein reported odometer mileages ended with 0, 5,
am providing is true,” which appeared at the bottom of the form (i.e., after                  00, 50, 000, or 500. Numbers that end with these digits indicate a higher
having completed it; control condition), whereas our redesigned form asked                    likelihood that customers simply estimated their mileage. We detected no
customers to sign that same statement but at the top of the form (i.e., before                statistically signiﬁcant differences between our two conditions in the
ﬁlling it out; treatment condition). Otherwise, the forms were identical.                     instances in which these endings appeared (pooled measure: treatment,
   The data ﬁle that we received from the insurance company included a                        19.9% vs. control, 20.8%; χ2 = 2.5, P = 0.12).
random identiﬁer for each policy, an indication of the experimental condi                        An important consequence of false reporting of this type is that the costs
tion, and two odometer readings for each car covered (a maximum of four                       extend beyond the insurer to its entire customer base including the honest
per policy). The ﬁrst odometer reading was based on the mileage information                   policyholders who bear the ultimate burden of paying for others’ dishonesty.
the insurance company previously had on ﬁle, whereas the second was the                       Using a ﬁeld experiment, we demonstrate that a simple change in the location
current odometer reading that customers reported. The data ﬁle did not have                   of a signature request can signiﬁcantly inﬂuence the extent to which people
the date of the ﬁrst odometer reading (it also did not have any of the other                  on average will misreport information to advance their own self interest.
information requested on the policy review forms). Consequently, our
measure of use was somewhat noisy, as the miles driven per car have been                      ACKNOWLEDGMENTS. The authors thank Jennifer Fink and Ruth Winecoff
accumulated over varying unknown time periods. However, because we                            for help with data collection, Madan Pillutla for generous feedback and
randomly assigned customers to one of our two conditions, such noise should                   thoughtful comments on earlier drafts of the paper, and the Fuqua School
be evenly represented in both conditions. To calculate each car’s use or                      of Business and Harvard Business School for their ﬁnancial support.


1. US Department of Treasury (2009). Update on Reducing the Federal Tax Gap and                9. Duval TS, Wicklund RA (1972) A Theory of Objective Self Awareness (Academic, New York).
   Improving Voluntary Compliance. Available at http://www.irs.gov/pub/newsroom/              10. Festinger L, Carlsmith JM (1959) Cognitive consequences of forced compliance.
   tax_gap_report_-ﬁnal_version.pdf. Accessed August 2, 2012.                                     J Abnorm Psychol 58:203–210.
2. Coalition Against Insurance Fraud (2006) Coalition Against Insurance Fraud Annual          11. Bandura A, Barbaranelli C, Caprara G, Pastorelli C (1996) Mechanisms of moral dis-
   Report (CAIF, Washington, DC).                                                                 engagement in the exercise of moral agency. J Pers Soc Psychol 71:364–374.
3. Mazar N, Amir O, Ariely D (2008) The dishonesty of honest people: A theory of self-        12. Bassili JN, Smith MC (1986) On the spontaneity of trait attribution: Converging evi-
   concept maintenance. J Mark Res 45:633–644.                                                    dence for the role of cognitive strategy. J Pers Soc Psychol 50:239–245.
4. Shu LL, Gino F, Bazerman MH (2011) Dishonest deed, clear conscience: When cheating         13. Tulving E, Schacter DL, Stark HA (1982) Priming effects in word-fragment com-
   leads to moral disengagement and motivated forgetting. Pers Soc Psychol Bull 37:330–349.       pletion are independent of recognition memory. J Exp Psychol Learn Mem Cogn 8:
5. Haley KJ, Fessler DMT (2005) Nobody’s watching? Subtle cues affect generosity in an            336–342.
   anonymous economic game. Evol Hum Behav 26:245–256.                                        14. Preacher KJ, Hayes AF (2004) SPSS and SAS procedures for estimating indirect effects
6. Rigdon M, Ishii K, Watabe M, Kitayama S (2009) Minimal social cues in the dictator             in simple mediation models. Behav Res Methods Instrum Comput 36:717–731.
   game. J Econ Psychol 30:358–367.                                                           15. US Department of Transportation (2009). Ofﬁce of Highway Policy Information,
7. Bateson M, Nettle D, Roberts G (2006) Cues of being watched enhance cooperation in             Federal Highway Administration. Available at http://tinyurl.com/UShighwaystats.
   a real-world setting. Biol Lett 2:412–414.                                                     Accessed August 2, 2012.
8. Kettle KL, Häubl G (2011) The signature effect: Signing inﬂuences consumption-re-          16. Thaler RH, Sunstein CR (1998) Nudge: Improving Decisions about Health, Wealth and
   lated behavior by priming self-identity. J Consum Res 38:474–489.                              Happiness (Yale Univ Press, New Haven, CT).




15200 | www.pnas.org/cgi/doi/10.1073/pnas.1209746109                                                                                                                          Shu et al.
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 125 of 1282




                            $SSHQGL[&
+%6,QWHULP3ROLF\DQG3URFHGXUHVIRU5HVSRQGLQJWR$OOHJDWLRQVRI
                      5HVHDUFK0LVFRQGXFW
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 126 of 1282
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 127 of 1282




  !$%$%! '&$#'$%&&/

      7 $%  &"$&'$$!"&"$&%!&$( &$%$!' &+.
      7 $%"!  &!&&&$%$%! '& & &! +- !) +-!$$%%+. 
      7 &! "$!( +"$"! $ !&( 0

%&$'&! !$%$$!$%-% !$%$$!$%-!$$%"!  &;%'$&!"$!(
$%$$!$%#'&+!' & &#'%&! $%$%( !$%$%! '&
)$& %&&'&! %&%%+"$"! $ !&( &&&$%"!  & & &! +-
 !) +-!$$%%+$%$$!$% %&$!+&-&!""!$&' &+&! & &
$!$%'& !&!%!-!$ & &$!$% &!"$!'& &+ $ 
&&&$%"!  &;%! '&! %&&'&%%  &"$&'$$!"&"$&%!&
$( &$%$!' &+0

  $%&'$ !"$!!!$   !$%$%! '&0$%"!  &%&
'$ !"$!( -+"$"! $ !&( - + $&( %%$%8%'%
! %&$$!$90

  ('%%'&&!&%"!+!' &!(!&&$%$%! '&+%'&&!
% &! %'"&!  ' &$ &! 0

0       &#"!&','"#"%' &"!('

 ('%%'&&!&% !+)$"!$&!%$(-%'%"&-!$""$ &$%$%! '&&!
&%$ &$&+ $8 90   ('%' %'$)&$%'%"&  &%)& 
& &! !$%$%! '&-&& ('+&)&!$! &&& &!%'%%&
%'%"&$%$%! '& !$+-)+ '%'%% & ! +!'%+ 3!$
+"!&&+0 &$'%& %%$+& ('! !&&& &! !$%$
%! '&-& & +$$& ('!$&! &!!&$!%!$!%-)$
""$!"$&0

0       ""#%'"!*'&% &"!('%"!&

 ('%%'&&!&% !+%!!"$&)&&  !&$ %&&'&! !% &
$()!&! % &! '&! #'$%  (%&&! %0 ('%%'&&!&%
  !+- ' $%"!  &%-( !&! &!"$!(( $( &&!$%$%! '&
&! %&!& !$!&$ %&&'&! !%0

0       (','" !'!"!!'',

'%!&"!& &!"$+&!&$"'&&!  $&%!$%"!  &-&  
!&&$%8%  &% !+9%)%!&$%& )!+ (!( &
$%$%! '&"$! %&!&*& &"!%%/8>9&%!%'$!& &&+!
$%"!  &% !"  &%&!&!%)! &! !) !$$&!$$+!'&&!$!'-!"& &-
!&(- $$%$%! '&"$! . 8?9*"&%!&$)%"$%$+)-&
                                      

    !#<:<;0<:<<(!)# "!#!#( !"""2            
                 3,


                                                                                                         <
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 128 of 1282




&%!%'$! +$!$%!$( $!)$%$%'&%& &&!&!%)!
  &! !) !$$&!$$+!'&$%$%! '&"$! 0$!' &! %!'&
$%$%! '&"$! %+! %$ %%$+!$(%- ($%&+!%%!'
'+&'  $ "%!$!' &!  %$ %! '& $! %0
   ""$!"$&%% &! ! !$&! +$%'& % &! %'"&!  ' &$ &! 0

0      '&!&#"!&'&"" #!!'

!"  &%$%"! %!$ &! % !!&- &  !  &&+- 
!!"$& )&& #'$+  (%&&! 0 & #'$+!&&%& %%$+-&
!"  &+ &$()&& #'$+%& -%!-)( &&$ %$"&!$$!$ 
!& &$()!$!$$&! 0!"  &!$ $+) &$()'$ & (%&&! 
"%- ( &&$ %$"&!$$!$ !& &$()!$!$$&! 0&$  &! 
!$%$%! '&-&!"  &%$%"! %!$"$!( (   !$&!  
! &! )&&$%$%! '&"$!%%'&% !& &&&!$( !$&! !'&&
%&&'%!$!'&!!&&"$!%%0

0      '&!&#"!&'&"&#"!!'

$%"!  &%$%"! %!$ &  !  &&+ !!"$& )&&! '&! 
 #'$+  (%&&! 0$%"!  &% &&&!&"$!'$$&% "$!&&! %%&!$& 
&% !+0%"!  &%+!!%'"&!&)!"$%! (%!$%!$%'""!$&'$ &"$!%%0
  $%! (%!$%+&&!$ +%.&++ !&"$ "%!$)& %%% &$%$%! '&
&&$0 $%! (%!$%+"$% && +"$! %!$ &$()%&&&$%"!  &&& %
'&+ !&#'%&! )& %%%!$!&$)%&"$& &$%$%! '&"$! %0

$%"!  &%!'( &!""!$&' &+&!&&&$%$%! '&!'$$ &&
&+!&&&$%$%! '&0&&(!&  3!$!&$ %&&'&! !%-
& !$&$% +  ;%$()! &! &&% &&0

0      %"''!" #!!'&-'!&&&-' -!"        ''  %&

   !' &+$%+ !&$&&  +)+ %&!"  &%-)& %%%-& -!$
!&&$%0 +!$""$ &$&&!  %&!"  &%-)& %%%-& -!$
!&&$%%!'$"!$&&+&!&
 8!$&!& ;% -%""9-)!%$()&&&$ -% %%$+-
$%!  "$&!$&%&!!' &$ +"!& &!$&'$&&!  "$!&& $%&!$
&"!%&!  $"'&&! !&"$%!  %&)!&$&&! %$&0

  0    % !%,&&&& !'"'"!&

"! $(  &! !$%$%! '&-& &+)%%%%&&! &!
&$ )&$&&! /
                                   
    
     ##"+//",%!,!%!,$/"/%!0
    $#"/"/$1!"1!1$#11!"!1"$#1!",




                                                                                                         =
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 129 of 1282





     7 %)& & &! !$%$%! '&- 
     7 %%' &+$ %"%!&&"!& &( !$%$%! '&+
         &0

  #'$+'%&! '&&%$&$$&0

  -'"! $"&! &&! -&""$%&&& % +' $%!("$%! -"$!%%! -!$
  ! &%! &$%&)&&!% (!( &&! %-&  !&$#' ('
%""! &+& !$&$% &!%$(% &$ )&$%"&&!$() &
&!  ! '&  +$%$%! '&"$! 0

%%%% &"$!%!'$-"$$+! ')& )0$&% !&%&!
! '&%%%% &)& )-&"$!%%%!'"$!*"&!'%+0 ! '& &
%%%% &-&% !& %%$+&! &$()&!"  &-$%"!  &-!$!&$)& %%%-!$&!
&$&+!  +&&+( %'&&)&&&! -*"&% %%$+&!
&$ )&$&&! %%' &+$ %"%!&&"!& &( !
$%$%! '&+ &0"$ $+%%%% &%!' & $!$%
"$&  &!&$()!&! %)$& +& !$"$!!%( 8D9+$%
!!) &!"&! !&"$! 0

0       $(&'%'"!"&%"%&! "''"&#"!!'

0       $(&'%'"!"&%"%&

% !+!($ %%%&!$%$$!$%- ' )&!'&&&! $!$%-!$"'$"!%%
!! '& $%$%! '&"$! %0!%   %&$ &% !+(
$&% %%$+&!%%$%$$!$%$&!$ & + ('%
%'&&!&% !+0

%&!& -! !$!$&&! )&$%"!  &% !&-!$& #'$+ %-)($
%$$-& '%&&$%!  "$&%&"%&!!& '%&!+!&$%$
$!$% (  &!! '&&$%$%! '&"$! 0 %!%
%#'%&$ +&! $%$$!$%&&!"$&  &&!  #'$+!$ (%&&! &$&
 &%#'%&$&! 0

 %$%"! %!$ ( &!$+ &$!$% (  %#'%&$ & %'$
 $0 $""$!"$&- %(&$%"!  &!"%!-!$$%! %'"$(%%%
&!-&$%$$!$%0

                                     

  !!#)!%!6" (""##!!#"("##"###"#(#
!%&"!"!"$##", #)#!%"##" "$#),>,

  !%!6" "!# &!" ("!##-#%!"#(""!#"&!"%!!"!#
!!#"$###%!"#()$!#$""#%!"#()!&#%!"#(!"$!").
$!#!"##"##-4&5#"""!(#"$!""2,,$!!"!"$#!3#
%!"#((#$"#(!"!#,. ( !$!") #;,),<,
  &%!)&!#!"!!!"!%"""#"#!$#""!($!$"!")
$"#((##"##!%"$"#!$#")""#""!


                                                                                                                      >
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 130 of 1282





0         "''"&#"!!'

&&&!!$!$    #'$+-& '%&!!&!$&&! !&+&
$%"!  & )$& -&$%"!  &% !) 0 & #'$+%'%#' &+ &%&! 
$%"!  &%-&+'%& !& )$& 0

 0       !$(%,

0        !''"!!(%#"&"' !$(%,

"'$"!%!& #'$+%&!! '&  &$()!&(( &!&$ )&$
&!! '&  (%&&! 0  #'$+!% !&$#'$'$()!&( $&&!&
&! 0

0       ##"!' !'"' !$(%,"         ''

 #'$+!&&)""! &+& !$&$% - ! %'&&! )&!&$
 %&&'&! !%%""$!"$&- )! %%&!! !$!$ ('%)!! !&(
' $%!("$%! -"$!%%! -!$  ! &%! &$%&)&&!% (!()&&$%$
%! '&"$! 0 #'$+!&&%!' ' ('%)&&""$!"$&%'&4
&&$*"$&%&!/('&&(  %%'%$&&!&&! . &$()&"$ "%
 +)& %%%. ! '&& #'$+0  %%$+&!%'$& %%$+*"$&%!$&!
(!! &%! &$%&-& !$&$% +%&!&&$%$!!'&%&
 %&&'&! 0

  $!$&!& &&! !& #'$+-&$%"!  &) !& )$& !& #'$+!&&;%
$%" %!$(8B9 $+%&!!!&! %%'"! !&&
$;%"$%! -"$!%%! -!$  ! &! &$%&0 !$&$% )
& &$ &! !)&$! &*%&%0

0       %'"'"       ''!%&' '!

 )"$"$$!$& #'$+!&&&&%&%!$&&"'$"!%!& #'$+ 
&*"&&$-&!&&;%$%"! %&%-&&! %-  +$&%%'%
 &'$ &"$ $+%%%% &0$%!% !$&!&&&& 
 (%&&! %)$$ &&!&&&$ %-%! &%$()'$ & #'$+-&&/8>9
&$%$%! %%!$! ' &&&&! %)& & &! !$%$
%! '&. 8?9&"$ $+ !$&! 4&$  "$ $+&4  $!& #'$+
 &%&&&&! +(%'%& 0

&&!&&;%$%&& -& )$()&$)&&!&&-%'%%&
&! %- +$&%%'%- &""$!"$&"$!'$%!$! '& & #'$+-%%%&&
!&&)&!$ , " %!$& #'$+-  %)$ +#'%&! %$%+&!&&0
 )"$% &!$(&$!'!'&& #'$+&!(%&!&&% 0

                                     
"$"##( $%###%#!(%$#"#!$#",


                                                                                                           ?
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 131 of 1282




0         !$(%,%"&&
          
 #'$+!&&!$ $+) &$()&!"  &- +-&$%"!  &- +
)& %%%%)%* $( &$%$$!$% &$%0 + &$()%)$!$!$
&$ %$-)&$!$ %!$&$ %$"&%"$!(&!& &$()!$!$$&! 0 & #'$+
!&&)('&&( - ' &&%&! +!& '$ & #'$+0 
! %'&&! )&& -&!&&$%))&$  (%&&! %)$$ &
%! &$&$ &% !+0

%!"!& #'$+% !&$#'$&! !% !& !$+ ' )&$%! '&
 &+!'$$-&$   &+)!!&&&$%$%! '&-!$! '& 
*'%&( &$()%  +%%0  !)($-+%' &%%! !$%$%! '&%
+&$%"!  &-%! '&+&$ && #'$+%&$( &%%'%$
$%!(0

0        !$(%,#"%'

)$&&  #'$+$"!$&'%&"$"$&& '%&!!)  !$&! /8>9&  
"!%&! !&$%"!  &.8?9%$"&! !&&! %!$%$%! '&.8@9&'  
%'""!$&- ' )&!'&&&!  +$ & '$%-$ &""&! %-! &$&% "'&! %
%& %'""!$&.8A9&%%!$$!  !$ !&$!  &&&&! %)$$ & 
 (%&&! .8B9 +! &%! &$&$"!$&+&$%"!  &0

 ! $!' %%(&!(%& #'$+!&& & )&
$%"&&!&$"!$&0 !&! %%!'%""$!"$& ! %'&&! )&&  &
 #'$+!&&0

0          "''"!"'&('&"' !$(%,.##"%'(!','""     !'

 % !&+&$%"!  &%&!)&$& #'$+!'   (%&&! &!)$$ &-
 '!"+!&$& #'$+$"!$&!$! &)& >='% %%+%-  '!"+!!$
 &!&% !+0

%! &! &%-& #'$+!&&+$(%&$&$"!$&%""$!"$& "$"$
&  !$0 +! &%&&$%'&&+&$%"!  &)&&&!&  #'$+
$"!$&0!&&)($& $"!$&&!& 0

0         !&''('"!&"!! "''"!

     >0       "  5 )&$ %&&  #'$+$"!$&  +
               ! &%&!& !$&$% -)!))$&& &$ &! %&!
               )&$  (%&&! %)$$ &0 #'$+%!"&) &%&$ &! %
               0 ) !&+ %&&'&! !%)!( &! !)!&%! 0
                                     
 "#%)%"##"&!!#####!")"#"!%&$!#
 $!()##+2;3#!"!"""!$####"&###!"!
"$#*2<3#!!(!#0#!!!(#0!# $!(#"
####(%"$"#,


                                                                                                                        @
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 132 of 1282




         
         ?0          5   (%&&! % !&)$$ &-& 
                  %%'$  & !$D+$%&$&&$ &! !& #'$+%' &+
                  &!' &&! !& #'$+&!"$&&$%%%% &!&$%! %)+ 
                   (%&&! )% !&! '&0

    0          "%" #'"!

 #'$+- ' "$"$&! !&  #'$+$"!$& &%! ! )&$ 
 (%&&! %)$$ &-'%&!"&)& C= $+%! &&! !& #'$+-' %%
& &$ %&&$'%& %$+)$$ &! $"$!0  *& %! %""$!(-&
 #'$+$!$'%& '!' &&! !&$%! %!$* &C=4+"$!0

 0      "!('!' !)&''"!

0        !''"!!(%#"&

 (%&&! !$ $+%!' %!$&+&$!"&! !& #'$+  !&$& @=
 $+%&$&&$ &! &&  (%&&! %)$$ &0 !$!$&&! 
)& (%&&!  %-& '%& !&+&$%"!  & )$& !&&! %&!
 (%&&0

"'$"!%!& (%&&! %&!(!"&'$!$+*"!$ &&! % & 
*  &(  "&- &!$!   %! )&$$%$%! '&
% !&&-+)!- &!)&*& &0 (%&&! !&&%"'$%' &+
%  &%%'% %%!($&&$&$ $( &&!& (%&&! - ' 
 +( !&!  %& %!"!%%$%$%! '&- ! & '& (%&&! &!
!"&! 0  )&! %$ &-& '%&%!(&$%"!  &)$&&  !&!
%'&! %)& $%! !' &!&! &!"'$%'&! % !&$%%
'$ & #'$+!$ & & !&!& (%&&! 0

0       $(&'%'"!"&%"%&

    !$!$&&! )&$%"!  &% !&-!$& (%&&!  %-)($%
$$-& '%&&$%!  "$&%&"%&!!& '%&!+! %#'%&$ 
%'$ $&$%$$!$% (  &!! '&&$%$%! '&
"$! &&)$ !&"$(!'%+%#'%&$'$ & #'$+0 !$&! 
%#'%&$&! !$!$%+!'$!$ + '$!$%! %- ' & %&&'&! ;%%! &!
 (%&&&! &! % !&! %$'$ & #'$+%&!$ &&! !$!$%
'$ & #'$+"$!%%&& !& "$(!'%+%'$0"$!'$%&!!!)!$
%#'%&$&! '$ & (%&&! $&%"$!'$%&&""+'$ & #'$+0

0       ##"!' !'"' !)&''"!"         ''
     
 !$&$% - ! %'&&! )&!&$ %&&'&! !%%""$!"$&-)""! &
 ! (%&&! !&& !&&$0 (%&&! !&&'%&! %%&!
 ('%)!! !&(' $%!("$%! -"$!%%! -!$  ! &%! &$%&)&
&!% (!()&& (%&&!  %!' ' ('%)&&""$!"$&%'&4&&$


                                                                                                            A
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 133 of 1282




*"$&%&!/('&&(  %%'%$&&!&&! . &$()&$%"!  & 
!"  &. ! '&& (%&&! 0 ('%""! &&!& (%&&! !&&%!
+(%$(! & #'$+!&&0  %%$+&!%'$& %%$+*"$&%!$&!
(!! &%! &$%&-& !$&$% +%& (%&&! !&&$%$!
!'&%& %&&'&! 0

  $!$&!& &&! !& (%&&! -&$%"!  &) !&!& (%&&! 
!&&;%$%" %!$(8B9 $+%&!!!&! %%'"! 
!&&$;%"$%! -"$!%%! -!$  ! &! &$%&0 !$&$
% )& &$ &! !)&$! &*%&%0

0       %'"'"       ''!'%&' '!

     >0      $&!&!&&5 ) &%'&&&$!& (%&&!  
              )$&& $&!&!&&&&%$%&&! % $&%%'% &
              '$ & #'$+. &%&$%"!  &. !$%&!&&&&&'%&! '&
              & (%&&! %"$%$+&% !+. %$%$%! '&.  %&$'&%&
               (%&&! !&&! &'$ !"$!!0$%%&&&&&!&&
              %&!('&&(  &%&! +!&$%"!  &-!"  &- +
              )& %%%&!&$ )&$-%! "$"! $ !&( -$%$
              %! '&!'$$ -%!-&!)&*& &-)!)%$%"! %- &%%$!'% %%0
               +-&$% !$&!&&&&&'%&"$"$)$&&  (%&&! 
              $"!$&&&&%&$#'$ &%!&% !+0

     ?0      $%& & 5&&!&&;%$%&& -& )$()&$-& #'$+
              $"!$&- &"$%$"$!'$% %& $%!$&! '&!& (%&&! -
               ' & %%&+!$!  &&+ !$(!" %" (%&&! " 0
               (%&&! !&&)"$!()&!"+!&% !+ -""-
              $$'&! %0 )"$% & (&$!'!'&& (%&&! &!
              (%&!&&% 0

0        !)&''"!%"&&

 (%&&! !&& & '%&/

      7 % &!$&%&! %'$&&& (%&&! %&!$!' %' &+!' & 
           '%* &! !$%$$!$% ( $( &&!$ %! ! &
          $&%!&! .
      
      7 $%! %&"%&! %'$ "$& ' % (%&&! &!&*'*& &
          "$&.
      
      7 $$%"!  &-!"  &-  +!&$("$%! )!% $%! +
           &%(  !$&! $$  +$( &%"&%!& (%&&! - ' 
          )& %%% &+&$%"!  &-&!""!$&' &+&! &$().$!$!$&$ %$
           &$()."$!(&$!$ !$&$ %$"&&!& &$()!$!$$&! . 
           '&$!$ !$&$ %$"& &$!$!& (%&&! . 
      


                                                                                                          B
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 134 of 1282




     7     '$%' &+%  &%%'% %%!($&&$&$ $( &&!&
           (%&&! - '  +( ! +&!  %& %!"!%%$%$
          %! '&- ! & '& (%&&! &!!"&! 0

0      !)&''"!#"%'

 (%&&! !&& & $$%"! %!$"$"$ )$&& $&$"!$&!&
 (%&&! &&/

     7 %$%& &'$!&&! !$%$%! '&- '  &&! !&
        $%"!  &0
     
     7 %$% !' &%  %'""!$&!$&$%$%'&&!&&! %- ' 
        )&!'&&&! & '$%! +$ &%&&$ (!(-$ &""&! %-! &$&%-
         "'&! %%& %'""!$&.
     
     7 %$%&%"&! %!$%$%! '&! %$ & (%&&! .
     
     7 '%& %&&'&! "!% "$!'$%' $)& (%&&! )%! '&.
     
     7  &% %'$,%&$%$$!$% ( $()  &% +
        ( &  &!'%&!+'& !&$(). 
     
     7 '%%&& &!  %!$&! !$%$%! '& &'$ &
         (%&&! 0%&& &!  %'%&/8>9 &+)&$&$%$%! '&
        )%%&! -$&! -!$"$%- )&$&)%!&& & &! +-
         !) +-!$$%%+.8?9%'$,&&% & +%%&&%'""!$&&! '%! 
         ! %$&$&%! +$%! *" &! +&$%"!  &- '  +!$&
        +$%"!  &&!%&%+"$"! $ !&( &&&+ !&  
        $%$%! '&'%!! %&$$!$!$$ !!" ! .8@9 &+&%"
        '  %'""!$&8 +9.8A9 &+)&$ +"'&! % !$$&! !$$&$&! .8B9
         &+&"$%! 8%9$%"! %!$&%! '&. 8C9%& +'$$ &%'""!$&!$ !) 
        ""&! %!$"$!"!%%!$%'""!$&&&&$%"!  &%"  )&$ %!$
        *&$ ' $%0
     
     7 '%$!  %&&'&! &! %0

 ! $!' %%(&!(%& (%&&! !&& & )&
$%"&&!&$"!$&0 !&! %%!'%""$!"$& ! %'&&! )&&  &
 (%&&! !&&0

0     "     !'&"!'%'#"%'!&&'")!

    >0     %"!  &5 )(&$%"!  &!"+!&$& (%&&! $"!$& 
            *&%!$! & -! '$$ &+-!"+!!$%'"$(%%%&!&( ! 
            )&$"!$&%%0$%"!  &)!)@=+%$!$"&!&$&
            $"!$&&!%'&! &%&!& 0$%"!  &;%! &%'%& ' 
            ! %$ & $"!$&0


                                                                                                               C
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 135 of 1282





    ?0     !  &&+5 %&$'& &$&$"!$&&!&$%"!  &!$! &-& )
            $ &$%"!  &!&!  &&+' $)&$&$"!$&%(
             +%&%$%! ! &! %&! %'$%'!  &&+0

   0    &"!,!

  (%&&! $"!$&)%'&&&!& -)!))$&& &$ &! %
&!/8>9)&$& %&&'&! "&%& (%&&! $"!$&-&%  %- &$! 
 %&&'&! &! %. 8?9&""$!"$& %&&'&! &! % $%"! %&!&"&  %!
$%$%! '&0 &%&$ &! ($%$!&  %!& (%&&! !&&-&
 )*"  &&%%!$$ $ %! $ &$!&  %!&
 (%&&! !&&0&$ &(+-& +$&'$ &$"!$&&!& (%&&! !&&
)&$#'%&!$'$&$&4  !$ +%%0

  %! ! &%% $-&$%"!  &) !& )$& 0
 - ! %'&&! )& %&&'&! !%% -%!)&$ )&$$( &"$&%
%!' !&!&!'&!!&%- ' "$!%%! %!&%-&!$%!!'$ % 
)%$"!$&%+( "'%-!!$&!$%!&$%"!  & &)!$-
"$!%%!  % !$%-!$) !$ & %-0

  0      !&''('"!'"!&

&$&$ &! !$%$%! '&%-& +! ""$!"$&&! %&!
& - ! %'&&! )&!&$%&& ($%&+%""$!"$&0 &! %!$$%$%! '&
%%! &%$!'% %%!&%! '&- ' '& !&&&!-&$&!)
&%! '&/9)% & &! - !) -!$$%%.9)% %!&( &!$"$&!"&&$ .
 9%  &"&! &$%$$!$-$%$%'&%-!&$$%$$%- %&&'&! %-
!$&"')$0$ ! %&$&(&! % '%-'&% !&&&!-&!$$&! 
!&"'$!$ ' &)&$)!$!$$&! !"  !$"'%%&$&% 
""$% & $!&$%$)$%! '&)%!' .$!(!&$%"! %"$%! 
$!&"$&'$"$!&-%"! &!$ !'&'$)!$-"$!&! -%'%" %! -()&!'&"+-
%$+$'&! -!$ &&! !%&"% &!$ $'&! !$&$ &! !"!+ &.
$%&&'&! !' %%""$!"$&.%'%" %! !$&$ &! ! &()$. !&$&! 
""$!"$&&!&$%$%! '&0!$%% (!( $%$%! '&+%&' &%-% &! %
%&$ +&""$!"$&%&' &%" $+!$0

  0      "%" #'"!

 (%&&! !$ $+%!"&)& >?=+%!  &- ' ! '& &
 (%&&! -"$"$ &$&$"!$&!  %-"$!( &!$! &- , &$"!$&- 
  %%$+ !&&! %0 !)($-& &$ %&&& (%&&! ) !&
!"&)& &%>?=4+"$!-&$&! !$&+)!' &0

  0     !'%  !&''('"!'"!&
       
$!'!'&&$%$%! '&"$! -& )$()&%&'&! &!&$ &$
% +&$&!$&!& &$&+!&$%$"$!%%0 &( &!%'&$&-& )-


                                                                                                         ;:
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 136 of 1282




 ! %'&&! )& %&&'&!  !&$!%-% %%$+-&""$!"$& &$&! %&!
"$!&& %& +%'&$&0

    &$&! & '/&! ! &!$ !&$%$"$!%%.$%%  &!"$%! .
&! $()!$%$& $%'&%.!$+ "'&! 0

0       " #'"!"&&

 $+- #'$%  (%&&! %)$$&$!'&!!"&!  %  &%%'%
)"'$%' &+0

 0      '%"!&%'"!&

0       % !'"!"%&!'"!%"%'"" #'! !$(%,"% !)&''"!

&$ &! !&$%"!  &;% "!+ &-+$% &! !$!&$)%-!$!$&$ 
&! !"!%%$%$%! '&% $"!$&-) !&"$'!$&$ &&
$%$%! '&"$! !$!&$)%& +! ;%$%"! %&%&!"'$%'&! %0

  &$%"!  &-)&!'&&& &!&%! '&-&%&!$% &$%"!  &;%"!%&! &$
   $(% &! !$%$%! '&-&%%%% &!&&! )"$!-%)
%& #'$+  (%&&! -%""$!"$&%! &!'&!!&"$ %&"%0 &
$%"!  &$'%%&!"$&"& &"$!%%&$$% &! -&   + #'$+!$
 (%&&! !&&)'%&$%&!$&%&!$! '%! ! $  &&! %-
   !&  &$"!$&&$%"!  &;%'$&!!!"$& &%&! &( 0

0       &'"%'"!"'&#"!!'1&#(''"!

!!)    ! !$%$%! '&-& '%&-&&$#'%&!&$%"!  &-
' $&$%!  "$&!$&%&!$%&!$&$%"!  &;%$"'&&! 0

0       '"!& "' !""'

  $( &-& !$&$% )&$ )&$&!"  &;%&! %!$%$
%! '&)$ !!&-!$)&$)& %%!$!&&$& !!&0 
& !$&$% &$ %&&&$)% % !!!&-& !$&$
% )&$ )&$ + %&$&(&! %!'&  %&&"$%! )!
&!& !!&0

0          !'!!"%&

   % & &$!$%!$%$%! '&"$!  %'$ $'$ &%
"  + !$%( 8D9+$%&$!"&! !&"$! !$!"&! ! + +
!($%&"$! -!$%$#'$+ +""$!$$& &! "$!(%! -)($%&$0

                                  




                                                                                                         ;;
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 137 of 1282




##!+2/"&&%,"% &!!'"!&

 /%!%'$!"!%%$%$%! '&&$!' + %!!' &! 0

/$! +!!&&""! &&!! '&!$"!$&! !&
$%$%! '&"$!%%' $&% !+0

  /"$%! )! !!&% &! !$%$%! '&0

/  -"$%! -!$"$!%%! $&! %"%&&+!"$!%-!$""$&!
!"$!%"$%! ;%%! %0

  # $/& %&&'&! !)!% &$ &! %!'&&! %!
$%$%! '&  + %&&'&! &! %-!$ $+& ! 0  !%
  !&%$(%&%$ &$&+ $ % !&$&+ (!( & %&&'&! ;%"$ $+
%%%% &- #'$+-!$ (%&&! 0  ;% (!( & &""! & &!
 ('%&!%%%%&! %!$%$%! '&-!$&!%$(!   #'$+!$ (%&&! 
!&&-% !&! %$&!$& (!( &0

 / +!' &!$!&$$!$-& &-!$&%&! +!$!$!& '$ 
$%$%! '&"$! &&& %&!"$!(!$%"$!(&*%& ! &0

  / '"&!$$%'&% $!$ !$$"!$& &0

  / "'& $%$&$%-#'" &-!$"$!%%%-!$  !$!&& &!$
$%'&%%'&&&$%$% !&'$&+$"$% & &$%$$!$0

 
            !/(  &&$'&!! ;%&! !$
&%&! +&&$%! "$%!  &%"!%&! !'(-%! & !$&!  !) &!
&"$%! &&&0 &! !$!!"$&! )&$%$%! '&"$! % !& 
!!&)& !) !$$%%%$$!$ !$&! &&)!' &&&! 
!$&%&! +0

          /!!"$& )&&$%$%! '&"$! +
$$+ !'&&'&%%% "$&+!$&"'$"!%!" & %&&'&! &&%
$%"! %&%' $& !+0!&&$!% !&& !!&&!&&
$;%&%!$!%%! %! &!&&$%! %&!$ ' +"$%! -"$!%%! -!$
  ! &%! &$%&)&&!% (!( &$%$%! '&"$! 0

"/"$ $+ !$&! 4&$  "$ $+&4   !$ )&& !+&!
&$ )&$ &! !$%$%! '&)$$ &% (%&&! 0

  /&!$(!" &!&'$!$ &* &! !&&$!$ &!
%! !'&)&$&!$!   !$%$%! '&-)+ '
$! &! !$!&$""$!"$&&! %- '  %&&'&! &! %0





                                                                                                       ;<
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 138 of 1282




    /&""$!"$&! ! !&$"$%! ;%%-"$!%%%-$%'&%-!$)!$%)&!'&( 
""$!"$&$&0

    /"$!!+ !$&! &&-!"$)&&&!""!% &-%&!&
! '%! &&&&&%%'%!$"$!+&$'&  !&0

   /%+%&&*"$ &-%&'+-('&! -! %&$&! -!$%'$(+% &!(!"!$
! &$'&&! $ !)!$%" !)+%&% -%!($ -(!" -
'& -!$! $  !$&! !'&-!$&' $+  %$& &!-&&&$%&!
%&'0

   " #  $/& %&&'&! !$%"! %!$/8>9$() &! %!
$%$%! '&&!&$ &+)& & &! !$%$%! '& )$$ &
  #'$+. 8?9!($%  #'$%  (%&&! %0

   /$&! -%&! -!$"$% "$!"!% -"$!$ -!$$() 
$%$-!$ $"!$& $%$$%'&%0%$%! '&!% !& '! %&$$!$!$
$ %!!" ! 0

   /&$!$!&!$$%'&%&&!+&&%$%'& $!% & #'$+!$
!&$%!$+ (!$%- ' '& !&&&!$%$"$!"!%%-!$&!$+$!$%8"+%
 &$! 9-"$!$%%$"!$&%-%&$&%-&%%-!$"$% &&! %- &$ $"!$&%-!'$ $&%-
!$$%"!  -  +!' &% &$%"$!(&!  %&&'&! ! &!'$%!
$%$%! '&"$! 0

  /&"$%!  %&)! &! !$%$%! '&%$&!$)!%&
%'&!$%$%! '&"$! 0

    / ($%&! &  %&!"  &-)& %%-!$!&&$+ 
 %&&'&! !$! !&%$% $%"! %&!!!&&! !$%$%! '&!$!!
&!!"$&! )&$%$%! '&"$! 0
                                  




                                                                                                          ;=
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 139 of 1282




##!+3/'"!%"(%&"%'"!& !)")!%(!!

   

% !+% & &!!"+)& %&&'&! $%"! %&%' $& ' &$(8 9
   !%! %$ %! '&-A? $&E@0 &$$ %("'%&$!) 
$%$%! '&$'&! %.&!&*& &&!%$'&! %""+&! &! !$%$
%! '& $ ! %%& &)&&% !+- %!"+)&&""$'&!$+
$#'$ &%0

% !+!% !&""+&!'&!$%"!$!!$&! %"'&% ""%! +&!&! %!
$%$%! '&&&!'$$)& %*+$%!&& $(&&! -%'&&!
&%'%#' &'%-&!$%&+!&"'- $ &$*"&! %$&'& A?000:
E@0>=B890

&$%"&&!%&' &% (!( &! %!$%$%! '&&& (!($'  -&
""$!"$&%&' &%" $+!$) !&!& &&! ! + #'$% 3!$
 (%&&! % ) !$!&  %! +%' #'$% 3!$ (%&&! %- ' 
$( !"%! #'$+ 3!$ (%&&! $"!$&%0!$&! %!$%$%! '&
 %&%&' &%&&! !& (!($'  - +-&&%%$&! -&$$$&&!&
""$!"$&%&' &%" $+!$-!$$()&' $&% !+  !&+&""$!"$&
%&' &%" $+!$%%$!(0

" 

  +%' &%%! !$%$%! '&%+&$%"!  &-%! '&+
&$ && #'$+%&$( &%%'%$$%!(0 &&%- %!'"$!"&+
! %'&)&&$( &$ +&!&$  *&%&"%0"& !&%%!   +
"$!"!%%&& &'%&""$!(+&$( &$ +0

   "

 )"$!(&$%"!  &)& &!!$!"+!A?000 $&E@8!$!&$""
$$'&! %90

   "

& @= $+%!&%! )&$  (%&&! %)$$ &-& )"$!(&
    !%$ &$&+81  29 8!$&$( &$ +9)&&)$&& %!  
!"+!&  #'$+$"!$&8!$!"+)& +!&$ !&!&! &!!($  & +!$
!&$' $90

   

    (%&&!  !&!"&)& >?=+%!  &-& )!' &&
                                   
   "!#!#(2 3#, ,!###$ !%"2 3"!""
!#"#"$#!"!#!#(#%#"#, , $# !%2  3,


                                                                                                              ;>
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 140 of 1282




$&! !$&+  !&+$ %%$#'$  !$ )&$
$'&! %0 ) %'$&&"$!"$!$%%$"!$&%$)&$ %  
!$ )&$$'&! %0

  

 & $% %! ! &%-& (%&&! %!"&- & )
&$ %&&!&""'   +/8>9!"+!&  (%&&! $"!$&)&
&& &%.8?9%&& &!)&$& %&&'&! "&%&  %!& (%&&! $"!$&.
8@9%&& &!)&$& %&&'&! !' %! '& -%!-)!!&&&%! '&.
 8A9%$"&! ! +"  !$!"& %&&'&! &! % %&&$%"!  &0

  "    

$!'!'&&$%$%! '&"$! -& )$()&%&'&! &!&$ &$
% +&$&!$&!"'&!$&!$' % #'" &0 &( &!%'&$&-
& )- ! %'&&! )&!&$ %&&'&! !%-   -% %%$+-&""$!"$&
 &$&! %&!"$!&& %& +%'&$&0 &$&! & '/&! ! &!$ !
&  !$' % #'" & 3!$$%%  &!"$%! !$!&$%"! %&+
!$&  !$' % #'" &0

  %-& +&'$ $%$%! '&"$! - !&+  8!$&$( &$
 +9&+&$%$%! &!(&& +!&!!) ! &! %*%&/
      7 &!$%&+!&"'%&$%- '  & &!"$!&&' !$ 
         %'&%.
      7 $$%!'$%!$ &$%&%$&$& .
      7 %$&(&%%!'%'%" .
      7 $%$%!  &! !"!%%(!&! %!(!$$ ).
      7 $&! %$#'$&!"$!&&& &$%&%!&!% (!( &$%$%! '&
         "$! .
      7 $%$%! '&"$! +"'"$&'$+ $&! +
          %%$+&!%'$(  "$!&&&$&%!&!% (!(.!$
      7 $%$!' &+!$"'%!' !$0

 

!$&! %&& ' ' $%$- '%& !&+   ( &$$" %&!
!%%&& #'$+!$ (%&&! %&! &%%&&$%"!  &%&&'&-
%&& &)&&$%"!  &% $-!$!$ +!&$$%! -*"&/8>9!% !%
&& #'$+%&! &%%&&  (%&&! % !&)$$ &.!$8?9  ! !%! '&
&& (%&&! %&-)'%&$"!$&&!  -%"$%$ &% !+ A?:
E@0@>B0!$&! %&& ' ! 4 ' $%$- '%&!"+)& +!&$ !&
!&! &!!($  & +!$!&$' $0

    #  

!!)    ! !$%$%! '&- '   ! '$$ )$$#'$+A?
  $&E@8!$-!$ ! 4 ' $%$-!&$""$ +$#'$ &%9-& '%&-


                                                                                                        ;?
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 141 of 1282




&&$#'%&!&$%"!  &-' $&$%!  "$&!$&%&!$%&!$&
$%"!  &;%$"'&&! 0

     !" 

 %% %&$ %$$'%&!+!&$!$%!$%$%! '&"$! %8% +A?
000:E@0@>D9&!&'   + !$ )&"")- % & &$!$%
!$%$%! '&"$!  %'$ $'$ &%"  + !$%( 8D9+$%
&$!"&! !&"$! !$!"&! ! + +!($%&"$! -!$%$#'$+
 +""$!$$& &! "$!(%! -)($%&$0




                                                                                                     ;@
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 142 of 1282




                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                ([KLELW
                                    
       &RPSODLQDQW¶VZULWWHQUHVSRQVHUHFHLYHGRQ'HFHPEHU
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 143 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 144 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 145 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 146 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 147 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 148 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 149 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 150 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 151 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 152 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 153 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 154 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 155 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 156 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 157 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 158 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 159 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 160 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 161 of 1282




                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                               ([KLELW
                                    
      ,QTXLU\&RPPLWWHH0HPRVHQWWR5HVSRQGHQWRQ-DQXDU\
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
                                    
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 162 of 1282



&RQILGHQWLDO

'DWH       -DQXDU\

7R         )UDQFHVFD*LQR±5HVSRQGHQWLQ&DVH5,

)URP        7HUHVD$PDELOH&KDLU,QTXLU\&RPPLWWHH
             5REHUW6.DSODQ,QTXLU\&RPPLWWHH0HPEHU
6XEMHFW      $GGLWLRQDO,QIRUPDWLRQ5HODWHGWR$OOHJDWLRQVDQGERI5HVHDUFK
               0LVFRQGXFW

                                                                                                       
$VSDUWRILWVLQTXLU\LQWRWKHUHVHDUFKPLVFRQGXFWDOOHJDWLRQVWKDWZHUHVKDUHGZLWK\RXRQ2FWREHU
 VHH$SSHQGL[$ WKH,QTXLU\&RPPLWWHHKDVEHHQJDWKHULQJSUHOLPLQDU\GDWDDQG
LQIRUPDWLRQWREHJLQDVVHVVLQJZKHWKHUWKHDOOHJDWLRQVPD\KDYHVXEVWDQFHDQGWKXVZDUUDQWDQ
LQYHVWLJDWLRQ$WWKLVWLPHZHDUHVKDULQJLQIRUPDWLRQSHUWDLQLQJWRDOOHJDWLRQVDQGE7KH
LQIRUPDWLRQLQWKLVPHPRUDQGXPLVDFRPELQDWLRQRIWKHLQIRUPDWLRQWKH&RPPLWWHHREWDLQHGIURP
DZULWWHQGRFXPHQWVXEPLWWHGE\WKHDQRQ\PRXV&RPSODLQDQWDQGWKH&RPPLWWHH¶VRZQDQDO\VHV
RIWKHUDZGDWDVHWVIURP\RXUUHVHDUFKUHFRUGVDQGWKHGDWDVHWVSRVWHGRQ26)
7KH&RPPLWWHHLVVWLOOJDWKHULQJDQGDQDO\]LQJLQIRUPDWLRQSHUWDLQLQJWRDOOHJDWLRQD:HZDQWHG
WRVHQGWKHLQIRUPDWLRQLQWKLVPHPRUDQGXPWR\RXQRZVRWKDW\RXFRXOGEHJLQWRSURFHVVWKH
VSHFLILFHYLGHQFHLQSUHSDUDWLRQIRUDQLQWHUYLHZ$VWKH&RPPLWWHHIXUWKHUDFFHVVHVDQGDVVHVVHV
DQ\DGGLWLRQDOHYLGHQFHIRUDOOHJDWLRQDLWZLOOVKDUHLWVILQGLQJVZLWK\RXLQDGYDQFHRI\RXU
LQWHUYLHZ
%HORZLVVSHFLILFLQIRUPDWLRQSHUWDLQLQJWRHDFKDOOHJDWLRQDORQJZLWKVRPHTXHVWLRQVWKH
&RPPLWWHHZLOODVN\RXWRDGGUHVVLQWKHLQWHUYLHZ
$OOHJDWLRQ 6WXG\DLQWKH-3633DSHU 
)URPWKH&RPSODLQDQW¶VGRFXPHQW
       ,QWKLVSDSHUWKHDXWKRUVSUHVHQWVL[VWXGLHVH[DPLQLQJ³KRZVHOIUHJXODWRU\IRFXV
       ZKHWKHU SURPRWLRQ RU SUHYHQWLRQ DIIHFWV SHRSOH¶V H[SHULHQFH RI DQG RXWFRPHV
       IURPQHWZRUNLQJ>7KH\@ILQGWKDWDSURPRWLRQIRFXVDVFRPSDUHGWRDSUHYHQWLRQ
       IRFXVRUDFRQWUROFRQGLWLRQLVEHQHILFLDOWRSURIHVVLRQDOQHWZRUNLQJDVLWORZHUV
       IHHOLQJVRIPRUDOLPSXULW\IURPLQVWUXPHQWDOQHWZRUNLQJ´ S 
       
       +HUH ZH IRFXV RQ ([SHULPHQW D ZKLFK ZDV UXQ RQOLQH XVLQJ P7XUN
       SDUWLFLSDQWV  :H EHOLHYH LW ZDV FRQGXFWHG DQG DQDO\]HG E\ *LQR EHFDXVH WKH
       PDWHULDOV SRVWHG RQ WKH 26) OLVW ³4XDOWULFV´ DV WKH FUHDWRU RI WKH ILOH DQG
       ³)UDQFHVFD*LQR´DVWKHODVWSHUVRQWRVDYHLW7KXVLWLVYHU\OLNHO\WKDWWKLVZDV
       UXQ WKURXJK KHU 4XDOWULFV DFFRXQW ZKLFK LW WXUQ PDNHV LW YHU\ OLNHO\ WKDW VKH
       DQDO\]HGWKHGDWD2QO\+DUYDUG8QLYHUVLW\FDQYHULI\WKDWIDFW
       

                                                                                                      

           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 163 of 1282



             3URFHGXUH 
             
             ,Q6WXG\DZRUNLQJDGXOWVUHFUXLWHGWKURXJK07XUNILUVWFRPSOHWHGDZULWLQJ
             WDVN GXULQJ ZKLFK WKH\ ZHUH UDQGRPO\ DVVLJQHG WR RQH RI WKUHH FRQGLWLRQV
             3DUWLFLSDQWV LQ WKH SURPRWLRQIRFXV FRQGLWLRQ ZURWH DERXW D FXUUHQW KRSH RU
             DVSLUDWLRQ SDUWLFLSDQWV LQ WKH SUHYHQWLRQIRFXV FRQGLWLRQ ZURWH DERXW D FXUUHQW
             GXW\RUREOLJDWLRQDQGSDUWLFLSDQWVLQWKHFRQWUROFRQGLWLRQZURWHDERXWZKDWWKH\
             GRRQDW\SLFDOHYHQLQJ
             
             3DUWLFLSDQWVWKHQUHDGDVWRU\LQZKLFKWKH\LPDJLQHG³EHLQJLQYLWHGWRDWWHQGDQ
             HYHQW GXULQJ ZKLFK WKH\ VRFLDOL]HG ZLWK RWKHU SHRSOH ,Q WKH VWRU\ WKH PDLQ
             FKDUDFWHU ZDV GHVFULEHG DV µDFWLYHO\ DQG LQWHQWLRQDOO\ PDNLQJ SURIHVVLRQDO
             FRQQHFWLRQVZLWKWKHEHOLHIWKDWFRQQHFWLRQVDUHLPSRUWDQWIRUIXWXUHSURIHVVLRQDO
             HIIHFWLYHQHVV¶´
             
             3DUWLFLSDQWVZHUHWKHQDVNHG³WRUHSRUWKRZWKH\IHOWDWWKDWPRPHQWE\LQGLFDWLQJ
             WKHH[WHQWWRZKLFKWKH\IHOWGLUW\LQDXWKHQWLFDQGLPSXUHDVKDPHGZURQJ
             XQQDWXUDODQGWDLQWHG´7KH\GLGWKLVXVLQJDVFDOHUDQJLQJIURP QRWDWDOOWR
              YHU\PXFK3DUWLFLSDQWVWKHQZHUHDVNHGWRUHIOHFWRQWKHLUSUHYLRXVZULWLQJ
             WDVNIRUPLQXWHVDQGWRWKHQ³ZULWHDIHZZRUGVWKDWFDPHWRPLQGUHJDUGLQJ
             WKH VWRU\ EHIRUH SURFHHGLQJ WR WKH QH[W WDVN´ 3DUWLFLSDQWV FRPSOHWHG RWKHU
             PHDVXUHVDIWHUWKDWEXWRXUIRFXVLVJRLQJWREHRQ  WKHLWHPPHDVXUHRIPRUDO
             LPSXULW\DQG  WKHZRUGVWKDWSDUWLFLSDQWVZURWHDERXWWKHQHWZRUNLQJWDVNDQG
             VRZHZRQ¶WGHVFULEHWKRVHGHWDLOVKHUH
             
             5HVXOWV
             
             $V SUHGLFWHG DYHUDJH VFRUHV RQ WKH LWHP PRUDO LPSXULW\ PHDVXUH GLIIHUHG
             VLJQLILFDQWO\DFURVVFRQGLWLRQV)   S5DWLQJVRIPRUDO
             LPSXULW\ZHUHVLJQLILFDQWO\KLJKHULQWKHSUHYHQWLRQIRFXVFRQGLWLRQWKDQLQWKH
             FRQWUROFRQGLWLRQZKLFKZDVLQWXUQVLJQLILFDQWO\KLJKHUWKDQLQWKHSURPRWLRQ
             IRFXVFRQGLWLRQ
             
             'LUHFW(YLGHQFHRI7DPSHULQJ
             
             ,W LV XVHIXO WR EHJLQ E\ ORRNLQJ DW WKH 6WXG\ D GDWDVHW 7KH VFUHHQVKRW EHORZ
             VKRZVGDWDIRUSDUWLFLSDQWV SHUURZ IRUWKHNH\YDULDEOHVLQWKLVGDWDVHW






1 This section frequently quotes directly from the methods of this study, as written up in Gino et al. (2020, p.

1229- 1230).
                                                                                                                   

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 164 of 1282




/HW¶V ZDON WKURXJK D IHZ RI WKH REVHUYDWLRQV 7KH ILUVW URZ RI GDWD LQ WKH
VFUHHQVKRW FRUUHVSRQGLQJ WR URZ  LQ WKH GDWDVHW VKRZV D SDUWLFLSDQW ZKR
SURYLGHGDµ¶WRDOOVHYHQRIWKHPRUDOLPSXULW\LWHPV7KLVSDUWLFLSDQWGLGQ¶WIHHO
DW DOO GLUW\ LQDXWKHQWLF LPSXUH DVKDPHG ZURQJ XQQDWXUDO RU WDLQWHG E\
LPDJLQLQJ KHUVHOI DW WKH QHWZRUNLQJ HYHQW $QG LQGHHG LI \RX ORRN DW WKH
³ZRUGVBFRQG´ FROXPQ RQ WKH IDU ULJKW \RX FDQ VHH WKDW ZKDW WKLV SDUWLFLSDQW
ZURWHDERXWWKHQHWZRUNLQJHYHQW³VRFLDOL]LQJSDUW\LPSUHVVLRQFRQQHFWLRQV
ZRUN´±LVSHUIHFWO\FRQVLVWHQWZLWKWKRVHUDWLQJV+HUUDWLQJVZHUHSRVLWLYHDQG
KHUZRUGVZHUHSRVLWLYH7KLVPDNHVVHQVH

7KHDQRPDOLHVZHGLVFXVVEHORZSHUWDLQWRURZVLQZKLFKSDUWLFLSDQWV¶UDWLQJVDQG
ZRUGV DUH LQFRQVLVWHQW ZKHQ HLWKHU WKH UDWLQJV DUH QHJDWLYH DQG WKH ZRUGV DUH
SRVLWLYHRUWKHUDWLQJVDUHSRVLWLYHDQGWKHZRUGVDUHQHJDWLYH

0DQ\VDQGV

.HHSLQJWKDWLQPLQGOHW¶VORRNDWDOORIWKHUDZGDWDIURP6WXG\DXVLQJWKH
VDPHNLQGRISORWSUHVHQWHGLQWKHSUHYLRXVWZRVHFWLRQV(DFKGRWLQWKHILJXUH
EHORZUHSUHVHQWVWKHDYHUDJHPRUDOLPSXULW\UDWLQJIRUDVLQJOHSDUWLFLSDQW




                                                                                              
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 165 of 1282




                                                                                                     
    
    7R VWDUW FRQVLGHUWKHFRQWUROFRQGLWLRQ RQWKH OHIW <RX FDQVHH WKDW WKHUH DUH
    PDQ\SDUWLFLSDQWVZLWKVFRUHVRILQGLFDWLQJWKDWWKH\GLGQRWIHHODWDOOGLUW\
    LQDXWKHQWLF LPSXUH DVKDPHG ZURQJ XQQDWXUDO RU WDLQWHG E\ LPDJLQLQJ
    WKHPVHOYHVDWWKHQHWZRUNLQJHYHQW:HGRQ WNQRZKRZPDQ\VWRH[SHFWEXW
    LWVHHPVUHDVRQDEOHWKDWPDQ\SDUWLFLSDQWVZRXOGZLQGXSZLWKWKLVVFRUH7KHUH
    LVQRWKLQJLQWULQVLFDOO\GLUW\DERXWQHWZRUNLQJ
    
    1RZOHW¶VWDNHDORRNDWWKHGRWVLQWKHPLGGOHWKHSUHYHQWLRQIRFXVFRQGLWLRQ
    7KHDXWKRUVK\SRWKHVL]HGWKDWZULWLQJDSUHYHQWLRQIRFXVHGHVVD\ZRXOGLQFUHDVH
    SDUWLFLSDQWV¶ IHHOLQJV RI PRUDO LPSXULW\ ZKHQ LPDJLQLQJ WKH QHWZRUNLQJ HYHQW
    7KHUH LV LQGHHG D VWDUWOLQJ GLIIHUHQFH EHWZHHQ WKH FRQWURO FRQGLWLRQ DQG WKH
    SUHYHQWLRQIRFXVHGFRQGLWLRQLQVWHDGRIµ¶EHLQJWKHPRVWFRPPRQVFRUHRQ
    WKLVGHSHQGHQWYDULDEOHQRZµ¶LVWKHPRVWFRPPRQVFRUHRQWKLVGHSHQGHQW
    YDULDEOH7KHUHLVDOVRDQRWLFHDEOHLQFUHDVHLQWKHQXPEHURIµV¶
    
    7KLV LV PXFK PRUH SHFXOLDU WKDQ LW PD\ VHHP DW ILUVW 5HPHPEHU WKDW WKLV
    GHSHQGHQWYDULDEOHLVDQDYHUDJHRILWHPV7KHUHDUHREYLRXVO\PXOWLSOHZD\V
    IRU VHYHQ UDWLQJV WR \LHOG DQ DYHUDJH RI  RU  EXW WKH VLPSOHVW DQG PRVW
    FRPPRQLVIRUSDUWLFLSDQWVWRJLYHDOOµV¶RUDOOµV¶,WLVXQXVXDOIRUVRPDQ\
    SHRSOHWRGHFLGHWKDWWKH\DUHDFURVVWKHERDUGH[DFWO\Dµ¶RQGLUW\LQDXWKHQWLF
    DVKDPHGHWF,QGHHGUDWLQJVRIµDOOV¶DQGµDOOV¶DUHTXLWHUDUHLQWKHRWKHUWZR
    FRQGLWLRQV,QFRPELQDWLRQWKHDEVHQFHRIµV¶DQGWKHSUHVHQFHRIµV¶DQG
    µV¶ OHG XV WR VXVSHFW WKDW WKH UHVHDUFKHU VLPSO\ UHSODFHG PDQ\ SUHYHQWLRQ
    IRFXVHGREVHUYDWLRQVWKDWZHUHµDOOV¶ZLWKµDOOV¶RUµDOOV¶,WLVDQHDV\ZD\
    WRWDPSHUZLWKWKHGDWD$QGLWZRXOGRIFRXUVH\LHOGWKHGHVLUHGHIIHFWKLJKHU
    PRUDOLPSXULW\UDWLQJVDPRQJSUHYHQWLRQIRFXVHGSDUWLFLSDQWV
    
    .HHSLQJWKDWLQPLQGOHWXVWXUQWRWKHSURPRWLRQIRFXVHGFRQGLWLRQRQWKHULJKW

                                                                                                    
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 166 of 1282



             VLGH RI WKH ILJXUH 7KH DXWKRUV K\SRWKHVL]HG WKDW ZULWLQJ D SURPRWLRQIRFXVHG
             HVVD\ZRXOGGHFUHDVHSDUWLFLSDQWV¶IHHOLQJVRIPRUDOLPSXULW\$QGVRKHUHZKDW
             ZH VHH LV WKDW WKHUHDUHORWV RIµV¶HYHQPRUHWKDQLQWKHFRQWUROFRQGLWLRQ
             DFFRPSDQLHG E\ D FRPSOHWH DEVHQFH RI YDOXHV JUHDWHU WKDQ  7KDW OHG XV WR
             VXVSHFW WKDW WKH UHVHDUFKHUV UHSODFHG WKRVH KLJK YDOXHV ZLWK DOO V $JDLQ WKLV
             ZRXOGPDNHWKHGDWDWDPSHUHU VMREHDV\DQGLWZRXOG\LHOGWKHGHVLUHGHIIHFW
             ORZPRUDOLPSXULW\UDWLQJVDPRQJSURPRWLRQIRFXVHGSDUWLFLSDQWV
             
             7KLVDQQRWDWHGILJXUHVXPPDUL]HVWKHVHWZRIRUPVRIK\SRWKHVL]HGIUDXG 
             
             




             
             3DUWLFLSDQWVZLWKSRVLWLYHUDWLQJVDQGQHJDWLYHZRUGV 1  
             
             2I FULWLFDO LPSRUWDQFH KHUH LVWKHIDFWWKDW SDUWLFLSDQWVERWKUDWHGKRZPRUDOO\
             LPSXUHWKH\IHOWDQGZURWHWH[WGHVFULELQJKRZWKH\IHOWZKHUHDVWKHUHVHDUFKHUV
             FDUHGRQO\DERXWWKHUDWLQJV ZKLFKWKH\DQDO\]HG DQGQRWDERXWWKHWH[W ZKLFK
             WKHUHIRUH WKH\ GLG QRW QHHG WR DQDO\]H  7KLV PHDQV WKDW D UHVHDUFKHU ZKR
             WDPSHUHGZLWKWKLVGDWDPLJKWKDYHPDQXDOO\DOWHUHGVRPHSDUWLFLSDQWV¶UDWLQJV
             ZLWKRXWDOVRIHHOLQJFRPSHOOHGWRPDQXDOO\DOWHUWKHWH[WWKDWDFFRPSDQLHGWKRVH
             UDWLQJV7KLVZRXOGOHDYHDWUDFH)RUWKRVHWDPSHUHGREVHUYDWLRQVWKHYDOHQFH
             LPSOLHGE\WKHUDWLQJVDQGWKHYDOHQFHLPSOLHGE\WKHWH[WZRXOGEHLQFRQVLVWHQW
             


2 As emphasized in the previous section, we are not purporting to explain entirely what happened here, as it is

possible that data tampering also took other forms in this study. We are merely suggesting that at least some of
the data tampering was carried out in the way hypothesized here.
                                                                                                                  
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 167 of 1282



             /HW¶VZDONWKURXJKWKHVHWZRK\SRWKHVHV)LUVWOHW¶VIRFXVRQWKHSURPRWLRQIRFXV
             FRQGLWLRQ IRU ZKLFK ZH K\SRWKHVL]H WKDW D UHVHDUFKHU PDQXDOO\FKDQJHG VRPH
             YHU\KLJKYDOXHV±YDOXHVDVVRFLDWHGZLWKH[WUHPHOHYHOVRIPRUDOLPSXULW\±LQWR
             PD[LPDOO\ORZYDOXHV±YDOXHVDVVRFLDWHGZLWKQRPRUDOLPSXULW\DWDOO,IWKDWLV
             WUXH WKHQ ZH VKRXOG VHH VRPH SDUWLFLSDQWV LQ WKH GDWDVHW ZKR   SURYLGHG DQ
             DYHUDJHUDWLQJRIRQWKHPRUDOLPSXULW\VFDOHDQG  ZURWHWH[WVXJJHVWLQJ
             WKDWWKH\IHOWH[WUHPHO\PRUDOO\LPSXUH0RUHRYHUWKRVHSDUWLFLSDQWVVKRXOGEH
             RYHUUHSUHVHQWHGLQWKHSURPRWLRQIRFXVFRQGLWLRQ
             
             $QGLQGHHGLQWKLVGDWDVHWZHIRXQGQLQHSDUWLFLSDQWVZKRERWKDYHUDJHGD
             RQWKHPRUDOLPSXULW\VFDOHDQGZURWHWH[WLPSO\LQJWKDWWKH\IHOWKLJKOHYHOVRI
             PRUDOLPSXULW\2IWKHQLQHVHYHQRIWKHPZHUHLQWKHSURPRWLRQIRFXVFRQGLWLRQ
             





                                                                                                            
             
             
             7KLVLVFRQVLVWHQWZLWKWKHQRWLRQWKDWDOORUVRPHRIWKHVHDSSDUHQWµV¶ZHUH
             QRW DFWXDOO\ µV¶ 7KH ZRUGV WKH\ ZURWH VXJJHVW WKDW WKH\ PD\ KDYH LQVWHDG
             SURYLGHGYHU\KLJKUDWLQJVRQWKHPRUDOLPSXULW\VFDOHUDWLQJVWKDWZHUHDOWHUHG
             E\WKHUHVHDUFKHUSHUIRUPLQJWKHDQDO\VLV
             
             7KRXJKZHILQGWKLVHYLGHQFHWREHIDLUO\FRQYLQFLQJLWLVQRWFRQFOXVLYHDVLW
             VXIIHUVIURPWKHOLPLWDWLRQVRIEHLQJVRPHZKDWVXEMHFWLYHDQGDOVRUHOLDQWRQD
             VPDOO QXPEHU RI REVHUYDWLRQV 7KH QH[W DQDO\VLV ± ZKLFK IRFXVHV RQ WKH
             K\SRWKHVLVWKDWVRPHSUHYHQWLRQIRFXVHGµV¶ZHUHPDQXDOO\DOWHUHGWREHFRPH
             µV¶DQGµV¶±GRHVQRWVXIIHUIURPHLWKHUOLPLWDWLRQ
             
             3DUWLFLSDQWVZLWKQHJDWLYHUDWLQJVDQGSRVLWLYHZRUGV 1  
             
             7RSHUIRUPWKLVDQDO\VLVZHUHOLHGRQDWHFKQLTXHNQRZQDV³VHQWLPHQWDQDO\VLV´
             ZKLFKXVHVDQDOJRULWKPWRVFRUHDSDVVDJHRIWH[WRQWKHGLPHQVLRQRIYDOHQFH
             8VLQJWKH9$'(5SDFNDJHLQ5ZHXVHGDQDOJRULWKPWKDWWRRNLQSDUWLFLSDQWV¶
             WH[WXDOGHVFULSWLRQRIWKHQHWZRUNLQJHYHQWDQGJDYHLWDVFRUHIURP PD[LPXP
             SRVLWLYLW\  WR  PD[LPXP QHJDWLYLW\  (VVHQWLDOO\ WKH VFRUH UHIOHFWV WKH QHW
             SHUFHQWDJHRISRVLWLYHPLQXVQHJDWLYHZRUGVLQDWH[WVDPSOH,IDVWULQJRIWH[W
             FRQWDLQV RQO\ XQDPELJXRXVO\ SRVLWLYH ZRUGV LW ZLOO KDYH D VFRUH RI  RU
             LILWFRQWDLQVRQO\XQDPELJXRXVO\QHJDWLYHZRUGVLWZLOOKDYHDVFRUHRI



3 These are not the only ‘1.0s’ who wrote somewhat negative things, but they were the only ones who wrote

things implying moral impurity. For example, a few other ‘1.0s’ mentioned feelings of anxiety or boredom.
                                                                                                           
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 168 of 1282



    RU7KHVFUHHQVKRWEHORZVKRZVVRPHSDUWLFLSDQWVZKRVH9$'(5
    VFRUHZDVPD[LPDOO\SRVLWLYH LH 
    




    
    
    $QGKHUHDUHWKHSDUWLFLSDQWVZLWKWKHPRVWQHJDWLYH9$'(5VFRUHV
    
    




                                                                             
    
    $V LQGLFDWHG DERYH ZH EHOLHYH WKDW PDQ\ RI WKH µDOO V¶ DQG µDOO V¶ LQ WKH
    SUHYHQWLRQIRFXVFRQGLWLRQPD\DFWXDOO\KDYHHQWHUHGµDOOV¶DQGWKXVPD\KDYH
    IHOW YHU\ SRVLWLYHO\ WRZDUG WKH QHWZRUNLQJ HYHQW ,I WKLV LV WUXH DQG LI DV ZH
    VXVSHFWWKHUHVHDUFKHUDOWHUHGWKHPRUDOLPSXULW\UDWLQJVZLWKRXWDOVRDOWHULQJWKH
    ZRUGVWKRVHSDUWLFLSDQWVZURWHDERXWWKHQHWZRUNLQJHYHQWWKHQWKHZRUGVZULWWHQ
    E\WKRVHµDOOV¶DQGµDOOV¶VKRXOGORRNDORWOLNHWKHZRUGVZULWWHQE\µDOOV¶
    7KH\ VKRXOG EH PXFK WRR SRVLWLYH 7KH ILJXUH EHORZ LV FRQVLVWHQW ZLWK WKLV
    SUHGLFWLRQ
    




                                                                                                     
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 169 of 1282




        
        7KHEOXHOLQHLQWKLVFKDUWUHSUHVHQWVWKHREVHUYHGUHODWLRQVKLSEHWZHHQWKHPRUDO
        LPSXULW\ UDWLQJV DQG WKH VHQWLPHQW VFRUHV DFURVV DOO FRQGLWLRQV H[FOXGLQJ WKH
        SUHYHQWLRQIRFXVHG REVHUYDWLRQV WKDW ZH K\SRWKHVL]HG WR KDYH EHHQ WDPSHUHG
        ZLWK 7KH UHODWLRQVKLS LV VHQVLEO\ QHJDWLYH 0RUH PRUDOO\ LPSXUH UDWLQJV DUH
        DVVRFLDWHGZLWKORZHUVHQWLPHQWVFRUHVDQGWKXVPRUHQHJDWLYHWH[WGHVFULSWLRQV
        
        7KH WZR UHG GRWV ZLWK ;¶V GHSLFW WKH DYHUDJH VHQWLPHQW VFRUHV RI WKRVH LQ WKH
        SUHYHQWLRQIRFXVFRQGLWLRQZKRJDYHUDWLQJVRIµDOOV¶DQGµDOOV¶,IWKH\ZHUH
        UHDOO\µDOOV¶WREHJLQZLWKWKHQWKHWH[WWKH\ZURWHVKRXOGEHYHU\SRVLWLYHDQG
        WKXVWKHLUVHQWLPHQWVFRUHVVKRXOGEHKLJK$QGWKDWLVH[DFWO\ZKDWZHVHHKHUH
        7KHµDOOV¶DQGµDOOV¶LQWKHSUHYHQWLRQIRFXVHGFRQGLWLRQZURWHWH[WWKDWZDV
        MXVW DV SRVLWLYH DV ZKDW WKH µDOO V¶ ZURWH DFURVV WKH HQWLUH VDPSOH 7KLV YHU\
        VWURQJO\VXJJHVWVWKDWDJUHDWPDQ\RIWKHVHµDOOV¶DQGµDOOV¶ZHUHUHDOO\µDOO
        V¶WKDWKDGEHHQDOWHUHG
        
7KH,QTXLU\&RPPLWWHHFRQGXFWHGLWVRZQDQDO\VLVRIWKHGDWDVHWIURP\RXUUHVHDUFKUHFRUGVDQG
WKHGDWDVHWDYDLODEOHRQ26),QDGGLWLRQWRLGHQWLI\LQJDVPDOOGLVFUHSDQF\LQWKH1¶VEHWZHHQWKH
WZRGDWDVHWV RQ26)YVLQ\RXUUHVHDUFKUHFRUGVYVLQWKHSXEOLVKHGSDSHU WKH
&RPPLWWHHIRXQGWKDWWKHGDWDVHWRQ\RXUFRPSXWHUJHQHUDWHGUHVXOWVLQWKHRSSRVLWHGLUHFWLRQWR
WKHUHVXOWVUHSRUWHG DQGK\SRWKHVL]HG LQWKHSXEOLVKHGSDSHU7KH&RPPLWWHH¶VFRPSDULVRQRIWKH
WZRGDWDVHWVLQWKHWDEOHEHORZVKRZVWKDWLQWKHGDWDVHWRQ\RXUFRPSXWHUWKHDYHUDJH0RUDO
,PSXULW\VFRUHLQWKH3UHYHQWLRQFRQGLWLRQZDVORZHUWKDQLQWKHWZRRWKHUFRQGLWLRQV 3URPRWLRQ
DQG&RQWURO 8VLQJWKH26)GDWDVHWWKH&RPPLWWHH¶VFDOFXODWLRQRIUHVSRQGHQWV¶PHDQVFRUHVLQ
WKHWKUHHFRQGLWLRQVUHYHUVHGWKHUDQNLQJRIWKH3URPRWLRQDQG3UHYHQWLRQFRQGLWLRQVUHSOLFDWLQJ
WKHPHDQVDQGWKHGLUHFWLRQDOLW\RIWKHUHVXOWVUHSRUWHGLQWKHSXEOLVKHGSDSHU

                                                                                                   
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 170 of 1282





                                                         Author’s dataset   OSF dataset
                                           Promotion     1.98               1.64
                                           Prevention    1.66               2.39
                                           Control       1.97               1.93

7KLVILQGLQJSURPSWHGWKH&RPPLWWHHWRPDWFKLQGLYLGXDOREVHUYDWLRQVEHWZHHQERWKGDWDVHWVE\
VRUWLQJWKHPILUVWE\FRQGLWLRQDQGWKHQE\WKHPHDQVFRUHDFURVVWKHGLPHQVLRQVRI0RUDO
,PSXULW\
)RU&RQGLWLRQWKHILUVWWDEOHEHORZVKRZVWKUHHREVHUYDWLRQV ZLWKKLJKDYHUDJH0RUDO,PSXULW\
UDWLQJVLQ\RXUGDWDVHWWKDWGLGQRWKDYHDQH[DFWPDWFKLQWKH26)GDWDVHW,QDOOWKUHHWKHKLJK
0RUDO,PSXULW\UDWLQJVLQ\RXUGDWDVHW DOPRVWDOORU DUHDOPRVWDOO¶V WKHH[FHSWLRQLVWZR
¶V LQWKH26)GDWDVHW7KH&RPPLWWHHQRWHGWKDWFKDQJLQJWKHQXPHULFUDWLQJVEXWQRWWKH
VWDWHPHQWVLQWKH5HIOHFWRQWKH3DUW\FROXPQZRXOGLQPRVWRIWKHVHREVHUYDWLRQVJHQHUDWHWKH
PLVPDWFKRIZRUGVDQGVFRUHVGRFXPHQWHGE\WKH&RPSODLQDQW
6LPLODUO\WKUHHDQRPDORXVREVHUYDWLRQVDVUHSRUWHGLQWKHVHFRQGWDEOHEHORZZHUHLGHQWLILHGIRU
&RQGLWLRQVKRZLQJDPLVPDWFKEHWZHHQ\RXUGDWDVHWDQGWKH26)GDWDVHW,QDOOWKUHHWKHORZ
0RUDO,PSXULW\UDWLQJVLQ\RXUGDWDVHW DOO¶V DUHKLJKUDWLQJV DOPRVWDOORU LQWKH26)
GDWDVHW
5HGXFLQJWKHVFRUHVRI&RQGLWLRQ 3URPRWLRQ UHVSRQGHQWVDQGUDLVLQJWKHVFRUHVRI&RQGLWLRQ
 3UHYHQWLRQ UHVSRQGHQWVFRXOGH[SODLQWKHUHYHUVDORIUDQNLQJVLQWKHPHDQVFRUHVRI3URPRWLRQ
DQG3UHYHQWLRQUHVSRQGHQWVLQ\RXUGDWDVHWDQGWKH26)GDWDVHW
$PRQJWKHTXHVWLRQVZHZRXOGOLNH\RXWRDGGUHVVDERXW$OOHJDWLRQGXULQJ\RXULQWHUYLHZZLWK
WKH&RPPLWWHHDUHWKHIROORZLQJ
       $UHWKHUHDQ\GHVFULSWLRQVRIRUDVVHUWLRQVDERXWWKLVVWXG\RULWVGDWDLQHLWKHUWKH
         &RPSODLQDQW¶VVHFWLRQRURXU,QTXLU\&RPPLWWHHVHFWLRQWKDWLQ\RXUYLHZDUHLQFRUUHFW"
         3OHDVHH[SODLQHDFKRIWKRVHLQGHWDLO
       +RZGR\RXH[SODLQWKHGLVFUHSDQFLHVLGHQWLILHGE\WKH,QTXLU\&RPPLWWHHEHWZHHQWKH
         0RUDO,PSXULW\UDWLQJVLQRWKHUZLVHLGHQWLFDOURZVRIGDWDLQ\RXUGDWDILOHDQGWKH26)
         GDWDILOH"
       +RZGR\RXH[SODLQWKHDSSDUHQWGDWDWDPSHULQJLQWKHSURPRWLRQIRFXVDQGHVSHFLDOO\WKH
         SUHYHQWLRQIRFXVFRQGLWLRQGHVFULEHGE\WKH&RPSODLQDQW"





4 The three observations in the table were meant to be illustrative of the noted discrepancies and not the result

of an exhaustive search. They were the first three identified with discrepancies between the two data sets. We
think it likely that a comprehensive search will reveal additional observations with similar discrepancies
between the two data sets.
                                                                                                                   
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 171 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 172 of 1282
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 173 of 1282



$OOHJDWLRQ 6WXG\LQWKH3V\FKRORJLFDO6FLHQFH3DSHU 
)URPWKH&RPSODLQDQW¶VGRFXPHQW
              ,Q WKLV SDSHU WKH DXWKRUV SUHVHQW ILYH VWXGLHV LQGLFDWLQJ WKDW ³H[SHULHQFLQJ
              LQDXWKHQWLFLW\ FRPSDUHG ZLWK DXWKHQWLFLW\ FRQVLVWHQWO\ OHG SDUWLFLSDQWV WR IHHO
              PRUH LPPRUDO DQG LPSXUH 7KH OLQN IURP LQDXWKHQWLFLW\ WR IHHOLQJ LPPRUDO
              SURGXFHG DQ LQFUHDVHG GHVLUH DPRQJ SDUWLFLSDQWV WR FOHDQVH WKHPVHOYHV DQG WR
              HQJDJHLQPRUDOFRPSHQVDWLRQE\EHKDYLQJSURVRFLDOO\´ S 
              
              +HUH ZH IRFXV RQ ([SHULPHQW  ZKLFK ZDV UXQ DW +DUYDUG 8QLYHUVLW\
              3DUWLFLSDQWV¶UHVSRQVHVWRDTXHVWLRQDERXWWKHLU³FODVV\HDU´LQWKHGDWDVHWLQGLFDWH
              WKDWWKHVWXG\ZDVUXQQRHDUOLHUWKDQ)DOORIDVVHQLRUVUHSRUWHGEHLQJLQWKH
              &ODVVRIMXQLRUVLQWKH&ODVVRIDQGVRRQ$OWKRXJKWKHVHFRQGDXWKRU
              RIWKLVSDSHU                     ZDVDSRVWGRFWRUDOUHVHDUFKHUDW+DUYDUGIRUWZR
              \HDUV KHU FY LQGLFDWHV WKDW VKH EHJDQ KHU MRE DV DQ $VVLVWDQW 3URIHVVRU DW
              1RUWKZHVWHUQLQPDNLQJLWYHU\XQOLNHO\WKDWVKHZDVVWLOODW+DUYDUGZKHQ
              WKLV VWXG\ ZDV FRQGXFWHG DQG DQDO\]HG ,Q DGGLWLRQ WKH GDWD ILOH DQG PHWKRGV
              ZULWHXSSRVWHGRQWKH26)ZHEVLWHZHUHXSORDGHGE\*LQRDQGWKHSURSHUWLHV
              RIWKRVHILOHVLQGLFDWHWKDWVKHFUHDWHGWKHP7KXVLWLVPRVWOLNHO\WKDWWKLVVWXG\
              ZDVUXQVXSHUYLVHGDQGDQDO\]HGE\*LQR:LWKDOORIWKDWVDLGWKDWFDQRQO\EH
              YHULILHGE\+DUYDUG8QLYHUVLW\
              
              3URFHGXUH 
              
              +DUYDUGVWXGHQWV 1  FDPHLQWRDODEDQGZHUHILUVW³DVNHGWRFRQILUPWKDW
              WKH\ZHUHFROOHJHVWXGHQWVDW+DUYDUG´7KH\ZHUHWKHQ³DVNHGIRUWKHLURSLQLRQ
              >RQ@ZKHWKHURUQRWGLIILFXOW\UDWLQJVVKRXOGEHDSDUWRIWKH4JXLGH LQZKLFKDOO
              +DUYDUGFRXUVHVDUHUDWHGDQGUHYLHZHGE\VWXGHQWVZKRKDYHWDNHQWKHPLQWKH
              SDVW ´ 3DUWLFLSDQWV ZHUH WKHQ ³DVNHG IRU WKHLU DJH JHQGHU DQG \HDU LQVFKRRO
              7KH\ZHUHWKHQWROGWKDWWKHLUILUVWWDVNZDVWRZULWHDQHVVD\RQDFXUUHQWWRSLF´
              
              'XULQJ WKH HVVD\ WDVN SDUWLFLSDQWV ZHUH UDQGRPO\ DVVLJQHG WR RQH RI WKUHH
              FRQGLWLRQV2QHWKLUGZHUHDVNHG WR ZULWH DQ HVVD\ LQ VXSSRUW RI WKHLU RSLQLRQ
              DERXWLQFOXGLQJGLIILFXOW\UDWLQJVLQWKH4JXLGH WKHSURDWWLWXGLQDOFRQGLWLRQ 
              DQGWZRWKLUGVZHUHDVNHGWRZULWHDQHVVD\DJDLQVWWKHLURSLQLRQDERXWWKDWLVVXH
                WKH FRXQWHUDWWLWXGLQDO FRQGLWLRQV  7KH WZRWKLUGV DVNHG WR ZULWH D FRXQWHU
              DWWLWXGLQDOHVVD\ZHUHUDQGRPO\DVVLJQHGWRRQHRIWZRFRQGLWLRQVLQYROYLQJKRZ
              PXFKFKRLFHWKH\KDGDVWRZKHWKHUWRZULWHVXFKDQHVVD\ORZFKRLFHYVKLJK
              FKRLFH 7KXV WKH WKUHH HVVD\ FRQGLWLRQV ZHUH   SURDWWLWXGLQDO   FRXQWHU
              DWWLWXGLQDO ORZFKRLFH DQG  FRXQWHUDWWLWXGLQDO KLJKFKRLFH 
              


    
        7KLVVHFWLRQIUHTXHQWO\TXRWHVGLUHFWO\IURPWKHLQWURGXFWLRQDQGPHWKRGVRIWKLVVWXG\DVZULWWHQXSLQ*LQRHWDO
    S 


                                                                                                                            
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 174 of 1282



    $IWHUZULWLQJWKHHVVD\³SDUWLFLSDQWVUHFHLYHGDOLVWRISURGXFWVDQGLQGLFDWHGKRZ
    GHVLUDEOHWKH\IRXQGWKHPWREH:HDYHUDJHGUDWLQJVRIWKHILYHFOHDQVLQJ
    SURGXFWVWRFUHDWHRQHDJJUHJDWHPHDVXUH´
    
    7KH DXWKRUV K\SRWKHVL]HG WKDW ³SDUWLFLSDQWV ZRXOG H[SUHVV D JUHDWHU GHVLUH IRU
    FOHDQOLQHVVZKHQHYHUWKH\ZURWHHVVD\VWKDWZHUHQRWFRQVLVWHQWZLWKWKHLULQWHUQDO
    EHOLHIVUHJDUGOHVVRIWKHLUSHUFHLYHGOHYHORIFKRLFH´7KDWLVWKH\SUHGLFWHGWKDW
    SDUWLFLSDQWV¶ SUHIHUHQFH IRU FOHDQLQJ SURGXFWV ZRXOG LQFUHDVH DIWHU ZULWLQJ D
    FRXQWHUDWWLWXGLQDOHVVD\UHJDUGOHVVRIZKHWKHUWKH\GLGVRXQGHUFRQGLWLRQVRI
    ORZFKRLFHRUKLJKFKRLFH
    
    5HVXOWV
    
    &RQVLVWHQW ZLWK WKH DXWKRUV  K\SRWKHVHV SDUWLFLSDQWV ZHUH OHVV GHVLURXV RI
    FOHDQLQJSURGXFWVLQWKHSURDWWLWXGLQDOFRQGLWLRQ 0  6'  FRPSDUHG
    WR ERWK WKH FRXQWHUDWWLWXGLQDO KLJK FKRLFH  FRQGLWLRQ 0  6'  
    S DQGWKHFRXQWHUDWWLWXGLQDO ORZFKRLFH FRQGLWLRQ 0 6'  S
    
    
    
    7KH$QRPDO\6WUDQJH'HPRJUDSKLF5HVSRQVHV
    
    $V PHQWLRQHG DERYH VWXGHQWV LQ WKLV VWXG\ ZHUH DVNHG WR UHSRUW WKHLU
    GHPRJUDSKLFV +HUH LV D VFUHHQVKRW RI WKH SRVWHG RULJLQDO PDWHULDOV LQGLFDWLQJ
    H[DFWO\ZKDWWKH\ZHUHDVNHGDQGKRZ




      
    
    :H UHWULHYHG WKH GDWD IURP WKH 26) KWWSVRVILRVGJ  ZKHUH LW KDV EHHQ
    SRVWHG VLQFH  7KH DQRPDO\ LQ WKLV GDWDVHW LQYROYHV KRZ VRPH VWXGHQWV
    DQVZHUHG4XHVWLRQ³<HDULQ6FKRRO´
    
    7KHVFUHHQVKRWEHORZVKRZVDSRUWLRQRIWKHGDWDVHW,QWKH³\HDU6FKRRO´FROXPQ
    \RXFDQVHHWKDWVWXGHQWVDSSURDFKWKLV³<HDULQ6FKRRO´TXHVWLRQLQDQXPEHURI
    GLIIHUHQWZD\V)RUH[DPSOHDMXQLRUPLJKWZULWH³MXQLRU´RU³´RU³FODVVRI
    ´RU³´ WRVLJQLI\WKDWWKH\DUHLQWKHLUWKLUG\HDU $OORIWKHVHUHVSRQVHV
    DUHUHDVRQDEOH
    
    $OHVVUHDVRQDEOHUHVSRQVHLV³+DUYDUG´DQLQFRUUHFWDQVZHUWRWKHTXHVWLRQ,WLV

                                                                                                
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 175 of 1282



    GLIILFXOWWRLPDJLQHPDQ\VWXGHQWVLQGHSHQGHQWO\PDNLQJWKLVKLJKO\LGLRV\QFUDWLF
    PLVWDNH1HYHUWKHOHVVWKHGDWDILOHLQGLFDWHVWKDWVWXGHQWVGLGVR0RUHRYHU
    DQGPDNLQJWKLQJVHYHQPRUHSHFXOLDUWKRVHVWXGHQWV¶UHVSRQVHVDUHYHU\FORVHWR
    RQHDQRWKHUDOOZLWKLQURZV WKURXJK LQWKHSRVWHGGDWDVHW
    




                                                                                        
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 176 of 1282




                                                                                     
    
    7KLVLVDUHGIODJIRULWFRXOGLQGLFDWHWKDWVRPHRQHKDGFRS\SDVWHGURZVRIGDWD
    ZLWKRXWQRWLFLQJWKDWLWUHVXOWHGLQDQLPSODXVLEOHQXPEHURIVWXGHQWVSURYLGLQJ
    WKHVDPHVWUDQJHDQGHUURQHRXVDQVZHUWRDVWUDLJKWIRUZDUGTXHVWLRQ
    
    ,IWKHVHSHFXOLDUREVHUYDWLRQVZHUHLQGHHGWDPSHUHGZLWKWKHQZHVKRXOGVHHWKDW
    VWXGHQWVZKRDQVZHUHG³+DUYDUG´ZHUHHVSHFLDOO\OLNHO\WRFRQILUPWKHDXWKRUV¶
    K\SRWKHVLV 7R VHH WKLV ZH SUHVHQW D %HH 6ZDUP SORW ZKLFK GHSLFWV HDFK
    REVHUYDWLRQLQWKHGDWDVHWVHSDUDWHO\IRUHDFKH[SHULPHQWDOFRQGLWLRQ7KH SORW
    GHSLFWV WKH NH\ GHSHQGHQW YDULDEOH SDUWLFLSDQWV¶ DYHUDJH UDWLQJV RI KRZ PXFK
    WKH\GHVLUHGILYHFOHDQLQJSURGXFWV(YHU\³QRUPDO´LQVHTXHQFHREVHUYDWLRQLV
    UHSUHVHQWHGDVDEOXHGRWZKHUHDVWKH³+DUYDUG´REVHUYDWLRQVDUHUHSUHVHQWHG
    DVUHG;¶V
    
    
    
    
    
    
                                                                                              
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 177 of 1282




             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             +HUH \RX FDQ VHH WKDW LQ WKH WZR FRXQWHUDWWLWXGLQDO FRQGLWLRQV ZKLFK ZHUH
             SUHGLFWHGWRLQGXFHDGHVLUHIRUFOHDQLQJSURGXFWVDQGWKXVKLJKHUYDOXHVRQWKH\
             D[LVHYHU\³+DUYDUG´REVHUYDWLRQKDVWKHKLJKHVWSRVVLEOHDYHUDJHYDOXH LHD
              &RQYHUVHO\LQWKHSURDWWLWXGLQDOFRQGLWLRQZKLFKZDVSUHGLFWHGWRLQGXFH
             DORZHUGHVLUHIRUFOHDQLQJSURGXFWVHYHU\³+DUYDUG´REVHUYDWLRQLVDVVRFLDWHG
             ZLWKDORZYDOXHH[FHSWIRURQH ZKLFKLWVHOIKDSSHQVWREHWKHRQO\RQHDVVRFLDWHG
             ZLWKDORZHUFDVH³KDUYDUG´ 
             
             7KHGLIIHUHQFHEHWZHHQWKH3UR$WWLWXGLQDODQG&RXQWHUDWWLWXGLQDOFRQGLWLRQVIRU
             MXVWWKHVHREVHUYDWLRQV LVKLJKO\VLJQLILFDQWZLWKDSYDOXHLQGLFDWLQJWKDWLW
             ZRXOGRFFXUE\FKDQFHOHVVWKDQRQHLQDPLOOLRQWLPHVW   S 
             
             $VLQRWKHURIWKHDOOHJDWLRQVWKLVLVYHU\PXFKFRQVLVWHQWZLWKWKHSRVVLELOLW\WKDW
             WKHVH³+DUYDUG´REVHUYDWLRQVZHUHDOWHUHGWRSURGXFHWKHGHVLUHGHIIHFW
 
7KH,QTXLU\&RPPLWWHHUHSOLFDWHGWKHDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQWE\FRQGXFWLQJLWV
RZQFRPSDULVRQDQGDQDO\VLVRIWKHODUJHUGDWDVHWIRUWKLVVWXG\IURP\RXUUHVHDUFKUHFRUGV :KHQ
ZHLQVSHFWHGWKHVPDOOHUGDWDVHWWKDW\RXLGHQWLILHGDVUHOHYDQWWRWKLVVWXG\ZHFRXOGQRWVHHDZD\


6 We also took the same conservative approach described in Footnote 3. In 1 million simulations, we observed a

t- value as large as 7.84 only six times. Thus, under the assumption that the between condition difference
between the counter-attitudinal vs. pro-attitudinal condition was identical to what was observed in the data, we
would expect a “Harvard” class year pattern that is so highly predictive of the authors’ result to emerge by
chance only about 1 in 167,000 times
                                                                                                             
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 178 of 1282




WKDWLWFRXOGKDYHEHHQLQFRUSRUDWHGLQWRWKHVWXG\¶VGDWDDQDO\VHVQRUGLGZHVHHDZD\WKDWLWFRXOG
DFFRXQWIRUDQ\RIWKHGLVFUHSDQFLHVZHQRWHKHUH 'XULQJWKLVDQDO\VLVWKH&RPPLWWHHDGGLWLRQDOO\
IRXQG WKDW DPRQJ WKH REVHUYDWLRQV WKDW OLVW ³+DUYDUG´ DV WKHLU DQVZHU WR WKH ³<HDU LQ 6FKRRO´
TXHVWLRQQRQHKDGD³FROOHJHKDUYDUGHGX´HPDLODGGUHVV,QFRQWUDVWPRVWRIWKHREVHUYDWLRQVWKDW
GLG QRW DQVZHU ³+DUYDUG´ DV WKH ³<HDU LQ 6FKRRO´ SURYLGHG D +DUYDUG HPDLO DGGUHVV HJ RQH
HQGLQJ LQ ³FROOHJHKDUYDUGHGX´  7KH UHVSRQVHV E\ WKH ³+DUYDUG JURXS´ RQ WKH NH\ GHSHQGHQW
YDULDEOHņDYHUDJHUDWLQJVRIGHVLUHIRUWKHILYHFOHDQLQJSURGXFWVņZHUHDVSRLQWHGRXWE\WKH
&RPSODLQDQWRIKLJKO\VLPLODUPDJQLWXGHVDQGLQIOXHQFHGWKHRYHUDOOH[SHULPHQWDOILQGLQJVLQWKH
K\SRWKHVL]HGGLUHFWLRQ
  
$QRWKHULVVXHWKDWHPHUJHGGXULQJWKH&RPPLWWHH¶VUHYLHZRIWKHHYLGHQFHUHODWHGWRWKLV
DOOHJDWLRQZDVDGLVFUHSDQF\LQWKH1IRUWKHGDWDVHWREWDLQHGIURP\RXUUHVHDUFKUHFRUGVDQGWKH1
IRUWKHSXEOLFO\SRVWHGGDWDVHWDYDLODEOHRQ26)ZKLFKZDVDQDO\]HGE\WKH&RPSODLQDQW 1RWH
WKDWDVPHQWLRQHGHDUOLHULQLWVZRUNRQ$OOHJDWLRQWKH&RPPLWWHHXVHGRQO\WKHODUJHURIWKH
WZRGDWDVHWVIURP\RXUUHFRUGVWKDW\RXLGHQWLILHGDVUHOHYDQWWRWKLVVWXG\,WGLGORRNDWWKH
VPDOOHUGDWDVHWEXWFRXOGQRWVHHKRZWKHGDWDWKHUHFRXOGUHFRQFLOHWKHLVVXHVUDLVHGKHUH <RXU
ILOHVKRZHGUHVSRQVHVWRWKHLQIRUPDWLRQUHTXHVWV HJDJHJHQGHU\HDULQVFKRRO DQGWKH
H[SHULPHQW¶VTXHVWLRQV7KH26)GDWDVHWKDGUHVSRQVHV
,QDGLUHFWFRPSDULVRQRIWKHWZRGDWDVHWV \RXUUHVHDUFKILOHDQGWKH26)ILOH WKH&RPPLWWHH
REVHUYHGWKHIROORZLQJ

    1. 6RPHSDUWLFLSDQWVLQ\RXUILOHZHUHQRWLQWKH26)ILOH)RUH[DPSOH\RXUUHVHDUFKGDWDVHW
       LQFOXGHGSDUWLFLSDQWVZKRUHVSRQGHGZLWK³+DUYDUG´WRWKH³<HDULQ6FKRRO´TXHVWLRQ
        FROXPQ:LQWKHGDWDVHW ZKLOHWKHSXEOLFO\DYDLODEOHGDWDVHWRQ26)LQFOXGHGRQO\
       SDUWLFLSDQWVZKRUHVSRQGHGZLWK³+DUYDUG´DVWKHLU\HDULQVFKRRO7KHVHZHUHQRWWKHRQO\
       LQVWDQFHVRISDUWLFLSDQWVLQWKHDXWKRU¶VILOHWKDWGLGQRWDSSHDULQWKH26)ILOH
     6RPHSDUWLFLSDQWVLQWKH26)ILOHZHUHQRWLQ\RXUILOH7KH&RPPLWWHHZRXOGOLNHWR
       XQGHUVWDQGKRZGDWDWKDWGRHVQRWDSSHDULQWKHILOHIURPWKHRULJLQDOH[SHULPHQWZDV
       HQWHUHGDQGXVHGLQWKHDQDO\VLVIRUWKHSDSHU

,QDGGLWLRQWKH,QTXLU\&RPPLWWHHVDZDQRPDORXVREVHUYDWLRQVUHPDLQLQJLQERWKGDWDVHWVVXFK
DVWKRVHSUHYLRXVO\PHQWLRQHGOLVWLQJ³+DUYDUG´DV³<HDULQ6FKRRO´EXWVHYHUDORWKHUVDVZHOO
HVSHFLDOO\IURPSHRSOHWKDWGLGQRWUHSRUWDFROOHJHKDUYDUGHGXHPDLODGGUHVVLQWKHDXWKRU¶V
UHVHDUFKILOH)RUH[DPSOHWKH,QTXLU\&RPPLWWHHGHWHFWHGVHYHUDORWKHUZLVHLGHQWLFDOUHFRUGVLQ
ERWKGDWDVHWVWKDWGLIIHUHGRQO\LQWKHVFRUHVUHSRUWHGDERXWDSDUWLFLSDQW¶VSUHIHUHQFHIRU³FOHDQ
SURGXFWV´

$PRQJWKHTXHVWLRQVZHZRXOGOLNH\RXWRDGGUHVVDERXW$OOHJDWLRQGXULQJ\RXULQWHUYLHZZLWK
WKH&RPPLWWHHDUHWKHIROORZLQJ


     $UHWKHUHDQ\GHVFULSWLRQVRIRUDVVHUWLRQVDERXWWKLVVWXG\RULWVGDWDLQHLWKHUWKH
       &RPSODLQDQW¶VVHFWLRQRURXU,QTXLU\&RPPLWWHHVHFWLRQWKDWLQ\RXUYLHZDUHLQFRUUHFW"
       3OHDVHH[SODLQHDFKRIWKRVHLQGHWDLO


                                                                                                         
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 179 of 1282




     +RZGR\RXH[SODLQWKHDQRPDORXV³+DUYDUG´UHVSRQVHWRWKH³<HDULQ6FKRRO´TXHVWLRQLQ
       OLQHVRIGDWDLQWKH26)GDWDVHWXVHGE\WKH&RPSODLQDQWDQGWKHIDFWWKDWWKHEHHVZDUP
       SORWUHYHDOVWKDWWKRVHSDUWLFXODUOLQHVRIGDWDVWURQJO\VXSSRUWWKHK\SRWKHVL]HGHIIHFW"
     +RZGR\RXH[SODLQWKHGLVFUHSDQF\WKDWWKH&RPPLWWHHREVHUYHGEHWZHHQ\RXUGDWDILOH
       DQGWKH26)GDWDILOHLQWKHQXPEHURISDUWLFLSDQWVZKRUHVSRQGHGZLWK³+DUYDUG´DVWKHLU
       <HDULQ6FKRRO")XUWKHUKRZGR\RXH[SODLQWKH&RPPLWWHH¶VREVHUYDWLRQWKDWDPRQJWKH
       SDUWLFLSDQWVWKDWOLVW³+DUYDUG´DVWKHLUDQVZHUWRWKH³<HDULQ6FKRRO´TXHVWLRQQRQHKDGD
       ³FROOHJHKDUYDUGHGX´HPDLODGGUHVVZKLOHPRVWRWKHUSDUWLFLSDQWVGLG"
     +RZGR\RXH[SODLQWKHDQRPDO\WKDWVRPHSDUWLFLSDQWVLQWKH26)GDWDILOHZHUHQRWLQ
       \RXUGDWDILOH"
     &DQ\RXH[SODLQWKHUHOHYDQFHRIWKHVPDOOHURIWKHWZRGDWDILOHVIURP\RXUFRPSXWHUWKDW
       \RXLGHQWLILHGDVFRQWDLQLQJGDWDIRUWKLVVWXG\"


$OOHJDWLRQ 6WXG\LQWKH3V\FKRORJLFDO6FLHQFH3DSHU 
)URPWKH&RPSODLQDQW¶VGRFXPHQW
       ,QWKLVSDSHUWKHDXWKRUVSUHVHQWILYHVWXGLHVGHPRQVWUDWLQJWKDW³GLVKRQHVW\PD\
       OHDGWRFUHDWLYLW\´
       
       +HUHZHIRFXVRQ([SHULPHQWZKLFKZDVUXQRQOLQH XVLQJP7XUNSDUWLFLSDQWV 
       :HUHFHLYHGWKLVGDWDVHWIURPDUHVHDUFKHUZKRKDG\HDUVDJRREWDLQHGLWIURP
       3URIHVVRU*LQR
       
       3URFHGXUH
       
       ,Q([SHULPHQWP7XUNSDUWLFLSDQWVZHUHILUVWDVNHGWRJXHVVZKHWKHUWKH
       RXWFRPH RI D YLUWXDO FRLQ WRVV ZRXOG EH KHDGV RU WDLOV $IWHU LQGLFDWLQJ WKHLU
       SUHGLFWLRQSDUWLFLSDQWVKDGWRSUHVVDEXWWRQWRWRVVWKHFRLQYLUWXDOO\7KH\ZHUH
       DVNHGWRSUHVVWKHEXWWRQRQO\RQFHEXWDIWHUWKDWWKH\ZHUHLQYLWHGWRSUHVVWKH
       EXWWRQPDQ\WLPHVWRPDNHVXUHWKHFRLQZDVOHJLWLPDWH7KLVZDVGHVLJQHGWR
       JLYH SDUWLFLSDQWV URRP IRU MXVWLI\LQJ WKHLU RZQ FKHDWLQJ 3DUWLFLSDQWV UHSRUWHG
       ZKHWKHUWKH\KDGJXHVVHGWKHFRLQWRVVRXWFRPHFRUUHFWO\DQGWKH\UHFHLYHGD
       ERQXVLIWKH\KDG%HFDXVHWKHFRPSXWHUUHFRUGHGWKHLUSUHGLFWLRQVDVZHOODVWKH
       RXWFRPHRIWKHFRLQWRVVWKHH[SHULPHQWHUVFRXOGWHOOZKHWKHUSDUWLFLSDQWVKDG
       FKHDWHG
       
       $IWHUFRPSOHWLQJDVFDOHPHDVXULQJUXOHIROORZLQJ QRWGLVFXVVHGIXUWKHULQWKLV
       UHSRUW SDUWLFLSDQWVFRPSOHWHGWZRFUHDWLYLW\WDVNVD³XVHV´WDVNDQGWKH5HPRWH
       $VVRFLDWHV7DVN
       
       2XU DQDO\VLV ZLOO IRFXV H[FOXVLYHO\ RQ WKH UHVXOWV RI WKH ³XVHV´ WDVN ZKLFK
       LQYROYHGDVNLQJSDUWLFLSDQWV³WRJHQHUDWHDVPDQ\FUHDWLYHXVHVIRUDQHZVSDSHU
       DVSRVVLEOHZLWKLQPLQ´ S 
       
       5HVXOWV

                                                                                                     
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 180 of 1282




             
             ,QOLQHZLWKWKHDXWKRUV K\SRWKHVLVSDUWLFLSDQWVZKRFKHDWHGRQWKHFRLQWRVVWDVN
             FDPHXSZLWKPRUHXVHVIRUDQHZVSDSHU 0  WKDQGLGSDUWLFLSDQWVZKRGLG
             QRWFKHDW 0  S
             
             'LUHFW(YLGHQFHRI7DPSHULQJ
             
             7KHGDWDVHWVHHPVWREHVRUWHGE\WZRFROXPQVILUVWE\DFROXPQFDOOHG³FKHDWHG´
             LQGLFDWLQJZKHWKHUSDUWLFLSDQWVFKHDWHGRQWKHFRLQWRVVWDVN  GLGQRWFKHDW
               FKHDWHG DQGWKHQE\DFROXPQFDOOHG³1XPEHURIUHVSRQVHV´LQGLFDWLQJKRZ
             PDQ\XVHVIRUDQHZVSDSHUWKHSDUWLFLSDQWJHQHUDWHG
             
             )RUH[DPSOHWKHVFUHHQVKRWEHORZGHSLFWVWKHILUVWREVHUYDWLRQVLQWKHGDWDVHW 
             %HFDXVHWKHGDWDDUHVRUWHGILUVWE\WKH³FKHDWHG´FROXPQDOORIWKHVHREVHUYDWLRQV
             UHSUHVHQW QRQFKHDWHUV LH VFRUHV RI  LQ WKDW ³FKHDWHG´ FROXPQ  7KH VKRZQ
             URZVDUHSHUIHFWO\VRUWHGE\WKH³1XPEHURIUHVSRQVHV´FROXPQ,QGHHGWKH
             QRQFKHDWHUVLQWKHGDWDVHWDUHDOOVRUWHGE\WKH³1XPEHURIUHVSRQVHV´FROXPQ
             
             






7 To create this screenshot, we had to move the “cheated” and “Numberofresponses” columns. In the dataset that

Gino shared, those variables were in the 78th and 14th columns, respectively.
                                                                                                          
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 181 of 1282




                                                                                 
    
    7KHQH[WVFUHHQVKRWLQFRQWUDVWVKRZVWKDWZKLOHFKHDWHUVDUHDOVRVRUWHGE\
    WKLVYDULDEOHWKHUHDUHREVHUYDWLRQVWKDWDUHQRWLQWKHRUGHUWKH\VKRXOGEH




                                                                                         
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 182 of 1282




                                                                                       
    
    $VZDVWKHFDVHZLWKSUHYLRXVGDWDVHWVZHEHOLHYHWKDWWKHVHREVHUYDWLRQVZHUH
    PDQXDOO\DOWHUHGWRSURGXFHWKHGHVLUHGHIIHFW
    
    7KHUHDUHWKUHHWKLQJVZRUWK\RIQRWHKHUH
    
    )LUVWDVEHIRUHLWLVQRWSRVVLEOHWRVRUWWKHGDWDVHWWRJHQHUDWHWKHRUGHULQZKLFK
    WKH GDWD ZHUH VDYHG 7KH\ ZHUH HLWKHU RULJLQDOO\ HQWHUHG WKLV ZD\ ZKLFK LV
    LPSODXVLEOHVLQFHWKHGDWDRULJLQDWHLQD4XDOWULFVILOHZKLFKE\GHIDXOWVRUWVE\
    WLPH RUWKH\ZHUHPDQXDOO\DOWHUHG

                                                                                              
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 183 of 1282




     6HFRQGEHFDXVHURZVDUHVRUWHGE\WKHYDULDEOHRILQWHUHVWQXPEHU2I8VHV
     LIWKHYDOXHVWKDWDUHRXWRIRUGHUZHUHFKDQJHGLWLVVWUDLJKWIRUZDUGWRLPSXWH
     ZKDWWKH\ZHUHFKDQJHGIURP)RUH[DPSOHURZLVWKHQXPEHUULJKW
     EHIRUHLWLVDQGWKHILUVWQRQVXVSLFLRXVYDOXHDIWHULWLV7KHUHIRUHLI
     WKHGDWDZHUHFKDQJHGWKHQZHFDQDVVXPHWKDWWKDWXVHGWREHHLWKHUD
     RUD
     
     2QHFDQGRWKLVIRUHDFKRIWKHKLJKOLJKWHGYDOXHVLQWKHGDWDVHW:HFDQWKXV
     UHFRQVWUXFW ZKDW WKH GDWD ORRNHG OLNH EHIRUH WKH\ ZHUH WDPSHUHG ZLWK 7KH
     VFUHHQVKRWEHORZVKRZVWKHLPSXWHGYDOXHVIRUDOOUHOHYDQWFHOOV7KHILUVWQHZ
     FROXPQ ³,PSXWHG´  LPSXWHV WKH ORZHVW YDOXH WKDW LV FRQVLVWHQW ZLWK WKH
     QHLJKERULQJREVHUYDWLRQVDQGWKHVHFRQGQHZFROXPQ ³,PSXWHG´ VKRZVWKH
     KLJKHVWYDOXH6RZHVHHIRUH[DPSOHWKDWWKDWILUVWFRXOGKDYHEHHQHLWKHU
     DRUD
             
             




             
     7KLUGZKHQRQHUHFRQVWUXFWVWKHGDWDLQWKLVZD\E\UHSODFLQJWKHKLJKOLJKWHG
     YDOXHVZLWKWKHYDOXHVRQHZRXOGLPSXWHEDVHGRQWKHRUGHULQZKLFKGDWDDUH
     VRUWHGWKHVLJQLILFDQWUHODWLRQVKLSEHWZHHQFKHDWLQJDQGFUHDWLYLW\RQWKHXVHV
     WDVNHQWLUHO\GLVDSSHDUV,W¶VSYDOXHJRHVIURPWR ³,PSXWHG´ RU
      ³,PSXWHG´ 


                                                                                             

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 184 of 1282





7KH,QTXLU\&RPPLWWHHUHSOLFDWHGWKHDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQWE\FRQGXFWLQJLWV
RZQFRPSDULVRQDQGDQDO\VLVRIWKHGDWDVHWIURP\RXUUHVHDUFKUHFRUGV,WIRXQGWKDWWKHPHDQ³
5HVSRQVHV´VFRUHRI³LQVHTXHQFH´REVHUYDWLRQVZDVZKLOHWKHPHDQ³5HVSRQVHV´VFRUHRI
³RXWRIVHTXHQFH´REVHUYDWLRQVZDVPXFKKLJKHUDW:KHQWKH&RPPLWWHHPDGHDQ
DGMXVWPHQWVLPLODUWRWKH&RPSODLQDQWE\UHSODFLQJDQRXWRIVHTXHQFHHQWU\LQWKH³
UHVSRQVHV´FROXPQZLWKDQDGMDFHQW³LQVHTXHQFH´VFRUHWKHPHDQVFRUHRIUHVSRQGHQWVLQWKH
&KHDWLQJFRQGLWLRQGHFUHDVHGIURPWRJUHDWO\FORVLQJWKHJDSWRWKHPHDQVFRUHRIIRU
+RQHVWUHVSRQGHQWV
7KH&RPPLWWHHIRXQGDQDGGLWLRQDODQRPDO\7KHGDWDILOHIURP\RXUUHVHDUFKUHFRUGVZKLFK
\RXLGHQWLILHGDVWKHILOHIRUWKLVH[SHULPHQWFRQWDLQVGDWDIRUSDUWLFLSDQWV+RZHYHUWKH
SXEOLVKHGSDSHUUHSRUWVSDUWLFLSDQWV
$PRQJWKHTXHVWLRQVZHZRXOGOLNH\RXWRDGGUHVVDERXW$OOHJDWLRQGXULQJ\RXULQWHUYLHZ
ZLWKWKH&RPPLWWHHDUHWKHIROORZLQJ


     $UHWKHUHDQ\GHVFULSWLRQVRIRUDVVHUWLRQVDERXWWKLVVWXG\RULWVGDWDLQHLWKHUWKH
       &RPSODLQDQW¶VVHFWLRQRURXU,QTXLU\&RPPLWWHHVHFWLRQWKDWLQ\RXUYLHZDUHLQFRUUHFW"
       3OHDVHH[SODLQHDFKRIWKRVHLQGHWDLO
     +RZGR\RXH[SODLQWKHDSSDUHQWGDWDWDPSHULQJGHVFULEHGE\WKH&RPSODLQDQWDQGDOVR
       REVHUYHGE\WKH&RPPLWWHH"
     +RZGR\RXH[SODLQWKHGLVFUHSDQF\EHWZHHQWKHQXPEHURISDUWLFLSDQWVLQWKHGDWDILOH
       IURP\RXUUHVHDUFKUHFRUGVDQGWKHQXPEHURISDUWLFLSDQWVLQWKHSXEOLVKHGSDSHU"

$OOHJDWLRQE 6WXG\LQWKH31$63DSHU 
)URPWKH&RPSODLQDQW¶VGRFXPHQW
       ,QWKLVSDSHUWKHDXWKRUVSUHVHQWWKUHHVWXGLHVVXJJHVWLQJWKDW³VLJQLQJEHIRUH²
       UDWKHUWKDQDIWHU²WKHRSSRUWXQLW\WRFKHDWPDNHVHWKLFVVDOLHQWZKHQWKH\DUH
       QHHGHGPRVWDQGVLJQLILFDQWO\UHGXFHVGLVKRQHVW\´ SDJH 
       
       +HUH ZH IRFXV RQ ([SHULPHQW  ZKLFK ZDV UXQ DW WKH 8QLYHUVLW\ RI 1RUWK
       &DUROLQD 81& 2XUXQGHUVWDQGLQJLVWKDW*LQRVXSHUYLVHGWKHH[HFXWLRQRI
       WKLVH[SHULPHQWDQGDQDO\]HGWKHGDWDEXWSHUKDSVLWLVZRUWKFKHFNLQJZLWK
       FRDXWKRUVWRPDNHVXUH,WLVSRVVLEOHWKDWDQ5$DVVLVWHG*LQR HJ            
            LVWKDQNHGLQWKHDFNQRZOHGJHPHQWVVKHKDVDQRQOLQHSUHVHQFHDVDOLIH
       FRDFK PDNLQJ LW HDV\ WR FRQWDFW KHU LI GHHPHG DSSURSULDWH E\ WKRVH
       LQYHVWLJDWLQJWKHVHPDWWHUV 
       
       3URFHGXUH
       
       ,Q ([SHULPHQW   SDUWLFLSDQWV ILUVW FRPSOHWHG D PDWK SX]]OHV WDVN
       ³3DUWLFLSDQWVZHUHWROGWKDWWKH\ZRXOGKDYHPLQWRILQGWZRQXPEHUVLQHDFK


                                                                                                    

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 185 of 1282




             SX]]OHWKDWVXPPHGWR)RUHDFKSDLURIQXPEHUVFRUUHFWO\LGHQWLILHGWKH\
             ZRXOGUHFHLYHIRUDPD[LPXPSD\PHQWRI2QFHWKHPLQZHUHRYHU
             WKH H[SHULPHQWHU DVNHG SDUWLFLSDQWV WR FRXQW WKH QXPEHU RI FRUUHFWO\ VROYHG
             SX]]OHVQRWHWKDWQXPEHURQWKH>DQRQ\PL]HG@FROOHFWLRQVOLSDQGWKHQVXEPLW
             ERWK WKH WHVW VKHHW DQG WKH FROOHFWLRQ VOLS WR WKH H[SHULPHQWHU´ 1RWH WKDW
             SDUWLFLSDQWV KDG WKH DELOLW\ DQG LQFHQWLYH WR FKHDW RQ WKLV WDVN E\ VLPSO\
             RYHUUHSRUWLQJWKHQXPEHURISX]]OHVWKDWWKH\VROYHGRQWKDWFROOHFWLRQVOLS
             
             $IWHU WKLV WDVN SDUWLFLSDQWV ILOOHG RXW D RQHSDJH ³WD[ UHWXUQ IRUP´ 2Q WKDW
             IRUP SDUWLFLSDQWV UHSRUWHG ERWKKRZ PXFK PRQH\WKH\KDGHDUQHGIURPWKH
             PDWKSX]]OHVWDVNDVZHOODV³KRZPDQ\PLQXWHVLWWRRNWKHPWRWUDYHOWRWKH
             ODERUDWRU\DQGWKHFRVWRIWKHLUFRPPXWH7KHVHH[SHQVHVZHUHµFUHGLWHG¶WR
             WKHLU SRVWWD[ HDUQLQJV IURP WKH >PDWK SX]]OHV@ WDVN WR FRPSXWH WKHLU ILQDO
             SD\PHQW´7KXVSDUWLFLSDQWVZHUHPRWLYDWHGQRWRQO\WRRYHUUHSRUWWKHLUPDWK
             SX]]OHWDVNSHUIRUPDQFHEXWDOVRWRRYHUUHSRUWWKHFRVWRIWKHLUFRPPXWH
             
             7KH FULWLFDO LQWHUYHQWLRQ LQ WKLV VWXG\ LQYROYHG WKH IRUPDW RI WKH ³WD[ UHWXUQ
             IRUP´3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWKUHHFRQGLWLRQV,QWKH
             VLJQDWWKHWRSFRQGLWLRQSDUWLFLSDQWVKDGWRVLJQDWWKHWRSRIWKHSDJHXQGHU
             DVWDWHPHQWWKDWUHDG³,GHFODUHWKDW,FDUHIXOO\H[DPLQHGWKLVUHWXUQDQGWKDWWR
             WKHEHVWRIP\NQRZOHGJHDQGEHOLHILWLVFRUUHFWDQGFRPSOHWH´,QWKHVLJQDW
             WKHERWWRPFRQGLWLRQSDUWLFLSDQWVLQVWHDGVLJQHGDWWKHERWWRPRIWKHSDJH$QG
             LQWKHFRQWUROFRQGLWLRQSDUWLFLSDQWVGLGQRWVLJQWKHIRUPDWDOO
             
             ,QVXPWKLVH[SHULPHQWIHDWXUHGRQHLQGHSHQGHQWYDULDEOH±WKHSODFHPHQWRI
             WKHVLJQDWXUHRQWKHWD[UHWXUQIRUP±DQGWZRGHSHQGHQWYDULDEOHV±  KRZ
             PXFK SDUWLFLSDQWV FKHDWHG RQ WKH PDWK SX]]OHV WDVN  DQG   KRZ PDQ\
             H[SHQVHVWKH\FODLPHGIRUWKHLUFRPPXWHRQWKHWD[UHWXUQIRUP
             
             5HSRUWHG5HVXOWV
             
             3DUWLFLSDQWVLQWKHVLJQDWWKHWRSFRQGLWLRQRYHUFODLPHGIHZHUFRUUHFWVROXWLRQV
               0   WKDQ WKRVH LQ WKH VLJQDWWKHERWWRP FRQGLWLRQ 0   S  
             6LPLODUO\WKH\FODLPHGORZHUFRPPXWLQJH[SHQVHV 0 YV0 S
                7KHVH DUH YHU\ ELJ HIIHFWV 6LJQLQJ DW WKH ERWWRP YV WRS TXDGUXSOHG
             FKHDWLQJ RQ WKH PDWK WDVN DQG GRXEOHG FKHDWLQJ RQ FODLPHG FRPPXWLQJ
             H[SHQVH
             
             $QRPDO\2XWRI2UGHU2EVHUYDWLRQV,Q7KH'DWDVHW
             :HUHWULHYHGWKHGDWDVHWIRU([SHULPHQWIURPWKH26)ZKHUHVLQFHLW
             KDVEHHQSXEOLFO\SRVWHG KWWSVRVILREPX 
             


8 Because of a clever design feature of the math puzzles task, the researchers could link participants’ reported math

puzzle performance to their actual math puzzle performance. Thus, the researchers could compare how many math
puzzles participants reported solving to how many puzzles they actually solved.


                                                                                                                        

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 186 of 1282




             7KHSRVWHGGDWDVHWVHHPVWREHVRUWHGE\WZRFROXPQVILUVWE\DFROXPQFDOOHG
             ³&RQG´LQGLFDWLQJSDUWLFLSDQWV¶FRQGLWLRQDVVLJQPHQW  FRQWURO VLJQDW
             WKHWRS VLJQDWWKHERWWRP DQGWKHQE\DFROXPQFDOOHG³3´LQGLFDWLQJ
             D3DUWLFLSDQW,'QXPEHUDVVLJQHGE\WKHH[SHULPHQWHU
             
             )RUH[DPSOHWKLVLVDVFUHHQVKRWRIDIHZGR]HQREVHUYDWLRQVIURPWKHVLJQDW
             WKHWRS DQG VLJQDWWKHERWWRP FRQGLWLRQ <RX FDQ VHH WKDW ZLWKLQ HDFK
             FRQGLWLRQWKHGDWDDUHDOPRVWSHUIHFWO\VRUWHGE\3DUWLFLSDQW,' WKHILUVWFROXPQ
             RQWKHOHIW +RZHYHUZHKDYHKLJKOLJKWHGHLJKWREVHUYDWLRQVWKDWDUHRXWRI
             RUGHU 
                      




                     
             3DUWLFLSDQW ,'  DSSHDUV WZLFH LQ WKH GDWDVHW ZLWK LGHQWLFDO GHPRJUDSKLF
             YDULDEOHV,QDGGLWLRQ3DUWLFLSDQWVDUHRXWRIRUGHULQ&RQGLWLRQ
             DQG3DUWLFLSDQWVDQGDUHRXWRIRUGHULQ&RQGLWLRQ:HVHHWKLVDVD
             UHGIODJEHFDXVHWRRXUNQRZOHGJHWKHUHLVQRZD\WRVRUWWKHGDWDLQDZD\
             WKDWDFKLHYHVWKLVRUGHULQJ,WVXJJHVWVWKDWREVHUYDWLRQVPXVWKDYHEHHQPRYHG
             DURXQG RU GXSOLFDWHG  PDQXDOO\ SHUKDSV WR DOWHU D SDUWLFLSDQW¶V FRQGLWLRQ
             DVVLJQPHQWLQDZD\WKDWDFKLHYHVWKHGHVLUHGUHVXOW
             
             $GHHSHUGLYHLQWRWKHGDWDRIWKHVHHLJKWSDUWLFLSDQWVSURYLGHVVXSSRUWIRUWKLV
             IRUPRIGDWDWDPSHULQJ7KHILJXUHEHORZVKRZVD³%HH6ZDUP´SORWZKLFK
             GHSLFWV HDFK REVHUYDWLRQ LQ WKH GDWDVHW VHSDUDWHO\ IRU HDFK H[SHULPHQWDO



9 There is one additional out-of-order observation in the control condition (not shown). But for simplicity we

focus our analyses on the comparison between the sign-at-the-bottom and sign-at-the-top conditions. That
one out-of-order control condition observation scored highly on overreporting math puzzles, with a score of
4 (the median is 1), and low on travel expenses claimed ($1).

                                                                                                            

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 187 of 1282




             FRQGLWLRQ7KHSORWGHSLFWVRQHRIWKHFKHDWLQJPHDVXUHVWKHDPRXQWRIPRQH\
             SDUWLFLSDQWV FODLPHG LQ WUDYHO H[SHQVHV (YHU\ ³QRUPDO´ LQVHTXHQFH
             REVHUYDWLRQ LV UHSUHVHQWHG DV D EOXH GRW ZKHUHDV WKH HLJKW RXWRIVHTXHQFH
             REVHUYDWLRQVDUHUHSUHVHQWHGDVUHG;¶V
                     




                                                                                                          
             ,QWKHVLJQDWWKHERWWRPFRQGLWLRQWKHDXWKRUVSUHGLFWHGH[SHQVHVWREHKLJK
             DQGLQGHHGWKHWKUHHRXWRIVHTXHQFHREVHUYDWLRQVLQWKLVFRQGLWLRQDUHWKHYHU\
             KLJKHVW,QWKHVLJQDWWKHWRSFRQGLWLRQWKHDXWKRUVSUHGLFWHGH[SHQVHVWREH
             ORZDQGLQGHHGWKHILYHRXWRIVHTXHQFHREVHUYDWLRQVLQWKLVFRQGLWLRQZHUHDOO
             DPRQJWKHYHU\ORZHVW$VVKRZQLQWKHSORWWKHFRQGLWLRQGLIIHUHQFHEHWZHHQ
             MXVW WKHVH HLJKW REVHUYDWLRQV RQ WKLV GHSHQGHQW YDULDEOH LV YHU\ KLJKO\
             VLJQLILFDQWLWZRXOGRFFXUE\FKDQFHOHVVWKDQLQDPLOOLRQWLPHV :HKDYH
             EHHQXQDEOHWRJHQHUDWHDEHQLJQH[SODQDWLRQIRUWKLVSDWWHUQ


10 This p-value (probably correctly) assumes that there are truly no differences between conditions. We ran 1

million simulations that examined what this p-value would be if we instead very conservatively assumed that
the condition differences are exactly as large as what was observed in the data. In each simulation, we drew
five observations at random from the sign-at-the-top condition and three observations at random from the
sign-at-the-bottom conditions (without replacement), mirroring the number of flagged observations we
observed in each condition in the data. We then conducted a t-test to analyze the condition difference between
those observations. We observed a t-value as large as what we observed for the flagged observations (21.92)
only 10 times in those 1 million simulations, suggesting a p-value of 1 in 100,000. Thus, even when we
assume that the true condition differences are exactly as large as they are in the observed dataset, there is
only an extremely small chance of finding such a large condition difference among a randomly selected subset
of eight observations.



                                                                                                              

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 188 of 1282




       
       $ VLPLODU HIIHFW HPHUJHV ZKHQ DQDO\]LQJ WKH RWKHU GHSHQGHQW YDULDEOH WKH
       RYHUUHSRUWLQJRIWKHQXPEHURIPDWKSX]]OHVVROYHG7KHILYHRXWRIVHTXHQFH
       REVHUYDWLRQVLQWKHVLJQDWWKHWRSFRQGLWLRQSUHGLFWHGWREHORZDUHDOOHTXDO
       WR ]HUR WKH ORZHVW YDOXH REVHUYHG LQ WKH GDWDVHW 7KH WKUHH RXWRIVHTXHQFH
       REVHUYDWLRQVLQWKHVLJQDWWKHERWWRPFRQGLWLRQSUHGLFWHGWREHKLJKZHUHDOO
       JUHDWHU WKDQ ]HUR   DQG  7KH FRQGLWLRQ GLIIHUHQFH EHWZHHQ WKHVH HLJKW
       REVHUYDWLRQVRQWKLVGHSHQGHQWYDULDEOHZDVDJDLQKLJKO\VLJQLILFDQWHYHQZLWK
       VRIHZREVHUYDWLRQVW   S  
       
       ,QVXPWKHUHDUHHLJKWREVHUYDWLRQVWKDWDUHRXWRIRUGHULQWKLVGDWDVHWDQGWR
       RXU NQRZOHGJH QR VRUWLQJ IXQFWLRQ FDQ DFFRXQW IRU WKHLU SODFHPHQW 7KLV
       VXJJHVWVWRXVWKDWWKHVHHLJKWREVHUYDWLRQVPD\KDYHEHHQDOWHUHGWRSURGXFH
       WKHGHVLUHGHIIHFW6XSSRUWLQJWKDWFRQWHQWLRQWKRVHHLJKWREVHUYDWLRQVSOD\D
       VL]DEOH UROH LQ SURGXFLQJ WKH SXEOLVKHG HIIHFW LQ 6WXG\  DV DOO HLJKW
       REVHUYDWLRQV KDYH YDOXHV RQ WKH GHSHQGHQW YDULDEOHV WKDW DUH H[WUHPHO\
       FRQVLVWHQWZLWKWKHDXWKRUV¶K\SRWKHVLV
       
       %HIRUHPRYLQJRQZHVKRXOGEHFOHDUWKDWZHGRQRWEHOLHYHWKDWWKHVHHLJKW
       REVHUYDWLRQVDUHQHFHVVDULO\WKHRQO\RQHVWKDWPD\KDYHEHHQWDPSHUHGZLWK
       5DWKHU WKH\ PD\ EH D PHUH VXEVHW LGHQWLILDEOH RQO\ EHFDXVH WKH SHUVRQ
       WDPSHULQJ ZLWK WKH GDWD QHJOHFWHG WR UHVRUW WKH GDWDVHW :H FDQQRW LGHQWLI\
       HYHU\LQVWDQFHRIIUDXG:HFDQRQO\LGHQWLI\LWZKHQWKRVHGRLQJWKHWDPSHULQJ
       OHDYHREVHUYDEOHWUDFHVRIZKDWWKH\KDYHGRQH
                                                       
7KH,QTXLU\&RPPLWWHHUHSOLFDWHGWKHDQRPDOLHVLGHQWLILHGE\WKH&RPSODLQDQWE\FRQGXFWLQJLWV
RZQFRPSDULVRQDQGDQDO\VLVRIWKHGDWDVHWIURP\RXUUHVHDUFKUHFRUGV,WIRXQGWKDWZKHQWKH
DQRPDORXVREVHUYDWLRQVZHUHUHPRYHGIURPWKHGDWDVHWWKHPHDQVFRUHRQ7UDYHO([SHQVHVRI
WKH³6LJQDWXUHDW7RS´JURXSLQFUHDVHGIURPWRDQGWKHPHDQVFRUHRIWKH³6LJQDWXUHDW
%RWWRP´JURXSGHFUHDVHGIURPWR7KHDGMXVWPHQWUHGXFHGWKHGLIIHUHQFHEHWZHHQWKH
WZRJURXSVLQDGLUHFWLRQRSSRVLWHWRWKDWRIWKHDXWKRUV¶K\SRWKHVLV

$PRQJWKHTXHVWLRQVZHZRXOGOLNH\RXWRDGGUHVVDERXW$OOHJDWLRQEGXULQJ\RXULQWHUYLHZ
ZLWKWKH&RPPLWWHHDUHWKHIROORZLQJ


       $UHWKHUHDQ\GHVFULSWLRQVRIRUDVVHUWLRQVDERXWWKLVVWXG\RULWVGDWDLQHLWKHUWKH
         &RPSODLQDQW¶VVHFWLRQRURXU,QTXLU\&RPPLWWHHVHFWLRQWKDWLQ\RXUYLHZDUHLQFRUUHFW"
         3OHDVHH[SODLQHDFKRIWKRVHLQGHWDLO
       +RZGR\RXH[SODLQWKHDSSDUHQWGDWDWDPSHULQJGHVFULEHGE\WKH&RPSODLQDQW"
                              





11 Using the same conservative approach described in the previous footnote, the p-value is .065



                                                                                                  

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 189 of 1282




                                              
                                         $33(1',;$
                                        $//(*$7,216

5HOHYDQW3XEOLFDWLRQV

*LQR).RXFKDNL0 &DVFLDUR7  :K\FRQQHFW"0RUDOFRQVHTXHQFHVRI
QHWZRUNLQJZLWKDSURPRWLRQRUSUHYHQWLRQIRFXV-RXUQDORI3HUVRQDOLW\DQG6RFLDO3V\FKRORJ\
  ± ³-3633DSHU´ 

*LQR).RXFKDNL0 *DOLQVN\$'  7KHPRUDOYLUWXHRIDXWKHQWLFLW\+RZ
LQDXWKHQWLFLW\SURGXFHVIHHOLQJVRILPPRUDOLW\DQGLPSXULW\3V\FKRORJLFDO6FLHQFH  ±
 ³3V\FKRORJLFDO6FLHQFH3DSHU´ 

*LQR) :LOWHUPXWK66  (YLOJHQLXV"+RZGLVKRQHVW\FDQOHDGWRJUHDWHUFUHDWLYLW\
3V\FKRORJLFDO6FLHQFH  ± ³3V\FKRORJLFDO6FLHQFH3DSHU´ 

6KX//0D]DU1*LQR)$ULHO\'DQG%D]HUPDQ0+  6LJQLQJDWWKH
EHJLQQLQJPDNHVHWKLFVVDOLHQWDQGGHFUHDVHVGLVKRQHVWVHOIUHSRUWVLQFRPSDULVRQWRVLJQLQJDW
WKHHQG3URFHHGLQJVRIWKH1DWLRQDO$FDGHP\RI6FLHQFHVRIWKH8QLWHG6WDWHVRI$PHULFD
± ³31$63DSHU´ 

                                                                                                    

$OOHJDWLRQ

'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH-3633DSHUE\DOWHULQJ
REVHUYDWLRQVWRDIIHFWWKHVLJQLILFDQFHRIILQGLQJVRIWKHVWXG\LQWKHK\SRWKHVL]HGGLUHFWLRQ,Q
SDUWLFXODU
    D ,QWKHSURPRWLRQIRFXVFRQGLWLRQE\FKDQJLQJH[WUHPHYDOXHVRI³´WR³´WRGULYHWKH
        H[SHFWHGHIIHFW6SHFLILFDOO\IRUREVHUYDWLRQVWKHUHVHHPVWREHDPLVPDWFKEHWZHHQ
        SDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWVFKRVHWRGHVFULEHKRZWKH\IHOW
    E ,QWKHSUHYHQWLRQIRFXVFRQGLWLRQE\FKDQJLQJVRPHYDOXHVRI³´WRHLWKHU³´RU³´WR
        GULYHWKHH[SHFWHGHIIHFW$QXPEHURIREVHUYDWLRQVDOVRVKRZDPLVPDWFKEHWZHHQ
        SDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWVFKRVHWRGHVFULEHKRZWKH\IHOW
    
                                                                                                    
    
    
$OOHJDWLRQ

'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH3V\FKRORJLFDO6FLHQFH
3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV1RWDEO\REVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWR
WKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWVDQGWKHVHVDPHREVHUYDWLRQVSUHVHQWHGDQ
DQRPDORXVUHVSRQVHSDWWHUQLQZKLFKVWXG\SDUWLFLSDQWVVHHPLQJO\HQWHUHG³+DUYDUG´DVWKHLU



                                                                                                  

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 190 of 1282




UHVSRQVHWRDTXHVWLRQDVNLQJWKHPWRLQGLFDWH³<HDULQ6FKRRO´LQFRQWUDVWWRWKHYDVWPDMRULW\
RIUHVHDUFKSDUWLFLSDQWVZKRFRUUHFWO\DQVZHUHGWKLVTXHVWLRQ

                                                                                                      


$OOHJDWLRQ
'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH3V\FKRORJLFDO6FLHQFH
3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV,QSDUWLFXODUZKHQVRUWHGE\ZKHWKHUSDUWLFLSDQWV
FKHDWHGRQWKHWDVNWKH\ZHUHDVNHGWRSHUIRUPDQGE\KRZPDQ\XVHVIRUDQHZVSDSHUWKH\
IRXQGLWDSSHDUVWKHUHDUHREVHUYDWLRQVRXWRIVRUWZLWKLQWKHFKHDWLQJFRQGLWLRQ7KHVH
REVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV:KHQWKHVH
REVHUYDWLRQVDUHFRUUHFWHGZLWKWKHYDOXHVLPSOLHGE\WKHVRUWWKHHIIHFWLQWKHH[SHFWHGGLUHFWLRQ
LVQRORQJHUVLJQLILFDQW IURPS WRS! 

    
                                                                                                      

$OOHJDWLRQ
:LWKUHVSHFWWR6WXG\LQWKH31$63DSHU
    D 'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJSDUWRIWKHGHVFULSWLRQRI
        VWXG\LQVWUXFWLRQVWRUHVHDUFKSDUWLFLSDQWVIURPDGUDIWRIWKHPDQXVFULSWVXEPLWWHGIRU
        SXEOLFDWLRQWKXVPLVUHSUHVHQWLQJWKHVWXG\SURFHGXUHVLQWKHILQDOSXEOLFDWLRQ6XFK
        LQVWUXFWLRQVSRLQWHGWRDVLJQLILFDQWIODZLQWKHH[HFXWLRQRIWKHGDWDFROOHFWLRQIRU6WXG\
        ZKLFKFDOOHGLQWRTXHVWLRQWKHYDOLGLW\RIWKHVWXG\UHVXOWV
    E 'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVE\DOWHULQJDQXPEHURIREVHUYDWLRQV,Q
        SDUWLFXODUZKHQVRUWHGE\³H[SHULPHQWDOFRQGLWLRQ´DQGE\³SDUWLFLSDQW,'QXPEHU´WKH
        GDWDVHWIRU6WXG\DSSHDUVWRLQFOXGHGXSOLFDWHREVHUYDWLRQDQGREVHUYDWLRQVZKHUH
        WKH³SDUWLFLSDQW,'QXPEHU´LVRXWRIVRUW7KHRXWRIVRUWREVHUYDWLRQVVXEVWDQWLDOO\
        FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV





                                                                                                   

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 191 of 1282




                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                              ([KLELW
                                  
 ,QTXLU\&RPPLWWHH0HPR$GGHQGXPVHQWWR5HVSRQGHQWRQ-DQXDU\
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
                                  
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 192 of 1282




&RQILGHQWLDO

'DWH         -DQXDU\

7R         )UDQFHVFD*LQR±5HVSRQGHQWLQ&DVH5,

)URP       7HUHVD$PDELOH&KDLU,QTXLU\&RPPLWWHH
              5REHUW6.DSODQ,QTXLU\&RPPLWWHH0HPEHU

6XEMHFW      $GGLWLRQDO,QIRUPDWLRQ5HODWHGWR$OOHJDWLRQDRI5HVHDUFK0LVFRQGXFW

                                                                                                      

$VSDUWRILWVLQTXLU\LQWRWKHUHVHDUFKPLVFRQGXFWDOOHJDWLRQVWKDWZHUHVKDUHGZLWK\RXRQ
2FWREHU VHH$SSHQGL[$ WKH,QTXLU\&RPPLWWHHKDVEHHQJDWKHULQJSUHOLPLQDU\GDWD
DQGLQIRUPDWLRQWREHJLQDVVHVVLQJZKHWKHUWKHDOOHJDWLRQVPD\KDYHVXEVWDQFHDQGWKXVZDUUDQW
DQLQYHVWLJDWLRQ7KLVLVDQDGGHQGXPWRWKHPHPRUDQGXPWKH&RPPLWWHHVKDUHGZLWK\RXRQ
-DQXDU\,WLQFOXGHVLQIRUPDWLRQSHUWDLQLQJWRDOOHJDWLRQDDORQJZLWKVRPHTXHVWLRQV
WKH&RPPLWWHHZLOODVN\RXWRDGGUHVVLQWKHLQWHUYLHZ

Allegation 4a (6WXG\LQWKH31$63DSHU)

7KHDQRQ\PRXV&RPSODLQDQWGLGQRWLQFOXGHDGGLWLRQDOLQIRUPDWLRQDERXWWKLVDOOHJDWLRQLQLWV
ZULWWHQGRFXPHQWWRWKH,QTXLU\&RPPLWWHH7KH&RPSODLQDQWGLGVKDUHWKHIROORZLQJ
LQIRUPDWLRQZLWKWKH&RPPLWWHHYLDWKH+%65HVHDUFK,QWHJULW\2IILFHU

   x    7KH&RPSODLQDQWDOOHJHGWKDW6WXG\ZDVQRWUXQDVGHVFULEHGLQWKHSXEOLVKHGSDSHU
        DQGWKDWRQHRIWKHGHSHQGHQWYDULDEOHVVHOIUHSRUWHGSHUIRUPDQFHRQWKHPDWKWDVNZDV
        PHDVXUHGEHIRUHWKHLQGHSHQGHQWYDULDEOH WKHH[SHULPHQWDOPDQLSXODWLRQRIILOOLQJRXW
        WKHWD[IRUP ZDVDGPLQLVWHUHG
   x    )XUWKHUPRUHWKH&RPSODLQDQWDOOHJHGWKDWHPDLOH[FKDQJHVRFFXUUHGDPRQJWKHFR
        DXWKRUVRIWKHSDSHUDERXWWKHFRQWHQWRIHDUO\GUDIWVRIWKHPDQXVFULSWWKDWFRQWDLQHGWKH
        RULJLQDOVWXG\PDWHULDOV7KHVHPDWHULDOVLQFOXGHGWKH&ROOHFWLRQ6OLSWKDWDSSHDUVWRKDYH
        EHHQXVHGWRFRPSHQVDWHSDUWLFLSDQWVDIWHUWKHPDWKWDVNDQGDGHVFULSWLRQRIWKH
        VHTXHQFHLQZKLFKPDWHULDOVZHUHSUHVHQWHGWRSDUWLFLSDQWV
   x    )LQDOO\WKH&RPSODLQDQWDOOHJHGWKDWDQHPDLOH[FKDQJHRFFXUUHGLQZKLFKDFRDXWKRURI
        WKHSDSHUFRQFHUQHGDERXWDSRWHQWLDOIODZLQWKHH[HFXWLRQRIWKHVWXG\DVNHGIRUPRUH
        LQIRUPDWLRQDERXWWKHLQLWLDOVWXG\SURFHGXUH7KH&RPSODLQDQWIXUWKHUDOOHJHGWKDW
        VXEVHTXHQWWRWKDWUHTXHVWWKH5HVSRQGHQWUHYLVHGWKHPDQXVFULSWGUDIWE\FKDQJLQJWKH
        GHVFULSWLRQRIWKHVWXG\SURFHGXUHVVRDVWRREVFXUHWKHIODZDQGE\UHPRYLQJWKHVWXG\
        PDWHULDOV

,QRUGHUWRYHULI\WKLVLQIRUPDWLRQWKH,QTXLU\&RPPLWWHHFRQGXFWHGDIRFXVHGVHDUFKRI\RXU
HPDLOUHFRUGVLQDQHIIRUWWRLGHQWLI\FRUUHVSRQGHQFHDPRQJWKHFRDXWKRUVRIWKHSDSHUWKDWPD\
KDYHLQFOXGHGHDUO\YHUVLRQVRIWKHPDQXVFULSW7KHHPDLOVHDUFK\LHOGHGQRUHVXOWVDVLWDSSHDUV
WKDW\RXUHPDLOUHFRUGVGRQRWJREDFNWRWKHWLPHZKHQWKLVPDQXVFULSWZDVEHLQJZULWWHQ

                                                                                                  1
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 193 of 1282





7KH&RPPLWWHHDOVRFRQGXFWHGDUHYLHZDQGDQDO\VLVRIVWXG\GRFXPHQWVIRXQGLQ\RXUODSWRS
  ?,5%81&?&/26('678',(6?7D[HVDQGRYHUUHSRUWLQJ  DQGFRPSDUHGWKHVH
GRFXPHQWVWRWKHZULWWHQGHVFULSWLRQRIWKHVWXG\SURFHGXUHVLQWKHSXEOLVKHGSDSHU

7KHUHYLHZUHYHDOHGVRPHDPELJXLWLHVDQGLQFRQVLVWHQFLHVEHWZHHQWKHGRFXPHQWVLQ\RXUVWXG\
UHFRUGVDQGWKHVWXG\SURFHGXUHDVUHSRUWHGLQWKHSDSHU7KH&RPPLWWHH¶VDQDO\VLVLGHQWLILHG
WZRVSHFLILFLVVXHVKDYLQJWRGRZLWK  DSRWHQWLDOIODZUHODWHGWRWKHWLPLQJRIWKHGHSHQGHQW
YDULDEOHDQG  WKHGHVFULSWLRQRIWKHVWXG\¶VSURFHGXUHLQWKHSXEOLVKHGDUWLFOHZKLFKFRXOGEH
VHHQDVDPELJXRXVRUSRWHQWLDOO\PLVOHDGLQJ

,VVXH7LPLQJRIWKH3HUIRUPDQFHVHOIUHSRUW'HSHQGHQW9DULDEOH

      3DJHVLQWKH,5%SURWRFROLQ\RXUUHVHDUFKUHFRUGV 7D[HVDQG2YHU
        5HSRUWLQJ%HKDYLRUDO6WXG\,5%$SSOLFDWLRQ&/($1GRF FRQWDLQDVWHSE\VWHS
        SURFHGXUHIRUWKHH[SHULPHQW)URPWKDWSURFHGXUHLWVHHPVWKDWSDUWLFLSDQWVZHUH
        SDLGLQ5RRPEHIRUHWKH\VDZWKHWD[IRUPLQ5RRP%DVHGRQWKLV
        GHVFULSWLRQRQHFDQDVVXPHWKDWSDUWLFLSDQWVZHUHFRPSHQVDWHGEDVHGRQDWDOO\
        RIWKHQXPEHURISX]]OHVVROYHG WKHLUSHUIRUPDQFHRQWKHPDWKWDVN 
      7KHWD[IRUP 7D[6WXG\)RUPGRF /LQHVWDWHV³3OHDVHHQWHUWKHSD\PHQW\RX
        UHFHLYHGRQWKHSUREOHPVROYLQJWDVN´7KHXVHRIWKHSDVWWHQVHLQWKLVLQVWUXFWLRQ
        LPSOLHVWKDWSD\PHQWKDGDOUHDG\EHHQPDGHWRSDUWLFLSDQWVEHIRUHWKH\VDZWKH
        WD[IRUP
      7KHSURFHGXUHGHVFULSWLRQLQWKH,5%SURWRFROGRHVQRWH[SOLFLWO\VWDWHWKDWWKH
        SDUWLFLSDQWVWDOOLHGXSDQGUHFRUGHGWKHLURZQSHUIRUPDQFHVFRUHVLQ5RRP
        +RZHYHUWKHSURFHGXUHUHSRUWHGLQWKHSDSHUFOHDUO\VWDWHVWKDWWKH
        SDUWLFLSDQWVWKHPVHOYHVWDOOLHGXSDQGUHFRUGHGWKHLUSHUIRUPDQFHRQWKHPDWK
        WDVNXVLQJWKH&ROOHFWLRQ6OLSZKLOHVWLOOLQ5RRP
      7KHPDWUL[VWLPXOLGRFXPHQW PDWUL[VWLPXOLGRFLQ\RXUUHVHDUFKUHFRUGV DOVR
        PDNHVLWFOHDUWKDWSDUWLFLSDQWVWKHPVHOYHVWDOOLHGXSDQGUHFRUGHGWKHLU
        SHUIRUPDQFHDQGLQDGGLWLRQWKDWSDUWLFLSDQWVZHUHWKHQSDLGIRUWKHLU
        SHUIRUPDQFHE\WKHH[SHULPHQWHULQ5RRP7KHLQVWUXFWLRQSDJH ILUVWSDJHRI
        WKDWGRFXPHQW VWDWHV³:KHQILQLVKHG)LOORXWWKHDWWDFKHGFROOHFWLRQVOLS
        6XEPLWWKHFROOHFWLRQVOLSWRWKHH[SHULPHQWHU,QRUGHUWRHQDEOHWKHH[SHULPHQWHU
        WRTXLFNO\FDOFXODWH\RXUSD\PHQW«´7KHODVWVHQWHQFHLQWKRVHLQVWUXFWLRQV
        UHDGV³7KHH[SHULPHQWHUZLOOJLYH\RX\RXUSD\PHQW´7KH&RPPLWWHHDVVXPHV
        WKHUHIRUHWKDWSDUWLFLSDQWVNQHZWKDWWKHLUVHOIUHSRUWHGSHUIRUPDQFHRQWKH
        &ROOHFWLRQ6OLSZDVNQRZQWR([SHULPHQWHUDVZDVWKHLUSD\PHQWIRU
        SHUIRUPDQFHDQGWKDWWKH\KDGWKHLUSD\PHQWLQWKHLUSRVVHVVLRQZKHQWKH\
        PRYHGWR5RRP7KLVVHHPVWRPDNHLWPXFKOHVVOLNHO\WKDWWKH\ZRXOGDOWHU
        WKHLUVHOIUHSRUWHGSHUIRUPDQFHLQ5RRPDIWHUVHHLQJWKHWD[IRUP3UHVXPDEO\
        SDUWLFLSDQWVZRXOGDVVXPHWKDWWKHH[SHULPHQWHULQ5RRPZRXOGNQRZWKDWWKH\
        KDGDOUHDG\EHHQSDLGIRUSX]]OHSHUIRUPDQFHLQ5RRPWKHRQO\SD\PHQWLVVXH
        LQ5RRPWKHQZDVFRPSHQVDWLRQIRUH[SHQVHVPLQXVWD[HV:LWKSD\PHQW
        DOUHDG\UHFHLYHGLQ5RRPRYHUVWDWLQJLQFRPHRQWKHWD[IRUPZRXOGUHVXOWRQO\
        LQDKLJKHUWD[WREHFRPSXWHGLQ5RRP

                                                                                                  2
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 194 of 1282




     7KH&RPPLWWHHQRWHGWKDWWKHWD[IRUPZKLFKSDUWLFLSDQWVILOOHGRXWLQ5RRP
       GLGQRWUHTXHVWWKDWSDUWLFLSDQWVHQWHUWKHQXPEHURISX]]OHVWKH\VROYHGFRUUHFWO\
       LWRQO\UHTXHVWHGWKHDPRXQWRIWKHSD\PHQWWKH\KDGUHFHLYHGEDVHGRQSX]]OH
       SHUIRUPDQFH7KXVLWDSSHDUVWKDWWKHRQO\WLPHGXULQJWKHH[SHULPHQWWKDW
       SDUWLFLSDQWVGLUHFWO\VHOIUHSRUWHGWKHLUSHUIRUPDQFHZDVRQWKH&ROOHFWLRQ6OLSLQ
       5RRP7KHUHFRUGLQJRIWKHGHSHQGHQWYDULDEOHVHOIUHSRUWHGSX]]OH
       SHUIRUPDQFHWKHUHIRUHDSSHDUVWRKDYHRFFXUUHGEHIRUHWKHLQGHSHQGHQWYDULDEOH
       PDQLSXODWLRQ,QWKLVVFHQDULRPDQ\SDUWLFLSDQWVPD\LQGHHGKDYHFKHDWHGLQ
       UHFRUGLQJWKHLUSX]]OHSHUIRUPDQFHRQWKH&ROOHFWLRQ6OLSWRLQFUHDVHWKHLU
       SD\PHQWEXWWKDWFKHDWLQJZRXOGQRWKDYHGHSHQGHGRQWKHLQGHSHQGHQWYDULDEOH
       RIVLJQLQJWKHWD[IRUPDWWKHWRSRUWKHERWWRPRUQRWDWDOOEHFDXVHWKH\ZRXOG
       QRW\HWKDYHVHHQWKHWD[IRUP
     7KH&RPPLWWHHDOVRQRWHGDQDGGLWLRQDOSRVVLEOHIODZLQWKHVWXG\SURFHGXUHEXW
       WKHHYLGHQFHLVDPELJXRXVEHFDXVHWKHUHDUHWZRVLPLODUGRFXPHQWVLQ\RXU
       UHVHDUFKUHFRUGVRQHFDOOHG³PDWUL[VWLPXOL´GDWHG)HEUXDU\DQGRQH
       FDOOHG³PDWUL[VWLPXOLQHZ´GDWHG-XO\,WLVXQFOHDUZKLFKGRFXPHQW
       ZDVDFWXDOO\XVHGLQGDWDFROOHFWLRQ7KHHDUOLHUGRFXPHQWKDVSDUWLFLSDQWVILOOLQ
       ³<RXU3DUWLFLSDQW,'1XPEHU´DWWKHWRSRIWKH&ROOHFWLRQ6OLS6LQFHWKLVZRXOG
       KDYHIXUWKHUPDGHLWREYLRXVWRSDUWLFLSDQWVWKDWZKDWHYHUWKH\ZURWHRQWKH
       &ROOHFWLRQ6OLSZDVLGHQWLILDEOHZLWKWKHPWKDWZRXOGKDYHDOVRLQYDOLGDWHGWKH
       LQGLUHFWPHDVXUHRIVHOIUHSRUWHGSX]]OHSHUIRUPDQFHRQWKHWD[IRUP
     3XWWLQJDOORIWKLVWRJHWKHULILQGHHGWKHGHSHQGHQWPHDVXUHRIVHOIUHSRUWHG
       SX]]OHSHUIRUPDQFHZDVFROOHFWHGEHIRUHWKHLQGHSHQGHQWYDULDEOHPDQLSXODWLRQ
       DVVXJJHVWHGE\WKHHYLGHQFHWKH&RPPLWWHHDQDO\]HGWKLVZRXOGEHDVHULRXV
       IODZLQWKHVWXG\SURFHGXUH(YHQLIWKHGHSHQGHQWPHDVXUHDQDO\]HGLQWKH
       H[SHULPHQWZDVGHULYHGIURP/LQHRIWKHWD[IRUP LQFRPHUHFHLYHGIRUPDWK
       SX]]OHSHUIRUPDQFH WKDWLQGLUHFWPHDVXUHRIVHOIUHSRUWHGSHUIRUPDQFHZRXOG
       QRWKDYHEHHQDYDOLGPHDVXUHRIFKHDWLQJDVDIXQFWLRQRIWKHWD[IRUPJLYHQWKDW
       SDUWLFLSDQWVKDGDOUHDG\EHHQSDLGIRUSX]]OHSHUIRUPDQFH,QHLWKHUFDVHLWLV
       SRVVLEOHWKDWWKHVWXG\SURFHGXUHFRQWDLQHGDVHULRXVIODZ
    
,VVXH$PELJXRXV'HVFULSWLRQRIWKH6WXG\3URFHGXUH

1HLWKHURIWKHSRVVLEOHIODZVGHVFULEHGLQ,VVXHLVHYLGHQWLQWKHGHVFULSWLRQRIWKH
VWXG\SURFHGXUHWKDWDSSHDUVLQWKHSXEOLVKHGSDSHU6SHFLILFDOO\

     7KHSXEOLVKHGSDSHU SDJH VWDWHVWKDW³7KHVROHSXUSRVHRIWKHFROOHFWLRQ
       VOLSZDVIRUWKHSDUWLFLSDQWVWKHPVHOYHVWROHDUQKRZPDQ\SX]]OHVLQWRWDOWKH\
       KDGVROYHGFRUUHFWO\´7KH&RPPLWWHH¶VDQDO\VLVDERYHVXJJHVWVWKDWWKH
       &ROOHFWLRQ6OLSZDVDOVRXVHGWRFRPSXWHSDUWLFLSDQWV¶SD\PHQW ZKLFKWKH\
       UHFHLYHGLPPHGLDWHO\ DQGSRVVLEO\WRJHWWKHSDUWLFLSDQWV¶,'QXPEHU7KXV
       WKLVPD\EHDPLVVWDWHPHQWRIWKHSXUSRVHRIWKH&ROOHFWLRQ6OLS
     7KHSXEOLVKHGSDSHU SDJH VWDWHVUHIHUULQJWRWKHH[SHQVHVSDUWLFLSDQWV
       UHSRUWHGRQWKHWD[IRUPLQ5RRP³7KHVHH[SHQVHVZHUH³FUHGLWHG´WRWKHLU
       SRVWWD[HDUQLQJVIURPWKHSUREOHPVROYLQJWDVNWRFRPSXWHWKHLUILQDOSD\PHQW´
       7KLVLVWKHRQO\SODFHLQWKH0HWKRGVHFWLRQRIWKHSXEOLVKHGSDSHUZKHUH

                                                                                               3
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 195 of 1282




       SD\PHQWLVPHQWLRQHG7KXVWKH&RPPLWWHH¶VDQDO\VLVDERYHVXJJHVWVWKDWWKLV
       SDUWRIWKHSXEOLVKHGSURFHGXUHPD\REIXVFDWHZKHQSDUWLFLSDQWVUHFHLYHGWKHLU
       SD\PHQWV

Among the questions we would like you to address about Allegation 4a during your interview
with the Committee are the following:
   1. Were any changes made to the procedure, as described in the IRB protocol that we have
       from your research records, for the experiment as it was actually carried out? Please
       explain what those changes were and why they were made. Also, please explain: (a)
       exactly when and how participants self-reported their performance and, if they did so
       more than once during the experiment, which of those was used as the dependent
       measure of self-reported performance; and (b) exactly when, during the experiment,
       participants received payment and, if they received payment in both Room 1 and Room 2,
       how each payment was computed.
   2. Are there any descriptions of or assertions about this study or its procedures in the above
       information that, in your view, are incorrect? Please explain each of those in detail.
   3. Can you explain the possible incongruences between the documents in your study records
       and the published paper?
   4. 'LG\RXDOWHUWKHSURFHGXUHGHVFULSWLRQLQDVXEVWDQWLYHZD\EHWZHHQWKHILUVWGUDIWRIWKDW
       VHFWLRQRIWKHSDSHUDQGWKHILQDOYHUVLRQ",IVRZKDWZHUHWKHDOWHUDWLRQV"
   5. &DQ\RXSURYLGHORFDWLRQVRQ\RXUKDUGGULYHRIGUDIWVRIWKHPDQXVFULSWDQGDQ\
       FRUUHVSRQGHQFHZLWKFRDXWKRUVIURPWKHWLPHSHULRGLQZKLFKGDWDZHUHFROOHFWHGDQG
       WKHSDSHU¶VHDUO\GUDIWVZHUHSUHSDUHGDQGH[FKDQJHGEHWZHHQFRDXWKRUV"





                                                                                                 4
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 196 of 1282




                                         $33(1',;$
                                        $//(*$7,216

5HOHYDQW3XEOLFDWLRQV

*LQR).RXFKDNL0 &DVFLDUR7  :K\FRQQHFW"0RUDOFRQVHTXHQFHVRI
QHWZRUNLQJZLWKDSURPRWLRQRUSUHYHQWLRQIRFXV-RXUQDORI3HUVRQDOLW\DQG6RFLDO3V\FKRORJ\
  ± ³-3633DSHU´ 

*LQR).RXFKDNL0 *DOLQVN\$'  7KHPRUDOYLUWXHRIDXWKHQWLFLW\+RZ
LQDXWKHQWLFLW\SURGXFHVIHHOLQJVRILPPRUDOLW\DQGLPSXULW\3V\FKRORJLFDO6FLHQFH  ±
 ³3V\FKRORJLFDO6FLHQFH3DSHU´ 

*LQR) :LOWHUPXWK66  (YLOJHQLXV"+RZGLVKRQHVW\FDQOHDGWRJUHDWHUFUHDWLYLW\
3V\FKRORJLFDO6FLHQFH  ± ³3V\FKRORJLFDO6FLHQFH3DSHU´ 

6KX//0D]DU1*LQR)$ULHO\'DQG%D]HUPDQ0+  6LJQLQJDWWKH
EHJLQQLQJPDNHVHWKLFVVDOLHQWDQGGHFUHDVHVGLVKRQHVWVHOIUHSRUWVLQFRPSDULVRQWRVLJQLQJDW
WKHHQG3URFHHGLQJVRIWKH1DWLRQDO$FDGHP\RI6FLHQFHVRIWKH8QLWHG6WDWHVRI$PHULFD
± ³31$63DSHU´ 

                                                                                                    

$OOHJDWLRQ

'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH-3633DSHUE\DOWHULQJ
REVHUYDWLRQVWRDIIHFWWKHVLJQLILFDQFHRIILQGLQJVRIWKHVWXG\LQWKHK\SRWKHVL]HGGLUHFWLRQ,Q
SDUWLFXODU
    D ,QWKHSURPRWLRQIRFXVFRQGLWLRQE\FKDQJLQJH[WUHPHYDOXHVRI³´WR³´WRGULYHWKH
        H[SHFWHGHIIHFW6SHFLILFDOO\IRUREVHUYDWLRQVWKHUHVHHPVWREHDPLVPDWFKEHWZHHQ
        SDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWVFKRVHWRGHVFULEHKRZWKH\IHOW
    E ,QWKHSUHYHQWLRQIRFXVFRQGLWLRQE\FKDQJLQJVRPHYDOXHVRI³´WRHLWKHU³´RU³´WR
        GULYHWKHH[SHFWHGHIIHFW$QXPEHURIREVHUYDWLRQVDOVRVKRZDPLVPDWFKEHWZHHQ
        SDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWVFKRVHWRGHVFULEHKRZWKH\IHOW
    
                                                                                                    
    
    
$OOHJDWLRQ

'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH3V\FKRORJLFDO6FLHQFH
3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV1RWDEO\REVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWR
WKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWVDQGWKHVHVDPHREVHUYDWLRQVSUHVHQWHGDQ
DQRPDORXVUHVSRQVHSDWWHUQLQZKLFKVWXG\SDUWLFLSDQWVVHHPLQJO\HQWHUHG³+DUYDUG´DVWKHLU
UHVSRQVHWRDTXHVWLRQDVNLQJWKHPWRLQGLFDWH³<HDULQ6FKRRO´LQFRQWUDVWWRWKHYDVWPDMRULW\
RIUHVHDUFKSDUWLFLSDQWVZKRFRUUHFWO\DQVZHUHGWKLVTXHVWLRQ

                                                                                                   5
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 197 of 1282





                                                                                                      


$OOHJDWLRQ
'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH3V\FKRORJLFDO6FLHQFH
3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV,QSDUWLFXODUZKHQVRUWHGE\ZKHWKHUSDUWLFLSDQWV
FKHDWHGRQWKHWDVNWKH\ZHUHDVNHGWRSHUIRUPDQGE\KRZPDQ\XVHVIRUDQHZVSDSHUWKH\
IRXQGLWDSSHDUVWKHUHDUHREVHUYDWLRQVRXWRIVRUWZLWKLQWKHFKHDWLQJFRQGLWLRQ7KHVH
REVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV:KHQWKHVH
REVHUYDWLRQVDUHFRUUHFWHGZLWKWKHYDOXHVLPSOLHGE\WKHVRUWWKHHIIHFWLQWKHH[SHFWHGGLUHFWLRQ
LVQRORQJHUVLJQLILFDQW IURPS WRS! 

    
                                                                                                      

$OOHJDWLRQ
:LWKUHVSHFWWR6WXG\LQWKH31$63DSHU
    D 'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJSDUWRIWKHGHVFULSWLRQRI
        VWXG\LQVWUXFWLRQVWRUHVHDUFKSDUWLFLSDQWVIURPDGUDIWRIWKHPDQXVFULSWVXEPLWWHGIRU
        SXEOLFDWLRQWKXVPLVUHSUHVHQWLQJWKHVWXG\SURFHGXUHVLQWKHILQDOSXEOLFDWLRQ6XFK
        LQVWUXFWLRQVSRLQWHGWRDVLJQLILFDQWIODZLQWKHH[HFXWLRQRIWKHGDWDFROOHFWLRQIRU6WXG\
        ZKLFKFDOOHGLQWRTXHVWLRQWKHYDOLGLW\RIWKHVWXG\UHVXOWV
    E 'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVE\DOWHULQJDQXPEHURIREVHUYDWLRQV,Q
        SDUWLFXODUZKHQVRUWHGE\³H[SHULPHQWDOFRQGLWLRQ´DQGE\³SDUWLFLSDQW,'QXPEHU´WKH
        GDWDVHWIRU6WXG\DSSHDUVWRLQFOXGHGXSOLFDWHREVHUYDWLRQDQGREVHUYDWLRQVZKHUH
        WKH³SDUWLFLSDQW,'QXPEHU´LVRXWRIVRUW7KHRXWRIVRUWREVHUYDWLRQVVXEVWDQWLDOO\
        FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV




                                                                                                     6
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 198 of 1282




                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                ([KLELW
                                     
  5HVSRQGHQW¶V:ULWWHQ5HVSRQVHWR,QTXLU\&RPPLWWHH0HPRVUHFHLYHGRQ
                           )HEUXDU\
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 199 of 1282
                                                                                                   Paul S. Thaler
                                                                                                Attorney At Law


                                                                                       900 Seventh Street, NW
                                                                                                       Suite 725
                                                                                        Washington, DC 20001
                                                                              T: 202.466.4110 | F: 202.466.2693
                                                                                     pthaler@cohenseglias.com
                                                                                          ZZZFRKHQVHJOLDVFRP



                                                    )HEUXDU\

9,$(/(&7521,&0$,/                                                     

'LDQH(/RSH](VT
9LFH3UHVLGHQWDQG*HQHUDO&RXQVHO
+DUYDUG8QLYHUVLW\
6PLWK&DPSXV&HQWHU6XLWH
0DVVDFKXVHWWV$YHQXH
&DPEULGJH0$

           5H        '
                        U)UDQFHVFD*LQR

'HDU0V/RSH]

    ,DPZULWLQJRQEHKDOIRI'U)UDQFHVFD*LQRWKHUHVSRQGHQWLQDUHVHDUFKPLVFRQGXFWPDWWHU
SHQGLQJDW+DUYDUG%XVLQHVV6FKRRO ³+%6´ :HUHTXHVWWKDW\RXIRUZDUGWKLVOHWWHUWR'U
$ODLQ%RQDFRVVD5HVHDUFK,QWHJULW\2IILFHU ³5,2´ DW+%6DQGWKHPHPEHUVRIWKH,QTXLU\
&RPPLWWHH'U7HUHVD$PDELOHDQG'U5REHUW.DSODQ2QEHKDOIRI'U*LQRZHWKDQN\RX
'U%RQDFRVVDWKH,QTXLU\&RPPLWWHHDQG+%6IRU\RXURQJRLQJHIIRUWVLQWKLVSURFHVV)RUWKH
UHDVRQVGHVFULEHGEHORZZHUHVSHFWIXOO\VXEPLWWKDWWKHUHLVLQVXIILFLHQWHYLGHQFHRISRVVLEOH
UHVHDUFKPLVFRQGXFWWRZDUUDQWDQLQYHVWLJDWLRQ

     ,          7KH$OOHJDWLRQV

    1RWHGLQWKH2FWREHUOHWWHUIURPWKH5,2WR'U*LQR WKH³1RWLFHRI,QTXLU\´ DUH
IRXUDOOHJDWLRQVRIIDOVLILFDWLRQDQGRUIDEULFDWLRQE\'U*LQR(DFKDOOHJDWLRQFRUUHVSRQGVWRD
GLIIHUHQWSDSHURIZKLFK'U*LQRLVDQDXWKRU$FFRUGLQJWRWKH1RWLFHRI,QTXLU\'U*LQR

                        ³«IDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH-363
                          3DSHUE\DOWHULQJREVHUYDWLRQVWRDIIHFWWKHVLJQLILFDQFHRIILQGLQJVRIWKH
                          VWXG\LQWKHK\SRWKHVL]HGGLUHFWLRQ´






 *LQR).RXFKDNL0 &DVFLDUR7  :K\FRQQHFW"0RUDOFRQVHTXHQFHVRIQHWZRUNLQJZLWKD
SURPRWLRQRUSUHYHQWLRQIRFXV-RXUQDORI3HUVRQDOLW\DQG6RFLDO3V\FKRORJ\  ± WKH³-363
3DSHU´ 


                   Pennsylvania | New Jersey | New York | Delaware | District of Columbia | Kentucky
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 200 of 1282


'LDQH(/RSH](VT
)HEUXDU\
3DJH

               ³«IDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH
                  3V\FKRORJLFDO6FLHQFH3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV«´

                        ³«IDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH
                          3V\FKRORJLFDO6FLHQFH3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV´DQG

                        ³«IDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWV>RI6WXG\LQWKH31$63DSHU@
                          E\UHPRYLQJSDUWRIWKHGHVFULSWLRQRIVWXG\LQVWUXFWLRQVWRUHVHDUFK
                          SDUWLFLSDQWVIURPDGUDIWRIWKHPDQXVFULSWVXEPLWWHGIRUSXEOLFDWLRQ´DQG³E\
                          DOWHULQJDQXPEHURIREVHUYDWLRQV´

6HH1RWLFHRI,QTXLU\)RUWKHUHDVRQVGHVFULEHGKHUHLQZHDQG'U*LQRUHVSHFWIXOO\GLVDJUHH
ZLWKWKHDOOHJDWLRQV

     ,,         $SSOLFDEOH'HILQLWLRQV

         +DUYDUG%XVLQHVV6FKRRO¶V,QWHULP3ROLF\DQG3URFHGXUHVIRU5HVSRQGLQJWR$OOHJDWLRQV
RI5HVHDUFK0LVFRQGXFW WKH³+%63ROLF\´ GHILQHVUHVHDUFKPLVFRQGXFWDV³IDEULFDWLRQ
IDOVLILFDWLRQRUSODJLDULVPLQSURSRVLQJSHUIRUPLQJRUUHYLHZLQJUHVHDUFKRULQUHSRUWLQJ
UHVHDUFKUHVXOWV´6HH+%63ROLF\DW$SS$7KH1RWLFHRI,QTXLU\VWDWHVWKDWWKHDOOHJDWLRQV
LQYROYHIDOVLILFDWLRQDQGRUIDEULFDWLRQRIGDWD6HH1RWLFHRI,QTXLU\

        7KH+%63ROLF\GHILQHVIDOVLILFDWLRQDV³PDQLSXODWLQJUHVHDUFKPDWHULDOVHTXLSPHQWRU
SURFHVVHVRUFKDQJLQJRURPLWWLQJGDWDRUUHVXOWVVXFKWKDWWKHUHVHDUFKLVQRWDFFXUDWHO\
UHSUHVHQWHGLQWKHUHVHDUFKUHFRUG´6HH+%63ROLF\DW$SS$,WGHILQHVIDEULFDWLRQDV³PDNLQJ
XSGDWDRUUHVXOWVDQGUHFRUGLQJRUUHSRUWLQJWKHP´6HHLG5HVHDUFKLVGHILQHGDV³DV\VWHPDWLF
H[SHULPHQWVWXG\HYDOXDWLRQGHPRQVWUDWLRQRUVXUYH\GHVLJQHGWRGHYHORSRUFRQWULEXWHWR
JHQHUDONQRZOHGJHRUVSHFLILFNQRZOHGJHE\HVWDEOLVKLQJGLVFRYHULQJGHYHORSLQJHOXFLGDWLQJ
RUFRQILUPLQJLQIRUPDWLRQDERXWRUWKHXQGHUO\LQJPHFKDQLVPUHODWLQJWRWKHPDWWHUVWREH
VWXGLHG´6HHLG)RUDILQGLQJRIUHVHDUFKPLVFRQGXFWWKHDOOHJHGIDEULFDWLRQRUIDOVLILFDWLRQ
PXVWEHLQWHQWLRQDONQRZLQJRUUHFNOHVVDQGFRQVWLWXWHD³VLJQLILFDQWGHSDUWXUHIURPDFFHSWHG
SUDFWLFHVRIWKHUHOHYDQWUHVHDUFKFRPPXQLW\´6HHLGDW ,,, $ ,PSRUWDQWO\³>U@HVHDUFK
PLVFRQGXFWGRHVQRWLQFOXGHKRQHVWHUURURUGLIIHUHQFHVRIRSLQLRQ´6HHLGDW$SS$

    7KH+%63ROLF\GRHVQRWGHILQHWKHWHUPVLQWHQWLRQDONQRZLQJRUUHFNOHVVDQGWKHUHIRUHZH
HQFRXUDJHWKH,QTXLU\&RPPLWWHHWRFRQVLGHUWKHGHILQLWLRQVIURP%ODFN¶V/DZ'LFWLRQDU\$V
FLWHGLQDDGPLQLVWUDWLYHGHFLVLRQUHJDUGLQJUHVHDUFKPLVFRQGXFWILQGLQJV%ODFN¶V/DZ



  *LQR).RXFKDNL0 *DOLQVN\$'  7KHPRUDOYLUWXHRIDXWKHQWLFLW\+RZLQDXWKHQWLFLW\SURGXFHV
IHHOLQJVRILPPRUDOLW\DQGLPSXULW\3V\FKRORJLFDO6FLHQFH  ± WKH³3V\FKRORJLFDO6FLHQFH
3DSHU´ 

  *LQR) :LOWHUPXWK66  (YLOJHQLXV"+RZGLVKRQHVW\FDQOHDGWRJUHDWHUFUHDWLYLW\3V\FKRORJLFDO
6FLHQFH  ± WKH³3V\FKRORJLFDO6FLHQFH3DSHU´ 

  6KX//0D]DU1*LQR)$ULHO\'DQG%D]HUPDQ0+  6LJQLQJDWWKHEHJLQQLQJPDNHVHWKLFV
VDOLHQWDQGGHFUHDVHVGLVKRQHVWVHOIUHSRUWVLQFRPSDULVRQWRVLJQLQJDWWKHHQG3URFHHGLQJVRIWKH1DWLRQDO
$FDGHP\RI6FLHQFHVRIWKH8QLWHG6WDWHVRI$PHULFD± WKH³31$63DSHU´ 
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 201 of 1282


'LDQH(/RSH](VT
)HEUXDU\
3DJH

'LFWLRQDU\GHILQHVLQWHQWLRQDODV³>G@RQHZLWKWKHDLPRIFDUU\LQJRXWWKHDFW´6HH,QUH'HFLVLRQ
RI.UHLSNH5HFRPPHQGHG'HFLVLRQ'RFNHW1R&'HFLVLRQ1R&5 0D\
 DWS,WGHILQHVNQRZLQJDV³>K@DYLQJRUVKRZLQJDZDUHQHVVRUXQGHUVWDQGLQJZHOO
LQIRUPHG´RU³>G@HOLEHUDWHFRQVFLRXV´$QGLWGHILQHVUHFNOHVVDV³>F@KDUDFWHUL]HGE\WKH
FUHDWLRQRIDVXEVWDQWLDODQGXQMXVWLILDEOHULVNRIKDUPWRRWKHUVDQGE\DFRQVFLRXV DQG
VRPHWLPHVGHOLEHUDWH GLVUHJDUGIRURULQGLIIHUHQFHWRWKDWULVNKHHGOHVVUDVK´DQGIXUWKHUVWDWHV
WKDW³>U@HFNOHVVFRQGXFWLVPXFKPRUHWKDQPHUHQHJOLJHQFHLWLVDJURVVGHYLDWLRQIURPZKDWD
UHDVRQDEOHSHUVRQZRXOGGR´6HHLGDWSVHHDOVR%ODFN¶V/DZ'LFWLRQDU\

         3XUVXDQWWRWKH+%63ROLF\WKH,QTXLU\&RPPLWWHHLVWDVNHGZLWKGHWHUPLQLQJZKHWKHU
³   WKHUH LV D UHDVRQDEOH EDVLV IRU FRQFOXGLQJ WKDW WKH DOOHJDWLRQ IDOOV ZLWKLQ WKH GHILQLWLRQ RI
UHVHDUFKPLVFRQGXFWDQG  WKHSUHOLPLQDU\LQIRUPDWLRQJDWKHULQJDQGSUHOLPLQDU\IDFWILQGLQJ
IURPWKHLQTXLU\LQGLFDWHVWKDWWKHDOOHJDWLRQPD\KDYHVXEVWDQFH´6HH+%63ROLF\DW ,9 & 
:HUHVSHFWIXOO\VXEPLWWKDWWKHDOOHJDWLRQVODFNVXEVWDQFHDQGLQPXOWLSOHLQFLGHQFHVGRQRWDOLJQ
ZLWKDFWLRQVWKDWIDOOZLWKLQWKHGHILQLWLRQRIUHVHDUFKPLVFRQGXFW

    ,,,       &RPPHQWVRQWKH$OOHJDWLRQV

    $ &RPPHQWVRQ$OOHJDWLRQ

       $OOHJDWLRQDOOHJHV³'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH
-3633DSHUE\DOWHULQJREVHUYDWLRQVWRDIIHFWWKHVLJQLILFDQFHRIILQGLQJVRIWKHVWXG\LQWKH
K\SRWKHVL]HGGLUHFWLRQ,QSDUWLFXODU

            D LQWKHSURPRWLRQIRFXVFRQGLWLRQE\FKDQJLQJH[WUHPHYDOXHVRI³´WR³´WRGULYHWKH
           H[SHFWHG HIIHFW 6SHFLILFDOO\ IRU  REVHUYDWLRQV WKHUH VHHPV WR EH D PLVPDWFK EHWZHHQ
           SDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWVFKRVHWRGHVFULEHKRZWKH\IHOW

            E LQWKHSUHYHQWLRQIRFXVFRQGLWLRQE\FKDQJLQJVRPHYDOXHVRI³´WRHLWKHU³´RU³´
           WR GULYH WKH H[SHFWHG HIIHFW $ QXPEHU RI REVHUYDWLRQV DOVR VKRZ D PLVPDWFK EHWZHHQ
           SDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWVFKRVHWRGHVFULEHKRZWKH\IHOW´

6HH1RWLFHRI,QTXLU\DWS,QWKH-3633DSHU'U*LQRDQGKHUFRDXWKRUVDUJXHGDQG
VKRZHGWKDWWKH³IRFXV´RUPRWLYDWLRQVRPHRQHKDVZKHQQHWZRUNLQJLQIOXHQFHVKRZWKDWSHUVRQ
H[SHULHQFHVQHWZRUNLQJDQGWKHIUHTXHQF\ZLWKZKLFKWKH\HQJDJHLQLW7KLVSDSHUZDVDIROORZ
XSWRDSDSHUSXEOLVKHGLQ$64WKDWVKRZHGQHWZRUNLQJRIWHQIHHOVLQDXWKHQWLFDQGLPPRUDO

        $OOHJDWLRQIRFXVHVRQWZRW\SHVRIGDWDGLVFUHSDQFLHV)LUVWZKHWKHUH[WUHPHYDOXHVZHUH
FKDQJHGWRGULYHWKHH[SHFWHGHIIHFWDQGVHFRQGZKHWKHUQXPHULFDOLPSXULW\UDWLQJVJLYHQE\
SDUWLFLSDQWVGRQRWPDWFKWKHZRUGVSDUWLFLSDQWVXVHGWRGHVFULEHKRZWKH\IHOW'U*LQRZDVQRW
WKHSHUVRQFOHDQLQJWKHGDWDVHWDQGSUHSDULQJLWIRUDQDO\VLVDQGZLOOQHHGPRUHWLPHWRXQGHUVWDQG
WKHGLVFUHSDQFLHVDOOHJHG                    'U*LQR¶VUHVHDUFKDVVRFLDWHDWWKLVWLPHZRXOGRIWHQ
KHOSFRQGXFWVWXGLHVDQGFOHDQGDWDVRPHWLPHVZLWKWKHKHOSRIUHVHDUFKDVVRFLDWHVWKDWZHUHKLUHG
WHPSRUDULO\RUXQGHUJUDGXDWHVWXGHQWVKHOSLQJIRUFODVVFUHGLW'U*LQRGLGQRWUXQWKLVVWXG\DQG
GLG QRW WDPSHU ZLWK WKH GDWD KHUVHOI EXW VKH LV XQVXUH LI WKH VWXG\ ZDV UDQ E\      RU
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 202 of 1282


'LDQH(/RSH](VT
)HEUXDU\
3DJH

FRUUHVSRQGLQJDXWKRU                                            LVDOVRWKHFRUUHVSRQGLQJDXWKRURQ
WKH SDSHU DQG D FRDXWKRU RI 'U *LQR 2YHU WKH \HDUV               DQG 'U *LQR KDYH PHW
UHJXODUO\WRGLVFXVVWKHLUSURMHFWVLQSHUVRQDQGYLUWXDOO\

        ,QKHUZRUN'U*LQRUHOLHVRQWKHKHOSRIUHVHDUFKDVVRFLDWHVGRFWRUDOVWXGHQWVRUMXQLRU
FROOHDJXHV FROODERUDWLQJ RQ DQ\ JLYHQ SURMHFW WR SUHSDUH ,5% DSSOLFDWLRQV FRQGXFW ODERUDWRU\
VWXGLHVFOHDQWKHGDWDSUHSDUHLWIRUDQDO\VHVDQGRIWHQFRQGXFWSUHOLPLQDU\DQDO\VHVRQWKHGDWD
,WLVFRPPRQSUDFWLFHIRU'U*LQRWRVKDUHKHUDFFRXQWLQIRUPDWLRQIRUVRIWZDUHSURJUDPVZLWK
WKRVHZRUNLQJZLWKKHUVRWKDWWKH\FDQDFFHVVLQIRUPDWLRQQHHGHGWRUXQRUSRVWVWXGLHV2YHUWKH
\HDUV'U*LQR¶VUHVHDUFKDVVLVWDQWVVWXGHQWVDQGFRDXWKRUVKDYHKDGKHUDFFRXQWLQIRUPDWLRQ
IRU07XUN4XDOWULFVDQGRWKHUSODWIRUPVLIVKDULQJDOORZHGUHVHDUFKWRPRYHIRUZDUGDWDJRRG
SDFHZLWKRXW'U*LQRH[SHULHQFLQJDERWWOHQHFN3UH&29,'LWZDVQRWXQXVXDOIRUUHVHDUFK
DVVRFLDWHVRUVWXGHQWVWRZRUNLQ'U*LQR¶VRIILFHHQWHULQJGDWDRQKHUFRPSXWHURUFRQGXFWLQJ
DQDO\VHV ZLWK KHU WR DLG WKHLU OHDUQLQJ 7KLV W\SH RI GHOHJDWLRQ LV D FRPPRQ SUDFWLFH DPRQJVW
EHKDYLRUDOVFLHQWLVWV

     7RWKHEHVWRIKHUNQRZOHGJHWKHGDWD'U*LQRXVHGIRUWKHDQDO\VHVLQWKLVVWXG\LVLQWKH
ILOHGDWDVWXG\$DQRQ\PRXVVDY'U*LQRDOVRQRWHVWKDWWKHZRUGVXVHGE\WKHSDUWLFLSDQWVLQ
WKH HVVD\ DUH QRW VXSSRVHG WR FRUUHVSRQG ZLWK WKH LPSXULW\ UDWLQJV 7KDW GDWD FRQFHUQV D
QHWZRUNLQJHYHQWLQEURDGWHUPVDQGDVGLVFRYHUHGLQSULRUUHVHDUFKDSHUVRQFDQIHHOVDWLVILHGRU
KDSS\KDYLQJFRQQHFWHGWRDQHZSHUVRQEXWLPSXUHGXHWRWKHLQVWUXPHQWDOQDWXUHRIFUHDWLQJRU
QXUWXULQJDQHZWLH$V'U*LQRGLGQRWUXQWKHVWXG\RUSUHSDUHWKHGDWDLQWKH-3633DSHU
$OOHJDWLRQFDQQRWKDYHVXEVWDQFH

    % &RPPHQWVRQ$OOHJDWLRQ

       $OOHJDWLRQFODLPV³'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH
3V\FKRORJLFDO6FLHQFH3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV1RWDEO\REVHUYDWLRQV
VXEVWDQWLDOO\ FRQWULEXWH WR WKH VLJQLILFDQFH RI WKH K\SRWKHVL]HG HIIHFWV DQG WKHVH VDPH 
REVHUYDWLRQV SUHVHQWHG DQ DQRPDORXV UHVSRQVH SDWWHUQ LQ ZKLFK VWXG\ SDUWLFLSDQWV VHHPLQJO\
HQWHUHG µ+DUYDUG¶ DV WKHLU UHVSRQVH WR D TXHVWLRQ DVNLQJ WKHP WR LQGLFDWH µ<HDU LQ 6FKRRO¶ LQ
FRQWUDVWWRWKHYDVWPDMRULW\RIUHVHDUFKSDUWLFLSDQWVZKRFRUUHFWO\DQVZHUHGWKLVTXHVWLRQ´6HH
1RWLFHRI,QTXLU\DWS

        'U *LQR DQG KHU FRDXWKRUV DUJXHG LQ WKH  3V\FKRORJLFDO 6FLHQFH 3DSHU WKDW
H[SHULHQFLQJ LQDXWKHQWLFLW\ OHDGV SHRSOH WR IHHO LPPRUDO 'U *LQR ZDV ILUVW DXWKRU DQG 
                      ZDV FRUUHVSRQGLQJ DXWKRU 'U *LQR KHUVHOI GLG QRW FOHDQ WKH GDWDVHW DQG
SUHSDUHLWIRUDQDO\VLV6KHEHOLHYHVWKDWWKLVGLVFUHSDQF\LVVLPSO\GXHWRVWXGHQWSDUWLFLSDQWVZKR
DQVZHUHGWKHTXHVWLRQLQFRUUHFWO\EHFDXVHWKH\DUHRIWHQDVNHGWRUHSRUWZKLFKFROOHJHRUVFKRRO
WKH\DWWHQG,WLVSRVVLEOHWKDWDVWXGHQWUHDGLQJWKHTXHVWLRQVTXLFNO\DQVZHUHGLQWKHZURQJZD\
+RZHYHUDV'U*LQRGLGQRWFOHDQWKHGDWDVHWVKHFDQQRWEHVXUHZKRGLGVR

        7RWKHEHVWRIKHUNQRZOHGJHWKHGDWD'U*LQRXVHGIRUWKHDQDO\VHVLQWKHVWXG\LVLQWKH
ILOHQDPHGDWD([SHULPHQWBVDY6KHKDVDWWHPSWHGWRUHFRQVWUXFWWKHKLVWRU\RIWKLVSDSHUEXW
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 203 of 1282


'LDQH(/RSH](VT
)HEUXDU\
3DJH

LVQRWFHUWDLQZKRZDVLQFKDUJHRIFOHDQLQJWKHGDWD,WDSSHDUVWKHWZRGDWDVHWVPD\KDYHEHHQ
PHUJHGEXW'U*LQRFDQQRWFRQILUPWKDWLVZKDWRFFXUUHG7KHGDWDFROOHFWLRQRFFXUUHGRYHUHLJKW
\HDUVDJRPDNLQJLWGLIILFXOWWRUHPHPEHUSUHFLVHO\'U*LQRUHPHPEHUVFOHDUO\KRZHYHUWKDW
VKHZDVQRWWKHSHUVRQZKRFOHDQHGWKHGDWDVHWRUSUHSDUHGLWIRUDQDO\VLV%HFDXVH'U*LQRGLG
QRWFOHDQWKHUHOHYDQWGDWDRUDOWHUWKHGDWDVHWV$OOHJDWLRQFDQQRWKDYHVXEVWDQFH

      & &RPPHQWVRQ$OOHJDWLRQ

        $OOHJDWLRQ VWDWHV ³'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWV IRU 6WXG\LQ WKH
3V\FKRORJLFDO6FLHQFH3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV,QSDUWLFXODUZKHQVRUWHG
E\ZKHWKHUSDUWLFLSDQWVFKHDWHGRQWKHWDVNWKH\ZHUHDVNHGWRSHUIRUPDQGE\KRZPDQ\XVHVIRU
D QHZVSDSHU WKH\ IRXQG LW DSSHDUV WKHUH DUH  REVHUYDWLRQV RXW RI VRUW ZLWKLQ WKH FKHDWLQJ
FRQGLWLRQ 7KHVH REVHUYDWLRQV VXEVWDQWLDOO\ FRQWULEXWH WR WKH VLJQLILFDQFH RI WKH K\SRWKHVL]HG
HIIHFWV:KHQWKHVHREVHUYDWLRQVDUHFRUUHFWHGZLWKWKHYDOXHVLPSOLHGE\WKHVRUWWKHHIIHFWLQWKH
H[SHFWHGGLUHFWLRQLVQRORQJHUVLJQLILFDQW IURPS WRS! ´6HH1RWLFHRI,QTXLU\DWS


        ,QWKLV SDSHU'U*LQR DQGKHUFRDXWKRU                             EXLOW RQSULRUZRUN WR
DUJXHDQGGHPRQVWUDWHDFURVVILYHVWXGLHVWKDWGLVKRQHVW\OHDGVWRFUHDWLYLW\7KHGDWDIRUWKLV
SDSHUZDVFROOHFWHGDWWKH8QLYHUVLW\RI1RUWK&DUROLQD 81& RQOLQHDQGDW+%6:KHQ'U*LQR
PRYHGWR+%6VKHFRQWLQXHGWRUXQVWXGLHVDWWKHEHKDYLRUDOODERUDWRU\DW81&.HQDQ)ODJOHU
%XVLQHVV6FKRROZLWKWKHKHOSRI                   KHUODEPDQDJHUDW81&$VODEPDQDJHU              
     KDGPDQ\UHVSRQVLELOLWLHVLQFOXGLQJKHOSLQJZLWK,5%DSSOLFDWLRQVSRVWLQJVWXGLHVSUHSDULQJ
DQ\PDWHULDOVQHHGHGIRUVWXGLHVSLORWLQJVWXGLHVDQGPDNLQJFKDQJHVWR SURFHGXUHVLIQHHGHG
FRQGXFWLQJ VWXGLHV SD\LQJ SDUWLFLSDQWV HQWHULQJ GDWD FOHDQLQJ GDWD LI QHHGHG DQG FRQGXFWLQJ
SUHOLPLQDU\DQDO\VHV'U*LQRUHFUXLWHGWZRLQGLYLGXDOVWRKHOSFUHDWHWKHH[SHULPHQWDOPDWHULDOV
LQWKHVHVWXGLHV              DUHVHDUFKFRPSXWLQJVSHFLDOLVWDWWKH'HFLVLRQ6FLHQFH/DERUDWRU\
DWWKH+DUYDUG.HQQHG\6FKRRODQG                 DSURJUDPPHUZKRKHOSHGRWKHU+%6FROOHDJXHV
GHYHORSSURJUDPVWRXVHLQWKHLUZRUN

        7KHGDWDDWLVVXHLQ$OOHJDWLRQZDVFROOHFWHGRQ07XUNXVLQJDSURJUDPGHYHORSHGE\
0U         VLQFH WKH VWXG\ LQYROYHG D YLUWXDO FRLQWRVV WDVN         FUHDWHG OLQNV WR XVH WR
GRZQORDGWKHGDWDDQGOLQNVWRXVHWRHUDVHWKHGDWDRQFHGRZQORDGHGVRWKHSURJUDPFRXOGEH
XVHGDJDLQ'U*LQREHOLHYHV                FRQGXFWHGWKHVWXG\DQGUHFHLYHG,5%DSSURYDODW81&
'U *LQR LV XQDEOH WR ILQG DQ\ UHFRUG RI ,5% DSSURYDO IURP +%6 7R WKH EHVW RI 'U *LQR¶V
NQRZOHGJHWKHGDWDXVHGIRUWKHDQDO\VHVLQWKHVWXG\LVLQWKHILOHQDPHGGDWD'$&6WXG\B
36VDY

       'U*LQRGLGQRWWDPSHUZLWKWKHGDWDDWLVVXH$VLVPRVWRIWHQWKHFDVHZKHQFRQGXFWLQJ
H[SHULPHQWVWKHUHVHDUFKDVVLVWDQWRUDFRDXWKRULVUHVSRQVLEOHIRUGRZQORDGLQJWKHGDWDFOHDQLQJ



 'XULQJWKHUHOHYDQWSHULRG               ZRUNHGDVDUHVHDUFKDVVRFLDWHIRU'U*LQRDQGZRXOGRIWHQFRQGXFW
VWXGLHVZLWKWKHKHOSRIXQGHUJUDGXDWHVWXGHQWV        ¶VGXWLHVLQFOXGHGSUHSDULQJ,5%DSSOLFDWLRQVSUHSDULQJ
DQGFRQGXFWLQJ4XDOWULFVVXUYH\VFRQGXFWLQJVWXGLHVHQWHULQJGDWDGRZQORDGLQJGDWDDQGFOHDQLQJGDWDDV
QHFHVVDU\'U*LQRGRHVQRWNQRZIRUFHUWDLQZKHWKHU           SHUIRUPHGWKHGDWDFOHDQLQJIRUWKHSDSHUDWLVVXH
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 204 of 1282


'LDQH(/RSH](VT
)HEUXDU\
3DJH

WKHGDWDLIQHFHVVDU\ HJUHPRYLQJUHVSRQVHVIURPWKHUHVHDUFKDVVLVWDQWKLPKHUVHOIUXQQLQJWHVWV
WRDVVXUHWKHVXUYH\ZRUNVFRUUHFWO\ DQGSUHSDULQJLWLQDIRUPDWWKDWFDQEHXVHGIRUDQDO\VHV'U
*LQR JHQHUDOO\ UHFHLYHG GDWD ILOHV LQ H[FHO RU FYV IRUPDW DQG WKHQ XSORDGHG WKHP LQ 6366 WR
FRQGXFWWKHDQDO\VHV7KHUHVHDUFKDVVLVWDQWZRXOGDOVROHW'U*LQRNQRZKRZPDQ\SDUWLFLSDQWV
VWDUWHGWKHVWXG\EXWGLGQRWFRPSOHWHLWXVXDOO\EHFDXVHWKH\GLGQRWSDVVDQDWWHQWLRQFKHFN,W
ZDVDOVRFRPPRQSUDFWLFHLQWKHODEIRU'U*LQRWRVKDUHKHUDFFRXQWLQIRUPDWLRQIRUVRIWZDUH
SURJUDPVZLWKWKHODEPDQDJHU                VRWKDWVKHFRXOGDFFHVVLQIRUPDWLRQQHHGHGWRUXQRU
SRVWVWXGLHV

        'U*LQRDFNQRZOHGJHVLWLVSRVVLEOHWKDWWKHLQFRUUHFWVRUWLQJLVGXHWRKRZWKHGDWDZDV
PHUJHGE\WKHUHVHDUFKDVVLVWDQWDQGEHOLHYHVWKHGDWDVKRZLQJZKHWKHUDSDUWLFLSDQWFKHDWHGRU
QRWFDPHGLUHFWO\IURPWKHVRIWZDUHZHESDJHGHYHORSHGIRUWKLVVWXG\$UHVHDUFKDVVLVWDQWZRXOG
QHHGWRPHUJHWKDWGDWDZLWKWKHGDWDIURPWKHRWKHUPHDVXUHV'U*LQRJHQHUDOO\GLGQRWFRQGXFW
TXDOLW\FKHFNVRQWKHGDWDXQOHVVWKHUHVHDUFKDVVLVWDQWUDLVHGVSHFLILFLVVXHVDQGWKHUHZDVQR
DSSDUHQWQHHGKHUH'U*LQREHOLHYHVLWLVSRVVLEOHWKHUHVHDUFKDVVLVWDQWFRGHGWKHXVHVIURPWKH
RULJLQDO ILOH SRWHQWLDOO\ VRUWLQJ WKH XVHV DOSKDEHWLFDOO\ RU E\ OHQJWK RI WKH ZULWWHQ WH[W EHIRUH
FRGLQJWKHPLQWRQXPEHUV+RZHYHUGHWHUPLQLQJLIWKLVLVWKHFDVHZRXOGEHGLIILFXOW7KHGDWDDW
LVVXHZDVH[FKDQJHGDV'U*LQRWUDYHOHGEHWZHHQ81&DQG+%6PXOWLSOHWLPHVWRZRUNZLWK
          DQGRWKHUFRDXWKRUV7KLVZDVRFFXUULQJDWDWLPHZKHQILOHVZHUHRIWHQVWLOOH[FKDQJHG
YLD86%NH\V

         $GGLWLRQDOO\'U*LQRZLVKHVWRFODULI\WKDWWKHQXPEHURIWKHSDUWLFLSDQWVUHSRUWHGLQWKH
GDWD ILOH DQG LQ WKH SDSHU DUH FRQVLVWHQW VKRZLQJ  SDUWLFLSDQWV IRU 6WXG\  6HH ,QTXLU\
&RPPLWWHH0HPRWR5HVSRQGHQWDWS:KLOH6WXG\KDGSDUWLFLSDQWV6WXG\KDG
SDUWLFLSDQWV %HFDXVH 'U *LQR GLG QRW PHUJH FOHDQ RU RWKHUZLVH DOWHU WKH GDWD LQ TXHVWLRQ
$OOHJDWLRQFDQQRWEHIRXQGWRKDYHVXEVWDQFH

    ' &RPPHQWVWR$OOHJDWLRQD

        $OOHJDWLRQDFODLPVZLWKUHVSHFWWR6WXG\LQWKH31$63DSHU³'U*LQRIDOVLILHG
DQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJSDUWRIWKHGHVFULSWLRQRIVWXG\LQVWUXFWLRQVWRUHVHDUFK
SDUWLFLSDQWV IURP D GUDIW RI WKH PDQXVFULSW VXEPLWWHG IRU SXEOLFDWLRQ WKXV PLVUHSUHVHQWLQJ WKH
VWXG\ SURFHGXUHV LQ WKH ILQDO SXEOLFDWLRQ 6XFK LQVWUXFWLRQV SRLQWHG WR DVLJQLILFDQW IODZ LQ WKH
H[HFXWLRQRIWKHGDWDFROOHFWLRQIRU6WXG\ZKLFKFDOOHGLQWRTXHVWLRQWKHYDOLGLW\RIWKHVWXG\
UHVXOWV´6HH1RWLFHRI,QTXLU\DWS

        7KH31$63DSHUDLPHGWRLGHQWLI\DVLPSOHLQWHUYHQWLRQWKDW³QXGJHV´SHRSOHWREH
PRUHKRQHVWZKHQILOOLQJRXWIRUPVVXFKDVWKHLULQFRPHWD[UHWXUQRUDPLOHDJHUHSRUWIRUWKH
FRPSDQ\ WKDW LQVXUHV WKHLU FDU 6SHFLILFDOO\ EDVHG RQ WKH UHVXOWV RI WKUHH H[SHULPHQWV WKH FR
DXWKRUVFODLPHGWKDWLIDQRUJDQL]DWLRQDVNVSHRSOHWRVLJQDVWDWHPHQWSURPLVLQJWRWHOOWKHWUXWK
EHIRUHWKH\ ILOO RXW DIRUP WKH\ZLOOSURYLGHPRUHKRQHVW LQIRUPDWLRQ WKDQLIWKH\VLJQVXFK D
VWDWHPHQW DIWHU SURYLGLQJ WKH UHTXHVWHG LQIRUPDWLRQ 7KH SDSHU FRPELQHG WZR SUHYLRXVO\
XQSXEOLVKHGHPSLULFDOHIIRUWV  WZRODERUDWRU\H[SHULPHQWVE\                               DQG*LQR
WKDWFODLPHGWRGHPRQVWUDWHWKH³VLJQLQJILUVW´HIIHFWDQG  RQHILHOGH[SHULPHQWFRQGXFWHGDW
DQ LQVXUDQFH FRPSDQ\ E\                 DQG        WKDW DOVR FODLPHG WR VKRZ WKH ³VLJQLQJ ILUVW´
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 205 of 1282


'LDQH(/RSH](VT
)HEUXDU\
3DJH

HIIHFW          KDGSUHVHQWHGWKHUHVXOWVRIKLVDQG         ¶VGDWDLQPXOWLSOHSXEOLFIRUXPV
ZKLFKLVKRZ                     DQG*LQROHDUQHGWKH\ZHUHDOOZRUNLQJRQVLPLODUUHVHDUFK
TXHVWLRQV%\HDUO\WKHILYHFRDXWKRUVGHFLGHGWRFRPELQHHIIRUWVDVWKHLULQGLYLGXDOSDSHUV
UHVSRQGHGWROLPLWDWLRQVZLWKLQWKHRWKHUVWKH6KX*LQR%D]HUPDQVWXGLHVFODLPHGWRRIIHUZHOO
FRQWUROOHG ODERUDWRU\ H[SHULPHQWV ZKLOH WKH 0D]DU$ULHO\ VWXG\ FODLPHG WR SURYLGH D ILHOG
H[SHULPHQWXVLQJGDWDIURPDQLQVXUDQFHFRPSDQ\

       7KHWZRODERUDWRU\VWXGLHV ([SHULPHQWDQG([SHULPHQW LQWKLVSDSHUZHUHFRQGXFWHG
DW81&UHFHLYLQJ,5%DSSURYDOLQ-XQH7KHGDWDZDVFROOHFWHGDWWKHEHKDYLRUDOODERUDWRU\
DW81&.HQDQ)ODJOHU%XVLQHVV6FKRRODQG'U*LQR¶VODEPDQDJHU              UDQWKHVWXGLHV
'U*LQREHOLHYHVWKHRULJLQDOUDZGDWDLVODEHOHG7D[6WXG\678'<[OV[

         7KHVWXGLHVZHUHFRQGXFWHGRQSDSHUDVZHUHPRVWVWXGLHV'U*LQRFRQGXFWHGZKLOHRQ
WKH IDFXOW\ DW 81& DQG LQ KHU ILUVW IHZ \HDUV DW +%6            ZDV LQ FKDUJH RI PRGLI\LQJ
PDWHULDOVDVQHHGHGEHIRUHSULQWLQJWKHPRXWLIWKHFKDQJHVZHUHUHTXLUHGWRWKHSURFHGXUHV$W
WKDWWLPH,5%DSSOLFDWLRQVZHUHHYHQGHOLYHUHGWKURXJKWKHPDLODW81&DQGVPDOOPRGLILFDWLRQV
WRSURFHGXUHGLGQRWQHHGIXUWKHU,5%DSSURYDOXQOHVVWKH\DIIHFWHGWKHUHVHDUFKTXHVWLRQXQGHU
LQYHVWLJDWLRQRUZHUHODUJHLQVFRSH*LYHQWKDW'U*LQRKDGXVHGWKHPDWUL[WDVNLQWKHSDVWVKH
FDQQRWEHFRQILGHQWWKDWWKHPDWHULDOVLQKHUIROGHUVIRUWKLVSDUWLFXODUVWXG\DUHWKHRQHVWKDWZHUH
SULQWHGDQGXVHGLQWKHVWXG\WKDWZHUHFRQGXFWHGE\                    $Q\FKDQJHVPDGHZRXOGKDYH
EHHQGLVFXVVHGEXWWKRVHFRQYHUVDWLRQVZHUHRIWHQYHUEDO7RWKHEHVWRI'U*LQR¶VNQRZOHGJH
WKH RULJLQDO SDSHU YHUVLRQV RI WKH VWXGLHV GR QRW H[LVW DQ\PRUH 7KH FRPPLWWHH LV UHVSHFWIXOO\
UHPLQGHGWKDWWKLVSUHVHQWVDJRRGH[DPSOHRIZK\ROGHUSDSHUVW\SLFDOO\EH\RQGVL[\HDUVROG
DUHQRWUHYLHZHGIRUUHVHDUFKPLVFRQGXFWPDWWHU6HH&)5 D 7KHSDVVDJHRIWLPH
SUHVHQWVFRPPRQSUREOHPVZLWKVXFKLQYHVWLJDWLRQV±ORVVRIGDWDDQGIDGHGPHPRULHVEHLQJWKH
PRVWFRPPRQ6XFKLVWKHFDVHKHUHZKHUHLQWKLVDOOHJDWLRQWKHVXEMHFWSDSHULVQRZPRUHWKDQ
\HDUVROG

        :HUHVSHFWIXOO\QRWHWKDWWKHXQDYDLODELOLW\RIUHFRUGVLVRQO\WREHFRQVLGHUHGHYLGHQFHRI
UHVHDUFKPLVFRQGXFWZKHUHLWFDQEHVKRZQ³E\DSUHSRQGHUDQFHRIHYLGHQFHWKDWWKHUHVSRQGHQW
LQWHQWLRQDOO\ NQRZLQJO\ RU UHFNOHVVO\ KDG UHVHDUFK UHFRUGV DQG GHVWUR\HG WKHP KDG WKH
RSSRUWXQLW\ WR PDLQWDLQ WKH UHFRUGV EXW GLG QRW GR VR RU PDLQWDLQHG WKH UHFRUGV DQG IDLOHG WR
SURGXFH WKHP LQ D WLPHO\ PDQQHU DQG WKDW WKH UHVSRQGHQW¶V FRQGXFW FRQVWLWXWHV D VLJQLILFDQFH
GHSDUWXUHIURPDFFHSWHGSUDFWLFHVRIWKHUHOHYDQWUHVHDUFKFRPPXQLW\´&)5 E  
 HPSKDVLV DGGHG  7KH 81& *HQHUDO 5HFRUGV 5HWHQWLRQ DQG 'LVSRVLWLRQ 6FKHGXOH LQVWUXFWV D
UHVHDUFKHU WR GHVWUR\ LQ RIILFH ,5% VWXG\ UHFRUGV WKUHH \HDUV DIWHU WKH FRPSOHWLRQ GDWH RI WKH
UHVHDUFKVWXG\6HH81&*HQHUDO5HFRUGV5HWHQWLRQDQG'LVSRVLWLRQ6FKHGXOH6HULHV$V
WKHUHVHDUFKVWXG\DWLVVXHKHUHZDVFRPSOHWHGGXULQJDSHULRGPRUHWKDQWKUHH\HDUVLQWKHSDVW
WKHODFNRIRULJLQDOLQRIILFHSDSHUUHFRUGVLVQRWDVLJQLILFDQWGHSDUWXUHIURPDFFHSWHGSUDFWLFHV

        :KHQ ZULWLQJ WKH GHVFULSWLRQV IRU WKH VWXGLHV DV D JHQHUDO UXOH 'U *LQR SURYLGHV DQ\
QHHGHGGHWDLOVIRURWKHUDXWKRUVWRXQGHUVWDQGWKHSURFHGXUHVDQGIROORZWKHPLQWKH\ZHUHWRUH
UXQWKHVWXG\WKHPVHOYHV'U*LQRGRHVQRWLQFOXGHHYHU\VLQJOHVWDWHPHQWXVHGLQWKHLQVWUXFWLRQV
EXWHQVXUHVFODULW\UHJDUGLQJWKHVWHSVIROORZHGLQFRQGXFWLQJWKHVWXG\7KLVLVVWDQGDUGSUDFWLFH
LQWKHILHOGRIEHKDYLRUDOVFLHQFHV
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 206 of 1282


'LDQH(/RSH](VT
)HEUXDU\
3DJH

       7KHGHVFULSWLRQDWLVVXHDEVHQWLQWKHILQDOSXEOLFDWLRQDSSHDUVLQWKHYHUVLRQVRIWKHSDSHU
GDWHG)HEUXDU\DQG0DUFK7KHLQIRUPDWLRQLVPLVVLQJIURPWKH0DUFK
YHUVLRQRIWKHSDSHU7KHODWHUYHUVLRQGRHVQRWLQFOXGHWUDFNFKDQJHVVR'U*LQRFDQQRW
NQRZIRUFHUWDLQZKRGHOHWHGWKHLQIRUPDWLRQIURPWKHGUDIWRIWKHSDSHU+RZHYHU'U*LQRZDV
DEOHWRORFDWHDQHPDLOIURPFRDXWKRU                    IURP0DUFKZKHUH              DVNV
IRUFODULW\UHJDUGLQJWKHFROOHFWLRQVOLSWLPLQJDQGFKHDWLQJLQWKHPDWUL[WD[DVSDUWLFLSDQWVKDG
WRLQGLFDWHWKHLUSHUIRUPDQFHRQWKHWD[IRUP'U*LQRKDGSUHYLRXVO\UHOLHGRQDFROOHFWLRQVOLS
LQRWKHUVWXGLHVDQGEHOLHYHVWKHZULWHXSRIWKHVWXG\UHIOHFWHGSURFHGXUHVXVHGLQWKRVHRWKHU
VWXGLHV8SRQUHFHLYLQJWKHHPDLOIURP                EULQJLQJWKHGLVFUHSDQF\WRKHUDWWHQWLRQ'U
*LQRZRXOGKDYHFKHFNHGZLWKWKHUHVHDUFKDVVLVWDQWZKRUDQWKHVWXG\                WRDVVXUHWKHUH
ZHUHQRLVVXHVDQGWKHGHWDLOVZHUHGHVFULEHGDFFXUDWHO\WRKRZWKHVWXG\ZDVLQIDFWFRQGXFWHG
'U*LQRDQG             KHOGUHJXODUPHHWLQJVWRFKHFNLQGXULQJ'U*LQR¶VILUVW \HDUVDW+%6
ZKLOHVWXGLHVFRQWLQXHGWRRFFXUDW81&XQGHU                

       7KHODQJXDJHLQWKH,5%DSSOLFDWLRQDVWKH,QTXLU\&RPPLWWHHQRWHGLVDPELJXRXVDERXW
WKH SURFHGXUH XVHG ,W LV EDVLF IRXQGDWLRQ NQRZOHGJH LQ H[SHULPHQWDO UHVHDUFK WR FROOHFW WKH
GHSHQGHQWPHDVXUHDIWHUWKHPDQLSXODWLRQRFFXUUHG'U*LQRLVFRQILGHQW                       ZRXOGKDYH
SRLQWHGRXWWKLVSURFHGXUDOIODZZKLOHUXQQLQJWKHVWXG\LILQIDFWWKHPDQLSXODWLRQKDSSHQHGDIWHU
SDUWLFLSDQWVUHFHLYHGSD\PHQWIRUWKHLUPDWUL[WDVN'U*LQRLVDOVRFRQILGHQWWKDWSDUWLFLSDQWV
UHFHLYHGQRSD\PHQWEHIRUHWKHHQGRIWKHHQWLUHVWXG\%HFDXVHRIWKHQXPEHURI\HDUVVLQFHWKHVH
VWXGLHVZHUHFRQGXFWHG'U*LQRFDQQRWUHPHPEHUZKHWKHUFKDQJHVWRWKHSURFHGXUHVDVVWDWHG
LQWKH,5%ZHUHPDGHDQGLIVRZKDWWKRVHFKDQJHVZHUH$Q\FKDQJHVZRXOGKDYHEHHQPDGHWR
DVVXUH  WKHSURFHGXUHVDOORZHGWKHUHVHDUFKHUVWRWHVWWKHK\SRWKHVHVWKH\ZHUHVHWRXWWRWHVW
DQG  WKDWDOOVWHSVZHUHFOHDUWRSDUWLFLSDQWV,IWKHIODZGLVFXVVHGLQ$OOHJDWLRQDKDGRFFXUUHG
'U *LQR DVVHUWV WKDW            ZRXOG KDYH EURXJKW LW WR KHU DWWHQWLRQ DQG LW ZRXOG KDYH EHHQ
UHPHGLHG,I'U*LQRPDGHWKHFKDQJHVDVDOOHJHGLQ$OOHJDWLRQDLWZRXOGKDYHEHHQWRIL[DQ
LQDFFXUDF\ LQ WKH GUDIW PDQXVFULSW DQG WR HQVXUH WKH H[SHULPHQW SURFHGXUH ZDV GHVFULEHG
DFFXUDWHO\7KHUHIRUH$OOHJDWLRQDFDQQRWEHIRXQGWRKDYHVXEVWDQFH

       )XUWKHUFRUUHVSRQGHQFHUHODWHGWRWKLVSDSHUFDQEHIRXQGLQWKH           IROGHULQ'U
*LQR¶VLQER[DVZHOODVWKH         IROGHUWKH          IROGHURUWKH             IROGHU
%HFDXVHWKHSURMHFWKDVPXOWLSOHFRDXWKRUVUHODWHGFRUUHVSRQGHQFHPD\EHORFDWHGLQDQ\DQGDOO
RIWKHIROGHUV:KHQ'U*LQRMRLQHG+%6VKHHQFRXQWHUHGOLPLWVRQLQER[IROGHUVL]H'XHWRWKLV
OLPLWDWLRQVKHGHOHWHGHPDLOVZLWKDWWDFKPHQWVWRVDYHVSDFH'U*LQRVDYHVGUDIWVRISDSHUVLQ
KHUKDUGGULYHIJLQR'RFXPHQWV6XEPLVVLRQV38%/,6+('6LJQLQJRQWKHGRWWHGOLQH




  /DEHOHG6LJQLQJRQWKHGRWWHGOLQHWXUQVPRUDOJD]HLQZDUGLQ'U*LQR¶VILOHV

  /DEHOHG0DNLQJ(WKLFV6DOLHQWBYVLQ'U*LQR¶VILOHV

  /DEHOHG0DNLQJ(WKLFV6DOLHQWLQ'U*LQR¶VILOHV

  'U*LQRDVVHUWVWKDW        DOZD\VFRQGXFWHGDWOHDVWRQHSLORWVWXG\WRDVVXUHWKHUHZHUHQRSURFHGXUDOLVVXHV
,ISDUWLFLSDQWVKDGUHFHLYHGSD\PHQWSULRUWRFRPSOHWLRQLWZRXOGKDYHEHHQYHU\GLIILFXOWWRJHWPRQH\EDFNIRU
WKRVHZKRIDLOHGFRPSOHWLRQVRPHWKLQJWKDW           DQG'U*LQRZRXOGKDYHIODJJHGDQGFKDQJHG

   :KLOH'U*LQRPDNHVDQHIIRUWWRVDYHPXOWLSOHGUDIWVRIHYHU\SDSHUWKLVIROGHUPD\QRWFRQWDLQHYHU\GUDIW
FLUFXODWHGDPRQJFRDXWKRUV
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 207 of 1282


'LDQH(/RSH](VT
)HEUXDU\
3DJH

   ( &RPPHQWVWR$OOHJDWLRQE

        $OOHJDWLRQEFODLPVWKDWLQ6WXG\LQWKH31$63DSHU³'U*LQRIDOVLILHGDQGRU
IDEULFDWHG WKH GDWDVHWV E\ DOWHULQJ D QXPEHU RI REVHUYDWLRQV ,Q SDUWLFXODU ZKHQ VRUWHG E\
µH[SHULPHQWDOFRQGLWLRQ¶DQGE\µSDUWLFLSDQW,'QXPEHU¶WKHGDWDVHWIRU6WXG\DSSHDUVWRLQFOXGH
GXSOLFDWHREVHUYDWLRQDQGREVHUYDWLRQVZKHUHWKHµSDUWLFLSDQW,'QXPEHU¶LVRXWRIVRUW7KH
RXWRIVRUWREVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV´
6HH1RWLFHRI,QTXLU\DWS

        :KHQ'U*LQR¶VODEPDQDJHU                         ZRXOGFRQGXFWVWXGLHVDW81&VKHZRXOG
SUHSDUH³,'FDUGV´WRGLVWULEXWHWRWKHSDUWLFLSDQWVHQWHULQJWKHODE7KH,'ZRXOGLQFOXGHQXPEHUV
XVHGWRWUDFNWKHQXPEHURISDUWLFLSDQWVZKRWRRNSDUWLQWKHVWXG\,QHDFKVHVVLRQWKH,'ZHUH
XQLTXH EXW LI WKH SDUWLFLSDQW UHWXUQHG WKHLU ,' FDUG DW WKH HQG RI WKH VWXG\ VHVVLRQ LW ZDV QRW
XQXVXDOIRU             WRUHXVHWKHP(DFKVHVVLRQRQO\KDGDIHZSDUWLFLSDQWVDVWKHODEZDVTXLWH
VPDOODQGRQO\FRQVLVWHGRIHLJKWZRUNVWDWLRQVEHWZHHQWZRURRPV%HFDXVHWKHGDWDVHWJLYHVQR
GDWHRUVHVVLRQQXPEHU'U*LQRFDQQRWYHULI\ZKHWKHUWKHGXSOLFDWH,'QXPEHULVLQIDFWRQH
XVHG LQ PXOWLSOH VHVVLRQV $V WKH ,' QXPEHU KDV GLIIHUHQW GDWD LQ WKH FROXPQV LW DSSHDUV WR
UHIHUHQFHWZRGLIIHUHQWSDUWLFLSDQWV

        'U*LQRLVDOVRXQDEOHWRYHULI\ZKHWKHUWKHUHVHDUFKDVVLVWDQWVXVHGUDQGRPQXPEHUVRU
DVFHQGLQJ QXPEHUV IRU WKLV SDUWLFXODU VWXG\ 7KH XVH RI UDQGRP QXPEHUV ZRXOG KDYH EHHQ
FRQVLVWHQWZLWKZKDWZDVLQGLFDWHGLQWKH ,5%DSSOLFDWLRQ³7KHILOHZLOOFRQWDLQQRLGHQWLILHUV
QHHGHGRWKHUWKDQDUDQGRPQXPEHUJLYHQWRSDUWLFLSDQWVDWWKHEHJLQQLQJRIWKHVWXG\ ZKLFKLV
XVHGIRUWKHUDQGRPGUDZ ´,IWKHUHVHDUFKDVVLVWDQWVJDYH,'VWRSDUWLFLSDQWVUDQGRPO\ZLWKRXW
DSDUWLFXODURUGHUWKHQWKH³RXWRIVRUW´QDWXUHRIWKH,'VLVQRWDPLVWDNHEXWDSURGXFWRIWKH
VWXG\SURFHGXUH

         'U *LQR GLG QRW WDPSHU ZLWK WKH GDWD DQG GRHV QRW FOHDQ KHU RZQ GDWD 7KH UHVHDUFK
DVVLVWDQWVPDNHVXUHWKHGDWDLVFOHDQDQGDFFXUDWHRIWHQUXQQLQJVLPSOHDQDO\VHVEHIRUH'U*LQR
EHJLQV WR FRQGXFW KHU RZQ DQDO\VHV 'U *LQR GRHV QRW W\SLFDOO\ UXQ TXDOLW\ FKHFNV XQOHVV WKH
UHVHDUFKDVVLVWDQWZHUHWRQRWLI\KHURIDQLVVXH'U*LQREHOLHYHVWKHLQFRUUHFWVRUWLQJLVOLNHO\
GXHWRKRZWKHGDWDZDVHQWHUHGE\WKHUHVHDUFKDVVLVWDQW7KHRULJLQDOSDSHUGDWDLVXQDYDLODEOH
IRUYHULILFDWLRQ7KHDOOHJDWLRQVWDWHVWKDWWKHHLJKWGDWDSRLQWVLQTXHVWLRQDIIHFWWKHK\SRWKHVLV
EXW'U*LQRQRWHVWKDWUHPRYDORIDQ\HLJKWUDQGRPGDWDSRLQWVIURPWKHGDWDFKDQJHVWKHUHVXOWV
VRPHPDNLQJWKHHIIHFWUHSRUWHGLQWKHSDSHUPRUHSURQRXQFHGDQGVRPHOHVVSURQRXQFHG%DVHG
RQ WKH SUDFWLFHV UHJDUGLQJ ,' GLVWULEXWLRQ DQG XVH LQ VWXGLHV DQG WKH FRQVLVWHQF\ ZLWK WKH ,5%
DSSOLFDWLRQODQJXDJH$OOHJDWLRQEFDQQRWEHIRXQGWRKDYHVXEVWDQFH

       :HDQG'U*LQRDUHFRQILGHQWWKDWXSRQUHYLHZRIWKHUHFRUGDQGDQDO\VHVRIWKHUHOHYDQW
GDWDWKHUHZLOOEHDILQGLQJWKDWWKH$OOHJDWLRQVLQWKLVLQTXLU\ODFNVXEVWDQFH0XOWLSOHDOOHJDWLRQV
LQYROYH DOOHJDWLRQV RI SRWHQWLDO GDWD PDQLSXODWLRQ EXW 'U *LQR GLG QRW SHUIRUP KHU RZQ GDWD
FOHDQLQJDQGGLGQRWXQGHUDQ\FLUFXPVWDQFHVDOWHUH[SHULPHQWDOGDWD2WKHUDOOHJDWLRQVGHVFULEH
,'ODEHOVDQGZULWWHQSURFHGXUHVWKDWDUHFRQVLVWHQWZLWKWKHH[SHULPHQWVWKHPVHOYHV7KHUHIRUH
WKHVHDOOHJDWLRQVVKRXOGEHGLVPLVVHGDQGDQLQYHVWLJDWLRQVKRXOGEHIRXQGXQZDUUDQWHG
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 208 of 1282


'LDQH(/RSH](VT
)HEUXDU\
3DJH

      2Q EHKDOI RI 'U *LQR ZH WKDQN \RX +DUYDUG 'U %RQDFRVVD 'U $PDELOH DQG 'U
.DSODQIRU\RXUWLPHDQGFDUHIXODWWHQWLRQWRWKLVPDWWHU



                                                       9HU\WUXO\\RXUV
                                                       
                                                       
                                                       
                                                       3DXO67KDOHU







Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 209 of 1282




                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                ([KLELW
                                     
         7UDQVFULSWRI5HVSRQGHQW,QWHUYLHZRQ)HEUXDU\
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 210 of 1282




                                      5HVSRQGHQW,QWHUYLHZ
                                        )HEUXDU\

>@$/$,1%21$&266$/HWPHZHOFRPH\RXDJDLQDQG,ZDQWWRZHOFRPH\RX
)UDQFHVFDDQG6\GQH\)UDQFHVFD VDGYLVRU$VDUHPLQGHUDV,VDLGWKHLQWHUYLHZLVUHFRUGHG,W
ZLOOEHWUDQVFULEHGDQGDV\RXNQRZ)UDQFHVFD\RXZLOOEHJLYHQDQRSSRUWXQLW\WRUHFHLYHWKH
WUDQVFULSWUHYLHZDQGHGLWLWIRUDFFXUDF\

>@6RRQHWKLQJWKDW,ZLOOGRILUVWLVWRLQWURGXFHHYHU\RQHLQWKHURRPVRWKDW\RX
NQRZZKR\RXDUH$QGILUVWLVWKHLQTXLU\FRPPLWWHH3URIHVVRU7HUHVD$PDELOHDVWKHFKDLURI
WKHLQTXLU\FRPPLWWHH3URIHVVRU%RE.DSODQDOVRLQWKHLQTXLU\FRPPLWWHHDQGWKHQPRYLQJRQ
WR\RX)UDQFHVFDDVWKHUHVSRQGHQWLQWKLVFDVH)UDQFHVFD*LQRSURIHVVRUDW+DUYDUG%XVLQHVV
6FKRRODQG\RXUDGYLVRU6\GQH\6PLWKZKR VMRLQLQJXV6KH VDQDWWRUQH\DW&RKHQ6HJOLDVLQ
:DVKLQJWRQ'&6RZHOFRPH\RXERWK

>@2QWKHFDOOZHDOVRKDYH+HDWKHU4XD\DXQLYHUVLW\DWWRUQH\IURPWKH+DUYDUG¶V
2IILFHRIWKH*HQHUDO&RXQVHODQG$OPD&DVWUR$VVLVWDQW'LUHFWRULQ5HVHDUFK$GPLQLVWUDWLRQ
DWWKH+DUYDUG%XVLQHVV6FKRRO$QG,VKRXOGKDYHVWDUWHGPD\EHZLWKP\VHOI, P$ODLQ
%RQDFRVVDWKH5HVHDUFK,QWHJULW\2IILFHUDW+DUYDUG%XVLQHVV6FKRRODVZHOO6ROHWPHH[SODLQ
KRZWKHLQWHUYLHZSURFHVVZLOOZRUNDQGWKHQ, OOJLYHDFRXSOHRIUHPLQGHUVEHIRUHSDVVLQJLWRQ
WR7HUHVD

>@6RWKLVLVDIDFXOW\UHYLHZRIDIDFXOW\PDWWHU6RHVVHQWLDOO\WKHLQWHUYLHZZLOOEH
DFRQYHUVDWLRQEHWZHHQWKHFRPPLWWHHDQG\RX)UDQFHVFDDVDUHVSRQGHQW,WZLOOHQWDLODVLPSOH
VHULHVRITXHVWLRQVDQGDQVZHUV$QGWRZDUGVWKHHQGRIWKHLQWHUYLHZZHPD\DVN\RXDQG
6\GQH\WREHLQWKHEUHDNRXWURRPIRUDIHZPLQXWHVVRWKDW7HUHVDDQG%REKDYHDFKDQFHWR
FRQIHULQFDVHWKH\QHHGWRGHWHUPLQHZKHWKHUWKHUHDUHRWKHUTXHVWLRQVWKDWWKH\ZRXOGOLNHWR
DVN\RX

>@6RVRPHJHQHUDOUXOHVRIWKHURDGIRUWKHLQWHUYLHZ6RWRPDNHWKHWUDQVFULSWLRQ
FOHDUIURPWKLVWDSHRQO\RQHSHUVRQDWDWLPHFDQVSHDN$V\RXNQRZRWKHUWKDQWKH,QTXLU\
&RPPLWWHHDQG\RX)UDQFHVFDQRRQHHOVHKDVDVSHDNLQJUROHLQWKLVSURFHHGLQJ6R6\GQH\
P\VHOIDQG+HDWKHUZLOOWXUQRXUFDPHUDVRIIDWWKHHQGRIWKLVLQWURGXFWLRQDQGZH UHJRLQJWR
PXWHRXUVHOYHV$QGZHZLOOQRWMXPSLQLQDQ\ZD\

>@$QGIRU\RXDVWKHUHVSRQGHQWVSHFLILFDOO\)UDQFHVFDDFRXSOHRIUXOHVRIWKH
URDG2QHSOHDVHDQVZHUTXHVWLRQVWUXWKIXOO\$OODQVZHUVQHHGWREHDXGLEOHVRWKDWWKH\FDQ
DSSHDURQWKHWUDQVFULSWVRQRGGLQJGRHVQ WZRUN6RLI\RXZDQWWRDJUHHZLWKVRPHWKLQJSOHDVH
VD\WKDWDXGLEO\,I\RXGRQ WXQGHUVWDQGWKHTXHVWLRQWKDWWKHFRPPLWWHHZLOODVN\RXMXVWDVNIRU
WKHTXHVWLRQWREHUHSKUDVHGDQGLI\RXGRQ WNQRZWKHDQVZHUMXVWSOHDVHVD\VR

>@,I\RXQHHGDEUHDNWRFRQIHUZLWK\RXUDGYLVRURUMXVWQHHGDEUHDNSOHDVHOHWXV
NQRZ:HFDQDFFRPPRGDWHWKDW:HZLOOSXW\RXDQG\RXUDGYLVRULQDEUHDNURRPDQGSDXVH
WKHUHFRUGLQJHYHU\WLPHZHSXW\RXLQDEUHDNRXWURRP




                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 211 of 1282




>@$QGODVWO\DFRXSOHRILPSRUWDQWUHPLQGHUV+%6KDVDQREOLJDWLRQWRNHHSWKLV
PDWWHUFRQILGHQWLDODV\RXNQRZVRHYHQWKHIDFWWKDWWKLVLQWHUYLHZRFFXUUHGLVFRQILGHQWLDORU
WKHIDFWWKDWWKHUHLVDUHVHDUFKPLVFRQGXFWFDVHKDSSHQLQJLVFRQILGHQWLDO$QGODVWO\SHUWKH
+%6SROLF\+%6FRPPXQLW\PHPEHUVPD\QRWUHWDOLDWHLQDQ\ZD\DJDLQVWWKHFRPSODLQDQWV
ZLWQHVVHVWKHUHVHDUFKLQWHJULW\RIILFHURUWKHFRPPLWWHHPHPEHUV)UDQFHVFDGR\RXKDYHDQ\
TXHVWLRQVIRUPHEHIRUH,KDQGLWRIIWR7HUHVD"

>@)5$1&(6&$*,121RWKDQN\RX, PYHU\FOHDU

>@5(6($5&+,17(*5,7<2)),&(53HUIHFW6R6\GQH\+HDWKHU$OPDDQG,
ZLOOQRZPXWHRXUVHOYHVWXUQRXUFDPHUDRIIDQGLW VRIIWR\RX7HUHVD6R\RXFDQWDNHLWIURP
KHUH7KDQN\RX

>@)5$1&(6&$*,122K7HUHVD,FDQ WKHDU\RX

>@7(5(6$$0$%,/(6RUU\&DQ\RXKHDUPH

>@)5$1&(6&$*,12<HV

>@7(5(6$$0$%,/(QRZ"2.7KDQNV7KDQNVDORW$ODLQ$QGMXVWIRUWKH
UHFRUGOHW VVD\RXUQDPHVDJDLQ, P7HUHVD$PDELOHSURIHVVRUDW+DUYDUG%XVLQHVV6FKRRODQG
FKDLURIWKLVLQTXLU\FRPPLWWHH$QG%REFRXOG\RXLQWURGXFH\RXUVHOI"

>@52%(57.$3/$1+HOOR)UDQFHVFD7KLVLV%RE.DSODQDV\RXNQRZIDFXOW\
LQWKHDFFRXQWLQJDQGPDQDJHPHQWXQLW$QGWKLVPD\EHRXUILUVWSURIHVVLRQDOLQWHUDFWLRQVR, P
YHU\VRUU\LWLVRFFXUULQJXQGHUWKHVHFLUFXPVWDQFHV

>@7(5(6$$0$%,/($QG)UDQFHVFDFRXOG\RXMXVWLQWURGXFH\RXUVHOITXLFNO\"

>@)5$1&(6&$*,12$EVROXWHO\,DP)UDQFHVFD*LQRDIDFXOW\PHPEHUDW
+DUYDUG%XVLQHVV6FKRRO

>@7(5(6$$0$%,/(7KDQNV6R)UDQFHVFDZH YHUHFHLYHGDQGFDUHIXOO\
UHYLHZHG\RXUZULWWHQUHVSRQVHZKLFKZDVVHQWWRXVODVW7XHVGD\)HEUXDU\WRWKH
DOOHJDWLRQVRIUHVHDUFKPLVFRQGXFWDJDLQVW\RX7KDQN\RXIRUWKDW:HGRKDYHVSHFLILF
TXHVWLRQVIRUHDFKDOOHJDWLRQWKDWZHZLOOJRWKURXJKGXULQJRXULQWHUYLHZ%XWEHIRUHZHJHW
VWDUWHGZLWKWKRVHTXHVWLRQVLVWKHUHDQ\WKLQJ\RXZRXOGOLNHWRVD\RUDQ\VWDWHPHQWWKDW\RX
ZRXOGOLNHWRPDNHDERXWWKHDOOHJDWLRQVDQGRUDERXWWKLVLQTXLU\RYHUDOO"

>@)5$1&(6&$*,12,ZRXOGOLNHWRMXVWWKDQN\RXIRUWDNLQJWKHWLPHWRJR
WKURXJKHYHU\WKLQJVRFDUHIXOO\,NQRZWKDWWKLVLVQRWSDUWRIWKHMREDQGVR,DPMXVWYHU\
JUDWHIXOWKDW\RXSDLGVRFORVHDWWHQWLRQWRHYHU\WKLQJ7KHRQO\RWKHUWKLQJWKDW, GOLNHWRVD\LI
DWDOOSRVVLEOHWRJRWKURXJKWKHFODLPVLQUHYHUVHVLQFH,WKLQNLQP\RZQKHDGLW VDOLWWOHELW
HDVLHUWRJRIURPWKHROGHVWWRWKHQHZHVW,WKLQNLWPLJKWEHKHOSIXOWRNQRZKRZLQWHUPVRI
SUDFWLFHV,VHWXSP\ODEV%XWWKDQN\RXIRUDOOWKHHIIRUWDQGWLPHDQGHQHUJ\\RX UHSXWWLQJ
LQWRWKLV

                                                   

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 212 of 1282




>@7(5(6$$0$%,/(,DSSUHFLDWHWKDW)UDQFHVFD7KDQNV,DPJRLQJWRVHHZKDW
%REIHHOVDERXWWKLV%XWP\LQLWLDOWKRXJKWRQ\RXUUHTXHVWWRJRVR\RX UHVXJJHVWLQJWKDWZH
VWDUWZLWKDOOHJDWLRQ%DQGWKHQJRWR$DQGWKHQJRWRDQGWKHQDQGWKHQ",VWKDWZKDW


>@)5$1&(6&$*,125LJKW<HDK

>@7(5(6$$0$%,/(:HDFWXDOO\KDYHDJHQHUDOTXHVWLRQWKDWZH OODVN\RXLQ
JHQHUDOKRZ\RXFRQFHLYHRI\RXUUHVSRQVLELOLWLHVDVDSULQFLSDOLQYHVWLJDWRUZKHQ\RX UH
OHDGLQJDVWXG\IRUWKHVWXGLHVUXQLQ\RXUODEDW+%6DQGDW81&6R,WKLQNZKDW, GOLNHWRGR
LVJRWKURXJKWKHDOOHJDWLRQVLQWKHRUGHUWKDWZHKDYHWKHPLQRXULQTXLU\FRPPLWWHHPHPR

>@%XWVWDUWZLWKWKDWJHQHUDOTXHVWLRQVRWKDW\RXFDQJLYHXVDJRRGIHHOLQJRIKRZ
\RXDSSURDFKUXQQLQJ\RXUVWXGLHVDQGZKDW\RXURYHUVLJKWLVDWHDFKVWDJHRIWKHSURFHVV%XW
OHWPHFKHFNLQZLWKP\FROOHDJXH%REDQG%REOHWPHNQRZLI\RX GOLNHWRWDONDERXWWKDWMXVW
EHWZHHQ\RXDQGPHIRUDPRPHQW

>@52%(57.$3/$1,FDQVSHDNDERXWWKLV,WKLQN\RXUHVSRQGHGLQZD\VWKDW
VLPLODUO\WKDW,DQWLFLSDWHGWKDW7HUHVDZDVJRLQJWRDVN\RXDJHQHUDOTXHVWLRQZHOOVSHFLILF
TXHVWLRQEXWQRWVSHFLILFRQHDFKDOOHJDWLRQEXWWRJLYH\RXDGHVFULSWLRQRI\RXUUHVHDUFKVW\OH
ERWKDW81&ZKLFKZRXOGEH\RXUHDUOLHVWRQHDQGPRUHUHFHQWO\DW+DUYDUG%XVLQHVV6FKRRO
$QG\RXFRXOGGRWKDWLQZKDWHYHURUGHU\RXZDQW%XW,WKLQNZH GOLNHWRNHHSWKHVHTXHQFHRI
DOOHJDWLRQVDERXWMXVWWKHVDPHZD\WKDWWKH\DSSHDUHGLQWKHFRPSODLQDQW VUHSRUWDQGWKHZD\
ZHDQDO\]HGWKHP,VWKDWDOOULJKW"

>@)5$1&(6&$*,12$EVROXWHO\

>@7(5(6$$0$%,/(<HDKDQG)UDQFHVFD,DSSUHFLDWHWKDW\RXUSURFHVVHVPD\
KDYHHYROYHGIURPWKHWLPH\RXZHUHDQHDUO\DVVLVWDQWSURIHVVRUDW81&XQWLOQRZ6LQFHWKH
HDUOLHVWDOOHJDWLRQJRHVEDFNWRUHVHDUFKWKDWZDVEHLQJGRQHLQWKHWLPHIUDPHPD\EH\RX
GRQ WQHHGWRJREDFNWRWKHYHU\EHJLQQLQJRI\RXUWLPHDW81&EXWLI\RXFRXOGVWDUWE\WDONLQJ
DERXWWKDW

>@6ROHWPHMXVWUHDGWKLVTXHVWLRQDV%REDQG,ZURWHLW%HIRUHZHJHWWRVSHFLILF
TXHVWLRQVRQHDFKDOOHJDWLRQZHKDYHDJHQHUDOTXHVWLRQ:H GOLNH\RXWRRXWOLQHIRUXVWKH
FRPPLWWHHKRZ\RXFRQFHLYHRI\RXUUHVSRQVLELOLWLHVDVSULQFLSDOLQYHVWLJDWRUIRUWKHVWXGLHVUXQ
LQ\RXUODEERWKDW+%6DQGZKHQ\RXZHUHOHDGLQJVWXGLHVDW81&

>@:H GOLNH\RXWREULHIO\GHVFULEH\RXUUROHLQGDWDFROOHFWLRQGDWDFOHDQLQJDQG
ZH GDSSUHFLDWHLI\RXFRXOGMXVWVD\ZKDW\RXLQFOXGHXQGHUWKHSKUDVHGDWDFOHDQLQJGDWD
DQDO\VLVZULWLQJXSDVWXG\IRUSXEOLFDWLRQSRVWLQJGDWDRQ26)WKH2SHQ6FLHQFH)UDPHZRUN
SXEOLFSODWIRUPIRUSRVWLQJRIUHVHDUFKGDWDDQGVRRQDFWLYLWLHVWKDWDUHEDVLFDOO\LQYROYHGLQ
HVVHQWLDOO\WKHHQWLUHUHVHDUFKSURFHVVVWDUWLQJZLWKWKHDFWXDOFROOHFWLRQRIGDWD

>@)5$1&(6&$*,12$EVROXWHO\6R, OOVWDUWIURP81&VLQFHWKDWZDVP\ILUVW
MREDVDQDVVLVWDQWSURIHVVRU:KHQ,MRLQHGWKHGHSDUWPHQWWKHUH,ZRXOGUHIHUWRWKH

                                                  

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 213 of 1282




organizational behavior department as more mainstream OB, and what that meant is that there
wasn't really a lab, as we know it at Harvard Business School, where researchers would show up
and collect data through experiments. I had watched that process quite closely, being a lab
manager at Carnegie Mellon University when I was a postdoc there. And so one of my primary
roles that I took on when I was at UNC was to create a lab.

[00:10:48.86] And I reviewed multiple applications. I actually don't remember how I came
across                 , but she seemed to have a lot of enthusiasm, a lot of thirst for learning, and
the right set of skills needed to launch the lab. And so we took over two small rooms at the
business school. Each of them, I believe, had about four computers, and we created an online
platform to post the studies, recruit individuals, and bring them into the lab.

[00:11:36.36] This is now many years ago since I started there in 2008, and so a lot of the
studies-- especially given that the business school was on a small hill away from main campus, a
lot of the studies were paper survey that            would conduct with other RAs that were hired
for that reason, or for class credits to help her out. But to launch the lab and create a participants
pool, we were running studies constantly every single week, and we had meetings multiple times
a week to check in on anything that was needed to run the study.

[00:12:25.62] But as I do when I hire people working for me, we go through what I expected
together. These are people that I trust, whose capabilities I rely on for the work that they do. And
I also try my best to let them know that if there are any issues coming up, they should bring that
to my attention.

[00:12:55.39] And so with            in particular, we worked quite closely. She had a variety of
responsibilities: first, she helped to prepare IRB applications. At the time, they were on paper, so
you had to send them to the IRB, in their building on main campus. She would be in charge of
posting the studies online and then doing everything needed to conduct the study. She always ran
pilots to make sure that if she had to improve on procedures, we would discuss it and then she
would conduct the studies.

[00:13:38.45] She was the person responsible for entering the data. As I said, this was now 12,
13, 14 years ago, and so most studies were on paper. The data was stored in cabinets in the lab,
and she would be the person running some initial means and averages and then bring the data to
me for full analysis. In general, this is true of   as well as other RAs.

[00:14:21.11] Everything that has to do with the write-up of a study is my responsibility. I
always asked RAs to check since they were the ones running the studies. When the paper is
written, in most cases, they get to read it and tell me whether anything is inaccurate, from my
understanding of how the procedure was conducted. But during the time at UNC, there wasn’t
the Open Science Framework, so none of that is relevant for studies conducted at UNC.

[00:14:55.01] When I moved to Harvard Business School in 2010, initially, I myself had a lab
with              . I also had the BIG lab-- I believe that's how we called it-- that used to be the
lab that     used to run with the students, and the idea was to get help from undergraduates who
would take a class for credit, as well as working with doctoral students on their research.

                                                   4
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 214 of 1282




>@,FDPHWR+%6ZLWKWKHXQGHUVWDQGLQJWKDWOLIHZRXOGJHWEXV\ZLWKWHDFKLQJHW
FHWHUDDQGVR,DOZD\VKDGDQ5$ZKRLQP\PLQGZRXOGVHUYHWKHUROHWKDW          KDGGHVSLWH
WKHIDFWWKDWWKHODEKHUHDW+DUYDUGLVVHWXSGLIIHUHQWO\$QGVRWKH\ZRXOGEHWKHSHRSOH
ZRUNLQJFORVHO\ZLWKZKHWKHULW VWKHODELQ6KDGRUWKHODEDWWKH.HQQHG\6FKRROZKHQLW
H[LVWHGWKH\ZRXOGWDNHFDUHRIUXQQLQJSURFHGXUHVUXQQLQJWKHVWXGLHV

>@$QGDJDLQZHZRXOGPHHWUHJXODUO\WRWDONWKURXJKKRZ,HQYLVLRQHGUXQQLQJWKH
VWXG\EXWDOVRDVNIRUWKHLUKHOSVLQFHWKH\DUHWKHRQHVLQWKHURRPLIWKHUHZHUHFKDQJHVLQ
SURFHGXUHVWKDWZHUHQHHGHGWREHWKHRQHOHWWLQJPHNQRZ

>@)RUVRPHRIWKHVHVWXGLHV,VKRZHGXSEHIRUHWKHSLORWVHVVLRQWRKHOSZLWKWKH
UHFUXLWPHQW,WKLQNHDUO\RQ,PLJKWKDYHFRQGXFWHGDVWXG\P\VHOI,UHPHPEHUEHLQJLQ6KDG
$QGWKHQRYHUWKH\HDUVDVRWKHUDFWLYLWLHVRIEHLQJDSURIHVVRUWRRNPRUHRIP\WLPH,UHOLHG
PRUHRQ5$KHOSIRUDFWLYLWLHVWKDWDUHEURDGHUWKDQMXVWFRQGXFWLQJVWXGLHV$QGVRHYHQIRUWKH
FDVHRIZRUNLQJZLWKRUJDQL]DWLRQVIRUILHOGH[SHULPHQWVRUFROOHFWLQJODUJHUGDWDVHWVWKHLQLWLDO
DQDO\VHVZHUHFDUULHGRXWRIWHQE\UHVHDUFKDVVRFLDWHV

>@2IWHQLIWKH\IHOWWKDWWKH\QHHGHGH[WUDKHOSWKH\ZHUHDOVRWKHRQHVWDONLQJWR
VSHFLDOLVWVLQWKH5&6JURXSDW+DUYDUG%XVLQHVV6FKRROLQFDVHWKDWZDVQHHGHG%XWDJDLQDORW
RIFRQYHUVDWLRQVPHHWLQJVWRWDONWKURXJKDQ\RIWKHGHWDLOVRIWKHUHVHDUFKWKDWZDVEHLQJ
FRQGXFWHGDVZHOODVDV,VDLGHDUOLHU,DOZD\VWU\WRFUHDWHDQHQYLURQPHQWZKHUHLIWKHUHDUH
LVVXHVRUSUREOHPVWKH\ZRXOGEULQJWKHPWRP\DWWHQWLRQDQGWKHUHDUHFHUWDLQO\VWXGLHVWKDW,
HQGHGXSQRWZULWLQJXSEHFDXVHWKHSURFHGXUHZDVIDXOW\RUDQDO\VLVRUVWXG\WKDWZHUHUDQ
EHFDXVHWKH\ZHUHQ WFRQGXFWHGLQWKHZD\WKDW,KDGLQWHQGHG

>@6RWKHUHDUHFHUWDLQO\VLWXDWLRQVZKHUH5$VEURXJKWXSSUREOHPVWRPH7KHRQO\
WKLQJWKDW,ZRXOGQRWHLVWKDWDJDLQLWZDVVOLJKWO\GLIIHUHQWLQWKHHDUOLHU\HDUVZKHQ,KDGD
VKDUHGODEPDQDJHUZLWK         ZKHUHWKHODEPDQDJHUDQG5$VGLGDORWRIWKHKDQGOLQJZLWK
GRFWRUDOVWXGHQWVDQGQRZWKHUHZHUHRIWHQODUJHELOOVIRUVWXGLHVFRPLQJIURPVWXGHQWVWKDW,
WKRXJKWWRRNWRRPXFKIUHHGRP$QGVRRYHUWKHODVWIHZ\HDUV,GHFLGHGWKDWLWZRXOGEHEHVWWR
MXVWZRUNZLWKDUHVHDUFKDVVRFLDWHUDWKHUWKDQEHLQJSDUWRIDODEWKDWVHHPHGWREULQJWRRPDQ\
SURMHFWVDQGWRRPDQ\VWXGHQWVIRURYHUVLJKW

>@,WKLQN,VSRNHDERXWWKHUHVSRQVLELOLWLHVHDUO\RQWKDWUHPDLQWKHVDPHIRUZKHQ
,WKLQNDERXWUHVSRQVLELOLW\IRUP\UHVHDUFKDVVRFLDWHHYHQZKHQ,WDONWRWKHPDERXWWKHMRELQ
WKHFDVHRIH[SHULPHQWDOUHVHDUFKWKH\DUHWKHRQHKHOSLQJRUZRUNLQJHQWLUHO\RQ,5%
DSSOLFDWLRQVDJDLQXQGHUP\VXSHUYLVLRQ

>@7KH\DUHWKHRQHFROOHFWLQJWKHGDWDDQGUXQQLQJWKHVWXGLHVSUHSDULQJVXUYH\V
7KH\DUHWKHRQHFOHDQLQJWKHGDWDVLQFHWKH\ZHUHWKHRQHNQRZLQJZKDWSLORWVWKH\UDQDQG
ZKDWGDWDQHHGVWREHFOHDQHGRULIWKHUHZHUHLVVXHVUXQQLQJWKHVWXGLHV$QGWKHQWKH\XVXDOO\
UXQSUHOLPLQDU\DQDO\VLV

>@6RIRUH[DPSOHLIVFDOHVZHUHXVHGWKH\ZRXOGEHWKHRQHFKHFNLQJWKDWWKH
DOSKDVWKHUHOLDELOLW\RIWKHVFDOHLVSURSHUDQGWKHTXDOLW\RIWKHGDWDLVJRRG$QGVLQFH
HPEUDFLQJWKHRSHQVFLHQFHPRYHPHQWWKH\ UHDOVRWKHSHRSOHZKRSUHSDUHSUHUHJLVWUDWLRQV

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 215 of 1282




WKH\XSORDGWKHPDQGDOVRXSORDGGDWDRQWKH2SHQ6FLHQFH)UDPHZRUNZLWKREYLRXVO\P\
RYHUVLJKWDWHYHU\VLQJOHVWHSRIWKHSURFHVV

>@7(5(6$$0$%,/(,VWKHUHPRUHWKDW\RX GOLNHWRVD\EHIRUH,MXPSLQZLWK
MXVWDFRXSOHRIIROORZXSV"

>@)5$1&(6&$*,121R,WKLQNWKHODVWWKLQJWKDW,VHHRQP\OLVWWKDW\RX
PHQWLRQHGZULWLQJXSDVWXG\IRUSXEOLFDWLRQ$V,VDLGWKDW VPH,WKLQNRYHUWKHODVWIHZ\HDUV
WKHUHDUHVLWXDWLRQVZKHUH,DVNHGWKH5$WRMXVWLQEXOOHWSRLQWVWRUHPLQGPHWKHSURFHGXUHWKDW
WKH\IROORZHGVRWKDW,FDQEHWKHRQHGRLQJWKHZULWHXSV

>@7(5(6$$0$%,/(2.7KDQN\RX%RELVLW2.LI,DVNDFRXSOHRIIROORZ
XSVILUVW"

>@52%(57.$3/$1<HV3OHDVHJRDKHDG

>@7(5(6$$0$%,/(2.6R)UDQFHVFD\RXVDLGWRZDUGWKHHQGWKDWRYHUWLPH
\RXU5$VKDYHDW\RXUGLUHFWLRQWDNHQRYHUPRUHUHVSRQVLELOLW\IRUGRLQJWKLQJVOLNHGDWD
FOHDQLQJUHYLHZLQJWKHGDWDGRLQJSUHOLPLQDU\DQDO\VHVDQGDFWXDOO\GRLQJWKHDQDO\VHV,
JXHVVVRPHWLPHVKHOSHGE\UHVHDUFKFRPSXWLQJVHUYLFHV&DQ\RXWHOOXVZKDWDFWLYLWLHV\RX
ZRXOGLQFOXGHXQGHUZKDW\RXFDOOGDWDFOHDQLQJ"

>@)5$1&(6&$*,126RXVXDOO\LQDVWXG\,DVNWKDWSLORWVEHFRQGXFWHGWRPDNH
VXUHWKDWHVSHFLDOO\QRZDGD\VZKHUHDORWRIWKHVWXGLHVDUHFRQGXFWHGRQOLQHWKDWWKH
SDUWLFLSDQWVDUHFOHDURQWKHSURFHGXUHVWKDWDUHSDLGIRUWKHDPRXQWRIWLPHWKDWWKH\WDNHRQ
DYHUDJHWRWDNHWKHVWXGLHV$QGMXVW,WKLQNDVDJHQHUDOSUDFWLFHLW VDJRRGLGHDHVSHFLDOO\
JLYHQWKHPRYHPHQWWRZDUGVSUHUHJLVWUDWLRQV

>@$QGVRLIWKHUHLVDQXQFHUWDLQW\DERXWZKHWKHURUQRWWRLQFOXGHDVFDOHSLORWVFDQ
KHOSXVWKHUHZHFDQUDPSRXUDQDO\VLVDQGVRLIDWWKHGLVFUHWLRQRIWKH5$OHW VLPDJLQHWKDW
WKH\ UHXVLQJD4XDOWLFVVXUYH\7KH\DUHWKHRQHUXQQLQJLWWKH\ UHWKHRQHWRNQRZZKHWKHUWKH
SLORWGDWDLVLQWKHVDPHVXUYH\RUZKHWKHUWKRVHUHVSRQVHVJRWGHOHWHGDQGVRWKH\ UHEHVWVXLWHG
WRFOHDQWKHGDWD

>@:KHQVWXGLHVZHUHFRQGXFWHGLQWKHODEVLPLODUO\LIVWXGHQWVRUSDUWLFLSDQWV
PRUHEURDGO\VHHPHGWRKDYHEHKDYHGLQDZD\WKDWZDVQRWFRQVLVWHQWZLWKZKDWZDVWREH
H[SHFWHGRUGLVWXUEHGWKHVHVVLRQWKH\ UHJHQHUDOO\WKLQJVWKDWZHZRXOGWDONDERXWRUWKDW
ZRXOGEHEURXJKWWRP\DWWHQWLRQ%XWLW VDJDLQSDUWRIWKHGDWDFOHDQLQJSURFHVV7KH\DUHWKH
RQHFORVHVWWRFRQGXFWLQJWKHVWXG\DQGVRWKHRQH,WKLQNWKDWZHUHPRUHVXLWHGIRUWKH
UHVSRQVLELOLW\RIFOHDQLQJWKHGDWD

>@7(5(6$$0$%,/(2.VRLWVRXQGVOLNHGDWDFOHDQLQJLQYROYHVUHPRYLQJSLORW
GDWDGDWDWKDW VQRWSDUWRIWKHDFWXDOVWXG\WKDW\RX UHFDOOLQJWKHUHDOVWXG\7KDW VREYLRXVO\
H[WUHPHO\FRPPRQZLWKRQOLQHVWXGLHVEXWLWFDQKDSSHQZLWKVWXGLHVWKDWDUHUXQLQODEVWRR
WKDW\RX GUXQSLORWV<RXZDQWWRPDNHVXUHWKDWWKDWGDWDLVWKURZQRXWVHTXHVWHUHGIURPWKH
UHDOGDWD

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 216 of 1282




>@$QGDOVRLWVRXQGVOLNHLILWZDVDODEVWXG\UHPRYLQJDQ\GDWDWKDWPLJKWKDYH
EHHQFROOHFWHGIURPDSDUWLFLSDQWZKRHQGHGXSGLVUXSWLQJDVHVVLRQDQGSRVVLEO\LIWKHUHZHUH
PXOWLSOHSDUWLFLSDQWVLQWKDWVHVVLRQKDYLQJWRWRVVRXWDOORIWKHGDWDIURPWKDWVHVVLRQ:RXOG
WKDWEHDQH[DPSOH"

>@)5$1&(6&$*,12<HS7KHRWKHURQHWKDWFRPHVWRPLQGLVDJDLQHYROXWLRQ
RYHUWKH\HDUVEXWZHKDYHDWWHQWLRQFKHFNVIRURQOLQHVWXGLHV,DPQRZTXLWHVSHFLILFLQ
PDNLQJVXUHWKDWWKHDWWHQWLRQFKHFNVFRPHXSIURQWVXFKWKDWLI\RXGRQ WDQVZHUWKHDWWHQWLRQ
FKHFNFRUUHFWO\\RXUDQVZHUVIRUWKHUHVWRIWKHVWXGLHVGRQ WJHWUHFRUGHGDQG\RX UHERRWHGRXW
$QGVRWKDWZRXOGDSSHDU,LPDJLQHDVDOLQHRQWKHGDWDVHWDQGWKH5$ZRXOGWDNHWKDWRII

>@7(5(6$$0$%,/(*RWLW*RWLW<HDK

>@)5$1&(6&$*,126RPHWLPHVLW VDOVRSRVVLEOHZLWK,WKLQN4XDOWULFVGRHV
WKLVZKHUHOHW VLPDJLQHWKHUHDUHWZRFRQGLWLRQVDQGVR\RXVHHIRUVRPHRIWKHSDUWLFLSDQWV
ZKRZHQWWKURXJKWKDWFRQGLWLRQ\RXVHHWKHGDWDSRLQWVUHFRUGHGDQGWKHQDQRWKHUVHWRI
SDUWLFLSDQWVRURWKHUSDUWLFLSDQWLQWKHRWKHUFRQGLWLRQWKH\ UHRIIWKH\DUHEDVLFDOO\XQGHU
GLIIHUHQWFROXPQV

>@%XWZKHQ\RXDQDO\]HWKHGDWD\RXZDQWWRPDNHVXUHWKDW\RXKDYHWKH
PDQLSXODWLRQXQGHUWKHVDPHFROXPQDQGWKHQWKHUHVSRQVHVULJKWDIWHUDQGVRWKH5$ZRXOGEH
LQFKDUJHRIGRLQJWKDW,GRQ W,ZRXOGQ WFDOOWKDWGDWDFOHDQLQJ,W VGDWDRUJDQL]DWLRQVRWKDW
E\WKHWLPHWKHDQDO\VLVKDSSHQHG\RXFDQMXVWWDNHWKHGDWDILOHDQGDQDO\]HLW

>@7(5(6$$0$%,/($QGGR\RXGR\RXUHYLHZWKHUDZGDWDILOHVLQDQ\ZD\
DIWHUWKH5$VKDYHFOHDQHGWKHGDWDILOHV"'R\RXMXVWORRNDWWKHUDZGDWDWRVHHLIDQ\WKLQJ
LUUHJXODUOHDSVRXWDW\RX",VWKDWDFRPPRQSUDFWLFHRI\RXUV"

>@)5$1&(6&$*,126RWKHUHLVDQH[SHFWDWLRQWKDWLILVVXHVRFFXUUHGRULIWKH
5$KDGLVVXHVZLWKFOHDQLQJWKHGDWDRURUJDQL]LQJLWWKDWWKH\ZRXOGDVN0\SUDFWLFHVKDYH
HYROYHGJLYHQZKDWKDSSHQHGODVWVXPPHU:LWKWKHUHWUDFWLRQRIWKH31$6SDSHU,DP
QRZXVLQJGLIIHUHQWSUDFWLFHVWRSORWWKHGDWDULJKWXSIURQWDQGDVNPDQ\PRUHTXHVWLRQVRIWKH
5$ZKRFRQGXFWHGWKHVWXG\

>@,GLGDVNPDQ\FROOHDJXHVZKRDUHLQEHKDYLRUDOVFLHQFHOLNHPH6LQFH$XJXVW,
ZDVFXULRXVZKDWNLQGRIGDWDTXDOLW\FKHFNVSHRSOHGRZLWKH[SHULPHQWDOODEGDWDDQG,GRQ W
WKLQNLW V\HWFRPPRQSUDFWLFHIRUSHRSOHWRUXQGHHSTXDOLW\FKHFNDQDO\VHVDQGVRLW VD
SUDFWLFHWKDW,WRRNRQVLQFHODVWVXPPHUDQGQRWSULRU

>@7(5(6$$0$%,/(,XQGHUVWDQG%HIRUHWKDW\RXZRXOGEDVLFDOO\WUXVWWKH5$V
WRFRPHWR\RXLIWKHUHVHHPHGWREHDQ\WKLQJLUUHJXODULQWKHUDZGDWDILOH

>@)5$1&(6&$*,127KDW VULJKW$QGDV,VDLG,KDYHH[DPSOHVZKHUHWKH\GLG
EULQJXSDQHUURUWKDW,UHDOL]HGWKDWWKHSURFHGXUHZDVQ WWKHZD\ZHLQWHQGHGRUWDONHGDERXW
DJDLQSDUWLFLSDQWVZKRGLGQ WVHHPWRJLYHWKHLUIXOODWWHQWLRQWRWKHVWXG\,WKLQNYHU\KDUG


                                                  

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 217 of 1282




DERXWWKHSHRSOH,KLUH,DVNDORWRITXHVWLRQVZKHQ,LQWHUYLHZWKHP$QG,WUXVWWKHLUZRUNDQG
WKHFRPSHWHQFLHVWKDWWKH\EULQJWRWKHWHDP

>@7(5(6$$0$%,/(6SHDNLQJRIWKDWFRXOG\RXMXVWVD\ZKDWZHUH                
      TXDOLILFDWLRQVDWWKHWLPHWKDW\RXKLUHGKHU"'LGVKHKDYHDQDGYDQFHGGHJUHHRIDQ\
NLQG"

>@)5$1&(6&$*,12<RX UHDVNLQJDTXHVWLRQWKDW,GRQ WKDYHDJRRG

>@7(5(6$$0$%,/(<RXGRQ WUHPHPEHU

>@)5$1&(6&$*,12,GRQRWKDYHD

>@7(5(6$$0$%,/(2.2.$QG

>@)5$1&(6&$*,12,EHOLHYHVKHKDVDGHJUHHIURP81&EXW,GRQ WZH
VKRXOGFKHFN

>@7(5(6$$0$%,/(<RXPHDQDQXQGHUJUDGGHJUHHIURP81&

>@)5$1&(6&$*,12<HDK

>@7(5(6$$0$%,/(<HDK2.$QGWKLVLVWKHODVWIROORZXS,WKLQN,KDYHULJKW
QRZ5HYLHZLQJGDWDDQDO\VHVZKHQ\RXU5$GRHVGDWDDQDO\VHVRU5&6GRHVGDWDDQDO\VHV
ZKDWNLQGRIUHYLHZGR\RXGR\RXJLYHWRWKRVHDQDO\VHVZKHQ\RXJHWWKHRXWSXW"

>@)5$1&(6&$*,120RVWJHQHUDOO\LVZHVLWGRZQWRJHWKHUVRWKDW,FDQDVND
ORWRITXHVWLRQVDERXWWKHDQDO\VHVWKDWZHUHFRQGXFWHG$QGZK\FHUWDLQSURFHGXUHVZHUHXVHG
RYHURWKHUVLVDOVRDVPDQ\RWKHUIDFXOW\,ZRUNZLWKDORWRIVWXGHQWV$QGVR,XVHWKHVDPH
DSSURDFKWRPDNHVXUHWKDW,XQGHUVWDQGWKHFKRLFHVWKDWWKH\ YHPDGHHVSHFLDOO\QRZDGD\V
ZKHUHWKHVRIWZDUHWKDWWKH\XVHLVQRWWKHRQH, PXVHGWR

>@6RDORWRISHRSOHVLQFHRYHUWKHODVWWKUHHRUIRXU\HDUVKDYHVWDUWHGXVLQJ5LV
VRPHWKLQJ, PQRWIDPLOLDUZLWK$QGVR,KDYHDORWRITXHVWLRQV7KLVLVDSUDFWLFHWKDWDJDLQ,
WRRNRQRYHUWKHODVWIHZPRQWKVZKHUH,UHUXQHVSHFLDOO\ZLWKVWXGHQWV,UHUXQDWOHDVWVRPHRI
WKHDQDO\VLVRUDVNP\5$WRUHUXQVRPHRIWKHVDPHDQDO\VLV

>@$QRWKHUWHFKQLTXHWKDWKDVHPHUJHGWKDQNVWRWKH2SHQ6FLHQFHPRYHPHQWLVWKHUH
DUHVWDWFKHFN6R\RXFDQUXQ\RXUSDSHUWKURXJKVWDWFKHFN$QGVRWKDW VDQHZSUDFWLFHIRUDQ\
SDSHUVWKDWJHWVXEPLWWHG6LQFHWKHUHDUHORWVRIVWXGLHVLQSDSHUVVWXGHQWVPLJKWPDNHPLVWDNHV
$QGVRLW VVRPHWKLQJWKDW,VWDUWHGGRLQJ

>@7(5(6$$0$%,/(6WDWFKHFN,W VFDOOHGVWDWFKHFN"

>@)5$1&(6&$*,12,EHOLHYHWKDWWKDWLVWKHFDVH


                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 218 of 1282




>@7(5(6$$0$%,/(, PQRWIDPLOLDUZLWKWKDW

>@)5$1&(6&$*,12<HDK

>@7(5(6$$0$%,/($QGGRHVLWFKHFNGR\RXVD\ZKDWDQDO\VLVZDVVXSSRVHG
WRKDYHEHHQGRQHRQWKLVDQGLWUHGRHVWKHDQDO\VLVRUVRPHWKLQJ"

>@)5$1&(6&$*,12,WEDVLFDOO\FKHFNKRZ\RXUHSRUWWKHGDWD$QGLIWKHUH
VHHPVWREHLQFRQVLVWHQFLHVLWSRLQWVWKDWRXWWR\RX$QGLQDORWRIFDVHVLW VMXVWDW\SRWKDWDV
\RXZHUHFRS\LQJWKHWWHVWIURP\RXUDQDO\VLVWRWKHSDSHUWKHUHLVDQHUURU

>@$QGDJDLQRYHUWKH\HDUVHVSHFLDOO\ZLWKMXQLRUSHRSOHRUVWXGHQWV,PLJKWQRWEH
WKHRQHZULWLQJXSVWXGLHV$QGVR,WKLQNWKDWWKHQHHGIRUFORVHURYHUVLJKWJLYHQWKDWPLVWDNHV
FDQKDSSHQKDVEHFRPHDPRUHLPSRUWDQWDVSHFWRIWKHZRUNWKDW,GR$QGVRWKDW VDJRRG
VRIWZDUHWKDWFDQVXSSRUWWKRVHHIIRUWV

>@7(5(6$$0$%,/(2.2.$QGWKDW VVRPHWKLQJ\RX YHVWDUWHGGRLQJVLQFH
$XJXVW

>@)5$1&(6&$*,120PKPP

>@7(5(6$$0$%,/(\RXVD\"

>@)5$1&(6&$*,12<HDK

>@7(5(6$$0$%,/(2.7KDQN\RXWKDQN\RX%REGR\RXKDYHDQ\IROORZ
XSVWRZKDW)UDQFHVFD

>@52%(57.$3/$1<HDK, GOLNHWRMXVWDVNH[WHQVLRQVWRWKLVGLVFXVVLRQ6R,
WKLQN,XQGHUVWDQGWKHFOHDQLQJRIWKHGDWDDQGPD\EHJHWWLQJULGRIPLVVLQJREVHUYDWLRQVRUWKH
SDUWLFLSDQWVZKRIDLOHGWKHDWWHQWLRQFKHFN6RZHEDVLFDOO\VD\QRZZHKDYHQJRRG
REVHUYDWLRQV

>@:KRZRXOGEHWKHSHUVRQWKDWZRXOGILUVWFDOFXODWHVD\WKHPHDQVEHWZHHQD
WUHDWPHQWJURXSDQGDFRQWUROJURXS,PHDQQRWMXVWKDYLQJGDWDWKDWDUHFOHDQEXWDFWXDOO\
EHJLQQLQJWKHVWDWLVWLFDODQDO\VLV"

>@)5$1&(6&$*,12,EHOLHYHWKDWWKDWFKDQJHGRYHUWKH\HDUVDQGLW VQRWD
FRQVLVWHQWSUDFWLFH2IWHQWLPHVLW VWKH5$ZKRFRQGXFWHGWKHVWXG\ZKRZRXOGFKHFNRQWKH
PHDQV

>@52%(57.$3/$16RHYHQJRLQJEDFNRU\HDUV\RXZRXOGKDYHH[SHFWHG
WKH5$WRGRWKDWILUVWSUHOLPLQDU\HVWLPDWH"

>@)5$1&(6&$*,12<HDK6R              ZRXOGRIWHQWDONWRPHDERXWWKHPHDQVDQG
DYHUDJHDFURVVFRQGLWLRQVRQVWXGLHVWKDWZHUHYHU\VLPSOH

                                                    

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 219 of 1282




>@52%(57.$3/$1<HDK$QGZRXOGVKHDQGVXEVHTXHQW5$VJHQHUDOO\NQRZ
ZKDW VEHLQJWHVWHGLQWKHVWXG\VRWKH\ GKDYHVRPHLGHDKRZ\RXDQGDOOWKHRWKHUSHRSOH
SDUWLFLSDWLQJZHUHKRSLQJWKLVPLJKWFRPHRXW\RXNQRZZKDWGLUHFWLRQV\RXZHUHWHVWLQJ"
%HFDXVHRQHWKLQJWRKDYHSHRSOHWKDWDUHMXVWUXQQLQJWKHH[SHULPHQWJHWWLQJWKHGDWDFOHDQLQJ
WKHGDWDEXWQRWUHDOO\NQRZLQJZKDWWKHGDWDDUHJRLQJWREHXVHGIRURUDQDO\]HG

>@)5$1&(6&$*,12<HDK6RWKHUHDUHVSHFLILFFDVHVZKHUH,ZDQWWKH5$QRW
WREHDZDUH6RIRUH[DPSOHLIDQ5$LVGRLQJFRGLQJRIDFHUWDLQYDULDEOHVRIRUH[DPSOH
VRPHWKLQJPRUHTXDOLWDWLYHDERXWVRPHERG\ZURWHDQHVVD\DQG,ZDQWWRNQRZKRZGHVFULSWLYH
RIDVLWXDWLRQWKDWLVHPRWLRQDOO\FKDUJHGWKDWZRXOGEH6R,XVXDOO\KDYHRWKHU5$VRUDVNWKH
5$QRWWRNHHSWUDFNRIWKHFRQGLWLRQVDVWKH\ UHGRLQJWKDWZRUN

>@%XWIRUWKH5$VOLNH         ZKRZRXOGUXQWKHVWXG\VKHKDVKHOSHGZLWKWKH,5%
DSSOLFDWLRQVRUEHWKHILUVWRQHGUDIWLQJWKHSURFHGXUHVDIWHUXVWDONLQJ$QGVRVKHNQRZVZKDW
ZH UHWHVWLQJDQGZK\,EHOLHYHWKDW VLPSRUWDQWNQRZOHGJHLQRUGHUIRUKHUWRXQGHUVWDQGKRZ
WKHVWXG\LVJRLQJWRJRIURPDSURFHGXUDOSHUVSHFWLYH

>@52%(57.$3/$12.7KDW VILQHWKDQN\RX,XQGHUVWDQGWKDWUHVSRQVH$QG
7HUHVD,GRQ WKDYHDQ\RWKHUTXHVWLRQV

>@)5$1&(6&$*,122KZHFDQ WKHDU\RX

>@7(5(6$$0$%,/(6RUU\$UHZHJRRGWRJRWRLQWRRXUQH[WTXHVWLRQ"2UGRHV
DQ\ERG\QHHGDEUHDN")UDQFHVFD\RX UH2."

>@)5$1&(6&$*,12, P2.<HS

>@7(5(6$$0$%,/(2.%RE\RX UH2."

>@52%(57.$3/$1<HV

>@7(5(6$$0$%,/(2.6RZH OOWXUQQRZWRDOOHJDWLRQRQHZKLFKFRQFHUQV
VWXG\$LQWKH-363SDSHURQQHWZRUNLQJ6RDSDUWIURPZKDWZDVFRYHUHGLQ\RXUZULWWHQ
UHVSRQVH)UDQFHVFDDUHWKHUHDQ\GHVFULSWLRQVRIRUDVVHUWLRQVDERXWWKLVVWXG\RULWVGDWDLQWKH
ILUVWLQTXLU\FRPPLWWHHPHPRWKDW%REDQG,ZURWHGDWHG-DQXDU\WKWKDWLQ\RXUYLHZDUH
LQFRUUHFW"$QGLIWKHUHLVDQ\WKLQJSOHDVHH[SODLQLQGHWDLO

>@)5$1&(6&$*,127KHWKLQJWKDW,ZDQWHGWKDW,PHQWLRQHGLQWKHUHVSRQVHV
WKDWLVZRUWKZKLOHH[SDQGLQJRQLVWKDWWKHFODLPDQWVPDNHDSRLQWDERXWWKHIDFWWKDWWKH
HPRWLRQDOGHVFULSWLRQLQWKHZRUGVWKDWSHRSOHKDYHXVHGDERXWWKHQHWZRUNLQJHYHQWVHHPVWREH
LQFRQVLVWHQWZLWKWKHUDWLQJIRULPSXULW\$QG,GRQ WWKLQNWKDWWKHUHQHHGVWREHDRQHRQRQH
FRUUHVSRQGHQFH

>@,QVRPHRIWKHUHVHDUFKWKDWP\FROOHDJXHVDQG,KDGGRQHLQWKHSDVWRQKRZ
SHRSOHH[SHULHQFHQHWZRUNLQJHYHQWVWKH\FRXOGEHKDSS\RUVDWLVILHGDERXWWKHFRQQHFWLRQVWKDW
WKH\PDGHEXWDWWKHVDPHWLPHIHHOLQJWDLQWHGRUDQ[LRXVDERXWWKHIDFWWKDWWKHDFWLRQZDV

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 220 of 1282




LQVWUXPHQWDO$QGVR,IHOWWKDWWKHFODLPDQWVZHUHPDNLQJDFRQQHFWLRQWKDWLVQRWQHFHVVDULO\
RQHWREHH[SHFWHG

>@7(5(6$$0$%,/(2.$QG\HDKZHGLGJHWWKDWVHQVHIURPUHDGLQJWKH
ZULWWHQUHVSRQVHWKDWZHJRWODVWZHHN7KDQN\RXIRUWKDW:KDWZH GOLNHWRGRLVDFWXDOO\ORRN
DWVRPHRIWKHGDWD

>@)5$1&(6&$*,120PKPP

>@7(5(6$$0$%,/(ZLWK\RXDERXWWKLV6RDV\RXNQRZIURPWKDWILUVWLQTXLU\
FRPPLWWHHPHPRZH%REDQG,GLGRXURZQFRPSDULVRQ

>@)5$1&(6&$*,120PKPP

>@7(5(6$$0$%,/(RIWKHGDWDVHWIURP\RXUFRPSXWHUIRUWKLVVWXG\ZKLFK
WKHFRPSODLQDQWGLGQ WKDYHREYLRXVO\6RZHGLGDFRPSDULVRQEHWZHHQWKDWGDWDVHWDQGWKH
SXEOLFO\SRVWHGGDWDVHWRQ26)ZKLFKLVZKDWWKHFRPSODLQDQWZDVXVLQJ

>@$QGWKDWUHYHDOHGWKDWWKHPHDQVRIWKHH[SHULPHQWDOFRQGLWLRQVWKRVHWZR
H[SHULPHQWDOFRQGLWLRQVDUHGLUHFWLRQDOO\RSSRVLWH$QGWKDWSURPSWHGXVWRFRPSDUHDIHZOLQHV
RIUDZGDWDQRWH[KDXVWLYHO\EXWWRFRPSDUHDIHZOLQHVRIUDZGDWD6R, GOLNHXVWRORRNDW
SDJHVDQG

>@)5$1&(6&$*,12<HS

>@7(5(6$$0$%,/(LQWKDWILUVWLQTXLU\FRPPLWWHHPHPR, PDFWXDOO\JRLQJ
WRDVN$ODLQLIKHFDQVKRZWKRVHSDJHVRQVFUHHQVKDUHVRZH UHDOOORRNLQJDWWKHVDPHWKLQJDW
WKHVDPHWLPH6R$ODLQSDJHLI\RXFRXOG"

>@2.6RWKLVWDEOHRQSDJHVKRZVDFRPSDULVRQEHWZHHQWKH26)GDWDVHWDQGWKH
GDWDVHWRQ\RXUFRPSXWHUZKLFKLVKHUHLGHQWLILHGLQWKHILUVWFROXPQDV$XWKRURU$XWKRU5RZ
$QGWKLVLVIRUFRPSDULQJWKUHHREVHUYDWLRQVLQFRQGLWLRQRQHWKHSURPRWLRQIRFXVFRQGLWLRQ

>@)5$1&(6&$*,120PKPP

>@7(5(6$$0$%,/(,ZDQWWRGLUHFW\RXUDWWHQWLRQWRWKHPLGGOHVHYHQFROXPQV
WKHQXPHULFDOUDWLQJVRIGLIIHUHQWPRUDOLPSXULW\IHHOLQJV$V\RXFDQVHHWKHVHUDWLQJVDUHDOO
GLIIHUHQWLQWKHWZRGDWDVHWVZKLOHWKHZULWWHQUHVSRQVHVDQGWKRVHDUHLQWKHFROXPQVODEHOHG
(VVD\+RSH$VSLUDWLRQDQG5HIOHFWRQWKH3DUW\DUHDOOLGHQWLFDO

>@7KHQXPHULFDOGLIIHUHQFHVDUHVXFKWKDWWKHQXPEHUVLQWKH26)GDWDVHWDUHDOO
VWURQJO\LQWKHGLUHFWLRQRIWKHK\SRWKHVL]HGHIIHFW6ROHW VMXVWWDNHDIHZVHFRQGVWRDEVRUE
ZKDWZH UHORRNLQJDW

>@2.DQGQRZZH OOORRNDWWKHQH[WSDJHLQWKHPHPRZKLFKLVSDJH$QGWKLV
VKRZVWKHVDPHNLQGRIFRPSDULVRQIRUWKUHHREVHUYDWLRQVLQFRQGLWLRQWZRSUHYHQWLRQIRFXV

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 221 of 1282




$JDLQWKHQXPHULFDOUDWLQJVLQWKHWZRGDWDVHWVDUHDOOGLIIHUHQWZLWKWKHQXPEHUVLQWKH26)
GDWDVHWEHLQJVWURQJO\LQWKHK\SRWKHVL]HGGLUHFWLRQ$QGOHW VWDNHDIHZVHFRQGVWRVWXG\WKDW

>@2.$ODLQ,WKLQN\RXFDQVWRSWKHVFUHHQVKDUHQRZ7KDQNV6R)UDQFHVFDFDQ
\RXH[SODLQWKHGLVFUHSDQFLHVWKDWZHLGHQWLILHGEHWZHHQWKHPRUDOLPSXULW\UDWLQJVLQRWKHUZLVH
LGHQWLFDOURZVRIGDWDLQ\RXUGDWDVHWDQGWKH26)GDWDVHW"

>@)5$1&(6&$*,12,DPQRWWKHSHUVRQZKRFOHDQHGWKHGDWDDQGGRZQORDGHGLW
IURPWKH4XDOWULFVDFFRXQW,DPQRWVXUHZKHWKHUWKH5$RUWKHMXQLRUFRDXWKRUZKRLVRQWKH
SDSHUPDGHPLVWDNHV$QGWUDQVODWHGZKDWZDVUDZGDWD,EHOLHYHWRWKHGDWDWKDW,DQDO\]HGWKDW
WKHQJRWSRVWHGRQWKH2SHQ6FLHQFH)UDPHZRUN

>@,QWKLVFDVH,DPQRWHYHQVXUH,ZDVWKHRQHDQDO\]LQJWKHGDWD2QHRIWKHWKLQJV
WKDW, PKRSLQJWRGRLQP\SUDFWLFHVJRLQJIRUZDUGLVNHHSWUDFNRIIRUDQ\VWXG\WKDWLVEHLQJ
GRQHDFURVVWKHYDULRXVUHVSRQVLELOLWLHVWKDW\RXDVNHGDERXWHDUOLHUZKRLVGRLQJZKDWIRUHDFK
RIWKHVWHSV

>@7(5(6$$0$%,/(&DQ\RXWHOOXVZKRWKH5$ZDVIRUWKLVSDUWLFXODUVWXG\"

>@)5$1&(6&$*,126R,DPORRNLQJDWP\QRWHV

>@7(5(6$$0$%,/(6RWKLVLVVWXG\$LQWKDW-3631HWZRUNLQJ

>@)5$1&(6&$*,126R,GLGQ WUHDFKRXWVLQFHWKHDOOHJDWLRQVZHUHPDGHWRDQ\
RIP\FRDXWKRUVVLQFH,GLGQ WWKLQNWKDWZRXOGEHDSSURSULDWH%XW,GLGUHDFKRXWWRWKH5$
RIILFHDW+DUYDUGWRXQGHUVWDQGZKHQSHRSOHZHUHKLUHG$QG,DOVRORRNHGDWVXEPLVVLRQVRIWKH
SDSHUWRWU\WRJHWDEHWWHUXQGHUVWDQGLQJRIGDWHV

>@$QGVRWKHSHUVRQLQWKLVFDVHZKRZRUNHGZLWKPHIRURIKLVWLPHZDV        
      $QGWKHQWKHUHZHUHSHRSOHZKRZHUHSDUWRIWKH%,*ODE$QG, PQRWHQWLUHO\VXUHKRZ
WRJDWKHUWKHLUQDPHVLILQIDFWWKH\KHOSHGZLWKWKHVWXGLHV

>@7(5(6$$0$%,/(7KRVHZRXOGKDYHEHHQXQGHUJUDGVZKRZHUH

>@)5$1&(6&$*,127KDW VH[DFWO\ULJKW

>@7(5(6$$0$%,/(LQDSDUWRIWKH%,*ODEWKDW\RXGHVFULEHGHDUOLHU

>@)5$1&(6&$*,127KDW VH[DFWO\ULJKW

>@7(5(6$$0$%,/($QG\RXPHQWLRQHGDMXQLRUFRDXWKRU&DQ\RXVD\«

>@)5$1&(6&$*,12<HDK6RWKHFRUUHVSRQGLQJDXWKRURQWKHSDSHULV                   
          $JDLQ,KDYHQRUHDVRQVWREHOLHYHWKDWVKHPDGHHUURUV,WUXVWP\FRDXWKRUV,KDYH
GRQHTXLWHDELWRIZRUNZLWKKHU6KHXVHGWREHDSRVWGRFDW+DUYDUGDIHZ\HDUVEDFN


                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 222 of 1282




>@7(5(6$$0$%,/($QGVKHZDVDSRVWGRFZKHQ\RXZRUNHGWRJHWKHU

>@)5$1&(6&$*,12,JRWWRNQRZKHUILUVWZKHQVKHZDVDVWXGHQWDW8WDK$QG
ZHVWDUWHGZRUNLQJWRJHWKHU6KHZDVDSRVWGRFDW+DUYDUGDWWKH6DIUD&HQWHU$QGWKHQVKH
PRYHGRQWREHDIDFXOW\PHPEHUDW.HOORJJ

>@7(5(6$$0$%,/(7KDQN\RX%REGR\RXKDYHDIROORZXSRQWKLV"

>@52%(57.$3/$1<HDK,GR<RXFKDUDFWHUL]HWKHGLVFUHSDQFLHVLQWKH
H[KLELWVWKDWZHZHUHMXVWORRNLQJDWDVSRWHQWLDOO\GXHWRHUURUVDQGPLVWDNHV$QG,FHUWDLQO\
XQGHUVWDQGWKDWDGDWDVHWZLWKREVHUYDWLRQVWKDW\RX UHPRYLQJIURPDQRULJLQDOGDWDILOHWRD
SXEOLVKHGGDWDILOHWKDW\RXPD\KDYHHQWHUHGDWZRDQGHQGHGXSLQVWHDGRIDWKUHHRUVHYHQLW
FRXOGEHDWZR

>@%XWZKHQ,ORRNHGDWWKHGDWDLWGLGQ WVHHPWKDWFRXOGEHDWWULEXWDEOHWRUDQGRP
HUURURUUDQGRPPLVWDNHV7KHUHZDVDYHU\FRQVLVWHQWSDWWHUQWKDWLQRQHFRQGLWLRQPRYLQJLQ
RQHGLUHFWLRQWRZDUGVWKHK\SRWKHVLVDQGWKHQWKHRWKHUFRQGLWLRQPRYLQJLQWKHUHYHUVH
GLUHFWLRQ

>@7RH[SODLQZKDWZHVDZKRZGRHVWKHPHDQEHWZHHQWZRWUHDWPHQWVVKLIWEHWZHHQ
DQRULJLQDOGDWDVHWDQGWKHGDWDVHWEHLQJSXEOLVKHG",WGRHVQ WVHHPWKDWNLQGRIDQRFFDVLRQDO
PLVWDNHRUUDQGRPHUURUFRXOGKDYHOHGWRWKDW%XWWKDW VZKDWFDXVHGXVWRORRNPRUHGHHSO\WR
VHHLIWKHUHZHUHMXVWNLQGRIQRLVHJRLQJLQWKHGDWD

>@)5$1&(6&$*,12<HS

>@52%(57.$3/$17KLVGLGQ WORRNOLNHQRLVHDWOHDVWWRPH\RXNQRZ"<HDK
,WORRNHGOLNH

>@7(5(6$$0$%,/(6R%RELVWKHUHDTXHVWLRQLQWKHUH"

>@52%(57.$3/$11R, PMXVWZRQGHULQJLI\RXWKHTXHVWLRQZDVZK\\RX
IHHOWKDWWKLVMXVWFRXOGKDYHEHHQGRQHE\HUURURUPLVWDNHV"

>@)5$1&(6&$*,126R,DSSUHFLDWHDOOWKHZRUNDQGFKHFNLQJWKDW\RXKDYH
GRQH7KLVLVWKHRQHGDWDVHWZKHUH,GLGQ WJRWKURXJKWKHHIIRUWWKDW\RXZHQWWKURXJK$QGVR,
KDYHEHHQXQDEOHWRUHFUHDWHWKHGLVFUHSDQF\

>@,DPVXUSULVHGE\WKHGLVFUHSDQFLHVWKDW\RXIRXQG,GLGQRWWDPSHUWKHGDWD,GLG
QRWFKDQJHDQ\YDOXHVDVWKHFODLPDQWVVXJJHVW

>@%XW,GRQ WNQRZZKR VUHVSRQVLEOHIRUDQ\HUURUV$QG,GRQ WKDYHHYLGHQFHWKDW
WKHUHLVDQ\WKLQJHOVHRWKHUWKDQHUURUVIRUWKHWLPHEHLQJEHFDXVH,ZRXOGEHEODPLQJFRDXWKRUV
WKDW, YHZRUNHGZLWKIRUTXLWHVRPHWLPH




                                                

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 223 of 1282




>@7KLVLVDSDSHUWKDWZHVXEPLWWHGILUVWLQ6RLW VEHHQLQWKHZRUNVIRUTXLWH
VRPHWLPHV*RWUHMHFWHGPXOWLSOHWLPHVVLQFHLWFRPHRXWRIUHVHDUFKZKHUHWKHHYLGHQFHLQ
VXSSRUWRIRXUK\SRWKHVLVDOVRFRPHIURPWZRGLIIHUHQWILHOGH[SHULPHQWV

>@$QGVR,DPDELWXQFOHDURIZKHUHWKHGLVFUHSDQFLHVFRPHIURP6RSUREDEO\HUURU
LVQRWDSSURSULDWH'LVFUHSDQFLHV,GRQ WKDYHDJRRGH[SODQDWLRQRWKHUWKDQZKDW,WDONHGDERXW

>@7(5(6$$0$%,/(6R)UDQFHVFD,MXVWZDQWHGWRDVNDERXWRQHSDUWRIZKDW
\RXMXVWVDLG7RZDUGWKHEHJLQQLQJRIWKLVDQVZHUWKDW\RXMXVWJDYH\RXVDLGWKDW\RXKDYHQRW
EHHQDEOHWRUHSOLFDWHWKHGLVFUHSDQFLHVWKDWZHLGHQWLILHGWKDWZHUHLQWKHPHPRWKDWZHMXVW
ORRNHGDWRQVFUHHQ

>@,VWKDWEHFDXVH\RXMXVWKDYHQ WJRQHEDFNLQWRWKHUDZGDWDRUEHFDXVH\RXGLGDQG
\RXZHUHQRWDEOHWRVHHWKHVDPHGLVFUHSDQFLHVWKDWZHVDZLQWKHVHSDUWLFXODUOLQHVRIGDWD"

>@)5$1&(6&$*,127KLVLVWKHPRVWLPSRUWDQWDFWLYLW\LVVXHWKDWLVKDSSHQLQJ
LQUHJDUGVWRZRUN%XWZKHQWKHQRWHFDPH,ZDVDERXWWRWHDFKDFRXUVHZLWK0%$
VWXGHQWVZLWKWZRRWKHUFROOHDJXHV$QGWKHFRXUVHKDVEHHQTXLWHDUROOHUFRDVWHU

>@$QGVRHYHU\VLQJOHPLQXWHGD\DQGQLJKWRYHUWKHODVWPRQWKKDVJRQHLQWR
UHDGLQJUHIOHFWLRQVJUDGLQJWKHPWDONLQJRQHRQRQHWRVWXGHQWVDQGPHHWLQJZLWK
VWXGHQWVVLQFHZHKDGWRXQIRUWXQDWHO\UHGHVLJQWKHFRXUVHPLGZD\VLQFHWKHVWXGHQWV
FRPSODLQHGDERXWZKDWZHZHUHWHDFKLQJ7KLVLVDQHZFRXUVHRQLQFOXVLYHOHDGHUVKLS

>@6RXQIRUWXQDWHO\WKHODVWPRQWKKDVMXVWEHHQLQVDQHO\WLPHFRQVXPLQJ$QGLW
ZDVWKHUHDVRQZK\,LQLWLDOO\KDGDVNHGIRUWKHSURFHVVWRJRRQKROGZKLFK,NQRZZDV
LPSRVVLEOH$QGLWZDVQ WDSURSHUUHTXHVW

>@%XW,H[SHFWHGWKHPRQWKWREHGLIILFXOW$QGLWHQGHGXSEHLQJHYHQPRUHGLIILFXOW
WKDQ,H[SHFWHG$QGVRXQIRUWXQDWHO\WKDW VWKHGDWDVHWZKHUH,WUXVWWKHLQFRQVLVWHQFLHVDV\RX
SRLQWHGWKHPRXW%XW,ZDVQ WVXUHWKDWJRLQJLQWRWKHGDWDVHWDQGWU\LQJWRUHFUHDWHVRPHWKLQJ
WKDWRWKHUVWRRNFDUHRIZRXOGSUHSDUHPHDQ\GLIIHUHQWO\WRGD\

>@7(5(6$$0$%,/(2.WKDQN\RX$QGE\WKHZD\WKDQN\RXIRUWDNLQJRQ
WKDWFRXUVH,NQRZLWPXVWEH\HDKKDUG6R,QRZZDQWXVWRWDNHDORRNDWWKHJUDSKRQSDJH
HLJKWLQWKHILUVWLQTXLU\FRPPLWWHHPHPR$QGWKLVLVRQWKHVDPHVWXG\RIFRXUVH$QGLW V
UHDOO\WKHVDPHLVVXH

>@)5$1&(6&$*,12<HS

>@7(5(6$$0$%,/(%XWQRZZH UHJRLQJWRORRNDWVRPHWKLQJWKDWWKH
FRPSODLQDQWSUHSDUHG$ODLQFRXOG\RXJHWWRWKDWSDJHDQGGRDVFUHHQVKDUHIRUXV"

>@)5$1&(6&$*,12<HS




                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 224 of 1282




>@7(5(6$$0$%,/(7KDQN\RX6R\RX YHVHHQWKLV)UDQFHVFDWKLVJUDSK
FUHDWHGE\WKHFRPSODLQDQWVKRZVWKHUHODWLRQVKLSEHWZHHQSDUWLFLSDQWV PRUDOLPSXULW\UDWLQJV
DQGWKHVHQWLPHQWLPSOLHGE\ZKDWWKH\ZURWH

>@)5$1&(6&$*,12<HS

>@7(5(6$$0$%,/(6R)UDQFHVFDFDQ\RXH[SODLQWKHDSSDUHQWO\DQRPDORXV
REVHUYDWLRQVLQWKHSUHYHQWLRQIRFXVFRQGLWLRQDQGWKDW VWKHRQO\FRQGLWLRQWKDWZH UHORRNLQJ
DWKHUHLQWKLVJUDSKZKHUHKLJKHUUDWLQJVRIPRUDOLPSXULW\ZHUHSDLUHGZLWKSRVLWLYH
GHVFULSWRUVRIWKHQHWZRUNLQJHYHQWDVGHVFULEHGE\WKHFRPSODLQDQWDQGVKRZQRQWKLVJUDSK
ZLWKWKRVHDQGWKLVLV,WKLQNWKHNH\SRLQWIRU%REDQGPHWKHNH\SX]]OHZLWKWKRVH
DQRPDORXVREVHUYDWLRQVEHLQJLQGLFDWHGE\WKHUHGFLUFOHVZLWK; VLQWKHPZKLFKRIFRXUVH
VKRZVLPPHGLDWHO\WKDWWKH\DUHVWURQJO\LQWKHGLUHFWLRQRIWKHK\SRWKHVL]HGHIIHFW"

>@$QGFDQ\RXVRWKLVLVWKHJUDSKWKDW,WKLQNZH YHDOOKDGWKHFKDQFHWRORRNDW
6RZH YHJRWDQQRIGDWDSRLQWVWKDWDUHDQRPDORXVZKHUHWKHDYHUDJHPRUDOLPSXULW\UDWLQJ
LVH[DFWO\DQGZKHUHWKHDYHUDJHPRUDOLPSXULW\UDWLQJLVH[DFWO\RIWKHVHYHQLWHPV
2.$ODLQ,WKLQN\RXFDQVWRSWKHVFUHHQVKDUHIRUWKDW

>@6R)UDQFHVFDZH GOLNHWRNQRZLI\RXFDQDGGUHVVWKDWLQDQ\ZD\$QGDOVRLI
\RXFDQH[SODLQWKHQLQHDSSDUHQWO\DQRPDORXVREVHUYDWLRQVLQWKHSURPRWLRQIRFXVFRQGLWLRQ
ZKLFKZHGLGQ WWKHUHZDVQRJUDSKRIWKDWLW VRQO\QLQHGDWDSRLQWVZKHUHWKHORZHVW
SRVVLEOHUDWLQJVRIPRUDOLPSXULW\DOOVDUHSDLUHGZLWKWH[WLPSO\LQJKLJKOHYHOVRIPRUDO
LPSXULW\%XW,WKLQNLW VUHDOO\WKDWWKHJUDSKWKHSRLQWV

>@)5$1&(6&$*,12<HDK

>@7(5(6$$0$%,/(LQWKHRWKHUFRQGLWLRQLQWKHSUHYHQWLRQIRFXVFRQGLWLRQ
WKDW%REDQG,DUHSUREDEO\PRVWSX]]OHGE\

>@)5$1&(6&$*,127KHRQO\WKLQJWKDW,FDQVD\DQG, PWKLQNLQJIURPWKH
SHUVSHFWLYHRIDSHUVRQLI,ZHUHWRUXQGDWDTXDOLW\FKHFNVZRXOGWKDWVWDQGRXWWRPHDV
SUREOHPDWLF"$QGDV,VDLGWKHH[SHULPHQWZDVVXFKWKDWSHRSOHZRXOGZULWHDQHVVD\DERXWWKHLU
QHWZRUNLQJ$QGVRWKHIHHOLQJVRILPSXULW\DUHQRWQHFHVVDULO\JRLQJDORQJZLWKIHHOLQJVWKDWDUH
PRUHFDSWXUHGE\VRPHWKLQJOLNHWKH3$1$6VRSRVLWLYHDQGQHJDWLYHHPRWLRQV

>@$QGZHKDGGRQHUHVHDUFKWRVKRZWKDWLVWKHFDVHZKHUHDJDLQWKHLGHDRI
IHHOLQJPRUDOO\LPSXUHRUWDLQWHGPLJKWEHDIRFXVWKDW\RXWDNHRQWKHLQVWUXPHQWDOLW\RIWKDW
DFWLRQEXWQRWQHFHVVDULO\WKHIHHOLQJKDSS\WKDWWKHQHWZRUNLQJHYHQWZHQWZHOO$QGVR,DP
QRWVXUHZKHWKHUKDG,UXQTXDOLW\FKHFNVRQWKHGDWDWKDWZRXOGKDYHFRPHXSIRUPH,GRQ W
WKLQN,DVNHGDQ5$WRFRGHWKHZRUGVWRUHIOHFWEDFNWRWKHHYHQWDVDZD\WRFKHFNIRUGDWD
TXDOLW\7KDW VWKHRQO\H[SODQDWLRQWKDW,KDYH

>@7(5(6$$0$%,/($QGZKHQ\RXORRNDWWKHSDWWHUQLQWKHJUDSKGRHVLWORRN
VXUSULVLQJXQXVXDOWR\RX"%HFDXVHWKDWVHQWLPHQWDQDO\VLVZDVGRQHRQ


                                                

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 225 of 1282




>@)5$1&(6&$*,120PKPP

>@7(5(6$$0$%,/(DOOGDWDSRLQWVLQWKHSUHYHQWLRQIRFXVFRQGLWLRQ"

>@)5$1&(6&$*,12,WKLQNWKDWWKHTXHVWLRQWKDWNHHSVUXQQLQJLQWRP\PLQGLV
DQG, PSUREDEO\UHSHDWLQJP\VHOIKDG,EHHQGRLQJTXDOLW\FKHFNVRQWKHGDWDZRXOG,KDYH
SLFNHGXSRQWKLV"$QG,GRQ WNQRZ,WKLQNWKDWDVSDUWRIWKHHIIRUWVRIKDYLQJPRUHFKHFNVIRU
GDWDWKDW,GRQ WKDQGOHVLQFH$XJXVW,KDYHEHHQZULWLQJWRSHRSOHZKRGHDOZLWKDORWRI
ILHOGGDWDWRVHHLIWKH\KDYHDFKHFNOLVWVXFKWKDW,ZRXOGEHDEOHWRSLFNXSRQWKLQJVWKDWLV
VWUDQJH

>@,DOVRWKRXJKWDERXWWKHLGHDRIWDONLQJWRDIRUHQVLFH[SHUW%XW,KDYHQ WGRQHWKDW
\HWLQOLJKWRIZKDWLVJRLQJRQ

>@7(5(6$$0$%,/(2.$QG%RE"

>@52%(57.$3/$1<HDK

>@7(5(6$$0$%,/($QG%RE

>@52%(57.$3/$16R,MXVWZDQWWRMXVWFODULI\RQHLVVXHKHUH$QG, PQRW
IDPLOLDUZLWKWKHUHVHDUFKXQGHUO\LQJWKLV%XW,WKRXJKW,KHDUG\RXVD\WKDWWKHUHKDYHEHHQ
SUHYLRXVVWXGLHVWKDWZRXOGKDYHH[SODLQHGZK\DSDUWLFLSDQW VTXDQWLWDWLYHUHVSRQVHRQHRQH
RQHRQHRQHPD\KDYHGLIIHUHGIURPWKHLUTXDOLWDWLYHHVVD\WKDWWKH\ZURWH0D\EHWZR
GLIIHUHQWOLQHVRIUHDVRQLQJJRRQLQZKLFKFDVHLI\RXGLGDTXDOLW\FKHFN\RXZRXOGKDYHVDLG
RKWKLVLVRQHRIWKRVHH[DPSOHVRIWKHLQFRQVLVWHQF\EHWZHHQDTXDQWLWDWLYHVFRUHDQGWKH
VXEMHFWLYHDVVHVVPHQW%XWPRVWUHFHQWO\\RXZHUHVD\LQJZHOOPD\EHLIZHKDGGRQHEHWWHU
TXDOLW\FKHFNVDQGUHDOO\ORRNHGDWWKLVZHPLJKWKDYHGHWHFWHGWKLV, PQRWVXUH

>@:HVXJJHVWWKDWWKHUHLVDGLVFUHSDQF\WKHUHWKDWSRWHQWLDOO\DEHWWHUTXDOLW\FKHFN
PLJKWKDYHSLFNHGXS6RZKLFKRQHRIWKRVH\RXWKLQNLVPRUHOLNHO\RUWKHH[SODQDWLRQWKHIDFW
WKDWLW VJHQHUDOO\NQRZQE\SHRSOHLQWKLVILHOGWKDWZHFDQJHWWKLVGLVFUHSDQF\EHWZHHQWKH
TXDQWLWDWLYHDQGTXDOLWDWLYHRUDWWKHWLPHZHMXVWGLGQ WKDYHDOORIRXUDQDO\WLFVZRUNLQJWRSLFN
XSWKHVHW\SHRIGLVFUHSDQFLHVDVZHZHUHSUHSDULQJWKHDQDO\VLVDQGZULWLQJXSWKHSDSHU"

>@)5$1&(6&$*,12<HV6R,DSRORJL]HIRUEHLQJXQFOHDU,VWDQGE\ERWK
SRLQWV%XW,WKLQNWKH\DUHGLIIHUHQW7KHFODLPDQWVPDNHDQDVVRFLDWLRQWKDWWKHGHVFULSWRULQ
WHUPVRISRVLWLYHRUQHJDWLYHHPRWLRQVWKDWWKH\SURYLGHGZKHQWKLQNLQJEDFNWRWKHLU
QHWZRUNLQJHYHQWKDVDPDWFKRQHRQRQHZLWKWKHUDWLQJVRILPSXULW\7KDW VLQFRUUHFWVLQFHZH
NQRZIURPSULRUUHVHDUFKWKDWWKHWZRDUHGLVWLQFWWKDW\RXPLJKWEHUHPHPEHULQJDQHWZRUNLQJ
HYHQWLQSRVLWLYHWHUPVEXWVWLOOIHHOWDLQWHGRULPSXUHIRUDQH[SHULHQFHRIFUHDWLQJDFRQQHFWLRQ
ZLWKDSHUVRQZKRLVJRLQJWREHLPSRUWDQW$QGLQIDFWLQVRPHRIRXUUHVHDUFKZHFRQWUROIRU
WKDWSRVLWLYHDQGQHJDWLYHDIIHFWDQGIRFXVHGRQWKHLPSXULW\




                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 226 of 1282




>@6RZKDW,ZDVWU\LQJWRVD\LVWKDWLI,ZHUHWRUXQTXDOLW\FKHFNV,ZRXOGQ WHYHQ
ORRNDWWKHSDUDOOHOEHWZHHQWKRVHWZRFROXPQVRIGDWDEHFDXVHWKH\GRQ WQHFHVVDULO\QHHGWR
PRYHWRJHWKHU6RWKDWZDVWKHILUVWSRLQW

>@2QWKHVHFRQGRQH,ZDVWDNLQJ7HUHVD VTXHVWLRQVWRVD\EXWLI\RXMXVWORRNDW
WKHJUDSKLQWKHZD\WKHGLVWULEXWLRQVKRZVXSRQSDJHZRXOGDQ\WKLQJFDWFK\RXUGDWD"6RUU\
ZRXOGDQ\WKLQJFDWFK\RXUH\HDVSRWHQWLDOO\VRPHWKLQJWRJRLQYHVWLJDWH"$QGRQWKDW,GRQ W
NQRZ,GRQ WH[DFWO\, PXQVXUHZKDWNLQGRIIRUHQVLFDQDO\VLVRUGDWDTXDOLW\FKHFNZRXOG
OHDGPHWRIRFXVRQVRPHWKLQJWKDWLVWKHW\SHRIJUDSKWKDWZH UHORRNLQJDWRQSDJH

>@$QGVRZKDW,ZDVVXJJHVWLQJLVWKDWDJDLQWKLVLVVRPHWKLQJWKDWVWDUWHGVLQFH
$XJXVW, YHEHHQEURDGHQLQJWKHW\SHRISHRSOH,UHDFKRXWWRVLQFHLWVHHPVOLNHDVDFRPPRQ
SUDFWLFHH[SHULPHQWDOLVWVGRQ WVWDUWE\RSHQLQJWKHLUGDWDVHWVDQGSORWWLQJGLVWULEXWLRQV,W VPRUH
DQDSSURDFKWKDWSHRSOHZRUNLQJZLWKODUJHGDWDVHWVRUGRLQJODUJHILHOGVWXGLHVWHQGWRHQJDJH
LQ$QGVR, YHEHHQFRQWDFWLQJWKRVHLQGLYLGXDOVWRWU\WRXQGHUVWDQGKRZ,FDQFRPHXSZLWKD
JRRGVHULHVRIVWHSVWRXVHHYHQLQWKHFDVHRIVPDOOHUGDWDVHWV

>@52%(57.$3/$12.WKDQNV$OOULJKW7KDW VDJRRGFODULILFDWLRQ7KDQN\RX

>@)5$1&(6&$*,12,DSSUHFLDWH\RXDVNLQJDERXWWKDW

>@7(5(6$$0$%,/(2.WKDQN\RX,ZRXOGOLNHWRFDOODILYHPLQXWHEUHDN
ULJKWQRZLIWKDW V2.ZLWK\RX)UDQFHVFDDQG2.ZLWK\RX%RE

>@52%(57.$3/$1<HV

>@7(5(6$$0$%,/(2.6RZH OOWDNHDUHDOO\TXLFNILYHPLQXWHEUHDN
)UDQFHVFDZH OOSXW\RXDQG6\GQH\LQWRDEUHDNRXWURRPGXULQJWKHEUHDN$QGZHZLOOSDXVH
WKH=RRPUHFRUGLQJ,QWKHEUHDNRXWURRP\RX OOVHHDUHPLQGHUZLWKDFRXQWGRZQZKHQRQH
PLQXWHUHPDLQVLQWKHEUHDN$QGZH OOUHFRQYHQH0\FRPSXWHUVD\V6RZH OOUHFRQYHQH
LQILYHPLQXWHVDW$QGDWWKDWWLPHZH OOFORVHWKHEUHDNRXWURRP$QG\RXDQG\RXU
DGYLVRUZLOODXWRPDWLFDOO\EHEURXJKWEDFNLQWRWKHPDLQURRP

>@,I\RXKDSSHQQRWWREHDW\RXUFRPSXWHUVDWWKDWPRPHQW\RX OOKDYHVHFRQGV
WREHEDFNDW\RXUFRPSXWHUVRZHFDQJHWJRLQJDJDLQ,VWKDW2."

>@)5$1&(6&$*,127KDWVRXQGVSHUIHFW7KDQN\RX

>@7(5(6$$0$%,/(2.JUHDW6HH\RXEDFNLQILYHPLQXWHV7KDQNV

>%5($.@

>@7(5(6$$0$%,/($OOULJKW6RZH UHJRLQJWRPRYHQRZWRDOOHJDWLRQ
ZKLFKFRQFHUQVVWXG\LQWKH3V\FKRORJLFDO6FLHQFH3DSHURQLQDXWKHQWLFLW\DQGIHHOLQJV
RILPPRUDOLW\DQGLPSXULW\6RWKLVILUVWTXHVWLRQLVVLPLODUWRWKHILUVWTXHVWLRQ,DVNHGRQ
DOOHJDWLRQ$SDUWIURPZKDWZDVFRYHUHGLQ\RXUZULWWHQUHVSRQVH)UDQFHVFDDUHWKHUHDQ\

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 227 of 1282




GHVFULSWLRQVRIRUDVVHUWLRQVDERXWWKLVVWXG\RULWVGDWDLQWKHILUVWLQTXLU\FRPPLWWHHPHPR
WKDWLQ\RXUYLHZDUHLQFRUUHFW"$QGLIVRSOHDVHH[SODLQHDFKRIWKRVHLQGHWDLO$QGWKDW VDSDUW
IURPZKDW\RXVDLGLQ\RXUZULWWHQUHVSRQVH

>@)5$1&(6&$*,12<HDK6R,GRQ WEHOLHYHWKDWWKHUHLVDQ\HUURULQWKHGDWD,
UHDOL]HWKDW+DUYDUGDVDQDQVZHUWRWKHTXHVWLRQFODVVKHUHPLJKWVHHPVWUDQJH$QG\HW,KDG
KDGVLWXDWLRQVLQWKHSDVWZKHUH,DVNHGVLPLODUO\KRZROGDUH\RX"$QGSHRSOHUHVSRQGZLWK
6RLWVHHPVDUHDVRQDEOHHUURURQWKHSDUWRISDUWLFLSDQWVZKRORRNDWWKHDQVZHUTXLFNO\
DQGPRYHRQ$QGDJDLQIURPWKHSHUVSHFWLYHRIOHW VLPDJLQHLI,ZHUHWRGRGDWDTXDOLW\RQWKH
GDWDQRZZRXOGWKDWFDWFKP\DWWHQWLRQ",GRQ WWKLQNVR

>@7(5(6$$0$%,/(2.)RUWKLVQH[WTXHVWLRQ,ZDQWXVWRORRNDWSDJHLQ
WKHILUVWLQTXLU\FRPPLWWHHPHPR$ODLQFDQ\RXEULQJWKDWXSIRUXVRQVFUHHQVKDUHSOHDVH"
7KLVWDEOHVKRZVOLQHVRIGDWDKLJKOLJKWHGZLWKDQLQFRUUHFWHQWU\RI+DUYDUGDVWKHUHVSRQVH
WRWKH\HDULQVFKRROTXHVWLRQ1RZOHW VORRNDWWKHEHHVZDUPSORWRQSDJHRIWKHVDPH
PHPR$QG$ODLQLI\RXFDQPRYHWKHUH7KDQN\RX

>@7KLVSORWZKHUHDJDLQWKHDQRPDORXVUHVSRQVHVDSSHDUDVUHGFLUFOHVZLWKUHG; V
LQWKHPLOOXVWUDWHVDGLUHFWLRQDOLW\WRWKRVHUHVSRQVHVLQOLQHZLWKWKH

>@52%(57.$3/$1, PVRUU\, PQRWVHHLQJWKHVFUHHQVKDUH$P,WKHRQO\
RQH"

>@7(5(6$$0$%,/(, PVHHLQJLW, PVHHLQJLW%RE

>@52%(57.$3/$12.ZHOO, OONHHSORRNLQJIRULW

>@7(5(6$$0$%,/($QG)UDQFHVFDLVQRGGLQJKHUKHDG6KH VVHHLQJLW

>@52%(57.$3/$12.+PP2.

>@7(5(6$$0$%,/(,GRQ WNQRZZKDWWRVXJJHVW

>@52%(57.$3/$11RQR:K\GRQ W\RXFRQWLQXH, OO

>@7(5(6$$0$%,/(2.6R%REZH UHRQSDJHRIRXUILUVWLQTXLU\
FRPPLWWHHPHPRLI\RXKDSSHQWRKDYHWKDWRQ\RXURWKHUVFUHHQRUVRPHWKLQJ6R)UDQFHVFD
MXVWFDOOLQJDWWHQWLRQWRWKHVHDQRPDORXVSRLQWVZKLFKDUHWKHRQHVLQUHGFDQ\RXH[SODLQWKH
DQRPDORXV+DUYDUGUHVSRQVHWRWKH\HDULQVFKRROTXHVWLRQLQOLQHVRIGDWDWKHVHOLQHVRI
GDWDLQWKH26)GDWDVHW"$ODLQ,WKLQN\RXFDQVWRSVFUHHQVKDULQJQRZ$QGVRLW VWKDWSOXVWKH
IDFWWKDWWKHEHHVZDUPSORWUHYHDOVWKDWWKRVHSDUWLFXODUOLQHVRIGDWDVWURQJO\VXSSRUWWKH
K\SRWKHVL]HGHIIHFW6RDJDLQLW VQRWWKDWWKHDQRPDORXVUHVSRQVHKDVKDSSHQHG,W VWKHSDWWHUQ
RIWKHP

>@)5$1&(6&$*,126RZKDW,GLGWRWU\WRXQGHUVWDQGWKLVGDWDVHWEHWWHULVDJDLQ
ZLWKWKHH\HVRIZKDWZRXOGFDWFKP\DWWHQWLRQLI,ZHUHWRGRGDWDTXDOLW\7KHIDFWWKDWVRPHRI

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 228 of 1282




WKH\HDUVDUHVSHOOHGRXWWKHZD\WKH\DUHVR6RLW VSHRSOHQRWUHSRUWLQJZKDW,
ZRXOGKDYHH[SHFWHGZKLFKLVDVHQLRUMXQLRUVRSKRPRUH$QGVR,WU\WRUHFUHDWHP\RZQ
YHUVLRQVRIWKHGDWDKLVWRJUDPV$QG\RXFDQILQGDQDO\VHVZKHUHLQWKRVH\HDUVWKHSRLQWVDUH
H[WUHPHV

>@$QGVRDJDLQLI,ZHUHWKHRQHUXQQLQJTXDOLW\FKHFNVRQWKHGDWD,ZRXOGQ WKDYH
SLFNHGXSRQWKRVHEHLQJSUREOHPDWLF,WVHHPVOLNHIURPWKHSORWVHYHQLQWKHZD\WKH\ZHUH
FUHDWHGE\WKHFODLPDQWVWKHRQHWKDW\RXMXVWVKDUHWKDW,VHHRQSDJH, PQRWVXUH,ZRXOG
KDYHSLFNHGXSRQDQ\SUREOHP$QG, PQRWVXUHWKDWWKHUHLVDQ\LVVXHZLWKWKHGDWD

>@7(5(6$$0$%,/(6RDUH\RXVD\LQJWKDWDV\RXORRNDWWKDWEHHVZDUPSORW
\RXGRQRWVHHDSUREOHP"

>@)5$1&(6&$*,126RZKDW, PVD\LQJLVWKDWLI,ZHUHWRFUHDWHGLIIHUHQWSORWV
DV,KDYHWULHGZLWKZD\VRIDQVZHULQJ\HDULQVFKRROWKDWLVQRW+DUYDUGWKDWLVQRWVRSKRPRUH
RUMXQLRUDV,ZRXOGKDYHH[SHFWHGWKDW,HQGXSZLWKSORWVWKDWOLNHWKLVRQH,ZRXOGQ WKDYH
FDXJKWXSDVSUREOHPDWLF

>@7(5(6$$0$%,/(2.%REGR\RXKDYHDIROORZXS"

>@52%(57.$3/$16ROHWPHMXVWORRNDWWKDW

>@)5$1&(6&$*,12,VKRXOGDOVRVD\

>@52%(57.$3/$10\IROORZXSZRXOGUHDOO\EHWKHQH[WTXHVWLRQKHUHWKDW
ZKHQZHWUDFNWKRVHVDPHREVHUYDWLRQVLQWKHDXWKRU VGDWDVHWWKH\DJDLQZHUHQRWUDQGRPDVWR
ZKLFKRIWKHUHVSRQGHQWVKDSSHQHGWRSXW+DUYDUGLQWKDWILHOG7KHUHZDVDQRWKHUILHOGWKDW
VKRZHGDFRQVLVWHQWPLVDOLJQPHQWEHWZHHQWKHP

>@7(5(6$$0$%,/(%REZK\GRQ W,MXVWPRYHWRWKDWTXHVWLRQ"

>@52%(57.$3/$1<HDKVR2.

>@7(5(6$$0$%,/('RHVWKDWPDNHVHQVH"

>@52%(57.$3/$1<HV

>@7(5(6$$0$%,/(2.6R)UDQFHVFDFDQ\RXH[SODLQWKHGLVFUHSDQF\WKDWZH
WKHFRPPLWWHHREVHUYHGEHWZHHQ\RXUGDWDILOHDQGWKH26)GDWDILOHLQWKHQXPEHURI
SDUWLFLSDQWVZKRUHVSRQGHGZLWK+DUYDUGDVWKHLU\HDULQVFKRRO"6RLWZDVLQ\RXUGDWDILOH
LQWKH26)GDWDILOH$QGDGGLWLRQDOO\FDQ\RXH[SODLQRXUREVHUYDWLRQWKDWDPRQJWKH
SDUWLFLSDQWVZKROLVW+DUYDUGDVWKHLUDQVZHUWRWKH\HDULQVFKRROTXHVWLRQQRQHKDGD
FROOHJHKDUYDUGHGXHPDLODGGUHVVZKLOHPRVWRIWKHRWKHUSDUWLFLSDQWVGLG

>@)5$1&(6&$*,12,DPQRWVXUHKRZWREHVWDQVZHUWKDWTXHVWLRQ,QORRNLQJ
DWWKHGDWDDJDLQIURPWKHSHUVSHFWLYHRIZKHUHLVLWWKHRSSRUWXQLW\IURPP\VWDQGSRLQWWRSLFN

                                                

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 229 of 1282




XSRQWKHSUREOHP,GRQ WWKLQN,ZRXOGKDYHQHFHVVDULO\QRWLFHGLW$JDLQ,VHHWKHKLJKOLJKWHG
LQ\HOORZ+DUYDUGURZV%XW,ZRXOGKDYHSLFNHGXSRQWKHDVZHVDLGHDUOLHU$QGLW
GRHVQ WVHHPWKDWWKHGDWDZDVFRSLHGDFURVVURZVVLQFHWKHGDWDLQWKHUHLVGLIIHUHQW

>@,DPXQVXUHZK\VRPHRIWKHSHRSOHKDYHDFROOHJH+DUYDUGDGGUHVVDQGVRPH
KDYHDSHUVRQDORQH,EHOLHYHWKDWWKDWPLJKWEHVRPHWKLQJWKDWZHGLGQ¶WDVNSDUWLFLSDQWVWR
VSHFLI\DQGVRWKH\PDGHWKHLURZQFKRLFH

>@7(5(6$$0$%,/(2.%RE%RE,GRQ WKDYHDIROORZXSRQWKDW'R\RX"

>@52%(57.$3/$11R

>@7(5(6$$0$%,/(2.6RRXUQH[WTXHVWLRQLVVWLOORQWKLVDOOHJDWLRQ&DQ\RX
H[SODLQ)UDQFHVFDWKHDQRPDO\WKDWVRPHSDUWLFLSDQWVLQWKH26)GDWDILOHZHUHQRWLQ\RXUGDWD
ILOH"

>@)5$1&(6&$*,12:KHQ,ZDVDVNHGWRVHQG\RXERWKWKHRULJLQDOGDWDVHWV,
WULHGP\EHVWWRJRILQGWKHPDQGFRQQHFWHGWKHPWRLIDYDLODEOHWKHVRIWZDUHSURJUDPZKHUH
WKH\ZHUH$QGVRWKHRQO\H[SODQDWLRQVLQGLIIHUHQFHVEHWZHHQZKDWLVLQ4XDOWULFVYHUVXVZKDW
HQGHGXSRQWKH2SHQ6FLHQFH)UDPHZRUNLVDQ\FOHDQLQJWKDWZDVFRQGXFWHGRQWKHGDWD

>@7(5(6$$0$%,/(6ROHWPHMXVWPDNHVXUH,XQGHUVWDQGZKDW\RXMXVWVDLG6R
\RX UHVD\LQJLW VSRVVLEOHWKDWWKHUHZDVFOHDQLQJWKDWKDSSHQHGRIWKHGDWDVHWWKDWZDVRQ\RXU
FRPSXWHUWKDWFRXOGH[SODLQDGLVFUHSDQF\ZLWKWKH26)GDWDVHW"

>@)5$1&(6&$*,12<HV6RZKDW, PVXJJHVWLQJLVWKDWWKHGDWDWKDWJHWVSRVWHG
LVWKHGDWDWKDWZDVDQDO\]HGWKHUHVXOWVRIZKLFKZHUHUHSRUWHGLQWKHSDSHU$QGLIWKHUHLVDQ\
GLVFUHSDQFLHVZLWKZKDW,EHOLHYHEDVHGRQWKHUHFRQVWUXFWLRQVRIKLVWRU\ZDVWKHRULJLQDOUDZ
GDWDWKDWFRPHVRXWRIFOHDQLQJ%XW,FDQ WWHOOIRUVXUHVLQFH,ZDVQRWWKHRQHSHUIRUPLQJWKH
FOHDQLQJ

>@7(5(6$$0$%,/(%REGR\RXKDYHDIROORZXSRQWKDW"

>@52%(57.$3/$11R,GRQ W

>@7(5(6$$0$%,/(2.$QG)UDQFHVFDFDQ\RXH[SODLQWKHUHOHYDQFHRIWKH
VPDOOHURIWKHWZRGDWDILOHVIURP\RXUFRPSXWHUWKDW\RXLGHQWLILHGDVFRQWDLQLQJGDWDIRUWKLV
VWXG\"6R\RXDFWXDOO\SRLQWHGWRWZRGDWDILOHVRQ\RXUFRPSXWHU$QGWKHUH VRQHWKDW VDORW
VPDOOHUKDVPDQ\IHZHUURZVRIGDWDWKDQWKHODUJHURQH$QGZHFRXOGQ WVHHDZD\WRILQG
PDWFKHVEHWZHHQDQ\WKLQJLQWKDWVPDOOHUGDWDILOHDQGZKDWZDVSRVWHGRQ26)

>@)5$1&(6&$*,126RDSRORJLHV%XWLQWKHVSLULWRIUDZGDWDWKDW VZKDWP\
UHFRQVWUXFWLQJRIKLVWRU\OHGPHWR,WPLJKWKDYHEHHQDSLORWVWXG\WKDWWKH5$FRQGXFWHGLVQRW
VRPHWKLQJWKDW,UHFRUGHGLQP\ILOHV:HDUHWDONLQJDERXWWKHSDSHUZHVWDUWHG7KHILUVW
VXEPLVVLRQRIWKLVSDSHUDJDLQJRLQJEDFNWRKLVWRU\ZDV$QGVRXQIRUWXQDWHO\WKHVH
DUHSDSHUVWKDWJREDFNDIHZ\HDUV$QGLI,WKLQNDERXWDJDLQEHVWSUDFWLFHVNHHSLQJWUDFNRI

                                                

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 230 of 1282




ZDVWKHUHDSLORWVWXG\DQGPDNLQJVXUHWKDW,NQRZWKHH[LVWHQFHRILWVRWKDW,FDQUHPRYHWKH
GDWDLI,ZHUHWRJREDFNDQGUHUXQQLQJIURPVFUDWFKLVVRPHWKLQJWKDW,GHILQLWHO\ZDQWWRWDNH
RQ

>@7(5(6$$0$%,/(2.7KDQN\RX%REDQ\IROORZXS"

>@52%(57.$3/$11R,GRQ WKDYH

>@7(5(6$$0$%,/(2.*UHDW$UHZHJRRGWRJRRQWRDOOHJDWLRQWKUHH"
$Q\ERG\QHHGDEUHDN"2.6RZH UHJRLQJWRWXUQQRZWRDOOHJDWLRQWKUHHZKLFKFRQFHUQV
VWXG\IRXULQWKH3V\FKRORJLFDO6FLHQFHSDSHURQGLVKRQHVW\OHDGLQJWRFUHDWLYLW\

>@)5$1&(6&$*,12<HDK

>@7(5(6$$0$%,/(6RDSDUWIURPZKDWZDVFRYHUHGLQ\RXUZULWWHQUHVSRQVH
)UDQFHVFDDUHWKHUHDQ\GHVFULSWLRQVRIRUDVVHUWLRQVDERXWWKHVWXG\RULWVGDWDLQWKHILUVW
LQTXLU\FRPPLWWHHPHPRRI-DQXDU\WKDWLQ\RXUYLHZDUHLQFRUUHFW"$QGLIVRSOHDVH
H[SODLQHDFKRIWKRVHLQGHWDLO

>@)5$1&(6&$*,121R,EHOLHYH,SRLQWHGRXWRQHRIWKHGLIIHUHQFHVWKDW\RX
LGHQWLILHGDOUHDG\LQWKHUHSRUW6R,GRQ WEHOLHYH,KDYHDQ\WKLQJWRDGG

>@7(5(6$$0$%,/(2.6RIRUWKLVQH[WTXHVWLRQZH UHJRLQJWRORRNDWSDJH
LQWKHILUVWLQTXLU\FRPPLWWHHPHPRZKLFKVKRZVDVFUHHQVKRWRIWKHGDWDVHWWKDWWKH
FRPSODLQDQWXVHG$ODLQFRXOG\RXSOHDVHSXWWKDWSDJHXS2.WKLVWDEOHKLJKOLJKWV
DQRPDORXVO\VRUWHGHQWULHV$OORIZKLFKVKRZDGHSHQGHQWYDULDEOHUHVSRQVHVWURQJO\LQOLQH
ZLWKWKHK\SRWKHVL]HGHIIHFW2.DQG,WKLQNZH YHDOOVHHQWKLVLQWKDWPHPR-XVWJLYHDQRWKHU
VHFRQGRUWZR

>@2.$ODLQ,WKLQN\RXFDQWDNHWKDWGRZQ6R)UDQFHVFDFDQ\RXH[SODLQWKLV
DSSDUHQWGDWDWDPSHULQJDVGHVFULEHGLQWKHILUVWLQTXLU\FRPPLWWHHPHPRDQGLOOXVWUDWHGLQWKDW
WDEOHWKDWZHMXVWORRNHGDW"

>@)5$1&(6&$*,126R,FDQ WVSHDNWRWKHIDFWVDJDLQVLQFH,ZDVQRWWKHSHUVRQ
LQFKDUJHRIGHDOLQJZLWKWKHRULJLQDOGDWD7KLVLVDFDVHZKHUHPXOWLSOHGDWDVHWVKDGWREH
PHUJHGEHFDXVHWKHFKHDWLQJPHDVXUHFDPHIURPDGLIIHUHQWVRIWZDUHDVFRPSDUHGWRWKH
FUHDWLYLW\PHDVXUHV$QGWKHQXPEHURIUHVSRQVHVKDGWREHFRGHG6RZKDW,WKRXJKWPLJKWKDYH
KDSSHQHGLVWKDWLQWKHFROXPQQXPEHURIUHVSRQVHVWKHUHVKRXOGEHZRUGVWKHUHQRWQXPEHUV
$QGVRWKH5$GRLQJWKHFRGLQJVXEVWLWXWHGWKHZRUGVIRUWKHQXPEHURIXVHVDVLWVKRXOGEHVR
WKDWLWJHWVHYDOXDWHGDVDGHSHQGHQWPHDVXUH$QGWKDW VWKHSDWWHUQWKDWUHVXOWHG

>@$JDLQ,DVNP\VHOIWKHTXHVWLRQRIZRXOG,KDYHSLFNHGXSRQWKDWDVDGDWD
TXDOLW\FKHFN"$QG,DPXQVXUH,XVXDOO\GRQ WWDNHWKHYLHZPD\EH,VKRXOGRILVWKHUH
VRPHWKLQJZURQJLQWKHGDWD$QGVR, PQRWVXUHZKHWKHUWKLVLVDQHUURU,WVHHPVDQLQWHUHVWLQJ
FRLQFLGHQFHWKDWFRXOGEHLQIDFWH[SODLQHGE\FRGLQJ%XW,GRQ WNQRZ


                                                

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 231 of 1282




>@7(5(6$$0$%,/(,MXVWZDQWHGWREHVXUH,XQGHUVWRRGZKDW\RXVDLGHDUOLHU
DERXW'LG\RXVD\WKDWWKH5$VKRXOGKDYHSXWWKHDFWXDOZRUGUHVSRQVHVLQWKDWFROXPQUDWKHU
WKDQQXPEHUV"

>@)5$1&(6&$*,126RWKHFUHDWLYLW\PHDVXUH

>@7(5(6$$0$%,/(7KDW VWKHQXPEHURIXVHVIRUDQHZVSDSHU"

>@)5$1&(6&$*,127KDW VH[DFWO\ULJKW$QGVRWKHSDUWLFLSDQWVZRXOGKDYH
UHVSRQGHGE\VD\LQJGRRUVWRSSHURUEHLQJYHU\QRQFUHDWLYHDWWKHPRPHQWIO\NLOOHU
ZKDWHYHU,W VDFRPPRQWDVNWKDWLVXVHGWRPHDVXUHFUHDWLYLW\$QGVRWKHZD\SDUWLFLSDQWV
ZRXOGKDYHSURYLGHGDUHVSRQVHLVE\PHQWLRQLQJDQXPEHURIXVHVDQGWKHQZKHQDGHSHQGHQW
PHDVXUHOLNHWKDWLVXVHGLW VWKH5$MREWRFRGHLWLQWRDQXPEHUE\FRXQWLQJ$QGWKH\ZRXOG
LQFHUWDLQFDVHVDOVRPHDVXUHRWKHUW\SHVRIFUHDWLYLW\OLNHRULJLQDOLW\E\ORRNLQJDWKRZ
GLIIHUHQWWKHXVHUVDUH

>@7(5(6$$0$%,/(2.,ZRXOGMXVWOLNH\RXWRUHLWHUDWHWKHEULGJHIURPZKDW
\RXMXVWVDLGWRWKHSRVVLEOHDSSDUHQWPLVVRUWRIWKRVHUHVSRQVHVRXWRIWKHPDQ\PDQ\
UHVSRQVHVWKRVHZKLFKDUHQRWVRUWHGDVDOOWKHRWKHUVDUHRQWKDWQXPEHURIUHVSRQVHV
FROXPQ6RFDQ\RXPDNHWKHEULGJHEHWZHHQZKDWWKH5$VZHUHGRLQJDQGZKDWPLJKWKDYH
UHVXOWHGLQWKLVSDWWHUQ"

>@)5$1&(6&$*,12<HDKDQGDJDLQ, PWU\LQJWRUHFRQVWUXFWSXWFLYLOLW\LQ
OLJKWRIWKHTXHVWLRQWKDW\RX UHDVNLQJ%XW,ZRXOGLPDJLQHWKDWLIWKH5$GLGWKHPHUJLQJRIWKH
GDWDVHWVSULRUWRWKHXVHVEHLQJFRGHGQRWQHFHVVDULO\WKHQXPEHUVZRXOGJRLQDVFHQGLQJRUGHUV
,DPQRWVXUH,WFRXOGEHWKDW7KHUHLVDZD\LQ([FHOZKHUH\RXFRXQWWKHQXPEHUVRIOHWWHUV
:KHWKHUVKHXVHGWKDWDQGWKHQVRPHRIWKHXVHVDUHORQJHUYHUVXVVKRUWHU7KDWPLJKWEHD
SRVVLELOLW\WROHDGWRWKHW\SHRISDWWHUQWKDWZHVHHLQWKHGDWD

>@7(5(6$$0$%,/(<HDK,GRQ WWKLQN,KDYHDQ\PRUHIROORZXSVRQWKDW%RE
GR\RX"

>@52%(57.$3/$12.)RUP\XQGHUVWDQGLQJ,WKLQNWKHUHVSRQVHZDVWKDWWKLV
FRXOGKDYHEHHQGXHWRDFRGLQJHUURU$QGDJDLQLWVHHPVWKDWKDYLQJREVHUYDWLRQVJRLQWRD
SHUIHFWO\SUHGLFWDEOHVHTXHQFH$QGWKHQUXQLQWRVHYHUDOWKDWJHWRXWRIVHTXHQFH,GRQ WVHH
KRZWKDWFRXOGEHGRQHRQDQ([FHOVRUWWKDWWKDWZRXOGRFFXU

>@)5$1&(6&$*,12<HV6RMXVWWRFODULI\7KHH[SODQDWLRQWKDW,FRXOGFRPH
XSZLWKLVWKDWWKHVRUWLQJZDVGRQHEDVHGRQWKHZRUGV,GRQ WNQRZ<RXFDQOLVW
DOSKDEHWLFDOO\<RXFDQOLVWE\QXPEHURIZRUGVSULRUWRWKH5$DFWXDOO\FRXQWLQJWKHQXPEHURI
UHVSRQVHVWKDWHDFKSDUWLFLSDQWVSURYLGHG%XWDJDLQ,FDQ WEHVXUH

>@52%(57.$3/$12.ZH OOOHDYHLWDWWKLV

>@)5$1&(6&$*,12<HDK,WKLQNZKHQ\RXDVNWKHTXHVWLRQLVLWSRVVLEOH,WU\
WRWKLQNZKHWKHULWLVSRVVLEOH

                                                

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 232 of 1282




>@7(5(6$$0$%,/(2.'RHVHLWKHURI\RXZDQWDEUHDNDWWKLVSRLQWEHIRUHZH
JRRQWRDOOHJDWLRQ"1R"2.6RZH OOPRYHRQWRDOOHJDWLRQDZKLFKFRQFHUQVVWXG\LQWKH
31$6SDSHURQVLJQLQJDWWKHEHJLQQLQJGHFUHDVLQJGLVKRQHVW\

>@)5$1&(6&$*,12<HS

>@7(5(6$$0$%,/(6RDSDUWIURPZKDWZDVFRYHUHGLQ\RXUZULWWHQUHVSRQVH
)UDQFHVFDDUHWKHUHDQ\GHVFULSWLRQVRIRUDVVHUWLRQVDERXWWKLVVWXG\RULWVGDWDLQWKHVHFRQG
LQTXLU\FRPPLWWHHPHPRGDWHG-DQXDU\WKWKDWLQ\RXUYLHZDUHLQFRUUHFW"$QGLIVRSOHDVH
H[SODLQHDFKRIWKRVHLQGHWDLO

>@)5$1&(6&$*,12,GRQ WKDYHDQ\WKLQJWRDGGRWKHUWKDQVD\LQJWKDWDJDLQ,
GRQ WEHOLHYHWKHUHLVDQHUURUKHUH7KLVFROODERUDWLRQKDVEHHQYHU\FRQWHQWLRXV

>@7(5(6$$0$%,/(&DQ\RXH[SODLQZKDW\RXPHDQE\WKDW"

>@)5$1&(6&$*,127KHSDSHUZDVERUQRXWRIWZRVHWVRILQGLYLGXDOVFRPLQJ
WRJHWKHUWRZRUNRQZKDWDSSHDUHGWREHWKHVDPHUHVHDUFKTXHVWLRQ$QGVREDFNLQ,WKLQN,
ZURWHWKLVGRZQ

>@%DFNLQZKHQ              DQG,ZHUHWKLQNLQJDERXWWKHUROHWKDW
VLJQLQJPLJKWKDYHRQKRQHVW\:HKDGKHDUGWKDW               DQG             KDGSRWHQWLDOO\D
ILHOGVWXG\DQG,ZDVWKHSRLQWRIFRQQHFWLRQ6R,KDGZRUNHGZLWK       ,NQHZ      SUHWW\
ZHOODQG,ZDVZRUNLQJZLWK       DQG    $QGVR,ZDVWKHRQHFRQWDFWLQJ       DQG      WR
VHHLIZHFRXOGMRLQIRUFHV$QGZHGLG

>@$QGDVZHVWDUWHGZRUNLQJDQGZULWLQJXSWKHSDSHUDQGPRUHTXHVWLRQVDSSHDUHG
RQWKHILHOGGDWD   ZDVJHQHUDOO\WKHRQHDVNLQJDORWRITXHVWLRQVRI    DQG     $QGLW
ZDVFRQWHQWLRXVVLQFH     WKRXJKWWKDWWKHTXHVWLRQVZHUHPRUHDJJUHVVLYHWKDQWKH\QHHGHGWR
EH$QG,ZDVWU\LQJWRH[SODLQWKDW    ZDVRQWKHMREPDUNHWZLWKWKLVSDSHUDQGWKDW    ZDV
FRPLQJIURPDSRLQWRIZDQWLQJWRXQGHUVWDQG%XWLWKDVEHHQDGLIILFXOWFROODERUDWLRQ

>@7(5(6$$0$%,/(6RWKHFROODERUDWLRQZDVFRQWHQWLRXVZKLOHWKHSDSHUZDV
EHLQJSXWWRJHWKHUZKLOHWKHSDSHUZDVEHLQJZULWWHQDQGWKHGDWDZHUHEHLQJUHYLHZHG",VWKDW
DP,KHDULQJWKDWULJKW"

>@)5$1&(6&$*,12<HV$QGWKHIDFWWKDWWKHSDSHUHQGHGXSEHLQJUHWUDFWHGLQ
$XJXVW,WKLQNPDGHDVLWXDWLRQWKDWZDVGLIILFXOWHYHQPRUHGLIILFXOW:HZURWHDSDSHUWKDW
IDLOHGWRUHSOLFDWHWKHUHVXOWVWKDWZHSXEOLVKHG$QGDJDLQWKHDXWKRUVGLVDJUHHG$QG,WKLQN
DFURVVWKHHQWLUHKLVWRU\RIWKLVSDSHU,DOZD\VIRXQGP\VHOILQWKHPLGGOHVLQFH,ZDVWKHRQH
ZKRNQHZWKHWZRVHWVRIFRDXWKRUV

>@7(5(6$$0$%,/(2.$QG\RXUHIHUUHGWRWKHSDSHUEHLQJUHWUDFWHGLQ
$XJXVW<RX UHUHIHUULQJWR$XJXVWFRUUHFW"

>@)5$1&(6&$*,12<HVWKDW VFRUUHFW

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 233 of 1282




>@7(5(6$$0$%,/(2.%REGLG\RXKDYHDQ\IROORZXSRQWKLVILUVWTXHVWLRQ"

>@52%(57.$3/$11R,IRXQGWKDWXVHIXOEDFNJURXQGDQGFRQWH[WIRUWKH
GLVFXVVLRQZH UHDERXWWRKDYH

>@7(5(6$$0$%,/(2.6R)UDQFHVFDQH[WTXHVWLRQ\RXUZULWWHQUHVSRQVH
IURPODVWZHHNVWDWHGTXRWH'U*LQRLVDOVRFRQILGHQWWKDWSDUWLFLSDQWVUHFHLYHGQRSD\PHQW
EHIRUHWKHHQGRIWKHHQWLUHVWXG\HQGTXRWH<RXDOVRGLUHFWHGXVWRDIROGHURQ\RXUKDUGGULYH
ZLWKVHYHUDOGRFXPHQWVUHODWHGWRWKHGUDIWLQJRIWKHSDSHUDQGZHWKDQN\RXIRUSRLQWLQJXVWR
WKHORFDWLRQRIWKHVHGRFXPHQWV6R, GOLNHXVWRORRNQRZDWSDJHWZRRIDGRFXPHQWIURPWKDW
IROGHUZLWKWKHILOHQDPH³WD[VWXG\VXPPDU\RIUHVXOWV´$QGWKHUH VDGDWHLQWKHILOHQDPH
ZKLFKIURPWKHILOHQDPHDSSHDUVWRKDYHEHHQSUHSDUHGDIWHUWKHGDWDZHUH
DQDO\]HG

>@6R$ODLQFRXOG\RXVKRZWKHGRFXPHQWRQVFUHHQVKDUHRQWKDWSDJHWZR"2.
SDJHWZRKHUHOD\VRXWWKHVWHSE\VWHSSURFHGXUHVRIWKLVVWXG\,IZHORRNDWWKHKLJKOLJKWHG
PDWHULDOSDUWLFXODUO\VWHSVWKUHHDQGIRXUWKLVGRFXPHQWLQGLFDWHVWKDWSDUWLFLSDQWVZHUHSDLGIRU
SHUIRUPDQFHRQWKHPDWUL[WDVNLQWKHILUVWURRPEHIRUHEHLQJWROGDERXWJRLQJWRDVHFRQGURRP
WRILOORXWDSD\PHQWIRUP6ROHW VWDNHDIHZVHFRQGVWRMXVWORRNDWWKLV

>@2.$ODLQ,WKLQN\RXFDQVWRSWKHVFUHHQVKDUHQRZ1H[W,ZDQWXVWRORRNDW
SDJHRIDQRWKHUGRFXPHQWIURPWKDWVDPHIROGHUZLWKWKHILOHQDPHTXRWHVLJQLQJRQWKH
GRWWHGOLQHWXUQVPRUDOJD]HLQZDUG$QGWKHUH VDGDWHLQWKDWILOHQDPH²$QG
WKDW VWKHHDUOLHVWGUDIWRIWKHSDSHUWKDWZHIRXQGLQWKDWIROGHU

>@$ODLQFRXOG\RXVKRZWKDWGRFXPHQWRQVFUHHQVKDUH",W VSDJHZHQHHG2.
3DJHRIWKLVGRFXPHQWVHHPVWRLPSO\WKDWSD\PHQWZDVPDGHWRSDUWLFLSDQWVEHIRUHJRLQJWR
WKHVHFRQGURRP:H OOWDNHDIHZVHFRQGVWRORRNDWWKLV

>@<HS2.$OOULJKW6R\RXFDQVWRSWKDWVFUHHQVKDUH$ODLQ7KHSURFHGXUHVDV
ZULWWHQVWHSE\VWHSLQWKHILUVWGRFXPHQWWKHVXPPDU\RIUHVXOWVGRFXPHQWDQGLPSOLHGLQWKH
VHFRQGGRFXPHQWDQHDUO\GUDIWRIWKHSDSHUERWKGLIIHUIURPWKHSURFHGXUHVLQWKHSXEOLVKHG
SDSHU6R)UDQFHVFDJLYHQZKDWLVGHVFULEHGLQWKHVHWZRGRFXPHQWVWKDW\RXGLUHFWHGXVWRFDQ
\RXH[SODLQ\RXUFRQILGHQFHWKDWTXRWHSDUWLFLSDQWVUHFHLYHGQRSD\PHQWEHIRUHWKHHQGRIWKH
HQWLUHVWXG\HQGTXRWHEHFDXVHLWDSSHDUVWKDWSDUWLFLSDQWVZHUHSDLGIRUPDWUL[WDVN
SHUIRUPDQFHZKHQWKH\ZHUHVWLOOLQWKHILUVWURRP

>@)5$1&(6&$*,126RWKHUHDVRQZK\,VD\,DPFRQILGHQWLVWZRIROG2QHLV
WKDW,NQRZWKDWFROOHFWLQJDGHSHQGHQWPHDVXUHSULRUWRPDQLSXODWLRQVLW VDIXQGDPHQWDOSLHFH
RIUXQQLQJODEH[SHULPHQWV$QG       ZRXOGKDYHFRPHWRPHWRSRLQWWKDWRXW6KHZRXOGQRW
KDYHFRQGXFWHGWKHVWXG\ZLWKWKDWIODZ

>@$QG,DOVRNQRZIURPKDYLQJZRUNHGZLWKKHU:HKDGDOOVRUWVRIIXQQ\PRQH\
VWRULHVZKHUHDWWKHWLPH,ZDVFRQGXFWHGVWXG\LQJLQDW81&\RXKDGWRVKRZXSDWWKHEDQN
DQGUHFHLYHDOOWKHVHELOOVDQGELOOVDQGWKHQEULQJWKHPWRWKHODEDQGWKHQJHWUHLPEXUVHG
DIWHUZDUGV

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 234 of 1282




>@$QGVKHZRXOGKDYHQRWFRQGXFWHGDVWXG\ZKHUH\RXJLYHPRQH\WRSDUWLFLSDQWV
DQGWKHQ\RXWDNHWKHPEDFNIURPWKHPLIWKHUHDUHGLVFUHSDQFLHVEHFDXVH\RXZRXOGKDYH
FUHDWHGDQLJKWPDUHIURPDSD\PHQWSHUVSHFWLYH6RNQRZLQJKHUDQGKRZVKHZDVDOZD\VYHU\
FOHDULQUXQQLQJVWXGLHVWKDWDUHVPRRWKWKHVHDUHWZRWKLQJVRQWKHSURFHGXUHVWKDWKDGWKH\
EHHQWKDWZD\VKHZRXOGKDYHEURXJKWWKHPXSWRPH

>@$QG,FDQDOVRVD\WKDWLWVHHPVVWUDQJHWKDW,ZRXOGKDYHDOORZHGIRUWKDWVLQFH,
NQRZWKDWGHSHQGHQWPHDVXUHVQHHGWREHFROOHFWHGDIWHUWKHPDQLSXODWLRQ7KHPDWUL[WDVNLVD
WDVNWKDWKDVEHHQXVHGDORWLQWKHUHVHDUFKWKDWKDVEHHQGRQHRYHUWKH\HDUVLQWKHFRQWH[WRI
FKHDWLQJ$QGVRHYHQWKHPDWHULDOVWKDW,EHOLHYHDUHRQP\FRPSXWHUVDUHIURPVWXGLHVZKHUH
WKDWWDVNZDVXVHGDQGWKHJHQHUDOSURFHGXUHZRXOGEHWKDW\RXGRJHWSDLGDIWHUFRPSOHWLQJWKH
PDWUL[WDVN%XW,VD\FRQILGHQWFRPLQJWR\RXUTXHVWLRQEHFDXVH, PVXUHWKDW        ZRXOG
KDYHSRLQWHGWKDWRXWLI,KDGSXWKHUWKURXJKJLYLQJSDUWLFLSDQWVSD\PHQWDQGWKHQWDNLQJLWEDFN

>@7(5(6$$0$%,/(*LYHQWKDWFDQ\RXH[SODLQWKLVGRFXPHQWZKLFKDFWXDOO\
GRHVKDYHWKHUHVXOWVRIWKHVWXG\LQLW"

>@)5$1&(6&$*,126R

>@7(5(6$$0$%,/(7KHGRFXPHQWWKDW VFDOOHGVXPPDU\RIUHVXOWVWKDWDFWXDOO\
KDVUHVXOWVVRFOHDUO\DIWHUWKHGDWDZHUHFROOHFWHGWKDWVKRZVDVWHSE\VWHSSURFHGXUH

>@)5$1&(6&$*,12<HVVR

>@7(5(6$$0$%,/(WKDWFOHDUO\LQGLFDWHVWKDWSDUWLFLSDQWVZHUHSDLGIRUWKHLU
SHUIRUPDQFHDQGWKHQWKH\ZHUHWROGWKH\ GKDYHWRJRWRDVHFRQGURRPWRILOORXWDIRUPDERXW
WKDWSD\PHQW

>@)5$1&(6&$*,126R,DSSUHFLDWH\RXSRLQWLQJWKDWRXW$QG,DOVRDSSUHFLDWH
WKDW\RX YHGRQHH[WUDZRUNVLQFHUHDGLQJP\UHVSRQVHVDQGWRGD\7KHSUDFWLFHDORWRIP\
SUDFWLFHVDQGZKDW,GRDUHSUDFWLFHVWKDW,OHDUQIURPDSUHYLRXVPHQWRU$QGRQHSUDFWLFHWKDW,
WRRNRQLVDVFORVHDVSRVVLEOHWRWKHWLPHWKDWDVWXG\LVFRQGXFWHGZULWHLWXSVRWKDWE\WKH
WLPH\RXZULWHWKHSDSHU\RXFDQVHHWKHSURJUHVV

>@%XWWKDWLVVRPHWKLQJWKDW,ZRXOGGRIURPDSURFHGXUDOSHUVSHFWLYHVRPHWLPHV
HYHQEHIRUHUXQQLQJWKHVWXG\$QGWKHQ,ZRXOGDGGWKHUHVXOWVZKHQWKHVWXG\LVFRQGXFWHGDQG
WKHDQDO\VLVDUHFRQGXFWHGDJDLQLQWKHVSLULWRISURJUHVVLQJTXLFNO\$QGWKDWLVVRPHWKLQJWKDW
,JHQHUDOO\GRZLWKRXWJRLQJWRWKH5$DQGVD\LQJLVWKLVDFFXUDWH"7KH5$JHWVWRUHDGWKH
SDSHULQLWVHQWLUHW\DQGVR,WKLQNWKDWWKDWPLJKWKDYHEHHQPHZULWLQJWKLQJVXSDVQRW
QRWLFLQJWKDW,ZDVSXWWLQJGHVFULELQJWKHWDVNDV,XVHGLWLQRWKHUVWXGLHVZLWKRXWWKLQNLQJ
DERXWWKHIDFWWKDWWKDW VWKHVWXG\WRFRQGXFW

>@%XWDJDLQ, PSUHWW\FRQILGHQWWKDW       ZRXOGKDYHEURXJKWWKDWWRP\DWWHQWLRQ
EHFDXVHWKDW VDELJIODZ,WJRHVWRWKHIRXQGDWLRQVRIZKDWH[SHULPHQWVDUHDOODERXW$QGZKHQ
     LQRQHRIRXUHPDLOVVRWKHHUURUVZHQWLQWRWKHSDSHU$QGZKHQZHVKDUHGWKHGUDIWZLWK


                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 235 of 1282




WKHEURDGHUWHDP     ZDVWKHRQHZKRDVNHGDERXWWKDW$QGWKHQ,ZRXOGLPDJLQH,ZHQWWR
      DQGWDONHGWKURXJKWKHSURFHGXUHZLWKKHUDQGWKDWJRWFRUUHFWHG

>@,GRQ WKDYHGUDIWWKDWVKRZVWKDWWKDWZDVHGLWHGDZD\E\PHEXW,ZRXOGLPDJLQH
WKDWEDVHGRQWKHGLVFXVVLRQDQGOHDUQLQJZKDWWKHSURFHGXUHZDVWKDWZDVFRUUHFWHGVRWKDWWKH
SURFHGXUHDFWXDOO\PDWFKHGKRZWKHVWXG\ZDVFRQGXFWHG, PDOVRVXUSULVHGWKDWWKDWKDVQRW
FRPHXSLQWKH\HDUVVLQFH6R,WKLQNWKDW     ZDVVDWLVILHGZLWKWKDWDQVZHUDQGGLGQ WDVN
PRUHDERXWWKDW

>@7(5(6$$0$%,/(6R)UDQFHVFD\RXVDLGDOLWWOHELWHDUOLHUWKDWWKH5$LQ
WKLVFDVH     ZRXOGQRWKDYHVHHQWKHSDSHUXQWLOWKHUHZDVDGUDIWVKHZRXOGQRWKDYHVHHQ
WKHVHWKHZULWHXSRIDQLQGLYLGXDOVWXG\XQWLOVKHVDZWKHGUDIWRIWKHZKROHSDSHU,VGLG,
KHDUWKDWFRUUHFWO\"

>@)5$1&(6&$*,12<HDK,JHQHUDOO\GRQ WVKDUH,FDQWKLQNRIH[DPSOHV
ZKHUHZHKDYHWKHERG\RIWKHSDSHULQWHUPVRIDOOWKHVWXGLHV$QGWKHQDVWKHDV,ZULWHXS
WKHLQWURGXFWLRQWKH5$UHYLHZVWKHVWXG\%XWDJDLQWKDW VDSUDFWLFHWKDWLVPRUHUHFHQW

>@7(5(6$$0$%,/(6RZKHQ\RXZHUHZRUNLQJZLWK                 ZRXOG\RXEHPRUH
OLNHO\WRVKRZKHUMXVWWKDWHDUO\TXLFNZULWHXSWKDW\RXGLGDVVRRQDVWKHGDWDZHUHDQDO\]HG"

>@)5$1&(6&$*,121RVKHZRXOGVHHWKHSDSHU$QGLQIDLUQHVVZLWK                   ,
GRQ WWKLQNVKHUHDGDOOWKHSDSHUVWKDW, YHZULWWHQVLQFHWKHODEZDVUXQQLQJDORWRIVWXGLHV6R
VKHKDGPDQ\PRUHUHVSRQVLELOLWLHVWKDWZHUHUHODWHGWRUXQQLQJVWXGLHVUDWKHUWKDQFKHFNLQJ
W\SRVRQGUDIWV,I,WKLQNDERXWP\5$QRZLW VPRUHEDODQFHGZKHUHVKHUHDGVPDQ\PRUH
GUDIWVIRUDFFXUDF\DQGW\SRVUDWKHUWKDQQRW6R,FDQ WEHVXUHVLQFHZHDUHWDONLQJDERXW
VRPHWKLQJWKDWKDSSHQHGPDQ\\HDUVDJREXW,GRQ WEHOLHYHWKDWVKHVDZWKHLQLWLDOZULWHXSRI
WKHVWXG\

>@7(5(6$$0$%,/(6R\RXGRQ WWKLQNDUH\RXVD\LQJWKDW\RXGRQ WWKLQNVKH
VDZWKDWILUVWGUDIWRIWKHPDQXVFULSW

>@)5$1&(6&$*,127KDW VH[DFWO\

>@7(5(6$$0$%,/(WKDWZHMXVWVFUHHQVKDUHG,VWKDWFRUUHFW"

>@)5$1&(6&$*,127KDW VH[DFWO\ULJKW

>@7(5(6$$0$%,/(7KDW VZKDW\RX UHVD\LQJ

>@)5$1&(6&$*,12,WKLQNWKDWZKHQVKHKHDUGDERXWWKHSURFHGXUHLVZKHQ
     SRLQWHGWKDWRXWDQG,ZHQWDQGWDONHGWRKHU7KDW V,WKLQNZKDWKDSSHQHG%XWDJDLQ
ZH UHJRLQJEDFNVRPXFKLQWLPHVWKDW,FDQ WEHVXUH

>@7(5(6$$0$%,/(2.%REGR\RXGR\RXKDYHIROORZXSVRQWKDW


                                                  

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 236 of 1282




>@52%(57.$3/$1,GR6RJHWWLQJEDFNWRWKHGRFXPHQWVDERXWWKHPDWUL[WHVW
DQG\RXVDLGWKDWWKLVLVDFRPPRQO\XVHGWHVW

>@)5$1&(6&$*,120PKPP

>@52%(57.$3/$1$QGVR, PVXSSRVLQJ\RX UHVD\LQJWKDWLQPDQ\RIWKH
XVHVWKHSDUWLFLSDQWVJRWSDLGLPPHGLDWHO\DIWHUWKHPDWUL[WHVWZDVGHOLYHUHGWRWKHP,Q\RXU
LQWKLVSDUWLFXODUH[SHULPHQWWKDWGLGQ WKDSSHQ%XWLQPDQ\

>@7(5(6$$0$%,/(:DLW,MXVWZDQWWRVD\IRUWKHUHFRUG)UDQFHVFD VQRGGLQJ
DV%RELVWDONLQJ

>@52%(57.$3/$1<HV$QGEXWLQWKLVSDUWLFXODUH[SHULPHQWJLYHQWKH
UHVHDUFKGHVLJQ\RXGHIHUUHGWKHSD\PHQWXQWLOWKH\ZHQWWKURXJKWKHVLJQLQJWUHDWPHQWVFRSH
$QGVRLVWKHH[SODQDWLRQRIWKHGRFXPHQWVWKDW7HUHVDDQG,ZHUHORRNLQJDWLVWKDW\RXZHUH
NLQGRIXVLQJWKHVWDQGDUGSURWRFROIRUWKHPDWUL[WHVWDVLWZDVGRQHE\PDQ\RWKHUSHRSOHEXW
WKDWZDVQRWDFWXDOO\ZKDWKDSSHQHGLQWKLVSDUWLFXODUH[SHULPHQW"<RXZHUHXVLQJWKHIRUPV
IURPWKHVWDQGDUGPDWUL[WHVWZKHUHPRVWSHRSOHZHUHJHWWLQJSDLGULJKWDIWHUFRPSOHWLRQEXWLQ
DFWXDOLW\WKHSURFHVVGLGQ WSD\WKHPDVLWZDVGHVFULEHGLQWKRVHGRFXPHQWV,VWKDWFRUUHFW",V
WKDW\RXULQWHUSUHWDWLRQRIWKH

>@)5$1&(6&$*,12,DPRQHRIWKHSHRSOHZKRXVHWKHPDWUL[WDVNDORW$QGVR
,EHOLHYHWKDWLQWKHVSLULWRIOHYHUDJLQJWKHKHOSRI  HYHQWKHPDWHULDOV,VHQWKHUH VWKH
PDWUL[WDVNDVZHXVHGLWLQWKHSDSHUWKHSDSHUDQGWKDWVKHSUHSDUHGLWIRUWKH
H[SHULPHQW$QGZKHQLWZDVWLPHWRZULWHWKLQJVXSDVZHZHUHZDLWLQJIRUWKHUHVXOWV,
LPDJLQH,MXVWEURXJKWXSWKHSURFHGXUHDV, PXVHGWRUXQQLQJWKHVWXG\UDWKHUWKDQWKLQNLQJ
FDUHIXOO\DERXWYDULDWLRQVWKDWZHUHPDGH$QGDJDLQ, PVD\LQJWKLVWU\LQJWRUHFRQVWUXFW
KLVWRU\

>@%XWDOVRRQWKLVRQH,IHHOVWURQJO\EHFDXVHLW VVXFKDIRXQGDWLRQDODVSHFWRI
H[SHULPHQWDOUHVHDUFKWKDWLWMXVWVHHPVLPSRVVLEOHWRPHWKDW,ZRXOGUXQDVWXG\RUWKDW      
ZRXOGUXQDVWXG\ZLWKWKHGHSHQGHQWPHDVXUHEHIRUHWKHPDQLSXODWLRQ7KLVLVDOVRDVWXG\WKDW
ZHSLORWHGVLQFH,UHPHPEHULQLWLDOO\WKHUHZDVQ WDOLPLWRQWKHQXPEHURIH[SHQVHV$QGZH
KDGVRPHSDUWLFLSDQWVFKHDWLQJE\UHDOO\ODUJHDPRXQWVRIPRQLHVDQGVRZHFDSSHGLWWR
UHDVRQDEOHH[SHQVHVIRUDFRVWWKDWSDUWLFLSDQWVPLJKWKDYHVXVWDLQHGLQFRPLQJIURPPDLQ
FDPSXVWRWKHEXVLQHVVVFKRROZKHUHWKHODEZDV

>@52%(57.$3/$12.%XWWKHRQHRWKHUGRFXPHQWZKLFKLVWKHWD[GRFXPHQW
LWVHOIWKDWKDGVLJQHGLQWKHVWDWHPHQWVWKDWZHUHZULWWHQLQWKHSDVWWHQVHDVLIWKH\KDGDOUHDG\
UHFHLYHGWKHPRQH\HYHQWKRXJKWKH\ZRXOGQ WKDYHXQWLOWKH\KDGLQDZD\VLJQHGWKH
GRFXPHQW$QGWKDWZDVDOVRSRLQWLQJLQWKHGLUHFWLRQWKDWWKH\KDGEHHQSDLGDOUHDG\VLQFHWKH\
ZHUHGHVFULELQJLWZDVZULWWHQLQWKHSDVWWHQVHQRWLQ\RX UHDERXWWRJHWWKLVSD\PHQWRUWKH
SD\PHQWUHFHLSW,ZLOOUHFHLYH

>@)5$1&(6&$*,12<HDK$QGVRDJDLQP\H[SODQDWLRQLVWKDWWKRVHDUHWKH
GRFXPHQWVDVXVHGLQSULRUVWXGLHV3DUWRIWKHUHDVRQZK\,DOVRVD\FRQILGHQWLVWKDWDJDLQZH

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 237 of 1282




KDGWRUHUXQWKHVWXG\DJDLQZKHQZHZHUHORRNLQJDWUHSOLFDWLRQVHIIRUWIRUWKLVSDSHU$QGVR,
ZRXOGLPDJLQHWKHGRFWRUDOVWXGHQWVWKDWZHUHOHDGLQJWKLVHIIRUWWRSRLQWWKLVRXWWRPHDV
SUREOHPDWLFLIWKDWZDVKRZWKHVWXG\ZDVFRQGXFWHG

>@7(5(6$$0$%,/()ROORZXSIRUPHRQWKDWVR\RXXVHGWD[IRUPVLQ
SUHYLRXV\RXKDGXVHGWD[IRUPVLQSUHYLRXVVWXGLHV",VWKDWZKDW\RXMXVWVDLG"

>@)5$1&(6&$*,121RQRQRQR

>@7(5(6$$0$%,/(1R2.QR

>@)5$1&(6&$*,126RUU\DSRORJLHV6RLQDODUJHUWHDPSXEOLVKHGD
SDSHUWKDWIDLOHGWRUHSOLFDWHWKHSDSHU$QGDVSDUWRIRXUUHSOLFDWLRQVHIIRUWZHUHYLHZHG
WKHSURFHGXUHVXVHGLQWKHRULJLQDOSDSHUWRWKHQUXQWKHVWXG\VLPLODUO\LQRWKHUODEV$QGVR,
ZDVPHQWLRQLQJWKDWDVDQH[WUDRSSRUWXQLW\IRUSHRSOHWRSRLQWWRIODZHGSURFHGXUHVLIWKDWZHUH
WKHFDVH$JDLQLW VVRIRXQGDWLRQDOWRZKDWZHGRLQH[SHULPHQWDOUHVHDUFKWKDWLWVHHPHGLW
VHHPVDUHDOO\GLIILFXOWIODZWRKDYHKDSSHQHGLQWKHUXQQLQJRIWKHVWXG\

>@7(5(6$$0$%,/(2.$QG%REUDLVHGWKHTXHVWLRQRIWKHSDVWWHQVH
DSSHDULQJRQWKDWWD[IRUP³SD\PHQW\RXUHFHLYHG´

>@)5$1&(6&$*,126RUU\,

>@7(5(6$$0$%,/(IRUWKHSUREOHPVROYLQJWDVN6RKRZFDQ\RXDGGUHVVWKDW
SDVWWHQVH"

>@)5$1&(6&$*,12,DSSUHFLDWHSRLQWLQJWKDWRXWVLQFH,KDYHPLVXQGHUVWRRG
SDUWRI\RXUTXHVWLRQ%RE,DSRORJL]H6RIRUWKHWD[IRUPLVSD\PHQWUHFHLYHGLQWKHVHQVHRI
\RXFRPSOHWHGWKDWSDUWRIWKHWDVNEXWQRWUHFHLYHGSK\VLFDOO\$QGVR,GRQ WWKHSDVWGRHVQ W
SRLQWWRDQDFWLRQDVLWRFFXUUHGSK\VLFDOO\RI\RXUHFHLYLQJWKHPRQH\,W VPRUHSD\PHQWWKDW
\RXUHFHLYHGEDVHGRQKRZ\RXSHUIRUPHG

>@52%(57.$3/$17KLVPLJKWEHDQDFFRXQWDQW VTXLEEOHKHUHEHFDXVH\RX
GLVWLQJXLVKEHWZHHQHDUQHGDQGUHFHLYHG

>@)5$1&(6&$*,127KDW VULJKW

>@52%(57.$3/$15HFHLYHGLPSOLHVWKDWWKHFDVKKDVRFFXUUHGWUDQVIHUKDV
RFFXUUHG(DUQHGLVWKHZD\H[DFWO\\RXGHVFULEHLW<RX YHHDUQHGLWWKURXJK\RXUSHUIRUPDQFH
RQWKHWHVW

>@)5$1&(6&$*,12<HS

>@52%(57.$3/$1,WPLJKWKDYHEHHQDPRUH,GRQ WNQRZ

>@)5$1&(6&$*,12<HDK

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 238 of 1282




>@52%(57.$3/$1)HOLFLWRXVWHUPWRKDYHXVHG

>@)5$1&(6&$*,12<HDKDQG,DSSUHFLDWHLW$QGLQIDFW, PVRUWRIVPLOLQJ
LQWHUQDOO\VD\LQJWKDW VWKH,WDOLDQRIPHQRWWKLQNLQJDERXWTXDOLILFDWLRQRIWKHULJKWZRUGV
$JDLQLQWKLQNLQJDERXWWKHSURFHGXUHVP\FRDXWKRUVORRNHGWKHPRYHU$QGVRDVWKH(QJOLVK
VSHDNLQJRQH,WKLQNHDUQHGPLJKWKDYHEHHQDEHWWHUZRUGLQOLJKWRIZKDW\RX UHVXJJHVWLQJ

>@7(5(6$$0$%,/(2.%REDUHZHJRRGWRJRRQWRTXHVWLRQ"

>@52%(57.$3/$1<HV

>@7(5(6$$0$%,/(2.

>@52%(57.$3/$1<HS

>@7(5(6$$0$%,/(,Q\RXUZULWWHQUHVSRQVHIURPODVWZHHN)UDQFHVFD\RX
LQGLFDWHGWKDWWKHUHZDVUHOHYDQWHPDLOFRUUHVSRQGHQFHLQLQER[IROGHUVODEHOHG              
               DQG               7KRVHDUH\RXUFRDXWKRUVRQWKHRULJLQDOSDSHU:H
KDYHEHHQXQDEOHWRILQGVXFKIROGHUVRUUHOHYDQWFRUUHVSRQGHQFHLQWKHSUHYLRXVO\VHTXHVWHUHG
PDWHULDOIURP\RXUKDUGGULYH

>@:HQHHGWRNQRZZKHUHRQ\RXUKDUGGULYHWKLVFRUUHVSRQGHQFHFDQEHIRXQG6R
ZRXOG\RXSOHDVHJLYH$ODLQWKLVLQIRUPDWLRQE\FORVHRIEXVLQHVVWRGD\$QGDGGLWLRQDOO\E\
FORVHRIEXVLQHVVWRGD\ZH GOLNH\RXWRSOHDVHSURYLGH$ODLQZLWKFRSLHVRIDOOIROGHUV
GRFXPHQWVDQGFRUUHVSRQGHQFHUHOHYDQWWRWKLVVWXG\LQFOXGLQJDQ\FRUUHVSRQGHQFH\RXPD\
KDYHH[FKDQJHGZLWK               RWKHU5$VRU\RXUSDSHUFRDXWKRUVGLUHFWO\IURP\RXULQER[
RUDQ\RWKHUORFDWLRQZKHUHWKH\PD\EHVWRUHG

>@)5$1&(6&$*,126R\RXDOUHDG\KDYHWKDWGDWDVLQFH

>@7(5(6$$0$%,/(<HDKZHMXVWGRQ WNQRZZKHUHWRILQGLW

>@)5$1&(6&$*,12,W VLQP\LQER[$QGWKHUHDUHLI, PJRLQJWRRSHQXSP\
LQER[ULJKWQRZVRWKDW,FDQWKHZD\,WHQGWRVWRUHGDWDLVWKDWXQGHULQER[WKHUHDUH
JHQHUDOO\QDPHV6RLI,ZHUHWRUHDGQRZLW V                                            $ODLQ
DQGWKHUH,SXW,GRQ WOLNHWRKDYHIXOOLQER[HV$QGVRZKHQ,UHDGWKURXJKWKHGDWDLIWKH
HPDLOGRHVQ WVHHPWREHVXEVWDQWLDO,VRPHWLPHVGHOHWHLW2ULILW VWUDVK,GHOHWHLW

>@$QGLIQRW,SXWLWLQWKHIROGHURIWKHSHUVRQDOSURMHFWVZKHUHLWEHORQJV,WKLQN
WKDWSDUWRIWKHGLIILFXOW\LVWKDWZKHQ,PRYHGLQZKHQ,PRYHGWR+DUYDUGLQWKHLQLWLDO\HDUV
+DUYDUGKDGDORWRIOLPLWVRQGDWDWKDWFRXOGEHVDYHGLQRQH VLQER[$QG,WKLQNIRUDZKLOH,
VWDUWHGRIIORDGLQJSDSHUVJHWWLQJ3')RIHPDLOV$QGLWEHFDPHDUHDOO\DUGXRXVWDVNZKHQ\RX
UHFHLYHPXOWLSOHKXQGUHGVRIHPDLOVHYHU\GD\

>@$QGVR,EHOLHYHWKDWP\LQER[LVORFDORQP\FRPSXWHUZKLFKLVZK\\RXDOVR
KDYHLW$QGVRDQ\WKLQJWKDWFRPHVWKURXJKJHWVSXWLQWRWKRVHIROGHUV,GRQ WWKLQN,KDYHD

                                                  

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 239 of 1282




different way of explaining it. But when the data was sequestered on October 27, I mentioned
this to Alain, as well as the IT person who was there. And so I know that it exists and was copied
over.

[01:51:05.15] And then the other thing that I would add is that for projects where there are
multiple coauthors, unfortunately, I don't have a consistent system. And so the reason why you
might want to look into the              one or the             one for each of the coauthors is
because I don't-- I was inconsistent in putting them by primary author.

[01:51:32.24] TERESA AMABILE: OK. So yeah, OK. But you're saying-- let me just make sure
I understand. Under your inbox--

[01:51:41.27] FRANCESCA GINO: Yeah.

[01:51:42.44] TERESA AMABILE: --on your hard drive--

[01:51:44.15] FRANCESCA GINO: Yeah.

[01:51:44.66] TERESA AMABILE: --we should be able to find-- there's inbox at the high, high
level. And then subfolder under inbox for      subfolder for                subfolder for
          subfolder for

[01:51:59.75] FRANCESCA GINO: That's exactly right.

[01:52:00.65] TERESA AMABILE: And it sounds like what we should see when we look at the
hard drive that was sequestered, the copy that was sequestered on October 27. We should see
them, it sounds like, alphabetized by first name?

[01:52:16.01] FRANCESCA GINO: That's exactly right.

[01:52:17.91] TERESA AMABILE: OK, we will take another look there. And I'm going to say
that I'm going to be tasking Alain with something. I'm going to ask Alain to yourself, or with an
IT person if necessary, to look again in the inbox for all of that today. And, Francesca, can you
be available to Alain later today, if he were to reach out to you with questions about-- if there's
continuing difficulty finding those subfolders?

[01:52:59.31] FRANCESCA GINO: Yes, and if you want, I can screen share so that you see
what I'm talking about. If that's helpful, I'm happy to--

[01:53:05.15] TERESA AMABILE: If you wouldn't mind, if you could--

[01:53:07.53] FRANCESCA GINO: Absolutely.

[01:53:09.80] TERESA AMABILE: I don't know if you have the ability to screen share, unless
whoever is running the show-- that could be Alma-- gives you the ability to screen share. But


                                                 30
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 240 of 1282




WKDWVKRXOGSRSXSLQMXVWDVHF<HDK$OPDVD\V\HDKVKH VGRLQJWKDW6RKRSHIXOO\\RXQRZ
KDYHWKHDELOLW\WRVFUHHQVKDUH

>@)5$1&(6&$*,126RWKLVLVP\LQER[$QGVRDV\RXFDQVHHWKLVLVZKDW
VWD\VRQWKHFORXG%XWWKHQ

>@7(5(6$$0$%,/(6RDUH\RXOLQNLQJVRXQGHUDOODFFRXQWVXSWKHUH

>@)5$1&(6&$*,12<HDK6RZKDW\RXQHHGWRPRYHGRZQ,WVD\VRQP\
FRPSXWHU

>@7(5(6$$0$%,/(2QP\FRPSXWHU2.

>@)5$1&(6&$*,12$QGVRLI\RXVHHWKHUHLVEDVLFDOO\DORWRIWKHSHRSOH,
ZRUNZLWKDQGWKHQIRUVRPHRIWKHPFRQIHUHQFHVFRQVXOWLQJ

>@7(5(6$$0$%,/(:DLW-XVWJRXSDVHFRQG6R,WKLQN,VDZ                       V
QDPHDWWKHERWWRP

>@)5$1&(6&$*,127KDW VH[DFWO\ULJKW

>@7(5(6$$0$%,/(<HDK<HDK*RWLW*RWLW<HDK

>@)5$1&(6&$*,12$QGVR\RXFDQVHHWKHHQWLUHFRUUHVSRQGHQFH7KHRQO\
LVVXHWKDW,DPJRLQJWRKLJKOLJKWIRU\RXLVWKDW,GRQ WKDYH,WKLQN,VKRXOGKDYHEXW,GRQ W
KDYHDVWDQGDUGSUDFWLFH$QGVRLIDQHPDLOKDVPXOWLSOHFRDXWKRUV, PQRWVXUH,KDYHZKDW V
WKHUXOH"

>@,SXWLWLQWKHSHUVRQZKRDWWKHWLPHVHHPVWREHGULYLQJWKHSURFHVVRUPD\EHWKH
SHUVRQZKRZURWHWKHHPDLODQGVRXQIRUWXQDWHO\\RX UHFKHFNLQJDFURVVGLIIHUHQW

>@7(5(6$$0$%,/(2.

>@)5$1&(6&$*,12IROGHUV$QGVRKHUH VWKHRQHIRU           $QGWKHQ

>@7(5(6$$0$%,/(&DQ\RXMXVWVRZH UHORRNLQJDWWKHRQHIURP             

>@)5$1&(6&$*,12<HDK

>@7(5(6$$0$%,/(6RWKHVHFRQGFROXPQKHUHFDQ\RXJRGRZQDQGFDQ\RX
VKRZXV"'R\RXDFWXDOO\KDYHHPDLOVJRLQJEDFNWR"

>@)5$1&(6&$*,126R,

>@7(5(6$$0$%,/(<HV\RXGRLWORRNVOLNH


                                                

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 241 of 1282




>@)5$1&(6&$*,12<HDKVR,KDYHDQGDJDLQEHFDXVHRIWKHZD\+%6ZDV
JLYLQJOLPLWV,NQRZIRUDIDFWWKDWQRWHYHU\VLQJOHHPDLOLVWKHUH$QGDJDLQ,GRQ WKDYHDUXOH
LIZHDUHZRUNLQJUHDOO\DFWLYHO\RQDSDSHUEDFNDQGIRUWKDQGZHNHHSH[FKDQJLQJWKURXJKRXW
WKHZHHN,PLJKWGHOHWHRQHVRWKDW,GRQ WKDYHWRFDWHJRUL]HLQWRIROGHUV

>@$QGVRLWUHDOO\YDULHV,W VSUREDEO\DSUDFWLFHZKHUH,QHHGUXOHV

>@7(5(6$$0$%,/(<RXNQRZLWORRNVWRPHIURPMXVWDOLWWOHVNLPKHUHRIWKH
ILUVWOLQHWKDWWKHSDSHUZDVVXEPLWWHGLWORRNVOLNHLQ1RYHPEHURIWR31$6, PORRNLQJ
DWWKHILIWKRUVL[WKRQHIURPWKHERWWRPGDWHG³/HW VKRSHIRUJRRGQHZV´

>@)5$1&(6&$*,12<HDK1RWKLVLVDGLIIHUHQWRQHVRUU\7KLVLVDSDSHUZLWK
    DQG        ,FDQWHOO\RXWKDWVLQFH, GIRXQGZKDWDSSHDUHGWREHLQDQHPDLOLQWKHIROGHU
          6RLI\RXGRQ WPLQG, OOPRYH

>@7(5(6$$0$%,/(<HDKOHW VJRWKHUH,WMXVWORRNVWRPHOLNHWKHHDUOLHVW
HPDLOLQKHUHZLWK     LV2FWREHURI%XWPD\EH\RXGLGQ WVFUROOGRZQDOOWKHZD\
6R

>@)5$1&(6&$*,121RWKDW,WKLQNLVDFFXUDWH$QGLQWKHVHQWIROGHU,GRQ W
LWVHHPVOLNHWKHUHDUHDIHZIURP,W VIURPDQGWKHQDIHZDUHPLVVLQJ, PQRW
HQWLUHO\VXUHZKDWKDSSHQHGWKHUH%XWLI,JR

>@7(5(6$$0$%,/(<HDKOHW VJRWRWKHHDUOLHVWWKDW\RXKDYHIURP                  

>@)5$1&(6&$*,126RWKHUHLVDQHPDLORQ0DUFKWKLQVRWKLVLVWKH
ZULWHXSWKDWWKH\VHQW

>@7(5(6$$0$%,/($QGWKDW VZKDW VFDOOHG,WKLQNVWXG\LQWKHSDSHU"7KH
LQVXUDQFHH[SHULPHQW

>@)5$1&(6&$*,126RWKLVLVWKHRQH6RWKLVLVZKDWFDXJKWP\DWWHQWLRQ,W
VD\VLQVWXGLHVDQGLW VXQFOHDUZK\ZHILQGGLIIHUHQW>,1$8',%/(@VLQFHWKHFROOHFWLRQ
VOLSLVVXEPLWWHGEHIRUHWKHWD[IRUP&RXOGLWEHWKDWWKHUHZDVQRFROOHFWLRQVOLS"

>@6RWKDW V,WKLQNLVWKHSRLQWZKHUHWKHREVHUYDWLRQZDVPDGHDQG,ZHQWEDFNWR
       WRWDONWKURXJKWKHSURFHGXUHV$QGVR,ZRXOGDSSUHFLDWHLI\RXGRWKLVVHDUFK\RXUVHOI
:KHQ,ORRNWKURXJKP\HPDLO,GRQ WKDYHLWVHHPVOLNHWKHLVVXHZDVUHVROYHGLQWKHQH[W
GUDIW$QGWKHQZHPRYHGRQ

>@7(5(6$$0$%,/(6RWKHYHUVLRQWKDW VDWWDFKHGWRWKLV                    HPDLOLV
WKHYHUVLRQZKHUHVKHVDLGVKHVDZWKLVSUREOHP³,W VXQFOHDU´

>@)5$1&(6&$*,127KDW VH[DFWO\ULJKW




                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 242 of 1282




>@7(5(6$$0$%,/(2.$QGWKHQ\RXDQGWKHQLWZDVUHVROYHGLQWKHQH[W
YHUVLRQ\RXWKLQN%XW\RXKDYHEHHQDUH\RXVD\LQJWKDW\RX YHEHHQXQDEOHWRILQGDQHPDLO
WKDWKDVWKDWQH[WYHUVLRQZKHUHLWKDGEHHQFRUUHFWHG"

>@)5$1&(6&$*,126RIRUUHDVRQVWKDW,GRQ WXQGHUVWDQGDQG,7GRHVQ WHLWKHU
EXWZKHQ,JRWRP\VHQWIROGHU,DPPLVVLQJDORWRIWKHHPDLOVIURPDQGVRPHRI
,GRQ WNQRZZK\$QGVR,GRQ WNQRZ,GRQ WNQRZKRZWRWUDFNGRZQZKHWKHU,ZDVWKH
RQHZKRHGLWHGRXWWKHSLHFHRILQIRUPDWLRQ

>@%XWDJDLQ,WKLQNWKDWZDVDFRQYHUVDWLRQOLNHO\ZLWK     %XWZKDW, P
VXJJHVWLQJIRU\RXLI\RXZDQWWRXQGHUVWDQGWKHSDSHUGUDIWVWKDWPD\EHDUHQRWVDYHGDQGPD\
EHRQDQHPDLODWWDFKPHQWWKDWXQIRUWXQDWHO\\RXKDYHWRJRWR         <RXKDYHWRJRWR    
      <RXKDYHWRJRWR     DQG\RXKDYHWRJRWR            

>@7(5(6$$0$%,/(<HDK

>@)5$1&(6&$*,12$QGIRU            KLVIROGHULVXQGHU+%6120XQLWVRWKDWLV
WKHUH

>@7(5(6$$0$%,/(6R\RXKDYHUHVHDUFKUHOHYDQWFRUUHVSRQGHQFHDOO
FRUUHVSRQGHQFHZLWK  LVXQGHUWKDW+%6120XQLWVXEIROGHU

>@)5$1&(6&$*,12<HS

>@7(5(6$$0$%,/(8QGHU+%6XQGHULQER[RQP\FRPSXWHU

>@)5$1&(6&$*,127KDW VULJKW

>@7(5(6$$0$%,/(2.,WKLQN, YHJRWWKDW$ODLQ, PJRLQJWRDVN\RXWR
JLYHHLWKHUJLYHDWKXPEVXSWKDW\RXWKLQN\RX YHJRWLQIRUPDWLRQIURPWKHVFUHHQVKDUHDQG
ZKDW)UDQFHVFDMXVWZHQWWKURXJKWKDW VJRLQJWREHXVHIXOWR\RXRUPD\EH\RXFRXOGMXVWFRPH
RQDQGVD\LI\RXIHHOWKDW\RXZLOOQHHGDFRQYHUVDWLRQZLWK)UDQFHVFDDERXWWKLVODWHUWRGD\

>@$/$,1%21$&266$:RXOGWKLVEHDJRRGWLPHIRUXVWRWDNHDEUHDNVRWKDW
ZHFDQFRQIHUZLWKWKHFRPPLWWHHIRUDIHZPLQXWHV"

>@7(5(6$$0$%,/(<HDKOHW VGRWKDW/HW VGHILQLWHO\GRWKDW$QGWKHQZH OO
FRPHEDFNDQGZH OOPRYHRQWRMXVWWRWKDWYHU\ODVWDOOHJDWLRQ%

>@)5$1&(6&$*,127KHUHDVRQMXVWVRWKDWZH UHFOHDUVRLQWKDW VZKHQ
ZHVXEPLWWHGWKHSDSHU%XWWKHSDSHUZDVVXEPLWWHGWRRWKHUMRXUQDOVSULRUVR,EHOLHYHWKDWZH
ZHQWWKURXJK2%+'3ILUVW,FDQORRNDWWKDWMXVWWREHVXUH

>@7(5(6$$0$%,/(7KDQN\RX7KDQN\RXIRUWHOOLQJXVWKDW2.<HDK:K\
GRQ WZHWDNHDEUHDN", PJRLQJWRVD\ILYHPLQXWHVDQG)UDQFHVFDDQG6\GQH\ZH OOSXW\RX
LQWRWKHEUHDNRXWURRPOLNHEHIRUH$QG\RX OOVHHDFRXQWGRZQZKHQWKHUH VRQHPLQXWHOHIW

                                               

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 243 of 1282




>@:HZLOOWU\WRFRPHEDFNLQILYHPLQXWHV,GRQ WWKLQNZH OOQHHGPRUHWKDQWKDW,W
PD\EHDPLQXWHRUWZRRYHUWKDWEXWZH OOWU\WRGRLWYHU\TXLFNO\RXUOLWWOHFRQIHUHQFHKHUH
7KDQN\RX$SSUHFLDWHWKDW$SSUHFLDWHWKHVFUHHQVKDUH

>%5($.@

>@7(5(6$$0$%,/(2.7KDQN\RX6RZH UHQRZJRLQJWRWXUQWRDOOHJDWLRQ
%ZKLFKDOVRFRQFHUQVWKDWVDPHVWXG\VWXG\RQHLQWKH31$6SDSHURQVLJQLQJDWWKH
EHJLQQLQJGHFUHDVLQJGLVKRQHVW\6RDSDUWIURPZKDWZDVFRYHUHGLQ\RXUZULWWHQUHVSRQVH
)UDQFHVFDDUHWKHUHDQ\GHVFULSWLRQVRIRUDVVHUWLRQVDERXWWKLVVWXG\RULWVGDWDLQWKHILUVW
LQTXLU\FRPPLWWHHPHPRRI-DQXDU\WKDWLQ\RXUYLHZDUHLQFRUUHFWWKDW\RXKDYHQ WDOUHDG\
PHQWLRQHG"

>@)5$1&(6&$*,121R, PMXVWVD\LQJWKDW,GRQ WEHOLHYHWKDWWKHUHLVDQHUURU
LQWKHGDWD

>@7(5(6$$0$%,/(2.VRIRUWKLVQH[WTXHVWLRQZH UHJRLQJWRORRNDWSDJH
LQWKHILUVWLQTXLU\FRPPLWWHHPHPRZKLFKVKRZVSDUWRIWKH26)GDWDVHWXVHGE\WKH
FRPSODLQDQW$QG$ODLQ, PJRLQJWRDVNLI\RXFDQVFUHHQVKDUHWKDWSDJH

>@2.WKLVWDEOHVKRZVHLJKWOLQHVRIGDWDKLJKOLJKWHGLQ\HOORZWKDWDUHRXWRIVRUW
6RZH OOMXVWWDNHDIHZVHFRQGVWRORRNDWWKDW:H YHDOOVHHQWKLVLQWKHPHPR2.DQG$ODLQ
FRXOG\RXQRZPRYHWRSDJHVRZHFDQORRNDWWKHSORW"2.7KDW VODUJHRQP\VFUHHQ,VLW
YLVLEOHWR\RX)UDQFHVFDDQGWR\RX%RE"<HV"

>@52%(57.$3/$1<HVLWLV

>@7(5(6$$0$%,/(2.7KLVSORWVKRZVDVWURQJGLUHFWLRQDOLW\WRWKH
DQRPDORXVRXWRIVRUWUHVSRQVHVZKLFKDUHDJDLQLQGLFDWHGE\UHGFLUFOHVZLWKUHG;VLQWKHP
$JDLQWKHGLUHFWLRQDOLW\RIWKHVHDQRPDORXVGDWDSRLQWVLVWKDWWKH\VWURQJO\VXSSRUWWKH
K\SRWKHVL]HGHIIHFW

>@6RZH OOWDNHDIHZPRPHQWVWRVWXG\WKDW2.$ODLQ\RXFDQVWRSWKHVFUHHQ
VKDUH$QG)UDQFHVFDFDQ\RXH[SODLQWKHDQRPDORXVRXWRIVRUWUHVSRQVHVLQWKRVHHLJKWOLQHV
RIGDWDDQGWKHIDFWWKDWWKHSORWUHYHDOVWKDWWKRVHSDUWLFXODUOLQHVRIGDWDVWURQJO\VXSSRUWWKH
K\SRWKHVL]HGHIIHFW"

>@)5$1&(6&$*,12)RUVWXGLHVWKDWZHUHFRQGXFWHGLQWKHODEDW81&ZHXVHG
LQGH[FDUGVWKDWZRXOGEHJLYHQWRSDUWLFLSDQWVDQGVRPHWLPHVEHUHXVHGDFURVVVHVVLRQVDQGVR
WKHIDFWWKDWWKHQXPEHUVDUHWKHZD\WKH\DUHLQWKH,'GRHVQ WVHHPSUREOHPDWLFWRPHVLQFH
DJDLQ,WKLQNZH UHXVHGWRDODEDW+DUYDUGDVZHOODVLQPDQ\RWKHUXQLYHUVLWLHVZKHUH\RX
KDYHSDUWLFLSDQWVDWWKHVDPHWLPHRUSDUWLFLSDQWVDWWKHVDPHWLPH

>@7KLVZDVDODEZKHUHRIWHQWKHUHZHUHWKUHHIRXUDWDPD[LPXPHLJKWSDUWLFLSDQWV
$QGVR,GRQ WEHOLHYHWKDW VDQHUURU$JDLQLQWKHVSLULWRIWKLQNLQJWKURXJKWKHVWDQGSRLQWRI
UXQQLQJGDWDTXDOLW\LI\RXORRNDWWKHJUDSKZLWKDOOEOXHGRWVZLWKRXWWKHUHGRQHVQRWKLQJ

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 244 of 1282




ZRXOGKDYHSRSSHGRXWWRPHDVDSUREOHPDWLFRWKHUWKDQZLWKWKHH\HVRIWKDWUXQQLQJD
VWXG\ZLWKVRIHZSDUWLFLSDQWVLVSUREDEO\ZDVJRRGSUDFWLFHWKHQSUREDEO\QRWJRRGSUDFWLFH
WRGD\

>@,WULHGWRUXQVLPXODWLRQVE\WDNLQJRWKHUIHZGDWDSRLQWVWKDWQRWQHFHVVDULO\KDYH
QXPEHUVOLNHQXPEHUVDERYHDQGVRWKHUHVXOWVJHWVKLIWHGVRPHWLPHVLQVXSSRUWDQG
VRPHWLPHVQRWLQVXSSRUWRIWKHK\SRWKHVLV

>@7(5(6$$0$%,/(6ROHWPHMXVWIROORZXSTXLFNO\RQWKDW:KHQ\RXWDONHG
DERXWWKH,'FDUGVWKDWZRXOGEHKDQGHGWRSDUWLFLSDQWVZKHQWKH\FDPHLQWRWKHODEWZRWKUHH
XSWRPD\EHHLJKWDWDWLPHWKH\ZRXOGEHJLYHQDFDUGNLQGRIUDQGRPO\,JXHVVZLWKD
SDUWLFLSDQW,'QXPEHU

>@)5$1&(6&$*,120PKP

>@7(5(6$$0$%,/(6RWKDW VLQUHIHUHQFHWRWZRRIWKRVHHLJKWKLJKOLJKWHG
SRLQWVWKDWZHMXVWORRNHGDW

>@)5$1&(6&$*,12<HS

>@7(5(6$$0$%,/(7KHRQHVWKDWKDYHWKHGXSOLFDWH,'QXPEHURI"

>@)5$1&(6&$*,12<HS

>@7(5(6$$0$%,/(<HDK

>@7(5(6$$0$%,/(,MXVWZDQWHGWRP\TXHVWLRQLVGRHVLWVHHPVXUSULVLQJWR
\RXWKDWWKHUH VRQO\RQHGXSOLFDWHLGHQWLILFDWLRQQXPEHULIWKDWZDVWKHSUDFWLFHLQWKLVODEUDWKHU
WKDQVHYHUDOGXSOLFDWHLGHQWLILFDWLRQQXPEHUVLQWKLVGDWDVHW"

>@)5$1&(6&$*,126RZLWKWKHH\HVDQGPLQGRIWRGD\LQOLJKWWKDWHYHU\WKLQJ
WKDWKDVKDSSHQHGRYHUWKHODVWPDQ\PRQWKV,WKLQN,ZRXOGJRDQGDVN         DQGVD\KH\
       WKHUHVHHPVWREHDGRXEOH/HW VJREDFNWRWKHRULJLQDOGDWDDQGFKHFN,GRQ WNQRZLI
VKHHQWHUHGWKHGDWDWZLFH

>@$JDLQ,FRPHIURPWKHVWDQGSRLQWRIWUXVWLQJWKHSHRSOHZKRZRUNLQUHVHDUFKDQG
NQRZLQJWKDWWKH\ UHYHU\FDUHIXOLQWKHZD\WKDWWKH\HQWHUDQGVRHYHQLQORRNLQJDWWKHRXWRI
VRUW,ZRXOGLPDJLQHWKDW\RXSLOHXSWKHGDWD7KDW VZKDW,XVHGWRGRZKHQ,ZDVWKHODE
PDQDJHUDW&08$QGWKHQ\RXHQWHUWKHGDWDDV\RXORRNDWLW

>@6R,GRQ W,VHHWKHLVVXHEXW,DOVRVHHDVDYHU\SRVVLEOHVLWXDWLRQWKHIDFWWKDW
WKH,'FDUGZDVWKHUHDQGVKHMXVWUHXVHGLWIRUDGLIIHUHQWVHVVLRQ,WKLQNWKDWZKDW,ZRXOGKDYH
KRSHGIRULVWKDWWKHGDWDVHWUHFRUGHGWKHGD\DQGWKHWLPHWKHVHVVLRQZHUHUXQVRWKDW,FRXOG
HDVLO\WHOOWKDWWKRVHZHUHWZRGLIIHUHQWGDWDSRLQWVUDWKHUWKDQEHLQJWKHVDPHRQH

>@7(5(6$$0$%,/(2.%REGLG\RXKDYHDIROORZXSQRZ"

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 245 of 1282




>@52%(57.$3/$1*LYHQZKDW VLQWKDWOHIWKDQGILHOGLWGRHVQ WVHHPWKDW
FRXOGEHGRQHIURPDKDQGIXORIFDUGVWKDWDUHEHLQJUHXVHG,PHDQZHKDYHQXPEHUVWKDWJR
IURPRQHWRDKXQGUHGVRPHWKLQJ6RLWPHDQVWKHFRGLQJRIWKDWFROXPQVKRXOGQ WEHRQDVHWRI
LQGH[FDUGVWKDWDUHEHLQJUHXVHGRYHUDQGRYHUDJDLQZLWKGLIIHUHQWSDUWLFLSDQWV

>@)5$1&(6&$*,12%XWOHW

>@52%(57.$3/$17KDW VWKHILUVWWKLQJ, OOFRPHEDFNRQVRPHRWKHUTXHVWLRQV

>@)5$1&(6&$*,12%XWOHW VLPDJLQHDQGDJDLQWKLVFRPHVIURPWKH
VWDQGSRLQWRIDSHUVRQZKRZRUNHGDVDODEPDQDJHUIRUPDQ\\HDUVSULRUWRWDNLQJRQDMREDW
81&/HW VLPDJLQHWKDWSDUWLFLSDQWVOHIWDQLQGH[FDUGLQVWHDGRIWUDVKLQJLWRQWKHZD\RXW,
ZRXOGKDYHQRSUREOHPUHXVLQJLW,GRQ WWKLQN,ZRXOGDQGVR,FRXOGLPDJLQH        GRLQJ
VRPHWKLQJOLNHWKDW&DQ,EHVXUH",FDQQRW

>@52%(57.$3/$1%XWWKDWZRXOGRQO\EHRQHRXWRILQGH[FDUGVWKDW
VRPHKRZJRWUHXVHG

>@)5$1&(6&$*,125LJKWDQGVRLWZRXOGEHRQHSDUWLFLSDQWZKROHIWLWRQWKH
GHVNUDWKHUWKDQDOORWKHUVEHLQJSXWDZD\

>@52%(57.$3/$1<HDKDQGWKHWZRSHRSOHZKRXVHGWKDWVDPHLQGH[FDUGKDG
H[DFWO\WKHVDPHGHGXFWLRQVWRWKHVHFRQGGLJLW

>@<RX UHQRWVHHLQJWKDW, PORRNLQJDWDQRULJLQDOGDWDVHW6R,GRQ WNQRZ$ODLQ
GR\RXZDQWWRVKDUHWKHRWKHUVFUHHQVKRWRIWKHPRUHFRPSOHWHGDWDVHW"

>@7(5(6$$0$%,/(%RE, YHJRWWHQDOLWWOHELWORVW&RXOG\RXVD\VRZKDWLV
WKHTXHVWLRQWKDW\RX UHSXUVXLQJKHUH"

>@52%(57.$3/$1:HOOWKH\ UHVD\LQJWKHUHDVRQZHOO,JXHVVZH UHIRFXVHG
RQWKDWWKHVDPHLQGH[FDUGFRXOGKDYHEHHQUHXVHGDQGWKDWH[SODLQVWKHGXSOLFDWLRQ

>@7(5(6$$0$%,/(,VWKDWHVVHQWLDOO\WKHVDPHTXHVWLRQWKDW,KDG"

>@52%(57.$3/$1<HDKLWZDVEXW, PMXVWVD\LQJLWZDVXQXVXDOWKDWWKHRQH
LQGH[FDUGWKDWDSSDUHQWO\ZDVUHXVHGWKHUHVSRQGHQWVJDYHH[DFWO\WKHVDPHGHGXFWLRQWRWZR
VLJQLILFDQWGLJLWV

>@7(5(6$$0$%,/(2.VR

>@52%(57.$3/$16RWRPHWKHOLNHOLKRRGWKDWWKDW VWZRGLIIHUHQWSHRSOHDQG
WKH\ UHWKHRQO\WZRSHRSOHZKRXVHWKHVDPHLQGH[FDUGDQGWKH\ERWKKDGH[DFWO\WKHVDPH
GHGXFWLRQV

>@7(5(6$$0$%,/(2.6R, PJRLQJWRDVN\RX

                                                

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 246 of 1282




>@52%(57.$3/$16HHPVVWDWLVWLFDOO\XQOLNHO\<HDK

>@7(5(6$$0$%,/(,I\RXKDYHDTXHVWLRQFDQ\RXIRUPXODWHLW"2WKHUZLVH, G
OLNHWRPRYHRQ

>@52%(57.$3/$1:HOO,MXVW:HOO,ZDQWWR\HDK2.OHW VPRYHRQ

>@7(5(6$$0$%,/(2.6R, PWKLQNLQJWKDWOHWPHVHHLI,KDYHDQ\IROORZ
XSVWKDW,ZDQWHGWRDVNRQWKLVRQH

>@52%(57.$3/$11REXWEHIRUHZHORVHWKHVFUHHQVKRW,GLGKDYHTXHVWLRQV
RQWKHVL[RWKHUREVHUYDWLRQV

>@7(5(6$$0$%,/(2K2.%RE<HDKJRDKHDG*RDKHDG$WWKLVSRLQW,
GRQ WKDYHDQ\RWKHUIROORZXSV'LG\RXZDQWWRDVN$ODLQWRGRWKHVFUHHQVKDUHDJDLQVRZH
FDQERWKVRWKDWZHFDQDOOEHORRNLQJDWLWZKLOH\RXDVN"

>@52%(57.$3/$1<HDKPD\EHLI$ODLQ\RXFRXOGVFUHHQVKDUHDFWXDOO\WKH
DQDO\VLVWKDW,GLG1RWWKHDQDO\VLVEXWMXVWWKHSUHVHQWDWLRQ<HDKWKDWRQH

>@7(5(6$$0$%,/(2.EXWVR%REFRXOG\RXVD\ZKDWWKLVLV"

>@52%(57.$3/$16RWKLVVFUHHQVKRWDFWXDOO\LVZRUNLQJZLWKWKHVDPHGDWDVHW
WKDWWKH,WKLQNWKHFRPSODLQDQWXVHGDQG,MXVWLQFOXGHGPRUHFROXPQVLQWKLV%XWLW VH[DFWO\
WKHVDPHVRUW

>@6RZHILUVWVRUWHGZLWKLQFRQGLWLRQRQHDQGWKHQVRPHZKHUHEHWZHHQQXPEHU
DQGQXPEHU2USDUWLFLSDQWQXPEHUDQGQXPEHUWKHFRQGLWLRQVZLWFKHGWRFRQGLWLRQ
WZRDQGVRZHKDYHVL[RXWRIVHTXHQFHREVHUYDWLRQVLQWKHFROXPQSSRXQGDOOWKHZD\RQWKH
OHIW

>@$QGWKHWKUHHLQFRQGLWLRQRQHDOOFRPHLQZLWK]HURDQGRQHGHGXFWLRQVVWURQJO\
LQVXSSRUWRIWKHK\SRWKHVLV$QGWKHWKUHHRXWRIVHTXHQFHREVHUYDWLRQVVWLOOWKDWDUHQRZ
VKRZQLQ\HOORZLQWKHKLJKOLJKWDOOKDYHWKHKLJKHVWQXPEHURIGHGXFWLRQVVWURQJO\DJDLQLQ
GLUHFWLRQRIVXSSRUWLQJWKHK\SRWKHVLV

>@$QGDJDLQWRH[SODLQWKLVDVWKLVLVMXVWGXHWRUDQGRPHUURUWKDWVRPHKRZLQD
KXQGUHGREVHUYDWLRQV\RXJHWWKLVSDWWHUQVKRZLQJXSKHUH

>@7(5(6$$0$%,/(6R%RELV\RXUTXHVWLRQ&RXOG\RX

>@52%(57.$3/$1+RZGR\RXH[SODLQKRZWKLVFRXOGKDYHEHHQWKHRXWRI
VHTXHQFHILUVWKDYHVFRUHVVWURQJO\LQVXSSRUWRIWKHK\SRWKHVLVDQGWKH\DOODSSHDUWRJHWKHUDW
WKHHQGRIFRQGLWLRQRQHDQGWKHVWDUWRIFRQGLWLRQWZR"$QGKRZDQ\NLQGRIVRUWRUUDQGRP
HUURURUVRUWFRXOGKDYHDOORZHGWKDWVHTXHQFHWRKDYHRFFXUUHG7HUHVDLVWKDWD


                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 247 of 1282




>@7(5(6$$0$%,/(7KDW VDTXHVWLRQ2.\HDK)UDQFHVFDFDQ\RXDGGUHVV
WKDW"

>@)5$1&(6&$*,126R,DSSUHFLDWHWKHTXHVWLRQ,VWDUWWKLQNLQJDERXWDERRN
)RROHGE\5DQGRPQHVVZKHUHWKHUHVHHPVWREHFRLQFLGHQFHVZKHUHWKHUHDUHQHFHVVDULO\QRQH
7KHRQO\H[SODQDWLRQWKDW,FDQJLYHWKLQNLQJWKURXJKIURPWKHH\HVRI        UXQQLQJWKH
VWXGLHVLVWKDWWKDW VKRZWKHGDWDZDVVWDFNHGXSDQGWKDW VKRZWKHGDWDZDVHQWHUHGE\KHURU
DQ\RWKHU5$UXQQLQJWKHUHVHDUFK

>@,WKLQNRQWKHTXHVWLRQVRIUXQQLQJVLPXODWLRQVDQGVHHLQJZKDWLVSRVVLEOHJLYHQ
WKHVL]HRIWKHGDWDVHW,KDYHGRQHVRPHSLFNLQJUDQGRPO\%XW,WKLQN,ZRXOGZDQWPRUHWLPH
WRUXQPRUHVLPXODWLRQDVDIRUHQVLFSHUVRQZRXOGGRWRVHHLIWKHUHZDVLQIDFWDQ\HUURUV)URP
P\SHUVSHFWLYHLW VGLIILFXOWWRLPDJLQHWKDWWKHUHZRXOGEHVLPSO\EHFDXVHRIWKHFDUHWKDW,
NQRZ        WRRNLQFRQGXFWLQJWKHZRUN$QGVKHFOHDUO\GLGQ WKDYHDQ\LQFHQWLYHVWRPDNHWKH
UHVHDUFKFRPHRXWRQHZD\RUWKHRWKHUVLQFHLW VQRWWKDWKHUSD\GHSHQGHGRQWKDWRUKRZ,
WUHDWHGKHUGHSHQGHGRQWKDW

>@$QGVRZKDW,FDQWKLQNRILVGDWDDUHEHLQJVWDFNHGLQWKHZD\WKDWWKH\ZHUH

>@7(5(6$$0$%,/()UDQFHVFDZKHQ\RXVD\GDWDEHLQJVWDFNHGDUH\RX
UHIHUULQJWRWKHDFWXDOSK\VLFDOSLHFHVRISDSHU

>@)5$1&(6&$*,127KDW VULJKW

>@7(5(6$$0$%,/(RQZKLFKSHRSOH

>@)5$1&(6&$*,12<HDK

>@7(5(6$$0$%,/(«OLNHWKHWD[IRUPV

>@)5$1&(6&$*,12<HDK

>@7(5(6$$0$%,/(«WKHSK\VLFDOWD[IRUPVMXVWWKHZD\WKH\KDSSHQHGWREH
VWDFNHGXSWKDWFRXOGEHWKHZD\LQZKLFKWKH\ZHUHHQWHUHG"

>@)5$1&(6&$*,12<HDK$QGLQLWGLGQ WVHHPDSSURSULDWHIRUPHWRUHDFK
RXWWR81&RU        DVWKHLQYHVWLJDWLRQLVJRLQJRQ,GRQ WNQRZLIWKHGDWDH[LVWV,GRXEWWKDW
LWGRHVVLQFH,5%UXOHVZHUHVXFKWKDWGDWDRULJLQDOGDWDRQSDSHUFRXOGEHGHVWUR\HGDIWHUD
IHZ\HDUVDIWHUWKHVWXG\

>@$QG,GRQ WWKLQNDQ\ERG\VHQWPHWKHGDWDZKHQ,PRYHGWR+%6DQG                  OHIW
WKHODE%XW,GRQ WNQRZ

>@52%(57.$3/$1,VWKHUHVRPHH[SODQDWLRQRWKHUWKDQNLQGRIUDQGRPHUURU
WKDWFRXOGKDYHOHGWRWKLVSDWWHUQWKDWVRPHKRZWKHVHGDWDSRLQWVJRWDGGHGODWHURUGR\RXMXVW
IHHOWKDWLQDORWRIH[SHULPHQWVVWXIIOLNHWKLVKDSSHQV"

                                                  

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 248 of 1282




>@7(5(6$$0$%,/(%RE,NLQGRIIHHOOLNH)UDQFHVFD VJLYHQXVKHU

>@52%(57.$3/$12.

>@7(5(6$$0$%,/(KHUSRVVLEOHH[SODQDWLRQ

>@52%(57.$3/$1:HOO,MXVWWKRXJKWRIZHOOWKHSRLQW,PHDQ,KHDUG\RX
VD\WKDW ZDVXQOLNHO\WRKDYHGRQHWKLVDV\RXVD\EHFDXVHVKHKDGQRLQFHQWLYHWRVWDFNWKH
GDWD, PMXVWWU\LQJWRXQGHUVWDQGZKDWRWKHUVRXUFHVFRXOGKDYHJHQHUDWHGWKLV

>@)5$1&(6&$*,12,JXHVVZKDW, PVXJJHVWLQJLVWKDWLW VWKHGDWDLWVHOIZLWKRXW
DWWULEXWLQJLWWRDQLQWHQWLRQDOHUURURIVRPHW\SH%XW, PDOVRQRWDIRUHQVLFH[SHUWDQGVR,FDQ W
WHOOIRUVXUH

>@7(5(6$$0$%,/(%REDUHZH2.WRVWRSWKHVFUHHQVKDUHDWWKLVSRLQW"

>@52%(57.$3/$1<HV\HVZHFDQ

>@7(5(6$$0$%,/(2.WKDQNV7KDQN\RX$ODLQIRUWKDW2.ZH YHJRQH
WKURXJKWKHSUHSDUHGTXHVWLRQVZHKDGEXWDQGZHDUHJRLQJWRJRWRDEUHDNSUHWW\VRRQ%XW
)UDQFHVFD,MXVWZDQWHGWRILUVWDVN\RXLIWKHUH VDQ\WKLQJHOVH\RX GOLNHWRDGGULJKWQRZ":H
ZLOOEHEULQJLQJ\RXEDFNDIWHUZHWDNHDEUHDNEXWLVWKHUHDQ\WKLQJHOVH\RX GOLNHWRDGGULJKW
QRZ"

>@)5$1&(6&$*,121R,ZRXOGVD\HVSHFLDOO\WKDWJLYHQ\RXGLGQ WKDYHDORW
RIGD\VVLQFHORRNLQJRYHUWKHUHVSRQVHVDQG\RXORRNHGDVLI\RXGLGDQH[WUDDQDO\VLVDQG
ZRUN, PMXVWYHU\DSSUHFLDWLYHRIWKHFDUHDQGDWWHQWLRQWKDW\RX UHJLYLQJWRWKLV

>@7(5(6$$0$%,/(:HDSSUHFLDWH\RXUVD\LQJWKDW7KDQN\RX2.VRZH UH
JRLQJWRJRWRDEUHDNRIDERXWPLQXWHVIRUDELREUHDNDQGDOVRIRU%REDQGPHWRGLVFXVVLI
ZHKDYHDQ\DGGLWLRQDOTXHVWLRQVIRU\RXEHIRUHZHHQGWKHPHHWLQJ:H OOSXW\RXDQG6\GQH\
LQWRDEUHDNRXWURRPGXULQJWKHEUHDNDQGZH OOSDXVHWKH=RRPUHFRUGLQJDVZH YHEHHQGRLQJ
IRUDOOWKHEUHDNV

>@:HZLOOUHFRQYHQHDWVRP\FORFNVD\V:H OOUHFRQYHQHDWVRLI\RX
FRXOGEHEDFNDW\RXUFRPSXWHUE\WKHQ:H OOFORVHWKHEUHDNRXWURRPEULQJ\RXDQG6\GQH\
EDFNLQWRWKHPDLQURRPDQGZH OOILQLVKXSWKHPHHWLQJ:H OODVNDQ\DGGLWLRQDOTXHVWLRQVWKDW
ZHKDYHDWWKDWWLPH2."

>@)5$1&(6&$*,126RXQGVJUHDW

>@7(5(6$$0$%,/($OOULJKW,WKLQNZH UHUHDG\IRUWKHEUHDN7KDQN\RX

>%5($.@




                                                  

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 249 of 1282




>@7(5(6$$0$%,/(2.)UDQFHVFDZHMXVWVSHQWDIHZPLQXWHVWDONLQJDQGZH
GHFLGHGZHGRQ WKDYHDQ\DGGLWLRQDOTXHVWLRQVIRU\RXULJKWQRZ

>@)5$1&(6&$*,122.

>@7(5(6$$0$%,/(,GRZDQWWRDVN\RXWRSOHDVHEHLQWRXFKZLWK$ODLQWKLV
DIWHUQRRQWRFRRUGLQDWHRQORFDWLQJWKRVHHPDLOVDQGWKRVHGRFXPHQWVWKDWZH UHKDYLQJWURXEOH
ORFDWLQJ

>@)5$1&(6&$*,122.

>@7(5(6$$0$%,/(2.DQG,MXVWZDQWWRWKDQN\RXYHU\PXFKIRU\RXUWLPH
,W VEHHQDORQJWLPH$QGZHZDQWWRWKDQN\RXDQGIRUDQVZHULQJRXUTXHVWLRQVDQG,WKLQN
ZH UHGRQH, PJRLQJWRRIILFLDOO\HQGWKHPHHWLQJ2.

>@)5$1&(6&$*,127KDQN\RXERWK

>@7(5(6$$0$%,/(7KDQN\RX

>@52%(57.$3/$17HUHVDXQOHVV)UDQFHVFDKDVVRPHVXPPDU\FRPPHQWVRU
TXHVWLRQVFRQFHUQVRIKHURZQWKDW\RX GOLNHWRUDLVHZLWKXV

>@)5$1&(6&$*,121RMXVWDV,VDLGLW VQRWZKDW\RXVLJQXSIRUZKHQ\RXDUH
DIDFXOW\PHPEHUDW+DUYDUG%XVLQHVV6FKRROVR, PYHU\DSSUHFLDWLYHRIDOOWKHWLPHDQGHIIRUW
WKDW\RXSXWLQWRWKLV

>@7(5(6$$0$%,/(7KDQN\RX)UDQFHVFD2.E\HE\H7DNHFDUH

>@)5$1&(6&$*,12%\H

>@7(5(6$$0$%,/(*RRGOXFNZLWKWKHFRXUVH2.




                                               

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 250 of 1282




                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                 ([KLELW
                                     
 5HVSRQGHQW¶VFRPPHQWWRWKHLQWHUYLHZWUDQVFULSWUHFHLYHGRQ0DUFK
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
                                     
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 251 of 1282




7RWKH,QTXLU\&RPPLWWHH

7KDQN\RXDJDLQIRUDOOWKHHQHUJ\DWWHQWLRQDQGHIIRUW\RXDUHJLYLQJWRWKLVSURFHVV,QUHDGLQJ
WKHWUDQVFULSWRIWKHLQWHUYLHZ,WKRXJKWLWZRXOGEHKHOSIXOWRFODULI\WKUHHSRLQWV7KH\DUH
EHORZ

$WPLQXWH>@,PHQWLRQHG               PD\KDYHDGHJUHHIURP81&DQGQRWHGZH
VKRXOGFKHFN,GLGFKHFN     KDVDQXQGHUJUDGXDWHGHJUHHLQ3V\FKRORJ\IURPWKH8QLYHUVLW\
RI)ORULGD6KHWKHQFRPSOHWHGDQ0%$IURP81&EHWZHHQDIWHU\HDUVRIZRUNLQJ
ZLWKPHDVDODEPDQDJHU ZKLOHVKHZDVVWLOODODEPDQDJHU 

:KHQJLYLQJFRQWH[WDERXWWKHFRQWHQWLRXVFROODERUDWLRQRQWKH31$6SDSHU,FRXOGKDYH
DGGHGWKHIROORZLQJ 0LQXWH>@ ,WPD\EHZRUWKQRWLQJWKDW          ZDVVRGLVSOHDVHG
E\WKHLQWHUDFWLRQVZLWK     DQGWKHIDFWWKDW,GLGQRWGRHQRXJKWRGHIHQGKHURU³VWDQGXSIRU
KHU´ LQKHURZQZRUGV WKDWVKHWROGPHVKHKRSHGRQHGD\,ZRXOGIHHODVKXUWE\D
FROODERUDWLRQDVVKHGLGDWWKHWLPH

$WPLQXWH>@DSDUWLQWKHWUDQVFULSWLVLQDXGLEOH,ZDVUHDGLQJWKLVSDUWRIDQHPDLO
³ ,QVWXGLHV LW VXQFOHDUZK\ZHILQGGLIIHUHQFHVLQFKHDWLQJLQWKHPDWUL[WDVNVLQFHWKH
FROOHFWLRQVOLSLVVXSSRVHGO\VXEPLWWHGEHIRUHWKHWD[IRUPZLWKWKHVLJQDWXUHPDQLSXODWLRQ
FRXOGLWEHWKDWWKHUHZDVQRFROOHFWLRQVOLSDVSDUWLFLSDQWVDOVRKDGWRLQGLFDWHWKHLUSHUIRUPDQFH
RQWKHWD[IRUP"FRXOG\RXFODULI\WKDWSDUW´

:LWKDSSUHFLDWLRQ
)UDQFHVFD
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 252 of 1282




                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                  ([KLELW
                                       
5HVSRQGHQW¶V:ULWWHQ5HVSRQVHWR'UDIW,QTXLU\5HSRUWUHFHLYHGRQ$SULO
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 253 of 1282



&RPPHQWVWRWKH'UDIW,QTXLU\5HSRUW

$V,PHQWLRQHGGXULQJWKHLQWHUYLHZ,DSSUHFLDWHDOOWKHWLPHDWWHQWLRQDQGHIIRUWWKHFRPPLWWHH
KDVSXWLQWRWKLVFDVH,KDYHUHYLHZHGWKH'UDIW,QTXLU\5HSRUWDQGXQGHUVWDQGWKDWDWWKLV
SUHOLPLQDU\VWDJHWKH,QTXLU\&RPPLWWHHUHFRPPHQGVWKDWHDFKDOOHJDWLRQVKRXOGPRYHIRUZDUG
WRLQYHVWLJDWLRQ:KLOHWKLVSURFHVVKDVEHHQSHUVRQDOO\YHU\GLIILFXOW,XQGHUVWDQGWKDWWKH
LQYHVWLJDWLRQFDQPRUHWKRURXJKO\LQWHUYLHZRWKHUVDQGUHYLHZFRUURERUDWLQJDFFRXQWV,DP
FRQILGHQWWKDWIXUWKHULQYHVWLJDWLRQZLOOVKRZWKDW,GLGQRWFRPPLWUHVHDUFKPLVFRQGXFW

,QUHIOHFWLQJRQP\LQWHUYLHZZLWKWKH,QTXLU\&RPPLWWHH,ZDVVWUXFNE\DFRPPHQWWKDW%RE
.DSODQPDGHGXULQJWKHLQWURGXFWLRQKHQRWHGWKDWWKLVZDVWKHILUVWWLPHKHZDVPHHWLQJPH
SURIHVVLRQDOO\7KLVLVFHUWDLQO\QRWWKHZD\,ZDQWP\FROOHDJXHVWRJHWWRNQRZPH6R,ZRXOG
OLNHWRWDNHDPRPHQWWRH[SODLQ³ZKR,DP´DQGKRZ,DSSURDFKUHVHDUFK

/HDUQLQJDERXWWKHDOOHJDWLRQVKDVEHHQE\IDUWKHORZHVWPRPHQWLQP\FDUHHUDVDSURIHVVRU,W
LVVDGWUDJLFDQGLQFUHGLEO\VWUHVVIXO,WDNHWKHUROHRIEHLQJDVFKRODUDQGWKHSULYLOHJHRIEHLQJ
DIDFXOW\PHPEHUDW+%6YHU\VHULRXVO\,GHHSO\FDUHDERXWVWXG\LQJSUREOHPV,VHHSHRSOHLQ
RUJDQL]DWLRQVVWUXJJOHZLWKDQGKDYHZRUNHGUHDOO\KDUGRYHUWKH\HDUVWRJDLQLQVLJKWVIURP
UHVHDUFKWKDW,FDQEULQJEDFNWRWKHPWKURXJKP\ZULWLQJDQGWHDFKLQJ,GHHSO\FDUHDERXWWKH
LQWHJULW\RIWKHUHVHDUFK,SXEOLVKDQGDOZD\VZDQWWREHFRQILGHQWLQWKHUHVHDUFKILQGLQJVVRWKDW
,FDQGUDZUHFRPPHQGDWLRQVIRUHPSOR\HHVDQGOHDGHUVDOLNH,KROGP\VHOIIXOO\DFFRXQWDEOHIRU
WKHUHVHDUFK,SXEOLVKZKHWKHULWLVDVRORDXWKRUHGSDSHURURQH,FROODERUDWHGRQZLWKRWKHUV

,YHU\PXFKHQMR\WKHUHVHDUFKSURFHVVDQGKDYHFROODERUDWHGZLWKPDQ\VWXGHQWVDQGFROOHDJXHV
RYHUWKH\HDUVWRH[DPLQHTXHVWLRQVWKDW,EHOLHYHGZHUHWKHRUHWLFDOO\LQWHUHVWLQJDQGSUDFWLFDOO\
LPSRUWDQW0RVWRIP\ZRUNZKHWKHULWLVWKHPDQ\DFDGHPLFDUWLFOHV,ZURWH RYHURIWKHP 
RUWKHFDVHVWXGLHV,ZRUNHGRQ RYHURIWKHP KDVEHHQLQFROODERUDWLRQZLWKRWKHUVWUXVWHG
FROOHDJXHV,OHDUQHGIURPRUVWXGHQWVHDJHUWRJDLQPRUHH[SHULHQFHWKURXJKMRLQWZRUN,QIDFW,
DPNQRZQLQWKHILHOGLQSDUWEHFDXVH,KDYHKDGPDQ\FROODERUDWRUV,KDYHEHHQWROG

,QP\LQLWLDOUHPDUNVWRWKHFRPPLWWHHGXULQJWKHLQWHUYLHZ,DVNHGZKHWKHUZHFRXOGWDONDERXW
WKHDOOHJDWLRQVIURPROGHVWWRQHZHVW,PDGHWKLVUHTXHVWVLQFH,WKRXJKWLWZDVLPSRUWDQWWR
KLJKOLJKWKRZ,VHWXSDUHVHDUFKODEIRUWKHILUVWWLPHZKHQ,ZDVRQWKH)DFXOW\DW81&¶V
.HQDQ)ODJOHU%XVLQHVV6FKRRO EHWZHHQ DQGKRZWKDWDSSURDFKVHHPHGYHU\
HIIHFWLYHDQGLQIOXHQFHGP\UHVHDUFKSUDFWLFHVLQWKH\HDUVWKDWIROORZHG

,KDGVSHQWWZR\HDUVZRUNLQJDVD3RVW'RFWRUDO)HOORZDW&DUQHJLH0HOORQ8QLYHUVLW\EHIRUH
MRLQLQJ81& EHWZHHQ $VSDUWRIWKDWUROH,ZDVDOVRWKHODEPDQDJHUIRUVFKRODUV
LQEHKDYLRUDOVFLHQFHVDQG2UJDQL]DWLRQDO%HKDYLRU,JRWWRH[SHULHQFHILUVWKDQGZKDWLWPHDQV
WRUXQDODEZRUNZLWKSURIHVVRUVDQGGRFWRUDOVWXGHQWVKHOSLQJWKHPLQWKHLUUHVHDUFKDQGWDNH
RQDZLGHUDQJHRIUHVSRQVLELOLWLHVIURPZRUNLQJRQ,5%DSSOLFDWLRQVDQGUXQQLQJVWXGLHVWR
HQWHULQJGDWDDQGUHYLHZLQJSDSHUGUDIWVRUFRQGXFWLQJOLWHUDWXUHUHYLHZV7KH&08H[SHULHQFH
ZDVIRXQGDWLRQDOWRP\GHYHORSPHQWDVDVFKRODU,WJDYHPHDIXOOXQGHUVWDQGLQJRIFRPPRQ
SUDFWLFHVIRUPDQDJLQJDODEEXWDOVRDGHHSXQGHUVWDQGLQJRIWKHUHVHDUFKSURFHVV,ZDVOXFN\
HQRXJKWRZRUNXQGHUWKHVXSHUYLVLRQRI                   QRZDSURIHVVRUDW%HUNHOH\ ZKRLQP\
PLQGDOZD\VDSSURDFKHGUHVHDUFKZLWKDJUHDWWKLUVWIRUOHDUQLQJDQGWKHKLJKHVWOHYHOVRI




     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 254 of 1282



7*8*&7(-.39*,7.9>#-*7*<*7*51*39>4+7*8*&7(-574/*(98<*89&79*)':99-*3)7455*)8.3(*9-*
)&9&+742.3.9.&189:).*8).)3498:554794:7->549-*8*847<&834989743,*34:,-948:,,*89
(439.3:.3,9-*574/*(9       3*;*72&)*)7455.3,&574/*(9&3.88:*@.9<&8/:895&794+1*&73.3,
&3)).8(4;*7>

%-*3(7*&9*)9-*1&'&9$<&39*)947*(7*&9*9-*8&2**=5*7.*3(*+479-*!8<470.3,.3
.9&3)-*15.3,%-*3*;*7&574/*(9).)349<4704:9'*(&:8*9-*)&9&+742&89:)>).)349
8:554799-*->549-*8*8<*24;*)4394&349-*77*8*&7(-.)*&&1<&>897.*)94(7*&9*&3
&92485-*7*.39-*1&'&3).3&3>7*8*&7(-(411&'47&9.434+,*3:.3*1*&73.3,&3)58>(-414,.(&1
8&+*9>3)2&)*&54.394+).8(:88.3,574/*(989-&9<*7*349(43):(9*).39-*<&>9-&9<&8
.39*3)*)+47.389&3(*'*(&:8*4+&+1&<.39-*574(*):7*&3)9-:8&'&3)43*)

#-.8.8<->+.3)9-*&11*,&9.438&'4:99-*   "5&5*7A".,3.3,&99-**,.33.3,&0*8
9-.(8"&1.*39&3)*(7*&8*8.8-43*89"*1+7*54798.3425&7.84394".,3.3,&99-*3)B
11*,&9.438 &&3) '94'*).++.(:1994&((*5989-*(422.99**349*)):7.3,9-*.39*7;.*<
:8*)9-*<47)A(43+.)*39B<-*38:,,*89.3,9-&99-*1&'2&3&,*7&99-*9.2*                     
<4:1)-&;*(&:,-99-*8*.88:*8.+.3+&(99-*><*7**77478.39-*<&>9-**=5*7.2*39<&8
(43):(9*)479-*)&9&*39*7*)#-*7*-&)'**351*39>4+4((&8.438<-*7*            &3)).8(:88*)
7*8:1984+574/*(989-&9).)349<4704:9&3)9-*3&'&3)43*)+9*77:33.3,5.14989:).*88-*
7*,:1&71>7*5479*)'&(043<-*9-*75&79.(.5&398+4114<*)*;*7>89*54+9-*574(*):7*847
<-*9-*7(*79&.35&7984+9-*.3897:(9.4383**)*)247*(1&7.9>849-&9<*(4:1)2&0*&557457.&9*
(-&3,*8949-*574(*):7*8.+3**)*)'*+47*7:33.3,9-*+:1189:)>

&184+.3).9;*7>897&3,*9-&99-*(4&:9-47<-454.39*)4:99-*549*39.&1+1&<.39-*574(*):7&1
<7.9*:5              .3&3*2&.143&7(-  8:'2.99*)57*;.4:81>&8&3*=-.'.9).)
349-&;*&3>.88:*<.9-9-*(-&3,*82&)*949-*5&5*7&3)3*;*77&.8*)9-*.88:*&,&.34;*79-*
3*=9 >*&78             9&10*)2:19.51*9.2*8949-*&:9-4784+9-*'14,54899-&91*)949-*
7*97&(9.434+9-*   "5&5*7.39-*8:22*74+  <-.1*3*;*7-&)9-*455479:3.9>94
-&;*&(43;*78&9.43<.9-9-*2&28:757.8*)               349*)9-.8(-&3,*.39-*574(*):7&1
)*8(7.59.4394'*&3.88:*<-*3.9<&85*7-*78:,,*89.43.3  9-&99-*(-&3,*<&82&)*<-*3
<*<*7*<7.9.3,:59-*5&5*78349*).39-*.39*7;.*<               C8*2&.1(422*39574259*)
2*947*;.*<9-**=5*7.2*39&1574(*):7*8<.9-           &3)7*;.8*9-*294&((:7&9*1>7*+1*(99-*
574(*):7*8:8*)3>(-&3,*82&)*<*7*94247*&((:7&9*1>7*57*8*399-*7*&1.9>4+9-*
*=5*7.2*39&2.39*7*89*).35:'1.8-.3,7*8*&7(-9-&954.398947*&1*++*(989-&9&114<8:894
1*&73&8.3).;.):&18-4<<*'*-&;*&3)<->&3).3<-.(-<&>8<*(&32&0*'*99*7)*(.8.438

%-*3/4.3*)".3:1>  (439.3:*)7:33.3,89:).*8&9$<.9-              C8-*15'*(&:8*
4+9-*7*1&9.438-.5<*-&))*;*145*)97:89*)-*7(425*9*3(*':9&184-*7<.11.3,3*88949&10
&'4:9574'1*28.+8-**3(4:39*7*)&3>.88:*<-.1*7:33.3,9-*89:).*8%*(43):(9*)2&3>
89:).*89-&9).)349<470&3)9-*7*-&83*;*7'**3&3.88:*<.9-)7455.3,574/*(988-*-&)85*39
&1494+*3*7,>&3)9.2*<470.3,43#-&9C8/:895&794+9-*1*&73.3,9-74:,-7*8*&7(-&3)8-*
<*11:3)*78944)9-&99-&9<&89-*(&8*

#-74:,-9-*>*&78<*<470*)94,*9-*7           *39*7*))&9&+7422&3>*=5*7.2*398&3)&184
2*7,*))&9&8*98<-*39-*89:)>7*6:.7*)+479<447247*)&9&8*9894'*2*7,*)*,.39-*(&8*





     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 255 of 1282



RIDORQJLWXGLQDOVWXG\ 6RDV,PHQWLRQHGLQWKHLQWHUYLHZ,EHOLHYH$OOHJDWLRQSRLQWVQRWWR
DQHUURUEXWUDWKHUWRKRZ      FRGHGWKHGDWDDQGPHUJHGLW

7KURXJKRXWWKHLQWHUYLHZ,PDGHFRPPHQWVDERXWKRZ,ZRUNZLWK5$V UHVHDUFKDVVLVWDQWV 
$V,PHQWLRQHGP\SUDFWLFHVDUHDUHIOHFWLRQRIZKDW,OHDUQHGIURPRWKHUVFKRODUV,UHVSHFWOLNH
            DQGWKHW\SHVRIUHVSRQVLELOLWLHV,KDGZKHQ,ZDVLQDSRVLWLRQRI5$RUODE
PDQDJHU

,VKRXOGDOVRKDYHDGGHGWKRXJKWKDWDVWKHDXWKRURISDSHUVWKDWDUHSXEOLVKHGLWLVP\IXOO
UHVSRQVLELOLW\WRWDNHDSSURSULDWHVWHSVWRWU\WRHQVXUHWKDWWKHSURFHGXUHVDUHH[SODLQHGFOHDUO\
WKDWWKHVWXGLHVDUHSURSHUO\FRQGXFWHGDQGWKDWWKHGDWDLVYDOLGUDWKHUWKDQWKHUHVXOWRIHUURUV

6LQFHWKHLQWHUYLHZ,GRZQORDGHGZKDW,EHOLHYHLVWKHUDZGDWDRIWKHVWXG\PHQWLRQHGLQ
$OOHJDWLRQ±VRPHWKLQJ,GLGQRWKDYHWLPHWRDQDO\]HEHIRUHWKHLQWHUYLHZXQIRUWXQDWHO\$V
WKHFRPPLWWHHREVHUYHGLQSUHOLPLQDU\DQDO\VHVWKHUHVHHPWREHGLVFUHSDQFLHVEHWZHHQWKHGDWD
SRVWHGRQ26)DQGZKDW,EHOLHYHLVWKHUDZGDWD,DPXQVXUHDERXWKRZWRH[SODLQWKHVH
GLVFUHSDQFLHVVLQFH,ZDVQRWWKHSHUVRQFOHDQLQJWKHGDWDDQGSUHSDULQJLWIRUDQDO\VHV/LNHWKH
FRPPLWWHH,DPLQWHUHVWHGLQXQGHUVWDQGLQJWKHFDXVHRIGLVFUHSDQFLHVDQGFRUUHFWHUURUVLI
QHHGHG7KHVWXG\LVSDUWRIUHVHDUFKWKDWKDVGHPRQVWUDWHGUHOLDEO\DUREXVWHIIHFWVR,ZDQWWR
XQGHUVWDQGZKDWKDSSHQHGDQGKRZWRDYRLGDQ\HUURULQWKHIXWXUH$V,PHQWLRQHG,GHHSO\
FDUHDERXWWKHDFFXUDF\RIP\ZRUN$QG,¶YHQHYHUFRPSURPLVHGWKDWDFFXUDF\HYHQZKHQP\
FROODERUDWRUVDQG,KDGPDGHELJLQYHVWPHQWVRIWLPHDQGPRQH\LQWKHUHVHDUFK,GURSSHGD
ILHOGVWXG\LQFROODERUDWLRQZLWKD-DSDQHVH%DQNWKDWWRRNPRQWKVRIP\HQHUJ\ZKHQ,
GLVFRYHUHGWKDWUDQGRPL]DWLRQVLQWRH[SHULPHQWDOFRQGLWLRQKDGEHHQGRQHDOSKDEHWLFDOO\UDWKHU
WKDQUDQGRPO\,GURSSHGDODERULQWHQVLYHODERUDWRU\VWXG\WKDWFRVWRYHUWRFRQGXFW
EHFDXVHWKHUHVXOWVZHUHQRWVWURQJXQGHUGLIIHUHQWUREXVWQHVVFKHFNV

,ZHOFRPHWKHRSSRUWXQLW\IRUWKHFRPPLWWHHLQWKHQH[WVWDJHWRWDONWRDVPDQ\RIP\
FROODERUDWRUVDVWKH\¶GOLNHDQGWRDVPDQ\RIP\5$VDVPRVWKHOSIXO,DPFRQILGHQWWKDWWKH
FRPPLWWHHZLOOKHDUWKDW,ZRUNGLOLJHQWO\DQGSURIHVVLRQDOO\LQDZD\FRQVLVWHQWZLWKERWKWKHVH
FRPPHQWVDQGZKDW,PHQWLRQHGLQWKHLQWHUYLHZ

2YHUWKHODVWIHZGD\V,XVHGVWDWFKHFNRQDUDQGRPVHWRIWKHSDSHUV,SXEOLVKHG RIWKHP 
DQGIRXQGQRHUURUVLQWKHZD\WKHVWDWLVWLFVZHUHUHSRUWHGRQWKHSDSHU7KRXJKWKDWLVVLPSO\D
FKHFNIRUSDSHUVEHLQJW\SRIUHHZKHQLWFRPHVWRWKHUHSRUWLQJRIVWDWLVWLFDOWHVWVLWLVDVLJQRI
SUHFLVLRQLQWKHZRUN,SXEOLVK6LQFHWKHVXPPHURI,VWDUWHGXVLQJVWDWFKHFNDVDQHZ
SUDFWLFHEHIRUHVXEPLVVLRQRISDSHUVWRMRXUQDOV

7KHH[SHULHQFHRIOHDUQLQJDERXWSUREOHPVLQWKHILHOGGDWDRIWKH31$6SDSHUDQGWKH
VXEVHTXHQWUHWUDFWLRQRIWKDWSDSHUZDVKDUGSURIHVVLRQDOO\DQGSHUVRQDOO\5HDOO\KDUG,WULHG
WRPDNHWKHEHVWRIDQLQFUHGLEO\VDGDQGVWUHVVIXOH[SHULHQFHDQGUHYLVHGP\UHVHDUFKSUDFWLFHV
DV,GHVFULEHGLQWKHLQWHUYLHZ,GURSSHGPDQ\SURMHFWVWKDW,IHOW,ZDVQRWLQYROYHGWRRFORVHO\
ZLWKLQWURGXFHGPRUHFKHFNVDQGRYHUVLJKWLQWKHUHVHDUFKZKHUHDVWXGHQWRUDMXQLRU
FROODERUDWRULVGULYLQJWKHSURMHFWDQGLQWURGXFHGUHYLHZVWREHWWHUXQGHUVWDQGWKHTXDOLW\RIWKH
GDWDXVHGLQP\SURMHFWV0\5$DQG,DUHDOVRZRUNLQJWRLGHQWLI\FRQVLVWHQWZD\VWRNHHSWUDFN
RIHYHU\VWXG\P\FROODERUDWRUVDQG,FRQGXFW,KDYHPDGHHDFKRIWKHVHFKRLFHVDV,WDNH




     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 256 of 1282



DSSURSULDWHPHDVXUHVWRHQVXUHWKHGDWDLQWKHSDSHUV,SXEOLVKLVDFFXUDWHDQGHYHQWKRVHHUURUV
WKDWDUHOLNHO\KRQHVWHUURUVDUHFDXJKWHDUO\,ZLOOFRQWLQXHWRHYROYHLQP\ODESUDFWLFHVDV
QHFHVVDU\RYHUWLPHWRHQVXUHDFFXUDF\LQP\ZRUN

7KDQN\RXDJDLQIRUFRQVLGHULQJWKHVHFRPPHQWV

:LWKJUDWLWXGH
)UDQFHVFD









Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 257 of 1282



                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                 ([KLELW
                          6HTXHVWUDWLRQ,QYHQWRU\
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 258 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 259 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 260 of 1282



                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                      ([KLELW
       'HFLGLQJ2IILFLDO5HVSRQVHWR,QTXLU\5HSRUWUHFHLYHGRQ$SULO
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 261 of 1282
                                                                                   Srikant Datar
                                                                                   George F. Baker Professor of
                                                                                   Administration
                                                                                   Dean of the Faculty




                                                       MEMORANDUM




To: Alain Bonacossa, Research Integrity Officer

From: Srikant Datar

Re: Response to Report of Inquiry Committee Concerning Allegations against Dr.
    Francesca Gino – Case RI21-001

Date: April 13, 2022


I have read the Committee's April 8, 2022 report and supporting materials, and concur
with the recommendation of the Inquiry Committee that we move to investigation of
allegations 1, 2, 3, 4a, and 4b of Case RI21-001 pursuant to the HBS Policy.

I will now work to identify a third faculty member who might join Teresa Amabile (chair)
and Bob Kaplan to comprise the Investigation Committee, and will notify you when that
individual is confirmed.

I am deeply grateful for the incredible care and thoughtfulness you, Teresa, and Bob
have brought to the work thus far. Thank you.




Morgan Hall 125 | Soldiers Field | Boston, MA 02163 | George F. Baker Foundation
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 262 of 1282



                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                     ([KLELW
             ,QYHVWLJDWLRQ1RWLFHVHQWWR5HVSRQGHQWRQ$SULO
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 263 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 264 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 265 of 1282




                            Appendix A
                      Summary of Allegations
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 266 of 1282




5HOHYDQW3XEOLFDWLRQV

*LQR).RXFKDNL0 &DVFLDUR7  :K\FRQQHFW"0RUDOFRQVHTXHQFHVRI
QHWZRUNLQJZLWKDSURPRWLRQRUSUHYHQWLRQIRFXV-RXUQDORI3HUVRQDOLW\DQG6RFLDO3V\FKRORJ\
  ± ³-3633DSHU´ 

*LQR).RXFKDNL0 *DOLQVN\$'  7KHPRUDOYLUWXHRIDXWKHQWLFLW\+RZ
LQDXWKHQWLFLW\SURGXFHVIHHOLQJVRILPPRUDOLW\DQGLPSXULW\3V\FKRORJLFDO6FLHQFH  ±
 ³3V\FKRORJLFDO6FLHQFH3DSHU´ 

*LQR) :LOWHUPXWK66  (YLOJHQLXV"+RZGLVKRQHVW\FDQOHDGWRJUHDWHUFUHDWLYLW\
3V\FKRORJLFDO6FLHQFH  ± ³3V\FKRORJLFDO6FLHQFH3DSHU´ 

6KX//0D]DU1*LQR)$ULHO\'DQG%D]HUPDQ0+  6LJQLQJDWWKH
EHJLQQLQJPDNHVHWKLFVVDOLHQWDQGGHFUHDVHVGLVKRQHVWVHOIUHSRUWVLQFRPSDULVRQWRVLJQLQJDW
WKHHQG3URFHHGLQJVRIWKH1DWLRQDO$FDGHP\RI6FLHQFHVRIWKH8QLWHG6WDWHVRI$PHULFD
± ³31$63DSHU´ 

                                                                                                    

$OOHJDWLRQ

'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH-3633DSHUE\DOWHULQJ
REVHUYDWLRQVWRDIIHFWWKHVLJQLILFDQFHRIILQGLQJVRIWKHVWXG\LQWKHK\SRWKHVL]HGGLUHFWLRQ,Q
SDUWLFXODU
    D ,QWKHSURPRWLRQIRFXVFRQGLWLRQE\FKDQJLQJH[WUHPHYDOXHVRI³´WR³´WRGULYHWKH
        H[SHFWHGHIIHFW6SHFLILFDOO\IRUREVHUYDWLRQVWKHUHVHHPVWREHDPLVPDWFKEHWZHHQ
        SDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWVFKRVHWRGHVFULEHKRZWKH\IHOW
    E ,QWKHSUHYHQWLRQIRFXVFRQGLWLRQE\FKDQJLQJVRPHYDOXHVRI³´WRHLWKHU³´RU³´WR
        GULYHWKHH[SHFWHGHIIHFW$QXPEHURIREVHUYDWLRQVDOVRVKRZDPLVPDWFKEHWZHHQ
        SDUWLFLSDQWV¶LPSXULW\UDWLQJVDQGWKHZRUGVSDUWLFLSDQWVFKRVHWRGHVFULEHKRZWKH\IHOW
    
                                                                                                    
    
    
$OOHJDWLRQ

'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH3V\FKRORJLFDO6FLHQFH
3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV1RWDEO\REVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWR
WKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWVDQGWKHVHVDPHREVHUYDWLRQVSUHVHQWHGDQ
DQRPDORXVUHVSRQVHSDWWHUQLQZKLFKVWXG\SDUWLFLSDQWVVHHPLQJO\HQWHUHG³+DUYDUG´DVWKHLU
UHVSRQVHWRDTXHVWLRQDVNLQJWKHPWRLQGLFDWH³<HDULQ6FKRRO´LQFRQWUDVWWRWKHYDVWPDMRULW\
RIUHVHDUFKSDUWLFLSDQWVZKRFRUUHFWO\DQVZHUHGWKLVTXHVWLRQ

                                                                                                    


                                                                                                   1
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 267 of 1282





$OOHJDWLRQ
'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVIRU6WXG\LQWKH3V\FKRORJLFDO6FLHQFH
3DSHUE\DOWHULQJDQXPEHURIREVHUYDWLRQV,QSDUWLFXODUZKHQVRUWHGE\ZKHWKHUSDUWLFLSDQWV
FKHDWHGRQWKHWDVNWKH\ZHUHDVNHGWRSHUIRUPDQGE\KRZPDQ\XVHVIRUDQHZVSDSHUWKH\
IRXQGLWDSSHDUVWKHUHDUHREVHUYDWLRQVRXWRIVRUWZLWKLQWKHFKHDWLQJFRQGLWLRQ7KHVH
REVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV:KHQWKHVH
REVHUYDWLRQVDUHFRUUHFWHGZLWKWKHYDOXHVLPSOLHGE\WKHVRUWWKHHIIHFWLQWKHH[SHFWHGGLUHFWLRQ
LVQRORQJHUVLJQLILFDQW IURPS WRS! 

    
                                                                                                      

$OOHJDWLRQ
:LWKUHVSHFWWR6WXG\LQWKH31$63DSHU
    D 'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJSDUWRIWKHGHVFULSWLRQRI
        VWXG\LQVWUXFWLRQVWRUHVHDUFKSDUWLFLSDQWVIURPDGUDIWRIWKHPDQXVFULSWVXEPLWWHGIRU
        SXEOLFDWLRQWKXVPLVUHSUHVHQWLQJWKHVWXG\SURFHGXUHVLQWKHILQDOSXEOLFDWLRQ6XFK
        LQVWUXFWLRQVSRLQWHGWRDVLJQLILFDQWIODZLQWKHH[HFXWLRQRIWKHGDWDFROOHFWLRQIRU6WXG\
        ZKLFKFDOOHGLQWRTXHVWLRQWKHYDOLGLW\RIWKHVWXG\UHVXOWV
    E 'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWVE\DOWHULQJDQXPEHURIREVHUYDWLRQV,Q
        SDUWLFXODUZKHQVRUWHGE\³H[SHULPHQWDOFRQGLWLRQ´DQGE\³SDUWLFLSDQW,'QXPEHU´WKH
        GDWDVHWIRU6WXG\DSSHDUVWRLQFOXGHGXSOLFDWHREVHUYDWLRQDQGREVHUYDWLRQVZKHUH
        WKH³SDUWLFLSDQW,'QXPEHU´LVRXWRIVRUW7KHRXWRIVRUWREVHUYDWLRQVVXEVWDQWLDOO\
        FRQWULEXWHWRWKHVLJQLILFDQFHRIWKHK\SRWKHVL]HGHIIHFWV




                                                                                                     2
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 268 of 1282




                            Appendix B
      Articles Referenced in Appendix A Summary of Allegations
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 269 of 1282
                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 270 of 1282


                                                                                                                     1222                                                 GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     people’s motives when engaging in instrumental professional net-         1998). Which system is engaged at any given time depends on the
                                                                                                                     working predict the extent to which they feel inauthentic and morally    characteristics of the situation and the person’s regulatory orien-
                                                                                                                     impure in the process. Specifically, we argue that self-regulatory       tation (Higgins, 1997; Strauman, 1996).
                                                                                                                     focus, in the form of prevention and promotion, provides an essential       Regulatory focus is studied as either a chronic disposition people
                                                                                                                     motivational basis for networking behavior which shapes the emo-         have (Higgins, 1997, 1998) or a psychological state that is temporarily
                                                                                                                     tional and psychological experience of networking. Building on ear-      activated, such that a person’s emphasis on one over the other is
                                                                                                                     lier self-regulation models (Bowlby, 1969; Higgins, 1987), regulatory    primed by cues in the external environment (Friedman & Förster,
                                                                                                                     focus theory (RFT; Higgins, 1997) identifies two motivational sys-       2001; Liberman et al., 1999). In addition to chronic and state forms of
                                                                                                                     tems that regulate two different basic needs. The promotion-focus        regulatory foci, we echo developments in regulatory-focus theory
                                                                                                                     system serves nurturance needs. People in a promotion focus care         (Browman et al., 2017) by exploring a domain-specific form of
                                                                                                                     about growth, advancement, and accomplishment, and strive toward         regulatory foci, networking-specific promotion and prevention focus,
                                                                                                                     ideals, wishes, and aspirations. The prevention-focus system, instead,   to introduce the possibility that generalized trait and state regulatory
                                                                                                                     regulates security needs. People in a prevention focus care about        foci may differ systematically from how a promotion and a prevention
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     safety, maintaining the status quo, and meeting their responsibilities   focus regulate a specific behavior.
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     and duties (Friedman & Förster, 2001; Sacramento, Fay, & West,              Regulating behavior via promotion and prevention foci influences
                                                                                                                     2013).                                                                   goal attainment in various performance domains. This is because a
                                                                                                                        With this research, we aim to advance scholarly understanding         person’s regulatory focus affects the strategies the person uses to get
                                                                                                                     of the moral psychology of networking in four ways. First, we            to their goals (e.g., surpassing a high score) and to overcome chal-
                                                                                                                     theorize that people’s motivational approach—promotion versus            lenges that impede attainment of those goals (e.g., getting over an
                                                                                                                     prevention—predicts how morally impure they feel from instru-            error limit; Higgins, 1998). Because regulatory focus influences peo-
                                                                                                                     mental networking for professional goals. Casciaro et al. (2014)         ple’s performance, its role has been studied in organizations too
                                                                                                                     demonstrated how moral impurity is heightened by certain types of        (Brockner & Higgins, 2001; Johnson, Chang, & Yang, 2010; Wal-
                                                                                                                     networking behaviors and not others, and found evidence that             lace, Johnson, & Frazier, 2009). This research shows that whether
                                                                                                                     impurity reduces the frequency of networking, and thus perfor-
                                                                                                                                                                                              people approach work with a promotion or prevention focus is related
                                                                                                                     mance. Though insightful, their research is silent on what people
                                                                                                                                                                                              to distinct behaviors that are organizationally relevant, including pro-
                                                                                                                     could do to change their perspective toward instrumental network-
                                                                                                                                                                                              ductivity, innovation, and safety compliance (e.g., De Cremer, Mayer,
                                                                                                                     ing to avoid the costs of withdrawing from it, nor do Casciaro and
                                                                                                                                                                                              van Dijke, Bardes, & Schouten, 2009; Wallace et al., 2009). For
                                                                                                                     her colleagues shed light on the role that motives play in devel-
                                                                                                                                                                                              instance, Wallace and Chen (2006) found that prevention focus is
                                                                                                                     oping and nurturing professional ties. Here, we extend this work
                                                                                                                                                                                              positively and strongly related to safety behavior, while promotion
                                                                                                                     by arguing and showing that promotion and prevention focus are
                                                                                                                                                                                              focus is negatively and weakly related to it.
                                                                                                                     independent predictors of how people experience instrumental
                                                                                                                                                                                                 Similarly, regulatory focus can influence how people experience
                                                                                                                     networking and how much, as a result, they engage in it.
                                                                                                                                                                                              their social networks and how intensely they engage in profes-
                                                                                                                        Second, we further develop the theoretical link between regu-
                                                                                                                                                                                              sional networking. A promotion focus leads people to notice and
                                                                                                                     latory foci and morality advanced by Cornwell and Higgins (2015)
                                                                                                                     and establish it empirically. Third, we elaborate on the theoretical     remember information and emotions that result from positive
                                                                                                                     path between people’s motives to engage in instrumental profes-          outcomes, thus further directing their behavior toward achieving
                                                                                                                     sional networking, their experience of moral impurity, and how           them (Higgins, Roney, Crowe, & Hymes, 1994; Higgins, Shah, &
                                                                                                                     frequently they network. Fourth, we aim to establish that this path      Friedman, 1997; Higgins & Tykocinski, 1992). Promotion-focused
                                                                                                                     persists across three forms of regulatory focus: (a) the chronic         people invest their energy in activities that allow them to grow or
                                                                                                                     disposition (Higgins, 1997, 1998), (b) the temporarily activated         fulfill their aspirations, and away from those that translate into
                                                                                                                     psychological state (Liberman, Idson, Camacho, & Higgins, 1999),         sticking to the status quo (Neubert, Kacmar, Carlson, Chonko, &
                                                                                                                     and (c) a domain-specific form of promotion and prevention focus         Roberts, 2008). By contrast, a prevention focus leads people to
                                                                                                                     (Browman, Destin, & Molden, 2017), which we introduce to allow           pay attention to and remember information and emotions they
                                                                                                                     for the possibility that general trait and state regulatory foci may     experienced at some point in their past as a result of losses,
                                                                                                                     differ systematically from how a promotion and a prevention focus        failures, or punishments (Higgins & Tykocinski, 1992). As a result,
                                                                                                                     regulate a specific behavior, such as networking.                        prevention-focused individuals are vigilant and concerned with
                                                                                                                                                                                              accuracy when approaching tasks (Förster, Higgins, & Bianco,
                                                                                                                     How Motives Influence Moral Purity and Networking                        2003), as they seek to meet their obligations and others’ expecta-
                                                                                                                                                                                              tions (Higgins, 1997, 1998). Therefore, a prevention focus leads
                                                                                                                                                                                              people to engage in actions that will likely avoid negative out-
                                                                                                                     Self-Regulatory Foci and Moral Impurity
                                                                                                                                                                                              comes and comply with expectations or policies set by others
                                                                                                                        RFT states that promotion and prevention are mutually inhibi-         (Higgins et al., 1994). These motivational orientations lead indi-
                                                                                                                     tory modes of self-regulation: When one mode is unavailable or           viduals with a high prevention focus to derive greater life satis-
                                                                                                                     blocked, the other mode kicks in to compensate (Higgins, 1998).          faction when they are part of a highly dense network that allows
                                                                                                                     So, while a person may approach the same goal with both promo-           them to meet obligations and responsibilities. People with a high
                                                                                                                     tion and prevention, only one of the two systems is actively             promotion focus, instead, derive greater life satisfaction from a
                                                                                                                     engaged in achieving the goal at any point in time. When pursuing        low-density network that supports creative inspiration and per-
                                                                                                                     goals, people commonly use either a promotion or a prevention            sonal development (Zou, Ingram, & Higgins, 2015). Likewise, a
                                                                                                                     mode, and they can switch modes (Shah, Higgins, & Friedman,              promotion focus increases the frequency of professional network-
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 271 of 1282


                                                                                                                                                            NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                      1223

                                                                                                                     ing, whereas a prevention focus decreases it (Pollack, Forster,           subjective authenticity, in the context of both goal pursuit and inter-
                                                                                                                     Johnson, Coy, & Molden, 2015).                                            personal interaction (Kim et al., 2019).
                                                                                                                        We inform and deepen these insights by theorizing that the                The moral psychological foundations of this association be-
                                                                                                                     relationship between self-regulatory focus and networking behav-          tween regulatory focus and subjective authenticity are further
                                                                                                                     ior hinges on morality. We posit, in particular, that promotion and       corroborated by theory and evidence that people experience
                                                                                                                     prevention regulatory foci have distinct consequences for an indi-        feelings of authenticity as moral and pure; conversely, feelings
                                                                                                                     vidual’s sense of moral purity and authenticity when engaging in          of inauthenticity are experienced as immoral and impure (Gino,
                                                                                                                     instrumental professional networking. Our arguments hinge on a            Kouchaki, & Galinsky, 2015). These different streams of work
                                                                                                                     moral psychology of motivation that reflects advances in contem-          in moral philosophy and moral psychology, then, consistently
                                                                                                                     porary moral philosophy. A building block for such theorizing             provide arguments suggesting that prevention self-regulatory
                                                                                                                     stems from Cornwell and Higgins (2015), who underscored the               focus increases feelings of moral impurity because fulfilling the
                                                                                                                     existence of two ethical systems that motivate human behavior,            ought-self compromises authenticity; by contrast, promotion
                                                                                                                     mirroring the dual-process approach to motivation of RFT (Hig-            self-regulatory focus is negatively linked to moral impurity
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     gins, 1998). Specifically, Cornwell and Higgins (2015) posited that       because fulfilling the ideal-self does not compromise authen-
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     both promotion and prevention regulatory foci have ethical impli-         ticity.
                                                                                                                     cations: prevention focus refers to “a system of ethical oughts that         These arguments can be readily applied to the context of instru-
                                                                                                                     is concerned with maintaining obligations,” while promotion focus         mental networking. Namely, making professional connections with a
                                                                                                                     refers to “a system of ethical ideals that is concerned with attaining    prevention focus stems from an ethic consisting of a sense of profes-
                                                                                                                     virtues” (Cornwell & Higgins, 2015, p. 312). When motivated by            sional duty and adherence to behavioral norms in one’s field of
                                                                                                                     the pursuit of ethical oughts, the individual responds to duties and      activity. Prevention-focused instrumental networking is therefore
                                                                                                                     obligations imposed externally. By contrast, ethical ideals are           likely to induce feelings of inauthenticity and moral impurity because
                                                                                                                     internally held aspirations that the individual pursues freely.           the motivation to network instrumentally stems from oughts that a
                                                                                                                        Contemporary philosophy in turn sheds lights on the diametri-          professional context imposes on the individual. By contrast, people
                                                                                                                     cally different implications that ethical oughts and ethical ideals       who engage in instrumental networking with a promotion focus do so
                                                                                                                     have for authenticity. A fundamental premise of moral philosophy,         to achieve the aspirations of their ideal self. They are motivated by the
                                                                                                                     from Hegel’s phenomenology to Nietzsche and Sartre’s existen-             pursuit of advances and virtues that express their core individuality
                                                                                                                     tialist analyses, is that conducting one’s life by conforming to          (Taylor, 1991), instead of mechanically accepting an externally im-
                                                                                                                     prevailing morality—that is, in pursuit of the “ought” self— com-         posed code of values (Golomb, 1995). They are thus likely to expe-
                                                                                                                     promises authenticity as an ethical ideal (Varga, 2012). Hegel            rience instrumental networking as more authentic and morally pure
                                                                                                                     contrasts the “authentic self” that is incessantly committed to           than prevention-focused networkers are.
                                                                                                                     self-creation from the “honest individual” who submits to prevail-           According to moral psychology research, morality can be
                                                                                                                     ing duties and thus nullifies the urge of the human spirit to live in     thought in terms of purity and cleanliness (Zhong & Liljenquist,
                                                                                                                     complete freedom. In doing so, the “honest individual” in Hegel’s         2006). When people experience moral threats by acting in ways
                                                                                                                     analysis is a hypocrite who lacks real freedom and suffers from           that are not consistent with their moral values (e.g., by cheating
                                                                                                                     self-alienation (Golomb, 1995). Hegel’s premise paved the way for         when caring about honesty), they feel a greater need to cleanse
                                                                                                                     the existentialist revolution in modern moral philosophy, in which        physically, and cleansing-related concepts become more accessible
                                                                                                                     “the concept of authenticity is a protest against the blind, mechan-      in their minds (Zhong & Liljenquist, 2006). Thus, moral threats
                                                                                                                     ical acceptance of an externally imposed code of values” (Golomb,         lead people to engage in cleansing so that they can reaffirm their
                                                                                                                     1995, p. 11). Rejecting premodern views of morality as justified by       values and clean their tainted consciences (Tetlock, Kristel, Elson,
                                                                                                                     recourse to some higher authority, an ethic of authenticity is            Green, & Lerner, 2000). Regulatory focus may therefore predict
                                                                                                                     guided instead by motives and reasons that express a subject’s core       how inauthentic and dirty people feel in engaging in instrumental
                                                                                                                     individuality (Taylor, 1991), the ideal self (Cornwell & Higgins,         networking. Specifically, a promotion focus may yield networking
                                                                                                                     2015). An ethic of authenticity does not object to the normative          concerned with authentic virtues and meeting one’s ethical ideal,
                                                                                                                     content of motives but focuses instead on how a motive “fits with         and a prevention focus may yield networking motivated by the
                                                                                                                     the wholeness of a person’s life, and whether and how it expresses        “shoulds” prevailing in one’s professional environment and thus
                                                                                                                     who the person is” (Varga, 2012, p. 12).                                  triggers feelings of inauthenticity and impurity (Gino et al., 2015).
                                                                                                                        Consistent with these arguments, Kim and colleagues (Kim, Chen,        Thus, we hypothesize, engaging in instrumental networking with a
                                                                                                                     Davis, Hicks, & Schlegel, 2019) theorized a link between prevention       prevention focus increases feelings of inauthenticity and dirtiness,
                                                                                                                     and promotion self-regulatory focus— defined as the pursuit of exter-     whereas a promotion focus decreases them. As a result, people
                                                                                                                     nally imposed oughts versus personally held ideals, respectively          who engage in instrumental networking with a prevention focus
                                                                                                                     (Cornwell & Higgins, 2015)—and subjective authenticity. According         will experience higher levels of moral impurity as compared to
                                                                                                                     to their argument, “certain behaviors feel more natural and less          those with a promotion focus.
                                                                                                                     constrained by external influences. When individuals engage in these
                                                                                                                     actions, their subsequent psychological mindsets contribute to the        Moral Impurity and the Frequency of Instrumental
                                                                                                                     expression of core values and thus enhance subjective authenticity”; it
                                                                                                                                                                                               Networking
                                                                                                                     follows that “promotion focus, relative to prevention focus, functions
                                                                                                                     similarly in fostering authentic experiences” (Kim et al., 2019, p.         People vary in terms of both how likely they are to network
                                                                                                                     166). Evidence from both correlational studies and controlled exper-      and how frequently they engage in networking behavior (Forret
                                                                                                                     iments consistently supported a link between promotion focus and          & Dougherty, 2001; Wanberg et al., 2000), in part because they
                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 272 of 1282


                                                                                                                     1224                                                GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     have different attitudes toward networking (Azrin & Besalel,             tory focus and their feelings of moral impurity from instrumental
                                                                                                                     1982). Those with low “networking comfort” (i.e., embarrass-             networking for professional goals. In Studies 3A and 3B, we use
                                                                                                                     ment and discomfort when asking others for job leads or advice;          online samples to provide further evidence for these relationships
                                                                                                                     Wanberg et al., 2000) or even stronger feelings of moral im-             using designs that also include a control condition in addition to a
                                                                                                                     purity (which underlies networking discomfort; Casciaro et al.,          prevention-focus and a promotion-focus condition. In Study 4, we
                                                                                                                     2014) tend to engage in networking less often than others                conducted a cross-sectional survey of lawyers in a law firm to test
                                                                                                                     (Casciaro et al., 2014; Wanberg et al., 2000). Given that a              our predictions in a field context, where we measured trait pro-
                                                                                                                     promotion focus versus a prevention focus results in lower               motion and prevention foci both as a general orientation and one
                                                                                                                     levels of feelings of impurity and authenticity when engaging in         specific to networking. We tested for a serial mediation from a
                                                                                                                     instrumental networking, we expect people in a promotion                 lawyer’s trait promotion and prevention focus, to feelings of moral
                                                                                                                     focus to engage in instrumental networking more frequently               impurity they experience when they network instrumentally, to the
                                                                                                                     than those in a prevention focus because the former approach             frequency with which they network, and to their job performance.
                                                                                                                     lowers feelings of moral impurity.                                       Finally, in Study 5, we used a field experiment with working
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                                                                                              professionals to test the causal link between state networking-
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     Instrumental Networking Frequency and Job                                specific regulatory focus, moral purity, and frequency of instru-
                                                                                                                     Performance                                                              mental professional networking.
                                                                                                                                                                                                 We report all participants recruited, all experimental condi-
                                                                                                                        Finally, we wish to further corroborate existing theory and           tions, and all measures in each of our studies. The sample size
                                                                                                                     evidence on the consequences of disengaging from instrumental            for each study was determined before data collection began. We
                                                                                                                     networking on a professional’s job performance (Casciaro et al.,         calculated our sample size based on an estimate of medium
                                                                                                                     2014; Forret & Dougherty, 2001, 2004; Pollack et al., 2015;              effect size (f ⫽ 0.25), requiring a sample size of approximately
                                                                                                                     Wolff & Moser, 2009). Consistent with that prior work, we                50 participants per condition for a study powered at 80%. These
                                                                                                                     expect that more frequent instrumental networking will give              numbers are also consistent with the recommendations of Sim-
                                                                                                                     people greater access to valuable information, opportunities and         mons, Nelson, and Simonsohn (2013). For the laboratory and
                                                                                                                     resources, and thus will lead them to perform better in their            field studies, the final number was dictated by the availability
                                                                                                                     jobs.                                                                    of participants, we targeted more participants hoping to recruit
                                                                                                                        Given that a promotion focus results in greater frequency of          at least about 50 of them for each condition. For our correla-
                                                                                                                     instrumental networking, we expect people with a promotion focus         tional studies, an a priori power analysis with 80% power and
                                                                                                                     to also experience higher levels of performance. We also expect          assuming modest correlations among variables (r ⫽ .25) re-
                                                                                                                     prevention focus to result in lower frequency of networking and          quires about 99 participants, however, we targeted larger sam-
                                                                                                                     thus lower levels of performance. Figure 1 summarizes the pre-           ples at the outset, which would provide higher power to detect
                                                                                                                     dicted associations between regulatory focus, moral impurity, fre-
                                                                                                                                                                                              a small to medium effect size.
                                                                                                                     quency of instrumental professional networking, and job perfor-
                                                                                                                                                                                                 All studies’ materials can be found on OSF at https://osf.io/
                                                                                                                     mance.
                                                                                                                                                                                              kf2ut/?view_only⫽26073af04f9046cd9e0a62159a5755d4, toge-
                                                                                                                                                                                              ther with the data from Studies 1, 3A and 3B. The consent form
                                                                                                                                        Overview of the Studies                               used in Studies 2 and 5 stated that we would not be sharing any
                                                                                                                                                                                              data outside of the research team, even if the data were deiden-
                                                                                                                        We tested our main hypotheses in six complementary studies of
                                                                                                                                                                                              tified. We collected data for these studies before the institu-
                                                                                                                     the consequences of regulatory focus for the moral experience of
                                                                                                                                                                                              tional review board changed the recommended language on
                                                                                                                     professional instrumental networking, relying on both correlational
                                                                                                                                                                                              consent forms, to allow for data sharing and posting. For Study
                                                                                                                     and causal evidence and using measures capturing either trait
                                                                                                                     regulatory focus (general and domain-specific) or state regulatory       4, we are prohibited from sharing the data by a nondisclosure
                                                                                                                     focus (see Figure 2 for an overview).                                    agreement with the law firm where the data was collected.
                                                                                                                        In Study 1, we tested our predictions using a correlational design
                                                                                                                     in which we measured individuals’ chronic regulatory focus and                                        Study 1
                                                                                                                     assessed their feelings of moral impurity. In Study 2, a laboratory
                                                                                                                     experiment conducted both in the United States (Sample A) and in            Study 1 used a correlational design to examine how chronic
                                                                                                                     Italy (Sample B), we manipulated regulatory focus and provided           promotion and prevention regulatory focus affect people’s feelings
                                                                                                                     causal evidence for a relationship between people’s state regula-        of moral impurity from instrumental networking.



                                                                                                                                          3URPRWLRQIRFXV
                                                                                                                                                                         0RUDO,PSXULW\            )UHTXHQF\RI     +
                                                                                                                                                                       IURP,QVWUXPHQWDO           ,QVWUXPHQWDO            -RE3HUIRUPDQFH
                                                                                                                                          3UHYHQWLRQIRFXV                1HWZRUNLQJ                1HWZRUNLQJ
                                                                                                                                                               +
                                                                                                                                                                      Figure 1. Summary of predicted associations.
                                                                                                                                  Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 273 of 1282


                                                                                                                                                                 NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                                       1225

                                                                                                                      Study            Design             Tested Associaons                                                                                            Regulatory
                                                                                                                                                                                                                                                                        Focus Measure
                                                                                                                      1                Correlaonal                                                                                                                     Trait regulatory
                                                                                                                                       study of
                                                                                                                                                             3URPRWLRQIRFXV     -        0RUDO,PSXULW\                                                               focus
                                                                                                                                       M-Turk                                           IURP,QVWUXPHQWDO
                                                                                                                                       working adults                                      1HWZRUNLQJ
                                                                                                                                                            3UHYHQWLRQIRFXV
                                                                                                                                                                                  +
                                                                                                                      2                Laboratory                                                                                                                       State
                                                                                                                                       experiment            3URPRWLRQIRFXV              0RUDO,PSXULW\                                                              regulatory
                                                                                                                                       with students
                                                                                                                                                                                  -                                                                                     focus
                                                                                                                                                              YVSUHYHQWLRQ            IURP,QVWUXPHQWDO
                                                                                                                                       in US and                  IRFXV                     1HWZRUNLQJ
                                                                                                                                       Italian
                                                                                                                                       universies
                                                                                                                      3A and 3B        Online studies                                                                                                                   State
                                                                                                                                                             3URPRWLRQIRFXV     -
                                                                                                                                       of M-Turk                                                                                                                        regulatory
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                                                               YV&RQWURO                 0RUDO,PSXULW\        -
                                                                                                                                       working adults                                                                    1HWZRUNLQJ                                    focus (and
                                                                                                                                                                                         IURP,QVWUXPHQWDO
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                                                                                                                          ,QWHQWLRQV                                    control
                                                                                                                                                                                            1HWZRUNLQJ
                                                                                                                                                             3UHYHQWLRQIRFXV                                                                                          condion)
                                                                                                                                                                YV&RQWURO       +
                                                                                                                      4                Cross-seconal                                                                                                                   Trait &
                                                                                                                                                             3URPRWLRQIRFXV      -
                                                                                                                                       survey study                                        0RUDO,PSXULW\        -      )UHTXHQF\RI     +                            Domain-speciﬁc
                                                                                                                                       of law ﬁrm                                        IURP,QVWUXPHQWDO              ,QVWUXPHQWDO            -RE3HUIRUPDQFH      regulatory
                                                                                                                                                            3UHYHQWLRQIRFXV                1HWZRUNLQJ                   1HWZRUNLQJ                                  focus
                                                                                                                                                                                  +
                                                                                                                      5                Field                                                                                                                            Domain-speciﬁc
                                                                                                                                       experiment            3URPRWLRQIRFXV     -        0RUDO,PSXULW\        -      )UHTXHQF\RI                                  state
                                                                                                                                       with working           YVSUHYHQWLRQ            IURP,QVWUXPHQWDO              ,QVWUXPHQWDO                                  regulatory
                                                                                                                                       professionals              IRFXV                     1HWZRUNLQJ                   1HWZRUNLQJ                                  focus



                                                                                                                                                                                      Figure 2. Overview of studies.


                                                                                                                     Method                                                                                       events from their past. You will then be asked to answer a few questions.

                                                                                                                        Participants. A total of 412 people (Mage ⫽ 36.28, SD ⫽                               We asked all participants to recall a situation in which they
                                                                                                                     9.05, 56% male) from Amazon Mechanical Turk (MTurk; all                                  engaged in professional instrumental networking. The instructions
                                                                                                                     located in the United States) participated in a two-part study for $2.                   (adapted from Casciaro et al., 2014) read,
                                                                                                                     They received $0.50 for completing Part 1 and $1.50 for complet-
                                                                                                                     ing Part 2. We initially recruited 500 people, but only 412 com-                             Please recall a time in your professional life where you did something
                                                                                                                     pleted both Parts 1 and 2; thus, we used this smaller sample in our                          with the intention of strategically making a professional connection.
                                                                                                                     analyses.                                                                                    We are interested in a situation where you tried to create or maintain
                                                                                                                        Procedure. The initial instructions that welcomed participants                            relationships that would aid the execution of work tasks and your
                                                                                                                                                                                                                  professional success.
                                                                                                                     to the study included three attention checks. Those who failed one
                                                                                                                     or more received a message letting them know that they did not                               Other people engaging in this type of introspective task frequently
                                                                                                                     qualify for the study given their answer. Their data was not                                 write about instances where they attended receptions or networking
                                                                                                                     recorded.                                                                                    events because they wanted to meet potential clients or higher status
                                                                                                                        In Part 1, participants first indicated their age and gender. Next,                       colleagues.
                                                                                                                     they completed the Composite Regulatory Focus Scale (Haws,
                                                                                                                                                                                                                  Please describe the details about this situation. What was it like to be
                                                                                                                     Dholakia, & Bearden, 2010), which measures a person’s trait
                                                                                                                                                                                                                  in this situation? What thoughts and feelings did you experience?
                                                                                                                     promotion and prevention regulatory focus on a 7-point scale
                                                                                                                     (ranging from 1 ⫽ strongly disagree to 7 ⫽ strongly agree). A                                Please provide as many details as possible so that a person reading
                                                                                                                     sample item for promotion focus is “I see myself as someone who                              your entry would understand the situation and how you felt.
                                                                                                                     is primarily striving to reach my ‘ideal self’—to fulfill my hopes,
                                                                                                                     wishes, and aspirations.” A sample item for prevention focus is “I                          Next, to test the relationship between participants’ self-
                                                                                                                     see myself as someone who is primarily striving to become the self                       regulatory focus and the feeling of moral impurity they experience
                                                                                                                     I ‘ought’ to be—to fulfill my duties, responsibilities, and obliga-                      when engaging in instrumental networking, we measured partici-
                                                                                                                     tions.”                                                                                  pants’ feelings of impurity.
                                                                                                                                                                                                                 Moral impurity. Using a 7-point scale (ranging from 1 ⫽
                                                                                                                        We contacted participants four days later for the second part of
                                                                                                                                                                                                              not at all to 7 ⫽ very much), participants indicated the extent to
                                                                                                                     the study. In Part 2, participants received the following instruc-
                                                                                                                                                                                                              which the situation they described made them feel dirty, tainted,
                                                                                                                     tions:
                                                                                                                                                                                                              inauthentic, and ashamed (␣ ⫽ .90; adapted from Casciaro et
                                                                                                                          You will now be asked to recall a certain event and then write about it for         al., 2014). Though drawing on prior research, these items may
                                                                                                                          about five minutes. We are interested in how people remember and reflect on         evoke prevention rather than promotion focus. Thus, we also
                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 274 of 1282


                                                                                                                     1226                                                GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     included items that are more regulatory-focus neutral: wrong,           sional networking. We also extend our findings from Study 1 by
                                                                                                                     unnatural and impure (␣ ⫽ .84; from the moral foundation                examining regulatory focus triggered in the moment rather than
                                                                                                                     questionnaire, Graham et al., 2011). When conducting a factor           measured as an individual difference. To examine the contextual
                                                                                                                     analysis, we found that the seven items loaded onto the same            robustness of our findings, we collected data on two culturally
                                                                                                                     factor, so we also created a composite measure by averaging all         different samples of students, one from the United States and one
                                                                                                                     items (␣ ⫽ .94).                                                        from Italy. This allowed us to test our main proposition in two
                                                                                                                        Comprehension check. We asked participants to indicate               different cultures.
                                                                                                                     whether they wrote about a professional or personal situation in the       Across our main dependent measures of interest (i.e., feelings of
                                                                                                                     initial writing task they had completed.                                moral impurity and desire to physically cleanse), we expect to find
                                                                                                                                                                                             a significant interaction between the two manipulations, such that
                                                                                                                                                                                             a promotion focus leads to lower feelings of moral impurity and a
                                                                                                                     Results
                                                                                                                                                                                             lower desire to cleanse oneself than a prevention focus in the case
                                                                                                                        All answers to the comprehension check question were correct.        of instrumental networking, but regulatory focus leads to no dif-
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     Table 1 reports the descriptive statistics and bivariate correlations   ferences on these measures in the case of spontaneous networking.
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     among the main variables we measured in this study. As expected,
                                                                                                                     on all three ways we constructed a measure of moral impurity (the
                                                                                                                                                                                             Method
                                                                                                                     four-item measure, the three-item measure with regulatory-focus
                                                                                                                     neutral words, and the composite seven-item measure), we found             Participants and design. Participants were randomly as-
                                                                                                                     a negative and significant correlation between the promotion ori-       signed to one of four conditions in a 2 (Type of Networking:
                                                                                                                     entation index and feelings of impurity, and a positive and signif-     instrumental vs. spontaneous) ⫻ 2 (Motive: promotion vs. preven-
                                                                                                                     icant correlation between the prevention orientation index and          tion focus) between-subjects design.
                                                                                                                     feelings of impurity.                                                      Sample A. A total of 367 students (Mage ⫽ 21.93, SD ⫽ 2.91;
                                                                                                                        We also conducted partial correlations analyses to test for the      43% male) recruited through a U.S. university-affiliated research
                                                                                                                     independent effects of a promotion focus and a prevention focus         pool participated in the study. Participants received $20 for com-
                                                                                                                     on felt moral impurity. When controlling for prevention, the pro-       pleting the experiment.
                                                                                                                     motion orientation index was negatively correlated with feelings of        Sample B. A total of 254 students (Mage ⫽ 20.80, SD ⫽ 1.76;
                                                                                                                     impurity (r ⫽ ⫺.10, p ⫽ .04 for the four-item measure, r ⫽ ⫺.10,        54% male) recruited through an Italian university-affiliated re-
                                                                                                                     p ⫽ .055 for the three-item measure with regulatory-focus neutral       search pool participated in the study. Participants received €15 for
                                                                                                                     words, and r ⫽ ⫺.10, p ⫽ .04 for the seven-item measure). When          completing the experiment. All the materials (including the word
                                                                                                                     controlling for promotion, the prevention orientation index was         completion task) were translated into Italian.
                                                                                                                     positively correlated with feelings of impurity (r ⫽ .18, p ⬍ .001         Procedure. We used the same procedure in each sample but
                                                                                                                     for the four-item measure, and r ⫽ .19, p ⬍ .001 for the three-item     used materials translated into Italian for the Italian sample.1 Par-
                                                                                                                     measure with regulatory-focus neutral words, and r ⫽ .19, p ⬍           ticipants read initial instructions that welcomed them to the study.
                                                                                                                     .001 for the seven-item measure).                                       Next, we asked them to complete a writing task, which was
                                                                                                                                                                                             intended to manipulate regulatory focus (as in Freitas & Higgins,
                                                                                                                                                                                             2002). The instructions specified that we were “interested in de-
                                                                                                                     Discussion
                                                                                                                                                                                             tailed writing skills, and in the way people naturally express
                                                                                                                        The results of Study 1 provide initial evidence for the relation-    themselves.” In the promotion condition, the instructions (as in
                                                                                                                     ship between regulatory focus and feelings of moral impurity that       Zhang, Higgins, & Chen, 2011) read, “Please think about some-
                                                                                                                     people commonly experience when engaging in instrumental pro-           thing you ideally would like to do. In other words, think about a
                                                                                                                     fessional networking.                                                   hope or aspiration that you currently have. Please list the hope or
                                                                                                                                                                                             aspiration below.” In the prevention condition, the instructions
                                                                                                                                                                                             read, “Please think about something you think you ought to do. In
                                                                                                                                                  Study 2
                                                                                                                                                                                             other words, think about a duty or obligation that you currently
                                                                                                                        In Study 2, we moved to the controlled environment of the            have. Please list the duty or obligation below.”
                                                                                                                     laboratory to examine how promotion and prevention regulatory              Next, participants engaged in a task designed to manipulate the
                                                                                                                     focus influence how people feel when engaging in instrumental           type of professional networking. Using the manipulation of instru-
                                                                                                                     professional networking. In this study, we included two manipu-         mental versus spontaneous professional networking in Casciaro et
                                                                                                                     lations: one for regulatory focus (promotion vs. prevention) and        al. (2014), we asked participants to put themselves in the shoes of
                                                                                                                     another for the type of professional networking (instrumental vs.       the protagonist in the story they were about to read. Each story
                                                                                                                     spontaneous). Previous work by Casciaro and colleagues (2014)           asked participants to imagine being invited to attend an event
                                                                                                                     distinguished between instrumental networking, where a person           during which they socialized with other people. In the story used
                                                                                                                     initiates a social relationship proactively and with the goal of        in the instrumental condition, the main character was described as
                                                                                                                     obtaining benefits (e.g., advancement or an advantage), and spon-       “actively and intentionally pursuing professional connections with
                                                                                                                     taneous networking, where the social tie emerges naturally, with
                                                                                                                     no premeditated purpose, and is initiated by someone else. The             1
                                                                                                                                                                                                  To ensure we had a proper translation of the materials, we first
                                                                                                                     authors found that the former leads to greater feelings of dirtiness    translated them from English to Italian (with the help of two Italian native
                                                                                                                     and inauthenticity than the latter. We build on this work by            speakers who are fluent in English) and then translated them back into
                                                                                                                     examining the effect of regulatory focus for each type of profes-       English to resolve any inconsistency.
                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 275 of 1282


                                                                                                                                                                 NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                        1227

                                                                                                                                         Table 1
                                                                                                                                         Descriptive Statistics and Correlations Among the Variables Collected in Study 1

                                                                                                                                                                                                                        Bivariate correlations
                                                                                                                                                              Variable                      M (SD)            1           2           3            4      5

                                                                                                                                         1. Moral impurity (MI; 4 items)                   1.73 (1.27)
                                                                                                                                         2. MI, regulatory-focus neutral (3 items)         1.68 (1.26)      .89ⴱⴱⴱ
                                                                                                                                         3. MI (7 items)                                   1.71 (1.23)      .98ⴱⴱⴱ      .96ⴱⴱⴱ
                                                                                                                                         4. Promotion orientation index                    5.18 (1.08)     ⫺.13ⴱⴱ      ⫺.12ⴱ      ⫺.13ⴱⴱ
                                                                                                                                         5. Prevention orientation index                   4.57 (1.05)      .20ⴱⴱⴱ      .21ⴱⴱⴱ     .21ⴱⴱⴱ        ⫺.16ⴱⴱ
                                                                                                                                         ⴱ              ⴱⴱ               ⴱⴱⴱ
                                                                                                                                             p ⬍ .05.        p ⬍ .01.          p ⬍ .001.
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     the belief that connections are important for future professional                   relying on the first word they could think of. The task consisted of
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     success” (from Casciaro et al., 2014). In the story used in the                     six word fragments. Three of them (W _ _ H, S H _ _ E R, and
                                                                                                                     spontaneous condition, instead, the main character found herself or                 S _ _ P) could be turned into cleansing-related words (wash,
                                                                                                                     himself making connections rather than pursuing them intention-                     shower, and soap) or into unrelated, neutral words (e.g., wish,
                                                                                                                     ally.                                                                               shaker, and step), and the other three word fragments (F _ O _,
                                                                                                                        Next, participants saw a list of behaviors and had to indicate the               B _ _ K, and P A _ _ R) could be turned only into unrelated,
                                                                                                                     extent to which they found each of them to be desirable (1 ⫽                        neutral words (e.g., food, book, and paper). Finally, participants
                                                                                                                     completely undesirable to 7 ⫽ completely desirable). We listed                      indicated their age and gender.
                                                                                                                     both cleansing behaviors (i.e., taking a shower, washing hands, and
                                                                                                                     brushing teeth) and neutral behaviors (e.g., talking a walk, having
                                                                                                                     something to eat, going to the movies, listening to music, reading                  Results
                                                                                                                     a book, and watching TV), as in Zhong and Liljenquist (2006).
                                                                                                                                                                                                            We report the results of our analyses separately for each sample.
                                                                                                                        We then asked participants to report how they felt at that
                                                                                                                                                                                                         Importantly, the nature and significance of the results did not vary
                                                                                                                     moment, by indicating the extent to which they felt various posi-
                                                                                                                                                                                                         based on the location where the data was collected.
                                                                                                                     tive and negative emotions from the Positive and Negative Affec-
                                                                                                                                                                                                            Sample A: Data collected in the United States.
                                                                                                                     tivity Schedule (Watson, Clark, & Tellegen, 1988), using a 5-point
                                                                                                                                                                                                            Moral impurity. A 2 (Regulatory Focus) ⫻ 2 (Type of Net-
                                                                                                                     scale (1 ⫽ very slightly or not at all, 5 ⫽ extremely). Using the
                                                                                                                                                                                                         working) between-subjects analysis of variance (ANOVA) using
                                                                                                                     same scale, they also indicated how much they felt dirty, inau-
                                                                                                                                                                                                         feelings of moral impurity as the dependent measure revealed a
                                                                                                                     thentic, and impure (as in Gino et al., 2015) to assess feelings of
                                                                                                                                                                                                         significant main effect of regulatory focus, F(1, 363) ⫽ 4.41, p ⫽
                                                                                                                     moral impurity (␣U.S._sample ⫽ .64; ␣Italy_sample ⫽ .70). The order
                                                                                                                                                                                                         .036, ␩2p ⫽ .012, such that participants who approached networking
                                                                                                                     in which the Positive and Negative Affectivity Schedule items
                                                                                                                                                                                                         with a promotion focus reported feeling less impure (M ⫽ 1.58,
                                                                                                                     (negative affect, ␣U.S._sample ⫽ .88, ␣Italy_sample ⫽ .85; positive
                                                                                                                     affect, ␣U.S._sample ⫽ .92, ␣Italy_sample ⫽ .87) and those used to                  SD ⫽ 0.69) than those who approached networking with a pre-
                                                                                                                     measure feelings of impurity were presented to participants was                     vention focus (M ⫽ 1.74, SD ⫽ 0.77). The main effect of type of
                                                                                                                     random. Though we did not have predictions about positive and                       networking was also significant, F(1, 363) ⫽ 5.63, p ⫽ .018, ␩2p ⫽
                                                                                                                     negative affect, we included these measures to show that our                        .015: Participants who imagined engaging in instrumental net-
                                                                                                                     hypotheses are specific to moral emotions rather than general                       working felt more impure (M ⫽ 1.75, SD ⫽ 0.81) than did those
                                                                                                                     affect more broadly.                                                                who imagined engaging in spontaneous networking (M ⫽ 1.57,
                                                                                                                        Next, we reminded participants of the writing task they had                      SD ⫽ 0.64). Importantly, consistent with our predictions, the
                                                                                                                     completed earlier. The instructions for the promotion (prevention)                  interaction of regulatory focus and type of networking was also
                                                                                                                     condition (adapted from Lalot, Quiamzade, & Falomir-Pichastor,                      significant, F(1, 363) ⫽ 12.66, p ⬍ .001, ␩2p ⫽ .034. When
                                                                                                                     2018) read,                                                                         participants imagined engaging in instrumental networking,
                                                                                                                                                                                                         they reported feeling less dirty when they had a promotion
                                                                                                                         Now please take a minute and think about what you wrote earlier                 focus (M ⫽ 1.53, SD ⫽ 0.66) than when they had a prevention
                                                                                                                         about something you ideally would like to do [you ought to do]; in              focus (M ⫽ 1.96, SD ⫽ 0.88), F(1, 363) ⫽ 16.03, p ⬍ .001.
                                                                                                                         other words, think about a hope or aspiration [a duty or obligation]
                                                                                                                                                                                                         However, when they imagined engaging in spontaneous networking,
                                                                                                                         that you currently have. Please reflect on your experience for 1–2 min
                                                                                                                                                                                                         they felt about equally impure, independent of their regulatory focus
                                                                                                                         and then proceed to the next task.
                                                                                                                                                                                                         (Mpromotion ⫽ 1.62, SD ⫽ 0.71 vs. Mprevention ⫽ 1.51, SD ⫽ 0.56),
                                                                                                                     We also reminded participants of the story they read and asked                      F(1, 363) ⫽ 1.07, p ⫽ .30.
                                                                                                                     them to reflect on it for a minute or two and write a few words that                   Negative and positive affect. A similar 2 ⫻ 2 ANOVA using
                                                                                                                     came to mind regarding the story before proceeding to the next                      negative affect as the main dependent measure revealed no signif-
                                                                                                                     task.                                                                               icant effects (all ps ⬎ .18). As for positive affect, we only found
                                                                                                                        Next, participants moved onto a word-completion task we used                     a marginally significant effect of type of networking, F(1, 363) ⫽
                                                                                                                     to measure how accessible cleansing was in their mind at that                       3.60, p ⫽ .059, ␩2p ⫽ .01: Participants who imagined engaging in
                                                                                                                     moment (adapted from Zhong & Liljenquist, 2006). In this task,                      instrumental networking reported lower positive affect (M ⫽ 2.64,
                                                                                                                     participants need to turn word fragments into meaningful words by                   SD ⫽ 0.92) than did those who imagined engaging in spontaneous
                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 276 of 1282


                                                                                                                     1228                                              GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     networking (M ⫽ 2.82, SD ⫽ 0.89). No other effects were signif-       networking, they reported about the same degree of desire, inde-
                                                                                                                     icant (ps ⬎ .24).                                                     pendent of their regulatory focus (Mpromotion ⫽ 4.46, SD ⫽ 1.31
                                                                                                                        Cleansing behaviors. As predicted, a 2 (regulatory Focus) ⫻ 2      vs. Mprevention ⫽ 4.15, SD ⫽ 1.58), F(1, 250) ⫽ 1.66, p ⫽ .20.
                                                                                                                     (Type of Networking) between-subjects ANOVA using desirabil-          When considering neutral behaviors, however, we did not find any
                                                                                                                     ity of cleansing behaviors as the dependent variable revealed a       significant effects (all ps ⬎ .14).
                                                                                                                     significant interaction, F(1, 363) ⫽ 4.15, p ⫽ .042, ␩2p ⫽ .011.         Accessibility of cleansing-related words. A similar 2 ⫻ 2
                                                                                                                     When participants imagined engaging in instrumental networking,       between-subjects ANOVA revealed the predicted interaction be-
                                                                                                                     they reported a lower desire for cleansing behaviors when they had    tween regulatory focus and type of networking, F(1, 250) ⫽ 14.80,
                                                                                                                     a promotion focus (M ⫽ 4.37, SD ⫽ 1.16) than when they had a          p ⬍ .001, ␩2p ⫽ .056. When participants imagined engaging in
                                                                                                                     prevention focus (M ⫽ 5.02, SD ⫽ 1.13), F(1, 363) ⫽ 15.48, p ⬍        instrumental networking, they generated fewer cleansing-related
                                                                                                                     .001. However, when they imagined engaging in spontaneous             words when they had a promotion focus (M ⫽ 1.05, SD ⫽ 0.78)
                                                                                                                     networking, they reported about the same degree of desire, inde-      than when they had a prevention focus (M ⫽ 1.77, SD ⫽ 1.08),
                                                                                                                     pendent of their regulatory focus (Mpromotion ⫽ 4.46, SD ⫽ 1.06       F(1, 250) ⫽ 20.45, p ⬍ .001. However, when they imagined
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     vs. Mprevention ⫽ 4.64, SD ⫽ 1.12), F(1, 363) ⫽ 1.11, p ⫽ .29.        engaging in spontaneous networking, they generated about the
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     When considering neutral behaviors, however, we did not find any      same number of cleansing-related words independent of their
                                                                                                                     significant effects (all ps ⬎ .34).                                   regulatory focus (Mpromotion ⫽ 1.02, SD ⫽ 0.89 vs. Mprevention ⫽
                                                                                                                        Accessibility of cleansing-related words. A similar 2 ⫻ 2          0.88, SD ⫽ 0.80), F(1, 250) ⬍ 1, p ⫽ .39.
                                                                                                                     between-subjects ANOVA revealed a significant interaction be-
                                                                                                                     tween regulatory focus and type of networking, F(1, 363) ⫽ 6.28,
                                                                                                                                                                                           Discussion
                                                                                                                     p ⫽ .013, ␩2p ⫽ .017, as predicted. When participants imagined
                                                                                                                     engaging in instrumental networking, they generated fewer                The results of our second study are consistent with our expec-
                                                                                                                     cleansing-related words when they had a promotion focus (M ⫽          tations and provide evidence that the motives people have when
                                                                                                                     1.08, SD ⫽ 0.97) than when they had a prevention focus (M ⫽           they approach networking influence how morally impure they feel
                                                                                                                     1.40, SD ⫽ 0.88), F(1, 363) ⫽ 5.88, p ⫽ .016. However, when           after engaging in instrumental networking as well as their resulting
                                                                                                                     they imagined engaging in spontaneous networking, they gener-         desire to physically cleanse themselves. Specifically, a focus on
                                                                                                                     ated about the same number of cleansing-related words indepen-        promotion rather than prevention in approaching instrumental net-
                                                                                                                     dent of their regulatory focus (Mpromotion ⫽ 0.99, SD ⫽ 0.87 vs.      working reduces both feelings of moral impurity and the desire to
                                                                                                                     Mprevention ⫽ 0.84, SD ⫽ 0.93), F(1, 363) ⫽ 1.28, p ⫽ .26.            physically cleanse oneself. We found support for these relation-
                                                                                                                        Sample B: Data collected in Italy.                                 ships in two different samples, in the United States and in Italy,
                                                                                                                        Moral impurity. A 2 (Regulatory Focus) ⫻ 2 (Type of Net-           suggesting that our observed effects may hold across cultures.
                                                                                                                     working) between-subjects ANOVA using feelings of moral im-
                                                                                                                     purity as the dependent measure revealed the predicted significant
                                                                                                                                                                                                                        Study 3
                                                                                                                     interaction of regulatory focus and type of networking, F(1,
                                                                                                                     250) ⫽ 9.57, p ⬍ .001, ␩2p ⫽ .037. When participants imagined           In Studies 3A and B, both conducted online, we further examine
                                                                                                                     engaging in instrumental networking, they reported feeling less       the independent effects of promotion and prevention regulatory
                                                                                                                     impure when they had a promotion focus (M ⫽ 1.70, SD ⫽ 0.62)          focus on feelings of impurity and intentions to engage in network-
                                                                                                                     than when they had a prevention focus (M ⫽ 2.27, SD ⫽ 0.82),          ing by also including a control condition in the experimental
                                                                                                                     F(1, 250) ⫽ 19.78, p ⬍ .001. However, when they imagined              design.
                                                                                                                     engaging in spontaneous networking, they felt about equally im-
                                                                                                                     pure, independent of their regulatory focus (Mpromotion ⫽ 1.66,
                                                                                                                                                                                           Study 3A
                                                                                                                     SD ⫽ 0.62 vs. Mprevention ⫽ 1.67, SD ⫽ 0.74), F(1, 250) ⬍ 1, p ⫽
                                                                                                                     .89.                                                                     Method.
                                                                                                                        Negative and positive affect. A similar 2 ⫻ 2 ANOVA using             Participants and design. A total of 599 working adults re-
                                                                                                                     negative affect as the main dependent measure revealed no signif-     cruited through MTurk (Mage ⫽ 36.94, SD ⫽ 9.15; 46% male), all
                                                                                                                     icant effects (all ps ⬎ .44). As for positive affect, we found a      located in the United States, participated in a 15-min online study,
                                                                                                                     significant effect of regulatory focus, F(1, 250) ⫽ 6.28, p ⫽ .013,   and received $2 for their participation. We recruited 600 partici-
                                                                                                                     ␩2p ⫽ .024: Participants in the prevention-focus condition reported   pants but only 599 completed the study in the time allotted. We
                                                                                                                     lower positive affect (M ⫽ 3.31, SD ⫽ 0.63) than those in the         randomly assigned participants to one of three conditions: control
                                                                                                                     promotion-focus condition (M ⫽ 3.51, SD ⫽ 0.64). No other             versus promotion focus versus prevention focus.
                                                                                                                     effects were significant (ps ⬎ .20).                                     Procedure. Participants read initial instructions that wel-
                                                                                                                        Cleansing behaviors. As predicted, a 2 (Regulatory Focus) ⫻ 2      comed them to the study. Next, we asked them to complete a
                                                                                                                     (Type of Networking) between-subjects ANOVA using desirabil-          writing task, which was intended to manipulate regulatory focus
                                                                                                                     ity of cleansing behaviors as the dependent measure revealed a        (as in Freitas & Higgins, 2002). The instructions specified that we
                                                                                                                     significant interaction, F(1, 250) ⫽ 11.18, p ⫽ .001, ␩2p ⫽ .043.     were “interested in detailed writing skills, and in the way people
                                                                                                                     When participants imagined engaging in instrumental networking,       naturally express themselves.” In the promotion condition, the
                                                                                                                     they reported a lower desire for cleansing behaviors when they had    instructions (as in Zhang et al., 2011) read, “Please think about
                                                                                                                     a promotion focus (M ⫽ 4.27, SD ⫽ 1.21) than when they had a          something you ideally would like to do. In other words, think
                                                                                                                     prevention focus (M ⫽ 5.09, SD ⫽ 1.22), F(1, 250) ⫽ 11.64, p ⫽        about a hope or aspiration that you currently have. Please list the
                                                                                                                     .001. However, when they imagined engaging in spontaneous             hope or aspiration below.” In the prevention condition, the instruc-
                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 277 of 1282


                                                                                                                                                             NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                         1229

                                                                                                                     tions read, “Please think about something you think you ought to             1.93, SD ⫽ 1.34; p ⬍ .001). Moral impurity was also lower in the
                                                                                                                     do. In other words, think about a duty or obligation that you                promotion-focus condition than in the control condition (p ⫽
                                                                                                                     currently have. Please list the duty or obligation below.” In the            .024).
                                                                                                                     control condition, the instructions read, “Please think about some-             Networking intentions. Networking intentions also varied by
                                                                                                                     thing you usually do in the evening. Please list the activities you          condition, F(2, 596) ⫽ 19.84, p ⬍ .001, ␩2p ⫽ .062. Participants
                                                                                                                     engage in during the evening on a typical day below.”                        indicated they would network less frequently in the future in the
                                                                                                                        Next, participants engaged in a task simulating instrumental              prevention-focus condition (M ⫽ 4.07, SD ⫽ 1.70) as compared to
                                                                                                                     networking. Similar to Casciaro et al. (2014), we asked partici-             the promotion-focus condition (M ⫽ 5.12, SD ⫽ 1.68; p ⬍ .001)
                                                                                                                     pants to put themselves in the shoes of the protagonist in the story         or the control condition (M ⫽ 4.74, SD ⫽ 1.71; p ⬍ .001).
                                                                                                                     they were about to read. The story asked participants to imagine             Network intentions were higher in the promotion-focus condition
                                                                                                                     being invited to attend an event during which they socialized with           than they were in the control condition (p ⫽ .024).
                                                                                                                     other people. In the story, the main character was described as                 Mediation. We tested for moral impurity as the mediator of
                                                                                                                     “actively and intentionally making professional connections with             the relationship between our regulatory focus manipulation and
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     the belief that connections are important for future professional            networking intentions. We first conducted analyses using the
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     effectiveness” (from Casciaro et al., 2014).                                 dummy for the prevention-focus condition as the independent
                                                                                                                        Next, we asked participants to report how they felt at that               variable, and the dummy for the control condition as covariate.
                                                                                                                     moment, by indicating the extent to which they felt using the                Using bootstrapping with 10,000 iterations, we estimated the direct
                                                                                                                     comprehensive list of 7 items from Study 1: dirty, inauthentic, and          and indirect effects of prevention focus through moral impurity on
                                                                                                                     impure, ashamed, wrong, unnatural, and tainted (␣ ⫽ .95). We                 our dependent variable, networking intentions. The 95% bias-
                                                                                                                     then reminded participants of the writing task they had completed            corrected confidence interval (CI) for the size of the indirect effect
                                                                                                                     earlier. The instructions for the promotion (prevention) condition           (⫺0.36, SE ⫽ .06) excluded zero (95% CI [– 0.496, ⫺0.243]),
                                                                                                                     read,                                                                        suggesting that feelings of moral impurity mediated the link be-
                                                                                                                                                                                                  tween prevention focus and lower networking intentions.
                                                                                                                         Now please take a minute and think about what you wrote earlier             Next, we conducted analyses using the dummy for the
                                                                                                                         about something you ideally would like to do [you ought to do]; in
                                                                                                                                                                                                  promotion-focus condition as the independent variable, and the
                                                                                                                         other words, think about a hope or aspiration [a duty or obligation]
                                                                                                                         that you currently have. Please reflect on your experience for 1–2 min
                                                                                                                                                                                                  dummy for the control condition as covariate. Using bootstrapping
                                                                                                                         and then proceed to the next task.                                       with 10,000 iterations, we found that the 95% bias-corrected CI for
                                                                                                                                                                                                  the size of the indirect effect (0.36, SE ⫽ .06) excluded zero (95%
                                                                                                                     We also reminded participants of the story they read and asked               CI [0.242, 0.496]), suggesting that feelings of moral impurity
                                                                                                                     them to reflect on it for a minute or two and write a few words that         mediated the link between promotion focus and higher networking
                                                                                                                     came to mind regarding the story before proceeding to the next               intentions.
                                                                                                                     task.
                                                                                                                        Next, all participants were asked to answer questions about their
                                                                                                                     networking intentions, our main dependent measure. We relied on              Study 3B
                                                                                                                     a measure used in prior work (Raj, Fast, & Fisher, 2017): a                     Method.
                                                                                                                     self-reported measure of the extent to which participants intended              Participants and design. A total of 572 working adults (Mage ⫽
                                                                                                                     to engage in professional networking in the near future. Partici-            35.37, SD ⫽ 8.81; 52% male), all located in the United States and
                                                                                                                     pants indicated the extent to which they believed they would seek            recruited through MTurk, participated in a 15-min online study. They
                                                                                                                     to expand their professional network in the next month. We used              received $2 for their participation. Only participants who had a
                                                                                                                     the following four items: “To what degree will you try to strate-            LinkedIn account could participate. We recruited 600 participants, but
                                                                                                                     gically work on your professional network in the next month?”;               only 572 completed the study in the time allotted. We randomly
                                                                                                                     “In the next month, how likely are you to voluntarily engage in              assigned participants to one of three conditions: control versus pro-
                                                                                                                     behaviors that expand your professional network?”; “To what                  motion focus versus prevention focus.
                                                                                                                     degree do you plan to establish new professional connections in                 Procedure. In Study 3B, we used the same procedure and
                                                                                                                     the next month?”; and “In the next month, to what degree is having           design as in Study 3A with one difference: Instead of reading the
                                                                                                                     a strong professional network a goal that you plan to pursue?”               story as explained above, we asked participants to actually engage
                                                                                                                     Participants indicated their intention to network in the next month          in instrumental networking. We did so to add richness to the
                                                                                                                     using a 7-point Likert-type scale (1 ⫽ not at all, 7 ⫽ very much).           paradigm as we wanted participants to experience what it feels
                                                                                                                     These items were averaged to create a composite measure of                   like to engage in instrumental networking. Specifically, as in
                                                                                                                     networking intentions (␣ ⫽ .96). Finally, participants indicated             Casciaro et al. (2014, Study 4), we asked participants to select a
                                                                                                                     their age and gender.                                                        person in their network (someone they were already connected
                                                                                                                        Results.                                                                  with or someone they would like to connect with), draft a message,
                                                                                                                        Moral impurity. Given that all items loaded onto one factor,              and send the message to that individual through their personal
                                                                                                                     we averaged them all into a composite measure of moral impurity
                                                                                                                     (␣ ⫽ .95).2 We found that this seven-item measure varied by
                                                                                                                                                                                                     2
                                                                                                                     condition, F(2, 596) ⫽ 17.69, p ⬍ .001, ␩2p ⫽ .056. Participants                  Similar to Study 1, feeling of impurity varied by condition, indepen-
                                                                                                                                                                                                  dent of whether moral impurity was measured with four items: dirty,
                                                                                                                     felt more morally impure in the prevention-focus condition (M ⫽              tainted, inauthentic, and ashamed, ␣ ⫽ .91, F(2, 596) ⫽ 18.10, p ⬍ .001,
                                                                                                                     2.39, SD ⫽ 1.36) as compared to the promotion-focus condition                ␩2p ⫽ .057, or the three regulatory-focus neutral items: wrong, unnatural
                                                                                                                     (M ⫽ 1.64, SD ⫽ 1.07; p ⬍ .001) or the control condition (M ⫽                and impure, ␣ ⫽ .89, F(2, 596) ⫽ 16.15, p ⬍ .001, ␩2p ⫽ .051.
                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 278 of 1282


                                                                                                                     1230                                              GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     LinkedIn account. Participants were told, “Your intention in send-    Second, we coded whether the message was aimed at forming a
                                                                                                                     ing the message should be to strategically make a professional        connection to meet a professional goal (value of 1), as we had
                                                                                                                     connection. With this message, you are trying to create a connec-     defined instrumental networking in the instructions, or whether
                                                                                                                     tion that would aid the execution of work tasks and your profes-      they were using the assigned task to just make a social connection
                                                                                                                     sional effectiveness.” We did not have a way of tracking whether      (e.g., saying hello to a friend; value of 0 in our coding). Given the
                                                                                                                     participants actually sent the message they wrote through             instructions we used we expected no differences across conditions
                                                                                                                     LinkedIn.                                                             on this dimension. Finally, we coded for language indicating
                                                                                                                        Afterward, all participants answered questions about their net-    promotion or prevention focus. We used a value of 1 when
                                                                                                                     working intentions, as in Study 3A. Specifically, they completed      messages related to growth, advancement, and accomplishment,
                                                                                                                     the four-item self-reported measure of the extent to which they       and striving toward wishes and aspirations (for promotion). We
                                                                                                                     believed they would seek to expand their professional network in      used a value of 0 when the messages related to missing opportu-
                                                                                                                     the next month (␣ ⫽ .95, adapted from Raj et al., 2017). Finally,     nities and meeting their responsibilities and duties (for prevention).
                                                                                                                     participants indicated their age and gender.                          When messages did not include either, we left the cell in the data
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                        Results.                                                           blank.
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                        Moral impurity. Given that all seven items loaded onto one            We found no differences across conditions on the first and second
                                                                                                                     factor, we averaged them all into a composite measure of moral        dimension (p ⫽ .20 and p ⫽ .51, respectively). As for the third
                                                                                                                     impurity (␣ ⫽ .93).3 We found that this seven-item measure varied     dimension, we found differences across conditions, ␹2(461) ⫽ 6.38,
                                                                                                                     by condition, F(2, 570) ⫽ 20.66, p ⬍ .001, ␩2p ⫽ .068. Participants   p ⫽ .041: A higher percentage of participants used promotion lan-
                                                                                                                     felt more morally impure in the prevention-focus condition (M ⫽       guage in the promotion condition (73% of them) as compared to the
                                                                                                                     2.30, SD ⫽ 1.33) as compared to the promotion-focus condition         prevention condition or the control condition (67.7% and 59.5%,
                                                                                                                     (M ⫽ 1.53, SD ⫽ 0.96; p ⬍ .001) or the control condition (M ⫽         respectively).
                                                                                                                     2.01, SD ⫽ 1.17; p ⫽ .016). However, moral impurity was lower
                                                                                                                     in the promotion-focus condition than it was in the control condi-
                                                                                                                                                                                           Discussion
                                                                                                                     tion (p ⬍ .001).
                                                                                                                        Networking intentions. Networking intentions also varied by           The results of Studies 3A and 3B provide further support for the
                                                                                                                     condition, F(2, 570) ⫽ 19.56, p ⬍ .001, ␩2p ⫽ .064. Participants      independent effects of promotion and prevention focus on feelings
                                                                                                                     indicated they would network less frequently in the future in the     of impurity and instrumental networking, by showing differences
                                                                                                                     prevention-focus condition (M ⫽ 4.17, SD ⫽ 1.53) as compared to       as compared to a control condition.
                                                                                                                     the promotion-focus condition (M ⫽ 5.19, SD ⫽ 1.51; p ⬍ .001)
                                                                                                                     or the control condition (M ⫽ 4.53, SD ⫽ 1.73; p ⫽ .025).
                                                                                                                     Network intentions were higher in the promotion-focus condition
                                                                                                                                                                                                                          Study 4
                                                                                                                     than they were in the control condition (p ⬍ .001).                      In Study 4, a field setting, we explored the implications of
                                                                                                                        Mediation. As in Study 3A, we tested for the mediating role of     networking-related promotion and prevention regulatory focus for
                                                                                                                     moral impurity in the relationship between our regulatory focus       the frequency of instrumental professional networking by profes-
                                                                                                                     manipulation and networking intentions. We first conducted anal-      sionals and the feelings of impurity they associate with it. To that
                                                                                                                     yses using the dummy for prevention-focus condition as the inde-      end, we surveyed lawyers employed at a large North American law
                                                                                                                     pendent variable, and the dummy for the control condition as          firm. Business lawyers work either as counsel when hired by client
                                                                                                                     covariate. Using bootstrapping with 10,000 iterations, we esti-       or as experts on a client’s file when asked by a colleague. In either
                                                                                                                     mated the direct and indirect effects of prevention focus through     case, acquiring the work requires having relationships with col-
                                                                                                                     moral impurity on our dependent variable, networking intentions.      leagues and clients. Thus, law professionals at both junior and
                                                                                                                     The 95% bias-corrected CI for the size of the indirect effect         senior levels can benefit from and care deeply about instrumental
                                                                                                                     (⫺0.29, SE ⫽ .06) excluded zero (95% CI [– 0.422, ⫺0.193]),           networking, making this a particularly appropriate empirical con-
                                                                                                                     suggesting that feelings of moral impurity mediated the link be-      text.
                                                                                                                     tween prevention focus and lower networking intentions.
                                                                                                                        Next, we conducted analyses using the dummy for the
                                                                                                                     promotion-focus condition as the independent variable, and the        Method
                                                                                                                     dummy for the control condition as covariate. Using bootstrapping        Sample and procedure. When we conducted our study, 425
                                                                                                                     with 10,000 iterations, we found that the 95% bias-corrected CI for   lawyers were employed at the law firm where we collected survey
                                                                                                                     the size of the indirect effect (0.29, SE ⫽ .06) excluded zero (95%   data. Hierarchically, the law firm was structured according to
                                                                                                                     CI [0.193, 0.426]), suggesting that feelings of moral impurity        levels of legal experience, as is common for the industry: junior
                                                                                                                     mediated the link between promotion focus and higher networking       associate, midlevel associate, senior associate, junior partner (i.e.,
                                                                                                                     intentions.                                                           nonequity partner), and senior partner (i.e., equity partner). The
                                                                                                                        Coding. We asked a research assistant blind to our hypotheses      firm had five offices across North America and 13 law practices.
                                                                                                                     and study conditions to code the messages participants wrote. We
                                                                                                                     coded the messages on three dimensions. First, we coded whether
                                                                                                                                                                                              3
                                                                                                                     the message was a new connection attempt: We used 0 if partic-             Similar to Studies 1 and 3A, feeling of impurity varied by condition,
                                                                                                                                                                                           independent of whether moral impurity was measured with four items:
                                                                                                                     ipants wrote the message to someone they already had a connec-        dirty, tainted, inauthentic, and ashamed, ␣ ⫽ .87; F(2, 570) ⫽ 19.54, p ⬍
                                                                                                                     tion with (existing connection) and 1 if they wrote the message to    .001, ␩2p ⫽ .064, or the three regulatory-focus neutral items: wrong,
                                                                                                                     someone who would be a new connection (new connection).               unnatural and impure, ␣ ⫽ .85; F(2, 570) ⫽ 19.34, p ⬍ .001, ␩2p ⫽ .064.
                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 279 of 1282


                                                                                                                                                           NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                     1231

                                                                                                                     The lawyers employed at the firm served business clients working         that networking can open up for me,” “Networking allows me to
                                                                                                                     across practices and locations, as the needs of the clients required.    achieve my professional aspirations,” “I engage in professional
                                                                                                                     We sent to all the lawyers employed at the firm an invitation to         networking because I want to be successful,” and “I engage in
                                                                                                                     complete a survey about their approach to professional network-          professional networking because connections help me do well”
                                                                                                                     ing. In the invitation, we made clear that participation in the survey   (␣ ⫽ .81). The four items measuring prevention focus were “Net-
                                                                                                                     was voluntary, and withdrawal from the study was available at any        working is a necessary part of my job that I just have to do,” “It is
                                                                                                                     time with no penalty. We also reassured participants that all their      my professional duty and responsibility to network,” “I engage in
                                                                                                                     responses would be entirely confidential, such that the firm’s           professional networking because I am concerned that I’ll miss
                                                                                                                     management would never get access to any individual responses,           opportunities if I don’t,” and “I engage in professional networking
                                                                                                                     and would only receive aggregated findings with the goal of aiding       because I don’t want to fall behind in my profession” (␣ ⫽ .69).
                                                                                                                     the firm in supporting its lawyers’ development and effectiveness           Control variables.
                                                                                                                     as legal professionals. For their efforts, we offered to participants       Law practice and office location. To control for the law
                                                                                                                     a confidential and personalized report on how their own profes-          practice a lawyer belonged to, we used indicator variables for each
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     sional networking compared to that of their peers at the firm.           of the 13 departments of the firm (insolvency and restructuring,
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                        In total, 164 lawyers completed the survey in its entirety, for a     corporate law, intellectual property, etc.). Likewise, we used indi-
                                                                                                                     39% response rate. We compared participants to nonparticipant s,         cator variables to control for each of the firm’s five offices in
                                                                                                                     and we found no statistically significant differences between the        which each lawyer was located. None of these dummy variables
                                                                                                                     two groups regarding office location, legal specialty, sex, or formal    affected the study’s findings, and therefore we excluded them from
                                                                                                                     rank.                                                                    the analyses reported below because their inclusion reduced the
                                                                                                                        Dependent and independent variables.                                  models’ goodness of fit.
                                                                                                                        Job performance. We assess performance by using yearly                   Extraversion. In light of research documenting a positive as-
                                                                                                                     revenue generated by a lawyer, which is the standard metric for          sociation between extraversion and networking frequency (Cas-
                                                                                                                     evaluating performance in law firms. Firm management shared              ciaro et al., 2014; Wanberg et al., 2000), as well as a negative
                                                                                                                     with us the revenue data they had collected and on record for each       association between extraversion and feelings of dirtiness experi-
                                                                                                                     of the lawyers working there. We corrected for skewness in rev-          enced from engaging in instrumental networking (Casciaro et al.,
                                                                                                                     enue distribution using the lnskew0 function in STATA (STATA             2014), we controlled for a lawyer’s extraversion, measured with
                                                                                                                     13).                                                                     the two extraversion items of the Big Five Inventory (Rammstedt
                                                                                                                        Frequency of instrumental professional networking. In the             & John, 2007).
                                                                                                                     survey, we defined professional networking as “the purposeful               Power. Previous research has also documented the effects of
                                                                                                                     building and nurturing of relationships to create a system of            power on feelings of dirtiness that result from instrumental net-
                                                                                                                     information and support for professional and career success” (as in      working (Casciaro et al., 2014). To account for these effects, we
                                                                                                                     Casciaro et al., 2014). We then asked respondents, “How often do         operationalized power in terms of a lawyer’s formal rank (senior-
                                                                                                                     you engage in professional networking?” The respondents indi-            ity), which defines power differentials clearly in law firms (Nel-
                                                                                                                     cated their answers using one of the following options on a 5-point      son, 2004). This variable ranged from senior partner at the top of
                                                                                                                     scale: not at all, rarely, sometimes, frequently, and a great deal.      the hierarchy (denoted with a numerical value equal to 5), followed
                                                                                                                        Feelings of moral impurity from networking. We measured               by junior partner (4), senior associate (3), midlevel associate (2),
                                                                                                                     the experience of impurity from instrumental professional net-           and junior associate at the bottom of the hierarchy (1).
                                                                                                                     working by using the average and logged (to correct for skewness)           Modeling approach. To test simultaneously the paths that our
                                                                                                                     response to three survey items on the 5-point scale (adapted from        predictions entail, and also control for all relevant covariates, we
                                                                                                                     Casciaro et al., 2014), each starting with the sentence, “When I         estimated direct and indirect effects using the corresponding struc-
                                                                                                                     engage in professional networking, I usually feel. . .” followed by      tural equation model (Kline, 2011) of a path analysis (Wright,
                                                                                                                     the following adjectives: dirty, inauthentic, and ashamed (␣ ⫽           1934). This approach allows us to simultaneously account for
                                                                                                                     .78). To reduce demand effects, the list interspersed these adjec-       effects of promotion focus and prevention focus, so that we can
                                                                                                                     tives with markers of various emotions (Feldman Barrett & Rus-           examine the unique effects of each orientation.
                                                                                                                     sell, 1998), such as happy, excited, stressed, and satisfied.
                                                                                                                        Trait promotion and prevention regulatory focus. As in
                                                                                                                                                                                              Results
                                                                                                                     Study 1, we measured chronic regulatory focus with the Composite
                                                                                                                     Regulatory Focus Scale (Haws et al., 2010).                                 Descriptive statistics and correlation coefficients for all vari-
                                                                                                                        Networking-specific trait promotion and prevention focus.             ables are in Table 2, while the results of the path analysis are in
                                                                                                                     To measure the extent to which instrumental networking resulted          Table 3. The estimated models use two measures of promotion and
                                                                                                                     from a promotion or a prevention focus, we developed eight survey        prevention focus: general trait regulatory foci (right-hand side of
                                                                                                                     items intended to capture a concern with growth, advancement,            Table 3) and networking-specific trait regulatory foci (left-hand
                                                                                                                     and aspirations of promotion focus on the one hand, and a concern        side of Table 3). The path analysis provides estimate for both
                                                                                                                     with meeting one’s duties and the threat of lost opportunity of          direct effects and indirect effects. Directs effects occur when a
                                                                                                                     prevention focus on the other hand. These items were adapted from        predictor affects a dependent variable directly. Indirect effects
                                                                                                                     the Composite Regulatory Focus Scale (Haws et al., 2010) to fit          occur when the effect of a predictor on dependent variable is
                                                                                                                     the domain of instrumental networking. We thus measured pro-             mediated by another variable. Our theory predicted four direct
                                                                                                                     motion focus with the average response to four survey items (each        effects in the path analysis: (a) a positive effect of prevention focus
                                                                                                                     assessed on a 5-point scale): “I am excited about the opportunities      on moral impurity from instrumental networking, (b) a negative
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 280 of 1282


                                                                                                                     1232                                                     GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     Table 2
                                                                                                                     Study 4 Mean, Standard Deviations, and Correlation of Variables

                                                                                                                                 Variable                   M            SD            1      2         3        4        5        6        7        8        9     10

                                                                                                                      1. Job performance                1,603,193    3,063,196
                                                                                                                      2. Job performance (log)            10.568       3.886       .667
                                                                                                                      3. Networking frequency              3.579       0.904       .362     .458
                                                                                                                      4. Moral impurity                    1.562       0.633      ⫺.176    ⫺.208      ⫺.431
                                                                                                                      5. Moral impurity (log)            ⫺0.664        0.847      ⫺.173    ⫺.231      ⫺.494     .893
                                                                                                                      6. Extraversion                      3.102       1.491       .541     .860       .401    ⫺.147    ⫺.188
                                                                                                                      7. Seniority                         3.549       0.923      ⫺.032    ⫺.036       .342    ⫺.418    ⫺.463    ⫺.089
                                                                                                                      8. Chronic prevention focus          3.322       0.825      ⫺.217    ⫺.218      ⫺.236     .330     .308    ⫺.171    ⫺.263
                                                                                                                      9. Chronic promotion focus           3.533       0.741      ⫺.081    ⫺.039       .199    ⫺.164    ⫺.170    ⫺.065     .231     .396
                                                                                                                     10. Networking prevention focus       3.624       0.810      ⫺.109    ⫺.023       .266     .028    ⫺.013     .046    ⫺.051     .158    .173
                                                                                                                     11. Networking promotion focus        3.935       0.723       .007     .037       .545    ⫺.302    ⫺.333     .035     .459    ⫺.058    .310   .496
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     Note. Correlation coefficients ⬎.14 are significant at p ⬍ .05.
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     effect of promotion focus on moral impurity from instrumental                 theory, promotion focus and prevention focus also had significant
                                                                                                                     networking, (c) a negative effect of moral impurity on the fre-               indirect effects on network frequency, mediated by moral impu-
                                                                                                                     quency of instrumental networking, and (d) a positive effect of               rity, consistent with the theoretical model we advanced (see Table
                                                                                                                     networking frequency on job performance.                                      3).
                                                                                                                        When measuring regulatory focus as generalized trait promotion
                                                                                                                     and prevention focus (right-hand side of Table 3), all predictions            Discussion
                                                                                                                     were supported. Namely, networking frequency had a positive and
                                                                                                                     statistically significant direct effect on job performance (␤ ⫽ .550;            Taken together, the findings of Study 4 show that the effects of
                                                                                                                     p ⬍ .01). In turn, moral impurity had a negative direct effect on             trait promotion and prevention focus on moral impurity and in-
                                                                                                                     networking frequency (␤ ⫽ ⫺.364; p ⬍ .001). Generalized pro-                  strumental professional networking generalize to professionals in
                                                                                                                     motion focus had the predicted negative effect on moral impurity              field settings. People who are motivated to pursue ideals, growth,
                                                                                                                     (␤ ⫽ ⫺.282; p ⬍ .01), and generalized prevention focus had the                and aspirations feel more authentic and morally pure when net-
                                                                                                                     predicted positive effect on moral impurity (␤ ⫽ .294; p ⬍ .001).             working than do people who are motivated by the fulfilment of
                                                                                                                        When measuring regulatory focus as networking-specific trait               duties and obligations. These feelings of moral impurity in turn
                                                                                                                     promotion and prevention focus (left-hand side of Table 3), all               relate to how frequently professionals engage in networking, with
                                                                                                                     predictions were supported, except the positive effect of preven-             consequences for their job performance. The results of Study 4
                                                                                                                     tion focus on moral impurity. Namely, in addition to the predicted            also indicate that domain-specific regulatory foci are not as
                                                                                                                     direct effects of networking frequency on job performance and of              strongly predictive of either moral purity from instrumental net-
                                                                                                                     moral impurity on networking frequency, promotion focus had the               working or of the frequency with which people network profes-
                                                                                                                     predicted negative effect on moral impurity (␤ ⫽ ⫺.250; p ⬍ .05),             sionally. While we did find evidence that networking-specific
                                                                                                                     while the negative effect of prevention focus on moral impurity               promotion focus reduces moral impurity and networking fre-
                                                                                                                     was not statistically significant, contrary to our prediction.                quency, we did not find such evidence for a networking-specific
                                                                                                                        Thus, our predictions were strongly supported when regula-                 prevention focus.
                                                                                                                     tory foci were measured as a general trait, indicating that people
                                                                                                                     with a promotion focus experience lessened feelings of impurity                                            Study 5
                                                                                                                     from instrumental professional networking, while those with a
                                                                                                                     prevention focus tend to feel more morally impure when net-                   Method
                                                                                                                     working instrumentally. When regulatory foci were measured
                                                                                                                     as networking-specific promotion and prevention focus, how-                      Although in Study 4, networking-specific trait measures of
                                                                                                                     ever, these predictions were supported only for promotion fo-                 regulatory focus exhibited weaker effects on moral purity and
                                                                                                                     cus, which was negatively associated with moral impurity.                     networking frequency than did general trait regulatory focus, we
                                                                                                                     Figure 3 summarizes how the findings from Study 4 supported                   wished to explore the possibility that such domain-specific mo-
                                                                                                                     our theoretical model.                                                        tives might be amenable to manipulation in the field. In organiza-
                                                                                                                        In addition to the direct effects we predicted, the path analysis          tions, domain-specific situational cues can be particularly impor-
                                                                                                                     revealed effects of interest, both direct and indirect. Seniority (our        tant in evoking either promotion or prevention focus, as employees
                                                                                                                     operationalization of power in the context of law firms) had                  look for and pay attention to information about what behaviors are
                                                                                                                     positive direct and indirect effects on networking frequency, and             expected of them and their consequences (James, James, & Ashe,
                                                                                                                     negative effects on moral impurity, replicating the findings of               1990; Scott & Bruce, 1994). For instance, situational cues that
                                                                                                                     Casciaro et al. (2014). Likewise, positive direct and indirect effects        highlight potential gains and attainment of ideals are likely to
                                                                                                                     of extraversion on networking frequency, and its indirect effect on           trigger a promotion mindset. Instead, those that highlight potential
                                                                                                                     job performance mediated by networking frequency is consistent                losses and fulfillment of obligations are likely trigger a prevention
                                                                                                                     with previous work (Casciaro et al., 2014). More relevant to our              mindset (Higgins, 1997, 1998).
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 281 of 1282
                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 282 of 1282


                                                                                                                     1234                                                     GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     no differences between the two conditions, even though partici-                ␣ ⫽ .88) and negative with three items (stressed, tired, and bored;
                                                                                                                     pants were randomly assigned to the intervention conditions and                ␣ ⫽ .81).
                                                                                                                     had not yet started receiving their text messages, we checked and
                                                                                                                     found there was no condition effect on responses rate (p ⬎ .10).
                                                                                                                     We also checked the baseline frequency of networking, network-                 Results
                                                                                                                     ing promotion (␣ ⫽ .90) and prevention (␣ ⫽ .79) focus, and Big                  Moral impurity. Consistent with our predictions, participants
                                                                                                                     5 personality traits and found no significant differences on any of
                                                                                                                     the measured variables between two conditions (ps ⬎ .10). Thus,                who received the promotion-focus intervention reported feeling
                                                                                                                     as expected, preintervention, there were no significant differences            less morally impure (M ⫽ 1.71, SD ⫽ 0.76) than those who
                                                                                                                     between the two groups. All participants (n ⫽ 444) who consented               received the prevention-focus intervention (M ⫽ 2.06, SD ⫽ 0.91),
                                                                                                                     to participate in our study received text messages once a week on              t(181) ⫽ 2.84, p ⫽ .005.
                                                                                                                     Mondays at 9 a.m. for 6 weeks.                                                    Positive and negative affect. Participants’ positive and neg-
                                                                                                                        In the promotion-focus group, participants received a text that             ative affect did not differ depending on whether they were in a
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     read,                                                                          promotion focus or a prevention focus, t(181) ⫽ ⫺.98, p ⫽ .33 and
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                                                                                                    t(181) ⫽ .98, p ⫽ .33, respectively.
                                                                                                                         We are interested in how people create and nurture relationships at
                                                                                                                                                                                                       Networking frequency. Consistent with our hypothesis, par-
                                                                                                                         work. Many people focus on the opportunities that networking can
                                                                                                                         open up for them. They also consider how networking can help them
                                                                                                                                                                                                    ticipants in a promotion focus reported engaging in networking
                                                                                                                         achieve their professional aspirations. Please set aside a few minutes     more frequently over the last month (M ⫽ 3.39, SD ⫽ 1.16) as
                                                                                                                         to identify how you will approach your next opportunity to network         compared to those in a prevention focus (M ⫽ 2.78, SD ⫽ 1.05),
                                                                                                                         with these potential benefits in mind.                                     t(181) ⫽ ⫺3.71, p ⬍ .001. Given that we have data on some of our
                                                                                                                                                                                                    participants’ baseline networking frequency, we also ran analyses
                                                                                                                     In the prevention-focus group, participants read,                              controlling for the frequency of networking before the start of the
                                                                                                                         We are interested in how people create and nurture relationships at        study and found a significant effect of regulatory focus manipu-
                                                                                                                         work. Many people consider networking a necessary part of their job        lation on network frequency on this more restricted sample, F(1,
                                                                                                                         that they just have to do, a professional obligation. They also focus on   113) ⫽ 9.33, p ⫽ .003, ␩2p ⫽ .076.
                                                                                                                         opportunities they will miss if they do not network. Please set aside a       New connections. When asked how many new connections
                                                                                                                         few minutes to identify how you will approach your next opportunity        they added to their professional network over the last month, 14
                                                                                                                         to network with these potential costs in mind.
                                                                                                                                                                                                    participants did not respond. Examining the responses from the re-
                                                                                                                        At the conclusion of the 6 weeks, we asked all 444 participants             maining 169 respondents, we found a significant effect of regulatory
                                                                                                                     who received the weekly text messages (whether they completed                  focus manipulation on creating new connections (Mpromotion ⫽ 7.80,
                                                                                                                     the initial survey or not) to fill out a final survey, which contained         SD ⫽ 8.05 vs. Mprevention ⫽ 5.52, SD ⫽ 5.05), t(167) ⫽ ⫺2.21, p ⫽
                                                                                                                     our dependent variables. A total of 183 participants responded to              .030.
                                                                                                                     this final survey (41% response rate), and 116 participants com-                  Nurturing existing ties. Eight participants did not respond to
                                                                                                                     pleted both surveys. There were no significant differences between             this question. Examining the responses from the remaining 175
                                                                                                                     conditions (promotion vs. prevention) on whether participants                  respondents, we found a significant effect of regulatory focus
                                                                                                                     returned to complete the last survey (p ⬎ .10). This confirms that             manipulation on nurturing existing ties (Mpromotion ⫽ 8.01, SD ⫽
                                                                                                                     our manipulation had no effect on participants’ likelihood of                  7.01 vs. Mprevention ⫽ 4.64, SD ⫽ 4.21), t(173) ⫽ ⫺3.90, p ⬍ .001.
                                                                                                                     returning to the final survey. In addition, among those who pro-                  Mediation. We tested for moral impurity as the mediator of
                                                                                                                     vided responses to the initial survey, there was no significant                the relationship between our regulatory focus manipulation and
                                                                                                                     difference on baseline networking or Big 5 personality traits be-              networking frequency over the last month. Using bootstrapping
                                                                                                                     tween those who responded to the final survey or not (ps ⬎ .10).               with 10,000 iterations, we estimated the direct and indirect effects
                                                                                                                        In the final survey, we asked participants to first report their            of regulatory focus condition through moral impurity on our de-
                                                                                                                     frequency of professional networking over the last month on a                  pendent variable, networking frequency. The 95% bias-corrected
                                                                                                                     5-point scale ranging from 1 (not at all) to 5 (a great deal). Next,           CI for the size of the indirect effect (0.20, SE ⫽ .07) excluded zero
                                                                                                                     they were asked to identify how many new people they added to
                                                                                                                                                                                                    (95% CI [0.071, 0.368]), suggesting that feelings of moral impu-
                                                                                                                     their professional network over the last month (new connections)
                                                                                                                                                                                                    rity mediated the link between promotion focus (vs. prevention
                                                                                                                     and how many existing professional relationships they nurtured or
                                                                                                                                                                                                    focus) and higher network frequency.
                                                                                                                     rekindled over the last month (nurturing). Afterward, they reported
                                                                                                                                                                                                       We also ran the mediation analysis with number of new con-
                                                                                                                     their feelings about the professional networking they engaged in
                                                                                                                     over the last month using 1 (strongly disagree) to 5 (strongly                 nections as a dependent variable. The 95% bias-corrected CI for
                                                                                                                     agree) scales, beginning with the stem, “When I engaged in                     the size of the indirect effect (0.65, SE ⫽ .33) excluded zero (95%
                                                                                                                     professional networking over the last month, I usually felt . . . ”            CI [0.134, 1.410]). The mediation analysis with nurturing existing
                                                                                                                        Moral impurity. We assessed moral impurity with four items                  ties yielded similar findings and the 95% bias-corrected CI for the
                                                                                                                     (dirty, tainted, inauthentic, and ashamed; ␣ ⫽ .80) from Casciaro              size of the indirect effect (0.99, SE ⫽ .34) excluded zero (95% CI
                                                                                                                     et al. (2014).                                                                 [0.404, 1.746]). In sum, the three analyses suggest that feelings of
                                                                                                                        Affect. To minimize demand effects, we also included posi-                  moral impurity mediated the link between promotion focus (vs.
                                                                                                                     tive and negative affect adjectives. Positive affect was measured              prevention focus) and higher networking (frequency as well nur-
                                                                                                                     with five items (enthusiastic, satisfied, happy, relaxed, excited;             turing existing tiles and creating new ones).
                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 283 of 1282


                                                                                                                                                           NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                  1235

                                                                                                                     Discussion                                                               instrumental networking and that interventions that specifically
                                                                                                                                                                                              change the motives people have when approaching networking can
                                                                                                                        Together, the results of Study 5 provide further evidence that        potently impact their psychological experience and subsequent behav-
                                                                                                                     regulatory focus influences how people react to instrumental pro-        iors. A psychological account of motivation in networking behavior
                                                                                                                     fessional networking. As compared to participants encouraged to          can inform network theories of human agency by examining people’s
                                                                                                                     take a prevention focus, participants encouraged to take a promo-        motivational approach to goals and by conceptualizing agency itself
                                                                                                                     tion focus felt less inauthentic and morally impure, and engaged in      as a variable that can be measured or manipulated.
                                                                                                                     networking more often.                                                      Second, our work contributes to research on regulatory focus by
                                                                                                                                                                                              extending it to a new context—professional networking—and in-
                                                                                                                                           General Discussion                                 troducing a domain-specific form of promotion and prevention
                                                                                                                                                                                              focus to complement trait and state forms of regulatory foci
                                                                                                                        Despite the well-demonstrated and well-known benefits that            typically studied in the literature. By doing so, we echo and
                                                                                                                     creating and maintaining professional connections can have on the        strengthen new developments in research on regulatory focus
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     diversity and size of one’s network, people often shy away from          (Browman et al., 2017). RFT (Higgins, 1997) concerns how people
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     engaging in instrumental networking to pursue professional goals.        pursue goals. In a promotion focus, people’s goals are represented
                                                                                                                     This is because they feel inauthentic, impure, and even dirty            as hopes and aspirations; in a prevention focus, they are repre-
                                                                                                                     (Casciaro et al., 2014) when attempting to create and maintain           sented as duties and obligations. Given its wide applicability and
                                                                                                                     relationships with other people with the clear purpose of finding or     the importance of goal pursuit in organizations, several scholars
                                                                                                                     strengthening support for their professional goals and work tasks.       have explored the role of regulatory focus in work settings (e.g.,
                                                                                                                     Such feelings, unfortunately, are often detrimental to their devel-      Brockner & Higgins, 2001; Wallace et al., 2009) and found that
                                                                                                                     opment and job performance because they do not allow people to           promotion and prevention foci are uniquely associated with a
                                                                                                                     access valuable information, resources, and opportunities that are       variety of work behaviors (De Cremer et al., 2009; Neubert et al.,
                                                                                                                     important to their careers. In the current research, we proposed that    2008; Wallace et al., 2009). Our research advances this body of
                                                                                                                     the motives people have when engaging in networking can impact           work by examining how regulatory focus affects the way people
                                                                                                                     these feelings by affecting their moral experience of networking,        experience networking and how often they engage in it, with
                                                                                                                     and lead them to network with different frequency.                       important consequences for performance. We also demonstrate
                                                                                                                        Using two laboratory studies, two online studies, one field           that manipulations of state promotion and prevention foci specific
                                                                                                                     experiment with working professionals, and field data from law-          to the domain of networking are sufficient to change the network-
                                                                                                                     yers from a large North American business law firm, we examined          ing behavior of professionals in the field. Manipulating the gen-
                                                                                                                     how self-regulatory focus, in the form of promotion and preven-          eralized regulatory foci typically studied in the literature may
                                                                                                                     tion, affects people’s experiences and outcomes when networking.         therefore not be necessary to affect specific behaviors at work. By
                                                                                                                     Consistent with our propositions, we find that a promotion regu-         showing that people’s psychological reactions to networking vary
                                                                                                                     latory focus, as compared to a prevention focus or a control             depending on their promotion versus prevention focus, our work
                                                                                                                     condition, is beneficial to instrumental professional networking.        opens up new investigations of primary human motives, network-
                                                                                                                     People who are motivated to network professionally for the               ing, and the structure of networks.
                                                                                                                     growth, advancement, and accomplishments they can achieve                   Finally, our work also contributes to research on morality and
                                                                                                                     through their connections network more frequently and experience         behavioral ethics—research that has received increased attention
                                                                                                                     decreased feelings of moral impurity. In contrast, networking with       in the last decade from both psychology and management scholars.
                                                                                                                     the prevention focus of meeting one’s professional responsibilities      Prior work has shown that authenticity is experienced as a moral
                                                                                                                     reduces the frequency of instrumental networking because it wors-        state (Gino et al., 2015) and that instrumental networking leads
                                                                                                                     ens the feelings of impurity people experience from it.                  people to feel dirty and impure (Casciaro et al., 2014). Here, we
                                                                                                                                                                                              proposed and found that regulatory focus profoundly affects such
                                                                                                                                                                                              feelings, as the motives people have to engage in instrumental
                                                                                                                     Theoretical Implications
                                                                                                                                                                                              networking give them room to justify (or discourage) approaching
                                                                                                                        Our research contributes to the literature on networking, regu-       others to accomplish their professional goals. In so doing, we built
                                                                                                                     latory focus, and morality in various ways. First, building on the       on Cornwell and Higgins’ (2015) view of both promotion and
                                                                                                                     work of Casciaro et al. (2014), the current article contributes to the   prevention regulatory foci as ethical systems of ideals concerned
                                                                                                                     network literature by focusing on the primary motives people have        with attaining virtues (promotion) and of oughts concerned with
                                                                                                                     when approaching networking. Despite its many insights, existing         maintaining obligations (prevention). By connecting ought and
                                                                                                                     work on networks has focused primarily on their structural prop-         ideal selves to the moral philosophy of authenticity and moral
                                                                                                                     erties and paid less attention to the important role of individual       purity, we identified an important motivational factor that can
                                                                                                                     psychology in network dynamics. Although certain basic psycho-           change the perceived morality of instrumental professional net-
                                                                                                                     logical phenomena—such as affect, cognition, and personality—            working and be directly triggered or manipulated.
                                                                                                                     have been integrated to varying degrees with the network perspec-           Our research both assessed regulatory focus as an individual
                                                                                                                     tive on organizations, psychological theory on motivation is still       difference and manipulated it with simple interventions in lab and,
                                                                                                                     largely absent from network research (Casciaro et al., 2015). Our        importantly, in the field. Short writing tasks that focused partici-
                                                                                                                     work complements this body of research by suggesting and pro-            pants’ attention on their hopes and aspirations or on their duties
                                                                                                                     viding evidence that people’s psychological experience when net-         and obligations influenced the primary motivations they used
                                                                                                                     working has powerful effects on their likelihood of engaging in          when approaching instrumental networking. In addition, short text
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 284 of 1282


                                                                                                                     1236                                                  GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     messages that reinforced promotion versus prevention foci af-             people experience networking, because regulatory focus influences
                                                                                                                     fected real networking behaviors. The effectiveness of regulatory         creativity (Crowe & Higgins, 1997; Friedman & Förster, 2001), an
                                                                                                                     focus manipulations narrowly directed at networking behavior              important factor when individuals are justifying their actions,
                                                                                                                     shows that interventions to change people’s motivational orienta-         particularly those that may be morally problematic (Gino & Ariely,
                                                                                                                     tions need not generalize to all domains of their lives, but rather       2012). Future research examining how regulatory focus influences
                                                                                                                     can effectively target a specific domain of action. Our manipula-         one’s ability to justify selfish intentions during instrumental net-
                                                                                                                     tions and, in particular, our simple intervention study provide           working (through the greater creativity that regulatory focus trig-
                                                                                                                     insights into how organizations or managers could similarly focus         gers) would further our understanding of the impact of people’s
                                                                                                                     organizational members’ attention on specific aspects of network-         motives on their psychological state and actions when networking.
                                                                                                                     ing, thus influencing their willingness to engage in it and fre-             We note that these insights on the complex interrelationships
                                                                                                                     quency of doing so. Simply helping people focus on specific               between selfishness, authenticity, moral purity and regulatory fo-
                                                                                                                     motives before approaching networking could prove to be an                cus could well apply to behaviors beyond instrumental networking.
                                                                                                                     effective means of making networking morally palatable and in-            Any form of instrumental relational behavior— be it advice seeking
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                     fluence their development and job performance for the better.             and giving, leadership, social influence, or intergroup relations—
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                                                                                               undertaken with selfish or altruistic motives, and invoking either
                                                                                                                     Limitations and Directions for Future Research                            promotion or prevention motivational orientations, may have signif-
                                                                                                                                                                                               icant consequences for an individual’s morality, which may in turn
                                                                                                                        Our findings, as well as the limitations of our studies, point to      affect the likelihood of engaging in such behavior. Further work is
                                                                                                                     several potential areas of future inquiry. First, our research focused    needed to further understand the interplay motivation, and the moral
                                                                                                                     heavily on individuals’ psychological states and their reported           psychology of instrumental behavior and its outcomes.
                                                                                                                     frequency of networking rather than on objective measures of                 Future research could also examine whether promotion and
                                                                                                                     networking. It is important to examine more objective variables,          prevention focus lead people to use different strategies when
                                                                                                                     such as frequency of networking—an outcome we considered in two           networking, and approach new professional connections with a
                                                                                                                     of our studies—and to measure them in more objective ways. More           different mindset. For instance, it is possible that people with a
                                                                                                                     importantly, potential differences in the psychological and behavioral    promotion focus create or nurture professional relationships to
                                                                                                                     patterns people display while networking deserve further inquiry. It is   learn something new, more so than people with a prevention focus,
                                                                                                                     possible that promotion-focused or prevention-focused individuals         and this attention to the potential for learning may contribute to
                                                                                                                     use different emotional and nonemotional expressions consciously or       their lower feelings of moral impurity as the connection feels less
                                                                                                                     unconsciously. For example, during a networking event, promotion-         instrumental.
                                                                                                                     focused individuals might display more positive emotions and ap-             Finally, in our studies, we tested our predications with different
                                                                                                                     proach their targets with a firm handshake. Additionally, while our       samples, such as Americans recruited through online platforms
                                                                                                                     studies focused on the person networking, it would be fascinating to
                                                                                                                                                                                               (Mturk) and panels, as well as U.S. college students and lawyers in
                                                                                                                     examine whether others can recognize the motivation behind individ-
                                                                                                                                                                                               a professional services firm. Additionally, we assessed the cultural
                                                                                                                     uals’ instrumental networking.
                                                                                                                                                                                               generalizability of our main prediction with a sample from Italy.
                                                                                                                        In our studies, we both measured and manipulated self-
                                                                                                                                                                                               Nonetheless, it is possible that some non-Western cultures differ in
                                                                                                                     regulatory focus. Future research could extend our work by inves-
                                                                                                                                                                                               their views of instrumental networking and as such our effects
                                                                                                                     tigating framing effects. An individual’s regulatory focus can be
                                                                                                                                                                                               might not hold in such cultures. Future research could further
                                                                                                                     shaped by her environment (e.g., the school she attends, the
                                                                                                                                                                                               examine the cultural generalizability of the current findings.
                                                                                                                     organization she works in), such that certain environments make
                                                                                                                     one regulatory focus predominant over the other. Future work
                                                                                                                     could examine the active role organizations can play in inducing a        Conclusion
                                                                                                                     promotion focus, because companies can shape members’ regula-
                                                                                                                     tory focus through their cultures, policies, and incentive schemes.          Why is it that many people do not take on opportunities to
                                                                                                                     Additionally, in our studies we examined the general self-                network or do so with dread, even when networking would benefit
                                                                                                                     regulatory focus and networking-specific regulatory focus (mea-           them professionally? How could they be encouraged to do so, and
                                                                                                                     sured or manipulated) at one time. It is likely that individuals’ past    with enthusiasm? Our research addresses both of these questions.
                                                                                                                     experiences with networking influence the extent to which they            Building on recent work showing that engaging in professional
                                                                                                                     adopt a promotion or prevention focus toward networking. For              instrumental networking makes people feel morally impure and
                                                                                                                     example, negative past experiences could lead people to view              physically dirty, we explored how the motives people have when
                                                                                                                     networking with dread and thus approach networking with a pre-            engaging in networking can reduce these feelings and lead people
                                                                                                                     vention focus.                                                            to network more often, with potentially beneficial effects on their
                                                                                                                        Future studies could examine the role of felt authenticity and         performance. By adopting a promotion focus rather than a preven-
                                                                                                                     selfishness in various types of networking. Casciaro and col-             tion one, individuals can orient their motivation to network toward
                                                                                                                     leagues (2014) argued that networking behaviors create negative           the growth, advancement, and accomplishment they can receive
                                                                                                                     self-attributions when the actions are difficult to justify to oneself.   from it and thus network more frequently and experience greater
                                                                                                                     People perceive instrumental professional networking specifically         authenticity and moral purity. That is, a promotion focus can help
                                                                                                                     as less justifiable to themselves and as morally tainted because it       people wash away their dirty feelings and draw their attention to
                                                                                                                     has a selfish intent, as the person initiating the relationship is        the aspirations they can pursue by creating new professional ties or
                                                                                                                     pursuing certain benefits. Regulatory focus can influence how             strengthening existing ones.
                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 285 of 1282


                                                                                                                                                               NETWORKING WITH A PROMOTION OR PREVENTION FOCUS                                                            1237

                                                                                                                                                   References                                       Förster, J., Higgins, E. T., & Bianco, A. T. (2003). Speed/accuracy deci-
                                                                                                                                                                                                      sions in task performance: Built-in trade-off or separate strategic con-
                                                                                                                     Adler, P. S., & Kwon, S. W. (2002). Social capital: Prospects for a new          cerns? Organizational Behavior and Human Decision Processes, 90,
                                                                                                                       concept. Academy of Management Review, 27, 17– 40. http://dx.doi.org/          148 –164. http://dx.doi.org/10.1016/S0749-5978(02)00509-5
                                                                                                                       10.5465/amr.2002.5922314                                                     Freitas, A. L., & Higgins, E. T. (2002). Enjoying goal-directed action: The
                                                                                                                     Azrin, N. H., & Besalel, V. B. (1982). Finding a job. Berkeley, CA: Ten          role of regulatory fit. Psychological Science, 13, 1– 6. http://dx.doi.org/
                                                                                                                       Speed Press.                                                                   10.1111/1467-9280.00401
                                                                                                                     Belmi, P., & Laurin, K. (2016). Who wants to get to the top? Class and lay     Friedman, R. S., & Förster, J. (2001). The effects of promotion and
                                                                                                                       theories about power. Journal of Personality and Social Psychology,            prevention cues on creativity. Journal of Personality and Social Psy-
                                                                                                                       111, 505–529. http://dx.doi.org/10.1037/pspi0000060                            chology, 81, 1001–1013. http://dx.doi.org/10.1037/0022-3514.81.6.1001
                                                                                                                     Bensaou, B. M., Galunic, C., & Jonczyk-Sédès, C. (2013). Players and           Gino, F., & Ariely, D. (2012). The dark side of creativity: Original thinkers
                                                                                                                       purists: Networking strategies and agency of service professionals. Or-        can be more dishonest. Journal of Personality and Social Psychology,
                                                                                                                       ganization Science, 25, 29 –56. http://dx.doi.org/10.1287/orsc.2013.0826       102, 445– 459. http://dx.doi.org/10.1037/a0026406
                                                                                                                     Borgatti, S. P., & Foster, P. C. (2003). The network paradigm in organi-       Gino, F., Kouchaki, M., & Galinsky, A. D. (2015). The moral virtue of
                                                                                                                       zational research: A review and typology. Journal of Management, 29,
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                                                                                                      authenticity: How inauthenticity produces feelings of immorality and
                                                                                                                       991–1013. http://dx.doi.org/10.1016/S0149-2063(03)00087-4
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                                                                                                      impurity. Psychological Science, 26, 983–996. http://dx.doi.org/10
                                                                                                                     Borgatti, S. P., Mehra, A., Brass, D. J., & Labianca, G. (2009). Network
                                                                                                                                                                                                      .1177/0956797615575277
                                                                                                                       analysis in the social sciences. Science, 323, 892– 895.
                                                                                                                                                                                                    Golomb, J. (1995). In search of authenticity: From Kierkegaard to Camus.
                                                                                                                     Bowlby, J. (1969). Attachment and loss: Vol. 1. Attachment. London,
                                                                                                                                                                                                      London, United Kingdom: Routledge.
                                                                                                                       England: Hogarth Press and the Institute of Psycho-Analysis.
                                                                                                                                                                                                    Gosling, S. D., Rentfrow, P. J., & Swann, W. B., Jr. (2003). A very brief
                                                                                                                     Brass, D. J., Galaskiewicz, J., Greve, H. R., & Tsai, W. (2004). Taking
                                                                                                                                                                                                      measure of the Big-Five personality domains. Journal of Research in
                                                                                                                       stock of networks and organizations: A multilevel perspective. Academy
                                                                                                                                                                                                      Personality, 37, 504 –528. http://dx.doi.org/10.1016/S0092-6566
                                                                                                                       of Management Journal, 47, 795– 817.
                                                                                                                                                                                                      (03)00046-1
                                                                                                                     Brockner, J., & Higgins, E. T. (2001). Regulatory focus theory: Implica-
                                                                                                                                                                                                    Graham, J., Nosek, B. A., Haidt, J., Iyer, R., Koleva, S., & Ditto, P. H.
                                                                                                                       tions for the study of emotions at work. Organizational Behavior and
                                                                                                                                                                                                      (2011). Mapping the moral domain. Journal of Personality and Social
                                                                                                                       Human Decision Processes, 86, 35– 66. http://dx.doi.org/10.1006/obhd
                                                                                                                                                                                                      Psychology, 101, 366 –385. http://dx.doi.org/10.1037/a0021847
                                                                                                                       .2001.2972
                                                                                                                                                                                                    Haws, K. L., Dholakia, U. M., & Bearden, W. O. (2010). An assessment of
                                                                                                                     Browman, A. S., Destin, M., & Molden, D. C. (2017). Identity-specific
                                                                                                                                                                                                      chronic regulatory focus measures. Journal of Marketing Research, 47,
                                                                                                                       motivation: How distinct identities direct self-regulation across distinct
                                                                                                                                                                                                      967–982. http://dx.doi.org/10.1509/jmkr.47.5.967
                                                                                                                       situations. Journal of Personality and Social Psychology, 113, 835– 857.
                                                                                                                                                                                                    Higgins, E. T. (1987). Self-discrepancy: A theory relating self and affect.
                                                                                                                       http://dx.doi.org/10.1037/pspa0000095
                                                                                                                                                                                                      Psychological Review, 94, 319 –340. http://dx.doi.org/10.1037/0033-
                                                                                                                     Casciaro, T., Barsade, S., Edmondson, A. C., Gibson, C., Krackhardt, D.,
                                                                                                                                                                                                      295X.94.3.319
                                                                                                                       & Labianca, G. (2015). The integration of psychological and network
                                                                                                                       perspectives in organizational scholarship. Organization Science, 26,        Higgins, E. T. (1997). Beyond pleasure and pain. American Psychologist,
                                                                                                                       1162–1176. http://dx.doi.org/10.1287/orsc.2015.0988                            52, 1280 –1300. http://dx.doi.org/10.1037/0003-066X.52.12.1280
                                                                                                                     Casciaro, T., Gino, F., & Kouchaki, M. (2014). The contaminating effects       Higgins, E. T. (1998). Promotion and prevention: Regulatory focus as a
                                                                                                                       of building instrumental ties how networking can make us feel dirty.           motivational principle. Advances in Experimental Social Psychology,
                                                                                                                       Administrative Science Quarterly, 59, 705–735. http://dx.doi.org/10            30, 1– 46. http://dx.doi.org/10.1016/S0065-2601(08)60381-0
                                                                                                                       .1177/0001839214554990                                                       Higgins, E. T., Roney, C. J., Crowe, E., & Hymes, C. (1994). Ideal versus
                                                                                                                     Cornwell, J. F., & Higgins, E. T. (2015). The “ought” premise of moral           ought predilections for approach and avoidance: Distinct self-regulatory
                                                                                                                       psychology and the importance of the ethical “ideal.” Review of General        systems. Journal of Personality and Social Psychology, 66, 276 –286.
                                                                                                                       Psychology, 19, 311–328. http://dx.doi.org/10.1037/gpr0000044                  http://dx.doi.org/10.1037/0022-3514.66.2.276
                                                                                                                     Crowe, E., & Higgins, E. T. (1997). Regulatory focus and strategic incli-      Higgins, E. T., Shah, J., & Friedman, R. (1997). Emotional responses to
                                                                                                                       nations: Promotion and prevention in decision-making. Organizational           goal attainment: Strength of regulatory focus as moderator. Journal of
                                                                                                                       Behavior and Human Decision Processes, 69, 117–132. http://dx.doi              Personality and Social Psychology, 72, 515–525. http://dx.doi.org/10
                                                                                                                       .org/10.1006/obhd.1996.2675                                                    .1037/0022-3514.72.3.515
                                                                                                                     De Cremer, D., Mayer, D. M., van Dijke, M., Bardes, M., & Schouten,            Higgins, T., & Tykocinski, O. (1992). Self-discrepancies and biographical
                                                                                                                       B. C. (2009). When does self-sacrificial leadership motivate prosocial         memory: Personality and cognition at the level of psychological situa-
                                                                                                                       behavior? It depends on followers’ prevention focus. Journal of Applied        tion. Personality and Social Psychology Bulletin, 18, 527–535. http://dx
                                                                                                                       Psychology, 94, 887– 899. http://dx.doi.org/10.1037/a0014782                   .doi.org/10.1177/0146167292185002
                                                                                                                     Fang, R., Landis, B., Zhang, Z., Anderson, M. H., Shaw, J. D., & Kilduff,      Hofmann, W., & Patel, P. V. (2015). SurveySignal: A convenient solution
                                                                                                                       M. (2015). Integrating personality and social networks: A meta-analysis        for experience sampling research using participants’ own smartphones.
                                                                                                                       of personality, network position, and work outcomes in organizations.          Social Science Computer Review, 33, 235–253. http://dx.doi.org/10
                                                                                                                       Organization Science, 26, 1243–1260. http://dx.doi.org/10.1287/orsc            .1177/0894439314525117
                                                                                                                       .2015.0972                                                                   James, L. R., James, L. A., & Ashe, D. K. (1990). The meaning of
                                                                                                                     Feldman Barrett, L., & Russell, J. A. (1998). Independence and bipolarity        organizations: The role of cognition and values. In B. Schneider (Ed.),
                                                                                                                       in the structure of current affect. Journal of Personality and Social          Organizational climate and culture (pp. 40 – 84). San Francisco, CA:
                                                                                                                       Psychology, 74, 967–984. http://dx.doi.org/10.1037/0022-3514.74.4.967          Jossey-Bass.
                                                                                                                     Forret, M. L., & Dougherty, T. W. (2001). Correlates of networking             Johnson, R. E., Chang, C.-H., & Yang, L.-Q. (2010). Commitment and
                                                                                                                       behavior for managerial and professional employees. Group & Organi-            motivation at work: The relevance of employee identity and regulatory
                                                                                                                       zation Management, 26, 283–311. http://dx.doi.org/10.1177/105                  focus. Academy of Management Review, 35, 226 –245.
                                                                                                                       9601101263004                                                                Kim, J., Chen, K., Davis, W. E., Hicks, J. A., & Schlegel, R. J. (2019).
                                                                                                                     Forret, M. L., & Dougherty, T. W. (2004). Networking behaviors and               Approaching the true self: Promotion focus predicts the experience of
                                                                                                                       career outcomes: Differences for men and women? Journal of Organi-             authenticity. Journal of Research in Personality, 78, 165–176. http://dx
                                                                                                                       zational Behavior, 25, 419 – 437. http://dx.doi.org/10.1002/job.253            .doi.org/10.1016/j.jrp.2018.12.001
                                                                                                                                  Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 286 of 1282


                                                                                                                     1238                                                       GINO, KOUCHAKI, AND CASCIARO


                                                                                                                     Kline, R. B. (2011). Principles and practice of structural equation mod-           and Social Psychology, 71, 1142–1153. http://dx.doi.org/10.1037/0022-
                                                                                                                        eling. New York, NY: Guilford Press.                                            3514.71.6.1142
                                                                                                                     Lalot, F., Quiamzade, A., & Falomir-Pichastor, J. M. (2018). Is regulatory       Taylor, C. (1991). The ethics of authenticity. Cambridge, MA: Harvard
                                                                                                                        focus related to minimal and maximal standards? Depends on how you              University Press.
                                                                                                                        ask! European Journal of Social Psychology, 48, 174 –186. http://dx.doi       Tetlock, P. E., Kristel, O. V., Elson, S. B., Green, M. C., & Lerner, J. S.
                                                                                                                        .org/10.1002/ejsp.2314                                                          (2000). The psychology of the unthinkable: Taboo trade-offs, forbidden
                                                                                                                     Liberman, N., Idson, L. C., Camacho, C. J., & Higgins, E. T. (1999).               base rates, and heretical counterfactuals. Journal of Personality and
                                                                                                                        Promotion and prevention choices between stability and change. Journal          Social Psychology, 78, 853– 870. http://dx.doi.org/10.1037/0022-3514
                                                                                                                        of Personality and Social Psychology, 77, 1135–1145. http://dx.doi.org/         .78.5.853
                                                                                                                        10.1037/0022-3514.77.6.1135                                                   Varga, S. (2012). Authenticity as an ethical ideal. New York, NY: Rout-
                                                                                                                     Magee, J. C., & Galinsky, A. D. (2008). Social hierarchy: The self-                ledge.
                                                                                                                        reinforcing nature of power and status. The Academy of Management             Wallace, J. C., & Chen, G. (2006). A multilevel integration of personality,
                                                                                                                        Annals, 2, 351–398. http://dx.doi.org/10.5465/19416520802211628                 climate, self-regulation, and performance. Personnel Psychology, 59,
                                                                                                                     Nelson, R. L. (2004). Partners with power: The social transformation of            529 –557. http://dx.doi.org/10.1111/j.1744-6570.2006.00046.x
This article is intended solely for the personal use of the individual user and is not to be disseminated broadly.




                                                                                                                        the large law firm. Berkeley: University of California Press.                 Wallace, J. C., Johnson, P. D., & Frazier, M. L. (2009). An examination of
   This document is copyrighted by the American Psychological Association or one of its allied publishers.




                                                                                                                     Neubert, M. J., Kacmar, K. M., Carlson, D. S., Chonko, L. B., & Roberts,           the factorial, construct, and predictive validity and utility of the Regu-
                                                                                                                        J. A. (2008). Regulatory focus as a mediator of the influence of initiating     latory Focus at Work Scale. Journal of Organizational Behavior, 30,
                                                                                                                        structure and servant leadership on employee behavior. Journal of Ap-           805– 831. http://dx.doi.org/10.1002/job.572
                                                                                                                        plied Psychology, 93, 1220 –1233. http://dx.doi.org/10.1037/a0012695          Wanberg, C. R., Kanfer, R., & Banas, J. T. (2000). Predictors and out-
                                                                                                                     Pollack, J. M., Forster, W. R., Johnson, P. D., Coy, A., & Molden, D. C.           comes of networking intensity among unemployed job seekers. Journal
                                                                                                                        (2015). Promotion- and prevention-focused networking and its conse-             of Applied Psychology, 85, 491–503. http://dx.doi.org/10.1037/0021-
                                                                                                                        quences for entrepreneurial success. Social Psychological & Personality         9010.85.4.491
                                                                                                                        Science, 6, 3–12. http://dx.doi.org/10.1177/1948550614543030                  Watson, D., Clark, L. A., & Tellegen, A. (1988). Development and vali-
                                                                                                                     Raj, M., Fast, N. J., & Fisher, O. (2017). Identity and professional net-          dation of brief measures of positive and negative affect: The PANAS
                                                                                                                        working. Personality and Social Psychology Bulletin, 43, 772–784.               scales. Journal of Personality and Social Psychology, 54, 1063–1070.
                                                                                                                       http://dx.doi.org/10.1177/0146167217697299                                       http://dx.doi.org/10.1037/0022-3514.54.6.1063
                                                                                                                     Rammstedt, B., & John, O. P. (2007). Measuring personality in one minute         Wolff, H. G., & Moser, K. (2009). Effects of networking on career success:
                                                                                                                       or less: A 10 item short version of the Big Five Inventory in English and        A longitudinal study. Journal of Applied Psychology, 94, 196 –206.
                                                                                                                       German. Journal of Research in Personality, 41, 203–212. http://dx.doi           http://dx.doi.org/10.1037/a0013350
                                                                                                                       .org/10.1016/j.jrp.2006.02.001                                                 Wright, S. (1934). The method of path coefficients. Annals of Mathemat-
                                                                                                                     Sacramento, C. A., Fay, D., & West, M. A. (2013). Workplace duties or              ical Statistics, 5, 161–215. http://dx.doi.org/10.1214/aoms/1177732676
                                                                                                                       opportunities? Challenge stressors, regulatory focus, and creativity. Or-      Zhang, S., Higgins, E. T., & Chen, G. (2011). Managing others like you
                                                                                                                       ganizational Behavior and Human Decision Processes, 121, 141–157.                were managed: How prevention focus motivates copying interpersonal
                                                                                                                       http://dx.doi.org/10.1016/j.obhdp.2013.01.008                                    norms. Journal of Personality and Social Psychology, 100, 647– 663.
                                                                                                                     Scott, S. G., & Bruce, R. A. (1994). Determinants of innovative behavior:          http://dx.doi.org/10.1037/a0021750
                                                                                                                       A path model of individual innovation in the workplace. Academy of             Zhong, C. B., & Liljenquist, K. (2006). Washing away your sins: Threat-
                                                                                                                       Management Journal, 37, 580 – 607.                                               ened morality and physical cleansing. Science, 313, 1451–1452. http://
                                                                                                                     Shah, J., Higgins, E. T., & Friedman, R. S. (1998). Performance incentives         dx.doi.org/10.1126/science.1130726
                                                                                                                       and means: How regulatory focus influences goal attainment. Journal of         Zou, X., Ingram, P., & Higgins, E. T. (2015). Social networks and life
                                                                                                                       Personality and Social Psychology, 74, 285–293. http://dx.doi.org/10             satisfaction: The interplay of network density and regulatory focus.
                                                                                                                       .1037/0022-3514.74.2.285                                                         Motivation and Emotion, 39, 693–713. http://dx.doi.org/10.1007/
                                                                                                                     Simmons, J. P., Nelson, L. D., & Simonsohn, U. (2013, January). Life after         s11031-015-9490-1
                                                                                                                       p-hacking. Paper presented at the annual meeting of the society for
                                                                                                                       personality and social psychology, New Orleans, LA.                                                                Received September 22, 2019
                                                                                                                     Strauman, T. J. (1996). Stability within the self: A longitudinal study of the                                    Revision received April 20, 2020
                                                                                                                       structural implications of self-discrepancy theory. Journal of Personality                                                Accepted May 4, 2020 䡲
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 287 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 288 of 1282

984                                                                                                                                Gino et al.


                                                  Psychological
                                                   Discomfort
                                                  (Dissonance)
                                    +


                                                  Feeling Impure
               Inauthenticity         +                                    +           Desire to           +          Prosocial
             (vs. Authenticity)                    Lower Moral                      Cleanse Oneself                   Behavior
                                                   Self-Regard


                                                 Threatened Moral
                                                   Self-Concept

          Fig. 1. Theoretical model for the link between inauthenticity and moral cleansing. Inauthenticity leads to two main conse-
          quences of a threatened moral self-concept—feelings of impurity and lower self-regard—as well as dissonance. However,
          only a threatened moral self-concept explains the link between experiencing inauthenticity and a heightened desire to
          cleanse oneself and behave prosocially.


between feeling inauthentic and feeling immoral and                      one does not like or trying to fit in with a group that does
impure. We suggest that inauthenticity poses a challenge to              not share one’s values is not defined as immoral behavior
a person’s sense of self. Authenticity involves both owning              per se, but we argue that individuals experience those
one’s personal experiences (thoughts, emotions, needs,                   behaviors as immoral. Feeling as if one is an imposter to
and wants) and acting in accordance with those experi-                   oneself produces moral distress and feelings of being
ences. A commitment to one’s identity and values (Erickson,              morally tainted and impure that are similar to those that
1995) is important for effective self-regulation. When this              accompany dishonesty.
commitment is violated, people feel inauthentic.                             Previous studies have shown that moral threats acti-
   Though being untrue to oneself is psychologically                     vate the need to cleanse oneself (Lee & Schwarz, 2010a;
costly, by definition it does not constitute immoral behav-              Zhong & Liljenquist, 2006). Similarly, the sacred-value-
ior. Yet, we argue, people do experience inauthenticity as               protection model (see Tetlock, Kristel, Elson, Green, &
immoral, feeling that it taints their moral self-concept.                Lerner, 2000) suggests that when people violate their
Our arguments build on the writings of the numerous                      own values, they engage in symbolic or literal moral
philosophers—such as Kierkegaard, Nietzsche, Rand,                       cleansing to purify their contaminated conscience and
and Sartre—who have discussed authenticity in relation                   reaffirm their core values. Building on this research, we
to morality. For instance, Nietzsche and Sartre believed                 suggest that experiencing inauthenticity results in lower
that individuals need to create their own moral code and                 moral self-regard and feelings of impurity, which trigger
act in ways consistent with that code (i.e., they should act             a desire for physical cleansing and acting prosocially to
authentically).                                                          compensate for violating the true self (Fig. 1). We also
   By contrast, morality is commonly defined in social                   argue that cleansing breaks the link between inauthentic-
and interpersonal terms (Haidt & Kesebir, 2010). For                     ity and prosocial compensation.
example, Turiel (1983) defined morality as “prescriptive                     Our hypotheses differ from cognitive dissonance the-
judgments of justice, rights, and welfare pertaining to                  ory and its variants in two ways. First, building on the
how people ought to relate to each other” (p. 3).                        sacred-value-protection model, we suggest that the mere
Philosophers and psychologists alike have treated being                  contemplation of acting inauthentically is sufficient to
untrue to oneself (inauthenticity) differently from being                produce feelings of moral contamination. It is the inau-
untrue to others (dishonesty), and have suggested that                   thenticity and impurity experienced in these situations,
society tolerates or promotes inauthenticity but univer-                 and not the inconsistency itself, that lead to the desire to
sally prohibits dishonesty (Harter et al., 1996).                        cleanse and morally compensate. Second, dissonance
   We, however, suggest that inauthenticity and dishon-                  processes are often triggered not by mere inconsistency
esty share a similar root: They are both a violation of                  but rather by aversive consequences (Cooper & Fazio,
being true, whether to others or oneself. As a result, they              1984); what provokes dissonance is the knowledge that
elicit similar psychological and behavioral responses. For               one’s actions have produced material consequences that
instance, expressing excitement for an activity or person                violate one’s attitudes.
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 289 of 1282

Authentic Self                                                                                                          985

    Finally, the research we report here is related to the       not recorded. Participants were then asked to recall an
work by Lee and Schwarz (2010b) showing that the phys-           event and write about it for 5 to 10 min. In the authentic-
ical act of washing reduces cognitive dissonance by cre-         behavior, general-event condition, the instructions read
ating a clean slate. However, their research did not             as follows (word changes in the inauthentic-behavior,
examine whether experiencing dissonance increases the            general-event condition are shown in brackets):
desire for physical cleansing, whereas we theorized
about and empirically tested the link between inauthen-            Please recall a time in your personal or professional
ticity and cleansing. Specifically, we directly examined           life when you behaved in a way that made you feel
the need for cleansing as a result of feeling morally              true [untrue] to yourself, that made you feel
tainted by experiencing inauthenticity.                            authentic [inauthentic]. It should just be a situation
                                                                   in which you felt authentic [inauthentic] with your
                                                                   core self. Please describe the details about this
Overview of the Present Research                                   situation that made you feel authentic [inauthentic].
We tested our predictions in five studies in which people          What was it like to be in this situation? What
recalled and wrote about a time when they felt authentic or        thoughts and feelings did you experience?
inauthentic. We measured whether inauthenticity influenced
people’s moral self-regard and feelings of impurity                 In the authentic-behavior, event-unrelated-to-lying
(Experiments 1 and 3) and their desire to cleanse them-          condition, the instructions read as follows (word changes
selves (Experiments 2, 4, and 5). We also linked inauthentic-    in the inauthentic-behavior, event-unrelated-to-lying con-
ity to prosocial behavior in the form of helping (Experiment     dition are shown in brackets; boldface is used here for
3) and donating money (Experiment 5). To establish dis-          emphasis but was not used in the original instructions):
criminant validity, we compared the effects of inauthenticity
with the effects of recalling a morally irrelevant, negative       Please recall a time in your personal or professional
experience (i.e., failing a test) in Experiment 3 and with the     life when you behaved in a way that made you feel
effects of cognitive dissonance in Experiment 4.                   true [untrue] to yourself, that made you feel
                                                                   authentic [inauthentic]. It is important that you
                                                                   choose a situation that is unrelated to telling
Experiment 1: The Impurity of                                      the truth to others [unrelated to lying or
Inauthenticity                                                     deceiving others]. It should just be a situation in
Experiment 1 examined whether inauthenticity produces              which you felt authentic [inauthentic] with your
feelings of immorality and impurity, independently of              core self. Please describe the details about this
whether it involves being untrue to others or untrue only          situation that made you feel authentic [inauthentic].
to oneself.                                                        What was it like to be in this situation? What
                                                                   thoughts and feelings did you experience?
Method                                                              Next, participants completed measures assessing their
Participants and design. Two hundred sixty-nine                  moral self-regard and feelings of impurity. The order in
individuals (mean age = 30.73 years, SD = 8.07; 143 male)        which these two sets of questions were presented was
from Amazon Mechanical Turk participated in this study           randomly determined for each participant. Participants
for $1. We calculated our target sample size using an            then completed manipulation checks and reported their
estimated effect size, f, of 0.2, which would require a          age and gender.
sample size of approximately 270 participants for the
study to be powered at 90%.1 We randomly assigned par-              Moral self-regard. Participants indicated the extent to
ticipants to a 2 (type of behavior: authentic vs. inauthen-      which the event they described made them feel moral,
tic) × 2 (type of event: general vs. unrelated to lying)         generous, cooperative, helpful, loyal to others, depend-
between-subjects design. Two participants did not write          able, trustworthy, reliable, caring, and respectful (D =
an essay and were excluded from the analyses, according          .965; adapted from Walker & Hennig, 2004). Responses
to a decision made prior to conducting the study.                were on a 7-point scale (ranging from 1, not at all, to 7,
                                                                 to a great extent).
Procedure. Participants first read initial instructions
welcoming them to the study and answered an attention               Feelings of impurity. Using the same 7-point scale,
check. Those who failed the attention check were auto-           participants indicated the extent to which the event they
matically informed that, on the basis of their answers,          described made them feel impure, dirty, and tainted
they did not qualify for the study. Thus, their data were        (D = .94).
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 290 of 1282

986                                                                                                                              Gino et al.

Table 1. Distribution of Event Descriptions in Experiment 1 by Content Category

                                                                                                Event unrelated
                                                                                                   to lying or      General   Average across
Category                                                                                        telling the truth    event     event types
                                                    Inauthentic-behavior condition
1. Expressing emotions, attitudes, or opinions that do not match one’s internal state                 39.1%          46.7%        42.9%
2. Attempting to fit in by conforming to norms or shared attitudes and behaviors, or                  53.6%          30.0%        41.8%
   in the face of social pressure
3. Lying to obtain a material self-interested advantage                                               0.0%           13.3%         6.7%
4. Theft, stealing                                                                                    0.0%            5.0%         2.5%
5. Cheating in a relationship                                                                         0.0%            0.0%         0.0%
6. Not being able to create something for oneself                                                     0.0%            1.7%         0.8%
7. Generala                                                                                           7.2%            3.3%         5.3%
                                                     Authentic-behavior condition
1. Expressing emotions, attitudes, or opinions that match one’s internal state                        35.8%          31.0%        33.4%
2. Not conforming to norms or shared attitudes and behaviors in the face of social                    32.8%          36.6%        34.7%
   pressure
3. Avoiding lying to obtain a material self-interested advantage                                       0.0%           1.4%         0.7%
4. Helping (e.g., giving somebody assurance, advice, or support)                                      17.9%          21.1%        19.5%
5. Being honest in a relationship                                                                      0.0%           1.4%         0.7%
6. Creating something for oneself                                                                      6.0%           4.2%         5.1%
7. Generala                                                                                            7.5%           4.2%         5.9%
a
Essays in this category were mainly descriptions of general feelings resulting from the experience.


    Manipulation check: self-alienation. As a manipu-                      Manipulation check: content of the essay. All par-
lation check, we measured feelings of self-alienation                      ticipants correctly answered the manipulation-check
with four items (e.g., “After experiencing the situation                   question asking them to indicate how the event they
I described I felt out of touch with the ‘real me,’” “After                wrote about had made them feel.
experiencing the situation I described I felt as if I did not
know myself very well”; D = .88) that have been used                       Manipulation check: self-alienation. A 2 (type of
in prior work to measure inauthenticity (Gino, Norton,                     behavior: authentic vs. inauthentic) × 2 (type of event:
& Ariely, 2010). We asked participants to indicate their                   general vs. unrelated to lying) between-subjects analysis
agreement with each of the four items using a 7-point                      of variance (ANOVA) using self-alienation as the depen-
scale (from 1, strongly disagree, to 7, strongly agree).                   dent measure revealed only a main effect of type of
                                                                           behavior. Participants in the inauthentic-behavior condi-
    Manipulation check: content of the essay. As an addi-                  tion reported greater self-alienation (M = 4.04, SD = 1.37,
tional manipulation check, we asked participants to think                  95% confidence interval, CI = [3.82, 4.26]) compared with
back to the initial writing task and indicate whether they                 participants in the authentic-behavior condition (M =
had written about an event that made them feel authen-                     1.90, SD = 1.19, 95% CI = [1.70, 2.12]), F(1, 263) = 186.16,
tic, inauthentic, or neutral.                                              p < .001, Kp2 = .41.

                                                                           Impurity and moral self-regard. Similar 2 × 2
Results                                                                    ANOVAs using impurity and moral self-regard as depen-
Coding of the essays. Two coders, who were blind to                        dent measures also revealed only a significant main effect
conditions and hypotheses, categorized the situations                      of type of behavior. Participants in the inauthentic-behav-
participants described in their essays. The two coders                     ior condition reported greater feelings of impurity (M =
agreed on the categorization 94% of the time, and dis-                     3.56, SD = 1.86, 95% CI = [3.30, 3.85]) and lower moral
agreements were resolved with a third coder. As Table 1                    self-regard (M = 2.90, SD = 1.50, 95% CI = [2.61, 3.16])
shows, about 90% of the essays described situations                        than did participants in the authentic-behavior condition
unrelated to ethics. Most were situations in which people                  (impurity: M = 1.51, SD = 1.29, 95% CI = [1.25, 1.78]; moral
expressed emotions, attitudes, or opinions that did not                    self-regard: M = 4.99, SD = 1.68, 95% CI = [4.72, 5.26]), F(1,
match their internal state or attempted to fit in by con-                  263) = 111.06, p < .001, Kp2 = .30, and F(1, 263) = 115.25,
forming to social norms or peer attitudes.                                 p < .001, Kp2 = .31, respectively.
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 291 of 1282

Authentic Self                                                                                                          987

Word count. We also examined whether participants’                Next, participants completed measures assessing
essays varied in length across conditions and found that       accessibility of cleansing-related words, desire to use
they did not (all ps > .30).                                   cleansing-related products (e.g., Tide detergent), and
                                                               desire to cleanse through behaviors such as taking a
Discussion                                                     shower. The order in which these three sets of measures
                                                               were presented was randomly determined. Participants
Inauthentic experiences made participants feel more            then completed manipulation checks and reported their
impure and less moral than authentic ones, indepen-            age and gender.
dently of whether those experiences involved lying to
themselves or lying to others. Thus, people experience            Accessibility of cleansing-related words. Participants
inauthenticity as a moral state.                               completed a word-completion task using the first word
                                                               that came to mind (Zhong & Liljenquist, 2006). The
Experiment 2: From Inauthenticity to                           instructions read,
Cleansing                                                        You will now be presented with a word completion
Experiment 2 examined whether feelings of impurity that          task. You will be given a list of words with letters
result from experiencing inauthenticity lead to a desire to      missing. Your task is to fill in the blanks to make
physically cleanse oneself. We measured participants’            complete words. Please use the first word that
desire to physically cleanse themselves using both an            comes to mind.
implicit measure and an explicit measure (Zhong &
Liljenquist, 2006).                                               Three of the word segments (W_ _H, SH_ _ER, and
                                                               S_ _P) could be completed as cleansing-related words
                                                               (wash, shower, and soap) or as unrelated, neutral words
Method
                                                               (e.g., wish, shaker, and step). The remaining three word
Participants and design. Nine hundred six responses            segments (F_ O _, B_ _ K, and PA_ _ R) could be com-
were collected from individuals (mean age = 31.88 years,       pleted with neutral words only.
SD = 9.05; 439 male) recruited on Amazon Mechanical
Turk, who participated in exchange for $1. We calculated          Cleansing products. Participants indicated how desirable
our target sample size using an estimated effect size, f, of   they found a list of products to be (using a 7-point scale,
0.1, which would require a sample size of 900 partici-         ranging from 1, completely undesirable, to 7, completely
pants for the study to be powered at 85%. As in Experi-        desirable). The list included five cleansing products (i.e.,
ment 1, we randomly assigned participants to a 2 (type of      Dove shower soap, Crest toothpaste, Windex cleaner, Tide
behavior: authentic vs. inauthentic) × 2 (type of event:       detergent, and Lysol disinfectant) and five neutral prod-
general vs. unrelated to lying) between-subjects design.       ucts (i.e., Post-it Notes, Nantucket Nectars juice, Energizer
   Sixty-eight responses did not meet our inclusion crite-     batteries, Sony CD cases, and Snickers bars). We averaged
ria: Some participants completed the study two or more         responses to the five cleansing products to create one
times (22 participants, 49 responses), did not write the       aggregate measure (D = .86).
requested essay (3 participants), or failed the manipula-
tion check asking them to indicate what type of essay             Cleansing behaviors. Participants indicated the desir-
they wrote (16 participants). We excluded the responses        ability of various behaviors on a 7-point scale (ranging
of these participants from the analyses, according to a        from 1, completely undesirable, to 7, completely desir-
decision made prior to conducting the study. We con-           able). Some of the behaviors were related to cleansing
ducted analyses on the remaining 838 observations.             (taking a shower, washing hands, brushing teeth, and
                                                               taking a bath), and others were not (taking a walk, having
Procedure. Participants first read some welcoming              something to eat, watching TV, and listening to music).
instructions and then answered two attention checks.           We averaged responses to the four cleansing behaviors to
Those who failed either attention check were automati-         create one aggregate measure (D = .75).
cally informed that, on the basis of their answers, they
could not take part in the study. Participants who passed         Manipulation checks. As a manipulation check, we
both attention checks were asked to recall an event and        measured self-alienation using the same four-item mea-
write about it for 5 to 10 min. In each of the four condi-     sure as in Experiment 1 (D = .87). We also asked partici-
tions, we used the same instructions for the writing task      pants to think back to the initial writing task and indicate
as in Experiment 1.                                            the type of essay they wrote, that is, whether they wrote
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 292 of 1282

988                                                                                                                Gino et al.

about an event that made them feel authentic, inauthen-          effect of inauthenticity on the desirability of cleansing
tic, or neutral.                                                 behaviors but not noncleansing ones was confirmed by a
                                                                 significant interaction between type of behavior in the
                                                                 writing task (authentic vs. inauthentic) and type of behav-
Results
                                                                 ior in the rating task (i.e., cleansing related vs. neutral),
Manipulation check: self-alienation. A 2 (type of                F(1, 834) = 7.92, p = .005, Kp2 = .009.
behavior: authentic vs. inauthentic) × 2 (type of event:
general vs. unrelated to lying) between-subjects ANOVA
using self-alienation as the dependent measure revealed
                                                                 Discussion
only a main effect of type of behavior. Participants in the      Recalling and writing about an inauthentic experience
inauthentic-behavior condition reported greater self-            enhanced a desire for physical cleanliness as measured
alienation (M = 4.07, SD = 1.41, 95% CI = [3.95, 4.19])          both implicitly and explicitly. Thus, experiencing inau-
than did participants in the authentic-behavior condition        thenticity heightens the desire to cleanse oneself.
(M = 1.87, SD = 1.07, 95% CI = [1.75, 1.99]), F(1, 834) =
655.80, p < .001, Kp2 = .44.
                                                                 Experiment 3: Prosocial Compensation
Accessibility of cleansing-related words. A similar              and Discriminant Validity
2 × 2 ANOVA using the sum of cleansing-related words             One concern with the previous experiments is the pos-
participants generated as the dependent measure                  sibility that the results were driven by recalling a nega-
revealed only a main effect of type of behavior (authentic       tive, or uncomfortable, event. In Experiment 3, we
vs. inauthentic). Participants who recalled and wrote            compared effects of inauthenticity and effects of a mor-
about an inauthentic behavior (M = 1.32, SD = 0.99, 95%          ally irrelevant negative experience—failing a test—to test
CI = [1.23, 1.42]) generated more cleansing-related words        whether the observed link between inauthentic behavior
than did those who recalled and wrote about an authen-           and moral cleansing generalizes to any negative experi-
tic behavior (M = 1.11, SD = 0.93, 95% CI = [1.02, 1.20]),       ence. By so doing, we tested for discriminant validity and
F(1, 834) = 10.02, p = .002, Kp2 = .012.                         furthered our understanding of the triggers of moral
                                                                 cleansing. We also tested whether inauthenticity pro-
Desirability of cleansing products. Similarly, a 2 × 2           duces moral compensation, leading people to act proso-
ANOVA using participants’ desirability ratings of cleans-        cially, and whether feelings of impurity but not dissonance
ing products as the dependent measure revealed only a            mediate this effect.
main effect of type of behavior (authentic vs. inauthen-
tic). Recalling an inauthentic rather than an authentic
behavior led to greater desirability of cleansing products
                                                                 Method
(M = 3.47, SD = 1.48, 95% CI = [3.33, 3.61], vs. M = 3.11,       Participants and design. Two hundred ninety-one
SD = 1.39, 95% CI = [2.97, 3.24]), F(1, 834) = 13.03, p <        individuals (mean age = 30.06 years, SD = 7.87; 47%
.001, Kp2 = .015, but the desirability of noncleansing prod-     male) from local universities in the northeastern United
ucts did not differ between the inauthentic-behavior con-        States participated in this study for pay. We calculated
dition (M = 3.08, SD = 1.21, 95% CI = [2.96, 3.20]) and the      our target sample size using an estimated effect size, f, of
authentic-behavior condition (M = 3.09, SD = 1.18, 95%           0.2, which would require a sample size of approximately
CI = [2.98, 3.21]), F < 1. The effect of inauthenticity on the   280 participants for the study to be powered at 85%. At
desirability of cleansing products but not noncleansing          some of the experimental sessions, however, participants
ones was confirmed by a significant interaction between          showed up at a higher rate than expected. Experiment 3
type of behavior and type of product (i.e., cleansing            was the first in an hour-long series of experiments for
related or neutral), F(1, 834) = 23.94, p < .001, Kp2 = .028.    which participants received $20 as compensation. Partici-
                                                                 pants were randomly assigned to one of three conditions:
Desirability of cleansing behaviors. Similarly, recall-          inauthenticity, failure, or control. Three participants failed
ing an inauthentic experience increased the desirability         the manipulation check asking them to indicate the type
of cleansing behaviors (M = 4.36, SD = 1.37, 95% CI =            of essay they wrote and were thus excluded from the
[4.22, 4.50], vs. M = 4.04, SD = 1.46, 95% CI = [3.91, 4.18]),   analyses, according to a decision made prior to conduct-
F(1, 834) = 10.19, p = .001, Kp2 = .012, but the desirability    ing the study. We conducted analyses on the remaining
of noncleansing behaviors did not differ between the             288 participants.
inauthentic-behavior condition (M = 4.77, SD = 1.26, 95%
CI = [4.65, 4.89]) and the authentic-behavior condition          Procedure. Participants first read some general instruc-
(M = 4.70, SD = 1.19, 95% CI = [4.58, 4.82]), F < 1. The         tions welcoming them to the study, answered one
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 293 of 1282

Authentic Self                                                                                                          989

attention-check question, and then, if they successfully          Cognitive dissonance. To assess cognitive dissonance,
responded to it, moved on to the writing task. In the          we used a measure developed by Elliot and Devine
inauthenticity condition, the instructions read (as in the     (1994) that includes psychological discomfort, negative
inauthentic-behavior, general-event condition of Experi-       and positive affect, and also embarrassment. In their
ments 1 and 2):                                                work, Elliot and Devine found that psychological dis-
                                                               comfort was the distinct affective consequence of engag-
  Please recall a time in your personal or professional        ing in counterattitudinal behavior. For completeness,
  life when you behaved in a way that made you feel            however, we included all the original items. All items
  untrue to yourself, that made you feel inauthentic.          were rated on 7-point scales. Psychological discomfort
  It should just be a situation in which you felt              was assessed through three items: Participants rated how
  inauthentic with your core self.                             uncomfortable, uneasy, and bothered they felt (D = .94).
                                                               Negative affect was assessed with three items: “angry
  Please describe the details about this situation that        toward myself,” “disgusted with myself,” and “annoyed
  made you feel inauthentic. What was it like to be            with myself” (D = .93). Three items measured positive
  in this situation? What thoughts and feelings did            affect (“happy,” “good,” and “energetic”; D = .95), and
  you experience?                                              two items measured embarrassment (“embarrassed” and
                                                               “ashamed”; D = .90).
  In the failure condition, we asked participants to
describe a time when they failed in an activity, test, or         Manipulation Check 1: self-alienation. As a manipula-
project. The instructions read:                                tion check, we measured feelings of self-alienation as in
                                                               Experiments 1 and 2 (D = .90).
  Please recall a time in your personal or professional
  life when you failed in an activity, test, or project in         Manipulation Check 2: content of the essay. As an
  a way that made you feel disappointed.                       additional manipulation check, we asked participants to
                                                               think back to the initial writing task and indicate whether
  Please describe the details about this situation in          they wrote about an event that made them feel inauthen-
  which you did not succeed on a task. What was it             tic, what they did the day before, or a time when they
  like to be in this situation? What thoughts and              did not succeed.
  feelings did you experience?
                                                                  Helping. At the conclusion of the experiment, partici-
   Finally, in the control condition, we asked participants    pants were told that the “research team is interested in
to describe their activities from the previous day. The        understanding how people make choices across various
instructions read:                                             domains (health care, work, food purchases). We have
                                                               prepared a 15-minute survey. We would love your help.
  Please recall what happened yesterday, throughout            If you can help us out, please click yes below and you
  the day.                                                     will be redirected to the survey. Otherwise, please press
                                                               No. Note that you will receive no extra payment for com-
  Please describe the details about this situation.            pleting it.” If participants decided to help, they received a
  What was it like to be in this situation? What               message thanking them for choosing to help the research
  thoughts and feelings did you experience?                    team and then were asked to answer a short question-
                                                               naire with general bogus questions.
   After the writing task, participants completed a ques-
tionnaire with a few measures of interest (i.e., feelings of
impurity, psychological discomfort, negative and positive
                                                               Results
affect, and embarrassment), two manipulation-check             Table 2 reports the means and confidence intervals for
questions, and demographic questions (age and gender).         the variables in this study, separately for each condition.
They then indicated their willingness to help the experi-
menter with another survey that would take 15 min of           Manipulation check: self-alienation. A one-way
their time.                                                    ANOVA using self-alienation as the dependent measure
                                                               revealed a main effect of condition, F(2, 285) = 43.23, p <
   Feelings of impurity. As in Experiment 1, participants      .001, Kp2 = .23. Pairwise comparisons (with Bonferroni
used a 7-point scale to indicate the extent to which the       adjustment) revealed that participants reported greater
event they described made them feel impure, dirty, and         self-alienation when they recalled and wrote about an
tainted (D = .94).                                             inauthentic experience (M = 3.83, SD = 1.51) than when
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 294 of 1282

990                                                                                                                       Gino et al.

                   Table 2. Means and 95% Confidence Intervals (in Brackets) for the Variables Assessed in
                   Experiment 3

                                                                             Condition

                   Variable                      Inauthenticity                 Failure                   Control
                   Self-alienation              3.83a [3.53, 4.13]         3.21b [2.92, 3.50]        1.92c [1.64, 2.21]
                   Feelings of impurity         3.66a [3.37, 3.95]         2.09b [1.81, 2.37]        1.21c [0.93, 1.49]
                   Discomfort                   5.11a [4.78, 5.45]         4.90a [4.57, 5.23]        2.41b [2.09, 2.73]
                   Negative affect              4.62a [4.30, 4.95]         4.61a [4.30, 4.93]        1.88b [1.56, 2.19]
                   Positive affect              1.99a [1.72, 2.27]         1.84a [1.57, 2.11]        4.46b [4.29, 4.73]
                   Embarrassment                4.40a [4.07, 4.74]         4.69a [4.36, 5.01]        1.97b [1.64, 2.29]
                   Helping                     33.7%a [25.3, 42.1]        17.5%b [9.4, 25.7]        16.2%b [8.1, 24.3]

                   Note: Within a row, means with different subscripts are significantly different, p < .05.


they recalled and wrote about either a failure (M = 3.21,                 Moral compensation through helping. The percent-
SD = 1.62; p = .012) or what they had done the previous                   age of participants who decided to help the experimenter
day (M = 1.92, SD = 1.19; p < .001). Participants also                    varied by condition, F2(2, N = 288) = 10.35, p = .006,
reported greater self-alienation in the failure than in the               Cramér’s V = .19. Participants who recalled and wrote
control condition (p < .001).                                             about an inauthentic experience were more likely to help
                                                                          the experimenter (33.7%, 31 of 92 participants) than were
Feelings of impurity. Feelings of impurity also differed                  those in the failure condition (17.5%, 17 of 97 partici-
by condition, F(2, 285) = 72.29, p < .001, Kp2 = .34. Pair-               pants), F2(1, N = 189) = 6.48, p = .011, and those in the
wise comparisons (with Bonferroni adjustment) revealed                    control condition (16.2%, 16 of 99 participants), F2(1, N =
that participants reported feeling more impure in the                     191) = 6.88, p = .009.
inauthenticity condition (M = 3.66, SD = 1.82) than in
either the failure condition (M = 2.09, SD = 1.57; p < .001)              Mediation analysis. Next, we examined whether
or the control condition (M = 1.21, SD = 0.61; p < .001).                 feelings of impurity or psychological discomfort due to
Participants also reported greater feelings of impurity in                cognitive dissonance explained the link between inau-
the failure than in the control condition (p < .001).                     thenticity and greater helping. In the logistic regressions,
                                                                          we included a dummy variable for both the inauthenticity
Psychological discomfort. Psychological discomfort,                       condition and the failure condition, using the control
which has been tied to cognitive dissonance, varied                       condition as the condition of reference. When feelings of
across conditions, F(2, 285) = 82.67, p < .001, Kp2 = .37.                impurity and psychological discomfort were included in
Pairwise comparisons (with Bonferroni adjustment)                         the equation (in addition to the dummies for the failure
revealed that participants reported less psychological dis-               condition and the inauthenticity condition), the effect of
comfort in the control condition (M = 2.41, SD = 1.71)                    inauthenticity on helping was reduced (from b = −0.97,
than in either the inauthenticity condition (M = 5.11, SD =               SE = 0.35, Wald = 7.63, p = .006, to b = 0.37, SE = 0.49,
1.53; p < .001) or the failure condition (M = 4.90, SD =                  Wald = 0.57, p = .45). Feelings of impurity predicted help-
1.64; p < .001). Participants felt the same amount of                     ing (b = 0.38, SE = 0.11, Wald = 12.25, p < .001), but
psychological discomfort in the failure and inauthenticity                psychological discomfort did not (b = 0.14, SE = 0.11,
conditions (p = 1.00).                                                    Wald = 1.67, p = .20). We conducted bootstrap analyses
                                                                          with 10,000 iterations using a macro provided by Preacher
Negative and positive affect, and embarrassment. Our                      and Hayes (2008) for situations involving multiple media-
manipulation also led to differences across conditions in                 tors. The bootstrapped 95% bias-corrected CI around the
negative affect, F(2, 285) = 98.28, p < .001, Kp2 = .41; posi-            indirect effect for impurity, [0.38, 1.56], did not contain
tive affect, F(2, 285) = 116.76, p < .001, Kp2 = .45; and                 zero, but the 95% bias-corrected CI around the indirect
embarrassment, F(2, 285) = 80.77, p < .001, Kp2 = .36. As                 effect for psychological discomfort did, [−0.20, 1.01].
shown in Table 2, participants in the control condition
reported lower negative affect, higher positive affect, and
                                                                          Discussion
lower embarrassment compared with participants in both
the failure and the inauthenticity condition (all ps < .001),             Inauthenticity produced greater feelings of impurity and
whereas participants in the latter two conditions did not                 greater moral compensation compared with failing a test.
differ on these measures (all ps > .71).                                  This study demonstrates that the effect of inauthenticity
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 295 of 1282

Authentic Self                                                                                                          991

on moral compensation cannot be attributed to general           experience running online studies with this population—
negative experiences. It also shows that feeling impure,        that about 10% to 15% of them likely would not complete
not cognitive dissonance, explains the relationship             the study after reading the initial instructions. We ran-
between inauthenticity and moral compensation through           domly assigned participants to one of three conditions:
helping.                                                        high-choice, counterattitudinal; low-choice, counteratti-
                                                                tudinal; or high-choice, proattitudinal.
Experiment 4: Inauthenticity Is Not
                                                                Procedure. Participants first read initial instructions
Dissonance                                                      welcoming them to the study. They were then asked to
Experiment 3 provided preliminary evidence that inau-           confirm that they were college students at Harvard. Next,
thenticity is distinct from cognitive dissonance. In            as part of the cognitive dissonance manipulation, we
Experiment 4, we explored this issue further using a cog-       asked participants for their opinion whether or not diffi-
nitive dissonance paradigm. In a typical dissonance study,      culty ratings should be a part of the Q guide (in which all
participants are asked to write a counterattitudinal essay      Harvard courses are rated and reviewed by students who
on a personally relevant topic, and perceived choice is         have taken them in the past). This issue was topical and
manipulated. In the high-choice condition, participants         familiar because it was a common topic of debate at the
are persuaded to write a counterattitudinal essay, but the      college at the time of the study; most students supported
request provides a feeling of choice. In the low-choice         the inclusion of difficulty ratings, and most faculty were
condition, participants are instructed to write the coun-       against it. Participants indicated whether they were for or
terattitudinal essay, which gives them little choice.           against the inclusion of difficulty ratings in the Q guide
Dissonance studies show a positive correlation between          and reported how strongly they held their opinion (from
perceived choice and attitudes toward the counterattitu-        1, not at all, to 7, very much so).
dinal topic (Cooper & Fazio, 1984).                                Next, participants were asked for their age, gender,
   Whereas choice is critical in producing cognitive dis-       and year in school. They were then told that their first
sonance, we suggest that choice does not play a role in         task was to write an essay on a current topic, a task that
increasing the desire for cleanliness that is associated        would take about 5 to 10 min to complete. We manipu-
with feeling inauthentic. We tested our hypothesis in           lated dissonance by giving some participants a choice
Experiment 4 by including three conditions: high-choice,        and other participants no choice regarding whether to
counterattitudinal; low-choice, counterattitudinal; and         write a counterattitudinal essay. All participants were
high-choice, proattitudinal. We predicted that participants     told, “We are interested in the effectiveness of writing on
would experience a greater sense of choice in the high-         current topics of interest to students.” The rest of the
choice conditions than in the low-choice condition. But         instructions varied by condition.
we also predicted that participants would express a                Instructions in the low-choice, counterattitudinal con-
greater desire for cleanliness whenever they wrote essays       dition indicated,
that were not consistent with their internal beliefs, regard-
less of their perceived level of choice. We expected to           We are randomly assigning people to write either a
observe a greater desire for cleanliness in both the high-        short essay that indicates they are in favor of
choice, counterattitudinal condition and the low-choice,          including difficulty ratings in the Q guide or a short
counterattitudinal condition compared with the high-              essay that indicates that they are against it. You
choice, proattitudinal condition.                                 have been assigned to write a list of arguments in
                                                                  favor of/against [depending on their initial opinion]
                                                                  including difficulty ratings in the Q guide. Therefore,
Method
                                                                  you must argue in support of/against [depending
Participants and design. Four hundred ninety-one                  on their initial opinion] including difficulty ratings
college students (mean age = 20.42 years, SD = 1.90; 43%          in the Q guide.
male) from Harvard University participated in the study
in return for a $10 Amazon gift card. Fifty-four additional        In contrast, the instructions in the high-choice, coun-
students started the study, but dropped out after reading       terattitudinal condition indicated,
the initial instructions and before the manipulation took
place; their data were thus not recorded. We calculated           We are asking people to write a short essay about
our target sample size using an estimated effect size, f, of      including difficulty ratings in the Q guide. While we
0.15, which would require a sample size of approxi-               would like to stress the voluntary nature of your
mately 490 participants for the study to be powered at            decision regarding which side of the issue to write
85%. We recruited 550 participants, knowing—from prior            on, we would like you to list arguments in favor of/
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 296 of 1282

992                                                                                                                                Gino et al.

        Table 3. Means and 95% Confidence Intervals (in Brackets) for the Variables Assessed in Experiment 4

                                                                                              Condition

                                                                 Low-choice,                 High-choice,         High-choice,
        Variable                                               counterattitudinal          counterattitudinal     proattitudinal
        Perceived choice                                        2.85a [2.54, 3.15]          3.63b [3.29, 3.96]   5.24c [4.97, 5.52]
        Self-alienation                                         2.70a [2.49, 2.91]          2.56a [2.36, 2.77]   1.88b [1.75, 2.02]
        Desirability of neutral products                        3.84a [3.65, 4.03]          3.81a [3.61, 4.01]   3.64a [3.46, 3.83]
        Desirability of cleansing-related products              4.34a [4.12, 4.56]          4.18a [3.95, 4.42]   3.72b [3.51, 3.93]

        Note: Within a row, means with different subscripts are significantly different, p < .05.


   against [depending on their initial opinion] including                    Results
   difficulty ratings in the Q guide. Although you are
   under no obligation to write this, it would be very                       Table 3 reports the means and confidence intervals for
   helpful for us.                                                           the variables measured in this study, separately for each
                                                                             condition.
    Participants in this condition had to check a box to
confirm their willingness to write the counterattitudinal                    Manipulation check: self-alienation. A one-way
essay.                                                                       ANOVA using self-alienation as the dependent measure
    Finally, the instructions in the high-choice, proattitudi-               revealed a main effect of condition, F(2, 487) = 21.14, p <
nal condition were the same as the instructions in the                       .001, Kp2 = .08. Pairwise comparisons (with Bonferroni
high-choice, counterattitudinal condition except that par-                   adjustment) revealed that participants reported lower self-
ticipants were asked to write about the perspective they                     alienation in the proattitudinal condition (M = 1.88, SD =
supported.                                                                   0.87) than in both the high-choice, counterattitudinal con-
    In all three conditions, the last part of the instructions               dition (M = 2.56, SD = 1.31; p < .001) and the low-choice,
read,                                                                        counterattitudinal condition (M = 2.70, SD = 1.40; p <
                                                                             .001). Participants reported the same perceived self-alien-
   We will be using the essay you write to describe                          ation in the two counterattitudinal conditions (p = .94).
   this issue to current undergraduates at Harvard.
   So it is important that you be as persuasive and                          Perceived choice. A one-way ANOVA using perceived
   convincing as possible to convey the message                              amount of choice as the dependent measure revealed a
   that difficulty ratings should be included in the Q                       main effect of condition, F(2, 487) = 62.35, p < .001, Kp2 =
   guide.                                                                    .20. Pairwise comparisons (with Bonferroni adjustment)
                                                                             revealed that participants reported lower perceived
   Participants in all conditions were instructed to start                   choice in the low-choice, counterattitudinal condition
their essay with the same statement, which appeared at                       (M = 2.85, SD = 1.98) than in the high-choice, counterat-
the top of the open box where they wrote their essay: “I                     titudinal condition (M = 3.63, SD = 2.16; p = .001) and in
believe that Harvard College should [should not] include                     the proattitudinal condition (M = 5.24, SD = 1.78; p <
difficulty ratings in the Q guide because. . . .”                            .001). Perceived choice was higher in the proattitudinal
   After the writing task, participants received a list of                   condition than it was in the high-choice, counterattitudi-
products and indicated how desirable they found them                         nal condition (p < .001).
to be, as in Experiment 2. We averaged ratings of the
five cleansing products to create one aggregate measure                      Desirability of cleansing products. A one-way
(D = .84).                                                                   ANOVA using participants’ desirability ratings of cleansing
   Next, participants indicated the extent to which the                      products as the dependent measure revealed a main effect
writing task they had completed earlier made them feel                       of condition, F(2, 487) = 8.24, p < .001, Kp2 = .033. Pairwise
inauthentic. We measured inauthenticity using the mea-                       comparisons (with Bonferroni adjustment) revealed that
sure of self-alienation we employed in Experiments 1, 2,                     participants reported less desire for cleansing products in
and 3 (D = .91).                                                             the proattitudinal condition (M = 3.72, SD = 1.33) than in
   Finally, we asked participants, “How much choice did                      both the high-choice, counterattitudinal condition (M =
you have in writing the essay you wrote?” (1 = none at                       4.18, SD = 1.51; p = .012) and the low-choice, counterat-
all, 7 = a lot).                                                             titudinal condition (M = 4.34, SD = 1.44; p < .001).
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 297 of 1282

Authentic Self                                                                                                          993

Desirability ratings of cleansing products did not differ           Following this task, we informed participants that they
between the latter two conditions (p = .94). There were no      could donate money to a charity of their choosing. We
differences across conditions in desirability ratings of the    used willingness to donate money and the amount par-
noncleansing products, F(2, 487) = 1.21, p = .30, Kp2 = .005.   ticipants actually donated (from their pay for participating
                                                                in the experiment) as our main dependent measures.
Discussion                                                          Next, we asked participants to indicate the extent to
                                                                which the writing task they had completed earlier made
Whereas choice is a critical ingredient in producing cogni-     them feel inauthentic. We measured inauthenticity using
tive dissonance, it played no role in increasing the desire     the measure of self-alienation we employed in our other
for cleanliness. When participants wrote essays that were       studies (D = .88). Finally, participants reported their age
not consistent with their internal beliefs, regardless of       and gender.
choice, they showed a greater desire for cleanliness.

                                                                Results
Experiment 5: Reducing Prosocial
                                                                Manipulation check: self-alienation. As expected,
Compensation Through Cleansing                                  participants reported feeling more self-alienated in the
We have demonstrated that inauthenticity makes people           inauthentic-behavior condition (M = 3.12, SD = 1.42, 95%
feel morally tainted and leads to a greater desire for          CI = [2.89, 3.35]) than in the authentic-behavior condition
cleanliness. In Experiment 5, we used moderation to test        (M = 2.36, SD = 1.25, 95% CI = [2.15, 2.57]), F(1, 287) =
whether the relationship between inauthenticity and pro-        22.82, p < .001, Kp2 = .074.
social compensation is explained through a greater desire
for cleansing. We manipulated the opportunity to cleanse        Likelihood of donating. We examined whether hav-
to examine whether having this opportunity eliminated           ing the opportunity to cleanse would moderate the
the link between inauthenticity and helping.                    effect of inauthenticity on donations. There was a mar-
                                                                ginally significant interaction between the type of
                                                                behavior recalled and opportunity for cleansing in pre-
Method                                                          dicting the likelihood of donating, b = 1.65, SE = 0.93,
Participants and design. Two hundred ninety-one                 Wald(1) = 3.16, p = .076. As depicted in Figure 2, partici-
individuals (mean age = 22.38 years, SD = 2.99; 45%             pants in the inauthentic-behavior condition were more
male) from local universities in the northeastern United        likely to donate when they did not clean their hands
States participated in this study for pay ($20). We calcu-      (25.3%, 95% CI = [16, 35]) than when they did (4.5%,
lated our target sample size using an estimated effect          95% CI = [−0.1, 10]), F2(1, N = 149) = 11.72, p = .001,
size, f, of 0.2, which would require a sample size of           Cramér’s V = .28.
approximately 310 participants for the study to be pow-            Participants who recalled and wrote about an authen-
ered at 85%, but the rate at which participants showed up       tic behavior decided to donate about as often whether
for some of our experimental sessions was lower than            they cleaned their hands (6.0%, 95% CI = [0, 12]) or did
expected. We randomly assigned participants to a 2              not (8.0%, 95% CI = [2, 14]; see Fig. 2), F2(1, N = 142) =
(behavior recalled: authentic vs. inauthentic) × 2 (oppor-      0.22, p = .64, Cramér’s V = .04. Thus, increased helping
tunity for cleansing: cleansing vs. control) between-sub-       was observed in the inauthentic-behavior condition only
jects design.                                                   among those participants who were not given an oppor-
                                                                tunity to cleanse themselves. Our results suggest that the
Procedure. We manipulated authenticity using the                act of cleaning their hands assuaged participants’ feelings
same instructions as in the authentic-behavior general-         of impurity from acting inauthentically and reduced their
event conditions of Experiments 1 and 2. After complet-         motivation to compensate for these feelings by acting
ing the writing task, participants were told that the second    prosocially.
part of the study consisted of evaluating a product that
had been randomly chosen for them. In the cleansing             Amount donated. The results for the amount of money
condition, participants were asked to clean their hands         participants actually donated mirrored the results for the
carefully with a hand sanitizer placed next to their com-       likelihood of donating. There was a significant interac-
puter. In the control condition, they were instead asked        tion between the type of behavior recalled and opportu-
to place a pen in their hands for a few seconds and             nity for cleansing in predicting the amount donated, F(1,
examine it carefully. In both conditions, participants were     287) = 6.17, p = .014, Kp2 = .021. Participants in the inau-
told that they would answer questions about the product         thentic-behavior condition donated a larger amount of
later on—which they did, as a filler task.                      money when they did not clean their hands than when
                                         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 298 of 1282

994                                                                                                                                     Gino et al.

                              100%                                                     inauthenticity and moral compensation through both
                                                          Control Condition            mediation and moderation. Our results for feelings of
                                   90%                    Cleansing Condition          impurity, the desire to cleanse, and prosocial behavior
                                   80%                                                 cannot be attributed to negative experiences more gener-
 Participants Deciding to Donate




                                                                                       ally (e.g., failing a test), but rather must be attributed to
                                   70%                                                 inauthenticity. Our findings provide the first empirical
                                   60%
                                                                                       evidence of discriminant validity in the literature on
                                                                                       moral cleansing and moral compensation. We also found
                                   50%                                                 that the effects of inauthenticity were not reducible to
                                                                                       cognitive dissonance or driven by psychological distress.
                                   40%
                                                                                          Our research contributes to the literature on moral
                                   30%                                                 psychology and behavioral ethics. Past research has
                                            25%
                                                                                       found that morality is malleable and dynamic, that situa-
                                   20%                                                 tional and social pressure can lead moral people to act
                                   10%                                    8%           dishonestly (Monin & Jordan, 2009). It is commonly
                                                    5%                            6%
                                                                                       assumed that unethical behavior involves people violat-
                                   0%                                                  ing a norm shared by others and that this violation pro-
                                            Inauthentic                    Authentic   duces negative feelings. We have shown that violating
                                                      Behavior Recalled                internal norms can lead to very similar consequences.
Fig. 2. Results from Experiment 5: percentage of people who decided                    When people behave in ways that are inconsistent with
to donate by condition.                                                                their own sense of self, they feel morally tainted and
                                                                                       engage in behaviors to compensate for these feelings.
                                                                                          Our results also contribute to the literature examining
they did (M = $1.33, SD = $2.76, 95% CI = [$0.72, $1.93],                              compensatory behaviors that follow threats, and aversive
vs. M = $0.24, SD = $1.37, 95% CI = [−$0.09, $0.58]), F(1,                             states that accompany threats. Proulx and Inzlicht’s (2012;
287) = 12.09, p = .001. But when participants recalled and                             see also Proulx, Inzlicht, & Harmon-Jones, 2012) mean-
wrote about an authentic behavior, they tended to donate                               ing-maintenance model integrates various social-psycho-
the same amount of money whether they cleaned their                                    logical theories about compensatory behaviors following
hands with the hand sanitizer (M = $0.42, SD = $1.84,                                  threats and expectancy violations. Our results are consis-
95% CI = [−$0.03, $0.87]) or they did not (M = $0.35, SD =                             tent with this model: Inauthenticity serves as a threat and
$1.42, 95% CI = [$0.02, $0.67]), F(1, 287) < 1, p = .77.                               leads people to experience a greater desire for cleanli-
                                                                                       ness, to compensate for the aversive experience that
Discussion                                                                             made them feel immoral and impure.
                                                                                          Although we have demonstrated that inauthenticity is
Experiment 5 further established that the relationship                                 not reducible to dissonance, we have not established that
between inauthenticity and moral compensation is                                       inauthenticity is distinct from other inconsistency-related
explained through cleansing behavior. When participants                                threats (e.g., ambivalence, self-uncertainty). It is possible
had the opportunity to cleanse themselves, the relation-                               that the dissonance participants experienced in the low-
ship between inauthenticity and prosocial behavior was                                 choice condition of Experiment 4 resulted from a more
eliminated.                                                                            general sense of ambivalence, inconsistency, or self-
                                                                                       uncertainty (e.g., van Harreveld, Schneider, Nohlen, &
                                                                                       van der Pligt, 2012). Future research should establish the
General Discussion                                                                     unique characteristics that differentiate inauthenticity
People often act inauthentically, in various ways, from                                from these other inconsistency-related threats. We expect
arguing for a cause they do not believe in to expressing                               that ambivalence or self-uncertainty would not increase
affection toward someone they truly dislike. Our five                                  feelings of impurity or desire for cleanliness but would
experiments establish that authenticity is linked to a                                 lead to compensation through other pathways.
moral state. When participants recalled a time that they                                  From Shakespeare to Sartre to Rand, writers and phi-
behaved inauthentically, rather than authentically, they                               losophers alike have suggested that authenticity is a moral
felt more impure and less moral, and experienced a                                     state. Our research provides the first empirical demonstra-
greater desire for physical cleanliness. This heightened                               tion that there is indeed a link between authenticity and
desire, in turn, made them more likely to behave proso-                                morality. Our results suggest why laughing at the jokes of
cially to compensate for their feelings of impurity. We                                detested colleagues or dancing when one feels blue makes
established the role of cleanliness as the link between                                one run for the showers and behave more prosocially.
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 299 of 1282

Authentic Self                                                                                                                      995

Author Contributions                                                    self-society dynamic: Cognition, emotion, and action (pp.
                                                                        171–187). New York, NY: Cambridge University Press.
All authors developed the study concept and contributed to the
                                                                    Gino, F., Norton, M., & Ariely, D. (2010). The counterfeit self:
study design. Testing and data collection were performed by
                                                                        The deceptive costs of faking it. Psychological Science, 21,
F. Gino and M. Kouchaki. F. Gino and M. Kouchaki drafted the
                                                                        712–720.
manuscript, and A. D. Galinsky provided critical revisions. All
                                                                    Grandey, A. A. (2000). Emotional regulation in the workplace:
authors approved the final version of the manuscript for
                                                                        A new way to conceptualize emotional labor. Journal of
submission.
                                                                        Occupational Health Psychology, 5, 95–110.
                                                                    Haidt, J., & Kesebir, S. (2010). Morality. In S. Fiske, D. Gilbert, &
Declaration of Conflicting Interests                                    G. Lindzey (Eds.), Handbook of social psychology (5th ed.,
The authors declared that they had no conflicts of interest with        pp. 797–832). Hoboken, NJ: Wiley.
respect to their authorship or the publication of this article.     Harter, S. (2002). Authenticity. In C. R. Snyder & S. J. Lopez
                                                                        (Eds.), Handbook of positive psychology (pp. 382–394).
Open Practices                                                          London, England: Oxford University Press.
                                                                    Harter, S., Marold, D. B., Whitesell, N. R., & Cobbs, G. (1996).
                                                                        A model of the effects of perceived parent and peer sup-
                                                                        port on adolescent false self behavior. Child Development,
All data and materials have been made publicly available via
                                                                        67, 360–374.
the Harvard Dataverse Network and can be accessed at https://
                                                                    Lee, S. W. S., & Schwarz, N. (2010a). Of dirty hands and dirty
osf.io/sd76g/. The complete Open Practices Disclosure for this
                                                                        mouths: Embodiment of the moral purity metaphor is spe-
article can be found at http://pss.sagepub.com/content/by/
                                                                        cific to the motor modality involved in moral transgression.
supplemental-data. This article has received badges for Open
                                                                        Psychological Science, 21, 1423–1425.
Data and Open Materials. More information about the Open
                                                                    Lee, S. W. S., & Schwarz, N. (2010b). Washing away postdeci-
Practices badges can be found at https://osf.io/tvyxz/wiki/
                                                                        sional dissonance. Science, 328, 709.
view/ and http://pss.sagepub.com/content/25/1/3.full.
                                                                    Monin, B., & Jordan, A. H. (2009). The dynamic moral self:
                                                                        A social psychological perspective. In D. Narvaez &
Note                                                                    D. Lapsley (Eds.), Personality, identity, and character:
1. We used a high level of power for the first study we con-            Explorations in moral psychology (pp. 341–354). New York,
ducted and then adjusted power levels as we conducted more              NY: Cambridge University Press.
studies.                                                            Preacher, K. J., & Hayes, A. F. (2008). Asymptotic and resam-
                                                                        pling strategies for assessing and comparing indirect effects
                                                                        in multiple mediator models. Behavior Research Methods,
References                                                              40, 879–891.
Ashforth, B. E., & Tomiuk, M. A. (2000). Emotional labour and       Proulx, T., & Inzlicht, M. (2012). The five “A”s of meaning main-
     authenticity: Views from service agents. In S. Fineman             tenance: Finding meaning in the theories of sense-making.
     (Ed.), Emotion in organizations (pp. 184–203). London,             Psychological Inquiry, 23, 317–335.
     England: Sage.                                                 Proulx, T., Inzlicht, M., & Harmon-Jones, E. (2012). Understanding
Cooper, J., & Fazio, R. H. (1984). A new look at dissonance             all inconsistency compensation as a palliative response to
     theory. In L. Berkowitz (Ed.), Advances in experimental            violated expectations. Trends in Cognitive Sciences, 16,
     social psychology (Vol. 17, pp. 229–266). New York, NY:            285–291.
     Academic Press.                                                Rogers, C. (1961). On becoming a person: A therapist’s view of
Ekman, P., & Friesen, W. V. (1975). Unmasking the face: A               personality. Boston, MA: Houghton Mifflin.
     guide to recognizing emotions from facial clues. Englewood     Schlenker, B. R. (2002). Self-presentation. In M. R. Leary & J. P.
     Cliffs, NJ: Prentice-Hall.                                         Tangney (Eds.), Handbook of self and identity (pp. 492–
Elliot, A. J., & Devine, P. G. (1994). On the motivational nature       518). New York, NY: Guilford Press.
     of cognitive dissonance: Dissonance as psychological dis-      Shakespeare, W. (1885). Tragedy of Hamlet, Prince of Denmark
     comfort. Journal of Personality and Social Psychology, 67,         (H. B. Sprague, Ed.). Chicago, IL: S. R. Winchell. (Original
     382–394.                                                           work published 1603) Retrieved from https://archive.org/
Erickson, R. J. (1995). The importance of authenticity for self         details/shakespearestrag251shak
     and society. Symbolic Interaction, 18, 121–144.                Snyder, M. (1987). Public appearances/private realities: The psy-
Festinger, L. (1957). A theory of cognitive dissonance. Stanford,       chology of self-monitoring. New York, NY: Freeman.
     CA: Stanford University Press.                                 Tetlock, P. E., Kristel, O., Elson, B., Green, M., & Lerner, J.
Gecas, V. (1986). The motivational significance of self-con-            (2000). The psychology of the unthinkable: Taboo trade-
     cept for socialization theory. In E. Lawler (Ed.), Advances        offs, forbidden base rates, and heretical counterfactuals.
     in group processes (Vol. 3, pp. 131–156). Greenwich, CT:           Journal of Personality and Social Psychology, 78, 853–870.
     JAI.                                                           Turiel, E. (1983). The development of social knowledge:
Gecas, V. (1991). The self-concept as a basis for a theory of           Morality and convention. Cambridge, England: Cambridge
     motivation. In J. A. Howard & P. L. Callero (Eds.), The            University Press.
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 300 of 1282

996                                                                                                                 Gino et al.

van Harreveld, F., Schneider, I. K., Nohlen, H., & van der       Walker, L. J., & Hennig, K. H. (2004). Differing conceptions
   Pligt, J. (2012). Ambivalence and conflict in attitudes and      of moral exemplarity: Just, brave, and caring. Journal of
   decision-making. In B. Gawronski & F. Strack (Eds.),             Personality and Social Psychology, 86, 629–647.
   Cognitive consistency: A fundamental principle in             Zhong, C.-B., & Liljenquist, K. (2006). Washing away your sins:
   social cognition (pp. 285–304). New York, NY: Guilford           Threatened morality and physical cleansing. Science, 313,
   Press.                                                           1451–1452.
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 301 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 302 of 1282

974                                                                                                       Gino, Wiltermuth

more likely than less creative people to bend rules or
break laws (Cropley, Kaufman, & Cropley, 2003; Sternberg
& Lubart, 1995; Sulloway, 1996). Popular tales are replete
with images of “evil geniuses,” such as Rotwang in
Metropolis and “Lex” Luthor in Superman, who are both
creative and nefarious in their attempts to ruin humanity.
Similarly, news articles have applied the “evil genius”
moniker to Bernard Madoff, who made $20 billion disap-
pear using a creative Ponzi scheme.
   The causal relationship between creativity and unethi-
cal behavior may take two possible forms: The creative
process may trigger dishonesty; alternatively, acting
unethically may enhance creativity. Research has demon-
strated that enhancing the motivation to think outside the
box can drive people toward more dishonest decisions
(Beaussart, Andrews, & Kaufman, 2013; Gino & Ariely,
2012). But could acting dishonestly enhance creativity in
subsequent tasks?
   In five experiments, we obtained the first empirical
evidence that behaving dishonestly can spur creativity        Fig. 1. The Duncker candle problem presented to participants in
and examined the psychological mechanism explaining           Experiment 1.
this link. We suggest that after behaving dishonestly,
people feel less constrained by rules, and are thus more
likely to act creatively by constructing associations         The correct solution involves using the box of tacks as a
between previously unassociated cognitive elements.           candleholder: One should empty the box of tacks, tack it
                                                              to the wall, and then place the candle inside. Finding the
                                                              correct solution is considered a measure of insight cre-
Experiment 1: Cheaters Are Creative
                                                              ativity because it requires people to see objects as capa-
In our first study, we examined whether individuals who       ble of performing atypical functions (Maddux & Galinsky,
behave unethically are more creative than others on a         2009). Thus, the hidden solution to the problem is incon-
subsequent task, even after controlling for differences in    sistent with the preexisting associations and expectations
baseline creative skills.                                     individuals bring to the task (Duncker, 1945; Glucksberg
                                                              & Weisberg, 1966).
                                                                  Next, participants performed a filler task. They then
Method
                                                              completed a problem-solving task under time pressure.
Participants. One hundred fifty-three individuals            Each of 10 matrices presented a set of 12 three-digit num-
recruited on Amazon Mechanical Turk (MTurk; 59%               bers (e.g., 4.18; see Mazar, Amir, & Ariely, 2008), and the
male, 41% female; mean age = 30.08, SD = 7.12) partici-       task was to find two numbers in the matrix that added up
pated in the study for a $1 show-up fee and the opportu-      to 10. Participants were shown one matrix at a time and
nity to earn a $10 performance-based bonus. We told           had 20 s to solve each one. If participants did not find the
participants that 10% of the study participants would be      solution within the allotted time, the computer program
randomly selected to receive this bonus.                      moved to the next matrix. After participants attempted to
                                                              solve the 10 matrices, they self-reported their perfor-
Procedure. The study included four supposedly unre-          mance. For each correct solution, participants could
lated tasks: an initial creativity task (the Duncker candle   receive $1 if they were among those randomly selected
problem), a 2-min filler task, a problem-solving task, and    to receive the bonus. The program recorded participants’
the Remote Association Task (RAT; Mednick, 1962).             answer for each matrix, but the instructions did not
   Participants first completed the Duncker candle prob-      explicitly state this. Thus, participants could cheat by
lem (Fig. 1). They saw a picture containing several objects   inflating their performance on this task.
on a table and next to a cardboard wall: a candle, a pack         Finally, participants completed the RAT, which mea-
of matches, and a box of tacks. Participants had 3 min “to    sures creativity by assessing people’s ability to identify
figure out, using only the objects on the table, how to       associations between words that are normally associated.
attach the candle to the wall so that the candle burns        Each item consists of a set of three words (e.g., sore,
properly and does not drip wax on the table or the floor.”    shoulder, sweat), and participants must find a word that
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 303 of 1282

Evil Genius                                                                                                             975

is logically linked to them (cold). Participants had 5 min     Procedure. The study included two supposedly unre-
to solve 17 RAT items. Success on the RAT requires peo-        lated tasks: a computer-based math-and-logic game and
ple to think of uncommon associations that stimulus            the RAT. The cheating manipulation was implemented in
words may have instead of focusing on the most com-            the computer-based game (Vohs & Schooler, 2008; von
mon and familiar associations of those words.                  Hippel, Lakin, & Shakarchi, 2005), which involved
                                                               answering 20 different math and logic multiple-choice
                                                               problems presented individually. Participants had 40 s
Results and discussion
                                                               to answer each question and could earn 50¢ for each
Forty-eight percent of the participants correctly solved       correct answer.
the Duncker candle problem. Almost 59% of the partici-             In the control condition, participants completed the
pants cheated on the problem-solving task by reporting         task with no further instructions. In the likely-cheating
that they had solved more matrices than they had actu-         condition, the experimenter informed participants that
ally solved. Cheaters performed better on the RAT (M =         the computer had a programming glitch: While they
9.00 items correct, SD = 3.38) than did noncheaters (M =       worked on each problem, the correct answer would
5.76, SD = 3.38), even when we controlled for creative         appear on the screen unless they stopped it from being
performance on the Duncker candle problem, F(1, 150) =         displayed by pressing the space bar right after the prob-
22.03, p < .001, Kp2 = .13.                                    lem appeared. The experimenter also informed partici-
    Cheating on the matrix task mediated the effect of par-    pants that although no one would be able to tell whether
ticipants’ initial creativity on their RAT performance         they had pressed the space bar, they should try to solve
(Baron & Kenny, 1986). The effect of baseline creativity       the problems on their own (thus being honest). In actual-
weakened (from E = 0.30, p < .001, to E = 0.15, p = .056)      ity, the presentation of the answers was a feature of the
when cheating was included in the regression, and cheat-       program and not a glitch, and the number of space-bar
ing significantly predicted RAT performance (E = 0.37,         presses was recorded. We used the number of times par-
p < .001). A bootstrap analysis showed that the 95% bias-      ticipants did not press the space bar to prevent the cor-
corrected confidence interval (CI) for the size of the indi-   rect answer from appearing as our measure of cheating.
rect effect excluded zero (0.57, 1.80), suggesting a               After the math-and-logic game, participants completed
significant indirect effect (MacKinnon, Fairchild, & Fritz,    12 RAT problems, which constituted our creativity
2007).                                                         measure.
    These results provided initial evidence that behaving
dishonestly enhances creativity. Individual differences in
creative ability between cheaters and noncheaters did
                                                               Results and discussion
not explain this finding.                                      Most participants (51 out of 53) cheated in the likely-
                                                               cheating condition of the math-and-logic game. An anal-
                                                               ysis including only these 51 cheaters in the likely-cheating
Experiment 2: The Act of Cheating
                                                               condition revealed that RAT performance was higher in
Enhances Creativity                                            the likely-cheating condition (M = 6.20 items correct,
One limitation of Experiment 1 is that people decided for      SD = 2.72) than in the control condition (M = 4.65, SD =
themselves whether or not to cheat. In Experiment 2, we        2.98), t(97) = 2.71, p = .008. Similarly, we found a signifi-
used random assignment to test whether acting dishon-          cant difference in RAT performance between the two
estly increases creativity in subsequent tasks. To induce      conditions when all 53 participants in the likely-cheating
cheating, we used a manipulation in which cheating             condition were included in the analysis (likely-cheating
occurs by omission rather than commission and in which         condition: M = 6.25, SD = 2.70), t(99) = 2.83, p = .006.
people are tempted to cheat in multiple rounds. Because        These results indicate that cheating increased creativity
of these features, most people tend to cheat on this task      on a subsequent task and provide further support for our
(Shu & Gino, 2012).                                            main hypothesis.


Method                                                         Experiment 3: Breaking Rules With
Participants. One hundred one students from univer-
                                                               and Without Ethical Implications
sities in the southeastern United States (39% male, 61%        One may argue that people often deviate from rules
female; mean age = 21.48, SD = 7.23) participated in the       when they can and that this makes them more creative—
study for a $5 show-up fee and the opportunity to earn         even when the rule they break does not have ethical
an additional $10 performance-based bonus. We ran-             implications. In Experiment 3, we addressed this alterna-
domly assigned participants to either the likely-cheating      tive explanation by using two conditions that did not dif-
or the control condition.                                      fer in how likely participants were to disobey the rules
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 304 of 1282

976                                                                                                        Gino, Wiltermuth

on how to solve the task at hand but did differ in whether       tempted to cheat by inflating their performance (as in
they enabled participants to lie. Because of this feature,       Gino & Mogilner, 2014). In the control condition, we
participants who lied would break an additional rule, a          used the following options: “0–5: average for students in
rule with ethical implications. We reasoned that breaking        good colleges”; “6–10: typical for students in Ivy League
rules with ethical implications (i.e., people should not         colleges”; and “11–higher: common for English profes-
lie) promotes greater creativity than does violating rules       sors and novelists.” In this case, most participants would
without ethical implications because the former consti-          likely fall into an acceptable bracket and would therefore
tutes a stronger rejection of rules. As a result, we pre-        not feel tempted to lie. Thus, participants in both condi-
dicted that only the condition that enabled lying would          tions had the opportunity to break the numerous rules
enhance creativity, which would provide evidence that            listed in the instructions, but those in the likely-cheating
cheating specifically increases creativity. Another differ-      condition were more tempted to lie.
ence from the prior experiments is that we used two dif-             Following the anagram task, participants completed
ferent tasks to measure creativity in Experiment 3.              two tasks assessing their creativity: the uses task and 17
                                                                 RAT problems (as in Experiment 1). For the uses task, they
                                                                 had to generate as many creative uses for a newspaper as
Method                                                           possible within 1 min (Guilford, 1967). To assess creativity
Participants. One hundred twenty-nine individuals               on this task, we coded responses for fluency (i.e., the total
recruited on MTurk (58% male, 42% female; mean age =             number of uses), flexibility (i.e., the number of uses that
27.72, SD = 7.86) participated in this study for $2.             were different from one another), and originality (aver-
                                                                 aged across the different suggested ideas).
Procedure. We described the study as including various
tasks, the first of which was a standard anagram task that       Results and discussion
tested verbal abilities. To motivate successful performance
on this task, we told participants that performance on an        Table 1 reports the means for the key variables assessed
anagram task predicts verbal ability, which is correlated        in this study, separately for the two conditions.
with career potential. In this task (adapted from Irwin, Xu,        Forty percent of participants (26 out of 65) in the
& Zhang, 2014), participants had to complete as many             likely-cheating condition cheated, and only 4.7% (3 out
anagrams as they could in 3 min. The instructions speci-         of 64) in the control group did, F2(1, N = 129) = 23.08,
fied several rules participants had to follow (see the Sup-      p < .001. Actual performance on the anagram task did not
plemental Material available online). For each anagram,          differ between conditions, t(127) = 0.23, p = .82.
participants had to rearrange a set of letters to form a            All measures of creativity were higher in the likely-
meaningful word (e.g., tiarst can make artist). In addition,     cheating condition than in the control condition—RAT
participants were supposed to provide only one answer            performance: t(127) = 2.17, p = .032; fluency on the uses
per anagram, even if the anagram had more than one solu-         task: t(127) = 2.47, p = .015; flexibility on the uses task:
tion. Because each anagram had multiple answers, the             t(127) = 1.82, p = .072; and originality on the uses task:
instructions stated, the computer program could not vali-        t(127) = 3.24, p = .002. Thus, cheating enhanced
date their answers automatically. Thus, participants had to      creativity.1
keep track of how many anagrams they had solved and
self-report the number at the end of the task.                   Experiment 4: Feeling Unconstrained
    After participants completed the task, they were ran-
                                                                 by Rules
domly assigned to either the likely-cheating or the con-
trol condition. These two conditions differed in the             In Experiment 4, we examined why cheating enhances
choice options people were given to report their perfor-         creativity by measuring the extent to which participants
mance. In a pretest, we found that, on average, partici-         felt that they were not constrained by rules. We also used
pants recruited on MTurk (age range: 18–50) solved 5 to          a different task to assess cheating. In our previous stud-
8 anagrams in the allotted time. Thus, to induce partici-        ies, we used tasks in which performance was partially
pants to inflate their performance, in the likely-cheating       due to ability and effort. Such tasks may be cognitively
condition, we used the following options: “0–8: lower            depleting, and behaving honestly may have required
verbal learners”; “9–14: average for students in good col-       greater cognitive effort than behaving dishonestly. In
leges”; “15–20: typical for students in Ivy League col-          Experiment 4, we used a coin-toss task in which cheating
leges”; and “21–higher: common for English professors            and acting honestly likely involve the same cognitive
and novelists.” Because most participants would likely           effort. Finally, we also measured affect to rule out the
fall into the “lower verbal learners” category, their intelli-   possibility that emotions partially explain the effects of
gence would be threatened, and they would therefore be           dishonesty on creativity.
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 305 of 1282

Evil Genius                                                                                                                       977

          Table 1. Means for the Key Variables in Experiment 3

                                                                              Uses task
                               Number of anagrams                                                             Number of RAT
          Condition                 solved                  Fluency          Flexibility      Originality      items solved
          Likely-cheating           4.17 (3.26)            6.02 (2.02)       5.18 (2.01)     3.69 (1.21)            6.85 (3.82)
          Control                   4.05 (2.89)            5.20 (1.70)       4.58 (1.78)     3.06 (0.97)            5.47 (3.38)

          Note: The values in parentheses are standard deviations. RAT = Remote Association Task (Mednick, 1962).




Method                                                                   Results and discussion
Participants. One hundred seventy-eight individuals                     Twenty-four percent of participants (43 out of 178)
recruited on MTurk (47% male, 53% female; mean age =                     cheated on the coin-toss task. Table 2 reports the means
28.59, SD = 7.72) participated in the study for $1 and the               for the key variables assessed in this study, separately for
opportunity to earn a $1 bonus.                                          cheaters and noncheaters.
                                                                            Participants who cheated on the coin-toss task
Procedure. The instructions explained that the goal of                  reported caring less about rules than did those who did
the study was to investigate the relationships among peo-                not cheat, t(176) = 6.48, p < .001. All four measures of
ple’s different abilities, such as attention, performance                creativity were higher for cheaters than they were for
under pressure, and luck. Participants also learned that                 noncheaters—fluency on the uses task: t(176) = 4.24, p <
they would receive monetary bonuses based on their                       .001; flexibility on the uses task: t(176) = 4.02, p < .001;
performance on different tasks.                                          originality on the uses task: t(176) = 6.85, p < .001; and
    We first asked participants to guess whether the out-                RAT performance: t(176) = 2.54, p = .012. Cheaters and
come of a virtual coin toss would be heads or tails. After               noncheaters reported similar levels of positive and nega-
indicating their prediction, participants had to press a                 tive affect after the coin-toss task (ps > .36).
button to toss the coin virtually. They were asked to                       We tested whether participants’ feelings about rules
press the button only once. To give participants room                    explained the link between cheating and creativity. For
for justifying their own cheating, we included a note at                 this analysis, we standardized the four measures of cre-
the bottom of the screen that stated, “Before moving to                  ative performance and then averaged them into one
the next screen, please press the ‘Flip!’ button a few                   composite measure. The effect of cheating on subsequent
more times just to make sure the coin is legitimate” (a                  creativity was significantly reduced (from E = 0.43, p <
procedure adapted from Shalvi, Dana, Handgraaf, & De                     .001, to E = 0.35, p < .001) when participants’ caring
Dreu, 2011). Participants then reported whether they                     about rules was included in the equation, and such feel-
had guessed correctly and received a $1 bonus if they                    ing predicted creative performance (E = 0.18, p = .017;
had. The program recorded the outcomes of the initial                    95% bias-corrected CI = [0.02, 0.29]). These results pro-
virtual coin tosses so that we could tell whether partici-               vide evidence that feeling unconstrained by rules under-
pants cheated.                                                           lies the link between dishonesty and creativity.
    Afterward, for each of three pictures (see Fig. 2), par-
ticipants used a 7-point scale (1 = not at all, 7 = very                 Experiment 5: Evidence for Mediation
much) to respond to the question, “If you were in the
situation depicted in the picture, to what extent would
                                                                         Through Moderation
you care about following the rules?” We averaged each                    In Experiment 4, we tested whether caring about rules
participant’s answers across the three items to create a                 explained the relationship between dishonesty and cre-
measure for caring about rules (D = .81).                                ativity using a traditional mediation approach. In Experi-
    Participants then completed the same two creativity                  ment 5, we obtained further evidence for this mediating
tasks as in Experiment 3. Finally, participants indicated                mechanism using a moderation approach (as recom-
how they felt right after finishing the coin-toss task, using            mended by Spencer, Zanna, & Fong, 2005).
the 20-item Positive and Negative Affectivity Schedule
(PANAS; Watson, Clark, & Tellegen, 1988). The PANAS
captured both positive affect (D = .90) and negative affect
                                                                         Method
(D = .90) on a 5-point scale (1 = very slightly or not at all,           Participants. Two hundred eight individuals from the
5 = extremely).                                                          northeastern United States (56% male, 44% female; mean
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 306 of 1282

978                                                                                                                          Gino, Wiltermuth




                    Fig. 2. Images used to assess the extent to which participants in Experiment 4 felt unconstrained by
                    rules.




age = 21.66, SD = 2.64; 88% students) participated in the                opposite sides of the die added up to 7: 1 vs. 6, 2 vs. 5,
study for $10 and the opportunity to earn additional                     and 3 vs. 4. We called the visible side that was facing up
money.                                                                   “U” and the opposite, invisible side that was facing down
                                                                         “D.” Participants received the following instructions:
Procedure. Participants were randomly assigned to one
of four experimental conditions in a 2 (cheating condi-                     In each round, the number of points that you score
tion: opaque vs. transparent) × 2 (prime condition: rule-                   depends on the throw of the die as well as on the
breaking prime vs. neutral prime) between-subjects                          side that you have chosen in that round. Each round
design. They read that they would be completing a series                    consists of one throw. Before throwing, you have to
of short tasks involving luck and skill, and that some of                   choose the relevant side for that round. Note that
these tasks involved a bonus payment.                                       the die outcomes are random and the outcome you
   The first task was a die-throwing game ( Jiang, 2013).                   see on the screen corresponds to the upside. . . .
In this game, participants could throw a virtual six-sided                  For instance, if you have chosen “D” in your mind
die 20 times to earn points (which would be translated to                   and the die outcome turns up to be “4,” you earn 3
real dollars and added to participants’ final payment).                     points for that throw, whereas if you have chosen
Participants were reminded that each pair of numbers on                     “U” in your mind, you earn 4 points. Across the 20


 Table 2. Means for the Key Variables in Experiment 4

                                   Uses task
 Participant                                                      Number of RAT       Caring about
 group              Fluency        Flexibility    Originality      items solved           rules            Positive affect    Negative affect
 Cheaters          8.33 (2.80)    6.81 (2.85)     3.60 (1.26)        9.47 (4.38)        3.66 (1.76)         2.52 (0.80)         1.56 (0.62)
 Noncheaters       6.52 (2.31)    5.25 (1.98)     2.33 (1.00)        7.84 (3.38)        5.28 (1.31)         2.42 (0.89)         1.46 (0.63)

 Note: The values in parentheses are standard deviations. RAT = Remote Association Task (Mednick, 1962).
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 307 of 1282
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 308 of 1282

980                                                                                                                  Gino, Wiltermuth

dishonest behavior. It also provides new evidence that                Gino, F., & Ariely, D. (2012). The dark side of creativity: Original
dishonesty may therefore lead people to become more                       thinkers can be more dishonest. Journal of Personality and
creative in their subsequent endeavors.                                   Social Psychology, 102, 445–459.
                                                                      Gino, F., & Mogilner, C. (2014). Time, money, and morality.
                                                                          Psychological Science, 25, 414–421.
Author Contributions
                                                                      Glucksberg, S., & Weisberg, W. R. (1966). Verbal behavior and
Both authors developed the study concept, contributed to the              problem solving: Effects of labeling in a functional fixed-
study design, collected data, and performed the data analysis.            ness problem. Journal of Experimental Psychology, 71,
Both authors worked on various drafts of the manuscript and               659–664.
approved the final version of the manuscript for submission.          Guilford, J. P. (1950). Creativity. American Psychologist, 5,
                                                                          444–454.
Declaration of Conflicting Interests                                  Guilford, J. P. (1967). The nature of human intelligence. New
The authors declared that they had no conflicts of interest with          York, NY: McGraw-Hill.
respect to their authorship or the publication of this article.       Irwin, J., Xu, Q., & Zhang, Y. (2014). The upside of lying:
                                                                          How incidental deceptions increase task performance.
                                                                          Unpublished manuscript, The University of Texas at Austin,
Supplemental Material
                                                                          McCombs School of Business.
Additional supporting information may be found at http://pss          Jiang, T. (2013). Cheating in mind games: The subtlety of rules
.sagepub.com/content/by/supplemental-data                                 matters. Journal of Economic Behavior & Organization, 93,
                                                                          323–336.
Notes                                                                 Kelley, T., & Littman, J. (2001). The art of innovation: Lessons in
                                                                          creativity from IDEO, America’s leading design firm. New
1. We obtained the same results when we compared the creativ-
                                                                          York, NY: Currency.
ity of cheaters and noncheaters (all ps < .01).
                                                                      Langley, P., & Jones, R. (1988). A computational model of sci-
2. In a pilot study (N = 103), we tested the effect of our primes
                                                                          entific insight. In R. J. Sternberg (Ed.), The nature of creativ-
on participants’ willingness to follow rules as indicated by their
                                                                          ity: Contemporary psychological perspectives (pp. 171–201).
scores on a four-item scale adapted from Tyler and Blader (2005;
                                                                          Cambridge, England: Cambridge University Press.
e.g., “If I received a request from a supervisor or a person with
                                                                      MacKinnon, D. P., Fairchild, A. J., & Fritz, M. S. (2007). Mediation
authority right now, I would do as requested”). Participants in
                                                                          analysis. Annual Review of Psychology, 58, 593–614.
the rule-breaking prime condition demonstrated less willing-
                                                                      Maddux, W. W., & Galinsky, A. D. (2009). Cultural borders and
ness to follow rules (M = 5.65, SD = 0.79) than did participants
                                                                          mental barriers: The relationship between living abroad
in the neutral prime condition (M = 6.03, SD = 0.91), t(101) =
                                                                          and creativity. Journal of Personality and Social Psychology,
2.27, p = .025.
                                                                          96, 1047–1061.
                                                                      Mazar, N., Amir, O., & Ariely, D. (2008). The dishonesty of hon-
References                                                                est people: A theory of self-concept maintenance. Journal
Bailin, S. (1987). Critical and creative thinking. Informal Logic,        of Marketing Research, 45, 633–644.
     9, 23–30.                                                        Mednick, S. A. (1962). The associative basis of the creative pro-
Baron, R. M., & Kenny, D. A. (1986). The moderator-mediator               cess. Psychological Review, 69, 220–232.
     variable distinction in social psychological research:           PricewaterhouseCoopers. (2011). Cybercrime: Protecting against
     Conceptual, strategic, and statistical considerations. Journal       the growing threat (Global Economic Crime Survey).
     of Personality and Social Psychology, 51, 1173–1182.                 Retrieved from https://www.pwc.com/en_GX/gx/economic-
Baucus, M. S., Norton, W. I., Baucus, D. A., & Human, S. A.               crime-survey/assets/GECS_GLOBAL_REPORT.pdf
     (2008). Fostering creativity and innovation without encour-      Runco, M. A. (2010). Creativity has no dark side. In D. H.
     aging unethical behavior. Journal of Business Ethics, 81,            Cropley, A. J. Cropley, J. C. Kaufman, & M. A. Runco (Eds.),
     97–115.                                                              The dark side of creativity (pp. 15–32). New York, NY:
Bazerman, M. H., & Gino, F. (2012). Behavioral ethics: Toward             Cambridge University Press.
     a deeper understanding of moral judgment and dishonesty.         Shalvi, S., Dana, J., Handgraaf, M. J. J., & De Dreu, C. K. W.
     Annual Review of Law and Social Science, 8, 85–104.                  (2011). Justified ethicality: Observing desired coun-
Beaussart, M. L., Andrews, C. J., & Kaufman, J. C. (2013).                terfactuals modifies ethical perceptions and behavior.
     Creative liars: The relationship between creativity and              Organizational Behavior and Human Decision Processes,
     integrity. Thinking Skills and Creativity, 9, 129–134.               115, 181–190.
Brenkert, G. G. (2009). Innovation, rule breaking and the eth-        Shu, L., & Gino, F. (2012). Sweeping dishonesty under the rug:
     ics of entrepreneurship. Journal of Business Venturing, 24,          How unethical actions lead to forgetting of moral rules.
     448–464.                                                             Journal of Personality and Social Psychology, 102, 1164–1177.
Cropley, D. H., Kaufman, J. C., & Cropley, A. J. (2003).              Simonton, D. K. (1999). Creativity as blind variation and selective
     Malevolent creativity: A functional model of creativity              retention: Is the creative process Darwinian? Psychological
     in terrorism and crime. Creativity Research Journal, 20,             Inquiry, 10, 309–328.
     105–115.                                                         Spencer, S. J., Zanna, M. P., & Fong, G. T. (2005). Establishing
Duncker, K. (1945). On problem solving. Psychological                     a causal chain: Why experiments are often more effec-
     Monographs, 58(5, Serial No. 270).                                   tive than mediational analyses in examining psychological
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 309 of 1282

Evil Genius                                                                                                                          981

    processes. Journal of Personality and Social Psychology,           Tyler, T. R., & Blader, S. L. (2005). Can businesses effectively
    89, 845–851.                                                           regulate employee conduct? The antecedents of rule fol-
Sternberg, R. J. (1988). A three-facet model of creativity. In R. J.       lowing in work settings. Academy of Management Journal,
    Sternberg (Ed.), The nature of creativity: Contemporary psy-           48, 1143–1158.
    chological perspectives (pp. 125–147). Cambridge, England:         Vohs, K. D., & Schooler, J. W. (2008). The value of believing
    Cambridge University Press.                                            in free will: Encouraging a belief in determinism increases
Sternberg, R. J., & Lubart, T. I. (1995). Defying the crowd:               cheating. Psychological Science, 19, 49–54.
    Cultivating creativity in a culture of conformity. New York,       von Hippel, W., Lakin, J. L., & Shakarchi, R. J. (2005). Individual
    NY: Free Press.                                                        differences in motivated social cognition: The case of self-
Sulloway, F. (1996). Born to rebel. New York, NY: Pantheon.                serving information processing. Personality and Social
Sutton, R. I. (2001). The weird rules of creativity. Harvard               Psychology Bulletin, 31, 1347–1357.
    Business Review, 79(8), 94–103.                                    Watson, D., Clark, L. A., & Tellegen, A. (1988). Development
Sutton, R. I. (2002). Weird ideas that work: 11½ practices for             and validation of brief measures of positive and negative
    promoting, managing, and sustaining innovation. New                    affect: The PANAS scales. Journal of Personality and Social
    York, NY: Free Press.                                                  Psychology, 54, 1063–1070.
Treviño, L. K., Weaver, G. R., & Reynolds, S. J. (2006). Behavioral    Winslow, E. K., & Solomon, G. T. (1993). Entrepreneurs:
    ethics in organizations: A review. Journal of Management,              Architects of innovation, paradigm pioneers and change.
    32, 951–990.                                                           Journal of Creative Behavior, 27, 75–88.
                                                          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 310 of 1282




                                          Retraction


                                          PSYCHOLOGICAL AND COGNITIVE SCIENCES
                                          Retraction for “Signing at the beginning makes ethics salient and
                                          decreases dishonest self reports in comparison to signing at the
                                          end,” by Lisa L. Shu, Nina Mazar, Francesca Gino, Dan Ariely,
                                          and Max H. Bazerman, which was first published August 27,
                                          2012; 10.1073/pnas.1209746109 (Proc. Natl. Acad. Sci. U.S.A.
                                          109, 15197 15200).
                                            The editors are retracting this article and note that Simonsohn,
                                          Simmons, and Nelson (http://datacolada.org/98) have provided
                                          evidence to question the validity of the data in the article.
                                                                                         May R. Berenbaum
                                                                                               Editor in Chief
                                          Published under the PNAS license.
                                          Published September 13, 2021.




                                                                                                                                                                    RETRACTION
                                          www.pnas.org/cgi/doi/10.1073/pnas.2115397118
Downloaded by guest on October 21, 2021




                                          PNAS 2021 Vol. 118 No. 38 e2115397118                                  https://doi.org/10.1073/pnas.2115397118 | 1 of 1
                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 311 of 1282


Signing at the beginning makes ethics salient and
decreases dishonest self-reports in comparison to
signing at the end
Lisa L. Shua, Nina Mazarb,1, Francesca Ginoc, Dan Arielyd, and Max H. Bazermanc
a
 Kellogg School of Management, Northwestern University, Evanston, IL 60208; bRotman School of Management, University of Toronto, Toronto, ON,
Canada M5S 3E6; cHarvard Business School, Harvard University, Boston, MA 02163; and dFuqua School of Business, Duke University, Durham, NC 27708

Edited* by Daniel Kahneman, Princeton University, Princeton, NJ, and approved July 23, 2012 (received for review June 11, 2012)

Many written forms required by businesses and governments rely               the extent that written reports feel more distant and make it easier
on honest reporting. Proof of honest intent is typically provided            to disengage internal moral control than verbal reports, written
through signature at the end of, e.g., tax returns or insurance policy       reports are likely to be more prone to dishonest conduct (3, 10, 11).
forms. Still, people sometimes cheat to advance their ﬁnancial self-         However, for both types of reports (verbal or written) we hypoth
interests—at great costs to society. We test an easy-to-implement            esize a pledge to honesty to be more effective before rather than
method to discourage dishonesty: signing at the beginning rather             after self reporting. Thus, in this work, we test an easy to imple
than at the end of a self-report, thereby reversing the order of the         ment method of curtailing fraud in written reports: signing a state
current practice. Using laboratory and ﬁeld experiments, we ﬁnd              ment of honesty at the beginning rather than at the end of a self
that signing before–rather than after–the opportunity to cheat               report that people know from the outset will require a signature.
makes ethics salient when they are needed most and signiﬁcantly
reduces dishonesty.                                                          Results and Discussion
                                                                             Experiment 1 tested this intervention in the laboratory, using two
morality   | nudge | policy making | fraud                                   different measures of cheating: self reported earnings (income)
                                                                             on a math puzzles task wherein participants could cheat for ﬁ

T   he annual tax gap between actual and claimed taxes due in
    the United States amounts to roughly $345 billion. The In
ternal Revenue Service estimates more than half this amount is
                                                                             nancial gain (3), and travel expenses to the laboratory (deduc
                                                                             tions) claimed on a tax return form on research earnings. On the
                                                                             one page form where participants reported their income and
due to individuals misrepresenting their income and deductions               deductions, we varied whether participant signature was required
(1). Insurance is another domain burdened by the staggering cost             at the top of the form or at the end. We also included a control
of individual dishonesty; the Coalition Against Insurance Fraud              condition wherein no signature was required on the form.
estimated that the overall magnitude of insurance fraud in the                  We measured the extent to which participants overstated their
United States totaled $80 billion in 2006 (2). The problem with              income from the math puzzles task and the amount of deduc
curbing dishonesty in behaviors such as ﬁling tax returns, sub               tions they claimed. All materials were coded with unique iden
mitting insurance claims, claiming business expenses or reporting            tiﬁers that were imperceptible to participants, yet allowed us to
billable hours is that they primarily rely on self monitoring in lieu        track each participant’s true performance on the math puzzles
of external policing. The current paper proposes and tests an ef             against the performance underlying their income reported on
ﬁcient and simple measure to reduce such dishonesty.                         the tax forms. The percentage of participants who cheated by
   Whereas recent ﬁndings have successfully identiﬁed an in                  overclaiming income for math puzzles they purportedly solved
tervention to curtail dishonesty through introducing a code of               differed signiﬁcantly across conditions: fewer cheated in the
conduct in contexts where previously there was none (3, 4), many             signature at the top condition (37%) than in the signature at
important transactions already require signatures to conﬁrm                  the bottom and no signature conditions (79 and 64%, re
compliance to an expected standard of honesty. Nevertheless, as              spectively), χ2(2, n = 101) = 12.58, P = 0.002, with no differences
signiﬁcant economic losses demonstrate (1, 2), the current practice          between the latter two conditions (P = 0.17). The results also
appears insufﬁcient in countering self interested motivations to             hold when analyzing the average magnitude of cheating by con
falsify numbers. We propose that a simple change of the signature            dition; Fig. 1 depicts the reported and actual performance, as
location could lead to signiﬁcant improvements in compliance.                measured by the number of math puzzles solved, for each con
   Even subtle cues that direct attention toward oneself can lead            dition, F(2, 98) = 9.21, P < 0.001. Finally, claims of travel ex
to surprisingly powerful effects on subsequent moral behavior                penses followed that same pattern and differed by condition,
(5 7). Signing is one way to activate attention to the self (8).             F(2, 98) = 5.63, P < 0.01, η2 = 0.10. Participants claimed fewer
However, typically, a signature is requested at the end. Building            expenses in the signature at the top condition (M = $5.27,
on Duval and Wicklund’s theory of objective self awareness (9),              SD = 4.43) compared with signature at the bottom (M = $9.62,
we propose and test that signing one’s name before reporting                 SD = 6.20; P < 0.01) and the no signature condition (M =
information (rather than at the end) makes morality accessible               $8.45, SD = 5.92; P < 0.05), with no differences between the
right before it is most needed, which will consequently promote              latter two conditions (P = 0.39). Thus, signing before reporting
honest reporting. We propose that with the current practice of
signing after reporting information, the “damage” has already
been done: immediately after lying, individuals quickly engage in            Author contributions: L.L.S., N.M., F.G., D.A., and M.H.B. designed research; L.L.S., F.G.,
various mental justiﬁcations, reinterpretations, and other “tricks”          and D.A. performed research; N.M., F.G., and D.A. analyzed data; and L.L.S., N.M., F.G.,
                                                                                                                                                                           PSYCHOLOGICAL AND
                                                                                                                                                                           COGNITIVE SCIENCES




such as suppressing thoughts about their moral standards that                D.A., and M.H.B. wrote the paper.
allow them to maintain a positive self image despite having lied             The authors declare no conﬂict of interest.
(3, 10, 11). That is, once an individual has lied, it is too late to         *This Direct Submission article had a prearranged editor.
direct their focus toward ethics through requiring a signature.              1
                                                                              To whom correspondence should be addressed. E-mail: nina.mazar@rotman.utoronto.ca.
   In court cases, witnesses verbally declare their pledge to honesty        This article contains supporting information online at www.pnas.org/lookup/suppl/doi:10.
before giving their testimonies not after, perhaps for a reason. To          1073/pnas.1209746109/-/DCSupplemental.



www.pnas.org/cgi/doi/10.1073/pnas.1209746109                                              PNAS | September 18, 2012 | vol. 109 | no. 38 | 15197–15200
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 312 of 1282


                                                                          F(1, 58) = 4.22, P < 0.05, η2 = 0.07; this greater access to
                                                                          ethics related concepts (our proxy for saliency of morality)
                                                                          signiﬁcantly mediated the effect of assigned condition (signa
                                                                          ture at the top or signature at the bottom) on cheating on the
                                                                          tax forms [bootstrapping with 10,000 iterations (14): 95%
                                                                          conﬁdence interval −1.85, −0.04].
                                                                             Experiment 3 tested the effect of the signature location in a
                                                                          naturalistic setting. Partnering with an automobile insurance com
                                                                          pany in the southeastern United States, we manipulated the policy
                                                                          review form, which asked customers to report the current odometer
                                                                          mileage of all cars insured by the company. Customers were ran
                                                                          domly assigned to one of two forms, both of which required their
                                                                          signature following the statement: “I promise that the information I
Fig. 1. Reported and actual number of math puzzles solved by condition,   am providing is true.” Half the customers received the original
experiment 1 (n = 101). Error bars represent SEM.                         forms used by the insurance company, where their signature was
                                                                          required at the end of the form; the other half received our
                                                                          treatment forms, where they were required to sign at the beginning.
promoted honesty, whereas signing afterward was the same as               The forms were identical in every other respect. Reporting lower
not signing at all.                                                       odometer mileage indicated less driving, lower risk of accident
   Experiment 2 investigated the potential mechanism underlying           occurrence, and therefore lower insurance premiums. We expected
the effect through a word completion task (12, 13) serving as an          customers who signed at the beginning of the form to be more
implicit measure of mental access to ethics related concepts (4).         truthful and reveal higher use than those who signed at the end.
Sixty university participants were randomly assigned to one of               We compared the reported current odometer mileage on
two conditions: signature at the top or signature at the bottom.          13,488 completed policy forms for 20,741 cars to the latest records
Experiment 2 used the same math puzzles and tax form procedure            of each car’s odometer mileage to calculate its use (number of
as in experiment 1, but varied the incentives for performance on          miles driven). Customers who signed at the beginning on average
the math puzzles task and the tax rate. Finally, the one page tax         revealed higher use (M = 26,098.4, SD = 12,253.4) than those who
forms were modiﬁed to mimic the ﬂow of actual tax reporting               signed at the end [M = 23,670.6, SD = 12,621.4; F(1, 13,485) =
practices in the United States, and as in experiment 1, all               128.63, P < 0.001]. The difference was 2,427.8 miles per car. That
materials were imperceptibly coded with unique identiﬁers.                is, asking customers to sign at the beginning of the form led to
   After ﬁlling out the tax forms, all participants received a list of    a 10.25% increase in implied miles driven (based on reported
six word fragments with missing letters. They were instructed to          odometer readings) over the current practice of asking for a sig
complete them with meaningful words. Three fragments (_ _ R               nature at the end. Follow up analyses suggested that the higher
A L, _ I _ _ _ E, and E _ _ _ C _ _) could potentially be com             use in the signature at the top condition was not due to more
pleted with words related to ethics (moral, virtue, and ethical) or       detailed reporting (down to the last digit) in comparison with
neutral words. We used the number of times these fragments                customers who may have relied on simply rounding their odom
were completed with ethics related words as our measure of access         eter mileage in the signature at the bottom condition. Thus, the
to moral concepts.                                                        simple change in signature location likely reduced the extent to
   Similar to experiment 1, the percentage of participants who            which customers falsiﬁed mileage information in their own ﬁnancial
cheated by overstating their performance on the math puzzles task         self interest at cost to the insurance company who must pass this
was lower in the signature at the top condition (37%, 11 of 30)           expense on to all its policyholders, including honest customers who
than in the signature at the bottom condition (63%, 19 of 30), χ2(1,      bear the ultimate burden of paying for the dishonesty of others.
n = 60) = 4.27, P < 0.04. The same pattern of results held when              According to data from the US Department of Transportation
analyzing the magnitude of cheating (Fig. 2), t(58) = −2.07, P <          Ofﬁce of Highway Policy Information, the average annual amount
0.05, as well as the travel expenses that participants claimed on the     of travel per vehicle in the United States was roughly 12,500 miles
tax return form, F(1, 58) = 7.76, P < 0.01, η2 = 0.12: they were lower    in 2005 (15). This suggests that the average driver in our ﬁeld ex
in the signature at the top condition (M = 3.23, SD = 2.73) than in       periment had been a customer with the insurance company for 2 y.
the signature at the bottom condition (M = 7.06, SD = 7.02).              We estimated the annual per mile cost of automobile insurance in
   In the word completion task, participants who signed before            the United States to range from 4 to 10 cents, suggesting a mini
ﬁlling out the form generated more ethics related words (M = 1.40,        mum average difference of $48 in annual insurance premium per
SD = 1.04) than those who signed after (M = 0.87, SD = 0.97),             car between customers in the two conditions. The range of 4 10
                                                                          cents was determined from comparing usage based insurance
                                                                          also known as PAYD, or pay as you drive and calculating the
                                                                          premiums for different scenarios of car brand, model, mileage, and
                                                                          buyer demographic on two automobile insurance policy sites.
                                                                             The current practice of signing after reporting is insufﬁcient. It
                                                                          is important to make morality salient, right before it is needed
                                                                          most, so that it can remain active during the most tempting
                                                                          moments. When signing comes after reporting, the morality
                                                                          train has already left the station. The power of our intervention
                                                                          is precisely due to the fact that it is such a gentle nudge (16): it
                                                                          does not impose on the freedom of individuals, it does not require
                                                                          the passage of new legislation, and it can profoundly inﬂuence
                                                                          behaviors of ethical and economic signiﬁcance. In fact, because most
                                                                          self reports already require signing a pledge to honesty albeit not in
                                                                          the most effective location the cost of implementing our in
Fig. 2. Reported and actual number of math puzzles solved by condition,   tervention is minimal. Given the immense ﬁnancial resources de
experiment 2 (n = 60). Error bars represent SEM.                          voted to prevention, detection, and punishment of fraudulent

15198 | www.pnas.org/cgi/doi/10.1073/pnas.1209746109                                                                                   Shu et al.
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 313 of 1282


behavior, a truly minimal intervention like the one used in our re                  0111) that was identical to the digit of one number of one math puzzle of
search seems costly not to implement even if its effectiveness might                each individual’s worksheet (which was unique to each individual’s work
wane over time as signing before reporting becomes prevalent and                    station). This difference was completely imperceptible to participants but
                                                                                    allowed us to link the worksheet and the tax return form that belonged to
individuals may ﬁnd new “tricks” to disengage from morality.
                                                                                    the same participant. As a result, at the end of each session, we were able to
                                                                                    compare actual performance on the problem solving task and reported per
Materials and Methods
                                                                                    formance on the tax return form. If those numbers differed for any individual,
Informed consent was obtained from all participants, and the Institutional          this difference represented one measure of the individual’s level of cheating.
Review Boards of Harvard University and University of North Carolina                    First, we examined the percentage of participants who cheated by
reviewed and approved all materials and procedures in Experiments 1 and 2.          overstating their performance on the problem solving task when asked to
                                                                                    report it on the tax return form. This percentage varied across conditions,
Experiment 1: Participants and Procedure. A total of 101 students and               χ 2(2, n = 101) = 12.58, P = 0.002: The number of cheaters was lowest in the
employees at local universities in the southeastern United States (Mage =           signature at the top condition (37%, 13 of 35), higher in the signature at
22.10, SD = 4.98; 45% male; 82% students) completed the experiment for              the bottom condition (79%, 26 of 33), and somewhat in between those two
pay. They received a $2 show up fee and had the opportunity to earn ad              but closer to the latter for the no signature condition (64%, 21 of 33).
ditional money throughout the experiment.                                               Both actual and reported mean performances on the math puzzles task are
    Participants were randomly assigned to one of three conditions: (i) signature   shown in Fig. 1. As depicted, the number of math puzzles overreported in the
at the top of the tax return form (before ﬁlling it out); (ii) signature at the     tax return forms varied by condition, F(2, 98) = 9.21, P < 0.001, η2 = 0.16: It was
bottom (after ﬁlling it out); or (iii) no signature (control). The statement that   lowest in the signature at the top condition (M = 0.77, SD = 1.44) and higher
participants had to sign asked them to declare that they carefully examined         in the signature at the bottom condition (M = 3.94, SD = 4.07; P < 0.001) and
the return and that to the best of their knowledge and belief it was correct        in the no signature condition (M = 2.52, SD = 3.12; P < 0.05). The difference
and complete.                                                                       between these two latter conditions was only marginally signiﬁcant (P < 0.07).
    At the beginning of each session, participants were given instructions in           The credits for travel expenses (travel time and costs of commute) that
which they were informed that they would ﬁrst complete a problem solving            participants claimed in the tax return forms also varied by condition, F(2, 98) =
task under time pressure (i.e., they would have 5 min to complete the task). In     5.63, P < 0.01, η2 = 0.10 and followed the same pattern: Participants claimed
addition, the instructions included the following information, “For the prob        fewer expenses in the signature at the top condition (M = 5.27, SD = 4.43)
lem solving task, you will be paid a higher amount than what we usually pay         than in the signature at the bottom (M = 9.62, SD = 6.20; P < 0.01) and the no
participants because you will be taxed on your earnings. You will receive more      signature (control) conditions (M = 8.45, SD = 5.92; P < 0.05). The difference
details after the problem solving task.”                                            between these two latter conditions was not signiﬁcant (P = 0.39). These
Problem solving task. For this task (3), participants received a worksheet with     results suggest that the effect of the signature location is driven by the sign
20 math puzzles, each consisting of 12 three digit numbers (e.g., 4.78) and         ing at the top condition: Signing before a self reporting task promoted hon
a collection slip on which participants later reported their performance in         est reporting. Signing afterward did not promote cheating. In effect, signing
this part of the experiment. Participants were told that they would have            afterward was the same as having no signature at all.
5 min to ﬁnd two numbers in each puzzle that summed to 10. For each pair
of numbers correctly identiﬁed, they would receive $1, for a maximum                Experiment 2: Participants and Procedure. Sixty students and employees at
payment of $20. Once the 5 min were over, the experimenter asked par                local universities in the southeastern United States (Mage = 21.50, SD = 2.27;
ticipants to count the number of correctly solved puzzles, note that number         48% male; 90% students) completed the experiment for pay. They received
on the collection slip, and then submit both the test sheet and the collection      a $2 show up fee and had the opportunity to earn additional money
slip to the experimenter. We assume respondents had no problems adding 2            throughout the experiment.
numbers to 10, which means they should have been able to identify how                  Experiment 2 used one between subjects factor with two levels: signature
many math puzzles they had solved correctly without requiring a solution            at the top and signature at the bottom. The experiment used the same task
sheet. Neither of the two forms (math puzzles test sheet and collection slip)       and procedure of experiment 1 but varied the incentives for the problem
had any information on it that could identify the participants. The sole            solving task, the tax rate, and the tax return forms participants completed.
purpose of the collection slip was for the participants themselves to learn         Namely, participants in this experiment were paid $2 (rather than $1) for each
how many puzzles in total they had solved correctly.                                math puzzle successfully solved and were taxed at a higher rate of 50%.
Tax return form. After the problem solving task, participants went to a second      Finally, the tax forms were modiﬁed such that they mimicked the ﬂow of
room to ﬁll out a research study tax return form (based on IRS Form 1040). The      actual tax reporting practices in the United States: deductions (commuting
one page form we used was based on a typical tax return form. We varied             time and costs) were ﬁrst subtracted from gross income (earnings from math
whether participants were asked to sign the form and if so, whether at the top      puzzles task) to compute taxable income, and then taxes were paid on this
or bottom of the page (Figs. S1 S3). Participants ﬁlled out the form by self        total adjusted amount (Fig. S4 shows an example of the forms used).
reporting their income (i.e., their performance on the math puzzles task) on           After ﬁlling out the tax return forms, participants were asked to complete
which they paid a 20% tax (i.e., $0.20 for every dollar earned). In addition,       a word completion task. Participants received a list of six word fragments
they indicated how many minutes it took them to travel to the laboratory,           with letters missing and were asked to ﬁll in the blanks to make complete
and their cost of commute. These expenses were “credited” to their posttax          words by using the ﬁrst word that came to mind. Following prior research
earnings from the problem solving task to compute their ﬁnal payment. The           measuring implicit cognitive processes (12, 13), we used this word comple
instructions read: “We would like to compensate participants for extra              tion task to measure accessibility of moral concepts. Three of the word
expenses they have incurred to participate in this session.” We reimbursed          fragments (      R A L, I          E, and E        C     ) could potentially be
the time to travel to the laboratory at $0.10 per minute (up to 2 h or $12)         completed by words related to ethics (moral, virtue, and ethical); these were
and the cost of participants’ commute (up to $12). All of the instructions and      our measures of access to moral concepts.
dependent measures appeared on one page to ensure that participants                 Level of cheating. We ﬁrst examined the percentage of participants who
knew from the outset that a signature would be required. Thus, any dif              cheated by overstating their performance on the math puzzles task when
ferences in reporting could be attributed to the location of the signature.         ﬁlling out the tax return form. This percentage was lower in the signature at
Payment structure. Given the features of the experiment, participants could         the top condition (37%, 11 of 30) than in the signature at the bottom
make a total of $42 an amount which breaks down as follows: $2 show up              condition (63%, 19 of 30), χ 2(1, n = 60) = 4.27, P < 0.04.
fee, $20 on math puzzles task minus a 20% tax on income (i.e., $4), $12 as             Fig. 2 depicts actual performance on the math puzzles task and reported
credits for travel time, and $12 as credits for cost of commute.                    performance on the tax return form, by condition. This difference (a mea
Opportunity to cheat on the tax return form. The experiment was designed such       sure for cheating) was lower in the signature at the top condition (M = 1.67,
that participants could cheat on the tax return form and get away with it by        SD = 2.78) than in the signature at the bottom condition (M = 3.57, SD = 4.19),
                                                                                                                                                                          PSYCHOLOGICAL AND
                                                                                                                                                                          COGNITIVE SCIENCES




overstating their “income” from the problem solving task and by inﬂating            t(58) = 2.07, P < 0.05.
the travel expenses they incurred to participate in the experiment. When               The deductions participants reported on the tax return form followed the
participants completed the ﬁrst part of the experiment (problem solving             same pattern and varied signiﬁcantly by condition, F(1, 58) = 7.76, P < 0.01, η2 =
task), the experimenter gave them a tax return form and asked each partici          0.12: they were lower in the signature at the top condition (M = 3.23, SD =
pant to go to a second room with a second experimenter to ﬁll out the tax           2.73) than in the signature at the bottom condition (M = 7.06, SD = 7.02).
form and receive their payments. The tax return form included a one digit           Word fragment task. Participants who signed before ﬁlling out the tax form
identiﬁer (one digit in the top right of the form, in the code OMB no. 1555         generated more ethics related words (M = 1.40, SD = 1.04) than those who


Shu et al.                                                                                             PNAS | September 18, 2012 | vol. 109 | no. 38 | 15199
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 314 of 1282

signed after ﬁlling out the form (M = 0.87, SD = 0.97), F(1, 58) = 4.22, P < 0.05,            number of miles driven (our main dependent variable), we subtracted the
η2 = 0.07, suggesting that ethics are more salient when participants signed                   odometer reading that was in the insurance company’s database from the
before rather than after the temptation to cheat.                                             self reported current odometer reading we received from our audit forms.
Mediation analyses. We also tested whether ethics related concepts (our proxy                    Although there was no explicit statement on the policy review forms
for saliency of moral standards) mediated the effect of condition on the                      linking car use to insurance premiums, policyholders had an incentive to
extent of cheating. Both condition and the number of ethics related concepts                  report lower use: the fewer miles driven, the lower the accident risk, and the
were entered into a linear regression model predicting extent of cheating                     lower their insurance premium. Thus, when ﬁlling out the automobile policy
measured by the level of overreporting of income. The mediation analysis                      review form, customers likely faced a dilemma between honestly indicating
revealed that the effect of condition was signiﬁcantly reduced (from β =                      the current odometer mileage, and dishonestly indicating lower odometer
  0.262, P < 0.05 to β = 0.143, P = 0.23), and that the number of ethics                      mileage to reduce their insurance premium. We hypothesized that signing
related concepts was a signiﬁcant predictor of cheating (β = 0.456, P <                       before self reporting makes ethics salient right when it is needed most.
0.001). Using the bootstrapping method (with 10,000 iterations) recom                         Therefore, we expected that customers who signed the policy review form
mended by Preacher and Hayes (4), we tested the signiﬁcance of the indirect                   ﬁrst, before ﬁlling it out, would more likely be truthful, and reveal higher use,
effect of condition on dishonest behavior through the activation of ethics                    compared with those who signed at the end, after ﬁlling it out.
related concepts. The 95% conﬁdence interval for the indirect effect did not
                                                                                                 Completed forms were received from 13,488 policies for a total of 20,741
include zero ( 1.85, 0.04), suggesting signiﬁcant mediation.
                                                                                              cars. A single policy could cover up to four cars; 52% of policies had one car,
    Additionally, we computed the z score measure for both the deductions
                                                                                              42% had two cars, 5% had three cars, and less than 0.3% had four cars. If
claimed and the magnitude of cheating on the math puzzles for each par
                                                                                              a customer’s policy had more than one car, we averaged the reported
ticipant. We averaged the two measures to form an index for each indi
                                                                                              odometer mileages for all cars on the same policy. As hypothesized, con
vidual’s extent of cheating. Both condition and the number of ethics related
                                                                                              trolling for the number of cars per policy [F(1, 13,485) = 2.184, P = 0.14],
concepts were entered into a linear regression model predicting extent of
                                                                                              the calculated use (based on reported odometer readings) was signiﬁcantly
cheating measured by this composite index. The mediation analysis revealed
                                                                                              higher among customers who signed at the beginning of the form (M =
that the effect of treatment condition was signiﬁcantly reduced (from β =
                                                                                              26,098.4, SD = 12,253.4) than among those who signed at the end of the form
  0.424, P = 0.001 to β = 0.344, P = 0.005), and that the number of ethics
related concepts was a signiﬁcant predictor of cheating (β = 0.308, P = 0.011).               [M = 23,670.6, SD = 12,621.4; F(1, 13,485) = 128.631, P < 0.001]. The average
Using the bootstrapping method with 10,000 iterations (4), we found that the                  difference between the two conditions was 2,427.8 miles. The results also hold
95% conﬁdence interval for the indirect effect did not include zero ( 0.29,                   for the use of the ﬁrst car only [signature at the top: M = 26,204.8 miles, SD =
  0.01), suggesting signiﬁcant mediation.                                                     14,226.3 miles and signature at the bottom: M = 23,622.5 miles, SD = 14,505.8
    Using an implicit measure of ethical saliency, this experiment shows that                 miles; t(13,486) = 10.438, P < 0.001].
signing before the opportunity to cheat increases the saliency of moral                          Asking customers to sign at the beginning of the form led to a 10.25%
standards compared with signing after having had the opportunity to cheat;                    increase in the calculated miles driven over the current practice of asking for
subsequently, this discourages cheating.                                                      a signature at the end. An alternative explanation for our ﬁndings could be
                                                                                              that this difference is due to extra diligence of customers in the treatment
Experiment 3: Participants and Procedure. We conducted a ﬁeld experiment                      condition relative to customers in the control condition, rather than higher
with an insurance company in the southeastern United States asking some of                    rates of deliberate falsiﬁcation of information among customers in the
their existing customers to report their odometer reading.                                    control condition. That is, perhaps those who signed at the top of the form
   When a new policy is issued, each customer submits information about the                   were actually checking their odometers, whereas those who signed at the
exact current odometer mileage of all cars insured under their policy, along with             bottom of the form simply estimated their mileage without actually checking
other information. For our audit experiment, we sent out automobile policy                    their cars. To address this possibility, we compared the last digits of the
review forms to policyholders, randomly assigning them to either the original                 odometer mileage that customers in the two conditions reported. Speciﬁ
form used by the insurance company or to our redesigned form. The original                    cally, we ran analyses examining whether the two conditions differed in the
form asked customers to sign the statement: “I promise that the information I                 number of instances wherein reported odometer mileages ended with 0, 5,
am providing is true,” which appeared at the bottom of the form (i.e., after                  00, 50, 000, or 500. Numbers that end with these digits indicate a higher
having completed it; control condition), whereas our redesigned form asked                    likelihood that customers simply estimated their mileage. We detected no
customers to sign that same statement but at the top of the form (i.e., before                statistically signiﬁcant differences between our two conditions in the
ﬁlling it out; treatment condition). Otherwise, the forms were identical.                     instances in which these endings appeared (pooled measure: treatment,
   The data ﬁle that we received from the insurance company included a                        19.9% vs. control, 20.8%; χ2 = 2.5, P = 0.12).
random identiﬁer for each policy, an indication of the experimental condi                        An important consequence of false reporting of this type is that the costs
tion, and two odometer readings for each car covered (a maximum of four                       extend beyond the insurer to its entire customer base including the honest
per policy). The ﬁrst odometer reading was based on the mileage information                   policyholders who bear the ultimate burden of paying for others’ dishonesty.
the insurance company previously had on ﬁle, whereas the second was the                       Using a ﬁeld experiment, we demonstrate that a simple change in the location
current odometer reading that customers reported. The data ﬁle did not have                   of a signature request can signiﬁcantly inﬂuence the extent to which people
the date of the ﬁrst odometer reading (it also did not have any of the other                  on average will misreport information to advance their own self interest.
information requested on the policy review forms). Consequently, our
measure of use was somewhat noisy, as the miles driven per car have been                      ACKNOWLEDGMENTS. The authors thank Jennifer Fink and Ruth Winecoff
accumulated over varying unknown time periods. However, because we                            for help with data collection, Madan Pillutla for generous feedback and
randomly assigned customers to one of our two conditions, such noise should                   thoughtful comments on earlier drafts of the paper, and the Fuqua School
be evenly represented in both conditions. To calculate each car’s use or                      of Business and Harvard Business School for their ﬁnancial support.


1. US Department of Treasury (2009). Update on Reducing the Federal Tax Gap and                9. Duval TS, Wicklund RA (1972) A Theory of Objective Self Awareness (Academic, New York).
   Improving Voluntary Compliance. Available at http://www.irs.gov/pub/newsroom/              10. Festinger L, Carlsmith JM (1959) Cognitive consequences of forced compliance.
   tax_gap_report_-ﬁnal_version.pdf. Accessed August 2, 2012.                                     J Abnorm Psychol 58:203–210.
2. Coalition Against Insurance Fraud (2006) Coalition Against Insurance Fraud Annual          11. Bandura A, Barbaranelli C, Caprara G, Pastorelli C (1996) Mechanisms of moral dis-
   Report (CAIF, Washington, DC).                                                                 engagement in the exercise of moral agency. J Pers Soc Psychol 71:364–374.
3. Mazar N, Amir O, Ariely D (2008) The dishonesty of honest people: A theory of self-        12. Bassili JN, Smith MC (1986) On the spontaneity of trait attribution: Converging evi-
   concept maintenance. J Mark Res 45:633–644.                                                    dence for the role of cognitive strategy. J Pers Soc Psychol 50:239–245.
4. Shu LL, Gino F, Bazerman MH (2011) Dishonest deed, clear conscience: When cheating         13. Tulving E, Schacter DL, Stark HA (1982) Priming effects in word-fragment com-
   leads to moral disengagement and motivated forgetting. Pers Soc Psychol Bull 37:330–349.       pletion are independent of recognition memory. J Exp Psychol Learn Mem Cogn 8:
5. Haley KJ, Fessler DMT (2005) Nobody’s watching? Subtle cues affect generosity in an            336–342.
   anonymous economic game. Evol Hum Behav 26:245–256.                                        14. Preacher KJ, Hayes AF (2004) SPSS and SAS procedures for estimating indirect effects
6. Rigdon M, Ishii K, Watabe M, Kitayama S (2009) Minimal social cues in the dictator             in simple mediation models. Behav Res Methods Instrum Comput 36:717–731.
   game. J Econ Psychol 30:358–367.                                                           15. US Department of Transportation (2009). Ofﬁce of Highway Policy Information,
7. Bateson M, Nettle D, Roberts G (2006) Cues of being watched enhance cooperation in             Federal Highway Administration. Available at http://tinyurl.com/UShighwaystats.
   a real-world setting. Biol Lett 2:412–414.                                                     Accessed August 2, 2012.
8. Kettle KL, Häubl G (2011) The signature effect: Signing inﬂuences consumption-re-          16. Thaler RH, Sunstein CR (1998) Nudge: Improving Decisions about Health, Wealth and
   lated behavior by priming self-identity. J Consum Res 38:474–489.                              Happiness (Yale Univ Press, New Haven, CT).




15200 | www.pnas.org/cgi/doi/10.1073/pnas.1209746109                                                                                                                          Shu et al.
 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 315 of 1282




                               Appendix C
HBS Interim Policy and Procedures for Responding to Allegations of Research
                               Misconduct
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 316 of 1282
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 317 of 1282




  !$%$%! '&$#'$%&&/

      7 $%  &"$&'$$!"&"$&%!&$( &$%$!' &+.
      7 $%"!  &!&&&$%$%! '& & &! +- !) +-!$$%%+. 
      7 &! "$!( +"$"! $ !&( 0

%&$'&! !$%$$!$%-% !$%$$!$%-!$$%"!  &;%'$&!"$!(
$%$$!$%#'&+!' & &#'%&! $%$%( !$%$%! '&
)$& %&&'&! %&%%+"$"! $ !&( &&&$%"!  & & &! +-
 !) +-!$$%%+$%$$!$% %&$!+&-&!""!$&' &+&! & &
$!$%'& !&!%!-!$ & &$!$% &!"$!'& &+ $ 
&&&$%"!  &;%! '&! %&&'&%%  &"$&'$$!"&"$&%!&
$( &$%$!' &+0

  $%&'$ !"$!!!$   !$%$%! '&0$%"!  &%&
'$ !"$!( -+"$"! $ !&( - + $&( %%$%8%'%
! %&$$!$90

  ('%%'&&!&%"!+!' &!(!&&$%$%! '&+%'&&!
% &! %'"&!  ' &$ &! 0

0       &#"!&','"#"%' &"!('

 ('%%'&&!&% !+)$"!$&!%$(-%'%"&-!$""$ &$%$%! '&&!
&%$ &$&+ $8 90   ('%' %'$)&$%'%"&  &%)& 
& &! !$%$%! '&-&& ('+&)&!$! &&& &!%'%%&
%'%"&$%$%! '& !$+-)+ '%'%% & ! +!'%+ 3!$
+"!&&+0 &$'%& %%$+& ('! !&&& &! !$%$
%! '&-& & +$$& ('!$&! &!!&$!%!$!%-)$
""$!"$&0

0       ""#%'"!*'&% &"!('%"!&

 ('%%'&&!&% !+%!!"$&)&&  !&$ %&&'&! !% &
$()!&! % &! '&! #'$%  (%&&! %0 ('%%'&&!&%
  !+- ' $%"!  &%-( !&! &!"$!(( $( &&!$%$%! '&
&! %&!& !$!&$ %&&'&! !%0

0       (','" !'!"!!'',

'%!&"!& &!"$+&!&$"'&&!  $&%!$%"!  &-&  
!&&$%8%  &% !+9%)%!&$%& )!+ (!( &
$%$%! '&"$! %&!&*& &"!%%/8>9&%!%'$!& &&+!
$%"!  &% !"  &%&!&!%)! &! !) !$$&!$$+!'&&!$!'-!"& &-
!&(- $$%$%! '&"$! . 8?9*"&%!&$)%"$%$+)-&
                                      

    !#<:<;0<:<<(!)# "!#!#( !"""2            
                  


                                                                                                         <
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 318 of 1282




&%!%'$! +$!$%!$( $!)$%$%'&%& &&!&!%)!
  &! !) !$$&!$$+!'&$%$%! '&"$! 0$!' &! %!'&
$%$%! '&"$! %+! %$ %%$+!$(%- ($%&+!%%!'
'+&'  $ "%!$!' &!  %$ %! '& $! %0
   ""$!"$&%% &! ! !$&! +$%'& % &! %'"&!  ' &$ &! 0

0      '&!&#"!&'&"" #!!'

!"  &%$%"! %!$ &! % !!&- &  !  &&+- 
!!"$& )&& #'$+  (%&&! 0 & #'$+!&&%& %%$+-&
!"  &+ &$()&& #'$+%& -%!-)( &&$ %$"&!$$!$ 
!& &$()!$!$$&! 0!"  &!$ $+) &$()'$ & (%&&! 
"%- ( &&$ %$"&!$$!$ !& &$()!$!$$&! 0&$  &! 
!$%$%! '&-&!"  &%$%"! %!$"$!( (   !$&!  
! &! )&&$%$%! '&"$!%%'&% !& &&&!$( !$&! !'&&
%&&'%!$!'&!!&&"$!%%0

0      '&!&#"!&'&"&#"!!'

$%"!  &%$%"! %!$ &  !  &&+ !!"$& )&&! '&! 
 #'$+  (%&&! 0$%"!  &% &&&!&"$!'$$&% "$!&&! %%&!$& 
&% !+0%"!  &%+!!%'"&!&)!"$%! (%!$%!$%'""!$&'$ &"$!%%0
  $%! (%!$%+&&!$ +%.&++ !&"$ "%!$)& %%% &$%$%! '&
&&$0 $%! (%!$%+"$% && +"$! %!$ &$()%&&&$%"!  &&& %
'&+ !&#'%&! )& %%%!$!&$)%&"$& &$%$%! '&"$! %0

$%"!  &%!'( &!""!$&' &+&!&&&$%$%! '&!'$$ &&
&+!&&&$%$%! '&0&&(!&  3!$!&$ %&&'&! !%-
& !$&$% +  ;%$()! &! &&% &&0

0      %"''!" #!!'&-'!&&&-' -!"        ''  %&

   !' &+$%+ !&$&&  +)+ %&!"  &%-)& %%%-& -!$
!&&$%0 +!$""$ &$&&!  %&!"  &%-)& %%%-& -!$
!&&$%%!'$"!$&&+&!&
 8!$&!& ;% -%""9-)!%$()&&&$ -% %%$+-
$%!  "$&!$&%&!!' &$ +"!& &!$&'$&&!  "$!&& $%&!$
&"!%&!  $"'&&! !&"$%!  %&)!&$&&! %$&0

  0    % !%,&&&& !'"'"!&

"! $(  &! !$%$%! '&-& &+)%%%%&&! &!
&$ )&$&&! /
                                   
    
     ##"+//",%!,!%!,$/"/%!0
    $#"/"/$1!"1!1$#11!"!1"$#1!",




                                                                                                         =
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 319 of 1282





     7 %)& & &! !$%$%! '&- 
     7 %%' &+$ %"%!&&"!& &( !$%$%! '&+
         &0

  #'$+'%&! '&&%$&$$&0

  -'"! $"&! &&! -&""$%&&& % +' $%!("$%! -"$!%%! -!$
  ! &%! &$%&)&&!% (!( &&! %-&  !&$#' ('
%""! &+& !$&$% &!%$(% &$ )&$%"&&!$() &
&!  ! '&  +$%$%! '&"$! 0

%%%% &"$!%!'$-"$$+! ')& )0$&% !&%&!
! '&%%%% &)& )-&"$!%%%!'"$!*"&!'%+0 ! '& &
%%%% &-&% !& %%$+&! &$()&!"  &-$%"!  &-!$!&$)& %%%-!$&!
&$&+!  +&&+( %'&&)&&&! -*"&% %%$+&!
&$ )&$&&! %%' &+$ %"%!&&"!& &( !
$%$%! '&+ &0"$ $+%%%% &%!' & $!$%
"$&  &!&$()!&! %)$& +& !$"$!!%( 8D9+$%
!!) &!"&! !&"$! 0

0       $(&'%'"!"&%"%&! "''"&#"!!'

0       $(&'%'"!"&%"%&

% !+!($ %%%&!$%$$!$%- ' )&!'&&&! $!$%-!$"'$"!%%
!! '& $%$%! '&"$! %0!%   %&$ &% !+(
$&% %%$+&!%%$%$$!$%$&!$ & + ('%
%'&&!&% !+0

%&!& -! !$!$&&! )&$%"!  &% !&-!$& #'$+ %-)($
%$$-& '%&&$%!  "$&%&"%&!!& '%&!+!&$%$
$!$% (  &!! '&&$%$%! '&"$! 0 %!%
%#'%&$ +&! $%$$!$%&&!"$&  &&!  #'$+!$ (%&&! &$&
 &%#'%&$&! 0

 %$%"! %!$ ( &!$+ &$!$% (  %#'%&$ & %'$
 $0 $""$!"$&- %(&$%"!  &!"%!-!$$%! %'"$(%%%
&!-&$%$$!$%0

                                     

  !!#)!%!6" (""##!!#"("##"###"#(#
!%&"!"!"$##", #)#!%"##" "$#),>,

  !%!6" "!# &!" ("!##-#%!"#(""!#"&!"%!!"!#
!!#"$###%!"#()$!#$""#%!"#()!&#%!"#(!"$!").
$!#!"##"##-4&5#"""!(#"$!""2,,$!!"!"$#!3#
%!"#((#$"#(!"!#,. ( !$!") #;,),<,
  &%!)&!#!"!!!"!%"""#"#!$#""!($!$"!")
$"#((##"##!%"$"#!$#")""#""!


                                                                                                                      >
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 320 of 1282





0         "''"&#"!!'

&&&!!$!$    #'$+-& '%&!!&!$&&! !&+&
$%"!  & )$& -&$%"!  &% !) 0 & #'$+%'%#' &+ &%&! 
$%"!  &%-&+'%& !& )$& 0

 0       !$(%,

0        !''"!!(%#"&"' !$(%,

"'$"!%!& #'$+%&!! '&  &$()!&(( &!&$ )&$
&!! '&  (%&&! 0  #'$+!% !&$#'$'$()!&( $&&!&
&! 0

0       ##"!' !'"' !$(%,"         ''

 #'$+!&&)""! &+& !$&$% - ! %'&&! )&!&$
 %&&'&! !%%""$!"$&- )! %%&!! !$!$ ('%)!! !&(
' $%!("$%! -"$!%%! -!$  ! &%! &$%&)&&!% (!()&&$%$
%! '&"$! 0 #'$+!&&%!' ' ('%)&&""$!"$&%'&4
&&$*"$&%&!/('&&(  %%'%$&&!&&! . &$()&"$ "%
 +)& %%%. ! '&& #'$+0  %%$+&!%'$& %%$+*"$&%!$&!
(!! &%! &$%&-& !$&$% +%&!&&$%$!!'&%&
 %&&'&! 0

  $!$&!& &&! !& #'$+-&$%"!  &) !& )$& !& #'$+!&&;%
$%" %!$(8B9 $+%&!!!&! %%'"! !&&
$;%"$%! -"$!%%! -!$  ! &! &$%&0 !$&$% )
& &$ &! !)&$! &*%&%0

0       %'"'"       ''!%&' '!

 )"$"$$!$& #'$+!&&&&%&%!$&&"'$"!%!& #'$+ 
&*"&&$-&!&&;%$%"! %&%-&&! %-  +$&%%'%
 &'$ &"$ $+%%%% &0$%!% !$&!&&&& 
 (%&&! %)$$ &&!&&&$ %-%! &%$()'$ & #'$+-&&/8>9
&$%$%! %%!$! ' &&&&! %)& & &! !$%$
%! '&. 8?9&"$ $+ !$&! 4&$  "$ $+&4  $!& #'$+
 &%&&&&! +(%'%& 0

&&!&&;%$%&& -& )$()&$)&&!&&-%'%%&
&! %- +$&%%'%- &""$!"$&"$!'$%!$! '& & #'$+-%%%&&
!&&)&!$ , " %!$& #'$+-  %)$ +#'%&! %$%+&!&&0
 )"$% &!$(&$!'!'&& #'$+&!(%&!&&% 0

                                     
"$"##( $%###%#!(%$#"#!$#",


                                                                                                           ?
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 321 of 1282




0         !$(%,%"&&
          
 #'$+!&&!$ $+) &$()&!"  &- +-&$%"!  &- +
)& %%%%)%* $( &$%$$!$% &$%0 + &$()%)$!$!$
&$ %$-)&$!$ %!$&$ %$"&%"$!(&!& &$()!$!$$&! 0 & #'$+
!&&)('&&( - ' &&%&! +!& '$ & #'$+0 
! %'&&! )&& -&!&&$%))&$  (%&&! %)$$ &
%! &$&$ &% !+0

%!"!& #'$+% !&$#'$&! !% !& !$+ ' )&$%! '&
 &+!'$$-&$   &+)!!&&&$%$%! '&-!$! '& 
*'%&( &$()%  +%%0  !)($-+%' &%%! !$%$%! '&%
+&$%"!  &-%! '&+&$ && #'$+%&$( &%%'%$
$%!(0

0        !$(%,#"%'

)$&&  #'$+$"!$&'%&"$"$&& '%&!!)  !$&! /8>9&  
"!%&! !&$%"!  &.8?9%$"&! !&&! %!$%$%! '&.8@9&'  
%'""!$&- ' )&!'&&&!  +$ & '$%-$ &""&! %-! &$&% "'&! %
%& %'""!$&.8A9&%%!$$!  !$ !&$!  &&&&! %)$$ & 
 (%&&! .8B9 +! &%! &$&$"!$&+&$%"!  &0

 ! $!' %%(&!(%& #'$+!&& & )&
$%"&&!&$"!$&0 !&! %%!'%""$!"$& ! %'&&! )&&  &
 #'$+!&&0

0          "''"!"'&('&"' !$(%,.##"%'(!','""     !'

 % !&+&$%"!  &%&!)&$& #'$+!'   (%&&! &!)$$ &-
 '!"+!&$& #'$+$"!$&!$! &)& >='% %%+%-  '!"+!!$
 &!&% !+0

%! &! &%-& #'$+!&&+$(%&$&$"!$&%""$!"$& "$"$
&  !$0 +! &%&&$%'&&+&$%"!  &)&&&!&  #'$+
$"!$&0!&&)($& $"!$&&!& 0

0         !&''('"!&"!! "''"!

     >0       "  5 )&$ %&&  #'$+$"!$&  +
               ! &%&!& !$&$% -)!))$&& &$ &! %&!
               )&$  (%&&! %)$$ &0 #'$+%!"&) &%&$ &! %
               0 ) !&+ %&&'&! !%)!( &! !)!&%! 0
                                     
 "#%)%"##"&!!#####!")"#"!%&$!#
 $!()##+2;3#!"!"""!$####"&###!"!
"$#*2<3#!!(!#0#!!!(#0!# $!(#"
####(%"$"#,


                                                                                                                        @
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 322 of 1282




         
         ?0          5   (%&&! % !&)$$ &-& 
                  %%'$  & !$D+$%&$&&$ &! !& #'$+%' &+
                  &!' &&! !& #'$+&!"$&&$%%%% &!&$%! %)+ 
                   (%&&! )% !&! '&0

    0          "%" #'"!

 #'$+- ' "$"$&! !&  #'$+$"!$& &%! ! )&$ 
 (%&&! %)$$ &-'%&!"&)& C= $+%! &&! !& #'$+-' %%
& &$ %&&$'%& %$+)$$ &! $"$!0  *& %! %""$!(-&
 #'$+$!$'%& '!' &&! !&$%! %!$* &C=4+"$!0

 0      "!('!' !)&''"!

0        !''"!!(%#"&

 (%&&! !$ $+%!' %!$&+&$!"&! !& #'$+  !&$& @=
 $+%&$&&$ &! &&  (%&&! %)$$ &0 !$!$&&! 
)& (%&&!  %-& '%& !&+&$%"!  & )$& !&&! %&!
 (%&&0

"'$"!%!& (%&&! %&!(!"&'$!$+*"!$ &&! % & 
*  &(  "&- &!$!   %! )&$$%$%! '&
% !&&-+)!- &!)&*& &0 (%&&! !&&%"'$%' &+
%  &%%'% %%!($&&$&$ $( &&!& (%&&! - ' 
 +( !&!  %& %!"!%%$%$%! '&- ! & '& (%&&! &!
!"&! 0  )&! %$ &-& '%&%!(&$%"!  &)$&&  !&!
%'&! %)& $%! !' &!&! &!"'$%'&! % !&$%%
'$ & #'$+!$ & & !&!& (%&&! 0

0       $(&'%'"!"&%"%&

    !$!$&&! )&$%"!  &% !&-!$& (%&&!  %-)($%
$$-& '%&&$%!  "$&%&"%&!!& '%&!+! %#'%&$ 
%'$ $&$%$$!$% (  &!! '&&$%$%! '&
"$! &&)$ !&"$(!'%+%#'%&$'$ & #'$+0 !$&! 
%#'%&$&! !$!$%+!'$!$ + '$!$%! %- ' & %&&'&! ;%%! &!
 (%&&&! &! % !&! %$'$ & #'$+%&!$ &&! !$!$%
'$ & #'$+"$!%%&& !& "$(!'%+%'$0"$!'$%&!!!)!$
%#'%&$&! '$ & (%&&! $&%"$!'$%&&""+'$ & #'$+0

0       ##"!' !'"' !)&''"!"         ''
     
 !$&$% - ! %'&&! )&!&$ %&&'&! !%%""$!"$&-)""! &
 ! (%&&! !&& !&&$0 (%&&! !&&'%&! %%&!
 ('%)!! !&(' $%!("$%! -"$!%%! -!$  ! &%! &$%&)&
&!% (!()&& (%&&!  %!' ' ('%)&&""$!"$&%'&4&&$


                                                                                                            A
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 323 of 1282




*"$&%&!/('&&(  %%'%$&&!&&! . &$()&$%"!  & 
!"  &. ! '&& (%&&! 0 ('%""! &&!& (%&&! !&&%!
+(%$(! & #'$+!&&0  %%$+&!%'$& %%$+*"$&%!$&!
(!! &%! &$%&-& !$&$% +%& (%&&! !&&$%$!
!'&%& %&&'&! 0

  $!$&!& &&! !& (%&&! -&$%"!  &) !&!& (%&&! 
!&&;%$%" %!$(8B9 $+%&!!!&! %%'"! 
!&&$;%"$%! -"$!%%! -!$  ! &! &$%&0 !$&$
% )& &$ &! !)&$! &*%&%0

0       %'"'"       ''!'%&' '!

     >0      $&!&!&&5 ) &%'&&&$!& (%&&!  
              )$&& $&!&!&&&&%$%&&! % $&%%'% &
              '$ & #'$+. &%&$%"!  &. !$%&!&&&&&'%&! '&
              & (%&&! %"$%$+&% !+. %$%$%! '&.  %&$'&%&
               (%&&! !&&! &'$ !"$!!0$%%&&&&&!&&
              %&!('&&(  &%&! +!&$%"!  &-!"  &- +
              )& %%%&!&$ )&$-%! "$"! $ !&( -$%$
              %! '&!'$$ -%!-&!)&*& &-)!)%$%"! %- &%%$!'% %%0
               +-&$% !$&!&&&&&'%&"$"$)$&&  (%&&! 
              $"!$&&&&%&$#'$ &%!&% !+0

     ?0      $%& & 5&&!&&;%$%&& -& )$()&$-& #'$+
              $"!$&- &"$%$"$!'$% %& $%!$&! '&!& (%&&! -
               ' & %%&+!$!  &&+ !$(!" %" (%&&! " 0
               (%&&! !&&)"$!()&!"+!&% !+ -""-
              $$'&! %0 )"$% & (&$!'!'&& (%&&! &!
              (%&!&&% 0

0        !)&''"!%"&&

 (%&&! !&& & '%&/

      7 % &!$&%&! %'$&&& (%&&! %&!$!' %' &+!' & 
           '%* &! !$%$$!$% ( $( &&!$ %! ! &
          $&%!&! .
      
      7 $%! %&"%&! %'$ "$& ' % (%&&! &!&*'*& &
          "$&.
      
      7 $$%"!  &-!"  &-  +!&$("$%! )!% $%! +
           &%(  !$&! $$  +$( &%"&%!& (%&&! - ' 
          )& %%% &+&$%"!  &-&!""!$&' &+&! &$().$!$!$&$ %$
           &$()."$!(&$!$ !$&$ %$"&&!& &$()!$!$$&! . 
           '&$!$ !$&$ %$"& &$!$!& (%&&! . 
      


                                                                                                          B
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 324 of 1282




     7     '$%' &+%  &%%'% %%!($&&$&$ $( &&!&
           (%&&! - '  +( ! +&!  %& %!"!%%$%$
          %! '&- ! & '& (%&&! &!!"&! 0

0      !)&''"!#"%'

 (%&&! !&& & $$%"! %!$"$"$ )$&& $&$"!$&!&
 (%&&! &&/

     7 %$%& &'$!&&! !$%$%! '&- '  &&! !&
        $%"!  &0
     
     7 %$% !' &%  %'""!$&!$&$%$%'&&!&&! %- ' 
        )&!'&&&! & '$%! +$ &%&&$ (!(-$ &""&! %-! &$&%-
         "'&! %%& %'""!$&.
     
     7 %$%&%"&! %!$%$%! '&! %$ & (%&&! .
     
     7 '%& %&&'&! "!% "$!'$%' $)& (%&&! )%! '&.
     
     7  &% %'$,%&$%$$!$% ( $()  &% +
        ( &  &!'%&!+'& !&$(). 
     
     7 '%%&& &!  %!$&! !$%$%! '& &'$ &
         (%&&! 0%&& &!  %'%&/8>9 &+)&$&$%$%! '&
        )%%&! -$&! -!$"$%- )&$&)%!&& & &! +-
         !) +-!$$%%+.8?9%'$,&&% & +%%&&%'""!$&&! '%! 
         ! %$&$&%! +$%! *" &! +&$%"!  &- '  +!$&
        +$%"!  &&!%&%+"$"! $ !&( &&&+ !&  
        $%$%! '&'%!! %&$$!$!$$ !!" ! .8@9 &+&%"
        '  %'""!$&8 +9.8A9 &+)&$ +"'&! % !$$&! !$$&$&! .8B9
         &+&"$%! 8%9$%"! %!$&%! '&. 8C9%& +'$$ &%'""!$&!$ !) 
        ""&! %!$"$!"!%%!$%'""!$&&&&$%"!  &%"  )&$ %!$
        *&$ ' $%0
     
     7 '%$!  %&&'&! &! %0

 ! $!' %%(&!(%& (%&&! !&& & )&
$%"&&!&$"!$&0 !&! %%!'%""$!"$& ! %'&&! )&&  &
 (%&&! !&&0

0     "     !'&"!'%'#"%'!&&'")!

    >0     %"!  &5 )(&$%"!  &!"+!&$& (%&&! $"!$& 
            *&%!$! & -! '$$ &+-!"+!!$%'"$(%%%&!&( ! 
            )&$"!$&%%0$%"!  &)!)@=+%$!$"&!&$&
            $"!$&&!%'&! &%&!& 0$%"!  &;%! &%'%& ' 
            ! %$ & $"!$&0


                                                                                                               C
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 325 of 1282





    ?0     !  &&+5 %&$'& &$&$"!$&&!&$%"!  &!$! &-& )
            $ &$%"!  &!&!  &&+' $)&$&$"!$&%(
             +%&%$%! ! &! %&! %'$%'!  &&+0

   0    &"!,!

  (%&&! $"!$&)%'&&&!& -)!))$&& &$ &! %
&!/8>9)&$& %&&'&! "&%& (%&&! $"!$&-&%  %- &$! 
 %&&'&! &! %. 8?9&""$!"$& %&&'&! &! % $%"! %&!&"&  %!
$%$%! '&0 &%&$ &! ($%$!&  %!& (%&&! !&&-&
 )*"  &&%%!$$ $ %! $ &$!&  %!&
 (%&&! !&&0&$ &(+-& +$&'$ &$"!$&&!& (%&&! !&&
)&$#'%&!$'$&$&4  !$ +%%0

  %! ! &%% $-&$%"!  &) !& )$& 0
 - ! %'&&! )& %&&'&! !%% -%!)&$ )&$$( &"$&%
%!' !&!&!'&!!&%- ' "$!%%! %!&%-&!$%!!'$ % 
)%$"!$&%+( "'%-!!$&!$%!&$%"!  & &)!$-
"$!%%!  % !$%-!$) !$ & %-0

  0      !&''('"!'"!&

&$&$ &! !$%$%! '&%-& +! ""$!"$&&! %&!
& - ! %'&&! )&!&$%&& ($%&+%""$!"$&0 &! %!$$%$%! '&
%%! &%$!'% %%!&%! '&- ' '& !&&&!-&$&!)
&%! '&/9)% & &! - !) -!$$%%.9)% %!&( &!$"$&!"&&$ .
 9%  &"&! &$%$$!$-$%$%'&%-!&$$%$$%- %&&'&! %-
!$&"')$0$ ! %&$&(&! % '%-'&% !&&&!-&!$$&! 
!&"'$!$ ' &)&$)!$!$$&! !"  !$"'%%&$&% 
""$% & $!&$%$)$%! '&)%!' .$!(!&$%"! %"$%! 
$!&"$&'$"$!&-%"! &!$ !'&'$)!$-"$!&! -%'%" %! -()&!'&"+-
%$+$'&! -!$ &&! !%&"% &!$ $'&! !$&$ &! !"!+ &.
$%&&'&! !' %%""$!"$&.%'%" %! !$&$ &! ! &()$. !&$&! 
""$!"$&&!&$%$%! '&0!$%% (!( $%$%! '&+%&' &%-% &! %
%&$ +&""$!"$&%&' &%" $+!$0

  0      "%" #'"!

 (%&&! !$ $+%!"&)& >?=+%!  &- ' ! '& &
 (%&&! -"$"$ &$&$"!$&!  %-"$!( &!$! &- , &$"!$&- 
  %%$+ !&&! %0 !)($-& &$ %&&& (%&&! ) !&
!"&)& &%>?=4+"$!-&$&! !$&+)!' &0

  0     !'%  !&''('"!'"!&
       
$!'!'&&$%$%! '&"$! -& )$()&%&'&! &!&$ &$
% +&$&!$&!& &$&+!&$%$"$!%%0 &( &!%'&$&-& )-


                                                                                                         ;:
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 326 of 1282




 ! %'&&! )& %&&'&!  !&$!%-% %%$+-&""$!"$& &$&! %&!
"$!&& %& +%'&$&0

    &$&! & '/&! ! &!$ !&$%$"$!%%.$%%  &!"$%! .
&! $()!$%$& $%'&%.!$+ "'&! 0

0       " #'"!"&&

 $+- #'$%  (%&&! %)$$&$!'&!!"&!  %  &%%'%
)"'$%' &+0

 0      '%"!&%'"!&

0       % !'"!"%&!'"!%"%'"" #'! !$(%,"% !)&''"!

&$ &! !&$%"!  &;% "!+ &-+$% &! !$!&$)%-!$!$&$ 
&! !"!%%$%$%! '&% $"!$&-) !&"$'!$&$ &&
$%$%! '&"$! !$!&$)%& +! ;%$%"! %&%&!"'$%'&! %0

  &$%"!  &-)&!'&&& &!&%! '&-&%&!$% &$%"!  &;%"!%&! &$
   $(% &! !$%$%! '&-&%%%% &!&&! )"$!-%)
%& #'$+  (%&&! -%""$!"$&%! &!'&!!&"$ %&"%0 &
$%"!  &$'%%&!"$&"& &"$!%%&$$% &! -&   + #'$+!$
 (%&&! !&&)'%&$%&!$&%&!$! '%! ! $  &&! %-
   !&  &$"!$&&$%"!  &;%'$&!!!"$& &%&! &( 0

0       &'"%'"!"'&#"!!'1&#(''"!

!!)    ! !$%$%! '&-& '%&-&&$#'%&!&$%"!  &-
' $&$%!  "$&!$&%&!$%&!$&$%"!  &;%$"'&&! 0

0       '"!& "' !""'

  $( &-& !$&$% )&$ )&$&!"  &;%&! %!$%$
%! '&)$ !!&-!$)&$)& %%!$!&&$& !!&0 
& !$&$% &$ %&&&$)% % !!!&-& !$&$
% )&$ )&$ + %&$&(&! %!'&  %&&"$%! )!
&!& !!&0

0          !'!!"%&

   % & &$!$%!$%$%! '&"$!  %'$ $'$ &%
"  + !$%( 8D9+$%&$!"&! !&"$! !$!"&! ! + +
!($%&"$! -!$%$#'$+ +""$!$$& &! "$!(%! -)($%&$0

                                  




                                                                                                         ;;
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 327 of 1282




##!+2/"&&%,"% &!!'"!&

 /%!%'$!"!%%$%$%! '&&$!' + %!!' &! 0

/$! +!!&&""! &&!! '&!$"!$&! !&
$%$%! '&"$!%%' $&% !+0

  /"$%! )! !!&% &! !$%$%! '&0

/  -"$%! -!$"$!%%! $&! %"%&&+!"$!%-!$""$&!
!"$!%"$%! ;%%! %0

  # $/& %&&'&! !)!% &$ &! %!'&&! %!
$%$%! '&  + %&&'&! &! %-!$ $+& ! 0  !%
  !&%$(%&%$ &$&+ $ % !&$&+ (!( & %&&'&! ;%"$ $+
%%%% &- #'$+-!$ (%&&! 0  ;% (!( & &""! & &!
 ('%&!%%%%&! %!$%$%! '&-!$&!%$(!   #'$+!$ (%&&! 
!&&-% !&! %$&!$& (!( &0

 / +!' &!$!&$$!$-& &-!$&%&! +!$!$!& '$ 
$%$%! '&"$! &&& %&!"$!(!$%"$!(&*%& ! &0

  / '"&!$$%'&% $!$ !$$"!$& &0

  / "'& $%$&$%-#'" &-!$"$!%%%-!$  !$!&& &!$
$%'&%%'&&&$%$% !&'$&+$"$% & &$%$$!$0

 
            !/(  &&$'&!! ;%&! !$
&%&! +&&$%! "$%!  &%"!%&! !'(-%! & !$&!  !) &!
&"$%! &&&0 &! !$!!"$&! )&$%$%! '&"$! % !& 
!!&)& !) !$$%%%$$!$ !$&! &&)!' &&&! 
!$&%&! +0

          /!!"$& )&&$%$%! '&"$! +
$$+ !'&&'&%%% "$&+!$&"'$"!%!" & %&&'&! &&%
$%"! %&%' $& !+0!&&$!% !&& !!&&!&&
$;%&%!$!%%! %! &!&&$%! %&!$ ' +"$%! -"$!%%! -!$
  ! &%! &$%&)&&!% (!( &$%$%! '&"$! 0

"/"$ $+ !$&! 4&$  "$ $+&4   !$ )&& !+&!
&$ )&$ &! !$%$%! '&)$$ &% (%&&! 0

  /&!$(!" &!&'$!$ &* &! !&&$!$ &!
%! !'&)&$&!$!   !$%$%! '&-)+ '
$! &! !$!&$""$!"$&&! %- '  %&&'&! &! %0





                                                                                                       ;<
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 328 of 1282




    /&""$!"$&! ! !&$"$%! ;%%-"$!%%%-$%'&%-!$)!$%)&!'&( 
""$!"$&$&0

    /"$!!+ !$&! &&-!"$)&&&!""!% &-%&!&
! '%! &&&&&%%'%!$"$!+&$'&  !&0

   /%+%&&*"$ &-%&'+-('&! -! %&$&! -!$%'$(+% &!(!"!$
! &$'&&! $ !)!$%" !)+%&% -%!($ -(!" -
'& -!$! $  !$&! !'&-!$&' $+  %$& &!-&&&$%&!
%&'0

   " #  $/& %&&'&! !$%"! %!$/8>9$() &! %!
$%$%! '&&!&$ &+)& & &! !$%$%! '& )$$ &
  #'$+. 8?9!($%  #'$%  (%&&! %0

   /$&! -%&! -!$"$% "$!"!% -"$!$ -!$$() 
$%$-!$ $"!$& $%$$%'&%0%$%! '&!% !& '! %&$$!$!$
$ %!!" ! 0

   /&$!$!&!$$%'&%&&!+&&%$%'& $!% & #'$+!$
!&$%!$+ (!$%- ' '& !&&&!$%$"$!"!%%-!$&!$+$!$%8"+%
 &$! 9-"$!$%%$"!$&%-%&$&%-&%%-!$"$% &&! %- &$ $"!$&%-!'$ $&%-
!$$%"!  -  +!' &% &$%"$!(&!  %&&'&! ! &!'$%!
$%$%! '&"$! 0

  /&"$%!  %&)! &! !$%$%! '&%$&!$)!%&
%'&!$%$%! '&"$! 0

    / ($%&! &  %&!"  &-)& %%-!$!&&$+ 
 %&&'&! !$! !&%$% $%"! %&!!!&&! !$%$%! '&!$!!
&!!"$&! )&$%$%! '&"$! 0
                                  




                                                                                                          ;=
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 329 of 1282




##!+3/'"!%"(%&"%'"!& !)")!%(!!

   

% !+% & &!!"+)& %&&'&! $%"! %&%' $& ' &$(8 9
   !%! %$ %! '&-A? $&E@0 &$$ %("'%&$!) 
$%$%! '&$'&! %.&!&*& &&!%$'&! %""+&! &! !$%$
%! '& $ ! %%& &)&&% !+- %!"+)&&""$'&!$+
$#'$ &%0

% !+!% !&""+&!'&!$%"!$!!$&! %"'&% ""%! +&!&! %!
$%$%! '&&&!'$$)& %*+$%!&& $(&&! -%'&&!
&%'%#' &'%-&!$%&+!&"'- $ &$*"&! %$&'& A?000:
E@0>=B890

&$%"&&!%&' &% (!( &! %!$%$%! '&&& (!($'  -&
""$!"$&%&' &%" $+!$) !&!& &&! ! + #'$% 3!$
 (%&&! % ) !$!&  %! +%' #'$% 3!$ (%&&! %- ' 
$( !"%! #'$+ 3!$ (%&&! $"!$&%0!$&! %!$%$%! '&
 %&%&' &%&&! !& (!($'  - +-&&%%$&! -&$$$&&!&
""$!"$&%&' &%" $+!$-!$$()&' $&% !+  !&+&""$!"$&
%&' &%" $+!$%%$!(0

" 

  +%' &%%! !$%$%! '&%+&$%"!  &-%! '&+
&$ && #'$+%&$( &%%'%$$%!(0 &&%- %!'"$!"&+
! %'&)&&$( &$ +&!&$  *&%&"%0"& !&%%!   +
"$!"!%%&& &'%&""$!(+&$( &$ +0

   "

 )"$!(&$%"!  &)& &!!$!"+!A?000 $&E@8!$!&$""
$$'&! %90

   "

& @= $+%!&%! )&$  (%&&! %)$$ &-& )"$!(&
    !%$ &$&+81  29 8!$&$( &$ +9)&&)$&& %!  
!"+!&  #'$+$"!$&8!$!"+)& +!&$ !&!&! &!!($  & +!$
!&$' $90

   

    (%&&!  !&!"&)& >?=+%!  &-& )!' &&
                                   
   "!#!#(2 3#, ,!###$ !%"2 3"!""
!#"#"$#!"!#!#(#%#"#, , $# !%2  3,


                                                                                                              ;>
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 330 of 1282




$&! !$&+  !&+$ %%$#'$  !$ )&$
$'&! %0 ) %'$&&"$!"$!$%%$"!$&%$)&$ %  
!$ )&$$'&! %0

  

 & $% %! ! &%-& (%&&! %!"&- & )
&$ %&&!&""'   +/8>9!"+!&  (%&&! $"!$&)&
&& &%.8?9%&& &!)&$& %&&'&! "&%&  %!& (%&&! $"!$&.
8@9%&& &!)&$& %&&'&! !' %! '& -%!-)!!&&&%! '&.
 8A9%$"&! ! +"  !$!"& %&&'&! &! % %&&$%"!  &0

  "    

$!'!'&&$%$%! '&"$! -& )$()&%&'&! &!&$ &$
% +&$&!$&!"'&!$&!$' % #'" &0 &( &!%'&$&-
& )- ! %'&&! )&!&$ %&&'&! !%-   -% %%$+-&""$!"$&
 &$&! %&!"$!&& %& +%'&$&0 &$&! & '/&! ! &!$ !
&  !$' % #'" & 3!$$%%  &!"$%! !$!&$%"! %&+
!$&  !$' % #'" &0

  %-& +&'$ $%$%! '&"$! - !&+  8!$&$( &$
 +9&+&$%$%! &!(&& +!&!!) ! &! %*%&/
      7 &!$%&+!&"'%&$%- '  & &!"$!&&' !$ 
         %'&%.
      7 $$%!'$%!$ &$%&%$&$& .
      7 %$&(&%%!'%'%" .
      7 $%$%!  &! !"!%%(!&! %!(!$$ ).
      7 $&! %$#'$&!"$!&&& &$%&%!&!% (!( &$%$%! '&
         "$! .
      7 $%$%! '&"$! +"'"$&'$+ $&! +
          %%$+&!%'$(  "$!&&&$&%!&!% (!(.!$
      7 $%$!' &+!$"'%!' !$0

 

!$&! %&& ' ' $%$- '%& !&+   ( &$$" %&!
!%%&& #'$+!$ (%&&! %&! &%%&&$%"!  &%&&'&-
%&& &)&&$%"!  &% $-!$!$ +!&$$%! -*"&/8>9!% !%
&& #'$+%&! &%%&&  (%&&! % !&)$$ &.!$8?9  ! !%! '&
&& (%&&! %&-)'%&$"!$&&!  -%"$%$ &% !+ A?:
E@0@>B0!$&! %&& ' ! 4 ' $%$- '%&!"+)& +!&$ !&
!&! &!!($  & +!$!&$' $0

    #  

!!)    ! !$%$%! '&- '   ! '$$ )$$#'$+A?
  $&E@8!$-!$ ! 4 ' $%$-!&$""$ +$#'$ &%9-& '%&-


                                                                                                        ;?
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 331 of 1282




&&$#'%&!&$%"!  &-' $&$%!  "$&!$&%&!$%&!$&
$%"!  &;%$"'&&! 0

     !" 

 %% %&$ %$$'%&!+!&$!$%!$%$%! '&"$! %8% +A?
000:E@0@>D9&!&'   + !$ )&"")- % & &$!$%
!$%$%! '&"$!  %'$ $'$ &%"  + !$%( 8D9+$%
&$!"&! !&"$! !$!"&! ! + +!($%&"$! -!$%$#'$+
 +""$!$$& &! "$!(%! -)($%&$0




                                                                                                     ;@
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 332 of 1282



                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                     ([KLELW
     5HVSRQGHQW¶V:ULWWHQ5HVSRQVHVWR,QYHVWLJDWLRQ&RPPLWWHH0D\-XO\
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 333 of 1282




         &KURQRORJ\IRUSDSHUVLQFOXGHGLQWKH$OOHJDWLRQVDQG&RQWDFW,QIRUPDWLRQ

3DSHU31$63DSHU
/LVD6KX1LQD0D]DU)UDQFHVFD*LQR'DQ$ULHO\DQG0D[%D]HUPDQ³6LJQLQJDWWKH
%HJLQQLQJ0DNHV(WKLFV6DOLHQWDQG'HFUHDVHV'LVKRQHVW6HOIUHSRUWVLQ&RPSDULVRQWR6LJQLQJ
DWWKH(QG´
     x &RUUHVSRQGLQJDXWKRU1LQD0D]DU

&KURQRORJ\
     x -XO\-XQH,MRLQHGWKH81&.HQDQ)ODJOHU%XVLQHVV6FKRROIDFXOW\DVDQ
        DVVLVWDQWSURIHVVRULQ-XO\DQGZDVRQWKHIDFXOW\IRU\HDUV,PRYHGWR+%6DVDQ
        DVVRFLDWHSURIHVVRULQ-XO\,VSHQWSDUWRIWKDWVXPPHUGRLQJUHVHDUFKLQ*OHQGDOH
        &$ZLWK'LVQH\ DQRSSRUWXQLW\                    FUHDWHG EXWWUDYHOHGWR+DUYDUGDQGWR81&
        DVQHHGHG
     x -XO\-XQH'XULQJP\WLPHDW81&,FUHDWHGDEHKDYLRUDOODEWRFRQGXFW
        H[SHULPHQWVRQDUHJXODUEDVLV,KLUHG                   DVWKHPDLQODEPDQDJHU:KHQ,
        PRYHGWR+%6LQ-XO\            FRQWLQXHGUXQQLQJVWXGLHVIRUPHDQGZDVKLUHGE\PH
         WKURXJK+%6 DVDFRQWUDFWRU          FRQWLQXHGZRUNLQJDVDFRQWUDFWRUWKURXJK
     x -XQH7KHODERUDWRU\VWXG\UHFHLYHG,5%DSSURYDOIURP81&
     x -XQH-XO\7KHGDWDIURPWKHODERUDWRU\VWXGLHV FRQGXFWHGRQSDSHU ZDVFROOHFWHG
        DWWKHEHKDYLRUDOODERUDWRU\DW81&.HQDQ)ODJOHU%XVLQHVV6FKRRO
             o         ZDVWKHUHVHDUFKDVVLVWDQWKHOSLQJZLWKGDWDFROOHFWLRQ
             o $VLQGLFDWHGLQWKHDFNQRZOHGJPHQWVRIWKH31$6SDSHU                             
                  DOVRKHOSHGZLWKGDWDFROOHFWLRQ             ZDVDQXQGHUJUDGXDWHDW81&DWWKDW
                  WLPH,DPQRWVXUHZKHWKHURWKHU5$VXQGHUJUDGXDWHVKHOSHGZLWKGDWD
                  FROOHFWLRQ
     x -XQH-XO\         HQWHUHGWKHGDWDIRUWKHVWXG\
             o ,DPQRWVXUHZKHWKHU                 RURWKHU5$V KHOSHGZLWKGDWDHQWU\
     x 'DWDIRU6WXG\ZDVFROOHFWHGLQ-XQH-XO\
     x -XQH,VKDUHGWKHGDWDIURPWKHODEVWXGLHVZLWK                       VRWKDWWKH\FRXOG
        EHSRVWHGSXEOLFO\RQWKH26)             KDVOHGDUHVHDUFKHIIRUWWKDWOHGWRWKLVSXEOLVKHG
        SDSHUKWWSVZZZSQDVRUJFRQWHQW

&RQWDFWLQIRUPDWLRQ
           ZKRKDVQRZOHIWWKHILHOG                            
3KRQHQXPEHU,KDYHIRUKHU                      VKHPRYHGWR/%6DIWHUJUDGXDWLQJVR,DPQRWVXUH
WKLVQXPEHULVVWLOOYDOLG 

                                     
3KRQHQXPEHU                    

                                           

                   
*RRJOHWHOOVPHVKHLVQRZD3K'VWXGHQW                                   

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 334 of 1282





3DSHU3V\FKRORJLFDO6FLHQFH3DSHU
)UDQFHVFD*LQRDQG6FRWW:LOWHUPXWK³(YLO*HQLXV"+RZ'LVKRQHVW\&DQ/HDGWR
*UHDWHU&UHDWLYLW\´
      x &RUUHVSRQGLQJDXWKRU)UDQFHVFD*LQR

&KURQRORJ\
      x $XJXVW:HVXEPLWWHGWKHSDSHUWR3V\FK6FLHQFH,WZDVDFFHSWHGIRUSXEOLFDWLRQ
         DIWHUUHYLVLRQVRQ'HFHPEHU
      x 'DWDIRU6WXG\ZDVFROOHFWHGLQ
      x 7RFUHDWHWKHH[SHULPHQWDOPDWHULDOVQHHGHGIRUWKHVWXGLHV,UHDFKHGRXWWRWZR
         LQGLYLGXDOVZLWKSURJUDPPLQJNQRZOHGJH
              o                  ±ZKRDWWKHWLPHZDVZRUNLQJDV5HVHDUFK&RPSXWLQJ6SHFLDOLVW
                  DWWKH'HFLVLRQ6FLHQFH/DERUDWRU\DWWKH+DUYDUG.HQQHG\6FKRRO
              o                ±ZKRDWWKHWLPHKHOSHGDQRWKHUQRZ+%6FROOHDJXH                    
                  GHYHORSSURJUDPVWRXVHLQKHUZRUN
      x 7KHGDWDIURP([SHULPHQWLQWKHSXEOLVKHGSDSHU LHWKHVWXG\DOOHJDWLRQLVDERXW 
         ZDVFROOHFWHGRQ07XUNXVLQJDSURJUDPGHYHORSHG,EHOLHYHE\                    VLQFHWKH
         VWXG\LQYROYHGDYLUWXDOFRLQWRVVWDVN
              o          FUHDWHGOLQNVWRXVHWRGRZQORDGWKHGDWDDQGDOVROLQNVWRXVHWRHUDVHWKH
                  GDWDRQFHGRZQORDGHGVRWKDWWKHSURJUDPFRXOGEHXVHGDJDLQ
      x ,EHOLHYH       FRQGXFWHGWKHVWXG\DQGUHFHLYHG,5%DSSURYDODW81&VLQFH,DPXQDEOH
         WRILQGWKH,5%DSSOLFDWLRQIRUWKHVWXG\LQP\+%6UHFRUGV

&RQWDFWLQIRUPDWLRQ
                 VHHDERYH 

                                                     
  ,WKLQN      OHIW+.6 

                                          

                                                    
3KRQHQXPEHU                    


3DSHU3V\FKRORJLFDO6FLHQFH3DSHU
)UDQFHVFD*LQR0DU\DP.RXFKDNLDQG$GDP*DOLQVN\³7KH0RUDO9LUWXHRI
$XWKHQWLFLW\+RZ,QDXWKHQWLFLW\3URGXFHV)HHOLQJVRI,PPRUDOLW\DQG,PSXULW\´
      x &RUUHVSRQGLQJDXWKRU0DU\DP.RXFKDNL

&KURQRORJ\
      x $XJXVW:HVXEPLWWHGWKHSDSHUWR3V\FK6FLHQFHVXEVHTXHQWO\UHYLVHGLWDQG
         UHVXEPLWWHGLWLQ6HSW:HZHUHWKHQUHMHFWHG
      x ,Q-XQH:HVXEPLWWHGWKHSDSHUWR-363DQGWKHQUHMHFWHGLQ2FWREHU
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 335 of 1282




   x    ,Q-XQH:HVXEPLWWHGDJUHDWO\UHYLVHGYHUVLRQWR3V\FK6FLHQFHDQGDIWHUDIHZ
        URXQGVRIUHYLVLRQVWKHSDSHUZDVDFFHSWHGLQ-DQXDU\
   x    'DWDIRU6WXG\ZDVFROOHFWHGLQ
   x    WKURXJK              ZDVZRUNLQJDVDUHVHDUFKDVVRFLDWHIRUDERXW
        RIKHUWLPHIRUPH
            o        UHFHLYHGH[WUDKHOSLQFRQGXFWLQJVWXGLHVE\RWKHUXQGHUJUDGXDWHVZKHQ
                QHHGHGDVZHOODVWHPSRUDU\5$V
   x    7KH26)ZHEVLWHLQGLFDWHV,RUVRPHERG\XVLQJP\DFFRXQW HJDQ5$ SRVWHGWKHGDWD
        RQ26)

&RQWDFWLQIRUPDWLRQ
                                                           
3KRQHQXPEHU                  

                                   


3DSHU-3633DSHU
)UDQFHVFD*LQR0DU\DP.RXFKDNLDQG7L]LDQD&DVFLDUR³:K\&RQQHFW"0RUDO
&RQVHTXHQFHVRI1HWZRUNLQJZLWKD3URPRWLRQRU3UHYHQWLRQ)RFXV´
   x &RUUHVSRQGLQJDXWKRU0DU\DP.RXFKDNL

&KURQRORJ\
   x -DQXDU\:HVXEPLWWHGWKHSDSHUWR$0-DQGZHUHUHMHFWHGLQ$SULO
   x 'HFHPEHU:HUHVXEPLWWHGDVXEVWDQWLDOO\UHYLVHGYHUVLRQRIWKHSDSHUWR$0-
       DJDLQDQGZHUHRQFHDJDLQUHMHFWHG
   x )HEUXDU\:HVXEPLWWHGDIXUWKHUUHYLVHGYHUVLRQWR2UJ6FLHQFHDQGZHZHUHWKHQ
       UHMHFWHG
   x $XJXVW:HVXEPLWWHGDIXUWKHUUHYLVHGYHUVLRQWR-$3DQGZHZHUHWKHQUHMHFWHG
        DOOUHMHFWLRQVZHUHPDLQO\DERXWWKHVL]HRIWKHRUHWLFDOFRQWULEXWLRQV 
   x 6HSWHPEHU:HVXEPLWWHGDUHYLVHGSDSHUWR-363ZHQWWKURXJKDIHZURXQGVRI
       UHYLVLRQVDQGILQDOO\KDGWKHSDSHUDFFHSWHGIRUSXEOLFDWLRQLQ0D\
   x 'DWDIRU6WXG\$ZDVFROOHFWHGLQ
   x WKURXJK                     ZDVZRUNLQJDVDUHVHDUFKDVVRFLDWHIRURI
       KLVWLPH DQGRIKLVWLPH 
            o        UHFHLYHGH[WUDKHOSLQFRQGXFWLQJVWXGLHVE\RWKHUXQGHUJUDGXDWHVZKHQ
                QHHGHGDVZHOODVWHPSRUDU\5$V
   x ,EHOLHYH                      SRVWHGWKHGDWDRQ26)EXW,DPXQDEOHWRWHOOIURPWKH26)
       ZHEVLWH LWPHQWLRQV³DQRQ\PRXVFRQWULEXWRUV´ 

&RQWDFWLQIRUPDWLRQ
                                                           
3KRQHQXPEHU                

                 ,GRQ¶WWKLQNKLV+%6HPDLODGGUHVVZRUNVDQ\PRUH
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 336 of 1282




                                        


     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 337 of 1282




3URGXFHDOLVWRI5$VDQGGRFWRUDOVWXGHQWVWKDWZRUNHGZLWK\RXRYHUWKH\HDUV
7KH&RPPLWWHHZRXOGDSSUHFLDWHDFRPSUHKHQVLYHOLVWNQRZLQJWKH\LWPD\QRWEH
DFFXUDWHRUFRPSOHWHLW¶VWRWKHEHVWRI\RXUDELOLWLHV

'RFWRUDO6WXGHQWV

%HORZ\RX¶OOILQGWKHOLVWRIGRFWRUDOVWXGHQWV,DGYLVHGZRUNHGZLWKDQGZKRVHGLVVHUWDWLRQ
FRPPLWWHH,ZDVRQ,DPDFRDXWKRURQUHVHDUFKZLWKHDFKRIWKHPWKRXJKLQVRPHFDVHVWKH
MRLQWZRUNZH¶YHGRQHWRJHWKHUGLGQRWHQGXSEHLQJSXEOLVKHG*HQHUDOO\VWXGHQWVZKRZRUN
ZLWKPHKDYHDFFHVVWRWKHGDWDRIMRLQWSURMHFWVDVWKH\DUHOLNHO\OHDGLQJWKHHIIRUWVRIGDWD
FROOHFWLRQDQGGDWDDQDO\VHVXQGHUP\VXSHUYLVLRQ

7RFRPSLOHWKHOLVWEHORZ,UHDFKHGRXWWRWKH'RFWRUDO2IILFHDW+%6DQGDWRWKHUVFKRROV
ZKHUH,ZDVRQWKH)DFXOW\DVDQDVVLVWDQWSURIHVVRU .HQDQ)ODJOHUDW81& RUSRVWGRF
  &DUQHJLH0HOORQ8QLYHUVLW\ 8QIRUWXQDWHO\VRPHRIWKHSHRSOH,KDGFRQWDFWVIRU HJWKH
IDFXOW\FRRUGLQDWRURIWKH2%XQLWDW81& KDYHPRYHGRQHLWKHUOHDYLQJWKH8QLYHUVLW\RU
UHWLULQJPDNLQJWKHHIIRUWRIWUDFNLQJGRZQWKLVLQIRUPDWLRQDELWPRUHFKDOOHQJLQJ7KHVXPPHU
LVDOVRDWLPHZKHQIDFXOW\DQGVWDIIDUHWDNLQJWLPHRIIHVSHFLDOO\DIWHUWKHSDQGHPLFLWVHHPV
PDNLQJWKHVHVHDUFKHIIRUWVDELWVORZHUWKDQ,KDGDQWLFLSDWHG

,IHHOIRUWXQDWHWREHZRUNLQJZLWKGRFWRUDOVWXGHQWV$W&08,DOVRFROODERUDWHGZLWKSRVW
GRFWRUDOIHOORZVOLNHPH WKDWZDVP\SRVLWLRQDW&08ZKHQ,ZDVRQWKHIDFXOW\WKHUHLQ
 HVSHFLDOO\                        ZKRLVQRZD3URIHVVRUDW,16($' DQG                 
  ZKRLVQRZD3URIHVVRUDW2OLQ:DVK8 

     x                   2% FKDLUH[SHFWHG 
     x                     2% H[SHFWHG 
     x                        2% H[SHFWHG 
     x                2% FRFKDLUH[SHFWHG 
     x                         +DUYDUG%XVLQHVV6FKRRO2% H[SHFWHG 
     x                      +DUYDUG%XVLQHVV6FKRRO2% FKDLUH[SHFWHG 
     x                   +DUYDUG%XVLQHVV6FKRRO2% H[SHFWHG 
     x                       +DUYDUG%XVLQHVV6FKRRO2% FKDLU 
     x                  +DUYDUG%XVLQHVV6FKRRO2% FKDLU 
     x                   +DUYDUG%XVLQHVV6FKRRO2%  
     x                   +DUYDUG%XVLQHVV6FKRRO2% FKDLU 
     x               +DUYDUG%XVLQHVV6FKRRO0DQDJHPHQW'%$ FKDLU 
     x                &ROXPELD8QLYHUVLW\2%  
     x               +DUYDUG%XVLQHVV6FKRRO2%  
     x               +DUYDUG%XVLQHVV6FKRRO2% FRFKDLU 
     x                    +DUYDUG%XVLQHVV6FKRRO2%  
     x                        +DUYDUG%XVLQHVV6FKRRO2%  
     x                    +DUYDUG%XVLQHVV6FKRRO2%  
     x                 +DUYDUG%XVLQHVV6FKRRO2% FKDLU 
     x             .HQQHG\6FKRRORI*RYHUQPHQW+DUYDUG8QLYHUVLW\ FKDLU 
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 338 of 1282




    x                    +DUYDUG%XVLQHVV6FKRROPDUNHWLQJ  
    x                          (FRQRPLFV'HSDUWPHQW+DUYDUG8QLYHUVLW\  
    x                       +DUYDUG%XVLQHVV6FKRRO2%  
    x                &RUQHOO8QLYHUVLW\0DQDJHPHQWDQG2UJDQL]DWLRQV  
    x                    'XNH8QLYHUVLW\  
    x                        &DUQHJLH0HOORQ8QLYHUVLW\+HLQ]&ROOHJH  
    x                        8QLYHUVLW\RI8WDK2UJDQL]DWLRQDO%HKDYLRU  
    x             +DUYDUG%XVLQHVV6FKRRO2%6RF3V\FK  
    x                 &DUQHJLH0HOORQ8QLYHUVLW\  
    x                +DUYDUG%XVLQHVV6FKRRO0DUNHWLQJ  
    x                    81&6FKRRORI-RXUQDOLVP  
    x                       &DUQHJLH0HOORQ8QLYHUVLW\  
    x                  81&2UJDQL]DWLRQDO%HKDYLRU FRFKDLU 
    x                    &DUQHJLH0HOORQ8QLYHUVLW\2UJDQL]DWLRQDO%HKDYLRU  

5HVHDUFK$VVLVWDQWV

:KHQ,MRLQHG+%6LQWKHVXPPHURIDVDQ$VVRFLDWH3URIHVVRULQ120,FROHGZLWK                 
             DOVRLQ120DW+%6 ZKDWXVHGWREHFDOO         ¶VQRQODEDQGWKHQ%,*/DE7KHODE
LVOLVWHGDVDFROOHJHFRXUVHDW+DUYDUG ,EHOLHYHWKHQDPHKDVDOZD\VEHHQ36<5EXW,
ZDVXQDEOHWRFRQILUPWKLV DFRXUVHVWXGHQWVFDQWDNHIRUFUHGLW

2YHUWKH\HDUV,WRRNRYHUDV       IHOWWRRGLVWDQWIURPWKHSXEOLFDWLRQSURFHVV,EHOLHYH,WRRN
RYHULQDV,OHDUQHGLQUHYLHZLQJP\HPDLOV$VSDUWRIWKHODEXQGHUJUDGXDWHVDW+DUYDUG
FRXOGVLJQXSIRUFUHGLWDQGZRUNRQUHVHDUFKKHOSLQJIDFXOW\DQGJUDGXDWHVWXGHQWVRQHYHU\
SDUWRIWKHUHVHDUFKSURFHVV OLWHUDWXUHUHYLHZVFRGLQJGDWDFROOHFWLRQFUHDWLQJVXUYH\VRQ
4XDOWULFVUXQQLQJVWXGLHVHWF 7KHLUUROHLQRWKHUZRUGVZDVVLPLODUWRWKHWDVNVUHVHDUFK
DVVLVWDQWVRIWHQHQJDJHLQWRKHOSGRFWRUDOVWXGHQWVDQGIDFXOW\LQWKHLUUHVHDUFK,ZRUNHGFORVHO\
ZLWKDIHZLQSDUWLFXODUEXWJLYHQWKDWLQWHUDFWLRQVRFFXUUHGLQSHUVRQPRVWRIWKHWLPH,GRQ¶W
UHPHPEHUWKHQDPHRIVSHFLILFVWXGHQWV,ZRUNHGZLWK

,UHDFKHGRXWWRWKHSV\FKGHSDUWPHQWWRFRPSLOHWKHOLVWDVWKHFODVVURVWHUVDYDLODEOHRQOLQHLI,
DPDFFHVVLQJWKHV\VWHPLQWKHULJKWDZD\DUHRQO\DYDLODEOHVWDUWLQJIURPWKH)DOORI,
ZDVILQDOO\DEOHWRREWDLQWKHFRPSUHKHQVLYHOLVWRQ6HHDWWDFKHGH[FHOILOHFDOOHG
36<56WXGHQW5RVWHUV,UHFHLYHGWKHILOHIURP5DL\DQ+XT                                        
%XVLQHVV6\VWHPV$QDO\VWDWWKH2IILFHRIWKH5HJLVWUDU )DFXOW\RI$UWVDQG6FLHQFHV+DUYDUG
8QLYHUVLW\ :KHQ,UHFHLYHGWKHILOH,ZDVWROGWKDW³2XUGDWDEDVHRQO\KRXVHVGDWDJRLQJEDFN
WR,I\RXUHTXLUHGDWDSULRUWRSOHDVHUHDFKRXWWRWKH2IILFHRI,QVWLWXWLRQDO5HVHDUFK
DWRLU#KDUYDUGHGX´,GLGQRWFRQWDFWWKHRIILFHWRVHHLIGDWDIURPLVDYDLODEOH

,DOVREHQHILWWHGIURPWKHKHOSRIUHVHDUFKDVVLVWDQWVDVVRFLDWHGWRWKH+DUYDUG.HQQHG\6FKRRO
ODEZKHQLWZDVVWLOORSHQ2QHVXFKSHUVRQZDV                   ZKRZDVKLUHGDVDIXOOWLPH
WHFKQLFLDQIRUWKHODEVRKHZDVSDLGE\WKH.HQQHG\6FKRRO7KHVDPHJRHVIRUWKHODEPDQDJHU
                  EDFNWKHQ DQGWKH5$VDVVRFLDWHGZLWKWKHODEZKRZHUHPRVWO\VWXGHQWVWKHODE
KLUHGSDUWWLPH,UHDFKHGRXWWR            ZKRZDVDGRFWRUDOVWXGHQWDW+.6,ZRUNHGZLWKWR
OHDUQPRUHDERXWWKH+.6ODEVHWXSVLQFH,FRXOGQRWUHPHPEHUWKHGHWDLOV$VVKHWROGPHWKH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 339 of 1282




ODEZDVLQLWLDOO\VHWXSZLWK             ¶V16)JUDQWEXWVKHGLGQRWNQRZWKHGHWDLOVRIWKH
DUUDQJHPHQWZLWK+.6 ZKRSDLGIRUZKDWUHVRXUFHV 

)LQDOO\,UHFHLYHGVXSSRUWIURPDYDULHW\RIUHVHDUFKDVVRFLDWHVRYHUWKH\HDUV,UHDFKHGRXWWR
%HWK+DOODW+%6IRULQIRUPDWLRQDERXWUHVHDUFKVXSSRUW,UHFHLYHGRYHUWKH\HDUVVLQFHLWLVKDUG
IRUPHWRUHPHPEHUWKHGHWDLOVRIHYHU\RQHZKRKHOSHGPHRYHUWKH\HDUV$V%HWKDOVRQRWHG
WKHLUUHFRUGVLQGLFDWHGDWHVZKHQWKHDSSRLQWPHQWEHFDPHRIILFLDO,QDIHZFDVHVWKHSHUVRQ
PD\KDYHEHHQZRUNLQJIRUDZKLOHZLWKPHEXWQRWRQUHFRUGDWWKHH[DFWWLPHEHFDXVHRIWKH
WLPHUHTXLUHGIRUDSSRLQWPHQWV $VDQH[DPSOHDGRFWRUDOVWXGHQWVZKRKHOSHGPHUHDGDQG
VXPPDUL]HWKHPHVRIUHIOHFWLRQVVXEPLWWHGE\0%$VWXGHQWVLQP\FRXUVHILQLVKHGKHUZRUNE\
WKHWLPHVKHZDVRIILFLDOO\LQWKHV\VWHPDQGUHFRUGHGKHUKRXUVDIWHUFRPSOHWLRQRIWKHUROHVKH
KDGDVWHPSRUDU\5$ 

$IHZRIWKH5$VRQO\ZRUNHGDVWHPSRUDU\DVVRFLDWHVKHOSLQJRQVWXGLHVWKDWQHHGHGIDVWGDWD
FROOHFWLRQRUWKDWZHUHPRUHLQYROYHGFRGLQJRURWKHUWDVNVLQYROYHGLQWKHUHVHDUFKSURFHVV

,RUJDQL]HGWKHOLVWE\\HDUDQGW\SHRIUROH

                                                   5$DW+%6
                                      5$ KHOSLQJZLWKHGLWLQJSDSHUVDQG
                                       OLWHUDWXUHUHYLHZVRQO\ 
  
                                                   5$SK\VLFDOO\DW81&KLUHGDV
                                                               FRQWUDFWRUE\+%6
                                                         7HPSRUDU\5$
                                                         +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                         KLUHGDVFRQWUDFWRUE\+%6
                                                         +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                         +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                         7HPSRUDU\5$
                                      5$DW+%6
  
                                                   5$DW+%6
                                                         7HPSRUDU\5$
                                                         +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                         +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                         7HPSRUDU\5$
                                                         7HPSRUDU\5$
                                                         +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                         7HPSRUDU\5$
                                                         7HPSRUDU\5$
                                                         7HPSRUDU\5$
                                                         7HPSRUDU\5$
                                                   7HPSRUDU\5$
                                                         7HPSRUDU\5$
                                                         7HPSRUDU\5$
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 340 of 1282




                                                                                 7HPSRUDU\5$
                                                                                 +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                           +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                                 +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                                 +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                           5$DW+%6
                                                                                 +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                               5$DW+%6
                                                                           7HPSRUDU\5$
                                                                                +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                           +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                           +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                           +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                                 +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                                 +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 7HPSRUDU\5$
                                                                                 +8VWXGHQWKLUHGDVWHPSRUDU\5$
                                                                           5$DW+%6
                                                                                 7HPSRUDU\5$
                                                                                 +8VWXGHQWKLUHGDVWHPSRUDU\5$

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 341 of 1282
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 342 of 1282




         4XDOWULFVVXUYH\VRULQRWKHUPDWHULDOVXVHGIRUVWXGLHV HJSDSHUVXUYH\V ±DWOHDVWQRW
         LQWKHFROODERUDWLRQV,¶YHKDGZLWKKLP,GRQ¶WEHOLHYHKHKDGDFFHVVWR4XDOWULFVRUWKH
         UDZGDWDWKDWZDVXVHGIRUWKHDQDO\VHV,DPQRWVXUHDERXW          +RZHYHUHYHU\RQH
         RQWKHWHDPKDGDFFHVVWRWKHGDWDWKDWZDVSXEOLFO\SRVWHGVLQFHLWLVDYDLODEOHRQWKH
         26)

    x    $OOHJDWLRQ,QP\ZRUNZLWK                     VKHLVWKHFROODERUDWRUZKRLVFORVHWR
         WKHILHOGGDWDLQSURMHFWVZH¶YHZRUNHGRQ6KHZDVWKHRQHZLWKWKHUHODWLRQVKLSZLWKWKH
         ODZILUP IRUWKHILHOGGDWD DQGWKHSHUVRQZKRFROOHFWHGWKDWGDWDDQGDQDO\]HGLW,
         GRQ¶WEHOLHYHVKHVKDUHGLWZLWKXV                     DQG,FROOHFWHGWKHGDWDIRUWKHODE
         VWXGLHV,GRQ¶WEHOLHYH        KDGDFFHVVWRWKH4XDOWULFVVXUYH\,DPQRWVXUHDERXW
                  JLYHQKRZZHWHQGWRZRUNWRJHWKHURQSURMHFWV+RZHYHUHYHU\RQHRQWKHWHDP
         KDGDFFHVVWRWKHGDWDWKDWZDVSXEOLFO\SRVWHGVLQFHLWLVDYDLODEOHRQWKH26)
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 343 of 1282




)RUDOOHJDWLRQDFDQ\RXSURYLGHLQIRUPDWLRQDERXWZKHQDZULWHXSRI6WXG\ZDV
ILUVWGUDIWHGE\ZKRPDQGZKRUHYLHZHGWKDWZULWHXS"

,DPXQDEOHWRDQVZHUWKLVTXHVWLRQZLWKFHUWDLQW\7KLVKDSSHQHGEDFNLQDERXW\HDUV
DJRPDNLQJLWGLIILFXOWIRUPHWRUHPHPEHUVSHFLILFGHWDLOVDERXWWKLVVWXG\,I,IROORZHGWKH
SURFHVVWKDW,XVHPRVWFRPPRQO\WKHQ,ZDVOLNHO\WKHRQHZKRGUDIWHGWKHZULWHXSIRU6WXG\
±EXWDJDLQ,DPXQDEOHWRVWDWHWKLVZLWKFHUWDLQW\

7KHGDWHRIWKHZRUGGRFXPHQWZLWKERWKWKHPHWKRGVDQGWKHUHVXOWVVXJJHVWVWKDWWKHZULWHXS
ZDVGUDIWHGRQ-XO\,DOVRIRXQGDGRFXPHQWWLWOHG³WDVNVWXG\GHVLJQ´GDWHG-XQH
7KRXJKWKHSURSHUWLHVRQERWKILOHVLQGLFDWHWKDWWKHZRUGGRFXPHQWZDVFUHDWHGZKLOHDW
81&DQGP\QDPHDSSHDUVDVDXWKRU,FDQ¶WEHVXUH,ZDVWKHRQHGUDIWLQJWKHSURFHGXUHV           
XVHGP\FRPSXWHUDWWLPHVDVRWKHU5$VKDYHGRQHRYHUWKH\HDUV$OVR,VRPHWLPHVJDYHKHU
WKURXJKD86%NH\RUVHQWKHUH[FHOILOHVDVNLQJIRUKHUWRDGGGDWDVKHKDGFROOHFWHGRUGRF
ILOHVDVNLQJKHUWRZULWHXSSURFHGXUHVIRUWKHVWXGLHVVKHFRQGXFWHG

,FRQWDFWHGDQH[SHUWRI0LFURVRIWZRUGWREHWWHUXQGHUVWDQGZKDW,FDQDQGFDQQRWOHDUQIURP
ILOHSURSHUWLHVRIGRFXPHQWVFUHDWHGLQ:RUGRU([FHO:KDW,OHDUQHGIURPWKLVH[SHUWLVWKDWLI,
FRSLHGLQIRUPDWLRQUHFHLYHGE\HPDLORURWKHUZD\VRQWRDILOHWKDW,FUHDWHGWKHQWKHDXWKRU
QDPHVKRZLQJLQWKHPHWDILOHZRXOGEHPLQHEXWWKDWGRHVQRWPHDQWKDW,DFWXDOO\ZURWHWKHWH[W
RUHQWHUHGWKHGDWD2ULI,ZHUHWRVHQGDGRFWRDQ5$VD\LQJ³DGGWKHVWXG\LQIRUPDWLRQ´WKHQ
DJDLQ,ZRXOGEHWKHDXWKRUDFFRUGLQJWRWKHPHWDILOHZKHQLQIDFW,ZDVQRWWKHRQHZULWLQJXS
WKHLQIRUPDWLRQ2ULIDQ5$ZURWHLWXSIURPP\ODSWRSDJDLQWKHQDPHZRXOGEHPLQHDQGQRW
WKHLUVVLQFH,RZQHGWKHODSWRS,QDZRUOGZKHUHPRVWLQWHUDFWLRQVKDSSHQHGYLD86%VUDWKHU
WKDQHPDLOVDQGDVLQWKLVFDVH,GRQ¶WKDYHHPDLOUHFRUGVWRVXSSRUWP\PHPRU\

,QWKHVXPPHURIZKHQWKHGDWDZDVFROOHFWHG,PRYHGIURP81&.HQDQ)ODJOHULQ
&KDSHO+LOOWR+%6LQ%RVWRQ,QEHWZHHQWKHPRYH,DOVRVSHQWWLPHZRUNLQJDVDUHVHDUFK
DGYLVRUDW'LVQH\LQ*OHQGDOH&$IRUDERXWDPRQWK IURP-XQHWR-XO\>DVVWDWHGLQDQ
HPDLO,IRXQGWKDWFRQILUPVFDUUHVHUYDWLRQV@ IRUSURMHFWVLQFROODERUDWLRQZLWK             RI
'XNH,GRQRWKDYHDFFHVVWRHPDLOVIURPWKHWLPH,ZDVRQWKHIDFXOW\DW.HQDQ)ODJOHU,
EHOLHYH,WUDYHOHGIURP&KDSHO+LOOWR*OHQGDOHDQGWKHQEDFNWR&KDSHO+LOOWRWKHQPRYHWR
%RVWRQ

,UHDFKHGRXWWRWKH,7GHSDUWPHQWDW.HQDQ)ODJOHUDVNLQJZKHWKHU,FRXOGJHWSHUPLVVLRQWR
UHFHLYHP\HPDLOVIURPWKHWLPH,ZDVWKHUHDQG,ZDVWROGWKDWWKHHPDLOVGRQRWH[LVWDQ\PRUH
DQGWKDWHYHQLIWKH\GLG,ZRXOGQRWEHDEOHWRDFFHVVWKHPJLYHQWKDW,DPQRWDQHPSOR\HH
WKHUHDQ\ORQJHU ,GLGQRWPHQWLRQWKLVSURFHVVQRUDQ\WKLQJHOVHUHODWHGWRWKHDOOHJDWLRQV 

,DOVRUHDFKHGRXWWRWKH,5%DW81& DJDLQ,GLGQRWPHQWLRQWKLVSURFHVVQRUDQ\WKLQJHOVH
UHODWHGWRWKHDOOHJDWLRQV WRVHHLI,FRXOGDFFHVVWKH,5%DSSOLFDWLRQIRUWKHVWXG\RUDQ\
LQIRUPDWLRQUHODWHGWRPRGLILFDWLRQVIRULW7KHFRQWDFWSHUVRQUHPLQGHGPHWKDWDSSOLFDWLRQVDW
WKHWLPHZHUHVXEPLWWHGRQSDSHUDQGWKDWWKH,5%KDVQRUHFRUGRIWKHP

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 344 of 1282




$VIRUWKHTXHVWLRQRIZKRUHYLHZHGWKHZULWHXSRI6WXG\,DPQRWVXUH,OLNHO\UHDFKHGRXW
WR    ILUVWDQGWKHQWR     WRVKDUHWKHGUDIWDWVRPHSRLQWEXW,FDQ¶WFRQILUPZKHQ,DOVRGR
QRWNQRZKRZFORVHO\WKH\UHYLHZHGWKHZULWHXSZKHQWKH\UHFHLYHGLW

,UHDFKHGRXWWR          WRVHHLIVKHKDGDQ\HPDLOVIURPWKDWWLPHWKDWVKHFRXOGVKDUH DJDLQ,
GLGQRWPHQWLRQWKLVSURFHVVQRUDQ\WKLQJHOVHUHODWHGWRWKHDOOHJDWLRQV 8QIRUWXQDWHO\VKH
GRHVQRWKDYHDQ\UHFRUGVIURPWKDWWLPHHLWKHU0\UHFROOHFWLRQDQGEDVHGRQWKHHPDLOV
H[FKDQJHVLVWKDW,VKDUHGWKHZULWHXSDQGUHVXOWVZLWK      DQG       7KHILUVWHPDLO,KDYHLQ
P\      ¶VIROGHULVIURP$XJXVW XQUHODWHGWRWKLVSURMHFW DQGWKHILUVWHPDLO,KDYHLQ
P\      ¶VIROGHULVIURP$XJXVW XQUHODWHGWRWKLVSURMHFW $QGWKHILUVWHPDLO,VHHLQ
P\³VHQW´IROGHULVIURP$SULO

,WDSSHDUVZHMRLQHGIRUFHVZLWK              DQG             LQHDUO\ VHHHPDLOEHORZ 

> From: Gino, Francesca
> Sent: Thursday, January 20, 2011 6:20 AM
> To:
> Subject: tax data
>
> Hi      and     ,
>
> Following up on       ’s suggestion, I wrote to    to see what he ended up
> doing with his data from the field study with the insurance company. As
> suspected, he never published it but he is interested in publishing it.
         helped him collect the data. So I suggest we add them as co-authors
> and write up the paper for a top tier journal. Would this plan work with
> both of you?
>
> We can then work on extensions of the paper with              or
>
> francesca

             UDLVHGLVVXHVDERXWWKHSURFHGXUHZKHQZHVKDUHGWKHGUDIWRIWKHVWXG\ZLWKKHU DV
VWDWHGLQWKHHPDLOIURP0DUFK ,EHOLHYHDWWKDWSRLQW,FKHFNHGLQZLWK      WRFODULI\
WKHGHWDLOVRIWKHSURFHGXUHWKDWVKHXVHGZKHQUXQQLQJWKHVWXG\       DQG,KDGUHJXODU
PHHWLQJVHYHQDIWHU,OHIW81&,WUDYHOHGWKHUHRIWHQDQGZHVSRNHUHJXODUO\VLQFHVKHNHSW
ZRUNLQJIRUPHZKHQ,MRLQHG+%6UXQQLQJVWXGLHVDW.HQDQ)ODJOHUWKDWZRXOGEHGLIILFXOWWR
UXQDW+%6 HJEHFDXVHRIWKHXVHRIGHFHSWLRQ RUWKDWZHUHLQFROODERUDWLRQZLWKORFDOFR
DXWKRUV HJ            RI'XNH 

&DQ\RXSOHDVHSURYLGHDFKURQRORJ\RIWKHSXEOLFDWLRQSURFHVVRIWKLVSDSHUOLNH\RX
SURYLGHGIRUWKHRWKHUSDSHUV"

+HUHLVWKHFKURQRORJ\RIWKHSXEOLFDWLRQSURFHVVRIWKLVSDSHU,JDWKHUHGWKLVGDWDIURPWKH
6XEPLVVLRQVIROGHUDQGDOVRIURPHPDLOH[FKDQJHVZLWK                 LQP\HPDLOVLQWKH      
       IROGHU 
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 345 of 1282




        ,EHOLHYHWKHODEGDWDIRUWKLVSURMHFWZDVFROOHFWHGLQ WKHGDWDIRU6WXG\ZDV
         FROOHFWHGLQ-XO\-XO\ $WWKHWLPH                         DQG,ZHUHWKHRQO\
         DXWKRUVRQWKHSURMHFW
        :HKDGDIHZFRQYHUVDWLRQZLWK                 WRVHHLIZHFRXOGZRUNZLWKWKH,56RQD
         ILHOGH[SHULPHQWEXWWKDWGLGQRWFRPHWRIUXLWLRQ
                 DQG,EHOLHYHGWKHSURMHFWVZRXOGEHPXFKVWURQJHULIZHKDGILHOGGDWD:H
         OHDUQHGWKDW            PD\KDYHVXFKGDWDDQGUHDFKHGRXWWRKLPWRVHHLIKH¶GEH
         LQWHUHVWHGLQMRLQLQJIRUFHV
             o        ZDVDFRDXWKRUDQGFROODERUDWRURIPLQHRQPXOWLSOHSURMHFWV:HUHDOL]HG
                 ZHZHUHERWKLQWHUHVWHGLQXQHWKLFDOEHKDYLRUZKHQKHJDYHDWDONDW&08DQG,
                 ZDVDSRVWGRFWKHUH LQ DQGZHVWDUWHGYDULRXVSURMHFWVZKHQ,PRYHGWR
                 81&DVDQ$VVLVWDQW3URIHVVRU
             o :HMRLQHGIRUFHVLQHDUO\DQGVWDUWHGZRUNLQJRQDSDSHUWRVXEPLWWRDWRS
                 MRXQUQDO
        :HILUVWVXEPLWWHGWKHSDSHUWR2%+'3RQ0D\:HZHUHUHMHFWHGRQ$XJXVW
         
        :HVXEPLWWHGWKHSDSHUWR6FLHQFHRQ1RY:HZHUHGHVNUHMHFWHGVRRQDIWHU
        :HVXEPLWWHGWKHSDSHUWR31$6RQ-XQH:HUHFHLYHGDQ5 5RQ-XO\
         UHVXEPLWWHGDUHYLVHGYHUVLRQRIWKHSDSHURQ-XO\DQGUHFHLYHGQRWLFHWKDW
         WKHSDSHUZDVDFFHSWHGIRUSXEOLFDWLRQRQ-XO\

         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 346 of 1282


&DUHHU                     7HUP          /DVW       )LUVW1DPH
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϭ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϭ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϭ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϭ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϭ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϮ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϮ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϮ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϮ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϮ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϮ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϮ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϮ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϯ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϯ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϯ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ^ƉƌŝŶŐ
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 347 of 1282


,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϯ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϯ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϯ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϯ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϰ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 348 of 1282


,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϰ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϱ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ&Ăůů
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϱ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ   ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϱ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ            ϮϬϭϲ&Ăůů
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 349 of 1282


,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϲ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ          ϮϬϭϳ^ƉƌŝŶŐ
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 350 of 1282


,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϳ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ&Ăůů
'ƌĂĚƵĂƚĞ^ĐŚŽŽůŽĨĚƵĐĂƚŝŽŶ   ϮϬϭϴ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϴ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚ<ĞŶŶĞĚǇ^ĐŚŽŽů         ϮϬϭϵ^ƉƌŝŶŐ
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 351 of 1282


,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϭϵ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ&Ăůů
'ƌĂĚƵĂƚĞ^ĐŚŽŽůŽĨĚƵĐĂƚŝŽŶ   ϮϬϮϬ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚ<ĞŶŶĞĚǇ^ĐŚŽŽů         ϮϬϮϬ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ&Ăůů
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚ<ĞŶŶĞĚǇ^ĐŚŽŽů         ϮϬϮϭ^ƉƌŝŶŐ
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 352 of 1282


,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚ<ĞŶŶĞĚǇ^ĐŚŽŽů         ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϭ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞƌƚƐΘ^ĐŝĞŶĐĞƐ       ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
,ĂƌǀĂƌĚŽůůĞŐĞ                ϮϬϮϮ^ƉƌŝŶŐ
'ƌĂĚƵĂƚĞ^ĐŚŽŽůŽĨĚƵĐĂƚŝŽŶ   ϮϬϮϮ^ƉƌŝŶŐ
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 353 of 1282



                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                       ([KLELW
   7UDQVFULSWRI:LWQHVV,QWHUYLHZZLWK3URIHVVRU    RQ-XQH
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 354 of 1282



                                                           Interview
                                                June 2, 2022

[0:00] ALAIN BONACOSSA: My name is Alain Bonacossa and I'm the Research Integrity Officer at Harvard
Business School. First, let me thank Professor                       for being here today and for being
willing to be interviewed by the investigation committee. I will now make a brief announcement before
handing it over to the Chair of the committee. First, a reminder that the interview will be recorded and
transcribed. And            , you will be given a copy of the transcript for correction.

[0:25] so, let me start by introducing everyone on Zoom today, starting with the investigation
committee. Professor Teresa Amabile, the Chair of the committee; Professor Bob Kaplan; and Professor
Shawn Cole. The witness, of course, in today's interview is Professor                  ,
                                                                            . We also have, in addition to
myself, a couple of staff members, Heather Quay, who is a university attorney with Harvard's Office of
the General Counsel, and Alma Castro, Assistant Director in Research Administration at the Business
School.

[1:00] Next, I wanted to provide a brief explanation of the interview process. As I mentioned to you,
          this is a faculty review of a faculty matter. So the interview will be a conversation between the
committee and yourself. It will entail a series of questions and answers. And              you should feel
free to elaborate on any answer if you think that it could be helpful to the process.

[1:23] Some basic rules of the road for the interview for everyone-- to make sure the transcription is
clear, only one person can speak at a time. At the end of my introduction, I will ask the staff to turn their
cameras off and mute themselves. And              , for you specifically, please answer questions truthfully.
All answers need to be audible so that they can appear on the record, so nodding is not sufficient. If you
do not understand the question, just ask for the question to be rephrased. And if you don't know an
answer, just say so. If you need a break, just ask for one.

[2:01] Some important reminders-- HBS has an obligation to keep this matter confidential. So even the
fact that this interview occurred or that there's an ongoing investigation into allegations of research
misconduct is confidential. So            we're going to ask you to keep all of this information
confidential. Also per HBS policy, HBS community members may not retaliate in any way, again, against
complainant, witnesses, the research integrity officer, or committee members.              , do you have
any questions about the process? You're muted, but--

[2:39]                      : Well, no, I'm good.

[2:40] ALAIN BONACOSSA: OK, so I will hand it off to Teresa. And Heather and Alma and I will mute
ourselves and turn our cameras off now.

[2:51] TERESA AMABILE: Hi,           , it's nice to meet you face to face after we've been emailing so
much over the last several weeks. I am Teresa Amabile. I've been at Harvard Business School for about
27 years now. I'm a Baker Foundation Professor and my appointment is in the Entrepreneurial
Management unit.




                                                                                                            1
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 355 of 1282




[3:13] I'm the Chair of this committee and I have two colleagues with me. I guess that's all I want to say
about myself. Let me just hand it off to Bob Kaplan, who you might not be familiar with. And then Bob
will hand it off to Shawn.

[3:31] BOB KAPLAN: Hi,            . So I'm Bob Kaplan. And I'm a professor emeritus at this stage, but
definitely not retired. So those are very distinct categories-- often overlap, but not in my case. And I
came to Harvard Business School in 1984 and had been at Carnegie Mellon Business School prior to that
time. I work in the Accounting unit, but more management accounting, trying to create information
useful for decision making and control and so familiar with measurement. I guess that's how I ended up
on the committee.

[4:16] SHAWN COLE: And I'm Shawn Cole. I'm on the Finance faculty. I have an economics PhD and I
have done and continue to do a lot of experiments. And I guess I'm not retired or Baker Foundation. I'm
still a working stiff here at HBS but really appreciate your time. Thanks so much.

[4:33] [INTERPOSING VOICES]

[4:35] TERESA AMABILE:             we're all really grateful to you for spending this time with us. And
Shawn and Bob, is it OK if you both mute yourselves except when you might have a follow-up question?
Or if you notice me skipping something that I had planned to ask about, please feel free to break in, just
so that we have minimized background interference. So,                is it OK for me to go ahead and get
started with the questions that we have for you?

[5:08]                      : Yes.

[5:09] TERESA AMABILE: OK, great, thank you. And I think it's probably OK,        , for you and me to
remain unmuted if we-- if that's more comfortable. I don't know if you have background noise. It looks
like you're in your office.

[5:24]                      : Yes, so if there is background noise, I could. But, yeah, I'll leave it open.

[5:30] TERESA AMABILE: OK, that sounds great. So I'm going to start with questions that we have on the
2020 JPSP paper that you published with Francesca and                         on moral consequences of
networking with a promotion or prevention focus. OK, so first, it's sort of a general background
question. I guess this is a little bit of a warm-up question. Can you tell us how you came to be at Harvard
for the postdoc that you did there and then how you got to know Francesca and how you came to be
involved in this particular research project with her?

[6:11]                    : Sure, so my advisor, Art Brief, is a good friend of         . So I got to
know     and Francesca early on in my PhD program. And I met her as a PhD student while she was at
UNC. And we started talking about just doing research.

[6:38] I think then she moved to Harvard. And so I completed my PhD. And I had-- I decided to do a
postdoc afterwards. And I had a couple of options. One was the Ethics Center at Harvard, SAFRA, had a
fellowship, which is officially under the law school or was under the law school. So I think that I was a
fellow in the Harvard SAFRA Ethics Center. And I kept working with Francesca when I was a fellow there.
And then after finishing and coming here to Kellogg, we continued working together.


                                                                                                              2
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 356 of 1282



[7:20] For this particular project-- so I have published with her extensively in multiple projects. This
particular project, Francesca,            and I, we have an earlier 2014 or '15 ASQ that we published on
instrumental networking and how it feels dirty. So we started this project. I think, like, the project's on
instrumental networking that--

[7:47] TERESA AMABILE:                I'm sorry, I didn't quite understand. You said the earlier project was
on what?

[7:52]                       : On instrumental networking.

[7:55] TERESA AMABILE: OK.

[7:55]                        : Broadly, yeah, how instrumental networking could feel morally dirty. We
started that project, I'd say 2012 or '13, something like that. And we had started with that empirical
paper. And along the way, the first year or two, when we haven't published that work, we had started
the second-- and, again, even a third project that didn't end up anywhere, but the second project as
well. So the two projects had been going on for a couple of years. We published the first paper in 2015, I
think-- again, '15 or '14. And this one took us longer. And it ended up in JPSP in 2020.

[8:40]                     : OK, that's helpful. So you first came to know her back-- I guess you were
working with Art Brief. And he was at the University of Utah then. Is that correct?

[8:49]                       : Yes, yeah.

[8:49] TERESA AMABILE: So that's where you did your PhD and where you first got to acquainted-- when
you first got acquainted--

[8:55]                       : Yes.

[8:55] TERESA AMABILE: --with Francesca. OK, and it sounds like you and she had been talking about this
area of research for quite some time.

[9:03]                      : Yes, so the three of us-- me, Francesca, and          we-- I think I'd say the
first conversation we had about networking was, let's say, 2012. I think that that's probably close. I could
look and find the first whatever email. But that was, yeah, the first time that we discussed this particular
idea and then the two papers that came out of the collaboration.

[9:28]                       : OK, Bob or Shawn, does either of you have a follow-up question on any of
that background? OK, great. Thanks. So,                it's important for our committee to understand how
this paper came about. I think you've already filled in much of this for us. But if you could try to, if
possible, remember a little bit more specifically the chronology of your involvement in the research
reported in this paper. I think that there are six-- I believe there are six studies in this paper-- and in the
paper itself, your involvement in the paper itself.

[10:10]                        : So this particular paper, the second paper, I think after we got most of the
data for the first paper that, as I mentioned, published earlier, I'd say after a year or two into that
particular-- into the investigation for the other project, we talked about, like, the idea that how we can
actually overcome this feeling, the discomfort that people feel about instrumental networking. And one

                                                                                                                  3
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 357 of 1282




of the things that the two of us discussed was that maybe more like a motivational perspective could be
important and something that could help us. So basically this idea that, is it possible to help people
reframe their networking activities or networking mindset they have?

[10:57] And, obviously, going to a large body of work on regulatory focus, that was one of the things that
early on we decided to try. If I remember it correctly, the first ever study on this project was a study run
in Italy. Because at that point,       was visiting Bocconi. So we put together a study to be run in Italy,
and          coordinated to get the data for it. And Francesca and           translated it in Italian and all
that.

[11:29] So I didn't have access to the survey or data. Again, it was in Italian. So that's the first-- I think, if
I'm right-- study. And at the same time, if I remember it, Francesca did collect a different study in US to
really see if the data in Italy is similar to the US or not.

[11:49] If I'm right, it's a study two in the paper where there are two samples. One is Italian sample.
Another is the US students or US sample. So Francesca collected this study too. So the paper started in a
study two, if I'm right. Then we collected--

[12:04] TERESA AMABILE: Okay, just one second. Do you remember the year or years approximately of
the data collection?

[12:10]                    : I could definitely figure it out if you want me and you send it later. But I'd
say 2014, for example, something like that. But, again, I could get that.

[12:20] TERESA AMABILE: OK, well, if we decide we'd like it, we'll just send-- ask Alain to get in touch
with you and--

[12:26] [INTERPOSING VOICES]

[12:27]                         : Yes, so I should have the record of the emails, everything. So, yeah, email
me if you need the exact date. It was summer time or something like that if I'm right. But, again, she was
visiting Italy, Bocconi, visiting that year.

[12:38] TERESA AMABILE: And both of those studies-- the one run in Italy and the companion study in
the States-- those both ended up in the paper?

[12:46]                        : Yes.

[12:47] TERESA AMABILE: OK, in the published paper, correct?

[12:48]                        : Yes, in the published paper if I'm right. Then the rest of the studies-- so in
the-- in like-- the correlational data comes from a law firm.           collected that data. The MTurk
studies are the ones that Francesca ran. And the field experiment with working adults is something that
the three of us worked together, meaning that we contacted Survey Signal, which is the company. We
put together a survey. But Francesca was the contact person who collected the data and put everything
together.

[13:25] TERESA AMABILE: OK.

                                                                                                                 4
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 358 of 1282




[13:26]                      : Anything. I don't know--

[13:27] [INTERPOSING VOICES]

[13:27] TERESA AMABILE: And so one thing that you said there, which I think went be a little fast, but I
just want to make sure I heard it right, was that all of the MTurk studies were run by Francesca?

[13:38]                      : Yes.

[13:38] TERESA AMABILE: Yes, OK, OK.

[13:41]                       : So I went back to look at this particular paper and all the data sets and
anything. And, yeah, I didn't collect any of the data personally.

[13:52] TERESA AMABILE: OK, so for none of the six studies did you collect the data? OK. OK. That's
helpful. Bob, Shawn, any follow-ups?

[14:05] SHAWN COLE: I assume you're going to drill in on study 3A?

[14:07] TERESA AMABILE: Yeah, yeah, I'm about to move to that. Thanks. OK, so I do want to focus in
now on study 3A. Do you need me to give you a little reminder about which one that is?

[14:18]                       : Let me-- I just opened up the paper. This is the one that we manipulate on
MTurk, and we have the full model. And we did two studies because I think the second one was-- I'm
trying to see what is the second.

[14:35] TERESA AMABILE: So in study 3A, participants read a story about instrumental networking and
were asked to imagine that they were the protagonist. And study 3B was essentially identical, same
conditions, same three conditions. Except the participants were actually-- they actually engaged in
instrumental networking through MTurk. I think they were asked to send an email to someone--

[15:01]                      : I see. Yeah, I saw it.

[15:02] TERESA AMABILE: --in their network, in their professional network, asking them for a connection
of some sort.

[15:07]                      : Yes.

[15:08] TERESA AMABILE: Something like that.

[15:08]                      : Yes.

[15:09] TERESA AMABILE: So the one that we're interested in is the first one in which they read a
scenario and were asked to imagine themselves in the place of the protagonist of the story. OK, so I'm
going to go through each stage of the research for that particular study. And I'm going to ask you to tell
us to the best of your knowledge when it occurred, who was involved in supervising the activity that I'll
mention, and who was involved in carrying out the activity.

                                                                                                             5
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 359 of 1282




[15:44]                       : OK.

[15:45] TERESA AMABILE: So, first, the conceptualization and design of the study.

[15:51]                      : So these studies, a lot of them, if you look, are similar and similar to the
other paper we had as well. So I'd say the design, all three of us were involved, meaning that we talked
about which manipulation, for example, prevention or promotion we want to use and deciding whether
we want to use like the story that we drafted or created early on for the other paper. So I'd say all three
of us were involved in terms of designing and teaching through the design.

[16:23] TERESA AMABILE: OK, can you approximately place that in time, when that design, the
conceptualization and design conversations might have happened?

[16:38]                     : These are newer studies, meaning that I'd say these were earlier-- I don't
know, 2017 or '18, honestly, these studies, or even later. Or maybe one of them is even later. Because I
think one of them we may have added because of the review process.

[16:58] So, again, I can look back and see like if I have in any of my emails the exact time. But I'd say
definitely there was a gap of two or three years from the early Italy, Italian sample, or even the law firm
data and these. Both the correlation study, I remember, for example, study 1, correlational study, this is
a rerun that we reported here. She ran an earlier study. And this is a rerun that we added later. So I say
time-wise, this is later, 2018 or so.

[17:31] TERESA AMABILE: OK, and,               again, it sounds like if we wanted to follow up and ask you
to look for emails if you could place it more specifically in time and even share those emails with us
where the study was being designed, that's something you'd be willing to look for?

[17:48]                       : Probably. Again, I think one challenge is that, as you could imagine, we
have different versions of this paper. And study 3A or 3B, whether-- right now it's called 3A and 3B. It's
possible we have a version-- because, obviously, getting to JPSP. But I remember we sent it to AMJ, got
rejected, and to Org Science.

[18:05] So it's possible it was called a different study then. So I, again, have to very much really look to
make sure it's the same study. But the ideas, I'm sure-- yeah, I mean, I'll be more than happy to look
more into it if you have a specific question.

[18:21] TERESA AMABILE: But it sounds like, as far as you can remember, this was added after the
review process had started, after it had initially been submitted to whatever journal--

[18:30]                      : I'm not sure. For JPSP, I'm not sure. It's possible that this was before even
initial submission to JPSP, which I could easily figure out because I have the file for initial submission, if
you want to.

[18:41] TERESA AMABILE: You have the file for the initial submission to JPSP, but not the very first one,
which may have been like AMJ or something?

[18:47]                       : I do have those.

                                                                                                                 6
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 360 of 1282




[18:48] [INTERPOSING VOICES]

[18:48] TERESA AMABILE: Oh, you do have those as well?

[18:49]                       : I do.

[18:50] TERESA AMABILE: OK.

[18:50]                       : If you actually are interested, I could look and see when I-- we submitted
to AMJ, whether this particular study is part or not. But, yeah, I could look into it. If I am right, I could
actually just confirm that I most often, when I submit or do an initial submission, I try to at least save the
draft that we submitted.

[19:10] This one, I think it's Francesca who led. So usually, at least that's my common practice, that we
share the final draft we send to the co-authors. So I imagine that I should have a copy of like the
submissions.

[19:25] TERESA AMABILE: OK, OK, and can you say-- I guess I should have followed up on the earlier
question with this. How were you involved in the writing, the drafting of the paper and the revision? It
sounds like the paper went through many revisions with perhaps studies being added along the way.
Can you describe how you were involved in the writing, drafting of the paper, revisions of the paper?

[19:55]                        : So both, like this paper and the other paper, all of us, in a sense,
contributed equally, which means that any of the papers, with both papers, we say the order of the
authorship is-- I don't know-- based on last name or first name, which means that we were all closely,
you know, collaborating and like revising the write-up or whatever, the theory part, all of them, I mean,
all of us, honestly, the three of us. So I say, again, going back even in the paper, it says it's really authors
contributed equality for sure. For writing and all that, we did it, yeah.

[20:34] TERESA AMABILE: OK. And now, I'm assuming that would have involved conversations about the
paper, conversations about the different studies, the order in which to present them in the paper, the
story you're going to tell--

[20:48]                       : Yeah.

[20:48] TERESA AMABILE: --conversations and then actually drafting. Different people might have been
responsible for drafting different pieces of the paper? Is that how you would work as a collaborative
team?

[20:59]                       : Yes.

[21:01] TERESA AMABILE: Thank you.

[21:02]                       : OK, so the next stage of the research is data collection. Again, for study 3A,
can you tell us to the best of your knowledge when that might have happened and who would have
supervised it and who would have actually carried out the data collection activity?


                                                                                                               7
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 361 of 1282



[21:22]                       : So in study 3A, I actually went back, and I don't have the Qualtrics survey
shared with me. So Francesca collected that data, supervised the data collection, collected the data,
analyzed the data, and wrote up this study. So I didn't have access to the Qualtrics survey. I could--
based on the drafts of the paper, I could figure out what time, which year it was collected, obviously. But
that would be something that I have to look and find what data set it is and like, based on my email
records, in a sense, find the year.

[22:01] But I don't have access. I double checked my Qualtrics account. I don't have access to the
Qualtrics survey or the data. I only have-- after paper got published or maybe before, I can't remember,
but sometime we put everything on OSF-- I think Francesca did-- which is the data set that is there.

[22:19] So I don't have a separate record of the data beyond what is on OSF. I checked my folder to see
if I have the data set. And the only data set that I found was-- if I'm right, for a different study like that I
analyzed. She asked me to double check, I think, the numbers or something like that. But this one I
didn't have access to.

[22:42] TERESA AMABILE: OK, thanks. What about-- and so it sounds like you said she supervised the
collection of the Qualtrics data. Do you have any idea who was involved in actually carrying out the data
collection?

[22:59]                        : So it's an MTurk study. You mean who posted it online?

[23:02] TERESA AMABILE: Yeah, who posted it online?

[23:07]                    : I don't know. I don't necessarily know. Because I know Francesca,
sometimes she has RAs, sometimes not, or things like that. So, honestly, I don't know if she had an RA
that was responsible in managing.

[23:21] I did not communicate with anyone. Because there are, for example, even like right now faculty
at HBS that I'm working with that I know they have a full-time RA, and their RA is cc'd in the emails, and
we communicate. These data collections, if she was asking an RA to do it, she did it on her end. I don't
have anyone else involved as far as I know.

[23:44] TERESA AMABILE: OK, it sounds like you were not in that email loop.

[23:46]                        : I wasn't. No, I wasn't.

[23:49] TERESA AMABILE: What about data cleaning?

[23:51]                       : Nothing. So as I said, I didn't have access to the data at all. My recollection
is that she ran the study, and then, for example, she said it worked out. We found support. And then she
wrote up the study and shared with us the draft or something like that. So I didn't have access to it.

[24:12] Obviously, the data is on OSF. I could check and see if-- I mean, if anything, like I didn't have
anything separate in my own folder, so which means that probably-- I wasn't-- I didn't have, like, the
data shared with me really in advance. So I have the final say, which is this data that's on OSF, so which
is-- I mean, that's like what I have.


                                                                                                                   8
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 362 of 1282




[24:39] TERESA AMABILE: OK, OK. And data analysis, I believe I heard you say earlier that Francesca did
the data analysis.

[24:47]                       : Yes, I think this particular project, if I'm right, there is only one study at
some point that, like, the data was shared. And maybe two studies, actually, it looks like I have the data
from the law firm, at least part of it or maybe an earlier version of it that I basically like had access to.

[25:14] TERESA AMABILE: OK, but not 3A, not study 3A?

[25:18]                       : Not 3A. Not the Italian. I actually checked. I don't have any of the other
data sets, no. I mean, the only thing is that the Survey Signal data, apparently, it looks like I have the
data for that study, like study-- what's it called-- 5 or 6-- if I'm right.

[25:33] TERESA AMABILE: OK.

[25:34]                      : That's when I have a separate record. And that's-- I don't know if that's
online available or not as well, honestly. But this is the only data that I have, yeah.

[25:42] TERESA AMABILE: OK. And in terms of reporting the data in this, for 3A in the submitted and
then, subsequently, the published versions of the paper, I think I heard you say that Francesca would
have drafted-- done the first draft of the write-up of 3A and shared it with you and       . Is that
correct?

[26:02]                       : Yes.

[26:03] TERESA AMABILE: OK. And data posting on OSF?

[26:08]                       : So if I'm right, I think she managed it. She basically posted or asked
someone to post but--

[26:16] TERESA AMABILE: She being Francesca?

[26:17]                       : Yes, Francesca.

[26:19] TERESA AMABILE: OK, and again, a sense of the time frame in which that would have happened?

[26:25]                       : I think that there should be a timestamp on the upload, correct? I can--

[26:32] TERESA AMABILE: There probably is. Yeah, there probably is.

[26:34]                       : Yeah, yeah, I think there is.

[26:36] TERESA AMABILE: It must be. And my guess is that-- I think that typically would happen either
when the paper is submitted or when the paper is published.

[26:45]                        : So right now the date created is on April 13, 2020, which I imagine is-- it
looks like it's after the paper got conditionally accept or accept. That's like my recollection. I have to say-
- and maybe I should-- I mean, I don't know if I have to say, but like as you guys probably know, like we,

                                                                                                                 9
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 363 of 1282




over the years, we have changed our practices, meaning that right now I-- like we, even for initial
review, like the first submission of the paper to any journal before even rejections, right now like the
past three or four years, every paper I submit, I already upload the data. So I think this is an older
project, which means that when the paper got conditionally accepted or something like that, we went
ahead on a public-- and, like, uploaded the data.

[27:35] TERESA AMABILE: Yeah, and we within the committee have talked about how practices in these
particular journals--

[27:39]                       : Exactly.

[27:40] TERESA AMABILE: --which I'm more familiar with than Shawn or Bob. We've talked about how
those practices have changed in recent years.

[27:46]                   : Yes, exactly. So my point is that, yeah, I think this is probably, really a final
round where we uploaded the data.

[27:55] TERESA AMABILE: OK, OK. So I've just done question 3 with all its sub-parts. Bob and Shawn, did I
miss anything? Or did you have any follow-ups on any of that?

[28:08] BOB KAPLAN: I'm good. Good set of answers. It's clear.

[28:11] SHAWN COLE: Just checking-- so when you submitted papers back then, the journals did not
require you to submit copies of the data, no?

[28:17]                       : No.

[28:19] TERESA AMABILE: Bob, I think you may have put on your headset, but not changed your audio
source. Because when you spoke a minute ago-- oh, your microphone was on top of your head. That's it.
OK, thank you.

[28:31] OK, so            could you please tell us who, if anyone, might have had access to the data and
the ability to modify it at each of those stages of the research that I went through, besides the
individuals you have mentioned? And I guess, if I remember right, the only individual you've mentioned
is Francesca for this study 3A.

[28:58]                    : For study 3A, yes, I don't think it was shared with        as well. Because I
imagine it would have been shared with both of us. And I don't think-- yeah, I don't think it was shared
with either one of us.

[29:12] TERESA AMABILE: OK, and is it true that you simply don't know about the extent to which the
data might have been shared with RAs or doctoral students or others in Francesca's lab at the time?

[29:24]                      : For sure, I have no-- yeah, I have no idea who helped her like-- yeah, it's
possible she have had full-time RAs or others that helped her either post the study, like cleaned the
data, or even write up the initial draft, frankly. I don't know.



                                                                                                             10
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 364 of 1282




[29:42] TERESA AMABILE: OK, thanks. Follow-ups, Bob or Shawn? You can just shake your head or-- OK,
it looks like they're both saying no, no follow-ups. OK, thank you.

[29:52] And now,            could you please tell us to the best of your knowledge whether and how the
data set for the study was modified at any point or points between initial data collection and final
posting of the data set on OSF?

[30:12]                       : So, I don't have access to the Qualtrics survey, which, presumably if that's
the raw data, correct? So I don't have access to it. And I never had access to, again, raw data or any
other version of it. The only thing that I actually even had access is the OSF file. Of course, I don't know if
there is any difference between presumably an earlier version compared to the last version, which is the
OSF file. So to best of my knowledge, there shouldn't be any difference, correct? So I don't-- I mean, I
haven't seen any other version of this, as I've said, that I've seen.

[30:56] TERESA AMABILE: Thank you. It looks like Bob has a follow-up.

[30:58] BOB KAPLAN: Yeah, it's just to corroborate really what you've said, but implied that there was no
discussion, email, or chatter among the three co-authors that there were some issues with the original
data that needed to be somehow worked on?

[31:19]                        : No. The only thing I remember, generally, we may have had a discussion.
Like the field data collection was a big one that we had discussion about generally how to collect that
data, honestly. This study, I can't-- I don't think there was a discussion.

[31:37] TERESA AMABILE: So,               if-- it sounds like you don't recall any discussion of, you know,
maybe problems, some of the MTurk participants were not responding in the way that was intended or
something like that? Is it the case that you don't recall, or you're confident there weren't any such
issues?

[32:10]                       : Good question. So I don't recall, I mean, honestly that there was a
discussion. Having said that, again, I can't say 100%, meaning that-- yeah, so, again, to the best of my
knowledge like with high, whatever, I don't-- again, I can't be 100% certain. But I don't think we had a
discussion about anything.

[32:49] And if anything, generally, like the standard is if there were presumably filters in the study or
manipulation checks or exclusions, I imagine it should have been reported in the paper. And that's like
the standard practice. If you have to like really just say some people didn't respond to the prompt and
they were excluded, I imagine it's in the write-up.

[33:12] TERESA AMABILE: So when you say filter, you mean, for example, an attention filter--

[33:15]                       : Attention check, yeah.

[33:16] TERESA AMABILE: Where there's a check like, you know, how many cars are in this photo or
something like that?

[33:22]                   : Exactly. Those, anything like that, again, if it's in the beginning of surveys,
sometimes people don't report because it's just not-- it's not letting people to get in. But if it's later and

                                                                                                            11
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 365 of 1282




you are excluding, like the standard practice says now you report all that. So my assumption is that if
there was a filter like that probably we had, we already-- like we reported it in the text.

[33:44] TERESA AMABILE: OK, thank you. If you did have any discussions like that, on the order of, oh,
gosh, should we toss out participants who did this thing or that thing, would those discussions have
been by email most likely or would you and your co-authors or you and Francesca have hopped on the
phone?

[34:05]                       : No, I mean, we didn't have phone conversation, if I'm right, about this one
or even other projects often. I think we usually do them through email. And my sense is, again, this is an
older project, which makes it a bit difficult, meaning that things have changed really. As I said, like the
past couple of years, now for me, any data collection I'm involved, I make sure that I have a copy of the
Qualtrics survey and a lot of things, correct? But, again, this is older.

[34:34] But I feel like often what we do, if there are serious issues with a study, we rerun a study. Yeah, I
think that's-- unless we report something that's been excluded or something. But, often, we rerun a
study if there are issues and we have to really fix those issues.

[34:53] TERESA AMABILE: OK, that's helpful. Thank you. Shawn, Bob, any follow-ups now? No? OK, it
looks like they have no follow-ups.

[35:03] All right, so at this point,      we're going to have Alain do a little screen sharing so that we
can show you some of what we've seen in the data. And I'll want to ask you some questions about that,
OK? So we'd like to show you some discrepancies specifically that we discovered between the data set
on Francesca's computer and the data set that was posted on OSF. And the latter, of course, underlies
the analysis included in the published paper.

[35:39]                      : Sure.

[35:40] TERESA AMABILE: So first, in this table that I think is going to be labeled Table 1, Alain, if you
could do a screenshare of that and pull it up. OK, so this is a comparison,           between the data set
from Francesca's research records on her computer and the data set that was posted on OSF. And you
can see that the OSF data set, which is essentially underlying the analyses that are reported in the
paper, has the means in the expected and reported direction for study 3A, that is, prevention focused
being notably, by far, the highest, and the promotion focused condition being notably and largely
lowest. And this is, as you'll remember, the dependent measure here is feelings of impurity.

[36:54]                      : OK.

[36:55] TERESA AMABILE: OK? When we computed means for these conditions from the data set on her
computer, as you can see, they're directionally flipped. The lowest is now the prevention focus
condition. And the highest is now the promotion focus condition. So that's one discrepancy.

[37:20] I would like to show you some other discrepancies that we noted. And then I'll ask you to
comment. But Bob, did you want to clarify something here?

[37:35] BOB KAPLAN: Yeah, what you're about to show is not another discrepancy, but to understand
the source of this discrepancy.

                                                                                                          12
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 366 of 1282




[37:42] TERESA AMABILE: We're not positive, Bob, that it's the source or the sole source of this
discrepancy. It likely contributed to this discrepancy. Would you say that that's fair to say?

[37:56] BOB KAPLAN: Well, these are means of underlying observations. And so if the means are
different, there are underlying observations that are different.

[38:04] TERESA AMABILE: Right. What we're going to show you next is some observations that don't
match, that should match but don't match between Francesca's data set and the OSF data set.

[38:15]                    : So just a clarification question, when you say her data set, is it the
Qualtrics survey you downloaded, or it's like she had a file with these?

[38:26] TERESA AMABILE: There's a data set that was on her computer that she identified as the data for
this study.

[38:35]                      : OK.

[38:36] TERESA AMABILE: And Alain--

[38:37]                      : And she had those files on it, so she had the OSF file as well as this other
file?

[38:44] TERESA AMABILE: You know, I don't know how to answer that last question as to whether she
had the OSF data set on her computer. I don't even know if we asked her about that.

[38:55]                      : OK.

[38:55] TERESA AMABILE: Alain, I'm going to ask you to put thumbs up or thumbs down, if you could, if
I'm correct in saying that this is the data set that Francesca identified as the raw data for this study,
what we're calling author's data set here?

[39:13] ALAIN BONACOSSA: Yes, I can answer both questions, actually.

[39:16] TERESA AMABILE: Yes, please.

[39:16] ALAIN BONACOSSA: She pointed us to both. So the raw data set is what is the OSF on her local
machine, the author's data set being the data set from Qualtrics. So we-- she pointed us to the survey in
Qualtrics where we then downloaded the data.

[39:37]                      : I see. So, basically, the OSF data set is-- yeah, author data is Qualtrics
survey. Good, thanks.

[39:43] ALAIN BONACOSSA: Correct.

[39:44] TERESA AMABILE: Thank you, Alain. My memory had blipped out on that. OK, so               what
we're going to show you now are two additional tables where there are certain lines of data in the two
conditions that seem like they should match between the two data sets, but they don't.

                                                                                                              13
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 367 of 1282




[40:08] So these are three pairs of observations. And they're paired on the basis of the verbiage that you
see in the essay column, the first one, “Speaking of career aspiration…” and so on. The next row-- the
first row is from the OSF data set. The next row is from Francesca's data set, Francesca's Qualtrics.

[40:40] And you can see that the qualitative responses match exactly. And if you look at the two right-
hand columns, those qualitative responses also match exactly. But as you can see, this is the promotion
condition. The numerical responses for the dependent variable measures are very different on each one
of the measures. And in Francesca's data set, for each of these three pairs of rows, you can see that the
numbers, the ratings on moral impurity, are much higher.

[41:31]                        : Sorry, Alain, like if you have access to her survey, you could see if she had
shared this with us or not, correct? Can you confirm that? Because I checked. And I didn't have access to
it, like to any of these surveys. But I want to just-- you can on your end check, correct?

[41:50] ALAIN BONACOSSA: That is technically correct. We did not check if any of the surveys were
shared. We only downloaded the data as instructed by the-- sorry, by Francesca.

[42:03] TERESA AMABILE: Alain, it strikes me that that question                just asked is a good question
for us, the committee. I think if it is possible to do that, it could be useful for us, very useful for us to
know with whom the Qualtrics data were shared, if they were shared with anyone. Should that be
possible, Alain?

[42:25] ALAIN BONACOSSA: Yes.

[42:26] TERESA AMABILE: OK, great, thank you. So                would you like to spend it a little bit more
time studying this table?

[42:34]                       : No.

[42:35] TERESA AMABILE: No? OK, now we're going to show you a similar table. By the way, this was not
based on an exhaustive search. It was based on one member of our committee trying to just kind of
match up lines of data to see what might underlie the flipping of the means that we saw earlier.

[42:55] OK, so this was the promotion focus condition. And you're going to see three other pairs of data
from the prevention focus in this Table 3 here. And I think you know how to look at this now.

[43:12]                       : Yeah.

[43:13] TERESA AMABILE: I'll give you a minute to study it. But as you can see, the numbers for these
three pairs, the quantitative numbers in Francesca's data set, are all-- I believe they're all ones. Yes,
they're all ones. And except for that very first row of the OSF data--

[43:51]                       : I was going to say maybe the wrong coding, but apparently the numbers
aren't just flipped. It depends on the number.

[43:58] TERESA AMABILE: Right. They're not just-- they're not just flipped.


                                                                                                                14
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 368 of 1282



[44:00]                       : Yep.

[44:01] TERESA AMABILE: And I think in the previous table, we saw many that did look like they could
possibly be completely flipped.

[44:07]                       : Yeah, it's a different coding or something.

[44:09] TERESA AMABILE: Yeah, but not all of them, not all of them, yeah. We looked into that to see if
that could explain it. OK, so I do have a question here. And that is simply, can you explain how such
discrepancies could have arisen? And Alain, I think you can stop the screenshare now.

[44:34]                      : Honestly, no, because I think like it's not that, like, let's say, there are
people who are add-- like deleted, in a sense, correct, or excluded for a reason, which could be one
explanation, as you said. Based on the writing, it's the same person. So, honestly, I can't really, I don't
know.

[45:02] TERESA AMABILE: OK. Bob, Shawn, any follow-up? Looks like no. OK, I'm mindful of the time. It's
almost 4:20. So I'm going to move on to the question in our guide that's question 7. So,          please
understand that we feel we must ask this direct question to everyone we speak to who was involved in
this research. Did you change the data in a way that could have led to these or other discrepancies?

[45:35]                       : No.

[45:38] TERESA AMABILE: OK, thank you. And we're trying to understand the atmosphere in the lab in
which the data for this study were collected. And that clearly is Francesca's lab. Specifically, we're trying
to understand the extent to which people in the lab might have felt pressured or highly motivated to
produce certain outcomes in a study. Can you give us your views on the atmosphere in this lab at the
time the data were collected?

[46:19]                       : So I don't know, as I said, like exactly when the data was collected. But my
very strong suspicion is that it was collected, again, after 2017 or '18, but I was already at Kellogg and
        at Toronto. And none of our-- none of us are students, so we were faculty. So then, so this
question, if you want me to answer, it really goes back to when I was a postdoc or something like that. Is
that what you're asking, broadly or about this particular study?

[46:54] TERESA AMABILE: Well, I was-- we, as a committee, are most interested in at the time that this
study was conducted. But I guess I know-- I mean, I've run a lab since I started as an assistant professor
many, many, many years ago. And I would say that the atmosphere in my lab-- my doctoral students, my
RAs, my undergrads who were working in the research-- was probably pretty consistent throughout.

[47:25] So I guess I would like you to give us your impression of the lab and specifically around whether
you think that those working in the lab might have felt either highly pressured or highly motivated to
produce outcomes of a certain sort, whether or not they were directly instructed to do so. Could you
give us your impression of the lab from-- you were a postdoc, is it, 2012 to 2014? Or is that right?

[47:59]                     : Yes, so, first, I want to say that as far as I understand it, at least the time I
was at Harvard, she did not have an independent lab, meaning that when I was at Harvard,                and


                                                                                                              15
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 369 of 1282



Francesca, and at that point-- who else was there? There were like a couple of other faculty.
joined the program, whatever, the faculty.

[48:25] So there was more of what they called-- what was it called-- not-- what was it called? NON-Lab
or something like that. So, basically, this was more of we would get together every week or every other
week, and we would present earlier stage ideas. And         and Francesca and, I think-- as I said,   at
that point just joined the program. She was there.

[48:50] It wasn't a separate lab she was running, meaning that because right now I run a lab, which
means I have all the postdocs, PhD students, RAs that are working with me. We meet regularly and all
that. What she had at that point, I wouldn't -- I won't call it a lab. Because the lab--

[49:06] TERESA AMABILE: It was a joint-- it was a joint research...

[49:09]                        : Yeah, it was a joint research presentation type meeting. So that's one. I
haven't really worked with her PhD students ever. I have worked with project with her, with PhD
students. But, again, not-- I feel like I can't speak about her interaction with her PhD students much.

[49:34] I mean, that's the other thing I was going to say. Generally, my personal experience, frankly, I--
like I-- it's hard. Honestly, I like-- the idea that there would be some like-- I'm not aware someone else
has an RA or a PhD or someone else was collecting the data or not. I wasn't given that impression.

[50:02] So, again, honestly, I can't speak of that, that someone else had access or was motivated to do
this. I just can't speak of that. Because I wasn't under the impression that someone else necessarily
directly involved like, oh, it's a lab manager. The person is just being on the emails, and he-- whatever,
he or she-- is managing these things. So I don't know if it's really answering your question but--

[50:30] TERESA AMABILE: I think much of what you said has gotten at my question. I guess one quick
follow-up I have is: Did you ever see her interacting-- it sounds like you did not see her interacting with
her PhD students around specifics of how research was being conducted or a particular project. But I
just wanted to make sure I understand that correctly. And I'd like to know also the same thing about
RAs, if you ever saw her interacting with RAs or postdocs who were working on her research.

[51:07]                          RAs, no, I can just-- over the years, and I've done a lot of projects with her,
I can think of one, let's say, data collection, where I was in touch with an RA. The rest, I assume that she
is running the MTurk studies or things like that. If she had an RA or assistant, I'm not aware, honestly,
which I think probably she does. Given how busy she is, I'd be surprised. But I wasn't in touch with
anyone or I'm not aware of that, correct?

[51:38] For PhD students, I think there are two people, like Andrew Brodsky and right now one of her
newer students, Bushra, and maybe I could just look back and maybe there are a couple of other
students that at least I've been on projects with her as well. And generally, I feel like, even in my case, I
don't think we were-- I never got the impression or, if anything, when I was a postdoc or PhD student
that like any pressure to produce honestly. So I feel like at least my personal experience, I don't think
that's been the case really, that I feel like, yeah, things have to work or anything like that. No.

[52:24] TERESA AMABILE: OK.


                                                                                                             16
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 370 of 1282



[52:24]                         : We have had tons of-- like Francesca and I, we've done so many studies, a
lot of them as part of the CLER lab, the behavioral lab at Harvard. And I'd say 80% of them never worked
out, really, the data, like the studies I ran and all of that. So I feel like this is just very common when the
studies don't work out, so, yeah.

[52:48] TERESA AMABILE: OK, thank you. Bob, Shawn, any follow-up? No. OK. We're getting to the end
here.

[52:57]                       : Sorry.

[52:57] TERESA AMABILE: Close to the end. On this one, on this study--

[53:00]                       : Yes,

[53:01]                      : Sorry, and I think maybe Alain-- because I want honestly, now that you
shared this-- I want to double check everything. Alain, can you check and see-- at least send me the
name of the Qualtrics survey you are, you are referring to, which is the data downloaded so I'll check all
my records as well as my-- anywhere to see if I had ever access to that Qualtrics survey?

[53:22] Because I'm just curious. I mean, at least to my knowledge, when I check my account, when I
checked her name, all the Qualtrics surveys she has shared with me, I didn't find anything about this
project. But I want to just make sure. Just if you send me the name, that would be helpful so I could
check my emails and see if I ever, besides the OSF, ever this data file was shared with me or not.

[53:46] ALAIN BONACOSSA: Yes.

[53:47]                       : Thanks.

[53:48] TERESA AMABILE: Thanks, Alain. OK,             are you familiar with           who was
Francesca's research assistant at the time that the data were collected? The first name is                And
the last name is               .

[54:12]                      : Not really. So there-- I feel like, if I'm right, like maybe for a different
project we were doing some-- I don't know, so like-- so I remember like over the years, there has been a
couple of times that I've been in touch with her RAs and maybe like for data coding. So that's the only--
and I don't know.

[54:48] Now that you've said the name, I can't even recognize the name. But my point is that I knew that
I had some interactions with different RAs when we did some coding for different projects. So it's
possible I had interaction with him at some point. But, I mean, when you said, I can't even recognize the
name right now on top of my head.

[55:06] TERESA AMABILE: OK. So we might ask you to just kind of do a search in your emails at some
point if you--

[55:14]                       : If you send me...

[55:14] TERESA AMABILE: Pardon me?

                                                                                                            17
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 371 of 1282




[55:15]                        : If you send me the, whatever, what's like-- it's the ID, I could do it right
now. Is it              -- or what's the--

[55:24] TERESA AMABILE: No, it would be                 .

[55:27]                        : H-E, oh.

[55:29] [INTERPOSING VOICES]

[55:31] TERESA AMABILE: Just first initial, last name. And the last name-- the first initial is . And the last
name is spelled      .

[55:40]                        :

[55:44] TERESA AMABILE: Oh, you're doing the search right now?

[55:46]                        : Yeah. Sorry, at HBS, correct?

[55:49] TERESA AMABILE: Yes.

[55:52]                      : Yes, I have a first email from 2018 where we made an IRB application, and
she put me in touch to do for a code of conduct paper. Then we had some coding for a project on our
[inaudible] of Shark Tank that he did help us with coding.

[56:09] TERESA AMABILE: On what? On what?

[56:10]                         : We were coding Shark Tank videos for something. And        helped us with
that. Two projects and then-- it looks like these are the only two projects. So I have a bunch of emails,
but I did put IRB or the titles are "code of conduct IRB" and the rest of the emails are from 2019. This is
2018. 2019 and all the emails are Shark Tank coding, video coding, done, yeah.

[56:42] TERESA AMABILE: Shark Tank video coding, OK.

[56:44]                        : And the last email on that is from 2020. Like it looks like November 2020--
oh, no, sorry-- yeah.

[56:55] TERESA AMABILE: November 2020, but that was on the video coding.

[56:58]                     : No, sorry, I'm wrong. The last email from him is November 2019, yes.
shared with us the coding of the data set.

[57:11] TERESA AMABILE: OK, all right, thank you. So we're wanting to know-- and we have to ask this
question-- if you think anyone-- anyone who might have had access to the data to your knowledge, is
there any reason to believe that anyone would have changed the data of their own accord or at the
direction of Francesca in a way that would have produced the anomalies that we've shown you?

[57:39]                        : No, I-- again, as I said, I didn't know if anyone had access or-- yeah, no.

                                                                                                                18
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 372 of 1282




[57:46] TERESA AMABILE: OK, so second to last question I have-- and Bob and Shawn, I'm not seeing you
raise your hand or anything for follow-up, so I'm going to go on. At any time during or after the research
in this paper was being done, written up, or published, did you have concerns about the integrity of the
data? And if so, of course, we'd like to hear about those concerns and how they arose.

[58:17]                     : No. I wasn't, yeah, I think-- yeah, I think the first-- Alain, he emailed me.
And I had the conversation. He mentioned something about this particular paper. Before that, no.

[58:31] TERESA AMABILE: OK.

[58:33]                       : And I have to say maybe it's not, but, again, for the purpose of this, like
given that for this project we collected over the years, multiple sources of data, I feel like it's just strange
because like we have the data from law firms. They have the experiments, MTurks, and we have the
field data. So my point is that we had so much evidence that I'm-- yeah, I just felt very confident about
the paper, which is now I don't know how to feel about it, but--

[59:06] TERESA AMABILE: OK. You've told us a lot. But is there anything else we should know as we try
to determine whether research misconduct occurred with respect to study 3A in this paper and, if it did,
who might have been responsible?

[59:24]                        : No, I don't have much information. But I can do it, if Alain shares that
survey, to see if I have any record of discussion about that particular study somewhere, correct? I mean,
if you want to, I could just look at different versions of the paper to see when-- like what's our
communication about that particular study. I'd be happy to do that but--

[59:52] TERESA AMABILE: OK, well, thank you. Thank you for your willingness to look and to share more
about this study with us. Was there something you were about to say when I started speaking just now?

[60:03]                      : Oh, no, I was going to say that, I mean, this is more of like curiosity, but
like did you guys randomly select this study? Not honestly, as you know, like I'm worried about this
paper and everything. Like is it just a random selection of this particular study or should just feel awful
about all the data, which I'm just now feeling that way?

[60:26] TERESA AMABILE: Oh, I could understand how I would be feeling if I were in your position
          I don't know that I'm at liberty to share that information with you. But I'll check on that in the
break that we're about to have. And I'll let you know when we come back. So let's call break of between
5 and 10 minutes and the length of the-- oh, let me first of all ask, Bob, Shawn, at this point, do you have
any follow-ups? No?

[60:57] BOB KAPLAN: No, I think-- I think we should give              and ourselves a little break.

[61:01] TERESA AMABILE: Yeah, well, that's what I was just doing. So let's say 5 to 10 minutes.
Alma is going to put you into a breakout room, and she'll put the rest of us into another breakout room.
And I'm sure everybody needs a bio break at this point.

[61:18] But then we, the committee, will just have a very brief conversation to see if there's anything
else we'd like to talk about study 3A and the 2020 paper. And then we will go to the other paper that

                                                                                                              19
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 373 of 1282



Alain told you we'd want to talk about.            let me just ask you about your schedule. I know that we
scheduled this unti-- I guess it's 4:00 PM your time in Chicago, is the scheduled end of this. Do you have
any flexibility?

[61:48]                     : So there is like a Kellogg PhD student reception. So I could stay probably
10, 15 minutes more. But then I have to get there because it's a ceremony and I'm the PhD Director, so--
but, yeah, 10, 15 minutes could be fine.

[62:02] BOB KAPLAN: Yeah, that's understandable. And you should go there.

[62:05] TERESA AMABILE: Thank you. OK, we'll see you in 5 to 10 minutes. Thank you. Yeah, I'll stay on
until we're in the breakout room.

[BREAK]

[62:50] TERESA AMABILE: Hi              Are you at least slightly refreshed?

[62:54]                       : Yes, I was just checking my emails, yes.

[62:57] TERESA AMABILE: OK, so we're going to talk now about the 2015 Psychological Science paper
that you published with Francesca and                  , OK? So you will see that my questions are almost
identical to the questions that I marched through on the other study. And I'm going to abbreviate the
questions in the interest of time. But if you want me to elaborate the full question, by all means. So first
of all, could you tell us how you came to be involved in this research project that resulted in this
publication?

[63:37]                      : So this is actually a project that's a bit different from other projects,
meaning that a lot of work I've done with her has been like ideas or with people that we started like the
project from day one together. This is really, again, maybe one of-- I can't remember if there is any other
project, maybe one other, that I-- when I was at Harvard as a postdoc or right before joining, she said
that they had like-- because I was interested in authenticity.                    and her have a project that I
think they even had submitted an earlier version to Psych Science that got either reject re-submit or
rejected or revised that they wanted to just really like-- they wanted to just basically work on.

[64:31] And they asked me if I'd be willing to join. So when I started, part of the data was already there
and a draft of their write-up and all that. We ran-- or like she ran a couple of studies afterwards. And I
think I may have helped. I have to look. But, generally, again, this study, the project was already-- I don't
know-- let's say half done when I joined.

[64:56] TERESA AMABILE: OK, so do you remember the year or years? I'm interested in, again, in the
chronology of your involvement in the research reported in this paper. It sounds like maybe-- I think
there are five studies in this paper, something like that. Maybe half of those, maybe two or three of
those studies you think were done--

[65:18] [INTERPOSING VOICES]

[65:20]                     : I think I could look into it and I obviously should have because I assume
they shared with me a draft of what they already had so I could really look and see how many papers

                                                                                                            20
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 374 of 1282




they already had. But my sense is that I think it started apparently 2013, at least what I have here. Is it--
sorry, let me show if it's correct project. Yes, so I think it looks like my involvement is really somehow
somewhere in 2013 that it started.

[66:01] TERESA AMABILE: Your involvement in it?

[66:03]                       : Yes, my involvement.

[66:04] TERESA AMABILE: OK.

[66:05]                        : And-- am I right? Sorry, I think I may be actually wrong now that I look at
it. I have an older version-- no, so my--

[66:29] TERESA AMABILE: You know, rather than having you trying to puzzle this out in your files right
now, I think I will ask Alain if he could follow up with you. When you've got more time, you can--

[66:39]                        : OK, so what I can say is that I probably joined 2012. I have versions of the
paper that is only         and Francesca which are from 2010, where they had drafts submitted to Psych
Science with a response from editor, which is from 2010 and all that. So, basically, like, for example, a
letter from September 20, 2010, which is the response letter that             and Francesca sent them. So my
point is that I joined the project when there was already an older version of studies. And then,
obviously, as part of the review process, I think we collected some additional data. But the idea, a lot of
the studies were already there.

[67:24] TERESA AMABILE: OK, so the basic concepts for the paper predated your involvement?

[67:29]                       : Yes, yes.

[67:30] TERESA AMABILE: OK.

[67:30]                       : So any follow-ups Bob, Shawn? I'm just going to press on.

[67:34] BOB KAPLAN: No, just keep going.

[67:35] TERESA AMABILE: OK. So we're interested particularly in study 4 in this paper. And that is the
one-- this is the study with Harvard undergrads who were asked to write an essay about the inclusion of
difficulty ratings in the Q Guide, which is a guide to courses that the students themselves publish. This
study showed that, quote, "inauthenticity is not dissonance, in addition to showing that inauthenticity
leads to a greater desire for cleanliness." Does that refresh your memory about--

[68:12]                    : Yes, this is a study that we ran for the revision. So I think I was already part
of the team when we ran this study.

[68:22] TERESA AMABILE: Thank you. OK, so for this particular study, study 4 in this paper, I'll go through
each stage of the research and ask you to tell us to the best of your knowledge, as I did in the first study
we talked about, when it occurred, who was involved in supervising that part of it, and who was
involved in carrying it out. And if you don't know, just say you don't know. The conceptualization and
design of the study?

                                                                                                           21
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 375 of 1282




[68:50]                     : This particular study-- it was mostly Francesca, but I think we all had
discussion about, whatever, the cognitive dissonance manipulation or something like that. So, again, we
had conversation how we can create these manipulations.

[69:05] TERESA AMABILE: OK, and am I correct in assuming that when you say conversations you mean
exclusively email or almost exclusively?

[69:13]                          : I say mostly emails. Maybe there were some conversation that was phone,
or, like, I think it's the time that-- I'm not sure if this is a study I was actually-- like really at Harvard. The
reason-- I remember this study, that I think Francesca took the lead and did most of it. Because for the Q
Guide, like even though I was a postdoc, I have no idea what Q Guide was.

[69:37] So the design of the study, it's a lot her because, I mean, the context, if you look at it, is very
much undergraduate at Harvard, which the person has to have knowledge about it, correct? So I think
she took the lead to do like the study design, most of it, again, the more details of this study. The whole
idea that if you do a three condition, one could be like a dissonance condition that we show is different
from the inauthenticity is something that the two of us discussed. But I think the design and how-- what
prompt people are going to see and everything, it was things that she did.

[70:13] TERESA AMABILE: OK, what about data collection?

[70:16]                        : Like she did all the data collection as well.

[70:19] TERESA AMABILE: OK, and you don't know who else might have been involved in that?

[70:22]                       : No, again, I looked. I didn't have access to the survey. I don't have access
to the survey. And I didn't have access to the data. And I don't really have, honestly, even a record of the
data. Apparently, I haven't even downloaded it from OSF. So I don't even have the data. Because I know
part of the data are on OSF. But I don't have it in my document folder for the paper.

[70:46] TERESA AMABILE: OK, could you estimate approximately what year, months this happened? The
data collection happened?

[70:53]                      : I don't know why I feel like it was summer, just recollection. I can actually
look my emails and try to identify--

[71:02] TERESA AMABILE: You know, let's skip that part for now.

[71:05]                        : Yeah, sure.

[71:06] TERESA AMABILE: Yeah, data cleaning and data analysis, time frame or who would have
supervised it, who would have done it?

[71:16]                        : I actually have it. So I think in August 2014, she sent us a document that is
the design says, oh, we could run this, and I'll submit an IRB. And then in August-- like whatever. By,
again, 2014 apparently in September, she said she's just, whatever, starts working on it and collecting
data analysis. It should be in 2014.

                                                                                                                22
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 376 of 1282




[71:42] TERESA AMABILE: OK, it sounds like that was about the time that you moved from Harvard to
Northwestern?

[71:47]                       : So I moved-- so I moved earlier. And my last year at SAFRA in, whatever,
2013-14, I was more of like-- my husband was in Florida. So I was really -- I spent '12 - '13, like the full
year, I was-- I had a condo, and I was at Harvard all the time.

[72:07] But 2013 and '14, I was mostly in Florida. So I would just come-- I don't know-- every other
month, few months or-- so I wasn't really that involved. And in June, I actually moved to Chicago. So I
wasn't-- yeah.

[72:23] TERESA AMABILE: OK, thank you. And reporting the data in the submitted and published
versions of the paper?

[72:30]                       : She collected the data, wrote up the study, and all that.

[72:37] TERESA AMABILE: OK, and data posting --

[72:37] SHAWN COLE: When you, when you --

[72:38] TERESA AMABILE: I'm sorry, Shawn, go ahead. Yes, please.

[72:41] SHAWN COLE: Can I follow up and just say, when you say "she," do you mean that you think it
was just her, or do you imagine that she was--

[72:48]                       : I don't know.

[72:48] [INTERPOSING VOICES]

[72:48] SHAWN COLE: --working with RA's and others? You don't know.

[72:50]                        : I don't know. I assume, honestly, any of these projects, that there is a
chance that there was an RA or someone that was helping, but we weren't-- like, for example,             ,I
looked. Like for this project, I wasn't in touch with someone. I told you, for example, for the coding, if I
was ever in touch with someone, I have an email record. But for this one, even like she says, oh, I'll just
send it, like submit the IRB. So if there was an RA, I was-- she or he wasn't part of our communication, so
I don't know.

[73:21] TERESA AMABILE: Does that get at your question, Shawn? OK, great. And what about data
posting on OSF?

[73:28]                       : Same. I think she did like all the data posting herself.

[73:34] TERESA AMABILE: OK. So I-- this is a question about who, if anyone, besides Francesca, to your
knowledge, might have had access to the data and the ability to modify it at each of those points in
time, from data collection until data posting on OSF?


                                                                                                               23
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 377 of 1282



[73:55]                      : I don't know.

[73:58] TERESA AMABILE: You don't know of anyone, is that correct?

[74:01]                      : Yes, I don't know of anyone.

[74:02] TERESA AMABILE: OK. So please tell us to the best of your knowledge whether and how the data
set for the study was modified at any point or points between initial data collection and final posting of
the data set on OSF?

[74:18]                      : Again, I'm not aware of any version in between, basically.

[74:25] TERESA AMABILE: OK, OK, to go on, Bob and Shawn? OK, we want to show you again some
anomalies in the data. Oh, and by the way,            I can let you know that these studies that I'm asking
you about, allegations about research misconduct or possible research misconduct in them, were
brought to HBS. And Bob and Shawn and I were the senior faculty committee appointed to look into
them. The university has to look into any allegations that are brought forward. So it wasn't a search that
the university did or that we did.

[75:03]                      : So particular studies were flagged and you are only looking at those
studies.

[75:07] TERESA AMABILE: Exactly.

[75:08]                      : Not like other data sets than these, necessarily.

[75:11] TERESA AMABILE: Exactly, exactly, OK. So Alain is going to again screen share a table that I'm
going to describe in just a minute. So there are some apparent anomalies in the data set posted on OSF.
So that's what we're going to be looking at is the data set posted on OSF. So Alain, could you bring up
that table 1 for this study? This is allegation two as we call it.

[75:42] OK, could you make it just a tiny bit bigger without obscuring-- you may not be able to do that.
OK, thank you. Thank you. So in this table, all 20 of the subjects in the yellow highlighted rows gave the
incorrect answer of "Harvard" to the background question about year in school. And note those are,
they're all highlighted.

[76:13] And in this data set, which has 491 subjects, these 20 rows all appear quite close together,
basically within 34 or 35 rows of the data out of 491 rows. These peculiar Harvard responses all appear
closely clustered together. A further anomaly is that all of these same 20 subjects gave a non-Harvard
email address, while virtually all other subjects gave a Harvard email address. And finally--

[76:52]                      : Sorry, this isn't on OSF because the OSF doesn't have email. So the data
you downloaded again--

[76:59] TERESA AMABILE: Ah, yes, the data we, the data we downloaded from Francesca's computer.
That's where we discovered the email thing.

[77:05]                      : OK.

                                                                                                          24
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 378 of 1282




[77:05] TERESA AMABILE: Yes, you're right. Thank you for that. Because, of course, the OSF data has to
be--

[77:09]                      : Yeah, I was going to say—you couldn’t know that…

[77:10] [INTERPOSING VOICES]

[77:13] TERESA AMABILE: It’s de-identified. Yeah, yeah, thank you. And, finally-- and this is the most
important part-- it has been determined that these particular 20 data points heavily favor the
hypothesized and reported effects. You see some are in--

[77:32] BOB KAPLAN: Well, I think if you look at the--

[77:34] TERESA AMABILE: Bob, one second. Some are in one condition. Some are in another condition.
But a--

[77:41]                      : But they are--

[77:41] [INTERPOSING VOICES]

[77:41] TERESA AMABILE: A significance test was done on only-- only-- these 20 data points. And it was
highly, highly significant in the predicted and reported direction of the results reported in the paper.
And that's something like p less than 0.000001, I think, so just 20 data points.

[78:04]                      : If you exclude them, there is no effect?

[78:08] TERESA AMABILE: We don't know the answer to that question, but we are working on getting
the answer to that question.

[78:13]                      : OK. And now, Bob, you wanted to interject something?

[78:16] BOB KAPLAN: Yeah, just quickly, if you look under the column, you know, StrongOp, which I think
is the summary statistic on use of cleanliness projects, you see almost all the responses are sevens. I
mean there's an occasional-- one of them is a five. But, you know, it's--

[78:37]                      : But they are different condition, correct? So it depends on -- meaning that,
again, I think--

[78:43] TERESA AMABILE: Yeah, they’re different conditions, Bob. We'd have to go into more detail.

[78:48]                     : I think if you exclude easily, you could see what's the -- what's the effect
without these 20 people, correct?

[78:54] TERESA AMABILE: Yeah, yeah. OK, so can you explain how these apparent anomalies or other
irregularities that might be in the data set could have arisen?

[79:08]                      : No.

                                                                                                             25
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 379 of 1282




[79:12] TERESA AMABILE: OK, here's that question. Please understand that we feel we have to ask this
direct question to everyone we speak to who is involved in this research. Did you change the data in a
way that could have led to these or other anomalies?

[79:28]                       : So you mean I going and completing a survey pretending to be a
participant, correct?

[79:36] TERESA AMABILE: In any way, in any way at all?

[79:38]                        : No, or any way, honestly. But my point is that it looks like this one,
someone presumably went and completed the survey, correct, presumably again. And, no. And anyway,
as I said, I didn't have access to the Qualtrics survey or the link that was posted for the data to be
collected.

[80:00] So I didn't even-- if I'm right, I could double check. But I don't think I ever had a link to the actual
survey to go ahead and even check. And I haven't-- I didn't have access to the data in any point in time
except when it was posted on OSF like anyone else, so no.

[80:18] TERESA AMABILE: Thank you. And again, we're trying to understand the atmosphere in the lab
and whether someone might have felt highly pressured or highly motivated to produce an outcome that
was in favor of the hypothesized effect. Do you have any sense of what the lab was like?

[80:40] Now this was during the time that you were a postdoc at the Kennedy School. And you've told us
about not really being in residence so much in 2013-2014. But did you get a sense of the lab at that
time, the way in which she interacted with doctoral students or RAs?

[81:02]                       : Yeah, so, again, honestly, my personal experience I never felt in a way
pressure to produce or like this study should work out or anything. As I said, I have a-- with her, even--
like a very long track record of studies that never worked out. Even this project, if I look, I just look, open
that, and I see that there are a couple of studies, two or three that we tried, in the CLER Lab or MTurk
with different versions and things worked out or didn't work at each in the paper. But my point is that --
the study, basically what I said in the emails or they said is, oh, the study didn't work. So I wasn't under
pressure of that myself really, in any under pressure that we have to just, whatever, produce or things
should work out, no.

[81:50] TERESA AMABILE: OK. Are you familiar with                  ?              was apparently Francesca's
research assistant at this time.

[82:00]                       : Wasn't she like part of the CLER Lab a postdoc or maybe I'm mixing up--

[82:06] TERESA AMABILE: I believe she actually was part of the CLER Lab. I believe that she was. But it
seems that she may have worked, at least for part of her appointment, as an RA to Francesca.

[82:18]                       : Oh, so I know her. I honestly, I don't know if I met her in person or not.
Because as I said, even when I was at Harvard, I was in the SAFRA Center located-- my office, everything
was there, so I wasn't really-- but I remember her name because I think she was the CLER Lab,
behavioral lab manager, or RA, or someone like that.

                                                                                                              26
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 380 of 1282




[82:43] And I ran a ton of studies through CLER lab. And for that, obviously, you had to be in touch,
complete a form, be in touch, share the survey with the behavioral lab and all that. So her name I
retained because I had been in contact with her about many studies or a lot of studies at that point in
time when she was there.

[83:06] TERESA AMABILE: OK, is there any reason to believe that        would have changed or altered
the data of her own accord or at the direction of Francesca in a manner that would produce these
anomalies? Or would she have had any incentive to do so?

[83:28]                     : To my knowledge, I wasn't aware. So she may have collected other studies
for project through CLER Lab. But my recollection, I didn't even know honestly, now that she said that
she was even an RA to her separately, meaning that if I'm right-- I may be wrong-- But my recollection is
that she was-- the way I worked with her was mostly in her capacity as the CLER Lab, behavioral lab,
manager or RA.

[83:56] So I didn't even know that she collected this data. Because, I mean, Francesca collected this data
outside of the CLER Lab. It wasn't part of the whole whatever studies that would be submitted through
the lab. So if she was involved, then I was never at least--

[84:15] TERESA AMABILE: OK.

[84:16]                    : --my recollection is that all my interaction with her with project for
Francesca were the CLER Lab, whatever, the lab, yeah.

[84:26] TERESA AMABILE: That's helpful. These questions that I just asked about      could this have
been true of anyone else who had access to the data, who might have had access to the data, and that is
changing or altering the data or--

[84:38] [INTERPOSING VOICES]

[84:38]                      : As I said, I wasn't aware of anyone else, which I think probably someone
helped her to collect the data with undergraduates and all that, honestly. But I don't know if there was
anyone involved and if any way, how, or anything like that. So I'm not aware of anything like that.

[84:58] TERESA AMABILE: You referred to a lab earlier when we were talking about the other study. And
you were trying to think of the name of it, the lab that Francesca had with  And you said         I
assume that's                      joined the lab later on.

[85:13]                      : Yes.

[85:14] TERESA AMABILE: Was the other person involved maybe                    ?

[85:18]                      : No,      actually, wouldn't come to that lab. So, again, it was called NON-
Lab If I'm right.

[85:23] TERESA AMABILE: If I remember right, it's N-O-N--


                                                                                                          27
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 381 of 1282



[85:26]                       : Yeah, NON-Lab.

[85:28] TERESA AMABILE: The whole point that none of them have a lab. And it's just PhD students and
postdocs. I mean, few people-- like we would just present ideas as studies and all that. And most
sessions, both      Francesca, and        were there. And I think like 2012 to '13, I was going more
often because I was more in residence. '13 - '14 I think I maybe have attended only one session when I
was in town.

[85:53] But '12 - '13, I was more regularly going to those. And I can't remember if it was weekly or every
other week event. And it was NON Lab. And it wasn't, again, a lab that like-- there weren't-- if I'm right,
there weren't RAs there. No, it was just PhD students and maybe postdocs.

[86:09] TERESA AMABILE: Just PhD students and you as a postdoc and a few faculty?

[86:13]                       : Yeah, there was no RA in the lab. I'm 100% sure.

[86:16] TERESA AMABILE: OK. So at any time during or after the research in this paper was being done or
written up or published, did you have concerns about the integrity of the data? And if so, we hope you
can tell us about those concerns and how they arose.

[86:34]                       : No, I wasn't aware of any concern or anything.

[86:38] TERESA AMABILE: OK, and is there anything else,        that you think we should know as we
try to determine whether research misconduct occurred with respect to study 4 in this 2015 paper and,
if it did, who might have been responsible.

[86:54]                        : That's really, again, you already talked about it, just excluding the
participants and see what happens is-- you know, it helps again. Given that this particular one, like there
are different conditions and the numbers look similar. So it's possible that-- but, again, it doesn't really--
again, it's hard to really say what's the source of that 20 people, correct? So I don't know. But probably
IP address, again, there is a lot of things you can look into I imagine you are doing.

[87:26] TERESA AMABILE: Looking into the IP address, for example, that those rows of data came from.

[87:30]                         : Yeah, things like that or timing, IP addresses or things like that. Because
it's just-- yeah, anything like that, obviously.

[87:38] TERESA AMABILE: Thank you. Bob, Shawn, any follow-ups on this particular study?

[87:47] BOB KAPLAN: I don't have any. I appreciate the answers.

[87:50] SHAWN COLE: Really appreciate your time and recognize you've got to get going to reception.

[87:54]                       : Thank you.

[87:54] TERESA AMABILE: Yeah, you're in charge of the doctoral program. You should probably go to the
doctoral reception.


                                                                                                                28
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 382 of 1282



[87:59]                      : No, I'm good. I have time.

[88:00] TERESA AMABILE:                        yeah, thank you so much. Let me just, since you have
some time, I'm going to see if Alain or Heather, could you raise your hand electronically? Or Alma, if you
think that there's something we didn't do right here or something that we haven't done that we were
planning on doing?

[88:22] ALAIN BONACOSSA: Nothing for me.

[88:25] TERESA AMABILE: And I'm not hearing anything or seeing anything from Heather or Alma. So I
think we're good.        again, thank you so much--

[88:34] BOB KAPLAN: Yeah, thank you.

[88:34] TERESA AMABILE: --so much for spending all this time with us and being so straightforward.

[88:38]                      : Thank you and--

[88:40] TERESA AMABILE: And for being willing to look into your email records and your documents
further, really appreciate that.

[88:46]                      : Of course, I think if I can-- like, if you have any other questions, again, I
could obviously look into things. And I imagine hopefully, at some point, you are going to give me sort of
an update. As you could imagine, again, except my husband, I haven't had any conversation with
anyone, which-- but it's very hard, honestly seeing this on-- so, yeah, anything you can share with me
later, I'd very much appreciate it. Because, I mean--

[89:13] TERESA AMABILE: We're in the same boat, you are, in terms of not being able to talk to anyone
but each other about this. And it's hard. But        I'm afraid that we cannot ourselves give you an
update. I don't believe that we are going to be empowered to do that. And Alain--

[89:33] BOB KAPLAN: Yeah, Alain would be the channel of what is admissible--

[89:37] [INTERPOSING VOICES]

[89:37]                        : No, I know, but Alain, is there like an expectation that-- but, honestly, I
don't know what's-- I know that Alain said that it's a sort of internal investigation whether HBS and
Harvard. And I don't know what really that means. Is it like-- I don't know, like something is going to-- if
something is going to happen, I hear about it or-- I don't know. As you could imagine, especially the first
study, that's just-- I don't know-- very hard to even see, frankly.

[90:11] ALAIN BONACOSSA:             and the committee, I think these are questions about the process
that I am happy to follow up,          with you directly and answer any questions you may have about
process, outcomes, options. So I'm happy to do that outside of the committee meeting.

[90:26]                      : For sure. No, that would be helpful to just know a bit like so I can actually
sleep.


                                                                                                           29
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 383 of 1282




[90:32] TERESA AMABILE: And then you sent             a copy of our policy?

[90:35] ALAIN BONACOSSA: Yes.

[90:36] TERESA AMABILE: Yes. OK, so that lays it out kind of the basics. But Alain can answer those
questions for you.

[90:44]                     : Sure, thank you.

[90:44] TERESA AMABILE: OK, again, thank you so much for your time. We really appreciate it.

[90:49]                     : Of course.

[90:50] TERESA AMABILE: Bye bye.

[90:51]                     : Thank you. Great seeing you all. Bye bye.




                                                                                                      30
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 384 of 1282



                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                       ([KLELW
    7UDQVFULSWRI:LWQHVV,QWHUYLHZZLWK3URIHVVRU   RQ-XQH
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 385 of 1282



                                                            Interview
                                                  June 9, 2022

[00:00:00.51] ALAIN BONACOSSA: Good afternoon, everyone. My name is Alain Bonacossa. I'm the
Research Integrity Officer at Harvard Business School. I wanted to thank Professor           for
being here today and for being willing to be interviewed by the Investigation Committee.

[00:00:13.98] I will now make a brief announcement before handing you over to the chair of the
committee. First, as a reminder, this interview will be recorded and transcribed. And    you will be
given a copy of the transcript for correction.

[00:00:26.43] Let me start by introducing everyone on Zoom here today, starting with the Investigation
Committee. We have Professor Teresa Amabile, the Chair of the committee, Professor Bob Kaplan, and
Professor Shawn Cole. Of course, the witness in today's interview is Professor                , who's
an associate professor at the University of Southern California, Marshall School of Business.

[00:00:47.25] And finally, in addition to myself, we have a couple of other staff members on the call.
Heather Quay, who's a university attorney with Harvard's Office of the General Counsel, and Alma
Castro, who's an Assistant Director in Research Administration at Harvard Business School.

[00:01:02.58] Next, I wanted to provide a brief explanation of the interview process.          this is a
faculty review of faculty matters. So the interview will essentially be a conversation between you and
the committee. It will entail a series of questions and answers. And         you should feel free to
elaborate on any answer that you think could be helpful to the process.

[00:01:23.64] Some basic rules of the road for the interview for everyone. To make sure that the
transcription is clear, only one person can speak at a time. At the end of my introduction, I would ask
Heather and Alma to turn off their cameras and mute ourselves.

[00:01:39.57] And         for you specifically, please answer the committee's question truthfully. All
answers need to be audible so they appear in the transcript. So nodding head is not sufficient. If you
don't understand a question, just ask for that to be rephrased. And if you don't know the answer to a
question, please just say so. If you need a break, of course, just ask for one.

[00:02:02.91] A couple of important reminders. HBS has an obligation to keep this matter confidential.
So even the fact that this interview occurred or that there's an ongoing investigation into allegations of
research misconduct is confidential. So        we're going to ask you to keep all of this information
confidential. And lastly, per HBS policy, HBS community members may not retaliate in any way against
complainants, witnesses, the research integrity officer, and of course, committee members.

[00:02:32.61]       do you have any questions about the process?

[00:02:36.24]                       : I do not.

[00:02:37.38] ALAIN BONACOSSA: OK, so I'll hand it off to Teresa, and Heather and Alma and I will turn
off our cameras and mute ourselves.



                                                                                                             1

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 386 of 1282



[00:02:47.08] TERESA AMABILE: Hi,           it's good to meet you.

[00:02:50.05]                        : Good to meet you. I've admired your research for years.

[00:02:53.05] TERESA AMABILE: Thank you. And I've admired yours. I don't believe we've ever met in
person, have we?

[00:02:57.56]                        : We haven't, no.

[00:02:58.54] TERESA AMABILE: No. I just will say a few words about myself and then I'll ask Bob and
Shawn to do the same. I'm a social psychologist. As I think you probably know, I spent the first--
approximately the first third of my career at Brandeis University in the psych department. And I've been
at Harvard Business School since 1995 as a professor in the Entrepreneurial Management unit there.
And now I'm going to ask my colleague Bob to introduce himself.

[00:03:34.22] BOB: Hi,        Bob Kaplan. So I've been a professor at HBS since 1984, working in the
accounting area, helping develop concepts such as activity based costing and balanced scorecard, which
you may have come across. And before that I was at Carnegie Mellon and was Dean of the business
school there for five and a half years. So I'm kind of the measurement guy.

[00:04:00.60]                        : OK, nice to meet you.

[00:04:02.86] SHAWN COLE: And I'm Shawn Cole. I'm on the finance faculty at Harvard Business School.
I've been here since 2005. I have a PhD in economics and I do a lot of field experiments. But I just want
to say thank you very much for your time. I appreciate your joining us.

[00:04:16.88]                         Of course. Nice to meet you.

[00:04:18.78] TERESA AMABILE: Yeah,               we're really grateful to you for spending this time with us.
I'm going to be the primary person asking questions and follow ups if I have any, but of course, Bob and
Shawn will be chiming in as the conversation proceeds. And as Alain said, feel free to ask me for
clarification if any of this isn't clear for you.

[00:04:46.01] OK, first of all, this is kind of a background question. Can you tell us how you got to know
Francesca and came to be involved in this particular research project with her? And of course, the
project that we're talking about is the 2014 Psychological Science paper, where the title is "Evil Genius?
How Dishonesty Can Lead to Greater Creativity." And we're going to be talking specifically about study
four, which is the experiment in which participants guessed the outcome of a coin toss, on which they
could cheat, and later completed a creativity task by giving as many uses as they could think of for a
newspaper.

[00:05:35.69] OK, so did that remind you of which particular experiment we're talking about? But we'd
like to just in general how you first got to know Francesca and how it was that you came to be involved
in this project that led to this paper.

[00:05:51.54]                      : Sure, so I met Francesca when I gave a job talk coming out of grad
school at Chapel Hill, UNC Chapel Hill. She was sort of my faculty host. She and her husband and I all

                                                                                                                 2

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 387 of 1282



went to dinner and we had a one-on-one meeting. We got along really well, had a lot of the same
interests. And then we started collaborating on various projects.

[00:06:16.23] The first project was one where we showed that splitting things into categories made
people want to get one of each of the categories of the rewards. And that made them more motivated.
And then we subsequently collaborated on this creativity research.

[00:06:35.85] And the way that that collaboration started, it was at AOM. She was giving a talk on her
work with           , showing that dishonest people are-- or creative people are more dishonest,
because they can better justify the rationalizations and excuses that they provide for themselves. So
therefore they're more OK with it.

[00:06:58.66] And I asked the question, could this work the other way? Could getting out of this rule
breaking mindset make people creative, so that there's a reverse causality. And she said, that's really
interesting, let's talk after the session. So we spoke after the session. And it turned out that we had two
different things in mind, two different ways of testing it.

[00:07:28.11] Her idea is that we have people cheat or put them in situations where they'd be very
much more likely to cheat than they would be in other conditions. And that act of cheating would make
them more creative in subsequent activities. My idea was related, but slightly different, in that I wanted
to see if exposing people to rules, to a duty-based or rule-based approach to morality, or just having
them think about moral constraints, moral rules, would make them less creative. And we agreed to
essentially research both topics in tandem and be co-authors on that.

[00:08:15.19] My idea didn't work out. I couldn't get robust results. I tried, I don't know, three
experiments. I could be wrong on that number. But got it for one but not the other two, so we just
abandoned that. This project provided much more promising results, or at least I thought it did. And
hopefully, it did. And so she ran those experiments at Harvard. I don't know if she ran some of them at
UNC or somewhere else, but that's how we started collaborating on that project.

[00:08:50.54] And then there was another-- actually there was a third author,                  , who was
going to be involved, and she's at Syracuse now. At the time, I think she was at Vanderbilt. And we had
basically three or four ideas between ourselves.         I don't know if she was having a baby, but she
just went missing. So she didn't collaborate with us on this first paper. We were almost ready to submit
another paper, which was a 2000-- I forget the year, but it's an OBHDP with                 , and
Francesca, and me.

[00:09:34.07] And we decided to let her participate in that, even though she'd been absent. And she ran
one of the experiments for that. Francesca ran one of the experiments for that. I ran like four of the
experiments that ultimately made it into the paper. So I really took the lead on that project.

[00:09:56.61] Francesca took the lead on the "Evil Genius" paper. And          was going to take the lead
on another paper, which was not sufficient quality for us to submit.

[00:10:11.30] TERESA AMABILE: OK, wow, that's really great comprehensive background. I so appreciate
that. You know, I just wanted to ask, I'm not familiar with         . Is her first name spelled
  or          , do you happen to remember?


                                                                                                            3

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 388 of 1282



[00:10:28.28]                       : I think there is an E on the end.

[00:10:29.59] TERESA AMABILE: Don't bother looking it up or anything. We can easily find it by many
means.

[00:10:36.74]                       : There is an E.

[00:10:38.12] TERESA AMABILE: There is an E at the end of            OK. And          is               ?

[00:10:42.00]                       : Yeah.

[00:10:42.65] TERESA AMABILE: OK, and you said that-- was she on the faculty at Vanderbilt at the time
that…?

[00:10:46.53]                       : She was-- I'm sorry, she was there on a post-doctorate.

[00:10:48.36] TERESA AMABILE: No, that you were-- I'm sorry-- that you were working on this "Evil
Genius" work.

[00:10:54.91]                        : So, she didn't actually work on the "Evil Genius" part of it. She was
supposed to, but I don't know if it was a baby, or stress, or it could be any number of things. So she
didn't actually participate on that paper. She participated on the creative team paper at OBHDP. And at
the time, she was working as a post-doc at Vanderbilt, working with                      , I believe. And
then--

[00:11:23.68] TERESA AMABILE: I'm sorry, in the business school at Vanderbilt?

[00:11:25.88]                       : Yeah, at the business school, at Owen School of Management or
something like that. And it's possible by the time that was published, she had moved to Syracuse, but I
don't remember the timeline.

[00:11:36.40] TERESA AMABILE: OK, thanks.

[00:11:37.18]                       : Her first faculty position was at Syracuse.

[00:11:40.67] TERESA AMABILE: Syracuse, OK, thanks. And so you mentioned her I think in connection
with the research that ended up in the "Evil Genius" paper, but was that just very early stage
discussions? And then you described-- you said she, quote, "went missing," I think.

[00:12:00.90]                        : Yeah, we just didn't-- we'd send her an email like, what do you think
of this study? And she didn't reply for a long time. So the initial plan was for her to be on that paper, but
then she didn't communicate with us for about a year and a half or so.

[00:12:17.48] TERESA AMABILE: OK, and it sounds like it was only in the initial conversations--

[00:12:21.01]                       : Right.


                                                                                                               4

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 389 of 1282



[00:12:21.95] TERESA AMABILE: --about what the studies could be that she would--

[00:12:25.31]                      : Exactly. It was very much Francesca's idea and my ideas that were
discussed for those papers that did come out.

[00:12:35.22] TERESA AMABILE: OK, thanks. Bob, Shawn, do you have any follow ups on any of that
background? You can just--

[00:12:43.11] SHAWN COLE: No.

[00:12:44.01] TERESA AMABILE: OK. You know what, we are asking for audible responses, but when I ask
Bob and Shawn if they have follow ups, they can do head shaking or head nodding, and I'll just try to
note audibly what they've indicated as their responses.

[00:13:01.71] OK, so       it's important for our committee to understand how this paper came about.
So I've got a few more very specific questions.

[00:13:15.13]                       : Sure.

[00:13:15.94] TERESA AMABILE: Could you please give us the chronology of your involvement in the
research reported in this paper and in the paper itself. So as well as you can remember, years, even
months if you could recall, you know, starting from initial discussions through the actual writing of the
paper and getting the paper published.

[00:13:38.44]                        : OK. I think we probably started working on this in 2011 or 2012,
maybe. And as I said, it started at an Academy talk-- Academy of Management talk, that's our big annual
meeting. I want to say it's in Boston, but all the hotel rooms start to look alike, with the conference
rooms.

[00:14:04.97] And so I guess she was presenting that work with            , which I think came out in
2012. And I think that was-- that's when it probably was, 2012. And we discussed the collaborating right
after her talk at Academy, which would have been in August, probably August 2012, possibly 2011. And
then we likely had a phone call to work out who would be doing what and whether we would pursue her
idea, which became the "Evil Genius" one, or my idea that, just being exposed to things like rules and
the Ten Commandments, and these sorts of things would inhibit creativity. We decided to do both.

[00:15:01.94] And then probably-- I'm guessing here, but I would say later in 2012, during the fall of
2012 and 2013, we'd work on it. She'd bounce some experiment ideas off of me and I'd give feedback.
And she'd run them. And apparently or ostensibly got robust results.

[00:15:33.67] She wrote a first draft of the paper. I edited that one rather extensively, the writing in the
front end, but I didn't do any of the analysis of the data for that paper. And I don't even think I received
the data for that paper, which in retrospect looks like-- looks irresponsible, I realize, but-- yeah, at the
time I was an assistant professor at USC and Francesca was obviously at Harvard.




                                                                                                            5

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 390 of 1282



[00:16:10.63] And we submitted it to Psych Science. I don't know if it was late 2013 or early 2014. It
went through the review process pretty quickly, as a lot of papers at Psych Science do. I don't remember
if we ran additional experiments at the R&R stage or not.

[00:16:31.62] TERESA AMABILE: OK, so           I just have one quick follow up. I think I heard you say that
you didn't run any of the five studies reported in this paper, is that correct?

[00:16:43.93]                       : That's correct. I was running the ones on my related ideas, which is
what led to that split.

[00:16:51.38] TERESA AMABILE: OK.

[00:16:52.36]                    : The two related ideas, the creative cheating idea and the one that
exposure to moral rules would have negative effects on creativity.

[00:17:02.08] TERESA AMABILE: OK, thank you. Bob, Shawn, any follow ups? They're both shaking their
head no. OK.

[00:17:10.64] So in part,         you've already answered this question, but only part of it, so I'm going to
walk through all of it. And just if I think you've already answered it, I'll tell you what I believe I heard
from you.

[00:17:25.47] So for study 4 specifically in this paper, that's the coin toss, the cheat, the creativity
measure being unusual uses for a newspaper, and that's specifically what we're interested in. For that
study I'll go through each stage of the research and ask you to tell us to the best of your knowledge
when it occurred, who was involved in supervising that particular activity, and who was involved in
carrying out the activity, including, of course, yourself.

[00:18:00.35]                       : OK.

[00:18:02.23] TERESA AMABILE: So the first one is conceptualization and design of the study.

[00:18:08.52]                       : Both of us were involved in that. Both Francesca and I were involved
in designing the studies.

[00:18:14.16] TERESA AMABILE: OK, do you remember approximately when that would have been?

[00:18:19.02]                       : Give me one second and I'll be able to give you a pretty informed
answer.

[00:18:23.43] TERESA AMABILE: OK, so I'm going to say it looks like         is consulting files on his--

[00:18:28.05]                       : Yes.

[00:18:28.77] TERESA AMABILE: --computer.




                                                                                                             6

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 391 of 1282



[00:18:44.49]                       : So I can confirm that it was 2012 that we really started-- wait, no,
maybe I can't. Let's see. 2012 we submitted something to SESP, which is another conference. So maybe
some of this work was done in 2011. And…sorry.

[00:19:20.42] TERESA AMABILE: That's OK.

[00:19:53.59]                       : OK. So it was--       Francesca, and I started talking-- let's see.
Sorry.

[00:20:18.10] TERESA AMABILE: That's OK.

[00:20:37.80]                       : 2011, we were working on this.

[00:20:44.53] TERESA AMABILE: And are you consulting an email right now?

[00:20:47.47]                       : Yes, I am.

[00:20:48.67] TERESA AMABILE: An email chain, OK. And do you see the month?

[00:20:53.50]                       : The date of the email that I'm looking at is July 16, 2011, at 4:05 PM.

[00:21:00.07] TERESA AMABILE: OK. Thank you very much for that.             let me ask you, if after we
finish our conversation with you, if we, the committee, feel like we'd like to actually look at one or more
of those emails or possibly different drafts of the paper or something, you'd be willing to share?

[00:21:22.00]                       : Absolutely.

[00:21:23.05] TERESA AMABILE: Thank you very much. OK, so the next stage that I'd like to ask you
about, in terms of when it occurred, who was involved in supervising the activity, and who was involved
in carrying out the activity, data collection.

[00:21:38.89]                       : Francesca and-- Francesca's operation at Harvard is kind of a
mystery to me. I'm sure she has a lab manager. I can't imagine being as productive as she is without
having at the very least a lab manager. I imagine that she has RAs. And I know that there's some sort of
centralized data collection in the Harvard labs, as well. So it's those people and Francesca who collected
the data for that "Evil Genius" paper.

[00:22:16.60] TERESA AMABILE: OK, thank you. And given the chronology that you've already given us, it
sounds like the data collection would have happened in 2011, 2012.

[00:22:29.99]                       : Yeah.

[00:22:30.92] TERESA AMABILE: And/or possibly 2013.

[00:22:35.11]                      : Yeah, I think if it were 2013, it was probably additional experiments
that we ran as part of a response to reviewer's comments.


                                                                                                             7

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 392 of 1282



[00:22:45.06] TERESA AMABILE: OK.

[00:22:45.29]                        : I'm guessing about that.

[00:22:46.84] TERESA AMABILE: OK. The next stage is data cleaning.

[00:22:53.19]                        : The same set of people who were involved in data collection. I did
not clean that data. I don't even think I saw the raw data.

[00:23:03.80] TERESA AMABILE: OK, so, let me just confirm-- you referred to this earlier, and you seem
to be indicating this again-- you don't recall that you ever had any form of data file for this study 4?

[00:23:21.09]                            : Right. And I've looked through my emails on this. It's possible that--
I don't think I did. It's-- I'll check my email more, but I searched for Francesca and "Evil Genius." The
problem with just searching for Francesca Gino is she's been on hundreds of emails before. But I don't-- I
don't think I saw the data.

[00:23:48.31] TERESA AMABILE: OK. If we asked you to, would you be willing to search your computer,
hard drive, or hard drives for--

[00:23:59.02]                           : Yes. I searched the hard drives too for the data and didn't see the
data, so I already did that, in fact. I went back one computer to see that. I can go back two computers to
see if there's anything there, but I doubt it.

[00:24:19.54] TERESA AMABILE: OK, you know what, let me just ask you right now, if you would, please
make a note to-- after this conversation--

[00:24:28.28]                        : Yeah.

[00:24:29.08] TERESA AMABILE: You could go back two computers to that time frame--

[00:24:33.88]                        : Sure.

[00:24:34.54] TERESA AMABILE: Just to check. And if you find any data files that you think are related to
the study or could be related to the study, if you could share them with Alain Bonacossa, and he'll then
make sure that we, the committee, have access to those. Thank you so much.

[00:24:51.88]                        : Of course.

[00:24:53.05] TERESA AMABILE: OK. And so the next stage is data analysis. I believe you said that you
were not involved in analyzing the data for any of the experiments.

[00:25:04.78]                        : Yeah, I don't believe that I was.

[00:25:06.02] TERESA AMABILE: You were not.

[00:25:08.29]                        : Again, I believe that I was not involved.

                                                                                                               8

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 393 of 1282



[00:25:10.55] TERESA AMABILE: OK. And who do you believe did do the analyses, or was involved in the
analyses, or supervised the analyses?

[00:25:19.94]                       : I would imagine Francesca supervised the analyses. I don't know if
you did the analyses or if she had an RA. I don't-- I don't know what sort of research support she has.

[00:25:33.50] TERESA AMABILE: OK. To your knowledge, might any doctoral student or postdoc have
been involved in any of these-- well, in this particular study?

[00:25:44.95]                       : It's possible, but I didn't know of anyone. And she didn't mention
having that. And she's-- I know she's collaborated a lot with doctoral students. And I know from other
work that her default policy is generosity when it comes to co-authoring. And I don't remember her
bringing somebody up. It's possible that she helped train a doctoral student with this data or something.
I don't know.

[00:26:14.46] TERESA AMABILE: OK, thank you. And finally, last stage, reporting the data, the data
analyses, the findings for this experiment in the submitted and published versions of the paper.

[00:26:28.95]                        : So the analyses came from her and her side. I don't remember if I
modified writing in the results. I probably did in the methods section, to try to just sharpen things and
edit them. But I don't think I did any of the analyses.

[00:26:52.49] TERESA AMABILE: Do you remember doing any part of the write up of the analyses of
study four?

[00:26:57.80]                        : No. And I couldn't find any record of having done so.

[00:27:01.40] TERESA AMABILE: OK. And it sounds like you think that you may have-- in the section of
the method that describes how the analyses were done, you might have done some editing in versions
of the paper.

[00:27:15.18]                      : It's possible. I think it's more likely that I edited the description of
the procedure. Because just looking at Psych Science, as you know, is a short format journal. So I
probably edited both results and the procedural or methods section for the length and clarity.

[00:27:41.99] TERESA AMABILE: OK. OK, thank you.

[00:27:43.67]                        : And then edited the front end the paper a ton.

[00:27:47.62] TERESA AMABILE: OK, thank you. Bob and Shawn, I believe I've gone through everything in
our question three for    Do you have any follow ups? They're shaking their heads no. OK.

[00:28:02.16]        this next question is fairly similar. And I think we can go through it pretty quickly,
probably. Please tell us who, if anyone, might have had access to the data and the ability to modify it at
each stage, besides the people you've already mentioned, including, of course, yourself-- data collection,
data cleaning, data analysis, reporting the data.



                                                                                                                9

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 394 of 1282



[00:28:30.78]                       : I would have had access to-- I could have changed numbers in the
results section. I have no idea why I would have done that. But yes, technically I had access to that. I
don't think I had access to the data, but certainly in the reporting of things, I could have done
something. Anybody employed by Francesca or Harvard who had access to the data sets could have
adjusted things there. But yeah, I don't think         ever had access to anything for this paper.

[00:29:15.98] TERESA AMABILE: Did you just say I never had access to anything but the paper?

[00:29:20.35]                         : No, I said I don't think        had access to anything.

[00:29:24.00] TERESA AMABILE: Oh, OK.

[00:29:25.00]                      : I had access to the drafts. Let me pull up the file right now to see if
there's anything. So under the category of "Evil Genius,” I have some study designs. I have R&R letters,
something Qualtrics…, acceptance, I don't know what that is.

[00:29:48.34] TERESA AMABILE: I'm sorry, you said you have something in Qualtrics?

[00:29:51.94]                         : I have a file called Qualtrics comments. And I can put that in the
chat.

[00:30:05.67] SHAWN COLE: That's efficient.

[00:30:07.32]                            Yeah, it's super useful. It's not copying. In any case, I don't see any
Qualtrics files. It's just like what the file consists of are things like, at the bottom of the die roll screen, it
reads click one-- click right, choice one, click right, choice two, et cetera. If we made the question
something other than multiple choice, we should be able to get rid of these.

[00:30:31.91] TERESA AMABILE: OK, so              it sounds like you were commenting on some earlier
version of the Qualtrics--

[00:30:39.32]                         : The question, yeah.

[00:30:40.46] TERESA AMABILE: --question that was used to collect data. Are you referring specifically to
study four?

[00:30:45.71]                         : I don't know which study it is. I'd have to look.

[00:30:48.00] TERESA AMABILE: You don't know which study, OK. We may want to follow up with you on
that file, getting access to it. Thank you very much.

[00:30:55.43]                         : Of course.

[00:30:56.51] TERESA AMABILE: OK, so aside from the people-- you've mentioned Francesca, of course,
you've mentioned           you've mentioned your own involvement, can you think of anyone else? And
you said, of course, there could have been people in her lab--


                                                                                                                 10

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 395 of 1282



[00:31:10.92]                       : Yeah.

[00:31:11.66] TERESA AMABILE: --who had access to the data and ability to modify it. And you're
nodding your head yes.

[00:31:16.23]                       : Yes, I am nodding my head yes. That group of people could have
done. I don't know their names.

[00:31:21.27] TERESA AMABILE: OK, thank you. Bob, Shawn, any follow ups? None, OK.

[00:31:29.20] Next question. So       if you could please tell us to the best of your knowledge whether
and how the data set for this study was modified at any point or points between initial data collection
and publication of the paper.

[00:31:46.73]                          : I imagine there was some cleaning, as there generally is, because
some people will stop taking the survey or they'll-- I don't know if this was a stage of pre-registration,
but often I'll pre-register that we’ll exclude results more than three standard deviations away from the
mean. It gets rid of some of the nonsense or people not using decimal points. But I am not aware of
what cleaning went on. I'm sure there was some sort of cleaning that went on, but I don't know what it
is.

[00:32:21.35] TERESA AMABILE: OK, thank you. Bob, Shawn, any follow ups on that?

[00:32:26.15] SHAWN COLE: I had a follow up on a question, two questions ago, which I think I know the
answer to, but I just-- you said something like theoretically I could have changed the numbers in the
table. By that, you meant the table reporting the results that was part of the document?

[00:32:39.20]                       : Yeah, like the table or even a number within the draft.

[00:32:45.18] SHAWN COLE: OK.

[00:32:45.62]                       : Like change the mean or standard deviation or something like that.

[00:32:48.41] SHAWN COLE: Thanks.

[00:32:49.37] TERESA AMABILE: And             can you say what would have motivated you to make such a
change?

[00:32:53.00]                       : I don't believe that I did.

[00:32:55.31] TERESA AMABILE: I know.

[00:32:56.03]                       : I don't know what would have motivated me to do that.

[00:33:02.74] TERESA AMABILE: OK, all right, thanks.




                                                                                                         11

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 396 of 1282



[00:33:08.70]                       : I can't remember ever modifying-- like in the past, when co-authors
have sent something and something looked strange to me, there's no way I would have just changed the
number. I'd put a comment, saying, are you sure this is right? And I've done that more with grad
students than I have with faculty collaborators.

[00:33:27.65] TERESA AMABILE: OK, so it sounds like as a general practice, you would not modify
anything in the reporting of findings where you, yourself, had not done the analyses.

[00:33:41.36]                         : Right.

[00:33:42.11] TERESA AMABILE: Unless something looked strange, in which case, you would have asked
the person responsible about that. And then, is it fair to say, is it accurate that you would then have
changed a number only at the direction of that person who actually did the analyses?

[00:34:00.80]                         : Yes. Yes, that is accurate to say, the more likely case is-- no, that's a
likely case. Yeah, that shouldn't have been 4.95, that's a duplicate from the previous one. It should be
4.32, whatever it is. Or I could imagine changing the analysis section by adding a comment, saying I'm
not sure that this is the best test, could we look at simple effect or something like that. But I wouldn't
change a number.

[00:34:29.61] TERESA AMABILE: OK, so you're saying in versions of drafts of the paper, you might say,
gee, I don't think this is the best analysis to show this or to test this, how about trying this analysis?

[00:34:42.06]                         : Exactly.

[00:34:43.88] TERESA AMABILE: OK. Bob, Shawn, follow ups? No, OK.

[00:34:49.33] So         this section of questions is about some data anomalies.

[00:34:57.77]                         : Yeah.

[00:34:58.75] TERESA AMABILE: And we'd like to now show you some apparent anomalies discovered in
the data set for this study-- again study four, experiment four-- that was on Francesca's computer. So
this is from the data set that we got off Francesca's computer--

[00:35:17.68]                         : OK.

[00:35:18.16] TERESA AMABILE: --for this study. OK, it will take me a few minutes to go through this. So
please, be patient.

[00:35:25.31]                         : No worries.

[00:35:26.39] TERESA AMABILE: And then I'll ask our specific question about the apparent anomalies.
But please, break in at any time if something I say isn't clear to you or if you just want to make a
comment at some point. You don't have to wait until I pose my formal question.

[00:35:46.19]                         : OK.

                                                                                                               12

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 397 of 1282



[00:35:46.60] TERESA AMABILE: OK? OK, great. So Alain, could you please screen share table 1 for us?
Alain, we don't see it yet. All we see is Alain Bonacossa has started screen sharing, but we're not actually
seeing anything. Alain, could you indicate if you would like me to do the screen share? Alain, are you
there? Can you say something?

[00:36:41.02] SHAWN COLE: We seem to have lost him. Maybe you should go ahead.

[00:36:42.95] TERESA AMABILE: I think we've lost Alain temporarily.

[00:36:45.04] SHAWN COLE: Do you want me to see if I can find the table, Teresa?

[00:36:47.36] TERESA AMABILE: Yeah, but I have to make him stop-- Alma, do you have the-- the power
to make him stop?

[00:36:54.17] SHAWN COLE: I can just start. I have that power. So--

[00:36:57.65] TERESA AMABILE: You're just going to start screen sharing, Shawn?

[00:36:59.87] SHAWN COLE: If you remind me the table I need to pull up.

[00:37:01.85] TERESA AMABILE: OK, so let me do it, please.

[00:37:03.95] SHAWN COLE: OK.

[00:37:04.82] TERESA AMABILE: OK, so Alma, can you make him stop screen sharing or is that something
I need to do?

[00:37:16.13] SHAWN COLE: Just when you press Start Share, it--

[00:37:18.38] TERESA AMABILE: All right, got it.

[00:37:18.77] SHAWN COLE: I think you just did it.

[00:37:20.09] TERESA AMABILE: Got it.

[00:37:27.74] ALAIN BONACOSSA: I'm sorry, I'm back.

[00:37:29.76] TERESA AMABILE: That's OK, I'm doing the screen-- I'm going to--

[00:37:34.66] ALAIN BONACOSSA: Would you like me to do it?

[00:37:36.04] TERESA AMABILE: Yeah, Alain, I'd prefer it if you could do it, if you're able.

[00:37:46.12] SHAWN COLE: I can see it. Can you see it,

[00:37:49.33]                       : I can, yes. OK.


                                                                                                         13

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 398 of 1282



[00:38:00.18] SHAWN COLE: Now it looks like Teresa may be frozen. Teresa, are you there?

[00:38:33.73] TERESA AMABILE: I'm back. All right, can you see and hear me?

[00:38:39.50] SHAWN COLE: Yes, we can.

[00:38:40.64] TERESA AMABILE: Thank you, sorry about that. OK. Whoo.

[00:38:46.31] Table one,        shows data for the first 40 non-cheaters in the data set.

[00:38:53.15]                       : OK.

[00:38:53.81] TERESA AMABILE: As you can see, they're all perfectly ordered by the number of
responses on the uses task. That's the far right column.

[00:39:03.62]                       : OK.

[00:39:05.31] TERESA AMABILE: Number of uses for a newspaper that the subject generated, starting
with the value of 2 responses-- 2 unusual uses. And that's the dependent variable of interest here.

[00:39:18.63]                       : OK.

[00:39:19.92] TERESA AMABILE: Alain, could you make that a little bit bigger, please, without making the
bottom rows disappear? That may not be possible. Yeah, that's good, that's good, thank you.

[00:39:31.64] And nothing seems anomalous about these rows of data. We just wanted to start with
this.

[00:39:35.97]                       : OK.

[00:39:36.30] TERESA AMABILE: OK, so now we're going to ask Alain to screen share table 2. OK, great.
And these are data for the first several cheaters in the data set. Although most of these are also ordered
by the number of responses, that far right column, the highlighted cells, indicate 13 rows that are out of
sequence on this key dependent variable. We cannot find a way to sort the data that produces this
particular ordering. And this suggests the possibility that the data may have been manually altered.

[00:40:24.96] So I'm going to give you a minute to look at that,       Alain, just for my eyes, if it's
possible to maybe scroll down slightly, so that we don't see the-- I don't think we need to see the title of
the table. There we go. OK, so let's just give     a few seconds to study this.

[00:40:50.96]                       : And you don't have the original Qualtrics files that you can just-- like
the raw data from Qualtrics?

[00:40:57.86] TERESA AMABILE: These are the data from the Qualtrics file that have the data for this--

[00:41:08.18]                       : From--


                                                                                                           14

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 399 of 1282



[00:41:09.92] TERESA AMABILE: You know what, this is from Francesca's computer. Alain, I'm sorry, I just
get confused about when and how, and what this is that we're looking at.

[00:41:23.15] ALAIN BONACOSSA: This is a data set from Francesca's research records on her machine,
computer. So this is not-- this is not the Qualtrics raw data file. It's a data file that she pointed us to on
her computer.

[00:41:38.75]                        : Do you have the Qualtrics data file?

[00:41:42.09] ALAIN BONACOSSA: This is what we have.

[00:41:43.25] TERESA AMABILE: This is what we have. And yeah, this file was supplied by Francesca.

[00:41:52.56]                        : OK. And--

[00:41:56.48] TERESA AMABILE: And I haven't gotten to my question yet. There's something more that
we'd like to show you.

[00:42:02.11]                        : OK.

[00:42:03.19] TERESA AMABILE: OK. But let me-- while we're screen sharing this-- while we're screen
sharing this, let me just point out to you that for the cheaters in this data set-- we're only looking at a
subset of the cheaters here, but these are all of the observations-- these 13 are all the observations that
are not in a perfect monotonic sequence.

[00:42:26.06]                        : OK.

[00:42:27.26] TERESA AMABILE: So for the cheaters, all the cheaters in this data set, the mean of the in
sequence observations is 7.5 uses, while the mean of the out of sequence observations is much higher,
10.1. So that's 7.5 for the ones that don't seem out of order, they're not anomalous. And 10.1 for the
ones that are anomalous in terms of the sorting.

[00:42:58.33]                        : I understand.

[00:42:59.23] TERESA AMABILE: Yeah, and this further suggests to us that the data may have been
manually altered to favor the hypothesized effect specifically. So it seems reasonable to us to
hypothesize that if the data were manually altered--

[00:43:17.59]                        : Yeah.

[00:43:18.13] TERESA AMABILE: If they were, the true data values were, in fact, in monotonic sequence
before they were changed.

[00:43:27.04]                        : OK.




                                                                                                             15

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 400 of 1282



[00:43:28.15] TERESA AMABILE: Under that hypothesis, we could impute a true value somewhere
between the value in the closest in-sequence row before the changed observation, and the value of the
closest in sequence row after the changed observation. You following?

[00:43:46.24]                        : I'm following, yes.

[00:43:47.21] TERESA AMABILE: OK. For an example that I'll walk us through, let's take a look at table 3.
So Alain's going to pull that up now. So as shown in this table 3, that first out of sequence observation,
which is a 13 in the number of responses column, can be imputed to have originally been either a 4, and
that's the in-sequence observation just above it, which appears in the imputed one column here, or a 5,
and that's the in-sequence observation just below it, which appears in the imputed two column here. So
you get what's happening in this table.

[00:44:36.24]                        : Yeah, I understand that perfectly.

[00:44:37.77] TERESA AMABILE: OK. Thus, if these imputations are made for all of the out of sequence
observations, both imputed one and imputed two would now preserve the monotonicity of the
dependent variable. And you can see that if you just scan down--

[00:44:59.19]                        : Yeah.

[00:44:59.85] TERESA AMABILE: --the column called imputed one and the column called imputed two.
OK.

[00:45:04.53] So here we go. If the dependent variable is reconstructed in this way, the p value of the
difference between cheaters and non-cheaters changes from minus 0.0001, which is the p value
reported in the paper, to 0.292. And that's using the imputed one as the dependent variable. Or if we
use imputed two as the dependent variable, the p value changes to 0.181.

[00:45:43.88]                        : OK.

[00:45:44.18] TERESA AMABILE: In other words, using either of these methods to impute what the true
dependent measures might have been, the reported effect becomes statistically insignificant. So here's
our question. Can you explain how these apparent anomalies or other irregularities that might be in the
data set could have arisen?

[00:46:12.13]                      : These are the number of counts of-- of the uses, like the creative
uses for a paper or whatever it was, right?

[00:46:21.41] TERESA AMABILE: It was a newspaper in this case. Yeah, the number of uses that they
could think of for a newspaper, yes.

[00:46:31.04]                         : It's hard to explain why it would go up, the number of responses
would go up. I can understand the number of responses going down for some rows. Because if you
were-- I don't need to tell you this, but if you're looking for novelty-- for the record, not to explain to you
personally, Professor Amabile.



                                                                                                            16

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 401 of 1282



[00:46:53.45] TERESA AMABILE: That's OK, but Bob and Shawn aren't familiar with the creativity
literature.

[00:46:57.47]                         : Yeah. OK, so you could imagine looking for unique uses of that. And
if they say it could be used as a fly swatter, a bee swatter, that sort of thing, a wasp swatter, that's the
same idea. And so you might reduce them downward. It's harder to-- for me to understand why they
would go up. I don't have a ready explanation of why they would go up. Unless-- I don't know how the
number of responses were counted within Excel.

[00:47:44.67] Is it-- so there has to be more than this, where it actually shows you what the uses are,
right? Like the responses, and is the suspicion that--

[00:47:58.29] TERESA AMABILE: This is what we have,             We don't have the underlying Qualtrics
surveys.

[00:48:07.02]                     : I know, but even if you don't have the underlying Qualtrics surveys,
which do seem massively important to this argument, you could still have a spreadsheet where you have
a column that says count A, parentheses, and then all the uses listed. And I would think Francesca would
have that.

[00:48:31.22] TERESA AMABILE: We don't at this point have that. But we're working with Francesca to
get access to as many relevant files as possible. Bob, I recognize that you have a question. Let me just
allow       to finish thinking through how something like this might have happened. And of course,
what seems so anomalous to us,           is that these rows-- these particular rows are out of sequence.

[00:48:58.52]                        : Right.

[00:49:00.60] TERESA AMABILE: And we can't figure out a way that the data can be resorted
automatically--

[00:49:06.09]                        : Yeah.

[00:49:06.78] TERESA AMABILE: --in Excel or something to end up with this particular ordering.

[00:49:12.57]                        : I guess I could imagine somehow if there-- if there's a return or
something that people enter into the Qualtrics, so that their data is coming across in two lines or
something like that, potentially. You might add the two lines if you have the same participant ID and it's
clear that they're doing it in one session. That would explain why the numbers only go up instead of
corrections downward.

[00:49:49.56] TERESA AMABILE: You mean within a given Qualtrics survey?

[00:49:53.46]                          : Yeah, so sometimes people will, like, get kicked out. And they'll start
something right after. And you see, oh, they were only on it for two minutes and it's the same MTurk ID.
So it's possible it could be a situation like that-- unlikely, but possible.




                                                                                                             17

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 402 of 1282



[00:50:15.08] TERESA AMABILE: OK. And that would mean that those two Qualtrics responses would
have to be aggregated.

[00:50:21.87]                       : Exactly.

[00:50:22.70] TERESA AMABILE: And assigned to that particular participant.

[00:50:26.36]                       : Right.

[00:50:26.66] TERESA AMABILE: And that could mean that the numbers would go higher--

[00:50:31.88]                       : Exactly.

[00:50:32.57] TERESA AMABILE: --than they might have initially been entered into a spreadsheet or
something.

[00:50:36.38]                       : Yeah, and that's why you wouldn't see any adjustments downward,
because it wouldn't make sense.

[00:50:42.17] TERESA AMABILE: OK. Thank you,         And you may think of something else as we
continue the conversation and you can, of course, break in with that.    shall we stop the screen
share now or would you like to leave this up?

[00:50:55.52] BOB KAPLAN: No.

[00:50:57.17] TERESA AMABILE: Oh, Bob, do you want to leave the screen share up right now for your
question?

[00:51:00.80] BOB KAPLAN: Yes.

[00:51:01.25] TERESA AMABILE: Yes, let's leave it up. OK, Bob, go ahead.

[00:51:04.26] BOB KAPLAN: Yeah, so       , what I found curious is that we had 136 consecutive
observations on the non-cheaters condition that were in this perfect monotonic sequence.

[00:51:17.21]                       : Yeah.

[00:51:17.76] BOB KAPLAN: If in your hypothesized alternative world there was some other column in
which this was sorted, it had to be perfectly the same for 136-- actually 139 consecutive observations.

[00:51:31.82]                       : Yeah.

[00:51:32.40] BOB KAPLAN: And then all of a sudden on the 140th one, we start encountering this going
up. So, it's not an issue if it's going up or going down. If it went down, and it really was being sorted on
the number of responses, then it would have fallen into the natural monotonic sequence. It's how do
you go through-- admittedly, with the limited data, a portion of the whole data, 139 observations that
are perfectly sorted on this column and then all of a sudden we start hitting observations that aren't?

                                                                                                          18

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 403 of 1282



[00:52:05.12]                       : Yeah. That's a good question.

[00:52:06.87] BOB KAPLAN: It could happen, but it seems like unlikely to me.

[00:52:08.63]                       : Yeah, it seems unlikely to me, too.

[00:52:13.71] TERESA AMABILE: And I would just add to Bob's observation that these 13 are very closely
clustered together in this data file, among all of the many, many observations in the two conditions.
Shawn, did you have any follow up on this?

[00:52:36.19] SHAWN COLE: No.

[00:52:36.67] TERESA AMABILE: No. OK.

[00:52:39.61]                       : Sorry, I have--

[00:52:40.63] TERESA AMABILE: Go ahead.

[00:52:41.04]                       : I have a question. So I'm seeing row 137. Are there-- the previous
136 are all cheaters in the cheaters condition as well?

[00:52:52.52] TERESA AMABILE: No, I believe--

[00:52:54.74] BOB KAPLAN: If you go to table 2--

[00:52:56.09] TERESA AMABILE: I believe table 2--

[00:52:56.84] BOB KAPLAN: --you'll see the transition.

[00:52:58.04] TERESA AMABILE: Yeah, table 2 shows us--

[00:53:00.53] BOB KAPLAN: There are four non-cheaters at the top.

[00:53:03.98] TERESA AMABILE: Yeah, so this data set is organized so that all the non-cheaters are first.

[00:53:11.67]                       : Yeah.

[00:53:12.74] TERESA AMABILE: In that cheated column it's zero. And then the cheaters start.

[00:53:17.54]                       : OK.

[00:53:19.85] BOB KAPLAN: I'm sorry, so it looked like the data sort is first on the cheated column. So all
the zeroes are first. And then the secondary data sort is on the number of responses column.

[00:53:30.50]                       : OK. So with that in mind, we don't really need to think about why
the first 131 are the same. Because the way people create Qualtrics surveys is they'll have two different
conditions. So it could be two different blocks. You could have a bit of wrong syntax or something that

                                                                                                           19

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 404 of 1282



isn't exactly the same in the two conditions, which is why you start-- why you'd start sometime around
132. And now, if this goes to 240 something, and there's nothing after 164, I've got zero explanation for
that, unless something were adjusted in the Qualtrics. Does that makes sense?

[00:54:09.36] TERESA AMABILE: It does make sense. And I can tell you that after this data row, after row
164, all of the other number of responses are in the monotonically increasing sequence.

[00:54:24.74]                        : OK. If you were to-- so I suspect if you sorted this by time, and it's
not that they're just clustered in one time period, it's just-- like toward the beginning of the survey or
something, like the beginning of the survey administration.

[00:54:41.42] TERESA AMABILE: As far as we can tell-- I don't know that we've investigated that,
whether they could have been sorted on the time. We've got to start date and end date here. And as
you know, Qualtrics does stamp the specific time--

[00:54:57.66]                        : Yeah.

[00:54:58.35] TERESA AMABILE: --that each survey was submitted. So I don't know about a time sort. As
far as we know, the sort was, as Bob said, first on the condition, the cheated column, and then on the
number of responses column. We don't believe that there was a time sort involved. But          we can
look into that.

[00:55:21.03]                          : Yeah, I would recommend that. Because I've had cases where I've
had just a flat out error, like I'm using the wrong text or I have two boxes where I should have one.

[00:55:36.00] TERESA AMABILE: You mean an error in the Qualtrics survey that you set up.

[00:55:39.54]                       : Exactly. Yeah, not on this project, but you might have a correction
after-- like, oh, we see a problem with the first 20 observations. It's unlikely, but worth looking at it by
time.

[00:55:55.26] TERESA AMABILE: OK, we will do that. And Alain has, I'm sure, already made a note of
that. Thank you. So while we've still got this up, let me ask-- Bob, Shawn, any additional follow ups for
        None from Bob, none from Shawn. OK. And I did want to-- so you can stop the screen share,
Alain. Thank you very much.

[00:56:17.48] And I do want to note,       that we are almost at the hour. And we even, I think, maybe
started a minute or so before the hour. We know you're in the Pacific time zone, but it's almost 2:00 PM
here. And I know that Heather has to leave at 2:00. So Heather, we know you're going to be
disappearing very soon. Thank you very much for being on as long as you were able to be on.

[00:56:44.71]        do you have the ability-- we all do-- do you have the ability to stay on a little bit
longer?

[00:56:51.41]                        : I do.




                                                                                                                20

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 405 of 1282



[00:56:52.35] TERESA AMABILE: OK, great. I don't have too many more questions, but if you have to go,
if any of us has to go, and we haven't gotten to the end, we'll try to find a time to do a follow up just to
finish up the last few questions. OK. So Bob and Shawn, I'm about to move on to what is my question
seven.

[00:57:14.91]        please understand that we feel we must ask this direct question to everyone we
speak to who was involved in this research. Did you change the data in a way that could have led to
these or other discrepancies?

[00:57:30.33]                       : No.

[00:57:31.54] TERESA AMABILE: OK. Thank you.

[00:57:32.61]                       : I really don't believe so.

[00:57:35.57] TERESA AMABILE: OK. Next question. We're trying to understand the atmosphere in the
lab in which the data for the study were collected. Specifically, the extent to which people in the lab
might have felt either pressured or highly motivated to produce certain outcomes in the study. Can you
give us your views on the atmosphere in this lab at the time the data were collected?

[00:58:04.30]                        : I can speak to my motivation and Francesca's motivation. As to her
lab, I'm 3,000 miles away from her lab and don't really know who's working in it. I was an assistant
professor. I certainly want things to work out. One thing that-- and this isn't a direct answer to your
question, but I will directly answer the question.

[00:58:31.06] It seems so strange to me, with Harvard's capabilities, if she's got an experiment, and p
equals-- I forgot what the first p value is-- 0.29 or 0.18, or something like that, if you do the monotonic
scales-- why not just run a larger replication experiment, if the data seemed supportive of it? So, it
seems-- it seems like a strange kind of cheat. I guess maybe one would feel more justified in doing so
because the data is already supportive. So maybe that provides motivation.

[00:59:14.90] But it seems like-- it seems strange, because it wasn't the biggest study we've ever done,
so it could be easily replicated.

[00:59:28.03] But I imagine Francesca's intrinsic motivation is high, given her record. But I really don't
know the lab-- I don't know what the environment in the lab is. I don't know. I think you're on mute.

[00:59:51.24] TERESA AMABILE: I muted because there was noise outside my window. That answers the
question to my satisfaction. Bob, Shawn, do you have any follow up on that? No follow up, OK.

[01:00:02.78] So       , are you familiar with              ,               , or               ?

[01:00:10.97]                       : I've heard of                and the name               vaguely familiar to
me.

[01:00:19.92] TERESA AMABILE: You said the name                 is vaguely familiar to you?



                                                                                                              21

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 406 of 1282



[01:00:23.19]                         : Yeah.

[01:00:24.24] TERESA AMABILE: Not                     ?

[01:00:26.01]                         :               , is he-- no, that's           that I'm thinking of.

[01:00:32.34] TERESA AMABILE: It's                          ,                .

[01:00:36.06]                         : I'm not familiar with                    .

[01:00:37.80] TERESA AMABILE: OK, so you said                       , that name was familiar to you. Can you
say in--

[01:00:42.57]                         : I think so.

[01:00:42.96] TERESA AMABILE: --what connection? What connection?

[01:00:47.90]                      : I thought it was someone in academia, which is the obvious guess,
given our context, but that's about all I know. I'm not sure.

[01:00:57.94] TERESA AMABILE: OK, do you have any associations to the name                     That's
    ? You said that sounded a little familiar?

[01:01:07.20]                        : It sounded familiar, but in my head when you said it, I spelled it
                so it can't be somebody I know very well.

[01:01:16.65] TERESA AMABILE: OK. So I asked the question because it's possible that one or more of
them had access to the data for this study.

[01:01:25.05]                         : OK.

[01:01:25.77] TERESA AMABILE: Is there any-- I think I know what your answer is, but I need to ask the
question-- is there any reason to believe that any of them would have changed the data of their own
accord or at the direction of Francesca in a way that would have produced these anomalies? And would
they have had any incentive to do so?

[01:01:46.80]                          : I imagine there would be some sort of incentive. People are happier
if we-- if they get significant results. I can't speak to what incentives were used and what the
opportunities for promotion or recommendation letters are. But I don't-- it doesn't seem like common
practice to me to reward RAs for producing significant results. You reward them for not having errors in
their work and for understanding and showing-- showing how to design experiments and analyze data.
But it seems strange that there would be strong extrinsic incentives to change data.

[01:02:34.53] TERESA AMABILE: OK. Follow ups, Shawn or Bob? None. OK.




                                                                                                               22

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 407 of 1282



[01:02:45.54] This is basically a follow up to that previous question. Could this have been true in terms
of altering data on their own or at Francesca's direction? Could this have been true of anyone else who
had access to the data?

[01:03:06.28]                     : It could be. I have no insight into who that would be. If someone
had an opportunity, I don't know about motive.

[01:03:16.75] TERESA AMABILE: OK, thank you. Thank you. Follow ups, guys? No, none. OK. All right,
we're down to our last two questions.

[01:03:25.39]                       : Great.

[01:03:29.02] TERESA AMABILE: So this is a general question. At any time during or after the research in
this paper was being done, written up, or published, did you have concerns about the integrity of the
data?

[01:03:43.85]                       : No.

[01:03:44.77] TERESA AMABILE: None?

[01:03:45.19]                       : None.

[01:03:47.54] TERESA AMABILE: OK. And last question,      is there anything else we should know as
we try to determine whether research misconduct occurred with respect to study four in this paper?
And if it did, who might have been responsible?

[01:04:07.16]                          : Not that I know of. I don't have anything beyond what I've already
said. I'll certainly look at my-- look at the computer I used-- two computers, ago, to see if it has anything.
And I'll take another look at Qualtrics. I've got to think that they'll have records of this sort of thing,
which would clear things up.

[01:04:34.01] TERESA AMABILE: You mean Qualtrics should have--

[01:04:35.80]                       : Itself, like the organization, right?

[01:04:38.21] TERESA AMABILE: You think the organization should have records. Honestly, I don't know.

[01:04:43.49]                        : That would be the first-- if I were presented with this scenario, that
would be the first place I'd go to check the raw data.

[01:04:56.32] TERESA AMABILE: OK, thank you. Thank you for that. And we-- I believe we have pursued
that. We are pursuing it, trying to get as much information as we can, as you might imagine.

[01:05:06.31]                       : I figured.

[01:05:07.30] TERESA AMABILE: Yeah, so Bob and Shawn, let me ask you, if you have any follow ups on
     's answers to these last couple of questions or anything else that you've thought of?

                                                                                                           23

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 408 of 1282



[01:05:22.14] SHAWN COLE: Nothing from my side.

[01:05:23.82] TERESA AMABILE: Nothing from Shawn.

[01:05:25.14] BOB KAPLAN: No, I'm good.

[01:05:27.02] TERESA AMABILE: OK. All right--

[01:05:28.52]                        : Can I ask one question?

[01:05:29.75] TERESA AMABILE: Sure.

[01:05:30.59]                        : Do you have a sense of what the timeline of all this investigation will
be?

[01:05:37.80] TERESA AMABILE: It's super hard to predict that. We're working as expeditiously as we
can. It will be at least weeks. My best guess,      is that it will be months. And unfortunately, we are
not going to be able to tell you the outcome of this investigation.

[01:06:07.14]                        OK. The reason I ask is I'm going up for full. And of course, have kept
everything confidential. I haven't spoken a word of this, and I was just wondering about the timeline and
whether I should be modifying my statement-- research statement, for example, to not feature this
project.

[01:06:27.02] TERESA AMABILE: You said you're wondering if you should be modifying your research
statement to not mention--

[01:06:30.77]                        : That I don't mention this project at all.

[01:06:34.34] TERESA AMABILE: So          can you tell us-- so I assume your tenure case is going to be
evaluated over this summer, is that the case?

[01:06:45.71] SHAWN COLE: He has tenure, he's going up for full.

[01:06:47.57]                        : Exactly.

[01:06:48.35] TERESA AMABILE: I'm, sorry your full case.

[01:06:50.19]                    : Right. Yeah, I believe the department votes on it in late July. And
then sometime in the next six months it'll go to the school level and then to the university level.

[01:07:01.95] TERESA AMABILE: I see, I see. Well, I am going to tell you that at this point, I don't-- I can't
tell you that you should modify your research statement.

[01:07:15.35]                        : OK




                                                                                                            24

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 409 of 1282



[01:07:15.96] TERESA AMABILE: I don't have that authority. Of course, you understand that the one
possible outcome of university research misconduct inquiries and investigations is that eventually a
paper might end up getting retracted by a journal.

[01:07:36.98]                       : Retracted. Sure.

[01:07:38.36] TERESA AMABILE: Because the university, if there is a negative finding-- if there is a finding
of research misconduct in connection with a paper that's been published, the university is obligated to
notify the journal.

[01:07:51.17]                       : Of course.

[01:07:51.89] TERESA AMABILE: And then the journal does what it does. But my understanding of the
process for all the journals that I know about, and you know about, and that Bob and Shawn know
about, is that they would then immediately contact the authors about the finding. And they'd probably
recommend that the-- or request that the paper be retracted.

[01:08:13.19]                       : Of course.

[01:08:13.88] TERESA AMABILE: So that's a process that-- again, I understand why you asked the time
frame question, given that you're up for this promotion.

[01:08:24.80]                       : But I also understand the inability to do advise at this point.

[01:08:27.86] TERESA AMABILE: Yeah, exactly, exactly. And honestly, that whole process, as I've just
spun it out as a total hypothetical, could, of course, take many months. So--

[01:08:45.10]                       : No problem. It's a pre-tenure paper, so it's not the biggest deal
probably, but still.

[01:08:50.90] TERESA AMABILE: But I appreciate your asking that question. It suggests to me that you're
careful and that you want to be careful.

[01:08:58.30]                       : Of course.

[01:09:00.13] TERESA AMABILE: Yeah. Bob, Shawn, anything else? I thought I saw a gesture on your part,
Bob. No? OK.      , is there anything else that you'd like to ask at this point or tell?

[01:09:12.48]                       : No, I think I'm good.

[01:09:17.16] TERESA AMABILE: OK.

[01:09:18.40]                          : The question that I want to ask, I imagine that you won't be able to
say anything about it. Is it just this one paper where there is suspicion, or is it a more widespread
problem? But I can't imagine that you'd be able to speak to that.

[01:09:33.18] TERESA AMABILE: And your imagination is correct.

                                                                                                           25

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 410 of 1282



[01:09:35.23]                      : Yeah.

[01:09:36.39] TERESA AMABILE: Yeah. So             thank you. Thank you, thank you so much for being so
forthcoming with us, for answering the questions as completely as you could. Really appreciate that.
Please, if you think of anything else relevant to anything I've asked about, get in touch with Alain and
he'll arrange for us to speak again. We'll figure out a way to get that information from you.

[01:10:05.29]                      : OK.

[01:10:05.49] TERESA AMABILE: OK? Thank you, thank you, thank you so much again. And Bob and
Shawn, thank you very much. And you're going to stay on now, correct? When     leaves, OK? Thanks


[01:10:19.42] BOB KAPLAN: Nice meeting you,

[01:10:20.25]                      : Nice meeting you. I wish it were under different circumstances, of
course.

[01:10:23.52] TERESA AMABILE: Yes, we do too. Thanks, bye-bye.

[01:10:31.21] Alma, he's off?




                                                                                                           26

    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 411 of 1282



                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            

                                          ([KLELW
            7UDQVFULSWRI:LWQHVV,QWHUYLHZZLWK      RQ-XQH
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
                                              
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 412 of 1282




                                              June 16, 2022

[00:00:00.09] ALAIN BONACOSSA: Hello everyone, my name is Alain Bonacossa, and I'm the Research
Integrity Officer at Harvard Business School. I want to thank            for being here today and for
being willing to be interviewed by our investigation committee. I will just make a brief announcement
now before handing it off to the chair of the committee. First, as a reminder, this interview is recorded
and will be transcribed and,       you will be given a copy of the transcript for correction.

[00:00:26.73] Let me start by introducing who's on Zoom today, starting with the investigation
committee. We have Professor Theresa Amabile, the Chair of the committee, and Professor Bob Kaplan.
And, hopefully, another committee member will join us soon. We also have another staff member on
the call, Alma Castro, Assistant Director in Research Administration at the Business School.

[00:00:52.38] Next, I wanted to provide a brief explanation of the interview process. I think      I
mentioned to you that this is a faculty review of a faculty matter. So the interview will be a conversation
between you as a witness and the committee. It will just entail a series of questions and answers and, of
course,      you should feel free to elaborate on any answer that you think would be helpful to the
process.

[00:01:14.70] Some basic rules of the road for the interview for everyone-- just to make sure that the
transcription is clear, only one person should speak at a time. At the end of my introduction, I and Alma
will turn our cameras off and mute ourselves so that it's really just a conversation between you and the
committee.

[00:01:32.82]       for you specifically, please, answer the committee's questions truthfully. All answers
need to be audible so they can appear in the transcript, so nodding head is not sufficient. If you do not
understand a question, just ask for that to be rephrased. And if you don't know the answer to a
question, just please say so. If you need a break, of course, ask for one.

[00:01:56.91] A couple of last important reminders-- HBS has an obligation to keep this matter
confidential. So even the fact that this interview occurred or that there's an ongoing investigation into
allegations of research misconduct is confidential. So       we're going to ask you to keep all of this
information confidential.

[00:02:14.52] Lastly, per HBS policy, HBS community members may not retaliate in any way against
complainants, witnesses, the research integrity officer, or other committee members.     before we
get started, do you have any questions for me about the process?

[00:02:31.21]            : I don't.

[00:02:32.10] ALAIN BONACOSSA: OK. Teresa, we'll turn off our cameras, so I'll hand it off to you. Thank
you.

[00:02:40.32] TERESA AMABILE: Thanks, Alain. Hi,         It is so good to see you.

[00:02:44.85]            : Likewise. Good to see you too.


                                                                                                            

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 413 of 1282



[00:02:47.62] TERESA AMABILE: You know I'm Teresa Amabile, a professor at Harvard Business School,
Baker Foundation Professor. And I know that you don't need an introduction to me or my research
because you worked as my RA full-time. I believe it was 2017-'18, and then part time 2018-'19, when
you were also part time in Francesca's lab.

[00:03:13.56]             : That's correct.

[00:03:14.01] TERESA AMABILE: And you also worked on my research starting as an undergrad at
Harvard. I don't remember. Was that your sophomore year when you were a PRIMO fellow?

[00:03:25.14]             : I believe it was my junior year. Yes.

[00:03:27.54] TERESA AMABILE: OK, Great. And I gave Bob already a little bit of that background, so he's
familiar with the way we worked together. And now I'll let Bob introduce himself.

[00:03:39.71] BOB KAPLAN: Hi,        and just reiterating our appreciation for your willingness to speak
with us today. So I'm Bob Kaplan, and I'm Professor in the Accounting and Management unit. I don't do
laboratory studies, so our paths didn't cross during the term of service there. I work on measurement
issues, costing, performance measurement of organizations. Thanks.

[00:04:06.84] TERESA AMABILE: And,          if our third-- we're hoping that our third committee member,
who seems to be delayed, will join us at some point. And then I'll ask that person to introduce
themselves really briefly, and then we'll get back to what we were doing. OK. Are you ready to go?

[00:04:27.01]             : Yes.

[00:04:28.15] TERESA AMABILE: OK. So, first of all, just a general background question,    -- can you
tell us how you got to know Francesca and came to be involved in this particular research project with
her?

[00:04:41.62]            : Of course. So I came to know Francesca through one of my colleagues and a
mentor,             , who was and may currently be a doctoral student at Harvard Business School. So
    introduced me to Francesca. And after a few discussions with her, she said that she would like to
hire me as her research associate.

[00:05:04.90] I'm trying to piece together the timeline but I believe this was a few years into-- or it was
sometime into our working relationship between Fran-- Professor Gino and I that I came to work on the
study. So she sent me an email saying we have a project that requires your help. I need help putting
together the Qualtrics survey, and I need help launching this on MTurk.

[00:05:33.22] And so that was the extent of my involvement in the study. It was really essentially the
background work of making sure that the survey was working properly, and that we were able to field
this and recruit the participants that we needed. Yeah. So that's how I came to know Professor Gino.

[00:05:51.58] TERESA AMABILE: OK. Bob, did you want to follow up on anything           said there?

[00:05:58.97] BOB KAPLAN: Well, this may come later but, if you were involved in the front end of the
study, helping to set it up, was there someone else, another research assistant or a doctoral student,

                                                                                                           

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 414 of 1282



that may have been working once the study was underway, the data had been collected to screen and
clean up the data for Francesca to analyze?

[00:06:27.87]              : I believe there must have been someone else working on the data. I am aware
of the fact that Professor             and Professor         also worked on the project. I do not recall if
there were any graduate students involved in the project. So if the committee hasn't already done so, I
certainly hope that they will have the opportunity to review my email records and those electronic
documentation of my conversations with the team. But, yeah, I'm sorry. To answer your question
clearly, Bob, I believe that there were other people involved in the data analysis for this project at the
back end.

[00:07:03.90] BOB KAPLAN: OK. Thank you.

[00:07:05.22]              : Of course.

[00:07:05.55] TERESA AMABILE: And,          just one quick follow up before I ask Professor Shawn Cole to
introduce himself. Let me just quickly follow up, before it flies out of my head, on Bob's question. Do
you have any of the email records from the time that you were working for Francesca?

[00:07:31.44]              : I do not.

[00:07:32.57] [INTERPOSING VOICES]

[00:07:34.53]               : Just to ensure that I didn't have anything confidential after I left HBS, I have
gotten rid of all of those records. They all remain, I believe, at HBS.

[00:07:48.56] TERESA AMABILE: OK. Were you exclusively using an HBS computer--

[00:07:55.01]              : Yes.

[00:07:55.37] TERESA AMABILE: --for your work with Francesca?

[00:07:57.92]              : That's correct.

[00:07:59.76] TERESA AMABILE: OK. So you didn't have anything on a personal computer.

[00:08:04.20]              : No. I did not.

[00:08:05.49] TERESA AMABILE: OK. Great. Thank you for that clarification. And, Shawn, we're glad that
you're able to get on so quickly. We've just been talking with     for just a few minutes, about five
minutes after Alain's introduction. So would you like to introduce yourself?

[00:08:24.96] SHAWN COLE: I really apologize for being late. I had the time blocked and just got deeply
engrossed in something. So, Alain, thanks for texting me. I'm on the faculty in the Finance Unit at
Harvard Business School. I did an Economics PhD at MIT, finished in 2005 and came to Harvard, and have
been working there since then. I do a lot of field experiments as part of my research. And so, we really
appreciate your taking the time to meet with us.


                                                                                                                 

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 415 of 1282



[00:08:54.52]             : Of course.

[00:08:55.81] TERESA AMABILE: And, Shawn, one thing that I talked with Bob about a little bit before
     came on was the fact that      worked for me as an RA at HBS. Part of the time he was a Harvard
undergrad, and then full-time 2017-'18, and part-time 2018-'19, when he was also part-time working for
Francesca. OK. Just so that you have that background. OK.      would you like me to review just a
couple of sentences on what this particular study was about? The study that we're interested in is study
3A in the paper.

[00:09:45.13]            : I would really appreciate that. I did have the opportunity to review the paper
before, but just some cues would be great.

[00:09:54.55] TERESA AMABILE: Sure. So as you already noted, this is the paper where Francesca is the
first author, and the second author is                    and the third author is               . Right?
And it was published in 2020 in JPSP. So study 3A is the first of two online experiments examining the
independent effects of promotion and prevention focus on feelings of impurity and networking
intentions after instrumental networking. So in study 3A, participants read a story about instrumental
networking and were asked to imagine that they were the protagonist of that story.

[00:10:42.15] Study 3B was identical, except the participants actually engaged in instrumental
networking, while they were in the study. And participants in study 3A and 3B were randomly assigned
to either the prevention focus, the promotion focus, or a control condition. So does that refresh the
memory trace of the study?

[00:11:09.66]             : It does. Thank you.

[00:11:10.98] TERESA AMABILE: OK. So it's really important for our committee to understand how this
paper came about. You've already told us a little bit about how you first heard about this study idea, but
could you just to the best of your ability give us the chronology of your involvement in study 3A in this
paper? And also, say whether you were involved in the preparation of the paper itself. And if you could
try to place it in time as best you can, that would be helpful.

[00:11:50.84]              : Certainly. So in terms of the chronology, I do apologize if I'm unable to get the
dates quite right. Again, I do wish I had my email records to help me put that together, but I believe that
I was contacted by Professor Gino with her asking me to help with this study in 2019. And, as was the
case with many projects where I worked with Professor Gino, she would explain the theory behind the
project or her hypotheses later.

[00:12:26.58] But as I was helping with the-- essentially, just setting up the survey and working with
MTurk, I wasn't really filled in on the details of the project and how they came to develop the study
design. And my apologies, Teresa, what was the second half of your question? So it was about
chronology, that she reached out to me in 2019.

[00:12:51.77] TERESA AMABILE: She reached out to you in 2019. She did-- we believe that the study
itself, the data collection itself, happened in 2020, so if that helps to jog your memory a little bit.

[00:13:06.68] And you've told us, I believe-- this is what I heard-- that your involvement was to get an
email from her that she wanted you to set up a Qualtrics study-- Qualtrics survey for a study that she

                                                                                                            

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 416 of 1282



needed to conduct. And wanted you to get that set up and get it put onto MTurk for MTurk workers to
be the participants in the study. Did I hear that right?

[00:13:36.05]             : That's correct.

[00:13:37.10] TERESA AMABILE: OK. And the second part of that earlier question I asked was: were you
involved at all in the preparation of the paper describing this study, for example, drafting part of the
method, or in any way?

[00:13:53.94]               : I do not believe so. I am 99% sure that I did not have any involvement in the
writing of this paper. And if I did, it would have been not in the context of the full paper. But I believe
Professor Gino might have asked me to provide a summary of the method, but I believe that's the extent
of it. So I have actually never read the-- I hadn't read the rest of this paper until Alain sent it to me.

[00:14:23.53] TERESA AMABILE: OK. Thank you. Any follow ups? Bob and Shawn, you can just nod your
head or shake your head. OK. No follow ups, it looks like. OK. So you've more or less already answered
this, I think. But I am just going to try to go through it quickly. And you could just give simple answers, of
course, elaborating if you've got more information that would be helpful to us.

[00:14:52.41] So, again, we're focusing solely on study 3A in this paper. I'm going to go through each
stage of the research and ask you to tell us to the best of your knowledge when it occurred, who was
involved in supervising the activity, and who was involved in carrying out the activity. OK. So, study
conceptualization and design.

[00:15:19.36]           : I believe study conceptual-- well, I will first say that I actually do not know
how long Professor Gino was working on the study conceptualization. Knowing her work style, she could
have been considering running a study like this for years, or she could have come up with the idea a few
months before running it. So, I apologize, but I'm not entirely sure of that timeline.

[00:15:42.97] In terms of the design, though, of study 3A, that occurred either in late 2019 or sometime
in early 2020, I believe. Again, I do apologize for not having my email records. But that's my recollection
of events.

[00:16:01.62] TERESA AMABILE: And in terms of who did that activity, it sounds like you believe it was
her but--

[00:16:10.36]             : I believe it was-- I recall seeing Professor        on the email chains. I do
not believe that I had any in-depth interactions with Professor-- I apologize for mispronouncing this--
          So in my mind, I believe the people who were most involved were Professor Gino and
Professor            That's what I recall from the email threads.

[00:16:38.75] TERESA AMABILE: OK. Thank you, and I will just ask Bob and Shawn to throw their hands
up, if they have anything that they'd like to follow up on. By the way,      however you feel
comfortable, but you can refer to Professor Gino as Francesca, if you'd like. That's how we are referring
to her, so whatever you're comfortable with, though. And about data collection, if you could, try to
remember when it occurred, who supervised it, and who carried it out.



                                                                                                             

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 417 of 1282



[00:17:12.79]              : I believe data collection occurred-- I cannot say exactly when it happened in
2020, but I am pretty confident that it happened in 2020. And in terms of supervision, I do recall
discussing some aspects of the study with Behavioral Research Services, because I wanted to get a
better understanding of how to properly run this on MTurk. There are a number of different approaches
that people take, whether it's leveraging third-party resources that integrate with MTurk or simply
interfacing with MTurk itself. So I needed to get advice from BRS on that front. And in terms of data
collection supervision, it really was just Professor Gino and me working on that.

[00:18:00.07] TERESA AMABILE: OK. So would you-- is it fair to say that she supervised the activity and
you implemented it?

[00:18:08.41]             : Yes.

[00:18:10.21] TERESA AMABILE: Do you remember who you spoke with at Behavioral Research Services?

[00:18:14.26]             : I believe it would have been           and              . And I and I also
believe that this conversation probably would have been a brief one, in that it would have just been
confirming details as to how to launch this on MTurk.

[00:18:31.01] TERESA AMABILE: Do you recall,          if you had previously put together Qualtrics surveys
for Francesca's research and other studies?

[00:18:40.64]               : Yes. I believe I put together perhaps maybe 80 surveys over my time at HBS
just in Qualtrics. So I had put together a few for Francesca before this study.

[00:18:55.27] TERESA AMABILE: Before this one. And had you put any on MTurk previously, any of her
studies on MTurk?

[00:19:02.58]             : I don't believe so. I believe, for the most part, we were using Qualtrics surveys
in the context of in-person lab work. Or I would design a survey and someone else would launch it on
MTurk. This was the first instance in which I was asked to launch the study on MTurk myself.

[00:19:22.02] TERESA AMABILE: OK. Thank you. Data cleaning.

[00:19:28.10]            : I was not involved in late-stage data cleaning. If I recall correctly, I cleaned
some responses earlier in the process, just based on verbatim. Though, again, I really would hope that
the committee could look into my email records to see which files I sent to Francesca and whether or
not any data cleaning did happen earlier on.

[00:19:52.72] But it was-- if data cleaning did occur, I know that it would have been the case that it
would have been reviewing verbatim to see if anything seemed bot-like, and then confirming with
Francesca that, OK, this seems like a bot because the response is nonsensical, we should remove it. I
believe that's the extent of the data cleaning that I was involved in.

[00:20:14.69] TERESA AMABILE: OK. I'm not quite sure I caught all of it. Partly, I think the audio blipped
out a little bit, but could you say what-- it sounds like you're speaking from your general experience in
cleaning data from Qualtrics services, from Qualtrics for Francesca's research. Is that true?


                                                                                                              

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 418 of 1282



[00:20:33.74]              : That's true. Yes. But also, in terms of this study, my memory is that I wasn't
involved in any late-stage data cleaning. And I want the committee to know that I wasn't involved in the
data analysis for this project or any data cleaning beyond very, very simple work toward the beginning
to ensure that we weren't including bots in the sample.

[00:20:57.06] TERESA AMABILE: So it sounds like your initial data cleaning, the very earliest stage of data
cleaning, would have been making sure that you didn't have any robots, trying to make money for
somebody on MTurk by just robotically responding in ways that-- you're nodding your head. Is that
correct?

[00:21:21.82]             : Yes. That is correct.

[00:21:25.21] TERESA AMABILE: And it sounds like the way that you would determine if a response-- if a
survey should be deleted from the data set would be to-- you referred to verbatims. Could you say a
little bit more about how you would do that?

[00:21:42.88]            : I do want to apologize to the committee for my lack of recollection. I've
worked on so many studies at HBS that it can be difficult to separate them in my mind. Across all of the
projects that I worked with Professor Gino on, I was never involved in, essentially, statistical data
cleaning, where we would look for irregularities in the data and to say, oh, this can't be right. Sorry. Very
early in the morning here, difficult to articulate.

[00:22:14.95] But essentially, I wasn't looking at numeric responses, if I recall correctly. Honestly, if I did
clean data on this study, it would have been reviewing open-ended responses. And if there weren't
open-ended responses involved, then I actually don't believe that I cleaned any of the data for this
study.

[00:22:34.83] TERESA AMABILE: OK. And in terms of open-ended responses, I think I understood, from
what you said earlier, that you would look to see if there were any-- you would just skim through them
to see if any of the open-ended responses were nonsense.

[00:22:52.89]             : That's correct.

[00:22:53.82] TERESA AMABILE: That's correct?

[00:22:54.97]             : Mm-hmm. Yes.

[00:22:55.95] TERESA AMABILE: OK. OK. Shawn, Bob, any follow ups? OK. So I think the answer to the
next question is data analysis. When it occurred, who supervised it, who carried it out? It sounds like you
don't know.

[00:23:13.34]             : I do not know.

[00:23:14.15] TERESA AMABILE: OK.

[00:23:14.54]             : That's correct.



                                                                                                              

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 419 of 1282



[00:23:16.22] TERESA AMABILE: I also think you have the same answer to reporting the data in the
submitted and published versions of the paper.

[00:23:23.12]             : That's correct. I was not involved in the study at that point.

[00:23:26.24] TERESA AMABILE: And data posting on Open Science Framework, which is OSF.

[00:23:32.27]             : I was not involved in the OSF post either.

[00:23:34.82] TERESA AMABILE: OK. All right. Thank you. And,          please tell us who if anyone, that
you're aware of, might have had access to the data and the ability to modify it at each of the-- at each of
those stages of study 3A, in addition to anybody you already mentioned. And as far as I can recall-- but
you correct me if I'm wrong here-- it seems that you've mentioned, in terms of people who had access
to the data and the ability to modify it in some way, at any point, from data collection through posting
of the data publicly, were yourself, Francesca, and possibly                   and/or                  . But
it sounds like for those other two, those two co-authors, you're unsure about that.

[00:24:33.67]           : That's correct. I didn't have really-- I didn't have insight into what the faculty
collaborators were doing with the data after I handed it off to them.

[00:24:44.16] TERESA AMABILE: OK. And is it true that you can't think of anyone else in the lab who
might have had access to the data or ability to modify it in the lab or at HBS or anywhere?

[00:24:57.63]              : I can't confirm with certainty. It is possible that Behavioral Research Services
had access to the Qualtrics survey. At the same time, they have access to countless Qualtrics surveys,
and I can't think of a reason as to why they would edit the data in a systematic way. And it is possible
that a doctoral student was involved in this project, given the fact that Francesca was very determined
to get doctoral student-- pardon me-- determined to get doctoral students involved in research for their
benefit. But if there was a doctoral student involved, I don't know who it was.

[00:25:36.72] TERESA AMABILE: OK. Thank you. Thank you. It seems like you don't recall seeing the
names of any other individuals on any of the emails about this particular study. Is that true?

[00:25:50.61]             : That's correct.

[00:25:51.78] TERESA AMABILE: OK. And,           could you please tell us to the best of your knowledge
whether and how the data set for this study was modified at any point or points between initial data
collection and final posting of the data set on OSF.

[00:26:10.63]             : Yeah. To be honest, I'm very hesitant to comment on that because I didn't
have insight into the study after I finished working on the MTurk portion and after field, honestly. As
was the case with many projects, we were so busy that I would handle sort of the “dirty” work of
managing the survey and handling fielding, while other collaborators would work on data analysis. And
then-- pardon me-- Professor Gino would help me understand the process and the data analysis later on
for my own benefit and education. But, in this case, I wasn't involved in anything beyond some data
collection and perhaps a small amount of initial data cleaning.



                                                                                                               

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 420 of 1282



[00:26:58.42] TERESA AMABILE: OK. That's helpful. Thank you. It sounds like you don't recall any
conversations about how the study turned out or even what it was all about after-- at any point. It
seems that you honestly-- it seems like you didn't really know what they were looking at or looking for in
this study at any point. Is that true? Did I understand that correctly?

[00:27:25.24]               : I'd like to clarify just a bit. I believe Professor Gino-- it is very early in the
morning here, so I'm stuttering a bit. My apologies. I believe that Professor Gino might have given me a
brief theoretical overview of prevention versus promotion focus and explaining the study design to me
initially. But I never got an in-depth understanding of what the hypotheses were or what the goals of the
study were and how they expected the results to turn out.

[00:27:57.31] TERESA AMABILE: That's helpful. Thank you. Do you recall any conversations about any of
the others-- I don't even know if you looked at any of the other studies in this paper, but do you recall
conversations about any of those other studies?

[00:28:10.72]             : I recall Professor Gino mentioning study 3B. But that's really the extent of my
involvement after running or helping run study 3A. She mentioned that they had follow up studies. And I
believe that's the extent of our conversations about the other papers.

[00:28:31.29] TERESA AMABILE: OK. Do you recall if you were involved in study 3B in any way?

[00:28:36.22]              : I have the study open. I may, if it's OK, just take a quick look at it and see if I
recall any of the details.

[00:28:42.57] TERESA AMABILE: I can tell you it was identical to 3A--

[00:28:45.42]              : Identical?

[00:28:46.17] TERESA AMABILE: --except that as people were-- as participants were-- after the
prevention or promotion focus was instantiated, one of the dependent measures was that they were--
rather than reading a story-- I'm sorry. I'm babbling here.

[00:29:08.57] They actually were asked to send an email to someone from their network from a while
ago-- someone that they hadn't had contact with recently but they thought might be helpful to them in
networking. I believe that they actually sent an email, behaviorally, rather than just reading a scenario
and asking to identify with the protagonist.

[00:29:32.69]            : Now that you explained the study, I do recall Professor Gino mentioning it
and discussing it with me. But, to the best of my knowledge, I wasn't involved in running study 3B.

[00:29:42.59] TERESA AMABILE: OK. Thanks. Bob and Shawn, I'm about to go to the section on data
anomalies. OK. No follow ups. All right.

[00:29:51.74] So,       what we're going to do is screen share with you a few different tables of analyses
that have been done on two data sets that I'm going to describe right now. One is what I'll keep
referring to as the OSF data set, and that is the data set that was publicly posted as, you know, when the
study was published, here are the data for this study, study 3A. And those are the data that we're--
those are the analyses that appear in the published paper.

                                                                                                                   

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 421 of 1282




[00:30:33.52] The other data set is the one that was downloaded from Francesca's Qualtrics account.
OK? So it's what I will refer to as the Qualtrics data or Francesca's data set. OK? So you've got those two
data sets in mind. So comparisons have been made between those two and some discrepancies, actually
quite a few discrepancies, have been discovered. OK?

[00:31:01.94]             : Yeah.

[00:31:02.71] TERESA AMABILE: I'm going to go through this. It's going to take a while. There are six
tables, and I'll talk through them. Just stop me at any point if you have a question about what you're
looking at, or if we're going through them too fast or something. Is that OK?

[00:31:19.84]             : Sure. Thank you.

[00:31:21.10] TERESA AMABILE: OK, great. And, Bob and Shawn, I'm going to ask you guys-- if I misspeak
about anything please just break in and correct me, or if I forget something important. OK. So first, Alain,
if you could screen share Table 1, we're just going to be looking at the means here,       the means of
the experimental conditions in the two data sets. And you'll see that they're pretty different. Alain, your
screen share is not showing up. We do see Alain Bonacossa has started screen sharing. Could you
somehow signal to us if you're still online, because I think this--

[00:32:04.44] [INTERPOSING VOICES]

[00:32:05.26] TERESA AMABILE: --may indicate that you're frozen.

[00:32:08.06]             : Here we are.

[00:32:11.79] TERESA AMABILE: It looks like he's here.

[00:32:14.05] SHAWN COLE: Yeah. We got it.

[00:32:15.10] TERESA AMABILE: Yeah. Yeah. We see the screen share now.              are you seeing the
screen share?

[00:32:20.85]             : I am.

[00:32:21.42] TERESA AMABILE: 2020 paper, Table 1? OK. So what we've got are the three conditions--
promotion, prevention, and control. Author's data set is Francesca's data set, of course, and OSF is the
publicly-posted data set. And, as you can see, the means for the control condition are very close. But
they're actually flipped around in order for the two experimental conditions.

[00:32:57.08]             : Yes. That's correct.

[00:32:58.82] TERESA AMABILE: OK. Do you have a question about this or shall we go on?

[00:33:04.25]              : Just very-- I apologize for my facial expressions. I'm just very concerned seeing
this. That's very strange.


                                                                                                           

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 422 of 1282



[00:33:14.07] TERESA AMABILE: Yeah. Yeah. OK. And Table 2 is next. And let me just tell you, what
you're going to see in Tables 2 and 3,   are small samples of very specific discrepancies between the
two data sets on the moral impurity measures. OK?

[00:33:37.64] So these are just the moral impurity measures. And what you're seeing here is three pairs,
which appear to be the same surveys. If you look under the essay column-- and this is condition one
which is the promotion focus condition. If you look in the essay column, these really do seem to be the
same subject--

[00:34:06.06]             : That's correct. Yeah.

[00:34:07.47] TERESA AMABILE: --in the pair. And, also, the two right-hand columns, they're also open-
ended responses, written responses by the participants. And those are identical.

[00:34:20.31]             : Yes.

[00:34:20.48] TERESA AMABILE: But if you look at the numbers for the several moral impurity measures,
you can see that they're very different. So that first pair, which was row 448 in the public data set and
row 451 in Francesca's data set, you can see that the average of the numbers that were publicly posted
is 1.3. And in Francesca's data set, very different, 5.6.

[00:34:56.87]             : Yeah. Yes.

[00:34:58.40] TERESA AMABILE: Yeah. And for the other two pairs of rows the differences are even a
little bit more extreme in the two data sets.

[00:35:05.69]             : Yes.

[00:35:06.62] TERESA AMABILE: So the quantitative data change-- yeah. Go ahead,              Yes.

[00:35:11.00]              : Yeah. This is-- I'd never seen this, but I do recall these verbatim now, now that
I see the essays and-- because I reviewed responses like this. So that's the only comment I have at this
time. And also, I just do want to note that I'm also seeing the discrepancies that you're describing, and
I'm both confused and concerned seeing them.

[00:35:42.51] TERESA AMABILE: OK. Do you have any other comments? The next table is going to be,
essentially, the same kind of table but with condition two, which is the prevention focus. But is there
anything else that you'd like to say in terms of your reaction to this or comment on this before we move
to Table 3?

[00:36:02.47]             : If I can have just another 30 seconds to take a look at it--

[00:36:05.38] TERESA AMABILE: Of course.

[00:36:17.93]              : I can't think of a way in which the data would have been accidentally changed
in this way, since the patterns-- they're not consistent in terms of what is and isn't changing. That's all I
have to say, aside from the fact that I'm concerned by seeing these results. Because we shouldn't be


                                                                                                           

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 423 of 1282



seeing discrepancies like this between your original data set and the clean OSF data set. That's really all I
have to say at this point.

[00:36:53.35] TERESA AMABILE: OK,     So you were looking for something that might explain--
something that might have happened automatically with the data. Is that what you were looking for?

[00:37:04.84]                : That's correct. I think-- I mean, in my experience, I was always paranoid about
data quality. I would always have multiple copies of files to ensure, if I did have to do some initial data
cleaning based on verbatim or if we were doing data analysis, I would always make sure that the data
set that I was working off of was good and correct and was-- contained the same data that we had
initially collected. So I can't think of a way in which-- I have no idea as to how the data changed from the
original Qualtrics data set and the OSF data set. I don't know how this happened. And I can't think of,
like, an accidental way in which this could have happened.

[00:37:51.02] TERESA AMABILE: I do recall from your work with me that you were an absolute hound
with precision when it came to our data sets. So, OK.

[00:38:01.43]             : Thank you.

[00:38:01.91] TERESA AMABILE: So could we see Table 3, please? And, as I said, this is condition two,
     prevention focus. And it's the same kind of table, where you're going to see pairs of rows that are
matched on the open-ended qualitative responses, but very different in the quantitative. And I'll give
you a little bit to look at that, and then I'll ask you to comment.

[00:38:42.82]             : I can see, for the second and third examples, it seems that the scale was
flipped for them or their responses [inaudible] must have been flipped. But when we consider the first
example and how the original set just had responses of 1 to all of those impurity statements and that it
changes to be-- it seems to be in the OSF data in row five, we see variation across those responses,
whereas the original row one, I don't know how that could have happened through just your typical
manipulation of the data set in order to clean it or in order to arrange it such that you can analyze it. I
can't think of how that could have happened row five.

[00:39:33.95] TERESA AMABILE: OK. Would you like more time on this one?

[00:39:43.88]             : I think I'm OK with seeing it for this amount of time. I think I've seen what I
need to see if that's OK.

[00:39:51.58] TERESA AMABILE: OK, thanks. And now, before we show the next set of tables, I'm going
to just give you a little preview of what you're going to be looking at,    So we have three tables to
show you next. The first two are going to be similar to each other, in terms of the kind of table they are.

[00:40:14.07] These three tables are going to show the extent of the discrepancies. So these are-- what
you've seen in Tables 2 and 3, are samples of discrepancies at kind of the microscopic level of particular
rows of data that we can look at. These next tables will show you the extent of discrepancies, and not
just on the moral impurity ratings-- which are the ones that we've been looking at-- but on both the
moral impurity ratings and the other dependent variable, which is networking intentions. OK?



                                                                                                              

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 424 of 1282



[00:40:54.56] And these tables were created by matching surveys based on the exact words in the
qualitative data, just as you saw in these two, Tables 2 and 3. OK?

[00:41:05.53]              : OK.

[00:41:05.90] TERESA AMABILE: OK. But these next tables are going to show you what we see when that
kind of matching is done for all of the surveys in the entire data set. OK?

[00:41:18.95]              : Mm-hmm.

[00:41:20.18] TERESA AMABILE: OK. All right. So Table 4-- Alain has just put that up-- shows that 40
observations or 40 surveys in the promotion focus condition-- so this is just that condition one-- 40
observations have discrepancies in the quantitative data for the moral impurity measures or the
network intention measures or both. Blue indicates that the public data set has values that are lower,
and red indicates that it has values that are higher than the matching survey in the Qualtrics data set on
Francesca's computer.

[00:42:06.25]              : I see.

[00:42:10.46] TERESA AMABILE: As you might recall, the hypothesized and reported in the paper effect
is that under promotion focus-- that's this condition-- people will feel lower levels of moral impurity
after networking and will have higher intentions of networking in the near future.

[00:42:34.43]               Yes.

[00:42:36.13] TERESA AMABILE: So every one of these discrepancies is in the direction of the
hypothesized effect.

[00:42:40.75]               : Precisely. I agree. My only comment at this point-- and I imagine that we'll
discuss this later-- gosh. I think-- Yeah. It's clear to me, seeing these results, that the only way that this
could have happened is if the data were intentionally changed to, essentially, get significant results.
That's what I think from seeing this, and that's my perspective at this point.

[00:43:20.61] TERESA AMABILE: Thanks for that,        Do you want any more time to look at this? The
next table is going to show you the condition two, same kind of-- this is called a heat map, same kind of
heat map.

[00:43:33.77]               I think I've seen enough of Table 4. Thank you.

[00:43:36.17] TERESA AMABILE: OK. So we'll go to Table 5, which is condition two, prevention focus. And
here, many more surveys show discrepancies. Actually, only about a third of them would fit on this
page. And we don't have tables showing you the other 2/3, but 43 observations out of 128 in this
condition have discrepant values.

[00:44:09.22] And, again, you can see that all of the discrepancies are in the direction of the
hypothesized and reported effect. That is, under prevention focus, people will feel higher levels of moral
impurity after networking and will have lower intentions of networking in the near future.


                                                                                                             

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 425 of 1282



[00:44:31.65]             : The part that concerns me most about this table-- and perhaps, in a second,
we can go back to the previous table. But it's not-- one of my initial thoughts is, OK, perhaps someone--
and this doesn't even align with the approach that I think       would take. But if we had a script in R or
something that was meant to help in data cleaning, something went horribly wrong. Perhaps you would
see systematic differences that could be accounted for, and then, oh, we made a mistake in the script.

[00:45:01.79] But the thing is that the differences vary across responses or like we see in the heat map,
that it's not like a consistent pattern of, oh, these numbers are higher here. But rather it varies across
responses, which tells me it's not an issue with a script in R or something along those lines. But rather
the most likely explanation is that someone manually edited this data to produce this sort of result.

[00:45:29.01] TERESA AMABILE: I hear you.

[00:45:32.68]            : And I think that's the extent of it. Oh, sorry. Please, go ahead.

[00:45:35.01] TERESA AMABILE: No. It sounded like you would like to take a quick look at Table 4 again.

[00:45:38.82]            : Yeah, if I may.

[00:45:40.53] TERESA AMABILE: Sure. We can scroll back to that one.

[00:45:47.75]            : And we're seeing essentially the same-- from my perspective, the same sort of
issue where in the heat map areas it's not a systematic issue where we're seeing one item is consistently
higher or something along those lines. If that were the case, then I would think perhaps there was--
perhaps someone made a mistake in data analysis.

[00:46:05.26] And we can go into the R script-- I don't know which software they used to conduct the
analysis-- but we could go back to the software and see how exactly we ran the analyses and see if
someone made a mistake that could lead to a systematic issue. But clearly, these differences are all over
the place. And the heat map varies across items and respondents. So it's the same issue, where I think
someone must have edited this. That's my hunch. That's my best guess.

[00:46:33.37] TERESA AMABILE: OK. Thank you. It sounds like you have familiarity with heat maps. Do
you?

[00:46:41.68]              Only slightly, and due to my current job.

[00:46:44.74] TERESA AMABILE: Your current job, OK. All right, thanks. And, finally, we've got Table 6,
and it sums up the survey-by-survey comparisons between the two data sets for all three conditions. As
you can see, there were discrepancies in 20% of the surveys in condition one, that's the promotion focus
condition. And 65% of the surveys in the prevention focus condition. But no discrepancies at all in the
control condition, and that's condition three.

[00:47:24.89]             : And, again, that suggests to me that it's the same-- I don't have access to the
scripts that they used to run the analyses or to clean the data. But seeing that condition three doesn't
have any discrepancies, again, suggests to me that it's not a systematic mistake in someone cleaning the
data with software. It seems to be that if someone had made a mistake in some sort of automated
process, I think we would be seeing issues across all three conditions. But the fact that we're not seeing

                                                                                                         

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 426 of 1282



any issues in condition three suggests to me, again, that someone manually edited these responses.
That's just my perspective. I could be wrong, but that's my initial impression seeing this.

[00:48:16.88] TERESA AMABILE: OK. Thank you,            So I believe what I've heard you saying, as you've
been looking at these tables, is that you can't explain how such discrepancies could have arisen through
what could be considered innocent error.

[00:48:37.19]               : I cannot. I'm sorry to say it, but-- and I realize that HBS may not be able to do
this. But I'd be happy to take a look at other materials to see if I can try to figure out what has happened
here, if there are scripts. If there's anything else that they used in the data analysis that could help
explain this. But honestly, from what I'm seeing here, the parsimonious explanation is that someone
edited the data manually to get certain pattern of results.

[00:49:14.15] TERESA AMABILE: OK. Thanks. Thanks for giving us your views on that,              Really
appreciate it. Bob, Shawn, any follow ups from you? OK.

[00:49:24.84] BOB KAPLAN: Yeah. Just to-- just to say--

[00:49:27.12] TERESA AMABILE: Go ahead, Bob. I'm sorry.

[00:49:29.73] BOB KAPLAN: --that I really appreciated     's willingness to think in real time and react to
the data in a very honest and candid way. So thank you for that.

[00:49:42.03]             : Of course. It's my pleasure.

[00:49:43.65] TERESA AMABILE: Yeah. Thank you very much,             And even offering to try to help us
out in other ways offline. Alain, I think you can stop the screen share now. Thank you. OK. So we've got a
few remaining questions,         We'll try to wrap up as quickly as we can. We know that you start work in
about 40 minutes from now, I guess.

[00:50:08.84] So we'd appreciate it if you could describe the way Francesca's lab was run during the
time you worked for her. I have a few specific questions. But maybe you could make a few general
comments about how it felt to work for her in her lab in terms of the work environment.

[00:50:32.82] BOB KAPLAN: Teresa--

[00:50:34.18] TERESA AMABILE: Go ahead, Bob. Yes?

[00:50:36.01] BOB KAPLAN: I don't know whether you consciously skipped the question that we just--

[00:50:39.95] TERESA AMABILE: Ah. I did not consciously skip it, Bob. Could you ask it please? It was a
very important question,    that I missed.

[00:50:50.17] BOB KAPLAN: I think we-- well, you've in a way explained it. But we do have to ask this
question of every person that we interview. Did you personally change the data in any way that could
have led to the discrepancies that we have just shown you?



                                                                                                            

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 427 of 1282



[00:51:09.06]              : I did not change the data in any way that could have led to those
discrepancies. If I had changed the data, it would have been at the early stages, based on those
verbatim, in order to remove certain responses. But I never edited the data before sending it to
Francesca.

[00:51:25.89] BOB KAPLAN: OK. Thank you.

[00:51:27.18]           : In the sense of-- and for clarification-- I never edited the data in the terms of
changing scale responses, in terms of changing numbers. If I edited the data, it was identifying responses
that we should delete and then confirming with Fran that we should, in fact, delete them.

[00:51:43.35] TERESA AMABILE: Thank you. Thank you,

[00:51:45.12]             : Of course.

[00:51:45.76] TERESA AMABILE: And thank you, Bob, for rescuing me by noticing that omission. So do
you want to say a few words about the work environment in Francesca's lab?

[00:51:59.92]           : Of course. So, with Francesca, she had her hands in a lot of projects. She was
extremely busy and liked to keep busy. And, as a result, she would delegate a lot. And so her projects
would frequently involve many, many collaborators working in tandem and, of course, keeping her
informed about progress. But her role was more so in developing the theories, developing hypotheses,
developing the study design. But there were many times where she was rather hands-off.

[00:52:33.46] I didn't mind it. She trusted me, and I know that she trusted her collaborators. But that
was frequently the case, where she was just too busy, and then she would come in at various points to
check in. But for the most part, she was juggling so much between life, and executive education, and
teaching, and of course, running so many studies simultaneously that she wasn't as hands-on as other
professors, I think, in my experience of work.

[00:53:03.20] TERESA AMABILE: OK. So a few specifics-- can you tell us about how you and Francesca
typically communicated about her research during the time?

[00:53:14.03] BOB KAPLAN: No, just--

[00:53:15.05] TERESA AMABILE: Oh, yeah, Bob, go ahead.

[00:53:16.37] BOB KAPLAN: Just to follow up on that, because it was a very interesting response, is
delegated to you,         the initial setup of the experiment, make sure the survey ran, and make sure
from a qualitative point of view, as you have explained, that anomalous responses were identified and
perhaps excluded. And so we're trying to identify who she might have delegated the next stage of the
work to. Given that you just stated how busy she was in many things and her style of delegation. If you
could help us understand who might have been the delegatee for looking at the data initially and doing
initial calculations of the means and this and other analysis like that.

[00:54:13.24]              : Of course. My best guess would be it would have been one of the other
faculty collaborators. I know Professor           was involved in data analysis for a few projects. I do not


                                                                                                         

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 428 of 1282



mean to accuse them, of course, of doing this manipulation. But I'm just trying to name the people who
could have been involved in data analysis.

[00:54:31.63] It could have been one of the other faculty collaborators. It could be a doctoral student
that I didn't have contact with or someone who might have been just on the edges of my awareness in
terms of running this project, or the first parts of this project.

[00:54:47.59] So, yeah, I think it could have been a doctoral student. I think it could have been a faculty
collaborator. There's a very slight chance it could have been Research Computing Services, though that
doesn't apply in my mind. I don't think they would ever edit the data in this way. Those are the only
people that I think would have had hands on the data in the later stages, during data analysis.

[00:55:07.09] TERESA AMABILE: Bob, any more?

[00:55:07.97] BOB KAPLAN: I'm done.

[00:55:09.19] TERESA AMABILE: And,      undergrads-- were there undergrads working in her lab at
that time who might have been working on data in some way?

[00:55:20.36]           : I don't believe so. If I recall correctly, I don't believe so. There were
undergrads involved through-- I apologize. I don't remember the name of the fellowship, but there were
a few undergrads who worked on a different project. But I don't believe there were undergrads working
on this one. No.

[00:55:40.82] TERESA AMABILE: OK. Shawn, you didn't have anything, did you? No? OK. So can you tell
us how you and Francesca typically communicated about her research?

[00:55:53.83]             : Yeah. So Francesca and I typically communicated through a few means. We
would have in-person meetings from time to time, but the majority of our communication was
electronic. Most of it occurred via email.

[00:56:07.47] TERESA AMABILE: I'm sorry. Most of it occurred via--

[00:56:09.80]             : It occurred via emails.

[00:56:11.46] TERESA AMABILE: OK. OK. About how frequently would you meet in person? Do you
remember?

[00:56:16.88]            : It's difficult to say, because it varied throughout the year, depending on her
schedule. We did try to have one-on-ones once or twice a month, at the very least, if I recall correctly.
But we weren't meeting very, very frequently. It was usually we would touch base earlier in the week,
perhaps earlier in the month, even. And then I would have my marching orders and would continue to
work on research in the meantime.

[00:56:44.54] SHAWN COLE: Did you ever do any work using her office computer or her personal
computers, or did you--



                                                                                                         

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 429 of 1282



[00:56:50.06]             : No. I will say, Shawn, there were a handful of instances where Francesca
would show me data on her computer in her office. And I believe there was only one instance where she
asked me -- for a completely separate project, this was for a case study -- where she asked me to take a
look at one thing on her computer while she was present. But, if I recall correctly, I never had access to
her personal computer or her work computer in relation to this study.

[00:57:22.40] SHAWN COLE: OK. Thank you.

[00:57:23.89]             : Of course.

[00:57:24.83] TERESA AMABILE:       can you tell us where your office was during that time that you
were working? I think when you were part-time for me and part-time for her, you were 75% for her and
25% for me. And then-- you're nodding, yes. And then the following year, after that, you were 100%
time--

[00:57:44.45]             : That's correct.

[00:57:45.14] ALAIN BONACOSSA: --working for her. Correct?

[00:57:47.60]             : That's correct.

[00:57:48.56] TERESA AMABILE: OK. And did you work for her in total-- counting that part-time year-- for
was it three academic years or two?

[00:58:00.70]           : That's correct, Teresa. It was three academic years. The first year was full-
time with Professor Gino. The second year was I believe-- my apologies. I also hope that you can reach
out to--

[00:58:16.58] TERESA AMABILE: Oh, of course, we can reach out to the Research Support Services
people--

[00:58:20.34]             : Yes.

[00:58:20.72] TERESA AMABILE: --and find out for sure. So was your office there? I know that there's a
suite in the floor of Baker/Bloomberg, where Francesca's faculty office is. Was your office up in there, so
you kind of saw the people who were working with her or saw her?

[00:58:43.14]               : Yes. Mm-hmm, to some extent. I was not located right next to Francesca's
office. I was located a bit further down the hall. And I was working right next to one of the lead FSS's
who was              So my desk was right next to hers, close to the doors on that fourth floor.

[00:59:04.80] TERESA AMABILE: OK. Close to the doors on the fourth floor. OK. I can picture that. All
right. Is that             ?

[00:59:13.31]             : Yes.

[00:59:14.15] TERESA AMABILE: OK. So can you describe-- let me see. I don't know if we need this one.
Can you describe the details of how you would typically work with data for Francesca's studies with

                                                                                                           

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 430 of 1282



respect to collecting it, cleaning it, modifying it, analyzing it, sharing it with other researchers at HBS, or
elsewhere, posting it, and so on? So I think you've covered most of that, if not all of that. Is there
anything you would want to add?

[00:59:45.46]            : Sure. And just to recap, my involvement in-- my involvement in the research
varied from project to project. For example, I was involved in data analysis for a project involving
          , where we were analyzing reactions to open office plans. So that's an instance of a study
where I was involved in data analysis.

[01:00:07.63] For this study, I wasn't. I really was only involved in the design of the Qualtrics survey, and
fielding this on MTurk, and a bit of initial data cleaning. And that's the extent of my involvement in
handling the data for this study.

[01:00:24.83] TERESA AMABILE: OK. I'm OK with that. Anybody have follow ups?

[01:00:31.06] BOB KAPLAN: It's consistent with what           said earlier.

[01:00:34.01] TERESA AMABILE: Right. And I think you've already answered this question. Can you say
who else in Francesca's lab, during that time-- specifically the time that this study 3A was done-- worked
with data in her studies, including other HBS RA's, student RA's, undergrad student RA's, doctoral
students, postdocs, other faculty, anyone else that you can remember?

[01:01:02.60]            : I think the only collaborators that I can name specifically would be the
professor's names in the paper and, of course, those are non-HBS researchers. And in terms of HBS
researchers, it was me-- Behavioral Research Services might have helped me to some extent with this
project, though they help me with so many projects that it's hard to say if they did. But I think they
might have.

[01:01:27.20] There may have been a doctoral student involved in some way, because Francesca wanted
them to get exposure to this process. But, in this case, I honestly just don't know. I don't know. And
that's the extent of my knowledge of the collaborators involved.

[01:01:42.12] TERESA AMABILE: OK. Great. Did you use Francesca's Qualtrics account?

[01:01:48.60]              : I used my Qualtrics account.

[01:01:53.52] TERESA AMABILE: OK. So you had a separate account from Francesca's Qualtrics account?

[01:01:59.13]              : That is correct.

[01:02:00.12] TERESA AMABILE: How did she get the Qualtrics data from you?

[01:02:04.44]             : To be honest, I don't recall. I believe it would have been done via one of two
ways. Within Qualtrics it's possible to share surveys. So it's possible that I shared-- that I gave Francesca
access to the survey within Qualtrics, and then she downloaded it.

[01:02:20.34] Or there is a chance that I downloaded the data and sent it to her. I believe it was the
former, rather than the latter, that I shared the survey with her, and then she handled it from there. But

                                                                                                             

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 431 of 1282



I do certainly-- I really hope that the faculty has the opportunity to look into my email records to figure
out and to see that I sent the raw data to Francesca without edits. I know that that's the case.

[01:02:43.75] TERESA AMABILE: Thank you.

[01:02:45.51]             : Or if I did send it, it was something that we discussed in the context of initial
data cleaning.

[01:02:51.37] TERESA AMABILE: Did you just say in the context of initial data cleaning? Did I hear that?

[01:02:54.49]             : That's correct.

[01:02:54.92] TERESA AMABILE: Yes. OK.

[01:02:55.46]               Yes.

[01:02:57.56] TERESA AMABILE: Did other people in the lab use Francesca's Qualtrics account to your
knowledge.

[01:03:02.48]            : To my knowledge, no. But I don't know. I honestly can't say either way. I just
didn't see that happening.

[01:03:14.94] TERESA AMABILE: To your knowledge, did you or others in the lab have access to any
other accounts of Francesca's, any other electronic accounts?

[01:03:28.49]            : I'm just thinking very hard about this, because I think I'm trying to recall if I
had access to any of her accounts. I don't believe so, no.

[01:03:41.88] TERESA AMABILE: And, to your knowledge, no one else did?

[01:03:45.24]             : I don't believe so.

[01:03:46.95] TERESA AMABILE: OK.

[01:03:48.78]            : There were times that-- For the sake of complete transparency, there were
times due to teaching, that Francesca gave me her keys to her office. I never had her login information,
however, so I was never able to and nor did I ever want to access her laptops.

[01:04:08.16] I do think it is possible-- I don't know, but it is possible that she gave similar access to
someone else. It's something that I think Francesca would have to comment on herself, but I think that's
something the committee should know. This is the sort of thing where Francesca would say,                I need
x papers or x books to be brought from my office, so we can teach this or so so-and-so can receive those
books or another material for her class. But that was the extent of my access to her office.

[01:04:38.19] TERESA AMABILE: OK. Thanks. Can you describe the work environment of Francesca's lab
as you experienced it? We're particularly interested in-- well, go ahead. Yeah. Go ahead and answer it,
and then I'll ask something more specific.


                                                                                                               

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 432 of 1282



[01:04:52.53]            : Sure. I would describe the general work environment as being very friendly,
very supportive, Francesca always trying to take on a role of-- actually, my apologies. Can I return in just
one minute? I need to handle one thing.

[01:05:05.82] TERESA AMABILE: Oh, of course.

[01:05:06.57]             : Sorry.

[01:05:06.84] TERESA AMABILE: Absolutely. Yes.

[01:05:08.16]             : I'll be right back. Sorry about that. Someone was banging on my door. So I
wanted to check on it.

[01:05:36.54] TERESA AMABILE: OK. Is there anything you have to take care of right now? Because we
can take a short break. No?

[01:05:40.83]             : No problem at all. I'm all set.

[01:05:42.03] TERESA AMABILE: OK. OK. Was there something else that you wanted to add? It seemed
like you were kind of in the middle of something.

[01:05:50.34]             : Yeah. So in terms of the work environment, I will say that Francesca was very
friendly, very supportive, always took my goals into account, and tried to give me projects that would
help me advance my career. She knew pretty early on that I wasn't interested in getting a doctoral-- in
pursuing a doctoral program or getting a PhD. And so she would give me opportunities that would help
me go into industry. That was her goal.

[01:06:17.41] So, with that said, she also-- as I mentioned before-- was so busy and essentially was, from
my perspective, stretched thin, that she didn't always have the time to really go in depth and review
certain things that I think-- I do think that she did her best to do her due diligence. But I think when you
have so many things on your plate, it's possible for things to slip through the-- pardon me, through the
cracks.

[01:06:45.88] And I think that's my perspective of the lab. She was an excellent researcher, from
everything that I saw. And I never got any indication that she would be someone who would commit
academic fraud. It doesn't seem like her, from knowing her. And, yeah, that's really all I have to say
about the work environment.

[01:07:08.99] TERESA AMABILE: OK. Now, here's that very specific question I had about it. We're
particularly interested in knowing whether you might have felt pressured or incentivized in any direct or
indirect way by Francesca to produce certain outcomes in the study.

[01:07:26.27]            : That never occurred during any of the projects that we worked on together.
There were many times that we saw results that weren't significant and her response was, well, darn,
we'll run another one. There will be something else.




                                                                                                          

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 433 of 1282



[01:07:38.40] So she never pressured me to get results. She never pressured me to get significant results
on anything. It was just a matter of running the study and seeing how it came out. So this all comes as a
surprise to me.

[01:07:54.25] TERESA AMABILE: Do you believe that anyone else in her lab was being pressured or
incentivized to produce certain outcomes in a study?

[01:08:01.72]              : I never saw Francesca pressure anyone that we worked with to get certain
outcomes, not from my perspective. I never saw her pressuring other people. I do think it's possible that
other people could have motivations that could lead them to edit the data, though I don't have any
insight to that and I hesitate to speculate.

[01:08:25.27] TERESA AMABILE: OK. Thanks. Is there anything else about the atmosphere in Francesca's
lab or the way she ran her research or supervised her lab personnel that you think could be helpful to
us?

[01:08:38.81]             : I think-- I hope I have summarized it well. And, again, just to recap-- very
friendly, very open, very-- she relied on delegation a lot in order to manage her projects because of how
many there were. And I never had any indication that she was pressuring people to get results. And she
never pressured me to get results.

[01:09:02.29] TERESA AMABILE: OK. Great. Thanks. Good summary. Shawn, Bob, before I get to the last
two questions, anything? Any follow ups?

[01:09:11.62] BOB KAPLAN: No. I'm good.

[01:09:14.23] TERESA AMABILE: So,        at any time during or after the research in this paper was being
done or written up or published, did you have any concerns about the integrity of the data?

[01:09:28.05]              : I did not have concerns, but only because I didn't have insight into what was
happening with the data. I hope that answers the question. But I didn't have concerns, because I
trusted-- I trusted Francesca. And I figured that after I handed off the data to her and the rest of the
faculty that it was going to be managed well. That was my perspective.

[01:09:57.64] TERESA AMABILE: Thank you.

[01:09:58.84]             : Of course.

[01:10:01.11] TERESA AMABILE: All right, last question.  is there anything else we should know, as
we try to determine whether research misconduct occurred with respect to study 3A in this paper, and if
it did, who might have been responsible for it?

[01:10:17.44]            : I think-- this is something that I'm sure the committee has discussed. I don't
know what HBS's policies are in relation to what I'm about to propose. But if I still had my laptop and
this came up, I would be going through every single email chain and every single attachment in those
emails to see where the discrepancy was introduced.



                                                                                                            

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 434 of 1282



[01:10:40.57] Because, of course, we can compare the OSF data to the Qualtrics data. But the question
is there were clearly-- there are multiple iterations of this data that had to have existed throughout the
process of running 3A. And so the only thing that I would want to chase would be, like, looking through
the email chains and figuring out, OK, when exactly did these discrepancies get introduced. That's really
the only comment I have on that topic.

[01:11:08.61] TERESA AMABILE: OK. So it sounds like you would look for emails that had data files
attached to them.

[01:11:14.11]             : Precisely. I do also know that Francesca sometimes exchanged data via
Dropbox, via box.com. There was another website that I think you could potentially ask her about that
allowed you to send files for temporary downloads, which would make it more difficult to track because
the file would have been deleted by now. Because it was a temporary file sending device.

[01:11:35.26] TERESA AMABILE: Are you referring to the Secure File Transfer system?

[01:11:39.83]              : So I did introduce Francesca to SFT, and I believe she used it from time to
time. But there was another file transfer system. It's been so long that I don't recall exactly what it was,
but it's something that you could potentially ask her about in relation to this, as well. If she ever sent--
essentially figuring out which means did she use to share the data with her collaborators, that's what I'd
be curious about to figure out. And we could probably even figure out who edited the data, if we were
to track that chain. That's my best recommendation.

[01:12:10.64] TERESA AMABILE: OK. Great. Thank you. Anything else that you'd like to comment on or
say before we let you go?

[01:12:18.59]              : Yeah. Just a couple of things are-- that I've always been committed to
academic integrity. I was raised by a professor or, essentially, my father was a teacher for a while. And it
was instilled in me early on in life. And then I think I've demonstrated, over the course of my career and
my academic career at Harvard, academic honesty. In working with both you and Professor               I
never tried to falsify results, and I never had any desire to, and I think it's profoundly wrong.

[01:12:50.11] At the same time, it just doesn't seem like Francesca. Knowing her, working with her, this
really does come as a surprise to me. Her response to every study that came back is-- every time we got
results that weren't significant, it was never an angry response.

[01:13:05.23] There was disappointment. But it was just, given how well established she was, it doesn't
make sense. And it doesn't align with her previous responses for her to say I'm going to edit the data to
get significant results. It just doesn't seem like her, and I think that's the extent of my comments.

[01:13:23.09] TERESA AMABILE: Thank you. Did I hear you refer to a Professor

[01:13:27.49]             : Yeah. I worked for Professor                during my last year at HBS.

[01:13:32.95] TERESA AMABILE: OK. OK. Thank you. All right. Bob or Shawn, anything else for
besides our profound thanks?

[01:13:43.72] SHAWN COLE: Only thanks. Thank you,

                                                                                                          

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 435 of 1282




[01:13:45.77]             : Of course.

[01:13:46.24] BOB KAPLAN: Thank you. It was an excellent interview, and we appreciated, I guess, your
responses.

[01:13:55.67] TERESA AMABILE: Yeah. You were very clear,           and clearly very careful and really
thinking through your answers to us. And we can't tell you how much we appreciate it. This is super
difficult work, and you've been very helpful to us. So thank you. Thank you so much. And if you have any
follow-up questions you could, of course, be in touch with Alain.

[01:14:18.34]             : Of course. It's my pleasure to help. And also, if the committee has any follow-
up questions. I am doing my very best to relay the truth as I recall it. But if you do need me to weigh in
again, I'm always here to help. I'm committed to making sure that we have academic honesty.

[01:14:37.22] I would never want-- this is so disappointing to me, personally. It really does bother me to
see this, and I want to get to the bottom of it. I know I wasn't involved in this occurring, but it really does
bother me to see this. So let me know if I can help. I'm here to help in any way I can.

[01:14:56.07] TERESA AMABILE: Thank you so much,            Really appreciate it. All right. Take care. The
rest of us are going to stay on for a few minutes, but thank you so much.

[01:15:03.26]             : All right. Of course. Take care.

[01:15:04.10] TERESA AMABILE: Bye-bye.

[01:15:04.58]             : Bye.




                                                                                                            

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 436 of 1282



                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                       ([KLELW
    7UDQVFULSWRI:LWQHVV,QWHUYLHZZLWK3URIHVVRU   RQ-XQH
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 437 of 1282



                                                         Interview
                                               June 24, 2022

[00:00:00.27] ALAIN BONACOSSA: Good morning, everyone. My name is Alain Bonacossa, and I'm the
research integrity officer at Harvard Business School. I wanted to thank       for being here
today and for being willing to be interviewed by the Investigation Committee.

[00:00:16.65] I will now make a brief announcement before handing it off to the chair of the committee.
First, a reminder, the interview will be recorded and transcribed, and       you will be given a copy of
the transcript for correction. Let me start by introducing everyone on Zoom today, starting with the
Investigation Committee. We have Professor Teresa Amabile, the chair of the Committee, Professor Bob
Kaplan, and Professor Shawn Cole.

[00:00:40.82] The witness in today's interview is
                          . And in addition to myself, I'd like to introduce two staff members on the call--
Heather Quay, University Attorney with Harvard's Office of the General Counsel, and Alma Castro,
Assistant Director in Research Administration at the Business School.

[00:01:01.45] Next, I wanted to provide a brief overview of the process-- of the interview process. This is
a faculty review of a faculty matter, so the interview will be a conversation between the committee and
you,         It will entail a series of questions and answers. And       you should feel free to elaborate
on any answers if you think that it could be helpful to the process.

[00:01:22.51] Some basic rules of the road for everyone. To make sure that the transcription is clear,
only one person can speak at a time. At the end of my introduction, I would ask the staff on the call to
turn their cameras off and mute themselves.

[00:01:37.15] And          , for you, specifically, please answer the committee's questions truthfully. All
answers need to be audible so that they can appear on the transcript, so nodding your head is not
sufficient. If you don't understand the question, ask for that to be rephrased. And if you don't know the
answer to a question, just please say so. If you need a break, of course, ask for one.

[00:02:00.16] A couple of last important reminders. HBS has an obligation to keep this matter
confidential, so even the fact that this interview occurred or that there's an ongoing investigation into
allegations of research misconduct is confidential. So         we're going to ask you to keep all of this
information confidential. Lastly, per HBS policy, HBS community members may not retaliate in any way
against complainants, witnesses, the research integrity officer, or committee members.            do you
have any questions for me about the process?

[00:02:32.49]                  : I do not.

[00:02:34.03] ALAIN BONACOSSA: OK, Teresa, off to you. And we're going to turn our cameras off now.

[00:02:42.37] TERESA AMABILE: Hi,

[00:02:42.67]                  : Hi.




                                                                                                              1
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 438 of 1282



[00:02:42.76] TERESA AMABILE: It's nice to meet you.

[00:02:44.50]                   : Nice to meet you too.

[00:02:45.70] TERESA AMABILE: I don't actually remember that we've ever met in person.

[00:02:49.84]                   : I don't think we have.

[00:02:51.48] TERESA AMABILE: Yeah, but it's I feel that I know you because we have so many
professional colleagues and students and former students in common. And, of course, I know your work.
Thank you so much for being with us today.

[00:03:04.67] I'm the chair of this investigation committee, this three-person senior faculty committee.
And as you know, I'm a social psychologist. I've been at HBS since 1995, and I'm in the Entrepreneurial
Management Unit. And I'm going to ask my colleague Bob Kaplan to introduce himself now.

[00:03:27.89] ROBERT KAPLAN: Hi,         We haven't crossed paths since I work out of the accounting
area, and primarily managerial accounting. And very pleased to meet you-- though not under these
circumstances.

[00:03:42.61]                   : Yes, of course.

[00:03:44.97] SHAWN COLE: And I'm Shawn Cole. I'm in the Finance Faculty at Harvard Business School.
But I have an Econ PhD, and I do a lot of field experiments.

[00:03:56.81] TERESA AMABILE: OK, so I think that we can jump right into our questions for you,
If you need any clarification on anything we're asking or when we get to showing you things, if you need
any clarification, of course, just speak up. And I think Alain said this but if you need a break at any point--

[00:04:18.32]                   : Sure, absolutely.

[00:04:19.20] TERESA AMABILE: --speak up about that. OK, thanks. First of all,           can you tell us how
you got to know Francesca and came to be involved in this particular research project? And let me just
review for all of us, we're talking about specifically Study 4 in the 2015 Psychological Science paper "The
Moral Virtue of Authenticity." This Study 4 is the study with Harvard undergrads who were asked to
write an essay about the inclusion of difficulty ratings in the Q Guide. It showed that, quote,
"inauthenticity is not dissonance," in addition to showing that inauthenticity leads to a greater desire for
cleanliness.

[00:05:02.21] OK, so if you could give us a little background on how you got to know Francesca and how
you came to be involved in this particular project?

[00:05:08.99]                 : Sure. I first met Francesca at one of the International Association of
Conflict Management conferences. I believe at the time, she was a postdoctoral fellow at Carnegie
Mellon. And one of my closest friends,              , was also-- was, I think, one of her advisors at
Carnegie Mellon. And then, Francesca got a job at UNC-Chapel Hill, and I'm from Chapel Hill. My parents
were both professors at UNC in the Psychology Departments and Social Work Departments.



                                                                                                             2
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 439 of 1282



[00:05:41.30] And so I would see Francesca when I would go down to North Carolina. Probably the most
prominent time I went down to North Carolina was over Thanksgiving and the December holidays. And
so we would often meet for coffee and discuss ideas. I spent a lot of time with Francesca when she
decided to go back on the job market, and I worked with her on her job talk, for example, and spent just
a lot of time helping her think about how to present herself on the market.

[00:06:13.68] There's a side funny story, which is that when she gave-- I spent 2008 and 2009 at
Berkeley when they were trying to recruit me, and also               , and            ended up going,
and I ended up going back to Northwestern at the time. But when Francesca gave a talk at Berkeley, one
of the doctoral students said, that's the exact type of talk that I,     would give. And she was like,
well, actually,      helped me on the talk.

[00:06:38.18] So we were very close, and I was a huge supporter of hers. And during those visits, we
would, of course, inevitably talk about ideas and stuff. And at some point, I think that the concept of
inauthenticity being linked to immorality-- or at least the psychological experience of being immoral--
came up.

[00:07:00.33] And at some point, I think she-- I can't remember the exact year she came to HBS. Was it
2011, 2010? But it was some time. But there have been a number of years where we had been hanging
out and talked about a number of different projects that this was one of the ones that came to fruition.
We had lots of other ideas that didn't get to the execution stage or got to the execution stage and didn't
really work, and this was one of the ones that had promise.

[00:07:31.29] TERESA AMABILE: You know, it occurs to me it could be helpful to us to know your
acquaintance with                     as well, who's the second author on this paper-- Francesca being
the first and you being third author.

[00:07:43.53]                    : Yeah, It's almost entirely through Francesca. So Francesca, I think
          was doing a postdoc or some type of fellowship at Harvard, and Francesca emailed me and
said, I really admire this doctoral student,           We had this project. It wasn't completed yet. And I
said, great. If any one of you have ever looked at my CV, you see that I have lots of collaborators, and
I'm always a strong proponent of inclusive collaboration.

[00:08:15.85] So when she suggested, I said immediately, that sounds great. This is the only project I've
worked on with          And I didn't have a ton of interaction with her on this project because it was
mostly through Francesca.

[00:08:29.04] TERESA AMABILE: So it sounds like you and Francesca had already begun the research for
this project at the time that       joined?

[00:08:37.20]                  : Absolutely, yes.

[00:08:38.64] TERESA AMABILE: OK, thanks. All right, any follow-ups, Shawn or Bob? OK, and this is the
second question I'll ask you. And then I'm going to hand it over to Bob, who's going to take the lead in
most of the questions, OK?

[00:08:54.84]                  : OK.



                                                                                                             3
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 440 of 1282



[00:08:56.52] TERESA AMABILE: So            it's important for our committee to understand how this
paper came about. You've already given us a little general background. Could you please give us the
chronology, as well as you can remember it, of your involvement in the research reported in this paper
and in the paper itself? And if you could try to place it in time-- years, months, even?

[00:09:21.09]                    : Yeah, that will probably be impossible in terms of any type of timing. I
mean, this project, my involvement fits my pattern of involvement at this stage of my career. At this
stage, I personally don't have even a statistical package on my computer. I haven't personally analyzed
data in well over a decade. And so my involvement is at the idea stage, at the research design stage, at
the interpretation of results stage.

[00:09:49.41] So I would say that's true here. And I know that, let's say, study one, whatever-- and the
problem is, I can't remember which study was run when, because sometimes the last study you run
becomes study 1 because it makes sense from a framing perspective. But Francesca and I would meet
frequently enough about the project that I was involved in.

[00:10:15.15] OK, we ran a study. These are the results. And what should our next steps be? What's the
next study that we need to run? What do we need to do?

[00:10:26.11] And so I do have a little bit of background in dissonance. So my master's thesis when I was
at Princeton was actually on dissonance. And so I can imagine that I was probably a strong proponent of
distinguishing this from dissonance, which relates to study 4, just because I have a background in
dissonance.

[00:10:51.39] TERESA AMABILE: It sounds to me-- but please correct me if I'm wrong-- I'm getting the
impression,       that you don't have a super clear memory of this study 4 and how it evolved and
what conversations you had with whom when about what aspects of it?

[00:11:10.42]                   : No. No, I mean--

[00:11:11.68] TERESA AMABILE: And you were shaking your head as I was speaking, so--

[00:11:14.03]                  : Yeah, I don't have a clear memory. And part of it is that I'm working on
anywhere between 30 and 50 projects at a time. And so I think if you ask my coauthors and
collaborators, they would say that I am an incredibly involved collaborator and wanting to understand
the design of the study, wanting to understand the study, wanting to interpret the results.

[00:11:37.00] I do a substantial amount of writing. I'm actively involved in the-- if we get an R&R, on the
letter to the editor. But I'm at the higher level.

[00:11:50.29] TERESA AMABILE: Thank you, OK. Any follow-ups on that, Bob or Shawn? OK, so now I'm
going to hand it over to Bob. And then I'll come on for the last couple of questions.

[00:12:00.97]                   : Sure.

[00:12:01.42] TERESA AMABILE: Oh,            could you just tell us, do you have a hard stop at 11:15? I
know we scheduled you-- you do not?



                                                                                                              4
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 441 of 1282



[00:12:10.00]                   : I do not.

[00:12:11.02] TERESA AMABILE: OK, thank you. Go ahead, Bob.

[00:12:15.64] ROBERT KAPLAN: So I think you may have already set the stage for the answers to the
questions that I am going to be asking you. But for completeness and thoroughness, we do have to go
through this particular drill here. So just to be clear, Experiment 4 was a study done with Harvard
undergraduates who had to write an essay after-- all about the difficulty of-- the difficulty ratings in the
undergraduate Q Guide, and then followed up with questions for preferences of use of different kinds of
consumer products, 50% of which had to do with cleanliness. So it was correlating their responses on
how they felt about the essay, as I understand it, to-- potentially-- their desire for these products.

[00:13:15.78] So the first question is conceptualization and design of the study. And you say in general,
this was a stage that you were involved in. So just to confirm that you did play a role in helping the other
coauthors in this aspect of the study?

[00:13:33.71]                    : I certainly-- I'm sure I played some role in the design. Now, whether I
played a role in the specific content of the study-- let's say the Q Guide-- I imagine I probably didn't. But
in terms of thinking about what would be the conditions that we would want in the study, how would
we be able to effectively distinguish this from dissonance, I am absolutely certain that I was involved in
that type of high-level approach to the study. Whether I was involved in the specific measures, and even
what the content was of, let's say, the writing task, as you noted, I don't know if I was.

[00:14:16.98] In looking at the DVs, I'm sure that I was a big proponent of including perceived choice as
a measure, because that's such an important component of dissonance if you go back to the early stage.
And given my background in dissonance, I imagine that I was a proponent of that. And I've also
published on self-affirmation theory and self-affirmation studies, and so I'm sure that thinking just about
these processes, I was involved, probably, in thinking about the questions. But I think the specific
cleansing products, I'd probably defer to Francesca's authority, or          's if        was involved in
the study. I can't even remember if           was involved in the study or not.

[00:15:03.61] ROBERT KAPLAN: OK, well, so let's move forward, then. When we get to, now, the study
has been framed, and we now want to get to the data collection, can you recall who was involved in
implementing and executing on that?

[00:15:18.07]                   : I can't.

[00:15:19.97] ROBERT KAPLAN: OK, and data cleaning?

[00:15:24.29] SHAWN COLE: You were not-- but just to be clear, you were not involved in the data
collection?

[00:15:27.96]                    : I was not involved in the data collection. I was not involved in the data
analysis. I was not involved in-- I never saw the data. The data were never sent to me. I never looked at
the data. I never analyzed the data.




                                                                                                               5
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 442 of 1282



[00:15:42.11] I certainly played a role in, if they told me what the results were, in interpreting the data.
Or when they wrote it up, I would make edits to the methods and results sections for sure.

[00:15:52.89] ROBERT KAPLAN: OK, that's a clearer answer, and really anticipating the next stage, which
was reporting the data in the submitted and published paper and writing about that before submission.

[00:16:11.30]                   : Right, yes. So--

[00:16:13.61] ROBERT KAPLAN: OK.

[00:16:13.88]                   : Yeah.

[00:16:15.01] ROBERT KAPLAN: OK, and then the final part of the data is posting--

[00:16:18.46] TERESA AMABILE: Hey, I'm sorry, "yes" what?

[00:16:21.26]                   : Sorry, yes I was involved in the writing of the paper, but not in the
analysis of the paper.

[00:16:26.39] TERESA AMABILE: Thanks, thanks.

[00:16:27.71] ROBERT KAPLAN: And then, the final stage paper is accepted, about to be published, and
data get posted on the OSF?

[00:16:34.91]                   : Yes, I was not involved in that at all.

[00:16:37.46] ROBERT KAPLAN: Not involved in that? OK.

[00:16:42.29]                     : I've never personally posted data in my life because my coauthors do
that. So I've never actually-- I don't have an OSF account, even. So I just-- I guess at this stage of my
career, I rely on other people for-- I'm very good at the design stage and the interpretation stage and
the writing stage, as you can probably tell from my CV. But--

[00:17:05.98] ROBERT KAPLAN: Well, Teresa and Shawn, I'm about to move to the next question. All
right. OK, so you've mentioned that the people who might-- would have been involved with the data
would have been Francesca and, perhaps,                . Can you think of anybody else who could have been
involved in all these details-- the data collection, data cleaning, data analysis? This would have been
research assistants or doctoral students, potentially.

[00:17:35.91]                  I wouldn't know. Again, once we discuss the design of the study, and
once the results were presented to me, I had no involvement.

[00:17:48.57] ROBERT KAPLAN: OK. Teresa, Shawn, do we have to probe further in this set of questions?
No, I didn't think so. OK.

[00:17:59.91] And again, we have to ask these questions.




                                                                                                               6
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 443 of 1282



[00:18:03.42]                  : I understand.

[00:18:04.08] ROBERT KAPLAN: Would you have been-- to the best of your knowledge, were you aware
whether the data set could have been modified at any point from initial collection until its final posting
on the OSF?

[00:18:20.50]                  : I am not aware.

[00:18:23.17] ROBERT KAPLAN: OK, no knowledge of that. Can you confirm?

[00:18:25.26]                  : No knowledge.

[00:18:27.39] ROBERT KAPLAN: OK, so moving from our questions of you, we now want to show you
what we were looking at, or we have been looking at. And Alain, do you have access to the table? I
forgot to check with you in advance of this going live with     whether you did, to post?

[00:18:47.99] TERESA AMABILE: Yeah, I think we can assume he has the tables ready.

[00:18:50.39] ROBERT KAPLAN: No, I mean, I teach risk management, so I put up my own version of this.
[LAUGHS] But I'd rather Alain posted it. OK, could you-- let's see, can we make that larger?

[00:19:05.23]                  : I can see it well.

[00:19:06.15] ROBERT KAPLAN: OK, so let me describe what you're looking at here. So this is a portion of
the data set that was posted on OSF. And this data set had 491 subjects. And this is a subject subset of
probably around 40, 45. And we've highlighted 20 subjects, and we're looking in this column-- year in
school.

[00:19:41.53] Now, in all of the entries other than these that are highlighted, the participant named a
year-- a year of graduation, freshman, junior, senior, as you can see here-- but there are 20 rows here.
And you can see they're clustered together. That's how we can get them on one table, one window
here, in this screen.

[00:20:07.93] And all of these 20 in this column responded "Harvard" as an email address, whereas
everyone else--

[00:20:18.26] SHAWN COLE: Sorry, correction.

[00:20:18.91] ROBERT KAPLAN: No, I'm sorry. No, I've got ahead of myself. They give "Harvard" as the
year in school.

[00:20:23.38]                  : Right

[00:20:24.07] ROBERT KAPLAN: OK. Now, what we don't have shown here is that, while virtually all the
other participants, when asked for an email address, gave one that had college.harvard.edu-- a standard
email address-- none of these 20 used a Harvard email address. And finally, if you look at somewhere
around the fifth column there, strong opinion, it starts with 7-7-6-7. And this represents the number of



                                                                                                             7
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 444 of 1282



cleaning products that the people said that they felt they'd like to use. And you can see there's a lot of
7s in these results-- an occasional 5.

[00:21:16.57] And as we analyze these, these particular 20 data points favor heavily the hypothesized
and reported effects. So these would help to support the prior hypotheses that the authors were
testing. And the question is, can you identify how these somewhat anomalous results or how these
responses could have come into the data set?

[00:21:53.87]                   : I cannot.

[00:21:59.81] ROBERT KAPLAN: All right. Any follow-up questions? Teresa, Shawn? OK, so we do have to
ask this question-- just, again, to complete the record. Did you change the data in a way that could have
led to these or other anomalies in the data set?

[00:22:24.39]                   : I did not.

[00:22:26.80] ROBERT KAPLAN: OK. OK. I'm going to move on. Teresa, Shawn?

[00:22:34.81] TERESA AMABILE: That sounds good. We could probably stop the screen share, Bob. Do
you think that's all right now?

[00:22:39.91] ROBERT KAPLAN: Sure. OK, so these are the specific anomalies that we had observed, had
concern about. And I think you've given clear answers to the questions. Now, we're trying to
understand, as best you can recall or know, the atmosphere in the lab in which the data for this study
were collected-- specifically, the extent to which people in the lab might have felt pressured or highly
motivated to produce certain outcomes that would support the hypotheses in the study. Can you give
your views or impressions, as best you can recall, about the atmosphere in the lab in which this study
was conducted?

[00:23:32.48]                   : I cannot. I had no involvement in the lab.

[00:23:36.33] ROBERT KAPLAN: OK.

[00:23:39.24] TERESA AMABILE: Could I ask a follow-up, Bob?

[00:23:41.19] ROBERT KAPLAN: Absolutely.

[00:23:42.72] TERESA AMABILE:             did you have any experience ever visiting Francesca's lab, maybe
at UNC? No?

[00:23:51.66]                    : No. I mean, I would say-- and Francesca and I at UNC met always in a
coffee shop, for example. And even when I had visited her at Harvard, I think-- I don't know if-- I've been
to her office maybe once, and been to her house. And so yeah, so I have not-- I've never attended a lab
meeting of hers. I’ve never-- I don't know if I've ever attended a lab meeting of anyone at Harvard,
actually, to be honest with you.




                                                                                                             8
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 445 of 1282



[00:24:23.25] TERESA AMABILE: I wonder if you could tell us if you recall any conversations, any
discussions, either over-the-phone conference calls or getting together at conferences, that included
one of Francesca's-- that included you and Francesca and one of her doctoral students or research
assistants? What I'm trying to understand is if you have any sense of how she interacted with people
who were engaged in doing research with her or for her.

[00:25:07.61]                   : What I'll say is I know people who have been her students who all seem
to think very highly of her. One of her former students who worked with her on the Red Shoe Project is
one of my colleagues at Columbia Business School,                  .

[00:25:26.27] And let me just say three things which I think are really important for me just to express,
which is I really like Francesca a lot as a person and as a collaborator. I have never seen at any point
Francesca put pressure on anyone to get results or to move forward. I've only found her to be
enthusiastic about research and excited about the ideas.

[00:25:59.87] And so I would say that-- yeah, I would just say that I would never have-- and the last thing
I just want to say is I've never had any suspicion whatsoever that any study that I've been involved with
her would have any lack of integrity. I've always found Francesca to be of the highest integrity in my
interactions with her.

[00:26:27.96]                  : OK.        thank you for that response.

[00:26:29.21] TERESA AMABILE: That's really helpful. Thank you, that's really helpful. Just one follow-up
before we move on. It looks like Shawn may have a question, and Bob as well.

[00:26:40.64] Can you-- you've collaborated with Francesca a lot, obviously. Can you tell us any
memories of how she would react if a study was run that you had been involved in planning and the
results were uninterpretable or nonpublishable or opposite to what you had expected to see?

[00:27:09.69]                 : We've certainly had studies that didn't work, and I remember having
conversations about them with her. And I just remember us retooling and thinking about, what's a
better manipulation? And so I don't have anything in particular around that.

[00:27:25.05] I will say, I wanted to say one other thing for the record, which is I have had suspicions
about the integrity of other projects I've been involved in and have removed my name from projects
before or gently guided a project to sort of wither and die, because from my perspective, since 2006,
I've been a tenured member of the faculty. The last thing I need is another paper. The worst thing I can
experience is lack of integrity in a data project.

[00:28:02.35] And so I have, on multiple occasions, taken my name off projects or dropped projects or
removed myself. And I had no reason ever to do that with Francesca.

[00:28:15.92] TERESA AMABILE: Thank you very much. Bob, do you want to call on Shawn next?

[00:28:19.77] ROBERT KAPLAN: Sure. Yeah, Shawn? I did have another question. So as best you can
recall, for this particular study, the Experiment 4, so we know that Francesca was involved. Would you
have knowledge whether                         would have been involved in this study as well?



                                                                                                            9
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 446 of 1282



[00:28:38.87]                     : I mean, I could. I should have probably done this. And I could go back to
my old emails and see if I could figure out this. But I'll just say that my memory of this project is that it
got put on the back burner at one point a little bit for-- I don't know, for a variety of reasons. And then,
Francesca said, I'd like to involve            I think that we could move the project forward more
effectively if she got involved. And I said, great.

[00:29:09.14] So I know for certain that there was a study run after she was involved. I do not know if
this is Study 4. But my vague memory is that we had submitted the paper somewhere, and it didn't get
in, and it went on the back burner because it clearly needed more data. And maybe it needed the
dissonance study. I don't know.

[00:29:29.98] And if you really needed me to-- I probably should have done this, and I apologize in
advance for not having-- you can imagine, this is a very anxiety-producing thing for me. So I just sort of
like, OK, I'm going to just put it in the back of my mind, and then I'm going to go in and listen to the
questions. And as you may know, this came in when I was finishing my yearlong sabbatical in Hawaii,
and I was on vacation with my family. And so I did a good job of putting this out of my mind until I got
back to New York.

[00:29:56.89] And so I do not know. I do know that          got involved in the paper at a point before
data collection was complete. I do not know which study it was that she was involved in. But there's a
high chance that I could figure out which study she was involved in by doing some of my own email
analysis.

[00:30:26.74] ROBERT KAPLAN: Teresa?

[00:30:29.07] TERESA AMABILE:           should we at some point feel that we would like you to look
through your emails to find correspondence concerning this study or maybe different versions of the
paper, I don't know that we will want to ask you to do this, but is that something that, through Alain, we
could come back to you, and you'd be willing to look over?

[00:30:53.76]                   : Yeah. I mean, I'm certainly open to that, yeah.

[00:30:56.48] TERESA AMABILE: Thank you. That's it, Bob.

[00:30:59.62] ROBERT KAPLAN: OK. So again, are you familiar with                    , who was Francesca's
research assistant at the time?

[00:31:09.32]                   : I don't think I've ever heard the person's name before. I may have, but I
don't know.

[00:31:13.07] ROBERT KAPLAN: OK, well, it seems to me, certainly, consistent with your prior answers on
this. And therefore, you probably would not know of anyone else who might have had access to the data
and potentially could have altered it in some form?

[00:31:33.20]                   : I do not.




                                                                                                            10
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 447 of 1282



[00:31:34.40] ROBERT KAPLAN: OK. OK, we're really reaching the final set of questions, and I think at
least one of them you've already answered. But just for completeness, at any time--

[00:31:48.86] TERESA AMABILE: Bob, Bob, could I take over with these two, last two questions?

[00:31:51.98] ROBERT KAPLAN: Oh, OK. I'm sorry, Teresa. Go ahead.

[00:31:53.43] TERESA AMABILE: OK, that's all right. But I did want to ask first, Shawn, did you have any
follow-ups on anything    's talked about to this point?

[00:32:01.94] SHAWN COLE: No. Did we get an answer to question number 8, before we move on to the
final two questions?

[00:32:09.45] TERESA AMABILE: Yes. I believe that Bob asked-- wait, Bob, you're muted.

[00:32:18.23] ROBERT KAPLAN: So,          sorry this is a document that we had prepared that we're
simultaneously looking at. And we asked people-- and I probably did not ask this question based on your
prior answers, but for completeness, did you change--

[00:32:36.38] TERESA AMABILE: I thought you did ask it, Bob, but please go ahead.

[00:32:39.89] SHAWN COLE: If you did, I apologize.

[00:32:41.45]                  : Happy to reanswer it.

[00:32:43.82] ROBERT KAPLAN: Did you change the data in this experiment in a way that could have led
to these or other anomalies? As I'm asking it, I think I remember asking this earlier, but go ahead.

[00:32:53.06]                : You already asked. And if I were a lawyer, I would say asked and
answered. But because I'm not a lawyer, I'll just say, I did not.

[00:32:59.01] SHAWN COLE: I apologize.

[00:33:02.29] ROBERT KAPLAN: Teresa, I'm going on mute.

[00:33:07.43] TERESA AMABILE: Thank you. As you can imagine,              this is an uncomfortable
situation for all of us. OK, I do believe you have answered this in the course of answering other
questions, but I'm going to ask it. At any time during or after the research in this paper was being done,
written up, or published, did you have concerns about the integrity of the data?

[00:33:37.83]                  : I did not.

[00:33:41.86] TERESA AMABILE: And this is our last question. Is there anything else we should know as
we try to determine whether research misconduct occurred with respect to Study 4 in this paper and, if
it did, who might have been responsible?




                                                                                                        11
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 448 of 1282



[00:34:00.21]                  : I mean, I'll just reiterate the points I made before, which is I really like
Francesca. I've never had suspicions before. I have had suspicions with other papers, and I have, like I
said, taken my name off or removed myself from projects where I wasn't confident in the data. And that
was not the case here.

[00:34:20.15] TERESA AMABILE: Thank you. Bob, Shawn, anything else that you can think of?

[00:34:26.68] ROBERT KAPLAN: Yeah, I'm done. I appreciate            's responses.

[00:34:34.08] SHAWN COLE: Thank you. Thank you very much for your time,               .

[00:34:36.20]                   : Sure, can I ask a question? Or just-- and maybe this is—

[00:34:39.45] TERESA AMABILE: Sure --

[00:34:39.77] ROBERT KAPLAN: You may, but we may not--

[00:34:40.64] TERESA AMABILE: We may or may not be able to --

[00:34:41.30]                  : Yeah, it's not a question at all about the content. It's just a question
about the process, which is that-- and maybe Alain is a better person to bring in for this-- but I have
followed Alain's charge to not communicate or contact Francesca in any way. Now, Francesca's a friend
of mine. Like, we text frequently.

[00:35:06.18] I won a mentoring award, I let her know. She won a mentoring award, she let me know. At
what point am I allowed to go back to communicating with my colleague and friend, I guess, is the
question. And can I communicate with her outside of this?

[00:35:23.25] It's a little, I'll just say, unfair to me to completely handcuff me and restrict me from
having communication. I also respect the integrity of this process. So I guess that's my question for you,
is--

[00:35:38.04] TERESA AMABILE: That's a question,            that we, the Committee, can't answer. That's
above our pay grade, as it were. But Alain could help you with that offline separately, unless Heather or
Alain would like to enter into this conversation at this point. I suspect they won't, but if they do, I will
ask them to turn on their videos and unmute themselves. Otherwise, I'll assume you'll follow up with--

[00:36:13.83] ALAIN BONACOSSA:             I'm happy to follow up with you about this. Let's have a
conversation about it.

[00:36:19.05]                   : OK. Yeah, that's great. And then, I guess related to that question is just
like, what's the timeline? How will I be informed of the judgment, et cetera? Just because now, I'm
essentially a witness or party to the process.

[00:36:38.12] ALAIN BONACOSSA: We can talk about-- we can talk about that, too. That is a good
question. So I'll follow up with you on that as well.




                                                                                                           12
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 449 of 1282



[00:36:47.05]                   : OK, thank you so much.

[00:36:50.69] TERESA AMABILE: OK, well, we are finished.            thank you very much for answering our
questions and for spending this time with us. It looks like you're still a little bit in Hawaii mode with the
shirt.

[00:37:04.76]                   : Yes. I'm wearing both my Aloha shirt and my actual what's called an
Aloha shirt. So--

[00:37:11.96] TERESA AMABILE: Yeah, no, I hope you can enjoy the summer still in your Aloha spirit.

[00:37:17.78]                   : Yes.

[00:37:18.37] TERESA AMABILE: And again, thanks. Thanks so much for being willing to meet with us.

[00:37:20.48]                  : And thanks for letting me delay. I'm glad that I didn't do it on my
vacation. And we had a great last week in Kauai. And so that was really nice.

[00:37:28.22] TERESA AMABILE: Terrific.

[00:37:29.14] SHAWN COLE: Great. Thank you very much.

[00:37:30.35] TERESA AMABILE: OK, thank you. We're going to stay on for a bit after you leave.

[00:37:33.05]                   : Yeah, OK.

[00:37:33.35] TERESA AMABILE: Thanks.




                                                                                                          13
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 450 of 1282



                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                       ([KLELW
    7UDQVFULSWRI:LWQHVV,QWHUYLHZZLWK3URIHVVRU   RQ-XO\
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 451 of 1282



                                                          Interview
                                               July 22, 2022

[00:00:04.60] ALAIN BONACOSSA: Good morning, everyone. My name is Alain Bonacossa, and I’m the
Research Integrity Officer at Harvard Business School. I wanted to thank         for being here
today and for being willing to be interviewed by the Investigation Committee.

[00:00:16.05] I will now make a brief announcement before handing it off to the chair of the committee.
First, a reminder that the interview will be recorded and transcribed. And       you will be given a
copy of the transcript for correction.

[00:00:29.67] Let me start by introducing everyone in Zoom here today, starting with the Investigation
Committee-- Professor Teresa Amabile, the chair of the committee, Professor Bob Kaplan, and Professor
Shawn Cole. Today’s witness is                    ,
                        . In addition to myself, there’s another staff member on the call, Alma Castro,
Assistant Director in Research Administration at HBS.

[00:00:57.43] Next, I wanted to provide a brief explanation of the interview process. As I mentioned to
you,         when we first spoke, this is a faculty review of a faculty matter. So the interview will be a
conversation between the committee and yourself. It will entail a series of questions and answers. And
        you should feel free to elaborate on any answer if you think it could be helpful to the process.

[00:01:21.44] Some rules of the road for the interview for everyone-- to make sure that the transcription
is clear, only one person can speak at a time. At the end of my introduction, myself and Alma will turn
our cameras off and mute ourselves.

[00:01:37.26]         for you specifically, please answer the committee’s questions truthfully. All
answers need to be audible so that they can appear on the transcript. So nodding head is not sufficient.
If you do not understand a question, please ask for the question to be rephrased. If you don’t know the
answer to a question, feel free to say so. And of course, if you need a break, ask for one.

[00:02:01.12] Some important reminders about the process-- HBS has an obligation to keep this matter
confidential. Even the fact that this interview occurred or that there’s an ongoing investigation into
allegations of research misconduct is confidential. So          we’re going to ask you to keep all of this
information confidential.

[00:02:19.98] For HBS policy, HBS community members may not retaliate in any way against
complainants, witnesses, the Research Integrity Officer, and committee members.        do you have
any questions for me about the process before I hand it off to Teresa?

[00:02:35.55]                    : No. It’s very clear, Alain. Thank you.

[00:02:37.80] ALAIN BONACOSSA: Thank you so much. Teresa, off to you.

[00:02:41.47] TERESA AMABILE: Hi,        It’s really good to see you again after so long. I’m sorry
about the circumstances under which we’re meeting.




                                                                                                             1
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 452 of 1282



[00:02:49.48]                     : Likewise.

[00:02:51.91] TERESA AMABILE: As you know, I’m Teresa Amabile, a social psychologist. I’ve been at HBS
since 1995. And I’m a member of the Entrepreneurial Management Unit. And I’m going to hand it off
now to our colleague, Bob Kaplan.

[00:03:08.62] ROBERT KAPLAN: Hi,         It’s been about, we checked, 15 years, but I do remember
our acquaintance while you were at HBS. As you know, I am a professor, now emeritus, but not retired,
definitely, in the Accounting and Management unit.

[00:03:26.47]                     : Hi, Bob. Good to see you again.

[00:03:27.78] ROBERT KAPLAN: Yeah.

[00:03:29.94] TERESA AMABILE: And now Shawn.

[00:03:32.04] SHAWN COLE: Hi, I’m Shawn Cole. I’m on the Finance unit at HBS. I’m an economist by
training, and I do a lot of experiments. And it’s nice to make your acquaintance.

[00:03:40.98]                      Likewise. Thank you, Shawn.

[00:03:43.99] TERESA AMABILE: So as Alain said earlier,          thank you so much for agreeing to
spend some time with us. We really appreciate it. So, I’m going to, first of all, just to refresh all of our
memories, we’re going to be talking about Study 3A in your 2020 JPSP paper with Francesca and
                 , “Why Connect? Moral Consequences of Networking with a Promotion or Prevention
Focus.”

[00:04:15.85] Study 3A is the first of the two online experiments examining the independent effects of
promotion and prevention focus on feelings of impurity after instrumental networking. Now in Study 3A,
participants read a story about instrumental networking and were asked to imagine that they were the
protagonist. And as you recall, study 3B was identical, except the participants actually engaged in
instrumental networking.

[00:04:43.06] So we’re focusing on the first of those studies, where there was a story read and they
were told to imagine they were the protagonists. Participants were randomly assigned to either the
prevention focus, promotion focus, or control condition.

[00:05:00.20] So our first question is, can you tell us how you got to know Francesca and how you came
to be involved in this research project with her?

[00:05:11.14]                     : Certainly. I met Francesca at HBS, actually. I don’t remember exactly
the year. But she was there as a postdoc working with, I want to say Gary Pisano. But, you know, I didn’t
follow her work at that point in time.

[00:05:29.32] And then we did not really interact much at all until she came to give a talk at Rotman. The
year might have been 2010, ‘11, ‘12, something like that. And she was already at HBS at that point, if I’m
not incorrect.



                                                                                                               2
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 453 of 1282



[00:05:55.53] And she suggested that we try to work together on something that linked our respective
competencies. Mine were in network research. And hers were in a variety of things, actually, including
moral psychology as it applies to the workplace.

[00:06:11.33] And we came up with this idea of what we affectionately called dirty networking, and
developed some theoretical insights around that intuition, that when people claim to feel
uncomfortable about networking professionally, what they mean is more than just being anxious about
the activity of creating professional relationships. There’s something more morally upsetting about the
process.

[00:06:45.39] And that was the beginning of the collaboration that led us to two publications, one that
came out in ASQ in 2014 and the one in question now that came out many years later in JPSP.

[00:07:00.69] TERESA AMABILE: OK, thank you. Now it’s important for our committee to understand
how this paper came about. Could you please give us the chronology of your involvement in the
research reported in this paper and in the paper itself?

[00:07:17.77] So you’ve already said that around the time that Francesca gave the talk at Rotman, which
you think might have been somewhere around 2011 plus or minus a year--

[00:07:29.07]                     : Yeah.

[00:07:30.27] TERESA AMABILE: --you began talking about combining your research interests. Can you
remember the chronology of how the research developed? This particular study, I guess, we’re
interested in. But we’re interested in the whole package of studies in the paper as well. So I guess if you
could just talk about how the research evolved. And, to the extent that you can place it in time, that
would be helpful to us.

[00:07:58.60]                    : You know, I probably should look up when that visit to Rotman
occurred. But what I do know for sure is that around that time, I had been talking with a law firm, a large
business law firm that operates primarily in Canada but also in the US. And we were discussing allowing
me to collect data on their networks that link these lawyers to each other within the firm and to their
clients.

[00:08:31.88] And I remember that when Francesca came to Rotman and we started to talk about
working on something together, I used that opportunity to collect the first set of data, really. I don’t
think she had any at that point. I’m not sure.

[00:08:51.44] I don’t remember, to be honest. Because there were so many studies involved in both of
the papers we have together. And we had a very clear division of labor around those studies.

[00:09:04.27] So I was in charge of this field data collection, because I had been working on it for a long
time with this law firm. And it is always laborious to maintain the relationship with a company that puts
the time of its high-achieving people on the line to allow people to collect data on them. So I was clearly
focused on the empirics of the field. But Francesca was very much in charge of the experiments that we
joined together with my field data.




                                                                                                           3
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 454 of 1282



[00:09:42.80] So I do remember that-- let me actually go back to when I collected eventually those data.
Yeah, the data collection was-- the first one ended up being 2013. And then, and that’s the one that
ended up in the ASQ paper.

[00:09:57.61] TERESA AMABILE: And that ASQ paper was 2014. Is that right?

[00:10:01.45]                  : Correct. That’s right. So I collected the data on this law firm
completely independently of Francesca or            They were my people, my contact.

[00:10:12.40] I collected the data. I analyzed the data. I contributed them to the paper. And in 2013, the
data ended up in the ASQ paper. And then two years later, this law firm miraculously allowed me to
collect data again.

[00:10:28.75] And at that point, we had developed this set of predictions around promotion and
prevention focus. So in this second data collection of this law firm, I was able to add those variables to
measure professional promotion focus in a couple of different ways. And I replicated the results of the
first study, the ASQ field study, and also was able to support the predictions that we had for the JPSP,
what became the JPSP publication.

[00:11:04.95] So what happened in the course of these years was that we had these theoretical
developments that allowed us to create predictions that I tested in the field with the law firm. And
Francesca and          tested experimentally, whether in the lab or with an online-- I think it was only
MTurk at that point, even though we added the field experiment in the JPSP paper where we used
SurveySignal which was, it’s a company that creates samples of respondents and professionals, that kind
of thing.

[00:11:46.01] So that is the convergence of contributions. We worked together on the theory. And
empirically, we divided the tasks between the field data collection that I was in charge of and the
experimental studies that           and Francesca were in charge of.

[00:12:08.00] TERESA AMABILE: OK. That’s really clear and very, very helpful. I don’t think I have any
follow-ups on that at this time. But actually, could you remind me? I don’t remember right now, in the
paper-- there’s the JPSP paper 2020, is there one study based on the law firm data? I think there is one
study. Correct?

[00:12:34.04]                    : Correct.

[00:12:38.75] TERESA AMABILE: And that is the one study where you are responsible for the data
collection. And did you do the data analysis on that one as well?

[00:12:46.98]                    : I did.

[00:12:47.93] TERESA AMABILE: OK.

[00:12:48.65]                      And I-- because I have an NDA with the law firm, I never shared those
data with either Francesca or           I was completely compartmentalizing the availability of the data.




                                                                                                             4
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 455 of 1282



[00:13:03.11] TERESA AMABILE: Understood.

[00:13:03.68]                     : We did not share data with each other. I will mention one thing that is
relevant to the JPSP, even though it’s not the study in question. In Study 2, we had two samples, one in
the US and one in Italy. And that is the one sample, the Italian sample, I personally collected. Of the
experimental studies, that’s the one study where I was in charge of running the lab in Milan at Bocconi
where I was on sabbatical that year.

[00:13:38.11] And Francesca had the idea that I thought was really brilliant to take advantage of the
behavioral lab of Bocconi to replicate the results of Study 2, that she had run originally in the US, with a
population that was not American or America-based. And so I translated the instrument for that study
into Italian. We took the reverse translation. We did the whole thing. And I ran the lab data collection in
the behavioral lab of Bocconi.

[00:14:13.53] But then I transferred the data to-- I don’t remember if it was          or Francesca, or
both. And they analyzed those data too. Because again, I’m not an experimentalist. So I do not use the
typical statistics that are used in experimental studies. And we just wanted to be consistent in how we
analyze experimental data in our work. And so they dealt with the analysis of those data.

[00:14:43.23] But I just wanted you to know that there was one component of the data collection that
was in the experimental side of the paper that I collected even though I did not analyze it.

[00:14:57.00] TERESA AMABILE: OK. Thank you for that clarification. So let me reiterate to make sure
that I understand. You collected data, for the JPSP 2020 paper, you collected the field data in the law
firm. And you analyzed that data.

[00:15:15.71]                     : Correct.

[00:15:16.07] TERESA AMABILE: And you alone analyzed that data.

[00:15:18.81]                     : Correct.

[00:15:19.68] TERESA AMABILE: OK. And did not share the data at all with Francesca or

[00:15:25.14]                     : Correct.

[00:15:25.62] TERESA AMABILE: OK.

[00:15:26.06]                     : Or an RA, I was completely secretive about the data because of the
NDA with the law firm.

[00:15:35.51] TERESA AMABILE: Understood. And the only other data that you interacted with in the
2020 paper was, you collected the data from the Italian sample in Study 2 of the 2020 paper.

[00:15:55.20] Yes. You’re nodding your head, yes. Correct?

[00:15:56.97]                     : I did. I did collect those data.



                                                                                                           5
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 456 of 1282



[00:15:58.88] TERESA AMABILE: OK. But you did not analyze. You did not analyze those data. You sent
the data to either Francesca, or       or both of them.

[00:16:06.87]                  : That’s correct. I did not analyze them. I did not even open the data,
because they came to me in SPSS. Sometimes very trivial matters drive our behavior. I do not use SPSS.

[00:16:23.46] The RA at Bocconi sent me the data in SPSS format. And I promptly forwarded them to
Francesca or          I never touched them, never opened them, never even took a look.

[TC misspoke here; meant to say “This is the one aspect of my testimony that I stated incorrectly. I
correctly remembered never opening the data from the Bocconi lab study. What I remembered
incorrectly is that the Bocconi RA gave me the dataset in SPSS. I checked, and actually I don’t have that
dataset in my records at all. It is likely that I asked the Bocconi RA to send it directly to Francesca and/or
         because they were going to analyze the data, and as a result I never had the data myself.”

[00:16:35.10] TERESA AMABILE: Understood. And for all the other studies in that paper, you did not
interact with data beyond the field study in the law firm, and the data collection at Bocconi. Correct?

[00:16:53.13]                     : That is correct.

[00:16:53.70] TERESA AMABILE: OK.

[00:16:54.07]                     : I did not participate in other data collection or data analysis of any of
the other studies.

[00:17:00.90] TERESA AMABILE: Just one more thing, and then I’ll see if Bob or Shawn has any follow-
ups on these questions. And then Bob is going to take over the rest of the bulk of the questioning. And
then I’ll come in at the end.

[00:17:10.47] But,         I thought I heard you say a little bit earlier that you and they, your two co-
authors, did not share data at all. Did I hear you say that? You did not share data at all except for the
instance that you just mentioned with the data that were collected at the lab in Bocconi? Is that correct?

[00:17:35.33]                     : Correct. That is correct.

[00:17:36.27] TERESA AMABILE: OK. OK, thank you. Bob, Shawn, any follow-ups?

[00:17:40.50] ROBERT KAPLAN: Yeah. I was just curious, when you have the NDA, does that mean the
data do not get published on the OSF--

[00:17:49.32]                     : Correct.

[00:17:49.68] ROBERT KAPLAN: --on the site?

[00:17:50.88]                     : Correct.

[00:17:51.51] ROBERT KAPLAN: OK.


                                                                                                                6
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 457 of 1282



[00:17:52.11]                      : And all of this, I mean those two data collections at the law firm
occurred in 2013 and 2015. It’s a time that predates the new norm to publish data at all, at least as far
as I understand. It was my first interaction with experimental data through my coauthors. So it didn’t
even occur to me to publish those data. It wasn’t even in my mental model of what one should do with
such things.

[00:18:25.73] But the law firm, as you might imagine, was extremely concerned about confidentiality.
They gave me pretty detailed data on their lawyers. And I don’t think I could have published them
anyway, given the legal arrangement with them.

[00:18:46.16] ROBERT KAPLAN: OK. No further questions at this stage.

[00:18:49.84] TERESA AMABILE: OK. Bob, will you take over now please?

[00:18:53.53] ROBERT KAPLAN: OK. So we’re now going to go into more depth just in study 3A, and
which we understand you had not a great deal of involvement in, but we’ll want to sharpen up the
answers.

[00:19:10.66] And just from documents that we’ve reviewed, that actually this study seems to have
been designed-- data collected, executed, and analyzed-- in the January to April 2020 time period after
the author team received a revise and resubmit request. And this was among the studies that were set
up to respond to that request. Is that about consistent with your memory?

[00:19:42.27]                    : To be honest, I do not remember that. I don’t remember that that
study in particular was conducted in response to the reviewer’s request. It might have been. I would
have to go back to the decision letters and the reviews. I don’t remember.

[00:20:03.25] That paper evolved over so many years that I do not remember what study was conducted
when, except for the Italian sample where I was involved and the law firm. I do not remember that it
was 2020 that Study 3 was run.

[00:20:24.36] ROBERT KAPLAN: But we’re clear about what this study is, the lab experiment on the
prevention and promotion focus and feelings of moral impurity.

[00:20:36.57]                    : I don’t think it was a lab experiment, however. I think it was an online
sample. Is that correct?

[00:20:42.58] ROBERT KAPLAN: Oh, OK.

[00:20:43.04]                  : Yes. Yes. It was an online sample.

[00:20:45.83] ROBERT KAPLAN: OK. OK. Well, to the best of your knowledge and recollection, who
specifically was involved in supervising this study and in carrying it out?

[00:21:01.01]                 : So I think it was Francesca. But I qualify that statement because
Francesca and         both contributed experimental studies to our joint work. And I did not always
have direct knowledge of who was running which study.



                                                                                                            7
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 458 of 1282



[00:21:24.73] And in both the ASQ paper and the JPSP, there were multiple experimental studies that
they ran. So this one probably was Francesca, but don’t necessarily rely on my recollection.

[00:21:39.29] ROBERT KAPLAN: OK. And beyond the initial conceptualization and design, the data
collection and the data cleaning would also have been done probably by Francesca, but perhaps not
exclusively according to your memory. Is that right?

[00:21:57.95]                      : I would imagine. I know she always has research assistants that work
with her on this data collection. I believe that          does too. So that very well could have been
either          or an RA participating in that work, but I wouldn’t know.

[00:22:16.23] ROBERT KAPLAN: OK. And now for the data analysis after the data were collected, who do
you recall was involved in that?

[00:22:26.52]                     : Again-- [coughs] --apologies.

[00:22:32.48] I got one of those summer colds. It’s not COVID, but it’s a nasty piece of work. So
apologies for all the tea drinking that I’m doing. I’m trying to spare you the cough.

[00:22:44.03] I think it was Francesca that was in charge of the study. I do not know if she analyzed the
data personally. I do not know if she delegated that analysis to an RA or to

[00:23:01.11] ROBERT KAPLAN: OK. Now in terms of writing up this particular experiment and reporting
the data in the submitted and eventually published version of the paper, who would have been involved
in that?

[00:23:17.56]                     : Pretty sure that Francesca or her RA wrote up the results of the study.
We had clear division of labor when it came to writing up the results of the studies. I was in charge of
the field study, the law firm. And Francesca,           were in charge of the experiments. So, yeah.

[00:23:43.51] I think it was Francesca. It could have been an RA.

[00:23:47.06] TERESA AMABILE:              just want to break in for a second. If you feel you need a break
at any time, like to get a cough drop, I can’t give you--

[00:23:58.95]                     : I just secured one. Thank you, Teresa.

[00:24:01.30] TERESA AMABILE: But we can honestly-- we can do a break for a few minutes if you feel
you need a time to get that tickle taken care of.

[00:24:08.79]                   : It’s going to be like this. So unfortunately-- the cough drop will help
because the tea was not doing its job or the honey. All right. Thank you, though.

[00:24:20.17] TERESA AMABILE: OK.




                                                                                                              8
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 459 of 1282



[00:24:21.37] ROBERT KAPLAN: And then the final step in the research process is posting the data on
OSF, as we talked about before. And I presume your answer would be similar to those you’ve previously
given us as to who was involved in this. Is that correct?

[00:24:35.62]                  : The same answer. It probably is Francesca, but I have no knowledge of
who was in charge of what on that end of-- yeah. We had a pretty, pretty strict division of labor.

[00:24:51.73] ROBERT KAPLAN: Yeah.

[00:24:52.24]                    : The one thing where we overlapped was the theory, the front end of
the paper, and the discussion section, really.

[00:25:00.20] ROBERT KAPLAN: OK. And we have another question, which I think you’ve given us the
answer to, but it’s on our list of questions. So is there anyone who would have had access to the data
and the ability to modify the data at any of the stages of the research process?

[00:25:21.87] And you’ve already mentioned Francesca, perhaps                and an RA. Is there anyone
beyond that group that you could identify?

[00:25:34.34]                      No. It could be different RAs that participated in this project over time.
Because as I mentioned, it extended over a few years. So I wouldn’t know who in particular was working
with Francesca at that point in time.

[00:25:49.46] But, yes. That’s it.

[00:25:52.34] ROBERT KAPLAN: OK. And moving to kind of the heart of the matter here, could you tell us
to the best of your knowledge whether and how the data set for this study was modified at any point
between the initial collection of the data online and its final posting on OSF?

[00:26:18.81]                   : That’s where I am in complete disbelief. I had no reason to ever
imagine changes to the data at any point in time.

[00:26:30.99] ROBERT KAPLAN: OK.

[00:26:31.38]                        : No reason whatsoever.

[00:26:32.95] ROBERT KAPLAN: OK. So now we just want to share with you a number of discrepancies
that have been detected between a data set that was on Francesca’s computer and the data set that got
posted on OSF, which was seeming the data set that was used in the analysis and implications in the
published paper.

[00:27:01.93] And so this is going to be a series of six tables. And we’ll just present it. There’ll be a
question at the end. But we just want to share this with you so you could be aware of what it is we have
seen. OK?

[00:27:18.66]                        : Very well.




                                                                                                           9
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 460 of 1282



[00:27:20.43] ROBERT KAPLAN: OK. So--

[00:27:21.09] TERESA AMABILE: And              if you have anything that you want to ask as you’re looking
at the tables or anything you want to tell us, of course, you don’t have to wait until Bob has talked
through all of this.

[00:27:30.69] ROBERT KAPLAN: Yeah. At any stage, ask to clarify what the source was, and whatever.

[00:27:37.29]                    : I will do so.

[00:27:38.67] ROBERT KAPLAN: OK. So Alain is our loyal screen sharer. And we’ll post what we’ll call
Table 1.

[00:27:52.36] ROBERT KAPLAN: OK. So let me make this larger on my monitor. Is this legible to you,
       ?

[00:28:02.21]                    : Yes it is. Thank you.

[00:28:04.33] ROBERT KAPLAN: OK. So the first thing is just calculating the means in these three
conditions between the data set on Francesca’s computer and the data set that’s published on the OSF
site. And you can see--

[00:28:24.19]                 : Sorry, Bob. I have a clarification question. When you say the data on
Francesca’s computer, you mean, what, the Qualtrics data set? What is it that that represents?

[00:28:37.25] ROBERT KAPLAN: All right. So I am not into experimental or survey research. That
Qualtrics-- Teresa is nodding, at any rate...

[00:28:47.00] TERESA AMABILE: Yes. Yes, it’s from Qualtrics.

[00:28:49.52] ROBERT KAPLAN: Qualtrics.

[00:28:50.41]                   : OK. So basically what you have available, is raw Qualtrics survey
responses, right? And then you’re comparing those raw Qualtrics responses to the data set as posted on
OSF. Is that--

[00:29:15.44] TERESA AMABILE: Alain, I believe that what          just said is correct. Could you just give
us a thumbs up or thumbs down?

[00:29:22.92] ALAIN BONACOSSA: That is correct.

[00:29:25.01] TERESA AMABILE: Thank you.

[00:29:25.68]                    : OK. And we are sure that those are supposed to be the same? I’m
asking this question--

[00:29:34.99] ROBERT KAPLAN: Yes.


                                                                                                         10
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 461 of 1282



[00:29:35.37]                     : --because- OK.

[00:29:36.53] ROBERT KAPLAN: Yeah. Well, you’ll see some granularity on this.

[00:29:39.29] TERESA AMABILE: But let me just clarify.          so the way that this was done was when
this allegation about various things with this data set were brought to Harvard, one of the first things
that was done was that data that were on Francesca’s computer, her various accounts, her Qualtrics
account, and so on, were sequestered by the University. And then when she was informed about the
allegation, she was asked to identify data from the study.

[00:30:27.14] And she identified this particular data set as the data set for this study. So she pointed us
to this data set, which is what we’re calling Author’s Data Set here. Alain, again, could you please
confirm if I said that correctly?

[00:30:46.88] ALAIN BONACOSSA: That is correct.

[00:30:49.21]                     : OK.

[00:30:50.07] TERESA AMABILE:             other questions about it at this point?

[00:30:52.16]                     : No. I am just-- I will articulate what is on my mind. And it refers back
to your question earlier about my recollection when this data set was collected. And I did not remember
it was collected in 2020. I thought it probably was earlier, because we collected other data earlier.

[00:31:16.55] That the discrepancy here is so large that I can’t help but suspect that she might have
made the wrong selection of data set here. She collects so many data sets, dozens, and dozens, and
dozens every year, as far as I know, given all the people she works with and all the papers that she
publishes.

[00:31:48.60] And all the studies which she ran for our work alone. I am wondering if there was an error.
But, you know--

[00:31:57.55] ROBERT KAPLAN: Yeah.

[00:31:57.99]                     : --it’s not my job to make such a make such attributions. But let’s
continue and see the details--

[00:32:08.76] TERESA AMABILE: But we do appreciate your sharing those--

[00:32:11.06] ROBERT KAPLAN: Yeah. No, no. And we’re about to share some other data coming from
the two data sets with you.

[00:32:18.56]                     : OK.

[00:32:19.23] ROBERT KAPLAN: And this may help to clarify, but please continue to comment exactly as
you’ve done.




                                                                                                          11
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 462 of 1282



[00:32:26.97]                     : OK.

[00:32:27.78] ROBERT KAPLAN: So the message from here is that the means shifted. That it looks like in
the Author’s Data Set that the conclusions were not consistent with the prior hypothesis, but the data
that were published on OSF are consistent, as written up in the paper. So Alain, can you show Table 2?

[00:32:54.72] So as we got into the underlying records within each of the data sets, we’re showing for
condition one, which is the promotion condition, matched observations. And you see they’re matched
by the word statements that are in the essay.

[00:33:20.32]                   : Bob, excuse me for interrupting. Could you make this slightly bigger?
Because unfortunately, I couldn’t go to the office for this call because I’m not in fabulous shape. OK, this
is much better. Thank you.

[00:33:30.56] ROBERT KAPLAN: OK.

[00:33:31.36]                     : My screen at home is a little bit cramped. OK, thank you.

[00:33:35.38] ROBERT KAPLAN: Fine. And so even though the observations were in different rows
because some of the OSF [RK misspoke here; meant to say “some of the Author’s Data Set] data may not
have made it to the final paper for various reasons, but the essay statements are word for word the
same, same promotion. And in the original data set, we’re getting very low scores, almost all 1s.

[00:34:01.41] And in the published data-- oh, I’m sorry. I misspoke. In the published data set, it’s all 1s,
low. And in the original data set, up at the higher score. You can see the difference in means of those
seven numbers, 1.3 versus 5.6.

[00:34:22.27] TERESA AMABILE: Alain, could you scroll up just a tiny bit to-- we don’t need to see the
title of the table.

[00:34:27.60] ROBERT KAPLAN: Yeah. And we saw this in two other observations.

[00:34:29.90] TERESA AMABILE: Thank you.

[00:34:32.28] ROBERT KAPLAN: This was not exhaustive. Tables 4 through 6 will give a more exhaustive
summary of the comparisons. But again, essays matched the word statements. The published data set,
all 1s, consistent with the hypothesis. In the original data set, 5s, 6s, and 7.

[00:34:57.60] And then the third observation, again matched by the essay text, all 1s in the published
version, consistent with the hypothesis. 5s, 6s, and 7s in the original data set.

[00:35:15.02] So these are the underlying data that would have caused the kind of mean shift that we
showed you in Table 1.

[00:35:26.23]                     : Mhm.

[00:35:28.00] ROBERT KAPLAN: OK. So--



                                                                                                           12
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 463 of 1282



[00:35:29.46]                     : OK.

[00:35:29.94] ROBERT KAPLAN: No comment necessary. But we’re going to continue. This is the
promotion--

[00:35:34.20] TERESA AMABILE: Bob, Bob, why don’t we just give to               just a few moments to
finish--

[00:35:37.74]                     : Thank you. Thank you, Teresa. So I just-- I find it...interesting that--
when I deal with data myself, I’m always extremely suspicious of uniform answers to questions. And if
somebody wanted to manipulate data, changing data that have variability to data that have none and
are at the bottom of the scale is-- that seems...implausible that anybody would purposefully do such
things.

[00:36:36.36] There’s really no possibility that-- OK.

[00:36:40.75] ROBERT KAPLAN: Comment noted.

[00:36:45.51] TERESA AMABILE: Let me just point out, of course, in the first pair of rows that we see,
there isn’t complete uniformity in the OSF row.

[00:36:54.99]                   : No, that’s right. And I’m sure that there’s many, many rows. Are you
showing me all the rows in question, or just a--

[00:37:02.11] TERESA AMABILE: No. But, Bob--

[00:37:02.50] ROBERT KAPLAN: We will give you a--

[00:37:03.40] TERESA AMABILE: --will get to that.

[00:37:04.24] ROBERT KAPLAN: We will give you a summary of all the rows.

[00:37:06.34]                     : OK. All right. Let me allow you to go through all the data, and we can
talk about interpretations.

[00:37:14.35] ROBERT KAPLAN: These findings deserve study and reflection. So we don’t want to rush
this. But Alain, maybe could you show now Table 3? So Table 3 is similar to Table 2, except we’re now
looking at the other control condition, the prevention condition.

[00:37:34.66] TERESA AMABILE: This is not the control condition. This is the prevention.

[00:37:36.91] ROBERT KAPLAN: No. I mean, it’s another treatment condition, I’m sorry. For prevention.
So again, the word statements and essay, “Duty/Obligation,” “Reflect on the Party,” are identical.
[NOTE: “Duty/Obligation” and “Reflect on the Party” are variable names in column headers in Table 3.]
But now in the original data, all low scores, which are contrary to the hypothesis. And in the published
data, high scores, which are consistent with the hypothesis.




                                                                                                               13
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 464 of 1282



[00:38:10.88] And there’s almost more uniformity here in the rows in both the author and the OSF. But
again, we see, again, a change between what appears to be what the original data set and the published
data set and fairly dramatic shifts.

[00:38:39.56]                     : And you are showing me all the rows out of the however many they
are?

[00:38:44.03] ROBERT KAPLAN: No, no. We’re showing you three samples from each treatment--

[00:38:49.57]                     : From each condition.

[00:38:51.50] ROBERT KAPLAN: --as representative of how the shift in means occurred.

[00:38:57.30]                     : Can you tell me how many shifts did you--

[00:38:59.31] ROBERT KAPLAN: OK. So now we’ll go to a more complete analysis of all the rows. So
Alain, can you put up Table 4?

[00:39:14.34] And so, again, these are rows, matched rows. So we know from the verbal responses--

[00:39:21.58] TERESA AMABILE: I’m sorry. I’m going to ask, because I’m aware         has a small
screen. Alain, I know it’ll obscure some of the rows down below, but could you make this a little larger?

[00:39:32.83]                     : Thank you, Teresa, for looking out for my bad eyesight here and my
small screen.

[00:39:40.91] TERESA AMABILE: I suffer the same. So, yeah.

[00:39:42.93]                     : Yeah, that’s right. Solidarity among the blind people, yes. Thank you.

[00:39:49.36] ROBERT KAPLAN: So here are 40 observations, and taking from one of the treatment
conditions, I think this is the promotion treatment condition, where we found discrepancies. Oh, and
what we see here is the magnitude of the difference between the original data set and the published
data set. And there’s an additional set of questions here on network intentions.

[00:40:20.15] So the previous tables were just looking at the moral impurity responses. And these are
looking at the network intention responses. And the blue are shifts in the hypothesized-- get the data to
be more consistent with the hypothesis. And what we see is there are no-- and reds are kind of going in
the other direction, because the network intention had an opposite sign of an impact. And we don’t see
any changes that go against supporting the hypothesis in either set of columns.

[00:41:04.92] Alain, if you could just scroll down a little bit. In these 40 observations, and really all
observations where we found discrepancies, there was only blue, which means changes in a specific
direction, or only reds, which would be changes in the opposite direction.

[00:41:25.50]                     : And this is all the rows in the promotion condition where you
observed--



                                                                                                            14
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 465 of 1282



[00:41:31.07] ROBERT KAPLAN: I think there were more than 40 rows, 40 observations.

[00:41:33.62] TERESA AMABILE: No. No, Bob. Bob, there were-- of course there were more than 40
participants in the promotion condition.

 [00:41:40.25] There were 40 rows. There were 40 participants’ responses in the promotion condition
that had discrepancies between the two data sets. And this is showing, I believe-- is this showing all 40
of them? Maybe it continues at another page. I don’t remember. But there were 40--

[00:42:00.65]                    : This would be 40.

[00:42:00.98] TERESA AMABILE: --in total. And the pattern is, as Bob said, absolutely consistent. Where
there is a discrepancy, it’s in the direction of lowering moral impurity scores in the OSF data set and
increasing network intention scores.

[00:42:22.46]                    : And this is--

[00:42:23.09] ROBERT KAPLAN: Yeah, OK. Yeah. Teresa, I stand corrected, as Teresa often does, that this
was 40 and only 40 in the promotion condition. In the prevention condition, which we’ll look at next,
there were more than 40, but we’re showing you just what would fit on one page.

[00:42:43.83]                       : OK. And let me kind of remind myself of the sample in the study. We
are talking about-- I’ll go back to the paper-- 599, right-- respondents total in the study, correct?

[00:43:00.93] TERESA AMABILE: Yes.

[00:43:03.00]                     : All right. And of these, there were about 200 in each condition and
within condition, 40 instances of this in the promotion condition and a few more than 40 in the
prevention. Correct?

[00:43:18.43] ROBERT KAPLAN: Yeah.

[00:43:19.66] TERESA AMABILE: A lot more than 40.

[00:43:21.16]                    : A lot more than 40. OK, all right.

[00:43:25.27] ROBERT KAPLAN: OK. Alain, please show Table 5. It says stop at the top. So, this is, OK. So
here we’re showing 43 observations out of 128 where there was some difference between the OSF data
and the data set from the author’s Qualtrics research records. So this will be one third of the
observations with discrepancies.

[00:43:58.49] And so Alain, now just scroll down to see if we can show the whole table. And again, the
numbers that are in the table are not important. The color is telling the story here that again, on the
left-hand side, the responses change and they get, to correspond or match better the hypothesized
effect in both sets of columns.




                                                                                                          15
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 466 of 1282



[00:44:26.52] And as you’ve noticed, there’s actually no discrepancies between them, no anomalies
where things changed opposite to where the hypothesis would have taken them.

[00:44:41.64] TERESA AMABILE: And               let me just clarify. Bob may have said this. I apologize, Bob,
if you did. The data were matched. These rows of data were matched in the same manner as that very
first table that Bob shared just three pairs for each of the conditions. They were matched on the
verbatims of the open ended responses.

[00:45:02.96]                     : Yeah. That was my question, yes. Thank you for reading my mind.

[00:45:10.35] ROBERT KAPLAN: Good. And Table 6, just to give a summary of something that we have
talked about-- so there were discrepancies in 20% of the surveys in the promotion focus. Those were the
40 that we saw. And in 65% of the surveys in the prevention focus, I think 128. And there were zero
discrepancies for the control condition.

[00:45:45.79] TERESA AMABILE: Alain, just a little larger please.

[00:45:53.09] Thanks.

[00:45:57.53] ROBERT KAPLAN: So we can finally ask the question, based on the data that we’ve shown
you-- do you have any further questions about the data before I ask the question?

[00:46:12.32]                     : No. Just kind of confirming that you received some communication
from somebody that pointed to these discrepancies. And so Harvard sequestered Francesca’s computer
hard drive with all the data so she could not alter anything. And when she was asked to provide the
original Qualtrics data set that matched the data that she or whoever posted on OSF, this is the data set
that she provided.

[00:46:59.32] ROBERT KAPLAN: Yeah. So I’m going to ask Alain to respond, because he was the one who
handled that process.

[00:47:05.52] ALAIN BONACOSSA: That is all correct.

[00:47:07.80]                       : OK. So we are talking here about a very-- it’s so extensive, this
discrepancy, that-- I’m a little stunned, to be honest. Because having collected field data on these
research questions wherein I had one shot at collecting this data-- when you’re in the field, you cannot
rerun a study. It is what it is-- and having found support for our predictions in those data with no
trouble, I’m having a hard time absorbing the notion that finding support for those predictions in an
experimental sample would have required this kind of manipulation.

[00:48:19.72] I just-- I know what you showed me. I just cannot help but be in disbelief that Francesca or
anyone would feel the need to do this kind of thing. We had a lot-- let me ask you another question.

[00:48:39.52] This is the only study of hers that was brought to your attention, or is there a pattern?
Because I think it changes also how we understand this.

[00:48:52.61] TERESA AMABILE:             we can’t--



                                                                                                            16
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 467 of 1282



[00:48:53.92] ROBERT KAPLAN: Yeah. I’m going to ask Alain to respond to that.

[00:48:56.08] TERESA AMABILE: We cannot-- we cannot-- I can respond. We cannot answer that
question. I’m sorry.

[00:49:02.23]                      : Ah, OK. Even though I know-- you will have to make your own
assessment, obviously. And I’m sure you’re making it. Because that makes a big difference. This JPSP
paper had a total of, what, five studies, depending on how you count the different subsamples.

[00:49:22.48] TERESA AMABILE: Five or six, maybe.

[00:49:23.56]                    : Yeah. Five or six, depending on how you--

[00:49:25.65] TERESA AMABILE:            do you need the tables, or can we stop the screen share?

[00:49:29.56]                   : I do not need the tables. I’m sure you cannot share the tables for me
to ponder them. But I see what you are--

[00:49:38.53] TERESA AMABILE: OK. You could take them down, Alain. And I’m sorry,               You were
saying, this paper had five or six studies, depending on how you count 3A and 3B--

[00:49:46.56]                     : Correct. And I can only speak for the one that I ran. And given the ease
with which I found support for our predictions with data I collected-- which arguably is harder because I
am dealing with professionals in the middle of the workday answering a survey, so it could very well be
that I didn’t even have a strong research design in many ways. I had a smaller sample too.

[00:50:30.55] I am absorbing the shock of needing to resort to such extreme measures and such
extreme discrepancy, manipulation, whatever you want to call it, to obtain the results. Because I saw
them with my own eyes, in my own data. And so this is more, I’m articulating my own disbelief.

[00:50:53.59] And I don’t know. It’s neither here nor there. It doesn’t change the way in which you are
analyzing the data. But…I’m rather stunned.

[00:51:04.91] ROBERT KAPLAN: Yeah. Well, just reflecting on this, I mean, can you explain how these
discrepancies could have arisen?

[00:51:14.47]                      : I mean, I would-- so my view, when you first approached me about
this, was really that researchers like Francesca who work with many, many, many coauthors on many,
many projects, and each project involves multiple data collections can make mistakes in data handling
and data management. And sometimes it’s a matter of rows being misaligned by error.

[00:51:55.15] I have myself made errors in analyzing data, because I’m not particularly good at such
things. I’m not a very good-- I’m not a coder at all. And I have, in handling Excel spreadsheets, made
mistakes that then I had to go back and correct. They were, how do you call it? Just kind of stupidity
mistakes.




                                                                                                          17
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 468 of 1282



[00:52:18.61] And I thought that when a column gets-- due to data sets that are merged incorrectly, and
then I have to go back and redo it. I thought that that could be a reason for what you observed. Now,
the consistency in the pattern that you have just displayed makes that a less plausible explanation,
obviously, especially since the control condition shows no discrepancy at all, and the other two
conditions show them all in the same direction.

[00:52:54.17] So, yes. I do not know how to explain it except for being very surprised that we had to
resort to this. Because my understanding from the work we have done over the years with Francesca
and            was that we never had trouble finding support for our predictions.

[00:53:14.35] And I took the support that we received from the experimental studies at face value. I
trust my coauthors. And I trusted myself, because I had collected my own data. And I had had zero
trouble supporting our predictions with my own data. So I had no reason to believe that we had trouble
with the experimental data.

[00:53:37.84] More than that, I don’t know how to process this.

[00:53:40.81] ROBERT KAPLAN: Yeah. Well, thank you. And those were thoughtful reflections. And
there’s one final question that on this set of data that we are asking anyone who was involved in this
study, and just to have it on the record.

[00:54:02.35] Did you,         change the data in any way that could have led to these or other
discrepancies?

[00:54:10.87]                      I did not. I never had access to the data.

[00:54:14.41] ROBERT KAPLAN: OK. Thank you.

[00:54:17.02]                      You’re welcome. May I ask a follow-up question?

[00:54:24.93] ROBERT KAPLAN: Sure.

[00:54:26.01]                      So--

[00:54:26.60] ROBERT KAPLAN: If we can answer it, is another question.

[00:54:28.38]                      Well, you may not be able to answer it. So, as you might imagine, I am
a little concerned about the fate of this paper, especially given how very time consuming it was to
collect the data I collected and how clear the results were in that field data set.

[00:54:55.58] Can you give me a sense of what next steps might look like in a situation of this kind? I
know you probably cannot give me an overview of things that are not related to my paper with
Francesca and

[00:55:12.57] What happens typically should this discrepancy be attributed to willful manipulation as
opposed to error or something else?




                                                                                                          18
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 469 of 1282



[00:55:24.46] ROBERT KAPLAN: Yeah.

[00:55:24.86]                     What has to happen?

[00:55:26.06] ROBERT KAPLAN: Yeah. It’s a very reasonable question,           I might suggest that you
have a private conversation with Alain. He can either respond now, or perhaps without us being there,
actually talk about this with you, about what the process is, and what people can know, and when they
know it.

[00:55:47.63] TERESA AMABILE: I think the best thing to do,         would be for you to have a
subsequent follow up with Alain. And he’ll be happy to do that with you.

[00:55:56.27]                      All right.

[00:55:57.23] TERESA AMABILE: OK, thank you.

[00:55:58.73]                      Very well. May I--

[00:56:00.25] TERESA AMABILE:

[00:56:00.47]                    : --and I also imagine I cannot ask if others are being also interviewed
regarding a particular case.

[00:56:11.82] ROBERT KAPLAN: Yeah. You can always ask. Yes. You can ask and should ask that question.
And Alain is in the best position to give a response.

[00:56:20.22]                    : All right.

[00:56:20.67] ROBERT KAPLAN: Because It’s a very formal, structured process that may not make, that
the lawyers, in some sense, are in charge of. And we have to work within the parameters that they have
established. And therefore he’s in the best position to explain what those parameters are.

[00:56:41.43]                    : All right, thank you.

[00:56:42.53] TERESA AMABILE: Well said. Thank you, Bob.             I’m aware that you’ve committed
one hour to us. And we’re just about out of that hour. I believe that we could probably finish up in
another 15 or 20 minutes, but do you have that time to give us?

[00:56:58.05]                    : Yes, I do.

[00:56:59.19] TERESA AMABILE: Thank you. Go ahead, Bob.

[00:57:02.25] ROBERT KAPLAN: Good. Now we’re shifting to a more general set of questions and trying
to understand, as best you understand it or recall it, the atmosphere in the lab in which the data for this
study were collected. Specifically, the extent to which people in the lab might have felt pressured or
highly motivated to produce particular outcomes from the study.




                                                                                                            19
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 470 of 1282



[00:57:34.08] And can you give us your views on the atmosphere and culture in the lab at the time the
data for study 3A were collected, which we have stated being January through April 2020?

[00:57:50.78]                      : I cannot provide any insight. Because number one, I don’t think they
were collected in a lab. I believe it was an online study. And I believe MTurk was the platform that was
used. And so I think people answer those questions wherever they are in that moment. Could be at
home, could be at work.

[00:58:12.35] So I have no insight. Neither does Francesca, I believe, in a situation of that kind, unless
I’m misunderstanding the question.

[00:58:24.49] TERESA AMABILE:              I think the question was less about pressures on the
participants in the study and more about pressures on any RA who may have been involved in data
collection, data cleaning, data analysis, or postdocs, doctoral students in the lab, in Francesca’s lab or
         ’s lab at the time.

[00:58:47.57]                      I have no information. I never dealt with anybody that was working
with Francesca or           on the data collection. The most contact I ever had with an RA was perhaps
in copy editing the paper for references, inserting references-- that kind of work. But I never interacted
with personnel in either          ’s or Francesca’s lab, so I do not know.

[00:59:21.99] ROBERT KAPLAN: Yeah. Are you familiar with                      , who was Francesca’s
research assistant at the time?

[00:59:29.44]                      What’s the name again? Sorry.

[00:59:30.85] ROBERT KAPLAN:               ,         .

[00:59:35.97]                      I don’t remember that name.

[00:59:39.33] ROBERT KAPLAN: OK. So Teresa, I’m going to skip the next part of the question, and
actually the next question too, given what     has responded to us. And I think you will now finish up
the interview.

[01:00:00.15] TERESA AMABILE: Yeah. We just have two more questions,               At any time-- I actually
think you spoke to this very early on and one of your first remarks-- at any time during or after the
research in this paper was being done, written up, or published, did you have concerns about the
integrity of the data?

[01:00:27.82]                   : Never. I had no reason to have concerns. I had no contact with the
data. And so probably my bad, in a sense. But that’s what you do with your coauthors. There is a
reciprocal trust.

[01:00:51.16] TERESA AMABILE: And finally,      is there anything else we should know as we try to
determine whether research misconduct occurred with respect to study 3A in this paper, and if it did,
who might have been responsible?




                                                                                                             20
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 471 of 1282



[01:01:08.27]                         : I have no other information to contribute except for a personal note
that I am still having a difficult time processing what you just showed me. So something may occur to
me later on. If so, I will certainly let Alain know and contribute any other information. But I doubt that I
will have any.

[01:01:40.05] TERESA AMABILE: Thank you very much.             please, if you have any follow-up
questions or any additional information that occurs to you, anything you think might be helpful,
including any correspondence, documents, whatever, we would very much appreciate if you could share
any of that with Alain if you think it would be helpful to us.

[01:02:01.14]                       : Will do.

[01:02:02.48] TERESA AMABILE: And again, thank you so much--

[01:02:05.36] ROBERT KAPLAN: Yeah.

[01:02:05.66] TERESA AMABILE: --for spending this time with us.

[01:02:07.77] ROBERT KAPLAN: So I want to say thank you also, and just remind Alain to please reach
out to         and set up a time when you can respond to the questions she’s already raised and may
think of in the future about the process, both how the data sets were acquired and what happens after
these interviews.

[01:02:33.14]                        : Very well. Thank you all for the time you’re spending analyzing cases
of this sort. It’s not an easy job, be it substantively, or psychologically, as far as I can tell. And certainly, it
has not been easy on me. That’s for sure.

[01:02:52.39] All right. Thank you very much. Alain, you and I will communicate about a follow-up,
because I do have those questions. And to the extent that you have any insight that you can share, I
would appreciate it.

[01:03:03.79] ALAIN BONACOSSA: Sounds good. We’ll be in touch.

[01:03:05.48]                       : All right, very good.

[01:03:06.40] TERESA AMABILE: And                 we’re going to stay on--

[01:03:07.17] SHAWN COLE: Thank you very much.

[01:03:07.60] TERESA AMABILE: --for a few minutes after you get off. Shawn, did you want to add
anything?

[01:03:12.23] SHAWN COLE: No. I was just saying thank you very much for your time as well.

[01:03:15.55]                       : You bet.

[01:03:16.90] TERESA AMABILE: Bye-bye,


                                                                                                                 21
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 472 of 1282



[01:03:18.17]                 : All right.

[01:03:18.53] ROBERT KAPLAN: Bye.

[01:03:18.74]                 : Take care.

[01:03:19.39] TERESA AMABILE: Take care.

[01:03:19.70]                 : All the best.




                                                                            22
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 473 of 1282



                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                      ([KLELW
       7UDQVFULSWRI:LWQHVV,QWHUYLHZZLWK        RQ$XJXVW
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
                                           
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 474 of 1282



                                                       Interview
                                              August 2, 2022

[00:00:03.08] ALAIN BONACOSSA: Good morning, everyone. My name is Alain Bonacossa. I'm the
Research Integrity Officer at Harvard Business School. I wanted to thank      for being here
today and for being willing to be interviewed by the investigation committee.

[00:00:15.44] I will now make a brief announcement before handing it off to the chair of the committee.
First as a reminder, this interview will be recorded and transcribed. And,     you will be given a copy
of the transcript for correction after the interview.

[00:00:29.12] Let me start by introducing everyone on Zoom today, starting with the investigation
committee. We have Professor Teresa Amabile, the chair of the committee, Professor Bob Kaplan, and
Professor Shawn Cole.

[00:00:40.07] As I mentioned, the witness in today's interview is                . And in addition to
myself, we have another staff member on the call, Alma Castro, Assistant Director in Research
Administration at the Business School.

[00:00:51.86] Next, I wanted to provide a brief overview of the interview process. As I mentioned to you,
       before, this is a faculty review of a faculty matter, so the interview will be a conversation
between you and the committee. It will entail a series of questions and answers. And of course,
you should feel free to elaborate on any answer if you think that that could be helpful to the process.

[00:01:13.86] Some rules of the road for the interview. To make sure that the transcription is clear, only
one person can speak at a time. At the end of my introduction, Alma and I will turn our cameras off and
it will just be the committee and yourself,

[00:01:27.62] And,          for you specifically, please answer the committee's questions truthfully. All
answers need to be audible so that they can appear on the transcript, so nodding your head is not
sufficient. If you don't understand a question, please ask for that to be rephrased. And if you don't know
an answer to a question, just feel free to say so.

[00:01:47.51] We have a lot of ground to cover today, and we also want to be respectful of your request
to use our 90 minutes efficiently. So for this reason, we have not planned a break in these 90 minutes.
But of course, if you do need a break, please ask for one, and we'll be happy to take one.

[00:02:03.02] A couple of important reminders. HBS has an obligation to keep this matter confidential,
so even the fact that the interview occurred or that there's an ongoing investigation into allegations of
research misconduct is confidential. So,        we're going to ask you to keep all of this information
confidential.

[00:02:20.09] Per HBS policy, HBS community members may not retaliate in any way against the
complainants, witnesses, the research integrity officer, and committee members.     do you have
any questions for me about the process before we hand it off to Teresa?

[00:02:35.12]                : No, I don't. Thank you.



                                                                                                            1
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 475 of 1282



[00:02:36.59] ALAIN BONACOSSA: Thank you. Teresa, off to you.

[00:02:40.14] TERESA AMABILE: Hi,           May I call you        or would you prefer

[00:02:44.43]                :       is fine. Yes, Thanks.

[00:02:45.96] TERESA AMABILE: OK,            Thank you so much for being willing to spend some time with
us to help us out with our process. I'm a social psychologist by training and I am in the Entrepreneurial
Management Unit at Harvard Business School. I've been at HBS for about 27 years. And I'm now going to
ask our colleague, Bob Kaplan, to introduce himself.

[00:03:12.69] ROBERT KAPLAN: Good morning,        Bob Kaplan. I'm a professor in the Accounting and
Management area, and been at Harvard Business School even longer than Teresa.

[00:03:26.48] SHAWN COLE: And I'm Shawn Cole. I'm in the Finance unit. I'm an economist by training,
and I do a lot of experiments in my research. I've been here about 12 years. 17 years. 17 years at HBS.

[00:03:44.64] TERESA AMABILE: Thank you. So one additional thing I wanted to thank you for,              is
for sharing with us the many emails and attached files that you had on Experiment 1. That's been
extremely helpful to us.

[00:04:03.79] I also just wanted to tell you and my colleagues here I'm having a little bit of issue with my
asthma this morning, so, Shawn, if I get a coughing fit and I'm finding the tickling is keeping me out of
commission a little bit, would you be willing to take over the--

[00:04:20.94] SHAWN COLE: Happy to.

[00:04:21.78] TERESA AMABILE: You've got the script in front of you, correct? OK, great. Great. So,
       we'll start with a general question. Can you give us the dates of your appointment as an RA
and/or lab manager for Francesca? And could you also tell us if you did any work for Francesca after
those dates?

[00:04:45.50]                 : Oof. This is a question I wasn't anticipating. So this one's drawing on my
memory, so I'll have to give you a vague sense of the dates. I believe I started doing research for
Francesca in 2008, the end of 2008 or maybe the beginning of 2009. Something like that.

[00:05:15.47] TERESA AMABILE: OK.

[00:05:16.34]                 : At the time, I don't know if I ever just volunteered before I was an RA. I
think I started as a paid research assistant, just part time around that time. And then I worked with her
as an RA for a year or two until I became the official lab manager of the Center for Decision Research at
UNC.

[00:05:47.71] So I was kind of unofficially doing it as a paid research assistant, and then I became the
official lab manager. And I held that position until the summer of 2014. And then I also did independent
work for Francesca while she was at Harvard from whatever time she left UNC, which I don't know when
that was. Maybe you all know whenever she came to Harvard.



                                                                                                              2
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 476 of 1282



[00:06:26.15] TERESA AMABILE: It was 2010. It was the summer of 2010.

[00:06:28.06]                 : OK. 2010 until also the summer, I think, of 2014. I wrapped up all of my
research responsibilities at UNC because I got a job at Duke.

[00:06:43.44] TERESA AMABILE: OK. Wow. That's pretty good for feeling very vague about it. So,
do you happen to recall, the summer that Francesca moved to HBS, we think that you were running this
experiment, Experiment 1, that we're going to be focusing on.

[00:07:08.21] Do you recall where Francesca was during that time while she was sort of in transit to
Harvard? You were in communication with her that summer by email, certainly from the email records
that you sent us. Do you remember where she was?

[00:07:27.52]                   : I can't say for sure. A couple of things float in my mind, but the timeline
could be really off here. I know before she accepted the position at Harvard, she had quite a few offers
at different universities, so I know she was traveling a lot between multiple universities [AUDIO BLIP]
doing [AUDIO BLIP] how close that was to when she accepted the offer at Harvard and then made the
move.

[00:07:56.64] So in that case, she was traveling quite a few different places-- California, Pennsylvania,
Boston, Chicago maybe, several places. I can't say for sure.

[00:08:12.28] And there also was a period of time-- I feel like it was around this time, but I really could
be off on this—where her, I believe it was her grandfather passed away. Someone very important to her
in Italy passed away. And she was spending a good amount of time in Italy, and that delayed her from
coming back. That might have been around that period of time, but I'm not sure.

[00:08:37.34] TERESA AMABILE: OK. Thank you. Do you recall-- what's the name of the lab [that you]
when you became lab manager? What was it called?

[00:08:45.37]                  : The Center for Decision Research. It's basically the behavioral lab manager
at UNC. So there was a behavioral lab at the Kenan-Flagler Business School that the-- I don't know why it
was called this, but all the research that was conducted out of that lab went under this umbrella of the
Center for Decision Research, which is a center that Francesca started, and it was in her name at UNC.

[00:09:19.22] TERESA AMABILE: It was in her what?

[00:09:20.54]                 : It was in her name. Like, there was an IRB for the Center for Decision
Research.

[00:09:25.20] TERESA AMABILE: OK. And her name was the principal investigator name associated with
that?

[00:09:30.59]                 : Yes.




                                                                                                                3
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 477 of 1282



[00:09:31.41] TERESA AMABILE: OK. And were there other faculty associated with that lab? I'm sorry, it
looked like you said yes. You're blipping out. The audio's blipping out sometimes, but you said yes,
correct?

[00:09:46.24]                : Yes. Yes.

[00:09:48.88] TERESA AMABILE: Do you remember who they were?

[00:09:50.62]               : Yes. So there's two different answers here. One is who was involved in
overseeing the center, and then the second part is who did research there. So Francesca is the person
who created the center, who's the first faculty oversight principal investigator for that center.

[00:10:16.32] TERESA AMABILE: That was Francesca?

[00:10:18.35]                   : Francesca, yeah. And then when Francesca-- [AUDIO OUT] she transferred
the oversight and principal investigation to                 , who was the oversight principal investigator
for, I think, all of my time there so until 2014. And then around that time, I think 2014, it transitioned
into                  who's also at Kenan-Flagler Business School. And I don't know who runs it now.

[00:10:55.99] And then the second part is who does research at the Center for Decision Research. And
anyone-- the way that it was written, anyone at the University was allowed to do research there, and I
supported them in running their research through our lab, in effect. It usually was people who were
coming from the Business School in multiple areas so any faculty member who was doing behavioral
research at Kenan-Flagler. I could give you a list of names if that's helpful.

[00:11:32.03] And then when Francesca moved to Harvard, we ran some of her research from Harvard
and also some research from Duke Center for Advanced Hindsight,         's lab through the Center
for Decision Research as well.

[00:11:51.16] TERESA AMABILE: OK, that's really helpful. And do you recall if you continued to run
studies for Francesca through 2014 when you left your position?

[00:12:01.92]                : Yes.

[00:12:03.56] TERESA AMABILE: You did?

[00:12:04.53]                : Oh, no, not after I left. No.

[00:12:06.62] TERESA AMABILE: No, no. But through 2014, you were still running some studies for her.

[00:12:11.66]                : Yes.

[00:12:12.98] TERESA AMABILE: OK, thank you. Any follow-ups, Shawn or Bob? OK. So,           as a
memory refresher, we're focusing on one particular study in the 2012 PNAS paper. OK? It's Experiment
1. That's the lab experiment in which participants solved math puzzles in one experimental room and
signed a tax form at the top or the bottom in a second experimental room.




                                                                                                          4
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 478 of 1282



[00:12:47.03] Because participants reported their own math puzzle performance and they didn't think
the experimenter had a way of knowing their true performance, they could cheat in reporting their
score. That's the way the experiment was set up. The purpose of the experiment was to see if the
placement of the signature on the tax form affected participants' cheating behavior. OK? Do you need
any more details to help you recall the experiment?

[00:13:16.77]                 : No. And I’ve reviewed the study design and all the emails before this call.

[00:13:22.44] TERESA AMABILE: Oh, you did? That's terrific. And,            did you happen to go through
the paper itself, the 2012 PNAS paper?

[00:13:33.21]                    : I skimmed it while I was out having a coffee with my baby, so I didn't get
too far. But I did read it fairly recently when the controversy came out around the fraudulent claims
around        [      ]’s, the other study that was part of this. I read the paper when that came out a few
months ago.

[00:13:54.79] TERESA AMABILE: It was about a year ago. Yeah. OK. Thank you. So one thing our
committee needs to know is the approximate time frame of this experiment and this paper. To the best
of your recollection, could you please give us the chronology, if possible the months and the year or
years, of your involvement in Experiment 1 in this paper?

[00:14:23.37] And there's also another lab experiment in the paper, Experiment 2, which you might have
some recollection of from having looked at the paper last year. But let me give you a reminder. The
procedure in that other lab experiment, Experiment 2, was very similar to Experiment 1, except that a
higher incentive for puzzle performance and a higher tax rate were used. And the tax form was a bit
more like a real IRS tax form.

[00:14:56.85] Also, there was an additional measure in Experiment 2, and that was a word completion
task. So in many respects-- in most respects, Experiment 1 and Experiment 2 were very similar. I'm just
trying to help jog your memory a bit. But there were some small differences, and both experiments are
reported in the paper.

[00:15:18.78] We are focusing on Experiment 1 here. But if you can at all recall the chronology of the
months that you were working on Experiment 1 and, if possible, Experiment 2, that would be really
helpful to us.

[00:15:36.91]                 : And just to be clear, Experiment 1 and 2 were both run out of Center for
Decision Research?

[00:15:43.72] TERESA AMABILE: Absolutely, yeah.

[00:15:46.20]                 : OK. I'll just say one thing that comes up for me without having-- now I wish
I would have read the paper in more detail. Well, I guess I'll rely on you. The information that I shared,
the emails and all of the stuff that's in the tax study email folder that I sent, are we clear that that is
Study 1 and not Study 2?




                                                                                                                5
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 479 of 1282



[00:16:13.15] TERESA AMABILE: Well, that's why I'm asking you this question because we're not clear.
We're a little confused when we look at those because at one point in those weeks, there was--
Francesca sent you something called the new form.

[00:16:33.51]                 : Yes.

[00:16:34.35] TERESA AMABILE: And I have more detailed questions about that later on. So that leads to
confusion for us.

[00:16:42.15]                   : Sure. Yeah. I understand. OK. So to go back to your first question, which is,
can you tell me the month, I'll just start with the preface that without really looking more into the data
and looking at the research paper to distinguish Study 1 from Study 2, I won't be able to say definitively
that all of this is Study 1 or 2.

[00:17:13.82] TERESA AMABILE: We get that. Yeah.

[00:17:15.06]                 : That's the preface. Also, in terms of timeline, again, I think I'd have to go
back and really look through the emails to say for sure. One way I could guesstimate the timeline would
just be to look at the timestamps of these emails. So the first one is July 2010, and the last one is—oh,
these are out of order. And the last one is July 23.

[00:18:00.67] That's a couple of weeks. It wouldn't be uncommon for us to run a study from start to
finish in a couple weeks once the IRB was done, so it could be that. It could certainly have been longer,
especially if there was a second study that came before or after. But that would be my best guess with
the data I have.

[00:18:37.35] TERESA AMABILE: OK, thank you. We actually have an email that you forwarded to us that
was dated July 27, 2010. Do you see that one? Maybe not. It seems that the ones on your computer may
be out of date order.

[00:18:55.11]                 : They definitely are out of order.

[00:18:58.78] TERESA AMABILE: And it's not important for you right now to--

[00:19:02.02]               : Here it is. Yes. The numbers starting over at 1 are the new form. So the
study would have been just concluding at that point, and I'm indicating here's how I coded it on the
spreadsheet.

[00:19:18.09] TERESA AMABILE: OK, yeah. Great. Great. And I will ask a little bit more about that if we
get a chance today, but yeah. We'll try to be able to follow up with you on that. OK. Were you involved
in any way in the write-up of the paper itself for Experiment 1? Oh, you're muted-- yeah, OK.

[00:19:48.04]               : No. No. I was never involved in any data analysis or write-ups of papers. I
often had to try to hound them down. Like, can I see what the conclusion was for this? So, yeah.




                                                                                                              6
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 480 of 1282



[00:20:02.42] TERESA AMABILE: So let me just make sure because you blipped out a little bit there. It
sounds like you said when you were-- of all the studies you did for Francesca, you never did data analysis
and you never did any write-up of even the procedure.

[00:20:22.02]                : That's correct. The part that I would have written up that was related to
the procedure is I was involved in writing quite a few IRB applications, but I didn't generally, if ever, do
anything post data collection.

[00:20:41.48] TERESA AMABILE: OK. That's really helpful. All right. Follow-ups, Bob, Shawn? OK. So,
       now we're going to talk a little bit about the study materials of the procedure for this Experiment
1.

[00:21:01.03] So for Experiment 1 in this paper, I'm going to go through each stage of the research and
ask you to tell us to the best of your knowledge and recollection who was involved in supervising the
activity and who was involved in carrying out the activity, OK? So supervising and carrying it out.

[00:21:22.51] And of course, describe the extent of your own involvement in each stage as I bring it up.
OK. So first, study conceptualization and design. Oh, you're muted again.

[00:21:42.64]                 : Yes. Is that it?

[00:21:45.40] TERESA AMABILE: Yes. Study-- well, this is the first one, study conceptualization and
design. So who supervised that to the best of your knowledge and who implemented the study
conceptualization and design?

[00:22:04.20]                : I think if I went back to-- well, I guess these are all the emails that are
related to it. What I would venture to say based on the emails that I have here and I sent to you is that
the only person that I know of who was connected to the conceptualization and the design would have
been Francesca because that's who I got it from. But if she was collaborating with people before she
sent it to me, I wouldn't have known that, or if I heard about it or something, it's not something I recall.

[00:22:51.54] If I was involved in part of that, there would have been emails back and forth because I
usually wrote up the IRB, and I often had lots of questions because generally the information that was
shared was usually vague. So I would write up as much as I could and then say, OK, I have questions
about this. So I don't think in this study that I would have had any part in the conceptualization or the
design.

[00:23:20.99] TERESA AMABILE: OK, thanks. And data collection?

[00:23:26.09]                : The data collection would have been entirely me or research assistants
that were working in the lab under me at that time. I don't know if there were, how many there were, or
who would have been connected to that study, but it's very possible there could have been some RAs.
But I would have either trained them, well, or I would be supervising. I would have also been there and
been supervising the collection perhaps.




                                                                                                               7
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 481 of 1282



[00:24:03.39] TERESA AMABILE: OK. Can you tell us what sort of people would have been working in that
lab as RAs in the 2010 timeframe? Would they have been part-time undergrads? Would they have been
full-time RAs wholly supported by their job at the lab?

[00:24:23.17]                    : Yes. Research assistants were either-- I don't know the timeline for this.
This is a little bit of a tangent. There's another faculty member at UNC,                     , who in
collaboration with him, we started a research seminar. So there were a handful or two handfuls of RAs
that went through that research seminar each semester.

[00:24:58.73] And as part of the research seminar, they would participate as RAs in the lab. So every
week they would read-- just like a seminar class. But they would also work in the lab. That could have
been the same timeline. So those RAs were undergrad students in the business school who were
interested in organizational behavior.

[00:25:26.79] So that would have been most of the RAs. There was one RA who worked in the lab who
was a personal friend of mine. She was also an undergraduate student at UNC and interested in
research. She worked there for a little while. I think that she might have been noted in this paper, so it's
possible that she collected some of the data.

[00:25:57.52] TERESA AMABILE: What's her name?

[00:25:59.17]                                  .

[00:26:01.20] TERESA AMABILE: OK, yeah, I think that name is mentioned in the acknowledgments.

[00:26:08.98]                 And sometimes the RAs would be actual doctoral students who were
running their own research, but every now and again they might help out on another experiment for
some reason or another. I think that that would be it.

[00:26:31.83] TERESA AMABILE: OK. If there were two experimenters in this particular Experiment 1-- it's
a little unclear to us if there were. But if there were two experimenters, is it likely that you would have
been one?

[00:26:51.74]                  Can you explain what you mean by two experimenters?

[00:26:55.76] TERESA AMABILE: Well, do you remember when I was describing the study a few minutes
ago, I mentioned that one thing that seems pretty clear from the materials we've looked at is that
participants did that math task, the math puzzle task where they could cheat in the first room, in a lab
room.

[00:27:23.69] And then they went to-- they were brought to a second lab room where they signed a tax
form, and reported how much they earned for the puzzle task and filled out this form that looked like an
IRS tax form. And they reported their expenses in coming to the lab that day. And that happened in a
second experimental room. So if-- and you probably remember-- perhaps you remember running studies
where there was more than one lab room involved in the session.




                                                                                                                8
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 482 of 1282



[00:28:02.63]                : Yes. So just to clarify, when you say experimenter, you mean the person
facilitating the study.

[00:28:08.18] TERESA AMABILE: The person interacting with the participant, yeah.

[00:28:11.08]                : OK. So sometimes-- and maybe this might be helpful information about
the behavioral lab at UNC. So there are two rooms like this.

[00:28:31.14] TERESA AMABILE: OK,         's holding up-- I'm trying to get this on the transcript.        's
holding up her hands in kind of C shape and holding them about a foot apart. Two rooms. So--

[00:28:43.57]                : I'll explain it in words.

[00:28:45.30] TERESA AMABILE: Yeah.

[00:28:46.77]                : There are two rooms with a hallway in between, and the door to each
room faces into the other room. So if I'm in one room and looking out the door across the hall, I can see
into the door of the other room.

[00:29:07.47] TERESA AMABILE: Got it.

[00:29:08.53]               : So in this particular study or in any study where the participants needed to
be not in the presence of any experimenter, research assistant, whoever, they would always be in one of
the two rooms, and then the researcher, experimenter, or research assistant, they would be in the other
room.

[00:29:38.39] And that's where we would collect payment or that's where-- they would come into that
room if they needed to interact with us in any way. Or if they needed us, they could kind of raise their
hand and we could see them through the door, so we would go into the other room and then come
back.

[00:29:57.11] Sometimes a study didn't require that they were alone, and so sometimes they would take
a study in both rooms while the experimenter was present in one of the rooms. It was very common for
there to be multiple people in the second room where the participants were not.

[00:30:28.55] Because I was the manager of the lab, I didn't have my own office. That second room also
was my office. So if I was running the study, then it would be just me in the one room. In the other room
would be the participants. If there was just one experimenter and not me, they would be in the one
room and the participants would be in the other room. And if there were two people, then we might
both be in the one room with the participants in the other room.

[00:30:59.26] TERESA AMABILE: When you say if there were two people, do mean if there were two
experimenters involved in running the study?

[00:31:05.41]                : It could be two experimenters, or it could just be that I was in the room
doing my-- I was in my office doing my job, but someone was managing the experiment. So I wasn't--
I'm-- [AUDIO OUT] overseeing.



                                                                                                                9
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 483 of 1282



[00:31:22.37] TERESA AMABILE: I'm sorry. You blipped out there. But you were like part of the furniture
if you were just working and another RA was running the study. You're nodding. Yes. OK. That detail is
actually helpful. Let me ask just again directly because I think the answer is yes, but I'm not sure. There
were some studies that you ran where two experimenters were involved in interacting with the
participant?

[00:31:58.26]                : Yes.

[00:31:59.28] TERESA AMABILE: Yes? OK.

[00:32:00.84]                : For sure.

[00:32:01.28] TERESA AMABILE: OK. OK. If there were two, were they sometimes both not you? There
were sometimes both other RAs, or would you have been likely to be one of those two experimenters?

[00:32:17.38]                  Yeah, that could be the case where-- that could be the case, especially if it
was a complicated study or the design had people playing different roles. Maybe one person was there
just collecting the information to get paid and paying them and the other person was managing the
study. So would you call that person an experimenter if they're really just managing the process? I don't
know. But it could be that there were two people.

[00:32:54.93] It could also be that the study was really complicated or there were people running in
both rooms at the same time. And so if we knew that they were going to have a lot of questions or need
a lot of support, then maybe there would be-- yeah, two research assistants, and one person managed
one room, one person managed another room. Yes, that was common.

[00:33:21.20] TERESA AMABILE: OK, that was common.

[00:33:22.52]                : Sure.

[00:33:23.48] TERESA AMABILE: OK. And how likely is it that those could have been two other RAs? If
there were two, quote, "experimenters" working with a participant during a session, how likely is it that
you would have been one of them?

[00:33:47.96]                : I'm guessing fairly high because I was there all the time. And a lot of the
research assistants were undergrads. So-- I don't want to say I'm a micromanager, but I wanted to make
sure they had support, for sure.

[00:34:16.18] The other thing that strikes me about the data is that it appears like I entered all the data
manually myself and was doing the calculations. And so if I was the person manually entering all of this
data, then I would imagine that I was there for a good portion of the studies, if not all of them.

[00:34:45.01] TERESA AMABILE: OK. Thank you. You said you supervised the undergrad RAs, that you
supervise any other RAs in the lab. Yes? You're nodding. OK. And who was your supervisor or
supervisors?




                                                                                                          10
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 484 of 1282



[00:35:01.81]                : For my general work as the manager of Center for Decision Research, also
known as the behavioral lab at Kenan-Flagler, my supervisor was Francesca until she left, and then my
supervisor was                . That's for my role as the manager. If I was running a research study, then
the supervisor for that study was always whoever the PI was for the study--

[00:35:40.08] TERESA AMABILE: For-- OK, so for Experiment 1, it would have been Francesca.

[00:35:44.41]                 : Yes.

[00:35:45.27] TERESA AMABILE: OK. Thanks. You said something about you could tell by looking at the
emails and the attachments recently that you manually entered the data. You said-- and did the
calculations. What calculations would those have been?

[00:36:05.48]                  : Yes. There was an email where-- I think it's the very first one where it says,
"Here's the tax study data. These people are serious dumdums on this study." The calculations-- and I
reread that yesterday and I had a very vivid memory of this study. So there was the form where they're
filling out their answers, the tax form, and there were margins on that paper so white space on the side.

[00:36:48.67] And one of the questions asked them to, I think, do a percentage or divide something by
another. So on the side of the form, they were trying to calculate the math that the form asked them to
do.

[00:37:08.42] And so I was looking at those calculations because sometimes they would have a different
answer in the form and they would have a different answer on the side, or they wouldn't put the answer
in the form and they would just put it on the side. There was some kind of discrepancy between them.

[00:37:31.08] And my recollection is that they were trying really hard to-- it seemed like they were trying
really hard to do the math and put the right answer on the form, but they just were having a really hard
time with the math. That could be my naivete. Maybe they were trying to cheat and somehow it went
over my head. But my recollection is that they were really having a hard time with the math. And so I
was trying to figure out what their calculations were and then enter that manually in the data.

[00:38:04.83] TERESA AMABILE: So when you refer to calculations, you were trying to kind of check the
math that they had scribbled in those margins on the tax form?

[00:38:11.21]                 : Yeah.

[00:38:12.17] TERESA AMABILE: OK, thank you. Shawn? Yeah.

[00:38:15.26] SHAWN COLE: Can I just go back to the experimental procedure? If you recall, you said
there were two rooms, and the study description describes two rooms. Did the study involve two staff
members or experimenters, one in each room? Or you said sometimes there would be one room with
no experimenter present and another room with the staff or experimenter present. Do you recall the
staffing arrangement for this experiment?

[00:38:40.45]                 : I can't say for sure, but I can say in general it depended on the study
design. So if the study design-- anywhere in the study design it said that the participants needed to not



                                                                                                            11
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 485 of 1282



be in the presence of a researcher, then they always were alone in one room. There would have been no
experimenters in that room.

[00:39:06.97] The experimenters would have been in the second room, which was right across the hall
because we knew that they needed to-- like in this study, they needed to be alone so that they could
cheat, theoretically. So any time there was something like that, they would have been completely alone
with nobody in the room with them.

[00:39:30.32] TERESA AMABILE: Shawn, does that answer your question?

[00:39:33.93] SHAWN COLE: We're going to go through the IRB report form in a bit?

[00:39:37.35] TERESA AMABILE: Yes we are, Shawn.

[00:39:38.49] SHAWN COLE: So we can follow up on that. Keep going.

[00:39:40.38] TERESA AMABILE: Yeah. And when we look at the IRB form,             which we got from
Francesca's computer, it might jog your memory a little bit more.

[00:39:49.81]                : OK.

[00:39:50.54] TERESA AMABILE: OK. So we're done with discussion of data collection, and that was super
important and super helpful. Now the next stage is data cleaning. Who would have supervised that?
Who would have done it?

[00:40:05.37]                : Can you explain what you mean by data cleaning?

[00:40:08.71] TERESA AMABILE: So when I've run experiments, I would look at the data sometimes as it
was coming in every few days, look at it with my doctoral student, or my RA, whoever was running the
study, or myself in the old, old days, and look, for example, if there was a survey that was collected as
part of the experiment and a participant answered only half of the questions on the survey or less, we
would have had a criterion in advance that we're not going to consider a survey if more than half of the
responses are missing.

[00:40:56.61] So we would move that participant's data to a bad data folder or something like that. We
would look to see if there were out-of-range responses like somebody gave their age as 120. We'd say,
there's something bizarre going on here and discuss, should we kick out this participant without really
looking at whether their data supported the hypothesis or not or even looking at what condition they
were in. That kind of thing, just getting rid of weird responses.

[00:41:36.76] So does that help you get a sense of what-- and did you do that kind of thing? Would
someone else in the lab have done that kind of thing? And if you can remember for this experiment
specifically, who would have done it?

[00:41:51.95]               : Yes, that helps me understand what you mean. In terms of-- so I would
have been responsible for collecting-- personally collecting or supervising the collection of data. And
then once we have the data-- so in this example, the data was on paper.



                                                                                                          12
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 486 of 1282



[00:42:22.53] So I would say that in most cases, I would have been the person who either sent raw data
files to the PI or manually entered data off of forms and then sent that raw data to the PI. And I also was
responsible for keeping all of the hard copies for all of the studies. They were all stored in the lab, so I
would have had those organized and filed and stored.

[00:42:58.62] When I sent over raw data, I often would look at it and flag anything that was strange. So I
might call out in these first five participants they started 15 minutes late, or there was a loud thing
happening at this time, or the age for this one makes no sense. Or if there's anything strange that I saw
in the data itself or I knew because I was in the lab observing and I thought it would influence the data,
then I usually noted that information somewhere, either in the file or in an email. And then I would send
that data to the PI with those observations.

[00:43:50.14] But I was never responsible for deleting-- like, this one's weird, I'm going to delete it. I
never did anything with the data when it came to actually taking it, manipulating it, and analyzing it. In
fact, I wouldn't have known how to if I wanted to, which I did want to, but I didn't know how. So that
would have been generally the PI or the PI and a graduate student if they were working on something in
collaboration.

[00:44:22.02] TERESA AMABILE: Super helpful. Thank you. So you would have entered-- for this
particular experiment, the data were all on paper, as you said. You would have with this experiment
entered the data from every single participant's form into the data file.

[00:44:40.95] And then when you sent it to the PI, who was Francesca, you would have noted, there's
something odd about-- there's something odd about what happened in the lab when this participant
was being run or there's something that looks weird in their responses or something missing. You would
have flagged that either orally or through an email or exclusively through an email when you sent the
data file.

[00:45:11.89]                 : I would have either flagged it in the data file with a comment or a
highlight, or in this example where I said I started over at number 1, this indicates that new thing. That's
a good example of, here's a change I made in the data. So I might have flagged it on the data file, or in
an email, or both. And I also could have verbally said something to someone.

[00:45:38.49] I would say I usually documented things either in email or [AUDIO OUT] as there were so
many studies running at any given time that it's hard to remember, so I was pretty big on documenting
things on paper.

[00:45:54.21] TERESA AMABILE: OK. So again, your audio went out for a second. It sounds like you were
saying you would document things either in the text of the email-- things that were strange or different
either in the text of the email or in a comment that you would have put directly into the Excel data file.
Correct?

[00:46:14.28]                : Yes.

[00:46:15.18] TERESA AMABILE: OK. OK, thank you. Follow-ups, guys? No? OK. And data analysis. I
believe I heard you say you never did data analysis.




                                                                                                          13
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 487 of 1282



[00:46:29.16]                : Never.

[00:46:30.56] TERESA AMABILE: Thank you.

[00:46:32.21]                : I didn't know how.

[00:46:33.59] TERESA AMABILE: OK. And the next stage is describing the study procedure and write-ups
of the study. It sounds like you said that the only time you would write up a study procedure would be
for the IRB, which would be done before the study was run. Is that correct?

[00:46:50.60]                 : Yes. I never wrote anything that had to do with a paper. Again, writing-- I
would not-- again, writing is not my strong suit. I would have definitely not wanted to do that task. So
no, I was not involved in it.

[00:47:04.58] TERESA AMABILE: OK. So I think I know the answers to these other stages, but tell me if
you know who was involved in-- well, do you know who was involved in writing up the procedure or
anything in this experiment for this paper?

[00:47:24.92]                : I can-- in my mind, I'm thinking about particular faculty members who I
know like writing or who I know like data analysis, so I don't know that this is true. I would have thought
from my recollection that Francesca was usually really involved in the analysis piece of the data because
I just remember lots of studies sending back and forth and she'd say, I'm going to check the data and tell
you what to do. So she was always looking at the data and giving me direction.

[00:48:04.58] I can't remember her ever telling me she loved writing like other faculty members, so I
don't know if she was the person who wrote it or if somebody else did. I have absolutely no idea.

[00:48:19.44] TERESA AMABILE: OK. But it sounds like you feel there's a high likelihood that she herself
did the data analysis?

[00:48:28.26]                 : I know for sure she would have looked at all of the data because she was
looking at it and telling me what to do, to continue the study or not. The final review of data before it
went into a paper or something, I really don't know.

[00:48:50.43] I know that in other studies I ran, there were often multiple faculty members, and they all
kind of played their part. One person loved writing. One person loved analysis. One person loved study
design. For this study, I don't have any knowledge of which faculty member played which part, if any.

[00:49:12.58] TERESA AMABILE: OK. Thanks. It seems to me from what you've said that you didn't have
any visibility into what process was followed in writing this particular paper, who did what parts of it,
who reviewed the drafts at different stages. You're shaking your head.

[00:49:34.51]                  : No. I would have to think really hard about an example of when I was
involved in something like that. I would have had to ask explicitly to be part of that so I could gain
experience. It just generally was not something I was-- my job ended at sending the data, and that was
it. So yeah, I don't have any knowledge for this paper of what happened once I sent the data off.




                                                                                                          14
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 488 of 1282



[00:50:05.84]                  : OK. And my guess is you have no knowledge of who did the data
posting on the public forum OSF, which stands for Open Science Framework. That actually happened
well after the paper was published.

[00:50:21.15]                 : No, I have no idea.

[00:50:22.82] TERESA AMABILE: OK. Thank you. Guys, follow-ups on that? I'm about to move on to
question four. OK. Moving on. So,          could you please tell us who had or might have had access to
the data and the ability to modify it at any point from data collection through data posting on Open
Science Framework in addition to the individuals you mentioned who had access to the data are you and
Francesca?

[00:50:58.17] Can you tell us who else had or might have had access to the data? So for example, is
there anyone who was working in that lab who would have been able to get into wherever the data
were stored?

[00:51:16.32]                 : In this particular case, if the data we're referring to is the spreadsheet of
data that I sent called Tax Study 07-13-2010 and there were three different files-- is that the data we're
referring to?

[00:51:33.96] TERESA AMABILE: That is the data, yes.

[00:51:35.40]             : OK. A file like that would have been stored on my personal laptop, which
was my work laptop for UNC. It was also the only laptop I had, so that laptop was with me everywhere.
That was my work and personal laptop. Because this data was manually entered into an-- [AUDIO OUT]

[00:52:08.08] TERESA AMABILE: You blipped out. Because this data was manually entered--

[00:52:11.98]                : --into an Excel file, I'm pretty confident, very confident that I would have
manually entered all of that data into that Excel file, which then would have lived on my computer in a
Dropbox folder, which is where I got it to send it to you. And then I would have sent that data to the PI.
So I would have had access to the data.

[00:52:52.50] No one else used my laptop in the lab, so no one else would have had access to that file
on my computer. It wouldn't have been on any other computers, and nobody had access to my Dropbox
folder. So on my end, that file, I would have been the only person who had access to that data.

[00:53:19.36] Once I emailed that file to Francesca, I have absolutely no idea. Anyone who had access to
her email or where she stored files, who she shared it with, I have zero knowledge of that.

[00:53:35.15] TERESA AMABILE: Super helpful. Thank you. And just to clarify, is it true that Francesca did
not have access to that Dropbox folder you were using?

[00:53:48.95]                 : Hmm. I would say probably not.

[00:54:02.59] TERESA AMABILE: If the folder still exists, you could actually look at it and see who it's
shared with maybe.



                                                                                                            15
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 489 of 1282



[00:54:08.14]                 : I can? The reason--

[00:54:11.08] TERESA AMABILE: If you can't do that super quickly, we'd rather not spend time on it.

[00:54:16.99]                 : So what I'll say is that in general, I was the owner of that Dropbox folder,
but sometimes I would share particular folders with a collaborator. So maybe I would give access to a
particular folder. And so that certainly could be the case that I gave somebody access to that folder. I
can double check after this.

[00:54:45.32] TERESA AMABILE: OK, you know what? If you can double check after and just
communicate to Alain about that, that would be fantastic and helpful. Bob, Shawn, any follow-ups? OK.

[00:54:57.84] So,          could you please tell us to the best of your knowledge whether and how the
final data set for this study was modified at any point or points between completion of data collection
and final posting of the data set on OSF? And this could include, for example, data cleaning.

[00:55:23.77]                 : The only thing I can say for sure is the files that I sent to you [AUDIO OUT]
that I sent to Francesca?

[00:55:33.63] TERESA AMABILE: The files that you sent to us were the files that you sent to Francesca. Is
that what you said?

[00:55:38.13]                : Yes. And that would have been the only version of data I ever had or ever
saw. So if there are any changes that happened to the files that I sent you, I wouldn't have been any part
of that. I don't know who could have touched it, or changed it, or when, or how, or why.

[00:56:05.24] TERESA AMABILE: OK. Thank you very much. And,                 I keep trying-- I keep repeating
things that you've said, and what that means is that your audio went out for a few seconds. I hope it's
not too annoying for you. OK. Thank you. Can you please describe for us the process by which you would
typically-- oh, we already did this, talking about cleaning of data sets. I'm going to skip that question.

[00:56:29.59] OK. So next, we have a series of questions about the experimental procedure of
Experiment 1. You OK? Do you need a break or do you have to go? OK. The experimental procedure for
Experiment 1, specifically what the participants were told, what they were given, and what they did,
where, and when.

[00:56:56.36] First-- this is a more general question-- can you recall any communications before, during,
or after Experiment 1 was run among any of the paper's co-authors and/or other personnel involved in
Experiment 1? Any communications about the sequence of steps in the experimental procedure or any
other details about the experimental procedure?

[00:57:27.84]                 : Can you repeat the question?

[00:57:30.01] TERESA AMABILE: Yeah. Can you recall any communications before, during, or after
Experiment 1 was run among any of the paper's coauthors and/or other personnel, including yourself,
involved in Experiment 1 about-- so communications about the sequence of steps in the experimental
procedure or any other details about the experimental procedure?



                                                                                                           16
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 490 of 1282



[00:58:00.16]               : The only recollection I have is from the emails that I sent to you. And it
does seem like there were several exchanges of me indicating something was happening in the lab and
how did they want me-- how did Francesca want me to proceed with that. Outside of the topics that are
already indicated in the emails, there's nothing else I can recall.

[00:58:35.94] TERESA AMABILE: Can you give us an example of one or two of those things that you were
communicating with her about?

[00:58:42.99]               : The first one is the email I mentioned before where I was indicating that
they were having trouble doing the math, so that would have been a good example. Let me see if there's
anything else.

[00:59:09.22] TERESA AMABILE: That's the only one that comes to my mind. I did not review all the
emails super recently. Bob, Shawn, do you guys remember anything else about the procedure in those
emails?

[00:59:26.07] SHAWN COLE: So there's a discussion about how many subjects were needed and how
long it would go for, but other than that, I don't recall anything else.

[00:59:32.75] TERESA AMABILE: Mm. Thanks.

[00:59:36.72]               : Yeah, the other example-- that's exactly right. The other example would
have been asking if she should add on another study to the-- sometimes we ran multiple studies at the
same time, so students would do a study back to back. So that was indicated in the email as well, but
those are good examples of--

[01:00:05.72] TERESA AMABILE: OK. Are you looking at that particular email right now,             ? You are?
Yes?

[01:00:12.99]                 : Yes.

[01:00:13.74] TERESA AMABILE: Could you read it to us or read the relevant sentences to us and give us
the date of it?

[01:00:20.25]                   : Sure. July 20, 2010. "      can you run studies next week, Monday,
Tuesday and Wednesday? I would like to run a different version of the tax study. I just need to change
the forms a little bit. I can add in another study if it makes it easier to run. Let me know, and I will send
you the information."

[01:00:43.93] TERESA AMABILE: When she said "I can add in another study," what would that have
meant?

[01:00:51.13]                : So we had a decently sized participant pool. I don't remember now how
many, but it was a decent size. But we often have-- and I think this is the same in many behavioral labs.
We have participants who would come back to the lab often.




                                                                                                            17
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 491 of 1282



[01:01:14.00] And so sometimes if we we're trying to get someone to come back to the lab or maybe
encourage their friends to come with them, something like that, if we added in a new study that
someone who came for the other one that had already done but we added a new one, then maybe they
would come for the new one, and then maybe we would get more people in total for the studies. So we
were always trying to add in new studies so that we could keep the participant pool alive and going.

[01:01:53.46] TERESA AMABILE: OK, I've got it. So if there was a second-- a different version of this
study, this experiment that was done, overlapping or simultaneously, it sounds like it's possible some of
the same people could have participated in both. Is that-- did I understand that correctly from what you
said?

[01:02:23.10]                : Sometimes. It depended on-- one of the things that we would do when we
wrote a study was either part of the IRB or part of the study design before it went to the IRB, we would
have exclusions of studies that someone could not participate in.

[01:02:45.75] So let's say, for example, that something was called Tax Study, Tax Study 2, Tax Study 3,
Tax Study 4. If the study was similar enough that the participants shouldn't go through it again, then in
the study design there would be an exclusion, anyone who does Tax Study 2 cannot-- anyone who did
Tax Study 1 cannot participate in Tax Study 2.

[01:03:12.41] And then in the Center for Decision Research system, you could select the studies that
they couldn't participate in. Sometimes a study had multiple versions, but the PI felt like it had changed
enough that they didn't need to exclude them, even if they had done a prior one. So sometimes
someone had done Tax Study 1, but Tax Study 2 was, in their mind, wildly different. And so that
participant was allowed to do both.

[01:03:51.36] TERESA AMABILE: OK. Thank you. That's helpful. Would it have been the case if Francesca
had put up another study or whatever that phrase was that she used in the email to you-- would it have
been the case that you would have submitted another IRB for that particular study, for that new study?

[01:04:15.96]             : Where it says I can add in another study if that makes it helpful?
Sometimes yes, and sometimes no.

[01:04:25.08] TERESA AMABILE: And what are the circumstances of the yes and the circumstances of the
no?

[01:04:31.19]                : Sometimes yes would be there's another study that she wanted to do
either on her own or in collaboration with another faculty member that I imagine they were going to
actually run the study and want to do something with the data. And so in that case, they would usually
write up a full IRB and come up with the study design. It might happen quickly, but it had the full
process. And then that study would get approved and added on.

[01:05:09.06] Sometimes if it was this case that I mentioned before where we were just trying to add
more studies into the system, there might be a study that was based on a previous IRB, but then the
design was tweaked a little bit, and then it was rerun with a different name, usually like a number 2, a
number 3, a number 4.




                                                                                                           18
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 492 of 1282



[01:05:42.59] TERESA AMABILE: OK. And when you say the design was tweaked a little bit, the
implication I get from that is that the design was tweaked a little bit but not in any way that would
materially change the experience of the participants so not requiring a new IRB. You're nodding your
head.

[01:06:03.87]                   : Yes, because sometimes IRBs were written by faculty members where
they're quite vague. And so they're written in a way that it's vague enough that you could substitute lots
of different activities and it would still fall under the IRB. And this was nothing where it was like
deception and anything that would be harmful to a participant. It would be simply like, they're going to
fill out this form or they're going to do this puzzle.

[01:06:38.87] So it was usually like a pretty simple experiment, but the IRB was written in a really vague
way. And so then the researchers would tweak the design a bit and rerun it to test something else. It
was usually if they were trying to figure out a measure or something.

[01:06:57.11] TERESA AMABILE: OK. Follow-ups, Shawn, Bob? No follow-ups. OK. All right. According to
the paper, participants in Experiment 1 were, quote, "students and employees at local universities in the
southeastern United States," end quote. Can you tell us to the best of your recollection how far distant
the lab was from the participants who would have been coming from the closest distance so how far--
distant the lab was from the participants who would have been coming from the closest distance?

[01:07:35.68]                 : If I understand this correctly, the lab was located in the Business School.
So the closest distance that someone would participate is anyone who was an undergrad of the Business
School or an employee of the Business School.

[01:07:53.37] TERESA AMABILE: And they could have been coming from an office on the same floor
potentially?

[01:07:59.84]                : Yes.

[01:08:00.20] TERESA AMABILE: Yeah, sure. Or a classroom somewhere in the same building.

[01:08:03.98]                : Yes.

[01:08:04.88] TERESA AMABILE: So it would have been a matter of-- it might have taken them just a
matter of seconds or minutes to get to the lab from wherever they were.

[01:08:12.02]                : Minutes. Minutes, yeah.

[01:08:13.40] TERESA AMABILE: Minutes. OK. OK. Thank you. Do you recall if in Experiment 1 you or
whatever experimenter ran subjects had to take money back from some subjects at the end of their
session in the lab?

[01:08:35.24]                : No.




                                                                                                        19
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 493 of 1282



[01:08:38.04] TERESA AMABILE: So you don't recall? Or basically, we want to know if you recall ever
having to do that in any experiment you ran for Francesca, having to take money back from subjects at
the-- or some subjects at the end of the experiment.

[01:08:51.84]                 : Was it part of the design, do you know?

[01:08:56.17] TERESA AMABILE: It was not part of the design for money to be retrieved-- for money to
be clawed back from them at the end of the experiment. But in our reading of the materials, it seems
like it could have happened in some situations. Well, it'll become clearer when we look at the forms in
just a minute.

[01:09:16.56]                 : OK. My gut reaction is no. Obviously, if it was part of the research design,
then yes, but I couldn't think of any research designs where that happened. In most cases, if we
accidentally overpaid someone, then we would have just let them keep the money. And that's
something we would have noted in the data. Like, ooh, we made a mistake here. They got overpaid.

[01:09:54.83] TERESA AMABILE: OK. Do you want to think about that some more?

[01:09:59.57]                 : No.

[01:09:59.98] TERESA AMABILE: OK. Do you recall when subjects received money in Experiment 1 and if
they received money more than once during the experiment?

[01:10:11.71]                : Hmm. I don't recall. That, again, would have been part of whatever the
research design was. Sometimes-- we ran a lot of studies where we used this matrix table math problem
or something similar. Lots of studies where people got paid, and we did that all different kinds of ways.

[01:10:41.89] Sometimes there would be an envelope on the desk in that other room, and the
participant would solve the math problems, add up how many they got right, and then they would pay
themselves out of the envelope. And then they would come into the other room to receive the rest of
their payment.

[01:11:09.57] So for example-- I don't know if this happened in this study, but an example would be they
paid themselves for the math problems, and then they came into the other room and they got paid for
their mileage. And if they got paid something else, then we would have paid them that as well.

[01:11:27.16] And they would have never known that we knew how much money they made. Obviously,
we can go back and check the envelope to see how much they took, but we wouldn't have known who
was who. So that's a good example where somebody might be paid at two different points and how we
would create the impression that the person could cheat without anybody watching.

[01:11:52.94] TERESA AMABILE: I understand. When would the show-up fee have been paid in a
situation like you just described?

[01:11:59.75]                 : I'm sorry. Can you repeat?




                                                                                                           20
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 494 of 1282



[01:12:01.19] TERESA AMABILE: There was a show-up fee for people to just show up to the lab for an
experiment. When would they have been-- when would they have gotten that show-up fee? In the
scenario you just described.

[01:12:16.32]                 : Usually, at the end because anything that they earned-- they always had
to fill out a payment receipt at the end because if they earned a certain amount of money in a year, then
they had to claim that on their taxes. However-- I don't know. $200, $500 something like that. So yeah,
they would have always had to come into the other room to say that they had been there, write down
their student ID, and then get paid their show-up fee or any other fee that we were paying them.

[01:12:50.45] TERESA AMABILE: OK. Thank you.           can you tell us to the best of your recollection
what the exact procedure for this study was? We're particularly interested in the timing sequence and
physical location of what the participants were told, what they were given, and what they did.

[01:13:19.65]               : Sorry, you cut out a little bit. The question was, do I have a recollection of
how the study was run, particularly what we told them, what they did, and where they were?

[01:13:29.61] TERESA AMABILE: Exactly.

[01:13:30.78]               : OK. No, I don't. I mean, I don't think that the tax study design or the IRB
that I sent had too much detail in it. I can open it again and see, but it would have followed whatever
was in-- whatever was written in the document.

[01:13:54.63] And if it wasn't specific enough, usually what I would do is I would take the information
that was in that IRB. And then I would come up with a training document, especially if I was training
somebody else to run the study, so it would have a very specific number 1, sit them in the chair, number
2, make sure the envelope is there, number 3-- it would have a very specific procedure.

[01:14:19.98] TERESA AMABILE: And it would have been like, and then number 4, say exactly this to the-
-

[01:14:24.21]              : Oh, yeah. There were scripts that-- exactly what you have to say. If you
needed to be in one room versus the other, all of that would be very specifically laid out because I
needed to make sure that every single study was run exactly the same no matter who was running it.

[01:14:41.54] TERESA AMABILE: OK. All right. And where and how would the randomization into
conditions be done?

[01:14:52.94]                  : That's a good question. It depended on the study. That's the phrase of the
day, I guess. In this particular study or any study where they weren't interacting with a computer, which
that would do the randomization usually, we often would have some kind of a-- I'm trying to remember-
- some kind of a piece of paper or spreadsheet where we would keep track of how many participants we
were at and which condition they did. And we normally would just rotate, like one, two, three, one, two,
three, one, two, three because-- [AUDIO OUT] Sometimes--

[01:15:41.40] TERESA AMABILE: Because what? You blipped out.




                                                                                                            21
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 495 of 1282



[01:15:43.14]             : Because that's random enough. If you just rotate one, two, three, and
someone comes in and they can get one, two, three, then that's random enough. That was very often
the way that we did it.

[01:15:55.89] Every now and again, there might be something where we would put the conditions into
some kind of random generator, and that would come up with a sequence, and then we would follow
that sequence. But usually, we would just rotate one, two, three, one, two, three, one, two, three.

[01:16:09.48] And then when we started to get close to the end of collection-- let's say we're trying to
get 100 students and we've been doing one, two, three, one, two, three, one, two, three, but we've
gone back through the data, somebody did some cleaning of it or there was flagging, and it's like, oh,
well, we had to throw out a bunch of these data points because of whatever reason, now we need to
get 20 more of condition number 2. So now we need to [AUDIO OUT] people so that we can randomize
and get enough of that [INAUDIBLE].

[01:16:45.69] TERESA AMABILE: OK. To get the minimum number needed in that condition where you
were lacking, you'd run more in each condition.

[01:16:52.38]                 : Yes, usually.

[01:16:53.94] TERESA AMABILE: OK, Shawn.

[01:16:55.20] SHAWN COLE: Just-- would you have the training document available from this study?

[01:17:02.73]             : I didn't find it when I was looking through all the materials. I assume it
would have been in the same place that I had everything. I can look again.

[01:17:15.97] TERESA AMABILE: OK. Good question. Thanks, Shawn.             I'm aware that we only have
about another 12 minutes or so of the time that you committed to us. We've got more than 12 minutes
worth of material still. Could you give us some additional time today, do you think?

[01:17:38.52]                 : Let me check my calendar. I know I have a client. I can go till 4:30.

[01:17:54.34] TERESA AMABILE: Which would be-- would that be 40 minutes from now?

[01:17:58.42]                 : Yes.

[01:17:59.38] TERESA AMABILE: OK. Where are you? What country are you in?

[01:18:01.66]                 : I'm in Budapest.

[01:18:03.07] TERESA AMABILE: OK, thank you.

[01:18:04.46]                 : And let me just be clear too. I'm happy to do another 90-minute call or
whatever amount of call if that's necessary. I'm just very big on efficiency, so I said let's start with 90, be
as effective as we can. And if we need to go further, then I'm happy to do that.




                                                                                                             22
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 496 of 1282



[01:18:24.44] TERESA AMABILE: We're grateful for that. Thanks a lot,       Really appreciate it. OK. All
right. So we're going to show you some materials now that came from Francesca's computer. So when
this process started, her hard drive was sequestered, and then we asked her to point us to where on her
hard drive materials for this study were. So we're going to show you some documents that came from
her computer, three of them.

[01:18:59.60] So Alain is going to be screen sharing for us. And, Alain, I'll ask you in just a minute if you
could just screen share Table 1. But,        let me give you a little background first.

[01:19:14.47]                 : OK.

[01:19:15.46] TERESA AMABILE: All right. We have two concerns about the exact procedure in this study.
First, exactly when participants self-reported and got paid for their math puzzle performance. And the
second concern is the description of the experimental procedure in the published paper.

[01:19:39.96] So for the first concern, it seems that subjects self-reporting of math puzzle performance
and their payment for that performance might have occurred before participants were asked to sign the
tax form. This would be a problem because it would mean that the independent variable, signing the tax
form at the top or the bottom, happened after the dependent variable it was expected to influence,
which was cheating on the self-report of math puzzle performance. So you get that? I'm sorry. You're
muted.

[01:20:18.64]                 : Sorry, I lost my mouse. I do-- can you say it again just so I can--

[01:20:23.44] TERESA AMABILE: Yeah. Right. So this concern is-- it seems to us-- it's at least possible that
subjects self-reporting of math puzzle performance and their payment for that performance might have
occurred before participants were asked to sign the tax form.

[01:20:43.89] This would be a problem because it would mean that the independent variable, signing
the tax form at the top or the bottom, happened after the dependent variable it was expected to
influence, which was cheating on the self-report of math puzzle performance. This concern arose when
we examined the three documents we're going to show you from Francesca's computer.

[01:21:08.81] So first, I'll show and describe these three documents and the specific elements of them
that concern us, and then I'll pose questions for you about them. But please, as I'm going through these,
feel free to stop me for comments or questions at any point as I'm talking through these documents,
OK?

[01:21:29.10]                 : OK.

[01:21:29.97] TERESA AMABILE: All right. Great. Thanks. So, Alain, could we please have Table 1? OK. So
       this first screen share, which we're calling Table 1, shows the step-by-step procedure for the
experiment as laid out in the IRB submission. I'll give you a few seconds to look it over, but I'll ask you to
focus on those three lines that are yellow highlighted.

[01:22:12.93] And just for the transcript, the yellow highlighted portions are points 2B, 3, and 4 on this
Table 1. So,       from this procedure outline, it seems that participants--



                                                                                                                23
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 497 of 1282



[01:22:33.45]                : I'm sorry. Can I just have another--

[01:22:35.03] TERESA AMABILE: Yeah, yeah. Go ahead. Go ahead.

[01:22:36.13]                 I'm a slow reader.

[01:22:38.36] TERESA AMABILE: All right. Let me know when you're ready for me to go on.

[01:23:03.37]                : OK.

[01:23:04.60] TERESA AMABILE: All right. So from this procedure outline, it seems that participants were
paid in Room 1-- it's referred to Room 1 in the paper-- before they saw the tax form in Room 2.

[01:23:20.02] So as you can see-- Alain, I don't know if you can highlight this in real time on the
document, but if you could just highlight on point 5 "in the second room". Just the phrase "in the second
room". Just that very first phrase.

[01:23:43.93] So it does seem that participants were in two different rooms. It seems that they did the
math puzzle, and were paid, and reported their performance, and were paid for it in the first room. We
assume that participants were compensated based on their self-reported tally. It doesn't exactly say
here that they will compute their own score, but in the next piece of material we'll look at, it's pretty
clear that they did, or maybe the third table.

[01:24:24.91] We assume that participants were compensated based on their self-reported tally of the
number of puzzles they'd solved. That's performance on the math task. To us, this suggests that they
reported their performance in Room 1 and that that self-report wasn't just a private notation they made
but was submitted to the experimenter for payment in Room 1.

[01:24:53.04] So I want to show you the second table, but I want to see first if you followed what I was
saying and how we came up with this assumption. Do you have any questions about it? If you just want
to look at it for another minute.

[01:25:16.39]                    : Yeah, I think that this could have played out in many different ways,
reading it. I do think it's clear that they were in one room when they got paid for the matrix tables and
they were in another room when they got paid for the other one. I would say that seems clear and that
would have happened because as I said before, if the design had something like this in it, then we would
follow that design. But the way that someone reported the matrix task and how they got paid, whether
they paid themselves or whether a person paid them, that could have played out a couple of different
ways in that yellow section.

[01:26:10.19] TERESA AMABILE: Are you thinking specifically about line 3? You think that that could
mean that they actually gave themselves money from the envelope, from an envelope on the desk?

[01:26:20.27]                : It could [AUDIO BLIP]

[01:26:22.36] TERESA AMABILE: I'm sorry. You blipped out.




                                                                                                        24
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 498 of 1282



[01:26:24.34]                : It could be. It could be. So yes, that's possible. It's also possible someone
would have walked into the room when-- they would have said, I'm done. And someone could have
walked in, and then they said how much they earned. And then we paid them in that room, and then we
told them to go into the other room. That could have happened.

[01:26:49.59] On the matrix puzzle, those puzzles were often a packet that had a couple of different
pages. And one of the pages would say, how many did you get right? So there was always a sheet of
paper on top or on the bottom. Depends on what the study was--

[01:27:09.57] TERESA AMABILE: Yeah, we'll actually be looking at that in just a couple minutes. But,
        as I look at 2A, it says-- the last sentence of 2A says-- or the last two sentences, "You will be
working under time pressure. The experimenter will keep track of time and will let you know when time
is up."

[01:27:31.86] So I'm imagining that either the experimenter walked back into the room when the time
was up, five minutes, because it says at point 2 at the top, participants complete the matrix task for five
minutes. That when five minutes was up, either the experimenter came back into the room or the
experimenter had never left the room and stayed in there, and a time device kept track of when the five
minutes was up and then said time was up. Would that be a fair assumption from this?

[01:28:10.10]                 : I would say it could have been two things. There were timers, little kitchen
timers that were on all of the desks. So sometimes if people were starting at different times, then--
because there's a session time, but not all the participants always showed up at the same time and got
instructions at the same time. Sometimes they did. Sometimes they staggered in. And then they would
each get instructions, and then you would start the timer.

[01:28:43.42] And so in the instructions, you might say, we're going to keep track of time. There's this
five-minute timer. When the timer goes off, pay yourself in this envelope and then walk next door. So
they got all the instructions at the beginning. So this is true, but it just happened slightly differently. Or it
could be that all the participants came in at the same time.

[01:29:06.19] We told them, you're going to have a time pressure. You're going to have five minutes.
We'll let you know when it goes up. We have a timer on our side. In the other room the timer goes off,
and then we walk into the other room and say, the time is up, pay yourself, and then come next door. It
just could have happened several different ways, but I don't think there's any scenario where the
experimenter would have stayed in the room with them.

[01:29:35.69] TERESA AMABILE: OK. I just realized that I have been having probably the wrong visual
image of these lab rooms. It sounds like you often ran subjects in experiments like this one in group
sessions where they each had their own little area of the lab, but there were many people in the lab at
the same time, many participants at the same time.

[01:29:57.54]                 : Yes, I think there were only-- you could only do-- it's either eight or 10.

[01:30:02.22] TERESA AMABILE: OK. All right. That's helpful. That's helpful updating. And this sentence,
"The experimenter will keep track of time and will let you know when time is up," you're saying that it
could be that they just let themselves know or that the timer let them know.



                                                                                                              25
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 499 of 1282



[01:30:27.69]              : I can't say for sure. I mean, I can see a scenario where they all start at the
same time and we say, we're going to keep track of time, and we'll let you know when the time is up.
And when the time's up, we walk to the next room, say the time is up, pay them, and then they come
next door.

[01:30:47.90] There definitely were many experiments where they had the timer on the desk. And I
remember the timer would go off, so the timer let them know. I don't know if that was this one or not.

[01:31:04.20] TERESA AMABILE: OK, thanks. Fair enough. But I think I heard you say before that what's
clear to you is that they did the matrix task in the first room and they got paid. However they got paid,
they got paid for that task in that first room.

[01:31:22.27]                : It seems like that would have--

[01:31:23.53] TERESA AMABILE: And then-- it seems like that to you?

[01:31:25.81]                : Yes.

[01:31:26.83] TERESA AMABILE: And then they went into a second room and you said-- and then they
got paid for the other thing. What would the other thing-- what was the other thing that they would
have gotten paid for here?

[01:31:37.51]                : The travel time and cost of commute. Yeah.

[01:31:42.23] TERESA AMABILE: OK. All right. Shawn, Bob, follow-ups? No? Bob, you're not visible, so if
you have a follow-up, just unmute yourself. OK. So Table 2 now. Alain, could you give us Table 2, please?
OK. And, Alain, could you make that just a tiny bit bigger?

[01:32:03.03] You see,       before it disappears that the sign here is at the bottom. And that was the
experimental manipulation. The sign here was either at the bottom or at the top. And there was a
control condition where there was no signature on the form.

[01:32:18.78] So the second screen share, Table 2, is the tax form that was used in this experiment. Line
1 states-- I don't know if you can see it,    It states, "Please enter the payment you received on the
problem solving task. $1 per correct matrix you solved in the other room." Do you see that? OK.

[01:32:41.22] The use of the past tense in this instruction does imply that payment had already been
made to participants before they saw the tax form. Moreover, we note that the tax form presented in
Room 2 does not ask participants to report the number of puzzles they solved. Rather, the form asked
them to report the income they received from the math puzzle task, which seems to be only an indirect
measure of their self-reported performance. This further suggests to us the participants reported their
performance and received payment for it in Room 1.

[01:33:23.48] So you don't have to comment on it right now if you want me to say that again or if you
want more time to look at this, but what I'm saying is to us this confirms the impression we got from
having looked at the IRB step-by-step procedure.




                                                                                                          26
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 500 of 1282



[01:33:41.03]                : That seems clear to me too.

[01:33:44.62] TERESA AMABILE: OK, thanks. Can we-- I'm sorry, what was that last thing,           ?

[01:33:49.03]                : From what I'm looking at and-- yeah.

[01:33:51.28] TERESA AMABILE: OK. Thanks. Alain, could we have Table 3, please? OK, so this is the
sheet you were referring to before,        the matrix task. And, Alain, could you just scroll down for a
second so       can see that the collection slip is down below?

[01:34:12.44]                : Yep.

[01:34:13.81] TERESA AMABILE: And just take a minute to look at the collection slip before we go up and
let you read the instructions. So does this ring a bell in your memory as--

[01:34:25.39]                : Yes. Seen this many times, and it lines up with the data spreadsheet too.

[01:34:31.72] TERESA AMABILE: OK. So I want you to look at the bottom line of the collection slip in
particular. And, Alain, if you could just momentarily highlight that very bottom line. I correctly solved so
many boxes, which amount to so much money, $1 per box.

[01:34:48.14]                : OK.

[01:34:48.61] TERESA AMABILE: OK. Great. All right. Alain, could you go back up so we can fully see the
top sheet? OK,         I'm going to give you a minute to look at this. Familiarize yourself with it. And
again, I'm going to be wanting to focus on the yellow highlighted sentences.

[01:35:27.78]                : Hmm. Yes, I see it.

[01:35:35.25] TERESA AMABILE: OK. So I'm going to ask you, when you look at this, when you read this
"when finished" portion, this last portion of the sheet, can you talk through what you-- now that you see
this, what you believe most likely happened in Room 1 with the participant?

[01:36:07.61]              : Here is my best guess. I would say that the participants were in Room 1 so
the room where the experimenter is not. They would have a certain number of minutes to complete this
task. We would have-- they would have read these instructions.

[01:36:42.86] Sometimes we might have reiterated them vocally to throw-- so let's say the timer is up
after five minutes. And then we would say, OK, now fill out the collection slip and throw your matrices
into the recycle bin. We had a recycle bin right in the middle of the room, and they would throw that in
there.

[01:37:12.23] And then it sounds like in the last line of this, the experimenter would have gone cube to
cube and paid the person based on their collection slip right there and then told them to go into the
next room to fill out the final payment form.




                                                                                                           27
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 501 of 1282



[01:37:36.84] TERESA AMABILE: OK. Thank you. Bob, Shawn, any follow-ups? OK. So just to reiterate
while we still have this up,      the material that we see here also suggests to us that participants self-
reported their performance to the experimenter in Room 1 who then calculated their performance and
paid them for it in Room 1 before they went into Room 2 and saw the tax form.

[01:38:14.96]                 : Did you say the experimenter calculated and paid them?

[01:38:18.19] TERESA AMABILE: No. Participants self-reported their performance to the experimenter in
Room 1. And it looks like actually-- I think I misspoke here. From the collection slip, it looks like they
calculated their payment--

[01:38:38.31]                 : Yes.

[01:38:38.85] TERESA AMABILE: --and that the experimenter gave them their payment, and, as you said,
then brought them to Room 1 or told them to walk over to Room 1.

[01:38:50.90]                 : To Room 2. Yeah.

[01:38:52.16] TERESA AMABILE: I'm sorry, to Room 2. So that fits with your understanding from this?

[01:38:57.66]                 : From looking at it, I mean, that's what I would say.

[01:39:01.61] TERESA AMABILE: And we're sort of putting this together with the other forms we've
looked at, that they in fact did write down their performance and calculate their payment and that the
experimenter looked at that and gave them their money before they ever saw the tax form in Room 2.

[01:39:23.52]                 : It appears that way.

[01:39:26.35] TERESA AMABILE: OK. So, Alain, you can take the screen share down now. So,             here
are the questions. I know I've been asking you a lot of questions all along, and I may have covered some
of these already. Do you have any general reactions, comments, or questions about the three
documents we just shared, beyond what you've already shared with us?

[01:40:05.07]                 : I guess the one thing that comes up for me-- although I don't know if this
is relevant, but it came up, so I'll share it anyways. I said this before. We used that matrix task many
different times, so there were lots of versions of that document that had different language on it
because we changed the procedure many, many times. So I can only assume that the one that was
shared is the one that we used for this research because it's what exists.

[01:40:41.45] But I just know in the back of my mind that there were many other versions of it, so
hopefully, it didn't get mixed up in some kind of way. But if that's the one that's there, then that's-- I
would say that's what we would have followed.

[01:40:55.16] TERESA AMABILE: OK. Thank you. It's the one that Francesca pointed us to. She said, this
folder has the materials for that Experiment 1. OK. To the best of your recollection, was the experiment
carried out as described in the excerpt of the IRB protocol shown in Table 1? I think we've talked this




                                                                                                             28
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 502 of 1282



through. I think you've said aside from looking at the materials or looking at what's written in the paper,
you don't have any specific recollection of this particular experiment.

[01:41:28.80]                : No. I mean, we ran so many studies that were quite similar. The only thing
that stood out to me about this one in particular was the math on the margins because I just really
remembered that moment. But the matrix table, getting payment in different rooms, signing different
things, that played out in dozens of different ways, so I'm sure it would get all muddled trying to
remember.

[01:41:55.17] TERESA AMABILE: OK. So, Bob and Shawn, I'm skipping to 12.3 here. Do you-- so it seems
to us all, including you,    now, I think, that participants did get money twice, in the first room for
math puzzle performance-- I see you nodding-- and then in the second room for any expenses they had
in traveling to the lab.

[01:42:27.85]                : It does seem that way.

[01:42:29.41] TERESA AMABILE: It seems that way. OK. So they did write down their performance on the
collection slip in Room 1, and they did indirectly say what their performance was on the tax form in
Room 2 because they were asked on that Line 1, how much did you earn for your math task
performance? And I see you nodding.

[01:42:54.16]                 : Yeah. Yes, based on looking at everything. The only thing that has been
sitting unwell with me is that recollection of the math on the margin. The only reason that's making me
hesitate is because I'm having a hard time imagining someone walking into the second room, filling out
that form, and then standing there and trying to do the math.

[01:43:34.47] TERESA AMABILE: Alain, I think we need to see the tax form again. I think that was Table 2.
Could you screen share Table 2 with us? Because it was on the tax form that you said people were
scribbling in the margins, right,   ?

[01:43:45.66]                : Yes. Yes.

[01:43:46.77] TERESA AMABILE: OK. And again, if you could enlarge this, mostly for me because I'm
having trouble seeing it. Enlarge it so that we can see, yeah, part 1 super clearly.

[01:44:01.85] OK. So,         it seems to me that the calculations they would have been doing would
have been for line 2, tax on payment. So in line 1, they would simply write down how much money they
walked out of Room 1 with, and on line 2, they would have to calculate 20% of whatever they wrote into
line 1. Bob?

[01:44:31.99] ROBERT KAPLAN: And in addition, when they got to part 2, they would have to multiply
their estimated travel time by 10 cents. So that's an additional calculation they would perform, right?

[01:44:50.50] TERESA AMABILE: You're right, Bob. Yeah. And then they have to do simple addition,
subtraction in part 3.




                                                                                                          29
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 503 of 1282



[01:44:58.14] ROBERT KAPLAN: Yeah. I mean, some of us would know how to multiply a number by 10
cents, but if it's been a while since you did arithmetic, you may have to do it manually.

[01:45:09.91]                 : I think this explains why I put "SERIOUS" in all caps in that email.

[01:45:16.51] TERESA AMABILE: "SERIOUS dumdums"? [NOTE: Spelling of “dumdums” is rendered
exactly as in an email from J        to Francesca Gino on 5/13/2010.]

[01:45:18.55]                 : Yeah. So I don't know if it was this form. I mean, I remember there's
several different tax forms with different calculations. But I just remember so prominently that I was
like, what is going on with the math, like how these people are trying to calculate the math?

[01:45:35.44] So I hesitate saying this because it goes against everything that I just told you for the last
hour, which is we would have followed a procedure specifically the way that it's laid out. And the way
that it's written, it sounds and it looks like they would have been in Room 1.

[01:45:57.55] They would have gotten paid in Room 1 by an experimenter. They would have come into
Room 2. They would have filled out this form and then they would have gotten paid in Room 2 and filled
out the payment receipt in Room 2 for whatever was here.

[01:46:16.72] But the only reason I'm hesitating is I'm just having a hard time imagining them in Room 2
filling out this form and doing the calculations while someone is watching, especially because if there's
multiple people they kind of queue up because they're all waiting to get paid. So they're all standing
there. Sometimes they're standing with a clip-- they always had a clipboard.

[01:46:43.34] So it just makes me wonder if they had this form in the other room, and they paid
themselves, and then they were given this form in the other room, and they filled it out, and then they
brought it into Room 2. That's not how it was written. So if I have to go by exactly what was written and
if we followed that to a T, then I agree with you. I would say this is my only hesitation about it.

[01:47:16.30] TERESA AMABILE: OK. You mean what was written in the IRB step-by-step procedure--

[01:47:20.60]                 : In the-- yes.

[01:47:22.58] TERESA AMABILE: --when you say what was written? OK. I get-- so you're having trouble
visualizing this. Let me just suggest something else. So they had a little desk, a cubicle or something to
sit at in Room 1. You're nodding your head.

[01:47:37.31]                 : Yes.

[01:47:37.64] TERESA AMABILE: Yes. And you said there were eight cubicles in that room. Something like
that. So there could have been eight people at a time.

[01:47:43.97]                 : Yeah.

[01:47:44.81] TERESA AMABILE: And they did not have a place to sit in Room 2?




                                                                                                             30
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 504 of 1282



[01:47:49.71]                 : No.

[01:47:50.82] TERESA AMABILE: OK. So you're having trouble visualizing them all standing there, trying
to do this math on their clipboard in Room 2 as they're standing in line?

[01:48:00.30]               : Either they're standing they're doing it in a queue on their clipboard or
they're-- we had a payment station where they would kind of walk, and then they would fill out another
payment form, and then they would type it into a computer, and then we would pay them the money. It
was like a couple of steps.

[01:48:22.12] So I'm imagining if somebody's standing at that station and they're trying to fill this out, if
they're trying to do math on the side of the page and it's taking them forever, because obviously they
don't know how to do math, that the line would be getting really long. And maybe that did happen.
Maybe that's why I was like, we've got a problem here. These people can't do math. I don't know.

[01:48:47.56] But it's the only thing that gives me hesitation of maybe they did it in the other room or
maybe that impacted us changing the design in some kind of way. But I don't know. That's just--

[01:48:59.89] TERESA AMABILE: OK.

[01:49:00.92]                 : Yeah.

[01:49:01.66] TERESA AMABILE: Yeah. And let me ask, would you ever have actually run subjects
individually to avoid a problem like you just described? So only one person coming to the-- scheduled to
come to the lab at a time?

[01:49:16.85]                 : Yes, but it would have been in the design.

[01:49:21.29] TERESA AMABILE: It didn't say anything in the IRB about whether they would be run
individually or in group sessions, and I don't believe the paper says.

[01:49:30.13]              : If it didn't say, then I would say we wouldn't run them individually because
that would have taken way longer. And if this whole study was done in a couple weeks with 100
participants, however many it was, I would say they probably were not run individually.

[01:49:45.88] TERESA AMABILE: OK. Bob, Shawn, follow-ups? No? OK. All right. To get back to the
questions. Let me see if we need this up still. I think, Bob and Shawn, I'm looking at 12.4, 12.3 and 12.4
in the sub parts. I believe that we have covered all of this. Yes. Shawn's saying yes. Bob, what do you
think?

[01:50:18.01] ROBERT KAPLAN: Yeah, I'm OK.

[01:50:19.43] TERESA AMABILE: All right. OK. So, Alain, you can take this down, but we'll be asking you
for another screen share of Table 4 in just a minute. So,       now we'll turn to the second concern we
have. I think we can go through this quickly enough that we'll be able to release you in eight minutes,
but let me look at this. Ugh.




                                                                                                           31
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 505 of 1282



[01:50:53.15] I'm wondering, Bob and Shawn, if I should just skip to question 14 and-- 14, 15, 16-- those
are the general observations and concerns-- and then maybe, because           has kindly agreed to give us
more of her time, go through the second concern we have about the description of the procedure in the
paper because that is kind of I think not necessary for today. Bob and Shawn, let me know what you
think.

[01:51:28.51] ROBERT KAPLAN: Yeah. I just want to look further down what you're going to ask.

[01:51:32.98] TERESA AMABILE: I would be asking all the questions that start with question 14. And I
think we can get through those in the next few minutes.

[01:51:43.96] ROBERT KAPLAN: Well, I just had one quick question. And maybe this is too much in the
details here, but it had to do about the giving back combined with your description of where many of
these students came from to get to the experiment.

[01:52:00.68] So assuming they did a reasonable job on the matrix test, they might have gotten paid 15
dollars or 18 dollars from that. And subsequently, they'll have a 20% deduction from the tax form, which
would have been say 3 dollars, 3-and-a-half dollars.

[01:52:21.43] But their expenses, if they just walked five minutes from floor 8 to floor 2, wherever the
lab was, the expenses would be less than the tax that had to get withheld, which would have put the
experimenter in a situation of having to reclaim some of that money, that 20%. And would you have
recalled that ever happening, that the expenses that the students legitimately claim-- because it took
me five minutes to walk here times 10 cents a minute is 50 cents, but I have to give back 20% out of 15
dollars, which is 3 dollars.

[01:53:04.44]                : Wow. Huh.

[01:53:07.46] TERESA AMABILE: Yeah, that's-- Bob, thank you. I intended to ask that question. I forgot.
So,       that's a scenario that we're breaking our heads over. Would you have said, oh, sorry, your
expenses aren't high enough to cover the taxes, so you need to give us back 2 dollars and 50 cents?

[01:53:25.42]                : Yeah, that's a really good question.

[01:53:33.75] ROBERT KAPLAN: This wouldn't have come up if everyone commuted for-- drove, and had
to park, and walk from the parking lot, but it struck me when you said that the students were already in
the building.

[01:53:44.63]                : Well, they could have been. They could have come across--

[01:53:47.00] ROBERT KAPLAN: Yeah, no, some set of them would have been. Yeah.

[01:53:48.71] TERESA AMABILE: But chances are at least some of the participants did come from in the
building if you ran-- I don't remember how many were run in this study but 100 or more.

[01:53:58.46]               : For sure. I think a way to estimate would be I think the form asked their
major, so if they had any major that wasn't business, then I think I could say, OK, they probably came



                                                                                                          32
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 506 of 1282



from somewhere else on campus because the Business School was really far away from every other
building. But yeah, I mean, it's a really good question. I can't-- I can't remember taking money back from
people.

[01:54:30.24] ROBERT KAPLAN: No, and you said that originally. And this would have been so
anomalous, and it had to happen to at least, I don't know, a significant 15%, 20% of the students that it's
likely you would have recalled.

[01:54:42.69]                 : Well, I would be curious to look at the data and see if there were any
entries where that actually played out because if it didn't, then that's a good reason why I can't
remember. But if it didn't-- yeah. But if it did, then I don't know.

[01:54:59.16] TERESA AMABILE: You're just saying we could figure that out from the data file by looking
at the numbers solved correctly and looking at what the expenses claimed were?

[01:55:10.56]                : Yeah, how many matrix they claimed they solved and then with the
addition of the tax form because all of that's in the data.

[01:55:19.56] TERESA AMABILE: OK. OK. I think I heard you say earlier that you wouldn't-- if you had
accidentally overpaid a participant, which happened occasionally, you wouldn't ask them to give back
the overpayment.

[01:55:32.34]                : I can't think of any time that would have happened.

[01:55:35.76] TERESA AMABILE: OK. So it sounds like you don't remember any time when money had to
be taken back from participants or was taken back from participants at the end of the study.

[01:55:47.42]                : Not as a whole study practice. I can't remember anything like that.

[01:55:53.38] TERESA AMABILE: OK. All right. Bob, does that satisfy your question? OK, thank you. So,
        we haven't talked in detail about the data for Experiment 1, but when we talk again, we will have
a number of questions about the data itself. And we'll give you as much support as we can in helping
you prepare for that. So you'll be in communication with Alain before that next interview. And of course,
we'll schedule it at your convenience.

[01:56:25.43] So please understand that we feel we must ask this direct question to everyone we speak
to who was involved in this research. Did you in any way falsify the data or fabricate the data for
Experiment 1?

[01:56:43.34]                : No.

[01:56:45.76] TERESA AMABILE: Thank you. And just two more questions today. At any time during or
after Experiment 1 was being done, written up, or published, did you have any concerns about the study
procedure, the way the procedure was described, or the integrity of the data for this study?

[01:57:09.12]                : No.




                                                                                                         33
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 507 of 1282



[01:57:12.57] TERESA AMABILE: Is there anything else we should know at this point as we try to
determine whether research misconduct occurred with respect to Experiment 1 in this paper, and if it
did, who might have been responsible?

[01:57:31.71]                 : Yeah I don't-- no. I mean, I can only speak for the parts that I played, and
they were pretty limited. I followed instructions as best I could and passed along data. If something
happened after that, it's really hard for me to say. I definitely don't know of anything unethical that was
happening or I wouldn't have been part of it. I can say that.

[01:58:00.67] TERESA AMABILE: Thank you. Bob and Shawn, any follow-ups from you?

[01:58:06.79] ROBERT KAPLAN: None from me.

[01:58:09.22] TERESA AMABILE: OK.            again, thank you so much for even spending extra time with
us today. And Alain will be in touch with you. And next time we talk, we'll want to go through those
things about the way the procedure was described in the paper, but we'll also want to talk about the
data itself. And we'll be looking at some data together, OK?

[01:58:31.27]                 : Ok. I wanted to say one thing really quickly, just so it's on my mind and I
don't forget. And it might be completely irrelevant, but my impression of that tax form was always that--
I think was always that they were also cheating on the tax form was my impression. So that they were
like double cheating. So just-- when you were talking about the independent variable happening before
or after, and because there's two moments of cheating-- maybe I had a misunderstanding.

[01:59:09.12] TERESA AMABILE: Well, you're absolutely right. You're absolutely right. Your memory's
better than you think it is because-- then you said because there were really two dependent measures in
the study. Today we were focusing on just the self-reporting of how well they did on the math puzzle
task, but the other-- and they could cheat on that. But the other dependent measure of cheating was,
did they over-claim their expenses?

[01:59:36.21] SHAWN COLE: Sorry to interrupt. If my math is right, you have a client waiting for you. Is
that--

[01:59:41.30]                : Soon. Yeah, I had--

[01:59:42.23] SHAWN COLE: OK. So I didn't want to interrupt that. I just want to say I know it's really
hard to travel in Europe with children, and so we really appreciate your taking the time.

[01:59:51.05] TERESA AMABILE: Yeah, Shawn just came back from Europe where he was with his wife
and kids for several weeks.

[01:59:57.20] SHAWN COLE: It's a lot harder to get work done than I thought.

[02:00:00.00]                : Yes. Yes.

[02:00:01.49] TERESA AMABILE:              thanks again, and we'll talk to you sometime soon.




                                                                                                           34
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 508 of 1282



[02:00:05.43]             : Thank you. Have a nice day.

[02:00:06.50] TERESA AMABILE: Thank you so much. OK. Bye bye.




                                                                            35
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 509 of 1282



                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                  ([KLELW
           0DLGVWRQH&RQVXOWLQJ*URXS)RUHQVLF5HSRUWIRU$OOHJDWLRQ
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 510 of 1282
                                               
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 511 of 1282




                             Ǥ Ȁ͵Ǥͳ
                             Ǥ Ȁ͵Ǥ 
                   

             ʹǤ   ȋ  Ȍǡ
                ͲͷǤͳͶǤʹͲʹʹ
                Ǥ ͳ Ǥ
                    2020 JPSP Paper ǡ
                  ǲOSF data̶
                 Ǥ   Ǥ 
                       
                 Ǥ ̴ͺ ͻ̴ ̴̴̴Ǧ̴̴͵̴Ǥ 
                       ǡǲQualtrics data̶

       Metadata MCG0022_Allegation 1_allData_analysis.xlsx
          
        Ǥ
       
         ǡ
         ǡǣ
            2020 JPSP Paper
             
           OSF site dataQualtrics data.
            
             Ǥ
           
II. Executive Summary.
          
       ȋǲQualtrics DataǳȌ  
      ʹͲʹͲ ȋǲOSF dataǳȌ Ǥ  
      ǣͳǲ ǳʹǲ ǳǤ
       ǡǲǳǲǳ
        ȋǤǤǡ 
        ȌǤ
      OSF data ǲǳǡǲǳǡ
         ȋȌ 
      2020 JSPS PaperǤ   
       Ȍ  ǡȌ
      ȋȌ   Ǥ

                                              


ͳ͵Ǥ     

ǲ  ǳǡ ǡʹͲʹͲǦͲͶǦʹͲͳͲǣͶͺ




                                                                                                                              

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 512 of 1282
                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 513 of 1282




    ͻǤ    ǡ ǡ
          Ǥ  
          ǤͲαǤ 
         ȋȌ ȋȌǤ ǡ
         ǦAnalysis_Condition1Ǥ
    ͳͲǤ    
        ǤǤAssessment of
        DataǤ
    
    ͳͳǤ     ǡ
        ǲǳ     
        ǲ ǳǲ ǳ Ǥ
        SPSS_Output_OSF_QualtricsǡǮǯ ȋ͵ͲǦͶͲȌǤ
    ͳʹǤ ǲǳ  
                TransformÆ Compute Variable Æ =MEAN('columns of interest’) from the SPSS menu
        dropdown options.
    ͳ͵Ǥ      
                Analyze Æ Compare Means Æ Means (and selecting Anova table and eta under
        options)ǲ̴ǳ    ͳʹDependent
        Variable ǲ ǳ Layer 1Ǥ
    ͳͶǤ       
                Analyze Æ General linear modelsÆ Univariateǡǲ̴ǳ   
                 ͳʹDependent Variable ǲ ǳ 
                Fixed FactorǤǮǯ Estimates of effect size Ǥ
                  continueOKǤ
    ͳͷǤ  
        SPSS_Output_OSF_QualtricsMCG0022_Allegation 1_allData_analysis.xlsx 
    ͳ͸Ǥ    Assessment of
        Statistics MCG0022_Allegation 1_allData_analysis.xlsx 




                                                                                                    

                                         
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 514 of 1282




IV. Observations.
    ͳǤ Participation and exclusion: apparent differences between source data and published
       data descriptions.
     ǤͳʹʹͺʹͲʹͲ ǣ
     “Participants and design. A total of 599 working adults recruited through MTurk (M age =
     36.94, SD = 9.15; 46% male), all located in the United States, participated in a 15-min
     online study, and received $2 for their participation. We recruited 600 participants but
     only 599 completed the study in the time allotted. We randomly assigned participants to
     one of three conditions: control versus promotion focus versus prevention focus.”

  ͳǤͳǣ
ʹͲʹͲ  ͸ͲͲ  ǡ
   ȋ Ȍ͸ͻͷ 
 ȋRawdata_Qualtrics MCG0022_Allegation 1_allData_analysis.xlsxȌǡ
ͻͷ   ȋExcluded_Qualtrics
MCG0022_Allegation1_allData_analysis.xlsxȌǤͷͻͻ ǯ
 ʹͲʹͲ Ǥ   
 Ȁ  ǲ
 ǳǤ 
  ǣ
        x ͳȋ Ȍǣʹͺ 
        x ʹȋ Ȍǣ͵ͺ 
        x ͵ȋ Ȍǣʹͻ 
      
ǡ Ͷ 
  ǡ 
ʹͲʹͲ Ǥ
                            




                                                                                                 

                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 515 of 1282




    ʹǤ Identifying Differences between Qualtrics data and OSF data
     III. Data Analysis. Approach ǡ 
     ͳǣͳ  
     ǤǮǯǮǯǤ
    ͵  ͳȋcolumns have been
    renamed for ease of reviewȌǤ

                    OSF data        Qualtrics data                         Qualtrics                          Qualtrics
          ID                                          OSF words 1                          OSF words 2
                     Essay             Essay                               words 1                            words 2
                                                                            ǡ
                               ǡ                              ǡ            ǡ
                                                                           ǡ
                        ǡ                          ǡ       ǡ
                                                                           ǡ
          ͳͳ͵                    ǡ ǡ                    ǡ        ǡ
                                                                            ǡ
                              ǡ                        ǡǡ   ǡǡ
                                                                           ǡ
                                                                          
                                                                           
                                                                             
                                                        
          ʹ͵͵                                                             
                                                         
                                                                           
                                                      ǡ              ǡ
                                                                                            ǡ       ǡ
                                                      ǡ        ǡ
                                                             ǡ          ǡ
          Ͷͳ͹                                        ǡ           ǡ
                     Ǥ        Ǥ                                        ǡ    ǡ
                                                       ǡ          ǡ
                                                                                           ǡ            ǡ
                                                                


      ͳǤʹ
       
      ǡ    ǡ 
       ǲǳǲ
    ǳ   Ǥ͵ǡ  ǡ
        ȋǡ
    MCG0022_Allegation 1_allData_analysis.xlsxǡAnalysis_Condition3ǡ  Ǧ ǤȌ
      ǡ ͳʹ  
     Ǥ ǡͳ͸ͺ 
    ȋʹͺΨȌ  
        Ǥ
    MCG0022_Allegation 1_allData_analysis.xlsxǡAssessment of DataǤ




                                                                                                                           

                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 516 of 1282




    ͵Ǥ Assessing Differences between Qualtrics and OSF data
     ǤͳʹʹͻʹͲʹͲ ǣ
     “Participants felt more morally impure in the prevention-focus condition (M =2.39, SD =
     1.36) as compared to the promotion-focus condition (M = 1.64, SD = 1.07; p < .001) or the
     control condition (M = 1.93, SD = 1.34; p < .001). Moral impurity was also lower in the
     promotion-focus condition than in the control condition (p =.024).
     Networking intentions. Networking intentions also varied by condition, F(2, 596) = 19.84, p
     < .001, h2p = .062. Participants indicated they would network less frequently in the future
     in the prevention-focus condition (M = 4.07, SD = 1.70) as compared to the promotion-focus
     condition (M = 5.12, SD = 1.68; p < .001) or the control condition (M = 4.74, SD = 1.71; p <
     .001). Network intentions were higher in the promotion-focus condition than they were in
     the control condition (p < .024).

    ȋ  Ȍ
         
      ȋ͹Ǧ ǡͳα not at all
    ͹αvery muchȌǤMCG0022_Allegation 1_allData_analysis.xlsxǡAssessment of Data
    Ǥ

    The heatmapǣ
    




                                                                                                     

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 517 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 518 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 519 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 520 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 521 of 1282
                                               
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 522 of 1282




ͲǤͲͳ͵ȋ Ȍ ͲǤͲͷ͸ȋ ȌʹǤߟʹ ǡͲǤͲͲʹȋ Ȍ 
ͲǤͲ͸ʹȋ ȌȌǤ
    ǡǦ   
͵Ǥ  ̵ 
 ȋȌǦ  Ǥ 
  ȋMCG0022_Allegation1_allData_analysis.xlsx
6366B2XWSXWB26)B4XDOWULFVVKHHWURZV Ǥ

  ǡ ǲǳǲǳ
 ǤGraph 1. ǲ
  ǳ  ȋͳǤͻͺȌ  
ȋͳǤ͸͵Ȍ   ȋȌ Ǥǡ
ǲǳȋGraph 2.Ȍ Ǣ
  ȋͶǤ͸͵Ȍ  ȋͶǤͷ͹Ȍ 
  ȋȌ Ǥǡǲǳ
ǡ  ȋGraph 2.ǡȌǤ
  ȋͳǦ͹Ȍ
SnapshotsMCG0022_Allegation1_allData_analysis.xlsx Assessment of Statistics sheet.

                                                    *UDSK




                                                                                                             




 $VWKHSRVWKRFDQDO\VLVZDVQRWGHVFULEHGE\WKHDXWKRUVLQWKH-363SDSHU0&*UHYHUVHHQJLQHHUHGWKHVHUHVXOWDQW
GDWDE\SHUIRUPLQJDVHULHVRISRVWKRFDQDO\VHVRQWKH26)GDWDDQGLGHQWLI\LQJWKHUHVXOWDQWSRVWKRFWHVWSYDOXHWKDW
DOLJQHGZLWKWKHSXEOLVKHGSYDOXH




                                                                                                                         

                                     
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 523 of 1282





                         *UDSK





                                                        











                                                                           

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 524 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 525 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 526 of 1282
                                           
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 527 of 1282




                             APPENDIX 1 ǡ͹Ͷ 
                                                           
     ͳ 
     ʹ 
     ͵ 
     Ͷ   
     ͷ 
     ͸ ȋ Ȍ
     ͹   
     ͺ  
     ͻ  
    ͳͲ  
    ͳͳ   
    ͳʹ  
    ͳ͵  
    ͳͶ  
    ͳͷ  
    ͳ͸ 
    ͳ͹ 
         Ǥ ǡ  
         Ǥ  ̶ ̶
    ͳͺ Ǥ
          ǫ
    ͳͻ  
    ʹͲ  ǫ
    ʹͳ ǫ
    ʹʹ    Ǥ
        Ǥ ǡ
    ʹ͵  ǤǤ
    ʹͶ Ǧ  
    ʹͷ Ǧ 
    ʹ͸ Ǧ
    ʹ͹ Ǧ 
        Ǥ ǡ
    ʹͺ ǤǤ
    ʹͻ Ǧ  ʹ
    ͵Ͳ Ǧ ͵
    ͵ͳ ǦͶ
    ͵ʹ Ǧ ͷ
        Ǥ 
    ͵͵  Ǥ
    ͵Ͷ Ǧ  ͸




                                                                                                                    

                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 528 of 1282




    ͵ͷ Ǧ ͹
    ͵͸ Ǧͺ
    ͵͹ Ǧ ͻ
    ͵ͺ Ǧ  ͳͲ
    ͵ͻ Ǧ ͳͳ
    ͶͲ Ǧͳʹ
    Ͷͳ Ǧ ͳ͵
        Ǥ
        
        
    Ͷʹ   ǤǤǤǦ
        Ǥ
        
        
    Ͷ͵   ǤǤǤǦ
        Ǥ
        
        
    ͶͶ   ǤǤǤǦ  
        Ǥ
        
        
    Ͷͷ   ǤǤǤǦ
        Ǥ
        
        
    Ͷ͸   ǤǤǤǦ
        Ǥ
        
        
    Ͷ͹   ǤǤǤǦ
        Ǥ
        
        
    Ͷͺ   ǤǤǤǦ 
        ǡ
        Ǥ ǡ Ǥ  
    Ͷͻ ͳǦʹ 
        ǡ Ǥ  ͳǦʹ
         Ǥ
        
        
        
    ͷͲ   ǫȋͷǦ͸Ȍ
    ͷͳ Ǧ  ͳͶ
    ͷʹ Ǧ ͳͷ
    ͷ͵ Ǧͳ͸
    ͷͶ Ǧ ͳ͹




                                                                                                                   

                                           
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 529 of 1282




        ǡǤ 
        ǡ Ǥ  
    ͷͷ ͳǦʹ 

        ǡ Ǥ  ͳǦʹ
         Ǥ
        
        
        
    ͷ͸   ǫȋͷǦ͸Ȍͳͺ
    ͷ͹ Ǧ  ͳͻ
    ͷͺ Ǧ ʹͲ
    ͷͻ Ǧʹͳ
    ͸Ͳ Ǧ ʹʹ

        ǡ
         Ǥ  ͳǦʹ Ǥ
        
        
        
    ͸ͳ  

        ǡ Ǥ  ͳǦʹ
         Ǥ
        
        
        
    ͸ʹ   ǫȋͷǦ͸Ȍʹ͵
    ͸͵ Ǧ  ʹͶ
    ͸Ͷ Ǧ ʹͷ
    ͸ͷ Ǧʹ͸
    ͸͸ Ǧ ʹ͹
        ǡ ǤǦ
    ͸͹  ǫ
        ǡ ǤǦ 
    ͸ͺ ǡǫ
        ǡ ǤǦ
    ͸ͻ   ǫ
        ǡ ǤǦ 
    ͹Ͳ ǡǫ
    ͹ͳ ǣ
    ͹ʹ ǣǦ  
    ͹͵ ǣǦǦ
    ͹Ͷ   





                                                                                                                    

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 530 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 531 of 1282



                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                   ([KLELW
              ¶V:ULWWHQ5HVSRQVHVWR,QYHVWLJDWLRQ&RPPLWWHH¶V)ROORZXS,QWHUYLHZ
                  4XHVWLRQVUHFHLYHGRQ6HSWHPEHU
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 532 of 1282




&21),'(17,$/

'DWH 6HSWHPEHU

7R               

)URP,QYHVWLJDWLRQ&RPPLWWHHRQ5HVHDUFK,QWHJULW\&DVH5,

5H )ROORZXSTXHVWLRQVWR\RXU$XJXVWQGLQWHUYLHZDERXWWKH31$6SDSHU

                                                                                                   

      ZHZDQWWRVWDUWE\WKDQNLQJ\RXDJDLQYHU\PXFKIRUWKHORQJLQWHUYLHZ\RXJDYHXVRQ
$XJXVWDQGIRU\RXUZLOOLQJQHVVWRDQVZHUVRPHDGGLWLRQDOTXHVWLRQVLQZULWLQJ7KH
LQIRUPDWLRQ\RXKDYHDOUHDG\VKDUHZLWKXVLVLQYDOXDEOH,I\RXUHTXLUHDQ\FODULILFDWLRQVRU
KDYHDQ\TXHVWLRQVGRQ¶WKHVLWDWHWRUHDFKRXWWR$ODLQ$QGRIFRXUVHLI\RXKDYHQR
LQIRUPDWLRQRQDQ\RIRXUTXHVWLRQVRUGRQ¶WNQRZWKHDQVZHUSOHDVHMXVWVD\VR

4XHVWLRQVDERXWWKHSURFHGXUHIRU([SHULPHQWLQWKH31$6SDSHU

      2Q$XJXVWZHDVNHGDQXPEHURITXHVWLRQVDERXWWKHSURFHGXUHIRU([SHULPHQWDQG
        \RXDQVZHUHGDVIXOO\DV\RXFRXOG+RZHYHU\RXWROGXVWKDWEHFDXVH\RXUDQVRPDQ\
        VWXGLHVIRU3URIHVVRU*LQRDW81&WKDWXVHGVRPHYHUVLRQRIWKHPDWUL[SX]]OHVWDVNDQG
        DWD[IRUP\RXFRXOGQ¶WEHVXUHRIUHFDOOLQJWKLVVSHFLILFH[SHULPHQW±H[FHSWIRUVRPH
        SDUWLFLSDQWV¶VFULEEOLQJLQWKHPDUJLQVRIRQHRIWKHLUVKHHWVVFULEEOLQJWKDWSURPSWHG
        \RXWRVD\LQDQHPDLOWR3URIHVVRU*LQRGXULQJGDWDFROOHFWLRQWKDW³7KHSHRSOHDUH
        6(5,286GXPGXPVRQWKLVVWXG\´ -XO\ 
            D 6LQFHRXU$XJXVWFRQYHUVDWLRQKDYH\RXEHHQDEOHWRUHFDOODQ\WKLQJHOVH
                DERXWWKLVVSHFLILFVWXG\ZLWKDQ\FODULW\",IVRSOHDVHGHVFULEH

1R,GRQ¶WUHFDOODQ\WKLQJHOVHDERXWWKHVWXG\,ZRXOGQ¶WVD\WKHUHZHUHPDQ\VWXGLHVZLWKWKH
PDWUL[DQGWKHWD[IRUPWKRXJKRQO\WKDWWKHUHZDVPDQ\VWXGLHVZLWKWKHPDWUL[IRUP,EHOLHYH
WKLVZDVWKHRQO\VWXG\ZLWKDWD[IRUP,¶PLQFOXGLQJWKHPRGLILFDWLRQRIWKHWD[IRUPDVWKH
VDPH³VWXG\´VLQFH,FROOHFWHGDOOWKHGDWDXQGHUWKHVDPH,5%DQGSXWRQWKHVDPHVSUHDGVKHHW
IRURQHVWXG\$OWKRXJKLWPD\KDYHEHHQGLIIHUHQWLDWHGDVVHSDUDWHGVWXGLHVODWHULQWKHDUWLFOH
DQG,VHHKRZLW¶VODEHOHGDV³QHZWD[VWXG\´LQWKHHPDLOV

            E +DYH\RXUHFDOOHGDQ\WKLQJHOVHDERXWWKHW\SLFDOODEVHWXSRUSURFHGXUHVLQ
                VWXGLHVXVLQJWKHPDWUL[SX]]OHVDQGWD[IRUPVWKDWPLJKWEHKHOSIXOWRXV",IVR
                SOHDVHGHVFULEH

1RWKLQJPRUHWKDQZKDW,DOUHDG\VKDUHG

      :HKDYHRQHPRUHVSHFLILFVHWRITXHVWLRQVDERXWWKHSURFHGXUHDQGGDWDFROOHFWLRQIRU
        WKLVH[SHULPHQWZKLFKZHGLGQ¶WKDYHWLPHWRFRYHURQ$XJXVW


&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 533 of 1282




    $SSHQGL[WRWKLVGRFXPHQWFRQWDLQVDFKDLQRIHPDLOH[FKDQJHVEHWZHHQ3URIHVVRU*LQR
    DQG\RXRQ-XO\ZKLFK\RXVKDUHGZLWKXV7KHILUVW VWDUWLQJIURPWKHERWWRP LV
    IURPKHUWR\RXDWDPWKDWGD\ 7KHGDWHGRHVQ¶WDSSHDULQWKH$SSHQGL[EXWLWGRHV
    DSSHDULQWKDWHDUO\PRUQLQJHPDLOZKLFK\RXVKDUHGZLWKXVLQDVHSDUDWHILOH 7KDWLQLWLDO
    HPDLOUHIHUVWR³DGLIIHUHQWYHUVLRQRIWKH7$;678'<´WKDWVKHZDQWHG\RXWRUXQ,QLW
    VKHVD\V³MXVWQHHGWRFKDQJHWKHIRUPVDOLWWOHELW´

    $SSHQGL[FRQWDLQVWKHHPDLO3URIHVVRU*LQRVHQW\RXRQ-XO\SOXVZKDWFRXOG
    EHWKHQHZIRUPVVKHKDGSURPLVHGWRVHQG\RXWKHVHWZRGRFXPHQWVZHUHDWWDFKPHQWVWR
    WKDW-XO\HPDLO ILOHQDPHVPDWUL[VWLPXOLQHZ678'<GRF[DQG
    7D[6WXG\)RUP678'< 
    
    $SSHQGL[FRQWDLQVDQHPDLO\RXVHQWWR3URIHVVRU*LQRRQ-XO\ZLWKWKH6XEMHFW
    OLQH³7D[VWXG\´7KHERG\RIWKDWHPDLOKDVRQO\RQHVHQWHQFH³7KHQXPEHUVVWDUWLQJRYHU
    DWDUHWKHQHZIRUP´7KHHPDLOKDGRQHDWWDFKPHQWDQ([FHOILOHZLWKWKHILOHQDPH
    7D[VWXG\[OV[ :HDVVXPHWKDW\RXKDYHWKDW([FHOILOHIURPWKDWGDWHEHFDXVH\RXVKDUHG
    WKDWHPDLOZLWKXVEDFNLQ0D\%XWLI\RXQHHGLWMXVWOHW$ODLQNQRZ +HUHDUHRXU
    TXHVWLRQV
    
            D :HZRQGHUKRZ\RXLQWHUSUHWWKHPHVVDJHVEHWZHHQ3URIHVVRU*LQRDQG\RXRQ
                -XO\DQG-XO\6SHFLILFDOO\DIWHU3URIHVVRU*LQRVHQW\RXWKH
                PDWHULDOVRQ-XO\GLG\RXVWDUWWRFROOHFWGDWDIRUDGLIIHUHQW³WD[VWXG\´XVLQJ
                WKHPDWHULDOVWKDWKDG³678'<´LQWKHILOHQDPHV LHGLIIHUHQWIURPWKH³WD[
                VWXG\´IRUZKLFK\RXKDGFROOHFWHGGDWDXSWR-XO\ "3OHDVHH[SODLQ

,LQWHUSUHWWKLVDV,FRQWLQXHGWRUXQDQH[SHULPHQWFDOOHG³7D[6WXG\´EXWZLWKQHZIRUPV,W
GRHVQ¶WDSSHDUWKDW,GLIIHUHQWLDWHGWKHVHDVEHLQJGLIIHUHQWVWXGLHVEXWLQVWHDGDGLIIHUHQWYHUVLRQ
RIWKHVDPHVWXG\7KLVLVZK\,FRQWLQXHGFROOHFWLQJDOOWKHGDWDRQWKHVDPHVSUHDGVKHHWEXW,
GLIIHUHQWLDWHGWKHGLIIHUHQWYHUVLRQVE\VWDUWLQJWKH3DUWLFLSDQW¶VRYHUDJDLQ0\LQWHUSUHWDWLRQ
LVWKDWFDOOLQJWKLV³6WXG\´ZRXOGEHHTXLYDOHQWLW¶VMXVWQRWKRZ,UHIHUUHGWRLW


              E 7KH([FHOILOH 7D[VWXG\[OV[ WKDW\RXVHQW3URIHVVRU*LQRRQ-XO\KDV
                  GDWDIURPSDUWLFLSDQWV LQURZVODEHOHGZLWK³3´UDQJLQJIURPWZRRI
                  WKRVHURZVDUHODEHOHGDV3EXWFRQWDLQGLIIHUHQWGDWD$IWHUWKH3URZ
                  WKHILOHKDVDVHFRQGVHWRIURZVZLWKWKHSDUWLFLSDQWQXPEHUVVWDUWLQJDW LQ
                  URZ DQGJRLQJXSWR3 LQURZ  WZRQRQLGHQWLFDOURZVZLWKLQWKLV
                  VHWDUHDOVRODEHOHGDV3 5RZVKDYHGDWDIRUSDUWLFLSDQWVZLWK3
                  DQG

                       L &DQ\RXH[SODLQKRZWZRGLIIHUHQWSDUWLFLSDQWVFRXOGHQGXSZLWKWKH
                           VDPHSDUWLFLSDQWQXPEHU  "(YHQLI\RXGRQ¶WUHFDOOWKLVVWXG\
                           VSHFLILFDOO\FDQ\RXVD\KRZVXFKGXSOLFDWLRQRISDUWLFLSDQWQXPEHUV
                           PLJKWKDYHRFFXUUHGLQWKHODE"




&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 534 of 1282




*RVKWKLVRQHLVDP\VWHU\WRPH(VSHFLDOO\WKDWLWKDSSHQVWZLFHZLWKWKHVDPHLQHDFKVHW,Q
JHQHUDO,FDQVD\WKDWLWZRXOGQRWEHFRPPRQIRUDQ\RQHWRKDYHWKHVDPHSDUWLFLSDQWLG(DFK
SHUVRQZRXOGJHQHUDOO\KDYHDXQLTXHSDUWLFLSDQWLG,DOVRW\SLFDOO\ZRXOGPDNHDFRPPHQWRQ
VRPHWKLQJOLNHWKDWLIWKHUHZDVDUHDVRQRIVRPHWKLQJKDSSHQHGRXWRIWKHEOXHVR,WKLQNLW¶V
H[WUHPHO\RGGWKDW,GLGQ¶WGRWKDWKHUH7KHRQO\WKLQJ,FDQWKLQNRIDQGWKLVLVMXVWIURPORRVH
PHPRU\LVWKDWZHJHQHUDOO\DVVLJQHGSDUWLFLSDQWQXPEHUVE\KDQG)RUH[DPSOHZHPLJKWKDYH
DFOLSERDUGWKDWKDVDSDSHUFRS\RQLWZKHQ\RXVHDWWKHSDUWLFLSDQWDWWKHLUFXELFOH\RXPLJKW
PDUNWKHUHSLQVRPHZD\,WFRXOGEHWKDWVRPHRQHPDQXDOO\JDYHVRPHRQHWKHZURQJQXPEHU
DQGWKHQDWWKHHQGWKH\MXVWGXSOLFDWHGWKH3,WKLQNWKDWLVOHVVOLNHO\LQWKLVVFHQDULRVLQFHLW
KDSSHQHGWZLFHWKHVDPH7KHRWKHUWKLQJ,¶PWKLQNLQJLVWKDWSHUKDSVWKDWPDWUL[VKHHW ZKLFK,
EHOLHYHLVZKHUHWKH3FDPHIURPZDVLQFRUUHFWDQGKDGWZLFHDQGZHPLVVHGLWLQERWK
VWXGLHV 0HDQLQJWKHUHZHUHWZRILQLVKHGPDWUL[WDVNVERWKIRUWKHDQGWKDW¶VZK\WKH\
KDYHWKHVDPHQXPEHU,¶PJRLQJWRORRNDWWKHPDWUL[VKHHWVQRZDQGVHHLI,VHHHYLGHQFHRI
WKDW<HVLWORRNVOLNHWKDWLVZKDWKDSSHQHG,I\RXUHIHUWRSDJHVRQWKH³PDWUL[VWLPXOL
QHZ±678'<´\RX¶OOVHHWKDWGXSOLFDWLRQ1RWVXUHDERXWWKHWKRVHVHHRGGWRPHDV
ZHOO,PLJKWLQWHUSUHWWKDWDVZHQHHGHGWRUXQDIHZPRUHVXEMHFWVIRUVRPHUHDVRQ QRWVXUH
ZKDWWKHUHDVRQWKHUHDUHPXOWLSOHUHDVRQVZK\ZHPLJKWKDYHGRQHWKDW DQGPD\EHVRPHWKLQJ
VLPLODUKDSSHQHGRQWKHPDWUL[VKHHWRUZHVWDUWHGUHQXPEHULQJIRUVRPHUHDVRQ QRWVXUHZKDW
WKDWUHDVRQZRXOGEH DQG3MXVWJRWVNLSSHGRUWKHGDWDZDVQRWXVHDEOH WKHUHDUHPDQ\
UHDVRQVWKDWFRXOGKDYHKDSSHQHGDVZHOO :KDW,FDQVD\IRUVXUHLVWKDWWKHVHZRXOGKDYHDOO
EHHQXQLTXHSDUWLFLSDQWVHYHQWKRXJKVRPHRIWKH3VDUHWKHVDPH

                      LL &DQ\RXH[SODLQZK\WKHUHDUHWKUHHJURXSLQJVRIGDWDLQWKLVRQH
                          VSUHDGVKHHWHDFKVWDUWLQJZLWK3"

7KHILUVWVHW WR3 ZRXOGKDYHEHHQWKHILUVWIRUPV7KHVHFRQGVHW WR3 ZRXOGKDYH
EHHQWKH³QHZ´IRUPV,ZRXOGLQWHUSUHWVHWWKUHH 3 DVWKH³QHZ´IRUPVDVZHOOEXW,
GRQ¶WNQRZZK\WKH\DUHUHQXPEHUHGDQGLIWKH\ZHUHVRPHWKLUGYHUVLRQRIWKHVWXG\,GRQ¶W
VHHDQ\HYLGHQFHRIWKDWLQWKHHPDLOV,VHQW\RX

                     LLL /RRNLQJDWWKH-XO\³7D[VWXG\´([FHOGRFXPHQWDQG
                          FRQVLGHULQJWKHHPDLOVEHWZHHQ\RXDQG3URIHVVRU*LQRFDQ\RXH[SODLQ
                          LIWKDW([FHOFRQWDLQVGDWDIRURQHWD[VWXG\WZRWD[VWXGLHVRUVRPHWKLQJ
                          HOVH" 1RWH:HUHFHLYHGQRHPDLOVIURP\RXZLWKGDWHVEHWZHHQ-XO\
                          DQG-XO\DQGQRQHDIWHU-XO\ 

,EHOLHYH,¶YHFRYHUHGWKLVDOUHDG\,FRQVLGHUHGWKHVHDOOWREHWKHVDPHVWXG\ PHDQLQJWKH
SURFHGXUHRIWKHVWXG\SRWHQWLDOO\WKHQDPHRIWKHVWXG\ZHFROOHFWHGXQGHUWKH,5%ZH
FROOHFWHGXQGHUHWF WREHWKHVDPH%XWWKHUHZHUHGLIIHUHQWYHUVLRQVRIWKHVWXG\PDWHULDOV
XVHG6RWKDW¶VKRZ,ZDVGLIIHUHQWLDWLQJWKHP,WKLQNLWFRXOGEHLQWHUSUHWHGWKDWKRZ,ZDV
GLIIHUHQWLDWLQJDVDGLIIHUHQW³9HUVLRQRIWKHVWXG\´VRPHRQHHOVHPD\KDYHFDOOHG³VWXG\´RU
³WKHQHZWD[VWXG\´

4XHVWLRQVDERXWWKHGHVFULSWLRQRIWKH([SHULPHQWSURFHGXUHLQWKHSXEOLVKHGSDSHU




&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 535 of 1282




:HKDYHVRPHTXHVWLRQVDERXWWKHGHVFULSWLRQRIWKH([SHULPHQWSURFHGXUHLQWKHSXEOLVKHG
SDSHU $ODLQLVVHQGLQJ\RXD3')RIWKHSXEOLVKHGSDSHUIRU\RXUUHIHUHQFHDORQJZLWKWKHVH
TXHVWLRQV :HUHDOL]HWKDW\RXPD\KDYHQRNQRZOHGJHUHOHYDQWWRVRPHRUDOORIWKHVH
TXHVWLRQV,IWKDW¶VWKHFDVHSOHDVHMXVWVD\VR

:H¶UHWU\LQJWRXQGHUVWDQGWKHDSSDUHQWGLVFUHSDQFLHVWKDWZHREVHUYHEHWZHHQWKHGHVFULSWLRQRI
WKHH[SHULPHQWDOSURFHGXUHLQWKHSXEOLVKHGSDSHUDQGWKHSURFHGXUHIRUWKLVH[SHULPHQWDVLW
DSSHDUVLQWKHGRFXPHQWVZHVKRZHG\RXDQGGLVFXVVHGRQ$XJXVWWKRVHZHUHGRFXPHQWVWKH
VWXG\PDWHULDOVWKDWZHJRWRII3URIHVVRU*LQR¶VFRPSXWHU
7RUHIUHVK\RXUPHPRU\ZHKDYHDWWDFKHGWKRVHWKUHHGRFXPHQWVKHUHDV
7DEOH WKHVWHSE\VWHSSURFHGXUHLQWKH,5%DSSOLFDWLRQIRUWKLVH[SHULPHQW 
7DEOH WKHWD[IRUPXVHGLQWKLVH[SHULPHQWZKLFKZHEHOLHYHLVLGHQWLFDOWRWKHWD[IRUP
DWWDFKHGWRWKHHPDLO3URIHVVRU*LQRVHQW\RXRQ-XO\VHH$SSHQGL[DWWDFKPHQW 
DQG
7DEOH WKHPDWKSX]]OHVLQVWUXFWLRQVDQGFROOHFWLRQVOLSXVHGLQWKLVH[SHULPHQWZKLFKZH
EHOLHYHLVLGHQWLFDOWRWKHPDWHULDODWWDFKHGWRWKHHPDLOVKHVHQW\RXRQ-XO\VHH
$SSHQGL[DWWDFKPHQW 

:H¶UHJRLQJWRIRFXVRQWZRSDUWVRIWKHSURFHGXUHGHVFULSWLRQDQGIROORZWKDWZLWKVRPH
TXHVWLRQV3OHDVHWDNHDORRNDWWKHVWXG\GHVFULSWLRQIRU([SHULPHQWRQSDJHRIWKH
SXEOLVKHGSDSHU 7DEOH ZKLFKKDVWZRSDVVDJHVKLJKOLJKWHG
     
7KHILUVWKLJKOLJKWHGVHQWHQFHLQ7DEOHLVDERXWWKH&ROOHFWLRQ6OLS,WUHDGV³7KHVROHSXUSRVH
RIWKHFROOHFWLRQVOLSZDVIRUWKHSDUWLFLSDQWVWKHPVHOYHVWROHDUQKRZPDQ\SX]]OHVLQWRWDOWKH\
KDGVROYHGFRUUHFWO\´+RZHYHUEDVHGRQ7DEOH WKHGRFXPHQWZLWKWKHPDWKSX]]OHV
LQVWUXFWLRQVDQGFROOHFWLRQVOLS LWDSSHDUVWKDWWKH&ROOHFWLRQ6OLSZDVDOVRXVHGWRFRPSXWH
SDUWLFLSDQWV¶SD\PHQWEDVHGXSRQWKHLUVHOIUHSRUWSD\PHQWZKLFKWKH\UHFHLYHGLPPHGLDWHO\
IURPWKHH[SHULPHQWHULQ5RRP7KXVLWVHHPVWKDWWKHILUVWKLJKOLJKWHGVHQWHQFHPD\PLVVWDWH
WKHSXUSRVHRIWKH&ROOHFWLRQ6OLS

7KHVHFRQGKLJKOLJKWHGVHQWHQFHLQ7DEOHLVDERXWWKHH[SHQVHVWKDWSDUWLFLSDQWVUHSRUWHGRQ
WKHWD[IRUPLQ5RRP³7KHVHH[SHQVHVZHUHµFUHGLWHG¶WRWKHLUSRVWWD[HDUQLQJVIURPWKH
SUREOHPVROYLQJWDVNWRFRPSXWHWKHLUILQDOSD\PHQW´7KLVLVWKHRQO\SODFHLQWKH0DWHULDOVDQG
0HWKRGVHFWLRQRIWKHSXEOLVKHGSDSHUZKHUHSD\PHQWLVPHQWLRQHGIRU([SHULPHQW%DVHGRQ
WKHPDWHULDOVLQ7DEOHVDQGLWVHHPVWKDWWKLVSDUWRIWKHSXEOLVKHGSURFHGXUHPD\RPLW
LQIRUPDWLRQDERXWZKHQZKHUHRUKRZPDQ\WLPHVSDUWLFLSDQWVUHFHLYHGSD\PHQWV

+HUHDUHRXUTXHVWLRQVEDVHGRQWKHVHREVHUYDWLRQVDERXWWKHSXEOLVKHGSDSHU
     
        'R\RXKDYHDQ\JHQHUDOUHDFWLRQVRUFRPPHQWVDERXWWKHWZRKLJKOLJKWHGSDVVDJHVRI
          WKHSXEOLVKHGSDSHUVKRZQLQ7DEOH"

VWKLJKOLJKWHGSDVVDJH<HV,VHHKRZLWGRHVQRWPHQWLRQH[SOLFLWO\WKDWLW¶VXVHGIRUWKHPWR
FDOFXODWHWKHLUPRQH\RZHG7KHIRUPZDVDOVRXVHGDVDZD\WRLGHQWLI\WKHSDUWLFLSDQWVDQG
WUDFNKRZPDQ\PDWULFHVWKH\UHSRUWHGFRUUHFWO\YVKRZPDQ\WKH\DFWXDOO\FRPSOHWHG
FRUUHFWO\6R,WKLQNWKHOLQH³1HLWKHURIWKHWZRIRUPV««KDGDQ\LQIRUPDWLRQRQLWWKDWFRXOG

&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 536 of 1282




LGHQWLI\WKHSDUWLFLSDQWVWREHLQWHUHVWLQJ+RZHYHU,EHOLHYHLWPHDQVWKDWWKHSDUWLFLSDQWVGLGQ¶W
NQRZWKH\FRXOGEHLGHQWLILHG)LQDOO\,WKLQNWKDWUHPRYLQJWKHVWDWHPHQW³WKHVROHSXUSRVH«´
IURPWKHWZRSUHFHGLQJOLQHVRIWKHSDUDJUDSKFKDQJHVWKHFRQWH[WRILW:KHQ,UHDGWKHHQWLUH
SDUDJUDSKWRJHWKHU,UHDGWKHPDVDOOJRLQJWRJHWKHU0HDQLQJWKDWWKHSDUWLFLSDQWVGLGQ¶WNQRZ
WKH\ZHUHEHLQJLGHQWLILHGRQDQ\RIWKHPDWHULDOVDQGWKH\DOVRGLGQ¶WNQRZWKDWWKH\ZHUH
EHLQJLGHQWLILHGRQWKHODVWRQHWKH\RQO\WKRXJKWLWZDVIRUWKHPWRWDOO\WKHLUWRWDOV,
XQGHUVWDQGLQUHVHDUFK\RXZDQWWREHH[SOLFLWDQG,VHHKRZWKLVFRXOGEHLQWHUSUHWHGGLIIHUHQW
ZD\VEXWDQ\ZD\,WKLQNWKHFRQWH[WRIDOORILWWRJHWKHULVLPSRUWDQW

QGKLJKOLJKWHGSDVVDJH

,GRQ¶WDJUHHZLWKWKHLQWHUSUHWDWLRQRI³7KLVLVWKHRQO\SODFHLQWKH0DWHULDOVDQG0HWKRGV
VHFWLRQRIWKHSXEOLVKHGSDSHUZKHUHSD\PHQWLVPHQWLRQHGIRUH[SHULPHQW,WVHHPVWKDWWKLV
SDUWRIWKHSXEOLVKHGSURFHGXUHPD\RPLWLQIRUPDWLRQDERXWZKHQZKHUHRUKRZPDQ\WLPHV
SDUWLFLSDQWVUHFHLYHGSD\PHQWV´

$V,UHDG7DEOH,EHOLHYHWKHVHDUHDVDUHDUHIHUHQFHWRSD\PHQWDQGRUWLPH

³7KH\UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH
H[SHULPHQW´LQGLFDWHVDUHIHUHQFHWRSD\PHQWDQGWLPH,FDQVHHDGLIIHUHQFHEHWZHHQHDUQLQJ
YVEHLQJSDLGKRZHYHU

³2QFHWKHPLQVZHUHRYHU«««WKHH[SHULPHQWHUDVNHGSDUWLFLSDQWVWRFRXQWWKHQXPEHURI
FRUUHFWO\VROYHGSX]]OHVQRWHWKDWQXPEHURQWKHFROOHFWLRQVOLSDQGWKHQVXEPLWERWKWKHWHVW
VKHHWDQGWKHFROOHFWLRQVOLSWRWKHH[SHULPHQWHU´WRPHWKLVDOVRLPSOLFLWO\UHIHUHQFHVSD\PHQW
DVZHOODVWLPHSHULRG%HFDXVHWKHFROOHFWLRQVOLSLQLWVHOILVDUHIHUHQFHWRPRQH\LQP\RSLQLRQ
,WGRHVQ¶WVWDWHZKHUHEXWZHNQRZWKDWLW¶VGLIIHUHQWIURPWKHURRPLQWKH³WD[UHWXUQIRUP´,
FDQVHHKRZLWGRHVQ¶WH[SOLFLWO\VD\WKH\JRWSDLGDWWKLVSRLQWWKRXJK ,ZLOODOVRVD\,GRQ¶W
WKLQNWKLVLVDFFXUDWHO\ZULWWHQEHFDXVHWKH\GLGQ¶WKDQGLQWKHWHVWVKHHWEXWQRWUHDOO\WKHSRLQW 

³$IWHUWKHSUREOHPVROYLQJWDVNSDUWLFLSDQW¶VZHQWWRDVHFRQGURRPWRILOORXWDUHVHDUFKVWXG\
WD[UHWXUQIRUP3DUWLFLSDQWVILOOHGRXWWKHIRUPE\VHOIUHSRUWLQJWKHLULQFRPH«RQZKLFKWKH\
SDLGDWD[´,EHOLHYHWKLVLVDOVRDUHIHUHQFHWRZKHQZKHUHDQGKRZWKH\JRWSDLG,WKLQN
LWFRXOGEHLQWHUSUHWHGWKDWWKH³VHOIUHSRUWLQJWKHLULQFRPH´PHDQVUHSRUWLQJZKDWWKH\KDG
DOUHDG\HDUQHG$JDLQQRWH[SOLFLWEXW,FRXOGVHHVRPHRQHWKLQNLQJWKDWZDVDFFXUDWHO\
GHVFULELQJWKHPRQH\WKH\DOUHDG\UHFHLYHG

          
      'R\RXUHFDOOHYHUKDYLQJDFRQYHUVDWLRQRUFRPPXQLFDWLRQZLWK3URIHVVRU*LQRDERXW
          ZKDWWRGRLIDSDUWLFLSDQWLQDVWXG\WKDWXVHGDWD[IRUPHQGHGXSRZLQJPRQH\DIWHUDOO
          WKHFDOFXODWLRQVRQWKHWD[IRUPKDGEHHQGRQH",IVRSOHDVHWHOOXVZKDW\RXUHFDOODERXW
          WKDW

,WIHHOVORRVHO\IDPLOLDUEXW,GRQ¶WNQRZLIWKDW¶VEHFDXVHZHWDONHGDERXWLWLQRXUILUVWFDOOZLWK
WKHHWKLFVFRPPLWWHHRUEHFDXVHLWDFWXDOO\KDSSHQHG/RRNLQJDWWKHGDWDZKDWVWULNHVPHDERXW
WKHSHRSOHZKRVKRXOGKDYHWDNHQKRPHOHVVWKDWWKH\HDUQHGLQWKHPDWUL[WDVNLVWKDWWKH

&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 537 of 1282




DPRXQWVZHUHQ¶WURXQG6R,IHHOOLNHZHZRXOGKDYHEHHQFRXQWLQJRXWGLPHVZLWKSHRSOHLIZH
DFWXDOO\PDGHSHRSOHJLYHXVWKHPRQH\EDFN:KLFK,IHHOOLNH,ZRXOGUHPHPEHUEXWGRQ¶W,
ZRXOGVD\RUWKLQJVSUREDEO\KDSSHQHG :HSDLGWKHPZKDWWKH\UHSRUWHGLQWKLVIRUPDQG
WKH\JDYHXVPRQH\EDFNDWWKHHQG 2QFHWKH\VLJQHGWKHIRUPDQGWKHQZHDFWXDOO\KDGWKHP
ILOORXWDSD\PHQWIRUPDQGGLGVRPHVRUWRIDGHEULHIDERXWWKHVWXG\DQGWKHQSDLGWKHPD
IXOOURXQGHGXSDPRXQW

$IWHUZULWLQJWKHDERYH,GHFLGHGWRVHHLI,VWLOOKDYHWKHSD\PHQWUHFRUGVIRUWKHVHWLPHSHULRGV
,GRDQGDOORIWKHSD\PHQWDPRXQWVDUHURXQGZKLFKWRPHLQGLFDWHVVRPHWKLQJOLNH
KDSSHQLQJ

         
       7RWKHEHVWRI\RXUNQRZOHGJHZKRGUDIWHGWKHHDUOLHVWYHUVLRQRIWKHGHVFULSWLRQRIWKH
           ([SHULPHQWSURFHGXUHIRUWKHSDSHUDQGZKRUHYLVHGLWEHWZHHQWKDWHDUOLHVWYHUVLRQ
           DQGWKHILQDOSXEOLVKHGYHUVLRQ"3OHDVHPHQWLRQHYHU\RQHZKRZDVLQYROYHGDQG
           GHVFULEHWKHUROHWKDWHDFKSHUVRQSOD\HG

$EVROXWHO\QRLGHDZKRZDVLQYROYHGLQWKLV,ZDVQHYHUSDUWRIZULWLQJXSVWXGLHV2QFH,VHQW
RIIWKHGDWDIRUDVWXG\P\UROHZDVSUHWW\PXFKGRQHPLQXVUHFRQFLOLQJSD\PHQWUHFRUGVRU
RWKHUPLVFHOODQHRXVTXHVWLRQDQVZHULQJDIWHUWKHIDFW
           
       7RWKHEHVWRI\RXUNQRZOHGJHDVWKHSDSHUUHSRUWLQJ([SHULPHQWZDVEHLQJZULWWHQ
          ZDVWKHGHVFULSWLRQRIWKH([SHULPHQWSURFHGXUHFKDQJHGLQDQ\VXEVWDQWLYHZD\
          EHWZHHQWKHILUVWGUDIWRIWKDWVHFWLRQDQGWKHSXEOLVKHGSDSHU",IVRLQZKDWZD\VZDVLW
          FKDQJHG"

1RLGHDSHUDERYH
           
       ,Q\RXUYLHZGRHVWKHSXEOLVKHGSDSHURPLWRUPLVVWDWHDQ\LPSRUWDQWDVSHFW V RIWKH
           SURFHGXUHRI([SHULPHQW",IVRSOHDVHGHVFULEHWKRVHDVSHFWVRIWKHSURFHGXUHDQGLI
           \RXNQRZVD\ZKRZDVUHVSRQVLEOHIRUWKHRPLVVLRQ V RUPLVVWDWHPHQW V 

              o D$WWKHEHJLQQLQJRIHDFKVHVVLRQSDUWLFLSDWLRQVZHUH«,QDGGLWLRQJLYHQWKH
                  IROORZLQJLQIRUPDWLRQ³)RUWKHSUREOHPVROYLQJWDVN\RXZLOOEHSDLGDKLJKHU
                  DPRXQW´´%DVHGRQWKHVWXG\PDWHULDOVDORQH,FDQ¶WVD\ZKHWKHUWKLVDFWXDOO\
                  KDSSHQHGRUQRW
              o E³SDUWLFLSDQWVZHUHDVNHGWRWKHQVXEPLWERWKWKHWHVWVKHHWDQGWKHFROOHFWLRQ
                  VOLSWRWKHH[SHULPHQWHU´$OPRVWWKLVLVQRWDFFXUDWHZHDOZD\VKDGWKHP
                  WKURZWKHLUPDWULFHVDZD\WRIXUWKHUPDNHWKHPEHOLHYHZHZHUHWUDFNLQJWKHP
                  7KDW¶VZK\WKH\KDGLGHQWLILHUVRQWKHP0D\EHLQWKLVRQHVWXG\ZHGLGQ¶WGR
                  WKDWIRUVRPHUHDVRQVLQFHLW¶VQRWLQWKHVWXGHQWPDWHULDOV+DUGWRVD\IRUVXUH
              o F³QHLWKHURIWKHIRUPVKDGDQ\LQIRUPDWLRQRQLWWKDWFRXOGLGHQWLI\SDUWLFLSDQWV´
                  $OUHDG\PHQWLRQHGDERYHWKDWWKLVFRXOGSRWHQWLDOO\EHLQWHUSUHWHGWZRZD\V
                  7KHUHZDVDQLGHQWLILHUWRPDWFKWKHIRUPVWRJHWKHUEXWQRWDQLGHQWLILHUWRNQRZ
                  ZKLFKVWXGHQWWKHIRUPVEHORQJHGWR $OWKRXJKDIWHUUHDGLQJWKURXJKWKHVWXG\LW



&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 538 of 1282




             VD\VWKHWD[IRUPKDGWKHVDPHLGHQWLILHUVRZHZRXOGKDYHEHHQDEOHWRPDWFK
             WKHPWRDSHUVRQWKHPEXWWKHSDUWLFLSDQWZRXOGQRWKDYHNQRZQWKLVRIFRXUVH 
           o G³7KHVROHSXUSRVHRIWKHFROOHFWLRQVOLS«´$VQRWHGDERYHWKLVLVQRWTXLWH
             DFFXUDWH
           o H³3DUWLFLSDQWVILOOHGRXWWKHIRUPE\VHOIUHSRUWLQJWKHLULQFRPHRQZKLFKWKH\
             SDLGDWD[´1RWHGDERYHWKLVLVZULWWHQLQDQDPELJXRXVZD\,WKLQNLWFRXOG
             EHLQWHUSUHWHGDFRXSOHZD\V7KHZD\LWKDSSHQHGEDVHGRQWKHVWXG\PDWHULDOVLV
             WKH\ZHUHWD[HGDIWHUWKH\KDGDOUHDG\UHFHLYHGWKHPRQH\
           o I³:KHQSDUWLFLSDQWVFRPSOHWHGWKHILUVWSDUWRIWKHH[SHULPHQWWKHH[SHULPHQWHU
             JDYHWKHPDWD[UHWXUQIRUPDQGDVNHGHDFKSDUWLFLSDWHWRJRWRDVHFRQGURRP
             ZLWKDVHFRQGH[SHULPHQWHUWRILOORXWWKHWD[IRUPDQGUHFHLYHWKHLUSD\PHQWV´
             %DVHGRQWKHVWXG\PDWHULDOVDORQH,¶PQRWVXUHLI WKH\ZHUHJLYHQWKHIRUPLQ
             RQHURRPYVWKHRWKHU WKH\ZHUHDVNHGWRILOORXWWKHIRUPLQRQHURRPYVWKH
             RWKHU ZKHWKHURUQRWWKHUHZHUHWZRH[SHULPHQWHUVSUHVHQW,GRNQRZWKDWWKH\
             ZRXOGKDYHKDQGHGLQDQGEHHQSDLGWKHILQDODPRXQWLQDVHSDUDWHURRPWKDWWKH\
             ZHUHSDLGWKHILUVWWLPH$QG,GRWKLQNLW¶VYHU\SRVVLEOHWKH\ZHUHJLYHQWKH
             IRUPWRILOORXWLQWKHILUVWURRPEXWEURXJKWLWWRWKHVHFRQGURRPWREHSDLG

,QJHQHUDO,MXVWWKLQNLW¶VGLIILFXOWWRYHULI\WKHSDSHUEDVHGRQZKDW¶VZULWWHQLQWKHVWXG\
PDWHULDOVEHFDXVHWKH\DUHVRYDJXHDQGWKHUHDUHFRQIOLFWLQJSLHFHVRILQIRUPDWLRQ

'RQ¶WNQRZZKRZDVUHVSRQVLEOHIRUDQ\RPPLVLRQVHWF1RWLQYROYHGLQWKDWSDUWRIWKHVWXG\

        
     &DQ\RXUHFDOODQ\FRPPXQLFDWLRQVGXULQJWKHZULWLQJDQGUHYLVLRQRIWKLVSDSHUDPRQJ
          DQ\RIWKHSDSHU¶VFRDXWKRUVDQGRURWKHUSHUVRQQHOLQYROYHGLQ([SHULPHQW LQFOXGLQJ
          \RXUVHOI DERXWWKHVHTXHQFHRIVWHSVLQWKHH[SHULPHQWDOSURFHGXUHRUDQ\RWKHUGHWDLOV
          DERXWWKHH[SHULPHQWDOSURFHGXUH",IVRSOHDVHGHVFULEHWKRVHFRPPXQLFDWLRQVLQDV
          PXFKGHWDLODV\RXFDQUHFDOO

1R,GRQRWUHFDOOKDYLQJDQ\FRPPXQLFDWLRQVOLNHWKDW,ILWZDVLQDQHPDLOWKHUHLVQRUHDVRQ,
FDQWKLQNRIWKDW,ZRXOGQ¶WKDYHDUHFRUGRILW,GRXEWLWZRXOGKDYHEHHQLQSHUVRQJLYHQWKH
WLPHOLQHDQGZKHUHWKHIDFXOW\ZHUHORFDWHGDWWKHWLPHRIWKLVVWXG\
        
4XHVWLRQVDERXWWKHGDWDIRU([SHULPHQW

     <RXVKDUHGZLWKXVWKUHHHPDLOVUHOHYDQWWRWKLVVWXG\WKDWKDG([FHODWWDFKPHQWV7KH
          GDWHVRIWKRVHHPDLOVDUH-XO\-XO\DQG-XO\DQGWKH\DUHDOOIURP\RXWR
          3URIHVVRU*LQR ,QWKHILOHV\RXSURYLGHGWKHVHHPDLOVZHUHFDOOHGHPOHPODQG
          HPOUHVSHFWLYHO\ $OWKRXJKWKH([FHOILOHVGLIIHUDOOKDYHWKHILOHQDPH
          ³7D[VWXG\[OV[´,WDSSHDUVWKDWHDFKODWHUILOHFRQWDLQVGDWDIURPWKHSUHYLRXVRQHSOXV
          QHZGDWDWKDW\RXDSSDUHQWO\DGGHGDV\RXUDQPRUHVXEMHFWV <RXVKRXOGKDYHWKRVH
          HPDLOVDQGWKHLU([FHODWWDFKPHQWVEXWSOHDVHFRQWDFW$ODLQLI\RXZRXOGOLNHKLPWR
          VHQGWKHPWR\RX 




&21),'(17,$/±'2127&23<25',675,%87(

        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 539 of 1282




             D :DVLW\RXUXVXDOSUDFWLFHLQUXQQLQJVWXGLHVIRU3URIHVVRU*LQRWRFRQWLQXH
                DGGLQJGDWDWRWKHVDPH([FHOILOHIRUDSDUWLFXODUVWXG\DV\RXDGGHGPRUH
                VXEMHFWVVHQGLQJKHULQWHULP([FHOILOHVDORQJWKHZD\"

    x    <HVLWZDVDXVXDOSUDFWLFHWRDGGDOOWKHGDWDIRUWKHVDPHVWXG\WRRQHH[FHOILOHXQWLOWKH
         VWXG\ZDVFRQFOXGHG
    x    <HVLWZDVDXVXDOSUDFWLFHWRGHQRWHGLIIHUHQWYHUVLRQVRIWKHVDPHVWXG\LQH[FHOILOH
         DV,GLGIRUWKLVRQH
    x    ,IZHUDQDVLPLODUVWXG\EXWZLWKDQHZGLIIHUHQWQDPHPHDQLQJWKDWZHZURWHDQHZ
         ,5%IRULWRULWKDGVXEVWDQWLYHFKDQJHVWKHQ,ZRXOGVWDUWDQHZH[FHOILOH
    x    ,IWKHGDWDILOHZDVUHTXHVWHGDORQJWKHZD\LQDVWXG\,ZRXOGVHQGLWLILWZDVQ¶W,
         SUREDEO\GLGQ¶WXQWLOWKHVWXG\ZDVFRPSOHWH,WZDVDFRPPRQSUDFWLFHEXW,GRQ¶WNQRZ
         WKDWLWKDSSHQHGIRUHYHU\VWXG\

             E <RXUHPDLORI-XO\SP FDOOHGHPO KDGWKH6XEMHFWOLQH³7KDW¶V
                DZUDS7D[6WXG\´7KDWHPDLOKDGQRWH[WLQWKHERG\RQO\WKHDWWDFKPHQW&DQ
                \RXH[SODLQZKDW\RXPHDQW RUSUREDEO\PHDQW E\WKH6XEMHFWOLQH³7KDW¶VD
                ZUDS7D[6WXG\´"

<HV,PHDQWLWZDVILQLVKHG7KDWZHFROOHFWHGDOOWKHGDWDZHQHHGHGDQGWKDWVWXG\ZDVQR
ORQJHUUXQQLQJ

      :HKRSH\RXFDQKHOSXVXQGHUVWDQGWKHDWPRVSKHUHLQWKH81&ODELQZKLFKWKHGDWD
         IRU([SHULPHQWZHUHFROOHFWHG±VSHFLILFDOO\WKHH[WHQWWRZKLFK\RXRURWKHUSHRSOH
         ZRUNLQJLQWKHODEPLJKWKDYHIHOWSUHVVXUHGRUKLJKO\PRWLYDWHGWRSURGXFHFHUWDLQ
         RXWFRPHVLQDVWXG\&DQ\RXJLYHXV\RXUYLHZVRQWKHDWPRVSKHUHLQWKLVODEDWWKH
         WLPHWKHGDWDZHUHFROOHFWHG"

7KHUHZRXOGKDYHEHHQDEVROXWHO\12SUHVVXUHRUPRWLYDWLRQWRSURGXFHDQ\FHUWDLQRXWFRPHIRU
WKLVVWXG\RUDQ\RWKHUVWXG\E\P\VHOIRUDQ\RIWKHUHVHDUFKDVVLVWDQWVZRUNLQJRQP\WHDP

7KHUHZDVRIWHQDPRWLYDWLRQWRFROOHFWWKHGDWDTXLFNO\DQGWRPHHWWKHUHTXHVWVH[SHFWDWLRQVRI
WKHUHVHDUFKHUVEXW,ZRXOGQHYHUKDYHGRQHWKDWLQDZD\WKDWPHDQWWKHSUDFWLFHVZHUH
XQHWKLFDO$QG,ZRXOGKDYHQHYHUOHWDQ\RIP\UHVHDUFKDVVLVWDQWVEHSXWLQWKDWSRVLWLRQHLWKHU

$V\RXSUREDEO\NQRZHYHU\UHVHDUFKHUZDQWVDOORIWKHLUUHVHDUFKWREHFRPSOHWHGDVIDVWDV
SRVVLEOH\HVWHUGD\%XW,WKLQN,KDGDVWURQJUHSXWDWLRQLQWKHODEIRUSXVKLQJEDFNDQGVHWWLQJ
H[SHFWDWLRQVDERXWZKDWZDVSRVVLEOHRUQRWDQGFDOOLQJWKLQJVRXWZKHQ,IHOWOLNHWKH\ZHUHQ¶W
ZKDW,WKRXJKWWREHDJRRGSUDFWLFH+RZHYHUWKHUHLVDOZD\VDSRVVLELOLW\,ZDVWUDLQHGRUWROG
WRGRVRPHWKLQJLQDZD\WKDWZDVQ¶WVXSSRVHGWREHGRQHWKDWZD\EXWZDVWRRQDwYHRU
LQH[SHULHQFHGWRNQRZ,KDGQRUHVHDUFKH[SHULHQFHFRPLQJLQWRWKLVUROH

7KHDWPRVSKHUHLQJHQHUDOZDVWKDWZHKDGDKLJKIXQFWLRQLQJODEZLWKDJRRGSDUWLFLSDQWSRRO
DQGFRXOGFROOHFWGDWDTXLWHTXLFNO\DQGZHZHUHVHOIPRWLYDWHGWRWU\WRNHHSLWWKDWZD\



&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 540 of 1282




     )LQDOO\FDQ\RXWKLQNRIDQ\WKLQJHOVHZHVKRXOGNQRZDVZHWU\WRGHWHUPLQHZKHWKHU
        UHVHDUFKPLVFRQGXFWRFFXUUHGZLWKUHVSHFWWR([SHULPHQWLQWKLVSDSHUDQGLILWGLG
        ZKRPLJKWKDYHEHHQUHVSRQVLEOH"

1R,FDQQRW2WKHUWKDQ,FDQJXDUDQWHHWKDWLIWKHUHZDVPLVFRQGXFWWKDWKDSSHQHGWKDWLWGLG
QRWKDSSHQE\P\VHOIRUDQ\RWKHUUHVHDUFKDVVLVWDQWZKRZRXOGKDYHEHHQZRUNLQJZLWKPHDW
WKHWLPH
        
        
$JDLQ      WKDQN\RXYHU\PXFKIRUDQVZHULQJRXUTXHVWLRQV

<RX¶UHZHOFRPH

,NQRZWKDW\RXFDQQRWVKDUHWKHRXWFRPHRIWKLVLQYHVWLJDWLRQ+RZHYHU,ZRXOGUHTXHVWDV
VRPHRQHZKR¶VFRPPLWWHGWRDOZD\VOHDUQLQJDQGJURZLQJWKDWLIWKHUHDQ\SUDFWLFHVWKDW,ZDV
WDXJKWRUXVHGLQUXQQLQJUHVHDUFKWKDWZRXOGEHFRQVLGHUHGSRRUSUDFWLFHVIRUH[HFXWLQJVRXQG
UHVHDUFK,ZRXOGDSSUHFLDWHNQRZLQJ,NQRZ,GRQ¶WZRUNLQWKLVDFDGHPLDUHVHDUFKDQ\PRUH
EXWLWZRXOGEHKHOSIXOWRNQRZLIVRPHRQHFRXOGVKDUHDQ\WKRXJKWVWKHUHLVVRPHPHGLXP




&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 541 of 1282




&21),'(17,$/

'DWH 6HSWHPEHU 

7R               

)URP,QYHVWLJDWLRQ&RPPLWWHHRQ5HVHDUFK,QWHJULW\&DVH5,

5H $GGLWLRQDO)ROORZXSTXHVWLRQVIURP,QYHVWLJDWLRQ&RPPLWWHHDERXW([SHULPHQWLQWKH
       31$6SDSHU

                                                                                                    

6HQW7XHVGD\6HSW

7KH&RPPLWWHHKDGDFKDQFHWRUHYLHZ\RXUDQVZHUVDQGLWKDVDIHZIROORZXSTXHVWLRQVUHODWHG
WRWKHSDUWLFLSDQWSD\PHQWORJV\RXUHIHUHQFHGLQ\RXUUHVSRQVHWRTXHVWLRQ SLQWKH
³5HVSRQVHVIRU+DUYDUGGRF[´GRFXPHQW\RXVKDUHGZLWKPHRQ6HSWHPEHU 

     'RDQ\SDUWLFLSDQWSD\PHQWUHFRUGVGXULQJWKHWLPHSHULRGLQTXHVWLRQ -XO\ VKRZ
        QHJDWLYHQXPEHUVLQGLFDWLQJWKDWWKHSDUWLFLSDQWHLWKHURZHGPRQH\RUDFWXDOO\JDYH
        PRQH\EDFNDWWKHHQGRIWKHH[SHULPHQW"
        
        1RWKHUHDUHQRQHJDWLYHSD\PHQWUHFRUGV7KHVHDUHUHFHLSWVIRUZKDWSDUWLFLSDQWVZHUH
        SDLG
        
     ,IDQ\SDUWLFLSDQWVGLGRZHPRQH\RUJLYHPRQH\EDFNDWWKHHQGRIWKHH[SHULPHQW
        ZRXOG\RXKDYHEHHQOLNHO\WRQRWHWKDWLQWKHSD\PHQWUHFRUG"
        
        1RLWZRXOGQRWKDYHEHHQQRWHG,W VDVWDQGDUGSD\PHQWUHFHLSWIRUPIRUPRQH\
        
     ,QH[DPLQLQJWKHSDUWLFLSDQWSD\PHQWUHFRUGVIURPWKDWPRQWKGR\RXVHHDQ\HYLGHQFH
        WKDWDQ\SDUWLFLSDQWVHLWKHURZHGPRQH\DWWKHHQGRIDQH[SHULPHQWRUDFWXDOO\JDYH
        PRQH\EDFNDWWKHHQGRIDQH[SHULPHQW",IVRKRZPDQ\SDUWLFLSDQWUHFRUGVIURPWKDW
        PRQWKFRQWDLQVXFKHYLGHQFH"
        
        1R,ZRXOGQRWKDYHEHHQDEOHWRNQRZWKDW,WDSSHDUVZHURXQGHGWRWKHQHDUHVW
        DPRXQW,EHOLHYHIRUDOOWKHSDUWLFLSDQWVRQWKHLQLWLDOGDWDVKHHWZKRRZHGPRQH\LWZDV
        DQRQURXQGDPRXQW6RWRPHWKDWPHDQVZHURXQGHGXSLQVRPHZD\EXWWRZKDW
        QXPEHU,GRQ WNQRZ








&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 542 of 1282




6HQW:HGQHVGD\6HSW

:HUHDOO\DSSUHFLDWH\RXUTXLFNUHVSRQVHDQGILQGWKHILUVWWZRUHSOLHVYHU\FOHDU+RZHYHUZH
DUHDELWFRQIXVHGE\\RXUWKLUGUHSO\,QSDUWLFXODUZHKRSH\RXFDQFODULI\WKHVHQWHQFH³,
EHOLHYHIRUDOOWKHSDUWLFLSDQWVRQWKHLQLWLDOGDWDVKHHWZKRRZHGPRQH\LWZDVDQRQURXQG
DPRXQW´$ERXWWKLVVHQWHQFH

    D 'LG\RXSHUKDSVPHDQWRVD\³ZKRZHUHRZHGPRQH\´LQVWHDGRI³ZKRRZHGPRQH\´"
        :HDUHWU\LQJWRGHWHUPLQHLIWKHUHPLJKWKDYHEHHQDQ\SDUWLFLSDQWVZKRVH³ILQDO
        SD\PHQW´LQWKHODVWOLQHRIWKHWD[IRUPDWWKHHQGRIWKHH[SHULPHQWZDVDQHJDWLYH
        DPRXQW±PHDQLQJWKDWWHFKQLFDOO\WKH\ZRXOGKDYHRZHGPRQH\DWWKHHQG
        
        
    E :HDVVXPHWKDWDOOH[SHULPHQWVLQWKHODELQ-XO\SDLGPRQH\IRUSDUWLFLSDWLRQ
        (YHQLIVRPHH[SHULPHQWVRIIHUHGFRXUVHFUHGLWRUVRPHRWKHULQFHQWLYHIRUSDUWLFLSDWLRQ
        SOHDVHDQVZHUWKLVTXHVWLRQZLWKUHVSHFWWRRQO\WKRVHH[SHULPHQWVWKDWRIIHUHGPRQH\IRU
        SDUWLFLSDWLRQ:RXOG\RXKDYHDSD\PHQWUHFRUGIRUHYHU\VLQJOHSDUWLFLSDQWRULVLW
        SRVVLEOHWKDWWKHUHZRXOGEHQRSD\PHQWUHFRUGIRUVRPHSDUWLFLSDQWVEHFDXVHWKH\HDUQHG
        QRPRQH\UHFHLYHGQRPRQH\RUZRXOGKDYHDFWXDOO\RZHGPRQH\DWWKHHQGRIWKH
        H[SHULPHQW"
        
        
    F ,Q\RXUVHQWHQFH³,EHOLHYHIRUDOOWKHSDUWLFLSDQWVRQWKHLQLWLDOGDWDVKHHWZKRRZHG
        PRQH\LWZDVDQRQURXQGDPRXQW´ZKDWVKHHWZHUH\RXUHIHUULQJWRE\³WKHLQLWLDO
        VKHHW´"
        

                   UHFRUGHGDYLGHRDQVZHULQJWKHTXHVWLRQV7KHWUDQVFULSWRIWKHYLGHRLV
DSSHQGHGEHORZ

                   VHQWDIROORZXSHPDLOWRWKH5,2RQWRDGGDFRPPHQWWKDWZDVQRW
IXOO\FDSWXUHGDWWKHHQGRIWKHYLGHR+HUFRPPHQWLVDVIROORZV$QGMXVWWRFODULI\KHUHLI
WKHUHZDVDSDUWLFLSDQWZKRHDUQHGRUHDUQHGDPRXQW\HV,GREHOLHYHWKDWZRXOGKDYH
EHHQFDSWXUHGRQWKHGDWDVKHHWEHFDXVH,ZRXOGKDYHFROOHFWHG$//WKHGDWDIRUWKHVWXG\6RLW
GRHVDSSHDUWKDWHYHU\RQHHDUQHGVRPHWKLQJ7KHUHLVQRVFHQDULRZKHUH,ZRXOGKDYHMXVWQRW
UHFRUGHGWKURZGDWDRXWEHFDXVHWKHLUZHUHQHJDWLYHDPRXQWVLIWKDW VZKDW\RX UHDVNLQJDV
ZHOO



                               




&21),'(17,$/±'2127&23<25',675,%87(

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 543 of 1282




                                                               $SSHQGL[ 
                                                        (PDLOV IURP-XO\

From: Gino, Francesca fgino@hbs.edu
Subject: RE: study
Date: July 20, 2010 at 10:05 PM
To:


        it'd be great to have about 120 for the time of day study. do you remember what instructions to send to them? for the

        amazon -- as many as we can get :-)

        and for the new tax study -- anything between 60-100 would be great! franci

        
        Francesca Gino
        Associate Professor of Business Administration
        Negotiation, Organizations & Markets
        Harvard Business School
        Phone: 617.495.0875
        Fax: 617.495.5672
        Email: fgino@hbs.edu
        Website: http://www.francescagino.com

        From:
        Sent: Tuesday, July 20, 2010 11:35 AM
        To: Gino, Francesca Subject: Re: study

        Hi,

        How many more people do we need for the two online studies from this week. The team study is pretty much
        wrapped. I believe we had 21 teams total (1 had bad data though) I will finish the data entry and send it to you and
        later today.

        I would prefer to get this new study ready and run on Friday maybe. I could do 1 day next week or maybe two short
        days(my best friend is in town from Florida and I wasn't planning any studies in the lab from the schedule).

        If we have to rerun it under the same name the sign-ups are going to be very low as are participant
        pool is not very big right now.

        Anyways, let me know what you think. I'm available today if you want to catch me on the phone as well.




        Gino, Francesca wrote:

                 ,

          Can you run studies next week M, Tu, W? I would like to run a different version of the TAX STUDY. I just need to change
          the forms a little bit. I can add in another study if it makes it easier to run.

          Let me know and I will send you the information

          Thanks franci




&21),'(17,$/± '2127&23<25',675,%87(
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 544 of 1282
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 545 of 1282




                                       $SSHQGL[ FRQW 
          (PDLODWWDFKPHQWIURP-XO\³PDWUL[VWLPXOLQHZ±678'<GRF[´
                                             3DJH

Welcome to our study.

This study is designed to test performance on math tasks under time pressure.
The instructions to the task are provided below.



                                                                                           Example
In the boxes on the “Matrix Sheet”, your goal is to find                                   1.69     1.82    2.91
2 numbers so that their sum equal 10.                                                      4.67     3.81    3.05
                                                                                           5.82     5.06    4.28
Circle those numbers and mark the ‘Found It’ box.                                          6.36     6.19    4.01
See example
For each pair you’ll find, you will receive $2.

                                                           Found it     ;
When finished:
  x Fill out the attached collection slip.
  x Submit the collection slip to the experimenter. In order to enable the
     experimenter to quickly calculate your payment, please throw your matrix
     sheet into the recycling bin and hand in ONLY your collection slip. We are
     not interested in which specific matrices you solved correctly, but only in
     how many you managed to solve within the allotted time.
  x The experimenter will give you your payment and ask you to fill out a
     payment form.






 7KLVILOHDWWDFKPHQWFRQWDLQVFRSLHVRIDSDJHGRFXPHQWHDFKRIZKLFKLVLGHQWLFDOWRWKHRWKHUVH[FHSWIRU
WKHQXPHULFDOYDOXHVLQWKHPDWUL[RQWKHWKLUGSDJH7KLV$SSHQGL[FRQWDLQVMXVWRQHLWHUDWLRQRIWKRVHFRSLHV

&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 546 of 1282




                                  $SSHQGL[ FRQW 
      (PDLODWWDFKPHQWIURP-XO\³PDWUL[VWLPXOLQHZ±678'<GRF[´
                                         3DJH


                                       Collection Slip


1.     Are you a student?          Y              N


2.     Major? ____________________________________________


3.     Academic Year? __________________________________


4.     Gender?       M     F


5.     Age?          __________




I correctly solved _______ Boxes, which amount to $ _______ (=$2 per Box)




&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 547 of 1282




                                  $SSHQGL[ FRQW 
      (PDLODWWDFKPHQWIURP-XO\³PDWUL[VWLPXOLQHZ±678'<GRF[´
                                         3DJH


                                    Matrix Sheet




7.17 4.89   7.76     1.69 2.32    7.93       5.97 9.62   9.41       6.1 7.01        3.97
5.66 1.86   5.11     1.93 9.1     4.63       3.6 7.4     7.01       0.97 4.46       9.82
9.83 5.95   4.25     2.79 4.86    1.19       5.49 0.59   2.62       3.07 2.92       8.56
7.01 6.28   3.82     9.52 5.37    5.57       7.51 5.71   0.49       1.12 6.93       9.12
 Found it             Found it                Found it               Found it

1.63 2.11 5.36       2.92 4.98    4.34       4.74 4.78   0.83       9.43 7.04 2.21
0.53 2.17 9.3        0.39 0.72    5.53       1.61 5.97   4.09       5.49 3.8 5.82
7.31 2.29 9.46       9.61 3.57    3.36       5.96 3.29   9.09       4.18 9.41 7.5
3.1 6.52 2.69        6.8 0.53     8.58       0.89 9.17   2.71       7.13 4.26 8.8
 Found it             Found it                Found it               Found it

6.21 2.47   9.57     0.07 7.75    8.78       0.93 1.6    2.23       3.08 9.42       5.87
1.68 9.52   4.52     7.22 6.01    3.93       0.22 5.11   9.28       3.94 5.41       3.42
8.7 7.69    1.47     2.25 0.77    3.53       3.91 1.35   2.41       4.02 5.06       4.12
6.4 4.44    8.32     7.89 0.55    0.18       1.35 8.65   3.97       4.13 4.65       2.86
 Found it             Found it                Found it               Found it

1.57 5.94   3.17     0.74 4.55    3.19       9.38 8.17 6.68         8.17 7.29       7.27
1.11 3.97   2.33     8.51 7.91    8.68       6.61 3.06 9.7          0.55 4.14       5.42
6.99 0.13   8.89     5.62 0.81    2.15       4.88 8.21 3.39         8.48 9.55       8.71
0.85 3.7    0.08     3.75 3.72    2.09       6.71 4.87 6.42         6.56 5.86       0.23
 Found it             Found it                Found it               Found it

2.22 4.5    7.13     2.16 4.51    1.66       9.4 6.51 8.33          4.73 2.12       8.99
9.33 9.77   5.96     8.29 8.05    9.03       0.58 8.55 8.63         0.63 8.89       9.33
7.04 4.04   5.22     4.73 7.84    9.86       5.42 3.54 4.7          1.02 2.34       4.98
2.28 1.72   8.16     5.21 3.94    7.18       6.46 7.43 4.56         1.11 0.65       2.01
 Found it             Found it                Found it               Found it

                          


 &21),'(17,$/±'2127&23<25',675,%87(
 
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 548 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 549 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 550 of 1282
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 551 of 1282





                                        7DEOH
     6WHSE\VWHSSURFHGXUHIRU([SHULPHQWDVGHVFULEHGLQWKH81&,5%VXEPLVVLRQ


3URFHGXUH
    3DUWLFLSDQWVDUHZHOFRPHGWRWKHODEDVNHGWKHUHDGWKHFRQVHQWIRUPIRUWKHVWXG\DQGVLJQLW
    3DUWLFLSDQWVFRPSOHWHWKHPDWUL[WDVNIRUPLQXWHV
           D ,QVWUXFWLRQV³<RXZLOOILUVWFRPSOHWHDSUREOHPVROYLQJWDVN7KLVWDVNVKRXOGWDNHDERXW
               PLQXWHV<RXZLOOEHZRUNLQJXQGHUWLPHSUHVVXUH7KHH[SHULPHQWHUZLOONHHSWUDFN
               RIWLPHDQGZLOOOHW\RXNQRZZKHQWLPHLVXS´
           E 7KH\DUHSDLGDVKRZXSIHHSOXVDERQXVGHSHQGLQJRQWKHLUSHUIRUPDQFHRQWKHWDVN
    3DUWLFLSDQWVUHFHLYHSD\PHQWIRUWKHILUVWWDVN SHUFRUUHFWPDWUL[PD[ 
    3DUWLFLSDQWVZLOOEHWROGWKDWWKH\ZLOOKDYHWRJRWRDVHFRQGURRPWRILOORXWDSD\PHQWIRUP
           D 7KH\DUHWROGWKDWWKH\ZLOOUHFHLYHKLJKHUSD\PHQWWKDQLQDUHJXODUVWXG\EHFDXVHWKH\
               ZLOOEHWD[HGRQWKHLUHDUQLQJV
    ,QWKHVHFRQGURRP3DUWLFLSDQWVZLOOKDYHWRILOORXWDIRUPLQZKLFKWKH\QHHGWRUHSRUWWKHLU
      LQFRPH SHUIRUPDQFHRQWKHPDWUL[WDVN DQGWKHQZHZLOODVNWKHPWRLQGLFDWHKRZPDQ\
      PLQXWHVLWWRRNWKHPWRWUDYHOWRWKHODEDQGWKHLUHVWLPDWHVFRVWIRUWKHLUFRPPXWH:HZLOO
      ³GHGXFW´WKRVHFRVWVWRFRPSXWHWKHLUILQDOSD\PHQW
           D 5HSRUWLQFRPH WD[LHIRUHYHU\GROODUHDUQHG 
           E 'HGXFWLRQV
                     L 7LPHWRWUDYHOWRWKHODESHUPLQXWH 0D[KRXUV 
                    LL &RVWRIFRPPXWH 0D[ 
                   LLL ,QVWUXFWLRQV³:HZRXOGOLNHWRFRPSHQVDWHSDUWLFLSDQWVIRUH[WUDH[SHQVHVWKH\
                        KDYHLQFXUUHGLQRUGHUWRSDUWLFLSDWHLQWKHVHVVLRQ´
    )LQDOSD\PHQW
           D 7KHPD[LPXPSD\PHQWSDUWLFLSDQWVFDQPDNHLV SD\PHQWUDQJH 
                     L VKRZXSIHH
                    LL RQPDWUL[WDVNPLQXVDWD[RQLQFRPH LH 
                   LLL DVGHGXFWLRQVIRUWUDYHOWLPH
                   LY DVGHGXFWLRQIRUFRVWRIFRPPXWH


                               




&21),'(17,$/±'2127&23<25',675,%87(

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 552 of 1282
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 553 of 1282




                                         7DEOH
            0DWKSX]]OHVLQVWUXFWLRQVDQG&ROOHFWLRQ6OLSXVHGLQ([SHULPHQW

Welcome to our study.

This study is designed to test performance on math tasks under time pressure.
The instructions to the task are provided below.

                                                                       Example
In the boxes on the “Matrix Sheet”, your goal is to find               1.69   1.82   2.91
2 numbers so that their sum equal 10.                                  4.67   3.81   3.05
                                                                       5.82   5.06   4.28
Circle those numbers and mark the ‘Found It’ box.                      6.36   6.19   4.01
See example
For each pair you’ll find, you will receive $1.

                                                           Found it     ;
When finished:
  x Fill out the attached collection slip.
  x Submit the collection slip to the experimenter. In order to enable the
     experimenter to quickly calculate your payment, please throw your matrix
     sheet into the recycling bin and hand in ONLY your collection slip. We are
     not interested in which specific matrices you solved correctly, but only in
     how many you managed to solve within the allotted time.
  x The experimenter will give you your payment and ask you to fill out a
     payment form



                                       Collection Slip

1.     Are you a student?          Y              N

2.     Major? ____________________________________________

3.     Academic Year? __________________________________

4.     Gender?       M    F

5.     Age?          __________

I correctly solved _______ Boxes, which amount to $ _______ (=$1 per Box)


&21),'(17,$/±'2127&23<25',675,%87(

   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 554 of 1282




                                    7DEOH
             6WXG\GHVFULSWLRQRQSDJHRIWKHSXEOLVKHGSDSHU
                                        




                                                                 

&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 555 of 1282



                                                   Video Response
                                            September 29, 2022

                  Hi Alain, I wanted to shoot you a quick video for the sake of time to answer the couple of
questions, or the few questions that you had in your email, and to show you what I’m looking at so that
hopefully it’ll be maybe easier to understand what I’m talking about.

So your first question was, did you perhaps mean to say that participants who were owed money versus
participants who owed money. And what I meant there is participants who, theoretically based on the
study would have owed us money back, which is what you’re asking about. And so in the form, when I
was talking about the initial sheet, I was referring to this tax study data form [NOTE: screen-shared file
“TaxStudyForm - STUDY 2”]. So this is all the data for the study. And this is the tax form. And so these 7
items refer to the 7 columns that are on this form.

And so, let’s look at P#1 for study #1 [NOTE: screen-shared data file “Taxstudy07272010.xlsx”, row 2],
and so we have this person is claiming that they made 8 dollars [NOTE: cell K2], that they were already
paid, we believe, 8 dollars in this study, and then once they fill out the rest of the tax form, they would
be owed, they would be owed by us $10.40 [NOTE: cell Q2]. So we would have paid this person an
additional 2 dollars and 40 cents.

However, on the payment forms, there is no record of someone being paid $10.40, so we would have
rounded that in some way. So let’s say we maybe rounded it up to $11 because I don’t think that I would
have ever felt good about rounding it down and paying them less than they were supposed to be owed,
or paid. So let’s say that this person earned and we owed them $11.

If we look at another example, let’s look at P#5 [NOTE: screen-shared data file “Taxstudy07272010.xlsx”,
row 6]. This person would have, is claiming that they earned $16 in the matrix task [NOTE: cell K6], and
we would have already paid them $16 in the matrix task, theoretically. But once they fill out the tax
form with these columns here, they would have owed us 20 cents back from the 16 dollars that they
earned [NOTE: cell Q6]. So this person would have owed us 20 cents back, but on the payment form, I
don’t know how this would have been reflected. They could have paid us the money back in which case I
imagine the payment form would have said that they were paid $15.80, or we could have rounded up
and said, OK, well that’s $16, and so you were paid $16, so this would have been $16 in the payment
form, or we could have rounded down, again something I don’t think I would have been comfortable
with. And then the payment form would have reflected $15.

I don’t know if that’s helpful in any regard. I just meant that the payment form doesn’t reflect any non-
round numbers, so in some way, we were adjusting these numbers to round numbers. Now the
payment form, I’ll just kind of show you what the grid of that would look like. So it’s basically a form.
This is one from I believe the time period when this study was run [NOTE: screen-shared file “Copy of
PPI071510.xlsx”]. And so we would collect these pieces of information and then there is, as you can see
here, just non-, just rounded numbers (NOTE: column H). And so you wouldn’t be able to tell which
person relates to which participant number, but we do see here that they all are round numbers.

So if someone, they all would have earned money, even if they had to pay us back some of the money.
So there’s no scenario where somebody owed all of the money back. They all earned something. So this
receipt would only have reflected how much money they walked out of the lab with. It wouldn’t reflect
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 556 of 1282



that they had initially earned 16 and then they paid back 20 cents, because they didn’t fill out the
payment receipt until the end of the study.

The other thing I guess I’m just a little bit struggling with, maybe I don’t understand why this is so
important. To me, the payment receipt, or any money that was given back, would have happened after
basically this study concluded. Because they didn’t, they would have already filled out all the form and
perhaps even been debriefed by the time they were filling out this payment receipt. So I don’t think the
payment receipt reflects any kind of influence that would have happened on a person in this study. I
don’t know if that’s helpful or not.

So yes, they technically would have owed us, to answer your question A, they would have technically
owed us money back, but I don’t know that -- there was definitely no way that that would have been
reflected anywhere, if that makes sense.

Question B, we assume that all the experiments in the lab paid money? Yes, or they could have been
course credit. Do we have a payment record for every participant? Is it possible that there would have
been no payment record because they earned no money, received no money, and would have actually
owed money?

Again, these receipts would have only recorded people who walked out and earned money. Because the
receipts are used for tax purposes and also to reconcile the funds that are used for research. So there
would be no reason to write down that somebody had zero dollars, and there would be no case where
somebody paid us money. That’s just not even possible. And so if we look at all the data here, everyone
walked away with some money from the study. If we look at column Q [NOTE: screen-shared data file
“Taxstudy07272010.xlsx”], we don’t have an accurate idea in my mind of if they walked with $8 or if
they walked away with $10 or if they walked away with $11 but they would have walked away with
some money in this study. Because it’s rounded, we don’t know the exact amount.

In your sentence, I believe for all the participants on the initial data sheet who owed money, it was a
non-round amount. Yes, I answered that already. So I’m referring to this tax study data, is what I meant
there.

So I hope that helps. I hope that’s not more confusing. But again if you have additional questions, let me
know. If this is important for some reason, that would be helpful for me to understand to give me a
different way of thinking about it, of course let me know. To me, the payment kind of happens after the
study is done, so I don’t necessarily understand exactly why it’s so important. So I hope this helps.
Alright, have a great day.
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 557 of 1282



                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                    ([KLELW
3URIHVVRU       ¶V:ULWWHQ5HVSRQVHVWR,QYHVWLJDWLRQ&RPPLWWHH¶V:ULWWHQ4XHVWLRQV
                           UHFHLYHGRQ2FWREHU
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 558 of 1282




&21),'(17,$/

'DWH 2FWREHU)LQDO

7R             

)URP,QYHVWLJDWLRQ&RPPLWWHHRQ5HVHDUFK,QWHJULW\&DVH5,

5H <RXU31$63DSHUZLWK                                   DQGWKH5HVHDUFKLQ
       ([SHULPHQW

                                                                                                   

7KDQN\RXYHU\PXFKIRU\RXUZLOOLQJQHVVWRDQVZHUTXHVWLRQVIRUXV DFRPPLWWHHRIWKUHH+%6
VHQLRUIDFXOW\PHPEHUV DVZHLQYHVWLJDWHSRVVLEOHUHVHDUFKPLVFRQGXFWLQ([SHULPHQWLQWKH
IROORZLQJSDSHU

6KX//0D]DU1*LQR)$ULHO\'DQG%D]HUPDQ0+  6LJQLQJDWWKH
EHJLQQLQJPDNHVHWKLFVVDOLHQWDQGGHFUHDVHVGLVKRQHVWVHOIUHSRUWVLQFRPSDULVRQWRVLJQLQJDW
WKHHQG3URFHHGLQJVRIWKH1DWLRQDO$FDGHP\RI6FLHQFHVRIWKH8QLWHG6WDWHVRI$PHULFD
± ³31$63DSHU´ 

([SHULPHQWLVWKHODEH[SHULPHQWLQZKLFKSDUWLFLSDQWVVROYHGPDWKSUREOHPVDQGVLJQHGDWD[
IRUPDWWKHWRSRUWKHERWWRP$V\RXZLOOUHFDOO([SHULPHQWLVTXLWHVLPLODUH[FHSWWKDWD
KLJKHULQFHQWLYHDQGKLJKHUWD[UDWHZHUHXVHGDQGWKHWD[IRUPZDVDELWPRUHOLNHDUHDO,56
WD[IRUP$OVRWKHUHZDVDQDGGLWLRQDOPHDVXUHLQ([SHULPHQWDZRUGFRPSOHWLRQWDVN:H
DUHIRFXVLQJRQ([SHULPHQWLQWKLVLQYHVWLJDWLRQ127(,QYHUVLRQVRIWKHSDSHUWKDWZHUH
EHLQJGUDIWHGDQGUHYLVHGEHIRUHWKHRULJLQDOVXEPLVVLRQWR2%+'3LQ0D\([SHULPHQW
  DVSXEOLVKHGLQ31$6 ZDVFDOOHG6WXG\

*HQHUDO4XHVWLRQV

      )LUVWFRXOG\RXSOHDVHVKDUHZLWKXVDQ\DQGDOOGRFXPHQWVRURWKHUPDWHULDOVWKDW\RX
         KDYHRQ([SHULPHQW"7KDWZRXOGLQFOXGHIRUH[DPSOHHPDLOV DQGDQ\HPDLO
         DWWDFKPHQWV DQGRWKHUFRPPXQLFDWLRQVWRRUIURP\RXUFRDXWKRUVDERXWWKDWH[SHULPHQW
         RUWKHZULWHXSRILWSDUWLDORUFRPSOHWHGDWDILOHVSUHOLPLQDU\ZULWHXSVDQGYDULRXV
         YHUVLRQVRIWKHPDQXVFULSWUHSRUWLQJWKLVVWXG\IURPWKHWLPHLWZDVILUVWGUDIWHGWRWKH
         WLPHLWZDVSXEOLVKHG$ODLQ%RQDFRVVDFDQDVVLVW\RXLQILJXULQJRXWKRZWRWUDQVPLW
         WKHVHPDWHULDOVWRXV

     ,KDYHVKDUHGUHOHYDQWGRFXPHQWVDVLQVWUXFWHG
         
      &DQ\RXSOHDVHWHOOXVEULHIO\KRZDQGZKHQ\RXJRWWRNQRZ3URIHVVRU*LQRDQGKRZ
         DQGZKHQ\RXFDPHWREHLQYROYHGLQWKHUHVHDUFKSURMHFWWKDWOHGWRWKH31$6
         SDSHUZLWKKHU"
         

&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 559 of 1282




       ,ILUVWJRWWRNQRZ3URIHVVRU*LQRZKHQ,DWWHQGHGDWDONRIKHUVDW0,77KLVZDVGXULQJ
       P\WLPHDVDSRVWGRFDW0,7VRVRPHWLPHEHWZHHQDQG
       
       ,ZDVLQYLWHGE\3URIHVVRU*LQRLQ-DQXDU\WRMRLQWKHJURXSRIFRDXWKRUV

       
     )RUHDFKVWDJHRI([SHULPHQW VHHWKHWDEOHEHORZ SOHDVHWHOOXVWRWKHEHVWRI\RXU
       NQRZOHGJHZKHQLWRFFXUUHGZKRZDVLQYROYHGLQVXSHUYLVLQJ RUOHDGLQJ WKHDFWLYLW\
       DQGZKRFDUULHGRXW RUZDVLQYROYHGLQ WKHDFWLYLW\$OVRWRWKHEHVWRI\RXUDELOLW\
       SOHDVHGHVFULEH\RXURZQLQYROYHPHQWLIDQ\LQHDFKVWDJH3OHDVHLQVHUW\RXUUHSOLHV
       GLUHFWO\LQWRWKHWDEOHEHORZ,I\RXGRQ¶WNQRZDSLHFHRILQIRUPDWLRQVLPSO\LQVHUW
       ³'.´ ³'RQ¶WNQRZ´ 
       
       'RQH3OHDVHVHHWKHWDEOHEHORZ
       






&21),'(17,$/±'2127&23<25',675,%87(

      
  6WDJH                         :KHQLWRFFXUUHG   :KRVXSHUYLVHGLWRU       :KRFDUULHGLWRXWRU      'HVFULEH\RXULQYROYHPHQW
                                                     OHGLW                    ZDVLQYROYHGLQLW
                                               3URIHVVRUV*LQRDQG               DQG3URIHVVRUV     1RQH
  D6WXG\FRQFHSWXDOL]DWLRQ                                                   *LQRDQG           
  DQGGHVLJQ
  
                                               3URIHVVRU*LQR                          DQGRU       1RQH
  E'DWDFROOHFWLRQ                                                                           
  
                                          '.                         '.                         1RQH
  F'DWDFOHDQLQJ
  
                                          3URIHVVRU*LQR             3URIHVVRU*LQR             1RQH
  G'DWDDQDO\VLV
  
                                          3URIHVVRUV*LQRDQG        3URIHVVRU*LQR             ,UHYLHZHGUHYLVHGWKHVHSDUWV
  H:ULWLQJUHYLHZLQJDQG                                                   SULPDULO\ 2WKHUV
  UHYLVLQJWKHGHVFULSWLRQRI                                                   LQYROYHG        DQG
  ([SHULPHQW LWVSXUSRVH                                                    3URIHVVRUV      DQG
  PHWKRGVDQGUHVXOWV DQG                                                               
  WKHLQWHUSUHWDWLRQRILWV
  UHVXOWVLQDOOGUDIWVDQG
  UHYLVLRQVRIWKHSDSHUWKDW
  ZDVXOWLPDWHO\SXEOLVKHG
  LQ31$6LQ
  
                                               3URIHVVRU*LQR                                       1RQH
  I'DWDSRVWLQJRQ26)
  J:ULWLQJUHYLHZLQJDQG              3URIHVVRUV*LQR                    SULPDULO\QRWH ,UHYLHZHGUHYLVHGWKHVHSDUWV
  UHYLVLQJWKHLQWURGXFWLRQ                               DQG              WKHEXONRIWKDWZRUN
  RIWKHSDSHU SLQ                                                     KDSSHQHGGXULQJWKH
  WKH31$6SDSHU DQGWKH                                                       VXEPLVVLRQWRDGLIIHUHQW
  FRQFOXGLQJSDUDJUDSKRI                                                       MRXUQDOWKDWZH
                                                                                                                                                  Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 560 of 1282




  WKH5HVXOWVDQG                                                               DWWHPSWHGDIWHUEHLQJ
  'LVFXVVLRQ SS                                                       UHMHFWHGIURP2%+'3

&21),'(17,$/±'2127&23<25',675,%87(

                                            DQGEHIRUHJRLQJWR
                                            31$66FLHQFH
                                              $GGLWLRQDO
                                            PDMRUHGLWVWKHQ
                                            KDSSHQHGLQWKHQG
                                            URXQGRIWKH31$6
                                            UHYLHZSURFHVVYHUVLRQ
                                            VHHKHUHS
                                            ZKLFKZDVODWHU
                                            PRYHGXSWRWKH
                                            FRQFOXGLQJSDUDJUDSK 
                                            2WKHUVLQYROYHG
                                            3URIHVVRUV       *LQR
                                            DQG           
                                                                        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 561 of 1282




&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 562 of 1282


4XHVWLRQVDERXWWKH3URFHGXUHIRU([SHULPHQW

:HKDYHTXHVWLRQVDERXWWKHVSHFLILFVHTXHQFHRIVWHSVLQWKHSURFHGXUH,WVHHPVWKDWWKH
SDUWLFLSDQWVVHOIUHSRUWHGWKHLUSHUIRUPDQFHRQWKHPDWKSX]]OHVEHIRUHVHHLQJWKHWD[IRUP2XU
TXHVWLRQVDULVHIURPH[DPLQLQJWKUHHGRFXPHQWVZHJRWIURP3URIHVVRU*LQR¶VFRPSXWHU:H
ZLOOSRLQWRXWFHUWDLQHOHPHQWVRIWKRVHGRFXPHQWVDQGWKHQSRVHTXHVWLRQVIRU\RXEDVHGRQ
WKHP)LUVWZHGHVFULEHWKHWKUHHGRFXPHQWVDQGWKHVSHFLILFHOHPHQWVRIWKHPDERXWZKLFKZH
KDYHTXHVWLRQV

7DEOH DSSHQGHGZLWKWKHRWKHUWDEOHVDWWKHHQGRIWKLVGRFXPHQW VKRZVWKHVWHSE\VWHS
SURFHGXUHIRUWKHH[SHULPHQWDVODLGRXWLQWKH,5%VXEPLVVLRQWKDWZDVVXEPLWWHGDQGDSSURYHG
DW81&7KDWSURFHGXUHVWDWHVWKDWSDUWLFLSDQWVZRXOGEHSDLGIRUPDWUL[WDVNSHUIRUPDQFHLQ
5RRPEHIRUHWKH\VDZWKHWD[IRUPLQ5RRP:HDVVXPHWKDWSDUWLFLSDQWVZRXOGEH
FRPSHQVDWHGEDVHGRQWKHLUVHOIUHSRUWHGWDOO\RIWKHQXPEHURISX]]OHVWKH\¶GVROYHG
  SHUIRUPDQFHRQWKHPDWUL[WDVN 7RXVWKLVVXJJHVWVWKDWWKH\UHSRUWHGWKHLUSHUIRUPDQFHLQ
5RRPLQDPDQQHUNQRZQWRWKHH[SHULPHQWHUV

7DEOHVKRZVWKH7D[)RUPWKDWZDVXVHGLQWKLVH[SHULPHQW/LQHVWDWHV³3OHDVHHQWHUWKH
SD\PHQW\RXUHFHLYHGRQWKHSUREOHPVROYLQJWDVN´7KHXVHRIWKHSDVWWHQVHLQWKLVLQVWUXFWLRQ
LPSOLHVWKDWSD\PHQWKDGDOUHDG\EHHQPDGHWRSDUWLFLSDQWVEHIRUHWKH\VDZWKHWD[IRUP
0RUHRYHUZHQRWHWKDWWKHWD[IRUP SUHVHQWHGLQ5RRP GRHVQRWDVNSDUWLFLSDQWVWRUHSRUW
GLUHFWO\WKHQXPEHURISX]]OHVWKH\VROYHGEXWUDWKHUWKHLQFRPHWKH\UHFHLYHGIRUWKHPDWUL[
WDVN DQLQGLUHFWPHDVXUHRIWKHLUVHOIUHSRUWHGSHUIRUPDQFH 7KLVIXUWKHUVXJJHVWVWRXVWKDW
WKHLUVHOIUHSRUWHGSHUIRUPDQFHRFFXUUHGLQ5RRP
         
7DEOHVKRZVWKHVKHHWRIPDWKSX]]OHVODEHOHGDVWKH³PDWUL[VWLPXOL´GRFXPHQWRQ3URIHVVRU
*LQR¶VFRPSXWHU7KLVGRFXPHQWPDNHVLWFOHDUWKDWSDUWLFLSDQWVWKHPVHOYHVWDOOLHGXSDQG
UHFRUGHGWKHLUSHUIRUPDQFHLQ5RRPWKHSURFHGXUHUHSRUWHGLQWKHSXEOLVKHGSDSHUDOVRFOHDUO\
VWDWHVWKDWSDUWLFLSDQWVWKHPVHOYHVWDOOLHGXSDQGUHFRUGHGWKHLUSHUIRUPDQFHRQWKHPDWKWDVN
XVLQJWKH&ROOHFWLRQ6OLSLQ5RRP,QDGGLWLRQWKHPDWUL[VWLPXOLGRFXPHQWLQGLFDWHVWKDW
SDUWLFLSDQWVZHUHWKHQSDLGIRUWKHLUSHUIRUPDQFHE\WKHH[SHULPHQWHULQ5RRP$V\RXFDQ
VHHWKHLQVWUXFWLRQSDJH ILUVWSDJHRIWKDWGRFXPHQW VWDWHV³:KHQILQLVKHG)LOORXWWKH
DWWDFKHGFROOHFWLRQVOLS6XEPLWWKHFROOHFWLRQVOLSWRWKHH[SHULPHQWHU,QRUGHUWRHQDEOHWKH
H[SHULPHQWHUWRTXLFNO\FDOFXODWH\RXUSD\PHQWSOHDVHWKURZ\RXUPDWUL[VKHHWLQWRWKH
UHF\FOLQJELQDQGKDQGLQ21/<\RXUFROOHFWLRQVOLS´7KHODVWVHQWHQFHLQWKRVHLQVWUXFWLRQV
UHDGV³7KHH[SHULPHQWHUZLOOJLYH\RX\RXUSD\PHQWDQGDVN\RXWRILOORXWDSD\PHQWIRUP´
7KLVWRRVXJJHVWVWKDWSDUWLFLSDQWVVHOIUHSRUWHGWKHLUSHUIRUPDQFHDQGZHUHSDLGIRUWKDW
SHUIRUPDQFHEHIRUHWKH\VDZWKHWD[IRUPLQ5RRP

      2XUTXHVWLRQVEHORZDUHEDVHGRQWKHREVHUYDWLRQVZHKDYHPDGHDERXWWKHVHWKUHH
         GRFXPHQWV,I\RXKDYHQRLQIRUPDWLRQUHOHYDQWWRDSDUWLFXODUTXHVWLRQVLPSO\VD\VR
             D 'LG\RXHYHUUHFHLYHFRSLHVRIDQ\RIWKHPDWHULDOVXVHGLQWKLVVWXG\"
             
                 <HV
                           
                 ,IVRZKHQGLG\RXUHFHLYHWKHPDQGIURPZKRP"
                 

&21),'(17,$/±'2127&23<25',675,%87(

   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 563 of 1282


           $WWKHWLPHRIWKHSDSHU,UHFHLYHGFRSLHVRIWKHWKUHHWD[IRUPVHPEHGGHG
           LQWKHILUVWGUDIWILOHWKDW3URIHVVRU*LQRVKDUHGZLWKDOOFRDXWKRUVYLDHPDLORQ
            VHHSDJHVLQWKDWGUDIWILOH 
                
           ,UHFHLYHGWKRVHVDPHWD[IRUPVDQGDGGLWLRQDOPDWHULDOV VXFKDVDQLQVWUXFWLRQ
           ILOHDPDWUL[WDVNZLWKFROOHFWLRQVOLS WKHVDPHDVLQ7DEOHLQWKLVGRFXPHQW D
           FRQVHQWIRUPIURP81&DWD[GHEULHILQJIRUPDSDUWLFLSDQWUHFUXLWPHQWIRUP
           DQGDILUVWGUDIWIRUD%8,5%DSSOLFDWLRQ LQDQHPDLOIURP                  RQ
           IRUWKHSXUSRVHRIUHSOLFDWLQJ([SHULPHQWIURPWKHIRUWKH
           31$6SDSHU
                      
           ,IQRWGLG\RXUHTXHVWWKHPZKHQDQGIURPZKRP"$WWKHWLPHRIWKH
           31$6SDSHU
           
           1$
                  
           :HDUHSDUWLFXODUO\LQWHUHVWHGLQNQRZLQJLIZKHQDQGIURPZKRP\RXUHFHLYHG
           WKHPDWHULDOVVKRZQLQ7DEOHVDQG  WKH,5%VXEPLVVLRQRUDQ\SDUWRILW
              WKHWD[IRUPDQG  WKHPDWUL[WDVNLQVWUXFWLRQVKHHWZKLFKKDGWKH
           FROOHFWLRQVOLSDWWKHERWWRP
           
           3OHDVHVHHP\UHVSRQVHVWR4XHVWLRQDDERYH
                      
        E 3OHDVHGHVFULEH DQGLISRVVLEOHSURYLGHGRFXPHQWVVKRZLQJ DQ\
           FRPPXQLFDWLRQVDPRQJDQ\SDSHUFRDXWKRUVDQGRUWKHLQGLYLGXDO V ZKRFDUULHG
           RXW([SHULPHQWHLWKHUEHIRUHGXULQJRUDIWHUWKHVWXG\ZDVUXQDERXWWKH
           VHTXHQFHRIVWHSVLQWKHVWXG\SURFHGXUHRUDQ\RWKHUGHWDLOVDERXWWKHVWXG\
           SURFHGXUHWKDWPLJKWEHUHOHYDQWWRWKHREVHUYDWLRQVZHPDGHDERYH
           
           'XULQJWKHZRUNRQWKH31$6SDSHUDOOFRPPXQLFDWLRQVWKDW,DPDZDUH
           RIDUHFRYHUHGLQP\DQVZHUVWR4XHVWLRQV
           
           ,ZRXOGOLNHWRDGGWKDWLQ6HS1RY                     +%63K'VWXGHQWDQG
           FRDXWKRURIWKH31$6SDSHU DQG,KDGGLVFXVVLRQVDERXWWKHVHTXHQFHRI
           VWHSVDQGWKHSURFHGXUHRI([SHULPHQWDVVKHDQG,ZHUHSUHSDULQJWRUHSOLFDWH
           SDUWRILWDW%8,QSDUWLFXODU                DQG,ZRQGHUHGDERXWWKH
           GLVFUHSDQF\EHWZHHQWKH³RULJLQDO´PDWHULDOVVKHKDGVKDUHGZLWKPHLQDQHPDLO
           RQ LH7DEOHV YHUVXVZKDWRXUP\XQGHUVWDQGLQJZDVUHJDUGLQJ
           KRZWKHH[SHULPHQWZDVFRQGXFWHG 7DEOH 8OWLPDWHO\VLQFH,GRQ¶WKDYHDQ\
           GLUHFWNQRZOHGJHDERXWKRZ([SHULPHQWZDVGHVLJQHGFRQGXFWHG,DVNHG
                           WRFKHFNZLWK3URIHVVRU*LQRDQGFRQILUPZKLFKRIWKHWZR
           SURFHGXUHV LHSD\PHQWLQURRPRULQURRP ZDVLPSOHPHQWHG
           
           $IHZZHHNVODWHU                   VHQWXSGDWHGPDWHULDOVLQFOXGLQJDSUH
           UHJLVWUDWLRQILOHIURPWKHODWWHURIZKLFKVKHLQIRUPHGPHZDV
           UHYLHZHGE\3URIHVVRUV               *LQRDQG           7KRVHILOHVVXJJHVWHGWKDW
           WKHSD\PHQWKDSSHQHGLQURRPRQO\DQGWKDWWKH'9ZDVWKHPDWUL[HVVROYHGDV
           UHSRUWHGRQWKHWD[IRUP VHHHJ3RLQWVDQGRQSDJHRIWKHILOHIURP
&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 564 of 1282


               ³$IWHUWKHSUREOHPVROYLQJWDVNSDUWLFLSDQWVZLOOJRWRDVHFRQGURRPWR
               ILOORXWDUHVHDUFKVWXG\WD[UHWXUQIRUP EDVHGRQ,56)RUP DQGUHSRUWWKH
               QXPEHURIPDWULFHVWKH\VROYHG«7KH,9LVHLWKHUVLJQLQJWRYHULI\WKH
               WUXWKIXOQHVVRIWKHUHSRUWEHIRUHUHSRUWLQJWKHQXPEHUVROYHGDQGH[SHQVHVRU
               DIWHU´ 

           F 7RWKHEHVWRI\RXUNQRZOHGJHRUUHFROOHFWLRQZDVWKHH[SHULPHQWFDUULHGRXWDV
              GHVFULEHGLQWKHH[FHUSWRIWKH,5%SURWRFROVKRZQLQ7DEOH",IQRWZKDW
              FKDQJHVZHUHPDGHDQGZK\"
              
              ,KDYHQRILUVWKDQGNQRZOHGJHDERXWKRZ([SHULPHQWZDVFDUULHGRXW
              +RZHYHUWKH,5%SURWRFROVKRZQLQ7DEOHVHHPVWRVXJJHVWWKDWSDUWLFLSDQWV
              UHFHLYHGSD\PHQWIRUWKHPDWUL[WDVNEHIRUHPRYLQJWRURRP LHEHIRUHWKH\
              ILOOHGRXWWKHWD[IRUPVHH6WHSVDQGLQ7DEOH 7KLVLVQRWKRZ,ZDVOHGWR
              EHOLHYH DIWHUWKHUHVSRQVHVWKDWIROORZHGP\LQTXLULHVLQDQG WKH
              ([SHULPHQWZDVFRQGXFWHG,QSDUWLFXODU,ZDVXQGHUWKHLPSUHVVLRQWKDW
              SDUWLFLSDQWVZHUHSDLGLQURRPRQO\DIWHUILOOLQJRXWWKHWD[IRUP
              
           G 7RWKHEHVWRI\RXUNQRZOHGJHRUUHFROOHFWLRQZKHQDQGKRZGXULQJWKH
              H[SHULPHQWDOSURFHGXUHGLGVXEMHFWVPDNHWKHVHOIUHSRUWRISX]]OHSHUIRUPDQFH
              WKDWZDVXVHGDVWKHGHSHQGHQWYDULDEOH":HUHIHUVSHFLILFDOO\WRWKHSX]]OH
              SHUIRUPDQFHPHDVXUHRIFKHDWLQJWKDWZDVUHSRUWHGLQWKHSXEOLVKHGSDSHU
              
              ,ZDVXQGHUWKHLPSUHVVLRQWKDWWKHVHOIUHSRUWHGQXPEHURISX]]OHVVROYHG
              GHSLFWHGLQ)LJXUHRIWKHSDSHUZDVEDVHGRQSDUWLFLSDQWV¶HQWU\LQFHOORI
              WKHWD[IRUP LHZKHQLQURRP 


4XHVWLRQVDERXWWKH([SHULPHQW3URFHGXUH'HVFULSWLRQLQWKH3DSHU

:HKDYHTXHVWLRQVDERXWDIHZVSHFLILFDVSHFWVRIWKH([SHULPHQWSURFHGXUHDVLWLVGHVFULEHG
LQGLIIHUHQWGUDIWVRIWKHPDQXVFULSW:HDOVRKDYHVHYHUDOJHQHUDOTXHVWLRQVDERXWWKHDFFXUDF\
RIWKHGHVFULSWLRQRIWKHH[SHULPHQWDOSURFHGXUHLQWKHSXEOLVKHGSDSHU7KHSDJHRIWKH
SXEOLVKHGSDSHUWKDWZHUHIHUWRVHYHUDOWLPHVSDJHDSSHDUVLQWKLVGRFXPHQWDV7DEOH
:HKDYHDWWHPSWHGWROD\RXWWKHVHTXHVWLRQVDVFOHDUO\DQGFRQFLVHO\DVSRVVLEOHEXWGRQ¶W
KHVLWDWHWRFRQWDFW$ODLQLI\RXUHTXLUHDQ\FODULILFDWLRQ$OVRLI\RXIHHOWKDW\RXKDYHDOUHDG\
IXOO\DQVZHUHGDTXHVWLRQZKHQ\RXUHVSRQGHGWRDSUHYLRXVTXHVWLRQSOHDVHVLPSO\VD\VRDQG
QRWHWKHQXPEHURIWKDWSUHYLRXVTXHVWLRQ HJD 

     7KHVRXUFHRIWKHSX]]OHSHUIRUPDQFHGHSHQGHQWPHDVXUHRIFKHDWLQJ'LIIHUHQWYHUVLRQV
        RIWKHPDQXVFULSW ZKLFKZHJRWIURP3URIHVVRU*LQR¶VFRPSXWHU GHVFULEHWKHVRXUFHRI
        WKLVGHSHQGHQWYDULDEOHGLIIHUHQWO\7KHEXOOHWSRLQWVEHORZOD\RXWWKHFKDQJHVDQGWKHQ
        RXUTXHVWLRQ

            D 7KHPDQXVFULSWGUDIWZLWKWKHILOHQDPH³0DNLQJ(WKLFV6DOLHQWBYV´
                KDVDSDUDJUDSKWKDWVWDWHVWKHFROOHFWLRQVOLSSURYLGHGWKHPHDVXUHRIFKHDWLQJ
                7KDWSDUDJUDSKDSSHDUVLPPHGLDWHO\EHORZLQLWDOLFV:HKDYHKLJKOLJKWHGWKUHH
                VHQWHQFHVWKDWZHUHDSSDUHQWO\DGGHGWRWKLVSDUWLFXODUYHUVLRQRIWKHPDQXVFULSW
&21),'(17,$/±'2127&23<25',675,%87(

    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 565 of 1282


             RUDOWHUHGIURPDSUHYLRXVYHUVLRQ DVVKRZQLQWUDFNHGFKDQJHVLQWKHGRFXPHQW 
             :HKDYHXVHG\HOORZKLJKOLJKWLQJWRVKRZWKHSDUWVRIWKHVHQWHQFHVWKDW             
             LQVHUWHGRQDQGSXUSOHKLJKOLJKWLQJWRVKRZWKHSDUWVRIWKHVHQWHQFH
             WKDW\RXLQVHUWHGRQ3OHDVHH[SODLQWRWKHEHVWRI\RXUUHFROOHFWLRQKRZ
             DQGZK\WKHVHWKUHHVHQWHQFHVZHUHLQVHUWHGLQWRWKHPDQXVFULSWDQGKRZDQGZK\
             WKH\ZHUHGHOHWHGIURPODWHUYHUVLRQVRIWKHSDSHU LQFOXGLQJWKHSXEOLVKHG
             YHUVLRQ 
        7KHPDWUL[VHDUFKWDVNDOORZHGXVWRGLUHFWO\PHDVXUHHDFKLQGLYLGXDO¶VOHYHORI
        FKHDWLQJ$OOSDUWLFLSDQWV¶PDWUL[ZRUNVKHHWVZHUHLGHQWLFDOZLWKWKHH[FHSWLRQRIRQH
        GLJLW LQRQHQXPEHURIRQHPDWUL[ ZKLFKZDVXQLTXHWRHDFKLQGLYLGXDO¶VZRUN
        VWDWLRQ²DGLIIHUHQFHWKDWZDVFRPSOHWHO\LPSHUFHSWLEOHWRSDUWLFLSDQWV:HODWHUWRRN
        RXWSDUWLFLSDQWVZRUNVKHHWVIURPWKHUHF\FOLQJELQDQGPDWFKHGWKHPWRWKHLU
        FROOHFWLRQVOLSV$VDUHVXOWZHZHUHDEOHWRFRPSDUHDFWXDOWRUHSRUWHGSHUIRUPDQFH
        ,IWKRVHQXPEHUVGLIIHUHGIRUDQLQGLYLGXDOWKDWGLIIHUHQFHUHSUHVHQWHGWKDW
        LQGLYLGXDO¶VOHYHORIFKHDWLQJ IURPSRI³0DNLQJ(WKLFV6DOLHQW
        BYV´ 
        
        3URI*LQRZURWHWKHVWGUDIWVKDUHGLWZLWKDOOFRDXWKRUVYLDHPDLORQ
        DQGVXJJHVWHGWR            DWWKDWWLPHDQ+%63K'VWXGHQW WKDWVKHHGLWWKHGUDIW
        QH[W
        
        2Q3URIHVVRU                 HPDLOHGWKDWKHKDGUHDGWKURXJKWKDWVWGUDIW
        DQGLQWKDWHPDLOUDLVHGDPRQJRWKHUVWKDW³LQPXOWLSOHODEVWXGLHVZHQHHGWRFODULI\
        KRZZHNQRZZKHQVRPHRQHFKHDWV,FRXOGQ WILQGWKDWLQWKHSDSHUDJDLQWKLV
        PD\EHP\HUURU´
        
                 HGLWHGWKHGUDIWQH[WDQGVDLGWKDWVKHZRXOGLQFRUSRUDWH3URIHVVRU
                    ¶VFRPPHQWV6KHDGGHGWKLVEHORZSDUDJUDSKLQWKHQHZQGGUDIWZKLFK
        VKHVKDUHGZLWKDOOFRDXWKRUVYLDHPDLORQ
        
                ³7KHPDWUL[SX]]OHWDVNDOORZVXVWRGLUHFWO\PHDVXUHHDFKLQGLYLGXDO¶VOHYHO
                RIFKHDWLQJ$OOSDUWLFLSDQWV¶PDWUL[ZRUNVKHHWVZLOOEHLGHQWLFDOZLWKWKH
                H[FHSWLRQRIRQHGLJLW LQRQHQXPEHURIRQHPDWUL[ ZKLFKZLOOEHXQLTXHWR
                HDFKLQGLYLGXDO¶VZRUNVWDWLRQ²DGLIIHUHQFHWKDWZLOOEHFRPSOHWHO\
                LPSHUFHSWLEOHWRSDUWLFLSDQWV:HFDQODWHUH[WUDFWSDUWLFLSDQWZRUNVKHHWVIURP
                WKHUHF\FOLQJELQDQGPDWFKWKHPWRWKHLUFROOHFWLRQVOLSV$VDUHVXOWZHFDQ
                FRPSDUHDFWXDOWRUHSRUWHGSHUIRUPDQFH,IWKHVHQXPEHUVGLIIHUIRUDQ
                LQGLYLGXDOWKDWGLIIHUHQFHUHSUHVHQWVWKDWLQGLYLGXDO¶VOHYHORIFKHDWLQJ7KXV
                WKLVWDVNDOORZVXVGLVWLQJXLVKEHWZHHQFKHDWHUVDQGQRQFKHDWHUV´ IURPS
                RI³0DNLQJ(WKLFV6DOLHQW´ 

        ,WZDVP\WXUQQH[WWRHGLWWKHGUDIW,UHWXUQHGP\HGLWHGYHUVLRQ LHWKHUGGUDIW 
        RQ ³0DNLQJ(WKLFV6DOLHQWBYV´ YLDHPDLOWRDOOFRDXWKRUV
        ,QWKDWHPDLO,VXPPDUL]HGIRUDOOFRDXWKRUVP\PDLQFRPPHQWVWKHILUVWRIZKLFK
        ZDV³,QVWXGLHV LW VXQFOHDUZK\ZHILQGGLIIHUHQFHVLQFKHDWLQJLQWKHPDWUL[
        WDVNVLQFHWKHFROOHFWLRQVOLSLVVXSSRVHGO\VXEPLWWHGEHIRUHWKHWD[IRUPZLWKWKH
        VLJQDWXUHPDQLSXODWLRQFRXOGLWEHWKDWWKHUHZDVQRFROOHFWLRQVOLSDVSDUWLFLSDQWV
        DOVRKDGWRLQGLFDWHWKHLUSHUIRUPDQFHRQWKHWD[IRUP"FRXOG\RXFODULI\WKDWSDUW´
&21),'(17,$/±'2127&23<25',675,%87(

   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 566 of 1282


        
        $IWHUPHLWZDV3URIHVVRU*LQR¶VWXUQWRHGLWWKHGUDIWDJDLQ6KHVKDUHGKHUHGLWHG
        YHUVLRQ WKGUDIW³0DNLQJ(WKLFV6DOLHQW´ ZLWKDOOFRDXWKRUVYLDHPDLO
        RQDQGZURWH³,FODULILHGWKHLVVXHVUHODWHGWRWKHSURFHGXUHZHXVHGLQ
        RXUVWXGLHV WKDQNVWR       IRUSRLQWLQJRXWSDUWVWKDWZHUHXQFOHDU ´7KLVWKGUDIW
        QRORQJHUKDGWKHSDUDJUDSK LQFOXGLQJWKHWKUHHVHQWHQFHV\RXDUHLQTXLULQJDERXW 
        WKDW        KDGDGGHGLQWKHQGGUDIW
        
        E 7KHLWDOLFL]HGSDUDJUDSKDERYHIURPWKHPDQXVFULSWGUDIWFOHDUO\
            LQGLFDWHVWKDWWKHGHSHQGHQWPHDVXUHRIFKHDWLQJRQVHOIUHSRUWHGPDWKSX]]OHV
            WDVNSHUIRUPDQFHHTXDOHGWKHGLIIHUHQFHEHWZHHQWKHQXPEHURISX]]OHVWKH
            SDUWLFLSDQWVHOIUHSRUWHGDVFRUUHFWRQWKHFROOHFWLRQVOLSDQGWKHQXPEHUDFWXDOO\
            FRUUHFWDVUHYHDOHGE\WKHSDUWLFLSDQW¶VFRPSOHWHGPDWUL[VKHHW7KHSXEOLVKHG
            SDSHUKRZHYHUFOHDUO\LQGLFDWHVWKDWWKHGHSHQGHQWPHDVXUHRIFKHDWLQJRQWKH
            SX]]OHVWDVNVHOIUHSRUWFDPHIURPWKHWD[IRUP³([SHULPHQWWHVWHGWKLV
            LQWHUYHQWLRQLQWKHODERUDWRU\XVLQJWZRGLIIHUHQWPHDVXUHVRIFKHDWLQJVHOI
            UHSRUWHGHDUQLQJV LQFRPH RQDPDWKSX]]OHVWDVNZKHUHLQSDUWLFLSDQWVFRXOG
            FKHDWIRUILQDQFLDOJDLQ«>«@:HPHDVXUHGWKHH[WHQWWRZKLFKSDUWLFLSDQWV
            RYHUVWDWHGWKHLULQFRPHIURPWKHPDWKSX]]OHVWDVNDQGWKHDPRXQWRIGHGXFWLRQV
            WKH\FODLPHG$OOPDWHULDOVZHUHFRGHGZLWKXQLTXHLGHQWLILHUVWKDWZHUH
            LPSHUFHSWLEOHWRSDUWLFLSDQWV\HWDOORZHGXVWRWUDFNHDFKSDUWLFLSDQW¶VWUXH
            SHUIRUPDQFHRQWKHPDWKSX]]OHVDJDLQVWWKHSHUIRUPDQFHXQGHUO\LQJWKHLU
            LQFRPHUHSRUWHGRQWKHWD[IRUPV7KHSHUFHQWDJHRISDUWLFLSDQWVZKRFKHDWHGE\
            RYHUFODLPLQJLQFRPHIRUPDWKSX]]OHVWKH\SXUSRUWHGO\VROYHGGLIIHUHG
            VLJQLILFDQWO\DFURVVFRQGLWLRQV´ 31$6SDSHUS 7KHSXEOLVKHG
            SDSHUUHLQIRUFHGWKLVUROHRIWKHWD[IRUPLQWKH³7D[UHWXUQIRUP´VHFWLRQE\
            VWDWLQJ³$OORIWKHLQVWUXFWLRQVDQGGHSHQGHQWPHDVXUHVDSSHDUHGRQRQHSDJHWR
            HQVXUHWKDWSDUWLFLSDQWVNQHZIURPWKHRXWVHWWKDWDVLJQDWXUHZRXOGEHUHTXLUHG
            7KXVDQ\GLIIHUHQFHVLQUHSRUWLQJFRXOGEHDWWULEXWHGWRWKHORFDWLRQRIWKH
            VLJQDWXUH´ S 
        
        2XUTXHVWLRQ+RZGR\RXH[SODLQWKHGLVFUHSDQF\EHWZHHQWKHYHUVLRQ
        DQGWKHSXEOLVKHGYHUVLRQRIWKLVSDSHUZLWKUHVSHFWWRWKHVRXUFHRIWKHGHSHQGHQW
        YDULDEOHRIFKHDWLQJRQVHOIUHSRUWHGSX]]OHVWDVNSHUIRUPDQFH"
        
        3OHDVHVHHP\UHVSRQVHWR4XHVWLRQD,QDGGLWLRQWKHQHZO\UHYLVHGGUDIWWKDW
        3URIHVVRU*LQRVKDUHGZLWKDOOFRDXWKRUVYLDHPDLORQKDGWKHIROORZLQJ
        SDUDJUDSKDGGHGULJKWEHIRUHWKH5HVXOWVVHFWLRQRIWKHVWXG\
        
               ³2SSRUWXQLW\WRFKHDW7KHVWXG\ZDVGHVLJQHGVXFKWKDWSDUWLFLSDQWVFRXOG
               FKHDWE\RYHUVWDWLQJWKHLU³LQFRPH´RQWKHSD\PHQWIRUP LHWKH\FRXOG
               RYHUVWDWHWKHLUSHUIRUPDQFHRQWKHPDWUL[VHDUFKWDVN DQGE\LQIODWLQJWKH
               H[SHQVHVWKH\LQFXUUHGLQRUGHUWRSDUWLFLSDWHLQWKHVWXG\$OOSDUWLFLSDQWV¶
               PDWUL[ZRUNVKHHWVZHUHLGHQWLFDOZLWKWKHH[FHSWLRQRIRQHGLJLW LQRQH
               QXPEHURIRQHPDWUL[ ZKLFKZDVXQLTXHWRHDFKLQGLYLGXDO¶VZRUNVWDWLRQ²D
               GLIIHUHQFHWKDWZDVFRPSOHWHO\LPSHUFHSWLEOHWRSDUWLFLSDQWV:KHQSDUWLFLSDQWV
               UHFHLYHGSD\PHQWDIWHUFRPSOHWLQJWKHILUVWSDUWRIWKHVWXG\WKHH[SHULPHQWHU
               JDYHWKHPDSD\PHQWIRUPDQGDVNHGHDFKSDUWLFLSDQWWRJRWRDVHFRQGURRP
&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 567 of 1282


                  WRILOOLWRXWDQGDVNWKHRWKHUH[SHULPHQWHUTXHVWLRQVLIWKH\KDGDQ\7KH
                  SD\PHQWIRUPLQFOXGHGDRQHGLJLWLGHQWLILHUDVZHOO RQHGLJLWLQWKHWRSULJKW
                  RIWKHIRUPLQWKHFRGH20%1R $VDUHVXOWDWWKHHQGRIHDFK
                  VHVVLRQZHZHUHDEOHWRFRPSDUHDFWXDOSHUIRUPDQFHRQWKHPDWUL[VHDUFKWDVN
                  DQGUHSRUWHGSHUIRUPDQFHRQWKHSD\PHQWIRUP,IWKRVHQXPEHUVGLIIHUHGIRU
                  DQLQGLYLGXDOWKDWGLIIHUHQFHUHSUHVHQWHGWKDWLQGLYLGXDO¶VOHYHORIFKHDWLQJ´
                   IURPSRI³0DNLQJ(WKLFV6DOLHQW´ 
           
           ,HQGHGXSKDYLQJDQHZIXOOSDVVRQWKHSDSHUDIWHU3URIHVVRU*LQRVHQWDQRWKHU
           UHYLVHGGUDIWWR        DQGPHRQLQGLFDWLQJWKDWLWZDVP\WXUQ1RWH
           WKHYHUVLRQIURPLVLGHQWLFDOWRZLWKUHJDUGVWRWKHGHVFULSWLRQ
           RIWKHODEVWXG\WKDWWKLVLQTXLU\LVDERXW
           
           ,UHWXUQHGP\QHZO\UHYLVHGYHUVLRQRQWR3URIHVVRU*LQRDQG            ,Q
           WKHDFFRPSDQ\LQJHPDLO,ZURWH³0RVWLPSRUWDQWO\KRZHYHUWKHUHDUHVWLOODIHZ
           WKLQJVWKDWVHHPXQFOHDU,KDYHFRPPHQWHGRQWKHP´6SHFLILFDOO\LQWKHGUDIWWKDW,
           UHWXUQHG,PDGHWKHFRPPHQWVWKDW\RXLQTXLUHDERXWLQ\RXU4XHVWLRQHVHHQGDQG
           UGVFUHHQVKRWVEHORZ
           
           3URIHVVRU*LQRUHYLVHGWKHGUDIWWKDWVDPHGD\DQGUHWXUQHGLWYLDHPDLOWRPHDQG 
                  7KDWQHZGUDIW ³0DNLQJ(WKLFV6DOLHQW´ KDGQR
           ORQJHUDQ\PHQWLRQLQJRISD\PHQWLQURRPLQGLFDWLQJWKDWWKHGHSHQGHQWPHDVXUH
           RIFKHDWLQJRQWKHSX]]OHVWDVNFDPHIURPWKHWD[IRUP

     ,QDQHPDLO\RXVHQWWR3URIHVVRU*LQRRQ0DUFKDQGLQFRPPHQWV\RXPDGHLQ
       YHUVLRQVRIWKHSDSHUDVLWZDVEHLQJGUDIWHGDQGUHYLVHG\RXTXHVWLRQHGWKHVRXUFHDQG
       WLPLQJRIWKHSX]]OHSHUIRUPDQFHGHSHQGHQWPHDVXUHRIFKHDWLQJ3DUWVDEDQGFRIWKLV
       TXHVWLRQDUHDERXW\RXUHPDLO3DUWVGDQGHDUHDERXW\RXUFRPPHQWVRQYHUVLRQVRIWKH
       SDSHUUHOHYDQWSDUWVRIWKRVHPDQXVFULSWV ZLWK\RXUFRPPHQWV DUHVKRZQLQWKUHH
       VFUHHQVKRWVEHORZWKLVTXHVWLRQ
           
       2Q0DUFKLQWKHHYHQLQJ\RXVHQWDQHPDLOWR3URIHVVRU*LQRFRS\LQJWKHRWKHU
       SDSHUFRDXWKRUVZLWKWKH6XEMHFWOLQH³PRUDOVDOLHQF\ZRUNLQJGUDIW)UDQFHVFD´
           D &DQ\RXH[SODLQWKHVHFRQGSDUWRIWKH6XEMHFWOLQH"
               
           %HIRUH,ZRUNHGRQWKHGUDIWWKDW         VKDUHGYLDHPDLOWRHYHU\RQHRQ
           3URIHVVRU*LQRUHVSRQGHGYLDHPDLOWRHYHU\RQH
                 ³7KDQN\RX          ,FDQZRUNRQWKHGUDIWDIWHU\RXGRDQGWKHQ,FDQ
                 VHQGLWWR  DQG     )UDQFHVFD´ VHH(PDLOE 

           ³)UDQFHVFD´7KLVZDVP\ZD\WRUHPLQGHYHU\RQHWKDWLWZDV3URIHVVRU*LQR¶VWXUQ
           QH[W DVSHUKHUHPDLOE 
           
           E <RXUHPDLOVWDUWVE\H[SUHVVLQJDFRQFHUQDERXWZKHQWKHFROOHFWLRQVOLSIRUVHOI
               UHSRUWLQJSHUIRUPDQFHZDVVXEPLWWHGWRWKHH[SHULPHQWHUUHODWLYHWRZKHQWKHWD[
               IRUPPDQLSXODWLRQZDVDGPLQLVWHUHG 1RWHWKDWDWWKDWSRLQW([SHULPHQWZDV
               FDOOHG³6WXG\´ +HUHLVWKHRSHQLQJRI\RXUHPDLO
               
&21),'(17,$/±'2127&23<25',675,%87(

    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 568 of 1282


        +,$OO
        DWWDFKHGLVP\ILUVWSDVV
        $IHZFRPPHQWVDVZHPRYHIRUZDUG
         ,QVWXGLHV LW VXQFOHDUZK\ZHILQGGLIIHUHQFHVLQFKHDWLQJLQWKHPDWUL[WDVN
        VLQFHWKHFROOHFWLRQVOLSLVVXSSRVHGO\VXEPLWWHGEHIRUHWKHWD[IRUPZLWKWKH
        VLJQDWXUHPDQLSXODWLRQFRXOGLWEHWKDWWKHUHZDVQRFROOHFWLRQVOLSDVSDUWLFLSDQWV
        DOVRKDGWRLQGLFDWHWKHLUSHUIRUPDQFHRQWKHWD[IRUP"FRXOG\RXFODULI\WKDWSDUW

        ,GRQ¶WVHHDTXHVWLRQSRVHGKHUH"

        F &DQ\RXWHOOXVZKDWIROORZHGWKDW0DUFKHPDLOZLWKUHVSHFWWRWKHVH
           FRQFHUQV\RXUDLVHGZKHWKHUZKDWIROORZHGZDVHQVXLQJHPDLOVDQGRUSKRQH
           FRQYHUVDWLRQVDQGRUUHYLVLRQVWRWKHPDQXVFULSW"&DQ\RXUHFDOOKRZWKH
           FRDXWKRUVDGGUHVVHGWKLVTXHVWLRQ"
        3OHDVHVHHP\UHVSRQVHVWR4XHVWLRQVEDDQGE7RP\NQRZOHGJHQRQHRIWKH
        RWKHUFRDXWKRUVFRPPHQWHGRQWKHFRQFHUQV,KDGUDLVHGRUUHYLVHGWKHPDQXVFULSW
        7KHILUVWVFUHHQVKRWEHORZLVIURPSDJHRIWKHYHUVLRQRIWKHSDSHU 0DNLQJ
        (WKLFV6DOLHQWBYV ZKLFK\RXDWWDFKHGWR\RXU0DUFKHPDLOWR
        3URIHVVRU*LQR<RXUFRPPHQWVWDUWLQJZLWK³7KLVLVRGG«´VHHPVFRQVLVWHQWZLWK
        WKHH[FHUSWIURP\RXUHPDLOWKDWZHTXRWHGDERYHZKLFKLVWKDW\RXEHOLHYHGEDVHG
        RQWKHSURFHGXUHGHVFULEHGLQWKHSDSHUWKDWWKHPHDVXUHRIFKHDWLQJRQWKHPDWUL[
        WDVNZDVWDNHQEHIRUHVXEMHFWVVDZWKHWD[IRUPZLWKWKHVLJQDWXUHER[
        
        7KHVHFRQGVFUHHQVKRWEHORZLVIURPSDJHRIWKHYHUVLRQRIWKHSDSHU
          0DNLQJ(WKLFV6DOLHQWBQP <RXTXHVWLRQHGWKHORJLFRISD\LQJ
        VXEMHFWVIRUWKHLUVHOIUHSRUWHGPDWUL[WDVNSHUIRUPDQFHLQWKHILUVWURRPDQGWKHQ
        DJDLQIRUWKHLUH[SHQVHV LIDQ\ DVUHSRUWHGRQWKHWD[IRUPLQWKHVHFRQGURRP
          7KDWFRPPHQWEHJLQVZLWK³7KLVGRHVQ¶WVHHPWRPDNHVHQVH´ :HLQWHUSUHW\RXU
        FRPPHQWDVUDLVLQJWKHTXHVWLRQRIZKHWKHUWKHRYHUUHSRUWLQJRIH[SHQVHVRQWKHWDVN
        IRUPPLJKWEHWKHRQO\OHJLWLPDWHGHSHQGHQWYDULDEOHEHFDXVHWKHRWKHU RYHU
        UHSRUWLQJRISX]]OHWDVNSHUIRUPDQFH KDGRFFXUUHGEHIRUHVXEMHFWVVDZWKHVLJQDWXUH
        ER[RQWKHWD[IRUP
        
        7KHWKLUGVFUHHQVKRWEHORZLVIURPSDJHRIWKHYHUVLRQ7KHUH\RXDVNHG
        ZKHWKHULIVXEMHFWVZHUHLQGHHGSDLGIRUWDVNSHUIRUPDQFHLQWKHILUVWURRPDQG
        WKH\FODLPHGQRH[SHQVHVLQWKHVHFRQGURRPWKH\ZRXOGKDYHKDGWRSD\WD[WRWKH
        H[SHULPHQWHULQWKHVHFRQGURRP
        
        2XUTXHVWLRQVDERXWWKHLQIRUPDWLRQRQWKHWKUHHVFUHHQVKRWVEHORZ
        
        G $UHRXUREVHUYDWLRQVDERXWDQGLQWHUSUHWDWLRQVRI\RXU0DUFKHPDLODQG
            WKHWKUHHFRPPHQWVVKRZQLQWKHVFUHHQVKRWVVXEVWDQWLYHO\FRUUHFW",IQRWSOHDVH
            FRUUHFWWKHPH[SODLQLQJDVIXOO\DV\RXFDQ
        
        <HVWKH\DUHVXEVWDQWLYHO\FRUUHFW
        

&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 569 of 1282


           e. Could you please describe, to the best of your recollection, any communications
              you had with any of the paper co-authors, or anyone else involved with the study,
              concerning the points raised in your email and in these three in-manuscript
              comments, and/or subsequent revisions resulting from your comments? In
              addition to receiving copies of any such communications or revisions that you can
              find (if, for example, they were emails), we are also interested in knowing when
              such communications occurred: (i) when Experiment 1 was being designed and
              run, (ii) when the paper was being drafted and revised, and/or (iii) after the paper
              was published.

           See my responses to Questions 4b, 5a, and 5b.


*********First screenshot (p. 11 of the 03-09 version):




**********Second screenshot (p. 13 of the 04-04 version):




CONFIDENTIAL – DO NOT COPY OR DISTRIBUTE
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 570 of 1282


           7KLUGVFUHHQVKRW SRIWKHYHUVLRQ 





                                                                                                      


     6SHFLILFFKDQJHVPDGHWRWKHPDQXVFULSWRQ$SULO:LWKUHVSHFWWRWKHFRPPHQWV
       \RXPDGHRQWKHYHUVLRQRIWKHPDQXVFULSWDVGHSLFWHGLQWKHVHFRQGDQGWKLUG
       VFUHHQVKRWVDERYHZHQRWHGWZRFKDQJHVLQWKHSURFHGXUHGHVFULSWLRQWKDWZHUHWKHQ
       PDGHLQWKHYHUVLRQRIWKHSDSHU 0DNLQJ(WKLFV6DOLHQW 7KHWZR
       VFUHHQVKRWVEHORZFDSWXUHWKHNH\SRUWLRQVZLWKFKDQJHV1RWHLQSDUWLFXODU
           x ,QWKHILUVWVFUHHQVKRWIURPSDJHRIWKHYHUVLRQWKHILQDOSKUDVH³DQG
              JLYHWKHPSD\PHQW´KDVEHHQFXWIURPWKHVHQWHQFHWKDWKDGHQGHG³«VRWKDWVKH
              FRXOGFKHFNWKHLUZRUNDQGJLYHWKHPSD\PHQW´LQWKHYHUVLRQ
           x ,QWKHVHFRQGVFUHHQVKRWWKHVHQWHQFHWKDWKDGEHJXQ³:KHQSDUWLFLSDQWV
              UHFHLYHGSD\PHQWDIWHUFRPSOHWLQJWKHILUVWSDUWRIWKHVWXG\«´DQGKDGHQGHG
              ³«DQGUHFHLYHWKHLUDGGLWLRQDOSD\PHQWV LIDQ\ ´LQWKHYHUVLRQZDV
              FKDQJHGLQWKHYHUVLRQWREHJLQ³:KHQSDUWLFLSDQWVFRPSOHWHGWKHILUVW
              SDUWRIWKHVWXG\´DQGHQG³«DQGUHFHLYHWKHLUSD\PHQWV´
           x ,QWKHSXEOLVKHGSDSHUWKH0DWHULDOVDQG0HWKRGVVHFWLRQIRU([SHULPHQW
              PHQWLRQVSDUWLFLSDQWSD\PHQWVRQO\RQFHDQGWKDWLVLQWKH³7D[UHWXUQIRUP´
              VHFWLRQ³7KHVHH[SHQVHVZHUHµFUHGLWHG¶WRWKHLUSRVWWD[HDUQLQJVIURPWKH
              SUREOHPVROYLQJWDVNWRFRPSXWHWKHLUILQDOSD\PHQW´ S 

:HKDYHWKHIROORZLQJUHTXHVWVDQGTXHVWLRQVEDVHGRQWKHVHVFUHHQVKRWV

          D 3OHDVHWHOOXVWRWKHEHVWRI\RXUUHFROOHFWLRQDERXWDQ\FRPPXQLFDWLRQV\RXKDG
              ZLWKDQ\RIWKHSDSHUFRDXWKRUVRUDQ\RQHHOVHLQYROYHGZLWK([SHULPHQW
              DERXWWKHVSHFLILFFKDQJHVZHKDYHQRWHGKHUH
          
          +DYLQJQRILUVWKDQGNQRZOHGJHRIKRZ([SHULPHQWZDVUXQ,KDGQR
          FRPPXQLFDWLRQVZLWKDQ\RIWKHSDSHUFRDXWKRUVRUDQ\RQHHOVHLQYROYHGZLWK
          ([SHULPHQWDERXWWKHVSHFLILFFKDQJHV\RXKDYHQRWHGLQ\RXUILUVWWZREXOOHWSRLQWV
          RI4XHVWLRQDERYH
          
          $QRWHDERXW\RXUWKLUGEXOOHWSRLQWUHIHUULQJWRWKH0DWHULDOVDQG0HWKRGVVHFWLRQIRU
          ([SHULPHQWRQSLQWKH31$6SDSHU7KHVWGUDIWVKDUHGE\3URIHVVRU
          *LQRZLWKDOOFRDXWKRUV³6LJQLQJRQWKHGRWWHGOLQHWXUQVPRUDOJD]HLQZDUG
          ´DOUHDG\VDLGRQSDJH³7KHVHFRVWVZHUH³FUHGLWHG´WRFRPSXWHWKHLUILQDO
          SD\PHQW´          VXEVHTXHQWO\HGLWHGWKLVVHQWHQFHIXUWKHULQWKHQGGUDIWWKDWVKH

&21),'(17,$/±'2127&23<25',675,%87(

    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 571 of 1282


        VKDUHGZLWKDOOFRDXWKRUV VHHSDJHRI³0DNLQJ(WKLFV6DOLHQW´ WR
        VD\³7KHVHFRVWVZHUH³FUHGLWHG´WRWKHLUSRVWWD[HDUQLQJVIURPWKHPDWUL[WDVN
        FRPSXWHWKHLUILQDOSD\PHQW´
        
        E 3OHDVHH[SODLQDVEHVW\RXFDQUHFDOOZK\DQGKRZWKHVSHFLILFFKDQJHV
            GHVFULEHGDERYHFDPHDERXW)RUH[DPSOHZHUHWKHVHDJUHHGWRE\DVXEVHWRIWKH
            FRDXWKRUWHDP SOHDVHVSHFLI\ZKRZDVLQYROYHG RUGLGRQHFRDXWKRUPDNHWKH
            FKDQJHV SOHDVHVSHFLI\ZKRWKDWZDV ZLWKRWKHUVQRWFRPPHQWLQJRUREMHFWLQJ
            RUGLGVRPHWKLQJHOVHKDSSHQ"
            
        6HHP\UHVSRQVHWRTXHVWLRQEDERYH,ZDVQRWSDUWRIDFRQYHUVDWLRQLQZKLFKP\
        FRDXWKRUVRUDVXEVHWRIWKHPDJUHHGWRWKRVHFKDQJHVRULQZKLFKRWKHUFRDXWKRUV
        FRPPHQWHGRUREMHFWHG,DPQRWDZDUHRIDQ\VXFKFRPPXQLFDWLRQVKDYLQJWDNHQ
        SODFH
            
        F +DYLQJVHHQWKHVWXG\PDWHULDOVZHJRWIURP3URIHVVRU*LQR¶VFRPSXWHUDQG
            UHFDOOLQJ\RXUFRPPHQWVRQYHUVLRQVRIWKHPDQXVFULSWDVZHOODVDQ\
            FRPPXQLFDWLRQV\RXKDGZLWKDQ\FRDXWKRUV RURWKHUV DERXWWKHPGR\RX
            EHOLHYHWKDWWKHVHQWHQFHVZHKDYHQRWHGLQWKHVFUHHQVKRWVEHORZIURPWKH
            YHUVLRQRIWKHSDSHUDFFXUDWHO\GHVFULEHWKHSURFHGXUHRI([SHULPHQW"3OHDVH
            H[SODLQ\RXUUHSO\DVIXOO\DVSRVVLEOH

        6HHP\UHVSRQVHVWR\RXU4XHVWLRQVDERYH
        
        *LYHQKRZP\FRPPHQWVFRQFHUQVDERXW([SHULPHQW¶VSURFHGXUHZHUHKDQGOHGLQ
        DQG,KDYHEHHQXQGHUWKHLPSUHVVLRQWKDWWKHVHQWHQFHV\RXKDYHQRWHGLQ
        WKHVFUHHQVKRWVEHORZPRUHRUOHVVDFFXUDWHO\GHVFULEHWKHSURFHGXUHRI([SHULPHQW
        

         )LUVWVFUHHQVKRW SRIWKHYHUVLRQ 





                                                                                             
         6HFRQGVFUHHQVKRW SRIWKHYHUVLRQ 


&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 572 of 1282




                                                                                                        
          

     6WDWHPHQWDERXWWKHSXUSRVHRIWKHFROOHFWLRQVOLS,QWKHYHUVLRQRIWKH
       PDQXVFULSW QP0DNLQJ(WKLFV6DOLHQW \RXDGGHGDQHZVHQWHQFHLQWKHODVW
       SDUWRIWKHSDUDJUDSKHQWLWOHG³3UREOHPVROYLQJWDVN´RQSDJHRIWKDWPDQXVFULSW
       ³1RWHWKHVROHSXUSRVHRIWKHFROOHFWLRQVOLSZDVIRUWKHSDUWLFLSDQWVWROHDUQKRZPDQ\
       PDWUL[HVLQWRWDOWKH\KDYHVROYHGFRUUHFWO\´ $VFUHHQVKRWRIWKDWSDUWRIWKHSDUDJUDSK
       DSSHDUVEHORZ 
           D &DQ\RXUHFDOOZK\\RXLQVHUWHGWKHQHZVHQWHQFHLQWKDWSDUDJUDSK ZKLFK
               UHPDLQHGDOPRVWYHUEDWLPLQWKHSXEOLVKHGSDSHU SDJH "
               
           +DYLQJQRGLUHFWNQRZOHGJHRIWKHH[SHULPHQWDOGHVLJQRUKRZLWZDVFRQGXFWHGDQG
           DIWHUKDYLQJH[SUHVVHGFRQFHUQVDERXWSD\PHQWWDNLQJSODFHLQURRPEDVHGRQWKH
           FROOHFWLRQVOLS,IHOWWKHSDSHUQHHGHGWRFODULI\ZKDWWKHFROOHFWLRQVOLSZDVIRU
           7KHUHIRUH,VXJJHVWHGDGGLQJWKLVVHQWHQFHZKLFKGHVFULEHGZKDW,DVVXPHGZDVLWV
           SXUSRVHDQGZDVORRNLQJIRU           DQG3URIHVVRUV*LQRDQG             WRFRQILUP
           P\DVVXPSWLRQ

              E &DQ\RXUHFDOOZK\\RXLQVHUWHGDFRPPHQWDQGGHOHWHGWKHSKUDVH³VRWKDWVKH
                  FRXOGFKHFNWKHLUZRUN´LQWKDWVDPHSDUDJUDSK"&DQ\RXH[SODLQZKDW\RX
                  PHDQWE\\RXUFRPPHQWH[SODLQLQJWKDWGHOHWLRQ"
              
              ,WZDVQRWFOHDUWRPHDQG,VXVSHFWHGWKDWZRXOGEHWKHFDVHIRURWKHUUHDGHUVWRR
              ZK\SDUWLFLSDQWVZHUHWROGWR³VXEPLWERWKWKHWHVWVKHHWDQGWKHFROOHFWLRQVOLSWRWKH
              H[SHULPHQWHUVRWKDWVKHFRXOGFKHFNWKHLUZRUN´>LQURRP@0RVWLPSRUWDQWO\DIWHU
              P\FRQFHUQV WKRVHWKDW,KDGH[SUHVVHGRQDQG ZHUH
              UHVROYHGE\PDQXVFULSWLWHUDWLRQV,IHOWWKDWGHWDLOZDVFRQIXVLQJ LHVRPHUHDGHUV
              FRXOGZURQJIXOO\DVVXPHWKDWWKHH[SHULPHQWHULQURRPFKHFNHGWKHSHUIRUPDQFHWR
              SD\LQGLYLGXDOV DQGLUUHOHYDQW LHLWFRXOGQRWKDYHSRVVLEO\DIIHFWHGWKH,9¶VHIIHFW
              RQWKH'9µVHOIUHSRUWHGSHUIRUPDQFHRQWKHWD[IRUPLQURRP¶ 






&21),'(17,$/±'2127&23<25',675,%87(

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 573 of 1282
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 574 of 1282



     $WDQ\WLPHGXULQJRUDIWHU([SHULPHQWZDVEHLQJGRQHZULWWHQXSRUSXEOLVKHGGLG
        \RXKDYHDQ\FRQFHUQVDERXWWKHVWXG\SURFHGXUHWKHZD\WKHSURFHGXUHZDVGHVFULEHG
        RUWKHLQWHJULW\RIWKHGDWDIRUWKLVVWXG\",IVRSOHDVHWHOOXVDERXWWKRVHFRQFHUQVDQG
        KRZWKH\DURVH
    
    6HHP\GHWDLOHGUHVSRQVHVWR\RXUSUHYLRXVTXHVWLRQV
    
    ,QVXP,KDGFRQFHUQVDERXWWKHVWXG\SURFHGXUHWKHZD\WKHSURFHGXUHZDVGHVFULEHGLQ
    SDUWLFXODUDWWKUHHSRLQWVLQWLPH
            x LQP\HPDLODQGUHODWHGFRPPHQWVLQP\GUDIWYHUVLRQ DVP\
                UHDFWLRQWRWKHGUDIWWKDW           KDGVKDUHGZLWKDOOFRDXWKRUV 
            x LQP\HPDLODQGUHODWHGFRPPHQWVLQP\GUDIWYHUVLRQ DVP\
                UHDFWLRQWRWKHGUDIWWKDW3URIHVVRU*LQRKDGVKDUHGZLWK             DQG
                PH 
            x P\RXWOLQHGH[FKDQJHZLWK                      LQ)DOODERXWWKHSURFHGXUHIRU
                WKHUHSOLFDWLRQRI([SHULPHQWIURPWKH31$6SDSHU DVSDUWRIWKH
                31$6SDSHUSURMHFW 
    
    ,KDYHQRWKDGDQ\FRQFHUQVDERXWWKHLQWHJULW\RIWKHGDWD

     WKDQN\RXYHU\PXFKIRUDQVZHULQJRXUTXHVWLRQV:HGHHSO\DSSUHFLDWH\RXUKHOSLQWKLV
SURFHVV

                           




&21),'(17,$/±'2127&23<25',675,%87(

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 575 of 1282


                                         7DEOH
    6WHSE\VWHSSURFHGXUHIRUWKHH[SHULPHQWDVGHVFULEHGLQWKH81&,5%VXEPLVVLRQ


3URFHGXUH
    3DUWLFLSDQWVDUHZHOFRPHGWRWKHODEDVNHGWKHUHDGWKHFRQVHQWIRUPIRUWKHVWXG\DQG
      VLJQLW
    3DUWLFLSDQWVFRPSOHWHWKHPDWUL[WDVNIRUPLQXWHV
          D ,QVWUXFWLRQV³<RXZLOOILUVWFRPSOHWHDSUREOHPVROYLQJWDVN7KLVWDVNVKRXOG
               WDNHDERXWPLQXWHV<RXZLOOEHZRUNLQJXQGHUWLPHSUHVVXUH7KH
               H[SHULPHQWHUZLOONHHSWUDFNRIWLPHDQGZLOOOHW\RXNQRZZKHQWLPHLVXS´
          E 7KH\DUHSDLGDVKRZXSIHHSOXVDERQXVGHSHQGLQJRQWKHLUSHUIRUPDQFHRQ
               WKHWDVN
    3DUWLFLSDQWVUHFHLYHSD\PHQWIRUWKHILUVWWDVN SHUFRUUHFWPDWUL[PD[ 
    3DUWLFLSDQWVZLOOEHWROGWKDWWKH\ZLOOKDYHWRJRWRDVHFRQGURRPWRILOORXWDSD\PHQW
      IRUP
          D 7KH\DUHWROGWKDWWKH\ZLOOUHFHLYHKLJKHUSD\PHQWWKDQLQDUHJXODUVWXG\
               EHFDXVHWKH\ZLOOEHWD[HGRQWKHLUHDUQLQJV
    ,QWKHVHFRQGURRP3DUWLFLSDQWVZLOOKDYHWRILOORXWDIRUPLQZKLFKWKH\QHHGWRUHSRUW
      WKHLULQFRPH SHUIRUPDQFHRQWKHPDWUL[WDVN DQGWKHQZHZLOODVNWKHPWRLQGLFDWHKRZ
      PDQ\PLQXWHVLWWRRNWKHPWRWUDYHOWRWKHODEDQGWKHLUHVWLPDWHVFRVWIRUWKHLUFRPPXWH
      :HZLOO³GHGXFW´WKRVHFRVWVWRFRPSXWHWKHLUILQDOSD\PHQW
          D 5HSRUWLQFRPH WD[LHIRUHYHU\GROODUHDUQHG 
          E 'HGXFWLRQV
                    L 7LPHWRWUDYHOWRWKHODESHUPLQXWH 0D[KRXUV 
                   LL &RVWRIFRPPXWH 0D[ 
                  LLL ,QVWUXFWLRQV³:HZRXOGOLNHWRFRPSHQVDWHSDUWLFLSDQWVIRUH[WUD
                       H[SHQVHVWKH\KDYHLQFXUUHGLQRUGHUWRSDUWLFLSDWHLQWKHVHVVLRQ´
    )LQDOSD\PHQW
          D 7KHPD[LPXPSD\PHQWSDUWLFLSDQWVFDQPDNHLV SD\PHQWUDQJH 
                    L VKRZXSIHH
                   LL RQPDWUL[WDVNPLQXVDWD[RQLQFRPH LH 
                  LLL DVGHGXFWLRQVIRUWUDYHOWLPH
                  LY DVGHGXFWLRQIRUFRVWRIFRPPXWH

                             




&21),'(17,$/±'2127&23<25',675,%87(

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 576 of 1282
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 577 of 1282



                                          7DEOH
             0DWKSX]]OHVLQVWUXFWLRQVDQG&ROOHFWLRQ6OLSXVHGLQ([SHULPHQW

:HOFRPHWRRXUVWXG\

7KLVVWXG\LVGHVLJQHGWRWHVWSHUIRUPDQFHRQPDWKWDVNVXQGHUWLPHSUHVVXUH
7KHLQVWUXFWLRQVWRWKHWDVNDUHSURYLGHGEHORZ

                                                                            Example

,QWKHER[HVRQWKH³0DWUL[6KHHW´\RXUJRDOLVWRILQG                     
QXPEHUVVRWKDWWKHLUVXPHTXDO                                       
                                                                              
&LUFOHWKRVHQXPEHUVDQGPDUNWKHµ)RXQG,W¶ER[                         
6HHH[DPSOH
)RUHDFKSDLU\RX¶OOILQG\RXZLOOUHFHLYH

                                                                        Found it        ;
:KHQILQLVKHG
                x )LOORXWWKHDWWDFKHGFROOHFWLRQVOLS
                x 6XEPLWWKHFROOHFWLRQVOLSWRWKHH[SHULPHQWHU,QRUGHUWRHQDEOHWKH
                    H[SHULPHQWHUWRTXLFNO\FDOFXODWH\RXUSD\PHQWSOHDVHWKURZ\RXUPDWUL[
                    VKHHWLQWRWKHUHF\FOLQJELQDQGKDQGLQ21/<\RXUFROOHFWLRQVOLS:HDUH
                    QRWLQWHUHVWHGLQZKLFKVSHFLILFPDWULFHV\RXVROYHGFRUUHFWO\EXWRQO\LQKRZ
                    PDQ\\RXPDQDJHGWRVROYHZLWKLQWKHDOORWWHGWLPH
                x 7KHH[SHULPHQWHUZLOOJLYH\RX\RXUSD\PHQWDQGDVN\RXWRILOORXWD
                    SD\PHQWIRUP



                                           &ROOHFWLRQ6OLS
                                                   
    $UH\RXDVWXGHQW" <             1

     0DMRU"BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    $FDGHPLF<HDU"BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

     *HQGHU"0)

 $JH"BBBBBBBBBB

,FRUUHFWO\VROYHGBBBBBBB%R[HVZKLFKDPRXQWWRBBBBBBB SHU%R[                              




&21),'(17,$/±'2127&23<25',675,%87(

    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 578 of 1282


                                     7DEOH
              6WXG\GHVFULSWLRQRQSDJHRIWKHSXEOLVKHGSDSHU
                                         




                                                                  


&21),'(17,$/±'2127&23<25',675,%87(

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 579 of 1282




                                   Exhibit 15
           Maidstone Consulting Group Forensic Report for Allegation 4a
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 580 of 1282
                                               
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 581 of 1282




I. Data Sources.
      ǡ
  Ǥ  
Ǥ

ͲͷǤͳͶǤʹͲʹʹ
     o ͳʹͲͳͲǦͲ͹Ǧͳ͵Ǥ
     o Ͷ Ǥ
              ǡ
            ǣȀȀǤȀʹȀǡ“ "
     
       ǣ̳
         o Signing on the dotted line turns moral gaze inward 2011-02-23.docx, herein “2011-
              02-23.docx”
         o Making Ethics Salient 2011-03-08.docx, herein “ʹͲͳͳǦͲ͵ǦͲͺǤ ”
         o Making Ethics Salient 2011-03-09_vs2.docx, herein “ʹͲͳͳǦͲ͵ǦͲͻ̴ʹǤ ”
         o Making Ethics Salient 2011-03-15.docx, herein “ʹͲͳͳǦͲ͵ǦͳͷǤ ”
         o  ʹͲͳͳǦͲ͵Ǧͳ͹Ǥ 
         o  ʹͲͳͳǦͲͶǦͲͳǤ 
         o  ʹͲͳͳǦͲͶǦͲʹǤ 
         o Making Ethics Salient 2011-04-04_2nm.docx, herein “ʹͲͳͳǦͲͶǦͲͶ ʹǤ ”
         o Making Ethics Salient 2011-04-05.docx, herein “ʹͲͳͳǦͲͶǦͲͷǤ ”
         o  ʹͲͳͳǦͲͶǦͲ͸Ǥ 
         o  ʹͲͳͳǦͲͶǦͳͲǤǤ 
         o  ʹͲͳͳǦͲͶǦͳͲǤ 
         o  ʹͲͳͳǦͲͶǦͳͳǤ 
         o  ʹͲͳͳǦͲͶǦʹ͸Ǥ 

        ǣ̳̳
            o Making Ethics Salient 2011-05-08.docx, herein “ʹͲͳͳǦͲͷǦͲͺǤ ”

                Where: the non-grey text files are herein collectively referred to as ǲDraft Manuscripts”2

        ǣǦȋͳͲǦͳͳʹ͹Ȍ̳
          o Taxes and Over-Reporting Behavioral Study IRB Application CLEAN.docx,
            apparently signed 06.25.2010 and herein referred to as the “ʹͲͳͲ   ”
          o Instructions.docx3, herein part of the ǲʹͲͳͲ  ȋȌǳ
            Ǥ
          o matrix stimuli new.docx, herein part of the ǲʹͲͳͲ  ȋȌǳ
            Ǥ
      


  7KHILOHVKLJKOLJKWHG³JUH\´DUHYHUVLRQVRIWKHSDSHUWKDWVKRZHGQRGLIIHUHQFHVH[FHSWW\SRVIL[LQJLQ6WXG\7KH\ZHUH
UHPRYHGIURPWKHFXUUHQWDQDO\VLVRI$OOHJDWLRQD

  7KHUHDUHILOHVWKDWDUHFROOHFWLYHO\UHIHUUHGWRDVWKH³-XO\H[SHULPHQWDOGHVFULSWLRQ V ´ILOHVHULHVWKHWZRILOHVLQ
WKHFLWHGIROGHUDQGDUGDWWDFKHGWRDQHPDLOGHVFULEHGLQWKHQH[WVHFWLRQ




                                                                                                                                   

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 582 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 583 of 1282




     
     Ǥ  
    Ǥ   
    Ǥ SLIDE 4  
     ȋ MCG0022_APPENDIX_Allegation 4a.pptx, slides 10-71 
         ȌǤ
ʹǤ  2011 Draft Manuscripts  
   ͳ    
   ͳ ǡǲʹǳ   ȋ  ǲ
   ͳǳ ͳʹͲͳʹ
   ȋSLIDE 2ȌǤ
͵Ǥ   
     ȋ2010 June IRB
   ApplicationȌ     ǡ  
    ȋ2010 July experimental
   description(s)Ȍ   
     2012 PNAS PaperǤ
        ȋǤǤǡ
    2011 Draft Manuscripts 
     ȌǤ  
      ǡ
        ǡ 
   Ǥ   
    Figure 1Ǥ




       Figure 1.    .




                                                                                                       
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 584 of 1282
                                      
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 585 of 1282




     ȌǤ  
       June 2010IRB application 
    ȋFigure 3. SLIDE 5Ȍ   
     Ǥ




      Figure 3.  2011 Draft Manuscripts
      Ǥ
     ǡJuly 2010experimental description(s)  Ǥ ǯ
       ǡ  Ȁ
    ȋǡFigure 4. SLIDE 6Ȍ 
       Ǥ




      Figure 4. July 2010 experimental description(s) 
         Ǥ




                                                                                                     

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 586 of 1282
                                      
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 587 of 1282




          Figure 6.    
             
          2012 PNAS Paper.

      Table 1    
         Ǥ

    Payment and reporting on payment (SLIDES 13-26)Ǥ 
      
    2011 Draft ManuscriptsǤ
     2010
    JuneIRB applicationǤǡ 2012 PNAS paper
    2010 JuneIRB application.  
      i.
      ȋ 
    Ȍǡii. ȋǤ 
     Ȍǡiii. 
    ǡ   ȋǤǤǡ
    ȌǢFigure 7.
    Table 2   
     Ǥ
       ǡ  ȋȌ
    ǡ  
          
      Ǥǡ 
     ǡ 
    Ǥ




        Figure 7.    
        2012 PNAS Paper.




                                                                                                    

                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 588 of 1282




       
    Ǥ Notification of Tax (SLIDES 27-30).   
       2010 June
       IRB application   July 2010experimental description(s) 2012
       PNAS PaperǤ  
       2011 Draft ManuscriptsǤ ǡ July 2010experimental description(s)
       ǲ Ǥ ǳ  Ǥ ǯ  
        Ǥ  
          ͳͳǡʹͲͳͲǤ 
       ȋ ͳ͵ǡʹͲͳͲȌǤ   
        Ǥ

    ǡ ǣ
    Number of participants who had to pay back the experimenters. 
     ǡ ͳǡ  
    ǡ ʹǡ 
    Ǥ    
       Ǥ
    MCG0022_Allegation 4a_Data_analysis.xlsx
      Ǥ  ǡ ǣ
    α ȋδ ǡͲǡͳȌǡǮͳǯǡ
      ǡ  OSFJul-16Ǥ 
    OSFǡ20 participants 
     Ǥ ǡ22 participants 
     16-JulǤ
    Were results computed from the matrices solved reported on the collection slips or tax
    forms? MCG0022_APPENDIX_Allegation 4a.pptxslides 1-9 
      Ǧ
    Ǥ     ǡ
      ȋǡ ǡ 
     ȌǤ
    
 ǡ  
Ǥ  ǡȋ  
Ȍ  Ǥ  ǡ  
 Ǧ 
 ȋMCG0022_Forensic
Review_Allegation_UPDATES 4a.pptx ʹʹǡ2011-03-15.docx 2011-04-
04_2nm.docxȌǤ  ǡ   2011 Draft
Manuscripts Ǧǡ              
 ǡ Ǥȋ
MCG0022_APPENDIX_Allegation 4a.pptx ʹ͵ʹͶǡ2011-04-04_2nm.docx 
2011-04-05.docxȌǤ   
Ǥ .ǡ   



                                                                                                      

                                         
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 589 of 1282




  ǡ 
Ǥ
 Ǥ
Ǥ ǡ    ǡ 
    ǦǤ 
  ǡ  
 Ǥǡ  
 
  Ǥ ǡǡ Ǧ
 ȋǲ5H5HSOLFDWLQJVLJQLQJILUVWSGIǳȌǤ                     




                                                                                                   

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 590 of 1282
                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 591 of 1282




QPGRF[              Problem-solving task… In previous studies (Gino, Ayal, & Ariely,
                                   2009; Mazar et al., 2008), on average people were able to find 7 of
                                   the 20 pairs in the given amount of time. Once the five minutes
                                   were over, the experimenter asked participants to count the
                                   number of correctly solved matrices, note that number on the
                                   collection slip, and then submit both the test sheet and the
                                   collection slip to the experimenter. Neither of the two forms
                                   (matrix test sheet and collection slip) had any information on it
                                   that could identify the participants so that she could check their
                                   work. Note, the sole purpose of the collection slip was for the
                                   participants to learn how many matrixes in total they have solved
                                   correctly.
                                       x   6XEPLWFROOHFWLRQVOLS$1'WHVWLQJVKHHW
                                       x     GHWDLORQH[SHULPHQWHUV¶UROHLQFKHFNLQJZRUN
                                       x     GHWDLORQSXUSRVHRIFROOHFWLRQVOLS
                       
31$6SDSHU                        2QFHWKHPLQZHUHRYHUWKHH[SHULPHQWHUDVNHGSDUWLFLSDQWVWR
                                   FRXQWWKHQXPEHURIFRUUHFWO\VROYHGSX]]OHVQRWHWKDWQXPEHURQ
                                   WKHFROOHFWLRQVOLSDQGWKHQVXEPLWERWKWKHWHVWVKHHWDQGWKH
                                   FROOHFWLRQVOLSWRWKHH[SHULPHQWHU S 


                          




                                                                                                        

                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 592 of 1282


7DEOH'HVFULSWLRQRIWKHUHVHDUFKUHFRUGUHJDUGLQJSD\PHQWDQGUHSRUWLQJRQSD\PHQW

      Version          Last Saved by                 Payment and reporting on payment
                                         
2011-02-23.docx       Francesca Gino
                                         
2011-03-08.docx              

2011-03-09_vs2.docx                    Problem-solving task. For this task, participants received a
                                         worksheet with 20 matrices, each consisting of 12 three-digit
                                         numbers (e.g., 4.78; based on Mazar, Amir, & Ariely, 2008) and a
                                         collection slip on which participants later reported their
                                         performance in this part of the study. Participants were told that
                                         they would have five minutes to find two numbers in each matrix
                                         that summed to 10. For each pair of numbers correctly identified,
                                         they would receive $1, for a maximum payment of $20. In previous
                                         studies (Gino, Ayal, & Ariely, 2009; Mazar et al., 2008), on average
                                         people were able to find 7 of the 20 pairs in the given amount of
                                         time. Once the five minutes were over, the experimenter asked
                                         participants to fill out the collection slip, and then submit the
                                         collection slip to the experimenter. The instructions on the
                                         collection slip read: “In order to enable the experimenter to
                                         quickly calculate your payment, please throw your matrix sheet
                                         into the recycling bin and hand in ONLY your collection slip. We are
                                         not interested in which specific matrices you solved correctly, but
                                         only in how many you managed to solve within the allotted time.
                                         The experimenter will give you your payment and ask you to fill
                                         out a payment form.”
                                         x   Paid by experimenter 1
                                              x Tax form with experimenter 1?

2011-03-15.docx       Francesca Gino   Problem-solving task. For this task, participants received a
                                         worksheet with 20 matrices, each consisting of 12 three-digit
                                         numbers (e.g., 4.78; based on Mazar et al., 2008) and a collection
                                         slip on which participants later reported their performance in this
                                         part of the study. Participants were told that they would have five
                                         minutes to find two numbers in each matrix that summed to 10.
                                         For each pair of numbers correctly identified, they would receive
                                         $1, for a maximum payment of $20. In previous studies (Gino, Ayal,
                                         & Ariely, 2009; Mazar et al., 2008), on average people were able to
                                         find 7 of the 20 pairs in the given amount of time. Once the five
                                         minutes were over, the experimenter asked participants to fill out
                                         the collection slip, and then submit both the test sheet and the
                                         collection slip to the experimenter so that she could check their
                                         work and give them payment.




                                                                                                            

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 593 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 594 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 595 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 596 of 1282



                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                   ([KLELW
           0DLGVWRQH&RQVXOWLQJ*URXS)RUHQVLF5HSRUWIRU$OOHJDWLRQE
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 597 of 1282
                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 598 of 1282




I. Data Sources.
 Ǥ

   ͲͷǤͳͶǤʹͲʹʹǣ
   o Tax Study STUDY 1 2010-07-13.xlsx
   o Allegation 4b OSF data.xlsx
           ǡ
         ǣȀȀǤȀʹȀǡ“ "
   o study1 data.savȋͶȌ
    ͲͷǤʹ͸ǤʹͲʹʹǣ
    Additional Files From Respondent's hard driveǣ
    o study1 data.sav
    o syntax study 1.sps
    Raw files from              records:
    o 
         1.eml
         17.eml
         3.eml
         Tax study design 2010-06-04.docx
         TaxStudyForm - STUDY 2 (1).docx
         matrix stimuli new - STUDY
         TaxStudyForm - STUDY 2.docx
    o Taxstudy07132010.xlsx
    o Taxstudy07162010.xlsx
    o Taxstudy07272010.xlsx
        Where: Taxstudy07132010.xlsxǡ“ͳ͵Ǧ ̶ǡ Taxstudy07162010.xlsxǡ
        “ͳ͸Ǧ ̶ǡ Taxstudy07272010.xlsxǡ“ʹ͹Ǧ ̶ǡ
          ǲ Ǥǳ

    ͲͺǤͲ͸ǤʹͲʹʹǣ
    Selected email exchanges retrieved from the Respondent’s inbox, as per the Client’s description of
    provenience.
    ͳǤ ǤȀʹͲͳͳǦͲ͹Ǧʹͺȋ͵͹Ȍǣ
          Ǥ   Ǥ
         Ǥ  ̴ȋ ȌǤ
    ʹǤ ǤȀʹͲͳͳǦͲͺǦͲͳȋ͵ͻȌǣ
          Ǥ  ʹǤ
         Ǥ  ̴ʹǤ
    ͵Ǥ ǤȀʹͲͳͺǦͲͺǦͲ͹ȋ͸ʹȌǣ
        Ǥ    Ǥ
       Ǥ   ̴ Ǥ




                                                                                                     

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 599 of 1282
                                               
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 600 of 1282




     ʹǤ   1.   Ǥ
        MCG_regrouping. 
             OSF Dataȋ Ȍ
             13-JulȋȌ
             16-JulȋȌ
             27-Julȋ Ȍ
     ͵Ǥ MCG_regroupingǡ OSFExcel files’
             ʹǡ
           ͳǣͳ  
        ǤParticipant numberǡconditionǡmajorǡage  Ǧ
          Ǥ  ǣ
           conditionǡ
           major Ǣ
          participant number 
             Ǥ
          ǡ   OSF dataExcel filesǤ
          ǦǦ  Ǧ  ǡ
                 REDǤ 
             ǮǯȀǮǯʹExcel filesǡ
             ͲOSF dataǤ  ǮǯȀǮǯ
             ͳǤ  
             ǡ ȀǦ 
             ȀǤ ǡǮǯ
             ʹ Excel fileǡͲ
             OSF dataǤ Ǧ GREEN BOLD TEXT
             All entries aligned across set ǤRED BOLD
             TEXT  All entries aligned across setǤ
         OSF dataExcel files
             OSF dataExcel filesǡ
               Data Excluded and AddedǤ
     ͶǤ ǡ   OSF dataExcel filesǡAll
        entries aligned across setsǤ ǡǡǮǫǯǡ
        ͳ  Excel files
        OSF dataǤRED BOLD TEXT Ǥ 
        ǡ  
           ͳǤ
     ͷǤ 27-Julȋwere not16-JulȌ
         ͳOSF dataǤ ȋ
        12.emlǡ13.emlǡ14.emlǡ15.emlǡ4.emlǡ16.emlǡ5.emlǡ17.eml͵Ȍ
         ʹȀʹǤǡ13-Juldata
        OSF data16-Jul



  ǡǮparticipant numberǯ ǡOSF Data  27-Jul
  Ͷͻͳ͵OSF data ȋǤǤǡ
ͳǡ͵ǡͶȌ27-Jul dataǤ

 SGIYHUVLRQVRIWKHVHHPDLOILOHVZHUHSURYLGHGWR0&*E\WKHFOLHQW-XO\




                                                                                                                       

                                          
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 601 of 1282




        dataǤ  ǡ16-Jul data ǡ 
         OSF dataǡͳǤ
    ͸Ǥ OSF Data ǡǦǡǡ
        ǡ ǡ 16-Juldata
        ǡǦSummary Analysis DataǤ  ǣ
          ǡ   ǡ
             ͓  ǡǡ͓ǡ 
              16-JuldataSummary Analysis Dataǡ
            ͲεͲǡͳǡ
             α ȋǲǳεͲǡͳǡͲȌ
              ͳʹǡ 
             16-JuldataSummary Analysis DataǤ
    ͹Ǥ    
          OSF data
        16-JulǡAll entries aligned across sets ǡ ǯ 
        Summary Analysis Data  Ǥ Excel
        filesOSF data ǤͲαǤ 
         ȋȌ ȋȌǤ ǡ
         ǦSummary Analysis DataǤ
    ͺǤ  Excel filesOSF data
        ǤǤSummary
        Analysis Dataǡ ǦǤ  ǡ  
           ǡ Ǥ Ǧǡ
          
           ͳǤ
    ͻǤ ͳȋstudy1 data.savȌǡfrom Study
        1 Data.sav.  OSF data
         ȋǤǤǡOSF data  
        ʹͲͳʹǡSPSS results – provided scriptSPSS results –
        additional sheetsǡȌǤ
    ͳͲǤ 16-Jul dataǡ   Ψ
          OSF dataǡ ǡǤ
        16-Jul data OSF Data
         Ǧ  ǡ16-Jul for SPSSǤ
    ͳͳǤ syntax Study 1.sps   OSF
        data 16-Jul dataǤSPSS results provided
        scriptǤ
    ͳʹǤ      Ǥ
          ǡǣ
                 Analyze -> General linear models -> Univariateǡǲǳ
                 ǲ ǳ Dependent Variable ǲ ǳ Fixed
                 FactorǤǮǯǡEstimates of effect size  Ǥ
                  continueOK   Ǥ
    ͳ͵Ǥ  SPSS results -
        additionalǤ




                                                                                                     

                                           
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 602 of 1282




      ͳͶǤ    Summary
          Analysis Statistics Ǥ

       
IV. Observations and Summary.
    ȋOSF
dataȌ  Ǥ
 ǡ ȋǤǤǡ27-Jul dataǡ 
ȌȋǤǤǡ13-Jul dataȌǤ16-Jul
data  ͳȀͳ
ȋǤǤǡ 13-Jul27-Jul dataȌ
ǲ ǳoriginal data  OSF dataǤ
    
i. Comparing the OSF data (published) to the 16-Jul data (original) characteristics:
      o difference (n) of 316-Jul dataOSF dataȋǤǤǡ
         ͻͺͳͲͳǡ Ȍ
      o   ͻͺͻͻall Excel filesOSF dataǤ
      o   ͳ͵Ͷͻ OSF dataǢ
            ͶͻOSF dataȋ 
              Ȍ
            ͳ͵OSF dataExcel files
      o   ͳͲͲͳͲͳOSF dataȋ 
          Ȍ
      o   ͹ǡͳʹǡͷͳǡͷʹǡ͸ͶǡͻͳOSF data  Excel files
         Ǥ
      o 61% of all reported response entries    16-
        Jul dataOSF data, have been modifiedOSF data 
        .
                     9% of the modified reported responses above   
                          OSF dataǤ ǡ
                        Ǯ  ǯͳʹͻȀͳ͵ͲAll entries aligned
                        across setsǡ ͳ͵ǡʹǤ͸ǡ  ͳͲǤͶǡ
                        OSF dataͳʹͻǡͻǤ͵13-Jul dataǤ
                     52% of reported responses contained entries that were modified
                         ǡCell U360All entries aligned across
                        setsǤ  ǡ 
                        ii.Ǥ

ii.   Comparing the OSF data (published) to the 16-Jul data (original), one by one
      comparison of results:
      ȋOSFJul-16Ȍ
          Ǧͳ͸ 
        ǡMCG0022_Allegation 4b_allData_analysis.xlsxǡSummary Analysis Data



                                                                                                     

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 603 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 604 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 605 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 606 of 1282
                                            
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 607 of 1282





       Table 1. Summary Analysis Statistics ǡ Fʹǲ  ǳ

                                                                 ǒ2                 CheatedOnMatrixTax
                               N of participants         value           p         0        1        2
             OSF data                101                 12.58         0.002      64%      37%      79%
             July 16 data             98                 3.57          0.168      41%      48%      64%

         
       OSF data   
          ǡ 
       ȋ ͳǡGREEN Ȍ16-Jul dataȋ ͳǡBLUEȌ
        Ǧ  Ǥǡ
        OSF data16-Jul dataͲͳǢ
        ǤǡoverallǦ ȋǤǤǡ
       ͳδͲandʹOSF dataͲδͳδʹ
       16-Jul dataȌǤ  ǡʹͲͳʹOSF data  
        ǦǦǦ ȋͳǡ͵͹ΨȌǦǦ
       ǦȋʹȌǦȋͲȌ ȋ͹ͻ͸ͶΨǡ
        Ȍǡ16-Jul dataǦ 
       ȋͲȌ  ȋͶͳΨȌǦǦǦ
       ȋͳǡͶͺΨȌǦǦǦȋʹǡ͸ͶΨȌ Ǥ
        ǡ    
       16-Jul data OSF data.
         OSF data16-Jul data 
          
       Ǥ ǡ ǡ
           ǡ
         16-Jul data OSF dataǡȋSummary
       Analysis Statistic sheetǮǯǮ ǯ ǡ
        ǤȌ
             
    b. Number of math puzzles over reported, Figure 2 and Table 2.
             
        Ǯǯ
       ǲǳǲ
       ǳ ǲǳ
        OSF data16-Jul dataǤǡ
        Ǥ
             

             




                                                                                                                 

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 608 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 609 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 610 of 1282
                                           
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 611 of 1282





     Summary of the Study 1/Experiment 1 OSF data (published) to the 16-Jul data (original)
     data set comparisons:
      OSF data
      ͳǢ
     Ǧ Ǧ ǲǳ
     ȋʹȌȋͲȌǤ
       x ǲǳǲ  ǳ
           ȋǤǤǡ 
           Ǥ
       x   Ȍ   
         ȌȋȌ   Ǥ
     
     ʹȀʹ Ǥ ǡ 27-Jul data
     OSF dataȋǡAll entries aligned across setsǡ  Ǧ 
      ȌǤ Ȁ ȋ 
     Approach 5.Ȍ
     ʹȀʹǢ   ȋ 
     ǣǣȀȀǤȀʹǦǲʹʹͲͳͲǦͲ͹Ǧʹ͹ǤǳǤ ǡ
        
       ͳȋǤǤǡ   ǡ Ǥǡ
     ll entries aligned across setsǡSUBSET of 27-Jul data Figure
     ȌǤ







                                                                                                    

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 612 of 1282



                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                  ([KLELW
           0DLGVWRQH&RQVXOWLQJ*URXS)RUHQVLF5HSRUWIRU$OOHJDWLRQ
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 613 of 1282
                                     
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 614 of 1282




           Ǧ data_Experiment_4.savǢ   ǡ “OSF
             data"

    ʹǤ   ȋ  ȌǤ
       Distribution of 05.14.2022:
         OSF file location.docxǢ  
         
         SV_3n4LusSmSL8eqG1_Authenticity_-_2nd_R_R__cogn_dissonance__ONLINE.csvǢ
          ǡǲONLINE data̶
         SV_eEdMBRDV26Sd0Fv_Authenticity_-_2nd_R_R__cogn_dissonance_.csv; 
          ǡǲCLER data̶

       Distribution of 08.10.2022:
         SV_3n4LusSmSL8eqG1_Authenticity_-
        _2nd_R_R__cogn_dissonance__ONLINE.pdfǢ 
         ǡ“ONLINE questionsǳ
         SV_eEdMBRDV26Sd0Fv_Authenticity_-_2nd_R_R__cogn_dissonance_.pdfǢ
        ǡǲCLER questionsǳ

       Distribution of 08.08.2022:
         ǮPS Experiment 4/ǯ ǣ
          Ǧ Authenticity__2nd_RR_cogn_dissonance_ONLINE.csv
          Ǧ Authenticity__2nd_RR_cogn_dissonance_ONLINE.zip
          Ǧ data_Authenticity__CD_online & CLER 2014-11-26.xls
          Ǧ data_Authenticity__CD_online & CLER.sav
          Ǧ data_Authenticity__CD_online 2014-11-26.xls
          Ǧ survey cogn dissonance study.pdf

    ͵Ǥ   ȋǤ ǯ Ȍ
       Distribution of 05.18.2022:
         ǮData Referenced in 2.22.22 Respondent Memo to Committee/ǯǡ
         ǣ
          Ǧ analyses_Experiment_4.sps
          Ǧ data_Experiment_4.sav

       Distribution of 08.26.2022:
         ǮEmail Exchanges/ǯ Ǥ ǯ
          ǯ .Appendix Iǡ
        ǣ
            /2014-09-16-1 (12):
                Ǧ RE regarding my study proposed changes.pdf
                Ǧ RE_ regarding my study_ proposed changes.eml
            /2014-09-16-2 (13):
                Ǧ RE regarding my study proposed changes2.pdf



                                                                                                

                                         
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 615 of 1282




                   Ǧ RE_ regarding my study_ proposed changes2.eml
                 /2014-09-19 (15):
                   Ǧ RE sessions.pdf
                   Ǧ RE_ sessions.eml

           
II. Executive Summary.
      
        
    2015 PS PaperǤ ǡȋCLERONLINE dataȌ
    ǡ  Ǥ  ǣ
    ͳǤ    ǡ
         
       ȋOSF data ȌʹͲͳͷȋsection III.
       ȌǤ
    ʹǤ   
        ȋObservations 2ȌǤ
    ͵Ǥ  ǣ
              Ǥ OSF data
                   ǡCLERONLINE dataǡȋ ͳ
                  ǡObservations 3Ȍǡ
              Ǥ OSF dataȋǤȌ Ǧ
                   ǡ  
                  ȋȌ 
                    ȋǤǤǡβ ǡ
                  Observations 1.ȌǤ  
                   ǡ
               Ǥ CLER ONLINE data  OSF dataǡ
                    Ȁ  
                   ȋ ͳǤMCG0022_Allegation
                  2_AllData.xlsxAll Added and ExcludedȌǡ
              Ǥ  CLER ONLINE data
                  ȋǤǤǡǲQualtrics dataǳǡαͷ͵ͲȌ 
                     OSF data ȋǤǡαͶͻͳȌ 
                   ȋǤ Ȍǡ  
                  Ǥǡ  ǡ
                  ǲ ǳ ǡ 
                    ʹͲͳͷȋʹǤǡ
                  Observations 4ȌǤ
                           




                                                                                                    

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 616 of 1282
                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 617 of 1282




IV. Data Analysis.
   ǣ ͶȋOSF dataȌ
   ȋONLINE data  CLER dataȌǢ 
   ȋͲͷǤͳͶǤʹͲʹʹȌǤ  
 ǯ Ȁ
2015 PS PaperǤ

  ǡ  
MCG0022_Allegation 2_AllData.xlsx Ǥ

Approach:
CLER data ͸ͻ ONLINE data ͳͲͻ
  ǢCLER data ONLINE dataǡ Ǥ
ʹͷ CLER dataONLINE dataOSF data.
 OSF data ͷ ȋ Ȍ
CLER ONLINE dataǤ
   Ȁǣ
                  Ǥ   Ǧ   ȋ ʹ͸ȏȐ͵ͲȏȐȌ 
                       OSF dataset
                 Ǥ   ONLINE CLER dataOSF
                       
                       ȀȀǤ
                Ǥ    ONLINE  CLERǡOSFdata,
                       ǦǤ
    a. Repeat of OSF analysis
    OSF data ͷ ȋOSF dataǡ ȂȌǤ Ǧ
        Ǥ 
      ǡ  
    ǯ data_Authenticity__CD_online & CLER 2014-11-26.xls fileǤ
      ǡ   ǣ
           x   ̴ ̴  α ȋ   Ȍ
           x   ̴ ̴ α ȋ  Ȍ          
           x   ̴     α ȋ Ǧ Ȍ 
           x   ̴         α   
           x    ̴           α   
    OSF Only analysis      Ǥ


    b. Comparison of OSF and Qualtrics files
     Qualtrics dataȋ Ȍ  ǡ 
      Qualtrics data
    OSF data  ǡǡ OSF dataǣ



                                                                                                      

                                                
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 618 of 1282




     ͳǤ ǡ ǡ  
          Ǧ  Ǥ
            OSF dataǡgreen 
            ONLINE datablueǡ
            CLER dataǡyellow.
      ʹǤ ǯǡONLINECLER
          ͶʹͲͳͷ
           ǣ   ȋͲǡ  Ȍǡ  
           ȋͳǡ  Ȍǡ  ȋʹǡ
         ȌͶǤ  ǡ ǡǣ̶ 
             ǤǤǤ̶
          ǡ  
          yesȀno
         ȋ ȌǤ
           ǡ     Ǥ
               
            Ǥͳ  
          ȀȀ ONLINE CLER data
          Ǥ
         
           Table 1. ONLINE dataCLER data
                ǫ                                                       Ǧ
                                                                                            
                                                                                          
           
               ͳǤ   ǡ  ǡ ǣ
                    Ǥ   
                        ONLINECLER ,Ǯ  ǯ
                         ǡCond 0 – low choiceǡ
                   Ǥ   
                        ONLINE CLERǡǮ
                          ǯ ǡCond 1 – high choiceǡ
                  Ǥ    
                        ONLINE  CLER ǡǮ
                        ǯ ǡCond 2 – pro attitudinal
               ʹǤ     
                  ȋǤǤǡͶ ǲ  ǲǡ
                  ǲ ǳǡǲǳǲ  ǳȌǤ  ǡ ǦͲ
                  Ǧ  ǡͳǦ  ʹȂǣ
                             ̴ ̴                α ȋ ͷǡͷǡͷǡͷǡͷȌ
                             ̴ ̴             α ȋ ͷǡͷǡͷǡͷǡͷȌ



 $FURVVWKHUHSRUWWKHSDSHUDQGWKHGDWD&RQGLWLRQLVDOVRFDOOHGQRFKRLFHORZFKRLFHORZFKRLFHORZFKRLFH
FRXQWHUDWWLWXGLQDO&RQGLWLRQLVDOVRFDOOHGKLJKFKRLFHKLJKFKRLFHKLJKFKRLFHFRXQWHUDWWLWXGLQDO&RQGLWLRQLVDOVR
FDOOHGSURDWWLWXGLQDOSUR$WWLWXGLQDO




                                                                                                                                

                                           
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 619 of 1282




                   ̴         α ȋͷǡͷǡͷǡͷȌ 
                   ̴             αͷ 
                    ̴                α   
          ͵Ǥ not filled the survey   
                Ǥ
    ͵Ǥ        ǡ
           ǡ   
         ȋͲǦ  ǡͳǦ  ǡʹȂ
         ǦǦ   ȌǤ  
           Ǥ 
          ȋCLERONLINE  Ȍ 
          Ǥ 
         α ȋȋ ȋǮͳǯȌȌαȋ ȋǮʹǯȌȌǡ̶ ̶ǡ̶ ̶Ȍ Ǥ 
             Ǥ
          ͳǤ ʹǮǯǡ Ͳ ʹǮǥ ǥǯǡ Ͳ Ǥ
               
               Ǥ
          ʹǤ    Ǯ ̴ǯǤ 
               ǡ   ȋ
              ͲǦ  ȋȌʹȂǡȋȌȌǤ
    ͶǤ    ǡǡ 
         ǡǤ
    ͷǤ      ǡ  
         Ǥ
    ͸Ǥ      ǡ ǣ
          Ǥ   ONLINE OSF dataǡ
          Ǥ   CLEROSF dataǡ
           Ǥ OSF data 
              ONLINECLER dataǡ
          Ǥ ONLINE data 
              OSF dataǢ 
                 ǡ
          Ǥ CLER data OSF
              dataǢ 
                Ǥ
    ͹Ǥ   ǤǦǤǡ 
             
         Ǥ Ǥ
    ͺǤ   ȋ͸ ǤǡǤǡǤȌ
         All added and ExcludedǤ  ǡ 
         ǣ
          ͳǤ ʹǦʹͺǡOSF data Qualtrics 
          ʹǤ ͵ʹǦͻͺǡQualtrics  Ǥ




                                                                                                      

                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 620 of 1282




    ͻǤ ONLINECLERdata 
        ǡ     ȋȌǡ
        Qualtrics data for SPSSȋαͷ͵ͲȌǤ
    ͳͲǤ    
          ǡ  finished = false
        CLERONLINEdataǡfinished = false
        All added and ExcludedͳͲͷǦͳͳ͸Ǥ 
        ǮǯǮǯ  
         ǡ ǡ
         Ǯǯ ǡ
         Ǥ
         ͳǤ   
               
              Ǥ 
              All added and ExcludedͳʹͲǦͳ͵͸ǡ
                 ǡ
                 Ǥ

SPSS analyses
   ͳͳǤ CLERONLINE    
        Qualtrics data for SPSSǣ
              ͳǣ 
              ʹǣȋʹǦ͸CLER dataȌ
    ͳʹǤ  Qualtrics data for SPSS OSF
          Ǥ OSF
          CLERONLINEǤ
    ͳ͵Ǥ OSF Qualtrics data for SPSS  
         ǡǮ̴̴ͶǤǯǤ
        SPSS Resultsǡ
    ͳͶǤ ̴ ̴ ǡ̴ ̴ǡ̴ǡ̴  
         ǡStatistical AnalysisǤ
    ͳͷǤ  SPSS results.
    ͳ͸Ǥ    
        Assessment of Statistics Ǥ


Observations.
        1. Repeat of OSF analysis
    ǦͶ OSFdata,   
     ʹͲͳͷ ȋOSF Only
    analysisǡ    ǲ 
     ǳǲǳȌǤ 
      ǡRED color  
     ʹͲͳͷ increased 




                                                                                                     

                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 621 of 1282




      ǡBLUE color   
     decreased    Ǥ 
    ȋͲǡͳʹȌǤ ǡ
    ̴ ̴ ̴ ȋOSF Only analysisǡ 
    Ȍǡ with exception of one valueʹ
    ̴ ̴  ǡʹǤ͸ȋ͵Ȍ
     ȋOSF Only analysisǡ ȌǤ
        2. Number of participants
     Ǥͻͻͳ2015 PS Paperǣ
     “Four hundred ninety-one college students (mean age = 20.42 years, SD = 1.90; 43% male)
     from Harvard University participated in the study in return for a $10 Amazon gift card.
     Fifty-four additional students started the study, but dropped out after reading the initial
     instructions and before the manipulation took place; their data were thus not recorded. We
     calculated our target sample size using an estimated effect size, f, of 0.15, which would
     require a sample size of approximately 490 participants for the study to be powered at
     85%. We recruited 550 participants, knowing—from prior experience running online
     studies with this population— that about 10% to 15% of them likely would not complete
     the study after reading the initial instructions. We randomly assigned participants to one
     of three conditions: high-choice, counterattitudinal; low-choice, counterattitudinal; or
     high-choice, proattitudinal.”

     ǡͷͷͲ  ǡͷͶͷ
    Ǥ Ͷͻͳ ͷͶ 
    ǯǤ
    
    Qualtrics data  
      Ȁ 
    Ǥ   ǡ
      ǡ    ǡ
    Ǥ
    
       ǡ ǣ
            Ǥ ONLINE data ͸ͷ͸ǡʹͲʹȋ
                not filled the survey Ȍ
            Ǥ CLER data ͺͶǡ͵ǡ
                ͷ ǲǳǤ

       ǡ
      ǡ ǲǳǡ
    ͹͵ͷͷͶͷ ȋʹͲͳͷȌǤʹͲͷ
     ǡͷͶ
     ȋʹͲͳͷȌǤ

        3. Identifying Differences between Qualtrics data and OSF data




                                                                                                    

                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 622 of 1282




     
    ȋData Entry Summary AnalysisȌǤ  ǣ
            ͳǦ  ONLINE data OSF dataȋα͵ͻͳǡ
                ǡ ͷ͸͵Ȍ
            ʹǦ  CLER data OSF dataȋα͹ͷǡ 
               ǡ ͷ͸͵Ȍ
            ͵Ǧ  OSF data   ȋαʹͷǡ
                ǡ ͷ͸͵Ȍ
            ͶǦ  ONLINE data  ȋα͸ͳǡ 
               ǡ ͷ͸͵Ȍ
            ͷǦ  CLER data  ȋα͵ǡ ǡ
                ͷ͸͵Ȍ
Figure 1  OSF data
 ȋCLER ONLINE dataǤȌ ǡ
OSF dataCLERONLINE dataǤ
   
 ǡȋ Ȍ 
 ȋCLERONLINE dataȌǤ
 ̶ ̶δ͵Ǥͷ ͳǦ͹ǲ ǳε͵Ǥͷǡ
 ͳǡǲ ǳǲǳ
ȋȌ ǲ ǳ
ǲǳǤ ͳǲǳǯ
  ȋGREENǡαʹͷ
Ȍǣ
    x     Ͳͳǡ
    x     ʹ
  ǡ  
  ǡǡǡ 
  ȋ 
ʹȌǤ ǡʹǢ̶ ̶ȏδ͵Ǥͷ 
ͳǦ͹Ȑǲ ǳȏε͵ǤͷȐǡData Entry Summary Analysis
 Ǥ  
    ǡ 
  ǡ  
  2015 PS paperȋȌǤ
    





                                                                                                     

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 623 of 1282
                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 624 of 1282




        4. Assessing Differences between Qualtrics and OSF data
     ǤͻͻʹʹͲͳͷǣ
    “Manipulation check: self-alienation. A one-way ANOVA using self-alienation as the
    dependent measure revealed a main effect of condition, F(2, 487) = 21.14, p < .001, Ʉ p2 = .08.
    Pairwise comparisons (with Bonferroni adjustment) revealed that participants reported
    lower self- alienation in the proattitudinal condition (M = 1.88, SD = 0.87) than in both the
    high-choice, counterattitudinal condition (M = 2.56, SD = 1.31; p < .001) and the low-choice,
    counterattitudinal condition (M = 2.70, SD = 1.40; p < .001). Participants reported the same
    perceived self-alienation in the two counterattitudinal conditions (p = .94).
    Perceived choice. A one-way ANOVA using perceived amount of choice as the dependent
    measure revealed a main effect of condition, F(2, 487) = 62.35, p < .001, Ʉp2 = .20. Pairwise
    comparisons (with Bonferroni adjustment) revealed that participants reported lower
    perceived choice in the low-choice, counterattitudinal condition (M = 2.85, SD = 1.98) than in
    the high-choice, counterattitudinal condition (M = 3.63, SD = 2.16; p = .001) and in the
    proattitudinal condition (M = 5.24, SD = 1.78; p < .001). Perceived choice was higher in the
    proattitudinal condition than it was in the high-choice, counterattitudinal condition (p <
    .001).
    Desirability of cleansing products. A one-way ANOVA using participants’ desirability
    ratings of cleansing products as the dependent measure revealed a main effect of condition,
    F(2, 487) = 8.24, p < .001, Ʉp2 = .033. Pairwise comparisons (with Bonferroni adjustment)
    revealed that participants reported less desire for cleansing products in the proattitudinal
    condition (M = 3.72, SD = 1.33) than in both the high-choice, counterattitudinal condition (M
    = 4.18, SD = 1.51; p = .012) and the low-choice, counterattitudinal condition (M = 4.34, SD =
    1.44; p < .001). Desirability ratings of cleansing products did not differ between the latter
    two conditions (p = .94). There were no differences across conditions in desirability ratings of
    the non-cleansing products, F(2, 487) = 1.21, p = .30, Ʉp2 = .005.”

  Ͷ
    
  ǡǡ ͵Ͷ ȋ
Statistical Analysis ȌǤ
                             




                                                                                                       

                                                  
                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 625 of 1282




Table 2.  

                                                        ȋͷȌ
                                                                                          Ǧ
                                            Ǧ  
                                                                                               
                                                                                                        
       
                      ͵Ǥ͹ʹ         ͳǤ͵͵   ͶǤͳͺ    ͳǤͷͳ   ͶǤ͵Ͷ   ͳǤͶͶ      δͲǤͲͲͳ          ͲǤͲͳʹ        ͲǤͻͶ
      ȋαͶͻͳȌ
       Results
                              ͵Ǥ͹ʹ          ͶǤͳͺ          ͶǤ͵Ͷ
    obtained OSF                     ͳǤ͵͵          ͳǤͷͳ          ͳǤͶͶ               ͲǤͲͲͲ͵ͲͲ͵         ͲǤͲͳʹ        ͲǤͻͶ
                            ȋαͳ͸ͳȌ       ȋαͳ͸ͳȌ       ȋαͳ͸ͺȌ
      ȋαͶͻͲ͸Ȍ
     Combined
                              ͶǤͲ͵          ͶǤͳͳ          ͶǤͳͻ
    Qualtrics sets                   ͳǤͶͲ          ͳǤͷͳ          ͳǤͶʹ               ͲǤͺ͸͸ͳͷͷͻ         ͳǤͲͲͲ        ͳǤͲͲ
                            ȋαͳ͹͸Ȍ       ȋαͳ͹ͷȌ       ȋαͳ͹ͺȌ
      ȋαͷʹͻ͹Ȍ

 ǡʹǡ  
 ǲ ǳǤ
   ǲ  
ǡ  ǡ Ǥǳ
 ǡ    ȋȌǡ
  ȋǤǤǡ
    ǡαͲǤͺ͹
αͳǡ ȌǤ
Additional observations for consideration
    ǡ
 ǡǡǦ   
ȋStatistical Analysis ǡ    ȌǤ
 ǦǡAll
Added and ExcludedǤ  
 ǮǯǮfalse’ǡǮfalseǯ
 Ǥ  
    ǡ
   
ǡAll Added and Excluded Ǥ
 ȀǤͳͺǡʹͲͳͶǤ   
 ͳͺǦ͵ͲȋRE sessions.pdfȌǤ 
 ͵͸ͳ͹ ǡ




  KWWSVZZZLEPFRPVXSSRUWSDJHVFDOFXODWLRQERQIHUURQLDGMXVWHGSYDOXHV

  2QHYDOXHH[FOXGHGDVLQYDOLGEHFDXVHRIOLVWZLVHGHOHWLRQEDVHGRQDOOYDULDEOHVLQWKHSURFHGXUH VHH6366UHVXOWVKHHW 

  6DPHDVIRRWQRWH




                                                                                                                                

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 626 of 1282
                                            
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 627 of 1282




Appendix I

    ǮEmail Exchanges/ǯǡ ǣ
                      Ǥ ǤȀʹͲͳͶǦͲͳǦ͵ͲȋͲͳȌǣ
                            Ǥ
                         ̴   Ǥ
                     Ǥ ǤȀʹͲͳͶǦͲͷǦͳʹȋͲʹȌǣ
                            ʹǤ
                         ̴   ʹǤ
                   Ǥ ǤȀʹͲͳͶǦͲ͸Ǧ͵ͲȋͲ͵Ȍǣ
                            ͵Ǥ
                         ̴   ͵Ǥ
                    Ǥ ǤȀʹͲͳͶǦͲͺǦͳͲȋͲͶȌǣ
                         ʹͲͳͶǦͲͺǦͳͲǤ 
                         ʹͲͳͶǦͲͺǦͳͲǤ
                         ʹͲͳͶͲͺͳͲǤ
                     Ǥ ǤȀʹͲͳͶǦͲͺǦͳͳȋͲͷȌǣ
                         ʹͲͳͶͲͺͳͲǤ
                         ̴ʹͲͳͶǦͲͺǦͳͲǤ
                    Ǥ ǤȀʹͲͳͶǦͲͺǦͳͺȋͲ͸Ȍǣ
                               Ǥ     
                         ̴       ǤǤǤǤ
                   Ǥ ǤȀʹͲͳͶǦͲͻǦͲͺȋͲ͹Ȍǣ
                           ͳͶǦ͵ͲͶͺ Ǥ
                           ͳͶ͵ͲͶͺ Ǥ
                  Ǥ ǤȀʹͲͳͶǦͲͻǦͲͻȋͲͺȌǣ
                          ͳͶ͵ͲͶͺ Ǥ
                         ̴ ͳͶǦ͵ͲͶͺ̴ Ǥ
                         ̴̴ Ǥ 
                    Ǥ ǤȀʹͲͳͶǦͲͻǦͳͲǦͳȋͲͻȌǣ
                          ͳͶ͵ͲͶͺ Ǥ
                         ̴ ͳͶǦ͵ͲͶͺ̴ Ǥ
                     Ǥ ǤȀʹͲͳͶǦͲͻǦͳͲǦʹȋͳͲȌǣ
                         Ǥ ̴Ǥ
                    Ǥ ǤȀʹͲͳͶǦͲͻǦͳͲǦ͵ȋͳͳȌǣ
                         Ǥ̴Ǥ
                   Ǥ ǤȀʹͲͳͶǦͲͻǦͳ͸ǦͳȋͳʹȌǣ
                          Ǥ
                         ̴̴ Ǥ
                  Ǥ ǤȀʹͲͳͶǦͲͻǦͳ͸Ǧʹȋͳ͵Ȍǣ
                          ʹǤ
                         ̴̴ ʹǤ
                  Ǥ ǤȀʹͲͳͶǦͲͻǦͳ͸Ǧ͵ȋͳͶȌǣ
                          ʹǤ      
                         ̴ ʹǤ



                                                                                    

                                         
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 628 of 1282




               Ǥ ǤȀʹͲͳͶǦͲͻǦͳͻȋͳͷȌǣ
                   Ǥ            
                   ̴Ǥ
              Ǥ ǤȀʹͲͳͶǦͲͻǦʹ͹ȋͳ͸Ȍǣ
                   Ǥ 
                   Ǥ
             Ǥ ǤȀʹͲͳͶǦͳͳǦͳͳȋͳ͹Ȍǣ
                    Ǥ      
                   ̴ Ǥ
            Ǥ ǤȀʹͲͳͶǦͳͳǦʹ͹ȋͳͺȌǣ
                   ʹͲͳͶǦͳͳǦʹ͸Ǥ 
                   ʹͲͳͶǦͳͳǦʹ͸Ǥ
                   ʹͲͳͶͳͳʹ͸Ǥ
              Ǥ ǤȀʹͲͳͶǦͳͳǦ͵ͲȋͳͻȌǣ
                    ʹͲͳͶǦͳͳǦʹͺǤ 
                   Ǥ
                   Ǥ
               Ǥ ǤȀʹͲͳͷǦͲͳǦͳͶȋʹͲȌǣ
                    Ǧ  Ǧ ǦͶǦǤ 
                             ͳ͵Ͳͻͺͻ͵Ǥ
                     ̴    Ǧ    Ǧͳ͵ǦͲͻͺͻǤ
              Ǥ ǤȀʹͲͳͷǦͲʹǦͲͻȋʹͳȌǣ
                        ͳ͵Ͳͻͺͻ͵Ǥ
                   ̴     Ǧͳ͵ǦͲͻͺͻǤ
          Emails retrieved from Dr. Gino’s HBS’s email account.





                                                                                              

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 629 of 1282



                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                          ([KLELW
   1RWLFHRIUHYLVHG$OOHJDWLRQVDDQGEVHQWWR5HVSRQGHQWRQ2FWREHU
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
                                               
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 630 of 1282
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 631 of 1282




$OOHJDWLRQ

'U*LQRIDOVLILHGDQGRUIDEULFDWHGSRUWLRQVRIWKHGDWDVHWIRU6WXG\LQWKH3V\FKRORJLFDO6FLHQFH
3DSHUE\DOWHULQJDGGLQJRUGHOHWLQJDQXPEHURIREVHUYDWLRQV7KHVHFKDQJHVUHVXOWHGLQVLJQLILFDQW
HIIHFWVVXSSRUWLQJWKHK\SRWKHVHVDVUHSRUWHGLQWKHSXEOLVKHGSDSHU$QDO\VHVRIWKHRULJLQDO4XDOWULFV
GDWDGRQRWVXSSRUWWKHK\SRWKHVHV

                                                                                                            


$OOHJDWLRQ

:LWKUHVSHFWWR6WXG\LQWKH31$63DSHU
    D 'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJRUDOWHULQJSDUWVRIWKHGHVFULSWLRQVRI
        VWXG\SURFHGXUHVIURPGUDIWVRIWKHPDQXVFULSWVXEPLWWHGIRUSXEOLFDWLRQWKXVPLVUHSUHVHQWLQJ
        WKHVWXG\SURFHGXUHVLQWKHILQDOSXEOLFDWLRQ7KHRULJLQDOSURFHGXUHGHVFULSWLRQV VXEVHTXHQWO\
        UHPRYHGRUDOWHUHGE\'U*LQR SRLQWHGWRDVLJQLILFDQWIODZLQWKHH[HFXWLRQRIWKHGDWD
        FROOHFWLRQIRU6WXG\ZKLFKFDOOHGLQWRTXHVWLRQWKHYDOLGLW\RIWKHVWXG\UHVXOWV
    E 'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHRULJLQDOGDWDVHWE\DOWHULQJDQXPEHURIREVHUYDWLRQVLQD
        ZD\WKDWIDYRUHGWKHK\SRWKHVL]HGUHVXOWV


1RDGGLWLRQDOHYLGHQFHRUUHFRUGVDUHUHTXHVWHGE\WKH,QYHVWLJDWLRQ&RPPLWWHHDWWKLVWLPH6KRXOG\RX
KDYHDQ\TXHVWLRQVDERXWWKLVQRWLFHSOHDVHGRQRWKHVLWDWHWRUHDFKRXWWRPHDW             RU
                      


6LQFHUHO\
$ODLQ%RQDFRVVD




    SOLDIERS F IELD | BOST ON, MA 02163 | Ph       |                  | G E O R G E F . B A K E R F O U N D AT I O N


Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 632 of 1282



                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                  ([KLELW
           0DLGVWRQH&RQVXOWLQJ*URXS)RUHQVLF5HSRUWIRU$OOHJDWLRQ
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 633 of 1282
                                          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 634 of 1282




                  Ǥ ͷǤ
                   Ǥ ͶʹͲͳͶǦͲͶǦͳ͹Ǥ
           x    ǡ   
               Ǥ


II. Executive Summary.
͵
 ͶʹͲͳͶ  
  ǣ
    x   ǡǡ 
        ǡ
      Ǥ 
       Ǥ
    x Ǧ      
      ̴ Ǥ
    x  
      ʹͲͳʹǤ ǡǤ ǡ  Ǥ
   ǡ  
  Ǥ

ǡǤ 
ǡ  
 ǯǮ ǯͶȋǤͻ͹͹Ȍǡ
   Ǥ  ǡ 
       Ǯ ǯ ǯ 
     
Ǯ    ȋȾαΫͲǤͳͺǡαǤͲͳ͹Ǣ
ͻͷΨǦ   αȏͲǤͲʹǡͲǤʹͻȐȌǯǤ

     Ǯ ǯ
ǡ ǡ
 Ǥ ǡͳ͵
 ǡ 
 Ǥ





                                                                                                     

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 635 of 1282
                                           
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 636 of 1282




   
MCG0022_Allegation 3_allData_analysis.xlsxǤ

ͳǣͳ
    ͳǤ  2012Excel, DAC, 2013sav, 2014Excel  
         Ǥ Ǥ
    ʹǤ  ͳǣͳ̴  Ǥ
    ͵Ǥ ǣ
          Ǥ  ǡ  ǦǦ   
              ǡ Ǥȋǡα ȋȋ ȋǲ
             ͳǳȌȌαȋ ȋǲʹǳȌȌǡ̶ ̶ǡ̶ ̶ȌȌǤ ǡ
              2012Excel - DACǤ
          Ǥ   ǡ Ǥ 
              ǤͲαǤ 
              ȋȌ ȋȌǤ ǡ
              2012Excel - DACǤ
    ͶǤ   
         ǤǤ ǡ
        2012Excel - DAC Ǥ
    ͷǤ  2012Excel  2013sav  ǡ 
       ͷ ǤǢǡDAC
       2014Excel  Ǥ ǡ2012Excel 
       2014Excel, both originally Excel spreadsheetsǡ   
        Ǥ2012Excel  Ǧ   
       ǡ Ǥ
         Ǥ 2012Excel   Ǥ
                 2012Excel
            – DAC Ǥ  ǡ2014Excel 2013sav, 
            DACǤ  Ǥ
            2012Excel    ǡ
            ǡ Ǥ Ǥ Ǥ
             ǡ
             ǡIV. Observations Ǥ

 ǯ
    ͸Ǥ  Ͷ   
          
        ǡǮ ǯ   
        Ǥ
    ͹Ǥ     ǯ Ǯǯ ǡ
         2012Excel    ǡ  ǡ 
           Ǥ 




                                                                                                      

                                           
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 637 of 1282




          Ǯǯ ȋ2012Excel ǡ
          ȌǤ
    ͺǤ  ǡ   ǡ
       Ǧ  Ǥ 
       ǡ   Ǥ  ǡ
        ȋNumber of
       responses Analysis.Ȍǣ
         Ǥ    ǡαȋ ȋǲǳȌȌ
         Ǥ  ǡα ȋ       ȋǲǳǡͳȌα̶ǡ̶ǡ ȋǲǳǡȋǲǳȌǦͳȌǡǳǳȌ
          Ǥ   ǡα ȋ   ȋǲǳǡͳȌα̶Ȁ̶ǡ ȋǲǳǡȋǲǳȌǦͳȌǡǲǳȌ
         Ǥ ǡα ȋ     ȋǲǳǡͳȌα̶Ǥ̶ǡ ȋǲǳǡȋǲǳȌǦͳȌǡǲǳȌ
         Ǥ     ǡαȋ ȋǲǳȌȌǦȋ ȋ ȋǲǳȌǡ̶ǡ̶ǡ̶̶ȌȌΪͳ
         Ǥ    ǡαȋ ȋǲǳȌȌǦȋ ȋ ȋǲǳȌǡ̶Ȁ̶ǡ̶̶ȌȌΪͳ
         Ǥ    ǡαȋ ȋǲǳȌȌǦȋ ȋ ȋǲǳȌǡ̶Ǥ̶ǡ̶̶ȌȌΪͳ
         Ǥ   ǡαȋ ȋǲǳȌȌǦ
            ȋ ȋ ȋǲǳȌǡ̶Ǣ̶ǡ̶̶ȌȌΪͳ
    ͻǤ    ǡ  
         Ǥǡ
         Ǥ  ǯ
          ȋͶ ͵ǡ͹ ͸ǡ ǤȌǡ
          ȋǣͲǡͳ
         ͲͲǡͲͳǡͳͳǡͳͲ  Ȍ
         ǡ͵ȗ͵ȗʹαͳͺ
         ȋ Complainant Analysis ͳͺȌǤ


    ͳͲǤ DAC 2013sav   
          Ǥ
    ͳͳǤ DAC   ǣ
        ÆÆ Ǧ
         ǮȋȌǯǣ
                                 Ǧ    ̴̴
                                 Ǧ ̴̴  
                                 Ǧ 
                                 Ǧ 
                                 Ǧ    
                                 Ǧ ̴
                                 Ǧ ̴ 
                                 Ǧ ̴ 
        Ǯ ǯ ͳͲ
    ͳʹǤ 2012Excel   ǡǯ
          ʹ



                                                                                                          

                                            
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 638 of 1282




            ȋ2012Excel for
          SPSSȌǤ  ͳͳǤ
      ͳ͵Ǥ ǡ 
           Ǯ ǯ
              
          ͳʹǤ
      ͳͶǤ    Summary
          Analysis SPSS MCG0022_Allegation 3_allData_analysis.xlsx 


IV. Observations.
ͳǤ Number of participants and demographics
      ʹͲͳͶǡǤͻ͹͹ǣ
        “Participants. One hundred seventy-eight individuals recruited on MTurk
        (47% male, 53% female; mean age = 28.59, SD = 7.72) participated in the
        study for $1 and the opportunity to earn a $1 bonus.”
      ǡ͵ǤͶΨ Ǯǯǡ
      ʹǡ̴ ͳͺͷͳͻʹǡ 
      ̴ ̴ Ǥȋ2012ExcelǡDAC 2014Excel ȌǤ
         ǡ̴ ̴ ͳ͹ͺ Ǥ
       ǡ  ͵͸ͳǮ ǯ ǡ
          Ǥ


ʹǤ Analysis of available data and observations.
      ǡ2012Excel2013savǡ2014Excel ǡ
       ǤDAC 
     2014Excel 2012Excel 2013sav  
     ȋDAC - 2014Excel  2012Excel -2013sav ȌǤα2014Excelǡ
     2012Excelα2013savǡ2012Excel  
      Ǥ
       ǡ 2012Excel DAC 2012Excel 
     Ȁ  DACǤDAC  
     2012Excel Ǥ

    Ǥ    ǣ
       ǣ
       ȋ Ȍ  ȋ ȌǤ
     2012Excel dataset,  ǣǲ̴̴  ǳȏȐ
      Ǯ ǯ ȏȐǡ   
     ȏ ͳǡ αͳȐ ǡȏ Ͳǡ αͲȐ 
     ǤͳʹǮ̴̴  ǯ



                                                                                                         

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 639 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 640 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 641 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 642 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 643 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 644 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 645 of 1282
                                           
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 646 of 1282




IV. Summary. 
  
  ͵ǡ
       
  Ǥ  ͳʹ
  Ǯ̴̴  ǯ ǲͲǳ2012Excel ǲͳǳ
   Ǯ ǯ Ǥ
  ǲͳǳ2014ExcelDACǡ
  Ǥ
   ̴2012Excelǡ
  ǡ   ȋ    ȌǤ 
  2014Excel   ȏ ͳȐ 
  ̴2012ExcelǤ̴
  DACǤ
    
    ǡ    ǮǯǮǯǡ
    ǡǮ̴ǯǡ  Ǧ Ǥǡ 
    ǡ ǡ
    ̴Ǧ  ȋ
    ͷǡȋ ǡȌαͻǤͶ͹ǡȋ ǡȌα͹ǤͺͶ 
    ȋ ǡʹͲͳʹ Ǧ̴̴  Ȍα͹Ǥʹͻǡȋ ǡʹͲͳʹ Ǧ
    ̴̴  ȌαͺǤͳʹȌǤ
    
       
     Ǥ
    
     ǯǡ  
     Ǥͳ͵
      ǡ 
     Ǥ
    




                                                                                                     

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 647 of 1282



                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                      ([KLELW
        1RWLFHRIUHYLVHG$OOHJDWLRQVHQWWR5HVSRQGHQWRQ2FWREHU
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 648 of 1282
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 649 of 1282




    x    13 observations within the cheating condition are out of sort when sorted by whether participants
         cheated on the task they were asked to perform and by how many uses for a newspaper they
         found. These 13 observations substantially contribute to the significance of the hypothesized
         effects.

No additional evidence or records are requested by the Investigation Committee at this time. Should you
have any questions about this notice, please do not hesitate to reach out to me at             or
                    .


Sincerely,
Alain Bonacossa




    SOLDIERS F IELD | BOST ON, MA 02163 | Ph       |                  | G E O R G E F . B A K E R F O U N D AT I O N
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 650 of 1282



                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                       ([KLELW
5HVSRQGHQW¶V:ULWWHQ6WDWHPHQWWR,QYHVWLJDWLRQ&RPPLWWHHUHFHLYHGRQ1RYHPEHU
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 651 of 1282




1RYHPEHU

6XEPLVVLRQWRWKH,QYHVWLJDWLRQ&RPPLWWHH
)UDQFHVFD*LQR

,DPWKDQNIXOIRUDOOWKHZRUNWKHFRPPLWWHHKDVSXWLQWRWKHLQYHVWLJDWLRQ,DPVDGWKDW,DP
FUHDWLQJZRUNIRUP\RZQFROOHDJXHVDQGHYHQVDGGHUWKDWWKHUHDVRQLVWKHVHDOOHJDWLRQV,QWKH
ODVWIHZPRQWKV,KDYHVSHQWDORWRIWLPHDQGHQHUJ\JRLQJWKURXJKWKHVDPHH[HUFLVHWKDWWKH
IRUHQVLFILUPIROORZHGLQRUGHUWREHWWHUXQGHUVWDQGDQGPDNHVHQVHRIWKHVHDOOHJDWLRQV,QWKLV
WHVWLPRQ\,ZLOOSURYLGHHYLGHQFHRIZKDWRFFXUUHGDQGWKDWGHPRQVWUDWHV,FRPPLWWHGQR
ZURQJGRLQJ

$V,DPVXUHWKHFRPPLWWHHXQGHUVWDQGVWKLVKDVEHHQDUHDOO\VWUHVVIXO\HDULQOLJKWRIWKLV
LQYHVWLJDWLRQ,DPQRWDSHUIHFWSHUVRQEXW,GRWDNHLQWHJULW\VHULRXVO\,DOVRZDQWWRHPSKDVL]H
WKDWZKLOH,UHO\KHDYLO\RQUHVHDUFKDVVLVWDQWVDQGGRFWRUDOVWXGHQWVLQP\UHVHDUFK,WDNHIXOO
UHVSRQVLELOLW\IRUWKHFRQWHQWDQGTXDOLW\RIWKHZRUN,KDYHQRWPDQLSXODWHGQRUIDEULFDWHGGDWD
DQG,¶YHQRWZULWWHQSDSHUVWKDWLQWHQGWRPLVOHDGUHDGHUVZLWKWKHZD\VWXGLHVDUHGHVFULEHG

7KH,QYHVWLJDWLRQDQGWKH+%63ROLF\

7KHLQYHVWLJDWLRQLVPHDQWWR³GHYHORSDIDFWXDOUHFRUG´E\³H[DPLQLQJWKHHYLGHQFHLQGHSWK´
DIWHU³SXUVX>LQJ@GLOLJHQWO\DOOVLJQLILFDQWLVVXHVDQGOHDGVGLVFRYHUHGWKDWDUHGHWHUPLQHG
UHOHYDQW´+DUYDUG%XVLQHVV6FKRRO,QWHULP3ROLF\DQG3URFHGXUHVIRU5HVSRQGLQJWR$OOHJDWLRQV
RI5HVHDUFK0LVFRQGXFW ³+%63ROLF\´ DWS$ILQGLQJRIUHVHDUFKPLVFRQGXFWUHTXLUHVWKH
LQYHVWLJDWLRQFRPPLWWHHWR³LGHQWLI\ZKHWKHUWKHUHVHDUFKPLVFRQGXFWZDVIDOVLILFDWLRQ
IDEULFDWLRQRUSODJLDULVPDQGZKHWKHULWZDVFRPPLWWHGLQWHQWLRQDOO\NQRZLQJO\RU
UHFNOHVVO\´+%63ROLF\DWS6XFKDGHWHUPLQDWLRQPXVWEHPDGHE\DSUHSRQGHUDQFHRIWKH
HYLGHQFH,G$SUHSRQGHUDQFHRIWKHHYLGHQFHPHDQV³SURRIE\LQIRUPDWLRQWKDWFRPSDUHGZLWK
WKDWRSSRVLQJLWOHDGVWRWKHFRQFOXVLRQWKDWWKHIDFWDWLVVXHLVPRUHSUREDEO\WUXHWKDQQRW´,G
DWS5HVHDUFKPLVFRQGXFWDOVR³GRHVQRWLQFOXGHKRQHVWHUURURUGLIIHUHQFHVRIRSLQLRQ´,G

)DEULFDWLRQDQGIDOVLILFDWLRQDUHDOOHJHGLQWKLVPDWWHU)DEULFDWLRQPHDQV³PDNLQJXSGDWDRU
UHVXOWVDQGUHFRUGLQJRUUHSRUWLQJWKHP´,GDWS)DOVLILFDWLRQPHDQV³PDQLSXODWLQJUHVHDUFK
PDWHULDOVHTXLSPHQWRUSURFHVVHVRUFKDQJLQJRURPLWWLQJGDWDRUUHVXOWVVXFKWKDWWKHUHVHDUFK
LVQRWDFFXUDWHO\UHSUHVHQWHGLQWKHUHVHDUFKUHFRUG´,G

7KH+%63ROLF\GRHVQRWGHILQH³LQWHQWLRQDOO\NQRZLQJO\RUUHFNOHVVO\´+%63ROLF\DWS,Q
WKHDEVHQFHRIRWKHUGHILQLWLRQVIRUWKHVHWHUPV,VXEPLWWKDWWKHGHILQLWLRQVIURP%ODFN¶V/DZ
'LFWLRQDU\VKRXOGDSSO\7KH%ODFN¶V/DZ'LFWLRQDU\GHILQLWLRQVIRUWKHVHWHUPVZHUHDGRSWHG
E\DQ$GPLQLVWUDWLYH/DZ-XGJH ³$/-´ GHFLGLQJDPDWWHULQYROYLQJIHGHUDOUHVHDUFK
PLVFRQGXFWILQGLQJV,QUH'HFLVLRQRI.UHLSNH5HFRPPHQGHG'HFLVLRQ'RFNHW1R&
'HFLVLRQ1R&5 0D\ DWS6SHFLILFDOO\WKH$/-KHOGWKDW%ODFN¶V/DZ
'LFWLRQDU\SURYLGHV³WKHFRPPRQGHILQLWLRQVIRULQWHQWLRQDONQRZLQJDQGUHFNOHVVDQGWKHLU
DGYHUEIRUPV´6HHLG$VGHVFULEHGLQ.UHLSNH%ODFN¶V/DZ'LFWLRQDU\GHILQHVWKHVHWHUPVDV
IROORZV
         x ,QWHQWLRQDO'RQHZLWKWKHDLPRIFDUU\LQJRXWWKHDFW

                                                  

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 652 of 1282




        x   .QRZLQJ+DYLQJRUVKRZLQJDZDUHQHVVRUXQGHUVWDQGLQJZHOOLQIRUPHG
            GHOLEHUDWHFRQVFLRXV
        x   5HFNOHVV&KDUDFWHUL]HGE\WKHFUHDWLRQRIDVXEVWDQWLDODQGXQMXVWLILDEOHULVNRI
            KDUPWRRWKHUVDQGE\DFRQVFLRXV DQGVRPHWLPHVGHOLEHUDWH GLVUHJDUGIRURU
            LQGLIIHUHQFHWRWKDWULVNKHHGOHVVUDVK5HFNOHVVFRQGXFWLVPXFKPRUHWKDQPHUH
            QHJOLJHQFHLWLVDJURVVGHYLDWLRQIURPZKDWDUHDVRQDEOHSHUVRQZRXOGGR

6HH%ODFN¶V/DZ'LFWLRQDU\VHHDOVR.UHLSNHDWS7KRXJKWKHDOOHJDWLRQVKHUHGRQRW
LQYROYHIHGHUDOUHVHDUFKIXQGVWKHVHGHILQLWLRQVDUHDXVHIXOEHQFKPDUNLQWKHDEVHQFHRI+%6¶V
RZQDGRSWLRQRIGHILQLWLRQVIRUWKHVHWHUPV

$OOHJDWLRQ-3633DSHU
&ODLPHG,VVXH'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHGDWDVHWIRU6WXG\DLQWKH-363
3DSHUE\DOWHULQJREVHUYDWLRQVWRDIIHFWWKHILQGLQJVRIWKHVWXG\LQWKHK\SRWKHVL]HGGLUHFWLRQ
2FWREHU1RWLFHRI&KDQJHRI$OOHJDWLRQV

*HQHUDO3ULQFLSOH,KDYHQHYHUDOWHUHGRUPDGHXSDQ\GDWDLQDQ\RIP\SDSHUVLQFOXGLQJWKH
-363SDSHU

,ILUVWDFFHVVHGWKHGDWDIRUWKLVVWXG\ZKHQUXQQLQJWKHDQDO\VHVWKDWDUHUHSRUWHGLQWKH
SXEOLVKHGSDSHU7KLVLVWKHILOHWKDWLVSRVWHGRQ26)DQGGLGQRWFKDQJHIURPWKHILUVWWLPH,
DFFHVVHGLWWRWKHWLPHLWZDVSRVWHGRQ26),ZDVQRWWKHSHUVRQZKRFOHDQHGWKHGDWDDQG
SUHSDUHGLWIRUWKHDQDO\VHV$VFRPPRQLQP\SUDFWLFHVWKRVHDUHWDVNV5$VDUHUHVSRQVLEOHIRU
VLQFHWKH\RYHUVHHVWXGLHVZKHQFRQGXFWHG

,KDGP\IRXUWKFKLOGLQ1RYHPEHURIZKLFKZDVWKHWLPHSHULRGLQZKLFKUHYLVLRQVWRWKLV
ZRUNZHUHEHLQJFRQGXFWHG,DPWKXVFRQILGHQWWKDW,UHOLHGKHDYLO\RQWKHKHOSRI5$VDVZH
ZRUNHGWKURXJKUHYLVLRQV,ZDQWHGWRUHFRQVWUXFWWKHKLVWRU\RIWKLVSDSHUDQGDFFHVVWRP\
4XDOWULFVDFFRXQWWRXQGHUVWDQGZKHQDQGKRZ5$VDFFHVVHGWKHGDWD

,FRQWDFWHG4XDOWULFVVXSSRUWWRGLVFXVVDIHZLVVXHVWKDWDUHUHOHYDQWWRWKLVLQYHVWLJDWLRQ
ZLWKRXWPHQWLRQLQJWKHLQYHVWLJDWLRQLWVHOI)LUVWVLQFH,FRPPRQO\VKDUHGORJLQLQIRUPDWLRQ
ZLWKFRDXWKRUVDQG5$V,ZDQWHGWRXQGHUVWDQGZKHWKHULWZRXOGEHSRVVLEOHWRUHFRQVWUXFWORJ
LQVWRP\DFFRXQWRYHUWKH\HDUV,ZDVDEOHWRORFDWHHPDLOVLQWKHVHQWIROGHUZKHUH,SURYLGHG
YDULRXVORJLQVWRGRFWRUDOVWXGHQWVDQGFROODERUDWRUV6RPHH[DPSOHVLQFOXGHD-XO\
SPHPDLOWR                    0DUFKDPHPDLOWR              0D\
DPHPDLOWR                  -XQHSPHPDLOWR             -XQH
DPHPDLOWR                          2FWREHUSPHPDLOWR            DQG
)HEUXDU\DPHPDLOWR                  ,QDGGLWLRQWRVKDULQJP\ORJLQLQIRUPDWLRQ
YLDHPDLO,KDYHVKDUHGLWOLYHGXULQJPHHWLQJVZLWKFROODERUDWRUVVWXGHQWVDQG5$VRYHUWKH
\HDUV:KLOH,FDQQRWUHFUHDWHDFRPSUHKHQVLYHOLVWE\PHPRU\LWLVDFRPPRQSUDFWLFH,
IROORZHGZKHQZRUNLQJZLWKRWKHUVRQMRLQWSURMHFWV

7KLVLVLPSRUWDQWLQIRUPDWLRQWRJDWKHUVLQFHDQ\RQHZLWKP\DFFRXQWLQIRUPDWLRQFDQORJLQWR
P\4XDOWULFVDFFRXQWVQRWRQO\WRGRZQORDGGDWDWKH\FRXOGDOVRHGLWLW,WLVRQO\UHFHQWO\WKDW
4XDOWULFVKDVLQWURGXFHGDIHDWXUHWKDWDOORZVIRUWKHVHHGLWVWREHUHFRUGHGEXWWKLVLVVRPHWKLQJ

                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 653 of 1282




WKDWZDVQRWLQSODFHDWWKHWLPHRIWKLVVWXG\8QIRUWXQDWHO\DV,OHDUQHG4XDOWULFVRQO\NHHS
UHFRUGVRIWKHUHFHQWORJLQV
         
'XULQJP\GLVFXVVLRQZLWKWKHP4XDOWULFVLQIRUPHGPHWKDW,DPXQDEOHWRYLHZDQGSURYLGHWR
\RXKLVWRULFDOO\KRZRIWHQDQGZKHQRWKHUVORJJHGLQWR4XDOWULFVXVLQJP\ORJLQLQIRUPDWLRQ,
DOVRDVNHG4XDOWULFVVXSSRUWDERXWGDWDHGLWLQJDQGZKHWKHUHGLWVDUHWUDFNHG4XDOWULFVLQIRUPHG
PHWKDWLIVRPHRQHZDVORJJHGLQWRP\4XDOWULFVDFFRXQWDQGHGLWHGGDWDUHODWHGWRVWXGLHVWKDW
ZHUHFRQGXFWHGHDUOLHUWKDQ,ZLOOQRWEHDEOHWRVHHHGLWVDVWKH\ZHUHQRWWUDFNHGSULRUWR


,DOVRWDONHGWRDQ,7H[SHUWWRWU\WRXQGHUVWDQGZKHWKHURQHFRXOGWUDFNKLVWRULFDOO\WKHORJLQV
LQWRP\FRPSXWHU8QIRUWXQDWHO\DVIRUWKHFDVHRI4XDOWULFVLISHRSOHXVHGWKHVDPHORJLQV
WKDW,XVHGRQHFDQ¶WWHOOZKHWKHULWZDVPHRURWKHUVWRXVHP\ODSWRSZKLFKLVWKHPDLQDQG
RQO\PDFKLQH,XVHIRUZRUN,ZDVDOVRLQIRUPHGWKDWORJLQGDWDLVQRWDYDLODEOHKLVWRULFDOO\DQG
WKDW,ZRXOGQRWEHDEOHWRGHWHUPLQHRQZKLFKGDWHVDQGWLPHVLQWKHSDVWP\ORJLQZDVXVHG
UHJDUGOHVVRIWKHXVHU,WRRNWKHVHVWHSVWRJDLQDEHWWHUXQGHUVWDQGLQJRIZKRPD\KDYHDFFHVVHG
P\ILOHVRUGDWDRYHUWKH\HDUVDQGFUHDWHDSUHFLVHORJ%XWXQIRUWXQDWHO\WKLVHIIRUWGLGQRW
SURGXFHUHVXOWV

'XULQJWKLVSURFHVV,GLGPDNHDGLVWXUELQJGLVFRYHU\$V\RXFDQVHHLQWKHLPDJHEHORZ
  ZKLFKLVDVFUHHQVKRW,WRRNRIWKHORJLQVDYDLODEOH MXVWGXULQJWKHSDVWIHZPRQWKVWKHUH
KDYHEHHQPXOWLSOHORJLQVWRP\DFFRXQWIURPWKH8VHUIJLQR#KEVHGX,ZDVVXUSULVHGWRVHH
WKLVDV,PDGHRQO\VRPHRIWKHDWWHPSWVWRORJLQWRP\DFFRXQW2YHUWKH\HDUVDV,QRWHG
GXULQJWKHLQTXLU\VWDJH,VKDUHGP\DFFRXQWLQIRUPDWLRQZLWKFROODERUDWRUVVWXGHQWVDQG5$V
VRDVWRDVVXUH,GLGQRWFUHDWHERWWOHQHFNVZKLOHZRUNLQJRQSURMHFWV$FKHFNRIWKH,3DGGUHVV
  DQGFRQQHFWLQJLWWRDSK\VLFDODGGUHVV LQGLFDWHVWKDWWKHVHDWWHPSWVZHUHQRWIURPPH WKH\
FRUUHVSRQGQHLWKHUWRP\KRPHDGGUHVV+DUYDUGDGGUHVVRUDQ\RWKHUDGGUHVVDWZKLFK,ZRUNRU
KDYHEHHQ ,QOLJKWRIWKLVGLVFRYHU\,FKDQJHGP\SDVVZRUGRQ2FWREHU%HIRUHWKDW
GDWHP\SDVVZRUGKDGEHHQWKHVDPHVLQFHWKH4XDOWULFVDFFRXQWZDVFUHDWHG






                                                 

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 654 of 1282




                                                                         

,WRRNWKLVRSSRUWXQLW\WRFKDQJHDOORIP\ORJLQVDQGSDVVZRUGV$VDQHZSUDFWLFHLQP\ODE,
ZLOOQRWVKDUHDQ\RIP\DFFRXQWV¶LQIRUPDWLRQDQ\ORQJHUZLWKRWKHUV$V,PHQWLRQHG
SUHYLRXVO\WKHSUDFWLFHRIVKDULQJP\ORJLQZDVVRPHWKLQJ,OHDUQHGZKHQZRUNLQJDVDQ5$
IRURWKHUIDFXOW\PHPEHUVDQGZDVFHUWDLQO\FRPPRQSUDFWLFHLQWKHSDVW+RZHYHUGXHWRWKH
GLIILFXOWLHV,KDYHKDGGXULQJWKLVSURFHVV,ZLOOFHDVHVKDULQJWKHORJLQVRWKDWXVHUGDWDLV
DFFXUDWH

$IWHUUHYLHZLQJWKHLQIRUPDWLRQLQWKHIRUHQVLFUHSRUW,ILQGVRPHRIWKHHUURUVLQZKDWPD\KDYH
EHHQGDWDFOHDQLQJWREHGLIILFXOWWRXQGHUVWDQGVXFKDVLQFOXGLQJWKHIRXUSDUWLFLSDQWVZKRGLG
QRWJLYHFRQVHQW7KLVEDVLFLQIRUPDWLRQLVVRPHWKLQJ,ZRXOGH[SHFWDQ5$WRQRWPLVVRUJHW
ZURQJ7KLVVXJJHVWVWKHSRVVLELOLW\WKDWVRPHRQHPD\KDYHDFFHVVHGWKHGDWDRQ4XDOWULFVDQG
HGLWHGLW,GRQRWKDYHUHFRUGVRISURFHGXUHVWKH5$5$VPD\IROORZHGWRSUHSDUHWKHGDWDIRU
DQDO\VHVVRLWLVKDUGWRPDNHVHQVHRIWKHFKRLFHVWKH\PD\KDYHPDGH
                                                

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 655 of 1282





+RZHYHU,EHOLHYHLQWKHDFFXUDF\RIWKHGDWDSRVWHGRQ26)7KDWLVWKHGDWD,XVHGWRUXQWKH
DQDO\VHV,ZRXOGQHYHUSRVWGDWDWKDWKDVHUURUVLQLW,DOVREHOLHYHLQWKHYDOLGLW\RIWKHILQGLQJV
RIWKHSDSHUPRUHJHQHUDOO\,FRQGXFWHGDPHWDDQDO\VLVZLWKRXWLQFOXGLQJWKHVWXG\LQTXHVWLRQ
UHO\LQJRQWKHGDWDIURPWKHILHOGDQGWKHRWKHUODEVWXGLHVDQGWKHHIIHFWVGRH[LVW

:KLOH,QRORQJHUZLOOVKDUHP\SDVVZRUGVDQGORJLQVZLWKFROODERUDWRUVRURWKHUVKHOSLQJPH
FRQGXFWGDWDWKHUHVKRXOGQRWEHDILQGLQJRIUHVHDUFKPLVFRQGXFWEDVHGRQWKHSUHYLRXVVKDULQJ
RIORJLQLQIRUPDWLRQ6XFKVKDULQJZDVKRZ,ZDVWUDLQHGDQGZDVDQDFFHSWHGSUDFWLFHLQWKH
UHOHYDQWUHVHDUFKFRPPXQLW\$GGLWLRQDOO\WKHODFNRIHYLGHQFHWKDWGDWDDOWHUDWLRQVRFFXUUHGDW
DOOIDLOVWRVXSSRUWDILQGLQJRIIDOVLILFDWLRQRUIDEULFDWLRQ$GGLWLRQDOO\LIDQ\DOWHUDWLRQGLG
RFFXU,GLGQRWLQVWUXFWLQWHQGRUNQRZRILWVRFFXUUHQFH%DVHGRQDSUHSRQGHUDQFHRIWKH
HYLGHQFHWKHUHFDQQRWEHDILQGLQJRIUHVHDUFKPLVFRQGXFW

$OOHJDWLRQ3V\FK6FLHQFH3DSHU
&ODLPHG,VVXH'U*LQRIDOVLILHGDQGRUIDEULFDWHGSRUWLRQVRIWKHGDWDVHWIRU6WXG\LQWKH
3V\FKRORJLFDO6FLHQFH3DSHUE\DOWHULQJDGGLQJRUGHOHWLQJDQXPEHURIREVHUYDWLRQV
7KHVHFKDQJHVUHVXOWHGLQVLJQLILFDQWHIIHFWVVXSSRUWLQJWKHK\SRWKHVHVDVUHSRUWHGLQWKH
SXEOLVKHGSDSHU$QDO\VHVRIWKHRULJLQDO4XDOWULFVGDWDGRQRWVXSSRUWWKHK\SRWKHVHV2FWREHU
1RWLFHRI&KDQJHRI$OOHJDWLRQV

*HQHUDO3ULQFLSOH,KDYHQHYHUDOWHUHGRUPDGHXSDQ\GDWDLQDQ\RIP\SDSHUVLQFOXGLQJWKH
3V\FK6FLHQFHSDSHU

$VLWZDVWKHFDVHIRU$OOHJDWLRQ,ILUVWDFFHVVHGWKHGDWDIRUWKLVVWXG\ZKHQUXQQLQJWKH
DQDO\VHVWKDWDUHUHSRUWHGLQWKHSXEOLVKHGSDSHU7KLVLVWKHILOHWKDWLVSRVWHGRQ26)DQGGLG
QRWFKDQJHIURPWKHILUVWWLPH,DFFHVVHGLWWRWKHWLPHLWZDVSRVWHGRQ26),ZDVQRWWKHSHUVRQ
ZKRFOHDQHGWKHGDWDDQGSUHSDUHGLWIRUWKHDQDO\VHV$VFRPPRQLQP\SUDFWLFHVWKRVHDUH
WDVNV5$VDUHUHVSRQVLEOHIRUVLQFHWKH\RYHUVHHVWXGLHVZKHQFRQGXFWHG

:KHQWKHFRPPLWWHHDVNHGPHWRSURYLGHWKHRULJLQDOGDWDIRUWKLVVWXG\,ZHQWWKURXJKP\
4XDOWULFVVXUYH\VWRWUDFNGRZQWKHGDWD*LYHQWKDWWKHUHVHDUFKIRUWKLVVWXG\ZDVFRQGXFWHG
PRUHWKDQHLJKW\HDUVDJR,GRQRWNQRZQRUGR,UHPHPEHUWKHUHDVRQIRUXVLQJERWKGDWDIURP
WKHRQOLQHYHUVLRQRIWKHVWXG\DQGWKH&/(5YHUVLRQRIWKHVWXG\DQGZKDWGHFLVLRQVZHUHPDGH
UHJDUGLQJLQFOXVLRQVRUH[FOXVLRQVRISDUWLFLSDQWV,WLVQRWXQFRPPRQWRH[FOXGHREVHUYDWLRQV
IURPDVWXG\ZKHQWKHUHDUHUHDVRQVWREHOLHYHWKDWDSDUWLFLSDQWKDVQRWFRPSOLHGZLWK
LQVWUXFWLRQVRUHQJDJHGLQEHKDYLRUVWKDWZRXOGGDPDJHWKHTXDOLW\RIWKHLUUHVSRQVHV HJQRW
SD\LQJDWWHQWLRQDFWLQJGLVUXSWLYHO\HWF :KHQVWXGLHVDUHFRQGXFWHGLQWKHODEDVZDVWKHFDVH
IRUWKH&/(5YHUVLRQWKH5$RYHUVHHLQJWKHVWXG\ZRXOGWDNHQRWHRIDQ\EHKDYLRUVWKDWZRXOG
VXJJHVWWKHSDUWLFLSDQWZRXOGKDYHWREHUHPRYHGIURPWKHGDWDVHW7KHVHDUHGLVFXVVLRQV,KDYH
ZLWKWKH5$SULRUWRFRQGXFWLQJDVWXG\RUDWOHDVWSULRUWRFOHDQLQJWKHGDWD)RULQVWDQFHWKHUH
KDGEHHQLQVWDQFHVZKHUHSDUWLFLSDQWVZHUHH[FOXGHGVLQFHEDVHGRQWKH5$¶VREVHUYDWLRQWKH\
ZHUHGLVWUDFWHGWKURXJKRXWWKHVWXG\RUGLVUXSWHGRWKHUV

7KHUHDUHDOVRRWKHUFKDQJHVDFURVVGLIIHUHQWYHUVLRQVRIWKHGDWDWKDWWKH0&*UHSRUWSRLQWHGWR
WKDWDUHGLIILFXOWIRUPHWRPDNHVHQVHRIJLYHQWKDW,KDYHQRQRWHVDERXWWKHSURFHGXUHVXVHGWR

                                                   

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 656 of 1282




KDQGOHWKHGDWDEHIRUH,DQDO\]HGLW$QGJLYHQWKHIDFWWKDWRWKHUVKDGDFFHVVWRP\4XDOWULFV
DFFRXQWDQGWKDWDQ\GDWDHGLWLQJRQ4XDOWULFVZDVQRWWUDFNHGDWWKHWLPHLWLVXQFOHDUZKRPDGH
FKDQJHVDQGZK\

:LWKRXWQRWHVRQZKDWKDSSHQHGGXULQJWKHVWXG\,DPXQDEOHWRGHWHUPLQHWKHFRQGLWLRQVDQG
UHDVRQVDSSO\LQJWRWKRVHSDUWLFLSDQWVZKRDSSHDUWRKDYHEHHQH[FOXGHG7KH+DUYDUGGDWD
UHWHQWLRQSROLF\UHTXLUHVWKDWUHVHDUFKUHFRUGVEHUHWDLQHGIRUVHYHQ\HDUVDIWHUWKHFRQFOXVLRQRI
WKHVWXG\DFWLYLWLHV+%63ROLF\DWS5HWHQWLRQDQG0DLQWHQDQFHRI5HVHDUFK5HFRUGVDQG
'DWD)UHTXHQWO\$VNHG4XHVWLRQVDWS
KWWSVUHVHDUFKKDUYDUGHGXILOHVUHVHDUFKBUHFRUGVBDQGBGDWDBUHWHQWLRQBDQGBPDLQWHQDQF
HBJXLGDQFHBUHYBSGI%HFDXVHWKHSDSHUUHODWHGWRWKLVDOOHJDWLRQZDVSXEOLVKHGVHYHQ\HDUV
DJRWKHUHLVQRUHTXLUHPHQWIRUDGGLWLRQDOUHWHQWLRQ7KHUHIRUHWKHLQDELOLW\WRORFDWHVXFKQRWHV
UHODWHGWRSDUWLFLSDQWH[FOXVLRQFDQQRWLWVHOIEHWKHEDVLVIRUDILQGLQJRIUHVHDUFKPLVFRQGXFW
+%63ROLF\DWS)XUWKHUZLWKRXWDQ\IXUWKHUHYLGHQFHWKDWVXFKH[FOXVLRQVZHUHXQIRXQGHG
WKHUHLVQRHYLGHQFHWKDWVXFKDFWLRQVZHUHLPSURSHURUZLWKRXWDQDFFXUDWHUHVHDUFKSXUSRVH$V
VXFKWKHUHFDQQRWEHDILQGLQJRIUHVHDUFKPLVFRQGXFWE\DSUHSRQGHUDQFHRIWKHHYLGHQFH

$OOHJDWLRQ3V\FK6FLHQFH3DSHU
&ODLPHG,VVXH'U*LQRIDOVLILHGDQGRUIDEULFDWHGGDWDZLWKLQWKHGDWDVHWVIRU6WXG\LQWKH
3V\FKRORJLFDO6FLHQFH3DSHU,QSDUWLFXODU
      x VRPHSDUWLFLSDQWFRQGLWLRQVDSSHDUWRKDYHEHHQVZLWFKHGLQDGLUHFWLRQWKDWIDYRUHGWKH
            K\SRWKHVL]HGDQGUHSRUWHGUHVXOWV
      x VRPHSDUWLFLSDQWV¶5$7VFRUHVDSSHDUWRKDYHEHHQDOWHUHGLQDGLUHFWLRQIDYRULQJWKH
            K\SRWKHVL]HGDQGUHSRUWHGUHVXOWVDQG
      x REVHUYDWLRQVZLWKLQWKHFKHDWLQJFRQGLWLRQDUHRXWRIVRUWZKHQVRUWHGE\ZKHWKHU
            SDUWLFLSDQWVFKHDWHGRQWKHWDVNWKH\ZHUHDVNHGWRSHUIRUPDQGE\KRZPDQ\XVHVIRUD
            QHZVSDSHUWKH\IRXQG7KHVHREVHUYDWLRQVVXEVWDQWLDOO\FRQWULEXWHWRWKHVLJQLILFDQFH
            RIWKHK\SRWKHVL]HGHIIHFWV2FWREHU$OOHJDWLRQ&KDQJH1RWLILFDWLRQ

*HQHUDO3ULQFLSOH,KDYHQHYHUDOWHUHGRUPDGHXSDQ\GDWDLQDQ\RIP\SDSHUVLQFOXGLQJWKH
3V\FK6FLHQFHSDSHU

7KH'$&ILOH DVUHIHUUHGWRLQWKH0&*UHSRUW LVWKHRQH,XVHGZKHQUXQQLQJWKHDQDO\VHVWKDW
DUHUHSRUWHGLQWKHSXEOLVKHGSDSHU7KLVLVWKHILOHWKDW,VKDUHGZLWKWKHFRPPLWWHHDVZHOODQG
WKDW,ZRXOGKDYHVKDUHGZLWKDQ\RQHZKRDVNHGIRUWKHGDWD,GLGQRWFKDQJHDQ\RIWKHGDWD
IURPWKHILUVWWLPH,DFFHVVHGLWWRWKHWLPHWKHDQDO\VHVZHUHFRQGXFWHG$JDLQ,ZDVQRWWKH
SHUVRQZKRFOHDQHGWKHGDWDPHUJHGGLIIHUHQWGDWDVHWVRIUDZGDWDJLYHQKRZWKHVWXG\ZDV
FRQGXFWHGDQGSUHSDUHGLWIRUWKHDQDO\VHV$VFRPPRQLQP\SUDFWLFHVWKRVHDUHWDVNV5$VDUH
UHVSRQVLEOHIRUVLQFHWKH\RYHUVHHVWXGLHVZKHQFRQGXFWHG


 7KRXJKWKHTXDQWLWDWLYHGDWDLWVHOIKDVEHHQUHWDLQHGVLQFHWKHUHTXLUHGSHULRGDORQJZLWKRWKHUUHOHYDQWGRFXPHQWV
LWLVQRWLPPHGLDWHO\DSSDUHQWIURPWKH+DUYDUGUHWHQWLRQSROLF\WKDWZULWWHQQRWHVUHJDUGLQJLQGLYLGXDOSDUWLFLSDQWV
ZRXOGKDYHEHHQUHTXLUHGWREHUHWDLQHGIRUWKHVHYHQ\HDUV5HWHQWLRQDQG0DLQWHQDQFHRI5HVHDUFK5HFRUGVDQG
'DWD)UHTXHQWO\$VNHG4XHVWLRQVDWS
KWWSVUHVHDUFKKDUYDUGHGXILOHVUHVHDUFK UHFRUGV DQG GDWD UHWHQWLRQ DQG PDLQWHQDQFH JXLGDQFH UHY 
SGI
$GGLWLRQDOO\WKHFLWHGUHVHDUFKUHFRUGSROLF\GDWHG-XO\ZDVRQO\DGRSWHGVLQFHWKHFRQFOXVLRQRIWKHVWXG\DW
LVVXH,WLVXQFOHDUZKDWJXLGDQFHRUUHTXLUHPHQWVZHUHLQSODFHLQ

                                                          

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 657 of 1282





/LNHWKH0&*UHSRUWQRWHVZLWKRXWDFFHVVWRWKHRULJLQDOGDWD,DPKDYLQJWURXEOHXQGHUVWDQGLQJ
LIWKHUHDUHLQIDFWHUURUVLQWKHZD\WKHGDWDZDVFOHDQHGRUSUHSDUHGIRUDQDO\VHVE\WKH5$5$V
ZKRKHOSHGRQWKHSURMHFW,GREHOLHYHDVD,VWDWHGDWWKHWLPHRIWKHLQTXLU\WKDWWKH
FRPSODLQDQW¶VDVVHUWLRQVDERXWVRUWLQJPD\EHWKHUHVXOWRIWZRGDWDVHWVEHLQJPHUJHGJLYHQWKDW
VRPHRIWKHGDWDFDPHIURPDVRIWZDUHWUDFNLQJZKHWKHUSDUWLFLSDQWVFKHDWHGYHUVXVQRW

$VDJHQHUDOSUDFWLFHQRWRQO\LQP\ODEEXWIRUUHVHDUFKPRUHJHQHUDOO\YDULDEOHVWKDWQHHGWR
EHFRGHGDVLWZDVWKHFDVHIRUIOXHQF\DQGIOH[LELOLW\DVZHOODV5$7SHUIRUPDQFHDUHFRGHGE\
5$VZKRDUHEOLQGWRFRQGLWLRQDQGK\SRWKHVHV,WZRXOGFUHDWHELDVIRUDXWKRUVWRGRVXFK
FRGLQJDVDXWKRUVDUHDZDUHRIWKHK\SRWKHVHVEHLQJWHVWHG7KHWH[WLQWKHSXEOLVKHGSDSHU
VSHDNVDERXWWKLVSRLQW
         ³6XFFHVVRQWKH5$7UHTXLUHVSHRSOHWRWKLQNRIXQFRPPRQDVVRFLDWLRQVWKDWVWLPXOXV
         ZRUGVPD\KDYHLQVWHDGRIIRFXVLQJRQWKHPRVWFRPPRQDQGIDPLOLDUDVVRFLDWLRQVRI
         WKRVHZRUGV´3V\FK6FLHQFHSDSHUDWS

7KLVUHTXLUHVMXGJPHQWRILQGHSHQGHQW5$VDVNHGWRFRGHUHVSRQVHVWRFUHDWHWKHYDULDEOH5$7
SHUIRUPDQFH,WLVQRWVRPHWKLQJWKDWFDQEHFRGHGDQGDXWRPDWLFDOO\FRPSXWHGRQ4XDOWULFV
         
         ³)RUWKHXVHVWDVNWKH\KDGWRJHQHUDWHDVPDQ\FUHDWLYHXVHVIRUDQHZVSDSHUDV
         SRVVLEOHZLWKLQPLQ *XLOIRUG 7RDVVHVVFUHDWLYLW\RQWKLVWDVNZHFRGHG
         UHVSRQVHVIRUIOXHQF\ LHWKHWRWDOQXPEHURIXVHV IOH[LELOLW\ LHWKHQXPEHURIXVHV
         WKDWZHUHGLIIHUHQWIURPRQHDQRWKHU DQGRULJLQDOLW\ DYHUDJHGDFURVVWKHGLIIHUHQW
         VXJJHVWHGLGHDV´3V\FK6FLHQFHSDSHUDWS

$JDLQIRUWKLVWDVN5$VEOLQGWRWKHVWXG\K\SRWKHVHVDQGFRQGLWLRQZRXOGFRGHWKHWDVN

,WKLQNLWLVLPSRUWDQWWRFRQVLGHUWKHGLIIHUHQFHVLQVWDQGDUGUHVHDUFKSUDFWLFHVWRGD\YHUVXVWHQ
\HDUVDJRZKHQWKLVUHVHDUFKZDVFRQGXFWHG7HQ\HDUVDJRZKHQ,UHJXODUO\PHWZLWK5$VLQ
SHUVRQH[FKDQJHGILOHVZLWK86%VDQGDOORZHG5$VWRXVHP\RZQFRPSXWHUUHVHDUFKZDV
FRQGXFWHGGLIIHUHQWO\WKDQLWLVWRGD\,DPXQDEOHWRUHFRQVWUXFWZKRGLGWKHFRGLQJRQWKHVH
WDVNVDQGZKRZDVUHVSRQVLEOHIRUPHUJLQJILOHVDQGSUHSDUHWKHGDWDVHWIRUDQDO\VHV+RZHYHU
GHVSLWHWKLVEHLQJDVWXG\IURPWHQ\HDUVDJR,NQRZZLWKFHUWDLQW\WKDW,GLGQRWDOWHUGDWD
:LWKRXWDGGLWLRQDOGDWDDQGHYLGHQFHDVWKHIRUHQVLFUHSRUWQRWHVWKHUHFDQQRWEHFRQFOXVLRQV
WKDWWKHGDWDFOHDQLQJRUDQ\RWKHUDFWLRQWDNHQZDVLPSURSHURUZLWKRXWPHULW,QWKHDEVHQFHRI
VXFKHYLGHQFHWKHUHVKRXOGQRWEHDILQGLQJRIUHVHDUFKPLVFRQGXFW

$OOHJDWLRQV$DQG%

,QWKHODVWIHZPRQWKV,WRRNVHYHUDODFWLRQVWRWU\WRUHFRQVWUXFWWKHKLVWRU\RIWKLVSURMHFW
ZKLFKZDVSXEOLVKHGLQLQ31$60RUHVSHFLILFDOO\
      ,FRQWDFWHG,7DW81&WRVHHLILWZRXOGEHSRVVLEOHIRUPHWRKDYHDFFHVVWRHPDLOVIURP
         WKHWLPH,ZDVDW81&,7LQIRUPHGPHWKDWVLQFH,DPQRWD81&HPSOR\HHDQ\ORQJHU
         WKDWLVQRWDSRVVLELOLW\$QGHYHQLIWKH'HDQRUWKH3URYRVWZHUHWRPDNHDQH[FHSWLRQ
         WKHHPDLOVGRQRWH[LVWDQ\ORQJHUVLQFHWRRPXFKWLPHKDVSDVVHG,OHIW81&LQWKH
         VXPPHURI

                                                  

        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 658 of 1282




        ,FRQWDFWHGWKHODEDW81&DQGWKHSHRSOHZKRDUHFXUUHQWO\UHVSRQVLEOHWRVHHLIWKHGDWD
         RQSDSHUVWLOOH[LVWV,WGRHVQRW
        ,FRQWDFWHGWKHILQDQFHGHSDUWPHQWWRVHHLI,FRXOGWUDFNGRZQUHFHLSWVRISDUWLFLSDQWV
         SDLGIRUWKHVWXG\LQTXHVWLRQ5HFHLSWVXVHGWREHRQSDSHUDQGDUHFRUGZDVQRWNHSW
        ,FRQWDFWHGWKH,5%DW81&WRVHHLI,FRXOGDFFHVVWKHGLIIHUHQWYHUVLRQVRIWKH,5%WKDW
         KDGEHHQVXEPLWWHGDQGWKHQUHYLVHGDQGDSSURYHG$WWKHWLPHVXEPLVVLRQVZHUHVWLOO
         GRQHRQSDSHUUDWKHUWKDQHOHFWURQLFDOO\DQGWKHVHVXEPLVVLRQVDUHQRWSDUWRIWKHUHFRUGV
         DQ\ORQJHUVLQFHWRRPXFKWLPHKDVSDVVHG
        ,FRQWDFWHGWKHEDQN,KDGZKHQ,ZDVDW81&)RUVWXGLHV,XVHGWRJRWRWKHEDQNIRU
         FDVKDQGWKHQJHWUHLPEXUVHGE\WKHXQLYHUVLW\,WKRXJKW,FRXOGWU\WRWUDFNGRZQWKH
         IORZRIPRQH\LQDQGRXWRIWKHDFFRXQW%XWWRRPXFKWLPHKDVSDVVHGDQGWKHEDQNKDV
         QRZD\WRSURYLGHWKHLQIRUPDWLRQ,ZDVORRNLQJIRU ,FORVHGWKHDFFRXQWZKHQPRYLQJ
         WR%RVWRQ 
        ,FRQWDFWHGRQHRIWKHSDSHU¶VFRDXWKRUV           ZLWKRXWUHYHDOLQJWKDW,ZDVORRNLQJ
         IRUWKHLQIRUPDWLRQEHFDXVHRIWKLVLQYHVWLJDWLRQWRVHHLIVKHKDGDFFHVVWRHPDLOVIURP
         WKDWWLPH6KHGRHVQRW
        ,FRQWDFWHGDQRWKHUFRDXWKRURQWKHSDSHU                  WRVHHLIKHFRXOGVKDUH
         HPDLOVIURPWKDWWLPHDJDLQZLWKRXWPHQWLRQLQJWKHLQYHVWLJDWLRQ+HVXJJHVWHG,FRQVXOW
         ZLWK,7WRILQGWKHHPDLOV,GLGUHDFKRXWWR,7DW+%6EXWWKHUHLVQRUHFRUGVRIHPDLOV
         WKDW,PD\KDYHGHOHWHGZKHQUHFHLYHGDQGDQLQFRPSOHWHUHFRUGRIHPDLOVLQWKHVHQW
         IROGHUGXULQJ

,DOVRWULHGWRUHFRQVWUXFWP\VXPPHUVLQFH,ZDVPRYLQJIURP81&WR+%6EXWVSHQW
WLPHZRUNLQJDVDUHVHDUFKFRQVXOWDQWDW'LVQH\IRUZRUNLQFROODERUDWLRQZLWK                    ,
KDYHEHHQXQDEOHWRUHFRQVWUXFWP\FDOHQGDUIRUWKDWSHULRGLQWLPH
      ,FRQWDFWHG([SHGLDWRVHHLIWKH\KDGDQ\UHFRUGVRIIOLJKWV,ERXJKW7KH\GLGQRWKDYH
         WKHLQIRUPDWLRQ,ZDVORRNLQJIRU
      ,FRQWDFWHGWKHWZRSHRSOH,ZRUNHGFORVHO\ZLWKDW'LVQH\ZKRKDYHVLQFHOHIWWKH
         FRPSDQ\7KH\GRQRWKDYHDZD\WRKHOSILJXUHRXWZKLFKGD\V,ZDVRQVLWHDQGZKLFK
         GD\V,ZDVQRWGXULQJWKHVXPPHURI

,GLGQRWFRQWDFWWKH5HVHDUFK$VVLVWDQWDWWKHWLPH                    IRUWZRPDLQUHDVRQV
      ,ZDVWROGWKHFRPPLWWHHZRXOGUHDFKRXWWRKHU
      ,DPXQVXUHZKHWKHU          LVDQHXWUDOSHUVRQ$V,PHQWLRQHGLQP\&RPPHQWVWRWKH
         'UDIW,QTXLU\5HSRUW                LVDFORVHIULHQGRIWKH'DWD&RODGDWHDPZKR
         KLJKOLJKWHGSUREOHPVZLWKWKHILHOGVWXG\LQWKH31$6SDSHU,QPXOWLSOHRFFDVLRQV
                     H[SUHVVHGIUXVWUDWLRQDQGKHURSLQLRQWKDW,GLGQRWGRHQRXJKWRGHIHQGKHU
         SRVLWLRQDQGYLHZVLQWKHFRQWHQWLRXVUHODWLRQVKLSZLWKWKHRWKHUFRDXWKRUVRIWKH
         31$6SDSHU              H[SOLFLWO\WROGPHWKDWVKHZLVKHGRQHGD\,³ZRXOGVXIIHUDV
         PXFKDV´VKHGLGWKRXJK                KDGZRUNHGDVD3RVW'RFWRUDO)HOORZXQGHU          
                IRU\HDUV           DVDFROODERUDWRURQPXOWLSOHSURMHFWVDWWKHWLPHLVRQHRIWKH
         SHRSOHZKRKDGDFFHVVWRP\DFFRXQWV              ZRUNHGIRUERWK           DQG            
         IROORZLQJKHUWLPHZLWKPH7RWKHH[WHQWWKDW                 GLVFXVVHGKHUYLHZRIWKHLVVXHV
         QRWHGLQ$OOHJDWLRQ$DQG%ZLWK             ,DPXQVXUHRIWKHQHXWUDOLW\RI     JLYHQ
         WKHVHIULHQGVKLSVDQGFRQQHFWLRQV


                                                    

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 659 of 1282




$OOHJDWLRQ$31$63DSHU
&ODLPHG,VVXH³'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHUHVXOWVE\UHPRYLQJRUDOWHULQJSDUWVRI
WKHGHVFULSWLRQVRIVWXG\SURFHGXUHVIURPGUDIWVRIWKHPDQXVFULSWVXEPLWWHGIRUSXEOLFDWLRQWKXV
PLVUHSUHVHQWLQJWKHVWXG\SURFHGXUHVLQWKHILQDOSXEOLFDWLRQ7KHRULJLQDOSURFHGXUHGHVFULSWLRQV
  VXEVHTXHQWO\UHPRYHGRUDOWHUHGE\'U*LQR SRLQWHGWRDVLJQLILFDQWIODZLQWKHH[HFXWLRQRI
WKHGDWDFROOHFWLRQIRU6WXG\ZKLFKFDOOHGLQWRTXHVWLRQWKHYDOLGLW\RIWKHVWXG\UHVXOWV´
2FWREHU1RWLFHRI&KDQJHRI$OOHJDWLRQV

*HQHUDO3ULQFLSOH,QDQ\RIP\SDSHUV,¶YHDOZD\VIROORZHGWKHVDPHDSSURDFK,OHDUQHG
GXULQJP\JUDGXDWHVFKRROFODVVHVGHVFULSWLRQVRIVWXGLHVQHHGWREHDFFXUDWHDQGGHWDLOHGVR
WKDWDQ\UHDGHUFRXOGUHUXQWKHVDPHVWXG\ZLWKRXWKDYLQJWRFRQWDFWWKHDXWKRU V ZLWK
TXHVWLRQV,IROORZHGWKLVSULQFLSOHLQHYHU\SDSHU,ZRUNHGRQVRIDULQP\FDUHHULQFOXGLQJWKH
31$6SDSHU

,GRQ¶WFRQWHVWWKHDQDO\VLVRIWKHWH[WDQGILOHVWKDWWKH0&*JURXSFRQGXFWHG7KRXJK,DPQRW
IDPLOLDUZLWKWKH*LWVRIWZDUH0&*XVHG,FRXOGIROORZWKHLUDQDO\VHVDV,P\VHOIFRPSDUHG
YDULRXVGUDIWVRIWKHSDSHUZKHQLWZDVLQGUDIWIRUPDQGPDGHQRWHRIGLIIHUHQFHV,GRQ¶W
FRQWHVWWKDWGLIIHUHQFHVDFURVVGUDIWVGRH[LVW$OODORQJ,SURYLGHGDOOWKHILOHV,FRXOGILQGWKDW
VKRZGLIIHUHQWYHUVLRQVRIWKHPDQXVFULSWDVZHZHUHZRUNLQJRQLW,QIDFW,ZRUNHGKDUGWR
ILQGRWKHUYHUVLRQVRIWKHSDSHUWKDW,GRQRWKDYHLQP\ILOHV

,DPQRWVXJJHVWLQJWKDWDQRWKHUFRDXWKRURQWKHSDSHURUVRPHRQHHOVHFKDQJHGWKHGUDIWRIWKH
PDQXVFULSWDVDUHVXOWRI            DVNLQJTXHVWLRQVDERXWWKHSURFHGXUHXVHGLQWKHODEVWXG\,
ZDVWKHRQHZKRRYHUVDZWKHVWXG\DW81& ZLWK             DQGRWKHU5$VUXQQLQJLW VRLWPDGH
VHQVHIRU            WRDVNPHDQGIRUPHWRFODULI\WKHSURFHGXUH,DPFRQILGHQW,ZDVWKHRQH
ZKRFKDQJHGWKHGUDIWWRFODULI\WKHSURFHGXUH%XW,DPDOVRFRQILGHQW,GLGVRDIWHUFKHFNLQJ
ZKDWWKHSURFHGXUHWKDWZDVIROORZHGLQWKHVWXG\DFWXDOO\ZDV

7KHGHEDWHKHUHLVZKHWKHUDILUVWGUDIWRIWKLVSDSHUZDVDFFXUDWHRUWKHILQDOGUDIWLVDFFXUDWH
UHJDUGLQJWKHH[SHULPHQWDOSURFHGXUHWKDWZDVXVHGDQGZKHWKHU,NQRZLQJO\WULHGWRGHFHLYH
DQ\RQH7KHILQDOGUDIWLVDQDFFXUDWHGHVFULSWLRQRIWKHVWXG\SURFHGXUHZKLFKZDVUHYLVHGIRU
DFFXUDF\DQGQRWZLWKDQ\LQWHQWLRQWRGHFHLYH

$UHDVRQDEOHTXHVWLRQWRDVNLVZK\LVWKHILUVWGUDIWGHVFULSWLRQGLIIHUHQWIURPWKHILQDOGUDIW
VXEPLVVLRQ",IZHORRNDWWKDWILUVWGUDIWWKHUHDUHPDQ\UHYLVLRQVWKDWIROORZHG²VRPHDUH
VPDOO OLNHW\SRV DQGVRPHDUHODUJHU,DPQRWVXJJHVWLQJWKDWP\ILUVWGUDIWLVDFFXUDWH,PD\
KDYHPDGHDQHUURULQZULWLQJXSWKHILUVWGUDIWRIWKHVWXG\,FHUWDLQO\FDQ¶WVD\WKDWDOORIP\
ILUVWGUDIWVRISDSHUVDUHSHUIHFW$QGJLYHQWKDW(QJOLVKLVQRWP\ILUVWODQJXDJH DQGLWZDVOHVV
GHYHORSHGWKHQWKDQQRZ ,FHUWDLQO\KDYHUHZULWWHQDORWRIILUVWGUDIWVLQP\FDUHHU,WKLQN
HYHU\RQHLQRXUOLQHRIZRUNUHYLVHVGUDIWVPDQ\WLPHVDQGILUVWGUDIWDQGILQDOGUDIWVJHQHUDOO\
ORRNTXLWHGLIIHUHQW

:KDWKDSSHQHGKHUH",QWKHHPDLOH[FKDQJHV                  SRLQWHGRXWDSRVVLEOHHUURULQWKH
GHVFULSWLRQRIWKHVWXG\LQWKHILUVWGUDIW7KHZD\WKHILUVWGUDIWZDVZULWWHQVXJJHVWHGDQ
H[WUHPHO\EDVLFPHWKRGRORJLFDOHUURULQWKHVWXG\ PHDVXULQJWKHGHSHQGHQWPHDVXUHEHIRUHWKH
PDQLSXODWLRQRFFXUUHG ,DPFRQILGHQW,FKHFNHGZLWKWKHODEPDQDJHU                     DIWHU

                                                  

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 660 of 1282




          UDLVHGWKHTXHVWLRQLQKHUHPDLOGDWHG0DUFK30 6XEMHFWPRUDOVDOLHQF\
ZRUNLQJGUDIW)UDQFHVFD ,QJRLQJWKURXJKP\HPDLOV,IRXQGWKHIROORZLQJH[FKDQJHZKLFK
KDSSHQHGDIHZGD\VHDUOLHU7KHUHLVQRUHIHUHQFHWRWKHGHVFULSWLRQRIWKHSURFHGXUHRIWKH
VWXG\                    ¶VHPDLOVHHPVWREHWKHILUVWRQHWKDWUDLVHVTXHVWLRQVDERXWWKHSURFHGXUHWKDW
QHHGHGFODULILFDWLRQ

              )URP                             
              5(PRUDOVDOLHQF\ZRUNLQJGUDIW
              
              +LDOO
              
              ,UHDGWKURXJKRXUSDSHURQDIOLJKWRQ)ULGD\,KDYHVRPHPLQRUHGLWLQJWRGRZKHQLW
              LVP\WXUQEXWKHUHDUHDFRXSOHRIWKLQJVWKDWQHHGDWWHQWLRQE\WKRVHRI\RXZLWKPRUH
              NQRZOHGJHDQGVNLOOV
              
               SDJH,KDWHPRWLYDWLQJDSDSHUZLWKWKHJDSSRVLWLRQLQJ/HW¶VPRWLYDWHE\ZKDW
              LWGRHVQRWE\WKHIDFWWKDWVRPHRQHKDVQ¶WGRQHLWEHIRUH
              
               SDJH7KHPHDQVIRUWKHQXPEHURIPLOHVGULYHQLQD\HDUVHHPHQRUPRXVWZLFH
              ZKDW,ZRXOGKDYHH[SHFWHG$P,VLPSO\ZURQJLVWKHVDPSOHXQXVXDORULVWKHUHDQ
              HUURULQUHFRUGLQJWKHGDWD"
              
               ,QPXOWLSOHODEVWXGLHVZHQHHGWRFODULI\KRZZHNQRZZKHQVRPHRQHFKHDWV,
              FRXOGQ¶WILQGWKDWLQWKHSDSHUDJDLQWKLVPD\EHP\HUURU
                       
               :K\GRZHUHSRUWWKH6(0LQVWHDGRIWKHVWDQGDUGGHYLDWLRQ"
              
               VWXG\:HFRXOGXVHDELWPRUHLQWURRQHWKLFDOVDOLHQF\:KDWLVLW":K\GLGZH
              SLFNWKLVYDULDEOH
              
               VWXG\H[SODLQZK\LWLVVLJQILUVWYVFRQWUROUDWKHUWKDQKDYHVLJQODWHU,DPRN
              ZLWKWKLVEXWLWFRXOGXVHDVHQWHQFH
              
              7KDQNVIRUDOORIWKHZRUN
              
                     

7KH0&*DVVHVVPHQWDSSHDUVWRPDNHWKHDVVXPSWLRQWKDWWKH,5%DSSOLFDWLRQDQGRWKHUVWXG\
PDWHULDOVWKDWDUHXVHGLQWKHDQDO\VHVDUHWKHRQHVDSSURYHGE\WKH,5%DQGRUXVHGLQWKHVWXG\
7KDWLVQRWDVDIHDVVXPSWLRQWRPDNH5$VKHOSPHZLWKSUHSDULQJ,5%DSSOLFDWLRQV,JHQHUDOO\
VKDUHZLWKWKHPILOHVQHHGHGWRLQFOXGHLQWKHDSSOLFDWLRQDQGWKH\PDNHQHFHVVDU\
PRGLILFDWLRQV)RUWKLVVWXG\ZHXVHGDWDVNWKDW,RIWHQXVHGLQRWKHUVWXGLHVVRLWLVYHU\
SRVVLEOHWKDW,MXVWFRSLHGRYHUPDWHULDOVIURPRWKHUVWXGLHVDVSODFHKROGHU
            


 7KLVHPDLOLVORFDWHGLQ                ¶VHPDLOIROGHUGDWHG6XQGD\0DUFKDW30(DUOLHUUHSOLHVLQ
WKLVHPDLOWKUHDGDUHYLVLEOHLQWKHRULJLQDOHPDLO

                                                          

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 661 of 1282




7KH0DWK7DVNPDWHULDOVDUHPDWHULDOV,XVHGLQYDULRXVSUHYLRXVVWXGLHVDW81&DQGDOVRDW
&08EXWLQDGLIIHUHQWZD\DVFRPSDUHGWRWKHVWXG\IRUWKH31$6SDSHU:HVLPSO\KDG
SHRSOHXVHWKHWDVNDQGUHSRUWWKHLUSHUIRUPDQFHRQWKHFROOHFWLRQVOLSVRWKDWWKH\FRXOGEHSDLG
EDVHGRQZKDWWKH\UHSRUWHG7KLVWDVNDSSHDUHGLQPDQ\SXEOLVKHGSDSHUV,FRDXWKRUHGWKDW
ZHUHSXEOLVKHGEHIRUH
            
                  D *LQRHWDO  3V\FK6FLHQFH
                  E 0HDGHWDO  -(63
                  F =KRQJHWDO  3V\FK6FLHQFH
                  G *LQRHWDO  3V\FK6FLHQFH
                  H *LQRHWDO  2%+'3
                  I 6KXHWDO  363%
                  J *LQR 0DUJROLV  2%+'3
            
,WLVDOVRLPSRUWDQWWRFODULI\KRZWKH,5%ZRUNHGDW81&LQZKHQWKHVWXG\ZDV
FRQGXFWHG,WZRUNHGYHU\GLIIHUHQWO\WKDQKRZWKH,5%ZRUNVDW+DUYDUGLQ,QDW
81&,5%VZHUHUHODWLYHO\EURDGDQGQRWDVGHWDLOHGDVWKH\DUHWRGD\ZKHUHDOOPDWHULDOVQHHG
WREHLQFOXGHGLQWKHDSSOLFDWLRQZLWKWKHH[DFWVDPHZRUGLQJXVHGLQWKHVWXG\7KDWZDVQRWWKH
FDVHIRUWKH81&,5%DWWKDWWLPH6FKRODUVOLNHPHZRXOGGLVFXVVWKHSURFHGXUHZLWKWKH5$RU
ODEPDQDJHU LQWKLVFDVH                               :HZRXOGPHHWDOPRVWHYHU\GD\DQGZRUNWKURXJKWKH
VWXG\SURFHGXUHV                    ZRXOGWKHQSLORWWKHVWXG\DQGWKHQLIWKHUHZHUHWKLQJVWKDWQHHGHGWR
EHDGMXVWHGZHZRXOGDGMXVWWKHPEHIRUHUXQQLQJWKHILQDOVWXG\,W¶VKDUGWRVD\H[DFWO\KRZ
PDQ\FRQYHUVDWLRQVZHKDG RYHU\HDUVKDYHSDVVHGVLQFHWKHQ EXW,UHFDOOVSHDNLQJWR
        DOPRVWHYHU\GD\,IWKHUHZHUHDQHUURULQWKHSURFHGXUH                 ZRXOGKDYHSRLQWHGLWRXW
WRPHDQG,ZRXOGKDYHMXVWVWRSSHGWKHSURMHFWRUUHUXQWKHVWXG\XVLQJWKHFRUUHFWSURFHGXUH,
DPDOVRFRQILGHQWWKDWLI                      VDZDQ\GLVFUHSDQF\EHWZHHQWKHDSSURYHG,5%SURWRFRODQGWKH
VWXG\VKHZDVDVNHGWRUXQVKHZRXOGKDYHUDLVHGWKLVWRPHRU,ZRXOGKDYHUDLVHGWKLVWRKHULI
VKHZDVWKHRQHUHVSRQVLEOHIRUVXEPLWWLQJWKH,5%DSSOLFDWLRQDQGFRQGXFWLQJWKHVWXG\

7KHUHYLVLRQVWKDW,PDGHLQWKHGUDIWUHIOHFWHGZKDW,XQGHUVWRRGWKHSURFHGXUHWREHIURPWKH
FRQYHUVDWLRQVWKDW,DPFRQILGHQW,KDGZLWK                             ,WLVFRPPRQSUDFWLFHIRUPHWRFKHFN
ZLWKWKH5$ZKRFRQGXFWHGVWXGLHVRQDQ\FODULI\LQJTXHVWLRQVDERXWWKHSURFHGXUHVIROORZHG

,FDQVWDWHZLWKFRQILGHQFHWKDW,KDYHQHYHUZULWWHQDQ\WKLQJLQP\SDSHUVZLWKWKH
LQWHQWLRQWRPLVOHDG,KDYHLQRWKHUSURMHFWVGLVFRYHUHGHUURUVLQSURFHGXUHV²ZKHUHWKH5$RU
FRPSDQ\LQYROYHGFDUULHGRXWWKHSURFHGXUHGLIIHUHQWO\WKDQZHKDGLQWHQGHG)RULQVWDQFHLQD
SURMHFWZLWK                          LQYROYLQJD-DSDQHVHFRPSDQ\ZHGLVFRYHUHGWKHHUURUDIWHUWKHSDSHU
ZDVVXEPLWWHGWRDMRXUQDO 2UJDQL]DWLRQ6FLHQFH DQGKDGUHFHLYHGDQ5 5LQ-XO\RI:H
SXOOHGWKHSDSHURXWRQFHZHGLVFRYHUHGWKHHUURUDVZHZHUHZRUNLQJRQWKHUHYLVLRQV WKH
UDQGRPL]DWLRQZDVGRQHLQDZD\WKDWZDVQRWWUXO\UDQGRP ,KDYHDQHQWLUHIROGHURQP\
FRPSXWHURIGURSSHGSURMHFWV

7KHSURFHGXUHGHVFULEHGLQWKHILUVWGUDIWRIWKH31$6SDSHUGHILHVWKHEDVLFSULQFLSOHVRI
H[SHULPHQWDOGHVLJQ7KHVWXG\ZRXOGKDYHQHYHUEHHQFDUULHGRXWWRWKRVHVSHFLILFDWLRQVZKLFK


 ([DPSOHVDUHDYDLODEOHLQWKHIROGHU)JLQR'RFXPHQWV,5%81&&/26('678',(60RUDOJRDOVDQG:HDULQJ
IDNHDQG(WKLFVDQG0'

                                                       

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 662 of 1282




ZDVFOHDUXSRQIXUWKHUUHYLHZRIWKDWGUDIW$GGLWLRQDOO\WKHUHLVQRLQGLFDWLRQWKDW        
           RU            VDZDIODZLQWKHH[SHULPHQWDOGHVLJQZKHQWKH\MRLQHGWKHSURMHFW,I
WKHSURMHFWKDGEHHQVKRZHGDQGGHVFULEHGWRWKHPFRQVLVWHQWWRWKHILUVWGUDIWSURFHGXUH 
           RU           ZRXOGKDYHFRPPHQWHGRQVXFKDQLVVXH$OOWKHFRDXWKRUVVDZDQG
UHYLHZHGWKHILQDOGUDIWVRIWKHSDSHUDQGDIWHUWKHUHYLVLRQVDVWKRURXJKO\SUHYLRXVO\GHVFULEHG
QRRQHH[SUHVVHGDQ\FRQFHUQVZLWKWKHZD\WKHGHVFULSWLRQRIWKHPHWKRGZDVZULWWHQLQFOXGLQJ
WKRVHZLWKNQRZOHGJHRIWKHDFWXDOVWXG\SURFHGXUHV7KHVWXG\GHVLJQDVUHSRUWHGLQWKHILQDO
SDSHULVDFFXUDWHDQGWKHUHYLVLRQPDGHDIWHUWKHILUVWGUDIWDFFXUDWHO\UHIOHFWHGKRZWKHVWXG\
ZDVFDUULHGRXW%HFDXVHWKHSXEOLVKHGYHUVLRQRIWKHSURFHGXUHLVDFFXUDWHDQGUHYLVLRQVZHUH
PDGHRQO\WRFRUUHFWWKHSURFHGXUHWKHUHZDVQRIDEULFDWLRQRUIDOVLILFDWLRQDQGWKHUHFDQQRWEHD
ILQGLQJRIUHVHDUFKPLVFRQGXFW

$OOHJDWLRQ%31$63DSHU
&ODLPHG,VVXH'U*LQRIDOVLILHGDQGRUIDEULFDWHGWKHRULJLQDOGDWDVHWE\DOWHULQJDQXPEHURI
REVHUYDWLRQVLQDZD\WKDWIDYRUHGWKHK\SRWKHVL]HGUHVXOWV2FWREHU1RWLFHRI&KDQJH
RI$OOHJDWLRQV

*HQHUDO3ULQFLSOH,KDYHQHYHUDOWHUHGRUPDGHXSDQ\GDWDLQDQ\RIP\SDSHUVLQFOXGLQJWKH
31$6SDSHU

,ZDVDEOHWRIROORZWKHHYLGHQFHSUHVHQWHGLQWKH0&*UHSRUWDQGWKHYDULRXVDQDO\VHV
SUHVHQWHG:LWKRXWWKHRULJLQDOGDWDZKLFKZDVFROOHFWHGRQSDSHU,DPXQDEOHWRPDNHVHQVHRI
WKHLQFRQVLVWHQFLHVDFURVVWKHILOHV0&*DQDO\]HG8QIRUWXQDWHO\LWZDVFRPPRQSUDFWLFHLQP\
ODEIRURWKHUVZKHWKHUDQ5$RUGRFWRUDOVWXGHQWWRHQWHUGDWDRIWHQXVLQJP\FRPSXWHURUORJ
LQPDNLQJLWGLIILFXOWWRLQWHUSUHWWKHPHWDGDWDIRUDXWKRUVKLS'HVSLWHDOOP\HIIRUWV,FDQQRW
UHFUHDWHWKHGD\E\GD\KLVWRU\RIZKHUH,ZDVLQ-XO\RI±ZKDWGD\V,ZDVDW81&ZKDW
GD\V,ZDVDW'LVQH\LQ*OHQGDOH&$DQGZKDWGD\V,PD\KDYHEHHQLQ%RVWRQLIDQ\DWWKDW
SRLQW

:KDW,GRNQRZZLWKFHUWDLQW\LVWKDW,GLGQRWDOWHUDQ\GDWD$V,QRWHGLQP\FRPPHQWV
WRWKHGUDIWLQTXLU\UHSRUW³,KROGP\VHOIIXOO\DFFRXQWDEOHIRUWKHUHVHDUFK,SXEOLVKZKHWKHULW
LVDVRORDXWKRUHGSDSHURURQH,FROODERUDWHGRQZLWKRWKHUV´,IWKHUHDUHHUURUVLQWKHZD\DQ
5$FRGHGWKHGDWDFOHDQHGWKHGDWDRUHQWHUHGWKHGDWD,DPUHVSRQVLEOHIRUQRWFDWFKLQJWKRVH
HUURUV%XWLQWKLVFDVHZLWKRXWWKHRULJLQDOGDWDFROOHFWHGRQSDSHULWLVLPSRVVLEOHWRGHWHUPLQH
ZKDWHUURUVLIDQ\KDYHRFFXUUHG:LWKRXWHYLGHQFHRIVXFKHUURUVDQGKRZWKH\RFFXUUHGWKHUH
FDQQRWEHDILQGLQJRIIDEULFDWLRQRUIDOVLILFDWLRQE\DSUHSRQGHUDQFHRIWKHHYLGHQFH7KHODFNRI
HYLGHQFHWKDWGDWDDOWHUDWLRQVRFFXUUHGDWDOOIDLOVWRVXSSRUWDILQGLQJRIIDOVLILFDWLRQRU
IDEULFDWLRQ$GGLWLRQDOO\LIDQ\DOWHUDWLRQGLGRFFXU,GLGQRWLQVWUXFWLQWHQGRUNQRZRILWV
RFFXUUHQFH%DVHGRQDSUHSRQGHUDQFHRIWKHHYLGHQFHWKHUHFDQQRWEHDILQGLQJRIUHVHDUFK
PLVFRQGXFW

&RQFOXVLRQ

,KRSHWKDWDIWHUUHYLHZLQJWKHHYLGHQFHLQWKLVPDWWHULQFOXGLQJWKHODFNRIHYLGHQFHWKDW,NQHZ
RIRUGLUHFWHGDQ\DOWHUDWLRQRIGDWDWKDWLWLVFOHDUWKDWDOOHJDWLRQVDJDLQVWPHKDYHQRPHULW,GR
UHJUHWWKDW,GLGQRWGRPRUHWRSURWHFWDFFHVVWRP\DFFRXQWV HJVKDULQJORJLQLQIRUPDWLRQ

                                                  

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 663 of 1282




IUHHO\ DQGNHHSPRUHGHWDLOHGUHFRUGVRIP\LQWHUDFWLRQVZLWK5$VDQGFROODERUDWRUVRYHUWKH
\HDUVDVZHOODVRIHYHU\VWHSRIHDFKUHVHDUFKSURMHFW+RZHYHUWKHVWHSVWKDW,GLGWDNH
VKDULQJORJLQVZLWKODEPHPEHUVDQGUHO\LQJRQ5$VWRFRQGXFWVWXGLHVZHUHQRUPDOSUDFWLFHV
LQP\ILHOG,KDGQHYHULPDJLQHGEHLQJDFFXVHGRIUHVHDUFKPLVFRQGXFWDQGFRXOGQRWSUHGLFW
WKDWWKRVHSUDFWLFHVZRXOGKLQGHUP\DELOLW\WRGHWHUPLQHZKDWH[DFWO\RFFXUUHG,DOVRUHJUHWWKDW
DWWKHWLPH            WROGPHWKDWVKHZLVKHG,³ZRXOGVXIIHUDVPXFKDV´VKHGLGWKDW,GLGQRW
UHSRUWWKLVWKUHDWWRDSSURSULDWHRIILFLDOV

:KLOHPDQ\RIWKHLVVXHV,KDYHHQFRXQWHUHGZKHQDWWHPSWLQJWRUHFUHDWHWKHVHFLUFXPVWDQFHV
KDVEHHQVROYHGE\WKHPRYHWRGLJLWDOGDWDDQGUHFRUGV,DPWDNLQJDGGLWLRQDOVWHSVWREHWWHU
RUJDQL]HP\SURMHFWVJRLQJIRUZDUGLQFOXGLQJXVLQJDEHWWHUIROGHUVWUXFWXUHZLWKFOHDUODEHOLQJ,
VSHQWWKHODVWIHZPRQWKVWDONLQJWRPDQ\FROOHDJXHVDWRWKHULQVWLWXWLRQVWRLGHQWLI\FXUUHQWEHVW
SUDFWLFHVLQODEVWKDWVXSSRUWWKH2SHQ6FLHQFHPRYHPHQWDQG,ZLOOZRUNKDUGDQGWKRXJKWIXOO\
WRFUHDWHHYHQPRUHGHWDLOHGUHFRUGVRIHDFKRIWKHSURMHFWV,ZRUNRQIURPQRZRQ

,ZLOODOVRWUHDWP\FRPSXWHUJRLQJIRUZDUGDVVRPHWKLQJRQO\,KDYHDFFHVVWR,QWKHSDVWWKHUH
KDYHEHHQPDQ\RFFDVLRQVZKHUH,VDWZLWKFROODERUDWRUVLQP\RIILFHLQWKHLURIILFHRUDW
FRQIHUHQFHVDQGJDYHWKHPDFFHVVWRP\FRPSXWHU6LPLODUO\,VKDUHGP\DFFRXQWVLQIRUPDWLRQ
  HJ4XDOWULFV ZLWKWKHP,ZLOOQRWHQJDJHLQVXFKSUDFWLFHVDQ\ORQJHU

:KLOHWKHUHDUHSUDFWLFHVZKHUH,FDQLPSURYHWKHUHLVQRHYLGHQFHLQWKLVLQYHVWLJDWLRQWKDWP\
VWXGLHVZHUHFRQGXFWHGRXWVLGHRIWKHDFFHSWHGSUDFWLFHVRIWKHUHOHYDQWUHVHDUFKFRPPXQLW\DW
WKHWLPHRIWKHLURFFXUUHQFHV$GGLWLRQDOO\WKHUHLVQRHYLGHQFHWKDWFOHDUO\VXSSRUWVWKH
DFFXVDWLRQVRIIDEULFDWLRQRUIDOVLILFDWLRQRUWKDW,KDGDQ\KDQGRUNQRZOHGJHLQDQ\WKLQJWKDW
PD\KDYHRFFXUUHG$V,KDYHVWDWHGVLQFHWKHLQTXLU\DQ\FKDQJHVWKDWZHUHPDGHZRXOGKDYH
EHHQWRPRVWDFFXUDWHO\UHIOHFWWKHVWXG\SURFHGXUHVRUGDWDDQGZRXOGQRWKDYHEHHQPDGHLQ
DQ\LPSURSHUIDVKLRQ,KDYHQRWWDNHQDQ\DFWLRQRULQDFWLRQWKDWLVFRQVLVWHQWZLWKDILQGLQJRI
UHVHDUFKPLVFRQGXFW

,KDYHSXEOLVKHGRYHUSDSHUVDQGKDYHFRDXWKRUHGZLWKPRUHWKDQVL[W\SHRSOHDW
LQVWLWXWLRQVDURXQGWKHZRUOG,DPFRQILGHQWWKDWLIWKHFRPPLWWHHZHUHWRVDPSOHDEURDGFURVV
VHFWLRQRIP\FRDXWKRUVWKH\ZRXOGDWWHVWWRP\KRQHVW\DQGLQWHJULW\LQUHVHDUFKPDWWHUVDQG
P\FRPPLWPHQWWRGLVFRYHULQJLQWHUHVWLQJSKHQRPHQDDQGSURGXFHUREXVWVWXGLHVWKDWDGYDQFH
RXUXQGHUVWDQGLQJRIWKHP,KDYHKDGPDQ\VWXGLHVVLPSO\QRWZRUNRXWLQP\FDUHHUDQG,KDYH
QHYHUKDGDSUREOHPZDONLQJDZD\IURPUHVHDUFKSURMHFWVWKDWSURYHQRWWREHIUXLWIXO,KDYH
HYHQGLVFRYHUHGHUURUVLQSURFHGXUHLQP\UHVHDUFKDQGKDYHWHUPLQDWHGVWXGLHVRUSURMHFWVDVD
UHVXOW7KRXJKRWKHUUHVHDUFKKDVEXLOWRQP\ZRUNDQGEXLOWRQWKHHYLGHQFHIURPP\
3V\FK3DSHUP\3V\FK3DSHUDQGP\-3633DSHUGLVFXVVHGLQWKHVHFRPPHQWV,DP
LQWHUHVWHGLQFRQGXFWLQJUHSOLFDWLRQVRIWKHUHVHDUFKWRSURYLGHIXUWKHUHYLGHQFHWKDWWKHILQGLQJV
DUHUREXVW,GHHSO\FDUHDERXWDGYDQFLQJVFLHQFHDQGPDNLQJPHDQLQJIXOFRQWULEXWLRQVWRERWK
DFDGHPLDDQGSUDFWLFH

$VWKHVHFRPPHQWVPDNHFOHDU,FDQ¶WSLQGRZQHYHU\VLQJOHGHWDLOUHVSRQVLYHWRWKHDOOHJDWLRQV
EXW,EHOLHYH,KDYHSURYLGHGFRQYLQFLQJHYLGHQFHWKDW,KDYHFRPPLWWHGQRZURQJGRLQJ

7KDQN\RXDOOIRU\RXUWLPHDQGIRUUHDGLQJWKHVHFRPPHQWV

                                                

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 664 of 1282





)UDQFHVFD




                                      

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 665 of 1282



                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                  ([KLELW
            7UDQVFULSWRI5HVSRQGHQW,QWHUYLHZRQ1RYHPEHU
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
                                        
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 666 of 1282



                                         Francesca Gino Interview
                                            November 14, 2022

[00:00:00.26] ALAIN BONACOSSA: So Alma, please. Good afternoon, everyone. My name is Alain
Bonacossa. I'm the Research Integrity Officer here at Harvard Business School. I would like to thank
Professor Francesca Gino and her advisor, Sydney Smith, for being here today for this interview with the
investigation committee.

[00:00:19.44] I will now make a brief announcement before handing it off to the chair of the
investigation committee. First, a reminder that this interview will be recorded and transcribed. And
Francesca, you will be given a copy of the transcript for correction after the interview.

[00:00:33.05] I would like to introduce everyone on Zoom today starting with the investigation
committee. Professor Teresa Amabile, the committee chair, Professor Bob Kaplan, and Professor Shawn
Cole. Moving on to Professor Francesca Gino, of course, who is the respondent in this case, and her
advisor, Sydney Smith, who is an attorney at Cohen Seglias in Washington DC.

[00:00:54.01] Finally, in addition to myself, we have two additional staff members on the call, Heather
Quay, a University attorney with Harvard's Office of the General Counsel, and Alma Castro, Assistant
Director in HBS Research Administration.

[00:01:08.11] Next, let me briefly explain how today's interview process will work. First, this is a faculty
review of a faculty matter. So the interview will be a conversation between the committee and you,
Francesca, as the respondent in this case. The interview will entail a series of questions and answers.

[00:01:27.31] Towards the end of the interview, we may put you, Francesca, and your advisor in a
breakout room for a few minutes while the investigation committee discusses whether they have
additional questions for you. If you'd like to confer with your advisor at any point in time during the
interview, please just say so, and we could put both of you in a breakout room.

[00:01:46.34] I'd also like to cover some general rules of the road for the interview. First, some general
rules. To make sure that the transcription is clear, only one person can speak at a time. Other than you,
Francesca, and the investigation committee, no one else has a speaking role in this proceeding. So
Sydney, Heather, Alma, and myself will turn our cameras off and mute ourselves at the end of my
introduction.

[00:02:11.08] A few reminders specifically for you, Francesca. Please answer the committee's questions
truthfully. All answers need to be audible so that they appear in the record and transcript. So nodding
head is not sufficient. If you want to agree or disagree with something, please say so audibly.

[00:02:28.69] If you don't understand the question, please just ask for that to be rephrased. And if you
don't know the answer to a question, you can just say so.

[00:02:37.93] As I mentioned previously, if you need a break or wish to confer with your advisor, please
ask for one. I also believe that Teresa has a number of planned breaks throughout this interview as well.




                                                                                                               1

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 667 of 1282



[00:02:49.50] Francesca, if during the course of the interview you have any procedural questions about
the investigation process and/or the HBS policy, I'll be happy to answer any of your questions offline as
the interview itself will really focus on the research and the research records.

[00:03:05.07] Lastly, a few important reminders. HBS has an obligation to keep this matter confidential.
So even the fact that this interview occurred or that there's a case-- a research misconduct case-- is
confidential. Per HBS policy, HBS community members may not retaliate in any way against
complainants, witnesses, their research integrity officers, or committee members.

[00:03:28.17] Francesca, do you have any questions for me before I hand it off to Teresa?

[00:03:32.42] FRANCESCA GINO: No, very clear. Thank you for reminding me not to nod and actually
speak.

[00:03:38.29] ALAIN BONACOSSA: Thank you. Thank you, Francesca. Heather, Sydney, Alma and I will
now turn off our cameras and mute ourselves. Thank you.

[00:03:49.58] TERESA AMABILE: Hi, Francesca. Thanks so much for meeting with us.

[00:03:53.69] FRANCESCA GINO: Thank you for being here.

[00:03:56.58] TERESA AMABILE: Yeah. You already know Bob Kaplan and me. And I think you know
Shawn somewhat. But I'm going to ask Shawn Cole to just briefly introduce himself.

[00:04:06.03] SHAWN COLE: Hi, Francesca. We've met. You've helped me with some research questions
in the past. I'm Shawn Cole on the finance faculty at HBS.

[00:04:14.49] TERESA AMABILE: Shawn, I'm finding your audio just a little bit soft. Is there any way you
could increase the volume of your microphone?

[00:04:23.61] SHAWN COLE: I can move my microphone closer, I think.

[00:04:26.53] TERESA AMABILE: Ah, that's better.

[00:04:27.98] SHAWN COLE: Is that better? There we go.

[00:04:29.04] TERESA AMABILE: Yeah. So Francesca, we've read your written memo that you sent to us
last Friday, November 11th. Thank you for that. Do you have an additional statement that you'd like to
make before we begin with our questions on the allegations?

[00:04:44.85] FRANCESCA GINO: I just want to reinforce what I said at the very beginning of the
statement, that I'm very thankful that you're taking such-- you're putting so much time behind this. And
sorry that that's the reason why we're meeting.

[00:05:02.05] TERESA AMABILE: Yeah. I think I speak for the whole committee when I say, we're sorry
too. So we'll start with one general question about the allegations that involve data discrepancies. And
that's four of the five allegations.

                                                                                                            2

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 668 of 1282



[00:05:18.78] As we understand your memo from November 11, you're suggesting that one or more bad
actors accessed your Qualtrics account and/or your computer and modified the data after you had
analyzed the data and published the studies. Are we understanding that correctly?

[00:05:42.43] FRANCESCA GINO: During the last many months, I did a lot of the exercise that the
forensic firm has done. And like you, I want to know the truth about what happened.

[00:05:55.48] And the starting point for me is that I did not falsify data. I did not modify or alter data,
nor as I said in my statement, I wrote anything that is intended to mislead the readers. And so, the work
that I've done is trying to understand where discrepancies might come from.

[00:06:17.51] And I have identified two possibilities. I spoke before and reinforced in my comments that
my practices are such that there are multiple people working on projects.

[00:06:31.33] When I joined HBS, I didn't change those practices. I think that in-- I often talk to faculty
about how it is important to leverage people's strength such that you focus your attention where it is
required the most.

[00:06:47.30] And so, the two possibilities were either RAs made mistakes in the way they clean data, in
the choices that they've made, or that somebody intentionally went to my accounts. And so, I tried to
make sense of both stories as I was trying to make sense of why these allegations exist in the first place.

[00:07:14.59] TERESA AMABILE: Thank you for that clarification. I guess what I'd like to focus on in this
first general question is the second of those possibilities than you brought forward, the possibility that--
and of course, when we get to the specific allegations we can talk about could these be due to-- these
discrepancies -- be due to mistakes. Do you think it's more likely that they're due to a bad actor or bad
actors. But in general, we'd like to focus right now on the bad actor theory.

[00:07:48.47] FRANCESCA GINO: Mm-hmm.

[00:07:52.00] TERESA AMABILE: Can you please provide us with evidence of this scenario? For example,
evidence on who that actor or those actors might be? How and when they might have accessed your
Qualtrics account and/or your laptop? And/or what their motives might have been?

[00:08:12.44] FRANCESCA GINO: Yes. So I speak to some extent about this in my comments. And it's
something that even at the inquiry state I brought up.

[00:08:24.64] The 2012 paper was a collaboration that had two teams join forces. And that was on one
side               , our colleague at HBS,       , at the time was a doctoral student in the OB
department. And on the other side,            and             .     was a post-doc of      for many
years and then became an assistant professor at Rotman and now at BU.

[00:08:58.60] And throughout the collaboration, as you can probably see from some of the emails,
things got-- heated, and there was conflict related to the field data. At the time,       was using some of
the data for her dissertation and her job talk-- sorry, not her dissertation, for her job talk. And questions
were coming up about some of the large differences.



                                                                                                              3

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 669 of 1282



[00:09:28.91] And so,      in particular started asking a lot of questions about the data. And it created
tensions in my mind because         and      do things differently. And I was putting myself in the middle
as the one that was the joint link between the two teams to try to make sense of it.

[00:09:53.31] The conflict became more heated as we started working on the paper that failed to
replicate the findings in the 2012 paper. And over and over again, what I heard from a co-author, in
particular             , is that I could have done more to defend      and making sure that there were
not accusations coming from           that involved speaking badly of     and also of     to the point that
there was-- I don't know if you would consider it a threat since I usually have a very good relationship
with coauthors.

[00:10:36.50] But at some point        said, you're going to hurt as much as I do. The reason why I think
that is relevant is that    is a very good friend with the group that is behind the Data Colada
movement. And even after the retraction of a 2012-- sorry, yes, of the 2012 paper,         was invited to
present in their seminar series, talked to them at length.

[00:11:06.70] And so, it's a story that seems plausible given that, again, I know the truth, which is I didn't
falsify data nor alter the data.     was a co-author back in 2010, 2011, of multiple projects with me,
some of which are not published because they didn't turn out to be supportive of the hypothesis that
we had.

[00:11:34.51] But I did sit down with her at conferences. Sometimes we look at her computer when we
were looking at the data from the field, sometimes we were on mine. She had, like many other people I
collaborate with, access to my account.

[00:11:49.86] And as I said, I was surprised when I started talking to Qualtrics and investigating their
policies, that if you have my account information, you can log in as me, and I won't be able to tell you
whether it was me or somebody else.

[00:12:11.32] And I was disturbed by the fact that if you look at the screenshot that I took, many of the
logins even in the last few months are not mine. I asked Alain whether the forensic firms had accessed
my account, and I was assured that nobody on this committee nor the forensic firm has access to my
account. And so, that's when I took the action of changing my password and account information.

[00:12:40.64] TERESA AMABILE: Thank you for that detail, Francesca. I have some follow-ups.

[00:12:46.10] FRANCESCA GINO: Absolutely.

[00:12:47.35] TERESA AMABILE: And then I'm going to see if Bob and Shawn have follow-ups as well. So
you talked about contention between the various co-authors. And I just want to be sure that I
understand that. That occurred concerning the field experiment, I believe, in the 2012 paper, the field
experiment that            was primarily responsible for, and that              was involved in. Is that
correct?

[00:13:28.13] FRANCESCA GINO: That is correct. What I would add is, because of the two sides of the
team,      and       were always in the same group, and then we had the Harvard team. We even
divided ourselves talking to each other that way.


                                                                                                             4

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 670 of 1282



[00:13:46.91] And when       was asking questions that       might have perceived to be too aggressive
or too leading because he was accusing them of something that         didn't think was appropriate,
was upset about the fact that I didn't stand up more to support their side.

[00:14:13.32] TERESA AMABILE: Can you provide us with emails that show that conflict and that
tension? That would be really helpful. Not now, not in real-time. But it would be super helpful if you
could provide those to Alain after today's meeting.

[00:14:32.13] FRANCESCA GINO: Yeah.

[00:14:33.06] TERESA AMABILE: OK.

[00:14:33.87] FRANCESCA GINO: I will.

[00:14:35.13] TERESA AMABILE: As I understand it from your--

[00:14:36.90] [INTERPOSING VOICES]

[00:14:37.71] FRANCESCA GINO: May I add-- apologies just for interrupting, but may I add something
else that, again, in the spirit of trying to understand this seemed important to me. Again, the field is full
of friendship and relationship, which is the way it should be. I don't think that psychology-- or OB is
different from any other.

[00:14:59.07] But part of what surprises me is that in situations where I think that there might be a
discrepancy in the data of a paper, it's very common to reach out to the author and ask. So for example,
I work with another person at the Kennedy School who's a very close friend of the Data Colada team.
And at some point we published a paper in Psychological Science with                   , who used to be a
doctoral student here at HBS.

[00:15:31.95] And the Data Colada group wrote to      and said, hey,      we used your data from this
paper, and the three authors are        myself, and       And we have some questions because there
seems to be an error. And the paper was published, but again, there was an email that seemed very
genuine.

[00:15:54.57] And              and I sat down. And as it turned out in the cleaning of the data and
rearranging of the data,       had made a sorting error that ended up just being a sorting error in the
way the data was posted, nothing changed. We just issued a correction that is now together with the
paper.

[00:16:17.53] And so, I just find it strange-- it is, again, we move science forward if we treat each other
in such a way that leads to understanding and being helpful to one another. And so, this just seemed a
very different collaboration that had a lot of contentions and unhappiness among co-authors.

[00:16:39.27] TERESA AMABILE: Yeah. So for that reason, it would be super helpful if you could make
available to Alain, who will make available to us, any emails you have among or between any co-authors
on this 2012 paper that reveal tension, suspicion, misunderstanding, anything like that. And we'd really
appreciate that.

                                                                                                                5

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 671 of 1282



[00:17:10.85] I guess, the other question I have is a confusion I've got about the specific tension
between        and you.

[00:17:22.72] FRANCESCA GINO: Mm-hmm.

[00:17:25.12] TERESA AMABILE: The understanding I have, again from reading your memo on Friday and
from what you just described to us in the greater detail, is that there was tension over that field
experiment and your failure to defend       as much as she felt you should have in that conflict between
the     team and the Francesca team at HBS-- that that was in 2011, I think, while the paper was being
written up. Or was it 2010 when you were first looking at the field experiment data. Do you remember?

[00:18:09.97] FRANCESCA GINO: So I would go back to the time when               went onto the market.
And so, as we were sitting in presentation listening to her and the type of questions that she was
receiving, we started asking questions, and then we pointed the questions to        and       since until
2020 when we published the failure to replicate, we didn't have all the details about who is responsible
for the field data.

[00:18:48.69] And so, often, when accusations or questions were going towards        felt that she
was the one who was also being addressed by the comments because she was part of the same team,
close to    in the way she analyzed the data and dealt with the field experiment.

[00:19:10.83] There was an email in my comments. And I don't remember whether the date was
eliminated. But it was an email from     in reaction to a draft of the paper. And that was an email that
was already pointing to some questions in regard to the field experiments.

[00:19:31.53] And so, from very early on, there were questions that were raised. And         never felt OK
with the type of details that he got in the answers. And he took that as a signal that      and
weren't very careful in the research.

[00:19:49.32] And I interpreted it differently, knowing that there are different approaches with doing
research, and that      's approach has always been quite different from       's approach. Where
would get a lot of help from people like        and other postdocs to help him move his research forward.

[00:20:12.57] TERESA AMABILE: Yeah. So that was, what you just referred to, that email that you had a
screenshot of in your memo.

[00:20:18.12] FRANCESCA GINO: That's it.

[00:20:18.39] TERESA AMABILE: That was, I think, early March 2011. So that was when the paper was
being drafted. My understanding is that the tension between you and       didn't flare up between the
publication of the 2012 paper and 2021 when the Data Colada team started doing their work and
putting up that blog post. Am I understanding that correctly?

[00:20:51.69] FRANCESCA GINO: I'm not sure that that's accurate. Because if I think about how I show
up for my collaboration, if, for example, I were that troubled that the writing in regards to study
procedure change, I would have a conversation. And what instead I see is a person who raised a
question and then moved on and forgot about it.

                                                                                                            6

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 672 of 1282



[00:21:17.50] And so, I think that there is more to the story in the way I might have not captured how
upset I made       to be. Again, we stopped working on the projects that we had. There might be
multiple reasons, including the fact that at some point she moved or she lost interest. I can find emails
related to other projects that we were exchanging ideas about.

[00:21:45.27] But I don't think that she got angry in 2020. I think she was angry much earlier than that.
Oops. I can't hear you.

[00:22:01.72] SHAWN COLE: You're muted, Teresa.

[00:22:03.18] TERESA AMABILE: OK. Sorry about that. I'm a little confused about why     would have
gotten angry again when the Data Colada thing came out in 2021, or when it was about to come out.

[00:22:24.54] FRANCESCA GINO: Mm-hmm.

[00:22:26.10] TERESA AMABILE: Why she would have gotten angry with you. Because you said that she
was close friends with the Data Colada people.

[00:22:36.20] FRANCESCA GINO: Mm-hmm.

[00:22:37.83] TERESA AMABILE: And it was the field experiment that she was part of that was being
shown to be-- where the data were shown to be likely fraudulent.

[00:22:51.83] FRANCESCA GINO: Mm-hmm.

[00:22:53.07] TERESA AMABILE: So how did that cause tension between            and you specifically?

[00:22:59.50] FRANCESCA GINO: I believe that if you were to talk to         today she would tell you that
she's still not convinced that the effect doesn't exist. When the issues around the potential problems
with the field data came about,        and       but      primarily, wanted to conduct a broader research
project to show the conditions under which the effect exists, or it doesn't.

[00:23:35.58] And what she found on the other side, primarily voiced by          was a person who said,
no, this is not what we are going to be doing because the effect doesn't exist. If I were to take a step
back, I don't know how to interpret those differences in terms of the reaction to see the same evidence.

[00:23:58.92] Yet again, just very recently, I saw two meta-analysis published in a top journal in
psychology, one of which is looking at intervention on the growth mindset, suggesting that interventions
don't lead to the type of results that they do, and the second meta-analysis leads-- it's framed as the
how and when the interventions work. But it was a very strong difference in opinions that didn't get
resolved.

[00:24:30.39] And since I'm part of the Harvard team, on multiple occasions        expressed really big
disappointment to the fact that I wasn't doing enough to change the minds of        in particular on the
way he looked at her and looked at      's research.




                                                                                                            7

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 673 of 1282



[00:24:57.25] The last interaction is probably when   shared the chapter in his new book coming out
tomorrow, where he described the collaboration. And the email, if I am remembering correctly, was
directed to me and        to do some fact-checking.

[00:25:21.82] And so, I read the chapter and gave him some feedback. And          read the chapter and
wrote a long note saying that if he continue down this path, it would call him out with a defamation suit,
since     had actually some of the emails in the chapter. I haven't seen the latest version of the
chapter. And so, I don't know whether that has changed.

[00:25:49.97] TERESA AMABILE: I think this is going to be my last follow-up, and then I really will see if
Bob and Shawn have any. I want to go back to the meta-- the more general question that I asked.

[00:26:02.73] It seems that you are suggesting that              is the most likely bad actor, if there is a
bad actor here, who would have gone in and changed data in your Qualtrics account after your studies
were published to embed apparent discrepancies between the Qualtrics data and the data that you
used to analyze the study and publish the study, or the studies. Is that correct? That you think it's most
likely     if there is a bad actor?

[00:26:48.20] FRANCESCA GINO: I look at the last 20 years, or close to 20 years of being in this field. And
again, I think I said that in the comment, but I believe that if you were to go and talk to my collaborators
in research, in teaching, in any aspect of this job, I think they would tell you that I'm a person that really
cares about integrity, but also that generally is part of a collaborations that function well rather than
collaborations that have problems.

[00:27:26.70] And so, as I sat down and thought about how is this possible, who could possibly be angry
at something that I might have done,       is the person that came to mind, because she's close to the
Data Colada team. But also, she did express disappointments about the way I was not standing up or I
was not behaving in the way that in her own mind showed being a good collaborator.

[00:28:03.46] TERESA AMABILE: Do you remember when she made this remark about someday you will
hurt as much or suffer as much as she has?

[00:28:13.03] FRANCESCA GINO: I believe-- I don't. If you ask for the date, I don't. And I'm not sure I can
reconstruct it for you. But I will try my best. But it was at a conference that we both attended where,
again, we were asking a lot of questions about the field data.

[00:28:32.23] And if I were to provide an explanation, sometimes        is hard because he cares about
the questions that he's asking. And so, but if you don't know him well, you might interpret it as
aggressions towards something that you haven't necessarily done. And so, I think that        felt attacked
and didn't feel like I defended her in any way to show that she's a good researcher.

[00:29:01.70] TERESA AMABILE: So this was an in-person conversation at a conference between you,
      and      the three of you?

[00:29:07.64] FRANCESCA GINO: So when she said-- no, when she said what she said it was after. But we
did meet. I believe    was also there. It was a conference where we were all present. It might have
been JDM. But again, I can't-- it's been such a long time ago that I don't remember.


                                                                                                               8

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 674 of 1282



[00:29:26.56] TERESA AMABILE: So there was-- at the conference, during a presentation or after a
presentation,     was really drilling down and asking hard questions about the field experiment data.

[00:29:36.81] FRANCESCA GINO: Yeah.

[00:29:38.68] TERESA AMABILE: Which made            feel attacked.

[00:29:41.17] FRANCESCA GINO: Yes.

[00:29:41.38] TERESA AMABILE: And because you were present, she had hoped-- expected that you
would defend her because she had viewed you as a friend or friendly collaborator. And afterwards, she
made this remark one-on-one to you in person--

[00:29:56.05] FRANCESCA GINO: Mm-hmm. Yeah.

[00:29:57.40] TERESA AMABILE: --about hoping that you suffer or you will suffer or something like that,
in the future?

[00:30:02.15] FRANCESCA GINO: And again, in fairness, I'm the one who brought the team together.
These were two independent efforts, and I'm the common link between the two teams.

[00:30:11.38] TERESA AMABILE: I understand that. And so, you're suggesting that she may have gone
into your Qualtrics account because she would have had access. You gave her your password, your
username, in the context of being at a conference together or sitting down together and collaborating at
some point, and that she could have gone in and changed data in your Qualtrics account. Yes? I see you
nodding your head.

[00:30:39.08] FRANCESCA GINO: Yes.

[00:30:40.79] TERESA AMABILE: And you think that she may have somehow altered data for the 2012
lab experiment that you were responsible for, which is allegation 4B? Because that wasn't in your
Qualtrics account.

[00:30:57.77] FRANCESCA GINO: No, that was not in my Qualtrics account. I can't reconstruct where I
was in the summer of 2010 when I was moving from UNC to Boston with part of the summer spent at
Glendale in California on a research assignment for a project that was in collaboration with            .I
tried my best going to people at Disney, travel agencies, it's just a really long time ago. And I can't
reconstruct the data.

[00:31:37.95] TERESA AMABILE: Yeah. And we saw the chronology of what you tried to figure out in your
memo last Friday, and we appreciate that detail. But why is it relevant where you were in 2010? How is
that-- I don't understand how that's relevant to the question I just asked? Sorry.

[00:31:57.75] FRANCESCA GINO: So you were asking who had access to the Excel data at that point in
time. And so, I think that knowing where I was would be relevant, since again, I don't think we should be
judging the practice with a '22 set of eyes.



                                                                                                             9

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 675 of 1282



[00:32:19.85] But I've had many research meetings where you sit down in front of a computer of one
person, and you leave the room, and it's OK to leave the room, it's OK for others to write papers while
they're using your computer and not theirs if you're part of a research collaboration.

[00:32:40.49] Again, I think going forward, I will use my eyes of 2022 and revise my practices. But it's
something that I was trained in when myself I was a lab manager. And so, it didn't seem to be a set of
ground rules that should be questioned.

[00:33:01.77] TERESA AMABILE: So you think that particular data set or the data sets associated with the
2012 Experiment 1 could have been altered in the summer of 2010 because-- by someone who you
were collaborating with in that summer. Is that correct?

[00:33:28.67] FRANCESCA GINO: I think that we should talk about that allegation more specifically.
Again, if I-- my effort in responding to the allegations but really trying to understand that, was to start
from what I know to be true. And what I know to be true is that I have not fabricated or altered data
ever for any of my projects. And so, the question that I asked is, how is this possible?

[00:33:57.10] And so, what I thought would have helped me is understanding what happened between
the email from      and also the time where I know I analyzed the data. That's what I was trying to
understand.

[00:34:15.06] What I also thought would be helpful is-- and that is partly because I am married to a
person who knows a lot about technology and also talked to a few IT experts, I could send you an email
from 10 years ago that I revise while I resending it to you.

[00:34:36.60] And so, a question that I would have is, I don't know the right technology language for it.
But there is a property that allows you to understand whether the email is proper. And I think my head
went there, because again, I'm trying my best to understand something when I know that I didn't do
anything wrong. And so all possibilities are to be considered.

[00:35:00.22] [INTERPOSING VOICES]

[00:35:03.13] TERESA AMABILE: Well, we will definitely talk about the data in Allegation 4b more when
we get there. And like you, we're really, really trying hard to understand the specifics of what might
have happened. So thank you for that. And I'm going to see now if Bob has any follow-ups. Bob, do you?
Oh, Bob, you're still muted, Bob.

[00:35:29.76] ROBERT KAPLAN: Oh, here we go. No, that was an extensive line of inquiry, and I don't
have an unanswered question at this time.

[00:35:40.41] TERESA AMABILE: OK. Thank you. Shawn, what about you?

[00:35:43.29] SHAWN COLE: No follow-ups, no.

[00:35:46.04] TERESA AMABILE: OK. Francesca, I did just think of one little follow-up. But again, we can
park this until we get to this allegation. I just remembered that, yes, data for Allegation 4b was not in
your Qualtrics. But also, data for Allegation 3 was not in your Qualtrics. So there are actually two data-

                                                                                                              10

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 676 of 1282



related allegations where the data were not in your Qualtrics account. So just wanted to park that for
when we get to Allegation 3. Fair enough?

[00:36:20.16] FRANCESCA GINO: That's correct, yeah.

[00:36:22.17] TERESA AMABILE: Great. So are you OK to go on to Allegation 1 or do you feel like you
need a break now?

[00:36:28.44] FRANCESCA GINO: I am OK going on to Allegation 1.

[00:36:32.25] TERESA AMABILE: Great. Let me just get a little water. So Allegation 1 addresses Study 3A
in the 2020 JPSP paper.

[00:36:50.53] So Francesca, the memo you sent us last Friday says of this particular allegation, that there
is a, quote, lack of evidence that data alterations occurred at all. The MCG report lays out a number-- a
large number of discrepancies between the OSF data set and your Qualtrics data set in both dependent
variable measures, in both experimental conditions, and it notes an absence of any discrepancies in the
control condition.

[00:37:24.96] All of the discrepancies favor the hypothesized and reported effects as displayed in the
heat maps on pages 7 through 11 in the MCG report. And we'd like to know, do you have an explanation
for these discrepancies other than data alterations? And if you'd like, we can do a quick screen share of
the relevant pages in the MCG.

[00:37:49.94] FRANCESCA GINO: I have it here. So--

[00:37:51.44] TERESA AMABILE: You've got it, right?

[00:37:52.19] FRANCESCA GINO: Yeah. So I should have been more clear in my language. There is no
alteration done by me. When I think about the time I received the data for analysis, I know with 100%
confidence that I did not alter data or falsify data or create a data. So I should have been-- apologies. I
should have been clear about that.

[00:38:22.95] There is an aspect from the report that I noted in my comments that, again, makes me
think through the two possibility is an RA who's looking at the data, merging the data set, cleaning it, or
is it something else where a person edits the data directly in Qualtrics once the data is collected.

[00:38:54.21] And the part that surprised me is the part on page 5 of the report by the forensics firm
where one of the discrepancies that they found is that four participants that did not appear to have
consented to the research are actually included in the data set.

[00:39:19.76] And so, I've worked with many different RAs on my research. But that seems to be a
strange thing to miss in terms of cleaning the data sets. Again, I have never written down practices of
how data sets should be treated before analysis are conducted. But that stood out to me as really basic
knowledge that I would have expected a person to pick up.




                                                                                                              11

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 677 of 1282



[00:39:58.20] TERESA AMABILE: So what's the implication that you take from that observation you just
made?

[00:40:03.33] FRANCESCA GINO: That one-- I appreciate the question. Thank you for pushing me there.
When I think about the possible explanation, RAs not following proper procedures when they're
merging data sets or cleaning them, versus somebody intentionally editing the data, that, to me, the
second explanation seems more plausible because this seems a foundational element of what an RA role
requires.

[00:40:38.91] TERESA AMABILE: OK. I get that. Thank you. That's clear. Bob or Shawn, do you have a
follow-up on this first question? And Bob, just it looks like, Bob, you're still muted.

[00:40:55.19] ROBERT KAPLAN: Yeah. I'm not sure what is being referred to, but the Qualtrics data set
you said had 695 participants, and 95 of them were excluded because of they didn't finish the survey.
And so, that's how you ended up with the final sample. I'm not familiar with Qualtrics and never have
used it.

[00:41:23.47] So but it would seem that that would be a reasonable thing to have done, that even if the
RA allowed the observations to stay there that you could look at that and say, yeah, and recommended
these be excluded, that you would confirm that. But it doesn't address the anomalies in the 599
observations that were observed, the many anomalies, as documented in pages 7 to 12, I think, of the
forensics report.

[00:41:57.69] FRANCESCA GINO: Yeah. And to clarify, since it seems like that came up in your question
or observation but also Teresa's observations. I don't question the analysis that the forensic firm
conducted. Again, I, when asked back in June for the raw data, I went and looked for it on Qualtrics
trying to make sense of where the study was in my account.

[00:42:26.04] And so I did the, what I believe is the same type of effort that the firm went through of,
OK, let's imagine I'm downloading the data now. How would I disqualify people who didn't consent to
the study, or are there people who didn't finish the survey that are not part of the final sample. And so, I
went back to the same analysis that the firm did. And I don't question the accuracy of the analysis that
they conducted.

[00:42:59.60] ROBERT KAPLAN: But just to repeat Teresa's question here, just focusing on those
discrepancies, do you have an explanation for how these could have occurred?

[00:43:13.22] FRANCESCA GINO: So the two explanations are the one that we highlighted earlier. One is
that the person, an RA that was responsible for doing all the steps of downloading the data, cleaning it,
and preparing for analysis made mistakes.

[00:43:35.47] I can't speak of whether those were intentional or not. Or somebody edited the Qualtrics
account. I think part of the reason why I have trouble with the first explanation is that I don't believe I've
created conditions in my labs or in my collaborations with RA that would lead to these errors.

[00:44:07.02] ROBERT KAPLAN: Let me go through the sequence. So you have an RA and so working with
the Qualtrics data, preparing it, and handling it for you. Arguably, that's the data you worked with. And


                                                                                                           12

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 678 of 1282



therefore, that's the data that should have showed up in the OSF database. And the analysis based on
that original data is what should be in the paper.

[00:44:28.82] FRANCESCA GINO: Yeah.

[00:44:29.63] ROBERT KAPLAN: But in fact, the reverse is true. I mean, somehow the OSF data are not
consistent with the Qualtrics data.

[00:44:37.25] TERESA AMABILE: Can I jump in here for a second. Bob I-- Francesca will correct me if I'm
wrong. But my understanding from what she's saying is that she thinks there are two explanations. One
is that these--

[00:44:55.39] ROBERT KAPLAN: Yeah, I was following the first one.

[00:44:56.96] TERESA AMABILE: --the large number of discrepancies could be due to mistakes made by
the RA. Or the large number of discrepancies could be due to a bad actor getting into her Qualtrics
account.

[00:45:11.06] And I think she is saying that the second, the bad actor theory is more plausible to her,
because she can't imagine that an RA trained by her and following the procedures in her lab would have
made that huge number of mistakes.

[00:45:30.50] ROBERT KAPLAN: Well, I was saying--

[00:45:31.12] TERESA AMABILE: And what she's saying is that the discrepancies between what we see in
Qualtrics in 2022 and what was posted on OSF in 2020 when the paper was published, that that large
discrepancy can be accounted for by a bad actor getting into her Qualtrics account after the publication
of the data in 2020.

[00:45:59.63] ROBERT KAPLAN: Yeah. All I was saying is I didn't see that--

[00:46:00.95] TERESA AMABILE: --and reverse engineering the Qualtrics data.

[00:46:06.71] ROBERT KAPLAN: Yeah. I didn't see how the first explanation was plausible at all--

[00:46:11.10] FRANCESCA GINO: Mm-hmm.

[00:46:11.83] ROBERT KAPLAN: --because if that occurred, you would have worked with the data,
distorted or whatever, and you would have tried to write the paper based on that and published it. And
there would be no discrepancy, because that's-- the RA is doing the data before you have it. Right?

[00:46:30.95] FRANCESCA GINO: Right. And so, what I'm suggesting-- and tell me if I'm misunderstanding
you, which is very possible. But what I'm suggesting is that what I believe, if discrepancies happen
before I put my hands on the data to analyze it, they're not going to be reflected in the data that is
posted on the Open Science Frame, because what--

[00:46:57.21] ROBERT KAPLAN: You're stuck with that data. You're stuck with--

                                                                                                       13

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 679 of 1282



[00:46:58.92] FRANCESCA GINO: That's exactly right.

[00:46:59.88] ROBERT KAPLAN: Because that's the only data you would have seen.

[00:47:03.87] FRANCESCA GINO: That's exactly right. I think what your questions suggest as, again, I
think about the way forward, is that maybe a good practice would be for me to make sure I always have
access to the original data, such that I can do random checks, or checks, or maybe I change the practice
altogether and I get to work always with the raw data rather than data that has been cleaned, merged,
when appropriate, again, studies can be complex.

[00:47:35.46] And so, it's a different way of thinking about my relationship with the RA. But my practice
has always been that the part of your role as an RA is that you do the first step of cleaning the data and
preparing it for analysis. And the reason why that has been a good practice is that the RA is responsible
for running the study.

[00:47:59.89] And so, especially when the study is conducted in the lab, if there are behaviors where a
participant doesn't-- seems particularly distracted such that you question the validity of the data point,
they should not put it in the final data set since it wouldn't be a valid data point.

[00:48:22.35] And so, I think what the practice-- the reason why I thought the practice was a good one is
that it avoids you going into places that are other than the data that you have it as you have is the data
that you get to analyze. Rather than saying, let's run a robust check if we use that data point from the
participants that were distracted, would that be the same or different for the results that we obtained.

[00:48:52.12] TERESA AMABILE: May I, may I just restate? I think what I'm hearing here-- and I was
misunderstanding, Bob, the line of your questioning, sorry-- is that Francesca is saying it's implausible
that these discrepancies could be due to an RA having made mistakes in cleaning the data.

[00:49:12.54] And Bob is saying, it's actually impossible that an RA could have made mistakes in cleaning
the data, because if that had happened, you would have been working with the data that had mistakes,
and there would be no discrepancy between the OSF data and the data in Qualtrics.

[00:49:30.27] FRANCESCA GINO: The only plausible explanation there is that I created conditions in my
lab where somehow research assistants want to please me, but again, I find it hard to believe, since
many times as part of my work with RAs they've seen me abandon many projects, or they see me run
study designs that ended up not supporting the hypothesis and moving away. And so, I have a hard time
believing that RAs would try to create data that I'm happy to see because it supports other [INAUDIBLE]

[00:50:16.26] ROBERT KAPLAN: I understand. So I have one other question--

[00:50:18.60] FRANCESCA GINO: Of course.

[00:50:18.85] ROBERT KAPLAN: --since we've basically ruled out hypothesis one here. And let's operate
under hypothesis two of bad actor, ex post, doing this. And again, it's my unfamiliarity with Qualtrics.




                                                                                                            14

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 680 of 1282



[00:50:31.72] What would be involved in changing 168 observations with multiple entries per
observation. I don't know whether-- can I just create a duplicate Excel spreadsheet and just paste it
over? What kind of effort is involved in doing--

[00:50:51.43] TERESA AMABILE: Bob, could I ask you to-- I think-- where is-- I think your microphone
might be up on top of your head. Can you check where your microphone-- where's the microphone?

[00:51:01.15] ROBERT KAPLAN: It should be here. It's right in front of me.

[00:51:03.04] TERESA AMABILE: Oh, it's on the desk?

[00:51:04.80] ROBERT KAPLAN: Yeah.

[00:51:05.11] TERESA AMABILE: It's not--

[00:51:05.53] ROBERT KAPLAN: I just put my headphone on because it's a clearer sound from my
computer.

[00:51:09.96] TERESA AMABILE: I understand. Thank you. Francesca, did you did you hear Bob's question
clearly?

[00:51:14.62] FRANCESCA GINO: Yes. I don't know if I know of all the possibilities. Because if surveys
were copied-- so I don't know what possibility. One possibility that I do know is that you could go into
Qualtrics and you could find the survey and edit it.

[00:51:46.48] What is the best way to explain? I'm not sure what the best way to explain to a person
who's not familiar with Qualtrics. Qualtrics is a survey tool that over the years got very sophisticated to
allow for all sorts of possibilities where you're collecting the data.

[00:52:10.79] But in a sense, the back of it is that what you download is an Excel file. And you can look at
the Excel file online once you're logged into Qualtrics. So in a sense, I don't think is as different as
making modification to an Excel file. But you would be on the platform rather than on an Excel
spreadsheet. But I also don't know if there are more sophisticated ways to modify data by recreating a
survey. That I actually don't know.

[00:52:53.24] ROBERT KAPLAN: No further questions, Teresa.

[00:52:55.49] TERESA AMABILE: Hey, Shawn, how about you? Any follow-ups here?

[00:52:58.99] SHAWN COLE: No.

[00:53:01.60] TERESA AMABILE: So our second question on Allegation 1, Francesca, I think you might say
that you've already answered this question. But I just want to ask it to see if you just can give us a quick
answer.

[00:53:14.89] FRANCESCA GINO: Yeah.


                                                                                                           15

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 681 of 1282



[00:53:15.88] TERESA AMABILE: So your memo from last Friday notes that many people could log into
your Qualtrics account and/or your laptop, as you. Can you provide us with evidence on who might have
had both the access and the motivation to alter the data for this study?

[00:53:39.38] FRANCESCA GINO: So the evidence, I spoke to part of that in my comments. But I'm happy
to reiterate. I've always shared my account information. The reason being that I didn't want to be the
bottleneck for parts of the research.

[00:54:03.14] And so, in the spirit of making the research process more efficient, it has been shared. And
I take full responsibility for having an account since joining in 2010 and keeping the same password since
the login would still be attached to my email, and having not changed that in 12 years.

[00:54:30.94] I think that for the motives, I don't know if I can provide evidence other than what I said in
response to the previous questions. If I think about who could possibly be angry at me for something
that I did to them, the only person that I could think of is            .

[00:54:57.03] TERESA AMABILE: OK, you know that, something just occurred to me. In your memo that
you sent us on Friday, you listed several people where you have an email trail that you, in the email, I
guess, gave them your login information for Qualtrics, for your Qualtrics account. Do you have evidence
like that vis-a-vis

[00:55:20.18] FRANCESCA GINO: I do not. I was surprised that I shared information like that via email
since I usually do it live. It's the equivalent you write it down for a sticky note, and here it is. But when I
checked in my email, it was collaborators, RAs, FSS, and                   is a person who works for Survey
Signal, which is a provider for data.

[00:55:51.46] TERESA AMABILE: OK. And--

[00:55:55.69] FRANCESCA GINO: I would just caution that, as you know, for reasons that I can't quite
explain, some of my sent email is not comprehensive. And so, if I shared the password information with
     early on in the years where the emails are not comprehensive, I wouldn't have a record of that. I
[INAUDIBLE] that that's important to know.

[00:56:25.34] TERESA AMABILE: Can you just explain to me-- this is something that's really puzzling me.
So you got these allegations about a year ago, a little over a year ago.

[00:56:36.65] FRANCESCA GINO: Mm-hmm.

[00:56:37.96] TERESA AMABILE: Can you explain why you didn't change your Qualtrics password until a
couple weeks ago?

[00:56:48.60] FRANCESCA GINO: When we received the allegations, I was surprised. I'm a person who
take integrity really seriously. I don't think that were-- my first response, you can ask my HBS advisor, it
was, I don't think there are any accuracy.

[00:57:12.81] Again, I'm starting from the point of view of knowing with 100% certainty what I do in my
practices. And so, when people accuse me of altering or fabricating data, I know 100% with certainty

                                                                                                              16

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 682 of 1282



that that is not the case. And so, I had to dig into the discrepancies, doing some of the work, and also
doing a lot of learning with Qualtrics.

[00:57:42.39] I changed my password on Qualtrics right after one of the conversations with the Qualtrics
teams, who said, with the eyes of 2022, you should have your account, and others should have their
own. With it-- I guess it came-- so I don't have a good reason. The question, actually, I've never even
thought about the question before you asked it. But when I first received the allegation, it was a
disbelief of what this is all about.

[00:58:21.15] TERESA AMABILE: Yeah. Putting myself in your shoes, yes, I totally get that. So it sounds
like you're saying that you didn't actually--

[00:58:34.22] FRANCESCA GINO: May I also add something.

[00:58:36.08] TERESA AMABILE: Yeah.

[00:58:36.50] FRANCESCA GINO: That by the time my computer was sequestered. Is that the right word?

[00:58:44.58] TERESA AMABILE: Yeah. I think so.

[00:58:46.43] FRANCESCA GINO: And it was October 27 of last year, since it was my husband's 50th
birthday. I kept the same login also for my computer simply because it was my misunderstanding that if
Alain needed to access my account, they could do so.

[00:59:07.94] I sent a note to Alain that I'm happy to forward to the committee last week after talking to
Qualtrics asking whether you all were using my account to access Qualtrics over the summer. And that
was when I discovered that there were those multiple logins. And at that point, Alain clarified that
nobody has accessed to my account from this team or the forensic firm.

[00:59:40.99] TERESA AMABILE: So I was going to ask-- I guess I'll still ask it-- it kind of sounds like you
didn't suspect that   was hacking into your Qualtrics account until just the end of October of this
year. Is that true?

[01:00:03.08] FRANCESCA GINO: What-- I was-- from the very beginning when I received this allegation, I
started thinking that there is somebody here who's trying to hurt me in some ways that I can't
understand. What I have started thinking very deeply about in terms of how is this possible, is over the
last few months when I sat down and trying to understand the anomalies.

[01:00:41.73] If you remember when we met in our last meeting before we started any investigation, I
didn't have the time to look at whether there was discrepancies. So a lot of my thinking at that point is,
this is in error. Again, I have done nothing wrong. And so, it is just possible that the allegations have no
foundations whatsoever.

[01:01:07.87] It's when I sat down trying to repeat the same exercise that the forensic firm has done
that I started asking a lot of questions of how is this possible, given that I didn't do anything wrong. And
so, the two routes are the RAs preparing the data are making errors, or given my sharing of accounts,
somebody is trying to be hurtful in some way that I don't understand.

                                                                                                               17

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 683 of 1282



[01:01:42.27] And as I thought more and more about that question, again, I might be wrong in the
perceptions that I have of the environments and interactions that I create. But I think most of my
collaborators are happy to work with me. I have many of them over the years across disciplines. And so,
it's just hard to think about anyone else other than    or the Data Colada team.

[01:02:18.05] TERESA AMABILE: And can you say who specifically is on the Data Colada team who might
be such a bad actor?

[01:02:26.89] FRANCESCA GINO: It's three individuals-- Uri Simonsohn, Leif Nelson, and Joe Simmons. I
don't know, I think--

[01:02:40.66] TERESA AMABILE: Joe Simmons, right?

[01:02:41.73] FRANCESCA GINO: Yeah.

[01:02:42.01] TERESA AMABILE: Is that what you said? Yeah. OK.

[01:02:44.17] FRANCESCA GINO: So I don't know enough about their relationships. I coauthored with Uri
on a paper back in 2011, I believe. So I don't know--

[01:02:59.83] TERESA AMABILE: OK.

[01:03:00.49] FRANCESCA GINO: --what I might have done to anger people. As I said, I am aware of the
fact that, for the example of the paper that I mentioned earlier, Uri is a very good friend of

[01:03:20.17] And when she was a collaborator on the paper, they reached out to her to see if there was
an error that could be corrected. And so, I could expect the same thing if there was a problem that they
saw in the data, why is it that they didn't reach out to me so that I could check?

[01:03:42.41] TERESA AMABILE: Thanks. Shawn or Bob, any follow-ups to that question two?

[01:03:49.22] SHAWN COLE: No.

[01:03:50.45] TERESA AMABILE: So Francesca, this is the last question on Allegation 1 that we have. Do
you have any other evidence that could be helpful to us in determining whether research misconduct
occurred with respect to this allegation, and if it did, who might have committed it?

[01:04:21.46] FRANCESCA GINO: Do I have any other evidence? I hope that one of the things that you
have been seeing is that I've tried my best to provide evidence. So no, I don't think I have anything more
to provide to the committee. I think you're asking a very good question.

[01:04:51.68] TERESA AMABILE: Thank you. Bob or Shawn, anything else before we have a short break
here?

[01:04:57.78] ROBERT KAPLAN: No, I think a break would be welcome here.




                                                                                                       18

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 684 of 1282



[01:05:00.86] TERESA AMABILE: OK. We'll take a break. It'll probably be about five minutes. And it's my
understanding that during the break, Francesca, you and Sydney will go into a breakout room. And then
we'll reconvene in about five minutes. And we'll bring you back from that breakout room at that point.
OK?

[01:05:18.26] FRANCESCA GINO: We'll wait for you to bring us back.

[01:05:20.78] TERESA AMABILE: You'll wait. Right. Just don't-- just leave your computer as it is. I mean,
you can mute yourself, of course. But you're going to go into a breakout room now. And then you'll be
brought back from the breakout room probably in about five minutes.

[01:05:34.16] FRANCESCA GINO: Perfect.

[01:05:34.91] TERESA AMABILE: OK. Thank you.

[01:05:49.86] OK. All right. Thank you. So Francesca, as you know, we're going to move on now actually
to Allegation 4a, asking questions about that one. And just as a reminder to everybody, that's about
Study 1 or Experiment 1 in the 2012 PNAS paper.

[01:06:17.02] So our first question: In comments about this allegation in your memo of November 11th
on page 12, you said, “All the co-authors saw and reviewed the final drafts of the paper. And after the
revisions, as thoroughly previously described, no one expressed any concerns with the way the
description of the method was written, including those with knowledge of the actual study procedures.”

[01:06:46.44] So can you specify who you were referring to when you said, quote, those with knowledge
of the actual study procedures? And can you tell us when each of those people got involved in the
project and what their involvement was?

[01:07:03.52] FRANCESCA GINO: Yes. So I am partly-- so we're talking about a study that was conducted
in 2010. And so, we are going back 12 years with not a lot of proof that I can provide to the committee
of what was a comment that was made on paper versus not.

[01:07:35.22] But this was research that at the time I was doing with   and       and then      and
     joined later when we discovered that we were both going after the same research questions, and
we joined forces. As it's common practice, we discussed the procedures of the studies that we are going
to run.

[01:08:04.04] I don't think I can think of situations in my many collaborations where we decided to test
an hypothesis, and then on my own I work with an RA or a team of RA to test the ideas without
discussing the study procedures with my colleagues. It just seems implausible to me. And so, the people
at that time when the study was conducted would be           and       in addition to the RAs who helped.
And then, later on,       and       joined the team.

[01:08:45.64] TERESA AMABILE: So just to reiterate, it sounds like you're saying it would be and
     those people who did have knowledge of the study procedures and who were also co-authors on
the paper, correct?



                                                                                                        19

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 685 of 1282



[01:08:56.37] FRANCESCA GINO: Yeah.

[01:08:57.72] TERESA AMABILE: OK. Thank you. Bob or Shawn, any follow-ups? Bob, could you mute
your microphone just unless and until you have a question? OK.

[01:09:12.97] So I'm now, Francesca, going to ask some questions about specific changes in revisions of
the manuscript in March and April 2011. If you'd like, we can do a screen share showing exact quotes of
the relevant sections of the manuscript that I'm going to be referring to. So just ask if you'd like to see
any of the specifics. And some of these questions are a little long, so no problem if you'd like me to
repeat a question. OK?

[01:09:48.69] FRANCESCA GINO: OK.

[01:09:49.76] TERESA AMABILE: All right. Great. So your first draft of the manuscript was dated February
23, 2011. In the March 8, 2011, revision, which I believe was the next iteration,       added a
statement stating that the dependent variable was the difference between actual performance on the
matrix sheet and the self-report on the collection slip.

[01:10:30.52] Can you explain why       a doctoral student working with you at HBS and the first author
of the paper, and as you just said, someone who was familiar with the procedures in the study, can you
explain why she would have written this if it were not an accurate description of the study procedure?

[01:10:56.38] FRANCESCA GINO: I can't speak to what         was thinking in the moment. But what I can
speak to is how I react to drafts of procedures when I receive them. I make changes that I think might
track with my understanding of what happened. And so, I am not-- I don't fault     for making the
change that she made.

[01:11:27.79] What I think is also important to note in regard to this particular task is that the matrix
task is a task that we had used in prior research together. I mentioned some of the papers in my
comments.

[01:11:46.18] It's also a task that has been used a lot in research on studying the reasons why and the
conditions under which people might engage in unethical behavior as a measure of cheating. And
usually, the measure is what is reported in a collection slip to the experimenter versus the actual
performance on the task.

[01:12:13.72] TERESA AMABILE: So it sounds like you're saying, you and        specifically did collaborate
on previous studies using this exact same task where the dependent variable of cheating on the self-
report of performance came from the collection slip. And you're suggesting that that may account for
the mistake that she in-- for the reason that she inserted this into the manuscript on March 8? Am I
understanding that correctly?

[01:12:48.67] FRANCESCA GINO: I-- again, it's difficult for me to speak to the changes that others have
made, especially in a context where this has happened so many years ago. I don't remember the
conversations that we were having around this paper. But I would imagine, it's very possible given that
we've used the task before, that she made the change based on how the task was used in the past.



                                                                                                            20

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 686 of 1282



[01:13:14.66] I believe that the only thing that I did not print it out is my comments. But I believe that in
the papers that are referenced as ones that were published prior where we use the task, one if not two
are with      But it's also well-known task. At least at the time it was a very well-known task since a lot
of researchers have used it as a measure for cheating.

[01:13:43.24] TERESA AMABILE: Bob, Shawn, any follow-ups there? So the next question, question
three: The next revision you made to the paper after  revised it on March 8 was dated March 15,
2011.

[01:14:09.28] In that revision, you deleted the material that        had added to the manuscript on March
8. That's what I just referred to, the material that had explicitly stated that the dependent variable of
cheating on the puzzle performance self-report was the self-report made on the collection slip in room
one.

[01:14:28.96] So you deleted that on March 15. You also added a new section to the study procedure
description entitled "Opportunity to cheat." That section explicitly stated that the puzzle performance
dependent variable came from the self-report that participants made on the tax form, which was also
referred to as the payment form, in room two.

[01:14:57.35] Can you explain why you made those two changes, first of all deleting what    had
written, and second, adding that section stating that the puzzle performance dependent variable came
from the self-report on the tax form, which would have been line one of the tax form?

[01:15:23.26] FRANCESCA GINO: So I believe that the changes I made were in the spirit of clarifying the
procedure. I don't have memory of sitting in my computer and making changes in regards to the passing
on and off of this draft, since, again, unfortunately is-- too much time has passed. But I think that the
changes that I were making were in the spirit of explaining the procedures as they happened.

[01:15:55.34] This was not an experiment where, as it's often the case for the cheating task, you fill out
the task under time pressure, and then you provide the collection slip to the experimenter and get paid
based on what is on your collection slip, and then we had the opportunity to look at the difference
between the original and the collection slip. This was a case where you can see there were two rooms.

[01:16:24.18] And so, the idea was for people to do the puzzles in the first room, and then in the second
room fill out the form with their taxes and receive a payment. And so, I believe the changes were to
increase clarity on the procedure that was used since     made the changes that didn't seem to
accurately describe what had happened.

[01:16:55.60] TERESA AMABILE: OK. Bob or Shawn, any follow-ups on that? No.

[01:17:01.78] FRANCESCA GINO: And I just want to clarify something that is really important to me since
I spent a lot of time with the multiple drafts. The hesitation that you're hearing is really feeling a little
uncomfortable with being precise especially when the questions are about intention for something that
happened 12 years ago.

[01:17:23.09] The only thing that I can be 100% sure is that I have never written paper with the intention
to mislead the reader or describe procedures that were inaccurate. In fact, I think that the example that


                                                                                                           21

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 687 of 1282



I provided of the collaboration with           is an important one, because we discovered an error in
the procedure, in the way the field experiments was conducted by Shinsei, the firm in Japan we were
working with, after we received an R&R.

[01:17:54.11] And it was really embarrassing to go back to the editor and explained the error and our
misunderstanding of how the randomization was conducted. And we pulled the paper, even if it was on
R&R state.

[01:18:10.64] TERESA AMABILE: Thank you for that clarification. And I understand. I actually had to do
that myself with a paper once years ago. Call the editor and say, we've got to retract that. We've got to
take that paper out of the review process because we just discovered a very serious error. Yeah. I get
that. So I'd like to move on to question four now.

[01:18:36.14] FRANCESCA GINO: Yeah.

[01:18:37.19] TERESA AMABILE: Revisions you made on March 15 state that participants received a
payment after completing the matrix task and before seeing the task form, and that they received a final
payment in room two after filling out the tax form. So a final payment in room two.

[01:19:00.04] Also in your March 15 revision you added a phrase explicitly stating that participants were
told to submit their collection slip to the experimenter in room one, quote, so that she could check their
work and give them payment.

[01:19:17.20] We have two questions about these revisions you made on March 15. First, can you
explain why you added those statements about when and where payments were made?

[01:19:40.69] FRANCESCA GINO: Can you explain why I added those statements?

[01:19:47.44] TERESA AMABILE: Yes. So I'm asking specifically now about the statements about when
and where the payments were made.

[01:19:54.64] FRANCESCA GINO: And am I correct, Teresa, in following the modification. So I'm following
through with table one. Are you also including table two in the way you're asking the question, or just
following--

[01:20:08.44] TERESA AMABILE: You're talking about the tables in the forensic report? You know,
Francesca, I actually have a simpler table that I put together. Because I found those tables in the MCG
report helpful but incomplete.

[01:20:23.62] FRANCESCA GINO: OK.

[01:20:24.52] TERESA AMABILE: So I'm going to ask Alma to screen share a table that I created, partly
from using what MCG did, but spending many, many hours doing what you did and going through the
different drafts of the manuscript.




                                                                                                          22

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 688 of 1282



[01:20:39.47] So Alma, this screen, this is called "Allegation 4a screen share - manuscript changes and
observations." Yeah. If you have that. OK great. So could you scroll down to the March 15 line. The date
is in the first column on the left.

[01:21:05.30] FRANCESCA GINO: I'm already learning that they are way cleverer than me, since I had
printed out and did the comparisons in the printouts. So I think this is much more--

[01:21:14.00] TERESA AMABILE: Yeah. It just-- I tried to do that, and it made me crazy. So Francesca, let
me tell you what you're looking at here. So in the first column, I just put the date. I didn't put the full file
name, just the date of the manuscript revision. The "last saved by" as indicated in the metadata. The
next column is about payment, how many payments were mentioned in the manuscript.

[01:21:40.76] FRANCESCA GINO: Mm-hmm.

[01:21:42.57] TERESA AMABILE: The middle column is about the dependent measure, what the paper
said about where the actual dependent variable of cheating on the matrix task came from. And the third
column, or the last column on the right, is about the collection slip and what the purpose of it was and
what participants believed the purpose of it was.

[01:22:06.42] So that's how I organized the information to just to try to wrap my head around it. And
Shawn and Bob agreed with me that this was useful for them as well. So I hope it's useful for you.

[01:22:19.82] So what I'm asking about here is specifically about the statement you put into the
manuscript about payment on March 15. So Alma, I'm going to ask you to just scroll down a little bit so
we can see the highlighting--

[01:22:37.99] FRANCESCA GINO: Mm-hmm.

[01:22:39.49] TERESA AMABILE: --all of the yellow highlighting I have. Scroll back now. I'm looking at the
yellow highlighting just in the third column. So you can stop there. Oh, up a little bit more, please. I'm
sorry, Alma. Yeah, right there. So there was-- oh. So what you did here, Francesca-- Alma, just up a tiny,
tiny bit more so we can read that one line-- there.

[01:23:07.62] So what you did, Francesca, among the many revisions you made on March 15, you
deleted the instructions on the collection slip. Up to that point, the manuscript, starting with your first
draft through the draft that     did on March 8, and then a version that        worked on on March 9,
this draft of yours, which was the next draft, March 15, up until March 15 those collection slip
instructions were included verbatim in an indented paragraph. You deleted all of that.

[01:23:53.17] And part of that was deleting the statement, "the experimenter will give you your
payment and ask you to fill out a payment form." So that's the uppermost material we're seeing in the
third column right now.

[01:24:08.50] And you altered the following sentence. The sentence had been, in the March 9 version,
the version just before this, it had been, "once the five minutes were over, the experimenter asked
participants to fill out the collection slip and then submit the collection slip to the experimenter."



                                                                                                              23

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 689 of 1282



[01:24:28.33] FRANCESCA GINO: Mm-hmm.

[01:24:29.59] TERESA AMABILE: And you altered that to say, "once the five minutes were over, the
experimenter asked participants to fill out the collection slip and then submit both the test sheet and
the collection slip to the experimenter so that she could check their work and give them payment."

[01:24:50.47] And then, the next change has to do with what you added, that new section that you
entitled "Opportunity to cheat." And that section included another sentence about payment in room
one, "when participants received payment after completing the first part of the study," et cetera, et
cetera. So I'm asking, can you explain why you added these two yellow highlighted statements about
when and where payments were made?

[01:25:35.86] FRANCESCA GINO: So I don't remember the intent behind the changes. But if I use my
usual mindset for when I work in trying to make revisions to paper is that I'm trying to clarify in points
that seem unclear and that seems to be descriptive of the study procedures as I understand them.

[01:26:07.86] I think that in looking at all the versions back and forth, at some point there must have
been a conversation with              , who was the person who conducted the study, since I wasn't in the
lab, to check on the procedure that was followed, given that there were so many back and forth.

[01:26:34.89] But in general, every time I make changes to paper is because I'm trying to increase
accuracy or try to describe what is written in such a way that a person picking up the paper would be
able to replicate it. Now, if I look with the 2022 eyes, that procedure seemed to make little sense given
that the entire idea behind this experiment was to be in a room, have an opportunity to work on the
task, and then receive payment in the second room.

[01:27:16.75] I think this is something that we talked about in the past. It's really difficult for me to even
imagine an RA allowing me to run a study where you're paying participants and then ask for money
back. It's just-- so practically it would be difficult to handle. In fact, I would use the word impossible to
handle. So I don't know what the intent was there.

[01:27:50.84] But I think whenever I work on drafts I try to be accurate and improve on the
understanding of the procedures. Whether my intent to be accurate was actually a description of
something that was inaccurate, that's possible. I think I have done that on many drafts in the past. But
what you want to make sure is by the time you get to the final draft you're actually describing the
procedures as they occurred such that the paper can move forward.

[01:28:27.20] Again the summer of 2010 was a moment of transition. And I was in-- unless my memory
fails me, I wasn't there conducting the study. And so, I would have had to have some conversation at
some point with         about the procedures.

[01:28:49.53] TERESA AMABILE: Shawn and Bob, do you have any follow-ups on this particular part?

[01:28:53.55] SHAWN COLE: No.

[01:28:54.33] TERESA AMABILE: That was, in our planned questions, that was 4a. No? So this is question
4b.

                                                                                                             24

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 690 of 1282



[01:29:04.51] FRANCESCA GINO: Mm-hmm.

[01:29:05.59] TERESA AMABILE: Again, I'm still focusing on these yellow highlighted segments in the
third column--

[01:29:16.24] FRANCESCA GINO: Mm-hmm.

[01:29:17.14] TERESA AMABILE: --about payment. Can you explain why you later deleted or altered
those statements in your April 5 revision so that the manuscript no longer made any mention of a
payment in room one?

[01:29:36.36] FRANCESCA GINO: I believe that the change was there because I don't think there was a
payment in room one. So again, I think what I-- across the drafts, the entire goal was to be accurate in
the procedures and understanding how they were-- how the study was conducted.

[01:30:06.92] TERESA AMABILE: It sounds like you're saying, these statements that you added on March
15, which was your second crack at the manuscript, I guess, you had a first draft and then this, and then
it went through       it went through       and this was your second crack at going through the
manuscript. It sounds to me like you're saying that what you added here on March 15 was a mistake
that you later corrected on April 5?

[01:30:38.60] FRANCESCA GINO: So what I can't pinpoint to is at which point during this back and forth
of drafts, that was the realization from me or the team that was enough confusion that it was time to go
to the RA and say, hey, what actually happened in the experiment so that we can write the procedures
of the study and giving the opportunity to whoever wants to run the study again to do so following the
exact same procedure that was conducted.

[01:31:12.43] And so, I think that, as is true of many of my papers, sometimes my corrections are not
accurate. But by the time they end up going off for publications, hopefully most of the error if not all,
are in fact corrected.

[01:31:32.89] With exceptions, like I just gave you one with           where there was an error that we
didn't correct it by the time the paper went out for review. But I think my intentions were good in trying
to increase the understanding of the procedures in the back and forth.

[01:31:55.45] TERESA AMABILE: OK. Thanks. Bob, Shawn, any follow-ups on 4b?

[01:32:00.32] ROBERT KAPLAN: No, I want to just stay on this point. Because it seems that              did
the first draft of taking the description of the procedure out of the boilerplate mode that had been used
in previous studies and trying to make it specific to this study as it was actually performed, and that was
the draft that Teresa explained-- described earlier.

[01:32:33.72] In the interim, now we're going between that late February draft and this March 15 draft,
you had an opportunity and look at what       wrote and said, well, no, no, that's really not what was
done at all, or that there were some gaps or errors there. Now that my mind is focused on this
experiment and how it was designed to be executed and done, you write the sections that are now
highlighted.

                                                                                                            25

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 691 of 1282



[01:33:01.62] I mean, you wouldn't have copied other boilerplate into here. It seems like now you're
engaged with the material and you're making the statements that are highlighted that you submitted
the test sheet and the collection slip in room one to the experimenter, where it was checked and the
participants received payment.

[01:33:24.24] And then after they received payment after completing the first part of the study, now
they move to the next part. So it seems like you were actively writing this based on your understanding
of how you designed this experiment to be conducted and expected            to carry out for you.

[01:33:45.43] TERESA AMABILE: Bob, can you say what your specific question is?

[01:33:50.74] ROBERT KAPLAN: Yeah. It doesn't seem-- it seems in your search for truth, as you
described it, this is the truth as you understood it as of March 15. And the question is, how did that truth
change to the truth that shows up in the April 15 draft, which is a different description, or not as explicit
a description.

[01:34:14.14] TERESA AMABILE: I think you mean April 5.

[01:34:15.61] ROBERT KAPLAN: April 5, I'm sorry. Yeah.

[01:34:18.89] FRANCESCA GINO: I think that there are a few assumptions in what you're stating that
make me uncomfortable, since you're stating you have your full attention to the paper. I don't know
that to be true.

[01:34:38.49] And I also know that it's now six plus-- it's 10 months after the study was conducted. So
I'm not entirely sure of at what point did I actually check in with the person conducting this study to
make sure that my understanding was accurate.

[01:35:04.35] And yes, I am attentive when I work on drafts. But probably, you get 100% or 300% of my
attentions before I know the drafts go off to being published to make sure that everything is 100%
accurate. So again, without a reconstruction of exactly what was happening in April, was I sitting with
     was I talking to     it's really difficult to say yes to the assumptions that you seem to be making in
your statement. The--

[01:35:48.55] TERESA AMABILE: [INAUDIBLE].

[01:35:49.95] FRANCESCA GINO: I just want to come back to the thing that I said earlier, since I've
learned this in graduate school, actually, from a class taught by     that as part of being a good
experimenter you always want to try to write procedures with enough details that if a person couldn't
talk to you, they would be able to know what to do. And so, you want to be accurate and precise and
give them the opportunity to run the study in the way it was actually conducted.

[01:36:24.57] ROBERT KAPLAN: Yeah, no, I think that's a very good process and fully concur that you
want to write it as accurately as you can. And it seems that at March 15, we're looking at your
description of how the procedure was actually done.




                                                                                                          26

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 692 of 1282



[01:36:42.98] And it's not the RA would not have had free will to go off and do it the way she wanted to
do it. She would do it the way you had designed it and the way you understood it, which is what we
believe-- that's what we are reading here in this March 15 draft. And so why-- it wouldn't seem to need
any other change once you have written it as you designed it and as you instructed the RA to execute it.

[01:37:14.95] FRANCESCA GINO: Part of what makes it difficult for me to answer this question, react to
your comments, is that I tried my best to see if I could find information on what was the procedure that
was followed in that summer when these studies were conducted.

[01:37:38.80] And unfortunately, I don't think I can have 100% knowledge of all the details. And the
reason being that, again, this was 2010 where the practices at UNC for the way you write IRB are
different. Nowadays, in 2022, if I want to conduct a study at HBS, and the study, for example, is on
Qualtrics, I submit my procedures, including the Qualtrics survey to the IRB. And so you can go back and
check on all the details to make sure that the procedure were followed.

[01:38:13.36] In this case, that's not what the requirements of the IRB at UNC were. And I also don't
have the IRB that was approved to go back and check on the procedures as they were stated in the IRB.
What I have on the computer is something that was written that I don't know if it was the thing that got
submitted.

[01:38:35.71] And I did call the IRB at UNC. And since this was a time where things were exchanged via
paper, they don't have records of it either. And so, it's quite difficult to reconstruct the story as it is.
Again, I can only speak to certainty about my intention when writing up procedures of studies is to be
accurate such that others who want to replicate the research, they know what procedure to follow.

[01:39:05.88] ROBERT KAPLAN: Yeah, so what I'm asking--

[01:39:07.63] TERESA AMABILE: Bob, I'm going to ask if we can go on now, because we have so much to
cover. Is it all right if we go on from this?

[01:39:17.10] ROBERT KAPLAN: I just wanted to clarify, we're not asking about the consistency between
this description and the IRB. We're asking about-- this is the way you designed the experiment, the way
you designed the RA to execute it.

[01:39:30.73] And it's not about the details of the experiment, it's really at the core of the experiment
that we're addressing here and wondering why-- well, OK. And it would seem that therefore this March
15 description is your most accurate understanding of the way the experiment was both designed and
executed.

[01:39:54.58] TERESA AMABILE: But Bob, can I just restate what I think I heard Francesca say earlier in
answer to your question about this? I think I heard her say that although she tries to clarify with each
draft that she works on, she does sometimes make mistakes in what she thinks is a clarification. She
sometimes makes mistakes.

[01:40:15.87] And she speculates-- she cannot remember-- it was 11 years ago that she was working on
this paper-- she speculates that it wasn't until after this March 15 draft and before the April 5 draft that



                                                                                                           27

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 693 of 1282



she actually checked in specifically with        about what the details of that procedure were.
Francesca, I see you nodding your head. Are you agreeing that I'm interpreting correctly what you said?

[01:40:45.95] FRANCESCA GINO: Yes. You are interpreting correctly when I said.

[01:40:49.50] TERESA AMABILE: OK. Thank you. And Shawn, I noticed that-- I'm sorry, Francesca, were
you done?

[01:40:56.39] FRANCESCA GINO: Yes, I'm done.

[01:40:58.41] TERESA AMABILE: Shawn, I noticed that you unmuted your microphone

[01:41:01.49] SHAWN COLE: No, yeah. No further comment.

[01:41:04.65] TERESA AMABILE: OK, great. So I'm going to move on. So Francesca, your April 5-- and
Alma, just leave the screen share where it is right now. Your April 5 version of the manuscript had the
following sentence in the procedure description.

[01:41:26.55] Hold on a second, let me look at this. Alma, can you now scroll down to that April 5 row?
It's two rows down, I think. So we had a revision on April 4 by     and then April 5, Francesca. OK. And
now, I'm focusing on-- I'm sorry. I'm getting myself confused here.

[01:42:00.01] FRANCESCA GINO: I think it's easy to be confused.

[01:42:01.20] SHAWN COLE: [INAUDIBLE]

[01:42:06.36] TERESA AMABILE: Ah, this is in the middle column. I'm sorry. It's in the second column
from the right, and it's under number one. So this is about the dependent measure. And that's it. Thank
you, Alma. You're a lifesaver.

[01:42:25.64] So this is the sentence in the procedure description that I want to start with: "Once the
five minutes were over, the experimenter asked participants to count the number of correctly solved
matrixes, note that number on the collection slip, and then submit both the test sheet and the collection
slip to the experimenter so that she could check their work."

[01:42:53.10] So one change you made in this version was that sentence, until this version, had said, "so
that she could check their work and give them payment." You deleted that phrase, "and give them
payment." And that's pointed out in the column just to the left of the column we're looking at. If you see
those-- the stricken-out in the screen share, if you see the stricken-out line, right there. Yeah. That's it,
Alma.

[01:43:25.12] So you struck that phrase. But that's actually not what I'm focusing on in this question. We
noticed that the sentence, Alma, if you could go back and just highlight the sentence that you had been-
- yeah, that's it. We note that the sentence states, "the participants were told that the collection slip
would enable the experimenter to check their work."




                                                                                                          28

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 694 of 1282



[01:43:52.51] So we'd like you to please explain why the final submitted version of the manuscript
contains a statement saying, "note the sole purpose of the collection slip was for the participants to
learn how many matrixes in total they have solved correctly."

[01:44:17.44] So what I'm getting at is, it looks like one-- a purpose of the collection slip, if not to enable
the experimenter to give them payment at that time, the purpose was so that the experimenter could
check their work. But the final version of the manuscript as it was submitted eliminates that version of
checking-- it actually explicitly says there was only one purpose of the collection slip, and that was for
the participants themselves to figure out how many matrices they had actually solved correctly.

[01:45:03.24] FRANCESCA GINO: Yeah. So the participants needed a vehicle as they moved from one
room to the other to remember how many matrices they solved. And they reported that on the form in
the second room. But again, your question is different. Your question is, what was the intent behind the
change? Am I rephrasing?

[01:45:31.63] TERESA AMABILE: It's about this phrase-- Alma, could you, in that part you have selected,
could you just select the last phrase, "so that she could check their work"? My question is about this.
You had this in the paper through and including your April 5 version.

[01:45:52.95] And yet-- so it seems that one purpose of the collection slip was to have participants
believe that the experimenter was going to check their work. And yet, the final submitted version of the
manuscript says the only purpose was for the participants, presumably privately, to learn how many
matrixes they had solved correctly.

[01:46:21.80] So I'm wondering if you can explain the discrepancy between this statement that you had
in your April 5 version and the final submitted version, which was in May, the next month, that said
something different about the purpose of the collection slip.

[01:46:46.09] FRANCESCA GINO: So I am going to sound repetitive, and my apologies for that. So I don't
remember what was going on as I was working on these drafts in the different iterations. But what I
would know is that by the time the paper gets submitted, I would like for the procedures and everything
else that is in the paper to be accurate.

[01:47:13.73] And so, to the extent that there were changes, I think they were changes that were
supposed to increase the clarity and the accuracy of the procedures as explained in the paper. I think
that what makes it difficult with this particular task is that, as I said, it's a task that have been used in
different ways in other studies.

[01:47:35.92] And so, I can imagine myself just transferring over the procedures because I'll deal with
the details later once I talk to    and move on to the rest of the paper thinking about the theoretical
contributions, how do we explain the findings, and more attention to the procedures coming later.

[01:47:58.61] So I don't know why that particular aspect of the description changed other than, again, I
hope that as I do in all my papers I was trying to accurately describe what had happened in the
experiment.




                                                                                                                29

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 695 of 1282



[01:48:24.05] TERESA AMABILE: I just wanted to ask about a phrase that you used a little bit in this a
little bit earlier in your answer that you just gave. You said something about, I can imagine that I just
transferred over certain descriptions of the procedure.

[01:48:39.92] Were you referring to possibly transferring over from other manuscripts with-- from other
studies with the matrix tasks that you might have copied and pasted bits of the procedure sections from
those papers into this paper at different points in the revision process?

[01:48:57.92] FRANCESCA GINO: I could imagine, again, it's a task that I used a lot. Or if you-- I think that
is a task that is being used in my work or that I have used in my work so often that in describing it, I
would probably say it in the way that it's written similarly in other papers.

[01:49:25.74] But again, I am tentative-- and the hesitation is an important one-- because I don't
remember. I don't have memories of sitting down and being there, making the changes to this
manuscript. Too much time has passed. What I am certain of is that my intention when I write papers
are always good. When I was working on these many different revisions, and it makes you have a
headache comparing across all of them and all the changes.

[01:49:58.50] I think that with the eyes of today, I will say, OK, let's pause. No more changes to the
manuscript. We're going to have a call with the RA who's going to walk us through step by step what is
actually happening. Everybody is hearing, and we move on. I don't think that that's what happened
here. But it's probably something that I would do in light of all the back and forth.

[01:50:26.12] What I do know is that, as I wrote in my comments, first drafts are first drafts. And so, I
think a lot about the contributions you want to make, other aspects of the paper, rather than the nitty
gritty of the details. And so, especially when studies are not studies that I oversaw, I don't think that
errors or changes stand out to me as problematic across drafts.

[01:50:58.37] TERESA AMABILE: Thank you. Bob or Shawn, any follow-ups on that?

[01:51:03.83] SHAWN COLE: No further questions.

[01:51:09.56] TERESA AMABILE: So this is the last question on Allegation 4a. And it's really the same as
the last question I asked on Allegation 1. Francesca, do you have any other evidence that could be
helpful to us in determining whether research misconduct occurred with respect to this allegation, and if
it did, who might have committed it?

[01:51:39.88] FRANCESCA GINO: No. I think I worked really hard in trying to find as much information as
possible to make sense of this allegation.

[01:51:53.90] TERESA AMABILE: Thank you. I'm going to call another brief break. I know the last one was
more than five minutes. We'll try to make it just five minutes this time.

[01:52:05.08] And oh, it looks like somebody-- who's gone? Oh, I see. The screen share stopped. That's
all that changed. So Francesca and Sydney, you'll go into a breakout room for five minutes. And
hopefully we'll be calling you back in five minutes. Thanks.



                                                                                                            30

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 696 of 1282



[01:52:38.86] Hi, Francesca. Are you ready to get into the questions we have on Allegation 4b?

[01:52:45.16] FRANCESCA GINO: Yes.

[01:52:47.17] TERESA AMABILE: All right. And this is also about that Study 1 or Experiment 1 in the 2012
PNAS paper. So your memo of November 11 says this of the original data set for Experiment 1, and you
were presumably referring here to your practices in 2010 when the data were collected.

[01:53:13.80] And this is a quote from your memo that you sent us on Friday: "Unfortunately, it was
common practice in my lab for others, whether an RA or doctoral student, to enter data often using my
computer or login, making it difficult to interpret the metadata for authorship."

[01:53:37.00] In the inquiry interview that Bob and I had with you on February 28 this year, you told Bob
and me that               , your RA, had entered the data for this study. And the metadata in the original
data files show               as the sole creator. So we're confused by your statement questioning
authorship of the data file. Can you clarify that for us?

[01:54:09.95] FRANCESCA GINO: So I think that my comments spoke about the general reference in the
forensic reports to metadata and pointing to the fact that it's-- dangerous is the wrong word. It's not a
good assumption to use the metadata to understand who did what. I think that they made note of that
in their reports. I would have to go look back at my notes since there are many pages.

[01:54:48.15] But again, I just wanted to make clear what my practices were in general for data entry. So
I don't see an inconsistency between the two things that I said.

[01:55:07.51] TERESA AMABILE: But just to be clear, you weren't questioning who had created that data
file for experiment one in the 2012 paper?

[01:55:18.30] FRANCESCA GINO: No. What I believe that it's either        or the other RAs who helped
her in the lab. There are other people thanked in the paper. So I assume that she got some help in
running the study. And it would make sense, given that there were two rooms. But the RA entered the
data, transferring it from the on-paper data into Excel.

[01:55:44.49] But again, if at some point I was visiting UNC with my computer open, she has used it in
the past for entering the data. And so, whether the data set says       or Francesca, or another, I don't
think that that's a good assumption on who did what on that specific file. I was making more of a
general point. I'm sorry if I confused you.

[01:56:14.91] TERESA AMABILE: I'm a little confused.

[01:56:16.32] FRANCESCA GINO: Yeah, I'm sorry.

[01:56:17.53] TERESA AMABILE: I just want to make sure, you don't have any reason to believe that it
was anybody other than          or somebody working directly under her supervision who entered the
data for this-- entered the original data from paper into the Excel file in 2010?

[01:56:36.59] FRANCESCA GINO: That's correct.

                                                                                                        31

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 697 of 1282



[01:56:37.05] TERESA AMABILE: That's correct?

[01:56:37.68] FRANCESCA GINO: Yeah. That's correct. So            worked with other RAs that she was
responsible in either hiring or getting help from for credits for class. And so, I don't know-- I haven't
tracked that information. I usually, not something that I ask about. But RAs are entering data. And so, it's
either      or somebody who helped her.

[01:57:05.53] TERESA AMABILE: OK. Thank you. Bob or Shawn, do you have any follow-ups on my
question one?

[01:57:10.84] ROBERT KAPLAN: None.

[01:57:11.75] TERESA AMABILE: No? OK.

[01:57:15.21] FRANCESCA GINO: Apologies for the confusion.

[01:57:17.71] TERESA AMABILE: No. That's OK. So Alma, if you could be ready-- I don't need it right yet.
But I'm going to in a moment ask you to bring up the screen share for Allegation 4b. So if you could just
get ready for that. So Francesca, the MCG report on the data for this experiment, they called their
report-- the file name is "Assessment of Allegation 4b."

[01:57:49.22] FRANCESCA GINO: Yeah. I have it.

[01:57:50.04] TERESA AMABILE: It compares the original data set with the OSF data set and carries out
the same analyses on both. That report points to a large number of discrepancies between the two data
sets.

[01:58:06.18] I'm going to go through these discrepancies and then ask if you can explain how they
arose. And two are particularly notable. And that's going to be on the first page of this Allegation 4b
screen share. So Alma, could you bring up that--

[01:58:25.88] [INTERPOSING VOICES]

[01:58:26.56] FRANCESCA GINO: --a clarifying questions?

[01:58:28.56] TERESA AMABILE: I'm sorry. What did you say?

[01:58:30.24] FRANCESCA GINO: A clarifying question for you. When you say original data, do you mean
the data attached by

[01:58:43.45] TERESA AMABILE: Yes. Yeah.

[01:58:44.53] FRANCESCA GINO: OK.

[01:58:45.46] TERESA AMABILE: Right. Alma, could you do the screen share of-- there we go. And could
you just scroll. So Francesca, this is a page from the-- it's page 6 from-- in the MCG report on Allegation
4b. And Alma, could you scroll down so we can see both of the yellow highlights here? Thank you.

                                                                                                          32

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 698 of 1282



[01:59:12.79] So this is their summary of just basic differences that they found, Francesca, between the
OSF data and the July 16 data. There were three different versions that        had, as you might
remember, from the forensic report.

[01:59:33.58] And the forensic firm was able to determine that it's the July 16 data that match most
closely with the OSF data set in terms of the number of participants and other features of the data set.
So they're using that one as what we're calling the original data file. So the first discrepancy is yellow
highlighted in the fifth bullet point.

[02:00:11.15] FRANCESCA GINO: Mm-hmm.

[02:00:13.84] TERESA AMABILE: And that is that six participants' condition assignments differed in the
two data sets. They give the participant IDs there.

[02:00:26.83] And the second discrepancy is the second bit that's yellow highlighted, 52% of the
participants that could be confidently matched had data that were different in the two data sets with no
clearly identified reason for the discrepancies. And that's this last bullet point highlighted here on this
page. OK. And Alma, for us to go through-- show the next discrepancies, I'm going to ask you to scroll to
table one.

[02:01:11.57] And I forgot to mention, Francesca, nearly all of the discrepancies of the forensic report
points out-- support the hypothesized and the reported effects. So in this table one, they redid the basic
chi-square, which is probably the most basic statistical analysis. Yeah, I see you nodding your head.

[02:01:39.83] And that's just overall participants who cheated on one or both of the dependent
measures of cheating. And as you can see, the July 16 data set failed to replicate the finding of any
significant differences between the conditions.

[02:01:58.54] FRANCESCA GINO: Yeah.

[02:01:59.75] TERESA AMABILE: So that's the first of the statistical analysis replications that they did. OK,
thank you, Alma. Could you now scroll down to the page that shows table two and figure two? You could
find a way to get them both on the screen. Yeah. That's good.

[02:02:24.24] And the figure at the bottom, it just depicts figurally the differences between the OSF
data, which is the green line, and the July 16 data set, which is the blue line. So we can see some pretty
notable discrepancies there.

[02:02:49.99] FRANCESCA GINO: Yeah.

[02:02:50.80] TERESA AMABILE: And Francesca, can we scroll to the next page? OK. And this is just the
second dep-- oh, Alma, can you show us the legend at the bottom of that? There you go. And this is just
the second measure. So what we just saw was the first measure, over-reporting of puzzle performance.
And this is the second measure, over-claiming of deductions.

[02:03:21.25] FRANCESCA GINO: Yeah.



                                                                                                          33

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 699 of 1282



[02:03:22.83] TERESA AMABILE: And we see, again, very large discrepancies in the means between the
two data sets.

[02:03:32.17] FRANCESCA GINO: Yeah.

[02:03:32.83] TERESA AMABILE: OK. And now let's scroll, Alma, to figure four. Oh, no. I'm sorry. We just
did that. Go back. And the last thing we're going to screen share here, Francesca, is that the MCG report
points to differences in the statistical results for both dependent variables that contradict the published
paper.

[02:04:07.62] And that is in the more sophisticated statistical test, way more sophisticated than the chi-
square, which is the F-test of overall differences between the conditions and the T-tests of the paired
comparisons between the conditions. And that's, Alma, the table on the last page here. Right.
"Additional statistical results."

[02:04:31.99] And we'll just take a minute to look at that and, again, see the large differences between
the results obtained with the OSF data set, which perfectly replicate what's published in the paper
between-- the discrepancies between that and the July 16 or original data set.

[02:04:56.35] So Francesca, the question we have on all of this is-- can we take down those screen
share, or Francesca, do you want to leave it up?

[02:05:05.04] FRANCESCA GINO: No, and I have it. I was following with the report. So I have it.

[02:05:09.30] TERESA AMABILE: You've got it. OK. Thank you. So the question we have is a very basic
one about all of these discrepancies, and that's, can you explain how these arose or how they could
have arisen?

[02:05:21.46] FRANCESCA GINO: So I don't question the existence of discrepancies. What I do have
questions about, is what the original data was. What I know for sure, as I said in the context of other
studies, is that I did not alter nor fabricated data, because that's something that I would never nor have
ever done in my own practices in the many years of being in this profession.

[02:05:52.99] And so, as I looked at the report and as I was going through the analysis myself and trying
to understand the discrepancies, a lot of questions came to mind. One was why is that there are
differences even in the number of participants? That seems really strange. The actions that I did take to
try to understand what the original data was, are actions that didn't lead to certainty, simply because
the original data is something that doesn't exist.

[02:06:30.39] What would have been super helpful to me is see the original data on paper as it was
conducted during the summer of 2010. And as I said in my comments, I did reach out to UNC. And
unfortunately, nobody in the lab, as much as they look, found the data on paper. And so, I am missing an
important piece of information.

[02:06:58.67] When it comes to the emails for          one of the questions that I would ask is, could one
look at the structure of the email, as IT people can look at, to make sure that the emails is in fact as it
was when sent back in 2010.

                                                                                                          34

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 700 of 1282



[02:07:16.79] And the third question that I had, which, again, unfortunately I don't have certainty is,
what happened after July 16, what happened in the days that followed? Were more sessions that were
conducted? And I don't know. Because every time I tried to find answers, I wasn't able to know for sure.

[02:07:40.28] And again, the question that I asked earlier of, where was I in those days, I can't answer
that question either since I was unable to reconstruct my calendar. What I would have loved is for me to
come to you and say, here is with 100% certainty where I was. I was sitting with        We were looking
at the data together. Or       was entering data on my computer, or whatever there was. It's
information that unfortunately I don't have for you.

[02:08:15.01] TERESA AMABILE: OK. Bob or Shawn, do you have any follow-ups? No? OK. And this is the
last question an Allegation 4b, same as the question we've been asking on the others. Francesca, do you
have any other evidence that could be helpful to us in determining whether research misconduct
occurred with respect to this allegation, and if it did, who might have committed it?

[02:08:45.10] FRANCESCA GINO: I think I tried all the routes that I could think of to provide more
information. So unfortunately, I don't think I have anything else to provide.

[02:08:56.53] TERESA AMABILE: I just thought of something. Did you import any boxes of files from your
lab at UNC up to HBS when you moved? I'm asking that because I remember that I did that when I
moved from Brandeis to HBS back in 1995. I had boxes and boxes of on-paper data which, of course, was
mostly how data were collected before 1995. And I kept them for many years until it was clear I
wouldn't be needing them. Did you do that?

[02:09:31.43] FRANCESCA GINO: No. I don't remember doing that. But that doesn't mean that I didn't do
it. I did check in my office. There is no data related to this study. The only data that I found was about a
study that never got published. We never followed up on the research.

[02:09:55.27] I would be happy if we asked around-- I'm happy to go back to my email. If you can think
of anything that I can do to be helpful to the committee to explore that possibility, I'd be super happy to
help.

[02:10:12.76] TERESA AMABILE: You know, one thing I just thought of. When I was basically asked to
give up my HBS office recently a couple of years ago when I went down to part-time and the school
needed absolutely every single faculty office for full-time faculty.

[02:10:34.72] I took the last of the files that I had and sent them off to Baker Library. I went through
them and got rid of anything that was just personal stuff and then organized the rest of them and sent
them off to the Baker Library archives. And I had started archiving stuff as soon as I arrived, or in the
first year or two after I arrived at HBS when I realized I had too much stuff to store in my own files.

[02:11:04.93] Is it possible that you've done that? Have you ever sent boxes of stuff to the Baker Library
archives? I'm wondering if maybe there's a chance the paper data could be there?

[02:11:16.49] FRANCESCA GINO: I don't think I've ever been in touch with Baker Library archives. I think
it'd be helpful to ask-- I actually don't remember who my FSS at the time was.



                                                                                                            35

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 701 of 1282



[02:11:38.06] TERESA AMABILE: We could-- that may be discoverable.

[02:11:41.12] FRANCESCA GINO: I want nothing more that to prove in any way possible that I didn't do
anything wrong. So anything I can do, ask my FSS, ask whoever at HBS might know of boxes that get put
somewhere with data. I'd be very happy to explore that possibility. I don't remember loading things in
my car. I don't remember having boxes of data in my car when I drove up from UNC.

[02:12:17.30] TERESA AMABILE: Or putting them in a moving truck or anything like that? Well, I think
that Alain can certainly work the channels at HBS to see if your FSS-- or I guess they were called FAs at
that time-- is still at HBS, at Harvard. And if that person could possibly be consulted about whether they
have a memory. I don't know if this is possible. But if-- they might remember having archived materials
for you.

[02:12:56.20] FRANCESCA GINO: Yeah.

[02:12:57.61] TERESA AMABILE: Yeah. So I can't think of anything else at this point. Francesca, can you
think of anything else on this one, on 4b? No?

[02:13:06.33] FRANCESCA GINO: No. Just thinking that unfortunately for many years it was
       but I think there was a person before him, and I unfortunately don't remember their name. So
we wouldn't--

[02:13:15.94] TERESA AMABILE: So this would be 2010, 2011, maybe 2012, around there?

[02:13:21.91] FRANCESCA GINO: Yeah, I think it was-- yeah.

[02:13:24.37] TERESA AMABILE: OK. Bob, Shawn, any follow-ups on 4b?

[02:13:28.24] ROBERT KAPLAN: No.

[02:13:30.22] TERESA AMABILE: We didn't spend too much time on that. I feel like I could go on. I don't
need a break now. But Francesca, let me ask you, do you want a break?

[02:13:40.09] FRANCESCA GINO: Can you remind me of where we're going next?

[02:13:42.46] TERESA AMABILE: We're going next to Allegation 2, and then we'll finish up with Allegation
3.

[02:13:47.32] FRANCESCA GINO: I am happy to dive in.

[02:13:50.05] TERESA AMABILE: OK. Shawn and Bob, are you OK? OK. So Allegation 2 is about Study 4 in
the 2015 Psychological Science paper.

[02:14:08.16] FRANCESCA GINO: Yeah.

[02:14:09.00] TERESA AMABILE: So we're clear on that allegation?


                                                                                                          36

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 702 of 1282



[02:14:11.40] FRANCESCA GINO: Yeah.

[02:14:13.76] TERESA AMABILE: So Francesca, the memo you sent us last Friday says, of this allegation,
that it's impossible to know why data from some original participants might have been excluded from
the OSF data set, because there are many reasons that participants might be excluded from
consideration before data were analyzed. Reasons, such as the participant being obviously distracted
during the study.

[02:14:42.44] However, there were some data in the OSF data set that do not appear in any of your
original data sets. So this is the reverse problem. And those data appear to favor the hypothesized and
reported effects. And there was a figure showing this in the MCG report. And we can do a screen share
of that figure if you'd like, just to jog your memory. Do you want to see that?

[02:15:17.82] FRANCESCA GINO: No, I have it.

[02:15:19.26] TERESA AMABILE: You've got it. OK, I think it was called figure one? I think? Let me just--

[02:15:30.67] SHAWN COLE: Page 11, yeah.

[02:15:32.76] TERESA AMABILE: Page 11 Shawn?

[02:15:34.86] FRANCESCA GINO: Yeah. I have it.

[02:15:36.39] TERESA AMABILE: Right, figure one on page 11. So the question is, can you explain this?
These data points that are only in OSF and can't be found anywhere in what seem to be the original
data?

[02:15:56.40] FRANCESCA GINO: Yeah. I want to clarify, because it's important to restate as I've done
before, I did not alter nor fabricated data for this study or any other studies in my research. As I sat with
the data myself, again, same of what happened in the case of the 2020 paper, when the committee
asked me to go and find the original data, I went into my Qualtrics account and found what I believe is
the original surveys as it was conducted. There are two that added to be merged.

[02:16:46.22] Again, if, in fact, somebody access my account, the difference for data points that are
present in the OSF data versus the ones that are part of Qualtrics might be due to deletions of data
points. So one possibility is that somebody went into my account and altered the data.

[02:17:11.58] The second possibility is, that seems less plausible to me, is that something happened in
the data cleaning process. But I had a hard time understanding where the additional data points came
from. I don't think there is a third version of the Qualtrics survey, or not one that I could find. And so, I
can't make sense of those.

[02:17:47.32] TERESA AMABILE: OK. Thanks. Bob or Shawn, do you have any follow-ups there on
question one?

[02:17:55.56] ROBERT KAPLAN: No.



                                                                                                                37

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 703 of 1282



[02:17:56.67] TERESA AMABILE: No? OK. Bob, just-- thank you. Shawn would like to bring up a question
here, which I didn't put into my--

[02:18:09.99] SHAWN COLE: Yeah, it's sort of a related question, which was, in the original complainant
report, it was pointed out that a number of the participants apparently entered Harvard when asked for
their class year.

[02:18:21.36] FRANCESCA GINO: Yeah.

[02:18:22.20] SHAWN COLE: Answers provided by those participants line up in a manner that's
extremely consistent with the hypothesized effect. And so, my question was, as you have now had a
longer period of time to examine the data relative to the previous inquiry-- interview, are you able to
offer any additional information about how these observations could be explained?

[02:18:49.48] FRANCESCA GINO: I'm not sure I have anything else to offer other than the participants
answering Harvard to their year in school didn't stand out to me as something that would necessarily
have caught my attention when looking at the data. I think, I said this to Bob. I think when the allegation
came, one of the questions that I asked myself is if there are these irregularities in the data, and I
receive it, and looking at it, would a reasonable person who's a good scientist notice the issue? And so, I
guess that's a question that I shouldn't be answering. But I did not notice the repeated Harvard to that
type of question.

[02:19:48.91] TERESA AMABILE: And so, Bob, did you have a follow-up to that? I don't. Bob, no? I see
you shaking your head. Thank you.

[02:20:00.99] So this is question two in my set of questions. The MCG report contains a table showing
that when the analyses reported in the published paper were run on the original data, the key result
that participants in the pro-attitudinal condition expressed significantly lower desirability of the cleaning
products, that key result failed to replicate.

[02:20:29.37] FRANCESCA GINO: Mm-hmm.

[02:20:29.94] TERESA AMABILE: And that was table two in the MCG report. Do you want to have a
screen share of that, Francesca?

[02:20:36.48] FRANCESCA GINO: I have it here.

[02:20:37.92] TERESA AMABILE: You've got it. OK. Can you explain that?

[02:20:48.61] FRANCESCA GINO: I don't think-- I don't question the results that come from the combined
data sets other than, again, I can't quite make sense of why is there a difference in the N other than
there were some exclusions that were done that reduced the sample size. And given that some of the
data was conducted in CLER, maybe that's the difference.

[02:21:25.58] I think that the-- I'm not sure what else to add other than repeating what I said earlier,
that I see two possibilities. RA error, but I would have had to create the conditions to somehow make



                                                                                                           38

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 704 of 1282



RAs believe that when I conduct studies I want to see certain results in the data. And I don't think I've
ever done that.

[02:21:57.76] As I said earlier, I walked away from so many studies. There is an entire folder on my
computer that is dropped studies because we try to test the idea, and the hypotheses were not
supported. I think that my RAs would have seen that.

[02:22:14.75] And the second hypothesis is that somebody edited the data in Qualtrics. I can't be sure of
which alternative is the truth. But what I am certain is that I did not alter the data nor fabricated data in
any of my studies, including this one.

[02:22:37.36] TERESA AMABILE: Just to clarify, Francesca, you said, it could be RA error. But it sounds
like the scenario you described would be actually research misconduct by an RA. Am I hearing that
correct, where they falsified or fabricated data to support the hypothesis?

[02:23:03.36] FRANCESCA GINO: I don't think I can speak to whether one is more likely than the other. I
don't think I know enough about when you're cleaning or merging data sets what's to be expected from
an RA to the extent that they're making choices on how that merging of data set or cleaning of data set
happens. So I don't think I can speak to that.

[02:23:31.26] TERESA AMABILE: So you're saying you don't think you could speak to whether it could be
an innocent error on the part of an RA or a motivated data fabrication or falsification. Is that what you
meant when you said, you can't judge between the two?

[02:23:47.98] FRANCESCA GINO: That's right. I think I was making a broader statement about the
conditions that I believe I create in my lab for people who work with me. And I don't believe I put people
under pressure. I think that people have seen me walk away from tons of projects. And that's just part of
learning. I also know that they've seen many studies failing, and that is OK. It's part of science.

[02:24:13.21] And so, I can't think of a situation where I got upset for an error that an RA made or for a
study that has failed. I think I was just trying to convey what I believe I'm doing when I'm working with
RAs or collaborators.

[02:24:34.09] TERESA AMABILE: Thank you. That was a really clear clarification. And the second-- so the
second possibility-- you talked about two possibilities. One it was something that an RA did or RAs did.

[02:24:49.05] And the second possibility, which is what you've talked about before today in your
answers to our earlier questions, is that there was a bad actor who got into your Qualtrics account. And
that would be research misconduct by this other person, correct? Am I interpreting that correct?

[02:25:11.97] FRANCESCA GINO: Yeah.

[02:25:12.96] TERESA AMABILE: OK, thank you. Bob or Shawn, follow-ups at all?

[02:25:21.36] ROBERT KAPLAN: No.




                                                                                                            39

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 705 of 1282



[02:25:22.98] TERESA AMABILE: OK, thank you. And last question on this allegation, Francesca, same as
on the others.

[02:25:32.49] FRANCESCA GINO: Yeah.

[02:25:33.91] TERESA AMABILE: Do you have any other evidence that could be helpful to us in
determining whether research misconduct occurred with respect to this allegation, and if it did, who
might have committed it?

[02:25:49.37] FRANCESCA GINO: I don't think I have anything more to offer.

[02:25:55.01] TERESA AMABILE: OK. All right. Thank you. I'm going to call for just a short break before
we go to our last allegation, which is Allegation 3. So again, Francesca, you and Sydney will be in a
breakout room. And it'll be about five minutes, OK? All right. Thank you.

[02:26:35.02] OK, Francesca. Are you ready to head into our questions about Allegation 3?

[02:26:39.52] FRANCESCA GINO: Yes.

[02:26:40.48] TERESA AMABILE: OK. And this is about study four in the 2014 Psychological Science
paper.

[02:26:48.43] FRANCESCA GINO: Yes.

[02:26:52.12] TERESA AMABILE: So our first question, concerning this allegation, the memo you sent last
Friday suggests that data cleaning or errors made by the RAs who coded the creativity tests could
account for the anomalies noted in the MCG report. We're going to go through three anomalies, and
we'd like you to explain how data cleaning, coding errors, or other errors could account for them.

[02:27:24.67] FRANCESCA GINO: May I make a clarification to my statement--

[02:27:29.71] TERESA AMABILE: Sure.

[02:27:30.46] FRANCESCA GINO: --that I think is important is, I am comparing the data set that I worked
on for analysis, which is the DAC data set. And the data set that I don't know where it is, which is the
raw data from the study. And so, I am making assumptions about that process, not necessarily what we
see reported here in the report, since the forensic firm didn't have the original data either. And so--

[02:28:15.69] TERESA AMABILE: I believe-- I'm sorry, Francesca. I'm confused. The forensic firm didn't
have data from Qualtrics. Is that what you mean by the original data?

[02:28:29.99] FRANCESCA GINO: Yes. So I don't know where the raw data-- sorry, raw data would be.

[02:28:34.88] TERESA AMABILE: The raw data, OK.

[02:28:36.14] FRANCESCA GINO: --the raw data is.


                                                                                                          40

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 706 of 1282



[02:28:38.24] TERESA AMABILE: OK. What they did work with were files right from your hard drive. They
worked with--

[02:28:45.70] FRANCESCA GINO: Yeah.

[02:28:46.06] TERESA AMABILE: --basically two Excel files from your hard drive.

[02:28:49.66] FRANCESCA GINO: Yeah.

[02:28:50.95] TERESA AMABILE: One with a 2012 date on it and one with a 2014 data on it.

[02:28:58.23] FRANCESCA GINO: Yeah.

[02:28:58.51] TERESA AMABILE: And the 2014, I think, is the one that they call DAC?

[02:29:03.07] FRANCESCA GINO: Yeah.

[02:29:03.79] TERESA AMABILE: Yeah, OK. And that one matches the data that were analyzed and
reported in the 2014 Psych Science paper, correct?

[02:29:20.73] FRANCESCA GINO: That's exactly right.

[02:29:22.08] TERESA AMABILE: OK. So what these questions are about is whether and how you can
explain discrepancies between the 2012 Excel data set on your computer and the 2014 data set on your
computer. OK?

[02:29:46.33] FRANCESCA GINO: Yeah.

[02:29:47.35] TERESA AMABILE: OK. So Alma, could you please bring up the screen share for Allegation 3
and just show us the first page, please. OK. So Francesca, the first anomaly is shown in this screen share
of table one--

[02:30:11.08] FRANCESCA GINO: Yeah.

[02:30:12.19] TERESA AMABILE: --is that in the 2012 Excel data set there are 12 lines of data that had
gray highlighting--

[02:30:23.03] FRANCESCA GINO: Mm-hmm.

[02:30:24.02] TERESA AMABILE: --in the cheat column. It appears that these 12 participants' conditions
were manually switched after data collection from the non-cheating to the cheating condition. The gray
highlighting is absent in the 2014 data set, which is here called DAC, and that's the rightmost column.

[02:30:47.58] So in the 2012 Excel file, MCG took as the correct condition assignment what was entered
in the column called "reported guessed correctly." And that value was a one, indicating that the person
said they guessed the coin toss correctly, which would have been cheating. And zero means that they


                                                                                                         41

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 707 of 1282



did not say that they guessed it correctly. So the gray highlighted cells-- and that gray highlighting did
exist in the Excel file that was found on your computer.

[02:31:33.83] FRANCESCA GINO: Yeah.

[02:31:35.24] TERESA AMABILE: Those gray highlighted cells are exactly the ones where there's a
discrepancy between the "reported guessed correctly" column and the "cheat" column, which did end
up then being the condition assignment for the participant, right?

[02:31:50.81] FRANCESCA GINO: Yeah.

[02:31:51.83] TERESA AMABILE: OK. So can you explain this discrepancy?

[02:31:56.04] FRANCESCA GINO: So as I said before, which I want to restate here, I did not alter any data
that is-- of studies that I conducted, including this one. This data set required merging that came from
two different data sets, one of which was for the cheating task.

[02:32:19.29] And this was something that a software person created that would record the cheating
versus no cheating. And so, I don't know why the values change between 2012 and 2014 other than
something might have happened with the data received from the program that was created for the coin
toss. I would--

[02:32:52.85] TERESA AMABILE: I'm sorry, just a quick clarification. I'm not asking right now about the
discrepancy between the 2012 and the 2014. I'm actually asking about the discrepancy between these
two columns in the 2012 Excel.

[02:33:06.29] FRANCESCA GINO: I see what you're saying. Apologize.

[02:33:08.05] TERESA AMABILE: Yeah.

[02:33:18.00] FRANCESCA GINO: Again, I'm not the person who does coding. And so, I'm not sure why
they're different. I don't know what the program from the original task spit out and whether it require
an RA to go into a data file and check for values. So I'm not entirely sure. I can't explain this difference
for you--

[02:33:51.37] TERESA AMABILE: OK.

[02:33:52.21] FRANCESCA GINO: --without the knowledge of the original program and what it deliver in
terms of the raw data.

[02:34:00.11] TERESA AMABILE: Shawn, you've unmuted. Did you want to ask a follow-up? OK. Bob?
No? OK.

[02:34:09.52] So the second anomaly we wanted to point out is on the next page. Alma, if you could
scroll down. Yeah. I guess it's not possible to get both the top part and the bottom part. That's OK. So
there are four lines of data in the cheat condition--



                                                                                                               42

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 708 of 1282



[02:34:34.49] FRANCESCA GINO: Yeah.

[02:34:35.18] TERESA AMABILE: --with gray highlighting. And that gray highlighting was in the original
2012 Excel file on your computer. And it appears from this screen share table two that those four
participants' scores on the RAT, the creativity test called RAT, were manually entered rather than being
computed values. So what I'm referring to here is the column called RAT underscore PERF in quote,
Show Formulas mode.

[02:35:18.64] FRANCESCA GINO: Yeah.

[02:35:19.70] TERESA AMABILE: And that column shows that all values except for those four were
computed. There was a compute statement there that computed these values from certain other
columns in the data file.

[02:35:37.79] FRANCESCA GINO: Yeah.

[02:35:38.64] TERESA AMABILE: But these four did not use a formula. These values were apparently
manually inserted. And they differ notably from the rightmost column, which is in red, which is the
values that MCG calculated based on the columns from which the other non-gray lines of data were
calculated.

[02:36:12.11] And now, Alma, if you could scroll down to table three, I think that's probably on the same
page in the forensic report. Francesca, I'm sorry, I don't have the page numbers.

[02:36:22.11] FRANCESCA GINO: Yeah. No, I have it on-- in front of me. Yeah.

[02:36:25.54] TERESA AMABILE: So the screen share table three shows those four lines of data. And it
shows the specific columns where the computations were taken from along with the apparent
modifications. The apparently manually entered values do not derive from underlying data in any
discernible way.

[02:36:57.82] And again, the gray highlighting is absent in the 2014 data set. It's only there in the 2012
data set. So again, the question is, same as before--

[02:37:10.84] FRANCESCA GINO: Yeah.

[02:37:12.00] TERESA AMABILE: Can you explain?

[02:37:15.21] FRANCESCA GINO: Yeah. So and again, I am trying to work through the perspective of a
person who doesn't do coding, which would be the case for this particular DV, since the RAT
performance is looking at the answer that the person gave to a question regarding associations and then
checking that-- I would actually question why this sum formula was used since it's something that you
need to go and count to check for answer being accurate rather than random.

[02:37:55.20] And so, I could imagine that if the RA was doing the work of coding, that's why some of it
are not in the sum versus some of them are enter as they are. As I said, I'm not the one doing the



                                                                                                         43

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 709 of 1282



coding. And so, I am unable to explain the reasoning behind that. What I can speak to is the DAC file,
since that's the one that I used for analysis.

[02:38:26.55] The assumption that seems to be embedded in this report is that, again, is one of the
meta file analysis, it's almost as if the 2012 file is being used as the raw data. That makes me
uncomfortable.

[02:38:49.05] And what also makes me uncomfortable is the fact that it's associated to me simply
because it was on my machine when I know for a fact that I wouldn't do coding. I wouldn't be doing
mergers of data files. That's not something that I generally work with because it's part of RA type of
work.

[02:39:14.26] TERESA AMABILE: It's my understanding that-- and I'll ask Bob and Shawn to correct me if
they think I'm wrong here, especially Shawn, whom I know studied the underlying Excel files--

[02:39:27.80] FRANCESCA GINO: Mm-hmm.

[02:39:28.79] TERESA AMABILE: It's my understanding that the DAC data file that you referred to as the
one that you used when you analyzed the data and wrote up the paper, that that matches the 2012
Excel file--

[02:39:44.21] FRANCESCA GINO: Mm-hmm.

[02:39:45.56] TERESA AMABILE: --in the columns and other respects. It's just that there are these
discrepancies in these-- well, those first 12 lines of data that seem to have the condition switched and
these four lines of data.

[02:40:06.47] FRANCESCA GINO: Yeah.

[02:40:08.21] TERESA AMABILE: That in other respects, those data files are quite similar.

[02:40:14.20] FRANCESCA GINO: Yeah. And I'm with you, Teresa. I understand the question and I
understand the presence of a discrepancy. What I wish I could do is see what the data coming from the,
I believe Qualtrics survey, as well as the program that was created so that we can make sense of what
exactly explained the discrepancy.

[02:40:43.03] And unfortunately, I can't pinpoint with 100% certainty rather than, again, being 100%
sure that I did not alter any data to favor any hypothesis. In fact, I didn't alter any data whatsoever.

[02:41:00.97] TERESA AMABILE: Believe me, we also wish that the Qualtrics--

[02:41:03.82] FRANCESCA GINO: I think--

[02:41:04.54] TERESA AMABILE: [INAUDIBLE] was there. And so

[02:41:05.89] FRANCESCA GINO: Yeah. It's very--


                                                                                                           44

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 710 of 1282



[02:41:07.34] TERESA AMABILE: it's frustrating that it's not.

[02:41:08.83] FRANCESCA GINO: It is frustrating. It is frustrating.

[02:41:11.47] TERESA AMABILE: But let me just rephrase what I think I heard you say before when we're
talking specifically about these four lines of data, these four participants. And specifically, we're talking
about the RAT.

[02:41:26.31] And just for Shawn and Bob who are not creativity researchers, I'm going to describe this
test. It's a test that was created by Mednick and Mednick, originally published in something like 1961.

[02:41:40.47] FRANCESCA GINO: I was going to say '72, but I think you're more accurate. Yeah.

[02:41:44.91] TERESA AMABILE: Yeah. I think it first came into use in some of their papers in '61, and
then it was published as a test that could be widely used, I think, in the early '70s. Anyway, it existed
before I became a creativity researcher in 1975. I can say that for sure. It was talked about in the
literature a lot. And the test is-- it seems a little strange as a creativity test. Because each item, each
question has a correct answer.

[02:42:15.21] And the answer is supposedly a measure of-- and it's generally taken in the field as a
measure of the creativity with which a person can make associations between things that are not
commonly associated. So one item is-- every item gives the individual three words and asks them to
come up with, fill in the blank, with a fourth word that somehow connects the other three words--
conceptually or in any way at all. Find that right answer.

[02:42:55.59] So one example of a pretty easy one is that the three items are cottage, rat, and blue. And
the correct answer is cheese.

[02:43:08.21] So I think what Francesca was saying before is that the RA would need to actually look at
what the person wrote on their survey and say, OK, is this answer cheese? If somebody misspelled
cheese, but it was clearly cheese, like they put a z instead of an s, they would have to count that as a
correct answer. Am I doing OK, Francesca? I see you nodding your head.

[02:43:36.29] FRANCESCA GINO: Yeah.

[02:43:36.82] TERESA AMABILE: Yeah. So the RA would need to-- and I think that's what Francesca was
referring to when she said coding.

[02:43:42.20] FRANCESCA GINO: Mm-hmm. Yeah.

[02:43:43.49] TERESA AMABILE: The RA would have to look at those handwritten-- or I guess typed-in
answers if it was done in Qualtrics-- and indicate in the data file, this is a one for a correct answer or this
is a zero, incorrect answer. So every item-- and it looks here like 17 items on the RAT were used, every
item gets scored as a one or zero, every answer to every item. Right.




                                                                                                              45

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 711 of 1282



[02:44:11.79] So the discrepancies here are-- as highlighted, I guess, with the red boxes are correct
answers that don't square with the underlying data in the 2012 Excel file. I'm sorry, that was a very long-
winded explanation--

[02:44:39.38]

[02:44:40.03] FRANCESCA GINO: No, I think that that was very helpful.

[02:44:42.56] TERESA AMABILE: OK. So Francesca, that is a fair description of what you were referring to
as coding?

[02:44:49.25] FRANCESCA GINO: Yes.

[02:44:50.42] TERESA AMABILE: OK. And--

[02:44:54.44] FRANCESCA GINO: I went back to try to understand often for coding, like this one, you
would have not one RAs but two in case there is judgment. And then for codings that where there are
inconsistency, you have them talk to each other. But again, I don't have that information.

[02:45:15.04] TERESA AMABILE: Right. But presumably, it wouldn't be too hard for even one person to
tell is this word cheese or is it not cheese.

[02:45:21.17] FRANCESCA GINO: Yeah.

[02:45:22.52] TERESA AMABILE: But yes, you might have had two people discuss it if there was really
some question about it, right?

[02:45:29.54] FRANCESCA GINO: Yep.

[02:45:30.50] TERESA AMABILE: So it sounds like I believe your answer to trying to explain this
discrepancy is that you can't?

[02:45:40.25] FRANCESCA GINO: Mm-hmm.

[02:45:44.54] TERESA AMABILE: Is that correct, Francesca?

[02:45:47.84] FRANCESCA GINO: I think that without the raw data it's difficult to speak with confidence
about why the discrepancies exist.

[02:46:02.31] TERESA AMABILE: OK. Bob or Shawn, did you have follow-ups on that? I'm about to move
on to the third anomaly. But no? No? OK. So Alma, could you move us to the next page, please? Yeah.
Good. Can you go up a little? Yeah, great. So the third anomaly--

[02:46:28.99] FRANCESCA GINO: Mm-hmm.

[02:46:31.72] TERESA AMABILE: --as shown in the screen share tables four and five--


                                                                                                        46

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 712 of 1282



[02:46:35.68] FRANCESCA GINO: Yeah.

[02:46:36.41] TERESA AMABILE: Again, this is from the MCG report-- recalculation of a statistical analysis
of differences between conditions using the original condition assignments and the original RAT scores
apparent in the 2012 Excel file reveals that the key result for the study as reported in the published
paper disappears.

[02:47:01.40] FRANCESCA GINO: Mm-hmm.

[02:47:02.93] TERESA AMABILE: And we're looking specifically here at RAT performance--

[02:47:07.69] FRANCESCA GINO: Yeah.

[02:47:08.90] TERESA AMABILE: --or number of RAT items solved. In fact, recomputed means reveal the
reverse. Non-cheaters scored higher on the RAT than cheaters did. Again, same question, can you
explain how data cleaning, or coding errors, or other errors, or anything else could account for this
anomaly?

[02:47:40.12] FRANCESCA GINO: I think that these are statistics that come from the way the data
differences exist between the two data sets. And so, in a sense, I see this as the result of the fact that
the previous anomaly exist. When you run the analysis, this is what you end up with.

[02:48:04.16] I think that from the perspective of a person who published a paper with these findings,
there are many different questions for me to answer. Again, I start from the standpoint of, I didn't do
anything wrong from the perspective of altering data or fabricating data or anything to that extent.

[02:48:26.31] And so, I'm left with a lot of questions about what does this say about the validity of the
research. And so, I started doing meta analysis without this study being considered. But I feel like that's
beyond the point of the investigation and more for me as a researcher.

[02:48:44.36] I think that in no matter what happens, I am going to make sure that I investigate these
relationships further such that I understand whether the results of the research that is published are, in
fact, correct.

[02:49:03.86] As a scientist, that's why we're in science. We want to publish research that is robust and
gives us important insights about people's behavior. But I feel like I am going beyond the question that
you asked.

[02:49:20.87] TERESA AMABILE: No, I really appreciated that. And of course, I strongly agree with that
most recent statement you made about the business that we're in as scientists.

[02:49:32.57] Francesca, I wanted to follow up on something you said in one of your last few sentences
there. You said, looking at this, you did question the validity of this particular study. Did I hear that right
as it was published?

[02:49:56.19] FRANCESCA GINO: No. I am sorry if I misspoke. I don't question the validity without
knowing what the raw data is. I think that there is a question mark in my own head of it's-- what I would

                                                                                                             47

      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 713 of 1282



love the most for me to have showed up at this meeting, but even before this meeting, with every single
detail possible that would prove that I've done nothing wrong in relationship to any of the allegations.

[02:50:31.65] But to the extent that that is not possible, again, as a scholar, I want to make sure that
everything that I publish is correct. So far, if I leave this study to decide the meta analysis suggests that
based on the previous studies the result is robust, which give me confidence that the DAC file here is the
accurate one. But I want to have certainty.

[02:50:58.32] And I think as a scientist, I want certainty about what I published. And so, I think that in
the months and years following, I'm going to revisit some of the hypotheses that I feel I spoke about,
provided evidence for, and make sure that everything is robust.

[02:51:22.17] I think it's a comment that I had also in my responses to you. I can't question the validity
of this data without having access to the raw data set. I do know that it's tricky sometimes when you
merge data sets, probably easier for experimental studies.

[02:51:43.56] But I do know that the cheating data was coming from a different software and also that
the dependent variables here required coding. And so, I can't be certain about how to explain the
discrepancies.

[02:52:02.42] TERESA AMABILE: I did clearly hear you say that you did not alter any data, fabricate any
data for any reason, let alone to support a hypothesis. And you're nodding your head.

[02:52:18.02] FRANCESCA GINO: Yes, I did not.

[02:52:20.10] TERESA AMABILE: But I believe I also heard you say, even just now, that in the absence of
the raw data in Qualtrics, which are undiscoverable for whatever reason. They're just not there. In the
absence of that, you do have questions about these discrepancies and how they might have arisen.

[02:52:47.89] So it sounds like you're saying you did not commit research misconduct, but research
misconduct or serious errors could have occurred here. Am I right? Am I hearing that correctly from
you?

[02:53:04.61] FRANCESCA GINO: I think what I'm trying to say, and I'm sorry if I'm unclear, this is, you all
know it's a really hard process. What I'm--

[02:53:14.24] TERESA AMABILE: Excuse me. Alma, could you take down the screen share now, please?
Thanks.

[02:53:21.31] FRANCESCA GINO: I think I'm trying to convey two messages. And one is specific to this
paper and one is about how I see myself as a researcher. Specific to this paper, I-- and again, I think that
in a sense the forensic firm made the same conclusions without access to the raw data. I can't explain
with certainty why certain discrepancies exist.

[02:53:52.03] Again, it does require-- it's a data set that requires some work on the part of the RA
handling it-- in the merging of it, in the coding of certain dependent variable. So that's a statement



                                                                                                             48

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 714 of 1282



about the paper per se. A more general statement, for me as a researcher, again, as hard as this can be
as a process, I think it taught me real lessons about how I want to set up my practices going forward.

[02:54:25.44] But also, making sure that if there is any doubt that anybody has on the research that I do
what I can to show that the results are robust. I think it breaks my heart to know that you might have
doubts, since you're my colleagues in the end, when I know for a fact that I didn't do anything wrong.

[02:54:53.68] TERESA AMABILE: Understood. Understood. Thank you. Bob or Shawn, do you have
follow-ups at this point? No.

[02:55:06.05] ROBERT KAPLAN: No.

[02:55:07.16] TERESA AMABILE: So Francesca, I'm going to ask that last question that we have for the
other allegations. Do you have any other evidence that could be helpful to us in determining whether
research misconduct occurred with respect to this allegation, and if it did, who might have committed
it?

[02:55:26.69] FRANCESCA GINO: No. No additional evidence.

[02:55:31.84] TERESA AMABILE: OK. Well, that concludes our questions for you, Francesca. Thank you,
again, so much for spending this time speaking with us. Do you have anything else you'd like to say at
this time?

[02:55:47.30] FRANCESCA GINO: I think I'm going to end with where I started, just thanking you for
spending time doing this and doing so so carefully. And then sad that that's how we are seeing most of
each other these days.

[02:56:06.93] TERESA AMABILE: Yeah. Thank you. So I'm going to turn it over to Alain right now. We're
not quite finished. There's one last bit that Alain needs to do. Yeah. So Alain, do you want to-- are you
there?

[02:56:26.04] ALAIN BONACOSSA: I am here.

[02:56:29.63] TERESA AMABILE: Can we see you?

[02:56:35.96] ALAIN BONACOSSA: I'm sorry, Teresa. What is the ask of me?

[02:56:39.02] TERESA AMABILE: My understanding was at this point when we're done with our
questions and Francesca's done answering our questions, that you would ask Alma to have-- for
Francesca and Sydney to go into a breakout room so that we the committee can see are there any final
questions that we might have. Am I remembering that right, Alain?

[02:57:02.97] ALAIN BONACOSSA: Yes. If you think that that's what the committee could use, yes. Let's
take a break, and [INAUDIBLE].

[02:57:08.64] TERESA AMABILE: Sure. Why don't we just, yeah, take a few minutes to do that. And then,
Francesca, if we don't have any further questions, Alain, is there any reason to bring them back?

                                                                                                         49

     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 715 of 1282



[02:57:20.75] ALAIN BONACOSSA: I would just bring them back to say goodbye and say we don't have
any additional questions. It would just take a minute.

[02:57:26.18] TERESA AMABILE: Yeah. So is that OK, Francesca? We'll do that. So if you and Sydney could
hang out together for just another few minutes. We'll then bring you back so we can say goodbye, or ask
any additional questions we have. All right. Thanks. OK. Bye-bye. So we'll see you in a few minutes.

[02:57:46.06] ALAIN BONACOSSA: Thanks.

[02:58:13.53] TERESA AMABILE: Hi, Francesca. We don't have any more questions for you.

[02:58:19.14] And we just want to tell you, of course, if you think of additional information, if you are
able to come across an FA or FSS who was working with you in those years that we were talking about
for the 2012 paper who might have some memory of those-- of paper files that could have the paper
data, or any other information on any of these allegations, please send it immediately to Alain so he can
get it to us, OK?

[02:58:52.57] FRANCESCA GINO: Appreciate it.

[02:58:53.84] TERESA AMABILE: OK. Sure. For sure. And we-- all three of us as we were talking just now,
and this was explicitly emphasized by Bob, please tell Francesca we really, really appreciate her hanging
in there with us through all these hours in this very difficult and emotional process. So Francesca, we're
sorry for the distress. We understand it. We share it.

[02:59:27.62] FRANCESCA GINO: Thank you.

[02:59:28.61] TERESA AMABILE: So thank-- Thank you very much.

[02:59:32.59] FRANCESCA GINO: Thank you, everybody.

[02:59:35.77] TERESA AMABILE: Bye-bye, Francesca. Bye, Sydney.

[02:59:38.44] FRANCESCA GINO: Thank you. Bye.

[02:59:47.83] SHAWN COLE: You can stop the recording now.




                                                                                                        50

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 716 of 1282



                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                       ([KLELW
5HVSRQGHQW¶V$GGLWLRQDO,QIRUPDWLRQWR,QYHVWLJDWLRQ&RPPLWWHHUHFHLYHGRQ1RYHPEHU
                                          
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 717 of 1282



                              Additional Information from the Respondent
                                           November 14, 2022

     1. In 2011, the FSS who supported Francesca was                     . His LinkedIn page suggests he
        started working in this role in October 2010. The Respondent thinks there was another person (a
        woman) supporting her for a few months before               took the position. She may investigate
        who this person was and/or talk to            to try to understand whether they have any
        recollection of helping Francesca with files she may have moved from UNC to HBS.

     2. Francesca found the following email in her           folder (Monday, May 2, 2011 at 9:58 PM).
        She thinks this may be potentially helpful to the committee because we have been reviewing
        drafts of the 2012 PNAS paper assuming “linearity” across versions – meaning, that each version
        improves on the previous one. According to Francesca, this email seems to suggests that
        “linearity” may not be a good assumption:

=========
Re: further revised draft of our "signature paper"

Hi      ,

Please find letter to editor attached - feel free to make any changes
whatsoever. I suggested              as an AE though
would also be great.

While reading through the latest draft that Francesca sent, I realized
that we exchanged so many drafts that at one point our wires got
crossed and that some revisions got lost a few rounds ago! Comparing
two drafts now - it will take just a bit longer to make sure all your
good revisions got incorporated.

Thank you both!

=========
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 718 of 1282



                          Additional Information from the Respondent
                                       November 19, 2022

The Respondent reached out to colleagues at UNC again. They checked the lab storage and
cabinets – they did not find any data for studies she conducted when she was there. Francesca
also reached out to Imelda Dundas in DRFD at HBS and learned that                  (her FA for
a few years) did not help her with the move from UNC to HBS.                 , another FA,
might have helped Francesca but Francesca can’t figure out where        went after HBS so she
doesn’t know how to contact her and she doesn’t see messages to her in my Sent folder related
to the move.
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 719 of 1282



                             Additional Information from the Respondent
                                          November 19, 2022

During the interview, the committee asked a few questions I wanted to follow up on:

     1. Issue: Search for original data (conducted on paper) for the lab study in the 2012 PNAS
        paper. The committee asked me whether it is possible the data is somewhere at HBS,
        assuming it was part of the materials I moved from UNC to HBS in the summer of 2010.
            a. In 2011, the FSS who supported me was                       . I reached out to him on
                LinkedIn and he told me he did not help with the move since he started working
                as my FSS (FSA at that time) in November of 2010.
            b. I reached out to Imelda Dundas (happy to share the emails if helpful), who told
                me for a few months I was supported by                      , before she left HBS. I
                do not see any email in my folders that speak to the potential move of data. I do
                not have contact information for        . (Two of the faculty she was supporting
                had problems with her so she left without staying in touch. I am not sure where
                she went when she left HBS).
            c. The data is not in the Baker Archives. It is also not in the cabinets we have for
                NOM Faculty on the 4th floor of Baker. And it is not in my office – though I found
                in my office data of a study I never published and also materials used in other
                studies.
            d. I reached out to colleagues at UNC again. They checked the lab storage and
                cabinets – they did not find any data for studies I conducted when I was there.

     2. Issue: Changes to the description of the study procedures in the 2012 PNAS paper. As I went
        through my emails again, I found the following email in my             folder (Monday, May 2,
        2011 at 9:58 PM). I think this email is potentially helpful in making sense of the many changes
        across drafts. We have been reviewing drafts of the 2012 PNAS paper assuming “linearity”
        across versions – meaning, that each version improves on the previous one. This email seems to
        suggests that assuming “linearity” may not be a good assumption:

=========
Re: further revised draft of our "signature paper"

Hi      ,

Please find letter to editor attached - feel free to make any changes
whatsoever. I suggested              as an AE though
would also be great.

While reading through the latest draft that Francesca sent, I realized
that we exchanged so many drafts that at one point our wires got
crossed and that some revisions got lost a few rounds ago! Comparing
two drafts now - it will take just a bit longer to make sure all your
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 720 of 1282




good revisions got incorporated.

Thank you both!

=========

   3. Issue: When is it that         and I met at a conference? It was the Society of Judgment and
      Decision Making conference in 2011. I found the program here:
      https://sjdm.org/programs/2011-program.pdf As it is shown on page 2,            presented the
      paper on “Signing Decreases Dishonesty.”          was on the market the summer/Fall of 2011.
      This is when the disagreements around the field data in this paper started happening.

   4. Issue: Relationship with                getting worse over time. The committee asked whether I
      have any written evidence that speaks to this. Many of my conversations with                 for
      this project and others we had going in 2010-2012 were live conversations, as we regularly met
      at conferences and talked over the phone. I found the following email in my
      folder (Tuesday, November 16, 2021 at 6:48 PM). I think this email may be helpful as it had a
      note from         in attachment (also attached here) –      was asking me to check the accuracy
      of the details in the note based on what I know. One of the inaccuracies I noted was in
      relationship to when        and       met (it was at SJDM in 2011 and then again at in early 2012).

=========
From: "                                          >
Date: Tuesday, November 16, 2021 at 6:48 PM
To: Francesca Gino <fgino@hbs.edu>
Subject: FW: Complicity in the Signing First paper

Dear Francesca,

May I ask you to review      ’s response to my chapter, particularly her claim that she was no
more connected to the field experiment than the rest of us. This is very different from my
understanding. Any clarity that you can provide would be of value to me.

Was      ’s name on the field experiment in         ’s presentation of this data? Why was
involved?

With appreciation, and with the intent of telling the history accurately,




From:
Sent: Tuesday, November 16, 2021 5:18 PM
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 721 of 1282




To:
Subject: Re: Complicity in the Signing First paper



Attached please find my comments to your chapter.




On Nov 11, 2021, at 8:29 AM,                                               wrote:

Authors of the two signing first papers:

I have spent much of 2021 writing a book entitled Profiles in Complicity. The book provides
seven profiles of the ways in which many of us are complicit with wrongdoing. This is my
honest personal account of our story. I have tried to use objective evidence in describing what
happened – thus the use of emails. I would appreciate it if you would review my account for
any errors you see in my description.

It is easiest for me to incorporate your feedback if I hear from you within the next week. But, I
will have further chances to change actual errors at a later date.

In advance, thank you for your review of this material,




<PiC.Chapter7.11.11.21.docx>

=========

   5. Issue: Projects I dropped over the years. I spoke about this in my comments before the
      interview, but I wanted to add that I also walked away from projects where the studies my
      colleagues and I conducted did not reliably show evidence consistent with the hypotheses we
      were testing. For instance, in a 2007 project on overconfidence with               and two other
      colleagues, I felt the data in support of our hypotheses was too weak and       and I ended up
      leaving the project (the two other colleagues continued working on the paper with additional
      co-authors and published it in OBHDP).
          a. For papers I published, I often tried to test hypotheses with multiple paradigms and with
              data from the field and the lab whenever possible – in an attempt to assure the
              hypotheses receive robust support. I conducted an internal meta-analysis for the 2014
              Psych Science paper, the 2015 Psych Science paper and the 2020 JPSP paper we
              discussed during the interview, and I believe the tested relationships to be robust and
              the data from the studies in question to be valid.
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 722 of 1282



                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                  ([KLELW
                     $OOHJDWLRQ(PDLO&RUUHVSRQGHQFH
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 723 of 1282


  From:
Subject: RE: Your JPSP: ASC Subm ss on PSP-A-2019-0814 - [EMID:ee729b732dbb3efc]
   Date: December 9, 2019 at 12:30 PM
     To: Francesca G no fg no@hbs.edu,


       Hi team,

       Just a quick note to confirm that the analyses I re-ran justify our responses to the
       reviewers’ comments on study 3. Namely, controlling for legal practice and office location
       does not affect the results for our hypotheses. It does lower goodness of fit, however,
       whish supports our initial decision to exclude those controls from the analyses.

       Cheers,

       From: Gino, Francesca <fgino@hbs.edu>
       Sent: Thursday, December 5, 2019 8:04 AM
       To:

       Subject: Re: Your JPSP: ASC Submission PSP-A-2019-0814 -
       [EMID:ee729b732dbb3efc]

       Thank you             !!!
       I’ll start drafting the design later today
       fran



       ----------------------------------------------------------------------
       Francesca Gino
       Tandon Family Professor of Business Administration
       Harvard Business School
       Chair, Negotiation, Organizations and Markets (NOM) Unit
       Co-Chair, Behavioral Economics Executive Education Program
       Co-Chair, Driving Profitable Growth Executive Education Program
       Website: http://francescagino.com/
       Twitter: @francescagino
       New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
       New HBR article: Cracking the Code of Sustained Collaboration



       From:
       Date: Wednesday, December 4, 2019 at 5:26 PM
       To:                                                                          Francesca Gino
       <fgino@hbs.edu>
       Subject: RE: Your JPSP: ASC Submission PSP-A-2019-0814 -
       [EMID:ee729b732dbb3efc]

       Hi team,

       Just a quick update. It took me a while to reconstruct the analyses for study 3, because
       the dataset I was using had been mislabeled when I shared it with a doctoral student.
       After much frustration I’ve finally located the correct dataset and was able to replicate the
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 724 of 1282
   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 725 of 1282




From:
Date: Monday, December 2, 2019 at 2:49 PM
To: Francesca Gino <fgino@hbs.edu>,

Subject: Re: Your JPSP: ASC Submission PSP-A-2019-0814 -
[EMID:ee729b732dbb3efc]

I went through this; I agree that the AE and reviewer are concerned about the way we
define networking in our instructions so we should reword to make it more neutral, in
addition we can do a 2 by 3 design to add a control condition; in addition, we can rerun
the analyses and test each dimension separate in addition to the difference score

         I added my comments; I think you can continue working on this and my plan is to
run the study early next week after we make sure we have spent enough time thinking
very carefully about its deign



From: "Gino, Francesca" <fgino@hbs.edu>
Date: Monday, December 2, 2019 at 1:09 PM
To:

Subject: Re: Your JPSP: ASC Submission PSP-A-2019-0814 -
[EMID:ee729b732dbb3efc]

It’d be helpful to know your reactions to the issues the reviewers brought up about our
manipulations and measures
         shared her comments on them


----------------------------------------------------------------------
Francesca Gino
Tandon Family Professor of Business Administration
Harvard Business School
Chair, Negotiation, Organizations and Markets (NOM) Unit
Co-Chair, Behavioral Economics Executive Education Program
Co-Chair, Driving Profitable Growth Executive Education Program
Website: http://francescagino.com/
Twitter: @francescagino
New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
New HBR article: Cracking the Code of Sustained Collaboration



From:
Date: Monday, December 2, 2019 at 1:02 PM
To:                                                 Francesca Gino
<fgino@hbs.edu>
Subject: Re: Your JPSP: ASC Submission PSP-A-2019-0814 -
[EMID:ee729b732dbb3efc]
   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 726 of 1282

[EMID:ee729b732dbb3efc]

Hi
Is there anything specific on the letter (besides new study design) that needs my
attention? I do not want to slow us down



From:
Date: Monday, December 2, 2019 at 9:42 AM
To:                                                                          "Gino, Francesca"
<fgino@hbs.edu>
Subject: RE: Your JPSP: ASC Submission PSP-A-2019-0814 -
[EMID:ee729b732dbb3efc]

No worries,          I can set aside another day later this week or next for the revision. It
doesn’t have to be tomorrow.

From:
Sent: Monday, December 2, 2019 10:40 AM
To: Gino, Francesca <fgino@hbs.edu>;

Subject: Re: Your JPSP: ASC Submission PSP-A-2019-0814 -
[EMID:ee729b732dbb3efc]

I am still in California and fly back later today so unfortunately can’t work on this today



From: "Gino, Francesca" <fgino@hbs.edu>
Date: Monday, December 2, 2019 at 7:50 AM
To:

Subject: Re: Your JPSP: ASC Submission PSP-A-2019-0814 -
[EMID:ee729b732dbb3efc]

Thank you         !
         – do you have time to have a look and then send it back to              today, with
your thoughts added?
That way we can speed things up      and make the 1/26 deadline
fran


----------------------------------------------------------------------
Francesca Gino
Tandon Family Professor of Business Administration
Harvard Business School
Chair, Negotiation, Organizations and Markets (NOM) Unit
Co-Chair, Behavioral Economics Executive Education Program
C Ch i D i i P fi l G                           E        i E           i P
   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 727 of 1282


Co-Chair, Driving Profitable Growth Executive Education Program
Website: http://francescagino.com/
Twitter: @francescagino
New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
New HBR article: Cracking the Code of Sustained Collaboration



From:
Date: Sunday, December 1, 2019 at 8:17 AM
To: Francesca Gino <fgino@hbs.edu>,

Subject: RE: Your JPSP: ASC Submission PSP-A-2019-0814 -
[EMID:ee729b732dbb3efc]

Hi Francesca,

Thanks a lot for getting this started. I’ve started answering the comments about study 3,
and have also responded to your comments in the letter. I’ll stop now because I have an
urgent deadline tomorrow, but on Tuesday I will take another stab at the letter (including
re-running the study 3 analyses to double-check what I wrote in the initial response) and
the design of the new study.

As for the Jan 26 resubmission timeline JPSP suggested, I too would love to meet it.
Heads up that my work schedule is completely packed until the end of December, but
come January I’ll be all over this revision, including the important theory development.

Talk soon,


From: Gino, Francesca <fgino@hbs.edu>
Sent: November 30, 2019 10:56 AM
To:

Subject: Re: Your JPSP: ASC Submission PSP-A-2019-0814 -
[EMID:ee729b732dbb3efc]

Hi team,

I started working on a letter with our responses. Before we decide on the study to run, I
think we need to do the additional analyses the reviewers ask for.         could you
please respond to the comments I highlighted on page 3 and 7? And could you your
thoughts as you go through the letter?

Then you can pass it to            and then I think we’ll be able to go ahead and run the
additional study.
We do not have a lot of time for the R&R. the deadline is 1/26. And it’d be great to stick to
it

fran
   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 728 of 1282



----------------------------------------------------------------------
Francesca Gino
Tandon Family Professor of Business Administration
Harvard Business School
Chair, Negotiation, Organizations and Markets (NOM) Unit
Co-Chair, Behavioral Economics Executive Education Program
Co-Chair, Driving Pro-table Growth Executive Education Program
Website: http://francescagino.com/
Twitter: @francescagino
New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
New HBR article: Cracking the Code of Sustained Collaboration



From:
Date: Wednesday, November 27, 2019 at 7:26 PM
To: Francesca Gino <fgino@hbs.edu>,

Subject: Fwd: Your JPSP: ASC Submission PSP-A-2019-0814 -
[EMID:ee729b732dbb3efc]

Finally some good news for us!
Happy thanksgiving!



Sent from my iPhone

Begin forwarded message:

      From: "Journal of Personality and Social Psychology: Attitudes and Social
      Cognition" <em@editorialmanager.com>
      Date: November 27, 2019 at 6:15:39 PM CST
      To:
      Subject: Your JPSP: ASC Submission PSP-A-2019-0814 -
      [EMID:ee729b732dbb3efc]
      Reply-To: "Journal of Personality and Social Psychology: Attitudes and
      Social Cognition"

      CC:
      11/27/2019

      Re: PSP-A-2019-0814
      Why Connect? Moral Consequences of Networking Motives
      Journal of Personality and Social Psychology: Attitudes and Social Cognition

      Dear

      I have received three reviews of the manuscript that you and your co-authors recently submitted to JPSP-ASC, titled
      “Why Connect? Moral Consequences of Networking Motives” (PSP-A-2019-0814). Furthermore, I read your paper
      carefully and independently, before looking at the reviews. As you can see when you have had a chance to see the
      reviewer comments, all of us Wnd some aspects of the paper quite innovative and commendable. At the same time,
      they also raise some important questions about your work while making insightful suggestions for how you might
      improve the paper. My own reading of the work places me in agreement with this general assessment of your work
      by the re ie ers Although I cannot accept this ersion of the paper for publication in JPSP ASC I in ite you to
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 729 of 1282


  by the reviewers. Although I cannot accept this version of the paper for publication in JPSP-ASC, I invite you to
  revise and resubmit the paper after addressing all the concerns raised in the reviews.

  The reviewers clearly expressed their concerns and thus I will not reiterate them. However, let me highlight a few
  points that are most important.


  The reviewers were enthusiastic about the research question tested here and in particular the manner in which the
  ideas were tested, using correlational, experimental, and Weld data, and by testing meaningful behavioral outcomes
  with varied and difWcult to get samples. Your agreement to follow open-science practices is also noted. This paper
  has the potential to make a strong contribution to JPSP, but the reviews have noted some places where there are
  theoretical holes to Wll, additional statistical tests that need to be conducted, and I feel that one more study may
  need to be conducted to shore up a deWcit in the ability to make causal statements about the nature of the effect. I
  do believe that these can be addressed in a revision that carefully addresses all of the very clear and detailed
  comments offered by the reviewers—I found all of their reactions appropriate and necessary to address to position
  this paper for maximal contribution. I highlight the most substantive points (though none are inconsequential) raised
  by reviewers that require serious attention.



  THEORIZING ON MECHANISM.

      1. As noted by Reviewer 2, point 1a, please Xesh out the theoretical
         mechanism more in the introduction.
      2. Please also consider Reviewer 3's concern that I also shared: the
         theorizing on moral self-regard is too thin. Increase discussion of that
         concept in literature review, as it relates to promotion and prevention.
      3. I, like Reviewer 2 (point 1b), wondered whether reg. focus affects the
         frequency of networking attempts or the appraisal of the act of
         networking holding constant frequency and manner? I agree that it
         seems plausible to analyze the open-ended responses to offer data to
         that end, complimenting the strength of this paper – which is the multi-
         methods used to explore this topic.

  CONFOUNDED INSTRUCTIONS AND MANIPULATIONS.

      4. Please address the concerns raised about regulatory non-Wt with the
         possible confound given the deWnition supplied to all participants of
         what constitutes networking and the primes to induce prevention and
         promotion (Reviewer 2, point 2). This could be done through
         argumentation. It may also be addressed in a single additional study
         (see also note below about what this study could address).

  CONTROL CONDITION

      5. The choice to exclude a control condition is problematic for claiming
         effects of promotion and prevention (Reviewer 3, second paragraph). I
         could envision one additional study positioned early on in the
         manuscript that includes promotion, prevention, and control conditions,
         that experimentally establishes the unique effects of promotion and
         prevention. When coupled with Point 7 below, you would have two
         means by which you could comment on the effect of promotion
         separately from prevention.

  STATISTICAL TESTS.

      6. The correlational study (Study 1) should simultaneously model
               ti      d       ti t dj t f th i           i ti    d
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 730 of 1282


           prevention and promotion to adjust for their covariation, and so you can
           comment on their unique effects on outcomes. See point 8 below, but
           does the path analysis in Study 3 simultaneously control for promotion,
           when modeling the effect of prevention? If yes, please highlight this
           and note that it is a third way in which you explore the unique effects of
           each orientation.
      7. Study 3 should model the data using multilevel analyses.
      8. I found the results presented in Table 3 difWcult to understand. I request
         that you provide a more comprehensive and illustrative Table caption
         that explains how the columns should be interpreted as they relate to
         your research question. You should also more clearly articulate in the
         results text which direct and indirect paths test your primary and
         secondary research questions. Or Wnd some other means of orienting
         readers not familiar with SEM output presented this way to how to read
         the results in the table. I will send the paper to an expert in statistics to
         review the model here in addition to the way in which you describe it for
         both a knowledgeable audience but also one unfamiliar with this
         approach.

  Once the paper has been revised, submit it through the manuscript submission portal. Make sure to check the
  appropriate box in the portal to indicate that the paper is a revision rather than a Wrst submission. If possible, I
  would like to receive your revision by 01/26/2020. If this is not feasible, please email our Peer Review Coordinator,
                  , at the main editorial ofWce (                  ) with an estimate of when you will resubmit. Longer
  timeframes are Wne.

  Your resubmission must be accompanied by a detailed cover letter explaining which speciWc changes you made and
  which recommendations you did not follow and why. This letter should address all of the points raised in my decision
  letter plus any other major, non-redundant points mentioned by each reviewer.

  In closing, thank you for submitting to JPSP-ASC. I would also like to thank the reviewers for their service to the
  Weld. Their thoughtful comments and suggestions were very helpful in reaching my decision.

  I enjoyed reading this paper and I hope you decide to undertake the revision.

  Sincerely,
  Emily Balcetis
  Associate Editor
  Journal of Personality and Social Psychology: Attitudes and Social Cognition


  Reviewer #1: I have long been interested in research on networking behavior, and read this manuscript with great
  interest. I was extremely impressed with the high quality of the work, ranging from appropriate utilization of theory to
  support the predicted associations, to the design of multiple studies using different samples and both laboratory and
  Weld studies, as well as the conciseness and clarity of the writing. The methods were rigorous, clear, and well-
  articulated. I consider this a rather remarkable feat to tell the story of 4 studies, each building upon the other, in 43
  pages. It is accepted that networking is important for career success, yet we know that networking has a "taint".
  Examining this taint, and how it could possibly be alleviated through a self-regulatory focus on promotion rather than
  prevention, has strong implications for organizations and for individuals in managing their careers. This is a most
  impressive work, and I have no substantive comments to add that would need to be addressed in a revision.


  Reviewer #2: The manuscript presents four studies testing the relations between regulatory focus and feelings of
  moral impurity in instrumental networking. As the results suggest, promotion focus predicted less and prevention
  focus predicted more feelings of moral impurity (e.g., dirty, inauthentic) when people network instrumentally;
  stronger feelings of moral impurity in instrumental networking were linked to lower self-report frequency of
  networking (Studies 3 & 4) and job performance (Study 3).

  Networking is an important and understudied topic. In my opinion, the article has made a reasonable and unique
  case that reg focus can contribute to the understanding of instrumental networking. The article also has quite a few
  notable methodological strengths, e.g., the use of mixed study designs (e.g., correlational, lab experiment, Weld
  experiment) and the recruitment of study samples from different occupations and cultures. The hypothesized effects
  were consistent across samples and settings Overall I believe the article has a potential to make a meaningful
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 731 of 1282

  were consistent across samples and settings. Overall, I believe the article has a potential to make a meaningful
  contribution to the literature.

  Despite the above merits, I did observe some critical issues (which I will elaborate below) and will make suggestions
  accordingly.

  1. Depth of the theory and evidence.

  a. One of the goals of the paper is to "further develop the theoretical link between regulatory foci and morality…"
  (p.3), but I Wnd the current arguments that support the theory of the links between reg focus and feelings of moral
  impurity in instrumental networking quite disappointing. In the two paragraphs that argues for the links (p. 5-6), the
  manuscript seems to propose that prevention focus is linked to moral impurity because fulWlling the ought-self
  compromises authenticity; promotion focus is linked to less moral impurity because fulWlling the ideal-self does not
  compromise authenticity. While I don't disagree that these are possible mechanisms, I think the current version of
  the manuscript does not go deep enough in the arguments (e.g., how do the pursuits of ought-self and ideal-self
  relate to moral impurity? What buffers promotion-focus people from feeling 'dirty' about instrumental networking?
  Why do prevention-focused people feel 'dirty' when they are doing what they are supposed to do, i.e., fulWlling a
  social obligation? Do promotion- and prevention-focused people differ in their moral (and amoral) standards? How
  do they relate to the feeling of moral (im)purity?). The arguments need to be expanded, and more concrete
  examples or evidence would also help.

  b. In addition, it is unclear whether the theory assumes the act of instrumental networking to be qualitatively the
  same across people who have different reg foci. Does the difference in feelings of moral impurity come from how
  they view the same act of instrumental networking differently? Or does it come from people who have different reg
  foci approaching instrumental networking differently (e.g., with different strategies)? The current version of the
  manuscript is quite ambiguous on this issue, but how it addresses the issue matters theoretically. For instance, the
  answer to the above questions directly affects the interpretation of the effects of the reg focus manipulation in
  Studies 2 and 4. The answer also determines what it means when the paper advocates that "promotion regulatory
  focus is beneWcial to instrumental professional networking." (on p.33). Relatedly, since Study 1 has collected open-
  ended responses, I'm wondering if the responses will shed light on this issue and add theoretical depth to the
  argument.


  2. Potential alternative explanation (i.e., regulatory non-Wt) in study instructions and conditions.

  a. The instructions of the reXection task (Study 1) don't seem reg-focus-neutral. On p.12 it says, "Please recall a
  time in your professional life where you did something with the intention of strategically building or nurturing a
  professional relationship." The words 'building' and 'nurturing' appear very promotion-focused (i.e., concerning
  nurture need). Could the stronger feelings of moral impurity among those who have a prevention focus be a result of
  a regulatory non-Wt between the instructions and dispositional prevention focus?

  b. The instructions of the reg focus manipulation (Study 4) also don't seem to be a pure comparison of promotion
  and prevention focus. Prevention focus concerns losses and non-losses, and duties and obligations; promotion
  focus concerns gains and non-gains, and hopes and aspirations. The current prevention-focus condition has a mix
  of both prevention- and promotion-focused words. In addition to prevention-focused words, it highlights many
  promotion-focused words and phrases: "we are interested in how people create and nurture relationships at work."
  "focus on opportunities they will miss if they do not network" (i.e., a non-gain), and "approach your next opportunity"
  (i.e., a gain). In short, I don't think the prevention focus condition is a clean manipulation. And similar to point 3a,
  could the stronger feelings of moral impurity (among other effects) in the prevention focus (vs. promotion focus)
  condition driven by a non-Wt effect?

  c. Most of the items of moral impurity appear to be prevention-focused words (e.g., dirty, tainted, ashamed). Is it
  possible that the result is driven by prevention-focus people being more likely to endorse prevention-focused words?
  Would you expect the same results if the impurity items are more reg focus neutral (e.g., wrong, unnatural, impure;
  words from moral foundation questionnaire), or if the analysis used only the item "inauthentic"?

  3. Precision and consistency in theorizing.

  Throughout the paper, I wish the manuscript could be more precise and consistent in its theorizing. I have listed
  here the two places that stand out and I Wnd the most problematic.
  a. Reg focus as a predictor or moderator. I found myself confused a few times reading the introduction about the
  role of reg focus. I Wrst thought it was a moderator because the introduction Wrst discussed the link between
  networking and moral feelings, and then introduce reg focus as a factor that may inXuence the relation (like a
  moderator). Some ambiguous wordings throughout also did not help (e.g., "we theorize that people's motivational
  approach—promotion versus prevention—inXuences how morally impure they feel from instrumental networking for
  professional goals" on p.2). Although Figure 1 makes it clear that reg focus is supposed to be a predictor, to me, that
  clariWcation came a bit too late. More precision in theorizing is needed early on to address the role of reg focus.

  b. Figure 2 - Studies 2 and 4. As a whole, I think the Wgure illustrates what each study tries to accomplish very well.
  It deWnitely helps readers appreciate the coherence across studies. But I also think the illustrations have over-
  simpliWed what is different in the experimental studies. Studies 2 and 4 each have two conditions of reg focus
  (prevention and promotion), and they tested the difference between the two conditions. This inaccurately portrays
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 732 of 1282

  (prevention and promotion), and they tested the difference between the two conditions. This inaccurately portrays
  two separate effects of prevention and promotion in the Wgure. The current Wgure would be accurate if there was an
  additional control condition (i.e., prevention vs. control, promotion vs. control). The choice of the comparison
  group(s) affects the conclusion a study can make, so it is critical to communicate the information accurately
  throughout the paper.

  Other suggestions.
  1. Study 3 has data from different law Wrms, and the survey responses from each law Wrm are non-independent. A
  more proper way to analyze the data is to do multilevel analysis, nesting participants' responses within Wrms.

  2. Increase clarity. There is room to increase clarity in writing throughout the paper.
  a. Some of it is about a more careful choice of words. Here are some examples. Study 3 used "power" and
  "seniority" interchangeably, but they are not conceptually the same thing, which can cause confusion. Another
  example is the short title of the paper: "the right approach to networking"—is that what the paper tries to study?
  Study 4 described the experimental condition as an 'intervention' - is that what the study is supposed to be about?
  By "contextual robustness" (on p. 14), does it just mean generalizability?
  b. Should the title be more explicit about the study of reg focus? Networking motives seem way too general for a
  paper that applies reg focus to
  c. Power analysis needs to specify whether it's a one-tailed or two-tailed test.

  3. More detailed explanations regarding study decisions are needed. Many places have left readers hanging about
  how the researchers decided to do what they did. For instance, why did the study measure moral self-regard? why
  did it measure negative and positive affect? Were they part of the hypotheses?

  4. Different measures of reg focus (trait, state, domain-speciWc) yielded different sizes of effects. I think this is an
  interesting and important point to discuss in the general discussion, as I suspect many would expect domain-
  speciWc measures to show the strongest effect but that is not true in the results.

  I hope the above observations and suggestions help further improve the quality of the manuscript.



  Reviewer #3: The authors present a multi-study paper examining regulatory focus as a moderator of networking
  experience and outcomes. The paper has several features to commend it: the authors present correlational,
  experimental, and Weld data, and they include meaningful behavioral outcomes. I believe the central hypotheses of
  the paper (that promotion can facilitate instrumental networking and that prevention can inhibit it) are compelling and
  have important implications. Thus, I believe the authors have chosen important research questions and that this
  paper could make a valuable contribution to the Weld. Despite my enthusiasm, I had several concerns while reading
  the manuscript, and describe the main points below.

  Although the authors lay out two separate hypotheses regarding promotion and prevention, they do not test whether
  their results are indeed due to these two independent effects. For example, in the experimental studies, no control
  condition is included. Is the effect of the "promotion condition" simply an effect of the "absence of prevention"?
  (Especially given that in study 1, only an effect of prevention on moral impurity was found.) A control condition would
  allow the authors to conclude BOTH that promotion is beneWcial for networking and that prevention is harmful,
  assuming the outcome in this condition was signiWcantly different from either other condition. Similarly, in the
  correlational studies, it would be useful for the authors to control for prevention when they look at the effect of
  promotion and vice versa, especially given that promotion and prevention are signiWcantly correlated in some of their
  studies. This would conWrm that these are actually independent effects.

  The introduction section focuses heavily on moral impurity as a mechanism, however, moral self-regard is also
  included as a central measure in Study 1. "Moral self-regard" appears for the Wrst time in the Overview of Studies
  and I could not Wnd a deWnition throughout the introduction. What exactly is moral self-regard, and how is it different
  from moral impurity? Why was it included in the methods of the studies - what did the authors expect to Wnd?
  More importantly, from my understanding the authors seem to hypothesize that moral impurity would be the
  mechanism for both promotion and prevention, when in fact their results suggest that moral impurity is the
  mechanism for prevention but moral self-regard may be the mechanism for promotion, at least judging from the
  results of Study 1. It would be beneWcial to for the authors to Xesh this out in the discussion.

  On this note, I generally found the section in which the authors outlined their central theorizing and predicted
  mechanisms (p. 5-6) to be difWcult to follow. I appreciate the inclusion of Hegel and Golomb (and am not suggesting
  these ideas should be removed) but I think this section would beneWt from greater clarity and the logic of the
  reasoning could be spelled out more precisely.

  I also wonder whether promotion and prevention relate to moral self-regard and moral impurity (respectively) outside
  of the networking context. Are these effects unique to networking, or would prevention increase moral impurity about
  various instrumental activities? I think the author's thoughts on the contextual speciWcity of the effect of focus on
  moral impurity should be discussed at some point in the paper, if not examined empirically.

  More minor points:
  - The authors justify their use of the Composite Reg Focus Scale by stating that "the Regulatory Focus
  Questionnaire (RFQ; Grant & Higgins, 2003; Higgins et al., 2001) collapses the two promotion and prevention
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 733 of 1282

                   (                 gg             gg                )      p             p                p
  scales to compute a difference score". (p. 11) This is incorrect - the RFQ is used to calculate two separate variables.
  Some researchers who wish to examine predominance compute a difference score, but otherwise, researchers do
  not compute a difference score and instead look at the measures separately.
  - I think it would be worthwhile to add "in networking context" to studies 1 and 2 in the overview table (so skimming
  readers don't incorrectly assume these were examined outside of that context)
  - Other control variables might be beneWcial to include in the correlational work. Could promotion relate to moral
  self-regard simply because both are related to self-esteem?
  - Alex Browman's work on situation-speciWc regulatory focus (Browman, A. S., Destin, M., & Molden, D. C. (2017).
  Identity-speciWc motivation: How distinct identities direct self-regulation across distinct situations. Journal of
  personality and social psychology, 113(6), 835) seems relevant to cite w/ regards to networking-speciWc focus.
  - There is a typo in the word completion examples, & then another on p26
  - In the study conducted in Italy, was the word completion task in Italian or English? I think it would be useful to
  specify.




  In compliance with data protection regulations, you may request that we remove your
  personal registration details at any time. (Remove my information/details). Please contact
  the publication of-ce if you have any questions.
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 734 of 1282


  From: Francesca Gino fg no@hbs.edu
Subject: Re: he p w th an IRB app cat on
   Date: January 7, 2020 at 9:53 AM
     To:


            ,
       Here is the revised protocol, and the surveys from Qualtrics.
       Let me know if you have any questions
       fran



       ----------------------------------------------------------------------
       Francesca Gino
       Tandon Family Professor of Business Administration
       Harvard Business School
       Chair, Negotiation, Organizations and Markets (NOM) Unit
       Co-Chair, Behavioral Economics Executive Education Program
       Co-Chair, Driving Profitable Growth Executive Education Program
       Website: http://francescagino.com/
       Twitter: @francescagino
       New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
       New HBR article: Cracking the Code of Sustained Collaboration



       From:
       Date: Monday, January 6, 2020 at 5:44 PM
       To: Francesca Gino <fgino@hbs.edu>
       Subject: RE: help with an IRB application

       Hi Fran,

       I just finished drafting a protocol for these studies (attached here).

       I included some questions in the margins. Also, I used brackets and yellow highlighting to
       indicate uncertainty (e.g., I don’t know if you want to use Dropbox or OneDrive to store
       the study data, so I wrote “Harvard [Dropbox] for question 12.27).

       Also, we still need to put together:
          1. Consent form documents for the three different studies
               a. Do you have Qualtrics/MTurk versions available? If so, I can make them into
                    Word documents for the IRB.
          2. A measures document (just Word exports of the three different Qualtrics surveys
             should suffice).

       One more thing: I created a draft ESTR submission for this study (which can be found
       here -> IRB20-0016: Networking Motives). I’ll upload the finalized protocol, measures,
       consent forms, etc. when we’ve finished those.

       If there’s anything else I can do to help with this, please let me know.

       Best
   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 735 of 1282

Best,


From: Gino, Francesca <fgino@hbs.edu>
Sent: Monday, January 6, 2020 10:07 AM
To:
Subject: Re: help with an IRB application

THANK YOU!
I’m re-taking the CITI certification now

PS – let me know if you can reach        today. I am planning to use the case study in
March so it’d be great to have it in the system soon



----------------------------------------------------------------------
Francesca Gino
Tandon Family Professor of Business Administration
Harvard Business School
Chair, Negotiation, Organizations and Markets (NOM) Unit
Co-Chair, Behavioral Economics Executive Education Program
Co-Chair, Driving Profitable Growth Executive Education Program
Website: http://francescagino.com/
Twitter: @francescagino
New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
New HBR article: Cracking the Code of Sustained Collaboration



From:
Date: Monday, January 6, 2020 at 10:04 AM
To: Francesca Gino <fgino@hbs.edu>
Subject: RE: help with an IRB application

Hi Fran,

Sure thing, I’ll start working on the application today and will send you an update on my
progress before EOD.

Best,


From: Gino, Francesca <fgino@hbs.edu>
Sent: Monday, January 6, 2020 10:02 AM
To:
Subject: help with an IRB application

Hi
I am wondering if you could help me prepare an IRB application that mention 3 different
studies, explained in the attached.
   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 736 of 1282


Rational for the studies:
Networks are a key source of social capital for achieving goals in professional and
personal settings. Yet, despite the clear benefits of having an extensive network,
individuals often shy away from the opportunity to create new connections because
engaging in instrumental networking can make them feel inauthentic and physically dirty.
In this research, we explore how the motives people have when engaging in networking
can reduce these feelings and lead them to network more often. Specifically, we examine
how self-regulatory focus, whether promotion or prevention, affects people’s experience
of and outcomes from networking. We predict that a promotion focus is beneficial to
professional networking. People who approach networking with a promotion focus
experience lower levels of moral impurity when engaging in instrumental networking than
those who approach networking with a prevention focus. As a result, networking with a
promotion focus increases the frequency of instrumental networking as compared to
networking with a prevention focus, with positive consequences for job performance.

I can fill in the blanks for things you do not know how to fill in.
I’ll have the Qualtrics ready by EOD

Thanks!
fran


----------------------------------------------------------------------
Francesca Gino
Tandon Family Professor of Business Administration
Harvard Business School
Chair, Negotiation, Organizations and Markets (NOM) Unit
Co-Chair, Behavioral Economics Executive Education Program
Co-Chair, Driving Profitable Growth Executive Education Program
Website: http://francescagino.com/
Twitter: @francescagino
New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
New HBR article: Cracking the Code of Sustained Collaboration




 Study1 survey    Study2        HUA Protocol    Recruitment     Study1 survey    Recruitment
   part2.pdf     survey.pdf    Networ…0.docx   Script…y 2.doc     part1.pdf     Script…y 3.doc




  Study3       Recruitment
 survey.pdf   Script…y 1.doc
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 737 of 1282


  From: Francesca Gino fg no@hbs.edu
Subject: test ng
   Date: January 14, 2020 at 7:45 AM
     To:




      Before I post the studies, can you check each of the following links (going through them a
      couple of times) to see if anything seems off?

      6WXG\3DUW
      KWWSVKEVTXDOWULFVFRPMIHIRUP69 E,/NFM<MF+$.:K

      Study 2
      KWWSVKEVTXDOWULFVFRPMIHIRUP69BMH,3;YORZ%Q5U

      Study 3
      KWWSVKEVTXDOWULFVFRPMIHIRUP69B*4<=SQVD9.'-

      thanks!
      fran


      ----------------------------------------------------------------------
      Francesca Gino
      Tandon Family Professor of Business Administration
      Harvard Business School
      Chair, Negotiation, Organizations and Markets (NOM) Unit
      Co-Chair, Behavioral Economics Executive Education Program
      Co-Chair, Driving Profitable Growth Executive Education Program
      Website: http://francescagino.com/
      Twitter: @francescagino
      New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
      New HBR article: Cracking the Code of Sustained Collaboration
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 738 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 739 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 740 of 1282
 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 741 of 1282


Co-Chair, Behavioral Economics Executive Education Program
Co-Chair, Driving Profitable Growth Executive Education Program
Website: http://francescagino.com/
Twitter: @francescagino
New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
New HBR article: Cracking the Code of Sustained Collaboration
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 742 of 1282


  From:
Subject: RE: R&R network ng
   Date: March 16, 2020 at 4:57 PM
     To:                                         , Francesca G no fg no@hbs.edu


       Agreed, it’s one of those “no stone left unturned” reactions.

       The question for us is whether to make the most of this additional digging in the data or
       just to the minimum requested, even while knowing that there can’t be much there. I lean
       toward the former, since Francesca is kindly putting her RA resources toward this
       additional analysis.

       From:
       Sent: March 16, 2020 4:28 PM
       To:                                                              ; Gino, Francesca
       <fgino@hbs.edu>
       Subject: Re: R&R networking

       i agree, the old vs new is the only insightful coding; I think they just want to make sure
       those essays are not left with no analyses

       From:
       Date: Monday, March 16, 2020 at 3:22 PM
       To:

       Subject: RE: R&R networking

       Absolutely, it would be very helpful as a manipulation check.

       Let me add that since we explicitly told participants “Your intention in sending the
       message should be to strategically make a professional connection. With this message,
       you are trying to create a connection that would aid the execution of work tasks and your
       professional effectiveness”, variation on the “professional/social” question will be zero, by
       definition. If we only coded for what the editor suggested, that would leave us coding
       usefully only for the “existing/new contact” question, which is somewhat interesting but
       not earthshattering because our theory concerns both types of ties and does not make a
       distinction between them.

       From:
       Sent: March 16, 2020 4:19 PM
       To:                                                                Gino, Francesca
       <fgino@hbs.edu>
       Subject: Re: R&R networking

       Great suggestion; I agree, and this can be a manipulation check


       From:
       Date: Monday, March 16, 2020 at 3:00 PM
       To:                                                                          "Gino Francesca"
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 743 of 1282
   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 744 of 1282


Here is her response. We should ask RAs to code for two things (old vs new contact;
professional vs. personal).

I understand that the change from 3a to 3b might seem small – hypothetical
consideration of a networking scenario to actual engagement in a networking behavior
(sending a message through Linkedin), but the change is more than trivial because it was
proceeded by a manipulation and you have content reflecting real behavior. I see two
ways of approaching my question:
1. You focus FREQUENCY of instrumental networking and all participants likely followed
your instructions and complied with the Linkedin message writing task. As a result,
frequency of messaging someone in Linkedin in this study likely doesnn't vary. So, I could
see you arguing that there is no variation in behavior and as a result it was simply a
constant manipulated induction of instrumental networking. If this is the case, you could
consider my comment regarding the coding of the Linkedin messages an example of just
a place for greater clarity. You could clarify for the reader what the primary goal of this
task was within your research paradigm and offer evidence that in fact there is little
variation in behavior which implies that participants followed the instructions as given and
as a result the instructed task did in fact do XXX (where XXX is a clearer statement of
what the point was). Because you are hypothesizing that promotion vs prevention affects
networking behavior and you had participants engage in networking behavior and there is
likely variation of some form in how they approached the networking opportunity, I
believed that you intended for their reactions to your prompt to write Linkedin messages
to serve as a dependent outcome. Please consider how you could prevent that
interpretation for the reader.
2. However, I do see it as possible for you to could code for the following two things in
those Linkedin messages. These things might vary as a function of promotion vs
prevention mindsets.
            a.Networking attempts: Did they message someone they already had a
                   connection to (not a networking attempt) or someone who would be a new
                   connection (a networking attempt). Whether you position this as informs on
                   the primary hypotheses or not, it does seem important to report on. Please
                   offer the percent of people who connected with "old" contacts or who
                   attempted to make a new one, if you have those data. If you do not, please
                   report that you do not have those breakdowns.
            b.Code whether the message was aimed at forming a connection to meet a
                   professional goal, as you have defined instrumental networking, or whether
                   they were using the assigned task to just make a social connection (saying
                   hello to a friend).
Emily Balcetis




From:
Date: Monday, March 16, 2020 at 1:29 PM
To:                                                                    , "Gino, Francesca"
<fgino@hbs.edu>
Subject: RE: R&R networking

Hi there,
   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 745 of 1282


Re-merging now from a string of conference calls…

I suppose that the one thing we could code for in the LinkedIn message is their promotion
focus vs prevention focus content. That is, people in the prevention focus condition might
have drafted messages concerned more with loss of opportunity and sense of
responsibility, while people in the promotion focus might have drafted messages
concerned with pursuing opportunities and professional aspirations. I don’t think there’s a
way to code that level of nuance in LIWC, but in theory an RA could code for promotion
vs prevention focus content.

Let’s wait and see whether the editor recommends a specific approach to coding
(whether the above or something else). If not, I think it’s completely fine not to code these
messages.

Thanks,


From:
Sent: March 16, 2020 1:30 PM
To: Gino, Francesca <fgino@hbs.edu>
Cc:
Subject: Re: R&R networking

Will email her right now


From: "Gino, Francesca" <fgino@hbs.edu>
Date: Monday, March 16, 2020 at 12:29 PM
To:
Cc:
Subject: Re: R&R networking

Do you want to send her the letter via email? So that we save some time?
If she agrees with our approach we can go ahead and submit the paper.
I just need to send you the data and materials to post and then we’re all set. So we can
do that while she is evaluating the answers


----------------------------------------------------------------------
Francesca Gino
Tandon Family Professor of Business Administration
Harvard Business School
Chair, Negotiation, Organizations and Markets (NOM) Unit
Co-Chair, Behavioral Economics Executive Education Program
Co-Chair, Driving Profitable Growth Executive Education Program
Website: http://francescagino.com/
Twitter: @francescagino
New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
New HBR article: Cracking the Code of Sustained Collaboration
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 746 of 1282



From:
Date: Monday, March 16, 2020 at 1:28 PM
To: Francesca Gino <fgino@hbs.edu>
Cc:
Subject: Re: R&R networking

Reads well
Lets see if there any specific things she wants us to code for


From: "Gino, Francesca" <fgino@hbs.edu>
Date: Monday, March 16, 2020 at 12:24 PM
To:
Cc:
Subject: Re: R&R networking

Here is what I would say in the letter. (I edited throughout)



----------------------------------------------------------------------
Francesca Gino
Tandon Family Professor of Business Administration
Harvard Business School
Chair, Negotiation, Organizations and Markets (NOM) Unit
Co-Chair, Behavioral Economics Executive Education Program
Co-Chair, Driving Profitable Growth Executive Education Program
Website: http://francescagino.com/
Twitter: @francescagino
New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
New HBR article: Cracking the Code of Sustained Collaboration



From:
Date: Monday, March 16, 2020 at 11:59 AM
To: Francesca Gino <fgino@hbs.edu>
Cc:
Subject: Re: R&R networking

Do you want us to email the AE before resubmission?


From: "Gino, Francesca" <fgino@hbs.edu>
Date: Monday, March 16, 2020 at 10:57 AM
To:
Cc:
Subject: Re: R&R networking

M          i th t      h   l t ll th AE             tk        h tt           f   b t th t
  Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 747 of 1282


My sense is that we should tell the AE we do not know what to code for but that we are
open to suggestions? I don’t think she’ll ask us to do anything with that data if we explain
why we used this paradigm better. I can add a couple of sentences to the paper

fran




       On Mar 16, 2020, at 11:43 AM,


       We can use LIWC for content analysis but I am not sure we really get any
       differences back; coding them by coders will take long and I am not sure
       what categories we want to code for. Also, I am not sure we have hypotheses
       as why the content of messages would be different



       From: "Gino, Francesca" <fgino@hbs.edu>
       Date: Monday, March 16, 2020 at 10:03 AM
       To:

       Subject: Re: R&R networking


       For Study 3B. We did record their messages, but we have no way of saying
       whether they sent them for sure. We trusted people they would do so. As for
       coding, I read a few of them over the weekend. I am really not sure what to
       code for… here an example of the type of msg:

       ==================

       Hey Steph,

       It's been awhile. Just wanted to let you know that I enjoyed working with you
       during our time with Distribution. I'm currently with LUS still at the GSC and
       we are looking for some people interested in Part-Time positions. Let me
       know if you would still be interested. Hope all is well.

       ==================

       My RA can help with the coding. The writing of the message was meant to
       make people experience networking (in real terms). Usually LinkedIn
       messages are not super long, so the above is not starnge, length wise.
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 748 of 1282


  ----------------------------------------------------------------------
  Francesca Gino
  Tandon Family Professor of Business Administration
  Harvard Business School
  Chair, Negotiation, Organizations and Markets (NOM) Unit
  Co-Chair, Behavioral Economics Executive Education Program
  Co-Chair, Driving Profitable Growth Executive Education Program
  Website: http://francescagino.com/
  Twitter: @francescagino
  New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
  New HBR article: Cracking the Code of Sustained Collaboration



  From:
  Date: Thursday, March 12, 2020 at 2:11 PM
  To: Francesca Gino <fgino@hbs.edu>,

  Subject: R&R networking

  Francesca,

  Attached is the final draft (after my edits) and the short response letter. There
  were all minor edits.

  Two things for you to take care of

     1. *Study 3b. Do you have the letters that they drafted for their Linkedin
        networking task? Are those analyzed or can they be? I was expecting
        that some content analysis of these letters would serve as a DV as I
        was reading the methods. That the content of their letters, whether they
        were sent, etc is not considered or modeled as a DV strikes me as odd.
        Please either analyze those data, or explain in a cover letter why you
        could not. Also clarify in the manuscript what the experience of letter
        writing was meant to do, in order to more clearly conceptualize it within
        this paradigm.
         Did we ask them to copy their message for us. For ASQ paper we did
         not ask them so we did not have the messages. Do you have them
         here?? if we do not have them we can simply say we encouraged
         them to do so and have time to make it more real but did not ask them
         to share their messages with us.
     2. Can you upload all data, I have Study 5 data and will send you the data
        to be uploaded. If you want you can send me and I can upload them if
        you have the data ready. We are not uploading Study 4 data.
         I attached the data for Study 5. I can upload all data if you share the
         data with me.

  Let me know if I can help.



  From:
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 749 of 1282



  Date: Wednesday, March 11, 2020 at 10:53 PM
  To: "Gino, Francesca" <fgino@hbs.edu>,

  Subject: R&R: Your Submission PSP-A-2019-0814R1 -
  [EMID:1460b967a844c21b]

         , can you send me our response to “Motivation for being unable to
  provide the data from the law firm (NDA)”

  Francesca: can you upload all data, I have Study 5 data and will send you
  the data to be uploaded. If you want you can send me and I can upload them
  if you have the data ready. We are not uploading Study 4 data.

  The second comment you need to address
  *Study 3b. Do you have the letters that they drafted for their Linkedin
  networking task? Are those analyzed or can they be? I was expecting that
  some content analysis of these letters would serve as a DV as I was reading
  the methods. That the content of their letters, whether they were sent, etc is
  not considered or modeled as a DV strikes me as odd. Please either analyze
  those data, or explain in a cover letter why you could not. Also clarify in the
  manuscript what the experience of letter writing was meant to do, in order to
  more clearly conceptualize it within this paradigm.


  Let me know if I can help in any way. I have the letter ready and will add your
  responses. I am making small edits the manuscript based on the comments.




  From: "Gino, Francesca" <fgino@hbs.edu>
  Date: Wednesday, March 11, 2020 at 3:57 PM
  To:

  Subject: Re: Your Submission PSP-A-2019-0814R1 -
  [EMID:1460b967a844c21b]

  Awesome! Happy to put data online. OSF? Or do you have a different
  preference?



  ----------------------------------------------------------------------
  Francesca Gino
  Tandon Family Professor of Business Administration
  Harvard Business School
  Chair, Negotiation, Organizations and Markets (NOM) Unit
  Co-Chair, Behavioral Economics Executive Education Program
  Co-Chair, Driving Profitable Growth Executive Education Program
  Website: http://francescagino com/
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 750 of 1282

    ebsite: http:// rancescagino.com/
  Twitter: @francescagino
  New Book: Rebel Talent: Why It Pays To Break The Rules At Work And In Life
  New HBR article: Cracking the Code of Sustained Collaboration



  From:
  Date: Wednesday, March 11, 2020 at 3:54 PM
  To:                                                                          ,
  Francesca Gino <fgino@hbs.edu>
  Subject: RE: Your Submission PSP-A-2019-0814R1 -
  [EMID:1460b967a844c21b]

  Yay indeed!

  In the midst of COVID-19 disaster, finally a piece of good news!

  I looks like what I can contribute to the final edits are:
      1. Motivation for being unable to provide the data from the law firm (NDA)
      2. Tweaking Figure 2 to align like concepts horizontally.

  Any thing else that you’d like me to do?



  From:
  Sent: Wednesday, March 11, 2020 12:43 PM
  To: Gino, Francesca <fgino@hbs.edu>;

  Subject: FW: Your Submission PSP-A-2019-0814R1 -
  [EMID:1460b967a844c21b]

  Yay!

  I’ll see what changes we need to make and get back to you. Francesca you
  have the data so we need to make some of the data available



  From: <em.asc.0.69ddb2.e703261d@editorialmanager.com> on behalf
  of "Journal of Personality and Social Psychology: Attitudes and Social
  Cognition" <em@editorialmanager.com>
  Reply-To: "Journal of Personality and Social Psychology: Attitudes and
  Social Cognition"
  Date: Wednesday, March 11, 2020 at 10:22 AM
  To:
  Subject: Your Submission PSP-A-2019-0814R1 -
  [EMID:1460b967a844c21b]

  CC:
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 751 of 1282


  CC:
  RE: Journal of Personality and Social Psychology: Attitudes and Social Cognition submission PSP-A-2019-0814R1,
  titled Why Connect? Moral Consequences of Networking with a Promotion or Prevention Focus

  Dear              ,

  Two of the original reviewers returned to your revision and were pleased with all the changes you made. I concur.
  This is a very strong revision. As I originally and continue to think, the breadth of methods and samples used here
  is a great strength and increases the evidentiary value of the package as a whole. There is much our academic
  community can take from this work. Below I outline a few minor revisions that need to be addressed before I could
  accept the manuscript for submission, though I do not foresee these being a major source of concern. As a result, I
  am pleased to tell you that your work has now been accepted for publication in Journal of Personality and Social
  Psychology: Attitudes and Social Cognition pending the following minor revisions:

  At submission, you agreed to share data, analytic methods and code, and research materials upon acceptance of
  the paper or otherwise provide reasons for not doing so for each study. Please provide either:

     1.     Links to the data, analytic methods, and research materials OR
     2.     A statement to explain why you are not sharing this information.
  Figure 2. Overview of studies. A small aesthetic change, but something I thought would help me is from one row to
  the next, can the blocks that reference the same concept be aligned horizontally? That is, for example, can “moral
  impurity from instrumental networking” always appear in the same location left-to-right (as if in the same column)
  regardless of which row it appears in? That will visually convey when studies test content that is a consequence or
  predictor of impurity.



  Study 1, Table 1. The “RF neutral” label is not explained. Reference this label in the results and methods.



  Study 3b. Do you have the letters that they drafted for their Linkedin networking task? Are those analyzed or can
  they be? I was expecting that some content analysis of these letters would serve as a DV as I was reading the
  methods. That the content of their letters, whether they were sent, etc is not considered or modeled as a DV strikes
  me as odd. Please either analyze those data, or explain in a cover letter why you could not. Also clarify in the
  manuscript what the experience of letter writing was meant to do, in order to more clearly conceptualize it within this
  paradigm.



  Study 5. Please report the mediation analyses predicting new connections and existing ties as outcome variables,
  as well as the mediation analysis you do report.



  (Please note: authors may easily deposit data, codes, and materials into APA's own repository hosted by the Center
  for Open Science at https://osf.io/view/apa/.)

  Your revision is due by 05/10/2020.
  To submit the revision, please visit https://www.editorialmanager.com/asc/. You should see a menu item called
  "Submissions needing revision." You will Znd your submission record there.

  Thank you for submitting your work to this journal! I have enjoyed the process of reviewing your work very much.

  Sincerely,
  Emily Balcetis
  Associate Editor
  Journal of Personality and Social Psychology: Attitudes and Social Cognition

  ******
  Comments from the Editors and Reviewers:
  Reviewer #2: I have read the revised manuscript with particular attention to areas I had concerns about in the
  original submission. I am thoroughly impressed by the authors' comprehensive and thoughtful actions taken to
  address the concerns. I especially enjoy the improvements in theoretical richness and precision, clarity in
  argumentation and the theoretical/study models, and thoughtfulness in analyses (e.g., including a control condition
  in Studies 3; highlighting study contexts, such as how lawyers work across ofZce locations, that justify analytical
  decisions in Study 4).

  Overall, I think the revised manuscript is strong, and the additional study results have substantially strengthened the
  contributions that the article aims to make. Therefore, I have no further comments or suggestions. I believe that the
  article will make a unique and meaningful contribution to the literature
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 752 of 1282

  article will make a unique and meaningful contribution to the literature.



  Reviewer #3: The new manuscript is highly responsive to our comments and suggestions. I found the new product
  clear and a pleasure to read. The novel studies and revised introduction addressed my prior concerns. I think it
  makes an important contribution to the Zeld and recommend it for publication.


  APA asks that authors please take a moment to give us your feedback on the peer review process as you
  experienced it, by completing a short survey, available at http://goo.gl/forms/qzKP6Zkqx9.




  In compliance with data protection regulations, you may request that we remove your
  personal registration details at any time. (Remove my information/details). Please contact
  the publication of2ce if you have any questions.
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 753 of 1282




                                  Exhibit 25
                     Allegation 4a Email Correspondence
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 754 of 1282


  From:
Subject: Re: tax data
   Date: January 20, 2011 at 7:04 AM
     To: Francesca Gino fgino@hbs.edu
    Cc:

       You are both too generous to insist on giving me this much credit! I
       am more than happy with any order of authorship in this cast of
       researchers on a cool project. And I especially do not want to put you
       in an uncomfortable position with good colleagues and friends.

       I do think that two lab studies + Jeld car insurance study makes a
       nice package for an OB journal. I could see the Jeld tax study we
       hope to run might be well-suited for a top economics journal (like the
       Ariely, Bracha, Meier paper on cycling and image motivation)-in which
       case the order of authorship would be a meaningless decision.

       I think the question is big and impactful enough so that it could make
       sense to do both - but I do not insist that I should be Jrst or
       second author on these papers!

       Thank you both for being such incredibly generous advisors and people,


       On 20 January 2011 07:53, Gino, Francesca <fgino@hbs.edu> wrote:
        I have the same goal. So, what about if I write to   and suggest the
        following authorship –    ,     r, and the remaining authors in whatever
        order?



         francesca




         ------------------------------------------------------------
         Francesca Gino
         Associate Professor of Business Administration
         Negotiation, Organizations & Markets
         Harvard Business School
         Phone: 617.495.0875
         Fax: 617.495.5672
         Email: fgino@hbs.edu
         Website: http://www.francescagino.com




         From:
         Sent: Thursday, January 20, 2011 7:28 AM
         To: Gino, Francesca;
         Subject: RE: tax data



         I want what is best for          , and secondarily what is best for Francesca.



         I remain happy to be last author, and prefer that              be Jrst
  Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 755 of 1282




From: Gino, Francesca
Sent: Thursday, January 20, 2011 6:20 AM
To:
Subject: tax data



Hi       and        ,



Following up on         suggestion, I wrote to      to see what he ended up
doing with his data from the Jeld study with the insurance company. As
suspected, he never published it but he is interested in publishing it.
     r helped him collect the data. So I suggest we add them as co-authors
and write up the paper for a top tier journal. Would this plan work with
both of you?



We can then work on extensions of the paper with               or



francesca



------------------------------------------------------------
Francesca Gino
Associate Professor of Business Administration
Negotiation, Organizations & Markets
Harvard Business School
Phone: 617.495.0875
Fax: 617.495.5672
Email: fgino@hbs.edu
Website: http://www.francescagino.com
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 756 of 1282


  From:
Subject: Re: when signatures increase the saliency of ethicality
   Date: January 21, 2011 at 8:23 AM
     To: Francesca Gino fgino@hbs.edu
    Cc:

        Hello Francesca,

        I agree. it's a good idea to combine forces.
        the choice of outlets sounds good. another one to consider -- but not up an running yet -- is the new electronic RAND journal
        "Behavioral Science and Policy" (to be launched 2011).

        Looking forward to working with your team on it!



        On Jan 21, 2011, at 2:23 AM,        Ariely wrote:

        And since we are in the same mindset I am always in favor of working together rather than compete

        Irrationally yours,


        ———•••———•••
        Slow Nngers, sorry for the short email

        On Jan 20, 2011, at 11:13 PM, "Gino, Francesca" <fgino@hbs.edu<mailto:fgino@hbs.edu>> wrote:

        Hi      ,

        How are you?

        I am writing with a question.        ,                  and I had several meetings over the last year with a colleague at HBS in the
        Finance department who does work for the IRS. He was intrigued by some of the data we included in one of our papers where we
        were using a signature manipulation (and examining its effects on cheating), building on your work with        . He wanted us to
        replicate the study using procedures more similar to Nlling out tax forms so that we could convince the IRS to let us run a Neld
        experiment with them. To make the story short,       ,     and I collected the data from three different studies (four really, but two are
        somewhat similar) which very convincingly showed that signing at the top of a form raises the saliency of people’s ethical standards,
        and, as a result, reduces cheating compared to when people sign at the bottom of the form. In the end, our colleague backed out –
        and decided not to help us bring these results to the IRS’s attention (at least for now). But   ,      and I love the idea and we think it
        is really important.

        So, I asked   whether we could combine forces (add to our studies the Neld data you have from the study with the insurance
        company) and he said he thinks it is a good idea. Are you ok with this idea?

        I don’t care about order of authorship (other than I would love if    could be Nrst given that she’ll be on the market very likely next
        year) – I would just love to write the paper combining our lab data with your Neld study. I think the message is a really important one.

        If you agree, then we could exchange an outline, and I would just ask you to write up the Neld data / method / results and we’ll take
        care of preparing a Nrst draft. I think this paper could go to an outlet like Management Science or also OBHDP but I am also open to
        your suggestions.

        I hope you’ll think this is a good idea. It’d certainly be quite a fantastic team and a wonderful idea!

        francesca

        ------------------------------------------------------------
        Francesca Gino
        Associate Professor of Business Administration
        Negotiation, Organizations & Markets
        Harvard Business School
        Phone: 617.495.0875
        Fax: 617.495.5672
        Email: <mailto:fgino@hbs.edu> fgino@hbs.edu<mailto:fgino@hbs.edu>
        Website: <http://www.francescagino.com/> http://www.francescagino.com<http://www.francescagino.com/>


        ===============================
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 757 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 758 of 1282


  From:
Subject: tax study
   Date: February 15, 2011 at 10:23 AM
     To: Francesca Gino fgino@hbs.edu

       Hi Francesca,

       I promised you this would be in your inbox before the next GiNorton
       lab check-in - so here it is :) I did not add an extensive literature
       section, partly because I'm not sure how            studies would 6t just
       yet. But I do think that framing in terms of activating the
       self-concept in addition to increasing moral salience might make this
       a more generalizable 6nding. It would also help us easily design a
       mediation study should we need one - the mediator would be
       self-concept activation, and I can think of several easy ways to
       measure it.

       For the study descriptions, I think it's great that we have the tax
       form differences in Study 1 and Study 2. We can frame Study 1 as
       "overclaiming credit" and Study 2 as "cheating on deductions." What do
       you think?

       Thanks for your patience Francesca!




          Tax Study
        2011-0…2.docx
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 759 of 1282


  From:
Subject: Re: moral saliency: working draft
   Date: March 8, 2011 at 3:09 PM
     To:
    Cc:                                , Francesca Gino fgino@hbs.edu,

       Hi        ,

       Please Ond attached our latest draft. Many thanks to Francesca for
       stitching these studies together so beautifully!

       Changes I've made:
       - added sections on Theoretical Contributions, Limitations and Venues
       for Future Research, Implications for Practice, and Conclusion
       - rewording throughout the whole paper: instead of framing our effect
       as one of "signing a pledge of honesty at the top/bottom of a form,"
       I've veered towards framing our effect to be as minimal as possible:
       signing one's name before reporting as opposed to after reporting
       leads to more honesty. I wanted to shift the emphasis from our
       speciOc tasks/forms/materials to the more general phenomena - but I
       am open to leaving the wording as it was before (thus, all changes are
       tracked - please accept and reject whatever).
       - incorporated       suggestions, including making him last author, as
       per his insistence

       I think our studies are piecing together quite nicely - and I still
       remain entirely Pexible as to where we send it, whose name goes
       where, and how we frame it. Thank you all for your contributions!



       On 6 March 2011 18:06,                                           wrote:
        Wow - looks like a bias by me - based on walking t work for so many years?




            -----Original Message-----
            From:
            Sent: Sunday, March 06, 2011 6:02 PM
            To:
            Cc:                 ; Gino, Francesca;
            Subject: Re: moral saliency: working draft

            The milage are correct.

            Irrationally yours,


            ———•••———•••
            Slow Ongers, sorry for the short email

            On Mar 6, 2011, at 2:43 PM,                                      > wrote:

              Thanks       for the good comments! I'll be sure to incorporate them
              into my edits.     , you can expect a draft coming your way in the
              next two days!



              On 6 March 2011 17:35,                              wrote:

                -------------------------------------------
                From: Gino, Francesca
                Sent: Sunday, March 06, 2011 5:35:12 PM
                To:
                Cc:
                Subject: RE: moral saliency: working draft
                Auto forwarded by a Rule
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 760 of 1282


 Thanks         , these are all good points.             -- do you want to try to address them as you revise the current draft?

 francesca

 ------------------------------------------------------------
 Francesca Gino
 Associate Professor of Business Administration
 Negotiation, Organizations & Markets
 Harvard Business School
 Phone: 617.495.0875
 Fax: 617.495.5672
 Email: fgino@hbs.edu
 Website: http://www.francescagino.com


 -----Original Message-----
 From:
 Sent: Sunday, March 06, 2011 4:40 PM
 To:
 Cc: Gino, Francesca;
 Subject: RE: moral saliency: working draft

 Hi all:

 I read through our paper on a Pight on Friday. I have some minor editing to do when it is my turn, but here are a couple of
 things that need attention by those of you with more knowledge and skills:

 1) page 4: I hate motivating a paper with the "gap" positioning. Let's motivate by what it does, not by the fact that someone
 hasn't done it before.

 2) page 8: The means for the number of miles driven in a year seem enormous - twice what I would have expected. Am I
 simply wrong, is the sample unusual, or is there an error in recording the data?

 3) In multiple lab studies, we need to clarify how we know when someone cheats - I couldn't Ond that in the paper - again, this
 may be my error.

 4) Why do we report the SEM instead of the standard deviation?

 5) study 4: We could use a bit more intro on "ethical saliency". What is it? Why did we pick this variable.

 6) study 4: explain why it is "sign Orst" vs. control, rather than have sign later. I am ok with this, but it could use a sentence.

 Thanks for all of the work.




 -----Original Message-----
 From:                                                                      ]
 Sent: Friday, February 25, 2011 5:11 PM
 To:
 Cc: Gino, Francesca;
 Subject: Re: moral saliency: working draft

 Hello Team,

 sorry for not being very responsive, I am travelling at the moment.

       being Orst author is deOnitely a no-brainer.

 Francesca: It is very nice of you to offer the second spot to me but at this point, I don' think I deserve it, unless I end up
 contributing more. In any event, i just wanted to let you know that i am happy with any order you guys think is fair.

 OBHDP sounds like the right target-outlet for this work.

 Looking forward to take over the draft after                   has worked on it.

 Cheers,
 -
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 761 of 1282


 On 2011-02-24, at 6:27 PM,                              wrote:

 Hi all:

 I claim the last spot in the order - it provides a good excuse for loaOng.

 I am happy to read and edit when it seems to Ot.

 Thanks to all of you for your work on this project.




 From: Gino, Francesca
 Sent: Wednesday, February 23, 2011 8:20 PM
 To:
 Cc:

 Subject: moral saliency: working draft

 Hi        ,

 As promised, here is the current draft of the moral saliency paper. Here is what I've done:

 -         I wrote an intro to the paper (I am not sure I like it so you should feel free to change it if you have better ideas :))
 -         I extended the "theoretical development section - I think this section still needs some work
 -         I added the Oeld study (which is really nice!), and the description of each of the lab studies (with results)
 -         I started working on the general discussion section (but a few subsections are still missing...)

 For now I left all the three Ogures in the paper, but I am not sure we really need them. Same thing for the appendix (maybe we
 can just leave an example of the form we have used?).

 I hope this is a good start. Do you want to work on the paper next?

 I think your idea of targeting OBHDP is a good one - if everybody on the team thinks that's the right outlet to target. Also, I just
 listed authors without paying too much attention - the only "right" order in my view is you Orst and then      second. And then
 the rest of us can Oght on what happens after that... the important thing in my view is to work on this nice set of Ondings!!! :)

 Looking forward to doing more work on the draft when it is my turn again.

 francesca

 ------------------------------------------------------------
 Francesca Gino
 Associate Professor of Business Administration
 Negotiation, Organizations & Markets
 Harvard Business School
 Phone: 617.495.0875
 Fax: 617.495.5672
 Email: fgino@hbs.edu<mailto:fgino@hbs.edu>
 Website: http://www.francescagino.com


 ***********************************
 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 762 of 1282




Making Ethics
Salient…8.docx
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 763 of 1282


  From:
Subject: moral saliency: working draft 4 Francesca
   Date: March 9, 2011 at 9:15 PM
     To: Francesca Gino fgino@hbs.edu
    Cc:

       HI All,
       attached is my Mrst pass.

       A few comments as we move forward:
       1) In studies 2&3 it's unclear why we Mnd differences in cheating in the matrix task, since the collection slip is supposedly submitted
       before the tax form with the signature manipulation. could it be that there was no collection slip as participants also had to indicate
       their performance on the tax form? could you clarify that part.
       2) I have changed most of the time "saliency of self-concept" to "saliency of ethics" as we don't have any evidence for a heightened
       self-conept. we only have evidence that ethics/morality is more salient.
       3) we need to work some more on the general discussion and do a better job promoting the contribution of our paper. It might be good
       to have a quick chat on what we think are our contributions.
       4) Once we have a better idea of the general discussion, we need to stress the Mndings of study 1(the Meld study) more. I think we are
       underselling those results.

       Cheers,
       -




         Making Ethics
         Salient…2.docx

       On 2011-03-08, at 4:09 PM,                wrote:

          Hi       ,

          Please Mnd attached our latest draft. Many thanks to Francesca for
          stitching these studies together so beautifully!

          Changes I've made:
          - added sections on Theoretical Contributions, Limitations and Venues
          for Future Research, Implications for Practice, and Conclusion
          - rewording throughout the whole paper: instead of framing our effect
          as one of "signing a pledge of honesty at the top/bottom of a form,"
          I've veered towards framing our effect to be as minimal as possible:
          signing one's name before reporting as opposed to after reporting
          leads to more honesty. I wanted to shift the emphasis from our
          speciMc tasks/forms/materials to the more general phenomena - but I
          am open to leaving the wording as it was before (thus, all changes are
          tracked - please accept and reject whatever).
          - incorporated       suggestions, including making him last author, as
          per his insistence

          I think our studies are piecing together quite nicely - and I still
          remain entirely Nexible as to where we send it, whose name goes
          where, and how we frame it. Thank you all for your contributions!



          On 6 March 2011 18:06,                                           wrote:
           Wow - looks like a bias by me - based on walking t work for so many years?




               -----Original Message-----
               From:
               Sent: Sunday, March 06, 2011 6:02 PM
               To:
               Cc:                 ; Gino, Francesca;
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 764 of 1282


Subject: Re: moral saliency: working draft

The milage are correct.

Irrationally yours,



Slow Mngers, sorry for the short email

On Mar 6, 2011, at 2:43 PM,                                                   > wrote:

  Thanks       for the good comments! I'll be sure to incorporate them
  into my edits.     , you can expect a draft coming your way in the
  next two days!



  On 6 March 2011 17:35,                                           > wrote:

    -------------------------------------------
    From: Gino, Francesca
    Sent: Sunday, March 06, 2011 5:35:12 PM
    To:
    Cc:
    Subject: RE: moral saliency: working draft
    Auto forwarded by a Rule

    Thanks         , these are all good points.             -- do you want to try to address them as you revise the current draft?

    francesca

    ------------------------------------------------------------
    Francesca Gino
    Associate Professor of Business Administration
    Negotiation, Organizations & Markets
    Harvard Business School
    Phone: 617.495.0875
    Fax: 617.495.5672
    Email: fgino@hbs.edu
    Website: http://www.francescagino.com


    -----Original Message-----
    From:
    Sent: Sunday, March 06, 2011 4:40 PM
    To:
    Cc: Gino, Francesca;
    Subject: RE: moral saliency: working draft

    Hi all:

    I read through our paper on a Night on Friday. I have some minor editing to do when it is my turn, but here are a couple of
    things that need attention by those of you with more knowledge and skills:

    1) page 4: I hate motivating a paper with the "gap" positioning. Let's motivate by what it does, not by the fact that someone
    hasn't done it before.

    2) page 8: The means for the number of miles driven in a year seem enormous - twice what I would have expected. Am I
    simply wrong, is the sample unusual, or is there an error in recording the data?

    3) In multiple lab studies, we need to clarify how we know when someone cheats - I couldn't Mnd that in the paper - again, this
    may be my error.

    4) Why do we report the SEM instead of the standard deviation?

    5) study 4: We could use a bit more intro on "ethical saliency". What is it? Why did we pick this variable.

    6) study 4: explain why it is "sign Mrst" vs. control, rather than have sign later. I am ok with this, but it could use a sentence.

    Thanks for all of the work.
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 765 of 1282




  -----Original Message-----
  From:                                                              ]
  Sent: Friday, February 25, 2011 5:11 PM
  To:
  Cc: Gino, Francesca;           ;
  Subject: Re: moral saliency: working draft

  Hello Team,

  sorry for not being very responsive, I am travelling at the moment.

       being Mrst author is deMnitely a no-brainer.

  Francesca: It is very nice of you to offer the second spot to me but at this point, I don' think I deserve it, unless I end up
  contributing more. In any event, i just wanted to let you know that i am happy with any order you guys think is fair.

  OBHDP sounds like the right target-outlet for this work.

  Looking forward to take over the draft after         has worked on it.

  Cheers,
  -

  On 2011-02-24, at 6:27 PM,                        wrote:

  Hi all:

  I claim the last spot in the order - it provides a good excuse for loaMng.

  I am happy to read and edit when it seems to Mt.

  Thanks to all of you for your work on this project.




  From: Gino, Francesca
  Sent: Wednesday, February 23, 2011 8:20 PM
  To:
  Cc:                                                                                                                                  ,

  Subject: moral saliency: working draft

  Hi        ,

  As promised, here is the current draft of the moral saliency paper. Here is what I've done:

  -         I wrote an intro to the paper (I am not sure I like it so you should feel free to change it if you have better ideas :))
  -         I extended the "theoretical development section - I think this section still needs some work
  -         I added the Meld study (which is really nice!), and the description of each of the lab studies (with results)
  -         I started working on the general discussion section (but a few subsections are still missing...)

  For now I left all the three Mgures in the paper, but I am not sure we really need them. Same thing for the appendix (maybe
  we can just leave an example of the form we have used?).

  I hope this is a good start. Do you want to work on the paper next?

  I think your idea of targeting OBHDP is a good one - if everybody on the team thinks that's the right outlet to target. Also, I
  just listed authors without paying too much attention - the only "right" order in my view is you Mrst and then      second. And
  then the rest of us can Mght on what happens after that... the important thing in my view is to work on this nice set of
  Mndings!!! :)

  Looking forward to doing more work on the draft when it is my turn again.

  f
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 766 of 1282


          francesca

          ------------------------------------------------------------
          Francesca Gino
          Associate Professor of Business Administration
          Negotiation, Organizations & Markets
          Harvard Business School
          Phone: 617.495.0875
          Fax: 617.495.5672
          Email: fgino@hbs.edu<mailto:fgino@hbs.edu>
          Website: http://www.francescagino.com


          ***********************************




  <Making Ethics Salient 2011-03-08.docx>

***********************************
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 767 of 1282


  From:
Subject: revision
   Date: April 4, 2011 at 6:48 PM
     To: Francesca Gino fgino@hbs.edu, "               "

       Hello       and Francesca,

       great job!
       As you might recognize when reading, I made a few more changes to the writing. Most importantly, however, there are still a few
       things that seem unclear. I have commented on them. I've also put my responses under Francesca's comments.
       Why don't you have a look and see if you And any of my comments important. If yes, it might be good to try and address them before
       sending the paper off to             .
       Finally, I found a cite for the lower bound calculation of the insurance costs (it's not 5 cents, I found 4 cents in texas). See this link:
       http://www.centspermilenow.org/652Garma.pdf

       ciao,




         Making Ethics
        Salient…m.docx

       ***********************************
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 768 of 1282




                                    Exhibit 26
           Allegation 4a Table Showing 2012 PNAS Manuscript Changes
                                          $OOHJDWLRQD0DQXVFULSWFKDQJHVDQGREVHUYDWLRQV

                                                                                          7RSLF
  9HUVLRQRI      0DQXVFULSW     1XPEHUORFDWLRQ WLPLQJRI         3DUWLFLSDQWV¶VHOIUHSRUWRISX]]OH       3XUSRVHRIFROOHFWLRQVOLSDQG
  PDQXVFULSW     ODVWVDYHGE\           SD\PHQW V                       SHUIRUPDQFHWRH[SHULPHQWHU             SDUWLFLSDQWV¶EHOLHIVDERXWLW
 'DWHILOHQDPH     0HWDGDWD                                                 XVHGDVGHSHQGHQWYDULDEOH 
      )UDQFHVFD        7ZR                               7ZRWLPHVXQFOHDUZKLFKLVWKH          3XUSRVH&ROOHFWSDUWLFLSDQWV¶VHOI
                 *LQR                                                 GHSHQGHQWYDULDEOH                      UHSRUWRISX]]OHSHUIRUPDQFH³«DQG
                                      5RRPIRUSX]]OH                                                       DFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWV
                                   SHUIRUPDQFH                          &ROOHFWLRQVOLSLQ5RRPIRU     UHSRUWHGWKHLUSHUIRUPDQFHDWWKHHQG
                                   ³7KHH[SHULPHQWHUZLOOJLYH\RX     SD\PHQWE\H[SHULPHQWHUWKHUH³)RU      RIWKLVSDUWRIWKHVWXG\´ S 
                                   \RXUSD\PHQWDQGDVN\RXWRILOO    WKLVWDVNSDUWLFLSDQWVUHFHLYHGD       
                                   RXWDSD\PHQWIRUP´ S         ZRUNVKHHWZLWKPDWULFHV>«@DQG       3DUWLFLSDQWV¶EHOLHIVDERXWSXUSRVH
                                                                       DFROOHFWLRQVOLSRQZKLFK               7R³«HQDEOHWKHH[SHULPHQWHUWR
                                      5RRPIRUILQDOSD\PHQW       SDUWLFLSDQWVUHSRUWHGWKHLU              TXLFNO\FDOFXODWH\RXUSD\PHQW´ S
                                     ³7KHVHFRVWVZHUH³FUHGLWHG´WR   SHUIRUPDQFHDWWKHHQGRIWKLVSDUWRI    
                                   FRPSXWHWKHLUILQDOSD\PHQW´S    WKHVWXG\´ S ³:HDUHQRW
                                                                    LQWHUHVWHGLQZKLFKVSHFLILFPDWULFHV
                                                                       \RXVROYHGFRUUHFWO\EXWRQO\LQKRZ
                                                                       PDQ\\RXPDQDJHGWRVROYHZLWKLQ
                                                                        WKHDOORWWHGWLPH7KHH[SHULPHQWHU
                                                                        ZLOOJLYH\RX\RXUSD\PHQWDQGDVN
                                                                        \RXWRILOORXWDSD\PHQWIRUP´ S
                                                                         
                                                                        
                                                                           2Q/LQHRIWD[IRUPLQ5RRP
                                                                          7D[IRUPLQ$SSHQGL[ 
                                                                        ³3DUWLFLSDQWVILOOHGRXWWKHIRUPE\
                                                                        UHSRUWLQJWKHLULQFRPH LHWKHLU
                                                                        SHUIRUPDQFHRQWKHPDWUL[WDVN RQ
                                                                        ZKLFKWKH\SDLGDWD[«´ S 
                       7ZR                               7ZRWLPHVWKHILUVW 5RRP LV         3XUSRVH&ROOHFWSDUWLFLSDQWV¶VHOI
                                                                       H[SOLFLWO\LGHQWLILHGDVWKHFKHDWLQJ    UHSRUWRISX]]OHSHUIRUPDQFH³«DQG
                                      5RRPIRUSX]]OH              PHDVXUH                                 DFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWV
                                   SHUIRUPDQFH³7KHH[SHULPHQWHU                                               UHSRUWHGWKHLUSHUIRUPDQFHDWWKHHQG
                                   ZLOOJLYH\RX\RXUSD\PHQWDQG         &ROOHFWLRQVOLSLQ5RRPIRU     RIWKLVSDUWRIWKHVWXG\´ S 
                                                                                                                                                             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 769 of 1282




                                   DVN\RXWRILOORXWDSD\PHQW       SD\PHQWE\H[SHULPHQWHUWKHUH           
                                   IRUP´ S                       &OHDUVWDWHPHQWLQPDQXVFULSWWKDW

                                                                                                                                                  1
                                                 $OOHJDWLRQD0DQXVFULSWFKDQJHVDQGREVHUYDWLRQV

                                                                                              7RSLF
     9HUVLRQRI       0DQXVFULSW         1XPEHUORFDWLRQ WLPLQJRI     3DUWLFLSDQWV¶VHOIUHSRUWRISX]]OH       3XUSRVHRIFROOHFWLRQVOLSDQG
     PDQXVFULSW      ODVWVDYHGE\               SD\PHQW V                   SHUIRUPDQFHWRH[SHULPHQWHU             SDUWLFLSDQWV¶EHOLHIVDERXWLW
    'DWHILOHQDPH      0HWDGDWD                                                XVHGDVGHSHQGHQWYDULDEOH 
                                                                           WKLVZDVWKHGHSHQGHQWYDULDEOH         3DUWLFLSDQWV¶EHOLHIVDERXWSXUSRVH
                                         5RRPIRUILQDOSD\PHQW       ³)RUWKLVWDVNSDUWLFLSDQWVUHFHLYHG    7R³«HQDEOHWKHH[SHULPHQWHUWR
                                       ³7KHVHFRVWVZHUH³FUHGLWHG´WR     DZRUNVKHHWZLWKPDWULFHV>«@         TXLFNO\FDOFXODWH\RXUSD\PHQW´ S
                                       WKHLUSRVWWD[HDUQLQJVIURPWKH    DQGDFROOHFWLRQVOLSRQZKLFK            
                                       PDWUL[WDVNFRPSXWHWKHLUILQDO     SDUWLFLSDQWVUHSRUWHGWKHLU
                                       SD\PHQW´ SS               SHUIRUPDQFHDWWKHHQGRIWKLVSDUWRI
                                                                            WKHVWXG\´ SS ³:HDUHQRW
                                                                            LQWHUHVWHGLQZKLFKVSHFLILFPDWULFHV
                                                                            \RXVROYHGFRUUHFWO\EXWRQO\LQKRZ
                                                                            PDQ\\RXPDQDJHGWRVROYHZLWKLQ
                                                                            WKHDOORWWHGWLPH7KHH[SHULPHQWHU
                                                                            ZLOOJLYH\RX\RXUSD\PHQWDQGDVN
                                                                            \RXWRILOORXWDSD\PHQWIRUP´ S
                                                                             
                                                                            $GGHGLQWKLVYHUVLRQ VXEVHTXHQWO\
                                                                            UHYLVHGLQWKH YV
                                                                            YHUVLRQWKHQGHOHWHGIURPWKH
                                                                            YHUVLRQ ³:HFDQODWHUH[WUDFW
                                                                            SDUWLFLSDQWZRUNVKHHWVIURPWKH
                                                                            UHF\FOLQJELQDQGPDWFKWKHPWRWKHLU
                                                                            FROOHFWLRQVOLSV$VDUHVXOWZHFDQ
                                                                            FRPSDUHDFWXDOWRUHSRUWHG
                                                                            SHUIRUPDQFH,IWKHVHQXPEHUVGLIIHU
                                                                            IRUDQLQGLYLGXDOWKDWGLIIHUHQFH
                                                                            UHSUHVHQWVWKDWLQGLYLGXDO¶VOHYHORI
                                                                            FKHDWLQJ7KXVWKLVWDVNDOORZVXV
                                                                            GLVWLQJXLVKEHWZHHQFKHDWHUVDQG
                                                                            QRQFKHDWHUV´ S 
                                                                            
                                                                               2Q/LQHRIWD[IRUPLQ5RRP
                                                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 770 of 1282




                                                                              7D[IRUPLQ$SSHQGL[ 
                                                                            ³3DUWLFLSDQWVILOOHGRXWWKHIRUPE\


                                                                                                                                                     2
                                               $OOHJDWLRQD0DQXVFULSWFKDQJHVDQGREVHUYDWLRQV

                                                                                              7RSLF
     9HUVLRQRI       0DQXVFULSW      1XPEHUORFDWLRQ WLPLQJRI        3DUWLFLSDQWV¶VHOIUHSRUWRISX]]OH      3XUSRVHRIFROOHFWLRQVOLSDQG
     PDQXVFULSW      ODVWVDYHGE\            SD\PHQW V                       SHUIRUPDQFHWRH[SHULPHQWHU           SDUWLFLSDQWV¶EHOLHIVDERXWLW
    'DWHILOHQDPH      0HWDGDWD                                                 XVHGDVGHSHQGHQWYDULDEOH 
                                                                            UHSRUWLQJWKHLULQFRPH LHWKHLU
                                                                            SHUIRUPDQFHRQWKHPDWUL[WDVN RQ
                                                                            ZKLFKWKH\SDLGDWD[«´ S 
BYV                   ±   7ZR                              7ZRWLPHVWKHILUVW 5RRP LV        3XUSRVH&ROOHFWSDUWLFLSDQWV¶VHOI
                      :KRLQWKH                                         H[SOLFLWO\LGHQWLILHGDVWKHFKHDWLQJ   UHSRUWRISX]]OHSHUIRUPDQFH³«DQG
                      DFFRPSDQ\LQJ        5RRPIRUSX]]OH             PHDVXUH                                DFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWV
                      HPDLODQGLQD   SHUIRUPDQFH³7KHH[SHULPHQWHU                                             ODWHUUHSRUWHGWKHLUSHUIRUPDQFHLQ
                      FRPPHQWLQ       ZLOOJLYH\RX\RXUSD\PHQWDQG        &ROOHFWLRQVOLSLQ5RRPIRU    WKLVSDUWRIWKHVWXG\´ S 
                      WKH              DVN\RXWRILOORXWDSD\PHQW      SD\PHQWE\H[SHULPHQWHUWKHUH³)RU     
                      PDQXVFULSW      IRUP´ S                      WKLVWDVNSDUWLFLSDQWVUHFHLYHGD      3DUWLFLSDQWV¶EHOLHIVDERXWSXUSRVH
                      UDLVHG                                              ZRUNVKHHWZLWKPDWULFHV>«@DQG      7R³«HQDEOHWKHH[SHULPHQWHUWR
                      FRQFHUQV            5RRPIRUILQDOSD\PHQW     DFROOHFWLRQVOLSRQZKLFK              TXLFNO\FDOFXODWH\RXUSD\PHQW´ S
                      DERXWWKH        ³7KHVHFRVWVZHUH³FUHGLWHG´WR    SDUWLFLSDQWVODWHUUHSRUWHGWKHLU        
                      SX]]OH           WKHLUSRVWWD[HDUQLQJVIURPWKH   SHUIRUPDQFHLQWKLVSDUWRIWKH
                      SHUIRUPDQFH      PDWUL[VHDUFKWDVNWRFRPSXWH      VWXG\´ S ³2QFHWKHILYH
                      GHSHQGHQW        WKHLUILQDOSD\PHQW´ S      PLQXWHVZHUHRYHUWKHH[SHULPHQWHU
                      PHDVXUHRI                                           DVNHGSDUWLFLSDQWVWRILOORXWWKH
                      FKHDWLQJ                                             FROOHFWLRQVOLSDQGWKHQVXEPLWWKH
                      FRPLQJEHIRUH                                        FROOHFWLRQVOLSWRWKHH[SHULPHQWHU´
                      WKH                                                    S ³:HDUHQRWLQWHUHVWHGLQ
                      LQGHSHQGHQW                                          ZKLFKVSHFLILFPDWULFHV\RXVROYHG
                      YDULDEOH                                             FRUUHFWO\EXWRQO\LQKRZPDQ\\RX
                      PDQLSXODWLRQ                                         PDQDJHGWRVROYHZLWKLQWKHDOORWWHG
                      RQWKHWD[                                           WLPH7KHH[SHULPHQWHUZLOOJLYH\RX
                      IRUP                                               \RXUSD\PHQWDQGDVN\RXWRILOORXW
                                                                            DSD\PHQWIRUP´ S ³:HODWHU
                                                                            WRRNRXWSDUWLFLSDQWVZRUNVKHHWV
                                                                            IURPWKHUHF\FOLQJELQDQGPDWFKHG
                                                                            WKHPWRWKHLUFROOHFWLRQVOLSV$VD
                                                                            UHVXOWZHZHUHDEOHWRFRPSDUH
                                                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 771 of 1282




                                                                            DFWXDOWRUHSRUWHGSHUIRUPDQFH,I
                                                                            WKRVHQXPEHUVGLIIHUHGIRUDQ

                                                                                                                                                     3
                                               $OOHJDWLRQD0DQXVFULSWFKDQJHVDQGREVHUYDWLRQV

                                                                                               7RSLF
     9HUVLRQRI       0DQXVFULSW      1XPEHUORFDWLRQ WLPLQJRI         3DUWLFLSDQWV¶VHOIUHSRUWRISX]]OH        3XUSRVHRIFROOHFWLRQVOLSDQG
     PDQXVFULSW      ODVWVDYHGE\            SD\PHQW V                       SHUIRUPDQFHWRH[SHULPHQWHU              SDUWLFLSDQWV¶EHOLHIVDERXWLW
    'DWHILOHQDPH      0HWDGDWD                                                  XVHGDVGHSHQGHQWYDULDEOH 
                                                                             LQGLYLGXDOWKDWGLIIHUHQFH
                                                                             UHSUHVHQWHGWKDWLQGLYLGXDO¶VOHYHORI
                                                                             FKHDWLQJ´ S 
                                                                             
                                                                                2Q/LQHRIWD[IRUPLQ5RRP
                                                                               7D[IRUPLQ$SSHQGL[ 
                                                                             ³3DUWLFLSDQWVILOOHGRXWWKHIRUPE\
                                                                             UHSRUWLQJWKHLULQFRPH LHWKHLU
                                                                             SHUIRUPDQFHRQWKHPDWUL[WDVN RQ
                                                                             ZKLFKWKH\SDLGDWD[«´ SS
                                                                              
           )UDQFHVFD       7ZR                                 2QHWLPHWKHVHFRQGVHOIUHSRUW          3XUSRVH&ROOHFWSDUWLFLSDQWV¶VHOI
                      *LQR                                                   5RRP LVH[SOLFLWO\LGHQWLILHGDV     UHSRUWRISX]]OHSHUIRUPDQFH³«DQG
                                          5RRPIRUSX]]OH               WKHFKHDWLQJPHDVXUH                     DFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWV
                                       SHUIRUPDQFH'HOHWHGIURPWKLV                                                 ODWHUUHSRUWHGWKHLUSHUIRUPDQFHLQ
                                       YHUVLRQ7KHLQVWUXFWLRQVRQWKH        &ROOHFWLRQVOLSLQ5RRPIRU      WKLVSDUWRIWKHVWXG\´ S 
                                       FROOHFWLRQVOLSLQFOXGLQJ³7KH      SD\PHQWE\H[SHULPHQWHUWKHUH³)RU       
                                       H[SHULPHQWHUZLOOJLYH\RX\RXU      WKLVWDVNSDUWLFLSDQWVUHFHLYHGD        3DUWLFLSDQWV¶EHOLHIVDERXWSXUSRVH
                                       SD\PHQWDQGDVN\RXWRILOORXWD ZRUNVKHHWZLWKPDWULFHV>«@DQG           7RDOORZWKHH[SHULPHQWHUWRFKHFN
                                       SD\PHQWIRUP´                      DFROOHFWLRQVOLSRQZKLFK                SDUWLFLSDQWV¶ZRUNDQGJLYHWKHP
                                       7KLVVHQWHQFHZDVDOWHUHG³2QFH SDUWLFLSDQWVODWHUUHSRUWHGWKHLU             SD\PHQW³2QFHWKHILYHPLQXWHVZHUH
                                       WKHILYHPLQXWHVZHUHRYHUWKH      SHUIRUPDQFHLQWKLVSDUWRIWKH           RYHUWKHH[SHULPHQWHUDVNHG
                                       H[SHULPHQWHUDVNHGSDUWLFLSDQWV      VWXG\´ S                            SDUWLFLSDQWVWRILOORXWWKHFROOHFWLRQ
                                       WRILOORXWWKHFROOHFWLRQVOLSDQG 'HOHWHGIURPWKLVYHUVLRQGLUHFWO\       VOLSDQGWKHQVXEPLWERWKWKHWHVW
                                       WKHQVXEPLWWKHFROOHFWLRQVOLSWR DOWHULQJWKHGHVFULSWLRQRIWKHVHOI        VKHHWDQGWKHFROOHFWLRQVOLSWRWKH
                                       WKHH[SHULPHQWHU´           UHSRUWLQ5RRPDVWKHGHSHQGHQW         H[SHULPHQWHUVRWKDWVKHFRXOGFKHFN
                                       BYVS ,WZDVDOWHUHGWR    YDULDEOH³:HODWHUWRRNRXW              WKHLUZRUNDQGJLYHWKHPSD\PHQW´
                                       ³2QFHWKHILYHPLQXWHVZHUHRYHU SDUWLFLSDQWVZRUNVKHHWVIURPWKH               S  ,QWKHSUHYLRXVYHUVLRQWKDW
                                       WKHH[SHULPHQWHUDVNHG               UHF\FOLQJELQDQGPDWFKHGWKHPWR         VHQWHQFHKDGHQGHG³«DVNHG
                                       SDUWLFLSDQWVWRILOORXWWKH         WKHLUFROOHFWLRQVOLSV$VDUHVXOWZH   SDUWLFLSDQWVWRILOORXWWKHFROOHFWLRQ
                                                                                                                                                                   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 772 of 1282




                                       FROOHFWLRQVOLSDQGWKHQVXEPLW     ZHUHDEOHWRFRPSDUHDFWXDOWR            VOLSDQGWKHQVXEPLWWKHFROOHFWLRQ
                                       ERWKWKHWHVWVKHHWDQGWKH          UHSRUWHGSHUIRUPDQFH,IWKRVH            VOLSWRWKHH[SHULPHQWHU´ S 

                                                                                                                                                        4
                                               $OOHJDWLRQD0DQXVFULSWFKDQJHVDQGREVHUYDWLRQV

                                                                                               7RSLF
     9HUVLRQRI       0DQXVFULSW      1XPEHUORFDWLRQ WLPLQJRI        3DUWLFLSDQWV¶VHOIUHSRUWRISX]]OH        3XUSRVHRIFROOHFWLRQVOLSDQG
     PDQXVFULSW      ODVWVDYHGE\            SD\PHQW V                       SHUIRUPDQFHWRH[SHULPHQWHU             SDUWLFLSDQWV¶EHOLHIVDERXWLW
    'DWHILOHQDPH      0HWDGDWD                                                 XVHGDVGHSHQGHQWYDULDEOH 
                                       FROOHFWLRQVOLSWRWKHH[SHULPHQWHU QXPEHUVGLIIHUHGIRUDQLQGLYLGXDO       
                                       VRWKDWVKHFRXOGFKHFNWKHLUZRUN WKDWGLIIHUHQFHUHSUHVHQWHGWKDW           'HOHWHGIURPWKLVYHUVLRQ7KH
                                       DQGJLYHWKHPSD\PHQW´        LQGLYLGXDO¶VOHYHORIFKHDWLQJ´          LQVWUXFWLRQVRQWKHFROOHFWLRQVOLS
                                       S                                                                  LQFOXGLQJ³7RHQDEOHWKH
                                       $GGHGLQWKLVYHUVLRQ                 2Q/LQHRIWD[IRUPLQ5RRP     H[SHULPHQWHUWRTXLFNO\FDOFXODWH\RXU
                                       LPPHGLDWHO\DIWHUWKH³3D\PHQW        7D[IRUPLQ$SSHQGL[                   SD\PHQW´
                                       VWUXFWXUH´VHFWLRQ$VHFWLRQ       ³3DUWLFLSDQWVILOOHGRXWWKHIRUPE\      
                                       HQWLWOHG³2SSRUWXQLW\WRFKHDW´     UHSRUWLQJWKHLULQFRPH LHWKHLU
                                       ZKLFKLQFOXGHGWKLVVHQWHQFH       SHUIRUPDQFHRQWKHPDWUL[WDVN RQ
                                       ³:KHQSDUWLFLSDQWVUHFHLYHG         ZKLFKWKH\SDLGDWD[«´ SS
                                       SD\PHQWDIWHUFRPSOHWLQJWKHILUVW  
                                       SDUWRIWKHVWXG\WKH              $QHZVHFWLRQHQWLWOHG³2SSRUWXQLW\
                                       H[SHULPHQWHUJDYHWKHPD            WRFKHDW´ZDVDGGHGLQWKLVYHUVLRQ
                                       SD\PHQWIRUPDQGDVNHGHDFK         LPPHGLDWHO\DIWHUWKH³3D\PHQW
                                       SDUWLFLSDQWWRJRWRDVHFRQG       VWUXFWXUH´VHFWLRQDOWHULQJWKH
                                       URRPWRILOOLWRXWDQGDVNWKH     GHVFULSWLRQRIWKLVGHSHQGHQWYDULDEOH
                                       RWKHUH[SHULPHQWHUTXHVWLRQVLI     IURPEHLQJFROOHFWHGLQ5RRPWR
                                       WKH\KDGDQ\´ S             EHLQJFROOHFWHGLQ5RRP³7KH
                                                                           VWXG\ZDVGHVLJQHGVXFKWKDW
                                          5RRPIRUILQDOSD\PHQW      SDUWLFLSDQWVFRXOGFKHDWE\
                                       ³7KHVHFRVWVZHUH³FUHGLWHG´WR RYHUVWDWLQJWKHLU³LQFRPH´RQWKH
                                       WKHLUSRVWWD[HDUQLQJVIURPWKH    SD\PHQWIRUP LHWKH\FRXOG
                                       PDWUL[VHDUFKWDVNWRFRPSXWH       RYHUVWDWHWKHLUSHUIRUPDQFHRQWKH
                                       WKHLUILQDOSD\PHQW´ S       PDWUL[VHDUFKWDVN DQGE\LQIODWLQJ
                                                                            WKHH[SHQVHVWKH\LQFXUUHGLQRUGHU
                                                                            WRSDUWLFLSDWHLQWKHVWXG\>«@:KHQ
                                                                            SDUWLFLSDQWVUHFHLYHGSD\PHQWDIWHU
                                                                            FRPSOHWLQJWKHILUVWSDUWRIWKHVWXG\
                                                                            WKHH[SHULPHQWHUJDYHWKHPD
                                                                            SD\PHQWIRUPDQGDVNHGHDFK
                                                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 773 of 1282




                                                                            SDUWLFLSDQWWRJRWRDVHFRQGURRPWR
                                                                            ILOOLWRXWDQGDVNWKHRWKHU


                                                                                                                                                      5
                                               $OOHJDWLRQD0DQXVFULSWFKDQJHVDQGREVHUYDWLRQV

                                                                                             7RSLF
     9HUVLRQRI       0DQXVFULSW      1XPEHUORFDWLRQ WLPLQJRI       3DUWLFLSDQWV¶VHOIUHSRUWRISX]]OH        3XUSRVHRIFROOHFWLRQVOLSDQG
     PDQXVFULSW      ODVWVDYHGE\            SD\PHQW V                     SHUIRUPDQFHWRH[SHULPHQWHU              SDUWLFLSDQWV¶EHOLHIVDERXWLW
    'DWHILOHQDPH      0HWDGDWD                                                XVHGDVGHSHQGHQWYDULDEOH 
                                                                           H[SHULPHQWHUTXHVWLRQVLIWKH\KDG
                                                                           DQ\7KHSD\PHQWIRUPLQFOXGHGD
                                                                           RQHGLJLWLGHQWLILHUDVZHOO RQHGLJLW
                                                                           LQWKHWRSULJKWRIWKHIRUPLQWKH
                                                                           FRGH20%1R $VD
                                                                           UHVXOWDWWKHHQGRIHDFKVHVVLRQZH
                                                                           ZHUHDEOHWRFRPSDUHDFWXDO
                                                                           SHUIRUPDQFHRQWKHPDWUL[VHDUFK
                                                                           WDVNDQGUHSRUWHGSHUIRUPDQFHRQ
                                                                           WKHSD\PHQWIRUP,IWKRVHQXPEHUV
                                                                           GLIIHUHGIRUDQLQGLYLGXDOWKDW
                                                                           GLIIHUHQFHUHSUHVHQWHGWKDW
                                                                           LQGLYLGXDO¶VOHYHORIFKHDWLQJ´ S
                                                                            
                           ± 7ZR                               2QHWLPHWKHVHFRQGVHOIUHSRUW          3XUSRVH&ROOHFWSDUWLFLSDQWV¶VHOI
BQP               :KRDJDLQ                                            5RRP LVH[SOLFLWO\LGHQWLILHGDV     UHSRUWRISX]]OHSHUIRUPDQFH³«DQG
                      UDLVHG             5RRPIRUSX]]OH             WKHFKHDWLQJPHDVXUH                     DFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWV
                      FRQFHUQV        SHUIRUPDQFH³«WKH                                                           ODWHUUHSRUWHGWKHLUSHUIRUPDQFHLQ
                      DERXWWKH       H[SHULPHQWHUDVNHGSDUWLFLSDQWV       &ROOHFWLRQVOLSLQ5RRPIRU      WKLVSDUWRIWKHVWXG\´ S 
                      GHSHQGHQW       WRFRXQWWKHQXPEHURIFRUUHFWO\ SD\PHQWE\H[SHULPHQWHUWKHUH³)RU         
                      PHDVXUHRI      VROYHGPDWUL[HVQRWHWKDWQXPEHU WKLVWDVNSDUWLFLSDQWVUHFHLYHGD         3DUWLFLSDQWV¶EHOLHIVDERXWSXUSRVH
                      FKHDWLQJRQ     RQWKHFROOHFWLRQVOLSDQGWKHQ   ZRUNVKHHWZLWKPDWULFHV>«@DQG        7RDOORZWKHH[SHULPHQWHUWRFKHFN
                      WKHSX]]OHWDVN VXEPLWERWKWKHWHVWVKHHWDQGWKH DFROOHFWLRQVOLSRQZKLFK                SDUWLFLSDQWV¶ZRUNDQGJLYHWKHP
                        DQGSD\PHQW FROOHFWLRQVOLSWRWKHH[SHULPHQWHU SDUWLFLSDQWVODWHUUHSRUWHGWKHLU          SD\PHQW³2QFHWKHILYHPLQXWHVZHUH
                      IRUWKDWWDVN   VRWKDWVKHFRXOGFKHFNWKHLUZRUN SHUIRUPDQFHLQWKLVSDUWRIWKH           RYHUWKHH[SHULPHQWHUDVNHG
                      FRPLQJEHIRUH DQGJLYHWKHPSD\PHQW´ S  VWXG\´ S                                 SDUWLFLSDQWVWRFRXQWWKHQXPEHURI
                      WKH                                                                                          FRUUHFWO\VROYHGPDWUL[HVQRWHWKDW
                      LQGHSHQGHQW        5RRPIRUILQDOSD\PHQW        2Q/LQHRIWD[IRUPLQ5RRP     QXPEHURQWKHFROOHFWLRQVOLSDQG
                      YDULDEOH        ³7KHVHFRVWVZHUH³FUHGLWHG´WR      7D[IRUPLQ$SSHQGL[                   WKHQVXEPLWERWKWKHWHVWVKHHWDQGWKH
                      PDQLSXODWLRQ WKHLUSRVWWD[HDUQLQJVIURPWKH    ³3DUWLFLSDQWVILOOHGRXWWKHIRUPE\      FROOHFWLRQVOLSWRWKHH[SHULPHQWHUVR
                                                                                                                                                                 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 774 of 1282




                                      PDWUL[VHDUFKWDVNWRFRPSXWH      UHSRUWLQJWKHLULQFRPH LHWKHLU       WKDWVKHFRXOGFKHFNWKHLUZRUNDQG
                                       WKHLUILQDOSD\PHQW´ S                                                 JLYHWKHPSD\PHQW´ SS 

                                                                                                                                                      6
                                               $OOHJDWLRQD0DQXVFULSWFKDQJHVDQGREVHUYDWLRQV

                                                                                                 7RSLF
     9HUVLRQRI       0DQXVFULSW      1XPEHUORFDWLRQ WLPLQJRI           3DUWLFLSDQWV¶VHOIUHSRUWRISX]]OH      3XUSRVHRIFROOHFWLRQVOLSDQG
     PDQXVFULSW      ODVWVDYHGE\            SD\PHQW V                         SHUIRUPDQFHWRH[SHULPHQWHU            SDUWLFLSDQWV¶EHOLHIVDERXWLW
    'DWHILOHQDPH      0HWDGDWD                                                    XVHGDVGHSHQGHQWYDULDEOH 
                                       ³:KHQSDUWLFLSDQWVUHFHLYHG            SHUIRUPDQFHRQWKHPDWUL[WDVN RQ
                                       SD\PHQWDIWHUFRPSOHWLQJWKHILUVW     ZKLFKWKH\SDLGDWD[«´ S 
                                       SDUWRIWKHVWXG\WKH                 ³«ZHZHUHDEOHWRFRPSDUHDFWXDO
                                       H[SHULPHQWHUJDYHWKHPDWD[           SHUIRUPDQFHRQWKHSUREOHPVRYOLQJ
                                       UHWXUQIRUPDQGDVNHGHDFK             WDVNDQGUHSRUWHGSHUIRUPDQFHRQ
                                       SDUWLFLSDQWWRJRWRDVHFRQG          WKHWD[UHWXUQIRUP,IWKRVHQXPEHUV
                                       URRPZLWKDVHFRQGH[SHULPHQWHU        GLIIHUHGIRUDQLQGLYLGXDOWKDW
                                       WRILOORXWWKHWD[IRUPDQGUHFHLYH   GLIIHUHQFHUHSUHVHQWHGWKDW
                                       WKHLUDGGLWLRQDOSD\PHQWV LI          LQGLYLGXDO¶VOHYHORIFKHDWLQJRQWKH
                                       DQ\ ´ S                         SUREOHPVROYLQJWDVN´ S 
           )UDQFHVFD       2QH5RRPIRU WKHRQO\              2QHWLPHWKHVHFRQGVHOIUHSRUW        3XUSRVH&ROOHFWSDUWLFLSDQWV¶VHOI
                      *LQR            SD\PHQW                                  5RRP LVH[SOLFLWO\LGHQWLILHGDV   UHSRUWRISX]]OHSHUIRUPDQFH³«DQG
                                                                              WKHFKHDWLQJPHDVXUH                   DFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWV
                                       3D\PHQWQRWPHQWLRQHGLQ                                                       ODWHUUHSRUWHGWKHLUSHUIRUPDQFHLQ
                                       FRQQHFWLRQZLWK5RRP                  &ROOHFWLRQVOLSLQ5RRP³)RU   WKLVSDUWRIWKHVWXG\´ S 
                                                                              WKLVWDVNSDUWLFLSDQWVUHFHLYHGD      
                                       'HOHWHG³«DQGJLYHWKHP               ZRUNVKHHWZLWKPDWULFHV>«@DQG      3DUWLFLSDQWV¶EHOLHIVDERXWSXUSRVH
                                       SD\PHQW´ZDVGHOHWHGIURP              DFROOHFWLRQVOLSRQZKLFK              7RDOORZWKHH[SHULPHQWHUWRFKHFN
                                       GHVFULSWLRQRIZKDWWKH                SDUWLFLSDQWVODWHUUHSRUWHGWKHLU       SDUWLFLSDQWV¶ZRUN RQO\ ³2QFHWKH
                                       H[SHULPHQWHUGLGLQ5RRP            SHUIRUPDQFHLQWKLVSDUWRIWKH         ILYHPLQXWHVZHUHRYHUWKH
                                       &KDQJHG7KHVHQWHQFH³:KHQ            VWXG\´ S ³2QFHWKHILYH          H[SHULPHQWHUDVNHGSDUWLFLSDQWVWR
                                       SDUWLFLSDQWVUHFHLYHGSD\PHQW          PLQXWHVZHUHRYHUWKHH[SHULPHQWHU     FRXQWWKHQXPEHURIFRUUHFWO\VROYHG
                                       DIWHUFRPSOHWLQJWKHILUVWSDUWRI     DVNHGSDUWLFLSDQWVWRFRXQWWKH         PDWUL[HVQRWHWKDWQXPEHURQWKH
                                       WKHVWXG\WKHH[SHULPHQWHUJDYH        QXPEHURIFRUUHFWO\VROYHGPDWUL[HV    FROOHFWLRQVOLSDQGWKHQVXEPLWERWK
                                       WKHPDWD[UHWXUQIRUPDQGDVNHG       QRWHWKDWQXPEHURQWKHFROOHFWLRQ      WKHWHVWVKHHWDQGWKHFROOHFWLRQVOLSWR
                                       HDFKSDUWLFLSDQWWRJRWRDVHFRQG     VOLSDQGWKHQVXEPLWERWKWKHWHVW     WKHH[SHULPHQWHUVRWKDWVKHFRXOG
                                       URRPZLWKDVHFRQGH[SHULPHQWHU        VKHHWDQGWKHFROOHFWLRQVOLSWRWKH    FKHFNWKHLUZRUN´ S 'HOHWHG
                                       WRILOORXWWKHWD[IRUPDQGUHFHLYH   H[SHULPHQWHUVRWKDWVKHFRXOGFKHFN    IURPWKHHQGRIWKLVVHQWHQFH³DQG
                                       WKHLUDGGLWLRQDOSD\PHQWV LI          WKHLUZRUN´ S                     JLYHWKHPSD\PHQW´
                                       DQ\ ´LQWKHYHUVLRQZDV         
                                                                                                                                                                     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 775 of 1282




                                       FKDQJHGLQWKHYHUVLRQWR         2Q/LQHRIWD[IRUPLQ5RRP
                                       EHJLQ³:KHQSDUWLFLSDQWV                 7D[IRUPLQ$SSHQGL[ 

                                                                                                                                                         7
                                              $OOHJDWLRQD0DQXVFULSWFKDQJHVDQGREVHUYDWLRQV

                                                                                           7RSLF
     9HUVLRQRI       0DQXVFULSW     1XPEHUORFDWLRQ WLPLQJRI     3DUWLFLSDQWV¶VHOIUHSRUWRISX]]OH        3XUSRVHRIFROOHFWLRQVOLSDQG
     PDQXVFULSW      ODVWVDYHGE\           SD\PHQW V                   SHUIRUPDQFHWRH[SHULPHQWHU              SDUWLFLSDQWV¶EHOLHIVDERXWLW
    'DWHILOHQDPH      0HWDGDWD                                             XVHGDVGHSHQGHQWYDULDEOH 
                                       FRPSOHWHGWKHILUVWSDUWRIWKH ³3DUWLFLSDQWVILOOHGRXWWKHIRUPE\
                                       VWXG\´DQGWKHHQGLQJRIWKH   UHSRUWLQJWKHLULQFRPH LHWKHLU
                                       VHQWHQFHZDVFKDQJHGWR³«DQG SHUIRUPDQFHRQWKHPDWUL[WDVN RQ
                                       UHFHLYHWKHLUSD\PHQWV´        ZKLFKWKH\SDLGDWD[«´ S 
                                                                        ³«ZHZHUHDEOHWRFRPSDUHDFWXDO
                                                                        SHUIRUPDQFHRQWKHSUREOHPVRYOLQJ
                                                                        WDVNDQGUHSRUWHGSHUIRUPDQFHRQ
                                                                        WKHWD[UHWXUQIRUP,IWKRVHQXPEHUV
                                                                        GLIIHUHGIRUDQLQGLYLGXDOWKDW
                                                                        GLIIHUHQFHUHSUHVHQWHGWKDW
                                                                        LQGLYLGXDO¶VOHYHORIFKHDWLQJRQWKH
                                                                        SUREOHPVROYLQJWDVN´ S 
                                                                        
QP                          2QH5RRPIRU WKHRQO\      2QHWLPHWKHVHFRQGVHOIUHSRUW          3XUSRVH6ROHO\IRUSDUWLFLSDQWV
                                    SD\PHQW                           5RRP LVH[SOLFLWO\LGHQWLILHGDV     WKHPVHOYHVWROHDUQKRZPDQ\SX]]OHV
                                                                       WKHFKHDWLQJPHDVXUH                     WKH\KDGVROYHGFRUUHFWO\
                                       3D\PHQWQRWPHQWLRQHGLQ                                                  
                                       FRQQHFWLRQZLWK5RRP           &ROOHFWLRQVOLSLQ5RRP³)RU     'HOHWHG³VRWKDWVKHFRXOGFKHFNWKHLU
                                                                       WKLVWDVN>@SDUWLFLSDQWVUHFHLYHGD   ZRUN´IURPWKHVHQWHQFH³2QFHWKH
                                       >6DPHDVYHUVLRQ@    ZRUNVKHHWZLWKPDWULFHV>«@DQG        ILYHPLQXWHVZHUHRYHUWKH
                                                                        DFROOHFWLRQVOLSRQZKLFK                H[SHULPHQWHUDVNHGSDUWLFLSDQWVWR
                                                                        SDUWLFLSDQWVODWHUUHSRUWHGWKHLU         FRXQWWKHQXPEHURIFRUUHFWO\VROYHG
                                                                        SHUIRUPDQFHLQWKLVSDUWRIWKH           PDWUL[HVQRWHWKDWQXPEHURQWKH
                                                                        H[SHULPHQW´ S )LQDOSKUDVH         FROOHFWLRQVOLSDQGWKHQVXEPLWERWK
                                                                        GHOHWHGIURPWKLVVHQWHQFH³2QFHWKH     WKHWHVWVKHHWDQGWKHFROOHFWLRQVOLSWR
                                                                        ILYHPLQXWHVZHUHRYHUWKH               WKHH[SHULPHQWHUVRWKDWVKHFRXOG
                                                                        H[SHULPHQWHUDVNHGSDUWLFLSDQWVWR        FKHFNWKHLUZRUN´ S 
                                                                        FRXQWWKHQXPEHURIFRUUHFWO\VROYHG      $GGHG³1RWHWKHVROHSXUSRVHRIWKH
                                                                        PDWUL[HVQRWHWKDWQXPEHURQWKH         FROOHFWLRQVOLSZDVIRUWKHSDUWLFLSDQWV
                                                                        FROOHFWLRQVOLSDQGWKHQVXEPLWERWK     WROHDUQKRZPDQ\PDWUL[HVLQWRWDO
                                                                                                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 776 of 1282




                                                                        WKHWHVWVKHHWDQGWKHFROOHFWLRQVOLS    WKH\KDYHVROYHGFRUUHFWO\´
                                                                                                                   

                                                                                                                                                    8
                                                  $OOHJDWLRQD0DQXVFULSWFKDQJHVDQGREVHUYDWLRQV

                                                                                                 7RSLF
     9HUVLRQRI           0DQXVFULSW     1XPEHUORFDWLRQ WLPLQJRI        3DUWLFLSDQWV¶VHOIUHSRUWRISX]]OH       3XUSRVHRIFROOHFWLRQVOLSDQG
     PDQXVFULSW          ODVWVDYHGE\           SD\PHQW V                      SHUIRUPDQFHWRH[SHULPHQWHU             SDUWLFLSDQWV¶EHOLHIVDERXWLW
    'DWHILOHQDPH          0HWDGDWD                                                XVHGDVGHSHQGHQWYDULDEOH 
                                                                               WRWKHH[SHULPHQWHUVRWKDWVKHFRXOG    3DUWLFLSDQWV¶EHOLHIVDERXWSXUSRVH
                                                                               FKHFNWKHLUZRUN´ S                8QFOHDU
                                                                               
                                                                                  2Q/LQHRIWD[IRUPLQ5RRP
                                                                                 7D[IRUPLQ$SSHQGL[ 
                                                                               
                                                                               ³3DUWLFLSDQWVILOOHGRXWWKHIRUPE\
                                                                               UHSRUWLQJWKHLULQFRPH LHWKHLU
                                                                               SHUIRUPDQFHRQWKHPDWUL[WDVN RQ
                                                                               ZKLFKWKH\SDLGDWD[«´ S 
                                                                               ³«ZHZHUHDEOHWRFRPSDUHDFWXDO
                                                                               SHUIRUPDQFHRQWKHSUREOHPVROYLQJ
                                                                               WDVNDQGUHSRUWHGSHUIRUPDQFHRQWKH
                                                                               WD[UHWXUQIRUP,IWKRVHQXPEHUV
                                                                               GLIIHUHGIRUDQLQGLYLGXDOWKDW
                                                                               GLIIHUHQFHUHSUHVHQWHGWKDW
                                                                               LQGLYLGXDO¶VOHYHORIFKHDWLQJ´ S
                                                                                
                                                                               
3XEOLVKHG                                2QH5RRPIRU WKHRQO\          2QHWLPHWKHVHFRQGVHOIUHSRUW         3XUSRVH6ROHO\IRUSDUWLFLSDQWV
 31$6                                     SD\PHQW                              5RRP LVH[SOLFLWO\LGHQWLILHGDV    WKHPVHOYHVWROHDUQKRZPDQ\SX]]OHV
                                                                              WKHGHSHQGHQWYDULDEOH WKHFKHDWLQJ     WKH\KDGVROYHGFRUUHFWO\
                                           3D\PHQWQRWPHQWLRQHGLQ           PHDVXUH                                 
                                           FRQQHFWLRQZLWK5RRP                                                    ³2QFHWKHPLQZHUHRYHUWKH
                                                                                 &ROOHFWLRQVOLSLQ5RRP³)RU    H[SHULPHQWHUDVNHGSDUWLFLSDQWV
                                           ³7KHVHH[SHQVHVZHUH³FUHGLWHG´ WKLVWDVN  SDUWLFLSDQWVUHFHLYHGD      WRFRXQWWKHQXPEHURIFRUUHFWO\
                                           WRWKHLUSRVWWD[HDUQLQJVIURPWKH ZRUNVKHHWZLWKPDWKSX]]OHVHDFK     VROYHGSX]]OHVQRWHWKDWQXPEHURQ
                                           SUREOHPVROYLQJWDVNWRFRPSXWH FRQVLVWLQJRIWKUHHGLJLWQXPEHUV        WKHFROOHFWLRQVOLSDQGWKHQVXEPLW
                                           WKHLUILQDOSD\PHQW´ S      HJ DQGDFROOHFWLRQVOLSRQ   ERWKWKHWHVWVKHHWDQGWKHFROOHFWLRQ
                                           ³:KHQSDUWLFLSDQWVFRPSOHWHGWKH ZKLFKSDUWLFLSDQWVODWHUUHSRUWHG          VOLSWRWKHH[SHULPHQWHU>«@7KHVROH
                                                                                                                                                                   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 777 of 1282




                                           ILUVWSDUWRIWKHH[SHULPHQW       WKHLUSHUIRUPDQFHLQWKLVSDUWRIWKH    SXUSRVHRIWKHFROOHFWLRQVOLSZDVIRU
                                             SUREOHPVROYLQJWDVN WKH       H[SHULPHQW´ S                   WKHSDUWLFLSDQWVWKHPVHOYHVWROHDUQ

                                                                                                                                                         9
                                                   $OOHJDWLRQD0DQXVFULSWFKDQJHVDQGREVHUYDWLRQV

                                                                                                      7RSLF
         9HUVLRQRI       0DQXVFULSW      1XPEHUORFDWLRQ WLPLQJRI             3DUWLFLSDQWV¶VHOIUHSRUWRISX]]OH      3XUSRVHRIFROOHFWLRQVOLSDQG
         PDQXVFULSW      ODVWVDYHGE\            SD\PHQW V                           SHUIRUPDQFHWRH[SHULPHQWHU            SDUWLFLSDQWV¶EHOLHIVDERXWLW
        'DWHILOHQDPH      0HWDGDWD                                                     XVHGDVGHSHQGHQWYDULDEOH 
                                           H[SHULPHQWHUJDYHWKHPDWD[                                                     KRZPDQ\SX]]OHVLQWRWDOWKH\KDG
                                           UHWXUQIRUPDQGDVNHGHDFK               2QWD[IRUPLQ5RRP³$OORI        VROYHGFRUUHFWO\´ S 
                                           SDUWLFLSDQWWRJRWRDVHFRQG          WKHLQVWUXFWLRQVDQGGHSHQGHQW            
                                           URRPZLWKDVHFRQGH[SHULPHQWHU        PHDVXUHVDSSHDUHGRQRQHSDJH>WKH        3DUWLFLSDQWV¶EHOLHIVDERXWSXUSRVH
                                           WRILOORXWWKHWD[IRUPDQGUHFHLYH   WD[IRUP@WRHQVXUHWKDWSDUWLFLSDQWV     8QFOHDU
                                           WKHLUSD\PHQWV´ S             NQHZIURPWKHRXWVHWWKDWDVLJQDWXUH
                                                                                   ZRXOGEHUHTXLUHG´ S 

                                                                                                                                                                      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 778 of 1282




                                                                                                                                                            10
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 779 of 1282



                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                  ([KLELW
                    $OOHJDWLRQD31$60DQXVFULSWV
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
                                       
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 780 of 1282



                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                    0DQXVFULSW9HUVLRQ
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 781 of 1282

                                                                            5DLVLQJ(WKLFDO6DOLHQF\


5XQQLQJ+HDG5$,16,1*(7+,&$/6$/,(1&<





                              5DLVLQJWKH6DOLHQF\RI(WKLFDO6WDQGDUGV

                     +RZ6LJQLQJRQWKH'RWWHG/LQH7XUQV0RUDO*D]H,QZDUG



                                              /LVD6KX

                                            1LQD0D]DU

                                          )UDQFHVFD*LQR

                                           0D[%D]HUPDQ

                                             'DQ$ULHO\

                                                   
                 
                     +DUYDUG8QLYHUVLW\8QLYHUVLW\RI7RURQWR'XNH8QLYHUVLW\











7KHDXWKRUVWKDQN-HQQLIHU)LQNDQG5XWK:LQHFRIIIRUWKHLUKHOSZLWKGDWDFROOHFWLRQDQGHQWU\

7KHDXWKRUVJUHDWO\DSSUHFLDWHWKHVXSSRUWDQGIDFLOLWLHVRIWKH&HQWHUIRU'HFLVLRQ5HVHDUFKDW

WKH8QLYHUVLW\RI1RUWK&DUROLQDDW&KDSHO+LOO7KHDXWKRUVWKDQNWKH)XTXD6FKRRORI%XVLQHVV

DQG+DUYDUG%XVLQHVV6FKRROIRUWKHLUILQDQFLDOVXSSRUW3OHDVHDGGUHVVFRUUHVSRQGHQFHWR

                        
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 782 of 1282

                                                                        5DLVLQJ(WKLFDO6DOLHQF\


                                             $EVWUDFW

$OWKRXJKSHRSOHFDUHDERXWEHLQJPRUDODQGEHLQJVHHQDVHWKLFDOE\RWKHUVWKH\RIWHQJLYHLQWR

WKHWHPSWDWLRQWREHKDYHGLVKRQHVW\IRUVKRUWWHUPPRQHWDU\JDLQV3ULRUZRUNKDVH[DPLQHGWKH

SV\FKRORJLFDODQGVLWXDWLRQDOIRUFHVWKDWVZLQJSHRSOH¶VPRUDOFRPSDVV,QWKLVSDSHUZHH[WHQG

WKLVERG\RIUHVHDUFKE\H[DPLQLQJDQLPSOHPHQWDEOHPHDQWRGLVFRXUDJHGLVKRQHVW\UDLVLQJWKH

VDOLHQF\RIHWKLFDOVWDQGDUGVLQWKHPRPHQWRIWHPSWDWLRQ8VLQJERWKILHOGDQGODEH[SHULPHQWV

ZHILQGWKDWVLJQLQJDSOHGJHRIKRQHVW\SULRUWRKDYLQJWKHRSSRUWXQLW\WRFKHDWUDWKHUWKDQ

DIWHUZDUGVUDLVHVWKHVDOLHQF\RIRQH¶VRZQPRUDOVWDQGDUGVDQGLQWXUQGLVFRXUDJHVFKHDWLQJ

,PSOLFDWLRQVIRUERWKUHVHDUFKRQEHKDYLRUDOHWKLFVDQGSUDFWLFHDUHGLVFXVVHG



.H\ZRUGV6LJQLQJ(WKLFV'LVKRQHVW\6DOLHQF\&KHDWLQJ

                             
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 783 of 1282

                                                                           5DLVLQJ(WKLFDO6DOLHQF\


                             5DLVLQJWKH6DOLHQF\RI(WKLFDO6WDQGDUGV

                     +RZ6LJQLQJRQWKH'RWWHG/LQH7XUQV0RUDO*D]H,QZDUG



          ,Q'HFHPEHU7LPRWK\6FKHWHOLFK±ZKRKDGEHHQZRUNLQJDVD&HUWLILHG3XEOLF

$FFRXQWDQWLQ6SULQJILHOGIRU\HDUV±SOHDGHGJXLOW\WRSUHSDULQJIDOVHWD[UHWXUQVIRUVHYHUDO

FOLHQWV2YHUWKH\HDUVKHFODLPHGVRPHRIWKHPKDGOHJLWLPDWHEXVLQHVVH[SHQVHVZKHQLQIDFW

WKH\GLGQRWRZQDEXVLQHVVRUKHIDEULFDWHGDQGLQIODWHGGHGXFWLRQVIRUH[SHQVHVWRREWDLQ

ODUJHUUHIXQGVWKHFOLHQWVZHUHQRWHQWLWOHGWRUHFHLYH$OWKRXJKWKLVFDVHPD\FRPHDVDVXUSULVH

WRVRPHLWLVMXVWRQHH[DPSOHRIWKHPDQ\VLWXDWLRQVLQZKLFKSHRSOHFURVVHWKLFDOERXQGDULHVWR

DGYDQFHWKHLURZQVHOILQWHUHVW,QIDFWPRVWEXVLQHVVHVDVZHOODVWD[SD\HUVUHJXODUO\FKHDWRQ

WKHLUWD[HV 0RUVH DQGWKLVXQSDLGWD[DPRXQWVWRURXJKO\ELOOLRQHYHU\\HDU

6LPLODUO\RWKHUIRUPVRIXQHWKLFDOEHKDYLRUKDYHEHHQFRYHUHGLQWKHQHZVLQUHFHQW\HDUV

LQFOXGLQJVWRULHVRIH[HFXWLYHVLQIODWLQJWKHLUEXVLQHVVH[SHQVHVHPSOR\HHVWHDOLQJIURPWKHLU

RZQHPSOR\HUVSURIHVVLRQDOVRYHUVWDWLQJWKHLUKRXUVDQGPDQDJHUVLQIODWLQJSHUIRUPDQFHWR

VXSHULRUVWRPHQWLRQMXVWDIHZ 0D]DU $ULHO\*LQR 3LHUFH 

          7KHSHUYDVLYHQHVVRIWKHVHFRPPRQXQHWKLFDOSUDFWLFHVLQRUJDQL]DWLRQVDQGVRFLHW\PRUH

EURDGO\KDVJHQHUDWHGFRQVLGHUDEOHLQWHUHVWDPRQJVFKRODUVLQDYDULHW\RIGLVFLSOLQHVLQFOXGLQJ

RUJDQL]DWLRQDOEHKDYLRUSV\FKRORJ\SKLORVRSK\DQGHFRQRPLFV HJ%URZQ 7UHYLxR

*QHH]\+DLGW1LFKROV .QREH7HQEUXQVHO'LHNPDQQ:DGH%HQ]RQL 

%D]HUPDQ7HQEUXQVHO 6PLWK&URZH7UHYLxR:HDYHU 5H\QROGV 7KLV

ERG\RIZRUNKDVIRXQGWKDWZKLOHVRPHLQGLYLGXDOVSODQWRDFWXQHWKLFDOO\IRUPRQHWDU\JDLQV

    %ULHI%XWWUDP 'XNHULFN/HZLFNL3RODQG0LQWRQ 6KHSSDUG PDQ\RWKHUV

VWDUWZLWKJRRGLQWHQWLRQVEXWXOWLPDWHO\EHKDYHGLVKRQHVWO\GXHWRVXEWOHVLWXDWLRQDOLQIOXHQFHV
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 784 of 1282

                                                                         5DLVLQJ(WKLFDO6DOLHQF\


)RULQVWDQFHLQDUHFHQWLQYHVWLJDWLRQ=KRQJ%RKQVDQG*LQR  IRXQGWKDWDPELHQW

GDUNQHVVOHDGVSHRSOHWREHKDYHXQHWKLFDOO\$OWKRXJKLQVLJKWIXOWKLVSULRUUHVHDUFKKDVIRFXVHG

SULPDULO\RQWKHPRWLYHVDQGFKDUDFWHULVWLFVRIWKHZURQJGRHUVRURQWKHRUJDQL]DWLRQDODQG

HQYLURQPHQWDOSUHVVXUHVWKDWLQIOXHQFHGWKHLUDFWLRQV *LQR 3LHUFH <HWWRGDWHOLWWOHLV

NQRZQDERXWHIIHFWLYHZD\VRIUHGXFLQJRUHOLPLQDWLQJXQHWKLFDOEHKDYLRU

       ,QWKLVSDSHUZHDGGUHVVWKLVJDSLQWKHOLWHUDWXUHDQGH[DPLQHWKHHIIHFWVRIUDLVLQJWKH

VDOLHQF\RIRQH¶VRZQHWKLFDOVWDQGDUGVZKHQRQHIDFHVWKHGHFLVLRQRIZKHWKHUWRDFWXQHWKLFDOO\

RUQRW:HIRFXVRQDSDUWLFXODUZD\WRUDLVHHWKLFDOVDOLHQF\VLJQLQJDSOHGJHRIKRQHVW\8VLQJ

ERWKILHOGDQGODERUDWRU\VWXGLHVRXUUHVHDUFKH[SORUHVKRZVLJQLQJDSOHGJHRIKRQHVW\EHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWFDQEHDQHIIHFWLYHZD\WRGLVFRXUDJHGLVKRQHVW\VLQFHLWUDLVHV

WKHVDOLHQF\RIRQH¶VRZQPRUDOVWDQGDUGV7KHUHDUHPDQ\VLWXDWLRQVLQZKLFKVLJQLQJDIRUPLV

UHTXLUHGVXFKDVVLJQLQJLQVXUDQFHIRUPVRURQH¶VWD[IRUPV,QPRVWFRQWH[WVWKHDFWRIVLJQLQJ

RFFXUVDIWHUUDWKHUWKDQEHIRUHKDYLQJFRPSOHWHGWKHIRUP:HVXJJHVWWKDWVLPSO\PRYLQJWKH

VLJQDWXUHIURPWKHERWWRPWRWKHWRSRIDIRUPZLOOPDNHRQH¶VRZQPRUDOVWDQGDUGVVDOLHQWDQG

ZLOOGLVFRXUDJHFKHDWLQJDVDUHVXOW

                             7KH,PSDFWRI6LJQLQJRQWKH'RWWHG/LQH

       :HK\SRWKHVL]HWKDWVLJQLQJRQWKHGRWWHGOLQHEULQJVWKHVHOILQWRFOHDUHUYLHZDQGWKDW

DFWLYDWLQJRQH¶VVHOIFRQFHSWFDQFKDQJHSHRSOH¶VEHKDYLRUIRUWKHEHWWHU5HVHDUFKHUVKDYH

GHPRQVWUDWHGKRZHYHQVXEWOHFXHVWKDWDFWLYDWHWKHVHOIFDQOHDGWRVXUSULVLQJDQGSRZHUIXO

HIIHFWVRQFRQVHTXHQWEHKDYLRU)RUH[DPSOHZKHQSOD\LQJDQDQRQ\PRXVHFRQRPLFJDPH

SHRSOHUHVSRQGE\EHLQJPRUHJHQHURXVWRHYHQWKHQXDQFHGSUHVHQFHRIH\HOLNHVKDSHVLQWKH

FRPSXWHUEDFNJURXQG +DOH\ )HVVOHU ,QDPRUHQDWXUDOLVWLFVHWWLQJUHVHDUFKHUVKDYH

H[DPLQHGWKHHIIHFWRIDQLPDJHRIDSDLURIH\HVRQWKHDPRXQWRIPRQH\SHRSOHSXWLQD
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 785 of 1282

                                                                          5DLVLQJ(WKLFDO6DOLHQF\


FRQWULEXWLRQVER[IRUVXSSOLHVLQDFRPPXQDOFRIIHHURRP:KHQDQLPDJHRIH\HVZHUH

GLVSOD\HGRQWKHFRQWULEXWLRQVER[LQVWHDGRIDQLPDJHRIIORZHUVQHDUO\WKUHHWLPHVWKHDPRXQW

RIPRQH\ZDVFROOHFWHG %DWHVRQ1HWWOH 5REHUWV 7KHDXWKRUVDWWULEXWHGWKHHIIHFWRI

WKHH\HVWRWKHSHUFHSWLRQWKDWSHRSOHIHHODVLIWKH\DUHEHLQJZDWFKHGDQGVXEVHTXHQWO\WXUQ

WKHLURZQJD]HLQZDUGWRZDUGWKHLURZQEHKDYLRU

       'LIIHUHQWDVSHFWVRIWKHVHOIFDQEHVHOHFWLYHO\DFWLYDWHG)RUH[DPSOH6KLK3LWWLQVN\

DQG$PEDG\  IRXQGWKDWLPSOLFLWDFWLYDWLRQRIGLIIHUHQWVRFLDOLGHQWLWLHVZLWKLQDQ

LQGLYLGXDOFDQKHOSRUKLQGHUSHUIRUPDQFHRQDJLYHQWDVN8VLQJDQDOO$VLDQ$PHULFDQIHPDOH

VDPSOHWKHDXWKRUVIRXQGWKDWSDUWLFLSDQWVSHUIRUPHGEHWWHURQDTXDQWLWDWLYHWDVNZKHQWKHLU

HWKQLFLGHQWLW\ZDVDFWLYDWHGKRZHYHUSDUWLFLSDQWVIURPWKHVDPHVDPSOHSHUIRUPHGZRUVHZKHQ

WKHLUJHQGHUZDVPDGHVDOLHQW7KHDXWKRUVGHPRQVWUDWHWKDWPHUHO\IUDPLQJDTXHVWLRQDERXW

LGHQWLW\DVDVNLQJDERXWJHQGHUYHUVXVHWKQLFLW\LPSDFWHGTXDQWLWDWLYHSHUIRUPDQFHE\LQGXFLQJD

VHOIVWHUHRW\SH7KLVZRUNVXJJHVWVWKDWWKHVHOILVPDOOHDEOHDQGSURQHWRHYHQVXEWOHSULPHVLQ

WKHHQYLURQPHQW+HUHZHIRFXVRQDVSHFLILFW\SHRISULPH±VLJQLQJDSOHGJHRIKRQHVW\:H

SURSRVHWKDWWKHDFWRIVLJQLQJRQH¶VRZQQDPHUDLVHVWKHVDOLHQFHRIRQH¶VRZQPRUDOFRPSDVV

DQGHWKLFDOVWDQGDUGVWKXVGLVFRXUDJLQJGLVKRQHVWDFWLRQVDIWHUZDUGV

       3UHYLRXVUHVHDUFKKDVVKRZQWKDWZKHQWKHPRUDOFDWHJRUL]DWLRQRIDSDUWLFXODUEHKDYLRU

LVQRWFOHDUFXWSHRSOHFDQDQGLQIDFWRIWHQGRFDWHJRUL]HWKHLURZQDFWLRQVLQSRVLWLYHWHUPV

WKHUHE\DYRLGLQJWKHQHHGWRQHJDWLYHO\XSGDWHWKHLUPRUDOVHOILPDJH %DXPHLVWHU

6FKZHLW]HU +VHH +RZHYHU0D]DU$PLUDQG$ULHO\  IRXQGWKDWGUDZLQJ

SHRSOH¶VDWWHQWLRQWRPRUDOVWDQGDUGVUHGXFHVGLVKRQHVWEHKDYLRUV)RUH[DPSOHDIWHUEHLQJ

DVNHGWRUHFDOOWKH7HQ&RPPDQGPHQWVSDUWLFLSDQWVZKRZHUHJLYHQWKHRSSRUWXQLW\WRFKHDW

DQGWRJDLQILQDQFLDOO\IURPWKLVDFWLRQGLGQRWFKHDWDWDOOE\FRQWUDVWZKHQJLYHQWKHVDPH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 786 of 1282

                                                                         5DLVLQJ(WKLFDO6DOLHQF\


RSSRUWXQLW\WRFKHDWWKRVHZKRKDGQRWEHHQUHPLQGHGRIWKH7HQ&RPPDQGPHQWVFKHDWHG

VXEVWDQWLDOO\6LPLODUO\ZKHQSDUWLFLSDQWVZHUHDVNHGWRUHDGDQGVLJQDQGKRQRUFRGHSULRUWR

HQJDJLQJLQDWDVNZKHUHWKH\FRXOGRYHUUHSRUWHGSHUIRUPDQFHDQGWKXVHDUQPRUHPRQH\WKH\

GLGQRWGHVHUYHWKH\ZHUHOHVVOLNHO\WRWKHQFKHDWRQWKHWDVNLWVHOI VHHDOVR6KX*LQR 

%D]HUPDQ :KHQXQHWKLFDOEHKDYLRULVPDGHVDOLHQWSHRSOHPD\SD\JUHDWHUDWWHQWLRQWR

WKHLURZQPRUDOVWDQGDUGVDQGFDWHJRUL]HWKHHWKLFDOLW\RIWKHLURZQEHKDYLRUPRUHULJLGO\$VD

FRQVHTXHQFHPRUDOVDOLHQF\PD\GHFUHDVHSHRSOH¶VWHQGHQF\WRHQJDJHLQGLVKRQHVWDFWVDQG

LQFUHDVHWKHULJLGLW\RIWKHLUMXGJPHQWVRIHWKLFDOLW\

       7RVXPPDUL]HZHSURSRVHDQGWHVWWKHIROORZLQJK\SRWKHVHV

       +\SRWKHVLV6LJQLQJDSOHGJHRIKRQHVW\EHIRUHILOOLQJRXWDIRUPZKHUHRQHFDQ
       RYHUVWDWHSHUIRUPDQFHZLOOOHDGWRORZHUOHYHOVRIFKHDWLQJWKDQVLJQLQJLWDIWHUKDYLQJ
       FRPSOHWHGWKHIRUP
       
       +\SRWKHVLV6LJQLQJDSOHGJHRIKRQHVW\EHIRUHILOOLQJRXWDIRUPZKHUHRQHFDQ
       RYHUVWDWHSHUIRUPDQFHZLOOEHPRUHOLNHO\WRLQFUHDVHWKHVDOLHQF\RIPRUDOVWDQGDUGV
       FRPSDUHGWRVLJQLQJLWDIWHUKDYLQJFRPSOHWHGWKHIRUP
       
       +\SRWKHVLV+HLJKWHQHGVDOLHQF\RIPRUDOVWDQGDUGVPHGLDWHGWKHHIIHFWRIVLJQLQJD
       SOHGJHRIKRQHVW\EHIRUHILOOLQJRXWDIRUPZKHUHRQHFDQRYHUVWDWHSHUIRUPDQFHDQGWKH
       OHYHORIFKHDWLQJRQWKHIRUP
       
2YHUYLHZRIWKH5HVHDUFK

       :HWHVWHGWKHVHK\SRWKHVHVLQIRXUVWXGLHVLQZKLFKSDUWLFLSDQWVKDGWKHRSSRUWXQLW\WR

FKHDWE\RYHUUHSRUWLQJSHUIRUPDQFHRQDWDVN,QHDFKVWXG\ZHYDULHGZKHWKHUPRUDOVWDQGDUGV

ZHUHVDOLHQWWRSDUWLFLSDQWVE\DVNLQJWKHPWRVLJQDSOHGJHRIKRQHVW\3DUWLFLSDQWVHLWKHUVLJQHG

WKHIRUPEHIRUHRUDIWHUKDYLQJWKHRSSRUWXQLW\WRFKHDW,Q6WXG\ZHFRQGXFWHGDILHOG

H[SHULPHQWLQFROODERUDWLRQZLWKDQDXWRPRELOHLQVXUDQFHFRPSDQ\DQGIRXQGWKDWHWKLFDO

VDOLHQF\SURGXFHGVLJQLILFDQWGLIIHUHQFHVLQWKHQXPEHURIPLOHVSDUWLFLSDQWVUHSRUWHGGULYLQJ

GXULQJWKHSULRU\HDU,Q6WXGLHVDQGZHUHSOLFDWHGWKHVDPHILQGLQJVXVLQJDFRQWUROOHG
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 787 of 1282

                                                                          5DLVLQJ(WKLFDO6DOLHQF\


ODERUDWRU\VWXG\$VEHIRUHWKHUHVXOWVRIWKHVHVWXGLHVVKRZWKDWKDYLQJWKHRSSRUWXQLW\WRVLJQ

DSOHGJHRIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWGLVFRXUDJHVXQHWKLFDOEHKDYLRU

)LQDOO\6WXG\H[DPLQHVWKHSV\FKRORJLFDOSURFHVVH[SODLQLQJWKHOLQNEHWZHHQWKHDFWRI

VLJQLQJDQGSHRSOH¶VOLNHOLKRRGRIRYHUUHSRUWLQJSHUIRUPDQFHDQGVKRZVWKDWWKHDFWRIVLJQLQJ

DSOHGJHRIKRQHVW\UDLVHVWKHVDOLHQFHRISDUWLFLSDQWV¶HWKLFDOVWDQGDUGV

                     6WXG\$)LHOG([SHULPHQWZLWK$XWRPRELOH,QVXUDQFH

      :HILUVWWHVWHGWKHHIIHFWRIVLJQLQJDSOHGJHRIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WR

EHKDYHGLVKRQHVW\LQDILHOGVWXG\LQYROYLQJDXWRPRELOHLQVXUDQFH

3URFHGXUH

       :HUDQDILHOGH[SHULPHQWZLWKDQLQVXUDQFHFRPSDQ\LQWKH86LQZKLFKZH

PDQLSXODWHGWKHDXWRPRELOHSROLF\UHYLHZIRUPWKDWZDVVHQWRXWWRFXVWRPHUVDWWKHHQGRIWKH

\HDU7KHUHYLHZIRUPDVNHGFXVWRPHUVDPRQJRWKHUVWRUHFRUGWKHH[DFWFXUUHQWRGRPHWHU

PLOHDJHRIDOOFDUVWKDWZHUHFXUUHQWO\UHJLVWHUHGWRWKHPDQGRUWKHLUVSRXVHRUGRPHVWLFSDUWQHU

:HUDQGRPO\DVVLJQHGFXVWRPHUVWRUHFHLYHDIRUPWKDWHLWKHUDVNHGWKHPDWWKHWRS LHEHIRUH

ILOOLQJRXWWKHIRUP RUWKHERWWRP LHDIWHUKDYLQJFRPSOHWHGWKHIRUP RIWKHIRUPWRVLJQWKH

IROORZLQJSOHGJHRIKRQHVW\³,SURPLVHWKDWWKHLQIRUPDWLRQ,DPSURYLGLQJLVWUXH´2WKHUWKDQ

WKDWWKHIRUPVZHUHLGHQWLFDODFURVVFRQGLWLRQV

       )LOOHGRXWIRUPVZHUHUHFHLYHGIURPSROLFLHVIRUDWRWDORIFDUV$FDU

SROLF\FRXOGKDYHXSWRFDUVRISROLFLHVKDGRQHFDUKDGWZRFDUVKDGWKUHHFDUV

DQGOHVVWKDQKDGIRXUFDUV:HFRPSDUHGWKHGLIIHUHQFHEHWZHHQWKHFXUUHQWRGRPHWHU

PLOHDJHDVLQGLFDWHGLQWKHPDQLSXODWHGIRUPVWRWKHRGRPHWHUPLOHDJHWKDWFXVWRPHUVKDG

LQGLFDWHGWKH\HDUEHIRUH,IDSROLF\KDGPRUHWKDQRQHFDUZHDYHUDJHGWKDWGLIIHUHQFH7KH

PLOHDJHGLIIHUHQFHUHSUHVHQWVWKH\HDUO\XVDJHRIDFDUZKLFKLQWXUQLQIOXHQFHVDFXVWRPHU¶V
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 788 of 1282

                                                                         5DLVLQJ(WKLFDO6DOLHQF\


\HDUO\LQVXUDQFHFRVWV7KHIHZHUPLOHVDFDULVGULYHQWKHORZHUWKHLQVXUDQFHFRVWV7KXVZKHQ

ILOOLQJRXWWKHDXWRPRELOHSROLF\UHYLHZIRUPFXVWRPHUVIDFHGDGLOHPPDEHWZHHQWUXWKIXOO\

LQGLFDWLQJWKHFXUUHQWRGRPHWHUPLOHDJHDQGGLVKRQHVWO\LQGLFDWLQJDORZHUPLOHDJHLQRUGHUWR

UHGXFHWKHLULQVXUDQFHSUHPLXP

       6LQFHZHK\SRWKHVL]HGWKDWVLJQLQJDSOHGJHRIKRQRUEHIRUHILOOLQJRXWWKHIRUPUDLVHV

WKHVDOLHQF\RISHRSOH¶VHWKLFDOVWDQGDUGVZHH[SHFWHGWKDWFXVWRPHUVZKRKDGWRVLJQWKH

SOHGJHRIKRQRUEHIRUHILOOLQJRXWWKHIRUPZRXOGEHPRUHWUXWKIXODQGWKXVVKRZDKLJKHUXVDJH

WKDQWKRVHZKRKDGWRVLJQWKHSOHGJHRIKRQRUDWWKHHQG

5HVXOWVDQG'LVFXVVLRQ

       $VH[SHFWHGFRQWUROOLQJIRUWKHQXPEHURIFDUVSHUSROLF\ )>@ S  WKH

DYHUDJH\HDUO\XVDJHSHUFDUZDVVLJQLILFDQWO\KLJKHUDPRQJFXVWRPHUVZKRVLJQHGWKHSOHGJHRI

KRQRUDWWKHWRSRIWKHIRUP 0 6(0  WKDQWKRVHZKRVLJQHGWKHSOHGJHRI

KRQRUDWWKHERWWRPRIWKHIRUP 0 6(0 )>@ S 7KH

GLIIHUHQFHEHWZHHQRXUWZRWUHDWPHQWVZDVRQDYHUDJHPLOHVSHUFDUSHU\HDU1RWHWKDW

WKHUHVXOWVKROGIRUWKHRGRPHWHUGLIIHUHQFHIRUWKHILUVWFDURQO\ VLJQLQJDWWKHWRS0 

6(0 VLJQLQJDWWKHERWWRP0 6(0 W>@ S 

       7KHVHUHVXOWVSURYLGHLQLWLDOVXSSRUWIRURXUILUVWK\SRWKHVLVZKLFKVXJJHVWHGWKDWUDLVLQJ

WKHVDOLHQF\RIHWKLFDOVWDQGDUGVE\DVNLQJSHRSOHWRVLJQDWWKHWRSUDWKHUWKDQDWWKHERWWRPRID

IRUPZRXOGORZHUWKHOLNHOLKRRGWKDWWKH\ZRXOGFKHDWE\PLVUHSRUWLQJWKHQXPEHURIPLOHV

GULYHQWKH\HDUEHIRUH

                           6WXG\$/DE([SHULPHQWZLWK7D[5HWXUQV

      7RWHVWWKHUREXVWQHVVRIRXUILQGLQJVZHFRQGXFWHGDVHFRQGVWXG\LQWKHODERUDWRU\

XVLQJDVLPLODUVLJQLQJPDQLSXODWLRQ,QWKLVVWXG\ZHDOVRDGGHGDFRQWUROFRQGLWLRQWRH[DPLQH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 789 of 1282

                                                                         5DLVLQJ(WKLFDO6DOLHQF\


ZKHWKHUVLJQLQJDWWKHWRSRIWKHIRUP LHSULRUWRKDYLQJWKHRSSRUWXQLW\WRFKHDW GLVFRXUDJHV

GLVKRQHVW\RUZKHWKHUVLJQLQJDWWKHERWWRPRIWKHIRUPDFWXDOO\HQFRXUDJHVXQHWKLFDOEHKDYLRU

0HWKRG

       3DUWLFLSDQWV2QHKXQGUHGDQGRQHVWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKH

VWXG\IRUSD\7KH\UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\

WKURXJKRXWWKHVWXG\

       'HVLJQDQG3URFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWKUHHFRQGLWLRQV 

6LJQDWXUHDWWKHWRSRIWKHIRUP 6LJQDWXUHDWWKHERWWRPRIWKHIRUPRU 1RVLJQDWXUH RXU

FRQWUROFRQGLWLRQ $WWKHEHJLQQLQJRIHDFKVHVVLRQSDUWLFLSDQWVZHUHJLYHQLQVWUXFWLRQVWRWKH

VWXG\7KHLQVWUXFWLRQVLQIRUPHGWKHPWKDWWKHLUILUVWWDVNZDVWRFRPSOHWHDSUREOHPVROYLQJ

WDVNXQGHUWLPHSUHVVXUH LHWKH\ZRXOGKDYHILYHPLQXWHVWRFRPSOHWHWKHWDVN DQGWKDWWKH

H[SHULPHQWHUZRXOGNHHSWUDFNRIWKHWLPH,QDGGLWLRQWRSURYLGLQJLQIRUPDWLRQDERXWWKH

SD\PHQWIRUWKHSUREOHPVROYLQJWDVNWKHLQVWUXFWLRQVLQIRUPHGSDUWLFLSDQWVWKDWXSRQ

FRPSOHWLRQRIWKLVWDVNWKH\ZRXOGEHDVNHGWRFRPSXWHWKHLUSHUIRUPDQFHDQGWKHQILOORXWD

SD\PHQWIRUP7KHLQVWUXFWLRQVDOVRLQFOXGHGWKHIROORZLQJLQIRUPDWLRQ³)RUWKHSUREOHP

VROYLQJWDVN\RXZLOOEHSDLGDKLJKHUDPRXQWWKDQZKDWZHXVXDOO\SD\SDUWLFLSDQWVLQDUHJXODU

VWXG\EHFDXVH\RXZLOOEHWD[HGRQ\RXUHDUQLQJV<RXZLOOUHFHLYHPRUHGHWDLOVDIWHUWKH

SUREOHPVROYLQJWDVN´

       3UREOHPVROYLQJWDVN)RUWKLVWDVNSDUWLFLSDQWVUHFHLYHGDZRUNVKHHWZLWKPDWULFHV

HDFKFRQVLVWLQJRIWKUHHGLJLWQXPEHUV HJ0D]DU$PLU $ULHO\ DQGD

FROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWVUHSRUWHGWKHLUSHUIRUPDQFHDWWKHHQGRIWKLVSDUWRIWKH

VWXG\3DUWLFLSDQWVZHUHWROGWKDWWKH\ZRXOGKDYHPLQWRILQGWZRQXPEHUVLQHDFKPDWUL[WKDW
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 790 of 1282

                                                                        5DLVLQJ(WKLFDO6DOLHQF\


DGGHGXSWR)RUHDFKSDLURIQXPEHUVFRUUHFWO\LGHQWLILHGWKH\ZRXOGUHFHLYHIRUD

PD[LPXPSD\PHQWRI,QSUHYLRXVVWXGLHV *LQR$\DO $ULHO\0D]DUHWDO 

SHRSOHZHUHDEOHWRILQGDERXWRIWKHSDLUVRQDYHUDJHGXULQJWKLVDPRXQWRIWLPH2QFHWKH

ILYHPLQXWHVZHUHRYHUWKHH[SHULPHQWHUDVNHGSDUWLFLSDQWVWRILOORXWWKHFROOHFWLRQVOLSDQG

WKHQVXEPLWWKHFROOHFWLRQVOLSWRWKHH[SHULPHQWHU7KHLQVWUXFWLRQVLQIRUPHGWKHPWKDW

       ,QRUGHUWRHQDEOHWKHH[SHULPHQWHUWRTXLFNO\FDOFXODWH\RXUSD\PHQWSOHDVHWKURZ\RXU
       PDWUL[VKHHWLQWRWKHUHF\FOLQJELQDQGKDQGLQ21/<\RXUFROOHFWLRQVOLS:HDUHQRW
       LQWHUHVWHGLQZKLFKVSHFLILFPDWULFHV\RXVROYHGFRUUHFWO\EXWRQO\LQKRZPDQ\\RX
       PDQDJHGWRVROYHZLWKLQWKHDOORWWHGWLPH7KHH[SHULPHQWHUZLOOJLYH\RX\RXUSD\PHQW
       DQGDVN\RXWRILOORXWDSD\PHQWIRUP
       
       3D\PHQWIRUP3DUWLFLSDQWVWKHQZHQWWRDVHFRQGURRPWRILOORXWDSD\PHQWIRUP7KH

IRUPZHXVHGPLUURUHGDW\SLFDOWD[UHWXUQIRUP:HYDULHGZKHWKHUSDUWLFLSDQWVZHUHDVNHGWR

VLJQDSOHGJHRIKRQHVW\DWWKHWRSRUDWWKHERWWRPRIWKHIRUP VHH$SSHQGL[$ 3DUWLFLSDQWV

ILOOHGRXWWKHIRUPE\UHSRUWLQJWKHLULQFRPH LHWKHLUSHUIRUPDQFHRQWKHPDWUL[WDVN RQZKLFK

WKH\SDLGDWD[ LHIRUHYHU\GROODUHDUQHG ,QDGGLWLRQWKH\LQGLFDWHGKRZPDQ\

PLQXWHVLWWRRNWKHPWRWUDYHOWRWKHODERUDWRU\DQGWKHLUHVWLPDWHGFRVWIRUWKHLUFRPPXWH7KHVH

FRVWVZHUH³FUHGLWHG´WRFRPSXWHWKHLUILQDOSD\PHQW

       7KHLQVWUXFWLRQVUHDG³:HZRXOGOLNHWRFRPSHQVDWHSDUWLFLSDQWVIRUH[WUDH[SHQVHVWKH\

KDYHLQFXUUHGLQRUGHUWRSDUWLFLSDWHLQWKHVHVVLRQ´:HLQFOXGHGWZRFRVWV 7LPHWRWUDYHOWR

WKHODESHUPLQXWH 0D[KRXUV DQGFRVWRIFRPPXWH 0D[ 

       3D\PHQWVWUXFWXUH*LYHQWKHIHDWXUHVRIWKHVWXG\SDUWLFLSDQWVFRXOGPDNHDWRWDORI

±DQDPRXQWFRPSXWHGDVIROORZVVKRZXSIHHRQPDWUL[WDVNPLQXVDWD[RQ

LQFRPH LH DVFUHGLWVIRUWUDYHOWLPHDQGDVFUHGLWVIRUFRVWRIFRPPXWH

5HVXOWV
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 791 of 1282

                                                                          5DLVLQJ(WKLFDO6DOLHQF\


          :HILUVWH[DPLQHGWKHSHUFHQWDJHRISDUWLFLSDQWVZKRFKHDWHGRQWKHPDWUL[WDVN7KLV

SHUFHQWDJHYDULHGDFURVVFRQGLWLRQVȤ 1  S ,WZDVORZHVWLQWKHVLJQDWXUH

DWWKHWRSFRQGLWLRQ RXWRI DQGKLJKHULQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ

    RXWRI DQGLQWKHQRVLJQDWXUHFRQGLWLRQ RXWRI 

          %RWKDFWXDOSHUIRUPDQFHDQGUHSRUWHGSHUIRUPDQFHRQWKHPDWUL[WDVNE\FRQGLWLRQDUH

GHSLFWHGLQ)LJXUH:HWKHQFRPSXWHGWKHGLIIHUHQFHEHWZHHQWKHUHSRUWHGDQGDFWXDO

SHUIRUPDQFHRQWKHPDWUL[WDVN7KHQXPEHURIPDWULFHVRYHUUHSRUWHGYDULHGE\FRQGLWLRQ

)  SȘ LWZDVORZHVWLQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ 0 

6'  DQGKLJKHULQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 6' S DQGLQ

WKHQRVLJQDWXUHFRQGLWLRQ 0 6' S 7KHGLIIHUHQFHEHWZHHQWKHVHWZRODVW

FRQGLWLRQVZDVRQO\PDUJLQDOO\VLJQLILFDQW S :LWKLQVXEMHFWVDQDO\VHVXVLQJERWKUHSRUWHG

DQGDFWXDOSHUIRUPDQFHUHYHDOHGWKHVDPHSDWWHUQRIUHVXOWV

          7KHFUHGLWVIRUH[WUDH[SHQVHVLQFXUUHGWKDWSDUWLFLSDQWVFODLPLQWKHWD[IRUPVIROORZWKH

VDPHSDWWHUQDQGYDU\VLJQLILFDQWO\E\FRQGLWLRQ)  SȘ  VHH)LJXUH 

WKH\ZHUHORZHVWLQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ 0 6'  DQGKLJKHULQWKH

VLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 6' S DQGLQWKHQRVLJQDWXUHFRQGLWLRQ

    0 6' S 7KHGLIIHUHQFHEHWZHHQWKHVHWZRODVWFRQGLWLRQVZDVQRWVLJQLILFDQW

    S  

'LVFXVVLRQ

          7KHUHVXOWVRI6WXG\SURYLGHIXUWKHUHYLGHQFHIRURXUPDLQK\SRWKHVLVVXJJHVWLQJWKDW

UDLVLQJVDOLHQF\RIRQH¶VRZQHWKLFDOVWDQGDUGVZRXOGOHDGWRORZHUOHYHOVRIFKHDWLQJ6WXG\

DOVRLQFOXGHGDFRQWUROFRQGLWLRQLQZKLFKSDUWLFLSDQWVGLGQRWSURYLGHWKHLUVLJQDWXUH2XU

UHVXOWVLQGLFDWHWKDWWKHUHVXOWVREVHUYHGLQRXUILUVWVWXG\DUHOLNHO\GULYHQE\UHGXFHGFKHDWLQJ
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 792 of 1282

                                                                        5DLVLQJ(WKLFDO6DOLHQF\


ZKHQHWKLFDOVWDQGDUGVDUHPDGHVDOLHQW,QIDFWLWLVVLJQLQJDSOHGJHRIKRQHVW\EHIRUHKDYLQJ

WKHRSSRUWXQLW\WRFKHDWWKDWGLVFRXUDJHVXQHWKLFDOEHKDYLRUUDWKHUWKDQVLJQLQJDSOHGJHRI

KRQHVW\DIWHUKDYLQJWKHRSSRUWXQLW\WRFKHDWWKDWHQFRXUDJHVLW

                         6WXG\,QFUHDVHG6DOLHQF\RI(WKLFDO6WDQGDUGV

       6RIDUZHKDYHGHPRQVWUDWHGWKDWUDLVLQJHWKLFDOVDOLHQF\GLVFRXUDJHVXQHWKLFDOEHKDYLRU

+RZHYHUZHKDYHPDGHDQLPSOLFLWDVVXPSWLRQWKDWVLJQLQJDSOHGJHRIKRQHVW\EHIRUHKDYLQJ

WKHRSSRUWXQLW\WRFKHDWUDWKHUWKDQDIWHUZDUGVLVPRUHOLNHO\WRUDLVHWKHVDOLHQF\RIPRUDO

VWDQGDUGV:HWHVWWKLVK\SRWKHVLVGLUHFWO\LQRXUWKLUGVWXG\E\XVLQJDPHDVXUHRIWKHH[WHQWWR

ZKLFKHWKLFVUHODWHGFRQVWUXFWVZHUHYLYLGLQSHRSOH¶VPLQG)ROORZLQJSULRUUHVHDUFKPHDVXULQJ

LPSOLFLWFRJQLWLYHSURFHVVHV %DVVLOL 6PLWK7XOYLQJ6FKDFWHU 6WDUN ZHXVHG

DZRUGFRPSOHWLRQWDVNLQZKLFKSDUWLFLSDQWVDUHDVNHGWRFRPSOHWHYDULRXVZRUGIUDJPHQWVZLWK

WKHILUVWOHWWHUVWKDWFRPHWRPLQG7KLVWDVNDOORZVXVWRWHVWZKHWKHUVLJQLQJDSOHGJHRIKRQHVW\

EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWUDWKHUWKDQDIWHUZDUGVOHDGVSHRSOHWREHPRUHOLNHO\WR

XVHZRUGVUHODWHGWRHWKLFVDQGPRUDOLW\

0HWKRG

       'HVLJQDQG3URFHGXUH6WXG\HPSOR\HGRQHEHWZHHQVXEMHFWVIDFWRUZLWKWZROHYHOV

VLJQDWXUHDWWKHWRSYVVLJQDWXUHDWWKHERWWRPRIWKHIRUP7KHVWXG\HPSOR\HGWKHVDPHWDVN

DQGSURFHGXUHRI6WXG\EXWYDULHGWKHWD[IRUPVSDUWLFLSDQWVFRPSOHWHG7KHWD[IRUPVZHUH

PRGLILHGVXFKWKDWWKH\PLPLFNHGWKHIORZRIDFWXDOWD[UHSRUWLQJSUDFWLFHVLQWKH8QLWHG6WDWHV

'HGXFWLRQVDUHILUVWVXEWUDFWHGIURPJURVVLQFRPHWRFRPSXWHWD[DEOHLQFRPHWKHQWD[HVDUH

SDLGRQWKLVDGMXVWHGDPRXQW VHH$SSHQGL[% 

       ,QDGGLWLRQSDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHDZRUGFRPSOHWLRQWDVNDVWKHLUILQDOWDVN

LQWKHVWXG\7KHWDVNLQVWUXFWLRQVLQIRUPHGSDUWLFLSDQWVWKDWWKH\ZRXOGKDYHWRFRQYHUWZRUG
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 793 of 1282

                                                                         5DLVLQJ(WKLFDO6DOLHQF\


IUDJPHQWVLQWRPHDQLQJIXOZRUGV3DUWLFLSDQWVUHFHLYHGDOLVWRIVL[ZRUGIUDJPHQWVZLWKOHWWHUV

PLVVLQJDQGZHUHDVNHGWRILOOLQWKHEODQNVWRPDNHFRPSOHWHZRUGVE\XVLQJWKHILUVWZRUGWKDW

FDPHWRPLQG7KUHHRIWKHVHZRUGIUDJPHQWV BB5$/B,BBB(DQG(BBB&BB FRXOG

EHFRPSOHWHGDVHWKLFVUHODWHGZRUGV PRUDOYLUWXHDQGHWKLFDO RUDVXQUHODWHGZRUGV HJ

YLUDOWLVVXHDQGHIIHFWV 

          3DUWLFLSDQWV6L[W\VWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH6RXWKHDVWHUQ8QLWHG

6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKHVWXG\IRUSD\7KH\

UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

VWXG\

5HVXOWV

         /HYHORIFKHDWLQJRQWKHPDWUL[WDVN:HILUVWH[DPLQHGWKHSHUFHQWDJHRISDUWLFLSDQWV

ZKRFKHDWHGRQWKHPDWUL[WDVN7KLVSHUFHQWDJHZDVORZHULQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ

    RXWRI WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ RXWRI Ȥ 

1  S

         %RWKDFWXDOSHUIRUPDQFHDQGUHSRUWHGSHUIRUPDQFHRQWKHPDWUL[WDVNE\FRQGLWLRQDUH

GHSLFWHGLQ)LJXUH:HWKHQFRPSXWHGWKHGLIIHUHQFHEHWZHHQWKHUHSRUWHGDQGDFWXDO

SHUIRUPDQFHRQWKHPDWUL[WDVN7KHQXPEHURIPDWULFHVRYHUUHSRUWHGZDVORZHULQWKH

VLJQDWXUHDWWKHWRSFRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ

    0 6'  W  S:LWKLQVXEMHFWVDQDO\VHVXVLQJERWKUHSRUWHGDQGDFWXDO

SHUIRUPDQFHUHYHDOHGWKHVDPHSDWWHUQRIUHVXOWV

         7KHGHGXFWLRQVSDUWLFLSDQWVUHSRUWHGLQWKHWD[IRUPVIROORZWKHVDPHSDWWHUQDQGYDU\

VLJQLILFDQWO\E\FRQGLWLRQ)  SȘ WKH\ZHUHORZHULQWKHVLJQDWXUHDWWKH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 794 of 1282

                                                                        5DLVLQJ(WKLFDO6DOLHQF\


WRSFRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 

6'  

       :RUGIUDJPHQWWDVN$VZHSUHGLFWHGSDUWLFLSDQWVZKRVLJQHGWKHKRQHVW\SOHGJHEHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWJHQHUDWHGPRUHHWKLFVUHODWHGZRUGV 0 6'  WKDQGLG

WKRVHZKRVLJQHGDWWKHERWWRPRIWKHIRUP 0 6'  )  SȘ 

VXJJHVWLQJWKDWWKHDFWRIVLJQLQJXSIURQWLQFUHDVHGWKHDFFHVVLELOLW\RIHWKLFVUHODWHGFRQFHSWV

'LVFXVVLRQ

       8VLQJDQLPSOLFLWPHDVXUHRXUWKLUGVWXG\VKRZVWKDWVLJQLQJDSOHGJHRIKRQHVW\EHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWLVPRUHOLNHO\WRUDLVHWKHVDOLHQF\RIPRUDOVWDQGDUGVFRPSDUHG

WRVLJQLQJWKHVDPHIRUPDIWHUKDYLQJWKHRSSRUWXQLW\WRFKHDW)XUWKHUPRUHFRQVLVWHQWZLWKRXU

K\SRWKHVHVUDLVLQJHWKLFDOVDOLHQF\GLVFRXUDJHGFKHDWLQJ

                         6WXG\(WKLFDO6DOLHQF\DQG5HGXFHG&KHDWLQJ

      :HFRQGXFWHGDIRXUWKVWXG\WRPRUHFDUHIXOO\H[DPLQHWKHUROHRIHWKLFDOVDOLHQF\LQ

H[SODLQLQJWKHUHVXOWVREVHUYHGLQ6WXGLHVDQG,QDGGLWLRQWRH[WHQGWKHJHQHUDOL]DELOLW\RI

RXUILQGLQJVLQ6WXG\ZHHPSOR\HGDGLIIHUHQWPHDVXUHWRDVVHVVFKHDWLQJ

0HWKRG

       'HVLJQDQGSURFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWZRFRQGLWLRQV

(WKLFDOVDOLHQF\YHUVXVFRQWURO$FURVVERWKFRQGLWLRQVWKHLQVWUXFWLRQVLQIRUPHGWKHPWKDWZH

ZHUHLQWHUHVWHGLQSHRSOH¶VSHUIRUPDQFHXQGHUSUHVVXUHDFURVVDYDULHW\RIWDVNV)RUWKLV

SDUWLFXODUVWXG\WKH\ZRXOGEHDVNHGWRDQVZHUDTXHVWLRQJHQHUDONQRZOHGJHWHVWRIPHGLXP

GLIILFXOW\ HJ³+RZPDQ\86VWDWHVERUGHU0H[LFR"´DQG³,QZKLFK86VWDWHLV0RXQW

5XVKPRUHORFDWHG"´ DQGWKDWWKH\ZRXOGUHFHLYHIRUHDFKFRUUHFWTXHVWLRQ LQDGGLWLRQWRD
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 795 of 1282

                                                                          5DLVLQJ(WKLFDO6DOLHQF\


VKRZXSIHH 3DUWLFLSDQWVZHUHJLYHQPLQXWHVWRDQVZHUWKHTXHVWLRQV3DUWLFLSDQWV

ZHUHJLYHQDVWXG\,'WRXVHWKURXJKRXWWKHVWXG\

          2QFHWKHILIWHHQPLQXWHVZHUHRYHUWKHH[SHULPHQWHUGLVWULEXWHGDQDQVZHUVKHHWZLWKWKH

FRUUHFWDQVZHUVWRWKHTXHVWLRQVDQGDFROOHFWLRQVOLSVRWKDWSDUWLFLSDQWVFRXOGUHSRUWWKHLU

SHUIRUPDQFHDIWHUFKHFNLQJWKHLUDQVZHUV7KLVILQDOVHWRIPDWHULDOVDOVRLQFOXGHGWKHZRUG

IUDJPHQWWDVNHPSOR\HGLQ6WXG\3DUWLFLSDQWVZHUHDVNHGWRILOORXWWKLVWDVNSULRUWRFKHFNLQJ

WKHLUDQVZHUVDQGUHSRUWLQJSHUIRUPDQFHRQWKHFROOHFWLRQVOLS

          +DOIRIWKHSDUWLFLSDQWVUHFHLYHGDQH[WUDSDJHRQWRSRIWKLVVHWRIPDWHULDOVZKLFKWKH\

ZHUHDVNHGWRUHDGEHIRUHVROYLQJWKHZRUGIUDJPHQWWDVN7KHSDJHLQFOXGHGDSOHGJHRIKRQHVW\

SDUWLFLSDQWVZHUHDVNHGWRVLJQ³,SURPLVHWKDW,ZLOOUHSRUWLQIRUPDWLRQDERXWP\SHUIRUPDQFH

RQWKHWULYLDWHVWWUXWKIXOO\´7KHUHPDLQLQJKDOIRIWKHSDUWLFLSDQWVGLGQRWUHFHLYHWKLVH[WUD

SDJH&RQVLVWHQWZLWKRXUK\SRWKHVHVZHSUHGLFWHGWKDWWKRVHZKRUHFHLYHGDQGVLJQHGWKLV

SOHGJHRIKRQHVW\ZRXOGEHPRUHOLNHO\WRUHSRUWWKHLUSHUIRUPDQFHWUXWKIXOO\DQGWKDWVLJQLQJ

WKLVSOHGJHZRXOGOHDGWKHPWRFRPSOHWHWKHZRUGIUDJPHQWWDVNZLWKDKLJKHUQXPEHURIHWKLFV

UHODWHGZRUGV

          3DUWLFLSDQWV(LJKW\WZRFROOHJHDQGJUDGXDWHVWXGHQWVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOH FRPSOHWHGWKHVWXG\IRUSD\7KH\

UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

VWXG\

5HVXOWVDQG'LVFXVVLRQ

         :HFRPSXWHGWKHGLIIHUHQFHEHWZHHQVHOIUHSRUWHGSHUIRUPDQFHDQGDFWXDOSHUIRUPDQFH

RQWKHJHQHUDONQRZOHGJHWDVN7KLVGLIIHUHQFHVFRUHZDVRXUPDLQGHSHQGHQWYDULDEOH3RVLWLYH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 796 of 1282

                                                                         5DLVLQJ(WKLFDO6DOLHQF\


GLIIHUHQFHVFRUHVLQGLFDWHWKDWSDUWLFLSDQWVRYHUUHSRUWHGWKHLUSHUIRUPDQFHDQGFKHDWHGRQWKH

WDVNVRWKDWWKH\FRXOGPDNHPRUHPRQH\

       :KHQH[DPLQLQJWKHGLIIHUHQFHEHWZHHQVHOIUHSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKH

WULYLDWHVWZHIRXQGWKDWFKHDWLQJZDVJUHDWHULQWKHFRQWUROFRQGLWLRQWKDQLQWKHHWKLFDOVDOLHQF\

FRQGLWLRQ 0 6' YV0 6'  W  S 0LUURULQJWKHVHUHVXOWV

WKHSHUFHQWDJHRISDUWLFLSDQWVZKRRYHUVWDWHGWKHLUSHUIRUPDQFHZDVKLJKHULQWKHIRUPHU

FRQGLWLRQWKDQLQWKHODWWHU >@YV>@ Ȥ 1  S 7KHVH

UHVXOWVSURYLGHVWURQJVXSSRUWIRUWKHSUHGLFWHGUHODWLRQVKLSEHWZHHQHWKLFDOVDOLHQF\DQG

FKHDWLQJ

       6LJQLQJEHIRUHKDYLQJWKHRSSRUWXQLW\WRRYHUUHSRUWSHUIRUPDQFHDOVRLQIOXHQFHGWKH

QXPEHURIHWKLFVUHODWHGFRQFHSWVSDUWLFLSDQWVXVHGLQWKHZRUGIUDJPHQWWDVN3DUWLFLSDQWVLQWKH

HWKLFDOVDOLHQFHFRQGLWLRQXVHGPRUHHWKLFVUHODWHGZRUGV 0 6'  WKDQGLGWKRVHLQ

WKHFRQWUROFRQGLWLRQ 0 6'  )  SȘ 

       )LQDOO\ZHWHVWHGZKHWKHUHWKLFVUHODWHGFRQFHSWV RXUSUR[\IRUVDOLHQF\RIPRUDO

VWDQGDUGV PHGLDWHGWKHHIIHFWRIFRQGLWLRQRQWKHH[WHQWRIFKHDWLQJRQWKHWULYLDWDVN%RWK

FRQGLWLRQDQGWKHQXPEHURIHWKLFVUHODWHGFRQFHSWVZHUHHQWHUHGLQWRDOLQHDUUHJUHVVLRQPRGHO

SUHGLFWLQJH[WHQWRIFKHDWLQJ7KLVDQDO\VLVUHYHDOVWKDWWKHHIIHFWRIFRQGLWLRQZDVVLJQLILFDQWO\

UHGXFHG IURPȕ S WRȕ S ZKHUHDVWKHQXPEHURIHWKLFVUHODWHGFRQFHSWV

ZDVDVLJQLILFDQWSUHGLFWRURIFKHDWLQJ ȕ S 8VLQJWKHERRWVWUDSSLQJPHWKRG ZLWK

LWHUDWLRQV UHFRPPHQGHGE\3UHDFKHUDQG+D\HV  ZHWHVWHGWKHVLJQLILFDQFHRIWKH

LQGLUHFWHIIHFWRIFRQGLWLRQRQGLVKRQHVWEHKDYLRUWKURXJKWKHDFWLYDWLRQRIHWKLFVUHODWHG

FRQFHSWV7KHFRQILGHQFHLQWHUYDOIRUWKHLQGLUHFWHIIHFWGLGQRWLQFOXGH]HUR  

VXJJHVWLQJVLJQLILFDQWPHGLDWLRQ7KXVFRQVLVWHQWZLWKRXUSUHGLFWLRQVWKHQXPEHURIHWKLFV
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 797 of 1282

                                                                         5DLVLQJ(WKLFDO6DOLHQF\


UHODWHGFRQFHSWVVLJQLILFDQWO\PHGLDWHGWKHUHODWLRQVKLSEHWZHHQRXUPDQLSXODWLRQDQGGLVKRQHVW

EHKDYLRU

       7DNHQWRJHWKHUWKHVHUHVXOWVSURYLGHIXUWKHUHYLGHQFHIRUWKHHIIHFWRIUDLVLQJHWKLFDO

VDOLHQF\RQFKHDWLQJ

                                        *HQHUDO'LVFXVVLRQ

       $FURVVIRXUVWXGLHVZHFRQVLVWHQWO\IRXQGWKDWUDLVLQJWKHVDOLHQF\RIRQH¶VRZQPRUDO

VWDQGDUGVLVDQHIIHFWLYHPHDQWRGLVFRXUDJHGLVKRQHVW\,QHDFKRIRXUVWXGLHVZHPDQLSXODWHG

ZKHWKHUPRUDOVWDQGDUGVZHUHVDOLHQWZKHQSDUWLFLSDQWVIDFHGWKHGHFLVLRQWREHKDYHGLVKRQHVWO\

,Q6WXG\ZHFRQGXFWHGDILHOGH[SHULPHQWLQZKLFKZHYDULHGZKHWKHULQGLYLGXDOVILOOLQJRXWD

UHSRUWRIWKHQXPEHURIPLOHVWKH\GURYHWKH\HDUSULRUVLJQHGDSOHGJHRIKRQHVW\HLWKHUEHIRUH

RUDIWHUILOOLQJRXWWKHPLOHDJHQXPEHU2XUUHVXOWVVKRZWKDWSHRSOHUHSRUWHGDKLJKHUQXPEHURI

PLOHVZKHQWKH\VLJQHGWKHSOHGJHRIKRQRUEHIRUHILOOLQJRXWWKHIRUPWKDQWKRVHZKRKDGWR

VLJQWKHSOHGJHRIKRQRUDWWKHHQGLQGLFDWLQJWKDWUDLVLQJWKHVDOLHQF\RIHWKLFDOVWDQGDUGVOHG

SHRSOHWREHPRUHWUXWKIXO,Q6WXGLHVDQGZHPRYHGIURPDILHOGVHWWLQJWRDFRQWUROOHG

ODERUDWRU\VHWWLQJ,QERWKVWXGLHVSDUWLFLSDQWVKDGWKHRSSRUWXQLW\WRVLJQDWD[IRUPHLWKHU

EHIRUHRUDIWHUPDNLQJFODLPVUHJDUGLQJWKHLUSHUIRUPDQFHRQDWDVN3URYLGLQJIXUWKHUVXSSRUW

IRUWKHUHVXOWVRIWKHILHOGVWXG\WKHILQGLQJVRI6WXGLHVDQGGHPRQVWUDWHWKDWKDYLQJWKH

RSSRUWXQLW\WRVLJQDSOHGJHRIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWGLVFRXUDJHV

GLVKRQHVW\)LQDOO\6WXG\H[DPLQHVWKHSV\FKRORJLFDOSURFHVVH[SODLQLQJWKHOLQNEHWZHHQWKH

DFWRIVLJQLQJDQGSHRSOH¶VOLNHOLKRRGRIRYHUUHSRUWLQJSHUIRUPDQFH7KHVWXG\HPSOR\HGDQ

LPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\SDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHZRUGIUDJPHQWVE\

XVLQJWKHILUVWZRUGWKDWFDPHWRPLQG:HILQGWKDWWKHDFWRIVLJQLQJDSOHGJHRIKRQHVW\UDLVHV

WKHVDOLHQFHRISDUWLFLSDQWV¶HWKLFDOVWDQGDUGVDQGWKLVKHLJKWHQHGHWKLFDOVDOLHQF\H[SODLQVWKH
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 798 of 1282

                                                                     5DLVLQJ(WKLFDO6DOLHQF\


UHODWLRQVKLSEHWZHHQVLJQLQJDSOHGJHRIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWDQG

VXEVHTXHQWGLVKRQHVWEHKDYLRU

7KHRUHWLFDO&RQWULEXWLRQV

;;

/LPLWDWLRQVDQG9HQXHVIRU)XWXUH5HVHDUFK

;;

,PSOLFDWLRQVIRU3UDFWLFH

;;

                                          &RQFOXVLRQ

;;





      



                            
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 799 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 800 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 801 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 802 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 803 of 1282
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 804 of 1282

                                                                      5DLVLQJ(WKLFDO6DOLHQF\


                                           5HIHUHQFHV

%DXPHLVWHU5)  7KHVHOI,Q'7*LOEHUW67)LVNH */LQG]H\ (GV +DQGERRN

       RIVRFLDOSV\FKRORJ\ 9ROSS± 1HZ<RUN0F*UDZ+LOO

%DWHVRQ01HWWOH' 5REHUWV*  &XHVRIEHLQJZDWFKHGHQKDQFHFRRSHUDWLRQLQD

       UHDOZRUOGVHWWLQJ%LRORJ\/HWWHUV

+DOH\.- )HVVOHU'07  1RERG\¶VZDWFKLQJ"6XEWOHFXHVDIIHFWJHQHURVLW\LQDQ

       DQRQ\PRXVHFRQRPLFJDPH(YROXWLRQDQG+XPDQ%HKDYLRU±

0D]DU1$PLU2 $ULHO\'  7KHGLVKRQHVW\RIKRQHVWSHRSOH$WKHRU\RIVHOI

       FRQFHSWPDLQWHQDQFH-RXUQDORI0DUNHWLQJ5HVHDUFK

6FKZHLW]HU0( +VHH&.  6WUHWFKLQJWKHWUXWK(ODVWLFMXVWLILFDWLRQDQGPRWLYDWHG

       FRPPXQLFDWLRQRIXQFHUWDLQLQIRUPDWLRQ-RXUQDORI5LVNDQG8QFHUWDLQW\

0DUJDUHW6KLK7RGG/3LWWLQVN\DQG1DOLQL$PEDG\6WHUHRW\SH6XVFHSWLELOLW\,GHQWLW\

       VDOLHQFHDQGVKLIWVLQTXDQWLWDWLYHSHUIRUPDQFH3V\FKRORJLFDO6FLHQFH  

6KX/*LQR) %D]HUPDQ0  'LVKRQHVWGHHGFOHDUFRQVFLHQFH:KHQFKHDWLQJ

       OHDGVWRPRUDOGLVHQJDJHPHQWDQGPRWLYDWHGIRUJHWWLQJ3HUVRQDOLW\DQG6RFLDO

       3V\FKRORJ\%XOOHWLQ,QSUHVV



                             
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 805 of 1282

                                                                    5DLVLQJ(WKLFDO6DOLHQF\


                                        )LJXUH&DSWLRQV

                                                

)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[WDVNE\FRQGLWLRQ6WXG\




                                                                           




)LJXUH5HSRUWHGGHGXFWLRQVE\FRQGLWLRQ6WXG\




                                                                            


                            
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 806 of 1282

                                                                    5DLVLQJ(WKLFDO6DOLHQF\


)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[WDVNE\FRQGLWLRQ6WXG\




                                                                         



Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 807 of 1282



                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                    0DQXVFULSW9HUVLRQ
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 808 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


5XQQLQJ+HDG0$.,1*(7+,&66$/,(17





                                       0DNLQJ(WKLFV6DOLHQW

                        6LJQLQJRQWKH'RWWHG/LQH7XUQV0RUDO*D]H,QZDUG

                                                  

                                              /LVD6KX

                                            1LQD0D]DU

                                          )UDQFHVFD*LQR

                                            'DQ$ULHO\

                                          0D[%D]HUPDQ

                                                  
                 
                     +DUYDUG8QLYHUVLW\8QLYHUVLW\RI7RURQWR'XNH8QLYHUVLW\











7KHDXWKRUVWKDQN-HQQLIHU)LQNDQG5XWK:LQHFRIIIRUWKHLUKHOSZLWKGDWDFROOHFWLRQDQGHQWU\

7KHDXWKRUVJUHDWO\DSSUHFLDWHWKHVXSSRUWDQGIDFLOLWLHVRIWKH&HQWHUIRU'HFLVLRQ5HVHDUFKDW

WKH8QLYHUVLW\RI1RUWK&DUROLQDDW&KDSHO+LOO7KHDXWKRUVWKDQNWKH)XTXD6FKRRORI%XVLQHVV

DQG+DUYDUG%XVLQHVV6FKRROIRUWKHLUILQDQFLDOVXSSRUW3OHDVHDGGUHVVFRUUHVSRQGHQFHWR

                        
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 809 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


                                             $EVWUDFW

$OWKRXJKSHRSOHFDUHDERXWEHLQJPRUDODQGEHLQJVHHQDVHWKLFDOE\RWKHUVWKH\RIWHQJLYHLQWR

WKHWHPSWDWLRQWREHKDYHGLVKRQHVW\IRUVKRUWWHUPPRQHWDU\JDLQV3ULRUZRUNKDVH[DPLQHGWKH

SV\FKRORJLFDODQGVLWXDWLRQDOIRUFHVWKDWVZLQJSHRSOH¶VPRUDOFRPSDVV,QWKLVSDSHUZHH[WHQG

WKLVERG\RIUHVHDUFKE\H[DPLQLQJDQLPSOHPHQWDEOHPHWKRGPHDQWRGLVFRXUDJHGLVKRQHVW\

UDLVLQJWKHVDOLHQF\RIHWKLFDOVWDQGDUGVLQSULRUWRWKHPRPHQWRIWHPSWDWLRQ8VLQJERWKILHOG

DQGODEH[SHULPHQWVZHILQGWKDWVLJQLQJDSOHGJHRIKRQHVW\SULRUWRKDYLQJWKHRSSRUWXQLW\WR

FKHDWUDWKHUWKDQDIWHUZDUGVUDLVHVWKHVDOLHQF\RIRQH¶VRZQPRUDOVWDQGDUGVDQGLQWXUQ

GLVFRXUDJHVFKHDWLQJ,PSOLFDWLRQVIRUERWKUHVHDUFKRQEHKDYLRUDOHWKLFVDQGSUDFWLFHDUH

GLVFXVVHG



.H\ZRUGV6LJQLQJ(WKLFV'LVKRQHVW\6DOLHQF\&KHDWLQJ

                             
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 810 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


                                      0DNLQJ(WKLFV6DOLHQW

                      6LJQLQJRQWKH'RWWHG/LQH7XUQV0RUDO*D]H,QZDUG



       ,Q'HFHPEHU7LPRWK\6FKHWHOLFK² ZKRKDGEHHQZRUNLQJDVD&HUWLILHG3XEOLF

$FFRXQWDQWLQ6SULQJILHOGIRU\HDUV² SOHDGHGJXLOW\WRSUHSDULQJIDOVHWD[UHWXUQVIRUVHYHUDO

FOLHQWV2YHUWKH\HDUVKHFODLPHGVRPHRIWKHPKDGOHJLWLPDWHEXVLQHVVH[SHQVHVZKHQLQIDFW

WKH\GLGQRWRZQDEXVLQHVVRUKHIDEULFDWHGDQGLQIODWHGGHGXFWLRQVIRUH[SHQVHVWRREWDLQ

ODUJHUUHIXQGVWKHFOLHQWVZHUHQRWHQWLWOHGWRUHFHLYH$OWKRXJKWKLV7KLVFDVHPD\FRPHDVD

VXUSULVHWRVRPHLWLVMXVWRQHH[DPSOHRIWKHPDQ\VLWXDWLRQVLQZKLFKSHRSOHFURVVHWKLFDO

ERXQGDULHVWRDGYDQFHWKHLURZQVHOILQWHUHVW,QIDFW%H\RQGWKHOHYHORIWKHLQGLYLGXDOWD[SD\HU

PRVWEXVLQHVVHVDVZHOODVWD[SD\HUVUHJXODUO\FKHDWRQWKHLUWD[HV 0RUVH DQGWKLV

XQSDLGWD[DPRXQWVWRURXJKO\ELOOLRQHYHU\\HDU6LPLODUO\RWKHUIRUPVRIXQHWKLFDO

EHKDYLRUKDYHEHHQFRYHUHGLQWKHQHZVLQUHFHQW\HDUVLQFOXGLQJVWRULHVRIH[HFXWLYHVLQIODWLQJ

WKHLUEXVLQHVVH[SHQVHVHPSOR\HHVWHDOLQJIURPWKHLURZQHPSOR\HUVSURIHVVLRQDOVRYHUVWDWLQJ

WKHLUKRXUVDQGPDQDJHUVLQIODWLQJSHUIRUPDQFHWRVXSHULRUVWRPHQWLRQMXVWDIHZ 0D]DU 

$ULHO\*LQR 3LHUFH 

       7KHSHUYDVLYHQHVVRIWKHVHFRPPRQXQHWKLFDOSUDFWLFHVLQRUJDQL]DWLRQVDQGVRFLHW\PRUH

EURDGO\KDVJHQHUDWHGFRQVLGHUDEOHLQWHUHVWDPRQJVFKRODUVLQDYDULHW\RIGLVFLSOLQHVLQFOXGLQJ

RUJDQL]DWLRQDOEHKDYLRUSV\FKRORJ\SKLORVRSK\DQGHFRQRPLFV HJ%URZQ 7UHYLxR

*QHH]\+DLGW1LFKROV .QREH7HQEUXQVHO'LHNPDQQ:DGH%HQ]RQL 

%D]HUPDQ7HQEUXQVHO 6PLWK&URZH7UHYLxR:HDYHU 5H\QROGV 7KLV

ERG\RIZRUNKDVIRXQGWKDWZKLOHVRPHLQGLYLGXDOVSODQWRDFWLQWHQWLRQDOO\DFWXQHWKLFDOO\IRU

PRQHWDU\JDLQV %ULHI%XWWUDP 'XNHULFN/HZLFNL3RODQG0LQWRQ 6KHSSDUG
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 811 of 1282




                                                                             0DNLQJ(WKLFV6DOLHQW


 PDQ\RWKHUVVWDUWZLWKJRRGSRVVHVVQRVXFKLQWHQWLRQVEXWXOWLPDWHO\EHKDYHGLVKRQHVWO\

GXHWRVXUSULVLQJO\VXEWOHVLWXDWLRQDOLQIOXHQFHV)RULQVWDQFHLQDUHFHQWLQYHVWLJDWLRQ=KRQJ

%RKQVDQG*LQR  IRXQGWKDWDPELHQWGDUNQHVVOHDGVSHRSOHWREHKDYHXQHWKLFDOO\

$OWKRXJKLQVLJKWIXO:KLOHHQOLJKWHQLQJWKLVSULRUUHVHDUFKKDVIRFXVHGSULPDULO\RQWKHPRWLYHV

DQGFKDUDFWHULVWLFVRIWKHZURQJGRHUVRURQWKHRUJDQL]DWLRQDODQGHQYLURQPHQWDOSUHVVXUHVWKDW

LQIOXHQFHGWKHLUDFWLRQV *LQR 3LHUFH <HWWRGDWHOLWWOHLVNQRZQDERXWHIIHFWLYHZD\V

RIUHGXFLQJRUHOLPLQDWLQJXQHWKLFDOEHKDYLRU7RGDWHOLWWOHLVNQRZQDERXWHIIHFWLYHZD\VRI

UHGXFLQJRUHOLPLQDWLQJXQHWKLFDOEHKDYLRU²SDUWLFXODUO\EHKDYLRUVWKDWUHO\RQVHOIPRQLWRULQJ

LQOLHXRIVRFLHWDOUHVWUDLQWV)LOLQJWD[HVFODLPLQJEXVLQHVVH[SHQVHVUHSRUWLQJELOODEOHKRXUV

DQGDGYHUWLVLQJDXVHGSURGXFWDUHDOOH[DPSOHVRIVXFKEHKDYLRUVWKDWUHO\RQWUXWKIXOVHOI

UHSRUWV7KHVHEHKDYLRUVDVVXPHIXOOKRQHVW\RQWKHLQGLYLGXDOOHYHODQ\GHSDUWXUHFDQOHDGWR

VLJQLILFDQWHFRQRPLFORVVHV7KXVLWLVSDUWLFXODUO\LPSRUWDQWWRLGHQWLI\LQWHUYHQWLRQVWKDW

SURPRWHKRQHVW\LQWKHVHGRPDLQVWKDWUHO\RQWUXWKIXOVHOIUHSRUWV

       ,QWKLVSDSHUZHDGGUHVVWKLVJDSLQWKHOLWHUDWXUHDQGH[DPLQHWKHHIIHFWV7KLVSDSHU

SURSRVHVRQHPHWKRGRISURPRWLQJKRQHVWVHOIUHSRUWLQJWKURXJKRIUDLVLQJWKHVDOLHQF\RIRQH¶V

RZQPDNLQJHWKLFDOVWDQGDUGVVDOLHQWZKHQRQHIDFHVWKHGHFLVLRQRIZKHWKHUWRDFWXQHWKLFDOO\

RUQRWEHIRUHIDFLQJDWHPSWDWLRQ:HIRFXVRQDSDUWLFXODUZD\WRSURSRVHDVSHFLILFPHWKRGWR

UDLVHHWKLFDOVDOLHQF\VLJQLQJDSOHGJHRIKRQHVW\RQH¶VQDPH8VLQJ,QERWKILHOGDQGODERUDWRU\

VWXGLHVFRQWH[WVRXUUHVHDUFKH[SORUHVZHVWXG\KRZVLJQLQJDSOHGJHRIKRQHVW\RQH¶VQDPH

EHIRUHKDYLQJWKHDQRSSRUWXQLW\WRFKHDWFDQEHDQHIIHFWLYHZD\WRGLVFRXUDJHVGLVKRQHVW\

VLQFHLWUDLVHVWKURXJKUDLVLQJWKHVDOLHQF\RIRQH¶VRZQPRUDOVWDQGDUGV7KHUHDUHPDQ\

VLWXDWLRQVGRPDLQVLQZKLFKVLJQLQJWRYHULI\DUHSRUWDIRUPLVDOUHDG\UHTXLUHGVXFKDVVLJQLQJ

LQVXUDQFHRUIRUPVRURQH¶VWD[HVIRUPV+RZHYHUW\SLFDOO\WKHVLJQDWXUHLVUHTXHVWHG,QPRVW
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 812 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


FRQWH[WVWKHDFWRIVLJQLQJRFFXUVDIWHU²UDWKHUWKDQSULRUWR²UHSRUWLQJEHIRUHKDYLQJ

FRPSOHWHGWKHIRUP:HVXJJHVWWKDWVLPSO\PRYLQJWKHVLJQDWXUHIURPWKHERWWRPWRWKHWRSRID

IRUPZLOOPDNHRQH¶VRZQEULQJRQH¶VPRUDOVWDQGDUGVVDOLHQWLQWRIRFXVDQGVXEVHTXHQWO\

SURPRWHKRQHVW\ZKLOHZLOOGLVFRXUDJLQJHFKHDWLQJDVDUHVXOW

                            7KH,PSDFWRI6LJQLQJRQWKH'RWWHG/LQH

       :HK\SRWKHVL]HWKDWVLJQLQJRQWKHGRWWHGOLQHEULQJVWKHVHOILQWRFOHDUHUYLHZIRFXVDQG

WKDWDFWLYDWLQJRQH¶VWKHVHOIFRQFHSWFDQFKDQJHSHRSOH¶VEHKDYLRUIRUWKHEHWWHU5HVHDUFKHUV

KDYHGHPRQVWUDWHGKRZHYHQ(YHQVXEWOHFXHVWKDWDFWLYDWHWKHVHOIFDQOHDGWRVXUSULVLQJO\DQG

SRZHUIXOHIIHFWVRQFRQVHTXHQWEHKDYLRU)RUH[DPSOHZKHQSOD\LQJDQDQRQ\PRXVHFRQRPLF

JDPHSHRSOHUHVSRQGE\EHLQJPRUHJHQHURXVWRDUHPRUHJHQHURXVZKHQWKHUHLVHYHQWKH

QXDQFHGSUHVHQFHRIH\HOLNHVKDSHVLQWKHFRPSXWHUEDFNJURXQG +DOH\ )HVVOHU ,QD

PRUHQDWXUDOLVWLFVHWWLQJUHVHDUFKHUVKDYHH[DPLQHGWKHHIIHFWRIDQLPDJHRIDSDLURIH\HVRQ

WKHDPRXQWRIPRQH\SHRSOHFRQWULEXWHWRDSD\RQ\RXUKRQRUIXQGIRUFRIIHH:KHQH\HVZHUH

GLVSOD\HGRQWKHFRQWULEXWLRQVER[LQVWHDGRIIORZHUVSXWLQDFRQWULEXWLRQVER[IRUVXSSOLHVLQD

FRPPXQDOFRIIHHURRP:KHQDQLPDJHRIH\HVZHUHGLVSOD\HGRQWKHFRQWULEXWLRQVER[LQVWHDG

RIDQLPDJHRIIORZHUVQHDUO\WKUHHWLPHVWKHDPRXQWRIPRQH\ZDVFROOHFWHG %DWHVRQ1HWWOH

 5REHUWV 7KHDXWKRUVEHOLHYHWKDWH\HVLQGXFHWKHIHHOLQJWKDWRQHLVEHLQJZDWFKHG

WKXVZHVXEVHTXHQWO\WXUQRXUJD]HLQZDUGWRZDUGRXURZQEHKDYLRUDWWULEXWHGWKHHIIHFWRIWKH

H\HVWRWKHSHUFHSWLRQWKDWSHRSOHIHHODVLIWKH\DUHEHLQJZDWFKHGDQGVXEVHTXHQWO\WXUQWKHLU

RZQJD]HLQZDUGWRZDUGWKHLURZQEHKDYLRU

       'LIIHUHQWDVSHFWVRIWKHVHOIFDQEHVHOHFWLYHO\DFWLYDWHG)RUH[DPSOH6KLK3LWWLQVN\

DQG$PEDG\  IRXQGHYLGHQFHWKDWLPSOLFLWDFWLYDWLRQRIGLIIHUHQWVRFLDOLGHQWLWLHVZLWKLQ

DQLQGLYLGXDOFDQKHOSRUKLQGHUSHUIRUPDQFHRQDJLYHQWDVN8VLQJDQDOO$VLDQ$PHULFDQ

IHPDOHVDPSOHWKHDXWKRUVIRXQGWKDWSDUWLFLSDQWVSHUIRUPHGEHWWHURQDTXDQWLWDWLYHWDVNZKHQ
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 813 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


WKHLUHWKQLFLGHQWLW\ZDVDFWLYDWHGKRZHYHUSDUWLFLSDQWVIURPWKHVDPHVDPSOHSHUIRUPHGZRUVH

ZKHQLQVWHDGWKHLUJHQGHUZDVPDGHVDOLHQWLGHQWLW\ZDVDFWLYDWHG7KHDXWKRUVGHPRQVWUDWH

WKDW7KXVPHUHO\IUDPLQJDTXHVWLRQDERXWLGHQWLW\DVDVNLQJDERXWJHQGHUYHUVXVHWKQLFLW\

LPSDFWHGTXDQWLWDWLYHSHUIRUPDQFHWKURXJKE\LQGXFLQJDVDOLHQWVHOIVWHUHRW\SH7KLVZRUN

VXJJHVWVWKDWWKHVHOILVPDOOHDEOHDQGSURQHWRHYHQVXEWOHSULPHVLQWKHHQYLURQPHQW+HUHZH

IRFXVRQDVSHFLILFW\SHRISULPH VLJQLQJDSOHGJHRIKRQHVW\:HSURSRVHWKDWWKHDFWRI

VLJQLQJRQH¶VRZQQDPHUDLVHVWKHVDOLHQFHRIEULQJVLQWRIRFXVRQH¶VRZQPRUDOFRPSDVVDQG

HWKLFDOVWDQGDUGVWKXVGLVFRXUDJLQJGLVKRQHVWDFWLRQVDIWHUZDUGV

       3UHYLRXVUHVHDUFKKDVVKRZQWKDWZKHQWKHPRUDOFDWHJRUL]DWLRQRIDSDUWLFXODUEHKDYLRU

LVQRWFOHDU FXWDPELJXRXVSHRSOHFDQDQGLQIDFWRIWHQGRFDWHJRUL]HWKHLURZQDFWLRQVLQ

SRVLWLYHWHUPVWKHUHE\DYRLGLQJWKHQHHGWRQHJDWLYHO\XSGDWHWKHLUPRUDOVHOILPDJH

%DXPHLVWHU6FKZHLW]HU +VHH +RZHYHU0D]DU$PLUDQG$ULHO\  IRXQG

WKDWGUDZLQJSHRSOH¶VDWWHQWLRQWRPRUDOVWDQGDUGVUHGXFHVGLVKRQHVWEHKDYLRUV)RUGLVKRQHVW\

)RUH[DPSOHDIWHUEHLQJDVNHGWRUHFDOOWKH7HQ&RPPDQGPHQWVSDUWLFLSDQWVZKRZHUHJLYHQ

WKHRSSRUWXQLW\WRFKHDWDQGWRJDLQILQDQFLDOO\IURPWKLVDFWLRQHDUQXQGHVHUYHGPRQH\GLGQRW

FKHDWDWDOOE\FRQWUDVWZKHQJLYHQWKHVDPHRSSRUWXQLW\WRFKHDWLQFRQWUDVWWKRVHZKRKDGQRW

EHHQUHPLQGHGRIWKH7HQ&RPPDQGPHQWVFKHDWHGVXEVWDQWLDOO\6LPLODUO\ZKHQSDUWLFLSDQWV

KDGDQRSSRUWXQLW\WRFKHDWE\LQIODWLQJWKHLUVHOIUHSRUWHGSHUIRUPDQFHIRUILQDQFLDOJDLQWKRVH

ZKRZHUHDVNHGWRUHDGDQGVLJQDQGKRQRUFRGHSULRUWRHQJDJLQJLQDWDVNZKHUHWKH\FRXOG

RYHU UHSRUWHGSHUIRUPDQFHDQGWKXVHDUQPRUHPRQH\WKH\GLGQRWGHVHUYHWKH\ZHUHOHVVOLNHO\

WRWKHQFKHDWRQWKHWDVNLWVHOI VHHDOVR6KX*LQR %D]HUPDQ :KHQXQHWKLFDOEHKDYLRU

LVHWKLFVDUHPDGHVDOLHQWSHRSOHPD\SD\JUHDWHUDWWHQWLRQWRWKHLURZQPRUDOVWDQGDUGVDQG

FDWHJRUL]HVFUXWLQL]HWKHHWKLFDOLW\RIWKHLURZQEHKDYLRUPRUHULJLGO\$VDFRQVHTXHQFHPRUDO
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 814 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


VDOLHQF\PD\GHFUHDVHSHRSOH¶VWHQGHQF\WRHQJDJHLQGLVKRQHVWDFWVDQGLQFUHDVHWKHULJLGLW\RI

WKHLUMXGJPHQWVRIHWKLFDOLW\

       7RVXPPDUL]HZHSURSRVHDQGWHVWWKHIROORZLQJK\SRWKHVHV

       +\SRWKHVLV6LJQLQJDSOHGJHRIKRQHVW\EHIRUHILOOLQJRXWDIRUPZKHUHRQHFDQ
       RYHUVWDWHSHUIRUPDQFHZLOOOHDGWRORZHUOHYHOVRIFKHDWLQJWKDQVLJQLQJLWDIWHUKDYLQJ
       FRPSOHWHGWKHIRUPRQH¶VQDPHSULRUWRDVHOIUHSRUWLQJWDVNZLOOSURPRWHPRUHKRQHVW
       UHSRUWLQJUHODWLYHWRVLJQLQJRQH¶VQDPHDIWHUWKHWDVN
       
       +\SRWKHVLV6LJQLQJDSOHGJHRIKRQHVW\EHIRUHILOOLQJRXWDIRUPZKHUHRQHFDQ
       RYHUVWDWHSHUIRUPDQFHZLOOEHPRUHOLNHO\WRRQH¶VQDPHSULRUWRDVHOIUHSRUWLQJWDVN
       LQFUHDVHVWKHVDOLHQF\RIPRUDOVWDQGDUGVFRPSDUHGWRVLJQLQJLWDIWHUKDYLQJFRPSOHWHG
       WKHIRUP
       
       +\SRWKHVLV+HLJKWHQHGVDOLHQF\RIPRUDOVWDQGDUGVZLOOPHGLDWHGWKHHIIHFWRIVLJQLQJ
       RQH¶VQDPHRQKRQHVWVHOIUHSRUWLQJDSOHGJHRIKRQHVW\EHIRUHILOOLQJRXWDIRUPZKHUH
       RQHFDQRYHUVWDWHSHUIRUPDQFHDQGWKHOHYHORIFKHDWLQJRQWKHIRUP
       
2YHUYLHZRIWKH5HVHDUFK

       :HWHVWHGWKHVHK\SRWKHVHVLQIRXUVWXGLHVLQZKLFKSDUWLFLSDQWVKDGWKHRSSRUWXQLW\WR

FKHDWE\RYHU WKURXJKGLVKRQHVWVHOIUHSRUWLQJSHUIRUPDQFHRQDWDVN,QHDFKVWXG\ZHYDULHG

ZKHQSDUWLFLSDQWVVLJQHGWKHLUQDPH²SULRUWRRUDIWHUWKHWDVN²WRFKDQJHWKHWLPHDW

ZKLFKZKHWKHUPRUDOVWDQGDUGVZHUHPDGHVDOLHQWWRSDUWLFLSDQWVE\DVNLQJWKHPWRVLJQDSOHGJH

RIKRQHVW\3DUWLFLSDQWVHLWKHUVLJQHGWKHIRUPEHIRUHRUDIWHUKDYLQJWKHRSSRUWXQLW\WRFKHDW

       ,Q6WXG\ZHFRQGXFWHGDILHOGH[SHULPHQWLQFROODERUDWLRQZLWKDQDXWRPRELOH

LQVXUDQFHFRPSDQ\DQGIRXQGWKDWHWKLFDOVDOLHQF\VLJQLQJSULRUWRUHSRUWLQJSURGXFHGVLJQLILFDQW

GLIIHUHQFHVLQWKHQXPEHURIPLOHVSDUWLFLSDQWVUHSRUWHGGULYLQJGXULQJWKHSULRU\HDU,Q6WXGLHV

DQGZHUHSOLFDWHGWKHVDPHILQGLQJVXVLQJDFRQWUROOHGODERUDWRU\HQYLURQPHQWVWXG\$V

EHIRUHWKHUHVXOWVRIWKHVH7KHVHVWXGLHVVKRZWKDWKDYLQJWKHRSSRUWXQLW\WRVLJQLQJRQH¶VQDPH

SULRUWRDSOHGJHRIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWGLVFRXUDJHVHQFRXUDJHV

XQHWKLFDOEHKDYLRU)LQDOO\6WXG\H[DPLQHVWKHSV\FKRORJLFDOSURFHVVH[SODLQLQJPHFKDQLVP
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 815 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


XQGHUO\LQJWKHOLQNUHODWLRQVKLSEHWZHHQWKHDFWRIVLJQLQJRQH¶VQDPHDQGSHRSOH¶VOLNHOLKRRGRI

RYHUUHSRUWLQJSHUIRUPDQFHSURPRWLRQRIKRQHVWUHSRUWLQJDQGVKRZVWKDWWKHDFWRIVLJQLQJD

SOHGJHRIKRQHVW\UDLVHVWKHVDOLHQFHRISDUWLFLSDQWV¶KHLJKWHQVDZDUHQHVVRIHWKLFDOVWDQGDUGV

                     6WXG\$)LHOG([SHULPHQWZLWK$XWRPRELOH,QVXUDQFH

      :HILUVWWHVWHGWKHHIIHFWRIVLJQLQJDSOHGJHRIKRQHVW\RQH¶VQDPHEHIRUHKDYLQJWKH

RSSRUWXQLW\WREHKDYHGLVKRQHVWO\LQDILHOGVWXG\LQYROYLQJDXWRPRELOHLQVXUDQFH

3URFHGXUH

       :HUDQDILHOGH[SHULPHQWZLWKDQLQVXUDQFHFRPSDQ\LQWKH868QLWHG6WDWHVLQZKLFK

ZHPDQLSXODWHGWKHDXWRPRELOHSROLF\UHYLHZ IRUPWKDWZDVVHQWRXWWRFXVWRPHUVDWWKHHQGRI

WKH\HDU7KHUHYLHZIRUPDVNHGFXVWRPHUVDPRQJRWKHUVWRUHFRUGWKHH[DFWFXUUHQWRGRPHWHU

PLOHDJHRIDOOFDUVWKDWZHUHFXUUHQWO\UHJLVWHUHGWRWKHPDQGRUWKHLUVSRXVHRUGRPHVWLFSDUWQHU

LQDGGLWLRQWRRWKHULQIRUPDWLRQ:HUDQGRPO\DVVLJQHGFXVWRPHUVWRUHFHLYHDIRUPWKDWHLWKHU

DVNHGWKHPDWWKHWRS LHEHIRUHILOOLQJRXWWKHIRUP RUWKHERWWRP LHDIWHUKDYLQJFRPSOHWHG

WKHIRUP RIWKHIRUPWRVLJQWKHIROORZLQJSOHGJHRIKRQHVW\³,SURPLVHWKDWWKHLQIRUPDWLRQ,

DPSURYLGLQJLVWUXH´2WKHUZLVHWKDQWKDWWKHIRUPVZHUHLGHQWLFDODFURVVFRQGLWLRQV

       )LOOHGRXW&RPSOHWHGIRUPVZHUHUHFHLYHGIURPSROLFLHVIRUDWRWDORIFDUV

$FDUVLQJOHSROLF\FRXOGFRYHUKDYHXSWRIRXUFDUVRISROLFLHVKDGRQHFDUKDGWZR

FDUVKDGWKUHHFDUVDQGOHVVWKDQKDGIRXUFDUV:HFRPSDUHGWKHGLIIHUHQFHEHWZHHQ

WKHFXUUHQWRGRPHWHUPLOHDJHDVLQGLFDWHGLQWKHPDQLSXODWHGIRUPVWRWKHRGRPHWHUPLOHDJHWKDW

FXVWRPHUVKDGLQGLFDWHGWKH\HDUEHIRUH,IDSROLF\KDGPRUHWKDQRQHFDUZHDYHUDJHGWKDW

GLIIHUHQFH7KHPLOHDJHGLIIHUHQFHUHSUHVHQWVWKH\HDUO\DQQXDOXVDJHRIDFDUZKLFKLQWXUQ

LQIOXHQFHVDFXVWRPHU¶V\HDUO\DQQXDOLQVXUDQFHFRVWV7KHIHZHUPLOHVDFDULVGULYHQWKHORZHU

WKHOHVVLQVXUDQFHFRVWV7KXVZKHQILOOLQJRXWWKHDXWRPRELOHSROLF\UHYLHZ IRUPFXVWRPHUV
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 816 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 817 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


RSSRUWXQLW\WRFKHDW GLVFRXUDJHVHQFRXUDJHVGLVKRQHVW\RUZKHWKHUVLJQLQJDWWKHERWWRPRIWKH

IRUPDIWHUZDUGVDFWXDOO\HQFRXUDJHVXQHWKLFDOEHKDYLRU

0HWKRG

       3DUWLFLSDQWV2QHKXQGUHGDQGRQHVWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKH

VWXG\IRUSD\7KH\UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\

WKURXJKRXWWKHVWXG\

       'HVLJQDQG3URFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWKUHHFRQGLWLRQV 

6LJQDWXUHDWWKHWRSRIWKHIRUP 6LJQDWXUHDWWKHERWWRPRIWKHIRUPRU 1RVLJQDWXUH RXU

FRQWUROFRQGLWLRQ $WWKHEHJLQQLQJRIHDFKVHVVLRQSDUWLFLSDQWVZHUHJLYHQLQVWUXFWLRQVWRWKH

VWXG\7KHLQVWUXFWLRQVLQIRUPHGWKHPWKDWWKHLUILUVWWDVNZDVWRWKH\ZRXOGILUVWFRPSOHWHD

SUREOHPVROYLQJWDVNXQGHUWLPHSUHVVXUH LHWKH\ZRXOGKDYHILYHPLQXWHVWRFRPSOHWHWKH

WDVN DQGWKDWWKHH[SHULPHQWHUZRXOGNHHSWUDFNRIWKHWLPH,QDGGLWLRQWRSURYLGLQJ

LQIRUPDWLRQDERXWWKHSD\PHQWIRUWKHSUREOHPVROYLQJWDVNWKHLQVWUXFWLRQVLQIRUPHG

SDUWLFLSDQWVWKDWXSRQFRPSOHWLRQRIWKLVWDVNWKH\ZRXOGEHDVNHGWRFRPSXWHWKHLUSHUIRUPDQFH

DQGWKHQILOORXWDSD\PHQWIRUP7KHLQVWUXFWLRQVDOVRLQFOXGHGWKHIROORZLQJLQIRUPDWLRQ³)RU

WKHSUREOHPVROYLQJWDVN\RXZLOOEHSDLGDKLJKHUDPRXQWWKDQZKDWZHXVXDOO\SD\SDUWLFLSDQWV

LQDUHJXODUVWXG\EHFDXVH\RXZLOOEHWD[HGRQ\RXUHDUQLQJV<RXZLOOUHFHLYHPRUHGHWDLOVDIWHU

WKHSUREOHPVROYLQJWDVN´

       3UREOHPVROYLQJWDVN)RUWKLVWDVNSDUWLFLSDQWVUHFHLYHGDZRUNVKHHWZLWKPDWULFHV

HDFKFRQVLVWLQJRIWKUHHGLJLWQXPEHUV HJEDVHGRQ0D]DU$PLU $ULHO\ DQG

DFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWVUHSRUWHGWKHLUSHUIRUPDQFHDWWKHHQGRIWKLVSDUWRIWKH

VWXG\3DUWLFLSDQWVZHUHWROGWKDWWKH\ZRXOGKDYHPLQILYHPLQXWHVWRILQGWZRQXPEHUVLQHDFK
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 818 of 1282
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 819 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


WKHLURIFRPPXWH7KHVHFRVWVZHUH³FUHGLWHG´WRWKHLUSRVWWD[HDUQLQJVIURPWKHPDWUL[WDVN

FRPSXWHWKHLUILQDOSD\PHQW

          7KHLQVWUXFWLRQVUHDG³:HZRXOGOLNHWRFRPSHQVDWHSDUWLFLSDQWVIRUH[WUDH[SHQVHVWKH\

KDYHLQFXUUHGLQRUGHUWRSDUWLFLSDWHLQWKHVHVVLRQ´:HLQFOXGHGWZRFRVWV 7LPHWRWUDYHOWR

WKHODEDWSHUPLQXWH 0D[XSWRKRXUVRUPD[LPXP DQGPRQHWDU\FRVWRI

FRPPXWH 0D[XSWRPD[LPXP 

          3D\PHQWVWUXFWXUH*LYHQWKHIHDWXUHVRIWKHVWXG\SDUWLFLSDQWVFRXOGPDNHDWRWDORI

² DQDPRXQWFRPSXWHGZKLFKEUHDNVGRZQDVIROORZVVKRZXSIHHRQPDWUL[WDVN

PLQXVDWD[RQLQFRPH LH DVFUHGLWVIRUWUDYHOWLPHDQGDVFUHGLWVIRUFRVWRI

FRPPXWH

5HVXOWV

         :HILUVWH[DPLQHGWKHSHUFHQWDJHRISDUWLFLSDQWVZKRFKHDWHGRQWKHPDWUL[WDVN7KLV

SHUFHQWDJHYDULHGDFURVVFRQGLWLRQVȤ 1  S ,WZDVORZHVWLQWKHVLJQDWXUH

DWWKHWRSFRQGLWLRQ RXWRI DQGKLJKHULQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ

    RXWRI DQGLQWKHQRVLJQDWXUHFRQGLWLRQ RXWRI 

         %RWKDFWXDOSHUIRUPDQFHDQGUHSRUWHGSHUIRUPDQFHRQWKHPDWUL[WDVNE\FRQGLWLRQDUH

GHSLFWHGLQ)LJXUH:HWKHQFRPSXWHGWKHGLIIHUHQFHEHWZHHQWKHUHSRUWHGDQGDFWXDO

SHUIRUPDQFHRQWKHPDWUL[WDVN7KHQXPEHURIPDWULFHVRYHUUHSRUWHGYDULHGE\FRQGLWLRQ

)  SȘ LWZDVORZHVWLQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ 0 

6'  DQGKLJKHULQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 6' S DQGLQ

WKHQRVLJQDWXUHFRQGLWLRQ 0 6' S 7KHGLIIHUHQFHEHWZHHQWKHVHWZRODVW

FRQGLWLRQVZDVRQO\PDUJLQDOO\VLJQLILFDQW S :LWKLQVXEMHFWVDQDO\VHVXVLQJERWKWKH

GLIIHUHQFHEHWZHHQUHSRUWHGDQGDFWXDOSHUIRUPDQFHUHYHDOHGWKHVDPHSDWWHUQRIUHVXOWV
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 820 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


         7KHFUHGLWVIRUH[WUDH[SHQVHVLQFXUUHGWKDWSDUWLFLSDQWVFODLPHGLQWKHWD[IRUPV

UHYHDOIROORZWKHVDPHSDWWHUQDQGYDU\VLJQLILFDQWO\E\FRQGLWLRQ)  SȘ 

    VHH)LJXUH 3DUWLFLSDQWVFODLPHGWKHOHDVWH[SHQVHVWKH\ZHUHORZHVWLQWKHVLJQDWXUHDWWKH

WRSFRQGLWLRQ 0 6'  DQGKLJKHUPRUHH[SHQVHVLQWKHVLJQDWXUHDWWKHERWWRP

FRQGLWLRQ 0 6' S DQGLQWKHQRVLJQDWXUHFRQGLWLRQV 0 6' 

S 7KHGLIIHUHQFHEHWZHHQWKHVHWZRODVWFRQGLWLRQVZDVQRWVLJQLILFDQW S  

'LVFXVVLRQ

         7KHUHVXOWVRI6WXG\SURYLGHIXUWKHUHYLGHQFHIRURXUPDLQK\SRWKHVLVVXJJHVWLQJ

WKDWK\SRWKHVLVWKDWUDLVLQJVDOLHQF\RIRQH¶VRZQPDNLQJHWKLFVVDOLHQWWKURXJKVLJQLQJRQH¶V

QDPHSULRUWRDWDVNDOVWDQGDUGVZRXOGOHDGWRORZHUOHYHOVRIFKHDWLQJ6WXG\DOVRLQFOXGHGD

FRQWUROFRQGLWLRQLQZKLFKSDUWLFLSDQWVGLGQRWSURYLGHWKHLUVLJQDWXUH2XUUHVXOWVLQGLFDWHWKDW

VLJQLQJSULRUWRDVHOIUHSRUWLQJWDVNSURPRWHVKRQHVWUHSRUWLQJ²QRWWKDWVLQJLQJDIWHUZDUGV

OLFHQVHVFKHDWLQJWKHUHVXOWVREVHUYHGLQRXUILUVWVWXG\DUHOLNHO\GULYHQE\UHGXFHGFKHDWLQJ

ZKHQHWKLFDOVWDQGDUGVDUHPDGHVDOLHQW,QIDFWLWLVVLJQLQJDSOHGJHRIKRQHVW\EHIRUHKDYLQJ

WKHRSSRUWXQLW\WRFKHDWWKDWGLVFRXUDJHVXQHWKLFDOEHKDYLRUUDWKHUWKDQVLJQLQJDSOHGJHRI

KRQHVW\DIWHUKDYLQJWKHRSSRUWXQLW\WRFKHDWWKDWHQFRXUDJHVLW

                            6WXG\,QFUHDVHG6DOLHQF\RI(WKLFDO6WDQGDUGV

          6RIDUZH:HKDYHVRIDUGHPRQVWUDWHGWKDWUDLVLQJHWKLFDOVDOLHQF\VLJQLQJRQH¶VQDPH

EHIRUHKDYLQJDQRSSRUWXQLW\WRFKHDWGLVFRXUDJHVXQHWKLFDOEHKDYLRU+RZHYHUZHKDYHPDGH

DQLPSOLFLWDVVXPSWLRQWKDWVLJQLQJDSOHGJHRIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDW

UDWKHUWKDQDIWHUZDUGVLVPRUHOLNHO\WRUDLVHWKHVDOLHQF\RIPRUDOVWDQGDUGV:HK\SRWKHVL]HG

WKDWVLJQLQJRQWKHGRWWHGOLQHDFWLYDWHVWKHVHOIFRQFHSWDQGEHFDXVHSHRSOHDUHPRWLYDWHGWR

YLHZWKHPVHOYHVDVJRRGSHRSOHSULPLQJWKHVHOIFRQFHSWWKURXJKVLJQLQJRQWKHGRWWHGOLQHZLOO
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 821 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


PDNHHWKLFVPRUHVDOLHQW:HWHVWWKLVK\SRWKHVLVGLUHFWO\LQRXUWKLUGVWXG\E\XVLQJDGLUHFW

PHDVXUHRIHWKLFDOVDOLHQF\RUWKHH[WHQWWRZKLFKSHRSOHDFFHVVHGHWKLFVUHODWHGFRQVWUXFWVZHUH

YLYLGLQSHRSOH¶VPLQG)ROORZLQJSULRUUHVHDUFKPHDVXULQJLPSOLFLWFRJQLWLYHSURFHVVHV %DVVLOL

  6PLWK7XOYLQJ6FKDFWHU 6WDUN ZHXVHGDZRUGFRPSOHWLRQWDVNLQZKLFK

SDUWLFLSDQWVDUHDVNHGWRFRPSOHWHYDULRXVZRUGIUDJPHQWVZLWKWKHILUVWOHWWHUVWKDWFRPHWR

PLQG7KLVWDVNDOORZVXVWRWHVWZKHWKHUVLJQLQJDSOHGJHRIKRQHVW\EHIRUHKDYLQJWKH

RSSRUWXQLW\WRFKHDWUDWKHUWKDQDIWHUZDUGVOHDGVSHRSOHWREHPRUHOLNHO\WRXVHKDYHJUHDWHU

DFFHVVWRZRUGVUHODWHGWRHWKLFVDQGPRUDOLW\

0HWKRG

        'HVLJQDQG3URFHGXUH6WXG\HPSOR\HGRQHEHWZHHQVXEMHFWVIDFWRUZLWKWZROHYHOV

VLJQDWXUHDWWKHWRSSULRUYVVLJQDWXUHDWWKHERWWRPRIDIWHUWKHVHOIUHSRUWLQJIRUP7KHVWXG\

HPSOR\HGWKHVDPHWDVNDQGSURFHGXUHRI6WXG\EXWYDULHGWKHWD[IRUPVSDUWLFLSDQWV

FRPSOHWHG7KHWD[IRUPVZHUHPRGLILHGVXFKWKDWWKH\PLPLFNHGWKHIORZRIDFWXDOWD[

UHSRUWLQJSUDFWLFHVLQWKH8QLWHG6WDWHV'HGXFWLRQVDUHILUVWVXEWUDFWHGIURPJURVVLQFRPHWR

FRPSXWHWD[DEOHLQFRPHWKHQWD[HVDUHSDLGRQWKLVDGMXVWHGDPRXQW VHH$SSHQGL[% 

        ,QDGGLWLRQSDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHDZRUGFRPSOHWLRQWDVNDVWKHLUILQDOWDVN

LQWKHVWXG\7KHWDVNLQVWUXFWLRQVLQIRUPHGSDUWLFLSDQWVWKDWWKH\ZRXOGKDYHWRFRQYHUWZRUG

IUDJPHQWVLQWRPHDQLQJIXOZRUGV3DUWLFLSDQWVUHFHLYHGDOLVWRIVL[ZRUGIUDJPHQWVZLWKOHWWHUV

PLVVLQJDQGZHUHDVNHGWRILOOLQWKHEODQNVWRPDNHFRPSOHWHZRUGVE\XVLQJWKHILUVWZRUGWKDW

FDPHWRPLQG7KUHHRIWKHVHZRUGIUDJPHQWV BB5$/B,BBB(DQG(BBB&BB FRXOG

EHFRPSOHWHGDVHWKLFVUHODWHGZRUGV PRUDOYLUWXHDQGHWKLFDO RUDVXQUHODWHGZRUGV HJ

YLUDOWLVVXHDQGHIIHFWV 
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 822 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


          3DUWLFLSDQWV6L[W\VWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH6RXWKHDVWHUQ8QLWHG

6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKHVWXG\IRUSD\7KH\

UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

VWXG\

5HVXOWV

         /HYHORIFKHDWLQJRQWKHPDWUL[WDVN:HILUVWH[DPLQHGWKHSHUFHQWDJHRISDUWLFLSDQWV

ZKRFKHDWHGRQWKHPDWUL[WDVN7KLVSHUFHQWDJHZDVORZHULQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ

    RXWRI WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ RXWRI Ȥ 

1  S

         %RWKDFWXDOSHUIRUPDQFHDQGUHSRUWHGSHUIRUPDQFHRQWKHPDWUL[WDVNE\FRQGLWLRQDUH

GHSLFWHGLQ)LJXUH:HWKHQFRPSXWHGWKHGLIIHUHQFHEHWZHHQWKHUHSRUWHGDQGDFWXDO

SHUIRUPDQFHRQWKHPDWUL[WDVNWKLVSHUIRUPDQFHLQIODWLRQZDVRXUSUR[\IRUFKHDWLQJ7KH

QXPEHURIPDWULFHVRYHU UHSRUWHGSHUIRUPDQFHLQIODWLRQZDVORZHULQWKHVLJQDWXUHDWWKHWRS

FRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 6'  

W  S:LWKLQVXEMHFWVDQDO\VHVXVLQJERWKUHSRUWHGDQGDFWXDOSHUIRUPDQFH

UHYHDOHGWKHVDPHSDWWHUQRIUHVXOWV

         7KHGHGXFWLRQVSDUWLFLSDQWVUHSRUWHGLQWKHWD[IRUPVIROORZWKHVDPHSDWWHUQDQGYDU\

VLJQLILFDQWO\E\FRQGLWLRQ)  SȘ WKH\ZHUHORZHULQWKHVLJQDWXUHDWWKH

WRSFRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 

6'  1RWHWKDWWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQLVPRVWVLPLODUWRWKHFXUUHQWVWUXFWXUH

RIWD[UHSRUWLQJIRUPVLQWKH8QLWHG6WDWHV

          :RUGIUDJPHQWWDVN$VZHSUHGLFWHGSDUWLFLSDQWVZKRVLJQHGWKHKRQHVW\SOHGJHEHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWJHQHUDWHGPRUHHWKLFVUHODWHGZRUGV 0 6'  WKDQGLG
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 823 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


WKRVHZKRVLJQHGDWWKHERWWRPRIWKHIRUP 0 6'  )  SȘ 

VXJJHVWLQJWKDWWKHDFWRIVLJQLQJXSIURQWSULRUWRVWDUWLQJWKHWDVNLQFUHDVHGWKHDFFHVVLELOLW\RI

HWKLFVUHODWHGFRQFHSWV

'LVFXVVLRQ

       8VLQJDQLPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\RXUWKLUGVWXG\VKRZVWKDWVLJQLQJDSOHGJH

RIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWLVPRUHOLNHO\WRUDLVHVWKHVDOLHQF\RIPRUDO

VWDQGDUGVFRPSDUHGWRVLJQLQJWKHVDPHIRUPDIWHUKDYLQJWKHRSSRUWXQLW\WRFKHDW)XUWKHUPRUH

&FRQVLVWHQWZLWKRXUK\SRWKHVHVUDLVLQJHWKLFDOVDOLHQF\GLVFRXUDJHGFKHDWLQJ

                            6WXG\(WKLFDO6DOLHQF\DQG5HGXFHG&KHDWLQJ

      :HFRQGXFWHGDIRXUWKVWXG\WRPRUHFDUHIXOO\H[DPLQHWKHUROHRIHWKLFDOVDOLHQF\LQ

H[SODLQLQJWKHUHVXOWVREVHUYHGLQ6WXGLHVDQG,QDGGLWLRQWRH[WHQGWKHJHQHUDOL]DELOLW\RI

RXUILQGLQJVLQ6WXG\ZHHPSOR\HGDGLIIHUHQWPHDVXUHWRDVVHVVFKHDWLQJ

0HWKRG

       'HVLJQDQGSURFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWZRFRQGLWLRQV

(WKLFDOVDOLHQF\YHUVXVFRQWURO$FURVVERWKFRQGLWLRQVWKHLQVWUXFWLRQVLQIRUPHGWKHPWKDWZH

ZHUHLQWHUHVWHGLQSHRSOH¶VSHUIRUPDQFHXQGHUSUHVVXUHDFURVVDYDULHW\RIWDVNV)RUWKLV

SDUWLFXODUVWXG\WKH\ZRXOGEHDVNHGWRDQVZHUDTXHVWLRQJHQHUDONQRZOHGJHWHVWRIPHGLXP

GLIILFXOW\ HJ³+RZPDQ\86VWDWHVERUGHU0H[LFR"´DQG³,QZKLFK86VWDWHLV0RXQW

5XVKPRUHORFDWHG"´ DQGWKDWWKH\ZRXOGUHFHLYHIRUHDFKFRUUHFWTXHVWLRQ LQDGGLWLRQWRD

VKRZXSIHH 3DUWLFLSDQWVZHUHJLYHQPLQXWHVWRDQVZHUWKHTXHVWLRQV3DUWLFLSDQWV

ZHUHJLYHQDVWXG\,'WRXVHWKURXJKRXWWKHVWXG\

       2QFHWKHILIWHHQPLQXWHVZHUHRYHUWKHH[SHULPHQWHUGLVWULEXWHGDQDQVZHUVKHHWZLWKWKH

FRUUHFWDQVZHUVWRWKHTXHVWLRQVDQGDFROOHFWLRQVOLSVRWKDWSDUWLFLSDQWVFRXOGUHSRUWWKHLU
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 824 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


SHUIRUPDQFHDIWHUFKHFNLQJWKHLUDQVZHUV7KLVILQDOVHWRIPDWHULDOVDOVRLQFOXGHGWKHZRUG

IUDJPHQWWDVNHPSOR\HGLQ6WXG\3DUWLFLSDQWVZHUHDVNHGWRILOORXWWKLVWDVNSULRUWRFKHFNLQJ

WKHLUDQVZHUVDQGUHSRUWLQJSHUIRUPDQFHRQWKHFROOHFWLRQVOLS

          +DOIRIWKHSDUWLFLSDQWVUHFHLYHGDQH[WUDSDJHRQWRSRIWKLVVHWRIPDWHULDOVZKLFKWKH\

ZHUHDVNHGWRUHDGEHIRUHVROYLQJWKHZRUGIUDJPHQWWDVN7KHSDJHLQFOXGHGDSOHGJHRIKRQHVW\

SDUWLFLSDQWVZHUHDVNHGWRVLJQ³,SURPLVHWKDW,ZLOOUHSRUWLQIRUPDWLRQDERXWP\SHUIRUPDQFH

RQWKHWULYLDWHVWWUXWKIXOO\´7KHUHPDLQLQJKDOIRIWKHSDUWLFLSDQWVGLGQRWUHFHLYHWKLVH[WUD

SDJH7KHVHSDUWLFLSDQWVVHUYHGDVRXUFRQWUROFRQGLWLRQDVZHDVFHUWDLQHGLQ6WXG\LWLV

VLJQLQJEHIRUHDWDVNWKDWSURPRWHVKRQHVWUHSRUWLQJ²QRWWKDWVLJQLQJDIWHUZDUGVOLFHQVHV

FKHDWLQJ&RQVLVWHQWZLWKRXUK\SRWKHVHVZHSUHGLFWHGWKDWWKRVHZKRUHFHLYHGDQGVLJQHGWKLV

SOHGJHRIKRQHVW\ZRXOGEHPRUHOLNHO\WRUHSRUWWKHLUSHUIRUPDQFHWUXWKIXOO\DQGWKDWVLJQLQJ

WKLVSOHGJHZRXOGOHDGWKHPWRFRPSOHWHWKHZRUGIUDJPHQWWDVNZLWKDKLJKHUQXPEHURIHWKLFV

UHODWHGZRUGV

          3DUWLFLSDQWV(LJKW\WZRFROOHJHDQGJUDGXDWHVWXGHQWVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOH FRPSOHWHGWKHVWXG\IRUSD\7KH\

UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

VWXG\

5HVXOWVDQG'LVFXVVLRQ

         :HFRPSXWHGWKHGLIIHUHQFHEHWZHHQVHOIUHSRUWHGSHUIRUPDQFHDQGDFWXDOSHUIRUPDQFH

RQWKHJHQHUDONQRZOHGJHWDVN7KLVGLIIHUHQFHVFRUHVHUYHGDVRXUSUR[\IRUFKHDWLQJZDVRXU

PDLQGHSHQGHQWYDULDEOH3RVLWLYHGLIIHUHQFHVFRUHVLQGLFDWHWKDWSDUWLFLSDQWVRYHUUHSRUWHGWKHLU

SHUIRUPDQFHDQGFKHDWHGRQWKHWDVNVRWKDWWKH\FRXOGPDNHPRUHPRQH\
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 825 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


       :KHQH[DPLQLQJWKHGLIIHUHQFHEHWZHHQVHOIUHSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKH

WULYLDWHVWZHIRXQGWKDWFKHDWLQJZDVJUHDWHULQWKHFRQWUROFRQGLWLRQWKDQVLJQLILFDQWO\UHGXFHG

LQWKHHWKLFDOVDOLHQF\FRQGLWLRQ 0 6' 0 6' YV0 

6' 0 6'  W  S 0LUURULQJ6XSSRUWLQJWKHVHUHVXOWVWKH

SHUFHQWDJHRISDUWLFLSDQWVZKRRYHUVWDWHGWKHLUSHUIRUPDQFHZDVKLJKHULQWKHIRUPHUFRQWURO

FRQGLWLRQWKDQLQWKHODWWHUVLJQDWXUHFRQGLWLRQ >@YV>@ Ȥ 

1  S 7KHVHUHVXOWVSURYLGHVWURQJVXSSRUWIRUWKHSUHGLFWHGLQYHUVH

UHODWLRQVKLSEHWZHHQHWKLFDOVDOLHQF\DQGFKHDWLQJ

       6LJQLQJEHIRUHKDYLQJWKHRSSRUWXQLW\WRRYHUUHSRUWSHUIRUPDQFHDOVRLQIOXHQFHGWKH

QXPEHURIHWKLFVUHODWHGFRQFHSWVSDUWLFLSDQWVXVHGLQWKHZRUGIUDJPHQWWDVN3DUWLFLSDQWVLQWKH

HWKLFDOVDOLHQFHVLJQDWXUHFRQGLWLRQXVHGPRUHHWKLFVUHODWHGZRUGV 0 6'  WKDQGLG

WKRVHLQWKHFRQWUROFRQGLWLRQ 0 6'  )  SȘ 

       )LQDOO\ZHWHVWHGZKHWKHUHWKLFVUHODWHGFRQFHSWV RXUSUR[\IRUVDOLHQF\RIPRUDO

VWDQGDUGV PHGLDWHGWKHHIIHFWRIFRQGLWLRQRQWKHH[WHQWRIFKHDWLQJRQWKHWULYLDWDVN%RWK

FRQGLWLRQDQGWKHQXPEHURIHWKLFVUHODWHGFRQFHSWVZHUHHQWHUHGLQWRDOLQHDUUHJUHVVLRQPRGHO

SUHGLFWLQJH[WHQWRIFKHDWLQJ7KLVDQDO\VLVUHYHDOVWKDWWKHHIIHFWRIFRQGLWLRQZDVVLJQLILFDQWO\

UHGXFHG IURPȕ S WRȕ S ZKHUHDVWKHQXPEHURIHWKLFVUHODWHGFRQFHSWV

ZDVDVLJQLILFDQWSUHGLFWRURIFKHDWLQJ ȕ S 8VLQJWKHERRWVWUDSSLQJPHWKRG ZLWK

LWHUDWLRQV UHFRPPHQGHGE\3UHDFKHUDQG+D\HV  ZHWHVWHGWKHVLJQLILFDQFHRIWKH

LQGLUHFWHIIHFWRIFRQGLWLRQRQGLVKRQHVWEHKDYLRUWKURXJKWKHDFWLYDWLRQRIHWKLFVUHODWHG

FRQFHSWV7KHFRQILGHQFHLQWHUYDOIRUWKHLQGLUHFWHIIHFWGLGQRWLQFOXGH]HUR  

VXJJHVWLQJVLJQLILFDQWPHGLDWLRQ7KXVFRQVLVWHQWZLWKRXUSUHGLFWLRQVWKHQXPEHURIHWKLFV
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 826 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


UHODWHGFRQFHSWVVLJQLILFDQWO\PHGLDWHGWKHUHODWLRQVKLSEHWZHHQRXUPDQLSXODWLRQDQGGLVKRQHVW

EHKDYLRU

       7DNHQWRJHWKHUWKHVHUHVXOWVSURYLGHIXUWKHUHYLGHQFHIRUWKHHIIHFWRIWKDWUDLVLQJHWKLFDO

VDOLHQF\RQUHGXFHVFKHDWLQJ

                                        *HQHUDO'LVFXVVLRQ

       $FURVVIRXUVWXGLHVZHFRQVLVWHQWO\IRXQGWKDWPDNLQJHWKLFVVDOLHQWWKURXJKUHTXLULQJ

RQH¶VVLJQDWXUHEHIRUHDWDVNUDLVLQJWKHVDOLHQF\RIRQH¶VRZQPRUDOVWDQGDUGVLVDQHIIHFWLYH

PHDQWRGLVFRXUDJHGLVKRQHVW\,QHDFKRIRXUVWXGLHVZHPDQLSXODWHGZKHQWKHUPRUDOVWDQGDUGV

ZHUHPDGHVDOLHQWZKHQSDUWLFLSDQWVIDFHGWKHGHFLVLRQWREHKDYHGLVKRQHVWO\,Q6WXG\ZH

FRQGXFWHGDILHOGH[SHULPHQWLQZKLFKZHYDULHGZKHWKHULQGLYLGXDOVILOOLQJRXWDUHSRUWRIWKH

QXPEHURIPLOHVWKH\GURYHWKH\HDUSULRUVLJQHGDSOHGJHRIKRQHVW\HLWKHUEHIRUHRUDIWHUILOOLQJ

RXWUHSRUWLQJWKHPLOHDJHQXPEHU2XUUHVXOWVVKRZWKDWSHRSOHUHSRUWHGDKLJKHUQXPEHURI

PLOHVZKHQWKH\VLJQHGWKHSOHGJHRIKRQRUEHIRUHILOOLQJRXWWKHIRUPWKDQWKRVHZKRKDGWR

VLJQHGWKHSOHGJHRIKRQRUDWWKHHQGLQGLFDWLQJWKDWUDLVLQJWKHVDOLHQF\RIHWKLFDOVWDQGDUGVOHG

SHRSOHWREHPRUHWUXWKIXOVHOIUHSRUWLQJ,Q6WXGLHVDQGZHPRYHGIURPDILHOGVHWWLQJWRD

FRQWUROOHGODERUDWRU\VHWWLQJ,QERWKVWXGLHVSDUWLFLSDQWVKDGWKHRSSRUWXQLW\WRVLJQDWD[IRUP

HLWKHUEHIRUHRUDIWHUPDNLQJFODLPVUHJDUGLQJWKHLUSHUIRUPDQFHRQDWDVN3URYLGLQJIXUWKHU

VXSSRUWIRUWKHUHVXOWVRIWKHILHOGVWXG\WKHILQGLQJVRI6WXGLHVDQGGHPRQVWUDWHWKDWKDYLQJ

WKHRSSRUWXQLW\WRVLJQDSOHGJHRIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWGLVFRXUDJHV

GLVKRQHVW\)LQDOO\6WXG\H[DPLQHVWKHXQGHUO\LQJSV\FKRORJLFDOSURFHVVH[SODLQLQJWKHWKDW

OLQNVEHWZHHQWKHDFWRIVLJQLQJDQGSHRSOH¶VZLWKWKHOLNHOLKRRGRIRYHUUHSRUWLQJSHUIRUPDQFH

7KHVWXG\HPSOR\HGLQFOXGHGDQLPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\SDUWLFLSDQWVZHUHDVNHGWR

FRPSOHWHZRUGIUDJPHQWVE\XVLQJWKHILUVWZRUGWKDWFDPHWRPLQG:HILQGWKDWWKHDFWRI
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 827 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


VLJQLQJDSOHGJHRIKRQHVW\UDLVHVRQH¶VQDPHSULRUWRDWDVNWKHVDOLHQFHRISDUWLFLSDQWV¶HWKLFDO

VWDQGDUGVDQGWKLVKHLJKWHQHGHWKLFDOVDOLHQF\H[SODLQVWKHUHODWLRQVKLSEHWZHHQVLJQLQJDSOHGJH

RIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWDQGVXEVHTXHQWGLVKRQHVWEHKDYLRU

7KHRUHWLFDO&RQWULEXWLRQV

      2XUILQGLQJVFRQWULEXWHWRWKHOLWHUDWXUHRQKRZDFWLYDWLQJVHOIFRQFHSWFDQQXGJH

SHRSOH¶VEHKDYLRUIRUWKHEHWWHU:HLQFUHDVHGKRQHVW\LQERWKODERUDWRU\DQGILHOGVHWWLQJVE\

DVNLQJSDUWLFLSDQWVWRVLJQWKHLUQDPHSULRUWRWKHVWDUWRIDWDVN7KHDFWRIVLJQLQJDFWLYDWHGD

VHQVHRIVHOIDQGLQFUHDVHGWKHVDOLHQF\RIHWKLFDOVWDQGDUGV-XVWDV+DOH\DQG)HVVOHUSURPRWHG

SDUWLFLSDQWVWRJLYHPRUHJHQHURXVRIIHUVLQDQDQRQ\PRXVHFRQRPLFJDPHE\LQWURGXFLQJWKH

VXEWOHSULPHRIH\HOLNHVKDSHVLQWKHEDFNGURSRIWKHJDPH  ZHSURPRWHGKRQHVW

EHKDYLRULQRXUVWXGLHVE\OHDGLQJSDUWLFLSDQWVWRWXUQWKHLUPRUDOJD]HLQZDUG²WRWKHLURZQ

EHKDYLRU²E\DVNLQJWKHPWRVLJQWKHLUQDPHSULRUWRVWDUWLQJWKHWDVNV

      :HDOVRFRQWULEXWHWRWKHHWKLFVOLWHUDWXUHRQHIIHFWLYHZD\VWRUHGXFHGLVKRQHVW\%\

LQWURGXFLQJDVOLJKWFKDQJHLQIRUPVXVHGLQRXUVWXGLHV WKRXJKPRYLQJWKHORFDWLRQRIWKH

VLJQDWXUH ZHREVHUYHGDVLJQLILFDQWVKLIWWRZDUGVKRQHVWEHKDYLRULQWKHIRUPVRIPRUHWUXWKIXO

UHSRUWLQJOHVVSHUIRUPDQFHLQIODWLRQOHVVRYHUFODLPLQJRIFUHGLWVDQGIHZHUGHGXFWLRQFODLPV

$VLPSOHQXGJHDWWKHEHJLQQLQJ²UDWKHUWKDQDWWKHHQG²RIRXUWDVNVZDVHQRXJKWRSURGXFHD

PHDQLQJIXOLQFUHDVHLQKRQHVWUHSRUWLQJ

/LPLWDWLRQVDQG9HQXHVIRU)XWXUH5HVHDUFK

      2XUVWXGLHVXVHGDPLQLPDOWUHDWPHQWSDUDGLJPWRLQGXFHWKHREVHUYHGHIIHFWVZHVKLIWHG

WKHUHTXLUHPHQWDQGORFDWLRQRISDUWLFLSDQWVLJQDWXUHDQGWKHQREVHUYHGGLIIHUHQFHVLQOHYHOVRI

FKHDWLQJ$QH[WHQVLRQRIWKLVSDUDGLJPWKDWPLJKWEHWWHUVSHDNWRWKHSRWHQWLDOPDJQLWXGHRIWKH

HIIHFWLQUHDOZRUOGDSSOLFDWLRQZRXOGEHWRSUHFHGHWKHVLJQDWXUHOLQHZLWKDPRUHH[WHQVLYHVHW
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 828 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 829 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 830 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 831 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 832 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 833 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 834 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 835 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 836 of 1282




                                                                       0DNLQJ(WKLFV6DOLHQW


                                        )LJXUH&DSWLRQV

                                                

)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[WDVNE\FRQGLWLRQ6WXG\




                                                                           




)LJXUH5HSRUWHGGHGXFWLRQVE\FRQGLWLRQ6WXG\




                                                                            


                            
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 837 of 1282




                                                                       0DNLQJ(WKLFV6DOLHQW


)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[WDVNE\FRQGLWLRQ6WXG\




                                                                         



Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 838 of 1282



                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                  0DQXVFULSW9HUVLRQBYV
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 839 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


5XQQLQJ+HDG0$.,1*(7+,&66$/,(17





                                       0DNLQJ(WKLFV6DOLHQW

                        6LJQLQJRQWKH'RWWHG/LQH7XUQV0RUDO*D]H,QZDUG

                                                  

                                              /LVD6KX

                                            1LQD0D]DU

                                          )UDQFHVFD*LQR

                                            'DQ$ULHO\

                                          0D[%D]HUPDQ

                                                  
                 
                     +DUYDUG8QLYHUVLW\8QLYHUVLW\RI7RURQWR'XNH8QLYHUVLW\











7KHDXWKRUVWKDQN-HQQLIHU)LQNDQG5XWK:LQHFRIIIRUWKHLUKHOSZLWKGDWDFROOHFWLRQDQGHQWU\

7KHDXWKRUVJUHDWO\DSSUHFLDWHWKHVXSSRUWDQGIDFLOLWLHVRIWKH&HQWHUIRU'HFLVLRQ5HVHDUFKDW

WKH8QLYHUVLW\RI1RUWK&DUROLQDDW&KDSHO+LOO7KHDXWKRUVWKDQNWKH)XTXD6FKRRORI%XVLQHVV

DQG+DUYDUG%XVLQHVV6FKRROIRUWKHLUILQDQFLDOVXSSRUW3OHDVHDGGUHVVFRUUHVSRQGHQFHWR

                        
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 840 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


                                             $EVWUDFW

$OWKRXJKSHRSOHFDUHDERXWDERXWEHLQJPRUDOLW\DQGEHLQJVHHQDVHWKLFDOE\RWKHUVWKH\RIWHQ

VRPHWLPHVJLYHLQWRWKHWHPSWDWLRQWREHKDYHGLVKRQHVWO\IRUVKRUW WHUPPRQHWDU\JDLQVZKHQ

EHQHILFLDOWRWKHP3ULRUZRUNKDVH[DPLQHGIRFXVHGSULPDULO\RQWKHSV\FKRORJLFDODQG

VLWXDWLRQDOIRUFHVWKDWVZLQJSHRSOH¶VPRUDOFRPSDVV,QWKLV7KHFXUUHQWSDSHUZHH[WHQGEXLOGV

XSRQWKLVERG\RIUHVHDUFKWRGHYHORSDQHDVLO\LPSOHPHQWDEOHPHWKRGWRGLVFRXUDJHGLVKRQHVW\

VLJQLQJDSOHGJHRIKRQHVW\SULRUUDWKHUWKDQDIWHUKDYLQJWKHRSSRUWXQLW\WRFKHDWUDLVLQJWKH

VDOLHQF\RIHWKLFDOVWDQGDUGVLQSULRUWRWKHPRPHQWRIWHPSWDWLRQ8VLQJERWKILHOGDQGODE

H[SHULPHQWVZHILQGWKDWVLJQLQJDSOHGJHRIKRQHVW\SULRUWRKDYLQJWKHRSSRUWXQLW\WRFKHDW

UDWKHUWKDQDIWHUZDUGVUDLVHVWKHVDOLHQF\RIRQH¶VRZQPRUDOVWDQGDUGVHWKLFVDQGPRUDOLW\DQG

LQWXUQZKLFKGLVFRXUDJHVFKHDWLQJ,PSOLFDWLRQVIRUERWKUHVHDUFKRQEHKDYLRUDOHWKLFVDQGDV

ZHOODVSUDFWLFHDUHGLVFXVVHG



.H\ZRUGV6LJQLQJ(WKLFV'LVKRQHVW\6DOLHQF\&KHDWLQJ

                              
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 841 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 842 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 843 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


       7KLVSDSHUSURSRVHVWHVWVRQHWKHLPSOHPHQWDWLRQRIRQHVSHFLILFPHWKRGPHDVXUHRIRI

SURPRWLQJKRQHVWVHOIUHSRUWLQJRIPDNLQJHWKLFDOVWDQGDUGVVDOLHQWEHIRUHIDFLQJDWHPSWDWLRQWR

EHGLVKRQHVW:HSURSRVHDVXEWOHEXWVSHFLILFPHWKRGLPSOHPHQWDWLRQWRUDLVHHWKLFDOVDOLHQF\

VLJQLQJRQH¶VQDPHEHIRUHUDWKHUWKDQDIWHUILOOLQJRXWIRUH[DPSOHDQGLQVXUDQFHRUWD[IRUPDV

LVWKHFXUUHQWJHQHUDOSUDFWLFH,QERWKILHOGDQGODERUDWRU\FRQWH[WVZHVWXG\KRZWKHHIIHFWRI

VLJQLQJRQH¶VQDPHEHIRUHYHUVXVDIWHUDQRSSRUWXQLW\WRFKHDWGLVFRXUDJHVRQWKHVDOLHQF\RI

RQH¶VRZQPRUDOVWDQGDUGVDQGGLVSOD\HGGLVKRQHVW\WKURXJKUDLVLQJWKHVDOLHQF\RIRQH¶VRZQ

PRUDOVWDQGDUGV7KHUHDUHPDQ\GRPDLQVLQZKLFKVLJQLQJDVWDWHPHQWWRYHULI\FRQILUPWKH

WUXWKIXOQHVVRIDUHSRUWLVDOUHDG\UHTXLUHGVXFKDVLQVXUDQFHVRUWD[HV+RZHYHUW\SLFDOO\WKH

VLJQDWXUHLVUHTXHVWHGDIWHU²UDWKHUWKDQSULRUWR²UHSRUWLQJ:HVXJJHVWWKDWVLPSO\PRYLQJWKH

VLJQDWXUHIURPWKHERWWRPWRWKHWRSRIDIRUPZLOOEULQJRQH¶VPRUDOVWDQGDUGVLQWRIRFXVDQG

VXEVHTXHQWO\SURPRWHKRQHVW\ZKLOHGLVFRXUDJLQJFKHDWLQJ

                            7KH,PSDFWRI6LJQLQJRQWKH'RWWHG/LQH

       :HK\SRWKHVL]HWKDWVLJQLQJRQWKHGRWWHGOLQHEULQJVWKHVHOILQWRFOHDUHU

YLHZIRFXVLQFUHDVHVDWWHQWLRQWRWKHVHOIDQGRQH¶VVWDQGDUGVZKLFKLQWXUQDQGWKDWDFWLYDWLQJ

RQH¶VWKHVHOI FRQFHSWFDQFKDQJHVSHRSOH¶VEHKDYLRUIRUWKHEHWWHU3UHYLRXVUHVHDUFKKDVVKRZQ

WKDWH(YHQVXEWOHFXHVWKDWFDQDFWLYDWHWKHVHOIFDQDQGOHDGWRVXUSULVLQJO\SRZHUIXOHIIHFWVRQ

FRQVHTXHQWEHKDYLRU)RUH[DPSOHZKHQSOD\LQJDQDQRQ\PRXVHFRQRPLFJDPHSHRSOHDUH

PRUHJHQHURXVZKHQWKHUHLVHYHQWKHQXDQFHGSUHVHQFHRIH\HOLNHVKDSHVLQWKHFRPSXWHU

EDFNJURXQG +DOH\ )HVVOHU5LJGRQ,VKLL:DWDEH.LWD\DPD ,QDPRUH

QDWXUDOLVWLFVHWWLQJUHVHDUFKHUVKDYHH[DPLQHGWKHHIIHFWRIDQLPDJHRIDSDLURIH\HVRQWKH

DPRXQWRIPRQH\SHRSOHFRQWULEXWHSXWLQWRDSD\RQ\RXUKRQRUFDVKER[WRDSD\ RQ \RXU

KRQRUIXQGIRUZKHQSXUFKDVLQJFRIIHH:KHQH\HVZHUHGLVSOD\HGRQWKHFRQWULEXWLRQVER[

LQVWHDGRIIORZHUVQHDUO\WKUHHWLPHVWKHDPRXQWRIPRQH\ZDVFROOHFWHG %DWHVRQ1HWWOH 
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 844 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 845 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


SULPHWKDWFDQEHHDVLO\LPSOHPHQWHGLQYDULRXVUHDOZRUOGFRQWH[WWRDIIHFWLQGLYLGXDOV¶HWKLFDO

FRQGXFWDQGDLPWRSURYLGHHYLGHQFHRIWKHSURFHVVLWHYRNHVVLJQLQJDSOHGJHRIKRQHVW\:H

SURSRVHWHVWWKDWWKHDFWRIVLJQLQJRQH¶VQDPHEHIRUHUDWKHUWKDQDIWHUDVHOIUHSRUWHG

SHUIRUPDQFHEULQJVLQWRIRFXVRQH¶VPRUDOFRPSDVVDQGHWKLFDOVWDQGDUGVWKXVGLVFRXUDJLQJ

GLVKRQHVWDFWLRQVDIWHUZDUGV

       3UHYLRXVUHVHDUFKKDVVKRZQWKDWZKHQWKHPRUDOFDWHJRUL]DWLRQRIDSDUWLFXODUEHKDYLRU

LVQRWFOHDU FXWDPELJXRXVSHRSOHFDQDQGLQIDFWRIWHQGRFDWHJRUL]HWKHLURZQDFWLRQVLQ

SRVLWLYHWHUPVWKHUHE\DYRLGLQJWKHQHHGWRQHJDWLYHO\XSGDWHWKHLUPRUDOVHOI LPDJH

%DXPHLVWHU6FKZHLW]HU +VHH +RZHYHU0D]DU$PLUDQG$ULHO\  IRXQG

WKDWGUDZLQJSHRSOH¶VDWWHQWLRQWRPRUDOVWDQGDUGVUHGXFHVGLVKRQHVWEHKDYLRUV)RUGLVKRQHVW\

)RUH[DPSOHDIWHUEHLQJDVNHGWRUHFDOOWKH7HQ&RPPDQGPHQWVSDUWLFLSDQWVZKRZHUHJLYHQ

WKHRSSRUWXQLW\WRFKHDWDQGWRJDLQILQDQFLDOO\IURPWKLVDFWLRQHDUQXQGHVHUYHGPRQH\GLGQRW

FKHDWDWDOOE\FRQWUDVWZKHQJLYHQWKHVDPHRSSRUWXQLW\WRFKHDWLQFRQWUDVWWKRVHZKRKDGQRW

EHHQUHPLQGHGRIWKH7HQ&RPPDQGPHQWVFKHDWHGVXEVWDQWLDOO\6LPLODUO\ZKHQSDUWLFLSDQWV

KDGDQRSSRUWXQLW\WRFKHDWE\LQIODWLQJWKHLUVHOI UHSRUWHGSHUIRUPDQFHIRUILQDQFLDOJDLQWKRVH

ZKRZHUHDVNHGWRUHDGDQGVLJQDQGKRQRUFRGHSULRUWRHQJDJLQJLQDWDVNZKHUHWKH\FRXOG

RYHUUHSRUWHGSHUIRUPDQFHDQGWKXVHDUQPRUHPRQH\WKH\GLGQRWGHVHUYHWKH\ZHUHOHVVOLNHO\

WRWKHQFKHDWRQWKHWDVNLWVHOI VHHDOVR6KX*LQR %D]HUPDQ :KHQXQHWKLFDOEHKDYLRU

LVHWKLFVDUHPDGHVDOLHQWSHRSOHPD\SD\JUHDWHUDWWHQWLRQWRWKHLURZQPRUDOVWDQGDUGVDQG

FDWHJRUL]HVFUXWLQL]HWKHHWKLFDOLW\RIWKHLURZQEHKDYLRUPRUHULJLGO\$VDFRQVHTXHQFHPRUDO

VDOLHQF\PD\GHFUHDVHSHRSOH¶VWHQGHQF\WRHQJDJHLQGLVKRQHVWDFWVDQGLQFUHDVHWKHULJLGLW\RI

WKHLUMXGJPHQWVRIHWKLFDOLW\

       7RVXPPDUL]HZHSURSRVHDQGWHVWWKHIROORZLQJK\SRWKHVHV
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 846 of 1282




                                                                             0DNLQJ(WKLFV6DOLHQW


       +\SRWKHVLV6LJQLQJRQH¶VQDPHSULRUWRDVHOIUHSRUWLQJWDVNZLOOSURPRWHPRUHKRQHVW
       UHSRUWLQJUHODWLYHWRVLJQLQJRQH¶VQDPHDIWHUWKHWDVN
       
       +\SRWKHVLV6LJQLQJRQH¶VQDPHSULRUWRDVHOIUHSRUWLQJWDVNLQFUHDVHVWKHVDOLHQF\RI
       PRUDOVWDQGDUGV
       
       +\SRWKHVLV+HLJKWHQHGVDOLHQF\RIPRUDOVWDQGDUGVZLOOPHGLDWHWKHHIIHFWRIVLJQLQJ
       RQH¶VQDPHRQKRQHVWVHOIUHSRUWLQJ
       
2YHUYLHZRIWKH5HVHDUFK

           :HWHVWHGWKHVHK\SRWKHVHVLQIRXUVWXGLHVLQZKLFKSDUWLFLSDQWVKDGWKHRSSRUWXQLW\WR

FKHDWWKURXJKGLVKRQHVWVHOIUHSRUWLQJ,QHDFKVWXG\ZHYDULHGZKHQSDUWLFLSDQWVVLJQHGWKHLU

QDPH²SULRUWRRUDIWHUWKHWDVN²WRFKDQJHWKHWLPHDWZKLFKPRUDOVWDQGDUGVZHUHPDGHVDOLHQW

WRSDUWLFLSDQWV7KDWLVS3DUWLFLSDQWVHLWKHUVLJQHGEHIRUHRUDIWHUKDYLQJWKHRSSRUWXQLW\WR

FKHDW

           ,Q6WXG\ZHFRQGXFWHGDILHOGH[SHULPHQWLQFROODERUDWLRQZLWKDQDXWRPRELOH

LQVXUDQFHFRPSDQ\DQGIRXQGVLJQLQJSULRUWRUHSRUWLQJSURGXFHGVLJQLILFDQWGLIIHUHQFHVLQWKH

QXPEHURIPLOHVSDUWLFLSDQWVUHSRUWHGGULYLQJGXULQJWKHSULRU\HDU±DQRWHZRUWK\FKDQJHLQUHDO

EHKDYLRUZLWKVXEVWDQWLDOFRQVHTXHQFHVIRUWKHLQVXUDQFHFRPSDQ\,Q6WXGLHVDQGZH

UHSOLFDWHGWKHVDPHILQGLQJVXVLQJLQDFRQWUROOHGODERUDWRU\HQYLURQPHQW7KHVHVWXGLHVVKRZ

WKDWVLJQLQJRQH¶VQDPHSULRUWRWKHRSSRUWXQLW\WRFKHDWHQFRXUDJHVHWKLFDOEHKDYLRU)LQDOO\

6WXG\H[DPLQHVWKHSV\FKRORJLFDOPHFKDQLVPXQGHUO\LQJWKHUHODWLRQVKLSEHWZHHQVLJQLQJ

RQH¶VQDPHDQGSURPRWLRQRIKRQHVWUHSRUWLQJDQGVKRZVWKDWWKHDFWRIVLJQLQJKHLJKWHQV

DZDUHQHVVRIHWKLFDOVWDQGDUGV

                      6WXG\$)LHOG([SHULPHQWZLWKDQ$XWRPRELOH,QVXUDQFH

          :HILUVWWHVWHGWKHHIIHFWRIVLJQLQJRQH¶VQDPHEHIRUHKDYLQJWKHRSSRUWXQLW\WREHKDYH

GLVKRQHVWO\LQDILHOGVWXG\LQYROYLQJDQDXWRPRELOHLQVXUDQFH

3URFHGXUH
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 847 of 1282




                                                                             0DNLQJ(WKLFV6DOLHQW


       :HUDQDILHOGH[SHULPHQWZLWKDQLQVXUDQFHFRPSDQ\LQWKH8QLWHG6WDWHVLQZKLFKZH

PDQLSXODWHGWKHDXWRPRELOHSROLF\UHYLHZIRUPWKDWZDVVHQWRXWWRFXVWRPHUVDWWKHHQGRIWKH

\HDU7KHUHYLHZIRUPDVNHGFXVWRPHUVWRUHFRUGWKHH[DFWFXUUHQWRGRPHWHUPLOHDJHRIDOOFDUV

WKDWZHUHFXUUHQWO\UHJLVWHUHGWRWKHPDQGRUWKHLUVSRXVHRUGRPHVWLFSDUWQHULQDGGLWLRQWR

RWKHULQIRUPDWLRQ:HUDQGRPO\DVVLJQHGFXVWRPHUVWRUHFHLYHDIRUPWKDWHLWKHUDVNHGWKHPDW

WKHWRS LHEHIRUHILOOLQJRXWWKHIRUP RUWKHERWWRP LHDIWHUKDYLQJFRPSOHWHGWKHIRUP RI

WKHIRUPWRVLJQWKHIROORZLQJSOHGJHRIKRQHVW\³,SURPLVHWKDWWKHLQIRUPDWLRQ,DPSURYLGLQJ

LVWUXH´2WKHUZLVHWKHIRUPVZHUHLGHQWLFDO

       &RPSOHWHGIRUPVZHUHUHFHLYHGIURPSROLFLHVIRUDWRWDORIFDUV$VLQJOH

SROLF\FRXOGFRYHUXSWRIRXUFDUVRISROLFLHVKDGRQHFDUKDGWZRFDUVKDGWKUHH

FDUVDQGOHVVWKDQKDGIRXUFDUV:HFRPSDUHGWKHGLIIHUHQFHEHWZHHQWKHFXUUHQWRGRPHWHU

PLOHDJHDVLQGLFDWHGLQWKHPDQLSXODWHGIRUPVWRWKHRGRPHWHUPLOHDJHWKDWFXVWRPHUVKDG

LQGLFDWHGWKH\HDUEHIRUH,IDSROLF\KDGPRUHWKDQRQHFDUZHDYHUDJHGWKDWGLIIHUHQFH7KH

PLOHDJHGLIIHUHQFHUHSUHVHQWVWKHDQQXDOXVDJHRIDFDUZKLFKLQWXUQLQIOXHQFHVDFXVWRPHU¶V

DQQXDOLQVXUDQFHFRVWV7KHIHZHUPLOHVGULYHQWKHOHVVLQVXUDQFHFRVWV7KXVZKHQILOOLQJRXW

WKHDXWRPRELOHSROLF\UHYLHZIRUPFXVWRPHUVIDFHGDGLOHPPDEHWZHHQWUXWKIXOO\LQGLFDWLQJWKH

FXUUHQWRGRPHWHUPLOHDJHDQGGLVKRQHVWO\LQGLFDWLQJDORZHUPLOHDJHLQRUGHUWRUHGXFHWKHLU

LQVXUDQFHSUHPLXP

       6LQFHZHK\SRWKHVL]HGWKDWVLJQLQJDSOHGJHRIKRQRUEHIRUHDVHOIUHSRUWLQJWDVNUDLVHV

WKHVDOLHQF\RISHRSOH¶VHWKLFDOVWDQGDUGVZHH[SHFWHGWKDWFXVWRPHUVZKRVLJQHGWKHSOHGJHRI

KRQRUEHIRUHILOOLQJRXWWKHIRUPZRXOGEHPRUHWUXWKIXODQGWKXVUHSRUWKLJKHUXVDJHWKDQWKRVH

ZKRVLJQHGWKHSOHGJHRIKRQRUDWWKHHQG

5HVXOWVDQG'LVFXVVLRQ
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 848 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


       $VH[SHFWHGFRQWUROOLQJIRUWKHQXPEHURIFDUVSHUSROLF\ )>@ S  WKH

DYHUDJHDQQXDOXVDJHSHUFDUZDVVLJQLILFDQWO\KLJKHUDPRQJFXVWRPHUVZKRVLJQHGWKHSOHGJHRI

KRQRUDWWKHWRSWKHEHJLQQLQJRIWKHIRUP 0 6(06'  WKDQWKRVHZKR

VLJQHGWKHSOHGJHRIKRQRUDWWKHERWWRPHQGRIWKHIRUP 0 6(06' 

)>@ S 7KHDQQXDOGLIIHUHQFHEHWZHHQRXUWZRWUHDWPHQWVZDVRQ

DYHUDJHPLOHVSHUFDU1RWHWKDWWKHUHVXOWVDOVRKROGIRUWKHRGRPHWHUGLIIHUHQFHIRUWKH

ILUVWFDURQO\ VLJQLQJDWWKHWRSEHJLQQLQJ0 6(06' VLJQLQJDWWKH

ERWWRPHQG0 6(06' W>@ S 

       7KHVHUHVXOWVSURYLGHVXSSRUWIRURXUILUVWK\SRWKHVLVZKLFKVXJJHVWHGVXJJHVWVWKDW

UDLVLQJWKHVDOLHQF\RIHWKLFDOVWDQGDUGVE\DVNLQJSHRSOHWRVLJQDSOHGJHRIKRQRUDWWKH

VWDUWEHIRUHUDWKHUWKDQDWWKHHQGRIDIWHUDVHOIUHSRUWLQJWDVNZRXOGORZHUVWKHOLNHOLKRRGRI

FKHDWLQJWKURXJKPLVUHSRUWLQJWKHQXPEHURIPLOHVGULYHQRYHUWKHFRXUVHRIWKH\HDU

                          6WXG\$/DE([SHULPHQWZLWK7D[5HWXUQV

      7RWHVWWKHUREXVWQHVVRIRXUILQGLQJVZHFRQGXFWHGDVHFRQGVWXG\LQWKHODERUDWRU\

XVLQJDVLPLODUVLJQLQJPDQLSXODWLRQ,QWKLVVWXG\ZHDOVRDGGHGDFRQWUROFRQGLWLRQWRH[DPLQH

WKHDFWXDOHIIHFWRIVLJQLQJZKHWKHUVLJQLQJSULRUWRWKHRSSRUWXQLW\WRFKHDWHQFRXUDJHVKRQHVW\

RUZKHWKHUVLJQLQJDIWHUZDUGVDFWXDOO\HQFRXUDJHVXQHWKLFDOEHKDYLRU

0HWKRG

       3DUWLFLSDQWV2QHKXQGUHGDQGRQHVWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKH

VWXG\IRUSD\7KH\UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\

WKURXJKRXWWKHVWXG\
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 849 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 850 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 851 of 1282
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 852 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


WKHVLJQDWXUHDWWKHERWWRPF 0 6' S DQGLQWKHQRVLJQDWXUHFRQGLWLRQV

    0 6' S 7KHGLIIHUHQFHEHWZHHQWKHVHWZRODVWODWWHUFRQGLWLRQVZDVQRW

VLJQLILFDQW S  

'LVFXVVLRQ

         7KHUHVXOWVRI6WXG\SURYLGHIXUWKHUHYLGHQFHIRURXUPDLQK\SRWKHVLVWKDWPDNLQJ

HWKLFVVDOLHQWWKURXJKVLJQLQJRQH¶VQDPHSULRUWRDWDVNZRXOGOHDGVWRORZHUOHYHOVRIFKHDWLQJ

6WXG\DOVRLQFOXGHGDFRQWUROFRQGLWLRQLQZKLFKSDUWLFLSDQWVGLGQRWSURYLGHWKHLUVLJQDWXUH

2XUUHVXOWVLQGLFDWHWKDWRXUILQGLQJVZHUHGULYHQE\WKHVLJQLQJDWWKHWRSFRQGLWLRQVLJQLQJ

SULRUWRDVHOIUHSRUWLQJWDVNSURPRWHGVKRQHVWUHSRUWLQJEXWVLJQLQJDIWHUZDUGVGLGQRWSURPRWH

FKHDWLQJ     QRWWKDWVLQJLQJDIWHUZDUGVOLFHQVHVFKHDWLQJ

                           6WXG\,QFUHDVHG6DOLHQF\RI(WKLFDO6WDQGDUGV

          7KXVIDUZ:HKDYHVRIDUGHPRQVWUDWHGWKDWVLJQLQJRQH¶VQDPHEHIRUHKDYLQJDQ

RSSRUWXQLW\WRFKHDWGLVFRXUDJHVXQHWKLFDOEHKDYLRU+RZHYHUZHPDGHDQLPSOLFLWDVVXPSWLRQ

WKDWVLJQLQJEHIRUHWKHRSSRUWXQLW\WRFKHDWUDWKHUWKDQDIWHUZDUGVLVPRUHOLNHO\WRUDLVHWKH

VDOLHQF\RIPRUDOVWDQGDUGV:HK\SRWKHVL]HGWKDWVLJQLQJRQWKHGRWWHGOLQHDFWLYDWHVWKHVHOI

FRQFHSWDQGEHFDXVHSHRSOHDUHPRWLYDWHGWRYLHZWKHPVHOYHVDVJRRGSHRSOHSULPLQJWKHVHOI

FRQFHSWWKURXJKVLJQLQJRQWKHGRWWHGOLQHZLOOPDNHHWKLFVPRUHVDOLHQW:HWHVWWKLVK\SRWKHVLV

LQRXUWKLUGVWXG\E\XVLQJDGLUHFWPHDVXULQJHRIHWKLFDOVDOLHQF\RUWKHH[WHQWWRZKLFKVLJQLQJ

EHIRUHUDWKHUWKDQDIWHUWKHRSSRUWXQLW\WRFKHDWZKLFKSHRSOHLQFUHDVHGWKHDFFHVVHDFFHVVLELOLW\

RIGZRUGVUHODWHGWRHWKLFVDQGPRUDOLW\ UHODWHGFRQVWUXFWV)ROORZLQJSULRUUHVHDUFKPHDVXULQJ

LPSOLFLWFRJQLWLYHSURFHVVHV %DVVLOL 6PLWK7XOYLQJ6FKDFWHU 6WDUN ZHXVHG

DZRUGFRPSOHWLRQWDVNLQZKLFKSDUWLFLSDQWVDUHZHUHDVNHGWRFRPSOHWHYDULRXVZRUGIUDJPHQWV

ZLWKWKHILUVWOHWWHUVWKDWFDRPHWRPLQG7KLVWDVNDOORZVXVWRWHVWZKHWKHUVLJQLQJDSOHGJHRI
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 853 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 854 of 1282
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 855 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


         8VLQJDQLPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\RXUWKLUGVWXG\VKRZVWKDWVLJQLQJEHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWUDLVHVWKHVDOLHQF\RIPRUDOVWDQGDUGVFRPSDUHGWRVLJQLQJDIWHU

KDYLQJKDGWKHRSSRUWXQLW\WRFKHDW&RQVLVWHQWZLWKRXUK\SRWKHVHVUDLVLQJHWKLFDOVDOLHQF\

GLVFRXUDJHGFKHDWLQJ

                          6WXG\(WKLFDO6DOLHQF\DQG5HGXFHG&KHDWLQJ

        :HFRQGXFWHGDIRXUWKVWXG\WRPRUHFDUHIXOO\H[DPLQHWKHUROHRIHWKLFDOVDOLHQF\LQ

H[SODLQLQJWKHUHVXOWVREVHUYHGLQ6WXGLHVDQGRQFKHDWLQJ,QDGGLWLRQWRH[WHQGWKH

JHQHUDOL]DELOLW\RIRXUILQGLQJVLQ6WXG\ZHHPSOR\HGDGLIIHUHQWPHDVXUHWRDVVHVVFKHDWLQJ

WDVN

0HWKRG

         'HVLJQDQGSURFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWZRFRQGLWLRQV

(WKLFDOVDOLHQF\6LJQDWXUHILUVWYHUVXVFRQWURO$FURVVERWKFRQGLWLRQVWKHLQVWUXFWLRQVLQIRUPHG

WKHPWKDWZHZHUHLQWHUHVWHGLQSHRSOH¶VSHUIRUPDQFHXQGHUSUHVVXUHDFURVVDYDULHW\RIWDVNV

)RUWKLVSDUWLFXODUVWXG\WKH\ZRXOGEHDVNHGWRDQVZHUDTXHVWLRQJHQHUDONQRZOHGJHWHVWRI

PHGLXPGLIILFXOW\ HJ³+RZPDQ\86VWDWHVERUGHU0H[LFR"´DQG³,QZKLFK86VWDWHLV

0RXQW5XVKPRUHORFDWHG"´ DQGWKDWWKH\ZRXOGUHFHLYHIRUHDFKFRUUHFWTXHVWLRQ LQ

DGGLWLRQWRDVKRZXSIHH 3DUWLFLSDQWVZHUHJLYHQPLQXWHVWRDQVZHUWKHTXHVWLRQV

3DUWLFLSDQWVZHUHJLYHQDVWXG\,'WRXVHWKURXJKRXWWKHVWXG\

         2QFHWKHILIWHHQPLQXWHVZHUHRYHUWKHH[SHULPHQWHUGLVWULEXWHGDVHWRIPDWHULDOV

FRQVLVWLQJILUVWRIWKHZRUGIUDJPHQWWDVNHPSOR\HGLQ6WXG\IROORZHGE\DQDQVZHUVKHHW

ZLWKWKHFRUUHFWDQVZHUVWRWKHTXHVWLRQVDQGDILQDOO\DFROOHFWLRQVOLSVRWKDWSDUWLFLSDQWVFRXOG

UHSRUWWKHLUSHUIRUPDQFHDIWHUFKHFNLQJWKHLUDQVZHUV7KLVILQDOVHWRIPDWHULDOVDOVRLQFOXGHG

WKHZRUG IUDJPHQWWDVNHPSOR\HGLQ6WXG\3DUWLFLSDQWVZHUHDVNHGWRUHDGDQGILOORXWWKHVHW
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 856 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


RIPDWHULDOVLQWKHJLYHQRUGHUWKDWLVWKH\ILOOHGRXWWKHZRUGIUDJPHQWWKLVWDVNSULRUWR

FKHFNLQJWKHLUDQVZHUVDQGUHSRUWLQJWKHLUSHUIRUPDQFHRQWKHFROOHFWLRQVOLS

          +DOIRIWKHSDUWLFLSDQWVUHFHLYHGDQH[WUDSDJHRQWRSRIWKLVVHWRIPDWHULDOVZKLFKWKH\

ZHUHDVNHGWRUHDGEHIRUHVROYLQJWKHZRUGIUDJPHQWWDVN7KHSDJHLQFOXGHGDSOHGJHRIKRQHVW\

SDUWLFLSDQWVZHUHDVNHGWRVLJQ³,SURPLVHWKDW,ZLOOUHSRUWLQIRUPDWLRQDERXWP\SHUIRUPDQFH

RQWKHWULYLDWHVWWUXWKIXOO\´ VLJQDWXUHILUVWFRQGLWLRQ 7KHUHPDLQLQJKDOIRIWKHSDUWLFLSDQWV

GLGQRWUHFHLYHWKLVH[WUDSDJH FRQWURO $7KHVHSDUWLFLSDQWVVHUYHGDVRXUFRQWUROFRQGLWLRQDV

ZHDVFHUWDLQHGLQ6WXG\LWLVVLJQLQJEHIRUHDWDVNWKDWSURPRWHVKRQHVWUHSRUWLQJ QRWWKDW

VLJQLQJDIWHUZDUGVOLFHQVHVFKHDWLQJ&RQVLVWHQWZLWKRXUK\SRWKHVHV:ZHK\SRWKHVL]HG

SUHGLFWHGWKDWWKRVHZKRUHFHLYHGDQGVLJQHGWKLVWKHSOHGJHRIKRQHVW\ZRXOGEHPRUHOLNHO\WR

UHSRUWWKHLUSHUIRUPDQFHWUXWKIXOO\DQGWKDWVLJQLQJWKLVWKHSOHGJHZRXOGOHDGWKHPSDUWLFLSDQWV

WRFRPSOHWHWKHZRUGIUDJPHQWWDVNZLWKDKLJKHUQXPEHURIHWKLFVUHODWHGZRUGV

          

          3DUWLFLSDQWV(LJKW\WZRFROOHJHDQGJUDGXDWHVWXGHQWVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOH FRPSOHWHGWKHVWXG\IRUSD\7KH\

UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

VWXG\

5HVXOWVDQG'LVFXVVLRQ

          6DPHDVLQWKHSUHYLRXVVWXGLHVZ   :HFRPSXWHGWKHGLIIHUHQFHEHWZHHQVHOIUHSRUWHG

SHUIRUPDQFHDQGDFWXDOSHUIRUPDQFHRQWKHJHQHUDONQRZOHGJHWDVNE\PDWFKLQJSDUWLFLSDQWV¶

XQLTXHVWXG\,'VWKDWZHUHGHQRWHGRQHDFKVXUYH\IRUP7KLVGLIIHUHQFHVFRUHVHUYHGDVRXU

SUR[\IRUFKHDWLQJ3RVLWLYHGLIIHUHQFHHVFRUHVLQGLFDWHGWKDWSDUWLFLSDQWVRYHUUHSRUWHGWKHLU

SHUIRUPDQFHDQGFKHDWHGRQWKHWDVNVRWKDWWKH\FRXOGPDNHPRUHPRQH\
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 857 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


       :KHQH[DPLQLQJWKHSHUIRUPDQFHGLIIHUHQFHVFRUHVEHWZHHQVHOI UHSRUWHGDQGDFWXDO

SHUIRUPDQFHRQWKHWULYLDWHVWZHIRXQGWKDWLQFRPSDULVRQWRWKHFRQWUROFRQGLWLRQFKHDWLQJZDV

VLJQLILFDQWO\UHGXFHGLQWKHHWKLFDOVDOLHQF\VLJQDWXUHILUVWFRQGLWLRQ 0 6' YV

0 6'  W  S 6XSSRUWLQJWKHVHUHVXOWVWKHSHUFHQWDJHRISDUWLFLSDQWV

ZKRRYHUVWDWHGWKHLUSHUIRUPDQFHZDVKLJKHULQWKHFRQWUROFRQWUROFRQGLWLRQWKDQLQWKH

VLJQDWXUHILUVWFRQGLWLRQ >@YV>@ Ȥ 1  S 7KHVH

UHVXOWVSURYLGHVWURQJVXSSRUWIRUWKHSUHGLFWHGLQYHUVHUHODWLRQVKLSEHWZHHQHWKLFDOVDOLHQF\DQG

FKHDWLQJ

       6LJQLQJEHIRUHWKHRSSRUWXQLW\WRRYHUUHSRUWSHUIRUPDQFHDOVRLQIOXHQFHGWKHQXPEHURI

HWKLFVUHODWHGFRQFHSWVSDUWLFLSDQWVXVHGFDPHXSZLWKLQWKHZRUGIUDJPHQWWDVN3DUWLFLSDQWVLQ

WKHVLJQDWXUHILUVWFRQGLWLRQXVHGIRXQGPRUHHWKLFVUHODWHGZRUGV 0 6'  WKDQGLG

WKRVHLQWKHFRQWUROFRQGLWLRQ 0 6'  )  SȘ 

       )LQDOO\ZHWHVWHGZKHWKHUHWKLFVUHODWHGFRQFHSWV RXUSUR[\IRUVDOLHQF\RIPRUDO

VWDQGDUGV PHGLDWHGWKHHIIHFWRIFRQGLWLRQRQWKHH[WHQWRIFKHDWLQJRQWKHWULYLDWDVN%RWK

FRQGLWLRQDQGWKHQXPEHURIHWKLFVUHODWHGFRQFHSWVZHUHHQWHUHGLQWRDOLQHDUUHJUHVVLRQPRGHO

SUHGLFWLQJH[WHQWRIFKHDWLQJ7KLVDQDO\VLVUHYHDOHGVWKDWWKHHIIHFWRIFRQGLWLRQZDV

VLJQLILFDQWO\UHGXFHG IURPȕ S WRȕ S ZKHUHDVWKHQXPEHURIHWKLFV

UHODWHGFRQFHSWVZDVDVLJQLILFDQWSUHGLFWRURIFKHDWLQJ ȕ S 8VLQJWKH

ERRWVWUDSSLQJPHWKRG ZLWKLWHUDWLRQV UHFRPPHQGHGE\3UHDFKHUDQG+D\HV  ZH

WHVWHGWKHVLJQLILFDQFHRIWKHLQGLUHFWHIIHFWRIFRQGLWLRQRQGLVKRQHVWEHKDYLRUWKURXJKWKH

DFWLYDWLRQRIHWKLFVUHODWHGFRQFHSWV7KHFRQILGHQFHLQWHUYDOIRUWKHLQGLUHFWHIIHFWGLGQRW

LQFOXGH]HUR  VXJJHVWLQJVLJQLILFDQWPHGLDWLRQ7KXVFRQVLVWHQWZLWKRXUSUHGLFWLRQV
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 858 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


WKHQXPEHURIHWKLFVUHODWHGFRQFHSWVVLJQLILFDQWO\PHGLDWHGWKHUHODWLRQVKLSEHWZHHQRXU

PDQLSXODWLRQ LHVLJQDWXUHILUVW DQGGLVKRQHVWEHKDYLRU

       7RJHWKHUWKHVHUHVXOWVSURYLGHVWURQJVXSSRUWIRUWKHSUHGLFWHGLQYHUVHUHODWLRQVKLS

EHWZHHQHWKLFDOVDOLHQF\DQGFKHDWLQJ

       7DNHQWRJHWKHUWKHVHUHVXOWVSURYLGHIXUWKHUHYLGHQFHIRUWKHHIIHFWRIWKDWUDLVLQJHWKLFDO

VDOLHQF\RQUHGXFHVFKHDWLQJ

                                        *HQHUDO'LVFXVVLRQ

       $FURVVIRXUVWXGLHVZHFRQVLVWHQWO\IRXQGWKDWPDNLQJHWKLFVVDOLHQWWKURXJKUHTXLULQJ

RQH¶VVLJQDWXUHEHIRUHDIDFLQJDWDVNWHPSWDWLRQWRFKHDWLVDQHIIHFWLYHPHDQWRGLVFRXUDJH

GLVKRQHVW\EHFDXVHLWPDNHVHWKLFVPRUHVDOLHQW,QHDFKRIRXUVWXGLHVZHPDQLSXODWHGZKHQ

PRUDOVWDQGDUGVZHUHPDGHVDOLHQWZKHQSDUWLFLSDQWVIDFHGWKHGHFLVLRQWREHKDYHGLVKRQHVWO\,Q

6WXG\ZHFRQGXFWHGDILHOGH[SHULPHQWZLWKDQDXWRPRELOHLQVXUDQFHFRPSDQ\LQZKLFKZH

YDULHGZKHWKHULQGLYLGXDOVFXVWRPHUVILOOLQJRXWDUHSRUWRIWKHQXPEHURIPLOHVWKH\GURYHWKH

\HDUSULRULQWKHSDVW\HDUVLJQHGDSOHGJHRIKRQHVW\HLWKHUEHIRUHRUDIWHUUHSRUWLQJWKHPLOHDJH

QXPEHU2XUUHVXOWVVKRZHGWKDWSHRSOHFXVWRPHUVUHSRUWHGKDYLQJGULYHQDKLJKHUQXPEHURI

PLOHVZKHQWKH\VLJQHGDSOHGJHRIKRQRUEHIRUHILOOLQJRXWWKHIRUPWKDQWKRVHZKRVLJQHGDWWKH

HQGLQGLFDWLQJVXJJHVWLQJWKDWUDLVLQJWKHVDOLHQF\RIHWKLFDOVWDQGDUGVVXEVHTXHQWO\OHGWRPRUH

WUXWKIXOVHOIUHSRUWLQJ,Q6WXGLHVDQGZHPRYHGIURPDILHOGVHWWLQJWRDFRQWUROOHG

ODERUDWRU\VHWWLQJ,QERWKVWXGLHVSDUWLFLSDQWVKDGWKHRSSRUWXQLW\WRVLJQDWD[IRUPHLWKHU

EHIRUHRUDIWHUPDNLQJFODLPVUHJDUGLQJWKHLUSHUIRUPDQFHRQDWDVN3URYLGLQJIXUWKHUVXSSRUW

IRUWKHUHVXOWVRIWKHILHOGVWXG\WKHILQGLQJVRI6WXGLHVDQGGHPRQVWUDWHGWKDWKDYLQJWKH

RSSRUWXQLW\WRVLJQLQJDSOHGJHRIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWGLVFRXUDJHV

GLVKRQHVW\)LQDOO\6WXG\H[DPLQHGVWKHXQGHUO\LQJSV\FKRORJLFDOSURFHVVWKDWOLQNVWKHDFWRI
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 859 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


VLJQLQJEHIRUHILOOLQJRXWDIRUPZLWKWKHOLNHOLKRRGRIRYHU UHSRUWLQJSHUIRUPDQFHFKHDWLQJ7KH

VWXG\LQFOXGHGDQLPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\SDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHZRUG

IUDJPHQWVE\XVLQJWKHILUVWZRUGWKDWFDPHWRPLQG:HILQGIRXQGWKDWWKHDFWRIVLJQLQJRQH¶V

QDPHSULRUWRDWDVNLQFUHDVHGWKHVDOLHQF\RIHRISDUWLFLSDQWV¶HWKLFDOVWDQGDUGVDQGWKLV

KHLJKWHQHGHWKLFDOVDOLHQF\H[SODLQVIXOO\PHGLDWHGWKHUHODWLRQVKLSEHWZHHQVLJQLQJDSOHGJHRI

KRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWDQGVXEVHTXHQWGLVKRQHVWEHKDYLRU

7KHRUHWLFDO&RQWULEXWLRQV

      2XUILQGLQJVFRQWULEXWHWRWKHOLWHUDWXUHRQKRZVHOIDZDUHQHVV 'XYDO :LFNOXQG

 KRZDFWLYDWLQJVHOI FRQFHSWFDQQXGJHSHRSOH¶VEHKDYLRUIRUWKHEHWWHU:HLQFUHDVHG

KRQHVW\LQERWKODERUDWRU\DQGILHOGVHWWLQJVE\DVNLQJSDUWLFLSDQWVWRVLJQWKHLUQDPHSULRUWRWKH

VWDUWRIDWDVN7KHDFWRIVLJQLQJDFWLYDWHGDVHQVHRIVHOIDQGLQFUHDVHGWKHVDOLHQF\RIHWKLFDO

VWDQGDUGV-XVWDV+DOH\DQG)HVVOHU  SURPRWHGLQFUHDVHGVKDULQJSDUWLFLSDQWVWRJLYHPRUH

JHQHURXVRIIHUVLQDQDQRQ\PRXVHFRQRPLFJDPHE\LQWURGXFLQJWKHVXEWOHSULPHRIH\HOLNH

VKDSHVLQWKHEDFNGURSEDFNJURXQGRIWKHJDPHFRPSXWHUVFUHHQ  ZHSURPRWHGKRQHVW

EHKDYLRULQRXUVWXGLHVE\OHDGLQJSDUWLFLSDQWVWRWXUQWKHLUPRUDOJD]HLQZDUG²WRWKHLURZQ

EHKDYLRU²E\DVNLQJWKHPWRVLJQWKHLUQDPHXQGHUDSOHGJHRIKRQRUSULRUWRVWDUWLQJWKH

WDVNVILOOLQJRXWDQLQVXUDQFHRUWD[IRUP

      :HDOVRFRQWULEXWHWRWKHHWKLFVOLWHUDWXUHRQKRZHIIHFWLYHO\ZD\VWRUHGXFHGLVKRQHVW\

%\LQWURGXFLQJDVOLJKWFKDQJHLQWRWKHW\SLFDOGHVLJQRIIRUPVXVHGIRUH[DPSOHE\WKH,56RU

LQVXUDQFHFRPSDQLHVLQRXUVWXGLHV WKRXJKPRYLQJWKHORFDWLRQRIWKHVLJQDWXUH ZHREVHUYHGD

VLJQLILFDQWVKLIWWRZDUGVKRQHVWEHKDYLRU,QSDUWLFXODUE\PRYLQJWKHORFDWLRQRIWKHVLJQDWXUH

IURPWKHHQGWRWKHEHJLQQLQJRIDIRUPZHIRXQGPRUHLQWKHIRUPVRIPRUHWUXWKIXOUHSRUWLQJ

OHVVSHUIRUPDQFHLQIODWLRQOHVVRYHUFODLPLQJRIFUHGLWVDQGIHZHUGHGXFWLRQFODLPV$VLPSOH
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 860 of 1282
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 861 of 1282




                                                                              0DNLQJ(WKLFV6DOLHQW


           :HEHOLHYHRQHRIWKHPRVWLPSRUWDQWGRPDLQVWRZKLFKRXUILQGLQJVPD\EHDSSOLHGLV

WKHGRPDLQRIWD[HV$VWKHIHGHUDOWD[JDSVRDUVWRRYHUELOOLRQHDFK\HDU 0RUVH 

WKHDPRXQWVSHQWRQWD[FRPSOLDQFHDQGLQYHVWLJDWLRQKDVDOVRVHHQGUDPDWLFLQFUHDVHV:KLOH

WKHFXUUHQWVWUXFWXUHRIIHGHUDOWD[IRUPV DQGDOPRVWHYHU\VWDWHWD[IRUP UHTXLUHVWKHWD[SD\HU

    RUIRUPSUHSDUHU WRVLJQDWWKHHQGRIWKHIRUPVLPSO\VKLIWLQJWKHVLJQDWXUHWRWKHVWDUWRIWKH

IRUPPD\KHOSWKHIHGHUDODQGVWDWHJRYHUQPHQWVFORVHDVLJQLILFDQWSRUWLRQRIWKHWD[JDSDQG

UHDOL]HHQRUPRXVVDYLQJVLQWD[FRPSOLDQFHDQGLQYHVWLJDWLRQFRVWV

                                                &RQFOXVLRQ

           %\VLPSO\DVNLQJSDUWLFLSDQWVWRVLJQRQWKHGRWWHGOLQHSULRUWRDWDVNLQZKLFKWKH\KDYH

WKHRSSRUWXQLW\WRFKHDWUDWKHUWKDQDWWKHHQGZHIRXQGVLJQLILFDQWUHGXFWLRQVLQOHYHOVRI

FKHDWLQJH[WHQWRIRYHUFODLPLQJFUHGLWVDQGH[DJJHUDWLRQRIGHGXFWLRQVIURPWD[DEOHLQFRPH

:HIRXQGWKDWPRYLQJWKHORFDWLRQRIDUHTXLUHGVLJQDWXUHIURPWKHHQGWRWKHVWDUWRIDVHOI

UHSRUWIRUPSURPRWHGPRUHKRQHVWUHSRUWLQJ7KLVLVMXVWDVPDOOVXEVHWRIWKHH[WHQVLYHGRPDLQ

RIEHKDYLRUVZKLFKUHO\RQKRQHVWVHOIUHSRUWLQJRQWKHSDUWRIWKHLQGLYLGXDO$QLQWHUYHQWLRQDV

VLPSOHDVVKLIWLQJWKHVLJQDWXUHORFDWLRQFDQOHDGWRDPHDQLQJIXOGLIIHUHQFHLQEHKDYLRUWKDW

IROORZV6LJQLQJRQWKHGRWWHGOLQHFDQVKLIWWKHPRUDOJD]HLQZDUGUDLVHWKHVDOLHQF\RIHWKLFDO

VWDQGDUGVDQGVSLOORYHUWRSURPRWHPRUHHWKLFDODFWLRQVJRLQJIRUZDUG



          



                                 
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 862 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 863 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 864 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 865 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 866 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 867 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 868 of 1282




                                                                      0DNLQJ(WKLFV6DOLHQW


6KX/*LQR) %D]HUPDQ0  'LVKRQHVWGHHGFOHDUFRQVFLHQFH:KHQFKHDWLQJ

       OHDGVWRPRUDOGLVHQJDJHPHQWDQGPRWLYDWHGIRUJHWWLQJ3HUVRQDOLW\DQG6RFLDO

       3V\FKRORJ\%XOOHWLQ  

=KRQJ&%%RKQV9 *LQR)  

                            
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 869 of 1282




                                                                       0DNLQJ(WKLFV6DOLHQW


                                        )LJXUH&DSWLRQV

                                                

)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[VHDUFKWDVNE\FRQGLWLRQ6WXG\




                                                                           




)LJXUH5HSRUWHGGHGXFWLRQVE\FRQGLWLRQ6WXG\




                                                                            


                            
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 870 of 1282




                                                                       0DNLQJ(WKLFV6DOLHQW


)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[VHDUFKWDVNE\FRQGLWLRQ6WXG\




                                                                         



Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 871 of 1282



                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                    0DQXVFULSW9HUVLRQ
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 872 of 1282

                                                                          0DNLQJ(WKLFV6DOLHQW


5XQQLQJ+HDG0$.,1*(7+,&66$/,(17





                                       0DNLQJ(WKLFV6DOLHQW

                        6LJQLQJRQWKH'RWWHG/LQH7XUQV0RUDO*D]H,QZDUG

                                                  

                                              /LVD6KX

                                            1LQD0D]DU

                                          )UDQFHVFD*LQR

                                            'DQ$ULHO\

                                          0D[%D]HUPDQ

                                                  
                 
                     +DUYDUG8QLYHUVLW\8QLYHUVLW\RI7RURQWR'XNH8QLYHUVLW\











7KHDXWKRUVWKDQN-HQQLIHU)LQNDQG5XWK:LQHFRIIIRUWKHLUKHOSZLWKGDWDFROOHFWLRQDQGHQWU\

7KHDXWKRUVJUHDWO\DSSUHFLDWHWKHVXSSRUWDQGIDFLOLWLHVRIWKH&HQWHUIRU'HFLVLRQ5HVHDUFKDW

WKH8QLYHUVLW\RI1RUWK&DUROLQDDW&KDSHO+LOO7KHDXWKRUVWKDQNWKH)XTXD6FKRRORI%XVLQHVV

DQG+DUYDUG%XVLQHVV6FKRROIRUWKHLUILQDQFLDOVXSSRUW3OHDVHDGGUHVVFRUUHVSRQGHQFHWR

                        
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 873 of 1282

                                                                           0DNLQJ(WKLFV6DOLHQW


                                             $EVWUDFW

$OWKRXJKSHRSOHFDUHDERXWPRUDOLW\DQGEHLQJVHHQDVHWKLFDOE\RWKHUVWKH\VRPHWLPHVJLYHLQ

WRWHPSWDWLRQWREHKDYHGLVKRQHVWO\ZKHQEHQHILFLDOWRWKHP3ULRUZRUNKDVIRFXVHGSULPDULO\

RQWKHSV\FKRORJLFDODQGVLWXDWLRQDOIRUFHVWKDWVZLQJSHRSOH¶VPRUDOFRPSDVV7KHFXUUHQWSDSHU

EXLOGVXSRQWKLVERG\RIUHVHDUFKWRGHYHORSDQHDVLO\LPSOHPHQWDEOHPHWKRGWRGLVFRXUDJH

GLVKRQHVW\VLJQLQJDSOHGJHRIKRQHVW\SULRUUDWKHUWKDQDIWHUKDYLQJWKHRSSRUWXQLW\WRFKHDW

8VLQJERWKILHOGDQGODEH[SHULPHQWVZHILQGWKDWVLJQLQJDSOHGJHRIKRQHVW\SULRUWRKDYLQJWKH

RSSRUWXQLW\WRFKHDWUDLVHVWKHVDOLHQF\RIHWKLFVDQGPRUDOLW\ZKLFKGLVFRXUDJHVFKHDWLQJ

,PSOLFDWLRQVIRUERWKUHVHDUFKRQEHKDYLRUDOHWKLFVDVZHOODVSUDFWLFHDUHGLVFXVVHG



.H\ZRUGV6LJQLQJ(WKLFV'LVKRQHVW\0RUDOLW\6DOLHQF\&KHDWLQJ

                             
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 874 of 1282

                                                                            0DNLQJ(WKLFV6DOLHQW


       ,Q'HFHPEHU7LPRWK\6FKHWHOLFK²ZKRKDGEHHQZRUNLQJDVD&HUWLILHG3XEOLF

$FFRXQWDQWLQ6SULQJILHOG 86$ IRU\HDUV²SOHDGHGJXLOW\WRSUHSDULQJIDOVHWD[UHWXUQVIRU

VHYHUDOFOLHQWVZKLFKHDUQHGKLPKLJKHUFRPPLVVLRQV2YHUWKH\HDUVKHFODLPHGVRPHRIWKHP

KDGOHJLWLPDWHEXVLQHVVH[SHQVHVZKHQLQIDFWWKH\GLGQRWRZQDEXVLQHVVRUKHIDEULFDWHGDQG

LQIODWHGGHGXFWLRQVIRUH[SHQVHVWRREWDLQUHIXQGVWKHFOLHQWVZHUHQRWHQWLWOHGWRUHFHLYH7KLV

FDVHLVMXVWRQHH[DPSOHRIWKHPDQ\VLWXDWLRQVLQZKLFKSHRSOHFURVVHWKLFDOERXQGDULHVWR

DGYDQFHWKHLUVHOILQWHUHVW,QDGGLWLRQWRLQGLYLGXDOWD[SD\HUVPRVWEXVLQHVVHVUHJXODUO\FKHDWRQ

WKHLUWD[HV 0RUVH DQGWKLVXQSDLGWD[DPRXQWVWRURXJKO\ELOOLRQHYHU\\HDU

6LPLODUO\RWKHUIRUPVRIXQHWKLFDOEHKDYLRUKDYHEHHQFRYHUHGLQWKHQHZVLQUHFHQW\HDUV

LQFOXGLQJVWRULHVRIH[HFXWLYHVLQIODWLQJWKHLUEXVLQHVVH[SHQVHVHPSOR\HHVVWHDOLQJIURPWKHLU

RZQHPSOR\HUVSURIHVVLRQDOVRYHUVWDWLQJWKHLUKRXUVDQGPDQDJHUVLQIODWLQJSHUIRUPDQFHWR

VXSHULRUVWRPHQWLRQMXVWDIHZ 0D]DU $ULHO\*LQR 3LHUFH 

       7KHSHUYDVLYHQHVVRIWKHVHFRPPRQXQHWKLFDOSUDFWLFHVLQRUJDQL]DWLRQVDQGVRFLHW\PRUH

EURDGO\KDVJHQHUDWHGFRQVLGHUDEOHLQWHUHVWDPRQJVFKRODUVLQDYDULHW\RIGLVFLSOLQHVLQFOXGLQJ

RUJDQL]DWLRQDOEHKDYLRUSV\FKRORJ\SKLORVRSK\DQGHFRQRPLFV HJ%URZQ 7UHYLxR

*QHH]\+DLGW1LFKROV .QREH7HQEUXQVHO'LHNPDQQ:DGH%HQ]RQL 

%D]HUPDQ7HQEUXQVHO 6PLWK&URZH7UHYLxR:HDYHU 5H\QROGV 

7RJHWKHUWKHZRUNRIWKHVHVFKRODUVVXJJHVWVWKDWWKHUHDUHDWOHDVWWZRW\SHVRILQGLYLGXDOVWKRVH

ZKRRQO\FDUHDERXWWKHLUVHOILQWHUHVWDQGWKHUHIRUHZLOODFWXQHWKLFDOO\LIEHQHILFLDODQGQRWWRR

FRVWO\WRWKHP HJ%ULHI%XWWUDP 'XNHULFN/HZLFNL3RODQG0LQWRQ 6KHSSDUG

 DQGWKRVHZKRGRFDUHDERXWPRUDOLW\EXWILQGZD\VWRSHUPLWXQHWKLFDOEHKDYLRUZLWKRXW

YLRODWLQJWKHLUPRUDOVWDQGDUGV HJ$\DO *LQR0D]DU$PLU $ULHO\

7HQEUXQVHOHWDO ,QWKHODWWHUFDVHHYHQJRRGSHRSOHFDQILQGWKHPVHOYHVFURVVLQJHWKLFDO
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 875 of 1282

                                                                              0DNLQJ(WKLFV6DOLHQW


ERXQGDULHV)DFWRUVVXFKDVDPELJXLW\JHQHUDOFXOWXUDORULHQWDWLRQVDVZHOODVVXUSULVLQJO\

VXEWOHVLWXDWLRQDOLQIOXHQFHVFDQIDFLOLWDWHWKHLUPRUDOWUDQVJUHVVLRQV)RULQVWDQFH6FKZHLW]HU

DQG+VHH  DVZHOODV%DXPHLVWHU  KDYHVKRZQWKDWZKHQSHRSOHHQJDJHLQ

DPELJXRXVDFWLRQVWKH\FDQDQGRIWHQGRFDWHJRUL]HWKHPLQSRVLWLYHWHUPVWKHUHE\DYRLGLQJWKH

QHHGWRQHJDWLYHO\XSGDWHWKHLUPRUDOVHOILPDJH,QUHODWHGZRUN0D]DUDQG$JJDUZDO  

UHSRUWHGWKDWFROOHFWLYLVPSURPRWHVEULEHU\E\PLWLJDWLQJWKHSHUFHLYHGUHVSRQVLELOLW\IRURQH¶V

DFWLRQVDQG=KRQJ%RKQVDQG*LQR  IRXQGWKDWDPELHQWGDUNQHVVFDQIDFLOLWDWHSHRSOH¶V

WUDQVJUHVVLRQVE\PLWLJDWLQJLOOXVRU\DQRQ\PLW\

        7RGDWHPRVWRIWKLVUHVHDUFKKDVIRFXVHGSULPDULO\RQWKHPRWLYHVDQGFKDUDFWHULVWLFVRI

WKHZURQJGRHUVRURQWKHRUJDQL]DWLRQDODQGHQYLURQPHQWDOIDFWRUVWKDWFDQLQIOXHQFHRQH¶V

DFWLRQV%XLOGLQJRQWKLVERG\RIZRUNWKHJRDORIWKHFXUUHQWSDSHULVWRGHYHORSDQGWHVWDQ

HIILFLHQWDQGHIIHFWLYHLPSOHPHQWDWLRQRIDPHDVXUHWRUHGXFHRUHOLPLQDWHXQHWKLFDOEHKDYLRUV²

SDUWLFXODUO\EHKDYLRUVWKDWUHO\RQVHOIPRQLWRULQJLQOLHXRIVRFLHWDOUHVWUDLQWV)LOLQJWD[HV

FODLPLQJEXVLQHVVH[SHQVHVUHSRUWLQJELOODEOHKRXUVDQGDGYHUWLVLQJDXVHGSURGXFWDUHDOO

H[DPSOHVRIVXFKEHKDYLRUVWKDWUHO\RQWUXWKIXOVHOIUHSRUWV7KHVHEHKDYLRUVDVVXPHIXOO

KRQHVW\RQWKHLQGLYLGXDOOHYHODQ\GHSDUWXUHFDQOHDGWRVLJQLILFDQWHFRQRPLFORVVHV7KXVLWLV

SDUWLFXODUO\LPSRUWDQWWRLGHQWLI\SUDFWLFDOLQWHUYHQWLRQVWKDWSURPRWHKRQHVW\LQGRPDLQVWKDW

UHO\RQWUXWKIXOVHOIUHSRUWV

        7KLVSDSHUWHVWVWKHLPSOHPHQWDWLRQRIRQHVSHFLILFPHDVXUHRISURPRWLQJKRQHVWVHOI

UHSRUWLQJPDNLQJHWKLFDOVWDQGDUGVVDOLHQWEHIRUHIDFLQJDWHPSWDWLRQWREHGLVKRQHVW:H

SURSRVHDVXEWOHEXWVSHFLILFLPSOHPHQWDWLRQWRUDLVHHWKLFDOVDOLHQF\VLJQLQJRQH¶VQDPHEHIRUH

UDWKHUWKDQDIWHUILOOLQJRXWIRUH[DPSOHDQGLQVXUDQFHRUWD[IRUPDVLVWKHFXUUHQWJHQHUDO

SUDFWLFH,QERWKILHOGDQGODERUDWRU\FRQWH[WVZHVWXG\WKHHIIHFWRIVLJQLQJRQH¶VQDPHEHIRUH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 876 of 1282

                                                                           0DNLQJ(WKLFV6DOLHQW


YHUVXVDIWHUDQRSSRUWXQLW\WRFKHDWRQWKHVDOLHQF\RIRQH¶VRZQPRUDOVWDQGDUGVDQGGLVSOD\HG

GLVKRQHVW\7KHUHDUHPDQ\GRPDLQVLQZKLFKVLJQLQJDVWDWHPHQWWRFRQILUPWKHWUXWKIXOQHVVRI

DUHSRUWLVDOUHDG\UHTXLUHGVXFKDVLQVXUDQFHVRUWD[HV+RZHYHUW\SLFDOO\WKHVLJQDWXUHLV

UHTXHVWHGDIWHU²UDWKHUWKDQSULRUWR²UHSRUWLQJ:HVXJJHVWWKDWVLPSO\PRYLQJWKHVLJQDWXUH

IURPWKHERWWRPWRWKHWRSRIDIRUPZLOOEULQJRQH¶VPRUDOVWDQGDUGVLQWRIRFXVDQG

VXEVHTXHQWO\SURPRWHKRQHVW\ZKLOHGLVFRXUDJLQJFKHDWLQJ

                            7KH,PSDFWRI6LJQLQJRQWKH'RWWHG/LQH

       :HK\SRWKHVL]HWKDWVLJQLQJRQWKHGRWWHGOLQHLQFUHDVHVDWWHQWLRQWRWKHVHOIDQGRQH¶V

RZQHWKLFDOVWDQGDUGVZKLFKLQWXUQFKDQJHSHRSOH¶VEHKDYLRU3UHYLRXVUHVHDUFKKDVVKRZQ

WKDWHYHQVXEWOHFXHVFDQDFWLYDWHWKHVHOIDQGOHDGWRVXUSULVLQJO\SRZHUIXOHIIHFWVRQFRQVHTXHQW

EHKDYLRU)RUH[DPSOHZKHQSOD\LQJDQDQRQ\PRXVHFRQRPLFJDPHSHRSOHDUHPRUHJHQHURXV

ZKHQWKHUHLVHYHQWKHQXDQFHGSUHVHQFHRIH\HOLNHVKDSHVLQWKHFRPSXWHUEDFNJURXQG +DOH\

 )HVVOHU5LJGRQ,VKLL:DWDEH.LWD\DPD ,QDPRUHQDWXUDOLVWLFVHWWLQJ

UHVHDUFKHUVKDYHH[DPLQHGWKHHIIHFWRIDQLPDJHRIDSDLURIH\HVRQWKHDPRXQWRIPRQH\

SHRSOHSXWLQWRDSD\RQ\RXUKRQRUFDVKER[ZKHQSXUFKDVLQJFRIIHH:KHQH\HVZHUH

GLVSOD\HGRQWKHFRQWULEXWLRQVER[LQVWHDGRIIORZHUVQHDUO\WKUHHWLPHVWKHDPRXQWRIPRQH\

ZDVFROOHFWHG %DWHVRQ1HWWOH 5REHUWV 6LPLODUO\0D]DU$PLUDQG$ULHO\  

IRXQGWKDWDVNLQJLQGLYLGXDOVWRUHFDOOWKH7HQ&RPPDQGPHQWVRUVLJQDQGKRQRUFRGHZHUHOHVV

OLNHO\WRFKHDWDQGHDUQXQGHVHUYHGPRQH\ZKHQVHOIUHSRUWLQJWKHLUSHUIRUPDQFHWKDQWKRVHZKR

KDGWRUHFDOOWKHQERRNVRUWKDWZHUHQRWDVNHGWRVLJQDQKRQRUFRGH VHHDOVR6KX*LQR 

%D]HUPDQIRUVLJQLQJYHUVXVUHDGLQJDQKRQRUFRGH 

       7KHVHSDSHUVVXJJHVWWKDWWKHLUPDQLSXODWLRQV H\HVKRQRUFRGHHWF PDGHHWKLFVPRUH

VDOLHQW$QGLQVXFKFDVHVSHRSOHZRXOGSD\JUHDWHUDWWHQWLRQWRWKHLUPRUDOVWDQGDUGVDQGZRXOG

EHPRUHOLNHO\WRVFUXWLQL]HWKHHWKLFDOLW\RIWKHLURZQEHKDYLRU$VDFRQVHTXHQFHPRUDO
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 877 of 1282

                                                                              0DNLQJ(WKLFV6DOLHQW


VDOLHQF\GHFUHDVHVSHRSOH¶VWHQGHQF\WRHQJDJHLQGLVKRQHVWDFWVDQGLQFUHDVHVWKHULJLGLW\RI

WKHLUMXGJPHQWVRIHWKLFDOLW\<HWWKHHIIHFWLYHQHVVRIWKHVHPDQLSXODWLRQVLQPDNLQJPRUDOLW\

VDOLHQWZDVQRWWHVWHGGLUHFWO\EXWDVVXPHGE\REVHUYLQJGLIIHUHQFHVLQXQHWKLFDOEHKDYLRU

IROORZLQJWKHYDULRXVPDQLSXODWLRQV,QWKHFXUUHQWZRUNLQVWHDGZHWHVWWKLVOLQNGLUHFWO\E\

HPSOR\LQJDQLPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\

       2XUZRUNGLIIHUVIURPSULRUZRUNRQWKHHIIHFWVRIPRUDOVDOLHQF\RQGLVFRXUDJLQJ

GLVKRQHVW\DOVRLQDQRWKHULPSRUWDQWZD\$OWKRXJKSULRUZRUNKDVIRFXVHGRQH[WHUQDOIDFWRUV

WKDWUDLVHWKHVDOLHQF\RIHWKLFDOVWDQGDUGV VXFKDVWKHSUHVHQFHRIDSDLURIH\HVRURIDQKRQRU

FRGH KHUHZHIRFXVRQDPDQLSXODWLRQWKDWUDLVHVWKHVDOLHQF\RIRQH¶VRZQVHQVHRIPRUDOVHOI

LQOLQHZLWK'XYDO :LFNOXQG¶V  WKHRU\RIREMHFWLYHVHOIDZDUHQHVV2EMHFWLYHVHOI

DZDUHQHVVWKHRU\LVFRQFHUQHGZLWKWKHVHOIUHIOH[LYHTXDOLW\RIWKHFRQVFLRXVQHVV 'XYDO 

:LFNOXQG ³:KHQDWWHQWLRQLVGLUHFWHGLQZDUGDQGWKHLQGLYLGXDO¶VFRQVFLRXVQHVVLV

IRFXVHGRQKLPVHOIKHLVWKHREMHFWRIKLVRZQFRQVFLRXVQHVV±KHQFHµREMHFWLYH¶VHOIDZDUHQHVV´

'XYDO :LFNOXQGS 7KLVLVFRQWUDVWHGZLWK³VXEMHFWLYHVHOIDZDUHQHVV´WKDWUHVXOWV

ZKHQDWWHQWLRQLVGLUHFWHGDZD\IURPWKHVHOIDQGWKHSHUVRQ³H[SHULHQFHVKLPVHOIDVWKHVRXUFH

RISHUFHSWLRQDQGDFWLRQ´ 'XYDO :LFNOXQGS 

       ,QLWVRULJLQDOIRUPXODWLRQWKHWKHRU\DVVXPHGWKDWWKHRULHQWDWLRQRIFRQVFLRXVDWWHQWLRQ

ZDVWKHHVVHQFHRIVHOIHYDOXDWLRQ)RFXVLQJDWWHQWLRQRQWKHVHOIEURXJKWDERXWREMHFWLYHVHOI

DZDUHQHVVZKLFKLQLWLDWHGDQDXWRPDWLFFRPSDULVRQRIWKHVHOIDJDLQVWVWDQGDUGV7KHVHOIZDV

GHILQHGYHU\EURDGO\DVWKHSHUVRQ¶VNQRZOHGJHRIWKHSHUVRQ$VWDQGDUGZDV³GHILQHGDVD

PHQWDOUHSUHVHQWDWLRQRIFRUUHFWEHKDYLRUDWWLWXGHVDQGWUDLWV$OORIWKHVWDQGDUGVRI

FRUUHFWQHVVWDNHQWRJHWKHUGHILQHZKDWDµFRUUHFW¶SHUVRQLV´ 'XYDO :LFNOXQGSS 

7KLVVLPSOHV\VWHPFRQVLVWLQJRIVHOIVWDQGDUGVDQGDWWHQWLRQDOIRFXVZDVDVVXPHGWRRSHUDWH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 878 of 1282

                                                                             0DNLQJ(WKLFV6DOLHQW


DFFRUGLQJWRJHVWDOWFRQVLVWHQF\SULQFLSOHV +HLGHU :KHQHYHUDGLVFUHSDQF\EHWZHHQVHOI

DQGVWDQGDUGVRFFXUUHGWKHGHFLVLRQPDNHUH[SHULHQFHGQHJDWLYHDIIHFWDQGEHFDXVHRIWKLV

DYHUVLYHVWDWHVKHZDVPRWLYDWHGWRUHVWRUHFRQVLVWHQF\

       %XLOGLQJXSRQWKHUHVHDUFKWKDWWKHVHOILVPDOOHDEOH VHHHJ6KLK3LWWLQVN\DQG

$PEDG\ DQGSURQHWRHYHQVXEWOHSULPHVLQWKHHQYLURQPHQWZHH[DPLQHDVSHFLILFW\SH

RISULPHWKDWFDQEHHDVLO\LPSOHPHQWHGLQYDULRXVUHDOZRUOGFRQWH[WWRDIIHFWLQGLYLGXDOV¶

HWKLFDOFRQGXFWDQGDLPWRSURYLGHHYLGHQFHRIWKHSURFHVVLWHYRNHVVLJQLQJDSOHGJHRI

KRQHVW\:HWHVWWKDWWKHDFWRIVLJQLQJRQH¶VQDPHEHIRUHUDWKHUWKDQDIWHUDVHOIUHSRUWHG

SHUIRUPDQFHEULQJVLQWRIRFXVRQH¶VPRUDOFRPSDVVDQGHWKLFDOVWDQGDUGVWKXVGLVFRXUDJLQJ

GLVKRQHVWDFWLRQV

       7RVXPPDUL]HZHSURSRVHDQGWHVWWKHIROORZLQJK\SRWKHVHV

       +\SRWKHVLV6LJQLQJRQH¶VQDPHSULRUWRDVHOIUHSRUWLQJWDVNZLOOSURPRWHPRUHKRQHVW
       UHSRUWLQJUHODWLYHWRVLJQLQJRQH¶VQDPHDIWHUWKHWDVN
       
       +\SRWKHVLV6LJQLQJRQH¶VQDPHSULRUWRDVHOIUHSRUWLQJWDVNLQFUHDVHVWKHVDOLHQF\RI
       PRUDOVWDQGDUGV
       
       +\SRWKHVLV+HLJKWHQHGVDOLHQF\RIPRUDOVWDQGDUGVZLOOPHGLDWHWKHHIIHFWRIVLJQLQJ
       RQH¶VQDPHRQKRQHVWVHOIUHSRUWLQJ
       
2YHUYLHZRIWKH5HVHDUFK

       :HWHVWHGWKHVHK\SRWKHVHVLQIRXUVWXGLHVLQZKLFKSDUWLFLSDQWVKDGWKHRSSRUWXQLW\WR

FKHDWWKURXJKGLVKRQHVWVHOIUHSRUWLQJ,QHDFKVWXG\ZHYDULHGZKHQSDUWLFLSDQWVVLJQHGWKHLU

QDPH²SULRUWRRUDIWHUWKHWDVN²WRFKDQJHWKHWLPHDWZKLFKPRUDOVWDQGDUGVZHUHPDGHVDOLHQW

WRSDUWLFLSDQWV7KDWLVSDUWLFLSDQWVHLWKHUVLJQHGEHIRUHRUDIWHUKDYLQJWKHRSSRUWXQLW\WRFKHDW

       ,Q6WXG\ZHFRQGXFWHGDILHOGH[SHULPHQWLQFROODERUDWLRQZLWKDQDXWRPRELOH

LQVXUDQFHFRPSDQ\DQGIRXQGVLJQLQJSULRUWRUHSRUWLQJSURGXFHGVLJQLILFDQWGLIIHUHQFHVLQWKH

QXPEHURIPLOHVSDUWLFLSDQWVUHSRUWHGGULYLQJGXULQJWKHSULRU\HDU±DQRWHZRUWK\FKDQJHLQUHDO
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 879 of 1282

                                                                             0DNLQJ(WKLFV6DOLHQW


EHKDYLRUZLWKVXEVWDQWLDOFRQVHTXHQFHVIRUWKHLQVXUDQFHFRPSDQ\,Q6WXGLHVDQGZH

UHSOLFDWHGWKHVDPHILQGLQJVLQDFRQWUROOHGODERUDWRU\HQYLURQPHQW7KHVHVWXGLHVVKRZWKDW

VLJQLQJRQH¶VQDPHSULRUWRWKHRSSRUWXQLW\WRFKHDWHQFRXUDJHVHWKLFDOEHKDYLRU)LQDOO\6WXG\

H[DPLQHVWKHSV\FKRORJLFDOPHFKDQLVPXQGHUO\LQJWKHUHODWLRQVKLSEHWZHHQVLJQLQJRQH¶V

QDPHDQGSURPRWLRQRIKRQHVWUHSRUWLQJDQGVKRZVWKDWWKHDFWRIVLJQLQJKHLJKWHQVDZDUHQHVV

RIHWKLFDOVWDQGDUGV

                    6WXG\$)LHOG([SHULPHQWZLWKDQ$XWRPRELOH,QVXUDQFH

       :HILUVWWHVWHGWKHHIIHFWRIVLJQLQJRQH¶VQDPHEHIRUHKDYLQJWKHRSSRUWXQLW\WREHKDYH

GLVKRQHVWO\LQDILHOGVWXG\LQYROYLQJDQDXWRPRELOHLQVXUDQFH

3URFHGXUH

        :HUDQDILHOGH[SHULPHQWZLWKDQLQVXUDQFHFRPSDQ\LQWKH8QLWHG6WDWHVLQZKLFKZH

PDQLSXODWHGWKHDXWRPRELOHSROLF\UHYLHZIRUPWKDWZDVVHQWRXWWRFXVWRPHUVDWWKHHQGRIWKH

\HDU7KHUHYLHZIRUPDVNHGFXVWRPHUVWRUHFRUGWKHH[DFWFXUUHQWRGRPHWHUPLOHDJHRIDOOFDUV

WKDWZHUHFXUUHQWO\UHJLVWHUHGWRWKHPDQGRUWKHLUVSRXVHRUGRPHVWLFSDUWQHULQDGGLWLRQWR

RWKHULQIRUPDWLRQ:HUDQGRPO\DVVLJQHGFXVWRPHUVWRUHFHLYHDIRUPWKDWHLWKHUDVNHGWKHPDW

WKHWRS LHEHIRUHILOOLQJRXWWKHIRUP RUDWWKHERWWRP LHDIWHUKDYLQJFRPSOHWHGWKHIRUP 

RIWKHIRUPWRVLJQWKHIROORZLQJSOHGJHRIKRQHVW\³,SURPLVHWKDWWKHLQIRUPDWLRQ,DP

SURYLGLQJLVWUXH´2WKHUZLVHWKHIRUPVZHUHLGHQWLFDO

        &RPSOHWHGIRUPVZHUHUHFHLYHGIURPSROLFLHVIRUDWRWDORIFDUV$VLQJOH

SROLF\FRXOGFRYHUXSWRIRXUFDUVRISROLFLHVKDGRQHFDUKDGWZRFDUVKDGWKUHH

FDUVDQGOHVVWKDQKDGIRXUFDUV:HFRPSDUHGWKHGLIIHUHQFHEHWZHHQWKHFXUUHQWRGRPHWHU

PLOHDJHDVLQGLFDWHGLQWKHPDQLSXODWHGIRUPVWRWKHRGRPHWHUPLOHDJHWKDWFXVWRPHUVKDG

LQGLFDWHGWKH\HDUEHIRUH,IDSROLF\KDGPRUHWKDQRQHFDUZHDYHUDJHGWKDWGLIIHUHQFH7KH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 880 of 1282

                                                                            0DNLQJ(WKLFV6DOLHQW


PLOHDJHGLIIHUHQFHUHSUHVHQWVWKHDQQXDOXVDJHRIDFDUZKLFKLQWXUQLQIOXHQFHVDFXVWRPHU¶V

DQQXDOLQVXUDQFHFRVWV7KHIHZHUPLOHVGULYHQWKHOHVVLQVXUDQFHFRVWV7KXVZKHQILOOLQJRXW

WKHDXWRPRELOHSROLF\UHYLHZIRUPFXVWRPHUVIDFHGDGLOHPPDEHWZHHQWUXWKIXOO\LQGLFDWLQJWKH

FXUUHQWRGRPHWHUPLOHDJHDQGGLVKRQHVWO\LQGLFDWLQJDORZHUPLOHDJHLQRUGHUWRUHGXFHWKHLU

LQVXUDQFHSUHPLXP

       6LQFHZHK\SRWKHVL]HGWKDWVLJQLQJDSOHGJHRIKRQRUEHIRUHDVHOIUHSRUWLQJWDVNUDLVHV

WKHVDOLHQF\RISHRSOH¶VHWKLFDOVWDQGDUGVZHH[SHFWHGWKDWFXVWRPHUVZKRVLJQHGWKHSOHGJHRI

KRQRUEHIRUHILOOLQJRXWWKHIRUPZRXOGEHPRUHWUXWKIXODQGWKXVUHSRUWKLJKHUXVDJHWKDQWKRVH

ZKRVLJQHGWKHSOHGJHRIKRQRUDWWKHHQG

5HVXOWVDQG'LVFXVVLRQ

       $VH[SHFWHGFRQWUROOLQJIRUWKHQXPEHURIFDUVSHUSROLF\ )>@ S  WKH

DYHUDJHDQQXDOXVDJHSHUFDUZDVVLJQLILFDQWO\KLJKHUDPRQJFXVWRPHUVZKRVLJQHGWKHSOHGJHRI

KRQRUDWWKHEHJLQQLQJRIWKHIRUP 0 6'  WKDQWKRVHZKRVLJQHGWKHSOHGJH

RIKRQRUDWWKHHQGRIWKHIRUP 0 6' )>@ S 7KH

DQQXDOGLIIHUHQFHEHWZHHQRXUWZRWUHDWPHQWVZDVRQDYHUDJHPLOHVSHUFDU1RWHWKDW

WKHUHVXOWVDOVRKROGIRUWKHRGRPHWHUGLIIHUHQFHIRUWKHILUVWFDURQO\ VLJQLQJDWWKHEHJLQQLQJ

0 6' VLJQLQJDWWKHHQG0 6' W>@ 

S 

       7KHVHUHVXOWVSURYLGHVXSSRUWIRURXUILUVWK\SRWKHVLVZKLFKVXJJHVWVWKDWUDLVLQJWKH

VDOLHQF\RIHWKLFDOVWDQGDUGVE\DVNLQJSHRSOHWRVLJQDSOHGJHRIKRQRUEHIRUHUDWKHUWKDQDIWHUD

VHOIUHSRUWLQJWDVNORZHUVWKHOLNHOLKRRGRIFKHDWLQJWKURXJKPLVUHSRUWLQJWKHQXPEHURIPLOHV

GULYHQRYHUWKHFRXUVHRIWKH\HDU8VLQJDILHOGVWXG\ZHZHUHDEOHWRGHPRQVWUDWHWKDWMXVWD
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 881 of 1282

                                                                           0DNLQJ(WKLFV6DOLHQW


VLPSOHFKDQJHLQWKHORFDWLRQRIRQH¶VRZQVLJQDWXUHFDQJUHDWO\LQIOXHQFHSHRSOH¶VOLNHOLKRRGWR

FKHDWE\PLVUHSRUWLQJLQIRUPDWLRQWRDGYDQFHWKHLURZQVHOILQWHUHVW

                           6WXG\$/DE([SHULPHQWZLWK7D[5HWXUQV

      7RWHVWWKHUREXVWQHVVRIRXUILQGLQJVZHFRQGXFWHGDVHFRQGVWXG\LQWKHODERUDWRU\

XVLQJDVLPLODUVLJQLQJPDQLSXODWLRQ,QWKLVVWXG\ZHDOVRDGGHGDFRQWUROFRQGLWLRQWRH[DPLQH

WKHDFWXDOHIIHFWRIVLJQLQJZKHWKHUVLJQLQJSULRUWRWKHRSSRUWXQLW\WRFKHDWHQFRXUDJHVKRQHVW\

RUZKHWKHUVLJQLQJDIWHUZDUGVHQFRXUDJHVXQHWKLFDOEHKDYLRU

0HWKRG

       3DUWLFLSDQWV2QHKXQGUHGDQGRQHVWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKH

VWXG\IRUSD\7KH\UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\

WKURXJKRXWWKHVWXG\

       'HVLJQDQG3URFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWKUHHFRQGLWLRQV 

6LJQDWXUHDWWKHWRSRIWKHIRUP LHEHIRUHILOOLQJRXWDIRUP  6LJQDWXUHDWWKHERWWRPRIWKH

IRUP LHDIWHUILOOLQJRXWDIRUP RU 1RVLJQDWXUH FRQWUROFRQGLWLRQ $WWKHEHJLQQLQJRI

HDFKVHVVLRQSDUWLFLSDQWVZHUHJLYHQLQVWUXFWLRQVWRWKHVWXG\7KHLQVWUXFWLRQVLQIRUPHGWKHP

WKDWWKH\ZRXOGILUVWFRPSOHWHDSUREOHPVROYLQJWDVNXQGHUWLPHSUHVVXUH LHWKH\ZRXOGKDYH

ILYHPLQXWHVWRFRPSOHWHWKHWDVN DQGWKDWWKHH[SHULPHQWHUZRXOGNHHSWUDFNRIWKHWLPH,Q

DGGLWLRQWRSURYLGLQJLQIRUPDWLRQDERXWWKHSD\PHQWIRUWKHSUREOHPVROYLQJWDVNWKH

LQVWUXFWLRQVLQIRUPHGSDUWLFLSDQWVWKDWXSRQFRPSOHWLRQRIWKLVWDVNWKH\ZRXOGEHDVNHGWR

FRPSXWHWKHLUSHUIRUPDQFHDQGWKHQILOORXWDSD\PHQWIRUP7KHLQVWUXFWLRQVDOVRLQFOXGHGWKH

IROORZLQJLQIRUPDWLRQ³)RUWKHSUREOHPVROYLQJWDVN\RXZLOOEHSDLGDKLJKHUDPRXQWWKDQ
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 882 of 1282

                                                                           0DNLQJ(WKLFV6DOLHQW


ZKDWZHXVXDOO\SD\SDUWLFLSDQWVLQDUHJXODUVWXG\EHFDXVH\RXZLOOEHWD[HGRQ\RXUHDUQLQJV

<RXZLOOUHFHLYHPRUHGHWDLOVDIWHUWKHSUREOHPVROYLQJWDVN´

       3UREOHPVROYLQJWDVN)RUWKLVWDVNSDUWLFLSDQWVUHFHLYHGDZRUNVKHHWZLWKPDWULFHV

HDFKFRQVLVWLQJRIWKUHHGLJLWQXPEHUV HJEDVHGRQ0D]DUHWDO DQGD

FROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWVODWHUUHSRUWHGWKHLUSHUIRUPDQFHLQWKLVSDUWRIWKHVWXG\

3DUWLFLSDQWVZHUHWROGWKDWWKH\ZRXOGKDYHILYHPLQXWHVWRILQGWZRQXPEHUVLQHDFKPDWUL[WKDW

VXPPHGWR)RUHDFKSDLURIQXPEHUVFRUUHFWO\LGHQWLILHGWKH\ZRXOGUHFHLYHIRUD

PD[LPXPSD\PHQWRI,QSUHYLRXVVWXGLHV *LQR$\DO $ULHO\0D]DUHWDO 

RQDYHUDJHSHRSOHZHUHDEOHWRILQGRIWKHSDLUVLQWKHJLYHQDPRXQWRIWLPH2QFHWKHILYH

PLQXWHVZHUHRYHUWKHH[SHULPHQWHUDVNHGSDUWLFLSDQWVWRILOORXWWKHFROOHFWLRQVOLSDQGWKHQ

VXEPLWERWKWKHWHVWVKHHWDQGWKHFROOHFWLRQVOLSWRWKHH[SHULPHQWHUVRWKDWVKHFRXOGFKHFNWKHLU

ZRUNDQGJLYHWKHPSD\PHQW

       3D\PHQWIRUP$IWHUWKHSUREOHPVROYLQJWDVNSDUWLFLSDQWVZHQWWRDVHFRQGURRPWRILOO

RXWDSD\PHQWIRUP7KHIRUPZHXVHGZDVEDVHGRQDW\SLFDOWD[UHWXUQIRUP:HYDULHG

ZKHWKHUSDUWLFLSDQWVZHUHDVNHGWRVLJQDSOHGJHRIKRQHVW\DWWKHWRSRUDWWKHERWWRPRIWKH

IRUP VHH$SSHQGL[$ 3DUWLFLSDQWVILOOHGRXWWKHIRUPE\UHSRUWLQJWKHLULQFRPH LHWKHLU

SHUIRUPDQFHRQWKHPDWUL[WDVN RQZKLFKWKH\SDLGDWD[ LHIRUHYHU\GROODU

HDUQHG ,QDGGLWLRQWKH\LQGLFDWHGKRZPDQ\PLQXWHVLWWRRNWKHPWRWUDYHOWRWKHODERUDWRU\

DQGWKHLUHVWLPDWHGFRVWRIFRPPXWH7KHVHFRVWVZHUH³FUHGLWHG´WRWKHLUSRVWWD[HDUQLQJVIURP

WKHPDWUL[VHDUFKWDVNWRFRPSXWHWKHLUILQDOSD\PHQW

       7KHLQVWUXFWLRQVUHDG³:HZRXOGOLNHWRFRPSHQVDWHSDUWLFLSDQWVIRUH[WUDH[SHQVHVWKH\

KDYHLQFXUUHGWRSDUWLFLSDWHLQWKLVVHVVLRQ´:HLQFOXGHGWZRFRVWV 7LPHWRWUDYHOWRWKHODE
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 883 of 1282

                                                                           0DNLQJ(WKLFV6DOLHQW


DWSHUPLQXWH XSWRKRXUVRUPD[LPXP DQGPRQHWDU\FRVWRIFRPPXWH XSWR

PD[LPXP 

       3D\PHQWVWUXFWXUH*LYHQWKHIHDWXUHVRIWKHVWXG\SDUWLFLSDQWVFRXOGPDNHDWRWDORI

²DQDPRXQWZKLFKEUHDNVGRZQDVIROORZVVKRZXSIHHRQPDWUL[WDVNPLQXVD

WD[RQLQFRPH LH DVFUHGLWVIRUWUDYHOWLPHDQGDVFUHGLWVIRUFRVWRI

FRPPXWH

       2SSRUWXQLW\WRFKHDW7KHVWXG\ZDVGHVLJQHGVXFKWKDWSDUWLFLSDQWVFRXOGFKHDWE\

RYHUVWDWLQJWKHLU³LQFRPH´RQWKHSD\PHQWIRUP LHWKH\FRXOGRYHUVWDWHWKHLUSHUIRUPDQFHRQ

WKHPDWUL[VHDUFKWDVN DQGE\LQIODWLQJWKHH[SHQVHVWKH\LQFXUUHGLQRUGHUWRSDUWLFLSDWHLQWKH

VWXG\$OOSDUWLFLSDQWV¶PDWUL[ZRUNVKHHWVZHUHLGHQWLFDOZLWKWKHH[FHSWLRQRIRQHGLJLW LQRQH

QXPEHURIRQHPDWUL[ ZKLFKZDVXQLTXHWRHDFKLQGLYLGXDO¶VZRUNVWDWLRQ²DGLIIHUHQFHWKDW

ZDVFRPSOHWHO\LPSHUFHSWLEOHWRSDUWLFLSDQWV:KHQSDUWLFLSDQWVUHFHLYHGSD\PHQWDIWHU

FRPSOHWLQJWKHILUVWSDUWRIWKHVWXG\WKHH[SHULPHQWHUJDYHWKHPDSD\PHQWIRUPDQGDVNHG

HDFKSDUWLFLSDQWWRJRWRDVHFRQGURRPWRILOOLWRXWDQGDVNWKHRWKHUH[SHULPHQWHUTXHVWLRQVLI

WKH\KDGDQ\7KHSD\PHQWIRUPLQFOXGHGDRQHGLJLWLGHQWLILHUDVZHOO RQHGLJLWLQWKHWRSULJKW

RIWKHIRUPLQWKHFRGH20%1R $VDUHVXOWDWWKHHQGRIHDFKVHVVLRQZHZHUH

DEOHWRFRPSDUHDFWXDOSHUIRUPDQFHRQWKHPDWUL[VHDUFKWDVNDQGUHSRUWHGSHUIRUPDQFHRQWKH

SD\PHQWIRUP,IWKRVHQXPEHUVGLIIHUHGIRUDQLQGLYLGXDOWKDWGLIIHUHQFHUHSUHVHQWHGWKDW

LQGLYLGXDO¶VOHYHORIFKHDWLQJ

5HVXOWV

      )LUVWZHH[DPLQHGWKHSHUFHQWDJHRISDUWLFLSDQWVZKRFKHDWHGE\RYHUVWDWLQJWKHLU

SHUIRUPDQFHRQWKHPDWUL[WDVNZKHQDVNHGWRUHSRUWLWRQWKHSD\PHQWIRUP7KLVSHUFHQWDJH

YDULHGDFURVVFRQGLWLRQVȤ 1  S 7KHQXPEHURIFKHDWHUVZDVORZHVWLQWKH
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 884 of 1282

                                                                            0DNLQJ(WKLFV6DOLHQW


VLJQDWXUHDWWKHWRSFRQGLWLRQ RXWRI KLJKHULQWKHVLJQDWXUHDWWKHERWWRP

FRQGLWLRQ RXWRI DQGVRPHZKDWLQEHWZHHQWKRVHWZRIRUWKHQRVLJQDWXUH

FRQGLWLRQ RXWRI 

         %RWKDFWXDOSHUIRUPDQFHLQWKHPDWUL[VHDUFKWDVNDQGUHSRUWHGSHUIRUPDQFHIRUWKHVDPH

WDVNDVVSHFLILHGE\WKHSD\PHQWIRUPDUHGHSLFWHGLQ)LJXUH E\FRQGLWLRQ $VFDQEHVHHQ

WKHQXPEHURIPDWULFHVRYHUUHSRUWHGYDULHGE\FRQGLWLRQ)  SȘ LWZDV

ORZHVWLQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ 0 6'  DQGKLJKHULQWKHVLJQDWXUHDW

WKHERWWRPFRQGLWLRQ 0 6' S DQGLQWKHQRVLJQDWXUHFRQGLWLRQ 0 

6' S 7KHGLIIHUHQFHEHWZHHQWKHVHWZRODVWFRQGLWLRQVZDVRQO\PDUJLQDOO\

VLJQLILFDQW S :LWKLQVXEMHFWVDQDO\VHVXVLQJWKHGLIIHUHQFHEHWZHHQUHSRUWHGDQGDFWXDO

SHUIRUPDQFHUHYHDOHGWKHVDPHSDWWHUQRIUHVXOWV

         7KHFUHGLWVIRUH[WUDH[SHQVHVWKDWSDUWLFLSDQWVFODLPHGLQWKHWD[IRUPVYDULHGDVZHOO

VLJQLILFDQWO\E\FRQGLWLRQ)  SȘ  VHH)LJXUH 3DUWLFLSDQWVFODLPHGWKH

OHDVWH[SHQVHVLQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ 0 6'  DQGPRUHH[SHQVHVLQ

WKHVLJQDWXUHDWWKHERWWRP 0 6' S DQGLQWKHQRVLJQDWXUHFRQGLWLRQV

    0 6' S 7KHGLIIHUHQFHEHWZHHQWKHVHWZRODWWHUFRQGLWLRQVZDVQRW

VLJQLILFDQW S  

'LVFXVVLRQ

         7KHUHVXOWVRI6WXG\SURYLGHIXUWKHUHYLGHQFHIRURXUPDLQK\SRWKHVLVWKDWPDNLQJ

HWKLFVVDOLHQWWKURXJKVLJQLQJRQH¶VQDPHSULRUWRDWDVNOHDGVWRORZHUOHYHOVRIFKHDWLQJ6WXG\

DOVRLQFOXGHGDFRQWUROFRQGLWLRQLQZKLFKSDUWLFLSDQWVGLGQRWSURYLGHWKHLUVLJQDWXUH2XU

UHVXOWVLQGLFDWHWKDWRXUILQGLQJVZHUHGULYHQE\WKHVLJQLQJDWWKHWRSFRQGLWLRQVLJQLQJSULRUWR

DVHOIUHSRUWLQJWDVNSURPRWHGKRQHVWUHSRUWLQJEXWVLJQLQJDIWHUZDUGVGLGQRWSURPRWHFKHDWLQJ
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 885 of 1282

                                                                              0DNLQJ(WKLFV6DOLHQW


                          6WXG\,QFUHDVHG6DOLHQF\RI(WKLFDO6WDQGDUGV

        7KXVIDUZHKDYHGHPRQVWUDWHGWKDWVLJQLQJRQH¶VQDPHEHIRUHKDYLQJDQRSSRUWXQLW\WR

FKHDWGLVFRXUDJHVXQHWKLFDOEHKDYLRU+RZHYHUZHPDGHDQLPSOLFLWDVVXPSWLRQWKDWVLJQLQJ

EHIRUHWKHRSSRUWXQLW\WRFKHDWUDWKHUWKDQDIWHUZDUGVLVPRUHOLNHO\WRUDLVHWKHVDOLHQF\RIPRUDO

VWDQGDUGV:HWHVWWKLVK\SRWKHVLVGLUHFWO\LQRXUWKLUGVWXG\E\PHDVXULQJWKHH[WHQWWRZKLFK

VLJQLQJEHIRUHUDWKHUWKDQDIWHUWKHRSSRUWXQLW\WRFKHDWLQFUHDVHGWKHDFFHVVLELOLW\RIZRUGV

UHODWHGWRHWKLFVDQGPRUDOLW\)ROORZLQJSULRUUHVHDUFKPHDVXULQJLPSOLFLWFRJQLWLYHSURFHVVHV

%DVVLOL 6PLWK7XOYLQJ6FKDFWHU 6WDUN ZHXVHGDZRUGFRPSOHWLRQWDVNLQ

ZKLFKSDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHYDULRXVZRUGIUDJPHQWVZLWKWKHILUVWOHWWHUVWKDWFDPH

WRPLQG

0HWKRG

        'HVLJQDQG3URFHGXUH6WXG\HPSOR\HGRQHEHWZHHQVXEMHFWVIDFWRUZLWKWZROHYHOV

VLJQDWXUHDWWKHWRSWKDWLVEHIRUHILOOLQJRXWDIRUPYHUVXVDWWKHERWWRPWKDWLVDIWHUILOOLQJRXW

DIRUP7KHVWXG\HPSOR\HGWKHVDPHWDVNDQGSURFHGXUHRI6WXG\EXWYDULHGWKHWD[IRUPV

SDUWLFLSDQWVFRPSOHWHG7KHWD[IRUPVZHUHPRGLILHGVXFKWKDWWKH\PLPLFNHGWKHIORZRIDFWXDO

WD[UHSRUWLQJSUDFWLFHVLQWKH8QLWHG6WDWHV'HGXFWLRQVDUHILUVWVXEWUDFWHGIURPJURVVLQFRPHWR

FRPSXWHWD[DEOHLQFRPHWKHQWD[HVDUHSDLGRQWKLVDGMXVWHGDPRXQW VHH$SSHQGL[% 

        ,QDGGLWLRQSDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHDZRUGFRPSOHWLRQWDVNDVWKHLUILQDOWDVN

LQWKHVWXG\7KHWDVNLQVWUXFWLRQVLQIRUPHGSDUWLFLSDQWVWKDWWKH\ZRXOGKDYHWRFRQYHUWZRUG

IUDJPHQWVLQWRPHDQLQJIXOZRUGV3DUWLFLSDQWVUHFHLYHGDOLVWRIVL[ZRUGIUDJPHQWVZLWKOHWWHUV

PLVVLQJDQGZHUHDVNHGWRILOOLQWKHEODQNVWRPDNHFRPSOHWHZRUGVE\XVLQJWKHILUVWZRUGWKDW

FDPHWRPLQG7KUHHRIWKHVHZRUGIUDJPHQWV BB5$/B,BBB(DQG(BBB&BB FRXOG
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 886 of 1282

                                                                           0DNLQJ(WKLFV6DOLHQW


EHFRPSOHWHGDVHWKLFVUHODWHGZRUGV PRUDOYLUWXHDQGHWKLFDO RUDVHWKLFVQHXWUDOZRUGV HJ

YLUDOWLVVXHDQGHIIHFWV 

          3DUWLFLSDQWV6L[W\VWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH6RXWKHDVWHUQ8QLWHG

6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKHVWXG\IRUSD\7KH\

UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

VWXG\

5HVXOWV

         /HYHORIFKHDWLQJ:HILUVWH[DPLQHGWKHSHUFHQWDJHRISDUWLFLSDQWVZKRFKHDWHGE\

RYHUVWDWLQJWKHLUSHUIRUPDQFHRQWKHPDWUL[WDVNZKHQILOOLQJRXWWKHSD\PHQWIRUP7KLV

SHUFHQWDJHZDVORZHULQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ RXWRI WKDQLQWKH

VLJQDWXUHDWWKHERWWRPFRQGLWLRQ RXWRI Ȥ 1  S

         )LJXUHGHSLFWVDFWXDOSHUIRUPDQFHRQWKHPDWUL[WDVNDQGUHSRUWHGSHUIRUPDQFHDV

UHSRUWHGE\SDUWLFLSDQWVRQWKHSD\PHQWIRUPE\FRQGLWLRQ7KHGLIIHUHQFHEHWZHHQWKHUHSRUWHG

DQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[WDVNZDVRXUSUR[\IRUFKHDWLQJ7KLVGLIIHUHQFHZDVORZHU

LQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRP

FRQGLWLRQ 0 6'  W  S:LWKLQVXEMHFWVDQDO\VHVXVLQJERWKUHSRUWHG

DQGDFWXDOSHUIRUPDQFHUHYHDOHGWKHVDPHSDWWHUQRIUHVXOWV

         7KHGHGXFWLRQVSDUWLFLSDQWVUHSRUWHGLQWKHWD[IRUPVIROORZWKHVDPHSDWWHUQDQGYDU\

VLJQLILFDQWO\E\FRQGLWLRQ)  SȘ WKH\ZHUHORZHULQWKHVLJQDWXUHDWWKH

WRSFRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 

6'  

          :RUGIUDJPHQWWDVN$VZHSUHGLFWHGSDUWLFLSDQWVZKRVLJQHGWKHKRQHVW\SOHGJHEHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWJHQHUDWHGPRUHHWKLFVUHODWHGZRUGV 0 6'  WKDQGLG
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 887 of 1282

                                                                            0DNLQJ(WKLFV6DOLHQW


WKRVHZKRVLJQHGDWWKHERWWRPRIWKHIRUP 0 6'  )  SȘ 

VXJJHVWLQJWKDWWKHDFWRIVLJQLQJSULRUWRVWDUWLQJWKHWDVNLQFUHDVHGWKHDFFHVVLELOLW\RIHWKLFV

UHODWHGFRQFHSWV

'LVFXVVLRQ

       8VLQJDQLPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\RXUWKLUGVWXG\VKRZVWKDWVLJQLQJEHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWUDLVHVWKHVDOLHQF\RIPRUDOVWDQGDUGVFRPSDUHGWRVLJQLQJDIWHU

KDYLQJKDGWKHRSSRUWXQLW\WRFKHDW&RQVLVWHQWZLWKRXUK\SRWKHVHVUDLVLQJHWKLFDOVDOLHQF\

GLVFRXUDJHGFKHDWLQJ

                            6WXG\(WKLFDO6DOLHQF\DQG5HGXFHG&KHDWLQJ

      :HFRQGXFWHGDIRXUWKVWXG\WRPRUHFDUHIXOO\H[DPLQHWKHUROHRIHWKLFDOVDOLHQF\RQ

FKHDWLQJ,QDGGLWLRQWRH[WHQGWKHJHQHUDOL]DELOLW\RIRXUILQGLQJVLQ6WXG\ZHHPSOR\HGD

GLIIHUHQWFKHDWLQJWDVN

0HWKRG

       'HVLJQDQGSURFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWZRFRQGLWLRQV

6LJQDWXUHILUVWYHUVXVFRQWURO$FURVVERWKFRQGLWLRQVWKHLQVWUXFWLRQVLQIRUPHGWKHPWKDWZH

ZHUHLQWHUHVWHGLQSHRSOH¶VSHUIRUPDQFHXQGHUSUHVVXUHDFURVVDYDULHW\RIWDVNV)RUWKLV

SDUWLFXODUVWXG\WKH\ZRXOGEHDVNHGWRDQVZHUDTXHVWLRQJHQHUDONQRZOHGJHWHVWRIPHGLXP

GLIILFXOW\ HJ³+RZPDQ\86VWDWHVERUGHU0H[LFR"´³,QZKLFK86VWDWHLV0RXQW

5XVKPRUHORFDWHG"´ DQGWKDWWKH\ZRXOGUHFHLYHIRUHDFKFRUUHFWTXHVWLRQ LQDGGLWLRQWRD

VKRZXSIHH 3DUWLFLSDQWVZHUHJLYHQPLQXWHVWRDQVZHUWKHTXHVWLRQV2QFHWKHILIWHHQ

PLQXWHVZHUHRYHUWKHH[SHULPHQWHUGLVWULEXWHGDVHWRIPDWHULDOVFRQVLVWLQJILUVWRIWKHZRUG

IUDJPHQWWDVNHPSOR\HGLQ6WXG\IROORZHGE\DQDQVZHUVKHHWZLWKWKHFRUUHFWDQVZHUVWRWKH

TXHVWLRQVDQGILQDOO\DFROOHFWLRQVOLSVRWKDWSDUWLFLSDQWVFRXOGUHSRUWWKHLUSHUIRUPDQFHDIWHU
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 888 of 1282

                                                                            0DNLQJ(WKLFV6DOLHQW


FKHFNLQJWKHLUDQVZHUV3DUWLFLSDQWVZHUHDVNHGWRUHDGDQGILOORXWWKHVHWRIPDWHULDOVLQWKH

JLYHQRUGHUWKDWLVWKH\ILOOHGRXWWKHZRUGIUDJPHQWWDVNSULRUWRFKHFNLQJWKHLUDQVZHUVDQG

UHSRUWLQJWKHLUSHUIRUPDQFHRQWKHFROOHFWLRQVOLS

          +DOIRIWKHSDUWLFLSDQWVUHFHLYHGDQH[WUDSDJHRQWRSRIWKLVVHWRIPDWHULDOVZKLFKWKH\

ZHUHDVNHGWRUHDGEHIRUHVROYLQJWKHZRUGIUDJPHQWWDVN7KHSDJHLQFOXGHGDSOHGJHRIKRQHVW\

SDUWLFLSDQWVZHUHDVNHGWRVLJQ³,SURPLVHWKDW,ZLOOUHSRUWLQIRUPDWLRQDERXWP\SHUIRUPDQFH

RQWKHWULYLDWHVWWUXWKIXOO\´ VLJQDWXUHILUVWFRQGLWLRQ 7KHUHPDLQLQJKDOIRIWKHSDUWLFLSDQWVGLG

QRWUHFHLYHWKLVH[WUDSDJH FRQWURO $VZHDVFHUWDLQHGLQ6WXG\LWLVVLJQLQJEHIRUHDWDVNWKDW

SURPRWHVKRQHVWUHSRUWLQJ:HK\SRWKHVL]HGWKDWWKRVHZKRUHFHLYHGDQGVLJQHGWKHSOHGJHRI

KRQHVW\ZRXOGEHPRUHOLNHO\WRUHSRUWWKHLUSHUIRUPDQFHWUXWKIXOO\DQGWKDWVLJQLQJWKHSOHGJH

ZRXOGOHDGSDUWLFLSDQWVWRFRPSOHWHWKHZRUGIUDJPHQWWDVNZLWKDKLJKHUQXPEHURIHWKLFV

UHODWHGZRUGV

          3DUWLFLSDQWV(LJKW\WZRFROOHJHDQGJUDGXDWHVWXGHQWVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOH FRPSOHWHGWKHVWXG\IRUSD\7KH\

UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

VWXG\

5HVXOWVDQG'LVFXVVLRQ

          6DPHDVLQWKHSUHYLRXVVWXGLHVZHFRPSXWHGWKHGLIIHUHQFHEHWZHHQVHOIUHSRUWHG

SHUIRUPDQFHDQGDFWXDOSHUIRUPDQFHRQWKHJHQHUDONQRZOHGJHWDVNE\PDWFKLQJSDUWLFLSDQWV¶

XQLTXHVWXG\,'VWKDWZHUHGHQRWHGRQHDFKVXUYH\IRUP7KLVGLIIHUHQFHVFRUHVHUYHGDVRXU

SUR[\IRUFKHDWLQJ3RVLWLYHGLIIHUHQFHVFRUHVLQGLFDWHGWKDWSDUWLFLSDQWVRYHUUHSRUWHGWKHLU

SHUIRUPDQFHDQGFKHDWHGRQWKHWDVNVRWKDWWKH\FRXOGPDNHPRUHPRQH\
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 889 of 1282

                                                                          0DNLQJ(WKLFV6DOLHQW


       :KHQH[DPLQLQJWKHSHUIRUPDQFHGLIIHUHQFHVFRUHVRQWKHWULYLDWHVWZHIRXQGWKDWLQ

FRPSDULVRQWRWKHFRQWUROFRQGLWLRQFKHDWLQJZDVVLJQLILFDQWO\UHGXFHGLQWKHVLJQDWXUHILUVW

FRQGLWLRQ 0 6' YV0 6'  W  S 6XSSRUWLQJWKHVH

UHVXOWVWKHSHUFHQWDJHRISDUWLFLSDQWVZKRRYHUVWDWHGWKHLUSHUIRUPDQFHZDVKLJKHULQWKH

FRQWUROFRQGLWLRQWKDQLQWKHVLJQDWXUHILUVWFRQGLWLRQ >@YV>@ Ȥ 

1  S 

       6LJQLQJEHIRUHWKHRSSRUWXQLW\WRRYHUUHSRUWSHUIRUPDQFHDOVRLQIOXHQFHGWKHQXPEHURI

HWKLFVUHODWHGFRQFHSWVSDUWLFLSDQWVFDPHXSZLWKLQWKHZRUGIUDJPHQWWDVN3DUWLFLSDQWVLQWKH

VLJQDWXUHILUVWFRQGLWLRQIRXQGPRUHHWKLFVUHODWHGZRUGV 0 6'  WKDQGLGWKRVHLQ

WKHFRQWUROFRQGLWLRQ 0 6'  )  SȘ 

       )LQDOO\ZHWHVWHGZKHWKHUHWKLFVUHODWHGFRQFHSWV RXUSUR[\IRUVDOLHQF\RIPRUDO

VWDQGDUGV PHGLDWHGWKHHIIHFWRIFRQGLWLRQRQWKHH[WHQWRIFKHDWLQJRQWKHWULYLDWDVN%RWK

FRQGLWLRQDQGWKHQXPEHURIHWKLFVUHODWHGFRQFHSWVZHUHHQWHUHGLQWRDOLQHDUUHJUHVVLRQPRGHO

SUHGLFWLQJH[WHQWRIFKHDWLQJ7KLVDQDO\VLVUHYHDOHGWKDWWKHHIIHFWRIFRQGLWLRQZDVVLJQLILFDQWO\

UHGXFHG IURPȕ S WRȕ S ZKHUHDVWKHQXPEHURIHWKLFVUHODWHGFRQFHSWV

ZDVDVLJQLILFDQWSUHGLFWRURIFKHDWLQJ ȕ S 8VLQJWKHERRWVWUDSSLQJPHWKRG ZLWK

LWHUDWLRQV UHFRPPHQGHGE\3UHDFKHUDQG+D\HV  ZHWHVWHGWKHVLJQLILFDQFHRIWKH

LQGLUHFWHIIHFWRIFRQGLWLRQRQGLVKRQHVWEHKDYLRUWKURXJKWKHDFWLYDWLRQRIHWKLFVUHODWHG

FRQFHSWV7KHFRQILGHQFHLQWHUYDOIRUWKHLQGLUHFWHIIHFWGLGQRWLQFOXGH]HUR  

VXJJHVWLQJVLJQLILFDQWPHGLDWLRQ7KXVFRQVLVWHQWZLWKRXUSUHGLFWLRQWKHQXPEHURIHWKLFV

UHODWHGFRQFHSWVVLJQLILFDQWO\PHGLDWHGWKHUHODWLRQVKLSEHWZHHQRXUPDQLSXODWLRQ LHVLJQDWXUH

ILUVW DQGGLVKRQHVWEHKDYLRU
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 890 of 1282

                                                                          0DNLQJ(WKLFV6DOLHQW


       7RJHWKHUWKHVHUHVXOWVSURYLGHVWURQJVXSSRUWIRUWKHSUHGLFWHGLQYHUVHUHODWLRQVKLS

EHWZHHQHWKLFDOVDOLHQF\DQGFKHDWLQJ

                                        *HQHUDO'LVFXVVLRQ

       $FURVVIRXUVWXGLHVZHFRQVLVWHQWO\IRXQGWKDWUHTXLULQJRQH¶VVLJQDWXUHEHIRUHIDFLQJD

WHPSWDWLRQWRFKHDWLVDQHIIHFWLYHPHDQWRGLVFRXUDJHGLVKRQHVW\EHFDXVHLWPDNHVHWKLFVPRUH

VDOLHQW,Q6WXG\ZHFRQGXFWHGDILHOGH[SHULPHQWZLWKDQDXWRPRELOHLQVXUDQFHFRPSDQ\LQ

ZKLFKZHYDULHGZKHWKHUFXVWRPHUVILOOLQJRXWDUHSRUWRIWKHQXPEHURIPLOHVWKH\GURYHLQWKH

SDVW\HDUVLJQHGDSOHGJHRIKRQHVW\EHIRUHRUDIWHUUHSRUWLQJWKHPLOHDJHQXPEHU2XUUHVXOWV

VKRZHGWKDWFXVWRPHUVUHSRUWHGKDYLQJGULYHQDKLJKHUQXPEHURIPLOHVZKHQWKH\VLJQHGD

SOHGJHRIKRQRUEHIRUHILOOLQJRXWWKHIRUPWKDQWKRVHZKRVLJQHGDWWKHHQGVXJJHVWLQJWKDW

UDLVLQJWKHVDOLHQF\RIHWKLFDOVWDQGDUGVVXEVHTXHQWO\OHGWRPRUHWUXWKIXOVHOIUHSRUWLQJ7KH

GLIIHUHQFHLQUHSRUWHGPLOHVWKDWWKLVVXEWOHPDQLSXODWLRQSURGXFHGZDVTXLWHVWULNLQJFXVWRPHUV

UHSRUWHGGULYLQJDERXWSHUFDUPRUHZKHQWKH\VLJQHGDWWKHWRSRIWKHIRUPUDWKHUWKDQDW

WKHERWWRPHYHQZKHQFRQWUROOLQJIRURWKHUIDFWRUVWKDWPD\KDYHLQIOXHQFHGWKLVVHOIUHSRUWHG

QXPEHU

       ,Q6WXGLHVDQGZHPRYHGIURPDILHOGVHWWLQJWRDFRQWUROOHGODERUDWRU\VHWWLQJ,Q

ERWKVWXGLHVSDUWLFLSDQWVKDGWKHRSSRUWXQLW\WRVLJQDWD[IRUPHLWKHUEHIRUHRUDIWHUPDNLQJ

FODLPVUHJDUGLQJWKHLUSHUIRUPDQFHRQDWDVN3URYLGLQJIXUWKHUVXSSRUWIRUWKHUHVXOWVRIWKHILHOG

VWXG\WKHILQGLQJVRI6WXGLHVDQGGHPRQVWUDWHGWKDWVLJQLQJDSOHGJHRIKRQHVW\EHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWGLVFRXUDJHVGLVKRQHVW\

       )LQDOO\6WXG\H[DPLQHGWKHXQGHUO\LQJSV\FKRORJLFDOSURFHVVWKDWOLQNVWKHDFWRI

VLJQLQJEHIRUHILOOLQJRXWDIRUPZLWKWKHOLNHOLKRRGRIFKHDWLQJ7KHVWXG\LQFOXGHGDQLPSOLFLW

PHDVXUHRIHWKLFDOVDOLHQF\SDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHZRUGIUDJPHQWVE\XVLQJWKH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 891 of 1282

                                                                           0DNLQJ(WKLFV6DOLHQW


ILUVWZRUGWKDWFDPHWRPLQG:HIRXQGWKDWWKHDFWRIVLJQLQJRQH¶VQDPHSULRUWRDWDVN

LQFUHDVHGWKHVDOLHQF\RIHWKLFDOVWDQGDUGVDQGWKLVKHLJKWHQHGVDOLHQF\IXOO\PHGLDWHGWKH

UHODWLRQVKLSEHWZHHQVLJQLQJDSOHGJHRIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWDQG

VXEVHTXHQWGLVKRQHVWEHKDYLRU

7KHRUHWLFDO&RQWULEXWLRQV

      7KHFRQWULEXWLRQRIWKHSUHVHQWUHVHDUFKLQWKUHHIROG)LUVWRXUILQGLQJVFRQWULEXWHWRWKH

OLWHUDWXUHRQKRZVHOIDZDUHQHVV 'XYDO :LFNOXQG FDQQXGJHSHRSOH¶VEHKDYLRUIRUWKH

EHWWHU:HLQFUHDVHGKRQHVW\LQERWKODERUDWRU\DQGILHOGVHWWLQJVE\DVNLQJSDUWLFLSDQWVWRVLJQ

WKHLUQDPHQH[WWRDSOHGJHRIKRQHVW\DQGE\YDU\LQJZKHQWKH\SURYLGHGWKHLUVLJQDWXUH EHIRUH

RUDIWHUKDYLQJWKHRSSRUWXQLW\WRFKHDW 7KHDFWRIVLJQLQJLQFUHDVHGWKHVDOLHQF\RIWKHLUHWKLFDO

VWDQGDUGVDQGDVDUHVXOWLQIOXHQFHGWKHLUXQHWKLFDOEHKDYLRU-XVWDV+DOH\DQG)HVVOHU  

LQFUHDVHGVKDULQJLQDQDQRQ\PRXVHFRQRPLFJDPHE\LQWURGXFLQJWKHVXEWOHSULPHRIH\HOLNH

VKDSHVLQWKHEDFNJURXQGRIWKHFRPSXWHUVFUHHQZHSURPRWHGKRQHVWEHKDYLRUE\OHDGLQJ

SDUWLFLSDQWVWRWXUQWKHLUPRUDOJD]HLQZDUG²WRWKHLURZQEHKDYLRU²E\DVNLQJWKHPWRVLJQ

WKHLUQDPHXQGHUDSOHGJHRIKRQRUSULRUWRILOOLQJRXWDQLQVXUDQFHRUWD[IRUP

      6HFRQGWKHSUHVHQWZRUNFRQWULEXWHVWRH[LVWLQJUHVHDUFKRQEHKDYLRUDOHWKLFVWKDW

UHFRJQL]HVWKHLPSRUWDQFHRIQRQFRQVFLRXVLQIOXHQFHVRQXQHWKLFDOEHKDYLRU HJ%D]HUPDQ 

%DQDML&KXJK.D\:KHHOHU%DUJK 5RVV5H\QROGV/HDYLWW 'H&HOOHV

7HQEUXQVHOHWDO 7RGDWHWKLVUHVHDUFKKDVIRFXVHGSULPDULO\RQKRZDXWRPDWLF

SURFHVVHVH[DFHUEDWHXQHWKLFDOEHKDYLRU([WHQGLQJWKLVERG\RIZRUNRXUVWXGLHVKDYHD

SUHYHQWLYHIRFXVDQGLGHQWLI\VXEWOHZD\VRIUDLVLQJWKHVDOLHQF\RIHWKLFDOVWDQGDUGVEH\RQG

SHRSOH¶VDZDUHQHVV2XUUHVHDUFKVKRZVWKDWWKHYHU\VDPHDXWRPDWLFSURFHVVHVWKDW

XQFRQVFLRXVO\OHDGDSHUVRQWREHKDYHGLVKRQHVWO\PD\EHXVHGWRHQFRXUDJHHWKLFDOEHKDYLRU
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 892 of 1282

                                                                         0DNLQJ(WKLFV6DOLHQW


ZKHQLQGLYLGXDOVDUHIDFLQJWKHWHPSWDWLRQWRFKHDW2XUILQGLQJVDUHLPSRUWDQWLQOLJKWRISULRU

UHVHDUFKRQWKHXVHRIH[SOLFLWLQWHUYHQWLRQVVXFKDVLQWURGXFLQJDFRGHRIHWKLFV :HDYHU

7UHYLxR &RFKUDQ WRGLVFRXUDJHGLVKRQHVW\7KHSUHVHQWZRUNKLJKOLJKWVWKHUROHWKDW

VXEWOHLQWHUYHQWLRQVFDQKDYHLQSURGXFLQJVLPLODUO\SRZHUIXOUHVXOWVHYHQZLWKRXWLQGLYLGXDOV¶

FRQVFLRXVDZDUHQHVV

       )LQDOO\RXUUHVHDUFKDOVRFRQWULEXWHVWRWKHOLWHUDWXUHRQKRZHIIHFWLYHO\UHGXFH

GLVKRQHVW\%\LQWURGXFLQJDVOLJKWFKDQJHWRWKHW\SLFDOGHVLJQRIIRUPVXVHGIRUH[DPSOHE\WKH

,56RULQVXUDQFHFRPSDQLHVZHREVHUYHGDVLJQLILFDQWVKLIWWRZDUGVKRQHVWEHKDYLRU,Q

SDUWLFXODUE\PRYLQJWKHORFDWLRQRIWKHVLJQDWXUHIURPWKHHQGWRWKHEHJLQQLQJRIDIRUPZH

IRXQGPRUHWUXWKIXOUHSRUWLQJOHVVSHUIRUPDQFHLQIODWLRQOHVVRYHUFODLPLQJRIFUHGLWVDQG

IHZHUGHGXFWLRQFODLPV$VLPSOHQXGJHDWWKHEHJLQQLQJ²UDWKHUWKDQDWWKHHQG²RIRXUWDVNV

ZDVHQRXJKWRSURGXFHDPHDQLQJIXOLQFUHDVHLQKRQHVW\

/LPLWDWLRQVDQG9HQXHVIRU)XWXUH5HVHDUFK

      2XUVWXGLHVXVHGDPLQLPDOWUHDWPHQWSDUDGLJPWRLQGXFHWKHREVHUYHGHIIHFWVZHVKLIWHG

WKHUHTXLUHPHQWDQGORFDWLRQRISDUWLFLSDQWVLJQDWXUHDQGWKHQREVHUYHGGLIIHUHQFHVLQOHYHOVRI

FKHDWLQJ$QH[WHQVLRQRIWKLVSDUDGLJPWKDWPLJKWEHWWHUVSHDNWRWKHSRWHQWLDOPDJQLWXGHRIWKH

HIIHFWLQUHDOZRUOGDSSOLFDWLRQZRXOGEHWRSUHFHGHWKHVLJQDWXUHOLQHZLWKDPRUHH[WHQVLYHVHW

RIUXOHVWKDWJXLGHEHKDYLRU$VDQH[DPSOH6KX*LQRDQG%D]HUPDQ  IRXQGWKDW

SDUWLFLSDQWVZKRUHDGDQKRQRUFRGHSULRUWRDQRSSRUWXQLW\WRFKHDWZHUHOHVVOLNHO\WRFKHDWRQ

WKHVXEVHTXHQWWDVNUHODWLYHWRDFRQWUROJURXSZKRGLGQRWUHDGDQKRQRUFRGH VHH0D]DUHWDO

IRUVLJQLQJDQKRQRUFRGHSULRUWRDQRSSRUWXQLW\WRFKHDWYHUVXVKDYLQJQRKRQRUFRGHDQG

QRWVLJQLQJDQ\WKLQJ $PRQJSDUWLFLSDQWVZKRUHDGWKHKRQRUFRGHDQGDOVRVLJQHGLWDIWHU

UHDGLQJLWFKHDWLQJZDVLQHIIHFWHOLPLQDWHGRQWKHVXEVHTXHQWWDVN)XWXUHUHVHDUFKFRXOG
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 893 of 1282

                                                                               0DNLQJ(WKLFV6DOLHQW


LQYHVWLJDWHZD\VWRVXSHUFKDUJHWKHHIIHFWRIUHTXLULQJDVLJQDWXUHSULRUWRWKHVWDUWRIDWDVN²

SRVVLEO\WKURXJKEXQGOLQJLWZLWKVRPHJXLGHOLQHVIRUEHKDYLRU)UDPLQJWKHVHJXLGHOLQHVLQ

WHUPVRISURKLELWLRQV ³GRQRW´UXOHV YHUVXVHQFRXUDJHPHQWV ³GR´UXOHV PLJKWDOVRDOWHUWKH

HIIHFWRIVLJQLQJRQWKHGRWWHGOLQH

,PSOLFDWLRQVIRU3UDFWLFH

          2XUILQGLQJVVXJJHVWWKDWRQHHIIHFWLYHZD\WRUHGXFHRUHOLPLQDWHXQHWKLFDOEHKDYLRULV

WRDVNSHRSOHWRVLJQWKHLUQDPHSULRUUDWKHUWKDQDIWHUEHLQJWHPSWHGWRFKHDW7KHVHILQGLQJV

DSSO\WRDODUJHFDWHJRU\RIEHKDYLRUVWKDWUHO\RQKRQHVWVHOIUHSRUWRQWKHSDUWRIWKH

LQGLYLGXDO²DQ\EHKDYLRULQZKLFKLWLVLPSRVVLEOHIRUDQRWKHUSHUVRQRURUJDQL]DWLRQWR

FRQWLQXDOO\PRQLWRU

           :HEHOLHYHRQHRIWKHPRVWLPSRUWDQWGRPDLQVWRZKLFKRXUILQGLQJVPD\EHDSSOLHGLV

WKHGRPDLQRIWD[HV$VWKHIHGHUDOWD[JDSVRDUVWRRYHUELOOLRQHDFK\HDU 0RUVH 

WKHDPRXQWVSHQWRQWD[FRPSOLDQFHDQGLQYHVWLJDWLRQKDVDOVRVHHQGUDPDWLFLQFUHDVHV:KLOH

WKHFXUUHQWVWUXFWXUHRIIHGHUDOWD[IRUPV DQGDOPRVWHYHU\VWDWHWD[IRUP UHTXLUHVWKHWD[SD\HU

    RUIRUPSUHSDUHU WRVLJQDWWKHHQGRIWKHIRUPVLPSO\VKLIWLQJWKHVLJQDWXUHWRWKHVWDUWRIWKH

IRUPPD\KHOSWKHIHGHUDODQGVWDWHJRYHUQPHQWVFORVHDVLJQLILFDQWSRUWLRQRIWKHWD[JDSDQG

UHDOL]HHQRUPRXVVDYLQJVLQWD[FRPSOLDQFHDQGLQYHVWLJDWLRQFRVWV

                                                &RQFOXVLRQ

           %\VLPSO\DVNLQJSDUWLFLSDQWVWRVLJQRQWKHGRWWHGOLQHSULRUWRDWDVNLQZKLFKWKH\KDYH

WKHRSSRUWXQLW\WRFKHDWUDWKHUWKDQDWWKHHQGZHIRXQGVLJQLILFDQWUHGXFWLRQVLQOHYHOVRI

FKHDWLQJH[WHQWRIRYHUFODLPLQJFUHGLWVDQGH[DJJHUDWLRQRIGHGXFWLRQVIURPWD[DEOHLQFRPH

7KLVLVMXVWDVPDOOVXEVHWRIWKHH[WHQVLYHGRPDLQRIEHKDYLRUVZKLFKUHO\RQKRQHVWVHOI

UHSRUWLQJRQWKHSDUWRIWKHLQGLYLGXDO$QLQWHUYHQWLRQDVVLPSOHDVVKLIWLQJWKHVLJQDWXUH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 894 of 1282

                                                                          0DNLQJ(WKLFV6DOLHQW


ORFDWLRQFDQOHDGWRDPHDQLQJIXOGLIIHUHQFHLQEHKDYLRUWKDWIROORZV6LJQLQJRQWKHGRWWHGOLQH

FDQVKLIWWKHPRUDOJD]HLQZDUGUDLVHWKHVDOLHQF\RIHWKLFDOVWDQGDUGVDQGVSLOORYHUWRSURPRWH

PRUHHWKLFDODFWLRQVJRLQJIRUZDUG



      



                             
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 895 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 896 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 897 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 898 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 899 of 1282
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 900 of 1282

                                                                         0DNLQJ(WKLFV6DOLHQW


                                            5HIHUHQFHV

$\DO6 *LQR)  +RQHVWUDWLRQDOHVIRUGLVKRQHVWEHKDYLRU,Q00LNXOLQFHU 35

       6KDYHU (GV 7KH6RFLDO3V\FKRORJ\RI0RUDOLW\([SORULQJWKH&DXVHVRI*RRGDQG

       (YLO:DVKLQJWRQ'&$PHULFDQ3V\FKRORJLFDO$VVRFLDWLRQ

%DVVLOL-1 6PLWK0&  2QWKHVSRQWDQHLW\RIWUDLWDWWULEXWLRQ&RQYHUJLQJ

       HYLGHQFHIRUWKHUROHRIFRJQLWLYHVWUDWHJ\-RXUQDORI3HUVRQDOLW\DQG6RFLDO3V\FKRORJ\

       

%DWHVRQ01HWWOH' 5REHUWV*  &XHVRIEHLQJZDWFKHGHQKDQFHFRRSHUDWLRQLQD

       UHDOZRUOGVHWWLQJ%LRORJ\/HWWHUV

%DXPHLVWHU5)  7KHVHOI,Q'7*LOEHUW67)LVNH */LQG]H\ (GV +DQGERRN

       RIVRFLDOSV\FKRORJ\ 9ROSS± 1HZ<RUN0F*UDZ+LOO

%D]HUPDQ0+ %DQDML05  7KHVRFLDOSV\FKRORJ\RIRUGLQDU\HWKLFDOIDLOXUHV

       6RFLDO-XVWLFH5HVHDUFK

%ULHI$3%XWWUDP57 'XNHULFK-0  &ROOHFWLYHFRUUXSWLRQLQWKHFRUSRUDWH

       ZRUOG7RZDUGDSURFHVVPRGHO,Q0(7XUQHU (G *URXSVDWZRUN$GYDQFHVLQ

       WKHRU\DQGUHVHDUFK SS 0DKZDK1-/DZUHQFH(UOEDXP

%URZQ0( 7UHYLQR/.  (WKLFDOOHDGHUVKLS$UHYLHZDQGIXWXUHGLUHFWLRQV7KH

       /HDGHUVKLS4XDUWHUO\

&KXJK'  6RFLHWDODQG0DQDJHULDO,PSOLFDWLRQVRI,PSOLFLW6RFLDO&RJQLWLRQ:K\

       0LOOLVHFRQGV0DWWHU6RFLDO-XVWLFH5HVHDUFK

'XYDO76 5REHUW$:LFNOXQG  $7KHRU\RI2EMHFWLYH6HOI$ZDUHQHVV1HZ<RUN

       $FDGHPLF3UHVV
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 901 of 1282

                                                                          0DNLQJ(WKLFV6DOLHQW


*LQR)$\DO6 $ULHO\'  &RQWDJLRQDQGGLIIHUHQWLDWLRQLQXQHWKLFDOEHKDYLRU7KH

       HIIHFWRIRQHEDGDSSOHRQWKHEDUUHO3V\FKRORJLFDO6FLHQFH  

*LQR) 3LHUFH/  5RELQ+RRGXQGHUWKHKRRG:HDOWKEDVHGGLVFULPLQDWLRQLQLOOLFLW

       FXVWRPHUKHOS2UJDQL]DWLRQ6FLHQFH  

*QHH]\8  'HFHSWLRQ7KHUROHRIFRQVHTXHQFHV$PHULFDQ(FRQRPLF5HYLHZ

       

+DLGW-  7KHHPRWLRQDOGRJDQGLWVUDWLRQDOWDLO$VRFLDOLQWXLWLRQLVWDSSURDFKWRPRUDO

       MXGJPHQW3V\FKRORJLFDO5HYLHZ

+DOH\.- )HVVOHU'07  1RERG\¶VZDWFKLQJ"6XEWOHFXHVDIIHFWJHQHURVLW\LQDQ

       DQRQ\PRXVHFRQRPLFJDPH(YROXWLRQDQG+XPDQ%HKDYLRU±

+HLGHU)  7KHJHVWDOWWKHRU\RIPRWLYDWLRQ,Q05-RQHV (G 1HEUDVNDV\PSRVLXP

       RQPRWLYDWLRQ 9ROSS /LQFROQ8QLYHUVLW\RI1HEUDVND3UHVV

.D\$&:KHHOHU6&%DUJK-$ 5RVV/  0DWHULDOSULPLQJ7KHLQIOXHQFHRI

       PXQGDQHSK\VLFDOREMHFWVRQVLWXDWLRQDOFRQVWUXDODQGFRPSHWLWLYHEHKDYLRUDOFKRLFH

       2UJDQL]DWLRQDO%HKDYLRUDQG+XPDQ'HFLVLRQ3URFHVVHV

/HZLFNL5-3RODQG70LQWRQ-: 6KHSSDUG%+  'LVKRQHVW\DVGHYLDQFH

       $W\SRORJ\RIZRUNSODFHGLVKRQHVW\DQGFRQWULEXWLQJIDFWRUV5HVHDUFKRQ1HJRWLDWLRQLQ

       2UJDQL]DWLRQV±

0D]DU1 $JJDUZDO3  &DQFROOHFWLYLVPSURPRWHEULEHU\"5RWPDQ6FKRRORI

       0DQDJHPHQW:RUNLQJ3DSHU8QLYHUVLW\RI7RURQWR

0D]DU1$PLU2 $ULHO\'  7KHGLVKRQHVW\RIKRQHVW\SHRSOH$WKHRU\RIVHOI

       FRQFHSWPDLQWHQDQFH-RXUQDORI0DUNHWLQJ5HVHDUFK  
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 902 of 1282

                                                                         0DNLQJ(WKLFV6DOLHQW


0D]DU1 $ULHO\'  'LVKRQHVW\LQHYHU\GD\OLIHDQGLWVSROLF\LPSOLFDWLRQV-RXUQDO

       RI3XEOLF3ROLF\DQG0DUNHWLQJ

0RUVH6&  8VLQJVDOLHQFHDQGLQIOXHQFHWRQDUURZWKHWD[JDS/R\ROD8QLYHUVLW\

       &KLFDJR/DZ-RXUQDO  

1LFKROV6 .QREH-  0RUDOUHVSRQVLELOLW\DQGGHWHUPLQLVPWKHFRJQLWLYHVFLHQFHRI

       IRONLQWXLWLRQV1RXV

3UHDFKHU.- +D\HV$)  6366DQG6$6SURFHGXUHVIRUHVWLPDWLQJLQGLUHFWHIIHFWV

       LQVLPSOHPHGLDWLRQPRGHOV%HKDYLRU5HVHDUFK0HWKRGV,QVWUXPHQWV &RPSXWHUV

       

5H\QROGV6/HDYLWW. 'H&HOOHV.$$XWRPDWLFHWKLFV,PSOLFLWDVVXPSWLRQVDQG

       HWKLFDOPDQDJHULDOFRQGXFW-RXUQDORI$SSOLHG3V\FKRORJ\  ±

5LJGRQ0,VKLL.:DWDEH0 .LWD\DPD6  0LQLPDOVRFLDOFXHVLQWKHGLFWDWRU

       JDPH-RXUQDORI(FRQRPLF3V\FKRORJ\

6FKZHLW]HU0( +VHH&.  6WUHWFKLQJWKHWUXWK(ODVWLFMXVWLILFDWLRQDQGPRWLYDWHG

       FRPPXQLFDWLRQRIXQFHUWDLQLQIRUPDWLRQ-RXUQDORI5LVNDQG8QFHUWDLQW\

6KLK03LWWLQVN\7/ $PEDG\16WHUHRW\SH6XVFHSWLELOLW\,GHQWLW\VDOLHQFHDQGVKLIWVLQ

       TXDQWLWDWLYHSHUIRUPDQFH3V\FKRORJLFDO6FLHQFH  

6KX/*LQR) %D]HUPDQ0  'LVKRQHVWGHHGFOHDUFRQVFLHQFH:KHQFKHDWLQJ

       OHDGVWRPRUDOGLVHQJDJHPHQWDQGPRWLYDWHGIRUJHWWLQJ3HUVRQDOLW\DQG6RFLDO

       3V\FKRORJ\%XOOHWLQ  

7HQEUXQVHO$( 6PLWK&URZH.  (WKLFDOGHFLVLRQPDNLQJ:KHUHZH¶YHEHHQDQG

       ZKHUHZH¶UHJRLQJ$FDGHP\RI0DQDJHPHQW$QQDOV
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 903 of 1282

                                                                        0DNLQJ(WKLFV6DOLHQW


7HQEUXQVHO$('LHNPDQQ.$:DGH%HQ]RQL. %D]HUPDQ0+  7KHHWKLFDO

       PLUDJH:K\ZHDUHQRWDVHWKLFDODVZHWKLQNZHDUH5HVHDUFKLQ2UJDQL]DWLRQDO

       %HKDYLRU

7UHYLxR/.:HDYHU*5 5H\QROGV6-  %HKDYLRUDOHWKLFVLQRUJDQL]DWLRQV$

       UHYLHZ-RXUQDORI0DQDJHPHQW

7XOYLQJ(6FKDFWHU'/ 6WDUN+$  3ULPLQJHIIHFWVLQZRUGIUDJPHQWFRPSOHWLRQ

       DUHLQGHSHQGHQWRIUHFRJQLWLRQPHPRU\-RXUQDORI([SHULPHQWDO3V\FKRORJ\/HDUQLQJ

       0HPRU\DQG&RJQLWLRQ  

:HDYHU*57UHYLxR/. &RFKUDQ3  ,QWHJUDWHGDQGGHFRXSOHGFRUSRUDWHVRFLDO

       SHUIRUPDQFH0DQDJHPHQWFRPPLWPHQWVH[WHUQDOSUHVVXUHVDQGFRUSRUDWHHWKLFV

       SUDFWLFHV$FDGHP\RI0DQDJHPHQW-RXUQDO±

=KRQJ&%%RKQV9. *LQR)  $JRRGODPSLVWKHEHVWSROLFH'DUNQHVV

       LQFUHDVHVVHOILQWHUHVWHGEHKDYLRUDQGGLVKRQHVW\3V\FKRORJLFDO6FLHQFH



                            
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 904 of 1282

                                                                       0DNLQJ(WKLFV6DOLHQW


                                        )LJXUH&DSWLRQV

                                                

)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[VHDUFKWDVNE\FRQGLWLRQ6WXG\




                                                                           




)LJXUH5HSRUWHGGHGXFWLRQVE\FRQGLWLRQ6WXG\




                                                                            


                            
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 905 of 1282

                                                                       0DNLQJ(WKLFV6DOLHQW


)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[VHDUFKWDVNE\FRQGLWLRQ6WXG\




                                                                         



Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 906 of 1282



                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                  0DQXVFULSW9HUVLRQBQP
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 907 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 908 of 1282




                                                                        0DNLQJ(WKLFV6DOLHQW


WKH8QLYHUVLW\RI1RUWK&DUROLQDDW&KDSHO+LOO7KHDXWKRUVWKDQNWKH)XTXD6FKRRORI%XVLQHVV

DQG+DUYDUG%XVLQHVV6FKRROIRUWKHLUILQDQFLDOVXSSRUW3OHDVHDGGUHVVFRUUHVSRQGHQFHWR

                     
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 909 of 1282




                                                                             0DNLQJ(WKLFV6DOLHQW


                                              $EVWUDFW

0DQ\EXVLQHVVDQGJRYHUQPHQWDOLQWHUDFWLRQVDUHEDVHGXSRQWUXVWDQGWKHDVVXPSWLRQWKDWDOO

DFWRUVFRPSO\ZLWKVRFLDODQGPRUDOQRUPV7KHSURRIRIFRPSOLDQFHLVW\SLFDOO\JLYHQE\

VLJQLQJDVWDWHPHQWRUSOHGJHRIKRQRUDWWKHHQGRIDVHOIUHSRUWVXFKDVDIWHUILOOLQJRXWDQQXDO

WD[UHWXUQRULQVXUDQFHSROLF\UHYLHZIRUPV<HWHYHQLISHRSOHFDUHDERXWPRUDOLW\DQGZDQWWR

EHVHHQDVHWKLFDOE\RWKHUVWKH\VRPHWLPHVWUDQVJUHVVZKHQEHQHILFLDOWRWKHPGHVSLWHVLJQLQJ

RQWKHGRWWHGOLQH±DFRVWO\HQGHDYRUWRHFRQRPLHVDFURVVWKHJOREH7KHFXUUHQWSDSHUIRFXVHV

RQWHVWLQJDQHDV\WRLPSOHPHQWPHWKRGWRGLVFRXUDJHGLVKRQHVW\VLJQLQJDSOHGJHRIKRQRUDW

WKHEHJLQQLQJUDWKHUWKDQDVLVFRPPRQSUDFWLFHDWWKHHQGRIDVHOIUHSRUWZKLFKSURYLGHVD

WHPSWDWLRQWRFKHDW8VLQJERWKILHOGDQGODEH[SHULPHQWVZHILQGWKDWVLJQLQJDSOHGJHRIKRQRU

DWWKHEHJLQQLQJWKDWLVEHIRUHUDWKHUWKDQDIWHUKDYLQJIDFHGWKHRSSRUWXQLW\WRFKHDWUDLVHVWKH

VDOLHQF\RIHWKLFVDQGPRUDOLW\ZLWKVLJQLILFDQWUHGXFWLRQVLQGLVKRQHVW\



.H\ZRUGV6LJQLQJ6LJQDWXUH(WKLFV'LVKRQHVW\0RUDOLW\6DOLHQF\&KHDWLQJ

                              
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 910 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


       ,Q'HFHPEHU7LPRWK\6FKHWHOLFK²ZKRKDGEHHQZRUNLQJDVD&HUWLILHG3XEOLF

$FFRXQWDQWLQ6SULQJILHOG 86$ IRU\HDUV²SOHDGHGJXLOW\WRSUHSDULQJIDOVHWD[UHWXUQVIRU

VHYHUDOFOLHQWVZKLFKHDUQHGKLPKLJKHUFRPPLVVLRQV2YHUWKH\HDUVKHFODLPHGVRPHRIWKHP

KDGOHJLWLPDWHEXVLQHVVH[SHQVHVZKHQLQIDFWWKH\GLGQRWRZQDEXVLQHVVRUKHIDEULFDWHGDQG

LQIODWHGGHGXFWLRQVIRUH[SHQVHVWRREWDLQUHIXQGVWKHFOLHQWVZHUHQRWHQWLWOHGWRUHFHLYH7KLV

FDVHXQIRUWXQDWHO\LVQRWDQH[FHSWLRQ0RVWEXVLQHVVHVUHJXODUO\FKHDWRQWKHLUWD[HV 0RUVH

 DQGWKHVHXQSDLGWD[HVKDYHEHHQHVWLPDWHGWRDPRXQWWRURXJKO\ELOOLRQHYHU\\HDU

²DQDVWRQLVKLQJFRVWWRWKHHFRQRP\EXWQRWHYHQKDOIRIWKHFRVWVLQFXUUHGGXHWRQRQ

FRPSOLDQFHRILQGLYLGXDOWD[SD\HUV +HUPDQ 6LPLODUIRUPVRIXQHWKLFDOEHKDYLRULQFOXGH

RYHUVWDWLQJLQVXUDQFHFODLPVLQIODWLQJEXVLQHVVH[SHQVHVDQGRYHUVWDWLQJELOODEOHKRXUVWR

PHQWLRQMXVWDIHZ 0D]DU $ULHO\*LQR 3LHUFH 

       ,QHDFKRIWKHVHH[DPSOHVEXVLQHVVHVRUJRYHUQPHQWVUHO\XSRQLQGLYLGXDOV¶KRQHVWVHOI

UHSRUWVLQWKHIDFHRIWHPSWDWLRQVWRWUDQVJUHVV7KHFRPPRQSUDFWLFHWRHQVXUHWKHKRQHVW\RI

VXFKVHOIUHSRUWVLVWRDVNLQGLYLGXDOVWRVLJQDVWDWHPHQWRUSOHGJHRIKRQRUDWWKHHQGRIWKHLU

VHOIUHSRUW$VWKHH[DPSOHVDERYHVXJJHVWKRZHYHUWKLVSUDFWLFHDSSHDUVWREHLQVXIILFLHQWLQ

FRXQWHULQJVHOILQWHUHVWHGPRWLYDWLRQVWRIDOVLI\QXPEHUV,QWKLVSDSHUZHSURSRVHDQGWHVWWKH

LGHDWKDWDVPDOOFKDQJHLQWKHFRPPRQSUDFWLFHFRXOGOHDGWRVLJQLILFDQWLPSURYHPHQWVLQ

FRPSOLDQFHVLPSO\PRYLQJWKHVLJQLQJRIWKHVWDWHPHQWRIKRQRUIURPWKHHQGWRWKHEHJLQQLQJ

RIDVHOIUHSRUWVKRXOGEULQJRQH¶VPRUDOVWDQGDUGVLQWRIRFXVDQGVXEVHTXHQWO\SURPRWHKRQHVW\

ZKLOHGLVFRXUDJLQJFKHDWLQJ

                                      5HVHDUFKRQ'LVKRQHVW\

       7KHSHUYDVLYHQHVVRIXQHWKLFDOSUDFWLFHVLQRUJDQL]DWLRQVDQGVRFLHW\PRUHEURDGO\KDV

JHQHUDWHGFRQVLGHUDEOHLQWHUHVWDPRQJVFKRODUVLQDYDULHW\RIGLVFLSOLQHVLQFOXGLQJ

RUJDQL]DWLRQDOEHKDYLRUSV\FKRORJ\SKLORVRSK\DQGHFRQRPLFV HJ%URZQ 7UHYLxR
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 911 of 1282




                                                                              0DNLQJ(WKLFV6DOLHQW


*QHH]\+DLGW1LFKROV .QREH7HQEUXQVHO'LHNPDQQ:DGH%HQ]RQL 

%D]HUPDQ7HQEUXQVHO 6PLWK&URZH7UHYLxR:HDYHU 5H\QROGV 

7RJHWKHUWKHZRUNRIWKHVHVFKRODUVVXJJHVWVWKDWWKHUHDUHDWOHDVWWZRW\SHVRILQGLYLGXDOVWKRVH

ZKRRQO\FDUHDERXWWKHLUVHOILQWHUHVWDQGWKHUHIRUHZLOODFWXQHWKLFDOO\LIEHQHILFLDODQGQRWWRR

FRVWO\WRWKHP HJ%ULHI%XWWUDP 'XNHULFN/HZLFNL3RODQG0LQWRQ 6KHSSDUG

 DQGWKRVHZKRGRFDUHDERXWPRUDOLW\EXWILQGZD\VWRSHUPLWOLPLWHGDPRXQWRIXQHWKLFDO

EHKDYLRUZLWKRXWYLRODWLQJWKHLUPRUDOVWDQGDUGV HJ$\DO *LQR0D]DU$PLU 

$ULHO\7HQEUXQVHOHWDO 7KHPDMRULW\RISHRSOHIDOOLQWRWKHODWWHUFDWHJRU\

$TXLQRDQG5HHG DQGIDFWRUVVXFKDVDPELJXLW\FXOWXUDORULHQWDWLRQVDQGVXUSULVLQJO\

VXEWOHVLWXDWLRQDOLQIOXHQFHVFDQIDFLOLWDWHWKHLUPRUDOWUDQVJUHVVLRQV)RULQVWDQFH6FKZHLW]HU

DQG+VHH  DVZHOODV%DXPHLVWHU  KDYHVKRZQWKDWSHRSOHZLOOSUHVHQWDPELJXRXV

LQIRUPDWLRQVXFKWKDWLWEHQHILWVWKHLUVHOILQWHUHVW HYHQLILWKDUPVRWKHUV ZLWKRXWDQ\QHJDWLYH

FRQVHTXHQFHVWRWKHLUPRUDOVHOILPDJH,QUHODWHGZRUN0D]DUDQG$JJDUZDO  UHSRUWHG

WKDWFROOHFWLYLVPSURPRWHVEULEHU\E\PLWLJDWLQJWKHSHUFHLYHGUHVSRQVLELOLW\IRURQH¶VDFWLRQV

DQG=KRQJ%RKQVDQG*LQR  IRXQGWKDWDPELHQWGDUNQHVVFDQIDFLOLWDWHSHRSOH¶V

WUDQVJUHVVLRQVE\LQFUHDVLQJDVHQVHRIDQRQ\PLW\

       7RGDWHPRVWRIWKLVUHVHDUFKKDVIRFXVHGSULPDULO\RQWKHPRWLYHVDQGFKDUDFWHULVWLFVRI

WKHZURQJGRHUVRURQWKHRUJDQL]DWLRQDODQGHQYLURQPHQWDOIDFWRUVWKDWFDQLQIOXHQFHRQH¶V

DFWLRQV%XLOGLQJRQWKLVERG\RIZRUNWKHJRDORIWKHFXUUHQWSDSHULVWRGHYHORSDQGWHVWDQ

HIILFLHQWDQGHIIHFWLYHLPSOHPHQWDWLRQRIDPHDVXUHWRUHGXFHRUHOLPLQDWHXQHWKLFDOEHKDYLRUV²

SDUWLFXODUO\EHKDYLRUVWKDWUHO\RQVHOIPRQLWRULQJLQOLHXRIVRFLHWDOUHVWUDLQWV)LOLQJWD[HV

FODLPLQJEXVLQHVVH[SHQVHVRUUHSRUWLQJELOODEOHKRXUVDUHDOOH[DPSOHVRIVXFKEHKDYLRUVWKDW

UHO\RQWUXWKIXOVHOIUHSRUWV7KHVHEHKDYLRUVDVVXPHIXOOKRQHVW\RQWKHLQGLYLGXDOOHYHODQ\
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 912 of 1282




                                                                               0DNLQJ(WKLFV6DOLHQW


GHSDUWXUHFDQOHDGWRVLJQLILFDQWHFRQRPLFORVVHV7KXVLWLVVHHPVLPSRUWDQWWRLGHQWLI\SUDFWLFDO

LQWHUYHQWLRQVWKDWSURPRWHKRQHVW\LQGRPDLQVWKDWUHO\RQWUXWKIXOVHOIUHSRUWV $PLUHWDO

 

          5HFHQWSDSHUVKDYHVWDUWHGWRLGHQWLI\VXFKLQWHUYHQWLRQV)RUH[DPSOH0D]DU$PLUDQG

$ULHO\  DVNHGVWXGHQWVWRVLJQDQKRQRUFRGHEHIRUHSDUWLFLSDWLQJLQDWDVNWKDWRIIHUHGWKH

RSSRUWXQLW\WRPLVUHSRUWRQH¶VSHUIRUPDQFHLQRUGHUWRHDUQPRUHPRQH\LQDQH[SHULPHQW

:KLOHWKHVWXGHQWVRYHUVWDWHGWKHLUSHUIRUPDQFHLQWKHDEVHQFHRIDQKRQRUFRGHWKHDXWKRUV

REVHUYHGQRFKHDWLQJZKHQVWXGHQWVZHUHDVNHGWRUHDGDQGVLJQDQKRQRUFRGHDWWKHEHJLQQLQJ

RIWKHWDVN%XLOGLQJRQWKLVILQGLQJ6KX*LQRDQG%D]HUPDQ  FRPSDUHGSHRSOH¶VVHOI

UHSRUWVZKHQWKH\VLPSO\UHDGRUGLGQRWUHDGDQKRQRUFRGHEHIRUHSDUWLFLSDWLQJLQDWDVNWKDW

RIIHUHGWKHRSSRUWXQLW\WRRYHUVWDWHRQH¶VSHUIRUPDQFHWRHDUQPRUHPRQH\6LPLODUO\WKH

DXWKRUVIRXQGWKDWSDUWLFLSDQWVZKRUHDGDQKRQRUFRGHSULRUWRDQRSSRUWXQLW\WRFKHDWZHUH

OHVVOLNHO\WRFKHDWRQWKHVXEVHTXHQWWDVNUHODWLYHWRDFRQWUROJURXSZKRGLGQRWUHDGDQKRQRU

FRGH:KLOHWKHVHILQGLQJVLGHQWLI\LQWHUHVWLQJEHKDYLRUDOLQWHUYHQWLRQVWRFXUWDLOGLVKRQHVW\

LQWURGXFLQJDUHPLQGHURIDFRGHRIFRQGXFWLQDFRQWH[WZKHUHSUHYLRXVO\ZDVQRQHWKHUHDUH

PDQ\LPSRUWDQWGRPDLQVLQZKLFKVLJQLQJDVWDWHPHQWWRFRQILUPWKHWUXWKIXOQHVVRIDUHSRUWLV

DOUHDG\UHTXLUHGVXFKDVLQVXUDQFHVRUWD[HV2QHLPSRUWDQWGLIIHUHQFHKRZHYHUIURPWKHODE

VWXGLHVLVWKDWLQWKHILHOGW\SLFDOO\DVLJQDWXUHLVUHTXHVWHGDWWKHHQGUDWKHUWKDQDWWKH

EHJLQQLQJRIUHSRUWLQJDQGLWLVXQFOHDUZKHWKHULWLVVLPSOHWKHUHPLQGHURIDFRGHRIFRQGXFW

WKDWLQFUHDVHVKRQHVW\LQVHOIUHSRUWVRUZKHWKHULVDOVRLPSRUWDQWZKHUHWKHORFDWLRQDQGWKXV

ZKDWWKHWLPLQJRILWLV8VLQJERWKILHOGDQGODERUDWRU\VWXGLHVLQWKLVSDSHUZHVWULYHWRLVRODWH

WKHHIIHFWRIVLPSO\PRYLQJWKHVLJQDWXUHFXUUHQWO\UHTXLUHGLQPDQ\UHDOZRUOGFRQWH[WVIURP

WKHHQGRIDVHOIUHSRUWLQJWDVNWRWKHEHJLQQLQJ
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 913 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 914 of 1282




                                                                             0DNLQJ(WKLFV6DOLHQW


LQFUHDVHGWKHULJLGLW\RIWKHLUMXGJPHQWVRIHWKLFDOLW\<HWWKHHIIHFWLYHQHVVRIWKHVH

PDQLSXODWLRQVLQPDNLQJPRUDOLW\VDOLHQWZDVQRWWHVWHGGLUHFWO\EXWDVVXPHGE\REVHUYLQJ

GLIIHUHQFHVLQXQHWKLFDOEHKDYLRUIROORZLQJWKHYDULRXVPDQLSXODWLRQV,QWKHFXUUHQWZRUNZH

H[SOLFLWO\WHVWWKLVOLQNE\HPSOR\LQJDQLPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\

       2XUZRUNLVLQOLQHZLWK'XYDO :LFNOXQG¶V  WKHRU\RIREMHFWLYHVHOIDZDUHQHVV

2EMHFWLYHVHOIDZDUHQHVVWKHRU\LVFRQFHUQHGZLWKWKHVHOIUHIOH[LYHTXDOLW\RIWKHFRQVFLRXVQHVV

'XYDO :LFNOXQG ³:KHQDWWHQWLRQLVGLUHFWHGLQZDUGDQGWKHLQGLYLGXDO¶V

FRQVFLRXVQHVVLVIRFXVHGRQKLPVHOIKHLVWKHREMHFWRIKLVRZQFRQVFLRXVQHVV—KHQFH

µREMHFWLYH¶VHOIDZDUHQHVV´ 'XYDO :LFNOXQGS 7KLVLVFRQWUDVWHGZLWK³VXEMHFWLYH

VHOIDZDUHQHVV´WKDWUHVXOWVZKHQDWWHQWLRQLVGLUHFWHGDZD\IURPWKHVHOIDQGWKHSHUVRQ

³H[SHULHQFHVKLPVHOIDVWKHVRXUFHRISHUFHSWLRQDQGDFWLRQ´ 'XYDO :LFNOXQGS ,Q

LWVRULJLQDOIRUPXODWLRQWKHWKHRU\DVVXPHGWKDWWKHRULHQWDWLRQRIFRQVFLRXVDWWHQWLRQZDVWKH

HVVHQFHRIVHOIHYDOXDWLRQ)RFXVLQJDWWHQWLRQRQWKHVHOIEULQJVDERXWREMHFWLYHVHOIDZDUHQHVV

ZKLFKLQLWLDWHGDQDXWRPDWLFFRPSDULVRQRIWKHVHOIDJDLQVWVWDQGDUGV7KHVHOIZDVGHILQHGYHU\

EURDGO\DVWKHSHUVRQ¶VNQRZOHGJHRIWKHSHUVRQ$VWDQGDUGZDV³GHILQHGDVDPHQWDO

UHSUHVHQWDWLRQRIFRUUHFWEHKDYLRUDWWLWXGHVDQGWUDLWV$OORIWKHVWDQGDUGVRIFRUUHFWQHVVWDNHQ

WRJHWKHUGHILQHZKDWDµFRUUHFW¶SHUVRQLV´ 'XYDO :LFNOXQGSS 7KLVVLPSOH

V\VWHPFRQVLVWLQJRIVHOIVWDQGDUGVDQGDWWHQWLRQDOIRFXVZDVDVVXPHGWRRSHUDWHDFFRUGLQJWR

*HVWDOWFRQVLVWHQF\SULQFLSOHV +HLGHU :KHQHYHUDGLVFUHSDQF\EHWZHHQVHOIDQG

VWDQGDUGVRFFXUUHGWKHGHFLVLRQPDNHUH[SHULHQFHGQHJDWLYHDIIHFWDQGEHFDXVHRIWKLVDYHUVLYH

VWDWHVKHZDVPRWLYDWHGWRUHVWRUHFRQVLVWHQF\

       %XLOGLQJRQUHVHDUFKWKDWWKHVHOILVPDOOHDEOH VHHHJ6KLK3LWWLQVN\DQG$PEDG\

 DQGSURQHWRHYHQVXEWOHSULPHVLQWKHHQYLURQPHQWZHH[DPLQHDVSHFLILFW\SHRISULPH
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 915 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 916 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 917 of 1282
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 918 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


KRQRUEHIRUHILOOLQJRXWWKHIRUPZRXOGEHPRUHWUXWKIXODQGWKXVUHSRUWKLJKHUXVDJHWKDQWKRVH

ZKRVLJQHGWKHSOHGJHRIKRQRUDWWKHHQG

5HVXOWVDQG'LVFXVVLRQ

        $VH[SHFWHGFRQWUROOLQJIRUWKHQXPEHURIFDUVSHUSROLF\ )>@ S  WKH

DYHUDJHDQQXDOXVDJHSHUFDUZDVVLJQLILFDQWO\KLJKHUDPRQJFXVWRPHUVZKRVLJQHGWKHSOHGJHRI

KRQRUDWWKHEHJLQQLQJRIWKHIRUP 0 6'  WKDQWKRVHZKRVLJQHGWKHSOHGJH

RIKRQRUDWWKHHQGRIWKHIRUP 0 6' )>@ S 7KH

DQQXDOGLIIHUHQFHEHWZHHQRXUWZRWUHDWPHQWVZDVRQDYHUDJHPLOHVSHUFDU7KHUHVXOWV

DOVRKROGIRUWKHRGRPHWHUGLIIHUHQFHIRUWKHILUVWFDURQO\ VLJQLQJDWWKHEHJLQQLQJ0 

6' VLJQLQJDWWKHHQG0 6' W>@ S 

        7KHVHUHVXOWVSURYLGHVXSSRUWIRURXUILUVWK\SRWKHVLVWKDWDVNLQJSHRSOHWRVLJQDSOHGJH

RIKRQRUEHIRUHUDWKHUWKDQDIWHUDVHOIUHSRUWLQJWDVNORZHUVWKHOLNHOLKRRGRIFKHDWLQJWKURXJK

PLVUHSRUWLQJWKHQXPEHURIPLOHVGULYHQRYHUWKHFRXUVHRIWKH\HDU8VLQJDILHOGVWXG\ZH

ZHUHDEOHWRGHPRQVWUDWHWKDWMXVWDVLPSOHFKDQJHLQWKHORFDWLRQRIRQH¶VRZQVLJQDWXUHFDQ

JUHDWO\LQIOXHQFHSHRSOH¶VOLNHOLKRRGWRFKHDWE\PLVUHSRUWLQJLQIRUPDWLRQWRDGYDQFHWKHLURZQ

VHOILQWHUHVW

                          6WXG\$/DE([SHULPHQWZLWK7D[5HWXUQV

       7RWHVWWKHUREXVWQHVVRIRXUILQGLQJVZHFRQGXFWHGDVHFRQGVWXG\LQWKHODERUDWRU\

XVLQJDVLPLODUVLJQLQJPDQLSXODWLRQEXWLQDGLIIHUHQWGRPDLQILOOLQJRXWDWD[UHWXUQIRUP,Q

WKLVVWXG\ZHDOVRDGGHGDFRQWUROFRQGLWLRQWRH[DPLQHWKHDFWXDOHIIHFWRIVLJQLQJZKHWKHU

VLJQLQJSULRUWRWKHRSSRUWXQLW\WRFKHDWHQFRXUDJHVKRQHVW\RUZKHWKHUVLJQLQJDIWHUZDUGV

HQFRXUDJHVXQHWKLFDOEHKDYLRU

0HWKRG
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 919 of 1282




                                                                             0DNLQJ(WKLFV6DOLHQW


        3DUWLFLSDQWV2QHKXQGUHGDQGRQHVWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKH

VWXG\IRUSD\7KH\UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\

WKURXJKRXWWKHVWXG\

        'HVLJQDQG3URFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWKUHHFRQGLWLRQV 

6LJQDWXUHDWWKHWRSRIWKHWD[UHWXUQIRUP LHEHIRUHILOOLQJLWRXW  6LJQDWXUHDWWKHERWWRPRI

WKHWD[UHWXUQIRUP LHDIWHUILOOLQJLWRXW RU 1RVLJQDWXUH FRQWUROFRQGLWLRQ 7KHVWDWHPHQW

WKDWSDUWLFLSDQWVKDGWRVLJQRQWKHWD[UHWXUQIRUPZDV³,GHFODUHWKDW,FDUHIXOO\H[DPLQHGWKLV

UHWXUQDQGWKDWWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHILWLVFRUUHFWDQGFRPSOHWH´$WWKH

EHJLQQLQJRIHDFKVHVVLRQSDUWLFLSDQWVZHUHJLYHQLQVWUXFWLRQVWRWKHVWXG\7KHLQVWUXFWLRQV

LQIRUPHGWKHPWKDWWKH\ZRXOGILUVWFRPSOHWHDSUREOHPVROYLQJWDVNXQGHUWLPHSUHVVXUH LH

WKH\ZRXOGKDYHILYHPLQXWHVWRFRPSOHWHWKHWDVN DQGWKDWWKHH[SHULPHQWHUZRXOGNHHSWUDFN

RIWKHWLPH,QDGGLWLRQWRSURYLGLQJLQIRUPDWLRQDERXWWKHSD\PHQWIRUWKHSUREOHPVROYLQJWDVN

WKHLQVWUXFWLRQVDOVRLQFOXGHGWKHIROORZLQJLQIRUPDWLRQ³)RUWKHSUREOHPVROYLQJWDVN\RXZLOO

EHSDLGDKLJKHUDPRXQWWKDQZKDWZHXVXDOO\SD\SDUWLFLSDQWVLQDUHJXODUVWXG\EHFDXVH\RX

ZLOOEHWD[HGRQ\RXUHDUQLQJV<RXZLOOUHFHLYHPRUHGHWDLOVDIWHUWKHSUREOHPVROYLQJWDVN´

        3UREOHPVROYLQJWDVN)RUWKLVWDVNSDUWLFLSDQWVUHFHLYHGDZRUNVKHHWZLWKPDWULFHV

HDFKFRQVLVWLQJRIWKUHHGLJLWQXPEHUV HJEDVHGRQ0D]DUHWDO DQGD

FROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWVODWHUUHSRUWHGWKHLUSHUIRUPDQFHLQWKLVSDUWRIWKHVWXG\

3DUWLFLSDQWVZHUHWROGWKDWWKH\ZRXOGKDYHILYHPLQXWHVWRILQGWZRQXPEHUVLQHDFKPDWUL[WKDW

VXPPHGWR)RUHDFKSDLURIQXPEHUVFRUUHFWO\LGHQWLILHGWKH\ZRXOGUHFHLYHIRUD

PD[LPXPSD\PHQWRI,QSUHYLRXVVWXGLHV *LQR$\DO $ULHO\0D]DUHWDO 

RQDYHUDJHSHRSOHZHUHDEOHWRILQGRIWKHSDLUVLQWKHJLYHQDPRXQWRIWLPH2QFHWKHILYH
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 920 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 921 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 922 of 1282
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 923 of 1282




                                                                               0DNLQJ(WKLFV6DOLHQW


ZRUGVUHODWHGWRHWKLFVDQGPRUDOLW\)ROORZLQJSULRUUHVHDUFKPHDVXULQJLPSOLFLWFRJQLWLYH

SURFHVVHV %DVVLOL 6PLWK7XOYLQJ6FKDFWHU 6WDUN ZHXVHGDZRUGFRPSOHWLRQ

WDVNLQZKLFKSDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHYDULRXVZRUGIUDJPHQWVZLWKWKHILUVWOHWWHUV

WKDWFDPHWRPLQG

0HWKRG

        'HVLJQDQG3URFHGXUH6WXG\HPSOR\HGRQHEHWZHHQVXEMHFWVIDFWRUZLWKWZROHYHOV

VLJQDWXUHDWWKHWRSLHEHIRUHILOOLQJRXWDIRUPYHUVXVDWWKHERWWRPLHDIWHUILOOLQJRXWD

IRUP7KHVWXG\HPSOR\HGWKHVDPHWDVNDQGSURFHGXUHRI6WXG\EXWYDULHGWKHLQFHQWLYHVIRU

WKHSHUIRUPDQFHWDVNWKHWD[UDWHDQGWKHWD[UHWXUQIRUPVSDUWLFLSDQWVFRPSOHWHG3DUWLFLSDQWV

LQWKLVVWXG\ZHUHSDLGIRUHDFKPDWUL[SX]]OHVXFFHVVIXOO\VROYHG7KH\ZHUHDOVRWD[HGDWD

KLJKHUUDWHRISHUFHQW)LQDOO\WKHWD[IRUPVZHUHPRGLILHGVXFKWKDWWKH\PLPLFNHGWKHIORZ

RIDFWXDOWD[UHSRUWLQJSUDFWLFHVLQWKH8QLWHG6WDWHV'HGXFWLRQVZHUHILUVWVXEWUDFWHGIURPJURVV

LQFRPHWRFRPSXWHWD[DEOHLQFRPHWKHQWD[HVZHUHSDLGRQWKLVDGMXVWHGDPRXQW

        ,QDGGLWLRQSDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHDZRUGFRPSOHWLRQWDVNDVWKHLUILQDOWDVN

LQWKHVWXG\7KHWDVNLQVWUXFWLRQVLQIRUPHGSDUWLFLSDQWVWKDWWKH\ZRXOGKDYHWRFRQYHUWZRUG

IUDJPHQWVLQWRPHDQLQJIXOZRUGV3DUWLFLSDQWVUHFHLYHGDOLVWRIVL[ZRUGIUDJPHQWVZLWKOHWWHUV

PLVVLQJDQGZHUHDVNHGWRILOOLQWKHEODQNVWRPDNHFRPSOHWHZRUGVE\XVLQJWKHILUVWZRUGWKDW

FDPHWRPLQG7KUHHRIWKHVHZRUGIUDJPHQWV BB5$/B,BBB(DQG(BBB&BB FRXOG

EHFRPSOHWHGDVHWKLFVUHODWHGZRUGV PRUDOYLUWXHDQGHWKLFDO RUDVHWKLFVQHXWUDOZRUGV HJ

YLUDOWLVVXHDQGHIIHFWV 

        3DUWLFLSDQWV6L[W\VWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH6RXWKHDVWHUQ8QLWHG

6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKHVWXG\IRUSD\7KH\
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 924 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

VWXG\

5HVXOWV

         /HYHORIFKHDWLQJ:HILUVWH[DPLQHGWKHSHUFHQWDJHRISDUWLFLSDQWVZKRFKHDWHGE\

RYHUVWDWLQJWKHLUSHUIRUPDQFHRQWKHPDWUL[WDVNZKHQILOOLQJRXWWKHWD[UHWXUQIRUP7KLV

SHUFHQWDJHZDVORZHULQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ RXWRI WKDQLQWKH

VLJQDWXUHDWWKHERWWRPFRQGLWLRQ RXWRI Ȥ 1  S

         )LJXUHGHSLFWVDFWXDOSHUIRUPDQFHRQWKHPDWUL[WDVNDQGUHSRUWHGSHUIRUPDQFHRQWKH

WD[UHWXUQIRUPE\FRQGLWLRQ7KHGLIIHUHQFHEHWZHHQWKHUHSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKH

PDWUL[WDVNZDVRXUSUR[\IRUFKHDWLQJ7KLVGLIIHUHQFHZDVORZHULQWKHVLJQDWXUHDWWKHWRS

FRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 6'  

W  S:LWKLQVXEMHFWVDQDO\VHVXVLQJERWKUHSRUWHGDQGDFWXDOSHUIRUPDQFH

UHYHDOHGWKHVDPHSDWWHUQRIUHVXOWV

         7KHGHGXFWLRQVSDUWLFLSDQWVUHSRUWHGLQWKHWD[UHWXUQIRUPIROORZWKHVDPHSDWWHUQDQG

YDU\VLJQLILFDQWO\E\FRQGLWLRQ)  SȘ WKH\ZHUHORZHULQWKHVLJQDWXUHDW

WKHWRSFRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 

6'  

          :RUGIUDJPHQWWDVN$VZHSUHGLFWHGSDUWLFLSDQWVZKRVLJQHGWKHKRQHVW\SOHGJHEHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWJHQHUDWHGPRUHHWKLFVUHODWHGZRUGV 0 6'  WKDQ

WKRVHZKRVLJQHGDWWKHERWWRPRIWKHIRUP 0 6'  )  SȘ 

VXJJHVWLQJWKDWWKHDFWRIVLJQLQJSULRUWRWKHWHPSWDWLRQWRFKHDWLQFUHDVHGWKHDFFHVVLELOLW\RI

HWKLFVUHODWHGFRQFHSWV
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 925 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 926 of 1282
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 927 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


WKRVHZKRUHFHLYHGDQGVLJQHGWKHSOHGJHRIKRQHVW\ZRXOGEHPRUHOLNHO\WRUHSRUWWKHLU

SHUIRUPDQFHWUXWKIXOO\ + DQGWKDWVLJQLQJWKHSOHGJHZRXOGOHDGSDUWLFLSDQWVWRFRPSOHWHWKH

ZRUGIUDJPHQWWDVNZLWKDKLJKHUQXPEHURIHWKLFVUHODWHGZRUGV + ZKLFKZRXOGPHGLDWHWKH

HIIHFWRIWKHVLJQDWXUHRQFKHDWLQJ + 

          3DUWLFLSDQWV(LJKW\WZRFROOHJHDQGJUDGXDWHVWXGHQWVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOH FRPSOHWHGWKHVWXG\IRUSD\7KH\

UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

VWXG\

5HVXOWVDQG'LVFXVVLRQ

          6DPHDVLQWKHSUHYLRXVVWXGLHVZHFRPSXWHGWKHGLIIHUHQFHEHWZHHQVHOIUHSRUWHG

SHUIRUPDQFHDQGDFWXDOSHUIRUPDQFHRQWKHJHQHUDONQRZOHGJHWDVNE\PDWFKLQJSDUWLFLSDQWV¶

XQLTXHVWXG\,'VWKDWZHUHGHQRWHGRQHDFKVXUYH\IRUP7KLVGLIIHUHQFHVFRUHVHUYHGDVRXU

SUR[\IRUFKHDWLQJ3RVLWLYHGLIIHUHQFHVFRUHVLQGLFDWHGWKDWSDUWLFLSDQWVRYHUUHSRUWHGWKHLU

SHUIRUPDQFHDQGFKHDWHGRQWKHWDVNVRWKDWWKH\FRXOGPDNHPRUHPRQH\

          :KHQH[DPLQLQJWKHSHUIRUPDQFHGLIIHUHQFHVFRUHVRQWKHWULYLDWHVWZHIRXQGWKDWLQ

FRPSDULVRQWRWKHFRQWUROFRQGLWLRQFKHDWLQJZDVVLJQLILFDQWO\UHGXFHGLQWKHVLJQDWXUHILUVW

FRQGLWLRQ 0 6' YV0 6'  W  S 6XSSRUWLQJWKHVH

UHVXOWVWKHSHUFHQWDJHRISDUWLFLSDQWVZKRRYHUVWDWHGWKHLUSHUIRUPDQFHZDVKLJKHULQWKH

FRQWUROFRQGLWLRQWKDQLQWKHVLJQDWXUHILUVWFRQGLWLRQ >@YV>@ Ȥ 

1  S 

          6LJQLQJEHIRUHWKHRSSRUWXQLW\WRRYHUUHSRUWSHUIRUPDQFHDOVRLQIOXHQFHGWKHQXPEHURI

HWKLFVUHODWHGFRQFHSWVSDUWLFLSDQWVFDPHXSZLWKLQWKHZRUGIUDJPHQWWDVN3DUWLFLSDQWVLQWKH
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 928 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 929 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 930 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 931 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


SUHYHQWLYHIRFXVDQGLGHQWLI\VXEWOHZD\VRIUDLVLQJWKHVDOLHQF\RIHWKLFDOVWDQGDUGV2XU

UHVHDUFKVKRZVWKDWWKHYHU\VDPHDXWRPDWLFSURFHVVHVWKDWXQFRQVFLRXVO\OHDGDSHUVRQWR

EHKDYHGLVKRQHVWO\PD\EHXVHGWRHQFRXUDJHHWKLFDOEHKDYLRUZKHQLQGLYLGXDOVDUHIDFLQJWKH

WHPSWDWLRQWRFKHDW2XUILQGLQJVDUHLPSRUWDQWLQOLJKWRISULRUUHVHDUFKRQWKHXVHRIH[SOLFLW

LQWHUYHQWLRQVVXFKDVLQWURGXFLQJDFRGHRIHWKLFV :HDYHU7UHYLxR &RFKUDQ WR

GLVFRXUDJHGLVKRQHVW\7KHSUHVHQWZRUNKLJKOLJKWVWKHUROHWKDWVXEWOHLQWHUYHQWLRQVFDQKDYHLQ

SURGXFLQJVLPLODUO\SRZHUIXOUHVXOWVHYHQZLWKRXWLQGLYLGXDOV¶FRQVFLRXVDZDUHQHVV

       )LQDOO\RXUUHVHDUFKDOVRFRQWULEXWHVWRWKHOLWHUDWXUHRQKRZWRHIIHFWLYHO\UHGXFH

GLVKRQHVW\%\LQWURGXFLQJDVOLJKWFKDQJHWRWKHW\SLFDOGHVLJQRIIRUPVXVHGIRUH[DPSOHE\WKH

,56RULQVXUDQFHFRPSDQLHVZHREVHUYHGDVLJQLILFDQWVKLIWWRZDUGVKRQHVWEHKDYLRU,Q

SDUWLFXODUE\PRYLQJWKHORFDWLRQRIWKHVLJQDWXUHIURPWKHHQGWRWKHEHJLQQLQJRIDIRUPZH

IRXQGPRUHWUXWKIXOUHSRUWLQJOHVVSHUIRUPDQFHLQIODWLRQOHVVRYHUFODLPLQJRIFUHGLWVDQG

IHZHUGHGXFWLRQFODLPV$VLPSOHQXGJHDWWKHEHJLQQLQJ²UDWKHUWKDQDWWKHHQG²RIRXUWDVNV

ZDVHQRXJKWRSURGXFHDPHDQLQJIXOLQFUHDVHLQKRQHVW\

/LPLWDWLRQVDQG9HQXHVIRU)XWXUH5HVHDUFK

      2XUVWXGLHVXVHGDPLQLPDOWUHDWPHQWSDUDGLJPWRLQGXFHWKHREVHUYHGHIIHFWVZHVKLIWHG

WKHUHTXLUHPHQWDQGORFDWLRQRISDUWLFLSDQWVLJQDWXUHDQGWKHQREVHUYHGGLIIHUHQFHVLQOHYHOVRI

FKHDWLQJ$QH[WHQVLRQRIWKLVSDUDGLJPWKDWPLJKWEHWWHUVSHDNWRWKHSRWHQWLDOPDJQLWXGHRIWKH

HIIHFWLQUHDOZRUOGDSSOLFDWLRQZRXOGEHWRSUHFHGHWKHVLJQDWXUHOLQHZLWKDPRUHH[WHQVLYHVHW

RIUXOHVWKDWJXLGHEHKDYLRU$VDQH[DPSOH6KX*LQRDQG%D]HUPDQ  IRXQGWKDW

SDUWLFLSDQWVZKRUHDGDQKRQRUFRGHSULRUWRDQRSSRUWXQLW\WRFKHDWZHUHOHVVOLNHO\WRFKHDWRQ

WKHVXEVHTXHQWWDVNUHODWLYHWRDFRQWUROJURXSZKRGLGQRWUHDGDQKRQRUFRGH VHH0D]DUHWDO

IRUFRPSDULVRQEHWZHHQUHDGLQJDQGVLJQLQJDQKRQRUFRGHSULRUWRDQRSSRUWXQLW\WRFKHDW
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 932 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


YHUVXVQRH[SRVXUHUHDGLQJRUVLJQLQJDQKRQRUFRGH )XWXUHUHVHDUFKFRXOGLQYHVWLJDWHZD\VWR

VXSHUFKDUJHWKHHIIHFWRIUHTXLULQJDVLJQDWXUHSULRUWRWKHVWDUWRIDWDVN²SRVVLEO\WKURXJK

EXQGOLQJLWZLWKVRPHJXLGHOLQHVIRUEHKDYLRU)UDPLQJWKHVHJXLGHOLQHVLQWHUPVRISURKLELWLRQV

    ³GRQRW´UXOHV YHUVXVHQFRXUDJHPHQWV ³GR´UXOHV PLJKWDOVRDOWHUWKHHIIHFWRIVLJQLQJRQWKH

GRWWHGOLQH

,PSOLFDWLRQVIRU3UDFWLFH

         2XUILQGLQJVVXJJHVWWKDWRQHHIIHFWLYHZD\WRUHGXFHRUHOLPLQDWHXQHWKLFDOEHKDYLRULV

WRDVNSHRSOHWRVLJQWKHLUQDPHSULRUUDWKHUWKDQDIWHUEHLQJWHPSWHGWRFKHDW7KHVHILQGLQJV

DSSO\WRDODUJHFDWHJRU\RIEHKDYLRUVWKDWUHO\RQKRQHVWVHOIUHSRUWRQWKHSDUWRIWKH

LQGLYLGXDO²DQ\EHKDYLRULQZKLFKLWLVLPSRVVLEOHIRUDQRWKHUSHUVRQRURUJDQL]DWLRQWR

FRQWLQXDOO\PRQLWRU

          :HEHOLHYHRQHRIWKHPRVWLPSRUWDQWGRPDLQVWRZKLFKRXUILQGLQJVPD\EHDSSOLHGLV

WKHGRPDLQRIWD[HV$VWKHIHGHUDOWD[JDSVRDUVWRRYHUELOOLRQHDFK\HDU 0RUVH 

WKHDPRXQWVSHQWRQWD[FRPSOLDQFHDQGLQYHVWLJDWLRQKDVDOVRVHHQGUDPDWLFLQFUHDVHV7KHVFDOH

RIWKHSURSRVHGLQWHUYHQWLRQLVWUXO\PLQLPDOJRYHUQPHQWVDOUHDG\UHTXLUHWD[SD\HUV DQG

SUHSDUHUV WRVLJQZKHQILOLQJWD[HV²MXVWFXUUHQWO\QRWLQWKHPRVWHIIHFWLYHORFDWLRQ6LPSO\

VKLIWLQJWKHVLJQDWXUHWRWKHEHJLQQLQJRIWKHWD[IRUPPD\KHOSWKHIHGHUDODQGVWDWH

JRYHUQPHQWVFORVHDVLJQLILFDQWSRUWLRQRIWKHWD[JDSDQGUHDOL]HHQRUPRXVVDYLQJVLQWD[

FRPSOLDQFHDQGLQYHVWLJDWLRQFRVWV

                                              &RQFOXVLRQ

          %\VLPSO\DVNLQJSDUWLFLSDQWVWRVLJQRQWKHGRWWHGOLQHSULRUWRDWDVNLQZKLFKWKH\IDFH

DWHPSWDWLRQWRFKHDWUDWKHUWKDQDWWKHHQGZHIRXQGVLJQLILFDQWUHGXFWLRQVLQOHYHOVRIFKHDWLQJ

ERWKLQDQLQVXUDQFHVHWWLQJDVZHOODVLQWKHFRQWH[WRIWD[HV7KLVLVMXVWDVPDOOVXEVHWRIWKH
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 933 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


W\SHVRIGRPDLQVZKLFKUHO\RQKRQHVWVHOIUHSRUWLQJRQWKHSDUWRIWKHLQGLYLGXDO$Q

LQWHUYHQWLRQDVVLPSOHDVVKLIWLQJWKHVLJQDWXUHORFDWLRQFDQOHDGWRDPHDQLQJIXOGLIIHUHQFHLQ

EHKDYLRUWKDWIROORZV6LJQLQJRQWKHGRWWHGOLQHFDQVKLIWWKHPRUDOJD]HLQZDUGUDLVHWKH

VDOLHQF\RIHWKLFDOVWDQGDUGVDQGVSLOORYHUWRSURPRWHPRUHHWKLFDODFWLRQVJRLQJIRUZDUG         
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 934 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 935 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 936 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 937 of 1282




                                                                         0DNLQJ(WKLFV6DOLHQW


                                            5HIHUHQFHV

$PLU2$ULHO\'&RRNH$'XQQLQJ'(SOH\1*QHH]\8.RV]HJL%/LFKWHQVWHLQ

       '0D]DU10XOODLQDWKDQ63UHOHF'6KDILU( 6LOYD-  3V\FKRORJ\

       %HKDYLRUDO(FRQRPLFVDQG3XEOLF3ROLF\0DUNHWLQJ/HWWHUV  

$TXLQR. 5HHG$  7KHVHOILPSRUWDQFHRIPRUDOLGHQWLW\-RXUQDORI3HUVRQDOLW\

       DQG6RFLDO3V\FKRORJ\  

$\DO6 *LQR)  +RQHVWUDWLRQDOHVIRUGLVKRQHVWEHKDYLRU,Q00LNXOLQFHU 35

       6KDYHU (GV 7KH6RFLDO3V\FKRORJ\RI0RUDOLW\([SORULQJWKH&DXVHVRI*RRGDQG

       (YLO:DVKLQJWRQ'&$PHULFDQ3V\FKRORJLFDO$VVRFLDWLRQ

%DVVLOL-1 6PLWK0&  2QWKHVSRQWDQHLW\RIWUDLWDWWULEXWLRQ&RQYHUJLQJ

       HYLGHQFHIRUWKHUROHRIFRJQLWLYHVWUDWHJ\-RXUQDORI3HUVRQDOLW\DQG6RFLDO3V\FKRORJ\

       

%DQGXUD$  6HOHFWLYHDFWLYDWLRQDQGGLVHQJDJHPHQWRIPRUDOFRQWURO-RXUQDORI6RFLDO

       ,VVXHV

%DQGXUD$%DUEDUDQHOOL&&DSUDUD* 3DVWRUHOOL&  0HFKDQLVPVRIPRUDO

       GLVHQJDJHPHQWLQWKHH[HUFLVHRIPRUDODJHQF\-RXUQDORI3HUVRQDOLW\DQG6RFLDO

       3V\FKRORJ\

%DWHVRQ01HWWOH' 5REHUWV*  &XHVRIEHLQJZDWFKHGHQKDQFHFRRSHUDWLRQLQD

       UHDOZRUOGVHWWLQJ%LRORJ\/HWWHUV

%DXPHLVWHU5)  7KHVHOI,Q'7*LOEHUW67)LVNH */LQG]H\ (GV +DQGERRN

       RIVRFLDOSV\FKRORJ\ 9ROSS± 1HZ<RUN0F*UDZ+LOO

%DXPHLVWHU5) +HDWKHUWRQ7)  6HOIUHJXODWLRQIDLOXUH$QRYHUYLHZ

       3V\FKRORJLFDO,QTXLU\
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 938 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


%D]HUPDQ0+ %DQDML05  7KHVRFLDOSV\FKRORJ\RIRUGLQDU\HWKLFDOIDLOXUHV

       6RFLDO-XVWLFH5HVHDUFK

%ULHI$3%XWWUDP57 'XNHULFK-0  &ROOHFWLYHFRUUXSWLRQLQWKHFRUSRUDWH

       ZRUOG7RZDUGDSURFHVVPRGHO,Q0(7XUQHU (G *URXSVDWZRUN$GYDQFHVLQ

       WKHRU\DQGUHVHDUFK SS 0DKZDK1-/DZUHQFH(UOEDXP

%URZQ0( 7UHYLQR/.  (WKLFDOOHDGHUVKLS$UHYLHZDQGIXWXUHGLUHFWLRQV7KH

       /HDGHUVKLS4XDUWHUO\

&KXJK'  6RFLHWDODQG0DQDJHULDO,PSOLFDWLRQVRI,PSOLFLW6RFLDO&RJQLWLRQ:K\

       0LOOLVHFRQGV0DWWHU6RFLDO-XVWLFH5HVHDUFK

'XYDO76 5REHUW$:LFNOXQG  $7KHRU\RI2EMHFWLYH6HOI$ZDUHQHVV1HZ<RUN

       $FDGHPLF3UHVV

)D]LR5+ &RRSHU-  $URXVDOLQWKHGLVVRQDQFHSURFHVV,Q-7&DFLRSSR5(

       3HWW\ (GV 6RFLDOSV\FKRSK\VLRORJ\ SS 1HZ<RUN*XLOIRUG3UHVV

)HVWLQJHU/ &DUOVPLWK-0  &RJQLWLYHFRQVHTXHQFHVRIIRUFHGFRPSOLDQFH-RXUQDO

       RI$EQRUPDODQG6RFLDO3V\FKRORJ\

*LQR)$\DO6 $ULHO\'  &RQWDJLRQDQGGLIIHUHQWLDWLRQLQXQHWKLFDOEHKDYLRU7KH

       HIIHFWRIRQHEDGDSSOHRQWKHEDUUHO3V\FKRORJLFDO6FLHQFH  

*LQR) 3LHUFH/  5RELQ+RRGXQGHUWKHKRRG:HDOWKEDVHGGLVFULPLQDWLRQLQLOOLFLW

       FXVWRPHUKHOS2UJDQL]DWLRQ6FLHQFH  

*QHH]\8  'HFHSWLRQ7KHUROHRIFRQVHTXHQFHV$PHULFDQ(FRQRPLF5HYLHZ

       

+DLGW-  7KHHPRWLRQDOGRJDQGLWVUDWLRQDOWDLO$VRFLDOLQWXLWLRQLVWDSSURDFKWRPRUDO

       MXGJPHQW3V\FKRORJLFDO5HYLHZ
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 939 of 1282




                                                                        0DNLQJ(WKLFV6DOLHQW


+DOH\.- )HVVOHU'07  1RERG\¶VZDWFKLQJ"6XEWOHFXHVDIIHFWJHQHURVLW\LQDQ

       DQRQ\PRXVHFRQRPLFJDPH(YROXWLRQDQG+XPDQ%HKDYLRU±

+HLGHU)  7KHJHVWDOWWKHRU\RIPRWLYDWLRQ,Q05-RQHV (G 1HEUDVNDV\PSRVLXP

       RQPRWLYDWLRQ 9ROSS /LQFROQ8QLYHUVLW\RI1HEUDVND3UHVV

+HUPDQ7RP  ³6WXG\6XJJHVWV7D[&KHDWLQJ,VRQWKH5LVH0RVW'HWDLOHG6XUYH\LQ

       <HDUV)LQGV%LOOLRQ3OXV*DS5DPSLQJ8S$XGLWVRQ:HDOWK\´7KH:DOO6WUHHW

       -RXUQDO 0DUFK '

.D\$&:KHHOHU6&%DUJK-$ 5RVV/  0DWHULDOSULPLQJ7KHLQIOXHQFHRI

       PXQGDQHSK\VLFDOREMHFWVRQVLWXDWLRQDOFRQVWUXDODQGFRPSHWLWLYHEHKDYLRUDOFKRLFH

       2UJDQL]DWLRQDO%HKDYLRUDQG+XPDQ'HFLVLRQ3URFHVVHV

.HWWOH./ +lXEO*  7KH6LJQDWXUH(IIHFW6LJQLQJLQIOXHQFHVFRQVXPSWLRQUHODWHG

       EHKDYLRUE\SULPLQJVHOILGHQWLW\7KH-RXUQDORI&RQVXPHU5HVHDUFK

/HZLFNL5-3RODQG70LQWRQ-: 6KHSSDUG%+  'LVKRQHVW\DVGHYLDQFH

       $W\SRORJ\RIZRUNSODFHGLVKRQHVW\DQGFRQWULEXWLQJIDFWRUV5HVHDUFKRQ1HJRWLDWLRQLQ

       2UJDQL]DWLRQV±

0D]DU1 $JJDUZDO3 )RUWKFRPLQJ &DQFROOHFWLYLVPSURPRWHEULEHU\"3V\FKRORJLFDO

       6FLHQFH

0D]DU1$PLU2 $ULHO\'  7KHGLVKRQHVW\RIKRQHVW\SHRSOH$WKHRU\RIVHOI

       FRQFHSWPDLQWHQDQFH-RXUQDORI0DUNHWLQJ5HVHDUFK  

0D]DU1 $ULHO\'  'LVKRQHVW\LQHYHU\GD\OLIHDQGLWVSROLF\LPSOLFDWLRQV-RXUQDO

       RI3XEOLF3ROLF\DQG0DUNHWLQJ

0RUVH6&  8VLQJVDOLHQFHDQGLQIOXHQFHWRQDUURZWKHWD[JDS/R\ROD8QLYHUVLW\

       &KLFDJR/DZ-RXUQDO  
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 940 of 1282




                                                                         0DNLQJ(WKLFV6DOLHQW


1LFKROV6 .QREH-  0RUDOUHVSRQVLELOLW\DQGGHWHUPLQLVPWKHFRJQLWLYHVFLHQFHRI

       IRONLQWXLWLRQV1RXV

3UHDFKHU.- +D\HV$)  6366DQG6$6SURFHGXUHVIRUHVWLPDWLQJLQGLUHFWHIIHFWV

       LQVLPSOHPHGLDWLRQPRGHOV%HKDYLRU5HVHDUFK0HWKRGV,QVWUXPHQWV &RPSXWHUV

       

5H\QROGV6/HDYLWW. 'H&HOOHV.$$XWRPDWLFHWKLFV,PSOLFLWDVVXPSWLRQVDQG

       HWKLFDOPDQDJHULDOFRQGXFW-RXUQDORI$SSOLHG3V\FKRORJ\  ±

5LJGRQ0,VKLL.:DWDEH0 .LWD\DPD6  0LQLPDOVRFLDOFXHVLQWKHGLFWDWRU

       JDPH-RXUQDORI(FRQRPLF3V\FKRORJ\

6FKZHLW]HU0( +VHH&.  6WUHWFKLQJWKHWUXWK(ODVWLFMXVWLILFDWLRQDQGPRWLYDWHG

       FRPPXQLFDWLRQRIXQFHUWDLQLQIRUPDWLRQ-RXUQDORI5LVNDQG8QFHUWDLQW\

6KLK03LWWLQVN\7/ $PEDG\16WHUHRW\SH6XVFHSWLELOLW\,GHQWLW\VDOLHQFHDQGVKLIWVLQ

       TXDQWLWDWLYHSHUIRUPDQFH3V\FKRORJLFDO6FLHQFH  

6KX/*LQR) %D]HUPDQ0  'LVKRQHVWGHHGFOHDUFRQVFLHQFH:KHQFKHDWLQJ

       OHDGVWRPRUDOGLVHQJDJHPHQWDQGPRWLYDWHGIRUJHWWLQJ3HUVRQDOLW\DQG6RFLDO

       3V\FKRORJ\%XOOHWLQ  

7HQEUXQVHO$( 6PLWK&URZH.  (WKLFDOGHFLVLRQPDNLQJ:KHUHZH¶YHEHHQDQG

       ZKHUHZH¶UHJRLQJ$FDGHP\RI0DQDJHPHQW$QQDOV

7HQEUXQVHO$('LHNPDQQ.$:DGH%HQ]RQL. %D]HUPDQ0+  7KHHWKLFDO

       PLUDJH:K\ZHDUHQRWDVHWKLFDODVZHWKLQNZHDUH5HVHDUFKLQ2UJDQL]DWLRQDO

       %HKDYLRU

7UHYLxR/.:HDYHU*5 5H\QROGV6-  %HKDYLRUDOHWKLFVLQRUJDQL]DWLRQV$

       UHYLHZ-RXUQDORI0DQDJHPHQW
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 941 of 1282




                                                                       0DNLQJ(WKLFV6DOLHQW


7XOYLQJ(6FKDFWHU'/ 6WDUN+$  3ULPLQJHIIHFWVLQZRUGIUDJPHQWFRPSOHWLRQ

       DUHLQGHSHQGHQWRIUHFRJQLWLRQPHPRU\-RXUQDORI([SHULPHQWDO3V\FKRORJ\/HDUQLQJ

       0HPRU\DQG&RJQLWLRQ  

:HDYHU*57UHYLxR/. &RFKUDQ3  ,QWHJUDWHGDQGGHFRXSOHGFRUSRUDWHVRFLDO

       SHUIRUPDQFH0DQDJHPHQWFRPPLWPHQWVH[WHUQDOSUHVVXUHVDQGFRUSRUDWHHWKLFV

       SUDFWLFHV$FDGHP\RI0DQDJHPHQW-RXUQDO±

=KRQJ&%%RKQV9. *LQR)  $JRRGODPSLVWKHEHVWSROLFH'DUNQHVV

       LQFUHDVHVVHOILQWHUHVWHGEHKDYLRUDQGGLVKRQHVW\3V\FKRORJLFDO6FLHQFH



                            
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 942 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 943 of 1282




                                                                       0DNLQJ(WKLFV6DOLHQW


)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[VHDUFKWDVNE\FRQGLWLRQ6WXG\




                                                                         

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 944 of 1282



                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                    0DQXVFULSW9HUVLRQ
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 945 of 1282




                                                           0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


5XQQLQJ+HDG0$.,1*(7+,&66$/,(17$77+(5,*+77,0(





                                  :KHQWR6LJQRQWKH'RWWHG/LQH"

          6LJQLQJ)LUVW,QFUHDVHV0RUDO6DOLHQFHDQG'HFUHDVHV'LVKRQHVW6HOI5HSRUWV

                                                  

                                              /LVD6KX

                                            1LQD0D]DU

                                          )UDQFHVFD*LQR

                                            'DQ$ULHO\

                                          0D[%D]HUPDQ

                                                  
                 
                     +DUYDUG8QLYHUVLW\8QLYHUVLW\RI7RURQWR'XNH8QLYHUVLW\











7KHDXWKRUVWKDQN-HQQLIHU)LQNDQG5XWK:LQHFRIIIRUWKHLUKHOSZLWKGDWDFROOHFWLRQDQGHQWU\

7KHDXWKRUVJUHDWO\DSSUHFLDWHWKHVXSSRUWDQGIDFLOLWLHVRIWKH&HQWHUIRU'HFLVLRQ5HVHDUFKDW

WKH8QLYHUVLW\RI1RUWK&DUROLQDDW&KDSHO+LOO7KHDXWKRUVWKDQNWKH)XTXD6FKRRORI%XVLQHVV

DQG+DUYDUG%XVLQHVV6FKRROIRUWKHLUILQDQFLDOVXSSRUW3OHDVHDGGUHVVFRUUHVSRQGHQFHWR

                        
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 946 of 1282




                                                          0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


                                              $EVWUDFW

0DQ\EXVLQHVVDQGJRYHUQPHQWDOLQWHUDFWLRQVDUHEDVHGXSRQWUXVWDQGWKHDVVXPSWLRQWKDWDOO

DFWRUVFRPSO\ZLWKVRFLDODQGPRUDOQRUPV7KHSURRIRIFRPSOLDQFHLVW\SLFDOO\JLYHQE\

VLJQLQJDVWDWHPHQWRUSOHGJHRIKRQRUDWWKHHQGRIDVHOIUHSRUWVXFKDVDIWHUILOOLQJRXWDQQXDO

WD[UHWXUQRULQVXUDQFHSROLF\UHYLHZIRUPV<HWHYHQLISHRSOHFDUHDERXWPRUDOLW\DQGZDQWWR

EHVHHQDVHWKLFDOE\RWKHUVWKH\VRPHWLPHVWUDQVJUHVVZKHQEHQHILFLDOWRWKHPGHVSLWHVLJQLQJ

RQWKHGRWWHGOLQH±DFRVWO\HQGHDYRUWRHFRQRPLHVDFURVVWKHJOREH7KHFXUUHQWSDSHUIRFXVHV

RQWHVWLQJDQHDV\WRLPSOHPHQWPHWKRGWRGLVFRXUDJHGLVKRQHVW\VLJQLQJDSOHGJHRIKRQRUDW

WKHEHJLQQLQJUDWKHUWKDQDVLVFRPPRQSUDFWLFHDWWKHHQGRIDVHOIUHSRUWZKLFKSURYLGHVD

WHPSWDWLRQWRFKHDW8VLQJERWKILHOGDQGODEH[SHULPHQWVZHILQGWKDWVLJQLQJDSOHGJHRIKRQRU

DWWKHEHJLQQLQJWKDWLVEHIRUHUDWKHUWKDQDIWHUKDYLQJIDFHGWKHRSSRUWXQLW\WRFKHDWUDLVHVWKH

VDOLHQF\RIHWKLFVDQGPRUDOLW\ZLWKVLJQLILFDQWUHGXFWLRQVLQGLVKRQHVW\



.H\ZRUGV6LJQLQJ6LJQDWXUH(WKLFV'LVKRQHVW\0RUDOLW\6DOLHQF\&KHDWLQJ

                              
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 947 of 1282




                                                         0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


       ,Q'HFHPEHU7LPRWK\6FKHWHOLFK²ZKRKDGEHHQZRUNLQJDVD&HUWLILHG3XEOLF

$FFRXQWDQWLQ6SULQJILHOG 86$ IRU\HDUV²SOHDGHGJXLOW\WRSUHSDULQJIDOVHWD[UHWXUQVIRU

VHYHUDOFOLHQWVZKLFKHDUQHGKLPKLJKHUFRPPLVVLRQV2YHUWKH\HDUVKHFODLPHGVRPHRIWKHP

KDGOHJLWLPDWHEXVLQHVVH[SHQVHVZKHQLQIDFWWKH\GLGQRWRZQDEXVLQHVVRUKHIDEULFDWHGDQG

LQIODWHGGHGXFWLRQVIRUH[SHQVHVWRREWDLQUHIXQGVWKHFOLHQWVZHUHQRWHQWLWOHGWRUHFHLYH7KLV

FDVHXQIRUWXQDWHO\LVQRWDQH[FHSWLRQ0RVWEXVLQHVVHVUHJXODUO\FKHDWRQWKHLUWD[HV 0RUVH

 DQGWKHVHXQSDLGWD[HVKDYHEHHQHVWLPDWHGWRDPRXQWWRURXJKO\ELOOLRQHYHU\\HDU

²DQDVWRQLVKLQJFRVWWRWKHHFRQRP\EXWQRWHYHQKDOIRIWKHFRVWVLQFXUUHGGXHWRQRQ

FRPSOLDQFHRILQGLYLGXDOWD[SD\HUV +HUPDQ 6LPLODUIRUPVRIXQHWKLFDOEHKDYLRULQFOXGH

RYHUVWDWLQJLQVXUDQFHFODLPVLQIODWLQJEXVLQHVVH[SHQVHVDQGRYHUVWDWLQJELOODEOHKRXUVWR

PHQWLRQMXVWDIHZ 0D]DU $ULHO\*LQR 3LHUFH 

       ,QHDFKRIWKHVHH[DPSOHVEXVLQHVVHVRUJRYHUQPHQWVUHO\XSRQLQGLYLGXDOV¶KRQHVWVHOI

UHSRUWVLQWKHIDFHRIWHPSWDWLRQVWRWUDQVJUHVV7KHFRPPRQSUDFWLFHWRHQVXUHWKHKRQHVW\RI

VXFKVHOIUHSRUWVLVWRDVNLQGLYLGXDOVWRVLJQDVWDWHPHQWRUSOHGJHRIKRQRUDWWKHHQGRIWKHLU

VHOIUHSRUW$VWKHH[DPSOHVDERYHVXJJHVWKRZHYHUWKLVSUDFWLFHDSSHDUVWREHLQVXIILFLHQWLQ

FRXQWHULQJVHOILQWHUHVWHGPRWLYDWLRQVWRIDOVLI\QXPEHUV,QWKLVSDSHUZHSURSRVHDQGWHVWWKH

LGHDWKDWDVPDOOFKDQJHLQWKHFRPPRQSUDFWLFHFRXOGOHDGWRVLJQLILFDQWLPSURYHPHQWVLQ

FRPSOLDQFHVLPSO\PRYLQJWKHVLJQLQJRIWKHVWDWHPHQWRIKRQRUIURPWKHHQGWRWKHEHJLQQLQJ

RIDVHOIUHSRUWVKRXOGEULQJRQH¶VPRUDOVWDQGDUGVLQWRIRFXVDQGVXEVHTXHQWO\SURPRWHKRQHVW\

ZKLOHGLVFRXUDJLQJFKHDWLQJ

                                      5HVHDUFKRQ'LVKRQHVW\

       7KHSHUYDVLYHQHVVRIXQHWKLFDOSUDFWLFHVLQRUJDQL]DWLRQVDQGVRFLHW\PRUHEURDGO\KDV

JHQHUDWHGFRQVLGHUDEOHLQWHUHVWDPRQJVFKRODUVLQDYDULHW\RIGLVFLSOLQHVLQFOXGLQJ

RUJDQL]DWLRQDOEHKDYLRUSV\FKRORJ\SKLORVRSK\DQGHFRQRPLFV HJ%URZQ 7UHYLxR
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 948 of 1282




                                                          0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


*QHH]\+DLGW1LFKROV .QREH7HQEUXQVHO'LHNPDQQ:DGH%HQ]RQL 

%D]HUPDQ7HQEUXQVHO 6PLWK&URZH7UHYLxR:HDYHU 5H\QROGV 

7RJHWKHUWKHZRUNRIWKHVHVFKRODUVVXJJHVWVWKDWWKHUHDUHDWOHDVWWZRW\SHVRILQGLYLGXDOVWKRVH

ZKRRQO\FDUHDERXWWKHLUVHOILQWHUHVWDQGWKHUHIRUHZLOODFWXQHWKLFDOO\LIEHQHILFLDODQGQRWWRR

FRVWO\WRWKHP HJ%ULHI%XWWUDP 'XNHULFN/HZLFNL3RODQG0LQWRQ 6KHSSDUG

 DQGWKRVHZKRGRFDUHDERXWPRUDOLW\EXWILQGZD\VWRSHUPLWOLPLWHGDPRXQWRIXQHWKLFDO

EHKDYLRUZLWKRXWYLRODWLQJWKHLUPRUDOVWDQGDUGV HJ$\DO *LQR0D]DU$PLU 

$ULHO\7HQEUXQVHOHWDO 7KHPDMRULW\RISHRSOHIDOOLQWRWKHODWWHUFDWHJRU\

$TXLQRDQG5HHG DQGIDFWRUVVXFKDVDPELJXLW\FXOWXUDORULHQWDWLRQVDQGVXUSULVLQJO\

VXEWOHVLWXDWLRQDOLQIOXHQFHVFDQIDFLOLWDWHWKHLUPRUDOWUDQVJUHVVLRQV)RULQVWDQFH6FKZHLW]HU

DQG+VHH  DVZHOODV%DXPHLVWHU  KDYHVKRZQWKDWSHRSOHZLOOSUHVHQWDPELJXRXV

LQIRUPDWLRQVXFKWKDWLWEHQHILWVWKHLUVHOILQWHUHVW HYHQLILWKDUPVRWKHUV ZLWKRXWDQ\QHJDWLYH

FRQVHTXHQFHVWRWKHLUPRUDOVHOILPDJH,QUHODWHGZRUN0D]DUDQG$JJDUZDO  UHSRUWHG

WKDWFROOHFWLYLVPSURPRWHVEULEHU\E\PLWLJDWLQJWKHSHUFHLYHGUHVSRQVLELOLW\IRURQH¶VDFWLRQV

DQG=KRQJ%RKQVDQG*LQR  IRXQGWKDWDPELHQWGDUNQHVVFDQIDFLOLWDWHSHRSOH¶V

WUDQVJUHVVLRQVE\LQFUHDVLQJDVHQVHRIDQRQ\PLW\

       7RGDWHPRVWRIWKLVUHVHDUFKKDVIRFXVHGSULPDULO\RQWKHPRWLYHVDQGFKDUDFWHULVWLFVRI

WKHZURQJGRHUVRURQWKHRUJDQL]DWLRQDODQGHQYLURQPHQWDOIDFWRUVWKDWFDQLQIOXHQFHRQH¶V

DFWLRQV%XLOGLQJRQWKLVERG\RIZRUNWKHJRDORIWKHFXUUHQWSDSHULVWRGHYHORSDQGWHVWDQ

HIILFLHQWDQGHIIHFWLYHLPSOHPHQWDWLRQRIDPHDVXUHWRUHGXFHRUHOLPLQDWHXQHWKLFDOEHKDYLRUV²

SDUWLFXODUO\EHKDYLRUVWKDWUHO\RQVHOIPRQLWRULQJLQOLHXRIVRFLHWDOUHVWUDLQWV)LOLQJWD[HV

FODLPLQJEXVLQHVVH[SHQVHVRUUHSRUWLQJELOODEOHKRXUVDUHDOOH[DPSOHVRIVXFKEHKDYLRUVWKDW

UHO\RQWUXWKIXOVHOIUHSRUWV7KHVHEHKDYLRUVDVVXPHIXOOKRQHVW\RQWKHLQGLYLGXDOOHYHODQ\
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 949 of 1282




                                                           0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


GHSDUWXUHFDQOHDGWRVLJQLILFDQWHFRQRPLFORVVHV7KXVLWLVVHHPVLPSRUWDQWWRLGHQWLI\SUDFWLFDO

LQWHUYHQWLRQVWKDWSURPRWHKRQHVW\LQGRPDLQVWKDWUHO\RQWUXWKIXOVHOIUHSRUWV $PLUHWDO

 

          5HFHQWSDSHUVKDYHVWDUWHGWRLGHQWLI\VXFKLQWHUYHQWLRQV)RUH[DPSOH0D]DU$PLUDQG

$ULHO\  DVNHGVWXGHQWVWRVLJQDQKRQRUFRGHEHIRUHSDUWLFLSDWLQJLQDWDVNWKDWRIIHUHGWKH

RSSRUWXQLW\WRPLVUHSRUWRQH¶VSHUIRUPDQFHLQRUGHUWRHDUQPRUHPRQH\LQDQH[SHULPHQW

:KLOHWKHVWXGHQWVRYHUVWDWHGWKHLUSHUIRUPDQFHLQWKHDEVHQFHRIDQKRQRUFRGHWKHDXWKRUV

REVHUYHGQRFKHDWLQJZKHQVWXGHQWVZHUHDVNHGWRUHDGDQGVLJQDQKRQRUFRGHDWWKHEHJLQQLQJ

RIWKHWDVN%XLOGLQJRQWKLVILQGLQJ6KX*LQRDQG%D]HUPDQ  FRPSDUHGSHRSOH¶VVHOI

UHSRUWVZKHQWKH\VLPSO\UHDGRUGLGQRWUHDGDQKRQRUFRGHEHIRUHSDUWLFLSDWLQJLQDWDVNWKDW

RIIHUHGWKHRSSRUWXQLW\WRRYHUVWDWHRQH¶VSHUIRUPDQFHWRHDUQPRUHPRQH\6LPLODUO\WKH

DXWKRUVIRXQGWKDWSDUWLFLSDQWVZKRUHDGDQKRQRUFRGHSULRUWRDQRSSRUWXQLW\WRFKHDWZHUH

OHVVOLNHO\WRFKHDWRQWKHVXEVHTXHQWWDVNUHODWLYHWRDFRQWUROJURXSZKRGLGQRWUHDGDQKRQRU

FRGH:KLOHWKHVHILQGLQJVLGHQWLI\LQWHUHVWLQJEHKDYLRUDOLQWHUYHQWLRQVWRFXUWDLOGLVKRQHVW\

LQWURGXFLQJDUHPLQGHURIDFRGHRIFRQGXFWLQDFRQWH[WZKHUHSUHYLRXVO\ZDVQRQHWKHUHDUH

PDQ\LPSRUWDQWGRPDLQVLQZKLFKVLJQLQJDVWDWHPHQWWRFRQILUPWKHWUXWKIXOQHVVRIDUHSRUWLV

DOUHDG\UHTXLUHGVXFKDVLQVXUDQFHVRUWD[HV2QHLPSRUWDQWGLIIHUHQFHKRZHYHUIURPWKHODE

VWXGLHVLVWKDWLQWKHILHOGW\SLFDOO\DVLJQDWXUHLVUHTXHVWHGDWWKHHQGUDWKHUWKDQDWWKH

EHJLQQLQJRIUHSRUWLQJDQGLWLVXQFOHDUZKHWKHULWLVVLPSOHWKHUHPLQGHURIDFRGHRIFRQGXFW

WKDWLQFUHDVHVKRQHVW\LQVHOIUHSRUWVRUZKHWKHULVDOVRLPSRUWDQWZKHUHWKHORFDWLRQDQGWKXV

ZKDWWKHWLPLQJRILWLV8VLQJERWKILHOGDQGODERUDWRU\VWXGLHVLQWKLVSDSHUZHVWULYHWRLVRODWH

WKHHIIHFWRIVLPSO\PRYLQJWKHVLJQDWXUHFXUUHQWO\UHTXLUHGLQPDQ\UHDOZRUOGFRQWH[WVIURP

WKHHQGRIDVHOIUHSRUWLQJWDVNWRWKHEHJLQQLQJ
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 950 of 1282




                                                         0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


                          ,QFUHDVLQJ$WWHQWLRQWR2QH¶V0RUDO6WDQGDUGV

       :HSURSRVHWKDWWKHORFDWLRQRIDVWDWHPHQWRQKRQRUPDWWHUV:HVXJJHVWWKDWVLPSO\

PRYLQJWKHVWDWHPHQWRIKRQRUIURPWKHHQGWRWKHEHJLQQLQJRIDIRUPZLOOEULQJRQH¶VPRUDO

VWDQGDUGVLQWRIRFXVULJKWEHIRUHLWLVPRVWQHHGHGDQGDQLQGLYLGXDOVWLOOKDVDFOHDQPRUDO

FRQVFLHQFHEHIRUHIDFLQJWKHWHPSWDWLRQWREHGLVKRQHVW7KXVWKHLQFUHDVHGVDOLHQF\RIPRUDO

VWDQGDUGVFDQKDYHDSRVLWLYHHIIHFWRQWKHWUXWKIXOQHVVRIWKHVXEVHTXHQWVHOIUHSRUW,QFRQWUDVW

ZKHQVLJQLQJDIWHUWKH³GDPDJH´KDVEHHQGRQHLQGLYLGXDOVDUHDOUHDG\DWDVWDJHZKHUHWKH\

PDNHXVHRIYDULRXV³WULFNV´VXFKDVLQDWWHQWLRQWRWKHLUPRUDOVWDQGDUGVLQRUGHUWRUHWDLQD

SRVLWLYHPRUDOYLHZRIWKHPVHOYHVGHVSLWHDGLVKRQHVWVHOIUHSRUW

       3UHYLRXVUHVHDUFKKDVVKRZQWKDWHYHQVXEWOHFXHVFDQDFWLYDWHWKHVHOIDQGOHDGWR

VXUSULVLQJO\SRZHUIXOHIIHFWVRQFRQVHTXHQWEHKDYLRU)RUH[DPSOHZKHQSOD\LQJDQDQRQ\PRXV

HFRQRPLFJDPHSHRSOHDUHPRUHJHQHURXVZKHQWKHUHLVHYHQWKHQXDQFHGSUHVHQFHRIH\HOLNH

VKDSHVLQWKHFRPSXWHUEDFNJURXQG +DOH\ )HVVOHU5LJGRQ,VKLL:DWDEH.LWD\DPD

 ,QDPRUHQDWXUDOLVWLFVHWWLQJUHVHDUFKHUVKDYHH[DPLQHGWKHHIIHFWRIDQLPDJHRIDSDLU

RIH\HVRQWKHDPRXQWRIPRQH\SHRSOHSXWLQWRDSD\RQ\RXUKRQRUFDVKER[ZKHQSXUFKDVLQJ

FRIIHH:KHQH\HVZHUHGLVSOD\HGRQWKHFRQWULEXWLRQVER[LQVWHDGRIIORZHUVQHDUO\WKUHHWLPHV

WKHDPRXQWRIPRQH\ZDVFROOHFWHG %DWHVRQ1HWWOH 5REHUWV ,QWKHGRPDLQRIVHOI

UHSRUWLQJLQGLYLGXDOVZKRZHUHH[SRVHGWRWKH7HQ&RPPDQGPHQWVRUUHDGDQGVLJQHGDQKRQRU

FRGHZHUHVXEVHTXHQWO\OHVVOLNHO\WRLQIODWHWKHLUSHUIRUPDQFHRQDWDVNLQZKLFKWKH\ZHUHSDLG

EDVHGRQSHUIRUPDQFH 0D]DU$PLU $ULHO\6KX*LQR %D]HUPDQ 

       2QHZD\WRH[SODLQWKHDERYHILQGLQJVLVWKDWWKHVHVLPSOHHQYLURQPHQWDOPDQLSXODWLRQV

H\HVFRGHVRIFRQGXFWHWF PDGHHWKLFVPRUHVDOLHQWWKDWLVWKH\PDGHSHRSOHSD\JUHDWHU

DWWHQWLRQWRWKHLUPRUDOVWDQGDUGVDQGVFUXWLQL]HWKHHWKLFDOLW\RIWKHLURZQEHKDYLRU$VD

FRQVHTXHQFHPRUDOVDOLHQF\GHFUHDVHGSHRSOH¶VWHQGHQF\WRHQJDJHLQGLVKRQHVWDFWVDQG
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 951 of 1282




                                                          0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


LQFUHDVHGWKHULJLGLW\RIWKHLUMXGJPHQWVRIHWKLFDOLW\<HWWKHHIIHFWLYHQHVVRIWKHVH

PDQLSXODWLRQVLQPDNLQJPRUDOLW\VDOLHQWZDVQRWWHVWHGGLUHFWO\EXWDVVXPHGE\REVHUYLQJ

GLIIHUHQFHVLQXQHWKLFDOEHKDYLRUIROORZLQJWKHYDULRXVPDQLSXODWLRQV,QWKHFXUUHQWZRUNZH

H[SOLFLWO\WHVWWKLVOLQNE\HPSOR\LQJDQLPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\

       2XUZRUNLVLQOLQHZLWK'XYDO :LFNOXQG¶V  WKHRU\RIREMHFWLYHVHOIDZDUHQHVV

2EMHFWLYHVHOIDZDUHQHVVWKHRU\LVFRQFHUQHGZLWKWKHVHOIUHIOH[LYHTXDOLW\RIWKHFRQVFLRXVQHVV

'XYDO :LFNOXQG ³:KHQDWWHQWLRQLVGLUHFWHGLQZDUGDQGWKHLQGLYLGXDO¶V

FRQVFLRXVQHVVLVIRFXVHGRQKLPVHOIKHLVWKHREMHFWRIKLVRZQFRQVFLRXVQHVV—KHQFH

µREMHFWLYH¶VHOIDZDUHQHVV´ 'XYDO :LFNOXQGS 7KLVLVFRQWUDVWHGZLWK³VXEMHFWLYH

VHOIDZDUHQHVV´WKDWUHVXOWVZKHQDWWHQWLRQLVGLUHFWHGDZD\IURPWKHVHOIDQGWKHSHUVRQ

³H[SHULHQFHVKLPVHOIDVWKHVRXUFHRISHUFHSWLRQDQGDFWLRQ´ 'XYDO :LFNOXQGS ,Q

LWVRULJLQDOIRUPXODWLRQWKHWKHRU\DVVXPHGWKDWWKHRULHQWDWLRQRIFRQVFLRXVDWWHQWLRQZDVWKH

HVVHQFHRIVHOIHYDOXDWLRQ)RFXVLQJDWWHQWLRQRQWKHVHOIEULQJVDERXWREMHFWLYHVHOIDZDUHQHVV

ZKLFKLQLWLDWHGDQDXWRPDWLFFRPSDULVRQRIWKHVHOIDJDLQVWVWDQGDUGV7KHVHOIZDVGHILQHGYHU\

EURDGO\DVWKHSHUVRQ¶VNQRZOHGJHRIWKHSHUVRQ$VWDQGDUGZDV³GHILQHGDVDPHQWDO

UHSUHVHQWDWLRQRIFRUUHFWEHKDYLRUDWWLWXGHVDQGWUDLWV$OORIWKHVWDQGDUGVRIFRUUHFWQHVVWDNHQ

WRJHWKHUGHILQHZKDWDµFRUUHFW¶SHUVRQLV´ 'XYDO :LFNOXQGSS 7KLVVLPSOH

V\VWHPFRQVLVWLQJRIVHOIVWDQGDUGVDQGDWWHQWLRQDOIRFXVZDVDVVXPHGWRRSHUDWHDFFRUGLQJWR

*HVWDOWFRQVLVWHQF\SULQFLSOHV +HLGHU :KHQHYHUDGLVFUHSDQF\EHWZHHQVHOIDQG

VWDQGDUGVRFFXUUHGWKHGHFLVLRQPDNHUH[SHULHQFHGQHJDWLYHDIIHFWDQGEHFDXVHRIWKLVDYHUVLYH

VWDWHVKHZDVPRWLYDWHGWRUHVWRUHFRQVLVWHQF\

       %XLOGLQJRQUHVHDUFKWKDWWKHVHOILVPDOOHDEOH VHHHJ6KLK3LWWLQVN\DQG$PEDG\

 DQGSURQHWRHYHQVXEWOHSULPHVLQWKHHQYLURQPHQWZHH[DPLQHDVSHFLILFW\SHRISULPH
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 952 of 1282




                                                          0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


WKDWFDQEHHDVLO\LPSOHPHQWHGLQYDULRXVUHDOZRUOGFRQWH[WVVLJQLQJRQH¶VQDPH6LJQLQJKDV

EHHQVKRZQWRDFWLYDWHVHOILGHQWLW\LQWKHGRPDLQRIFRQVXPHUEHKDYLRU)RUH[DPSOH.HWWOH

DQG+lXEO LQSUHVV VKRZHGWKDWVLJQLQJ DVRSSRVHGWRSULQWLQJ RQH¶VQDPHLQFUHDVHG

FRQVXPHUV¶HQJDJHPHQWZKHQVKRSSLQJIRUSURGXFWVFORVHO\DVVRFLDWHGZLWKWKHLUVHOILGHQWLWLHV

DQGGHFUHDVHGHQJDJHPHQWZKHQVKRSSLQJIRUSURGXFWVGLVWDQWIURPWKHLUVHOILGHQWLWLHV:HWXUQ

WRWKHTXHVWLRQRIPRUDOLW\DQGWHVWZKHWKHUWKHDFWRIVLJQLQJRQH¶VQDPHEHIRUHUDWKHUWKDQDIWHU

DVHOIUHSRUWWDVNEULQJVLQWRIRFXVRQH¶VPRUDOFRPSDVVDQGHWKLFDOVWDQGDUGVDQGVXEVHTXHQWO\

GLVFRXUDJHVGLVKRQHVWDFWLRQV

       0DQ\FRQWH[WVUHTXLUHVLJQLQJRQH¶VQDPHDVDPHDQVRIDXWKHQWLFDWLRQEXWDOPRVWDOO

WKHVHFRQWH[WVUHTXLUHWKHVLJQDWXUHDIWHUVHOIUHSRUWLQJDQGQRWSULRU:HSURSRVHWKDWVLJQLQJ

RQH¶VQDPHDIWHUDVHOIUHSRUWLQJWDVNLVDQLQHIIHFWLYHZD\WRUHFUXLWDWWHQWLRQWRHWKLFDO

VWDQGDUGVGXHWRFRJQLWLYHGLVVRQDQFHDQGPRUDOGLVHQJDJHPHQW&RJQLWLYHGLVVRQDQFHDULVHV

ZKHQWKHUHLVGLVFUHSDQF\EHWZHHQLQGLYLGXDOV¶DFWLRQVDQGWKHLUEHOLHIVRUDWWLWXGHVWRZDUGV

WKHVHDFWLRQV )HVWLQJHU &DUOVPLWK %HFDXVHSHRSOHZDQWWRSHUFHLYHWKHPVHOYHVDV

PRUDO $TXLQR 5HHG GLVKRQHVWEHKDYLRUWKDWFRXOGSRWHQWLDOO\OHDGWRVHOIFULWLFLVP

LQGXFHVGLVVRQDQFHPRWLYDWLRQRU³SV\FKRORJLFDOGLVFRPIRUWWKDWPRWLYDWHVRUµGULYHV¶WKH

DWWLWXGHFKDQJHSURFHVV´ )D]LR &RRSHUS ,QWKHGRPDLQRIHWKLFVWKLV

SV\FKRORJLFDOGLVFRPIRUWFDQEHHOLPLQDWHGLQWZRZD\VZLWKRXWFKDQJLQJRQH¶VPRUDO

VWDQGDUGVE\EULQJLQJEHKDYLRUFORVHUWRRQH¶VHWKLFDOJRDOV %DXPHLVWHU +HDWKHUWRQ ±

WKDWLVE\EHLQJPRUHKRQHVW±RUE\PRGLI\LQJRQH¶VEHOLHIVDERXWTXHVWLRQDEOHDFWLRQVVXFK

WKDWWKH\SHUPLWWKHEHKDYLRU±WKDWLVPRUDOGLVHQJDJHPHQW%DQGXUD  GHILQHV

PRUDOGLVHQJDJHPHQWDVWKHSURFHVVE\ZKLFKGHWULPHQWDOFRQGXFWLVPDGHSHUVRQDOO\DFFHSWDEOH

WKURXJKUHFRGLQJWKHDFWLRQDVPRUDOO\DFFHSWDEOH VHHDOVR0D]DU$PLU $ULHO\DVZHOO
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 953 of 1282




                                                        0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


DV6KX*LQR %D]HUPDQ 7KHUHIRUHUHTXLULQJRQH¶VVLJQDWXUHDIWHUDVHOIUHSRUWLQJWDVN

ZLOOEHDQLQHIIHFWLYHZD\WRPDNHHWKLFVVDOLHQWLIVRPHRQHKDVDOUHDG\FKHDWHG²LWLV³WRRODWH´

WRIRFXVRQHWKLFVRQFHFRJQLWLYHGLVVRQDQFHDQGPRUDOGLVHQJDJHPHQWKDVRFFXUUHGWRTXDVK

FRJQLWLYHGLVVRQDQFH

       7RVXPPDUL]HZHSURSRVHDQGWHVWWKHIROORZLQJK\SRWKHVHV

       +\SRWKHVLV6LJQLQJRQH¶VQDPHSULRUWRDVHOIUHSRUWLQJWDVNZLOOSURPRWHPRUHKRQHVW
       UHSRUWLQJUHODWLYHWRVLJQLQJRQH¶VQDPHDIWHUWKHWDVNDVZHOODVUHODWLYHWRDFRQWURO
       
       +\SRWKHVLV6LJQLQJRQH¶VQDPHSULRUWRDVHOIUHSRUWLQJWDVNLQFUHDVHVWKHVDOLHQF\RI
       PRUDOVWDQGDUGVUHODWLYHWRVLJQLQJRQH¶VQDPHDIWHUWKHWDVN
       
       +\SRWKHVLV+HLJKWHQHGVDOLHQF\RIPRUDOVWDQGDUGVZLOOPHGLDWHWKHHIIHFWRIVLJQLQJ
       RQH¶VQDPHRQKRQHVWVHOIUHSRUWLQJ
       
2YHUYLHZRIWKH([SHULPHQWV

       :HWHVWHGWKHVHK\SRWKHVHVLQIRXUH[SHULPHQWVLQZKLFKSDUWLFLSDQWVKDGWKHRSSRUWXQLW\

WRJDLQDILQDQFLDOEHQHILWWKURXJKGLVKRQHVWVHOIUHSRUWLQJ,QHDFKVWXG\ZHYDULHGZKHQ

SDUWLFLSDQWVVLJQHGWKHLUQDPH²DWWKHEHJLQQLQJRUWKHHQGRIWKHVHOIUHSRUWIRUP²WRFKDQJH

WKHWLPHDWZKLFKPRUDOVWDQGDUGVZHUHPDGHVDOLHQWWRSDUWLFLSDQWV7KDWLVSDUWLFLSDQWVHLWKHU

VLJQHGEHIRUHRUDIWHUKDYLQJKDGWKHRSSRUWXQLW\WRFKHDW

       ,Q6WXG\ZHFRQGXFWHGDILHOGH[SHULPHQWLQFROODERUDWLRQZLWKDQDXWRPRELOH

LQVXUDQFHFRPSDQ\DQGIRXQGVLJQLQJSULRUWRUHSRUWLQJSURGXFHGVLJQLILFDQWO\KLJKHUQXPEHU

RIPLOHVSDUWLFLSDQWVUHSRUWHGGULYLQJGXULQJWKHSULRU\HDU±DQRWHZRUWK\FKDQJHLQUHDO

EHKDYLRUZLWKVXEVWDQWLDOFRQVHTXHQFHVIRUWKHLQVXUDQFHFRPSDQ\,Q6WXGLHVDQGZH

UHSOLFDWHGWKHVDPHILQGLQJVLQDFRQWUROOHGODERUDWRU\HQYLURQPHQW)LQDOO\VWXG\DQGVKRZ

WKDWVLJQLQJRQH¶VQDPHSULRUWRWKHWHPSWDWLRQDQGWKHRSSRUWXQLW\WRFKHDWKHLJKWHQVDZDUHQHVV

RIHWKLFDOVWDQGDUGVZKLFKLQWXUQPHGLDWHVWKHHIIHFWRIWKHORFDWLRQ VWXG\ DQGSUHVHQFH

VWXG\ RIRQH¶VRZQVLJQDWXUHRQFKHDWLQJ
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 954 of 1282
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 955 of 1282




                                                       0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


        6LQFHZHK\SRWKHVL]HGWKDWVLJQLQJDSOHGJHRIKRQRUEHIRUHDVHOIUHSRUWLQJWDVNUDLVHV

WKHVDOLHQF\RISHRSOH¶VHWKLFDOVWDQGDUGVZHH[SHFWHGWKDWFXVWRPHUVZKRVLJQHGWKHSOHGJHRI

KRQRUEHIRUHILOOLQJRXWWKHIRUPZRXOGEHPRUHWUXWKIXODQGWKXVUHSRUWKLJKHUXVDJHWKDQWKRVH

ZKRVLJQHGWKHSOHGJHRIKRQRUDWWKHHQG

5HVXOWVDQG'LVFXVVLRQ

        $VH[SHFWHGFRQWUROOLQJIRUWKHQXPEHURIFDUVSHUSROLF\ )>@ S  WKH

DYHUDJHDQQXDOXVDJHSHUFDUZDVVLJQLILFDQWO\KLJKHUDPRQJFXVWRPHUVZKRVLJQHGWKHSOHGJHRI

KRQRUDWWKHEHJLQQLQJRIWKHIRUP 0 6'  WKDQWKRVHZKRVLJQHGWKHSOHGJH

RIKRQRUDWWKHHQGRIWKHIRUP 0 6' )>@ S 7KH

DQQXDOGLIIHUHQFHEHWZHHQRXUWZRWUHDWPHQWVZDVRQDYHUDJHPLOHVSHUFDU7KHUHVXOWV

DOVRKROGIRUWKHRGRPHWHUGLIIHUHQFHIRUWKHILUVWFDURQO\ VLJQLQJDWWKHEHJLQQLQJ0 

6' VLJQLQJDWWKHHQG0 6' W>@ S 

        7KHVHUHVXOWVSURYLGHVXSSRUWIRURXUILUVWK\SRWKHVLVWKDWDVNLQJSHRSOHWRVLJQDSOHGJH

RIKRQRUEHIRUHUDWKHUWKDQDIWHUDVHOIUHSRUWLQJWDVNORZHUVWKHOLNHOLKRRGRIFKHDWLQJWKURXJK

PLVUHSRUWLQJWKHQXPEHURIPLOHVGULYHQRYHUWKHFRXUVHRIWKH\HDU8VLQJDILHOGVWXG\ZH

ZHUHDEOHWRGHPRQVWUDWHWKDWMXVWDVLPSOHFKDQJHLQWKHORFDWLRQRIRQH¶VRZQVLJQDWXUHFDQ

JUHDWO\LQIOXHQFHSHRSOH¶VOLNHOLKRRGWRFKHDWE\PLVUHSRUWLQJLQIRUPDWLRQWRDGYDQFHWKHLURZQ

VHOILQWHUHVW

                          6WXG\$/DE([SHULPHQWZLWK7D[5HWXUQV

       7RWHVWWKHUREXVWQHVVRIRXUILQGLQJVZHFRQGXFWHGDVHFRQGVWXG\LQWKHODERUDWRU\

XVLQJDVLPLODUVLJQLQJPDQLSXODWLRQEXWLQDGLIIHUHQWGRPDLQILOOLQJRXWDWD[UHWXUQIRUP,Q

WKLVVWXG\ZHDOVRDGGHGDFRQWUROFRQGLWLRQWRH[DPLQHWKHDFWXDOHIIHFWRIVLJQLQJZKHWKHU
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 956 of 1282




                                                         0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


VLJQLQJSULRUWRWKHRSSRUWXQLW\WRFKHDWHQFRXUDJHVKRQHVW\RUZKHWKHUVLJQLQJDIWHUZDUGV

HQFRXUDJHVXQHWKLFDOEHKDYLRU

0HWKRG

        3DUWLFLSDQWV2QHKXQGUHGDQGRQHVWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKH

VWXG\IRUSD\7KH\UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\

WKURXJKRXWWKHVWXG\

        'HVLJQDQG3URFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWKUHHFRQGLWLRQV 

6LJQDWXUHDWWKHWRSRIWKHWD[UHWXUQIRUP LHEHIRUHILOOLQJLWRXW  6LJQDWXUHDWWKHERWWRPRI

WKHWD[UHWXUQIRUP LHDIWHUILOOLQJLWRXW RU 1RVLJQDWXUH FRQWUROFRQGLWLRQ 7KHVWDWHPHQW

WKDWSDUWLFLSDQWVKDGWRVLJQRQWKHWD[UHWXUQIRUPZDV³,GHFODUHWKDW,FDUHIXOO\H[DPLQHGWKLV

UHWXUQDQGWKDWWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHILWLVFRUUHFWDQGFRPSOHWH´$WWKH

EHJLQQLQJRIHDFKVHVVLRQSDUWLFLSDQWVZHUHJLYHQLQVWUXFWLRQVWRWKHVWXG\7KHLQVWUXFWLRQV

LQIRUPHGWKHPWKDWWKH\ZRXOGILUVWFRPSOHWHDSUREOHPVROYLQJWDVNXQGHUWLPHSUHVVXUH LH

WKH\ZRXOGKDYHILYHPLQXWHVWRFRPSOHWHWKHWDVN DQGWKDWWKHH[SHULPHQWHUZRXOGNHHSWUDFN

RIWKHWLPH,QDGGLWLRQWRSURYLGLQJLQIRUPDWLRQDERXWWKHSD\PHQWIRUWKHSUREOHPVROYLQJWDVN

WKHLQVWUXFWLRQVDOVRLQFOXGHGWKHIROORZLQJLQIRUPDWLRQ³)RUWKHSUREOHPVROYLQJWDVN\RXZLOO

EHSDLGDKLJKHUDPRXQWWKDQZKDWZHXVXDOO\SD\SDUWLFLSDQWVLQDUHJXODUVWXG\EHFDXVH\RX

ZLOOEHWD[HGRQ\RXUHDUQLQJV<RXZLOOUHFHLYHPRUHGHWDLOVDIWHUWKHSUREOHPVROYLQJWDVN´

        3UREOHPVROYLQJWDVN)RUWKLVWDVNSDUWLFLSDQWVUHFHLYHGDZRUNVKHHWZLWKPDWULFHV

HDFKFRQVLVWLQJRIWKUHHGLJLWQXPEHUV HJEDVHGRQ0D]DUHWDO DQGD

FROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWVODWHUUHSRUWHGWKHLUSHUIRUPDQFHLQWKLVSDUWRIWKHVWXG\

3DUWLFLSDQWVZHUHWROGWKDWWKH\ZRXOGKDYHILYHPLQXWHVWRILQGWZRQXPEHUVLQHDFKPDWUL[WKDW
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 957 of 1282




                                                           0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


VXPPHGWR)RUHDFKSDLURIQXPEHUVFRUUHFWO\LGHQWLILHGWKH\ZRXOGUHFHLYHIRUD

PD[LPXPSD\PHQWRI,QSUHYLRXVVWXGLHV *LQR$\DO $ULHO\0D]DUHWDO 

RQDYHUDJHSHRSOHZHUHDEOHWRILQGRIWKHSDLUVLQWKHJLYHQDPRXQWRIWLPH2QFHWKHILYH

PLQXWHVZHUHRYHUWKHH[SHULPHQWHUDVNHGSDUWLFLSDQWVWRFRXQWWKHQXPEHURIFRUUHFWO\VROYHG

PDWUL[HVQRWHWKDWQXPEHURQWKHFROOHFWLRQVOLSDQGWKHQVXEPLWERWKWKHWHVWVKHHWDQGWKH

FROOHFWLRQVOLSWRWKHH[SHULPHQWHUVRWKDWVKHFRXOGFKHFNWKHLUZRUN1HLWKHURIWKHWZRIRUPV

    PDWUL[WHVWVKHHWDQGFROOHFWLRQVOLS KDGLQIRUPDWLRQRQLWWKDWFRXOGLGHQWLI\SDUWLFLSDQWV¶ QR

QDPHRURWKHUIRUPRI,' 

          7D[UHWXUQIRUP$IWHUWKHSUREOHPVROYLQJWDVNSDUWLFLSDQWVZHQWWRDVHFRQGURRPWR

ILOORXWDUHVHDUFKVWXG\WD[UHWXUQIRUP7KHIRUPZHXVHGZDVEDVHGRQDW\SLFDOWD[UHWXUQ

IRUP:HYDULHGZKHWKHUSDUWLFLSDQWVZHUHDVNHGWRVLJQDSOHGJHRIKRQRUDWWKHWRSRUDWWKH

ERWWRPRIWKHIRUP VHH$SSHQGL[$ 3DUWLFLSDQWVILOOHGRXWWKHIRUPE\VHOIUHSRUWLQJWKHLU

LQFRPH LHWKHLUSHUIRUPDQFHRQWKHSUREOHPVROYLQJWDVN RQZKLFKWKH\SDLGDWD[ LH

IRUHYHU\GROODUHDUQHG ,QDGGLWLRQWKH\LQGLFDWHGKRZPDQ\PLQXWHVLWWRRNWKHPWR

WUDYHOWRWKHODERUDWRU\DQGWKHLUHVWLPDWHGFRVWRIFRPPXWH7KHVHFRVWVZHUH³FUHGLWHG´WRWKHLU

SRVWWD[HDUQLQJVIURPWKHSUREOHPVROYLQJWDVNWRFRPSXWHWKHLUILQDOSD\PHQW

          7KHLQVWUXFWLRQVUHDG³:HZRXOGOLNHWRFRPSHQVDWHSDUWLFLSDQWVIRUH[WUDH[SHQVHVWKH\

KDYHLQFXUUHGWRSDUWLFLSDWHLQWKLVVHVVLRQ´:HLQFOXGHGWZRFRVWV 7LPHWRWUDYHOWRWKHODE

DWSHUPLQXWH XSWRKRXUVRUPD[LPXP DQGPRQHWDU\FRVWRIFRPPXWH XSWR

PD[LPXP 





 7KHWDVNZDVGHVLJQHGVXFKWKDWLIZHDVVXPHUHVSRQGHQWVKDGQRSUREOHPVDGGLQJWZR
QXPEHUVWRWHQWKH\VKRXOGEHDEOHWRLGHQWLI\KRZPDQ\PDWUL[HVWKH\KDYHVROYHGFRUUHFWO\
ZLWKRXWUHTXLULQJDVROXWLRQVKHHW
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 958 of 1282




                                                        0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


       3D\PHQWVWUXFWXUH*LYHQWKHIHDWXUHVRIWKHVWXG\SDUWLFLSDQWVFRXOGPDNHDWRWDORI

²DQDPRXQWZKLFKEUHDNVGRZQDVIROORZVVKRZXSIHHRQPDWUL[WDVNPLQXVD

WD[RQLQFRPH LH DVFUHGLWVIRUWUDYHOWLPHDQGDVFUHGLWVIRUFRVWRI

FRPPXWH

       2SSRUWXQLW\WRFKHDWRQWKHWD[UHWXUQIRUP7KHVWXG\ZDVGHVLJQHGVXFKWKDW

SDUWLFLSDQWVFRXOGFKHDWRQWKHWD[UHWXUQIRUPDQGJHWDZD\ZLWKLWE\RYHUVWDWLQJWKHLU³LQFRPH´

IURPWKHSUREOHPVROYLQJWDVNDQGE\LQIODWLQJWKHH[SHQVHVWKH\LQFXUUHGLQRUGHUWRSDUWLFLSDWH

LQWKHVWXG\:KHQSDUWLFLSDQWVFRPSOHWHGWKHILUVWSDUWRIWKHVWXG\WKHH[SHULPHQWHUJDYHWKHP

DWD[UHWXUQIRUPDQGDVNHGHDFKSDUWLFLSDQWWRJRWRDVHFRQGURRPZLWKDVHFRQGH[SHULPHQWHU

WRILOORXWWKHWD[IRUPDQGUHFHLYHWKHLUSD\PHQWV7KHWD[UHWXUQIRUPLQFOXGHGDRQHGLJLW

LGHQWLILHU RQHGLJLWLQWKHWRSULJKWRIWKHIRUPLQWKHFRGH20%1R WKDWZDV

LGHQWLFDOZLWKWKHGLJLWRIRQHQXPEHURIRQHPDWUL[ ZKLFKZDVXQLTXHWRHDFKLQGLYLGXDO¶VZRUN

VWDWLRQ ²DGLIIHUHQFHWKDWZDVFRPSOHWHO\LPSHUFHSWLEOHWRSDUWLFLSDQWVEXWDOORZHGXVWR

LGHQWLI\WKHPDWUL[ZRUNVKHHWWKHFROOHFWLRQVOLSDQGWKHWD[UHWXUQIRUPWKDWEHORQJHGWRWKH

VDPHSDUWLFLSDQW$VDUHVXOWDWWKHHQGRIHDFKVHVVLRQZHZHUHDEOHWRFRPSDUHDFWXDO

SHUIRUPDQFHRQWKHSUREOHPVRYOLQJWDVNDQGUHSRUWHGSHUIRUPDQFHRQWKHWD[UHWXUQIRUP,I

WKRVHQXPEHUVGLIIHUHGIRUDQLQGLYLGXDOWKDWGLIIHUHQFHUHSUHVHQWHGWKDWLQGLYLGXDO¶VOHYHORI

FKHDWLQJRQWKHSUREOHPVROYLQJWDVN

5HVXOWV

      )LUVWZHH[DPLQHGWKHSHUFHQWDJHRISDUWLFLSDQWVZKRFKHDWHGE\RYHUVWDWLQJWKHLU

SHUIRUPDQFHRQWKHSUREOHPVROYLQJWDVNZKHQDVNHGWRUHSRUWLWRQWKHWD[UHWXUQIRUP7KLV

SHUFHQWDJHYDULHGDFURVVFRQGLWLRQVȤ 1  S 7KHQXPEHURIFKHDWHUVZDV

ORZHVWLQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ RXWRI KLJKHULQWKHVLJQDWXUHDWWKH
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 959 of 1282




                                                        0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


ERWWRPFRQGLWLRQ RXWRI DQGVRPHZKDWLQEHWZHHQWKRVHWZREXWPRUHVLPLODUWR

WKHODWWHUIRUWKHQRVLJQDWXUHFRQGLWLRQ RXWRI 

      %RWKDFWXDOSHUIRUPDQFHLQWKHPDWUL[VHDUFKWDVNDQGUHSRUWHGSHUIRUPDQFHIRUWKHVDPH

WDVNDVVSHFLILHGLQWKHWD[UHWXUQIRUPDUHGHSLFWHGLQ)LJXUH E\FRQGLWLRQ $VFDQEHVHHQ

WKHQXPEHURIPDWULFHVRYHUUHSRUWHGYDULHGE\FRQGLWLRQ)  SȘ LWZDV

ORZHVWLQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ 0 6'  DQGKLJKHULQWKHVLJQDWXUHDW

WKHERWWRPFRQGLWLRQ 0 6' S DQGLQWKHQRVLJQDWXUHFRQGLWLRQ 0 

6' S 7KHGLIIHUHQFHEHWZHHQWKHVHWZRODWWHUFRQGLWLRQVZDVRQO\PDUJLQDOO\

VLJQLILFDQW S :LWKLQVXEMHFWVDQDO\VHVXVLQJWKHGLIIHUHQFHEHWZHHQUHSRUWHGDQGDFWXDO

SHUIRUPDQFHUHYHDOHGWKHVDPHSDWWHUQRIUHVXOWV

      7KHFUHGLWVIRUH[WUDH[SHQVHVWKDWSDUWLFLSDQWVFODLPHGLQWKHWD[UHWXUQIRUPVYDULHGDV

ZHOOVLJQLILFDQWO\E\FRQGLWLRQ)  SȘ  VHH)LJXUH 3DUWLFLSDQWVFODLPHG

WKHOHDVWH[SHQVHVLQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ 0 6'  DQGPRUHH[SHQVHVLQ

WKHVLJQDWXUHDWWKHERWWRP 0 6' S DQGWKHQRVLJQDWXUHFRQGLWLRQV 0 

6' S 7KHGLIIHUHQFHEHWZHHQWKHVHWZRODWWHUFRQGLWLRQVZDVQRWVLJQLILFDQW S  

'LVFXVVLRQ

      7KHUHVXOWVRI6WXG\SURYLGHIXUWKHUHYLGHQFHIRURXUK\SRWKHVLV+WKDWVLJQLQJRQH¶V

QDPHSULRUWRDWDVNOHDGVWRORZHUOHYHOVRIFKHDWLQJWKDQVLJQLQJDWWKHHQG6WXG\DOVR

LQFOXGHGDFRQWUROFRQGLWLRQLQZKLFKSDUWLFLSDQWVGLGQRWSURYLGHWKHLUVLJQDWXUH2XUUHVXOWV

LQGLFDWHWKDWRXUILQGLQJVZHUHGULYHQE\WKHVLJQLQJDWWKHWRSFRQGLWLRQVLJQLQJSULRUWRDVHOI

UHSRUWLQJWDVNSURPRWHGKRQHVWUHSRUWLQJEXWVLJQLQJDIWHUZDUGVGLGQRWSURPRWHFKHDWLQJ

                         6WXG\,QFUHDVHG6DOLHQF\RI(WKLFDO6WDQGDUGV
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 960 of 1282
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 961 of 1282




                                                         0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


EHFRPSOHWHGDVHWKLFVUHODWHGZRUGV PRUDOYLUWXHDQGHWKLFDO RUDVHWKLFVQHXWUDOZRUGV HJ

YLUDOWLVVXHDQGHIIHFWV 

          3DUWLFLSDQWV6L[W\VWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH6RXWKHDVWHUQ8QLWHG

6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKHVWXG\IRUSD\7KH\

UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

VWXG\

5HVXOWV

         /HYHORIFKHDWLQJ:HILUVWH[DPLQHGWKHSHUFHQWDJHRISDUWLFLSDQWVZKRFKHDWHGE\

RYHUVWDWLQJWKHLUSHUIRUPDQFHRQWKHPDWUL[WDVNZKHQILOOLQJRXWWKHWD[UHWXUQIRUP7KLV

SHUFHQWDJHZDVORZHULQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ RXWRI WKDQLQWKH

VLJQDWXUHDWWKHERWWRPFRQGLWLRQ RXWRI Ȥ 1  S

         )LJXUHGHSLFWVDFWXDOSHUIRUPDQFHRQWKHPDWUL[WDVNDQGUHSRUWHGSHUIRUPDQFHRQWKH

WD[UHWXUQIRUPE\FRQGLWLRQ7KHGLIIHUHQFHEHWZHHQWKHUHSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKH

PDWUL[WDVNZDVRXUSUR[\IRUFKHDWLQJ7KLVGLIIHUHQFHZDVORZHULQWKHVLJQDWXUHDWWKHWRS

FRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 6'  

W  S:LWKLQVXEMHFWVDQDO\VHVXVLQJERWKUHSRUWHGDQGDFWXDOSHUIRUPDQFH

UHYHDOHGWKHVDPHSDWWHUQRIUHVXOWV

         7KHGHGXFWLRQVSDUWLFLSDQWVUHSRUWHGLQWKHWD[UHWXUQIRUPIROORZWKHVDPHSDWWHUQDQG

YDU\VLJQLILFDQWO\E\FRQGLWLRQ)  SȘ WKH\ZHUHORZHULQWKHVLJQDWXUHDW

WKHWRSFRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 

6'  

          :RUGIUDJPHQWWDVN$VZHSUHGLFWHGSDUWLFLSDQWVZKRVLJQHGWKHKRQHVW\SOHGJHEHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWJHQHUDWHGPRUHHWKLFVUHODWHGZRUGV 0 6'  WKDQ
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 962 of 1282




                                                        0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


WKRVHZKRVLJQHGDWWKHERWWRPRIWKHIRUP 0 6'  )  SȘ 

VXJJHVWLQJWKDWWKHDFWRIVLJQLQJSULRUWRWKHWHPSWDWLRQWRFKHDWLQFUHDVHGWKHDFFHVVLELOLW\RI

HWKLFVUHODWHGFRQFHSWV

       0HGLDWLRQDQDO\VHV:HDOVRWHVWHGZKHWKHUHWKLFVUHODWHGFRQFHSWV RXUSUR[\IRU

VDOLHQF\RIPRUDOVWDQGDUGV PHGLDWHGWKHHIIHFWRIFRQGLWLRQRQWKHH[WHQWRIFKHDWLQJRQWKHWD[

UHWXUQIRUP%RWKFRQGLWLRQDQGWKHQXPEHURIHWKLFVUHODWHGFRQFHSWVZHUHHQWHUHGLQWRDOLQHDU

UHJUHVVLRQPRGHOSUHGLFWLQJH[WHQWRIFKHDWLQJPHDVXUHGE\WKHOHYHORIRYHUUHSRUWLQJRILQFRPH

1RWHWKDWWKHVDPHUHVXOWVDUHIRXQGZKHQFRQVLGHULQJGHGXFWLRQVDVWKHGHSHQGHQWYDULDEOH 

7KLVDQDO\VLVUHYHDOHGWKDWWKHHIIHFWRIFRQGLWLRQZDVVLJQLILFDQWO\UHGXFHG IURPȕ S

WRȕ S  ZKHUHDVWKHQXPEHURIHWKLFVUHODWHGFRQFHSWVZDVDVLJQLILFDQWSUHGLFWRURI

FKHDWLQJ ȕ S 8VLQJWKHERRWVWUDSSLQJPHWKRG ZLWKLWHUDWLRQV 

UHFRPPHQGHGE\3UHDFKHUDQG+D\HV  ZHWHVWHGWKHVLJQLILFDQFHRIWKHLQGLUHFWHIIHFWRI

FRQGLWLRQRQGLVKRQHVWEHKDYLRUWKURXJKWKHDFWLYDWLRQRIHWKLFVUHODWHGFRQFHSWV7KH

FRQILGHQFHLQWHUYDOIRUWKHLQGLUHFWHIIHFWGLGQRWLQFOXGH]HUR  VXJJHVWLQJVLJQLILFDQW

PHGLDWLRQ7KXVFRQVLVWHQWZLWKRXUSUHGLFWLRQWKHQXPEHURIHWKLFVUHODWHGFRQFHSWV

VLJQLILFDQWO\PHGLDWHGWKHUHODWLRQVKLSEHWZHHQRXUPDQLSXODWLRQ LHVLJQDWXUHILUVW DQG

GLVKRQHVWEHKDYLRU

'LVFXVVLRQ

       8VLQJDQLPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\RXUWKLUGVWXG\VKRZVWKDWVLJQLQJEHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWUDLVHVWKHVDOLHQF\RIPRUDOVWDQGDUGVFRPSDUHGWRVLJQLQJDIWHU

KDYLQJKDGWKHRSSRUWXQLW\WRFKHDW&RQVLVWHQWZLWKRXUK\SRWKHVHVWKHPHGLDWLRQPRGHO

VXJJHVWHGWKDWUDLVLQJHWKLFDOVDOLHQF\GLVFRXUDJHGFKHDWLQJ1HYHUWKHOHVVWRIXUWKHUVXSSRUWRXU
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 963 of 1282




                                                        0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


PRGHOZHUDQDIRXUWKVWXG\WKDWPHDVXUHGHWKLFDOVDOLHQF\DIWHUWKHSUREOHPVROYLQJWDVNEXW

EHIRUHWKHWD[UHWXUQIRUPZDVKDQGHGRXW

                            6WXG\(WKLFDO6DOLHQF\DQG5HGXFHG&KHDWLQJ

      :HFRQGXFWHGDIRXUWKVWXG\WRPRUHFDUHIXOO\H[DPLQHWKHUROHRIHWKLFDOVDOLHQF\RQ

FKHDWLQJ,QDGGLWLRQWRH[WHQGWKHJHQHUDOL]DELOLW\RIRXUILQGLQJVLQ6WXG\ZHHPSOR\HGD

GLIIHUHQWFKHDWLQJWDVN

0HWKRG

       'HVLJQDQGSURFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWZRFRQGLWLRQV

6LJQDWXUHILUVWYHUVXVFRQWURO$FURVVERWKFRQGLWLRQVWKHLQVWUXFWLRQVLQIRUPHGWKHPWKDWZH

ZHUHLQWHUHVWHGLQSHRSOH¶VSHUIRUPDQFHXQGHUSUHVVXUHDFURVVDYDULHW\RIWDVNV)RUWKLV

SDUWLFXODUVWXG\WKH\ZRXOGEHDVNHGWRDQVZHUDTXHVWLRQJHQHUDONQRZOHGJHWHVWRIPHGLXP

GLIILFXOW\ HJ³+RZPDQ\86VWDWHVERUGHU0H[LFR"´³,QZKLFK86VWDWHLV0RXQW

5XVKPRUHORFDWHG"´ DQGWKDWWKH\ZRXOGUHFHLYHIRUHDFKFRUUHFWTXHVWLRQ LQDGGLWLRQWRD

VKRZXSIHH 3DUWLFLSDQWVZHUHJLYHQPLQXWHVWRDQVZHUWKHTXHVWLRQV2QFHWKHILIWHHQ

PLQXWHVZHUHRYHUWKHH[SHULPHQWHUGLVWULEXWHGDVHWRIPDWHULDOVFRQVLVWLQJILUVWRIWKHZRUG

IUDJPHQWWDVNHPSOR\HGLQ6WXG\IROORZHGE\DQDQVZHUVKHHWZLWKWKHFRUUHFWDQVZHUVWRWKH

TXHVWLRQVDQGILQDOO\DFROOHFWLRQVOLSVRWKDWSDUWLFLSDQWVFRXOGUHSRUWWKHLUSHUIRUPDQFHDIWHU

FKHFNLQJWKHLUDQVZHUV3DUWLFLSDQWVZHUHDVNHGWRUHDGDQGILOORXWWKHVHWRIPDWHULDOVLQWKH

JLYHQRUGHUWKDWLVWKH\ILOOHGRXWWKHZRUGIUDJPHQWWDVNSULRUWRFKHFNLQJWKHLUDQVZHUVDQG

UHSRUWLQJWKHLUSHUIRUPDQFHRQWKHFROOHFWLRQVOLS3DUWLFLSDQWVZHUHWROGWRUHF\FOHWKHLUWHVWDQG

WRMXVWVXEPLWWKHFROOHFWLRQVOLSWRWKHH[SHULPHQWHUIRUSD\PHQW3DUWLFLSDQWV¶ODE,'ZDV

UHSRUWHGRQERWKIRUPV,QWKLVZD\ZHZHUHDEOHWRDVVXUHDQRQ\PLW\LQWKHH\HVRISDUWLFLSDQWV
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 964 of 1282




                                                          0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


EXWZHZHUHDFWXDOO\DEOHWRWUDFNWKHH[WHQWWRZKLFKHDFKSDUWLFLSDQWVRYHUUHSRUWHG

SHUIRUPDQFHRQWKHJHQHUDONQRZOHGJHWHVW

          +DOIRIWKHSDUWLFLSDQWVUHFHLYHGDQH[WUDSDJHRQWRSRIWKLVVHWRIPDWHULDOVZKLFKWKH\

ZHUHDVNHGWRUHDGEHIRUHVROYLQJWKHZRUGIUDJPHQWWDVN7KHSDJHLQFOXGHGDSOHGJHRIKRQHVW\

SDUWLFLSDQWVZHUHDVNHGWRVLJQ³,SURPLVHWKDW,ZLOOUHSRUWLQIRUPDWLRQDERXWP\SHUIRUPDQFH

RQWKHWULYLDWHVWWUXWKIXOO\´ VLJQDWXUHILUVWFRQGLWLRQ $VZHDVFHUWDLQHGLQ6WXG\LWLVVLJQLQJ

EHIRUHWKDWSURPRWHVKRQHVWUHSRUWLQJDQGQRWVLJQLQJDIWHUWKDWSURPRWHVGLVKRQHVW\WKH

UHPDLQLQJKDOIRIWKHSDUWLFLSDQWVGLGQRWUHFHLYHWKLVH[WUDSDJH FRQWURO :HK\SRWKHVL]HGWKDW

WKRVHZKRUHFHLYHGDQGVLJQHGWKHSOHGJHRIKRQHVW\ZRXOGEHPRUHOLNHO\WRUHSRUWWKHLU

SHUIRUPDQFHWUXWKIXOO\ + DQGWKDWVLJQLQJWKHSOHGJHZRXOGOHDGSDUWLFLSDQWVWRFRPSOHWHWKH

ZRUGIUDJPHQWWDVNZLWKDKLJKHUQXPEHURIHWKLFVUHODWHGZRUGV + ZKLFKZRXOGPHGLDWHWKH

HIIHFWRIWKHVLJQDWXUHRQFKHDWLQJ + 

          3DUWLFLSDQWV(LJKW\WZRFROOHJHDQGJUDGXDWHVWXGHQWVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOH FRPSOHWHGWKHVWXG\IRUSD\7KH\

UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

VWXG\

5HVXOWVDQG'LVFXVVLRQ

          6DPHDVLQWKHSUHYLRXVVWXGLHVZHFRPSXWHGWKHGLIIHUHQFHEHWZHHQVHOIUHSRUWHG

SHUIRUPDQFHDQGDFWXDOSHUIRUPDQFHRQWKHJHQHUDONQRZOHGJHWDVNE\PDWFKLQJSDUWLFLSDQWV¶

XQLTXHVWXG\,'VWKDWZHUHGHQRWHGRQHDFKVXUYH\IRUP7KLVGLIIHUHQFHVFRUHVHUYHGDVRXU

SUR[\IRUFKHDWLQJ3RVLWLYHGLIIHUHQFHVFRUHVLQGLFDWHGWKDWSDUWLFLSDQWVRYHUUHSRUWHGWKHLU

SHUIRUPDQFHDQGFKHDWHGRQWKHWDVNVRWKDWWKH\FRXOGPDNHPRUHPRQH\
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 965 of 1282




                                                       0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


       :KHQH[DPLQLQJWKHSHUIRUPDQFHGLIIHUHQFHVFRUHVRQWKHWULYLDWHVWZHIRXQGWKDWLQ

FRPSDULVRQWRWKHFRQWUROFRQGLWLRQFKHDWLQJZDVVLJQLILFDQWO\UHGXFHGLQWKHVLJQDWXUHILUVW

FRQGLWLRQ 0 6' YV0 6'  W  S 6XSSRUWLQJWKHVH

UHVXOWVWKHSHUFHQWDJHRISDUWLFLSDQWVZKRRYHUVWDWHGWKHLUSHUIRUPDQFHZDVKLJKHULQWKH

FRQWUROFRQGLWLRQWKDQLQWKHVLJQDWXUHILUVWFRQGLWLRQ >@YV>@ Ȥ 

1  S 

       6LJQLQJEHIRUHWKHRSSRUWXQLW\WRRYHUUHSRUWSHUIRUPDQFHDOVRLQIOXHQFHGWKHQXPEHURI

HWKLFVUHODWHGFRQFHSWVSDUWLFLSDQWVFDPHXSZLWKLQWKHZRUGIUDJPHQWWDVN3DUWLFLSDQWVLQWKH

VLJQDWXUHILUVWFRQGLWLRQIRXQGPRUHHWKLFVUHODWHGZRUGV 0 6'  WKDQGLGWKRVHLQ

WKHFRQWUROFRQGLWLRQ 0 6'  )  SȘ 

       )LQDOO\ZHWHVWHGZKHWKHUWKHH[WHQWWRZKLFKHWKLFVUHODWHGFRQFHSWVFDPHWRPLQG RXU

SUR[\IRUVDOLHQF\RIPRUDOVWDQGDUGV PHGLDWHGWKHHIIHFWRIFRQGLWLRQRQWKHH[WHQWRIFKHDWLQJ

RQWKHWULYLDWDVN%RWKFRQGLWLRQDQGWKHQXPEHURIHWKLFVUHODWHGFRQFHSWVZHUHHQWHUHGLQWRD

OLQHDUUHJUHVVLRQPRGHOSUHGLFWLQJH[WHQWRIFKHDWLQJ7KLVDQDO\VLVUHYHDOHGWKDWWKHHIIHFWRI

FRQGLWLRQZDVVLJQLILFDQWO\UHGXFHG IURPȕ S WRȕ S ZKHUHDVWKH

QXPEHURIHWKLFVUHODWHGFRQFHSWVZDVDVLJQLILFDQWSUHGLFWRURIFKHDWLQJ ȕ S 8VLQJ

WKHERRWVWUDSSLQJPHWKRG ZLWKLWHUDWLRQV UHFRPPHQGHGE\3UHDFKHUDQG+D\HV  

ZHWHVWHGWKHVLJQLILFDQFHRIWKHLQGLUHFWHIIHFWRIFRQGLWLRQRQGLVKRQHVWEHKDYLRUWKURXJKWKH

DFWLYDWLRQRIHWKLFVUHODWHGFRQFHSWV7KHFRQILGHQFHLQWHUYDOIRUWKHLQGLUHFWHIIHFWGLGQRW

LQFOXGH]HUR  VXJJHVWLQJVLJQLILFDQWPHGLDWLRQ7KXVFRQVLVWHQWZLWKRXUSUHGLFWLRQ

WKHQXPEHURIHWKLFVUHODWHGFRQFHSWVVLJQLILFDQWO\PHGLDWHGWKHUHODWLRQVKLSEHWZHHQRXU

PDQLSXODWLRQ LHVLJQDWXUHILUVW DQGGLVKRQHVWEHKDYLRU
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 966 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 967 of 1282




                                                        0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


       ,Q6WXGLHVDQGZHPRYHGIURPDILHOGH[SHULPHQWLQDQDXWRPRELOHLQVXUDQFHVHWWLQJ

WRDFRQWUROOHGODERUDWRU\H[SHULPHQWLQDWD[VHWWLQJ,QERWKVWXGLHVSDUWLFLSDQWVKDGWKH

RSSRUWXQLW\WRVLJQDWD[IRUPHLWKHUEHIRUHRUDIWHUPDNLQJFODLPVUHJDUGLQJWKHLUSHUIRUPDQFH

RQDWDVN3URYLGLQJIXUWKHUVXSSRUWIRUWKHUHVXOWVRIWKHILHOGVWXG\WKHILQGLQJVRI6WXGLHVDQG

GHPRQVWUDWHGWKDWVLJQLQJDSOHGJHRIKRQHVW\EHIRUH QRWDIWHU KDYLQJWKHRSSRUWXQLW\WRFKHDW

GLVFRXUDJHGGLVKRQHVW\,QDGGLWLRQVWXG\VKRZHGWKDWLWZDVWKH³VLJQLQJEHIRUH´FRQGLWLRQ

WKDWGHFUHDVHGFKHDWLQJDQGQRWWKH³VLJQLQJDIWHU´FRQGLWLRQWKDWLQFUHDVHGFKHDWLQJ

)XUWKHUPRUHVWXG\SURYLGHGHYLGHQFHIRUWKHK\SRWKHVLVWKDW³VLJQLQJEHIRUH´UDLVHGWKH

VDOLHQF\RIHWKLFDOVWDQGDUGVZKLFKLQWXUQOHGWRPRUHWUXWKIXOVHOIUHSRUWLQJ)LQDOO\6WXG\

IXUWKHUH[DPLQHGWKHXQGHUO\LQJSV\FKRORJLFDOSURFHVVWKDWOLQNVWKHDFWRIVLJQLQJEHIRUHILOOLQJ

RXWDIRUPZLWKWKHOLNHOLKRRGRIFKHDWLQJ7KHVWXG\LQFOXGHGWKHVDPHLPSOLFLWPHDVXUHRI

HWKLFDOVDOLHQF\DVLQVWXG\SDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHZRUGIUDJPHQWVE\XVLQJWKH

ILUVWZRUGWKDWFDPHWRPLQG:HIRXQGWKDWWKHDFWRIVLJQLQJRQH¶VQDPHSULRUWRDWDVN

LQFUHDVHGWKHVDOLHQF\RIHWKLFDOVWDQGDUGVDQGWKLVKHLJKWHQHGVDOLHQF\PHGLDWHGWKHUHODWLRQVKLS

EHWZHHQVLJQLQJDSOHGJHRIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WRFKHDWDQGVXEVHTXHQW

GLVKRQHVWEHKDYLRU

7KHRUHWLFDO&RQWULEXWLRQ

      7KHFRQWULEXWLRQRIWKHSUHVHQWUHVHDUFKLVWKUHHIROG)LUVWRXUILQGLQJVFRQWULEXWHWRWKH

OLWHUDWXUHRQKRZVHOIDZDUHQHVV 'XYDO :LFNOXQG FDQQXGJHSHRSOH¶VEHKDYLRUIRUWKH

EHWWHU:HLQFUHDVHGKRQHVW\LQERWKODERUDWRU\DQGILHOGVHWWLQJVE\DVNLQJSDUWLFLSDQWVWRVLJQ

WKHLUQDPHQH[WWRDSOHGJHRIKRQHVW\DQGE\YDU\LQJZKHQWKH\SURYLGHGWKHLUVLJQDWXUH EHIRUH

RUDIWHUKDYLQJWKHRSSRUWXQLW\WRFKHDW 7KHDFWRIVLJQLQJLQFUHDVHGWKHVDOLHQF\RIWKHLUHWKLFDO

VWDQGDUGVDQGDVDUHVXOWUHGXFHGWKHLUXQHWKLFDOEHKDYLRU-XVWDV+DOH\DQG)HVVOHU  
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 968 of 1282




                                                        0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


LQFUHDVHGVKDULQJLQDQDQRQ\PRXVHFRQRPLFJDPHE\LQWURGXFLQJWKHVXEWOHSULPHRIH\HOLNH

VKDSHVLQWKHEDFNJURXQGRIWKHFRPSXWHUVFUHHQZHSURPRWHGKRQHVWEHKDYLRUE\QXGJLQJ

SDUWLFLSDQWVWRWXUQWKHLUPRUDOJD]HLQZDUG²WRWKHLURZQEHKDYLRU²E\DVNLQJWKHPWRVLJQ

WKHLUQDPHXQGHUDSOHGJHRIKRQRUSULRUWRILOOLQJRXWDQLQVXUDQFHRUWD[UHWXUQIRUP

      6HFRQGWKHSUHVHQWZRUNFRQWULEXWHVWRH[LVWLQJUHVHDUFKRQEHKDYLRUDOHWKLFVWKDW

UHFRJQL]HVWKHLPSRUWDQFHRIQRQFRQVFLRXVLQIOXHQFHVRQXQHWKLFDOEHKDYLRU HJ%D]HUPDQ 

%DQDML&KXJK.D\:KHHOHU%DUJK 5RVV5H\QROGV/HDYLWW 'H&HOOHV

7HQEUXQVHOHWDO 7RGDWHWKLVUHVHDUFKKDVIRFXVHGSULPDULO\RQKRZDXWRPDWLF

SURFHVVHVH[DFHUEDWHXQHWKLFDOEHKDYLRU([WHQGLQJWKLVERG\RIZRUNRXUVWXGLHVKDYHD

SUHYHQWLYHIRFXVDQGLGHQWLI\VXEWOHZD\VRIUDLVLQJWKHVDOLHQF\RIHWKLFDOVWDQGDUGV2XU

UHVHDUFKVKRZVWKDWWKHYHU\VDPHDXWRPDWLFSURFHVVHVWKDWXQFRQVFLRXVO\OHDGDSHUVRQWR

EHKDYHGLVKRQHVWO\PD\EHXVHGWRHQFRXUDJHHWKLFDOEHKDYLRUZKHQLQGLYLGXDOVDUHIDFLQJWKH

WHPSWDWLRQWRFKHDW2XUILQGLQJVDUHLPSRUWDQWLQOLJKWRISULRUUHVHDUFKRQWKHXVHRIH[SOLFLW

LQWHUYHQWLRQVVXFKDVLQWURGXFLQJDFRGHRIHWKLFV :HDYHU7UHYLxR &RFKUDQ WR

GLVFRXUDJHGLVKRQHVW\7KHSUHVHQWZRUNKLJKOLJKWVWKHUROHWKDWVXEWOHLQWHUYHQWLRQVFDQKDYHLQ

SURGXFLQJVLPLODUO\SRZHUIXOUHVXOWVHYHQZLWKRXWLQGLYLGXDOV¶FRQVFLRXVDZDUHQHVV

       )LQDOO\RXUUHVHDUFKDOVRFRQWULEXWHVWRWKHOLWHUDWXUHRQKRZWRHIIHFWLYHO\UHGXFH

GLVKRQHVW\%\LQWURGXFLQJDVOLJKWFKDQJHWRWKHW\SLFDOGHVLJQRIIRUPVXVHGIRUH[DPSOHE\WKH

,56RULQVXUDQFHFRPSDQLHVZHREVHUYHGDVLJQLILFDQWVKLIWWRZDUGVKRQHVWEHKDYLRU,Q

SDUWLFXODUE\PRYLQJWKHORFDWLRQRIWKHVLJQDWXUHIURPWKHHQGWRWKHEHJLQQLQJRIDIRUPZH

IRXQGPRUHWUXWKIXOUHSRUWLQJOHVVSHUIRUPDQFHLQIODWLRQOHVVRYHUFODLPLQJRIFUHGLWVDQG

IHZHUGHGXFWLRQFODLPV$VLPSOHQXGJHDWWKHEHJLQQLQJ²UDWKHUWKDQDWWKHHQG²RIRXUWDVNV

ZDVHQRXJKWRSURGXFHDPHDQLQJIXOLQFUHDVHLQKRQHVW\
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 969 of 1282




                                                         0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


/LPLWDWLRQVDQG9HQXHVIRU)XWXUH5HVHDUFK

         2XUVWXGLHVXVHGDPLQLPDOWUHDWPHQWSDUDGLJPWRLQGXFHWKHREVHUYHGHIIHFWVZHVKLIWHG

WKHUHTXLUHPHQWDQGORFDWLRQRISDUWLFLSDQWVLJQDWXUHDQGWKHQREVHUYHGGLIIHUHQFHVLQOHYHOVRI

FKHDWLQJ$QH[WHQVLRQRIWKLVSDUDGLJPWKDWPLJKWEHWWHUVSHDNWRWKHSRWHQWLDOPDJQLWXGHRIWKH

HIIHFWLQUHDOZRUOGDSSOLFDWLRQZRXOGEHWRSUHFHGHWKHVLJQDWXUHOLQHZLWKDPRUHH[WHQVLYHVHW

RIUXOHVWKDWJXLGHEHKDYLRU$VDQH[DPSOH6KX*LQRDQG%D]HUPDQ  IRXQGWKDW

SDUWLFLSDQWVZKRUHDGDQKRQRUFRGHSULRUWRDQRSSRUWXQLW\WRFKHDWZHUHOHVVOLNHO\WRFKHDWRQ

WKHVXEVHTXHQWWDVNUHODWLYHWRDFRQWUROJURXSZKRGLGQRWUHDGDQKRQRUFRGH VHH0D]DUHWDO

IRUFRPSDULVRQEHWZHHQUHDGLQJDQGVLJQLQJDQKRQRUFRGHSULRUWRDQRSSRUWXQLW\WRFKHDW

YHUVXVQRH[SRVXUHUHDGLQJRUVLJQLQJDQKRQRUFRGH )XWXUHUHVHDUFKFRXOGLQYHVWLJDWHZD\VWR

VXSHUFKDUJHWKHHIIHFWRIUHTXLULQJDVLJQDWXUHSULRUWRWKHVWDUWRIDWDVN²SRVVLEO\WKURXJK

EXQGOLQJLWZLWKVRPHJXLGHOLQHVIRUEHKDYLRU)UDPLQJWKHVHJXLGHOLQHVLQWHUPVRISURKLELWLRQV

    ³GRQRW´UXOHV YHUVXVHQFRXUDJHPHQWV ³GR´UXOHV PLJKWDOVRDOWHUWKHHIIHFWRIVLJQLQJRQWKH

GRWWHGOLQH

,PSOLFDWLRQVIRU3UDFWLFH

         2XUILQGLQJVVXJJHVWWKDWRQHHIIHFWLYHZD\WRUHGXFHRUHOLPLQDWHXQHWKLFDOEHKDYLRULV

WRDVNSHRSOHWRVLJQWKHLUQDPHSULRUUDWKHUWKDQDIWHUEHLQJWHPSWHGWRFKHDW7KHVHILQGLQJV

DSSO\WRDODUJHFDWHJRU\RIEHKDYLRUVWKDWUHO\RQKRQHVWVHOIUHSRUWRQWKHSDUWRIWKH

LQGLYLGXDO²DQ\EHKDYLRULQZKLFKLWLVLPSRVVLEOHIRUDQRWKHUSHUVRQRURUJDQL]DWLRQWR

FRQWLQXDOO\PRQLWRU

          :HEHOLHYHRQHRIWKHPRVWLPSRUWDQWGRPDLQVWRZKLFKRXUILQGLQJVPD\EHDSSOLHGLV

WKHGRPDLQRIWD[HV$VWKHIHGHUDOWD[JDSVRDUVWRRYHUELOOLRQHDFK\HDU 0RUVH 

WKHDPRXQWVSHQWRQWD[FRPSOLDQFHDQGLQYHVWLJDWLRQKDVDOVRVHHQGUDPDWLFLQFUHDVHV7KHVFDOH
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 970 of 1282




                                                         0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


RIWKHSURSRVHGLQWHUYHQWLRQLVWUXO\PLQLPDOJRYHUQPHQWVDOUHDG\UHTXLUHWD[SD\HUV DQG

SUHSDUHUV WRVLJQZKHQILOLQJWD[HV²MXVWFXUUHQWO\QRWLQWKHPRVWHIIHFWLYHORFDWLRQ6LPSO\

VKLIWLQJWKHVLJQDWXUHWRWKHEHJLQQLQJRIWKHWD[IRUPPD\KHOSWKHIHGHUDODQGVWDWH

JRYHUQPHQWVFORVHDVLJQLILFDQWSRUWLRQRIWKHWD[JDSDQGUHDOL]HHQRUPRXVVDYLQJVLQWD[

FRPSOLDQFHDQGLQYHVWLJDWLRQFRVWV

                                             &RQFOXVLRQ

       %\VLPSO\DVNLQJSDUWLFLSDQWVWRVLJQRQWKHGRWWHGOLQHSULRUWRDWDVNLQZKLFKWKH\IDFH

DWHPSWDWLRQWRFKHDWUDWKHUWKDQDWWKHHQGZHIRXQGVLJQLILFDQWUHGXFWLRQVLQOHYHOVRIFKHDWLQJ

ERWKLQDQLQVXUDQFHVHWWLQJDVZHOODVLQWKHFRQWH[WRIWD[HV7KLVLVMXVWDVPDOOVXEVHWRIWKH

W\SHVRIGRPDLQVZKLFKUHO\RQKRQHVWVHOIUHSRUWLQJRQWKHSDUWRIWKHLQGLYLGXDO$Q

LQWHUYHQWLRQDVVLPSOHDVVKLIWLQJWKHVLJQDWXUHORFDWLRQFDQOHDGWRDPHDQLQJIXOGLIIHUHQFHLQ

EHKDYLRUWKDWIROORZV6LJQLQJRQWKHGRWWHGOLQHFDQVKLIWWKHPRUDOJD]HLQZDUGUDLVHWKH

VDOLHQF\RIHWKLFDOVWDQGDUGVDQGVSLOORYHUWRSURPRWHPRUHHWKLFDODFWLRQVJRLQJIRUZDUG           
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 971 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 972 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 973 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 974 of 1282




                                                       0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


                                            5HIHUHQFHV

$PLU2$ULHO\'&RRNH$'XQQLQJ'(SOH\1*QHH]\8.RV]HJL%/LFKWHQVWHLQ

       '0D]DU10XOODLQDWKDQ63UHOHF'6KDILU( 6LOYD-  3V\FKRORJ\

       %HKDYLRUDO(FRQRPLFVDQG3XEOLF3ROLF\0DUNHWLQJ/HWWHUV  

$TXLQR. 5HHG$  7KHVHOILPSRUWDQFHRIPRUDOLGHQWLW\-RXUQDORI3HUVRQDOLW\

       DQG6RFLDO3V\FKRORJ\  

$\DO6 *LQR)  +RQHVWUDWLRQDOHVIRUGLVKRQHVWEHKDYLRU,Q00LNXOLQFHU 35

       6KDYHU (GV 7KH6RFLDO3V\FKRORJ\RI0RUDOLW\([SORULQJWKH&DXVHVRI*RRGDQG

       (YLO:DVKLQJWRQ'&$PHULFDQ3V\FKRORJLFDO$VVRFLDWLRQ

%DVVLOL-1 6PLWK0&  2QWKHVSRQWDQHLW\RIWUDLWDWWULEXWLRQ&RQYHUJLQJ

       HYLGHQFHIRUWKHUROHRIFRJQLWLYHVWUDWHJ\-RXUQDORI3HUVRQDOLW\DQG6RFLDO3V\FKRORJ\

       

%DQGXUD$  6HOHFWLYHDFWLYDWLRQDQGGLVHQJDJHPHQWRIPRUDOFRQWURO-RXUQDORI6RFLDO

       ,VVXHV

%DQGXUD$%DUEDUDQHOOL&&DSUDUD* 3DVWRUHOOL&  0HFKDQLVPVRIPRUDO

       GLVHQJDJHPHQWLQWKHH[HUFLVHRIPRUDODJHQF\-RXUQDORI3HUVRQDOLW\DQG6RFLDO

       3V\FKRORJ\

%DWHVRQ01HWWOH' 5REHUWV*  &XHVRIEHLQJZDWFKHGHQKDQFHFRRSHUDWLRQLQD

       UHDOZRUOGVHWWLQJ%LRORJ\/HWWHUV

%DXPHLVWHU5)  7KHVHOI,Q'7*LOEHUW67)LVNH */LQG]H\ (GV +DQGERRN

       RIVRFLDOSV\FKRORJ\ 9ROSS± 1HZ<RUN0F*UDZ+LOO

%DXPHLVWHU5) +HDWKHUWRQ7)  6HOIUHJXODWLRQIDLOXUH$QRYHUYLHZ

       3V\FKRORJLFDO,QTXLU\
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 975 of 1282




                                                       0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


%D]HUPDQ0+ %DQDML05  7KHVRFLDOSV\FKRORJ\RIRUGLQDU\HWKLFDOIDLOXUHV

       6RFLDO-XVWLFH5HVHDUFK

%ULHI$3%XWWUDP57 'XNHULFK-0  &ROOHFWLYHFRUUXSWLRQLQWKHFRUSRUDWH

       ZRUOG7RZDUGDSURFHVVPRGHO,Q0(7XUQHU (G *URXSVDWZRUN$GYDQFHVLQ

       WKHRU\DQGUHVHDUFK SS 0DKZDK1-/DZUHQFH(UOEDXP

%URZQ0( 7UHYLQR/.  (WKLFDOOHDGHUVKLS$UHYLHZDQGIXWXUHGLUHFWLRQV7KH

       /HDGHUVKLS4XDUWHUO\

&KXJK'  6RFLHWDODQG0DQDJHULDO,PSOLFDWLRQVRI,PSOLFLW6RFLDO&RJQLWLRQ:K\

       0LOOLVHFRQGV0DWWHU6RFLDO-XVWLFH5HVHDUFK

'XYDO76 5REHUW$:LFNOXQG  $7KHRU\RI2EMHFWLYH6HOI$ZDUHQHVV1HZ<RUN

       $FDGHPLF3UHVV

)D]LR5+ &RRSHU-  $URXVDOLQWKHGLVVRQDQFHSURFHVV,Q-7&DFLRSSR5(

       3HWW\ (GV 6RFLDOSV\FKRSK\VLRORJ\ SS 1HZ<RUN*XLOIRUG3UHVV

)HVWLQJHU/ &DUOVPLWK-0  &RJQLWLYHFRQVHTXHQFHVRIIRUFHGFRPSOLDQFH-RXUQDO

       RI$EQRUPDODQG6RFLDO3V\FKRORJ\

*LQR)$\DO6 $ULHO\'  &RQWDJLRQDQGGLIIHUHQWLDWLRQLQXQHWKLFDOEHKDYLRU7KH

       HIIHFWRIRQHEDGDSSOHRQWKHEDUUHO3V\FKRORJLFDO6FLHQFH  

*LQR) 3LHUFH/  5RELQ+RRGXQGHUWKHKRRG:HDOWKEDVHGGLVFULPLQDWLRQLQLOOLFLW

       FXVWRPHUKHOS2UJDQL]DWLRQ6FLHQFH  

*QHH]\8  'HFHSWLRQ7KHUROHRIFRQVHTXHQFHV$PHULFDQ(FRQRPLF5HYLHZ

       

+DLGW-  7KHHPRWLRQDOGRJDQGLWVUDWLRQDOWDLO$VRFLDOLQWXLWLRQLVWDSSURDFKWRPRUDO

       MXGJPHQW3V\FKRORJLFDO5HYLHZ
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 976 of 1282




                                                       0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


+DOH\.- )HVVOHU'07  1RERG\¶VZDWFKLQJ"6XEWOHFXHVDIIHFWJHQHURVLW\LQDQ

       DQRQ\PRXVHFRQRPLFJDPH(YROXWLRQDQG+XPDQ%HKDYLRU±

+HLGHU)  7KHJHVWDOWWKHRU\RIPRWLYDWLRQ,Q05-RQHV (G 1HEUDVNDV\PSRVLXP

       RQPRWLYDWLRQ 9ROSS /LQFROQ8QLYHUVLW\RI1HEUDVND3UHVV

+HUPDQ7RP  ³6WXG\6XJJHVWV7D[&KHDWLQJ,VRQWKH5LVH0RVW'HWDLOHG6XUYH\LQ

       <HDUV)LQGV%LOOLRQ3OXV*DS5DPSLQJ8S$XGLWVRQ:HDOWK\´7KH:DOO6WUHHW

       -RXUQDO 0DUFK '

.D\$&:KHHOHU6&%DUJK-$ 5RVV/  0DWHULDOSULPLQJ7KHLQIOXHQFHRI

       PXQGDQHSK\VLFDOREMHFWVRQVLWXDWLRQDOFRQVWUXDODQGFRPSHWLWLYHEHKDYLRUDOFKRLFH

       2UJDQL]DWLRQDO%HKDYLRUDQG+XPDQ'HFLVLRQ3URFHVVHV

.HWWOH./ +lXEO*  7KH6LJQDWXUH(IIHFW6LJQLQJLQIOXHQFHVFRQVXPSWLRQUHODWHG

       EHKDYLRUE\SULPLQJVHOILGHQWLW\7KH-RXUQDORI&RQVXPHU5HVHDUFK

/HZLFNL5-3RODQG70LQWRQ-: 6KHSSDUG%+  'LVKRQHVW\DVGHYLDQFH

       $W\SRORJ\RIZRUNSODFHGLVKRQHVW\DQGFRQWULEXWLQJIDFWRUV5HVHDUFKRQ1HJRWLDWLRQLQ

       2UJDQL]DWLRQV±

0D]DU1 $JJDUZDO3 )RUWKFRPLQJ &DQFROOHFWLYLVPSURPRWHEULEHU\"3V\FKRORJLFDO

       6FLHQFH

0D]DU1$PLU2 $ULHO\'  7KHGLVKRQHVW\RIKRQHVW\SHRSOH$WKHRU\RIVHOI

       FRQFHSWPDLQWHQDQFH-RXUQDORI0DUNHWLQJ5HVHDUFK  

0D]DU1 $ULHO\'  'LVKRQHVW\LQHYHU\GD\OLIHDQGLWVSROLF\LPSOLFDWLRQV-RXUQDO

       RI3XEOLF3ROLF\DQG0DUNHWLQJ

0RUVH6&  8VLQJVDOLHQFHDQGLQIOXHQFHWRQDUURZWKHWD[JDS/R\ROD8QLYHUVLW\

       &KLFDJR/DZ-RXUQDO  
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 977 of 1282




                                                       0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


1LFKROV6 .QREH-  0RUDOUHVSRQVLELOLW\DQGGHWHUPLQLVPWKHFRJQLWLYHVFLHQFHRI

       IRONLQWXLWLRQV1RXV

3UHDFKHU.- +D\HV$)  6366DQG6$6SURFHGXUHVIRUHVWLPDWLQJLQGLUHFWHIIHFWV

       LQVLPSOHPHGLDWLRQPRGHOV%HKDYLRU5HVHDUFK0HWKRGV,QVWUXPHQWV &RPSXWHUV

       

5H\QROGV6/HDYLWW. 'H&HOOHV.$$XWRPDWLFHWKLFV,PSOLFLWDVVXPSWLRQVDQG

       HWKLFDOPDQDJHULDOFRQGXFW-RXUQDORI$SSOLHG3V\FKRORJ\  ±

5LJGRQ0,VKLL.:DWDEH0 .LWD\DPD6  0LQLPDOVRFLDOFXHVLQWKHGLFWDWRU

       JDPH-RXUQDORI(FRQRPLF3V\FKRORJ\

6FKZHLW]HU0( +VHH&.  6WUHWFKLQJWKHWUXWK(ODVWLFMXVWLILFDWLRQDQGPRWLYDWHG

       FRPPXQLFDWLRQRIXQFHUWDLQLQIRUPDWLRQ-RXUQDORI5LVNDQG8QFHUWDLQW\

6KLK03LWWLQVN\7/ $PEDG\16WHUHRW\SH6XVFHSWLELOLW\,GHQWLW\VDOLHQFHDQGVKLIWVLQ

       TXDQWLWDWLYHSHUIRUPDQFH3V\FKRORJLFDO6FLHQFH  

6KX/*LQR) %D]HUPDQ0  'LVKRQHVWGHHGFOHDUFRQVFLHQFH:KHQFKHDWLQJ

       OHDGVWRPRUDOGLVHQJDJHPHQWDQGPRWLYDWHGIRUJHWWLQJ3HUVRQDOLW\DQG6RFLDO

       3V\FKRORJ\%XOOHWLQ  

7HQEUXQVHO$( 6PLWK&URZH.  (WKLFDOGHFLVLRQPDNLQJ:KHUHZH¶YHEHHQDQG

       ZKHUHZH¶UHJRLQJ$FDGHP\RI0DQDJHPHQW$QQDOV

7HQEUXQVHO$('LHNPDQQ.$:DGH%HQ]RQL. %D]HUPDQ0+  7KHHWKLFDO

       PLUDJH:K\ZHDUHQRWDVHWKLFDODVZHWKLQNZHDUH5HVHDUFKLQ2UJDQL]DWLRQDO

       %HKDYLRU

7UHYLxR/.:HDYHU*5 5H\QROGV6-  %HKDYLRUDOHWKLFVLQRUJDQL]DWLRQV$

       UHYLHZ-RXUQDORI0DQDJHPHQW
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 978 of 1282




                                                     0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


7XOYLQJ(6FKDFWHU'/ 6WDUN+$  3ULPLQJHIIHFWVLQZRUGIUDJPHQWFRPSOHWLRQ

       DUHLQGHSHQGHQWRIUHFRJQLWLRQPHPRU\-RXUQDORI([SHULPHQWDO3V\FKRORJ\/HDUQLQJ

       0HPRU\DQG&RJQLWLRQ  

:HDYHU*57UHYLxR/. &RFKUDQ3  ,QWHJUDWHGDQGGHFRXSOHGFRUSRUDWHVRFLDO

       SHUIRUPDQFH0DQDJHPHQWFRPPLWPHQWVH[WHUQDOSUHVVXUHVDQGFRUSRUDWHHWKLFV

       SUDFWLFHV$FDGHP\RI0DQDJHPHQW-RXUQDO±

=KRQJ&%%RKQV9. *LQR)  $JRRGODPSLVWKHEHVWSROLFH'DUNQHVV

       LQFUHDVHVVHOILQWHUHVWHGEHKDYLRUDQGGLVKRQHVW\3V\FKRORJLFDO6FLHQFH



                            
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 979 of 1282




                                                     0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


                                        )LJXUH&DSWLRQV

                                                

)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[VHDUFKWDVNE\FRQGLWLRQ6WXG\




                                                                           




)LJXUH5HSRUWHGGHGXFWLRQVE\FRQGLWLRQ6WXG\




                                                                            


                            
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 980 of 1282




                                                     0DNLQJ(WKLFV6DOLHQWDWWKH5LJKW7LPH


)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[VHDUFKWDVNE\FRQGLWLRQ6WXG\




                                                                         

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 981 of 1282



                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                                   
                  0DQXVFULSW9HUVLRQQP
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 982 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


5XQQLQJ+HDG0$.,1*(7+,&66$/,(17





                                  :KHQWR6LJQRQWKH'RWWHG/LQH"

            6LJQLQJ)LUVW0DNHV(WKLFV6DOLHQWDQG'HFUHDVHV'LVKRQHVW6HOI5HSRUWV

                                                  

                                            /LVD/6KX

                                            1LQD0D]DU

                                          )UDQFHVFD*LQR

                                            'DQ$ULHO\

                                         0D[+%D]HUPDQ

                                                  
                 
                     +DUYDUG8QLYHUVLW\8QLYHUVLW\RI7RURQWR'XNH8QLYHUVLW\











7KHDXWKRUVWKDQN-HQQLIHU)LQNDQG5XWK:LQHFRIIIRUWKHLUKHOSZLWKGDWDFROOHFWLRQDQGHQWU\

7KHDXWKRUVJUHDWO\DSSUHFLDWHWKHVXSSRUWDQGIDFLOLWLHVRIWKH&HQWHUIRU'HFLVLRQ5HVHDUFKDW

WKH8QLYHUVLW\RI1RUWK&DUROLQDDW&KDSHO+LOO7KHDXWKRUVWKDQNWKH)XTXD6FKRRORI%XVLQHVV

DQG+DUYDUG%XVLQHVV6FKRROIRUWKHLUILQDQFLDOVXSSRUW3OHDVHDGGUHVVFRUUHVSRQGHQFHWR

                        
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 983 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


                                              $EVWUDFW

0DQ\EXVLQHVVDQGJRYHUQPHQWDOLQWHUDFWLRQVDUHEDVHGXSRQWUXVWZLWKWKHDVVXPSWLRQWKDWDOO

DFWRUVJHQHUDOO\FRPSO\ZLWKVRFLDODQGPRUDOQRUPV3URRIRIFRPSOLDQFHLVW\SLFDOO\SURYLGHG

WKURXJKVLJQDWXUH²HJDWWKHHQGRIWD[UHWXUQVRULQVXUDQFHSROLF\IRUPV<HWHYHQZKHQ

SHRSOHFDUHDERXWPRUDOLW\DQGZDQWWREHVHHQDVHWKLFDOE\RWKHUVWKH\VRPHWLPHVWUDQVJUHVV

ZKHQLWEHQHILFLDOWRWVWKHPWRGRVRDWJUHDWFRVWWRHFRQRPLHVDFURVVWKHJOREH7KLVSDSHU

IRFXVHVRQWHVWLQJDQHDV\WRLPSOHPHQWPHWKRGWRGLVFRXUDJHGLVKRQHVW\VLJQLQJDWWKH

EHJLQQLQJUDWKHUWKDQDWWKHHQGRIDVHOIUHSRUWDVLVWKHFXUUHQWFRPPRQSUDFWLFH8VLQJERWK

ILHOGDQGODEH[SHULPHQWVZHILQGWKDWVLJQLQJEHIRUHUDWKHUWKDQDIWHUKDYLQJIDFHGWKH

RSSRUWXQLW\WRFKHDWUDLVHVWKHVDOLHQF\RIHWKLFVDQGPRUDOLW\DQGOHDGVWRVLJQLILFDQWUHGXFWLRQV

LQGLVKRQHVW\



.H\ZRUGV&KHDWLQJ'LVKRQHVW\(WKLFV0RUDOLW\6DOLHQF\6LJQLQJ6LJQDWXUH

                              
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 984 of 1282




                                                                            0DNLQJ(WKLFV6DOLHQW


       ,Q'HFHPEHU7LPRWK\6FKHWHOLFK²ZKRKDGEHHQZRUNLQJDVD&HUWLILHG3XEOLF

$FFRXQWDQWLQ6SULQJILHOG1HZ-HUVH\IRU\HDUV²SOHDGHGJXLOW\WRSUHSDULQJIDOVHWD[UHWXUQV

IRUVHYHUDOFOLHQWV2YHUWKH\HDUVKHFODLPHGVRPHRIWKHPKDGOHJLWLPDWHEXVLQHVVH[SHQVHV

ZKHQLQIDFWWKH\GLGQRWRZQDEXVLQHVVLQRWKHUFDVHVKHIDEULFDWHGDQGLQIODWHGGHGXFWLRQVIRU

H[SHQVHVWRREWDLQUHIXQGVWKHFOLHQWVZHUHQRWHQWLWOHGWRUHFHLYH,QWKHSURFHVVKLVFOLHQWVSDLG

OHVVWD[HVDQGKHPDGHKLJKHUFRPPLVVLRQV7KLVFDVHXQIRUWXQDWHO\LVQRWDQH[FHSWLRQ0DQ\

EXVLQHVVHVUHJXODUO\FKHDWRQWKHLUWD[HV 0RUVH DQGWKHVHXQSDLGWD[HVKDYHEHHQ

HVWLPDWHGWRDPRXQWWRURXJKO\ELOOLRQHYHU\\HDULQWKH8QLWHG6WDWHV²DQDVWRQLVKLQJFRVW

WRWKHHFRQRP\7KHHVWLPDWHGFRVWIURPWKHQRQFRPSOLDQFHRILQGLYLGXDOWD[SD\HUVLVHYHQ

KLJKHU +HUPDQ 6LPLODUIRUPVRIXQHWKLFDOEHKDYLRURQWKHSULYDWHLQGLYLGXDO¶VOHYHO

LQFOXGHRYHUVWDWLQJLQVXUDQFHFODLPVLQIODWLQJEXVLQHVVH[SHQVHVDQGRYHUVWDWLQJELOODEOHKRXUV

WRPHQWLRQMXVWDIHZ 0D]DU $ULHO\*LQR 3LHUFH 

       ,QPDQ\FDVHVFRPSDQLHVRUJRYHUQPHQWVUHO\RQLQGLYLGXDOV¶KRQHVW\DQGXVHWKH

SRVVLELOLW\RISXQLVKPHQWWRGHWHUGLVKRQHVW\,QDFFRUGDQFHZLWKOHJDOUHTXLUHPHQWVSHRSOHDUH

RIWHQDVNHGWRVLJQWRFHUWLI\WKHWUXWKIXOQHVVRIWKHLUVWDWHPHQWVDQGWKLVUHTXHVWLVF&RPPRQO\

ORFDWHGLQGLYLGXDOVVLJQDWWKHHQGRIWKHLUDVHOIUHSRUW+RZHYHUWKHFRVWVRIQRQFRPSOLDQFH

VXJJHVWWKDWWKLVSUDFWLFHDSSHDUVWREHPD\EHLQVXIILFLHQWLQFRXQWHULQJVHOILQWHUHVWHG

PRWLYDWLRQVWRIDOVLI\QXPEHUV,QWKLVSDSHUZHSURSRVHDQGWHVWWKHLGHDWKDWDVPDOOFKDQJHLQ

WKHFRPPRQSUDFWLFHFRXOGOHDGWRVLJQLILFDQWLPSURYHPHQWVLQFRPSOLDQFHVLPSO\PRYLQJWKH

VLJQLQJRIWKHVWDWHPHQWRIKRQRUIURPWKHHQGWRWKHEHJLQQLQJRIDVHOIUHSRUWVKRXOGEULQJ

RQH¶VPRUDOVWDQGDUGVLQWRIRFXVDQGVXEVHTXHQWO\SURPRWHKRQHVW\ZKLOHGLVFRXUDJLQJFKHDWLQJ

                                      5HVHDUFKRQ'LVKRQHVW\

       7KHSHUYDVLYHQHVVRIXQHWKLFDOSUDFWLFHVLQRUJDQL]DWLRQVDQGVRFLHW\PRUHEURDGO\KDV

JHQHUDWHGFRQVLGHUDEOHLQWHUHVWDPRQJVFKRODUVLQDYDULHW\RIGLVFLSOLQHVLQFOXGLQJ
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 985 of 1282




                                                                             0DNLQJ(WKLFV6DOLHQW


RUJDQL]DWLRQDOEHKDYLRUSV\FKRORJ\SKLORVRSK\DQGHFRQRPLFV HJ%URZQ 7UHYLxR

*QHH]\+DLGW1LFKROV .QREH7HQEUXQVHO'LHNPDQQ:DGH%HQ]RQL 

%D]HUPDQ7HQEUXQVHO 6PLWK&URZH7UHYLxR:HDYHU 5H\QROGV 

7RJHWKHUWKHZRUNRIWKHVHVFKRODUVVXJJHVWVWKDWWKHUHDUHDWOHDVWWZRFRQIOLFWLQJPRWLYDWLRQV

ZLWKLQPRVWLQGLYLGXDOVRQHPRWLYDWLRQWRZDUGVVHOILQWHUHVWWKDWFDQGULYHXQHWKLFDOEHKDYLRUV

ZKHQWKHEHQHILWVRXWZHLJKWKHDQWLFLSDWHGFRVWV HJ%ULHI%XWWUDP 'XNHULFN

/HZLFNL3RODQG0LQWRQ 6KHSSDUG DQGDQRWKHUPRWLYDWLRQWRSUHVHUYHRQH¶VRZQ

PRUDOVWDQGDUGVWKDWOLPLWVRQHIURPHQJDJLQJLQXQHWKLFDOEHKDYLRUV HJ$\DO *LQR

0D]DU$PLU $ULHO\7HQEUXQVHOHWDO 7KHPDMRULW\RIUHFHQWZRUNKDV

VXSSRUWHGWKHODWWHUH[SODQDWLRQ $TXLQR 5HHG DQGKDVGHPRQVWUDWHGWKDWIDFWRUVVXFK

DVDPELJXLW\FXOWXUDORULHQWDWLRQVDQGVXUSULVLQJO\VXEWOHVLWXDWLRQDOLQIOXHQFHVFDQIDFLOLWDWH

WKHLUPRUDOWUDQVJUHVVLRQV $\DO *LQR )RULQVWDQFH6FKZHLW]HUDQG+VHH  DV

ZHOODV%DXPHLVWHU  KDYHVKRZQWKDWSHRSOHZLOOSUHVHQWDPELJXRXVLQIRUPDWLRQVXFKWKDW

LWEHQHILWVWKHLUVHOILQWHUHVW HYHQLILWKDUPVRWKHUV ZLWKRXWDQ\QHJDWLYHFRQVHTXHQFHVWRWKHLU

PRUDOVHOILPDJH,QUHODWHGZRUN0D]DUDQG$JJDUZDO  UHSRUWHGWKDWFROOHFWLYLVP

SURPRWHVEULEHU\E\PLWLJDWLQJWKHSHUFHLYHGUHVSRQVLELOLW\IRURQH¶VDFWLRQVDQG=KRQJ%RKQV

DQG*LQR  IRXQGWKDWDPELHQWGDUNQHVVFDQIDFLOLWDWHSHRSOH¶VWUDQVJUHVVLRQVE\LQFUHDVLQJ

DVHQVHRIDQRQ\PLW\

       7RGDWHPRVWRIWKLVUHVHDUFKKDVIRFXVHGSULPDULO\RQWKHPRWLYHVDQGFKDUDFWHULVWLFVRI

WKHZURQJGRHUVRURQWKHRUJDQL]DWLRQDODQGHQYLURQPHQWDOIDFWRUVWKDWFDQLQIOXHQFHRQH¶V

DFWLRQV%XLOGLQJRQWKLVERG\RIZRUNWKHJRDORIWKHFXUUHQWSDSHULVWRGHYHORSDQGWHVWDQ

HIILFLHQWDQGVLPSOHPHDVXUHWRUHGXFHRUHOLPLQDWHXQHWKLFDOEHKDYLRUV²SDUWLFXODUO\EHKDYLRUV

WKDWUHO\RQVHOIPRQLWRULQJLQOLHXRIVRFLHWDOUHVWUDLQWV)LOLQJWD[HVFODLPLQJEXVLQHVV
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 986 of 1282




                                                                             0DNLQJ(WKLFV6DOLHQW


H[SHQVHVRUUHSRUWLQJELOODEOHKRXUVDUHDOOH[DPSOHVRIVXFKEHKDYLRUVWKDWUHO\RQWUXWKIXOVHOI

UHSRUWVDQGGHSDUWXUHVIURPKRQHVW\FDQOHDGWRVLJQLILFDQWHFRQRPLFORVVHV7KXVLWVHHPV

LPSRUWDQWWRLGHQWLI\SUDFWLFDOLQWHUYHQWLRQVWKDWSURPRWHKRQHVW\LQGRPDLQVWKDWUHO\RQWUXWKIXO

VHOIUHSRUWV $PLUHWDO 

       5HFHQWSDSHUVKDYHVWDUWHGWRLGHQWLI\VXFKLQWHUYHQWLRQV)RUH[DPSOH0D]DU$PLUDQG

$ULHO\  DVNHGVWXGHQWVWRVLJQDQKRQRUFRGHEHIRUHSDUWLFLSDWLQJLQDWDVNWKDWRIIHUHG

WKHPWKHRSSRUWXQLW\WRPLVUHSRUWWKHLUSHUIRUPDQFHLQRUGHUWRHDUQPRUHPRQH\LQDQ

H[SHULPHQW:KLOHWKHVWXGHQWVRYHUVWDWHGWKHLUSHUIRUPDQFHLQWKHDEVHQFHRIDQKRQRUFRGHWKH

DXWKRUVREVHUYHGQRFKHDWLQJZKHQVWXGHQWVZHUHDVNHGWRUHDGDQGVLJQDQKRQRUFRGHDWWKH

EHJLQQLQJRIWKHWDVN%XLOGLQJRQWKLVILQGLQJ6KX*LQRDQG%D]HUPDQ  FRPSDUHG

SHRSOH¶VVHOIUHSRUWVZKHQWKH\VLPSO\UHDGRUGLGQRWUHDGDQKRQRUFRGHEHIRUHSDUWLFLSDWLQJLQ

DWDVNWKDWRIIHUHGWKHRSSRUWXQLW\WRRYHUVWDWHRQH¶VSHUIRUPDQFHWRHDUQPRUHPRQH\+HUHWRR

WKHDXWKRUVIRXQGWKDWSDUWLFLSDQWVZKRILUVWUHDGDQKRQRUFRGHZHUHOHVVOLNHO\WRFKHDWRQWKH

VXEVHTXHQWWDVNUHODWLYHWRWKRVHZKRGLGQRWUHDGDQKRQRUFRGH:KLOHWKHVHILQGLQJVLGHQWLI\

DQLQWHUYHQWLRQWRFXUWDLOGLVKRQHVW\E\LQWURGXFLQJDUHPLQGHURIDFRGHRIFRQGXFWLQDFRQWH[W

ZKHUHSUHYLRXVO\WKHUHZDVQRQHWKHUHH[LVWVLPSRUWDQWGRPDLQVLQZKLFKVLJQLQJDVWDWHPHQWWR

FRQILUPWKHWUXWKIXOQHVVRIDUHSRUWLVDOUHDG\UHTXLUHGVXFKDVLQVXUDQFHVRUWD[HV2QH

LPSRUWDQWGLIIHUHQFHIURPWKHODEVWXGLHVKRZHYHULVWKDWLQWKHILHOGW\SLFDOO\DVLJQDWXUHLV

UHTXHVWHGDWWKHHQGUDWKHUWKDQDWWKHEHJLQQLQJRIUHSRUWLQJ,WLVXQFOHDUZKHWKHULWLVVLPSO\

WKHUHPLQGHURIDFRGHRIFRQGXFWWKDWLQFUHDVHVKRQHVW\LQVHOIUHSRUWVRUZKHWKHUWKHORFDWLRQRI

WKHVLJQDWXUHLVLPSRUWDQW8VLQJERWKILHOGDQGODERUDWRU\H[SHULPHQWVLQWKLVSDSHUZHH[DPLQH

WKHHIIHFWRIVLPSO\PRYLQJWKHVLJQDWXUHFXUUHQWO\UHTXLUHGLQPDQ\UHDOZRUOGFRQWH[WVIURP
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 987 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


WKHHQGRIDVHOIUHSRUWLQJWDVNWRWKHEHJLQQLQJWRVHHLIWKHUHLVDQHDV\WRLPSOHPHQWZD\IRU

JRYHUQPHQWVDQGFRPSDQLHVWREROVWHUKRQHVW\

       :HUHFRJQL]HWKDWRXUFRUHPDQLSXODWLRQLQWKLVVWXG\LVWULYLDO%XWWKDWLVSUHFLVHO\WKH

SRLQW,QWKLVSDSHUZHKRSHWRVKRZWKDWQXGJHV 7KDOHU 6XQVWHLQ FDQKDYHSURIRXQG

LQIOXHQFHVRQEHKDYLRU,QRXUFDVHZHIRFXVRQKRZHWKLFDOQXGJHVLQIOXHQFHGLVKRQHVW\

                          ,QFUHDVLQJ$WWHQWLRQWR2QH¶V0RUDO6WDQGDUGV

       :HSURSRVHWKDWWKHORFDWLRQRIDVLJQDWXUHPDWWHUVDQGWKDWVLPSO\PRYLQJWKHVLJQDWXUH

OLQHIURPWKHHQGWRWKHEHJLQQLQJRIDIRUPZLOOEULQJRQH¶VPRUDOVWDQGDUGVLQWRIRFXVULJKW

EHIRUHLWLVPRVWQHHGHG7KLVLQFUHDVHGVDOLHQF\RIPRUDOVWDQGDUGVLQWXUQFDQOHDGWR

LQFUHDVHGWUXWKIXOQHVVRQWKHVXEVHTXHQWVHOIUHSRUW,QFRQWUDVWZKHQVLJQLQJDWWKHHQGRID

IRUPWKH³GDPDJH´KDVDOUHDG\EHHQGRQHE\WKHWLPHLQGLYLGXDOVKDYHILOOHGRXWWKHIRUPWKH\

KDYHDOUHDG\HQJDJHGLQYDULRXVPHQWDOWULFNVDQGMXVWLILFDWLRQVWKDWDOORZWKHPWRPDLQWDLQD

SRVLWLYHVHOILPDJHGHVSLWHKDYLQJFKHDWHG

       7KHEDVLFLGHDIRUPRYLQJWKHVLJQDWXUHOLQHWRWKHVWDUWRIWKHIRUPLVLQOLQHZLWK'XYDO

DQG:LFNOXQG¶V  WKHRU\RIREMHFWLYHVHOIDZDUHQHVV2EMHFWLYHVHOIDZDUHQHVVWKHRU\LV

FRQFHUQHGZLWKWKHVHOIUHIOH[LYHTXDOLW\RIWKHFRQVFLRXVQHVV 'XYDO :LFNOXQG 

³:KHQDWWHQWLRQLVGLUHFWHGLQZDUGDQGWKHLQGLYLGXDO¶VFRQVFLRXVQHVVLVIRFXVHGRQKLPVHOIKH

LVWKHREMHFWRIKLVRZQFRQVFLRXVQHVV—KHQFHµREMHFWLYH¶VHOIDZDUHQHVV´ 'XYDO :LFNOXQG

S 7KLVLVFRQWUDVWHGZLWK³VXEMHFWLYHVHOIDZDUHQHVV´WKDWUHVXOWVZKHQDWWHQWLRQLV

GLUHFWHGDZD\IURPWKHVHOIDQGWKHSHUVRQ³H[SHULHQFHVKLPVHOIDVWKHVRXUFHRISHUFHSWLRQDQG

DFWLRQ´ 'XYDO :LFNOXQGS ,QLWVRULJLQDOIRUPXODWLRQWKHWKHRU\DVVXPHGWKDWWKH

RULHQWDWLRQRIFRQVFLRXVDWWHQWLRQZDVWKHHVVHQFHRIVHOIHYDOXDWLRQ)RFXVLQJDWWHQWLRQRQWKH

VHOIEULQJVDERXWREMHFWLYHVHOIDZDUHQHVVZKLFKLQLWLDWHVGDQDXWRPDWLFFRPSDULVRQRIWKHVHOI

DJDLQVWVWDQGDUGV7KHVHOIZDVGHILQHGYHU\EURDGO\DVWKHDSHUVRQ¶VNQRZOHGJHRIWKH
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 988 of 1282




                                                                             0DNLQJ(WKLFV6DOLHQW


KHUVHOISHUVRQ$VWDQGDUGZDV³GHILQHGDVDPHQWDOUHSUHVHQWDWLRQRIFRUUHFWEHKDYLRUDWWLWXGHV

DQGWUDLWV$OORIWKHVWDQGDUGVRIFRUUHFWQHVVWDNHQWRJHWKHUGHILQHZKDWDµFRUUHFW¶SHUVRQLV´

'XYDO :LFNOXQGSS 7KLVVLPSOHV\VWHPFRQVLVWLQJRIVHOIVWDQGDUGVDQG

DWWHQWLRQDOIRFXVZDVDVVXPHGWRRSHUDWHDFFRUGLQJWR*HVWDOWFRQVLVWHQF\SULQFLSOHV +HLGHU

 :KHQHYHUDGLVFUHSDQF\EHWZHHQVHOIDQGVWDQGDUGVRFFXUUHGWKHGHFLVLRQPDNHU

H[SHULHQFHGQHJDWLYHDIIHFWDQGEHFDXVHRIWKLVDYHUVLYHVWDWHVKHZDVPRWLYDWHGWRUHVWRUH

FRQVLVWHQF\ $URQVRQ&RKHQ 1DLO 

       3UHYLRXVUHVHDUFKKDVVKRZQWKDWHYHQVXEWOHFXHVFDQDFWLYDWHDWWHQWLRQWRWKHVHOIDQG

OHDGWRVXUSULVLQJO\SRZHUIXOHIIHFWVRQFRQVHTXHQWEHKDYLRU)RUH[DPSOHZKHQSOD\LQJDQ

DQRQ\PRXVHFRQRPLFJDPHSHRSOHDUHPRUHJHQHURXVZKHQWKHUHLVHYHQWKHQXDQFHGSUHVHQFH

RIH\HOLNHVKDSHVLQWKHFRPSXWHUEDFNJURXQG +DOH\ )HVVOHU5LJGRQ,VKLL:DWDEH 

.LWD\DPD ,QDPRUHQDWXUDOLVWLFVHWWLQJUHVHDUFKHUVKDYHH[DPLQHGWKHHIIHFWRIDQLPDJH

RIDSDLURIH\HVRQWKHDPRXQWRIPRQH\SHRSOHSXWLQWRDSD\RQ\RXUKRQRUFDVKER[ZKHQ

FRQVXPLQJFRIIHH:KHQH\HVZHUHGLVSOD\HGRQWKHFRQWULEXWLRQVER[LQVWHDGRIIORZHUVQHDUO\

WKUHHWLPHVWKHDPRXQWRIPRQH\ZDVFROOHFWHG %DWHVRQ1HWWOH 5REHUWV ,QWKH

GRPDLQRIVHOIUHSRUWLQJLQGLYLGXDOVZKRZHUHH[SRVHGWRWKH7HQ&RPPDQGPHQWVRUUHDGDQG

VLJQHGDQKRQRUFRGHZHUHVXEVHTXHQWO\OHVVOLNHO\WRLQIODWHWKHLUSHUIRUPDQFHRQDWDVNLQ

ZKLFKWKH\ZHUHSDLGEDVHGRQSHUIRUPDQFH 0D]DUHWDO6KXHWDO 

       2QHZD\WRH[SODLQWKHDERYHILQGLQJVLVWKDWWKHVHVLPSOHHQYLURQPHQWDOPDQLSXODWLRQV

H\HVFRGHVRIFRQGXFWHWF PDGHHWKLFVPRUHVDOLHQWWKDWLVWKH\PDGHSHRSOHSD\JUHDWHU

DWWHQWLRQWRWKHLUPRUDOVWDQGDUGVDQGVFUXWLQL]HWKHHWKLFDOLW\RIWKHLURZQEHKDYLRU$VD

FRQVHTXHQFHPRUDOVDOLHQF\GHFUHDVHGSHRSOH¶VWHQGHQF\WRHQJDJHLQGLVKRQHVWDFWVDQG

LQFUHDVHGWKHULJLGLW\RIWKHLUMXGJPHQWVRIHWKLFDOLW\<HWWKHHIIHFWLYHQHVVRIWKHVH
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 989 of 1282




                                                                             0DNLQJ(WKLFV6DOLHQW


PDQLSXODWLRQVLQPDNLQJPRUDOLW\VDOLHQWZDVQRWWHVWHGGLUHFWO\EXWDVVXPHGE\REVHUYLQJ

GLIIHUHQFHVLQXQHWKLFDOEHKDYLRUIROORZLQJWKHYDULRXVPDQLSXODWLRQV,QWKHFXUUHQWZRUNZH

H[SOLFLWO\WHVWWKLVOLQNE\HPSOR\LQJDQLPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\

       %XLOGLQJRQUHVHDUFKWKDWWKHVHOILVPDOOHDEOH VHHHJ6KLK3LWWLQVN\ $PEDG\

 DQGSURQHWRHYHQVXEWOHSULPHVLQWKHHQYLURQPHQWZHH[DPLQHDVSHFLILFW\SHRISULPH

WKDWFDQEHHDVLO\LPSOHPHQWHGLQYDULRXVUHDOZRUOGFRQWH[WVVLJQLQJRQH¶VQDPH6LJQLQJKDV

EHHQVKRZQWRDFWLYDWHVHOILGHQWLW\LQWKHGRPDLQRIFRQVXPHUEHKDYLRU)RUH[DPSOH.HWWOH

DQG+lXEO LQSUHVV VKRZHGWKDWVLJQLQJ DVRSSRVHGWRSULQWLQJ RQH¶VQDPHLQFUHDVHG

FRQVXPHUV¶HQJDJHPHQWZKHQVKRSSLQJIRUSURGXFWVFORVHO\DVVRFLDWHGZLWKWKHLUVHOILGHQWLWLHV

DQGGHFUHDVHGHQJDJHPHQWZKHQVKRSSLQJIRUSURGXFWVGLVWDQWIURPWKHLUVHOILGHQWLWLHV:HWXUQ

WRWKHTXHVWLRQRIPRUDOLW\DQGWHVWZKHWKHUWKHDFWRIVLJQLQJRQH¶VQDPHEHIRUHUDWKHUWKDQDIWHU

DVHOIUHSRUWWDVNEULQJVLQWRIRFXVRQH¶VPRUDOFRPSDVVDQGHWKLFDOVWDQGDUGVDQGVXEVHTXHQWO\

GLVFRXUDJHVGLVKRQHVWDFWLRQV

       0DQ\FRQWH[WVUHTXLUHVLJQLQJRQH¶VQDPHDVDPHDQVRIDXWKHQWLFDWLRQEXWDOPRVWDOO

WKHVHFRQWH[WVUHTXLUHWKHVLJQDWXUHDIWHUVHOIUHSRUWLQJDQGQRWSULRU:HSURSRVHWKDWVLJQLQJ

RQH¶VQDPHDIWHUDVHOIUHSRUWLQJWDVNLVDQLQHIIHFWLYHZD\WRUHFUXLWDWWHQWLRQWRHWKLFDO

VWDQGDUGVGXHWRFRJQLWLYHGLVVRQDQFHDQGPRUDOGLVHQJDJHPHQW&RJQLWLYHGLVVRQDQFHDULVHV

ZKHQWKHUHLVGLVFUHSDQF\EHWZHHQLQGLYLGXDOV¶DFWLRQVDQGWKHLUEHOLHIVRUDWWLWXGHVWRZDUGV

WKHVHDFWLRQV )HVWLQJHU &DUOVPLWK$URQVRQ&RKHQ 1DLO %HFDXVHSHRSOH

ZDQWWRSHUFHLYHWKHPVHOYHVDVPRUDO $TXLQR 5HHG GLVKRQHVWEHKDYLRUWKDWFRXOG

SRWHQWLDOO\OHDGWRVHOIFULWLFLVPLQGXFHVGLVVRQDQFHPRWLYDWLRQRU³SV\FKRORJLFDOGLVFRPIRUW

WKDWPRWLYDWHVRUµGULYHV¶WKHDWWLWXGHFKDQJHSURFHVV´ )D]LR &RRSHUS ,QWKH

GRPDLQRIHWKLFVWKLVVXFKSRWHQWLDOSV\FKRORJLFDOGLVFRPIRUWFDQEHHOLPLQDWHGLQWZRZD\V
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 990 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 991 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 992 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 993 of 1282




                                                                             0DNLQJ(WKLFV6DOLHQW


WKDWMXVWDVLPSOHFKDQJHLQWKHORFDWLRQRIRQH¶VRZQVLJQDWXUHFDQJUHDWO\LQIOXHQFHWKHH[WHQW

WRZKLFKSHRSOHPLVUHSRUWLQIRUPDWLRQWRDGYDQFHWKHLURZQVHOILQWHUHVW

                        ([SHULPHQW$/DE([SHULPHQWZLWK7D[5HWXUQV

       7RWHVWWKHUREXVWQHVVRIRXUILQGLQJVZHFRQGXFWHGDVHFRQGH[SHULPHQWLQWKH

ODERUDWRU\XVLQJDVLPLODUVLJQLQJPDQLSXODWLRQEXWLQDGLIIHUHQWGRPDLQILOOLQJRXWDWD[UHWXUQ

IRUP,QWKLVH[SHULPHQWZHDOVRDGGHGDFRQWUROFRQGLWLRQWRH[DPLQHWKHHIIHFWRIWKHVLJQDWXUH

ORFDWLRQVLJQLQJZKHWKHUVLJQLQJSULRUWRWKHRSSRUWXQLW\WRFKHDWHQFRXUDJHVKRQHVW\RU

ZKHWKHUVLJQLQJDIWHUZDUGVHQFRXUDJHVXQHWKLFDOEHKDYLRU

0HWKRG

        3DUWLFLSDQWV2QHKXQGUHGDQGRQHVWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKH

H[SHULPHQWIRUSD\7KH\UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDO

PRQH\WKURXJKRXWWKHH[SHULPHQW

        'HVLJQDQG3URFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWKUHHFRQGLWLRQV 

6LJQDWXUHDWWKHWRSRIWKHWD[UHWXUQIRUP LHEHIRUHILOOLQJLWRXW  6LJQDWXUHDWWKHERWWRPRI

WKHWD[UHWXUQIRUP LHDIWHUILOOLQJLWRXW RU 1RVLJQDWXUH FRQWUROFRQGLWLRQ 7KHVWDWHPHQW

WKDWSDUWLFLSDQWVKDGWRVLJQDVNHGWKHPWRGHFODUHWKDWWKH\FDUHIXOO\H[DPLQHGWKHUHWXUQDQG

WKDWWRWKHEHVWRIWKHLUNQRZOHGJHDQGEHOLHILWZDVFRUUHFWDQGFRPSOHWH$WWKHEHJLQQLQJRI

HDFKVHVVLRQSDUWLFLSDQWVZHUHJLYHQLQVWUXFWLRQVWRWKHH[SHULPHQW7KHLQVWUXFWLRQVLQIRUPHG

WKHPWKDWWKH\ZRXOGILUVWFRPSOHWHDSUREOHPVROYLQJWDVNXQGHUWLPHSUHVVXUH LHWKH\ZRXOG

KDYHILYHPLQXWHVWRFRPSOHWHWKHWDVN ,QDGGLWLRQWKHLQVWUXFWLRQVDOVRLQFOXGHGWKHIROORZLQJ

LQIRUPDWLRQ³)RUWKHSUREOHPVROYLQJWDVN\RXZLOOEHSDLGDKLJKHUDPRXQWWKDQZKDWZH
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 994 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 995 of 1282
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 996 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


WKRVHQXPEHUVGLIIHUHGIRUDQLQGLYLGXDOWKDWGLIIHUHQFHUHSUHVHQWHGWKDWLQGLYLGXDO¶VOHYHORI

FKHDWLQJ

5HVXOWV

       )LUVWZHH[DPLQHGWKHSHUFHQWDJHRISDUWLFLSDQWVZKRFKHDWHGE\RYHUVWDWLQJWKHLU

SHUIRUPDQFHRQWKHSUREOHPVROYLQJWDVNZKHQDVNHGWRUHSRUWLWRQWKHWD[UHWXUQIRUP7KLV

SHUFHQWDJHYDULHGDFURVVFRQGLWLRQVȤ 1  S 7KHQXPEHURIFKHDWHUVZDV

ORZHVWLQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ RXWRI KLJKHULQWKHVLJQDWXUHDWWKH

ERWWRPFRQGLWLRQ RXWRI DQGVRPHZKDWLQEHWZHHQWKRVHWZREXWPRUHVLPLODUWR

WKHODWWHUIRUWKHQRVLJQDWXUHFRQGLWLRQ RXWRI 

       %RWKDFWXDODQGUHSRUWHGSHUIRUPDQFHVRQWKHPDWUL[VHDUFKWDVNDUHGHSLFWHGLQ)LJXUH

$VGHSLFWHGWKHQXPEHURIPDWULFHVRYHUUHSRUWHGLQWKHWD[UHWXUQIRUPVYDULHGE\FRQGLWLRQ

)  SȘ LWZDVORZHVWLQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ 0 

6'  DQGKLJKHULQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 6' S DQGLQ

WKHQRVLJQDWXUHFRQGLWLRQ 0 6' S 7KHGLIIHUHQFHEHWZHHQWKHVHWZRODWWHU

FRQGLWLRQVZDVRQO\PDUJLQDOO\VLJQLILFDQW S $QDO\VHVRIGLIIHUHQFHVEHWZHHQUHSRUWHG

DQGDFWXDOSHUIRUPDQFHUHYHDOHGWKHVDPHSDWWHUQRIUHVXOWV

       7KHFUHGLWVIRUH[WUDH[SHQVHVWKDWSDUWLFLSDQWVFODLPHGLQWKHWD[UHWXUQIRUPVDOVRYDULHG

E\FRQGLWLRQ)  SȘ  VHH)LJXUH 3DUWLFLSDQWVFODLPHGWKHOHDVWH[SHQVHV

LQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ 0 6'  DQGPRUHH[SHQVHVLQWKHVLJQDWXUHDW

WKHERWWRP 0 6' S DQGWKHQRVLJQDWXUHFRQGLWLRQV 0 6' 

S 7KHGLIIHUHQFHEHWZHHQWKHVHWZRODWWHUFRQGLWLRQVZDVQRWVLJQLILFDQW S  7KH

VLJQLILFDQFHDQGQDWXUHRIWKHUHVXOWVGRQRWFKDQJHZKHQFRQVLGHULQJWKHWZRW\SHVRIH[SHQVHV

VHSDUDWHO\
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 997 of 1282




                                                                               0DNLQJ(WKLFV6DOLHQW


'LVFXVVLRQ

       7KHUHVXOWVRI([SHULPHQWSURYLGHIXUWKHUHYLGHQFHIRURXUK\SRWKHVLVWKDWVLJQLQJ

RQH¶VQDPHSULRUWRDWDVNOHDGVWRORZHUOHYHOVRIFKHDWLQJWKDQVLJQLQJDWWKHHQG([SHULPHQW

DOVRLQFOXGHGDFRQWUROFRQGLWLRQLQZKLFKSDUWLFLSDQWVGLGQRWVLJQDQ\WKLQJ2XUUHVXOWVVXJJHVW

WKDWWKHHIIHFWRIWKHVLJQDWXUHORFDWLRQLVGULYHQE\WKHVLJQLQJDWWKHWRSFRQGLWLRQVLJQLQJSULRU

WRDVHOIUHSRUWLQJWDVNSURPRWHGKRQHVWUHSRUWLQJEXWVLJQLQJDIWHUZDUGVGLGQRWSURPRWH

FKHDWLQJ

                       ([SHULPHQW,QFUHDVHG6DOLHQF\RI(WKLFDO6WDQGDUGV

        7KXVIDUZHKDYHGHPRQVWUDWHGWKDWVLJQLQJRQH¶VQDPHEHIRUHKDYLQJDQRSSRUWXQLW\WR

FKHDWGLVFRXUDJHVXQHWKLFDOEHKDYLRU2XULPSOLFLWDVVXPSWLRQXQGHUO\LQJWKLVILQGLQJZDVWKDW

VLJQLQJEHIRUHWKHRSSRUWXQLW\WRFKHDWUDWKHUWKDQDIWHUZDUGVLVPRUHOLNHO\WRUDLVHWKHVDOLHQF\

RIPRUDOVWDQGDUGV:HWHVWHGWKLVK\SRWKHVLVPRUHGLUHFWO\LQRXUWKLUGH[SHULPHQWWKURXJK

PHDVXULQJWKHH[WHQWWRZKLFKVLJQLQJEHIRUHUDWKHUWKDQDIWHUWKHRSSRUWXQLW\WRFKHDWLQFUHDVHV

WKHDFFHVVLELOLW\RIZRUGVUHODWHGWRHWKLFVDQGPRUDOLW\)ROORZLQJSULRUUHVHDUFKPHDVXULQJ

LPSOLFLWFRJQLWLYHSURFHVVHV %DVVLOL 6PLWK7XOYLQJ6FKDFWHU 6WDUN ZHXVHG

DZRUGFRPSOHWLRQWDVNLQZKLFKSDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHYDULRXVZRUGIUDJPHQWV

ZLWKWKHILUVWOHWWHUVZRUGVWKDWFDPHWRPLQG

0HWKRG

        'HVLJQDQG3URFHGXUH([SHULPHQWHPSOR\HGRQHEHWZHHQVXEMHFWVIDFWRUZLWKWZR

OHYHOVVLJQDWXUHDWWKHWRSLHEHIRUHILOOLQJRXWDIRUPYHUVXVDWWKHERWWRPLHDIWHUILOOLQJ

RXWDIRUP7KHH[SHULPHQWHPSOR\HGWKHVDPHWDVNDQGSURFHGXUHRI([SHULPHQWEXWYDULHG

WKHLQFHQWLYHVIRUWKHSHUIRUPDQFHWDVNWKHWD[UDWHDQGWKHWD[UHWXUQIRUPVSDUWLFLSDQWV

FRPSOHWHG3DUWLFLSDQWVLQWKLVH[SHULPHQWZHUHSDLG UDWKHUWKDQ IRUHDFKPDWUL[SX]]OH
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 998 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


VXFFHVVIXOO\VROYHGDQG7KH\ZHUHDOVRWD[HGDWDKLJKHUUDWHRISHUFHQW)LQDOO\WKHWD[

IRUPVZHUHPRGLILHGVXFKWKDWWKH\PLPLFNHGWKHIORZRIDFWXDOWD[UHSRUWLQJSUDFWLFHVLQWKH

8QLWHG6WDWHV'HGXFWLRQVZHUHILUVWVXEWUDFWHGIURPJURVVLQFRPHWRFRPSXWHWD[DEOHLQFRPH

WKHQWD[HVZHUHSDLGRQWKLVDGMXVWHGDPRXQW VHH$SSHQGL[%IRUDQH[DPSOHRIWKHIRUPVXVHG 

        ,QDGGLWLRQ$IWHUILOOLQJRXWWKHWD[UHWXUQIRUPVSDUWLFLSDQWVZHUHDVNHGWRFRPSOHWHD

ZRUGFRPSOHWLRQWDVN7KHWDVNLQVWUXFWLRQVLQIRUPHGSDUWLFLSDQWVWKDWWKH\ZRXOGKDYHWR

FRQYHUWZRUGIUDJPHQWVLQWRPHDQLQJIXOZRUGV3DUWLFLSDQWVUHFHLYHGDOLVWRIVL[ZRUGIUDJPHQWV

ZLWKOHWWHUVPLVVLQJDQGZHUHDVNHGWRILOOLQWKHEODQNVWRPDNHFRPSOHWHZRUGVE\XVLQJWKH

ILUVWZRUGWKDWFDPHWRPLQG7KUHHRIWKHVHZRUGIUDJPHQWV BB5$/B,BBB(DQG(BBB

&BB FRXOGEHFRPSOHWHGDVHWKLFVUHODWHGZRUGV PRUDOYLUWXHDQGHWKLFDO RUDVHWKLFVQHXWUDO

ZRUGV HJYLUDOWLVVXHDQGHIIHFWV 

        3DUWLFLSDQWV6L[W\VWXGHQWVDQGHPSOR\HHVDWORFDOXQLYHUVLWLHVLQWKH6RXWKHDVWHUQ8QLWHG

6WDWHV 0DJH 6' PDOHVWXGHQWV FRPSOHWHGWKHH[SHULPHQWIRUSD\7KH\

UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

H[SHULPHQW

5HVXOWV

       /HYHORIFKHDWLQJ:HILUVWH[DPLQHGWKHSHUFHQWDJHRISDUWLFLSDQWVZKRFKHDWHGE\

RYHUVWDWLQJWKHLUSHUIRUPDQFHRQWKHPDWUL[WDVNZKHQILOOLQJRXWWKHWD[UHWXUQIRUP7KLV

SHUFHQWDJHZDVORZHULQWKHVLJQDWXUHDWWKHWRSFRQGLWLRQ RXWRI WKDQLQWKH

VLJQDWXUHDWWKHERWWRPFRQGLWLRQ RXWRI Ȥ 1  S

       )LJXUHGHSLFWVDFWXDOSHUIRUPDQFHRQWKHPDWUL[WDVNDQGUHSRUWHGSHUIRUPDQFHRQWKH

WD[UHWXUQIRUPE\FRQGLWLRQ7KHGLIIHUHQFHEHWZHHQWKHUHSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKH

PDWUL[WDVNZDVRXUSUR[\IRUFKHDWLQJ7KLVGLIIHUHQFHZDVORZHULQWKHVLJQDWXUHDWWKHWRS
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 999 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


FRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ 0 6'  

W  S:LWKLQVXEMHFWVDQDO\VHVXVLQJERWKUHSRUWHGDQGDFWXDOSHUIRUPDQFH

UHYHDOHGWKHVDPHSDWWHUQRIUHVXOWV

         7KHGHGXFWLRQVSDUWLFLSDQWVUHSRUWHGLQWKHWD[UHWXUQIRUPIROORZHGWKHVDPHSDWWHUQDQG

YDU\YDULHGVLJQLILFDQWO\E\FRQGLWLRQ)  SȘ WKH\ZHUHORZHULQWKH

VLJQDWXUHDWWKHWRSFRQGLWLRQ 0 6'  WKDQLQWKHVLJQDWXUHDWWKHERWWRPFRQGLWLRQ

    0 6'  :HREWDLQHGWKHVDPHUHVXOWVZKHQFRQVLGHULQJHDFKW\SHRIGHGXFWLRQV

VHSDUDWHO\

          :RUGIUDJPHQWWDVN$VZHSUHGLFWHGSDUWLFLSDQWVZKRVLJQHGWKHKRQHVW\SOHGJHEHIRUH

KDYLQJWKHRSSRUWXQLW\WRFKHDWJHQHUDWHGPRUHHWKLFVUHODWHGZRUGV 0 6'  WKDQ

WKRVHZKRVLJQHGDWWKHERWWRPRIWKHIRUP 0 6'  )  SȘ 

VXJJHVWLQJWKDWWKHDFWRIVLJQLQJSULRUWRWKHWHPSWDWLRQWRFKHDWLQFUHDVHGWKHDFFHVVLELOLW\RI

HWKLFVUHODWHGFRQFHSWV

          0HGLDWLRQDQDO\VHV:HDOVRWHVWHGZKHWKHUHWKLFVUHODWHGFRQFHSWV RXUSUR[\IRU

VDOLHQF\RIPRUDOVWDQGDUGV PHGLDWHGWKHHIIHFWRIFRQGLWLRQRQWKHH[WHQWRIFKHDWLQJZKHQ

UHSRUWLQJWKHSHUIRUPDQFHRQWKHPDWUL[WDVNRQWKHWD[UHWXUQIRUP%RWKFRQGLWLRQDQGWKH

QXPEHURIHWKLFVUHODWHGFRQFHSWVZHUHHQWHUHGLQWRDOLQHDUUHJUHVVLRQPRGHOSUHGLFWLQJH[WHQW

RIFKHDWLQJPHDVXUHGE\WKHOHYHORIRYHUUHSRUWLQJRILQFRPH ZHIRXQG1RWHWKDWWKHVDPH

UHVXOWVDUHIRXQGZKHQFRQVLGHULQJGHGXFWLRQVDVWKHGHSHQGHQWYDULDEOH 7KLV7KHPHGLDWLRQ

DQDO\VLVUHYHDOHGWKDWWKHHIIHFWRIFRQGLWLRQZDVVLJQLILFDQWO\UHGXFHG IURPȕ SWR

ȕ S  DQGWKDWWKHQXPEHURIHWKLFVUHODWHGFRQFHSWVZDVDVLJQLILFDQWSUHGLFWRURI

FKHDWLQJ ȕ S 8VLQJWKHERRWVWUDSSLQJPHWKRG ZLWKLWHUDWLRQV 

UHFRPPHQGHGE\3UHDFKHUDQG+D\HV  ZHWHVWHGWKHVLJQLILFDQFHRIWKHLQGLUHFWHIIHFWRI
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1000 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1001 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


H[WHQGWKHJHQHUDOL]DELOLW\RIRXUILQGLQJVLQ([SHULPHQWZHHPSOR\HGDGLIIHUHQWFKHDWLQJ

WDVN

0HWKRG

         'HVLJQDQG3SURFHGXUH3DUWLFLSDQWVZHUHUDQGRPO\DVVLJQHGWRRQHRIWZRFRQGLWLRQV

6LJQDWXUHILUVWYHUVXVFRQWURO$FURVVERWKFRQGLWLRQVWKHLQVWUXFWLRQVGHVFULEHGWKHH[SHULPHQW

DVIRFXVLQJRQSHUIRUPDQFHXQGHUSUHVVXUH3DUWLFLSDQWVZHUHDVNHGWRDQVZHUDTXHVWLRQ

JHQHUDONQRZOHGJHWHVWRIPHGLXPGLIILFXOW\ HJ³+RZPDQ\86VWDWHVERUGHU0H[LFR"´³,Q

ZKLFK86VWDWHLV0RXQW5XVKPRUHORFDWHG"´ DQGUHFHLYHGIRUHDFKFRUUHFWDQVZHU LQ

DGGLWLRQWRDVKRZXSIHH 3DUWLFLSDQWVZHUHJLYHQPLQXWHVWRDQVZHUWKHTXHVWLRQV

         2QFHWKHILIWHHQPLQXWHVZHUHRYHUWKHH[SHULPHQWHUGLVWULEXWHGDVHWRIPDWHULDOV

FRQVLVWLQJILUVWRIWKHZRUGIUDJPHQWWDVNHPSOR\HGLQ([SHULPHQW2QO\DIWHUWKHSDUWLFLSDQWV

FRPSOHWHGWKLVWDVNGLGWKHH[SHULPHQWHUGLVWULEXWHWKHDQVZHUVKHHWZLWKWKHFRUUHFWDQVZHUVWR

WKHJHQHUDOO\NQRZOHGJHTXHVWLRQVWRJHWKHUZLWKDFROOHFWLRQVOLSVRWKDWSDUWLFLSDQWVFRXOG

UHSRUWWKHLUSHUIRUPDQFHDIWHUFKHFNLQJWKHLUDQVZHUV)LQDOO\S3DUWLFLSDQWVZHUHDVNHGWR

UHF\FOHWKURZWKHLUWHVWVKHHWZLWKWKHJHQHUDONQRZOHGJHTXHVWLRQVDQGWKHLUDQVZHUVLQWRWKH

UHF\FOLQJELQDQGWRMXVWRQO\VXEPLWWKHFROOHFWLRQVOLSWRWKHH[SHULPHQWHUIRUSD\PHQW

3DUWLFLSDQWV¶ODE,'ZDVUHSRUWHGRQERWKIRUPV,QWKLVZD\ZHZHUHDEOHWRDVVXUHDQRQ\PLW\

EXWZHZHUHDOVRDEOHWRWUDFNWKHH[WHQWWRZKLFKHDFKSDUWLFLSDQWRYHUUHSRUWHGSHUIRUPDQFHRQ

WKHJHQHUDONQRZOHGJHWHVW

         +DOIRIWKHSDUWLFLSDQWVUHFHLYHGDQDGGLWLRQDOPHVVDJHZKLFKWKH\ZHUHDVNHGWRUHDG

DIWHUWKHJHQHUDONQRZOHGJHWHVWEXWEHIRUHVROYLQJWKHZRUGIUDJPHQWWDVN7KHPHVVDJH

LQFOXGHGDSOHGJHRIKRQHVW\SDUWLFLSDQWVZHUHDVNHGWRVLJQ³,SURPLVHWKDW,ZLOOUHSRUW

LQIRUPDWLRQDERXWP\SHUIRUPDQFHRQWKHWULYLDWHVWWUXWKIXOO\´ VLJQDWXUHILUVWFRQGLWLRQ 7KH
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1002 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


RWKHUKDOIRIWKHSDUWLFLSDQWVGLGQRWUHFHLYHWKLVPHVVDJH FRQWURO :HK\SRWKHVL]HGWKDWWKRVH

ZKRUHFHLYHGDQGVLJQHGWKHSOHGJHRIKRQHVW\ZRXOGEHPRUHOLNHO\WRUHSRUWWKHLUSHUIRUPDQFH

WUXWKIXOO\ + DQGWKDWVLJQLQJWKHSOHGJHZRXOGOHDGSDUWLFLSDQWVWRFRPSOHWHWKHZRUG

IUDJPHQWWDVNZLWKDKLJKHUQXPEHURIHWKLFVUHODWHGZRUGV + ZKLFKZRXOGPHGLDWHWKHHIIHFW

RIWKHVLJQDWXUHRQFKHDWLQJ + 

       3DUWLFLSDQWV(LJKW\WZRFROOHJHDQGJUDGXDWHVWXGHQWVDWORFDOXQLYHUVLWLHVLQWKH

6RXWKHDVWHUQ8QLWHG6WDWHV 0DJH 6' PDOH FRPSOHWHGWKHH[SHULPHQWIRUSD\

7KH\UHFHLYHGDVKRZXSIHHDQGKDGWKHRSSRUWXQLW\WRHDUQDGGLWLRQDOPRQH\WKURXJKRXWWKH

H[SHULPHQW

5HVXOWVDQG'LVFXVVLRQ

       $VLQWKHSUHYLRXVVWXGLHVZHFRPSXWHGWKHGLIIHUHQFHEHWZHHQVHOIUHSRUWHG

SHUIRUPDQFHDQGDFWXDOSHUIRUPDQFHRQWKHJHQHUDONQRZOHGJHWDVNE\PDWFKLQJSDUWLFLSDQWV¶

XQLTXHVWXG\,'VWKDWZHUHGHQRWHGRQHDFKVXUYH\IRUP7KLVGLIIHUHQFHVFRUHVHUYHGDVRXU

SUR[\IRUFKHDWLQJ3RVLWLYHGLIIHUHQFHVFRUHVLQGLFDWHGWKDWSDUWLFLSDQWVRYHUUHSRUWHGWKHLU

SHUIRUPDQFHDQGFKHDWHGRQWKHWDVNVRWKDWWKH\FRXOGPDNHPRUHPRQH\

       :KHQH[DPLQLQJWKHSHUIRUPDQFHGLIIHUHQFHVFRUHVRQWKHWULYLDWHVWZHIRXQGWKDWLQ

FRPSDULVRQWRWKHFRQWUROFRQGLWLRQFKHDWLQJZDVVLJQLILFDQWO\UHGXFHGLQWKHVLJQDWXUHILUVW

FRQGLWLRQ 0 6' YV0 6'  W  S 6XSSRUWLQJWKHVH

UHVXOWVWKHSHUFHQWDJHRISDUWLFLSDQWVZKRRYHUVWDWHGWKHLUSHUIRUPDQFHZDVKLJKHULQWKH

FRQWUROFRQGLWLRQWKDQLQWKHVLJQDWXUHILUVWFRQGLWLRQ >@YV>@ Ȥ 

1  S 

       6LJQLQJEHIRUHWKHRSSRUWXQLW\WRRYHUUHSRUWSHUIRUPDQFHDOVRLQIOXHQFHGWKHQXPEHURI

HWKLFVUHODWHGFRQFHSWVSDUWLFLSDQWVFDPHXSZLWKLQWKHZRUGIUDJPHQWWDVN3DUWLFLSDQWVLQWKH
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1003 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1004 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


HWKLFVPRUHVDOLHQW,Q([SHULPHQWZHFRQGXFWHGDILHOGH[SHULPHQWZLWKDQDXWRPRELOH

LQVXUDQFHFRPSDQ\LQZKLFKZHYDULHGZKHWKHUFXVWRPHUVUHSRUWLQJWKHQXPEHURIPLOHVWKH\

GURYHVLJQHGWKHLUQDPHVEHIRUHRUDIWHUUHSRUWLQJWKHPLOHDJHQXPEHU2XUUHVXOWVVKRZHGWKDW

FXVWRPHUVUHSRUWHGGULYLQJDKLJKHUQXPEHURIPLOHV LHWKH\FKHDWHGOHVV ZKHQWKH\SHQQHG

WKHLUVLJQDWXUHEHIRUHILOOLQJRXWWKHIRUPWKDQDIWHUWKHGLIIHUHQFHDPRXQWHGWR&XVWRPHUV

UHSRUWHGGULYLQJPRUHPLOHVSHUFDUZKHQWKH\VLJQHGDWWKHEHJLQQLQJRIWKHIRUPUDWKHU

WKDQDWWKHHQG:HHVWLPDWHGWKHSHUPLOHFRVWRIDXWRPRELOHLQVXUDQFHVLQWKH86WREH

EHWZHHQIRXUDQGWHQFHQWVVXJJHVWLQJDPLQLPXPRIDYHUDJHGLIIHUHQFHLQDQQXDOLQVXUDQFH

SUHPLXPSHUFDUEHWZHHQFXVWRPHUVLQWKHWZRFRQGLWLRQV$VNLQJFXVWRPHUVWRVLJQDWWKHVWDUW

RIWKHIRUPOHGWRDLQLQFUHDVHLQUHSRUWHGPLOHVGULYHQRYHUWKHFXUUHQWSUDFWLFHRI

DVNLQJIRUDVLJQDWXUHDWWKHHQG$QLPSRUWDQWFRQVHTXHQFHRIIDOVHUHSRUWLQJRIWKLVW\SHLVWKDW

WKHFRVWVH[WHQGEH\RQGWKHLQVXUHUWRLWVHQWLUHFXVWRPHUEDVH²LQFOXGLQJWKHKRQHVWSROLF\

KROGHUV0RUHRYHUWKHFRQVHTXHQFHVRIVXFKGLVKRQHVW\FDQEHVWDJJHULQJLQRWKHUGRPDLQVWKDW

UHO\RQWUXWKIXOVHOIUHSRUWVVXFKDVWD[HV

        ,Q([SHULPHQWVDQGZHPRYHGIURPDILHOGH[SHULPHQWLQDQDXWRPRELOHLQVXUDQFH

VHWWLQJWRDFRQWUROOHGODERUDWRU\H[SHULPHQVWLQDWD[VHWWLQJ,QERWKH[SHULPHQWVSDUWLFLSDQWV

KDGWKHRSSRUWXQLW\WRVLJQDWD[IRUPHLWKHUEHIRUHRUDIWHUPDNLQJFODLPVUHJDUGLQJWKHLU

SHUIRUPDQFHRQDWDVNDQGWKHLUHQFRXQWHUHGFRVWVWRSDUWLFLSDWHLQRXUH[SHULPHQWV3URYLGLQJ

IXUWKHUVXSSRUWIRUWKHUHVXOWVRIWKHILHOGH[SHULPHQWWKHILQGLQJVRI([SHULPHQWVDQG

GHPRQVWUDWHGWKDWVLJQLQJDSOHGJHRIKRQHVW\EHIRUH EXWQRWDIWHU WKHRSSRUWXQLW\WRFKHDW

GLVFRXUDJHGGLVKRQHVW\,QDGGLWLRQ([SHULPHQWVKRZHGWKDWLWZDVWKH³VLJQLQJEHIRUH´


 7KLVUDQJHZDVGHWHUPLQHGIURPFRPSDULQJXVDJHEDVHGLQVXUDQFH²DOVRNQRZQDV3$<'RUSD\DV
\RXGULYH²RIIHUHGLQ7H[DVLQ KWWSZZZFHQWVSHUPLOHQRZRUJ*DUPDSGI DQGFDOFXODWLQJ
WKHSUHPLXPVIRUGLIIHUHQWVFHQDULRVRIFDUPDNHEUDQGPRGHOPLOHDJHDQGEX\HUGHPRJUDSKLFRQWZR
DXWRPRELOHLQVXUDQFHSROLF\VLWHV PLOHPHUFRPDQGWUXHGHOWDFRP 
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1005 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


FRQGLWLRQWKDWGHFUHDVHGFKHDWLQJDQGQRWWKH³VLJQLQJDIWHU´FRQGLWLRQWKDWLQFUHDVHGFKHDWLQJ

)XUWKHUPRUH([SHULPHQWSURYLGHGHYLGHQFHIRUWKHK\SRWKHVLVWKDW³VLJQLQJEHIRUH´UDLVHGWKH

VDOLHQF\RIHWKLFDOVWDQGDUGVZKLFKLQWXUQOHGWRPRUHWUXWKIXOVHOIUHSRUWLQJ)LQDOO\

([SHULPHQWIXUWKHUH[DPLQHGWKHXQGHUO\LQJSV\FKRORJLFDOSURFHVVWKDWOLQNVWKHDFWRIVLJQLQJ

EHIRUHILOOLQJRXWDIRUPZLWKWKHOLNHOLKRRGRIFKHDWLQJ7KHH[SHULPHQWLQFOXGHGWKHVDPH

LPSOLFLWPHDVXUHRIHWKLFDOVDOLHQF\DVLQ([SHULPHQWSDUWLFLSDQWVZHUHDVNHGWRFRPSOHWH

ZRUGIUDJPHQWVE\XVLQJWKHILUVWZRUGWKDWFDPHWRPLQG:HIRXQGWKDWWKHDFWRIVLJQLQJRQH¶V

QDPHSULRUWRDWDVNLQFUHDVHGWKHVDOLHQF\RIHWKLFDOVWDQGDUGVDQGWKLVKHLJKWHQHGVDOLHQF\

PHGLDWHGWKHUHODWLRQVKLSEHWZHHQVLJQLQJDSOHGJHRIKRQHVW\EHIRUHKDYLQJWKHRSSRUWXQLW\WR

FKHDWDQGVXEVHTXHQWGLVKRQHVWEHKDYLRU

7KHRUHWLFDO&RQWULEXWLRQ

      7KHFRQWULEXWLRQRIWKHSUHVHQWUHVHDUFKLVWZRIROG)LUVWRXUILQGLQJVFRQWULEXWHWRWKH

OLWHUDWXUHRQKRZVHOIDZDUHQHVV 'XYDO :LFNOXQG FDQQXGJHSHRSOH¶VEHKDYLRUIRUWKH

EHWWHU7KHDFWRIVLJQLQJLQFUHDVHGWKHVDOLHQF\RIWKHLULQGLYLGXDOV¶HWKLFDOVWDQGDUGVDQGDVD

UHVXOWUHGXFHGWKHLUXQHWKLFDOEHKDYLRU-XVWDV+DOH\DQG)HVVOHU  LQFUHDVHGVKDULQJLQDQ

DQRQ\PRXVHFRQRPLFJDPHE\LQWURGXFLQJWKHVXEWOHSULPHRIH\HOLNHVKDSHVLQWKHEDFNJURXQG

RIWKHFRPSXWHUVFUHHQZHSURPRWHGKRQHVWEHKDYLRUE\QXGJLQJSDUWLFLSDQWVWRWXUQWKHLUPRUDO

JD]HLQZDUG²WRWKHLURZQEHKDYLRUPRUDOVWDQGDUGV²E\DVNLQJWKHPWRVLJQWKHLUQDPHXQGHUD

SOHGJHRIKRQRUSULRUWRILOOLQJRXWDQLQVXUDQFHRUWD[UHWXUQIRUP%\LQWURGXFLQJDVOLJKW

FKDQJHWRWKHW\SLFDOGHVLJQRIIRUPVXVHGIRUH[DPSOHE\WKH,56RULQVXUDQFHFRPSDQLHVWKDW

LVE\PRYLQJWKHORFDWLRQRIWKHVLJQDWXUHIURPWKHHQGWRWKHEHJLQQLQJRIDIRUPZHREVHUYHG

DVLJQLILFDQWVKLIWWRZDUGVKRQHVWEHKDYLRU LH,QSDUWLFXODUE\PRYLQJWKHORFDWLRQRIWKH

VLJQDWXUHIURPWKHHQGWRWKHEHJLQQLQJRIDIRUPZHIRXQGPRUHWUXWKIXOUHSRUWLQJOHVV
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1006 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


SHUIRUPDQFHLQIODWLRQOHVVRYHUFODLPLQJRIFUHGLWVDQGIHZHUGHGXFWLRQFODLPV $VLPSOH

QXGJHDWWKHEHJLQQLQJ²UDWKHUWKDQDWWKHHQG²RIRXUWDVNVZDVHQRXJKWRSURGXFHD

PHDQLQJIXOLQFUHDVHLQKRQHVW\

        6HFRQGWKHSUHVHQWZRUNFRQWULEXWHVWRH[LVWLQJUHVHDUFKRQEHKDYLRUDOHWKLFVWKDW

UHFRJQL]HVWKHLPSRUWDQFHRIQRQFRQVFLRXVLQIOXHQFHVRQ XQ HWKLFDOEHKDYLRU HJ%D]HUPDQ

    %DQDML&KXJK.D\:KHHOHU%DUJK 5RVV5H\QROGV/HDYLWW 

'H&HOOHV7HQEUXQVHOHWDO 7RGDWHWKLVUHVHDUFKKDVIRFXVHGSULPDULO\RQKRZ

DXWRPDWLFSURFHVVHVH[DFHUEDWHXQHWKLFDOEHKDYLRU([WHQGLQJWKLVZRUNRXUH[SHULPHQWVKDYHD

SUHYHQWLYHIRFXVDQGLGHQWLI\VXEWOHZD\VRIUDLVLQJWKHVDOLHQF\RIHWKLFDOVWDQGDUGV2XU

UHVHDUFKVKRZVWKDWWKHYHU\VDPHDXWRPDWLFSURFHVVHVWKDWXQFRQVFLRXVO\OHDGDSHUVRQWR

EHKDYHGLVKRQHVWO\PD\EHXVHGWRHQFRXUDJHHWKLFDOEHKDYLRUZKHQLQGLYLGXDOVDUHIDFLQJWKH

WHPSWDWLRQWRFKHDW2XUILQGLQJVDUHLPSRUWDQWLQOLJKWRISULRUUHVHDUFKRQWKHXVHRIH[SOLFLW

LQWHUYHQWLRQVVXFKDVLQWURGXFLQJDFRGHRIHWKLFV :HDYHU7UHYLxR &RFKUDQ WR

GLVFRXUDJHGLVKRQHVW\7KHSUHVHQWZRUNKLJKOLJKWVWKHUROHWKDWVXEWOHLQWHUYHQWLRQVFDQKDYHLQ

SURGXFLQJVLPLODUO\SRZHUIXOUHVXOWVHYHQZLWKRXWLQGLYLGXDOV¶FRQVFLRXVDZDUHQHVV

/LPLWDWLRQVDQG9HQXHVIRU)XWXUH5HVHDUFK

        2XUVWXGLHVXVHGDPLQLPDOWUHDWPHQWSDUDGLJPWRLQGXFHWKHREVHUYHGHIIHFWVZHVKLIWHG

WKHUHTXLUHPHQWDQGORFDWLRQRISDUWLFLSDQWDVLJQDWXUHDQGWKHQREVHUYHGGLIIHUHQFHVLQOHYHOVRI

FKHDWLQJ:HDFNQRZOHGJHDSRWHQWLDOOLPLWDWLRQRIRXUUHVHDUFKLVWKDWZHRQO\VKRZDRQHWLPH

FKDQJHLQEHKDYLRU:HPD\KDYHUHGXFHGFKHDWLQJWKURXJKPRYLQJWKHORFDWLRQRIWKHVLJQDWXUH

EHFDXVHWKHUHLVDQRYHOW\HIIHFWIURPVLJQLQJDWWKHEHJLQQLQJUDWKHUWKDQDWWKHHQGRIDIRUP

:HUHZHWRLPSOHPHQWWKLVPDQLSXODWLRQUHSHDWHGO\LQPXOWLSOHFRQWH[WVRYHUWLPHZHPLJKWQRW

H[SHFWREVHUYHWKHHIIHFWPDJQLWXGHRIWKHHIIHFWWRFRQVLVWHQWO\RFFXUDFURVVWLPHWKDWZHUHSRUW
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1007 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


LQWKLVSDSHU7KLV,WLVDQLPSRUWDQWRSHQTXHVWLRQZKHWKHURXUUHSRUWHGHIIHFWZRXOGKROGRYHU

PXOWLSOHWLPHVDQGWKDWZHKRSHZRXOGLWZLOOLQVSLUHIXUWKHUZRUNEXLOGLQJRQRXUILQGLQJV

8QGHUVWDQGLQJKRZVLPSOHLPSOHPHQWDWLRQVFDQSURGXFHFRQVLVWHQWEHKDYLRUDOFKDQJHVRYHU

WLPHLQKRQHVW\LVFOHDUO\DQLPSRUWDQWUHVHDUFKHQGHDYRU

       7KHUHDUHDOVRSRVVLEOHH[WHQVLRQVRIWKLVRXUSDUDGLJP7KHSRWHQWLDOPDJQLWXGHRIWKLV

WKHHIIHFWUHSRUWHGLQRXUSDSHULQUHDO ZRUOGDSSOLFDWLRQFRXOGEHDPSOLILHGLQUHDOZRUOG

DSSOLFDWLRQE\SUHFHGLQJWKHVLJQDWXUHOLQHZLWKDPRUHH[WHQVLYHVHWRIUXOHVWKDWJXLGHEHKDYLRU

$VDQH[DPSOH6KX*LQRDQG%D]HUPDQ  IRXQGWKDWSDUWLFLSDQWVZKRUHDGDQKRQRU

FRGHSULRUWRDQRSSRUWXQLW\WRFKHDWZHUHOHVVOLNHO\WRFKHDWRQWKHVXEVHTXHQWWDVNUHODWLYHWR

DFRQWUROJURXSZKRGLGQRWUHDGDQKRQRUFRGH VHH0D]DUHWDOIRUFRPSDULVRQEHWZHHQ

UHDGLQJDQGVLJQLQJDQKRQRUFRGHSULRUWRDQRSSRUWXQLW\WRFKHDWYHUVXVQRH[SRVXUHUHDGLQJRU

VLJQLQJWRDQKRQRUFRGH )XWXUHUHVHDUFKFRXOGLQYHVWLJDWHZD\VWRVXSHUFKDUJHWKHHIIHFWRI

UHTXLULQJDVLJQDWXUHSULRUWRWKHVWDUWRIDWDVN²SRVVLEO\WKURXJKEXQGOLQJLWZLWKVRPH

JXLGHOLQHVIRUEHKDYLRU)UDPLQJWKHVHJXLGHOLQHVLQWHUPVRISURKLELWLRQV ³GRQRW´UXOHV YHUVXV

HQFRXUDJHPHQWV ³GR´UXOHV PLJKWDOVRDOWHUWKHHIIHFWRIVLJQLQJRQWKHGRWWHGOLQH

,PSOLFDWLRQVIRU3UDFWLFH

      2XUILQGLQJVVXJJHVWWKDWRQHHIIHFWLYHZD\WRUHGXFHRUHOLPLQDWHXQHWKLFDOEHKDYLRULV

WRDVNSHRSOHWRVLJQWKHLUQDPHSULRUUDWKHUWKDQDIWHUEHLQJWHPSWHGWRFKHDW7KHVHILQGLQJV

DSSO\WRDODUJHFDWHJRU\RIEHKDYLRUVWKDWUHO\RQKRQHVWVHOIUHSRUWVRQWKHSDUWRIWKH

LQGLYLGXDO²DQ\EHKDYLRULQZKLFKLWLVLPSRVVLEOHIRUDQRWKHUSHUVRQRURUJDQL]DWLRQWR

FRQWLQXDOO\PRQLWRU

       :HEHOLHYHRQHRIWKHPRVWLPSRUWDQWGRPDLQVWRZKLFKRXUILQGLQJVPD\EHDSSOLHGLV

WKHGRPDLQRIWD[HV$VWKHIHGHUDOWD[JDSVRDUVWRRYHUELOOLRQHDFK\HDU 0RUVH 
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1008 of 1282




                                                                           0DNLQJ(WKLFV6DOLHQW


WKHDPRXQWVSHQWRQWD[FRPSOLDQFHDQGLQYHVWLJDWLRQKDVDOVRVHHQGUDPDWLFLQFUHDVHV7KHVFDOH

RIWKHSURSRVHGLQWHUYHQWLRQLVWUXO\PLQLPDOJRYHUQPHQWVDOUHDG\UHTXLUHWD[SD\HUV DQG

SUHSDUHUV WRVLJQZKHQILOLQJWD[HV²MXVWFXUUHQWO\QRWLQWKHPRVWHIIHFWLYHORFDWLRQ6LPSO\

VKLIWLQJWKHVLJQDWXUHWRWKHEHJLQQLQJRIWKHWD[IRUPPD\KHOSWKHIHGHUDODQGVWDWH

JRYHUQPHQWVFORVHDVLJQLILFDQWSRUWLRQRIWKHWD[JDSDQGUHDOL]HHQRUPRXVVDYLQJVLQWD[

FRPSOLDQFHDQGLQYHVWLJDWLRQFRVWVZLWKRXWLQFXUULQJDQ\VXEVWDQWLDODGGLWLRQDOFRVWV

                                             &RQFOXVLRQ

       %\VLPSO\DVNLQJSDUWLFLSDQWVWRVLJQRQWKHGRWWHGOLQHSULRUWRDWDVNLQZKLFKWKH\IDFH

DWHPSWDWLRQWRFKHDWUDWKHUWKDQDWWKHHQGZHIRXQGVLJQLILFDQWUHGXFWLRQVLQOHYHOVRIFKHDWLQJ

ERWKLQDQLQVXUDQFHVHWWLQJDVZHOODVLQWKHFRQWH[WRIWD[HV,IVLJQLQJRQWKHGRWWHGOLQHFDQ

VKLIWWKHPRUDOJD]HLQZDUGUDLVHWKHVDOLHQF\RIHWKLFDOVWDQGDUGVDQGVSLOORYHUWRSURPRWH

PRUHHWKLFDODFWLRQVJRLQJIRUZDUGWKHUHLVSURPLVHSRWHQWLDORIIRURWKHUVXEWOHEHKDYLRUDO

HFRQRPLFVLQWHUYHQWLRQVZD\VWRDFKLHYHPRUHKRQHVW\DFURVVPDQ\RWKHUGRPDLQV                       
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1009 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1010 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1011 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1012 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1013 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1014 of 1282




                                                                         0DNLQJ(WKLFV6DOLHQW


%DXPHLVWHU5)  7KHVHOI,Q'7*LOEHUW67)LVNH */LQG]H\ (GV +DQGERRN

       RIVRFLDOSV\FKRORJ\ 9ROSS± 1HZ<RUN0F*UDZ+LOO

%DXPHLVWHU5) +HDWKHUWRQ7)  6HOIUHJXODWLRQIDLOXUH$QRYHUYLHZ

       3V\FKRORJLFDO,QTXLU\

%D]HUPDQ0+ %DQDML05  7KHVRFLDOSV\FKRORJ\RIRUGLQDU\HWKLFDOIDLOXUHV

       6RFLDO-XVWLFH5HVHDUFK

%ULHI$3%XWWUDP57 'XNHULFK-0  &ROOHFWLYHFRUUXSWLRQLQWKHFRUSRUDWH

       ZRUOG7RZDUGDSURFHVVPRGHO,Q0(7XUQHU (G *URXSVDWZRUN$GYDQFHVLQ

       WKHRU\DQGUHVHDUFK SS 0DKZDK1-/DZUHQFH(UOEDXP

%URZQ0( 7UHYLQR/.  (WKLFDOOHDGHUVKLS$UHYLHZDQGIXWXUHGLUHFWLRQV7KH

       /HDGHUVKLS4XDUWHUO\

&KXJK'  6RFLHWDODQG0DQDJHULDO,PSOLFDWLRQVRI,PSOLFLW6RFLDO&RJQLWLRQ:K\

       0LOOLVHFRQGV0DWWHU6RFLDO-XVWLFH5HVHDUFK

'XYDO76 5REHUW$:LFNOXQG  $7KHRU\RI2EMHFWLYH6HOI$ZDUHQHVV1HZ<RUN

       $FDGHPLF3UHVV

)D]LR5+ &RRSHU-  $URXVDOLQWKHGLVVRQDQFHSURFHVV,Q-7&DFLRSSR5(

       3HWW\ (GV 6RFLDOSV\FKRSK\VLRORJ\ SS 1HZ<RUN*XLOIRUG3UHVV

)HVWLQJHU/ &DUOVPLWK-0  &RJQLWLYHFRQVHTXHQFHVRIIRUFHGFRPSOLDQFH-RXUQDO

       RI$EQRUPDODQG6RFLDO3V\FKRORJ\

*LQR)$\DO6 $ULHO\'  &RQWDJLRQDQGGLIIHUHQWLDWLRQLQXQHWKLFDOEHKDYLRU7KH

       HIIHFWRIRQHEDGDSSOHRQWKHEDUUHO3V\FKRORJLFDO6FLHQFH  

*LQR) 3LHUFH/  5RELQ+RRGXQGHUWKHKRRG:HDOWKEDVHGGLVFULPLQDWLRQLQLOOLFLW

       FXVWRPHUKHOS2UJDQL]DWLRQ6FLHQFH  
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1015 of 1282




                                                                          0DNLQJ(WKLFV6DOLHQW


*QHH]\8  'HFHSWLRQ7KHUROHRIFRQVHTXHQFHV$PHULFDQ(FRQRPLF5HYLHZ

       

+DLGW-  7KHHPRWLRQDOGRJDQGLWVUDWLRQDOWDLO$VRFLDOLQWXLWLRQLVWDSSURDFKWRPRUDO

       MXGJPHQW3V\FKRORJLFDO5HYLHZ

+DOH\.- )HVVOHU'07  1RERG\¶VZDWFKLQJ"6XEWOHFXHVDIIHFWJHQHURVLW\LQDQ

       DQRQ\PRXVHFRQRPLFJDPH(YROXWLRQDQG+XPDQ%HKDYLRU±

+HLGHU)  7KHJHVWDOWWKHRU\RIPRWLYDWLRQ,Q05-RQHV (G 1HEUDVNDV\PSRVLXP

       RQPRWLYDWLRQ 9ROSS /LQFROQ8QLYHUVLW\RI1HEUDVND3UHVV

+HUPDQ7RP  ³6WXG\6XJJHVWV7D[&KHDWLQJ,VRQWKH5LVH0RVW'HWDLOHG6XUYH\LQ

       <HDUV)LQGV%LOOLRQ3OXV*DS5DPSLQJ8S$XGLWVRQ:HDOWK\´7KH:DOO6WUHHW

       -RXUQDO 0DUFK '

.D\$&:KHHOHU6&%DUJK-$ 5RVV/  0DWHULDOSULPLQJ7KHLQIOXHQFHRI

       PXQGDQHSK\VLFDOREMHFWVRQVLWXDWLRQDOFRQVWUXDODQGFRPSHWLWLYHEHKDYLRUDOFKRLFH

       2UJDQL]DWLRQDO%HKDYLRUDQG+XPDQ'HFLVLRQ3URFHVVHV

.HWWOH./ +lXEO*  7KH6LJQDWXUH(IIHFW6LJQLQJLQIOXHQFHVFRQVXPSWLRQUHODWHG

       EHKDYLRUE\SULPLQJVHOILGHQWLW\7KH-RXUQDORI&RQVXPHU5HVHDUFK

/HZLFNL5-3RODQG70LQWRQ-: 6KHSSDUG%+  'LVKRQHVW\DVGHYLDQFH$

       W\SRORJ\RIZRUNSODFHGLVKRQHVW\DQGFRQWULEXWLQJIDFWRUV5HVHDUFKRQ1HJRWLDWLRQLQ

       2UJDQL]DWLRQV±

0D]DU1 $JJDUZDO3 )RUWKFRPLQJ &DQFROOHFWLYLVPSURPRWHEULEHU\"3V\FKRORJLFDO

       6FLHQFH

0D]DU1$PLU2 $ULHO\'  7KHGLVKRQHVW\RIKRQHVW\SHRSOH$WKHRU\RIVHOI

       FRQFHSWPDLQWHQDQFH-RXUQDORI0DUNHWLQJ5HVHDUFK  
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1016 of 1282




                                                                         0DNLQJ(WKLFV6DOLHQW


0D]DU1 $ULHO\'  'LVKRQHVW\LQHYHU\GD\OLIHDQGLWVSROLF\LPSOLFDWLRQV-RXUQDO

       RI3XEOLF3ROLF\DQG0DUNHWLQJ

0RUVH6&  8VLQJVDOLHQFHDQGLQIOXHQFHWRQDUURZWKHWD[JDS/R\ROD8QLYHUVLW\

       &KLFDJR/DZ-RXUQDO  

1LFKROV6 .QREH-  0RUDOUHVSRQVLELOLW\DQGGHWHUPLQLVPWKHFRJQLWLYHVFLHQFHRI

       IRONLQWXLWLRQV1RXV

3UHDFKHU.- +D\HV$)  6366DQG6$6SURFHGXUHVIRUHVWLPDWLQJLQGLUHFWHIIHFWV

       LQVLPSOHPHGLDWLRQPRGHOV%HKDYLRU5HVHDUFK0HWKRGV,QVWUXPHQWV &RPSXWHUV

       

5H\QROGV6/HDYLWW. 'H&HOOHV.$$XWRPDWLFHWKLFV,PSOLFLWDVVXPSWLRQVDQG

       HWKLFDOPDQDJHULDOFRQGXFW-RXUQDORI$SSOLHG3V\FKRORJ\  ±

5LJGRQ0,VKLL.:DWDEH0 .LWD\DPD6  0LQLPDOVRFLDOFXHVLQWKHGLFWDWRU

       JDPH-RXUQDORI(FRQRPLF3V\FKRORJ\

6FKZHLW]HU0( +VHH&.  6WUHWFKLQJWKHWUXWK(ODVWLFMXVWLILFDWLRQDQGPRWLYDWHG

       FRPPXQLFDWLRQRIXQFHUWDLQLQIRUPDWLRQ-RXUQDORI5LVNDQG8QFHUWDLQW\

6KLK03LWWLQVN\7/ $PEDG\16WHUHRW\SH6XVFHSWLELOLW\,GHQWLW\VDOLHQFHDQGVKLIWVLQ

       TXDQWLWDWLYHSHUIRUPDQFH3V\FKRORJLFDO6FLHQFH  

6KX/*LQR) %D]HUPDQ0  'LVKRQHVWGHHGFOHDUFRQVFLHQFH:KHQFKHDWLQJ

       OHDGVWRPRUDOGLVHQJDJHPHQWDQGPRWLYDWHGIRUJHWWLQJ3HUVRQDOLW\DQG6RFLDO

       3V\FKRORJ\%XOOHWLQ  

7HQEUXQVHO$( 6PLWK&URZH.  (WKLFDOGHFLVLRQPDNLQJ:KHUHZH¶YHEHHQDQG

       ZKHUHZH¶UHJRLQJ$FDGHP\RI0DQDJHPHQW$QQDOV
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1017 of 1282




                                                                        0DNLQJ(WKLFV6DOLHQW


7HQEUXQVHO$('LHNPDQQ.$:DGH%HQ]RQL. %D]HUPDQ0+  7KHHWKLFDO

       PLUDJH:K\ZHDUHQRWDVHWKLFDODVZHWKLQNZHDUH5HVHDUFKLQ2UJDQL]DWLRQDO

       %HKDYLRU

7KDOHU5+ 6XQVWHLQ&5  1XGJH,PSURYLQJGHFLVLRQVDERXWKHDOWKZHDOWKDQG

       KDSSLQHVV1HZ+DYHQ&7<DOH8QLYHUVLW\3UHVV

7UHYLxR/.:HDYHU*5 5H\QROGV6-  %HKDYLRUDOHWKLFVLQRUJDQL]DWLRQV$

       UHYLHZ-RXUQDORI0DQDJHPHQW

7XOYLQJ(6FKDFWHU'/ 6WDUN+$  3ULPLQJHIIHFWVLQZRUGIUDJPHQWFRPSOHWLRQ

       DUHLQGHSHQGHQWRIUHFRJQLWLRQPHPRU\-RXUQDORI([SHULPHQWDO3V\FKRORJ\/HDUQLQJ

       0HPRU\DQG&RJQLWLRQ  

:HDYHU*57UHYLxR/. &RFKUDQ3  ,QWHJUDWHGDQGGHFRXSOHGFRUSRUDWHVRFLDO

       SHUIRUPDQFH0DQDJHPHQWFRPPLWPHQWVH[WHUQDOSUHVVXUHVDQGFRUSRUDWHHWKLFV

       SUDFWLFHV$FDGHP\RI0DQDJHPHQW-RXUQDO±

=KRQJ&%%RKQV9. *LQR)  $JRRGODPSLVWKHEHVWSROLFH'DUNQHVV

       LQFUHDVHVVHOILQWHUHVWHGEHKDYLRUDQGGLVKRQHVW\3V\FKRORJLFDO6FLHQFH



                            
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1018 of 1282
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1019 of 1282




                                                                      0DNLQJ(WKLFV6DOLHQW


)LJXUH5HSRUWHGDQGDFWXDOSHUIRUPDQFHRQWKHPDWUL[VHDUFKWDVNE\FRQGLWLRQ([SHULPHQW




                                                                         

Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1020 of 1282



                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                  ([KLELW
                     $OOHJDWLRQE(PDLO&RUUHVSRQGHQFH
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
                                      
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1021 of 1282


  From:
Subject: Tax Study Data
   Date: July 13, 2010 at 5:50 PM
     To: Gino, Francesca fgino@hbs.edu

       Ok, so here is the tax study data.

       The people are SERIOUS dumdums on this study. They seem to be having some serious issues, calculating
       the money, or if they got the amounts right they were written and scribbled in very strange ways on the form.
       Please let me know if you want these canceled as soon as you can, because I don't have internet at
       home and won't be able to do it later tonight.

       Thanks.

       --




        Taxstudy.xlsx
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1022 of 1282


  From:
Subject: That's a wrap: Tax Study
   Date: July 16, 2010 at 4:57 PM
     To: Gino, Francesca fgino@hbs.edu



       --




        Taxstudy.xlsx
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1023 of 1282


  From:
Subject: Taxstudy
   Date: July 27, 2010 at 3:26 PM
     To: Gino, Francesca fgino@hbs.edu

       The numbers starting over at 1 are the new form.

       --




        Taxstudy.xlsx
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1024 of 1282



                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                            
                                       ([KLELW
5HVSRQGHQW¶V:ULWWHQ5HVSRQVHWR'UDIW,QYHVWLJDWLRQ5HSRUWUHFHLYHGRQ)HEUXDU\
                                          
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1025 of 1282




7R   7HUHVD$PDELOH,QYHVWLJDWLRQ&RPPLWWHH&KDLU
        5REHUW %RE .DSODQ,QYHVWLJDWLRQ&RPPLWWHH0HPEHU
        6KDZQ&ROH,QYHVWLJDWLRQ&RPPLWWHH0HPEHU

5H   5HVSRQVHVWR'UDIW5HSRUWRI,QYHVWLJDWLRQ&RPPLWWHH&RQFHUQLQJ$OOHJDWLRQVDJDLQVW
        3URIHVVRU)UDQFHVFD*LQR±&DVH5,

'DWH )HEUXDU\




,ZDQWWRWKDQNWKHFRPPLWWHHIRU\RXUHIIRUWVDQGZRUN,YHU\PXFKUHVSHFWWKHHQHUJ\\RX
KDYHSXWLQWRWKHGUDIWUHSRUW+DYLQJVDLGWKDW,IXQGDPHQWDOO\DQGWRWDOO\GLVDJUHHZLWKWKH
FRQFOXVLRQVWKHFRPPLWWHHKDVUHDFKHGUHJDUGLQJHDFKRIWKHDOOHJDWLRQV

,ZDQWWRWDNHWKLVRSSRUWXQLW\WR

    D  ,QWURGXFHHYLGHQFHWKDWKDVQRWEHHQFRQVLGHUHGWRGDWH
        
    E  5HFWLI\DQXPEHURIPLVLQWHUSUHWDWLRQVRIWKHHYLGHQFHWKDWKDGDOUHDG\EHHQFRQVLGHUHG

    F  &DOOLQWRTXHVWLRQVVXSSRVLWLRQVDQGLQIHUHQFHVWKDWWKHFRPPLWWHHKDVPDGHZLWKRXW
        GLUHFWHYLGHQFHRIZURQJGRLQJ

%HIRUHGLVFXVVLQJHDFKRIWKHVHSRLQWV,ZDQWWRFODULI\XSIURQWDSRLQWUDLVHGE\WKHFRPPLWWHH
DERXWSURYLGLQJHYLGHQFHH[RQHUDWLQJPH$VWKHFRPPLWWHHVWDWHVLQWKHGUDIWUHSRUW³ZH
FRQFOXGHWKDWWKH5HVSRQGHQW3URIHVVRU*LQRKDV³QRWIXOILOOHG³WKHEXUGHQRISURYLQJE\D
SUHSRQGHUDQFHRIWKHHYLGHQFHDQ\DQGDOODIILUPDWLYHGHIHQVHVUDLVHG VXFKDVKRQHVWHUURU ´DV
UHTXLUHGE\WKH+%63ROLF\´ 'UDIW,QYHVWLJDWLRQ5HSRUWDWSJ :KLOHWKH+%63ROLF\QRWHV
WKDWGHIHQVHVPXVWEHSURYHQE\DSUHSRQGHUDQFHRIWKHHYLGHQFHLQWKHLUFRQVLGHUDWLRQWKH
EXUGHQRISURRIIRUPDNLQJDILQGLQJRIUHVHDUFKPLVFRQGXFWLVDFWXDOO\RQWKHFRPPLWWHHDVDQ\
ILQGLQJVRIUHVHDUFKPLVFRQGXFWPXVWWKHPVHOYHVEHVXSSRUWHGE\DSUHSRQGHUDQFHRIWKH
HYLGHQFH +%63ROLF\DWSJ $VQRWHGLQWKH+%63ROLF\LWLVWKHFRPPLWWHH¶VEXUGHQWR
SURYHUHVHDUFKPLVFRQGXFWQRWPLQHWRSURYHWKDWWKHUHZDVQRQH7KDWVDLG,ZLOOSURYLGHLQ
WKLVGRFXPHQWVLJQLILFDQWHYLGHQFHQRWFRQVLGHUHGE\WKHFRPPLWWHHDQGRWKHUFRQVLGHUDWLRQVWR
GHPRQVWUDWHP\LQQRFHQFHRIWKHVHDOOHJDWLRQV
               
%HIRUHJHWWLQJLQWRWKHVXEVWDQWLYHFRPPHQWVDQGLQWURGXFLQJQHZHYLGHQFH,ZRXOGOLNHWR
H[SODLQZK\,KDYHVRPXFKWRDGGQRZWKDW,GLGQRWDGGSUHYLRXVO\,KDYHWDNHQWKHVH
DFFXVDWLRQVYHU\VHULRXVO\VLQFH,OHDUQHGDERXWWKHPRQ2FWREHU+RZHYHUWKLV
SURFHVVZDVTXLWHXQIDPLOLDUWRPHDQGLWZDVQRWXQWLO,UHDGWKHGUDIWUHSRUWWKDW,JDLQHGD
VROLGXQGHUVWDQGLQJRIZKDWZDVUHTXLUHGWRDGGUHVVWKHFRPPLWWHH¶VFRQFHUQV,QDGGLWLRQWR
ZKDW,QRWHGDERYHGXULQJWKHWLPHRIWKHLQTXLU\DQGLQYHVWLJDWLRQ,ZDVFRFUHDWLQJDQGZDV
WKHVROHFRXUVHKHDGRI+%6¶VQHZUHTXLUHGFRXUVHRQ,QFOXVLRQ7KLVUHTXLUHGDPDMRUWLPH
FRPPLWPHQWDQGLQYHVWPHQWDIWHUWZR\HDUVRIDYHU\GLIILFXOWSDQGHPLF$WWKHWLPHWKHLQTXLU\


                                                                                               
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1026 of 1282




VWDUWHG,FRXOGKDYHGURSSHGWKLVDVVLJQPHQWWRIRFXVRQWKHUHVHDUFKPLVFRQGXFWSURFHVVEXW,
GLGQRWWKLQNWKDWZDVLQWKHEHVWLQWHUHVWVRI+%6RUP\MXQLRUFROOHDJXH                  ZKR
KDGFRPPLWWHGWRWHDFKWKHFRXUVHIRUWKHILUVWWLPH7KHFRXUVHLQWKHWZRLWHUDWLRQVZHWDXJKWLW
WKURXJKRXWZDVDIDUPRUHLQWHQVHWLPHFRPPLWPHQWWKDQ,KDGDQWLFLSDWHGDQG,EHOLHYHLW
KXUWP\FDSDFLW\WRIXOO\DGGUHVVWKHFRQFHUQVWKHFRPPLWWHHUDLVHGWKURXJKRXWWKLVSURFHVV$V
HYLGHQFHRIP\FRPPLWPHQWWRWKHFRXUVHDQGWKHWLPHUHTXLUHGWREULQJLWWRWKH5HTXLUHG
&XUULFXOXP 5& ,¶YHDWWDFKHGDOHWWHUIURP3URIHVVRU                  VHH([KLELW ZKRZRUNHG
FORVHO\ZLWKPHRQWKH,QFOXVLRQFRXUVH

,KDYHZRUNHGVWUDLJKWIRUVL[ZHHNVRQWKHVHFRPPHQWVLQFOXGLQJHYHQLQJVDQGZHHNHQGV,
VLPSO\GLGQRWKDYHVXFKDZLQGRZRIWLPHEHIRUHWKLVODVWVWHSLQWKHSURFHVV

.QRZLQJWKDW,GLGQRWFRPPLWDQ\ZURQJGRLQJDQGKDYHQHYHUUHYLVHGRUDOWHUHGUHVHDUFKGDWD
,DOVRXQGHUHVWLPDWHGZKDWLWZRXOGWDNHWR³GLVSURYH´WKHDOOHJDWLRQV±DEXUGHQRISURYLQJD
QHJDWLYHWKDWWKHFRPPLWWHHKDVLQHVVHQFHLPSURSHUO\LPSRVHG$V,PHQWLRQHGHDUOLHUWKH
+%63ROLF\LQGLFDWHVWKDWLWLVWKHFRPPLWWHH¶VEXUGHQWRSURYHUHVHDUFKPLVFRQGXFWQRWPLQHWR
SURYHWKDWWKHUHZDVQRQH1HYHUWKHOHVV,FRRSHUDWHGIXOO\HYHU\VWHSRIWKHZD\DQG,ZDVRSHQ
DQGWUDQVSDUHQWLQHYHU\UHTXHVWWKHFRPPLWWHHPDGH7KHUHZDVDVXEVWDQWLDODPRXQWRIGDWDDQG
DQDO\VLVWRVRUWWKURXJK HJWKHILYH0DLGVWRQH&RQVXOWLQJ*URXS//& 0&* UHSRUWVZHUH
RYHUSDJHVLQFOXGLQJWKHDGGLWLRQDODQDO\VHVIRU$OOHJDWLRQD LQDIDLUO\OLPLWHGWLPH,GLG
P\EHVWWRSURYLGHUHVSRQVHVEXWWKHFRPPLWWHHPDGHFOHDULQWKHGUDIWLQYHVWLJDWLRQUHSRUWWKDW
LWUHTXLUHVPRUHIURPPH

7KURXJKRXWWKHVHFRPPHQWV,ZLOOLQWURGXFHQRWRQO\HYLGHQFHRIP\RZQEXWDOVRVWDWHPHQWV
IURPRWKHUVZKRZHUHQRWLQWHUYLHZHGE\WKHFRPPLWWHHDQGZKRSURYLGHFRUURERUDWLQJHYLGHQFH
,WRRNWKLVVWHSJLYHQWKDWWKHFRPPLWWHHDVVWDWHGLQWKHGUDIWUHSRUWLQGLFDWHGLWGRXEWHG³WKH
FUHGLELOLW\RI>P\@ZULWWHQDQGRUDOVWDWHPHQWVWRWKLV&RPPLWWHHPRUHJHQHUDOO\´ 'UDIW
,QYHVWLJDWLRQ5HSRUWDWSJ ,HQFRXUDJHWKHFRPPLWWHHWRFRQGXFWLWVRZQLQWHUYLHZVRIWKHVH
ZLWQHVVHVZKRFDQSURYLGHUHOHYDQWLQIRUPDWLRQGHPRQVWUDWLQJWKDWDSUHSRQGHUDQFHRIWKH
HYLGHQFHZHLJKVDJDLQVWDQ\UHVHDUFKPLVFRQGXFWILQGLQJDJDLQVWPH

0\KRSHLVWKDWWKHVHFRPPHQWVFDQIXOO\DGGUHVVDQ\DQGDOOFRQFHUQVWKHFRPPLWWHHUDLVHG
WKURXJKRXWWKLVLQYHVWLJDWLRQRUVWLOOKDV,RQO\DVNWKHFRPPLWWHHWRNHHSDQRSHQPLQGDV\RX
UHYLHZWKHVHFRPPHQWV


     ,     1(:(9,'(1&(5(/$7('7263(&,),&$//(*$7,216

     ,$$OOHJDWLRQDFRQFHUQLQJ6WXG\LQWKH31$6DUWLFOHZLWK/LVD6KX1LQD
     0D]DU'DQ$ULHO\DQG0D[%D]HUPDQ

7KLVDOOHJDWLRQFODLPVWKDW,PLVUHSUHVHQWHGWKHVWXG\SURFHGXUHVLQWKHSXEOLVKHGSDSHUE\UH
ZULWLQJWKHGHVFULSWLRQRULJLQDOO\XVHGLQWKHILUVWGUDIWVRDVWRGHFHLYHWKHUHDGHU7KHFRUHLVVXH
LQWKLVDOOHJDWLRQLVWKDWWKHVWXG\DVFRQGXFWHGKDGDIODZHGGHVLJQZKHUHE\SDUWLFLSDQWVZHUH
SDLGLQWKHILUVWURRPEHIRUHFRPSOHWLQJWKHWD[IRUPLQWKHVHFRQGURRP WKHWD[IRUPZLWKWKH
PDQLSXODWLRQZHXVHGLQWKHVWXG\ 7KHDOOHJDWLRQLPSOLHVWKDW,WULHGWRFRYHUWKLVXSE\



                                                                                                    
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1027 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1028 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1029 of 1282




       ¶VZRUGV VHHUHFRUGLQJVIRU([KLELWDVZHOODV([KLELWVDDQGE 7KHVHGLIIHUHQFHV
RIRSLQLRQIXUWKHUZHLJKDJDLQVWDQ\ILQGLQJRIUHVHDUFKPLVFRQGXFWRQP\SDUW

        ,$+LJKOLJKWLQJ([LVWLQJ(YLGHQFHIRU$OOHJDWLRQD

,UHFRJQL]HKRZGLIILFXOWLWPXVWEHIRUWKHFRPPLWWHHWRJRWKURXJKDOOWKHHYLGHQFHWKLVSURFHVV
JHQHUDWHGWRXQGHUVWDQGZKDWKDSSHQHGDQGFRPHWRFRQFOXVLRQV+RZHYHUWKHFRPPLWWHH
DSSHDUVWRDVVXPHWKDWHYHU\GRFXPHQWLQP\ILOHVKDVDUHDVRQWREHLQFHUWDLQIROGHUV,GRWKLQN
RIP\VHOIDVDJHQHUDOO\ZHOORUJDQL]HGSHUVRQEXWLWLVQRWFRUUHFWWRDVVXPHWKDWHYHU\
GRFXPHQWLQDQ\RIP\IROGHUVLVWKHUHEHFDXVHLWZDVXVHGLQDSURMHFW7KHPDWUL[WDVNIRU
LQVWDQFHLVRQH,XVHGLQPXOWLSOHSURMHFWVDVQRWHGHDUOLHU$QGLWLVQRWWKHFDVHWKDWWKHH[DFW
YHUVLRQRQP\FRPSXWHULQWKHIROGHUIRUWKLVSURMHFWLVWKHYHUVLRQXVHGLQWKHVWXG\:KHQ
FKDQJHVDUHQHHGHGWRWDVNVDQGRWKHUSURFHGXUHVLWLVFRPPRQIRUPHWRVHQGPDWHULDOVWR
UHVHDUFKDVVLVWDQWV 5$V LQRUGHUIRUWKHPWRFUHDWHZKDW¶VQHHGHGWRFRQGXFWDVSHFLILFVWXG\

7KHFRPPLWWHHDOVRPDNHVDVVXPSWLRQVZLWKLQWKHUHSRUWUHJDUGLQJWKHGLIIHUHQWYHUVLRQVRIWKH
SURFHGXUHFODLPLQJWKDWWKHVHGLIIHUHQWYHUVLRQVGRQRWDSSHDUDFFXUDWHDFURVVGUDIWVRIWKH
SDSHU,QUHIHUHQFHWRWKHYHUVLRQVGDWHGDQGWKHFRPPLWWHHQRWHVWKDW
WKHSURFHGXUHPDWFKHVWKDWIURPWKH,5%DSSOLFDWLRQ 'UDIW,QYHVWLJDWLRQ5HSRUWSJ 
+RZHYHU81&,5%KDVWROGPHWKH\KDYHQRUHFRUGVRIWKH,5%DSSOLFDWLRQVIURPWKLVWLPHDV
WKH\ZHUHGRQHRQSDSHU,XQGHUVWDQGWKDWDFRS\RIDQ,5%DSSOLFDWLRQGHWDLOLQJWKHVWXG\
SURFHGXUHZDVORFDWHGRQP\KDUGGULYHEXWDVQRWHGE\WKHFRPPLWWHHWKLVPD\QRWUHSUHVHQW
KRZWKHVWXG\ZDVDFWXDOO\UXQDV,ZRXOGRIWHQDPHQGWKHRULJLQDOO\DSSURYHGSURWRFRO 'UDIW
,QYHVWLJDWLRQ5HSRUWSJ 7KLVZDVIXUWKHUFRQILUPHGE\                LQKHULQWHUYLHZWKRXJK
VKHFDQQRWUHPHPEHUZKHWKHUWKH,5%SURWRFROZDVDPHQGHGLQWKLVSDUWLFXODULQVWDQFH 'UDIW
,QYHVWLJDWLRQ5HSRUWSJ 

,QDGGLWLRQWKHUHVHHPWREHLPSRUWDQWSDUWVRIWKH0&*UHSRUWVWKDWKLJKOLJKWWKHGLIILFXOW\RI
XQGHUVWDQGLQJWKHYDULRXVYHUVLRQVRIWKHGHVFULSWLRQRIWKHVWXG\LQTXHVWLRQ$IHZVWRRGRXWWR
PH

        :KLOH WKH PHWDGDWD PD\ EH LQIRUPDWLYH UHJDUGLQJ LQGLYLGXDOV LQYROYHG LQ WKH
        GRFXPHQWDWLRQJHQHUDWLRQDQGFKURQRORJ\RIGHYHORSPHQWVDQGDOWHUDWLRQVZLWKLQ
        GRFXPHQWDWLRQ YHUVLRQLQJ LW LV QRW DQ XQHTXLYRFDO UHSUHVHQWDWLRQ RI LQGLYLGXDO
        UHVSRQVLELOLW\ RI FRQWHQW ZLWKLQ VDLG GRFXPHQWDWLRQ 7KHUH PD\ EH SRVVLEOH
        VFHQDULRVZKHUHDQRWKHULQGLYLGXDO RULQGLYLGXDOV PD\KDYHEHHQLQYROYHGDWD
        SRLQWSULRUWRWKH³ODVWPRGLILHG´WLPHVWDPSWKDWSOD\DQXQNQRZQUROHLQWKHGDWD
        UHSUHVHQWDWLRQ 0&*5HSRUWS 

        :KLOH ZH KDYH DFFHVV WR WKH GHVFULEHG YHUVLRQV RI GRFXPHQWV DQG VXEVHWV RI
        FRUUHVSRQGHQFH V LQWKHIRUPRIDYDLODEOHHPDLOWKLVGRHVQRWSUHFOXGHWKHSRVVLEOH
        H[LVWHQFHRIDGGLWLRQDOGRFXPHQWVDQGFRUUHVSRQGHQFHFRQWDLQLQJGHWDLOVVSHFLILF
        WRWKHHYROXWLRQRIWKHH[SHULPHQWDOSURFHGXUHGHVFULSWLRQ 0&*5HSRUWS 
                            
        :KLOH LW ZDV SRVVLEOH WR H[DPLQH WKH HPDLO LQER[ RI 'U *LQR WKHUH LV VFDUFH
        HYLGHQFHRIKHURXWER[FRQWHQWKHQFHYHUVLRQVRIILOHVIRXQGRQKHUFRPSXWHUZHUH



                                                                                                   
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1030 of 1282




         XWLOL]HG DV SRWHQWLDO VRXUFH GRFXPHQWV VHQW WR FRDXWKRUV $ FOHDU RXWER[ UHFRUG
         ZRXOG VWUHQJWKHQ DQG DGG FODULW\ WR WKH DQDO\VLV SDUWLFXODUO\ ZLWK UHVSHFW WR
         PHWDGDWDDQGFKURQRORJ\$GGLWLRQDOO\VRPHRIWKHFRQYHUVDWLRQVUHJDUGLQJWKH
         VWXG\ SURFHGXUH DUH PLVVLQJ IURP HPDLO H[FKDQJHV DQG PD\ KDYH KDSSHQHG YLD
         SKRQHRURWKHUPRGHRIFRPPXQLFDWLRQ 0&*5HSRUWS 
         
7KHVHH[FHUSWVKLJKOLJKWWKHIDFWWKDWPDQ\RIWKHGLVFXVVLRQVUHJDUGLQJWKHUHYLVLRQVDQG
PDQXVFULSWRFFXUUHGHLWKHULQSHUVRQRULQDPHGLXPQRWDYDLODEOHWRWKHFRPPLWWHH7KHVH
H[FHUSWVDOVRVKRZWKDWWKHPHWDGDWDDQGUHYLVLRQKLVWRU\FDQQRWQRZGHPRQVWUDWHWKHFRPSOHWH
SLFWXUHRIZKDWRFFXUUHGDWWKHUHOHYDQWWLPH,QDGGLWLRQWKHUHXVHRIWKHWD[IRUPZLWK
FRQVLVWHQWODQJXDJHLQERWKWKHDQGVWXGLHVVXSSRUWVWKHFRQFOXVLRQWKDWWKHSURFHGXUH
XVHGLQ IRUWKHVWXG\LQFOXGHGLQWKH31$6SDSHU PDWFKHGWKDWXVHGLQ²WKH
SURFHGXUHDVGHVFULEHGLQWKH31$6SDSHU

%DVHGRQWKHWD[IRUPHYLGHQFHDQGWKHFRQVLVWHQF\DFURVVVWXGLHVLQDGGLWLRQWRWKHODFNRI
HYLGHQFHVXSSRUWLQJWKHDOOHJHGIDOVLILFDWLRQWKHUHFDQQRWEHDILQGLQJRIUHVHDUFKPLVFRQGXFWDV
WRWKLVDOOHJDWLRQ


    ,%$OOHJDWLRQEFRQFHUQLQJ6WXG\LQWKH31$6DUWLFOHZLWK/LVD6KX1LQD
    0D]DU'DQ$ULHO\DQG0D[%D]HUPDQ

$OOHJDWLRQEFODLPVWKDW,DOWHUHGDQXPEHURIREVHUYDWLRQVLQWKHGDWD RIWKHP ,QZKDW
IROORZV,SURYLGHQHZHYLGHQFHEXWDOVRH[SODLQWKHDQRPDO\FODLPHGLQ$OOHJDWLRQE

$IWHUUHYLHZLQJWKH'UDIW,QYHVWLJDWLRQ5HSRUWDQGQRWLQJWKHFRPPLWWHH¶VWKRXJKWV,KDYH
QRWLFHGLQIHUHQFHVQRWVXSSRUWHGE\ZKDW,NQRZWREHWUXHDQGKDYHIRXQGHYLGHQFHWKDWZLOO
GHPRQVWUDWHWKHVHLQFRQVLVWHQFLHV

7KH0&*IRUHQVLFUHSRUWUHIHUVWRWKH-XO\DVRULJLQDOGDWD,WLVLPSRUWDQWWRQRWHWKDW
WKLVLV127WKHRULJLQDOGDWD$V,QRWHGSUHYLRXVO\WKHRULJLQDOGDWDZDVFROOHFWHGRQSDSHU,
WUDYHOHGWR81&WRVHHLIWKHGDWDLVVWLOOLQH[LVWHQFHDQGXQIRUWXQDWHO\LWLVQRW,QRWHWKDWWKH
DEVHQFHRIGDWDFDQRQO\EHFRQVLGHUHGHYLGHQFHRIUHVHDUFKPLVFRQGXFW³ZKHUHWKHLQVWLWXWLRQ
HVWDEOLVKHVE\DSUHSRQGHUDQFHRIWKHHYLGHQFHWKDWWKHUHVSRQGHQWLQWHQWLRQDOO\NQRZLQJO\RU
UHFNOHVVO\KDGUHVHDUFKUHFRUGVDQGGHVWUR\HGWKHPKDGWKHRSSRUWXQLW\WRPDLQWDLQWKHUHFRUGV
EXWGLGQRWGRVRRUPDLQWDLQHGWKHUHFRUGVDQGIDLOHGWRSURGXFHWKHPLQDWLPHO\PDQQHUDQG
WKDWWKHUHVSRQGHQW¶VFRQGXFWFRQVWLWXWHVDVLJQLILFDQWGHSDUWXUHIURPDFFHSWHGSUDFWLFHVRIWKH
UHOHYDQWUHVHDUFKFRPPXQLW\´ +%63ROLF\DWSJ +HUHWKHGDWDZHUHDSSURSULDWHO\OHIWDW
81&IRUPDLQWHQDQFH)XUWKHUPRUHJLYHQWKHDJHRIWKHGDWDLQTXHVWLRQLWLVFRQVLVWHQWZLWK
DFFHSWHGUHVHDUFKSUDFWLFHVIRUGDWDWRKDYHEHHQGLVFDUGHG

7KHHPDLO              VKDUHGZLWKWKHFRPPLWWHHXVHVODQJXDJHWKDWLQGLFDWHVWKDW,ZRXOGVSHDNWR
           DERXWWKHVWXG\JLYHQKRZVKHUHIHUVWRSDUWLFLSDQWV,KDYHQRZEHHQDEOHWRUHWUDFHP\
VWHSVWRZKHUH,ZDVLQ-XO\,WUDYHOHGWR&KDSHO+LOOIURP&DOLIRUQLDZKHUH,KDGZRUNHG
IRUDIHZZHHNVDVDUHVHDUFKFRQVXOWDQWDW'LVQH\RQ-XO\,PHWZLWK              WKHZHHNRI
-XO\WRPDNHVXUHWKHGDWDZHUHDFFXUDWH,NQRZZLWKFRQILGHQFHWKDW,ZDVDW81&



                                                                                                        
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1031 of 1282
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1032 of 1282




         
$VIRUWKHGXSOLFDWH,'QXPEHULWLVOLNHO\DQHUURUGXHWRWZRSDUWLFLSDQWVUHFHLYLQJWKHVDPH,'
IRUWKHVWXG\E\WKH5$VFRQGXFWLQJLW,QWKLVVWXG\SDUWLFLSDQW,'VZHUHKDQGHGRXWRQLQGH[
FDUGVE\DQ5$,WLVYHU\SRVVLEOHWKDWVRPHLQGH[FDUGVZHUHUHXVHG 7KLVLVDYHU\OLNHO\
SRVVLELOLW\HVSHFLDOO\JLYHQWKDWWKH81&EHKDYLRUDOODEFRQVLVWVRIWZRUDWKHUVPDOOURRPV±
HDFKZLWKRQO\IRXUILYHGHVNWRSFRPSXWHUV2QO\DIHZSDUWLFLSDQWVRUFRXOGWDNHWKHVWXG\
DWWKHVDPHWLPH 7KLVZRXOGOHDGWRDGXSOLFDWH,'QXPEHUIRUGLIIHUHQWSDUWLFLSDQWVEXWWKLV
ZRXOGLQQRZD\DIIHFWWKHLQWHJULW\RIWKHGDWDGHVFULELQJWKHSDUWLFLSDQWV¶UHVSRQVHV7KHVKHHU
H[LVWHQFHRIDGXSOLFDWH,'LVQRWHYLGHQFHRIDQ\GDWDIDEULFDWLRQRUIDOVLILFDWLRQDVLWLVTXLWH
SRVVLEOHWKDW,'UHXVHRFFXUUHGLQWKLVVHWWLQJ:LWKRXWHYLGHQFHRUZLWQHVVVWDWHPHQWVWKDWDQ\
ZURQJGRLQJRFFXUUHGWKHUHFDQQRWEHDILQGLQJE\DSUHSRQGHUDQFHRIWKHHYLGHQFHRIUHVHDUFK
PLVFRQGXFW


    ,&$OOHJDWLRQFRQFHUQLQJ6WXG\LQWKH3V\FK6FLHQFHDUWLFOHZLWK               
                   
    
$OOHJDWLRQFODLPVWKDW,DOWHUHGWKLUWHHQREVHUYDWLRQVLQ6WXG\LQWKH3V\FK6FLHQFH
DUWLFOH,WLVLPSRUWDQWWRHPSKDVL]HWKDWWKHRULJLQDOVRXUFHGDWDQRORQJHUH[LVWVDVLWZDV
GLVFDUGHGFRQVLVWHQWZLWKURXWLQHGDWDPDLQWHQDQFHSUDFWLFHV,WLVQRWVWDQGDUGSUDFWLFHWRUHWDLQ
WKHVHUHFRUGVIRUPRUHWKDQ\HDUV7KH0&*IRUHQVLFVILUPFRQFOXGHGWKDWWKRXJKLWGRHVQRW
H[SUHVVO\H[FOXGHWKHW\SHVRIPDQLSXODWLRQQRWHGLQWKHDOOHJDWLRQZLWKRXWWKHRULJLQDOGDWDQR
FRQFOXVLRQRIUHVHDUFKPLVFRQGXFWFDQEHPDGH 0&*5HSRUWSJ 

$VWKH0&*UHSRUWVWDWHV
         
         7KHDQDO\VLVRIDYDLODEOHVRXUFHGDWDILOHVVSHFLILFWRWKHFODLPDQW¶VLGHQWLILFDWLRQ
         RIµVXVSLFLRXV¶HQWULHVDQGWKHPHWKRGRORJ\XWLOL]HGE\WKHFRPSODLQDQWWRGRVR
         EURXJKWWROLJKWSRWHQWLDODVVXPSWLRQVPDGHE\WKHFODLPDQWWKDWPD\QRWEH
         VXEVWDQWLDWHG 0&*5HSRUWS 
         
         1RQHRIWKHILOHVSURYLGHGFRQWDLQVWKHRULJLQDOUDZGDWD$OOILOHVHLWKHUFRQWDLQ
         VRPHFDOFXODWLRQVVXEVHWRILQIRUPDWLRQRUGHULYHIURPDILOHWKDWGRHV
         $GGLWLRQDOO\DOOILOHVDUHLGHQWLFDOO\VRUWHGLQGHSHQGHQWO\RQWKHQXPEHURI
         FROXPQVSUHVHQW7KHUHIRUHLQWKHDEVHQFHRIUDZGDWDWKHUHLVQRZD\WR
         GHWHUPLQHLIDQ\RWKHUFROXPQFRXOGKDYHEHHQRULJLQDOO\SUHVHQWWKDWDFFRXQWHG
         IRUVXFKVRUWLQJ>«@,WLVSRVVLEOHWKDWDFRPELQDWLRQRIPDQXDODQGDXWRPDWLF
         FDOFXODWLRQRFFXUUHGJLYLQJULVHWRVRPHRIWKHRXWRIRUGHUGDWDIODJJHGE\WKH
         FRPSODLQDQW 0&*5HSRUWS 

         1RWKDYLQJDFFHVVWRWKHUDZ4XDOWULFVILOHLWLVLPSRVVLEOHWRGHWHUPLQHLIPRUH
         PRGLILFDWLRQVDQGHGLWVRFFXUUHG5HJDUGLQJWKHFODLPDQW¶VUHYLHZLWLVXQFOHDU
         WKDWWKHDVVHUWLRQVPDGHE\WKHFODLPDQWGHPRQVWUDWHUHVXOWDQWPDQLSXODWLRQRIWKH
                                    
UHTXLUHPHQWVUHTXLULQJDORQJHUSHULRGUHFRUGVJHQHUDOO\PXVWEHUHWDLQHGIRUWKUHH\HDUV 5HJDUGOHVVKHUHWKH
VWXG\LQTXHVWLRQFRQFOXGHGIDULQH[FHVVRIWKHVHYHQ\HDUVUHTXLUHGHYHQE\+DUYDUG¶VGDWDUHWHQWLRQSROLF\ZKLFK
LWVHOIH[FHHGVWKHDFFHSWHGSUDFWLFHVRIWKHUHVHDUFKFRPPXQLW\


                                                                                                                  
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1033 of 1282




        XQGHUO\LQJVRXUFHGDWD:KLOHWKHREVHUYDWLRQVLGHQWLILHGE\WKHUHVSRQGHQW
        FHUWDLQO\LPSDFWWKHILQDOUHSRUWHGUHVXOWVLQWKHDEVHQFHRIUDZGDWDLWLV
        LPSRVVLEOHWRGHWHUPLQHLIWKH\UHSUHVHQWPRGLILHGSDUWLFLSDQWHQWULHV 0&*
        5HSRUWS 
            
%H\RQGWKHFRQFOXVLRQVRIWKHIRUHQVLFVDQDO\VLVWKDWQRUHVHDUFKPLVFRQGXFWFRXOGEH
FRQFOXGHGWKHUHLVDGGLWLRQDOHYLGHQFHWKDWGRHVQRWVXSSRUWDILQGLQJDVWRWKLVDOOHJDWLRQ
    
,Q/HLI1HOVRQRI'DWD&RODGDFRQWDFWHGPHDQG                          WRDVNIRUWKHGDWD WKH
SDSHUZDVZULWWHQDWDWLPHEHIRUHLWZDVVWDQGDUGSUDFWLFHWRSRVWGDWDRQOLQHLQUHSRVLWRULHVOLNH
WKH26) 1HOVRQLVD3URIHVVRUDWWKH+DDV6FKRRORI%XVLQHVVDW%HUNHOH\1HOVRQWROGXVWKDW
RXU3V\FK6FLHQFHSDSHUZRXOGEHGLVFXVVHGLQDZHHNO\MRXUQDOGLVFXVVLRQJURXSKH
RUJDQL]HVDW%HUNHOH\+DDV'XULQJWKHVHZHHNO\PHHWLQJVWKRVHSUHVHQW PRVWO\GRFWRUDO
VWXGHQWVLQWHUHVWHGLQPDUNHWLQJRUJDQL]DWLRQDOEHKDYLRUGHFLVLRQPDNLQJDQGSV\FKRORJ\DV
ZHOODVLQWHUHVWHGIDFXOW\PHPEHUV GLVFXVVWKHRULJLQDOPDWHULDOVDQGGDWDIURPWKHSDSHUFKRVHQ
IRUWKHZHHN,QJHQHUDOLIDQLVVXHDURVHRUZDVLGHQWLILHGLQWKLVGLVFXVVLRQWKHDXWKRUVRIWKH
SDSHUEHLQJGLVFXVVHGZHUHFRQWDFWHGUHTXHVWLQJDQH[SODQDWLRQ

:HVKDUHGWKHGDWDZLWK1HOVRQ DVLQGLFDWHGLQWKHHPDLOFRSLHGEHORZ 1HLWKHU                     QRU
,ZHUHHYHUFRQWDFWHGDERXWFRQFHUQVRUVXVSHFWHGDQ\LVVXHVZLWKWKHGDWDRUWKHDQDO\VLV:H
DGGLWLRQDOO\KDGQRUHDVRQWRH[SHFWDQLVVXHWRDULVHDQGVKDUHGWKHGDWDIUHHO\ZLWK1HOVRQDV
QHLWKHU            QRU,IDEULFDWHGRUIDOVLILHGDQ\RIWKHGDWDHQWULHV

                                                 

      "  0&$1
   !"*."+)*,-#)/
                                      
                                                     
  # 

#

  %  #!)  !     !%
  &   !  ! %    !  
 '    #  )(

 &!     ! "

  !  %!) #     
 &             %


                                    

  KWWSVKDDVEHUNHOH\HGXIDFXOW\QHOVRQOHLI

  7RFRQILUPWKDWWKHZHHNO\MRXUQDOGLVFXVVLRQDERXWRXU3V\FK6FLHQFHSDSHUGLGKDSSHQ,UHDFKHGRXWWRD
VFKRODU                       QRZDW5XWJHUV ZKRXVHGWREHDGRFWRUDOVWXGHQWDW%HUNHOH\DWWKHWLPH+H
FRQILUPHGLQDQHPDLOWKHGLVFXVVLRQGLGWDNHSODFH VHH([KLELW HYHQLIKHFDQQRWUHPHPEHUWKHVSHFLILFVRIWKH
GLVFXVVLRQ,QKLVUHSO\          DOVRSURYLGHVPRUHGHWDLOVRQKRZWKHMRXUQDOPHHWLQJVZHUHRUJDQL]HG


                                                                                                                  
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1034 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1035 of 1282




GLIIHUHQWIURPRQHDQRWKHU IOH[LELOLW\PHDVXUH DVZHOODVWKHRULJLQDOLW\RIWKHLGHDVSDUWLFLSDQWV
VXJJHVWHG RULJLQDOLW\PHDVXUH %RWKIOH[LELOLW\DQGRULJLQDOLW\DUHVXEMHFWLYHPHDVXUHVUHVXOWLQJ
IURPWKH5$V¶FRGLQJ,QDGGLWLRQWKHIOXHQF\PHDVXUHUHTXLUHVPDQXDOFRGLQJDQGFKHFNLQJRI
DQVZHUTXDOLW\HYHQLIWKHFRXQWLQJRILGHDVFRXOGEHGRQHDXWRPDWLFDOO\WKURXJKDQ([FHO
IRUPXOD

6LPLODUO\IRUWKH5$7SUREOHPVSDUWLFLSDQWVKDGWRDQVZHUDVPDQ\SUREOHPVDVSRVVLEOH
FRUUHFWO\ZLWKLQPLQXWHV7KH5$V¶FRGLQJRIWKHDQVZHUVWRSURGXFHDSHUIRUPDQFHPHDVXUH
WDNHVWZRGLIIHUHQWVWHSV)LUVWWKH\FDQXVHDQ([FHOIRUPXODWRFRXQWKRZPDQ\TXHVWLRQV
SDUWLFLSDQWVDQVZHUHG)RULQVWDQFHLIDSDUWLFLSDQWDQVZHUHGRXWRITXHVWLRQVWKH([FHO
IRUPXODZRXOGOLVWWKHFRXQWDVDQGVKRZWKDWLWUHVXOWHGIURPDIRUPXOD+RZHYHUDVHFRQG
TXDOLW\FRQWUROVWHSLVUHTXLUHG7KH5$KDVWRJREDFNWRWKHRULJLQDODQVZHUVWRDVVHVVYDOLGLW\
)RULQVWDQFHLIDSDUWLFLSDQWUHVSRQGHGZLWKWKHZRUG³QR´RUDZRUGWKDWLVQRWORJLFDOO\
DVVRFLDWHGZLWKWKHSURPSWWKHVHZRXOGEHFRQVLGHUHGLQYDOLGDQVZHUV7KH5$ZRXOGWKHQKDYH
WRDGMXVWWKHFRXQWPDQXDOO\,QWKHH[DPSOH,SURYLGHGLIWKHUHZHUHWZRLQYDOLGDQVZHUVWKH
FRXQWZRXOGEHDGMXVWHGIURPWR*LYHQWKDWSDUWLFLSDQWVFRPPRQO\SURYLGHLQYDOLG
DQVZHUVZHVKRXOGIXOO\H[SHFWWKHIRUPXODFRXQWDQGDGMXVWHGUHVSRQVHWRGLIIHU7KDWLVQRWDQ
DQRPDO\,WLVVLPSO\WKHUHVXOWRIDSSURSULDWHQHFHVVDU\GDWDFOHDQLQJ

,ZHQWEDFNWRWKHGRFXPHQW,UHFHLYHGRQ-DQXDU\ZLWKWKH6XEMHFW³$GGLWLRQDO
,QIRUPDWLRQ5HODWHGWR$OOHJDWLRQVDQGERI5HVHDUFK0LVFRQGXFW´7KHGRFXPHQW
LQFOXGHGWKHLQIRUPDWLRQWKHFRPPLWWHHKDGREWDLQHGIURPDZULWWHQGRFXPHQWVXEPLWWHGE\WKH
DQRQ\PRXVFRPSODLQDQW7KHFRPSODLQDQWKDGWZRPDLQLVVXHV7KHILUVWZDVDERXWVRPHRIWKH
GDWDEHLQJRXWRIVRUW LHRXWRIH[SHFWHGVHTXHQFH 7KLVLVGXHWRWKHIDFWWKDWDV,H[SODLQHG
WKHILQDOGDWDVHW,XVHGLQWKHDQDO\VHVUHVXOWHGIURPWKHPHUJLQJRIGLIIHUHQWGDWDVHWV7KXVWKH
RUGHULQJRIWKHREVHUYDWLRQVLVDIXQFWLRQRIWKHPHUJLQJSURFHVV7KHVHFRQGLVVXHZDVDERXWWKH
FRPSXWHGPHDVXUHRI³QXPEHURIUHVSRQVHV´IURPWKHXVHVWDVN$V,H[SODLQHGDERYHWKH
PHDVXUHUHTXLUHVPDQXDOFRGLQJIURPWKH5$RU5$VDQGLWLVQRWVLPSO\DIXQFWLRQRIFRXQWLQJ
WKDWZRXOGUHVXOWIURPDQ([FHOIRUPXOD
            
0RUHJHQHUDOO\WKHFRPSODLQDQWUHIHUVWR³RXWRIRUGHU´REVHUYDWLRQVDVDQRPDOLHV:KHQHYHU
GDWDVHWVDUHWKHUHVXOWRIPDQXDOGDWDHQWU\ZKLFKLVWKHFDVHERWKIRUVWXGLHVWKDWKDYHEHHQ
RULJLQDOO\FRQGXFWHGRQSDSHU DVZDVWKHFDVHIRU6WXG\LQWKH31$6SDSHU DVZHOODV
VWXGLHVWKDWUHTXLUHWKHPHUJHRIGLIIHUHQWGDWDVHWV DVZDVWKHFDVHIRU6WXG\LQWKH3V\FK
6FLHQFHSDSHU ³RXWRIRUGHU´REVHUYDWLRQVDUHWREHH[SHFWHG$VWKH0&*UHSRUWIURPWKH
IRUHQVLFILUPLWVHOIFRQFOXGHG³,WLVSRVVLEOHWKDWDFRPELQDWLRQRIPDQXDODQGDXWRPDWLF
FDOFXODWLRQRFFXUUHGJLYLQJULVHWRVRPHRIWKHRXWRIRUGHUGDWDIODJJHGE\WKHFRPSODLQDQW´
  0&*5HSRUWSJ 7KHRXWRIRUGHUGDWDLQWKLVDOOHJDWLRQLVQRWLQLWVHOIHYLGHQFHRI
ZURQJGRLQJDQGDVQRWHGLQWKH0&*5HSRUWPDQXDOFRGLQJOLNHWKDWXVHGLQWKLVVWXG\
DFFRXQWVIRUVXFKDQRPDOLHV$GGLWLRQDOO\WKHPHUJLQJRIGDWDIXUWKHUDIIHFWVWKHGDWDRUGHU
    
7KLVSDSHUZDVZULWWHQEHIRUHWKHWLPHZKHQLWZDVWKHQRUPWRSRVWGDWDRQOLQH7KHVHGDWDZHUH
QRWDYDLODEOHWRDQ\RQH$QG\HW,ZLOOLQJO\VKDUHGWKHVHGDWDZLWK'DWD&RODGDNQRZLQJIXOO
ZHOOWKH\ZRXOGVFUXWLQL]HWKHUHVXOWVDQGNQRZLQJIXOOZHOOWKHLUUHSXWDWLRQIRUH[SRVLQJ
XQUHSURGXFLEOHUHVHDUFK7KHUHDUHSHRSOHLQP\ILHOGZKRDUHVFDUHGRI'DWD&RODGD<HW,KDG
QRKHVLWDQF\WRVKDUHWKHVHGDWDZLWKWKHP,IRQHZDVDZDUHRISUREOHPVZLWKGDWDLWGRHVVHHP



                                                                                                  
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1036 of 1282
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1037 of 1282




        
,ZRXOGOLNHWRQRWHWKDWSRVWLQJGDWD DQGVWXG\PDWHULDOV ZDVQRWUHTXLUHGE\WKHMRXUQDO
3V\FKRORJLFDO6FLHQFH,Q$SULORIWKH(GLWRURIWKHMRXUQDOZURWHDQHGLWRULDOLQZKLFKKH
VSRNHWRQHZFKDQJHV3V\FKRORJLFDO6FLHQFHZDVJRLQJWRLQWURGXFHWRLQFUHDVHGDWDVKDULQJDQG
WUDQVSDUHQF\EXWQRWHGHYHQWKHQWKDW³DXWKRUVDUHQRWUHTXLUHGWRGRDQ\RIWKHVHWKLQJV´,
WKXVYROXQWDULO\FKRVHWRPDNHP\GDWDDYDLODEOHRQWKH26)

,QDQHPDLOGDWHG6XQGD\1RYHPEHU                      VHQW          DQGPHKLV
UHYLVLRQVRIWKHSDSHUVRWKDWZHFRXOGUHVXEPLWLW,QWKHHPDLO VHH([KLELW            VWDWHV
³*LYHQWKHWRSLF PRUDOFOHDQVLQJKDVFRPHXQGHUDWWDFN DQGWKHVWUHQJWKRIWKHUHVXOWVP\
JXHVVLVWKDWGDWDGHWHFWLYHVPD\DVNIRURXUGDWD6RZHVKRXOGGRXEOHFKHFNDOOVWDWVDQGDOVREH
SUHSDUHGWRVKDUHWKHGDWDVHWV´+DG,NQRZQRIDQ\LVVXHVZLWKWKHGDWD LQFOXGLQJVLPSOH
HUURUV ,ZRXOGQRWKDYHSURFHHGHGZLWKVXEPLWWLQJWKHSDSHUIRUSXEOLFDWLRQ$VRWKHUVFKRODUV
KDYHFRPPHQWHGLQWKHLUWHVWLPRQ\,KDYHQHYHUKDGDQLVVXHZDONLQJDZD\IURPVWXGLHVWKDW
GLGQRWZRUNHLWKHUEHIRUHRUDIWHU,ZDVWHQXUHG,¶YHSXEOLVKHGPDQ\SDSHUVRYHUP\FDUHHUDQG
QHYHUWKRXJKWRIDQ\RQHSDSHULQSDUWLFXODUDVFULWLFDOO\LPSRUWDQWWRP\RYHUDOOUHVHDUFK
DJHQGDZRUNDQGOHJDF\

        ,'([SODLQLQJWKH'DWD$QRPDOLHVIRU$OOHJDWLRQ

,QWKHGRFXPHQW,UHFHLYHGRQ-DQXDU\ZLWKWKH6XEMHFW³$GGLWLRQDO,QIRUPDWLRQ
5HODWHGWR$OOHJDWLRQVDQGERI5HVHDUFK0LVFRQGXFW´WKHFRPSODLQDQWSRLQWHGWR
VWUDQJHGHPRJUDSKLFUHVSRQVHVLQWKHGDWDVHW,QSDUWLFXODUWKH\QRWHGWKDWVWXGHQWVKDG
³+DUYDUG´DVWKHLUUHVSRQVHIRU³<HDULQ6FKRRO´*LYHQWKDWWKHODESRRODW+%6GUDZVRQ
VWXGHQWVIURPDYDULHW\RIVFKRROVLQWKH&DPEULGJHDQG%RVWRQDUHDZKHQWKHFRPPLWWHHDVNHG
PHDERXWWKLVDQRPDO\,GLGQRWILQGLWWREHSUREOHPDWLFHVSHFLDOO\JLYHQWKDWZHKDG
VWXGHQWVLQWKHVWXG\7KRXJK,ZRXOGORYHIRUHYHU\SDUWLFLSDQWWRSD\FORVHDWWHQWLRQWRHYHU\
TXHVWLRQZHDVNHVSHFLDOO\ZKHQLWFRPHVWRGHPRJUDSKLFTXHVWLRQVSDUWLFLSDQWVGRPDNH
HUURUV$VDFDVHLQSRLQW,RIWHQVHHDJLYHQ\HDU HJ DVWKHDQVZHUWR³<RXUDJH´2U
DQ5$KHOSLQJZLWKWKHVWXG\KHUVHOILQGLFDWHGWKDWQRWDOOSDUWLFLSDQWVGLUHFWHGWRXVHDFHUWDLQ
FRGHDVWKHLU,'GLGVRFRUUHFWO\ VHH([KLELW 
    
,QH[DPLQLQJWKLVDQRPDO\WKH0&*IRUHQVLFILUPPHUJHGWZRGDWDVHWVIURPP\4XDOWULFV
DFFRXQWZKLFK,KDGVKDUHGZLWKWKHFRPPLWWHHZKHQDVNHGWRSURYLGHWKHRULJLQDOGDWD7ZR
GDWDVHWVH[LVWIRUWKLVVWXG\VLQFHZHQHHGHGDODUJHVDPSOHDQGLWSURYHGGLIILFXOWWRUHFUXLW
DERXW+DUYDUGFROOHJHVWXGHQWVLQ&/(5$VGRFXPHQWHGLQDQHPDLOH[FKDQJH VHH([KLELW
 ,ZRUNHGZLWKVWDIIDW+%6WR XVHDSSURSULDWHODQJXDJHWRPRGLI\WKH,5%DSSOLFDWLRQVR
WKDWDGGLWLRQDOGDWDFRXOGEHFROOHFWHGIURP+DUYDUGFROOHJHVWXGHQWVRQOLQH KDYHWKH
SURSRVHGFKDQJHVDSSURYHGE\WKH,5%DQG LGHQWLI\WKHEHVWZD\WRUHFUXLWSDUWLFLSDQWVRQOLQH
DQGSD\WKHPDSSURSULDWHO\
        
7KH0&*UHSRUWQRWHVWKDWWKHRQOLQHYHUVLRQRIWKHVWXG\ZDVVKRUWHUWKDQWKHRQHFRQGXFWHGLQ
&/(57KLVLVGXHWRWKHIDFWWKDWLWZDVNQRZQWREHGLIILFXOWWRUHFUXLWSDUWLFLSDQWVIRU&/(5
VWXGLHVXQOHVVWKH\ZHUHDERXWPLQORQJ VWXGHQWVQHHGHGWRZDONDFURVVWKHULYHUWREHLQ
DODEVWXG\DWWKHWLPH 6RLWZDVFRPPRQSUDFWLFHWRUXQWZRVWXGLHVZLWKLQWKHVDPHVHVVLRQ
                                 

     KWWSVMRXUQDOVVDJHSXEFRPGRLIXOO HPSKDVLVDGGHG 


                                                                                                  
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1038 of 1282





7KH0&*UHSRUWQRWHVWKRVHZKRDQVZHUHG³+DUYDUG´DV³<HDULQVFKRRO´GLGQRWSURYLGHD
+DUYDUGHPDLODGGUHVV 'UDIW,QYHVWLJDWLRQ5HSRUWSJ $VWKHVHSDUWLFLSDQWVZKRHQWHUHG
HPDLODGGUHVVHVWRRNWKHVWXG\RQOLQHSDUWLFLSDQWVNQHZWKDWWKH\ZRXOGEHSDLGWKURXJKDQ
$PD]RQJLIWFDUG,WLVQRWXQOLNHO\WKDWDQ\WKLQJUHODWHGWRWKHLU$PD]RQDFFRXQWLVQRWWKURXJK
WKHLU+DUYDUGHPDLOEXWWKHLUSHUVRQDOHPDLOOHDGLQJVRPHSDUWLFLSDQWVZKRWRRNWKHRQOLQH
VXUYH\WRFKRRVHWRHQWHULWLQVWHDG

7KH0&*UHSRUWDOVRQRWHVGLIIHUHQFHVLQWKHQXPEHURISDUWLFLSDQWVLQFOXGHGLQWKHVDPSOH
ZKHQFRPELQLQJWKHWZRGDWDVHWVIURPP\4XDOWULFVDFFRXQWDQGWKHGDWD,XVHGIRUDQDO\VLVWKDW
ZDVSRVWHGRQWKH26)SODWIRUP6SHFLILFDOO\WKHUHZHUHDGGLWLRQDOSDUWLFLSDQWVWKDWDUHQRWSDUW
RIWKHGDWDVHWSRVWHGRQ26)7KHUHDUHSODXVLEOHUHDVRQVIRUWKLVGLIIHUHQFH$VWKH0&*UHSRUW
LWVHOIQRWHVLWLVFRPPRQSUDFWLFHIRUWKHVDPH4XDOWULFVOLQNXVHGLQDVWXG\WREHXVHGIRU
WHVWLQJ)RULQVWDQFHDQDXWKRURU5$PD\ZDQWWRFKHFNKRZORQJLWWDNHVWRFRPSOHWHWKH
VWXG\WKDWWKHUDQGRPL]DWLRQLVZRUNLQJRUWKDWHYHU\WKLQJLVFOHDULQWKHLQVWUXFWLRQV7KRXJKLW
LVJRRGSUDFWLFHWRXVH³WHVW´LQWKH,'ER[ZKHQWHVWLQJLWLVQRWXQFRPPRQIRU5$VWHVWLQJWKH
4XDOWULFVVXUYH\WRXVHDGLIIHUHQW,'WDNHQRWHRILWDQGWKHQH[FOXGHWKHGDWDSRLQWDWWKHWLPH
RIWKHGDWDFOHDQLQJ

$GGLWLRQDOO\LIDSDUWLFLSDQWLQWKHODEZDVEHKDYLQJLQDSUREOHPDWLFZD\ HJFKHFNLQJWKHLU
SKRQHZKLOHFRPSOHWLQJWKHVWXG\RUHQJDJLQJLQDQ\RWKHUEHKDYLRUWKDWZRXOGVXJJHVW
LQDWWHQWLRQ WKHQWKH5$UXQQLQJWKHVWXG\ZRXOGPDNHQRWHRILWDQGWKHLUVWXG\,'VRWKDWWKH
SHUVRQZRXOGEHH[FOXGHGIURPWKHDQDO\VHV DQGQRWFRXQWHGDVDYDOLGSDUWLFLSDQW :KHQ
VWXGLHVDUHFRQGXFWHGRQOLQHXVLQJ4XDOWULFVOLQNVLIWKHOLQNLVQRWPDGHLQDFWLYHULJKWDIWHUGDWD
FROOHFWLRQZKRHYHUKDVWKHOLQNFDQFRPSOHWHWKHVWXG\DIWHUGDWDFROOHFWLRQLVRYHU,IWKH5$V
KHOSLQJZLWKGDWDFROOHFWLRQGLGQRWGHDFWLYDWHWKHOLQNWKHQLWLVSRVVLEOHRWKHUGDWDZDV
UHFRUGHGWKDWGLGQRWEHORQJWRWKHVWXG\LWVHOI$VVXFKWKH5$FOHDQLQJWKHGDWDVHWZRXOG
H[FOXGHLWIURPWKHFRXQWDQGILQDOGDWDVHWWREHXVHGIRUDQDO\VHV:LWKRXWKDYLQJDFFHVVWRD
GHVFULSWLRQRIWKHH[FOXVLRQVXVHGE\WKH5$VZKRKHOSHGFRQGXFWWKHVWXG\ZKRFOHDQHGWKH
GDWDDQGPHUJHGWKHWZRGDWDVHWV,DPXQDEOHWRSRLQWWRWKHH[DFWUHDVRQIRUWKHGLIIHUHQFH
+RZHYHULWVHHPVKLJKO\OLNHO\LWLVWKHUHVXOWRIGDWDFOHDQLQJZKHUHSDUWLFLSDQWVZHUHH[FOXGHG
IRUYDOLGUHDVRQV
     
7KH0&*UHSRUWDOVRSRLQWVWRVRPHGLVFUHSDQFLHVEHWZHHQWKHWZR4XDOWULFVGDWDVHWVWKDWZHUH
PHUJHGE\WKH5$VDQGWKHGDWDVHW,XVHGLQWKHDQDO\VHVDQGSRVWHGRQ26)$VWKHUHSRUWQRWHV
³7KHUDWLRQDOHIRUWKHPRGLILFDWLRQVZLWKLQWKHGDWDDVWKH\WUDQVLWLRQIURPWKHDSSDUHQWUHVHDUFK
UHFRUGLQWRWKHSXEOLVKHGUHFRUGZHUHOHVVFOHDU HJWKHPRGLILFDWLRQVZKLOHKDYLQJVRPH
GLUHFWLRQDOLW\GLGQRWDSSHDUWRDOLJQFRPSOHWHO\ZLWKDXWKRUVK\SRWKHVL]HGRXWFRPHV ´ 0&*
5HSRUWSJ ,IWKH5$VPDGHDQ\KRQHVWHUURUVLQWKHFOHDQLQJRIWKHGDWDRUGXULQJWKH
PHUJHUVRIWKHWZRGLIIHUHQWGDWDVHWV,DPFHUWDLQO\UHVSRQVLEOHIRUWKHVHHUURUVDV,ZDVWKH3,
  SULQFLSDOLQYHVWLJDWRU RQWKHUHVHDUFK±KRZHYHUWKLVGRHVQRWPHDQ,DPUHVSRQVLEOHIRU
UHVHDUFKPLVFRQGXFW7KURXJKRXWWKLVSURFHVVWKHFRPPLWWHHLWVHOIFROOHFWHGHYLGHQFHWKDW5$V
RUFROODERUDWRUVZRUNLQJZLWKPHQHYHUIHOWWKHSUHVVXUHWRSURGXFHDFHUWDLQUHVXOWRUKDGDQ\
LQFHQWLYHWRPLVUHSRUWLQIRUPDWLRQRUDOWHUGDWD 'UDIW,QYHVWLJDWLRQ5HSRUWSJ ,IHUURUVZHUH
LQIDFWPDGHJLYHQWKLVHYLGHQFHWKH\ZHUHQRWLQWHQWLRQDO
     



                                                                                                 
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1039 of 1282




,QFRPSDULQJWKHGDWDVHWSRVWHGRQ26)DQGWKH4XDOWULFVGDWDVHWLWLVEHLQJDVVXPHGLQWKLV
LQYHVWLJDWLRQWKDWWKH4XDOWULFVGDWDLVDFFXUDWHDQGWKHGDWDSRVWHGRQWKH26)LVQRW7KDW
DVVXPHVWKH³UDZ´4XDOWULFVGDWDLVWKHRULJLQDOGDWDDQGWKDWQRRQHKDVDFFHVVHGRUPRGLILHGLW
$V,KDYHSRLQWHGRXWHDUOLHUDQGDV,ZLOOH[SODLQLQGHWDLORQSDJHVRIWKLVGRFXPHQW
  IDFWVFRUURERUDWHGE\5$VWZR)66VDQGFROODERUDWRUV WKHUHDUHRWKHUVZLWKDFFHVVWRP\
4XDOWULFVDFFRXQWDQGWDPSHULQJE\DPRWLYDWHGWKLUGSDUW\FDQQRWDQGVKRXOGQRWEHUXOHGRXW

,DOVRDVNWKHFRPPLWWHHWRWKLQNDERXWP\SDWWHUQRIEHKDYLRUDQGODFNRILQWHQW,IRQHZHUHWR
HQJDJHLQGDWDPDQLSXODWLRQLWZRXOGPDNHOLWWOHVHQVHWRDOWHUWKHGDWDRQO\RQRQH¶VFRPSXWHU
ZKLOHOHDYLQJWKHRULJLQDOVRXUFHGDWDDVLV7KLVEHKDYLRULPSOLHGE\WKH'UDIW,QYHVWLJDWLRQ
5HSRUWPDNHVHYHQOHVVVHQVHFRQVLGHULQJWKDW,ZLOOLQJO\SRVWHGP\GDWDRQOLQHIRUDQ\RQHWR
VFUXWLQL]HDQG,ZDVZHOODZDUHWKDWRWKHUVKDGDFFHVVWRP\4XDOWULFVDFFRXQWDQGWKHUHIRUH
FRXOGFKHFNP\GDWDDWDQ\WLPH0\EHKDYLRULVQRWFRQVLVWHQWZLWKRQHZKRIDEULFDWHVRU
IDOVLILHVGDWDDQGLQIDFWWKHSXEOLFVKDULQJRIGDWDGLUHFWO\PRWLYDWHVDJDLQVWVXFKGDWD
DOWHUDWLRQ$GGLWLRQDOO\ZLWKRXWHYLGHQFHWKDWIDEULFDWLRQRUIDOVLILFDWLRQDFWXDOO\RFFXUUHGWKH
DQRPDORXVHQWULHVLQWKLV$OOHJDWLRQDORQHGRQRWVXSSRUWDILQGLQJRIUHVHDUFKPLVFRQGXFWE\D
SUHSRQGHUDQFHRIWKHHYLGHQFH


     ,($OOHJDWLRQFRQFHUQLQJ6WXG\$LQWKH-363DUWLFOHZLWK                             
     DQG                     
     
$OOHJDWLRQFRQFHUQV6WXG\$LQWKH-363DUWLFOHZLWK                          DQG       
           7KHFRPPLWWHHQRWHGWKDW,VHHPHGWRKDYHDVWURQJGHVLUHWRSXEOLVKWKLVSDSHU
VXJJHVWLQJWKDWVXFKDGHVLUHFRXOGOHDGWRPDOIHDVDQFHRQP\SDUW)LUVWWKHYDVWPDMRULW\RI
VFKRODUVKDYHVWURQJGHVLUHVWRSXEOLVKWKHLUUHVHDUFKVRDQ\LPSOLFDWLRQVWKDWWKLVPDNHVRQH
PRUHOLNHO\WRFRPPLWIUDXGVHHPVXQZDUUDQWHG,QDGGLWLRQWKHKLVWRU\RIWKLVSDSHU
GHPRQVWUDWHVWKDWSXEOLFDWLRQRIWKLVSDSHUZDVQRWDSDUWLFXODUO\KLJKSULRULW\IRUPH

                                       DQG,SXEOLVKHGDPXOWLVWXG\SDSHUWLWOHG³7KH
FRQWDPLQDWLQJHIIHFWVRIEXLOGLQJLQVWUXPHQWDOWLHV+RZQHWZRUNLQJFDQPDNHXVIHHOGLUW\´LQ
$GPLQLVWUDWLYH6FLHQFH4XDUWHUO\LQ,QWKLVSDSHUZHH[DPLQHGKRZWKHFRQWHQWDQG
DSSURDFKSHRSOHXVHZKHQQHWZRUNLQJLQIOXHQFHKRZWKH\IHHOGXULQJWKHGHYHORSPHQWDQG
PDLQWHQDQFHRIVRFLDOWLHVDQGKRZWKDWLQWXUQLQIOXHQFHVWKHLUSHUIRUPDQFHRQWKHMRE:HDOVR
H[SORUHGWKHUROHRISRZHUDVDPRGHUDWRU

2QHRIWKHVWXGLHVLQWKH$64SDSHUZDVDVXUYH\VWXG\RIODZ\HUVLQDODUJH1RUWK
$PHULFDQEXVLQHVVODZILUP               KDGGHYHORSHGWKDWUHODWLRQVKLSDQGLQDQDO\]LQJWKHGDWD
QRWHGWKDWDQRWKHUSRVVLEOHPRGHUDWRUIRURXUHIIHFWVFRXOGEHZKHWKHUSHRSOHZKRHQJDJHLQ
QHWZRUNLQJGRVRZLWKDSURPRWLRQRUSUHYHQWLRQIRFXV:KHQSHRSOHHPEUDFHDSURPRWLRQ
PLQGVHWWKH\IRFXVRQWKHJURZWKDGYDQFHPHQWDQGDFFRPSOLVKPHQWVWKDWQHWZRUNLQJFDQ
EULQJWKHP:KHQSHRSOHHPEUDFHDSUHYHQWLRQPLQGVHWLQVWHDGWKH\VHHQHWZRUNLQJDV
VRPHWKLQJWKH\DUHREOLJDWHGWRGRIRUSURIHVVLRQDOUHDVRQV:HGHFLGHGWRZRUNRQDVHFRQG
SDSHUWRH[SORUHWKLVILQGLQJIXUWKHU:HDOVRGLVFXVVHGLWLQD+DUYDUG%XVLQHVV5HYLHZDUWLFOH
WLWOHG³/HDUQWR/RYH1HWZRUNLQJ´WKDWDSSHDUHGLQWKH0D\LVVXHRI+%5
                                 

    KWWSVKEURUJOHDUQWRORYHQHWZRUNLQJ


                                                                                                   
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1040 of 1282





                    DQG,EHOLHYHGWKLVILQGLQJGHVHUYHGIXUWKHUH[SORUDWLRQJLYHQWKDWPDQ\
SHRSOHILQGSURIHVVLRQDOQHWZRUNLQJWREHXQFRPIRUWDEOHDQGLQDXWKHQWLFDQGZHKDGLGHQWLILHGD
VKLIWLQPLQGVHWWKDWFRXOGKHOSWKHPDSSURDFKQHWZRUNLQJZLWKPRUHHDVHDQGWKXVEHQHILWWKHLU
SHUIRUPDQFHDQGFDUHHU:HDOVREHOLHYHGWKDWH[SORULQJWKLVILQGLQJZRXOGFRQWULEXWHWRH[LVWLQJ
WKHRULHVDERXWWKHDQWHFHGHQWVDQGFRQVHTXHQFHVRIQHWZRUNLQJEH\RQGWKHFRQWULEXWLRQVPDGH
E\RXU$64SDSHU:HZHQWRQWRVXEPLWWKHSDSHUWRYDULRXVPDQDJHPHQWMRXUQDOV
7KH\DOOUHMHFWHGWKHSDSHURYHUWKHFRXUVHRIWKUHH\HDUVEDVHGSULPDULO\RQOLPLWHGWKHRUHWLFDO
FRQWULEXWLRQV

         o -DQXDU\ZHVXEPLWWHGWKHSDSHUWRWKH$FDGHP\RI0DQDJHPHQW-RXUQDO $0- 
         o $SULOZHUHFHLYHGDUHMHFWLRQIURP$0-
         o 'HFHPEHUZHVXEPLWWHGWKHSDSHUWR$0-DVHFRQGWLPHDIWHUPDMRUUHYLVLRQV
             WRWKHWKHRU\DQGDIWHUFROOHFWLQJQHZGDWD
         o )HEUXDU\WKHSDSHUZDVUHMHFWHGE\$0-
         o /DWHUWKDW)HEUXDU\ZHVXEPLWWHGWKHSDSHUWR2UJDQL]DWLRQ6FLHQFH 26 
         o -XQHWKHSDSHUZDVUHMHFWHGE\26
         o $XJXVWZHVXEPLWWHGWKHSDSHUWRWKH-RXUQDORI$SSOLHG3V\FKRORJ\ -$3 
         o 2FWREHUWKHSDSHUZDVUHMHFWHGE\-$3
         o /DWHULQ2FWREHUZHVXEPLWWHGWKHSDSHUWR2UJDQL]DWLRQDO%HKDYLRUDQG
             +XPDQ'HFLVLRQ3URFHVVHV 2%+'3  ,ZDVWKH(GLWRURIWKHMRXUQDODWWKHWLPHEXW
             WKH$(KDQGOHGWKHSDSHU 
         o 0DUFKWKHSDSHUZDVUHMHFWHGE\2%+'3

$V,QRWHGWKHPDLQLVVXHWKHUHYLHZHUVDQGHGLWRUVDWWKHVHYDULRXVMRXUQDOVEURXJKWXSZDVLQ
UHODWLRQWRZKDWWKH\EHOLHYHGWREHOLPLWHGWKHRUHWLFDOFRQWULEXWLRQVLQGLFDWLQJWKDWWKHSDSHU
GLGQRWDGYDQFHWKHRU\LQELJHQRXJKZD\VJLYHQWKHH[LVWLQJ$64SDSHUZHSXEOLVKHG
7KHSUREOHPZLWKWKLVSDSHUWKXVZDVQRWZLWKWKHGDWDRUWKHGDWDDQDO\VLV

,QDQHPDLOH[FKDQJH VHH([KLELW DIWHUUHFHLYLQJWKH2%+'3UHMHFWLRQ                             
DQG,GLVFXVVHGWKHSRVVLELOLW\RIVXEPLWWLQJWKHSDSHUWRDSV\FKRULHQWHGMRXUQDO$VWKHHPDLO
H[FKDQJHFOHDUO\VKRZV,ZDVLQQRKXUU\WRZRUNRQWKLVSDSHUQRUZDV,WKHSHUVRQZKR
UHJXODUO\FKHFNHGLQDERXWLWVVWDWXVDQGH[SUHVVHGLQWHUHVWLQSXEOLVKLQJWKHSDSHU

         o ,QDQHPDLOIURP0DUFK              VWDWHV³,WDNHRXUFROOHFWLYHVLOHQFH
             IROORZLQJ\HWDQRWKHUUHMHFWLRQDVDVLJQWKDWZH¶UHUHDG\WRWU\DQGSODFHWKLVSDSHULQ
             DORZHUWLHUMRXUQDO²VKRXOGZHEHVROXFN\´ VHH([KLELW 
         o ,QDQHPDLOIURP$SULO            VWDWHV³+LWHDP2UJ6FLHQFHMXVWVHQWPH
             DPDQXVFULSWWRUHYLHZWKDWLVDOODERXWSURPRWLRQSUHYHQWLRQUHJXODWRU\IRFLDQG
             QHWZRUNWLHV,W¶VDWKHRU\RQO\SLHFHEXWLWVWLOOJLYHVXVDQRWKHULQFHQWLYHWRJHWRXU
             SDSHUSXEOLVKHGVRRQHUWKDQODWHU6KDOOZHJLYHRXUVHOYHVDGHDGOLQHWRJRWKURXJK
             WKHUHYLHZVDQGFRPSDUHQRWHVRQWKHFKDQJHVZH¶GOLNHWRPDNHEHIRUHVXEPLWWLQJ
             DJDLQ",VKRXOGEHDEOHWRFDUYHRXWDIHZGD\VLQ0D\WRZRUNRQWKHSDSHUUHZULWH
             %HVW        ´ VHH([KLELW 

                                       
    ,DPKDSS\WRSURYLGHWKHOHWWHUVRIUHMHFWLRQIURPWKHVHMRXUQDOVVKRXOGWKHFRPPLWWHHVRGHVLUH


                                                                                                          
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1041 of 1282
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1042 of 1282




GLVFXVVHGDVDWHDPZHZRXOGUHJURXSWRXQGHUVWDQGZKDWKDSSHQHGDQGKRZWRSRWHQWLDOO\UH
UXQWKHVWXG\PDNLQJWKHVWXG\LWVHOIDQGWKHUHVXOWLQJSDSHUVWURQJHU

'HFHPEHUDQG-DQXDU\ZHUHEXV\PRQWKVIRUPH3HUVRQDOO\,KDGIRXUVPDOOFKLOGUHQDWKRPH
ZKHQZHUHFHLYHGWKH5 5ZLWKQRIDPLO\DURXQGWRKHOSRXW,KHDYLO\UHOLHGRQWKHKHOSRIP\
IXOOWLPH5$DWWKHWLPH                   DVZHOODV5$VZRUNLQJWHPSRUDULO\RUWKURXJKWKH
%,*ODE LHWKH%HKDYLRUDO,QVLJKWV*URXSODE WRPDNHSURJUHVVRQP\UHVHDUFK0\HPDLO
UHFRUGVVKRZWKDW        KHOSHGZLWKWKH,5%DSSOLFDWLRQIRU6WXG\$UHYLHZHGDQGSURYLGHG
IHHGEDFNRQWKHVWXG\PDWHULDOVDQGDOVRKHOSHGZLWKFRGLQJ VHH([KLELWVDEFDQG
G 0\UHFRUGVDOVRVKRZWKDW         DQG,PHWPXOWLSOHWLPHVWKURXJKRXW-DQXDU\WRGLVFXVV
WKLVVWXG\DQGRWKHUUHVHDUFK 7XHVGD\-DQXDU\)ULGD\-DQXDU\7KXUVGD\
-DQXDU\7KXUVGD\-DQXDU\ 7ZRFROOHJHVWXGHQWVZHUHDOVRKHOSLQJZLWK
UHVHDUFKDWWKDWWLPH                     WKURXJK DQG               
  WKURXJK 7KHH[FHOILOHIURP%HWK+DOO 'LUHFWRU5HVHDUFK6WDII
6HUYLFHVDW+%6 FRUURERUDWHVWKLV VHH([KLELW 

,UHJXODUO\PHHWIDFHWRIDFHZLWKP\5$VWREHFOHDURQWKHLUUHVSRQVLELOLWLHVEXWDOVRRQWKH
GHWDLOVRIVWXGLHVEHLQJFRQGXFWHGJLYHQWKDW,WHQGWRZRUNRQPXOWLSOHVWXGLHVDQGUHVHDUFK
SURMHFWVDWDWLPHDVZDVWKHFDVHIRUWKLVVWXG\:KDWWKLVPHDQVLVWKDWUHJXODUO\H[FKDQJHVRI
GDWDDQGPDWHULDOVKDSSHQWKURXJK86%NH\VRUIODVKGULYHVUDWKHUWKDQYLDHPDLO

:HZHUHQRWUHTXLUHGE\WKH-RXUQDORI3HUVRQDOLW\DQG6RFLDO3V\FKRORJ\WRSRVWRXUGDWD
SXEOLFO\LQDVWKDWUHTXLUHPHQWEHJDQRQO\DIWHU+RZHYHUZHSXEOLFO\VKDUHGRXU
GDWDYROXQWDULO\7KLVFKRLFHWRVKDUHGDWDSXEOLFO\LVLQFRQVLVWHQWZLWKWKHDOOHJDWLRQWKDWWKH
GDWDZDVVRPHKRZLPSURSHUO\DOWHUHGDQGLQVWHDGVXSSRUWVWKHIDFWWKDW,ZDVXQDZDUHRIDQ\
GDWDDQRPDOLHVRURWKHUFRQFHUQV

        ,(([SODLQLQJWKH'DWD$QRPDOLHVIRU$OOHJDWLRQ

:KHQUHYLHZLQJWKHLQLWLDODOOHJDWLRQIURPWKHFRPSODLQDQWDERXW6WXG\$,GLGQRWILQGWKHVR
FDOOHGDQRPDO\WREHVXUSULVLQJ7KHFRPSODLQDQWLQGLFDWHGWKH\IRXQGSX]]OLQJWKDWVRPHRIWKH
ZRUGVSDUWLFLSDQWVXVHGWRGHVFULEHDQHWZRUNLQJHYHQWZHUHPRUHSRVLWLYHWKDQRWKHUV
VXJJHVWLQJWKDWWKHLUUDWLQJVRQWKH³PRUDOLPSXULW\´PHDVXUHVKRXOGKDYHEHHQDRXWRID
SRLQWVFDOHUDWKHUWKDQDRUD7KHFODLPDQWDOVRLQGLFDWHGWKDWODQJXDJHVXFKDV³DOOWKDW
FRUSRUDWHVWXIILVDZIXO´VKRXOGUHVXOWLQ³PRUDOLPSXULW\´UDWLQJVJUHDWHUWKDQ,QSULRU
UHVHDUFK                    DQG,IRXQGWKDWHQJDJLQJLQSURIHVVLRQDOLQVWUXPHQWDOQHWZRUNLQJ
GRHVQRWQHFHVVDULO\FKDQJHKRZSRVLWLYHRUQHJDWLYHRQHIHHOVEXWGRHVLQIOXHQFHKRZ³GLUW\´
DQG³LQDXWKHQWLF´DSHUVRQIHHOV$VDSHUVRQZKRHQJDJHGLQQHWZRUNLQJDWDFRPSDQ\HYHQW
IRUH[DPSOH,PD\IHHOJRRGDERXWWKHIDFWWKDW,GLGKDYHDFRQYHUVDWLRQZLWKDSHUVRQ,ZDQWHG
WRFRQQHFWWREXWDOVRLQDXWKHQWLFLQWKHPHGLXPIRUUHDFKLQJRXW7KLVLVWRVD\WKDW,GLGQRW
ILQGWKHH[SODQDWLRQSURYLGHGE\WKHFODLPDQWWREHFRQYLQFLQJ7KHGDWDRQO\DSSHDU
³DQRPDORXV´EHFDXVHWKHFODLPDQWGRHVQRWVHHPWRXQGHUVWDQGWKHPHWKRGDQGVHHPVXQDZDUH
RIWKHH[LVWLQJOLWHUDWXUH
        

                                     

     KWWSVZZZDSDRUJSXEVMRXUQDOVIHDWXUHVSVSSVSSSGI


                                                                                                 
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1043 of 1282




7KHFRPSODLQDQWFRQFOXGHGWKDW³7KLVPHDQVWKDWDUHVHDUFKHUZKRWDPSHUHGZLWKWKLVGDWD
PLJKWKDYHPDQXDOO\DOWHUHGVRPHSDUWLFLSDQWV¶UDWLQJVZLWKRXWDOVRIHHOLQJFRPSHOOHGWR
PDQXDOO\DOWHUWKHWH[WWKDWDFFRPSDQLHGWKRVHUDWLQJV7KLVZRXOGOHDYHDWUDFH´ 'UDIW
,QYHVWLJDWLRQ5HSRUW([KLELWSJ ,IRXQGWKLVSRLQWSX]]OLQJDQGLIDQ\WKLQJIXUWKHU
EROVWHULQJWKHFDVHDJDLQVWWDPSHULQJ,IDSHUVRQDFWXDOO\GLGDOWHUWKHGDWDLQWHQWLRQDOO\LW
ZRXOGEHHDV\WRFKDQJHWKHZRUGVIRUWKHHPRWLRQVWRPDWFKWKHUDWLQJVDQGWKXVOHDYHQRWUDFH
        
7KHFRPSODLQDQWDOVRVWDWHGWKDWJLYHQWKHSRVLWLYLW\RIWKHZRUGVVRPHRIWKHSDUWLFLSDQWVXVHG
WKDWD³PRUDOLPSXULW\´VFRUHRIVKRXOGEHPRUHOLNHO\WKDQD³´RUD³´7KLVLVSXUH
VSHFXODWLRQRQWKHSDUWRIWKHFRPSODLQDQW7KHFRPSODLQDQW¶VFRQFOXVLRQFDQQRWEHMXVWLILHG
EHFDXVHDVPXFKUHVHDUFKKDVVKRZQSHRSOHH[SHULHQFHWKHVDPHHYHQWGLIIHUHQWO\IURPDQ
HPRWLRQDOVWDQGSRLQWDQGDOVRH[SUHVVWKHLUHPRWLRQVGLIIHUHQWO\,PD\IHHOUDWKHUH[FLWHGDIWHUD
QHWZRUNLQJHYHQWDVDQH[DPSOHDQGVFRUHRQWKHPRUDOLPSXULW\VFDOHZKLOHDSHUVRQZKR
VHHPVHTXDOO\H[FLWHGPD\VFRUHDRU

7KRXJKWKHUHDUHVLPSOHH[SODQDWLRQVIRUWKHVRFDOOHGDQRPDOLHVLGHQWLILHGE\WKHFRPSODLQDQW
WKHDGGLWLRQDODQDO\VHVFRQGXFWHGE\0&*DQGP\RZQUHDQDO\VLVRIWKHGDWD,GRZQORDGHG
IURPP\4XDOWULFVDFFRXQWKDYHPHSX]]OHGZLWKUHVSHFWWRRWKHUJDSV$VWKHUHSRUWQRWHG
³WKHUHDSSHDUWREHPXOWLSOHGLVFUHSDQFLHVLQFHUWDLQVHWVUHODWHGWRWKHUDZGDWDVRXUFH
  ³4XDOWULFV'DWD´ DQGSXEOLFUHSRVLWRU\GDWDDVVRFLDWHGZLWKWKH-3633DSHU ³26)GDWD´ 
SURYLGHGE\WKHFOLHQW´ 0&*5HSRUWSJ 7KHGLVFUHSDQFLHVH[LVWLQWZRRIWKHVWXG\
FRQGLWLRQVSURPRWLRQDQGSUHYHQWLRQIRFXV:KHQGRZQORDGLQJWKHGDWDIURPP\4XDOWULFV
DFFRXQWDQGZRUNLQJWKURXJKWKHVWHSVDQ5$OLNHO\IROORZHGWRFOHDQWKHGDWD,IRXQGP\VHOI
SX]]OHGVLQFHVRPHRIWKHFKRLFHVVHHPXQUHDVRQDEOHIRUDQ5$WRKDYHPDGHGXULQJGDWD
FOHDQLQJ)RULQVWDQFHDVVWDWHGLQWKH0&*UHSRUW³HYDOXDWLRQRIWKH4XDOWULFVGDWD
GHPRQVWUDWHGWKDWSDUWLFLSDQWVGLGQRWDSSHDUWRKDYHJLYHQFRQVHQWWRWKHUHVHDUFKHYHQ
WKRXJKWKHGDWDWKHVHSDUWLFLSDQWVSURYLGHGZHUHXWLOL]HGLQWKH-363SDSHU´ 0&*5HSRUW
SJ ,WLVFRPPRQSUDFWLFHDQGVRPHWKLQJ,DOZD\VPDNHWKHSRLQWWRGLVFXVVZLWK5$VWDVNHG
ZLWKGDWDFOHDQLQJWRQRWLQFOXGHSDUWLFLSDQWVWKDWGRQRWFRQVHQWWRWKHUHVHDUFKLQWKHILQDO
GDWDVHWIRUDQDO\VHV
        
7KRXJKWKH+%63ROLF\VWDWHVWKDW,ZRXOGEHJLYHQDFFHVVWRWKHGHWDLOHGDQDO\VHVIURPWKH
0&*ILUPDQGDOOWKHILOHVWKH\XVHG,GLGQRWKDYHDFFHVVWRWKHLUDQDO\VHVDQGH[FHOILOHVRWKHU
WKDQWKHLUILQDOUHSRUW,WKXVWULHGWRUHFUHDWHWKHLUDQDO\VHVWRIROORZWKHLUREVHUYDWLRQV7KRXJK
P\DQDO\VHVGRQRWIXOO\PDWFKZKDW0&*GLGOLNHO\EHFDXVHRIGLIIHUHQFHVLQGDWDH[FOXVLRQ
FKRLFHVOLNH0&*,GLGILQGGLVFUHSDQFLHV,DWWHPSWHGWRPDNHVHQVHRIWKHVHGLVFUHSDQFLHVDV,
ZRQGHUHGZKHWKHUWKH5$PL[HGXSWKHFRQGLWLRQVEXW,FRXOGQRWILQGDSDWWHUQWKDW
FRQYLQFLQJO\SRLQWHGWRDQH[SODQDWLRQIRUHDFKGDWDGLVFUHSDQF\$VWKH0&*UHSRUWVWDWHV
³DERXWRIWKHGDWDLQWKHVHVXUYH\DUHDV´ UHIHUULQJWRWKHVXUYH\VFRUHVIRUPRUDOLPSXULW\
DQGQHWLQWHQWLRQV ³DSSHDUWRKDYHEHHQPRGLILHG«ZKHQFRPSDULQJ26)VXUYH\VFRUHGDWDWR
WKHVFRUHVFDSWXUHGLQWKHRULJLQDO4XDOWULFVVXUYH\´ 0&*5HSRUWSJ 

:KDWFRXOGH[SODLQVXFKGLVFUHSDQFLHV"2QHSRVVLELOLW\LVWKDWDQ5$ZKRFOHDQHGWKHGDWDPDGH
DQKRQHVWHUURULQWKHSURFHVV,WDNHIXOOUHVSRQVLELOLW\IRUHUURUVLQWKHGDWDDV,ZDVWKHSULQFLSDO
LQYHVWLJDWRURQWKHSURMHFW±EXWWKLVUHVSRQVLELOLW\GRHVQRWH[WHQGWRUHVHDUFKPLVFRQGXFW$V
GLIIHUHQW5$VRUFROODERUDWRUVZRUNLQJZLWKPHKDYHVWDWHGWKH\QHYHUIHOWWKHSUHVVXUHWR



                                                                                                    
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1044 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1045 of 1282
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1046 of 1282




FROOHDJXH3URIHVVRU                     ZKRLVDQHLJKERUZDVZDONLQJE\P\KRXVHDVVKHRIWHQ
GRHVRQZHHNHQGV:HZHUHVFKHGXOHGWRPHHWRQDUHJXODUEDVLVWRSUHSDUHIRUWKHWHDFKLQJ
ZH¶GEHGRLQJWRJHWKHUVRRQDQG,ZDQWHGWRLQIRUPKHUDERXWWKHSRVVLELOLW\,ZRXOGEH
GLVWUDFWHGE\WKHHYHQWVXUURXQGLQJWKH'DWD&RODGDSRVWWKDWZRXOGJROLYHWZRGD\VODWHU RQ
$XJXVWKWWSGDWDFRODGDRUJ DQGWKHIROORZLQJUHWUDFWLRQRIWKH31$6SDSHU
WKHSRVWUHIHUUHGWR,FRQILGHGWR      WKDW,ZDVSDUWLFXODUO\ZRUULHGDERXW              WDONLQJWR
WKHPHGLDDQGO\LQJDERXWWKHIDFWVEHKLQGWKHFROODERUDWLRQLQDQDWWHPSWWRKXUWPH,WZDVWKHQ
WKDW,WROG    DERXW       ¶VWKUHDW3OHDVHVHH3URIHVVRU)UDQFHV      ¶VOHWWHUFRPPHQWLQJRQ
WKLVLQWHUDFWLRQ VHH([KLELW 
         
         
         ,,%'DWD$FFHVVLELOLW\

$V,QRWHGLQP\LQWHUYLHZ,KDYHORQJVKDUHGP\4XDOWULFVDFFRXQWLQIRUPDWLRQDQGRWKHUORJ
LQVZLWKFROODERUDWRUV5$VDQGRWKHUVZKRP,KDYHZRUNHGZLWK                      KDVKDGDFFHVVWR
P\4XDOWULFVDFFRXQWVLQFH,VKDUHGZLWKKHUP\4XDOWULFVDFFRXQWORJLQFUHGHQWLDOVLQWKH\HDUV
ZHFROODERUDWHGRQSURMHFWV7KLVLVDVWDQGDUGSUDFWLFH,KDYHXVHGZLWKP\FROODERUDWRUVDQG
5$V,WKHOSVHQVXUHWKDW,DPQRWDERWWOHQHFNRQSURMHFWV

              DQ5$ZKRP,ZRUNHGZLWKIRUIRXU\HDUV  VWDWHGLQDQHPDLO VHH
([KLELW WKDWWKLVZDVWKHVWDQGDUGSUDFWLFHRIPLQHWKDWVKHREVHUYHG0\+%6)DFXOW\
6XSSRUW6SHFLDOLVWV                     -XQH DQG                   -XO\1RYHPEHU
 DOVRWHVWLILHGWKDWWKH\KDGP\ORJLQFUHGHQWLDOVDQGKDGP\SHUPLVVLRQWRVKDUHWKRVHZLWK
P\FROODERUDWRUV VHH([KLELWDDQGE :KRHYHUKDVORJLQFUHGHQWLDOVFDQDFFHVVP\
4XDOWULFVDFFRXQWDQGDOVRDOOWKHGDWDIURPDQ\VWXG\FRQGXFWHGZLWK4XDOWULFV$VD
FROODERUDWRURQPXOWLSOHSURMHFWVRYHUWKH\HDUV                 KDGDFFHVVWRP\4XDOWULFVDFFRXQW
DQGWKHUHIRUHDOOWKH4XDOWULFVGDWDDWLVVXHLQWKLVLQYHVWLJDWLRQLQ$OOHJDWLRQVDQG WKH
VWXGLHVZLWKDYDLODEOHGDWDRQ4XDOWULFV 

0\FROODERUDWRUVDOVRRIWHQKDYHGLUHFWDFFHVVWRP\ODSWRSFRPSXWHU:KHQPHHWLQJDW
FRQIHUHQFHVLQP\RIILFHRULQRWKHUORFDWLRQV,¶YHUHJXODUO\ZRUNHGRQSURMHFWVRUDQDO\]HG
GDWDZLWKFROODERUDWRUVDOVRDOORZLQJWKHPWRXVHP\ODSWRSZKLOHZHDUHWRJHWKHU ,¶YHQHYHU
KDGDGHVNWRSFRPSXWHUDVDIDFXOW\PHPEHUDW+%60\ODSWRSLVWKHRQO\FRPSXWHU,XVHIRU
P\ZRUN $VHYLGHQFHRIWKHVHSUDFWLFHVSOHDVHVHHWKHDWWDFKHGHPDLOVIURPWZRORQJWLPH
FROODERUDWRUVRIPLQH3URIHVVRU                  RI:DVK8LQ6W/RXLV VHH([KLELW DQG
3URIHVVRU              RI81& VHH([KLELW 7KHVDPHSUDFWLFHVDUHGLVFXVVHGLQDIHZOHWWHUV
WKDWFROODERUDWRUVDQGGRFWRUDOVWXGHQWVVXEPLWWHGZKHQQRPLQDWLQJPHIRUWKH$FDGHP\RI
0DQDJHPHQW$ZDUGIRU0HQWRUVKLS VHH([KLELWZLWKWKHUHOHYDQWSDUWKLJKOLJKWHG 0\
XQGHUVWDQGLQJZDVWKDWWKLVZDVVWDQGDUGSUDFWLFHLQUHVHDUFKODEVLQSDVW\HDUVDQGDPRQJ
SHRSOHZKRFROODERUDWHRQPXOWLSOHSURMHFWV                  ¶VHPDLOFRUURERUDWHVWKLVSRLQW VHH
([KLELW ,QDGGLWLRQRWKHUVFKRODUVKDYHXVHGVLPLODUSUDFWLFHV VHH([KLELWDVDQ
H[DPSOHIURP                      JLYLQJDFFHVVWRKHU4XDWULFVDFFRXQWWRDQ5$ZHZHUHZRUNLQJ
ZLWK ,UHFRJQL]HQRZWKDWIURPDVHFXULW\DQGSULYDF\SRLQWRIYLHZWKLVZDVOLNHO\DPLVWDNH
DVLWSURYLGHGPHOLWWOHFRQWURORYHUDFFHVVWRP\GDWDDQGILOHV,DPKLJKO\WUXVWLQJRIWKHSHRSOH
ZLWKZKRP,ZRUN




                                                                                                      
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1047 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1048 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1049 of 1282




,EHOLHYHWKLVLVQRWDQXQFRPPRQSUDFWLFH7KHWHVWLPRQ\IURPWKH)66VFRUURERUDWHVWKLV VHH
([KLELWVDDQGE ,DOVRLQFOXGHDQHPDLOIURPRQHRIP\FROODERUDWRUV                    
VKDULQJKHURZQ4XDOWULFVDFFRXQWZLWKPHDQGDQ5$ VHH([KLELWVDQG 

   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³)LUVWWKH\ZRXOGKDYHQHHGHGDFFHVVWR
ERWK3URIHVVRU*LQR¶V4XDOWULFVDFFRXQWVDQGKHUFRPSXWHU¶VKDUGGULYHDVWZRDOOHJDWLRQV 
DQG LQYROYHGLVFUHSDQFLHVLQ4XDOWULFVGDWDDQGRQHDOOHJDWLRQ  LQYROYHVGLVFUHSDQFLHVLQ
WKHFRPSXWHU¶VGDWD´

,KDYHQRZVKRZQWKDWWKHUHDUHYHU\ORJLFDODQGUHDVRQDEOHH[SODQDWLRQVIRU$OOHJDWLRQVDE
DQG,DOVRSURYLGHFRQYLQFLQJHYLGHQFHWKDWVKRZVWKDW,GLGQRWFRPPLWDQ\ZURQJGRLQJLQ
UHJDUGWR$OOHJDWLRQ,ZRXOGDOVROLNHWRFODULI\WKDWDQ\RQHZLWKDFFHVVWRP\4XDOWULFVORJLQ
FUHGHQWLDOVKDGDFFHVVWRWKHGDWDIRU$OOHJDWLRQVDQGZLWKRXWWKHQHHGWRDFFHVVP\KDUG
GULYH

  7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³)RUKDUGGULYHGDWDPDQLSXODWLRQLQ
DGGLWLRQWR3URIHVVRU*LQR¶V+%6ORJLQLQIRUPDWLRQWKH\ZRXOGDOVRKDYHQHHGHGDFFHVVWRKHU
VHFRQG³IDFWRU´SUREDEO\KHUFHOOSKRQHLQ+%6¶VWZRIDFWRUDXWKHQWLFDWLRQV\VWHPZKLFKZDV
LPSOHPHQWHGDW+%6LQ´

7KLVIDFWLVQRWUHOHYDQWWRDQ\RIWKHDOOHJDWLRQV$VRWKHUVKDYHH[SODLQHGLQWKHLUWHVWLPRQ\,
UHJXODUO\VLWGRZQZLWKFROODERUDWRUV5$VDQGGRFWRUDOVWXGHQWVLQIURQWRIP\ODSWRS,IP\
ODSWRSLVRSHQWKHUHLVQRQHHGIRUDQ+%6¶VWZRIDFWRUDXWKHQWLFDWLRQV\VWHP%XWPRUH
LPSRUWDQWO\WRDFFHVVP\4XDOWULFVGDWDDFFHVVWRP\FRPSXWHULVQRWQHHGHG7KLVPHDQVWKDW
DQ+%6¶VWZRIDFWRUDXWKHQWLFDWLRQV\VWHPLVQRWQHHGHGWRDFFHVVP\4XDOWULFVDFFRXQW:LWK
P\4XDOWULFVORJLQLQIRUPDWLRQRQHFDQDFFHVVP\4XDOWULFVGDWDIURPDQ\FRPSXWHU

  7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³3URIHVVRU*LQR¶VUHSHDWHGDQGVWUHQXRXV
DUJXPHQWIRUDVFHQDULRRIGDWDIDOVLILFDWLRQE\EDGDFWRUVDFURVVIRXUGLIIHUHQWVWXGLHVDQ
DUJXPHQWZHILQGWREHKLJKO\LPSODXVLEOHOHDGVXVWRGRXEWWKHFUHGLELOLW\RIKHUZULWWHQDQG
RUDOVWDWHPHQWVWRWKLV&RPPLWWHHPRUHJHQHUDOO\´

)LUVW,DPYHU\VDGGHQHGWROHDUQWKDWWKHFRPPLWWHHGRXEWHGWKHFUHGLELOLW\RIP\ZULWWHQDQG
RUDOVWDWHPHQWV,QOLJKWRIWKLVFRPPHQWIRUDQ\RIWKHFODLPV,PDGHLQWKLVGRFXPHQW,
FRUURERUDWHGWKHVWDWHPHQWZLWKHYLGHQFHIURPHPDLOH[FKDQJHVRUWHVWLPRQ\IURPRWKHUV

6HFRQG,GLGQRWPDNHDQ\FODLPWKDWDEDGDFWRURUDFWRUVZHUHLQYROYHGLQPDQLSXODWLQJP\
GDWDDFURVVDOOIRXUVWXGLHV,QIDFWZKLOHWKHPRWLYHVRI             DUHJHUPDQHWRWKLV
LQYHVWLJDWLRQWKH\DUHQRWDFWXDOO\QHFHVVDU\WRUHIXWHDOORIWKHFODLPVDJDLQVWPH 7KH\VKRXOG
KRZHYHUFDOOLQWRTXHVWLRQWKHFUHGLELOLW\RI      DVDZLWQHVV 

,KDYHVKRZQIRULQVWDQFHWKDWP\GHVFULSWLRQRIWKHUHVHDUFKPHWKRGLQWKH31$6SDSHU
UHIOHFWHGDFFXUDWHO\WKHFRUUHFWUHVHDUFKPHWKRG,KDYHVKRZQWKDWDOPRVWDOORIWKHVRFDOOHG
GDWDDQRPDOLHVZHUHQRWDQRPDOLHVDWDOOEXWZHUHWKHUHVXOWRIGDWDSURFHVVLQJKDQGOLQJDQG
FOHDQLQJ



                                                                                                  
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1050 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1051 of 1282




GLGQRWILQGHYLGHQFHVSHDNLQJWRWKLVSRLQW$QGDV,VWDWHGHDUOLHU,IRXQGHYLGHQFHRIPHHWLQJ
LQSHUVRQZLWK     DQGRWKHU5$VDIWHUGDWDFROOHFWLRQ,WLVYHU\SRVVLEOHWKDWDV,RIWHQGLGLQ
WKHSDVWZHH[FKDQJHGGDWDRUDQ\RWKHUILOHYLDD86%NH\

  7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³/DVWO\XSRQVWXG\LQJWKHHPDLOUHFRUGV
FORVHO\WKH,QYHVWLJDWLRQ&RPPLWWHHFRQFOXGHGWKDWLQVRPHRIKLVLQWHUYLHZUHVSRQVHV
 VSHFLILFDOO\KLVUHVSRQVHVDERXWFRGLQJSDUWLFLSDQWHVVD\V          ZDVDFWXDOO\UHFDOOLQJKLV
LQYROYHPHQWLQWKHYHU\VLPLODU6WXG\ELQWKHVDPHSDSHUQRW6WXG\D WKHVXEMHFWRIWKLV
DOOHJDWLRQ ´

,QUHDGLQJ      ¶VDQVZHUVGXULQJWKHLQWHUYLHZLWLVFOHDUKLVPHPRU\LVQRWIXOO\DFFXUDWH 
ZRUNHGZLWKPHIRU\HDUVDQGKHOSHGZLWKPDQ\VWXGLHV,ZRXOGQRWH[SHFWKLPWRUHPHPEHUWKH
H[DFWGHWDLOVRIHYHU\VWXG\KHKHOSHGZLWK
    
    
    ,,,&&RPPHQWVDERXW$OOHJDWLRQ

  7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³1HLWKHURIWKHVHFRDXWKRUZLWQHVVHVKDG
FRPSHOOLQJH[SODQDWLRQVIRUWKHGLVFUHSDQFLHVLGHQWLILHGDW,QTXLU\´

,DPQRWVXUSULVHGWKDWP\FRDXWKRUVGLGQRWSURYLGHSDUWLFXODUO\FRPSHOOLQJH[SODQDWLRQVIRUWKH
GLVFUHSDQFLHV,P\VHOIZRXOGILQGLWKDUGWRSURYLGHH[SODQDWLRQVRIDQ\GDWDRQWKHVSRW
ZLWKRXWVSHQGLQJWLPHZLWKLWDQGUHPLQGLQJP\VHOIRIWKHVSHFLILFDVSHFWVRIWKHVWXG\,ZRXOG
DOVRLPDJLQHLWLVVRPHZKDWDQ[LHW\SURGXFLQJWREHLQWHUYLHZHGRQDPDWWHURILQWHJULW\OLNHWKLV
RQH)URPWKHZD\           H[SUHVVHGKHUVHOILQWKHLQWHUYLHZLWGRHVVHHPVKHZDVDELW
VWUHVVHGE\WKHTXHVWLRQVDVNHG

  7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³,QDGGLWLRQHDFKRIWKHVHFRDXWKRUV
VWDWHGWKDW3URIHVVRU*LQRZDVUHVSRQVLEOHIRUWKHGDWDFROOHFWLRQDQGDQDO\VHVIRU6WXG\DQG
HDFKVWDWHGWKDWWKH\GLGQRWKDYHDFFHVVWRWKHGDWDRUDQ\LQYROYHPHQWLQDQDO\]LQJWKHP´

7KLVLVLQIRUPDWLRQ,P\VHOISURYLGHGWRWKHFRPPLWWHH,KDYHQHYHUVXJJHVWHGDQ\WKLQJ
GLIIHUHQWIURPWKLV

           GLGQRWDVVKHVHHPVWRUHFRJQL]HLQKHULQWHUYLHZNQRZWKDW,UHOLHGRQ5$VWRKHOS
ZLWKVWXGLHVFRGLQJDQGRWKHUUHVSRQVLELOLWLHV6KHGRHVUHJXODUO\DVZHOOZLWKRXWPHNQRZLQJ
WKHVSHFLILFV:KLOHDW+DUYDUGVKHZDVLQWRXFKZLWKVRPHRIWKH5$VKHUVHOIRIWHQWDNLQJWKH
OHDGLQLQWHUDFWLQJZLWKWKHPWRFRQGXFWVWXGLHV VHH([KLELWVDDQGEIRUHPDLOH[FKDQJHV 
7KRXJK             DQG         VXJJHVWHG,ZDVUHVSRQVLEOHIRUGDWDFROOHFWLRQWKH\UHFRJQL]HG
WKHSRVVLELOLW\RI5$VEHLQJLQYROYHGWRKHOS

  7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³0&*FRPSDUHGWKHSXEOLFO\DYDLODEOH
GDWDSRVWHGRQ26)ZLWKWKHRULJLQDOGDWDVHWVIRUWKLVVWXG\IRXQGLQ3URIHVVRU*LQR¶V4XDOWULFV
DFFRXQW7KLVDQDO\VLVVKRZHGWKDWVRPHGDWDLQWKH26)GDWDVHWGRQRWDSSHDULQHLWKHURIWKH
WZR4XDOWULFVGDWDVHWVIRUWKLVVWXG\WKDWWKRVHGDWDVWURQJO\VXSSRUWWKHK\SRWKHVL]HGDQG




                                                                                                  
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1052 of 1282




UHSRUWHGUHVXOWVDQGWKDWVRPHGDWDLQWKHWZR4XDOWULFVGDWDVHWVGRQRWDSSHDULQWKH26)
GDWDVHW´

,IDPRWLYDWHGDFWRUDFFHVVHGP\4XDOWULFVDFFRXQW VLPSO\E\XVLQJP\ORJLQFUHGHQWLDOV WKH\
FRXOGHGLWWKH4XDOWULFVHDVLO\EDVHGRQWKHGDWDSRVWHGRQOLQHWKDWWKH\NQHZZDVXVHGIRUWKH
DQDO\VHVSUHVHQWHGLQWKHSDSHU,IWKH\GHOHWHGURZVRIGDWDRUPDGHLQGLYLGXDOHGLWVLQWKHFHOOV
WKHUHZRXOGEHQRUHFRUGVRIWKLVKDSSHQLQJXQIRUWXQDWHO\

,PSRUWDQWO\WKRXJKDV,ZURWHLQP\HDUOLHUUHVSRQVHVWKHUHDUHYHU\SODXVLEOHH[SODQDWLRQVIRU
WKHDQRPDOLHV6RLWLVYHU\SRVVLEOHWKDWWKHRULJLQDOGDWDLVQRWWKHRQHFXUUHQWO\LQP\4XDOWULFV
DFFRXQW
     
     
     ,,,'&RPPHQWVDERXW$OOHJDWLRQ

   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³3URIHVVRU              ZDVSX]]OHGE\WKH
GDWDDQRPDOLHVGLVSOD\HGGXULQJKLVLQWHUYLHZKHWULHGWRFRPHXSZLWKEHQLJQH[SODQDWLRQVIRU
KRZWKRVHSDWWHUQVPLJKWKDYHFRPHDERXWEXWQRWHGWKDWWKHSRVVLELOLWLHVKHJHQHUDWHGZHUH
³XQOLNHO\´´

$VLWZDVOLNHO\WKHFDVHIRUKLP,ZRXOGILQGLWKDUGWRFRPPHQWRQGDWDVKDUHGRQVFUHHQDWWKH
WLPHRIWKHLQWHUYLHZ7KHGDWDZDVFROOHFWHGRYHUWHQ\HDUVDJRDQGLWLVKDUGWRPDNHVHQVHRI
DQ\GDWDZLWKRXWWKLQNLQJFDUHIXOO\DERXWWKHGHWDLOVRIDVWXG\DQGWKHSURFHGXUHVXVHGIRUGDWD
H[FOXVLRQDQGFOHDQLQJ,QP\HDUOLHUUHVSRQVHV,SURYLGHGDYHU\SODXVLEOHH[SODQDWLRQIRUWKH
DQRPDOLHVPDNLQJLWFOHDUWKDWWKH\DUHQRWDQRPDOLHV
         
   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³,QDGGLWLRQKHVWDWHGWKDWKHQHYHUKDG
DFFHVVWRWKHGDWDDQGWKDWKHZDVQ¶WLQYROYHGLQZULWLQJXSWKHPHWKRGRUILQGLQJVVHFWLRQVIRU
WKLVVWXG\´

7RFODULI\,KDYHQHYHUFODLPHG             KDGDFFHVVWRGDWDSULRUWRWKHSRLQWZKHQ,VKDUHGLW
ZLWK1HOVRQ+HQHYHUDVNHGIRUWKHGDWDDQGLWZDVQRWFRPPRQSUDFWLFHDWWKHWLPHWRVKDUH
GDWDZLWKFRDXWKRUV)RUH[DPSOH,GRQRWKDYHGDWDRIVWXGLHVKHFRQGXFWHGIRUSURMHFWVZH
ZRUNHGRQWRJHWKHU


     ,,,(&RPPHQWVDERXW$OOHJDWLRQD

   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³ZULWWHQWHVWLPRQ\E\3URIHVVRU*LQR¶VFR
DXWKRURQWKH31$6SDSHU3URIHVVRU                  ´

$Q\UHOLDQFHRQ        ¶VDQVZHUVLVSUREOHPDWLFDVVKHLVDELDVHGZLWQHVV%XWHYHQPRUH
LPSRUWDQWO\ZKDWVKHFODLPVLVQRWFRQVLVWHQWZLWKWKHFRPPHQWVSURYLGHGE\DFRDXWKRURQWKH
UHSOLFDWLRQHIIRUWV               VHH([KLELW 




                                                                                                  
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1053 of 1282
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1054 of 1282




,WLVLPSRUWDQWWRQRWHWKDWDVVKRZQE\HPDLOH[FKDQJHVWKDW,IRXQGGXULQJWKH\HDUV,ZRUNHG
ZLWK       DIWHU,OHIW81&VKHUHJXODUO\KHOSHGZLWK,5%DSSOLFDWLRQV VHH([KLELW :KDW
WKLVPHDQVLVWKDWVKHZDVDZDUHRIWKHVWXG\K\SRWKHVHVEHFDXVHWKH\DUHVSHFLILHGLQWKH
GHVFULSWLRQRIWKHUHVHDUFKDQGZKDWWKHVWXG\DLPVWRH[DPLQH

$V       DFNQRZOHGJHVKHUVHOIVRPXFKWLPHKDVSDVVHGWKDWVKHFDQQRWUHPHPEHUWKHGHWDLOVRI
WKHSURFHGXUH%XWVKHZRXOGKDYHEURXJKWXSDQ\LVVXHVLILVVXHVLQGHHGFRPSURPLVHGWKH
TXDOLW\RIWKHUHVHDUFK

   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³              DOVRVDLGWKDWLQH[DPLQLQJWKH
DYDLODEOHPDWHULDOVIURP3URIHVVRU*LQR¶VVHTXHVWHUHGKDUGGULYH ZKLFKZHGLVSOD\HGGXULQJ
RXULQWHUYLHZZLWKKHU LWDSSHDUHGWRKHUWKDWSDUWLFLSDQWVPD\KDYHFDOFXODWHGDQGUHSRUWHG
WKHLUSX]]OHSHUIRUPDQFHDQGUHFHLYHGSD\PHQWIRULWIURPWKHH[SHULPHQWHULQURRPEHIRUH
EHLQJH[SRVHGWRWKHWD[IRUP ZKLFKFRQWDLQHGWKHH[SHULPHQWDOPDQLSXODWLRQ ´

,WLVZRUWKQRWLQJWKDW      KHUVHOILVQRWVXUHDERXWWKLVDQGLWLVZRUWKQRWLQJWKDWDVH[SODLQHG
HDUOLHUZHUHWDLQHGWKHVDPHDPELJXRXVODQJXDJH³SD\PHQW\RXUHFHLYHG´LQWKHGLUHFW
UHSOLFDWLRQZHFRQGXFWHGIRUWKH31$6SDSHU$V                VWDWHVLQKHUWHVWLPRQ\QRERG\
KDVDQLVVXHZLWKWKLVDPELJXRXVODQJXDJH VHH([KLELW $QGDV,KDYHDOVRVWDWHGHDUOLHUQR
HGLWRURUUHIHUHHHYHUKDGDQLVVXHZLWKWKLVODQJXDJH

   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³7KLVLVWKHZD\WKHSURFHGXUHZDVODLGRXW
LQWKH,5%DSSOLFDWLRQDQGLW¶VWKHZD\WKHSURFHGXUHZDVGHVFULEHGLQWKHILUVWGUDIWRIWKH
PDQXVFULSWGDWHG)HEUXDU\´

7KHFRPPLWWHHGRHVQRWKDYHDFFHVVWRWKH,5%WKDWZDVDSSURYHG,UHDFKHGRXWWRWKH81&
,5%DQGWDONHGWRWKHP7KH\KDYHQRUHFRUGVVLQFH,5%VZHUHGRQHRQSDSHU,ZRXOGEH
GHOLJKWHGWRSURYLGHDZULWWHQWHVWLPRQ\LIWKHFRPPLWWHHGRHVQRWILQGP\ZRUGVFUHGLEOH

   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³3URIHVVRU              UDLVHGFRQFHUQVDERXW
ZKHWKHUWKHGHSHQGHQWYDULDEOHRIFKHDWLQJRQSX]]OHSHUIRUPDQFHVHOIUHSRUWKDGEHHQFROOHFWHG
EHIRUHWKHLQGHSHQGHQWYDULDEOH WKHWD[IRUP ZDVLQWURGXFHG´

        ZDVVDWLVILHGZLWKP\DQVZHUVDQGGLGQRWEULQJWKLVXSIRUWKHQH[W\HDUVQRWHYHQ
ZKHQZHZHUHGLVFXVVLQJWKHVWXG\WRUXQDVDGLUHFWUHSOLFDWLRQ                ¶VWHVWLPRQ\VSHDNVWR
WKLVFOHDUO\ VHH([KLELW 

  7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³>            @DOVRLQGLFDWHGVKHGLGQRW
VHHRUKDYHDFFHVVWRDGGLWLRQDOVWXG\PDWHULDOVXQWLO6HSWHPEHUZKHQ             
       WKHQDGRFWRUDOVWXGHQWDW+%6HPEDUNHGRQDUHSOLFDWLRQRIH[SHULPHQWIURPWKH
RULJLQDO31$6SDSHU´

         QHYHUDVNHGIRUWKHGDWDRUWKHPDWHULDOV,VKDUHGERWKZKHQ,ZDVDVNHG

     7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³$FFRUGLQJWR3URIHVVRU     VKHDVNHG
             WR³FKHFNZLWK3URIHVVRU*LQRDQGFRQILUPZKLFKRIWKHWZRSURFHGXUHV LH



                                                                                                    
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1055 of 1282




SD\PHQWLQURRPRULQURRP ZDVLPSOHPHQWHG´ ([KLELWS 3URIHVVRU           VWDWHG
WKDWDIHZZHHNVODWHU            VHQW³XSGDWHGPDWHULDOV´ZKLFK³VXJJHVWHGWKDWWKHSD\PHQW
KDSSHQHGLQURRPRQO\DQGWKDWWKH'9ZDVWKHPDWUL[HVVROYHGDVUHSRUWHGRQWKHWD[IRUP´
 ([KLELWS WKHVHPDWHULDOVILWWKHSURFHGXUHGHVFULSWLRQRI([SHULPHQWDVSXEOLVKHGLQ
´

       ¶VWHVWLPRQ\LVSDUWLFXODUO\KHOSIXORQWKLVSRLQW VHH([KLELW 7KHPDWHULDOVWKDW        
SRVWHGRQ26)VKRZWKHVDPHODQJXDJHWKDWWKHFRPPLWWHHKDGLVVXHVZLWKDQGWKHSURFHGXUHDV
FDUULHGRXWE\WKH5$VZKLFKLVWKHVDPHDVLQWKHRULJLQDOSDSHU

*LYHQKRZVWURQJO\           RSSRVHGWKHODQJXDJHLQWKH31$6SDSHUDVVKHGLGQRWZDQW
WKHSDSHUWRVWDWHWKDWVLJQLQJILUVWGRHVQRWUHGXFHFKHDWLQJ EXWUDWKHUWKDWWKHUHDUHPRGHUDWRUV
WRH[SORUH ,ILQGLWUHDOO\SX]]OLQJWKDW      DJUHHGWRFRQGXFWDGLUHFWUHSOLFDWLRQXVLQJ
ODQJXDJHDQGDSURFHGXUHVKHDSSDUHQWO\KDGLVVXHVZLWK2UWKDWVKHDJUHHGWRUHSOLFDWHDVWXG\
WKDWPD\KDYHXVHGDGLIIHUHQWSURFHGXUHZLWKRXWUDLVLQJWKLVFRQFHUQ

  7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³>3URIHVVRU*LQR@DOVRVWDWHGWKDWLWLV
SRVVLEOHWKDWLQWKHILUVWGUDIWRIWKHPDQXVFULSWVKHPD\KDYHFRSLHGDVWXG\SURFHGXUHIURPD
SUHYLRXVVLPLODUVWXG\WKHUHE\LQWURGXFLQJLQDFFXUDFLHVVKHQRWHGWKDWW\SLFDOO\VKHGRHVQ¶W
SD\PXFKDWWHQWLRQWRWKHSURFHGXUHGHVFULSWLRQVLQHDUO\GUDIWVRIKHUPDQXVFULSWV´

,GLGPHQWLRQLQP\1RYHPEHUZULWWHQUHVSRQVHVSDSHUVDQG,5%VWKDWXVHGWKHVDPH
SURFHGXUHEXWGLGQRWLQFOXGHWKHODQJXDJHXVHGLQWKHP,KDYHQRZDGGHGWKHHYLGHQFHZLWK
ODQJXDJHGLUHFWO\IURPWKRVHVRXUFHV VHH([KLELW 

  7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³,QDGGLWLRQ3URIHVVRU*LQRDUJXHGWKDW
WKH81&,5%DSSOLFDWLRQGHWDLOLQJWKHVWXG\SURFHGXUHZKLFKZDVRQKHUVHTXHVWHUHGKDUG
GULYHPD\QRWUHSUHVHQWKRZ6WXG\ZDVDFWXDOO\UXQVLQFHLWZDVFRPPRQWRREWDLQ,5%
DSSURYDOZLWKDEURDGGHVFULSWLRQRIWKHVWXG\SURFHGXUHDQGVWLPXOLDQGWRPDNHVPDOOWZHDNV
DIWHUDSSURYDOZLWKRXWVXEPLWWLQJDPRGLILFDWLRQWRWKH,5%WRDPHQGWKHRULJLQDOO\DSSURYHG
SURWRFRO´

7KLVZDVFRQILUPHGE\      LQWKHLQWHUYLHZZLWKWKHFRPPLWWHHDQGWKHFRPPLWWHHUHSRUWHG
    EHLQJDFUHGLEOHVRXUFH

  7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³        LQGLFDWHGWKDWVKHKDVQR
PHPRU\RIHYHUDVNLQJIRUPRQH\EDFNIURPSDUWLFLSDQWVGXULQJKHUWLPHDVDODEPDQDJHUDW
81&0RUHRYHUERWK3URIHVVRU*LQRDQG             DUJXHGWKDWLWLVLPSODXVLEOHWKDWDQ
H[SHULPHQWHUZRXOGGHPDQGPRQH\EDFNIURPSDUWLFLSDQWVDWWKHHQGRIDQH[SHULPHQW7KH
&RPPLWWHHVLPLODUO\ILQGVWKLVLPSODXVLEOH+RZHYHUDVQRWHGEHORZWKH&RPPLWWHHKDV
HYLGHQFHIURP        ¶VWHVWLPRQ\VXJJHVWLQJWKDWSDUWLFLSDQWVFRXOGKDYHERWKRZHGPRQH\DW
WKHHQGRIWKHH[SHULPHQWDQGEHHQDOORZHGWROHDYHZLWKWKHPRQH\WKH\KDGDOUHDG\UHFHLYHG´

3DUWLFLSDQWVZRXOGRQO\EHDOORZHGWROHDYHWKHVWXG\ZLWKH[WUDPRQH\WKH\GLGQRWDFWXDOO\
HDUQLIWKHDPRXQWVZHUHVPDOOOLNHDIHZFHQWVRUDTXDUWHU7KLVZDVVLPSO\DIXQFWLRQRI




                                                                                                   
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1056 of 1282




FRQYHQLHQFHDVSD\PHQWVZHUHXVXDOO\LQWKHIRUPRIELOOVELOOVRUELOOV5DUHO\ZH
KDGTXDUWHUV:HQHYHUKDGFHQWVRUGLPHV

  7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³8OWLPDWHO\DIWHUFRQVLGHUDEOH
GHOLEHUDWLRQWKH,QYHVWLJDWLRQ&RPPLWWHHZDVSHUVXDGHGWKDWUHVHDUFKPLVFRQGXFWRFFXUUHG
EDVHGRQWKHIROORZLQJIDFWRUVD 7KHVWHSE\VWHSH[SHULPHQWDOSURFHGXUHRXWOLQHGLQWKH,5%
GRFXPHQWDQGRWKHUVWXG\PDWHULDOVIRXQGRQ3URIHVVRU*LQR¶VVHTXHVWHUHGKDUGGULYH
FRQWUDGLFWWKHSXEOLVKHGSDSHULQZD\VWKDWJREH\RQGVPDOOWZHDNV´

7KH\DUHQRGRFXPHQWVWKDWDUHWKHILQDOYHUVLRQRIWKH,5%WKDWZDVDSSURYHG,DOVRKRSHWKH
QHZHYLGHQFH,SURYLGHGZLOOOHDGWKHFRPPLWWHHWRUHDFKDGLIIHUHQWFRQFOXVLRQ
         
   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³(YHQLI3URIHVVRU*LQRKDGFRSLHGDVWXG\
SURFHGXUHIURPDSUHYLRXVVLPLODUVWXG\DQGSDVWHGLWLQWRWKHQHZILUVWGUDIWGRFXPHQWIRUWKLV
H[SHULPHQWWKHUHLVQRH[SODQDWLRQIRUZK\VKHSURDFWLYHO\ZRXOGKDYHPDGHVXEVHTXHQW
UHYLVLRQVWRWKHSURFHGXUHGHVFULSWLRQRQERWK0DUFKDQG$SULOWKDWZHUHDOVRLQDFFXUDWH
DVWKHVHVXEVHTXHQWPRGLILFDWLRQVJRWRWKHKHDUWRIH[SHULPHQWDOPHWKRGRORJ\ LHWKH
UHTXLUHPHQWWKDWWKHLQGHSHQGHQWYDULDEOHPDQLSXODWLRQPXVWRFFXUEHIRUHWKHGHSHQGHQW
YDULDEOHLVPHDVXUHG ´

7KHUHLVDYHU\SODXVLEOHH[SODQDWLRQ,ZDVIRFXVLQJRQRWKHUSDUWVRIWKHSDSHULQWKRVHGUDIWV,
ZDVWHDFKLQJIRUWKHILUVWWLPHDW+%6DQG,ZDVJHWWLQJP\IHHWZHWXQGHUVWDQGLQJ+%6,SDLG
FDUHIXODWWHQWLRQWRWKHILQDOGUDIWEXW,PD\QRWKDYHKDGWKHVDPHOHYHORIDWWHQWLRQIRUDOOSDUWV
RIWKHSDSHUIRUWKHPDQ\YHUVLRQVRIWKLVSDSHUZHFLUFXODWHGDVDWHDP
         
   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³0RUHRYHU3URIHVVRU*LQRSURYLGHGQR
HYLGHQFHRIDSULRUPDQXVFULSWZLWKWKHSURFHGXUDOZRUGLQJIRXQGLQWKHILUVWGUDIWRIWKH
PDQXVFULSW´

,KDYHQRZSURYLGHGVXFKHYLGHQFHDVWKH0DWUL[WDVNLVDWDVN,XVHGH[WHQVLYHO\LQP\UHVHDUFK
DQGLQVWXGLHVFRQGXFWHGDW81& VHH([KLELW 
         
   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³F 3URIHVVRU*LQRVXJJHVWHGWKDWVKH
SUREDEO\GLGQ¶WWDONWR           WRFOHDUXSWKHSURFHGXUHXQWLODIWHUKHU0DUFKWKUHYLVLRQ
ZKLFKVHHPVXQOLNHO\JLYHQWKDW3URIHVVRU           UDLVHGVHULRXVTXHVWLRQVDERXWWKHSURFHGXUH
RQ0DUFK´

)URPWKHODQJXDJHXVHGLQWKHHPDLO3URIHVVRU            VHQWDQGJLYHQWKHUHODWLRQVKLS,KDGZLWK
KHULWGLGQRWVHHPOLNHVXFKDVHULRXVTXHVWLRQDERXWWKHSURFHGXUH7KHSURRILVWKDWQRERG\
HOVHZDVFRQFHUQHGQRWHYHQ           KHUVHOIRQFHUHYLVLRQVRIWKHVWXG\GHVFULSWLRQVZHUHPDGH
DFURVVGUDIWV

   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³LWLVSODXVLEOHWKDW3URIHVVRU*LQRPDGH
FKDQJHVWRGUDIWVRIWKHPDQXVFULSWLQRUGHUWRREVFXUHWKHSUREOHPZLWKWKHGHSHQGHQWYDULDEOH
FROOHFWLRQWKDW3URIHVVRU        KDGGHWHFWHG´



                                                                                                   
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1057 of 1282




,WLVHTXDOO\SODXVLEOHWKDW,VLPSO\ZURWHWKHSURFHGXUHWRUHIOHFWZKDWKDSSHQHGZKHQWKHVWXG\
ZDVFRQGXFWHGLQWKHODERUDWRU\DW81&DQGWKDW,PDGHFKDQJHVWRWKHYDULRXVGUDIWVRIWKH
SDSHUWRLQFUHDVHWKHDFFXUDF\RIWKHGHVFULSWLRQRIWKHVWXG\SURFHGXUHV7KHDGGLWLRQDO
HYLGHQFH,SURYLGHGDERXWWKHPHWKRG DQGLWVXVHLQWKHUHSOLFDWLRQVWXG\ PDNHVP\H[SODQDWLRQ
H[WUHPHO\OLNHO\
         
   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³,QKHUWHVWLPRQ\              LQGLFDWHGWKDW
RQWKHUDUHRFFDVLRQVWKDWDSDUWLFLSDQWLQWKH81&ODEZDVPLVWDNHQO\SDLGPRUHPRQH\WKDQ
WKH\ZHUHGXHLQDQH[SHULPHQWWKHH[SHULPHQWHULQFKDUJHZRXOGQRWUHTXHVWPRQH\EDFNIURP
WKHPEXWZRXOGLQVWHDGVLPSO\OHWWKHPNHHSZKDWWKH\KDGUHFHLYHG´

7KLVLVYHU\GLIIHUHQWIURPVD\LQJWKDWSHRSOHUHFHLYHGSD\PHQW XSWR DQGNHSWLW6KHLV
UHIHUULQJWRUHFHLYLQJUHFHLYLQJDQGNHHSLQJWKHGLIIHUHQFH  
         
   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJVWDWHV³:HWKXVEHOLHYHLWLVSRVVLEOHWKDWLQWKLV
VWXG\WKHH[SHULPHQWHUVWROGSDUWLFLSDQWVZKRKDGORZHUH[SHQVHVWKDQWD[HVDWWKHHQGRIWKH
VWXG\WKDWWKH\ZRXOGQRWKDYHWRJLYHPRQH\EDFNEXWFRXOGNHHSZKDWWKH\KDGDOUHDG\
UHFHLYHG´

7KLVLVYHU\XQOLNHO\7KHGLIIHUHQFHLQSD\PHQWZRXOGKDYHEHHQVXEVWDQWLDO,PSRUWDQWO\WKH
ODQJXDJH³SD\PHQW\RXUHFHLYHG´ZKLFKWKHFRPPLWWHHIRXQGDPELJXRXVLVODQJXDJHQRRQHKDG
LVVXHVZLWKGXULQJWKHUHSOLFDWLRQHIIRUWV


     ,,,)&RPPHQWVDERXW$OOHJDWLRQE

   7KH'UDIW,QYHVWLJDWLRQ5HSRUWRQSJDQGVWDWHV³              DVVHUWHGWKDWVKH
FRQGXFWHGWKHGDWDFROOHFWLRQXQGHUWKHGLUHFWLRQDQGVXSHUYLVLRQRI3URIHVVRU*LQRIROORZLQJ
VWDQGDUGODESUDFWLFHVDWWKHWLPHDQGWKDWVKHHPDLOHGWKHUDZGDWDWR3URIHVVRU*LQRXSRQ
FRPSOHWLRQRIWKHGDWDFROOHFWLRQ VHHHPDLOFRUUHVSRQGHQFHLQ([KLELW                 DOVR
LQGLFDWHGWKDWVKHGLGQRWKDYHNQRZOHGJHRIWKHVWXG\K\SRWKHVHVDQGWKDWVKHZDVQRWLQYROYHG
LQWKHDQDO\VHVRIWKHGDWDEHFDXVHVKHGLGQRWKDYHWKHUHTXLUHGVWDWLVWLFDODQGPHWKRGRORJLFDO
H[SHUWLVH´

7KHRULJLQDOGDWDZDVFROOHFWHGRQSDSHU         DQG,PHWLQODWH-XO\WRFKHFNWKHGDWDEDVHG
RQWKHHPDLO      VHQW,WLVLPSRUWDQWWRQRWHWKDWLQ     ¶VWHVWLPRQ\WKHUHLVVLJQLILFDQW
DPELJXLW\LQKHUUHFROOHFWLRQRIWKLVVWXG\HVSHFLDOO\LQKHUZULWWHQUHVSRQVHV7KLVLV
XQGHUVWDQGDEOHJLYHQWKDWWKHVWXG\ZDVFRQGXFWHGDERXW\HDUVDJRDQGXVHGDSDUDGLJP WKH
PDWUL[WDVN WKDW,XVHGLQFRXQWOHVVRWKHUVWXGLHV       FRQGXFWHGDW81& 

             
     ,9 32/,&<$1''(),1,7,216

%HIRUHFRQFOXGLQJ,ZRXOGOLNHWRHPSKDVL]HWKDWWKHHYLGHQFHQHHGVWREHHYDOXDWHGLQOLJKWRI
WKHH[LVWLQJ+%63ROLFLHVDQGDFFHSWHGGHILQLWLRQV




                                                                                                    
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1058 of 1282




7KHLQYHVWLJDWLRQLVPHDQWWR³GHYHORSDIDFWXDOUHFRUG´E\³H[DPLQLQJWKHHYLGHQFHLQGHSWK´
DIWHU³SXUVX>LQJ@GLOLJHQWO\DOOVLJQLILFDQWLVVXHVDQGOHDGVGLVFRYHUHGWKDWDUHGHWHUPLQHG
UHOHYDQW´+DUYDUG%XVLQHVV6FKRRO,QWHULP3ROLF\DQG3URFHGXUHVIRU5HVSRQGLQJWR$OOHJDWLRQV
RI5HVHDUFK0LVFRQGXFW ³+%63ROLF\´ DWSJ$ILQGLQJRIUHVHDUFKPLVFRQGXFWUHTXLUHV
WKHLQYHVWLJDWLRQFRPPLWWHHWR³LGHQWLI\ZKHWKHUWKHUHVHDUFKPLVFRQGXFWZDVIDOVLILFDWLRQ
IDEULFDWLRQRUSODJLDULVPDQGZKHWKHULWZDVFRPPLWWHGLQWHQWLRQDOO\NQRZLQJO\RUUHFNOHVVO\´
  +%63ROLF\DWSJ 6XFKDGHWHUPLQDWLRQPXVWEHPDGHE\DSUHSRQGHUDQFHRIWKHHYLGHQFH
,G$SUHSRQGHUDQFHRIWKHHYLGHQFHPHDQV³SURRIE\LQIRUPDWLRQWKDWFRPSDUHGZLWKWKDW
RSSRVLQJLWOHDGVWRWKHFRQFOXVLRQWKDWWKHIDFWDWLVVXHLVPRUHSUREDEO\WUXHWKDQQRW´,GDWS
5HVHDUFKPLVFRQGXFWDOVR³GRHVQRWLQFOXGHKRQHVWHUURURUGLIIHUHQFHVRIRSLQLRQ´,G

,PXVWHPSKDVL]HDJDLQWKDWZKLOHWKH+%63ROLF\QRWHVWKDWGHIHQVHVPXVWEHSURYHQE\D
SUHSRQGHUDQFHRIWKHHYLGHQFHLQWKHLUFRQVLGHUDWLRQWKHEXUGHQRISURRIIRUPDNLQJDILQGLQJRI
UHVHDUFKPLVFRQGXFWLVDFWXDOO\RQWKHFRPPLWWHHDVDQ\ILQGLQJVRIUHVHDUFKPLVFRQGXFWPXVW
WKHPVHOYHVEHVXSSRUWHGE\DSUHSRQGHUDQFHRIWKHHYLGHQFH +%63ROLF\DWSJ $Q\
DELOLW\RIP\RZQWRVXSSRUWDVSHFLILFGHIHQVHE\DSUHSRQGHUDQFHRIWKHHYLGHQFHGRHVQRW
H[FOXGHWKHUHTXLUHPHQWRIWKHFRPPLWWHHWRVXSSRUWHDFKRILWVGHWHUPLQDWLRQVDQGILQGLQJVE\D
SUHSRQGHUDQFHRIWKHHYLGHQFH,QRWKHUZRUGVDQ\HYLGHQFHRIKRQHVWHUURURUGLIIHUHQFHVRI
RSLQLRQPXVWDOVREHFRQVLGHUHGLQGHWHUPLQLQJZKHWKHUWKHFRPPLWWHHKDVPHWLWVEXUGHQRI
GHWHUPLQLQJZKHWKHUWKHUHLVVXIILFLHQWHYLGHQFHWRVXSSRUWHDFKDQGHYHU\UHTXLUHGHOHPHQWRI
UHVHDUFKPLVFRQGXFW HVSHFLDOO\ZLWKUHVSHFWWRLQWHQW 6HH&)5 E VHHDOVR,QUH
'HFLVLRQRI.UHLSNH5HFRPPHQGHG'HFLVLRQ'RFNHW1R&'HFLVLRQ1R&5
  0D\ DWS KROGLQJWKDWDQ\HYLGHQFHRIDIILUPDWLYHGHIHQVHVVKRXOGDOVREH
FRQVLGHUHGLQGHWHUPLQLQJZKHWKHUWKHLQVWLWXWLRQDOEXUGHQKDVEHHQPHW 

)DEULFDWLRQDQGIDOVLILFDWLRQDUHDOOHJHGLQWKLVPDWWHU)DEULFDWLRQPHDQV³PDNLQJXSGDWDRU
UHVXOWVDQGUHFRUGLQJRUUHSRUWLQJWKHP´,GDWS)DOVLILFDWLRQPHDQV³PDQLSXODWLQJUHVHDUFK
PDWHULDOVHTXLSPHQWRUSURFHVVHVRUFKDQJLQJRURPLWWLQJGDWDRUUHVXOWVVXFKWKDWWKHUHVHDUFK
LVQRWDFFXUDWHO\UHSUHVHQWHGLQWKHUHVHDUFKUHFRUG´,G

7KH+%63ROLF\GRHVQRWGHILQH³LQWHQWLRQDOO\NQRZLQJO\RUUHFNOHVVO\´ +%63ROLF\DWSJ 
,QWKHDEVHQFHRIRWKHUGHILQLWLRQVIRUWKHVHWHUPV,VXEPLWWKDWWKHGHILQLWLRQVIURP%ODFN¶V/DZ
'LFWLRQDU\VKRXOGDSSO\7KH%ODFN¶V/DZ'LFWLRQDU\GHILQLWLRQVIRUWKHVHWHUPVZHUHDGRSWHG
E\DQ$GPLQLVWUDWLYH/DZ-XGJH ³$/-´ GHFLGLQJDPDWWHULQYROYLQJIHGHUDOUHVHDUFK
PLVFRQGXFWILQGLQJV .UHLSNHDWSJ 6SHFLILFDOO\WKH$/-KHOGWKDW%ODFN¶V/DZ'LFWLRQDU\
SURYLGHV³WKHFRPPRQGHILQLWLRQVIRULQWHQWLRQDONQRZLQJDQGUHFNOHVVDQGWKHLUDGYHUE
IRUPV´6HHLG$VGHVFULEHGLQ.UHLSNH%ODFN¶V/DZ'LFWLRQDU\GHILQHVWKHVHWHUPVDVIROORZV

         x ,QWHQWLRQDO'RQHZLWKWKHDLPRIFDUU\LQJRXWWKHDFW
         x .QRZLQJ+DYLQJRUVKRZLQJDZDUHQHVVRUXQGHUVWDQGLQJZHOOLQIRUPHG
             GHOLEHUDWHFRQVFLRXV
         x 5HFNOHVV&KDUDFWHUL]HGE\WKHFUHDWLRQRIDVXEVWDQWLDODQGXQMXVWLILDEOHULVNRIKDUP
             WRRWKHUVDQGE\DFRQVFLRXV DQGVRPHWLPHVGHOLEHUDWH GLVUHJDUGIRURULQGLIIHUHQFH
             WRWKDWULVNKHHGOHVVUDVK5HFNOHVVFRQGXFWLVPXFKPRUHWKDQPHUHQHJOLJHQFHLW
             LVDJURVVGHYLDWLRQIURPZKDWDUHDVRQDEOHSHUVRQZRXOGGR



                                                                                                  
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1059 of 1282




6HH%ODFN¶V/DZ'LFWLRQDU\VHHDOVR.UHLSNHDWS

7KRXJKWKHDOOHJDWLRQVKHUHGRQRWLQYROYHIHGHUDOUHVHDUFKIXQGVWKHVHGHILQLWLRQVDUHDXVHIXO
EHQFKPDUNLQWKHDEVHQFHRI+%6¶VRZQDGRSWLRQRIGHILQLWLRQVIRUWKHVHWHUPV,PSRUWDQWO\
JLYHQWKHGHILQLWLRQRIUHFNOHVVWREH³PXFKPRUHWKDQPHUHQHJOLJHQFH´HYHQRUGLQDU\
QHJOLJHQFHDQGFDUHOHVVQHVVGRQRWULVHWRWKHUHTXLVLWHOHYHORILQWHQWWRVXSSRUWDUHVHDUFK
PLVFRQGXFWILQGLQJ%ODFN¶V/DZ'LFWLRQDU\GHILQHVWKHVHDGGLWLRQDOUHOHYDQWWHUPVDVIROORZV

         x 1HJOLJHQFH7KHIDLOXUHWRH[HUFLVHWKHVWDQGDUGRIFDUHWKDWDUHDVRQDEO\SUXGHQW
              SHUVRQZRXOGKDYHH[HUFLVHGLQDVLPLODUVLWXDWLRQ
         x &DUHOHVV>DFWLRQRUEHKDYLRU@HQJDJHGLQZLWKRXWUHDVRQDEOHFDUH
         x 5HDVRQDEOH&DUHWKHGHJUHHRIFDUHWKDWDSUXGHQWDQGFRPSHWHQWSHUVRQHQJDJHG
              LQWKHVDPHOLQHRIEXVLQHVVRUHQGHDYRUZRXOGH[HUFLVHXQGHUVLPLODUFLUFXPVWDQFHV

6HH%ODFN¶V/DZ'LFWLRQDU\

7RILQGUHVHDUFKPLVFRQGXFWWKHFRPPLWWHHPXVWQRWRQO\GHWHUPLQHWKDWWKHUHZDVIDEULFDWLRQ
RUIDOVLILFDWLRQEXWDOVR  WKDWWKHIDEULFDWLRQRUIDOVLILFDWLRQZDVWKHUHVXOWRIP\LQWHQWLRQDO
NQRZLQJRUUHFNOHVVDFWLRQDQG  WKDW,HQJDJHGLQDVLJQLILFDQWGHSDUWXUHIURPDFFHSWHG
SUDFWLFHVRIWKHUHVHDUFKFRPPXQLW\DQG  WKDWHDFKRIWKHVHHOHPHQWVLVSURYHQE\D
SUHSRQGHUDQFHRIWKHHYLGHQFH +%63ROLF\DWSJ ,WLVWKHFRPPLWWHH¶VEXUGHQRISURRIWR
PDNHVXFKDILQGLQJ,G


    9       &21&/86,21

)LUVW,UHLWHUDWHP\JUDWLWXGHIRUWKHFRPPLWWHH¶VHIIRUWVDQGZRUNWKURXJKRXWWKLVSURFHVV,
KRSHWKDWWKHQHZHYLGHQFH,SURYLGHGDQGWKHGHWDLOHGUHVSRQVHVDERXWHDFKDOOHJDWLRQZLOOOHDG
WKHFRPPLWWHHWRUHYLVHWKHLUFRQFOXVLRQVDQGUHFRPPHQGDWLRQVDV,EHOLHYHWKH\FOHDUO\VKRZ
WKHUHLVQRHYLGHQFHRIZURQJGRLQJ,KDYHQHYHULPSURSHUO\PDQLSXODWHGGDWDRUUHVHDUFK
UHVXOWVDQG,KRSHWKHDGGLWLRQDOH[SODQDWLRQVDQGH[KLELWV,KDYHSURYLGHGKHOSGHPRQVWUDWH
WKDW

,QDGGLWLRQHYHQLIWKHFRPPLWWHHILQGVWKDW,KDYHQRWSURYHQDQ\DIILUPDWLYHGHIHQVHE\D
SUHSRQGHUDQFHRIWKHHYLGHQFHLWGRHVQRWQXOOLI\WKHFRPPLWWHH¶VEXUGHQRISURYLQJDQ\ILQGLQJ
RIUHVHDUFKPLVFRQGXFWLWVHOIE\DSUHSRQGHUDQFHRIWKHHYLGHQFH +%63ROLF\DWSJ 7KH
DJHRIPRVWRIWKHVWXGLHVVXEMHFWWRWKHDOOHJDWLRQVDQGWKHPHGLXPLQZKLFKDQ\HYLGHQFHRU
UHFRUGVZRXOGKDYHEHHQNHSWKDVSODFHGPHDWDGLVWLQFWGLVDGYDQWDJHLQUHVSRQGLQJWRWKLV
LQYHVWLJDWLRQ+RZHYHUWKHODFNRIDYDLODEOHRULJLQDOGDWDRURWKHUUHFRUGVFDQQRWLWVHOIEHXVHG
WREROVWHURUVXSSRUWDILQGLQJRIUHVHDUFKPLVFRQGXFW

5HVHDUFKPLVFRQGXFWDOVRUHTXLUHVDILQGLQJRILQWHQWZKLFKUHTXLUHVWKHZHLJKLQJRIQRWRQO\
DQ\FHUWDLQDFWLRQEXWDOVRWKHPRWLYDWLRQEHKLQGWKDWDFWLRQ$VKDVEHHQGHVFULEHGWKURXJKRXW
WKLVSURFHVV,KDYHKDGQRLVVXHZDONLQJDZD\IURPSURMHFWVZKHQUHVXOWVDUHQRWVWURQJDQG
KDYHQRWSODFHGDQ\SUHVVXUHRQP\5$VWRDFKLHYHDFHUWDLQUHVXOW,KDYHDGGLWLRQDOO\EHHQ
RSHQWRVKDULQJP\GDWDDQGSODFLQJLWLQDSRVLWLRQWREHVFUXWLQL]HGE\RWKHUVH[KLELWLQJP\


                                                                                                   
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1060 of 1282




FRQILGHQFHLQWKHKRQHVWQDWXUHRIWKHGDWD7KHUHKDVEHHQQRPRWLYDWLRQGHVFULEHGE\WKH
FRPPLWWHHDQGRUE\WKHZLWQHVVVWDWHPHQWVWKDWFRXOGUHDVRQDEO\VXSSRUWDILQGLQJRIUHVHDUFK
PLVFRQGXFW$VWKHFRPPLWWHHKDVQRWLGHQWLILHGZLWKDQ\VSHFLILFLW\DQ\DFWLRQWDNHQZLWKLQWKH
GHILQLWLRQRIUHVHDUFKPLVFRQGXFWDQGKDVQRWLGHQWLILHGLWVHOIHYLGHQFHWRVXSSRUWDVSHFLILF
LQWHQWWRFRPPLWUHVHDUFKPLVFRQGXFWWKHUHVKRXOGEHQRILQGLQJDJDLQVWPHIRUHDFKRIWKHVH
DOOHJDWLRQV

,QDOORIP\DFWLYLWLHVZKHWKHULWLVUHVHDUFKWHDFKLQJRUDGPLQLVWUDWLYHUHVSRQVLELOLWLHV,KDYH
VWULYHGWREHDUHVSHFWIXODQGKRQHVWSHUVRQDQGFROOHDJXHVYDOXHPHIRUWKDWVSHFLILFDOO\DVWKH
YDULRXVVWDWHPHQWV,SURYLGHGLQGLFDWH

0XFKKDVFKDQJHGRYHUWKH\HDUVDERXWFRPPRQUHVHDUFKSUDFWLFHVLQSV\FKRORJ\GHFLVLRQ
PDNLQJDQGPDQDJHPHQWDOLNH,DPFRPPLWWHGWRPDNLQJFKDQJHVWRKRZ,FROODERUDWHZLWK
SHRSOHJRLQJIRUZDUGKRZ,NHHSUHFRUGRIPHHWLQJVZLWK5$VDQGZKRLVGRLQJZKDWRQHYHU\
VLQJOHSURMHFWDQGKRZ,UXQTXDOLW\FKHFNVRQGDWD,GLGQRWFROOHFW,KDYHDOUHDG\WDNHQPDQ\
VWHSVLQWKDWGLUHFWLRQ

%HVW
)UDQFHVFD






                                                                                                 
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1061 of 1282













                                  (;+,%,7
                                        
                       /HWWHUIURP3URIHVVRU        

       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1062 of 1282




                
   U P S F O U N D A T I O N P R O F E S S O R O F S E RV I C E M A N A G E M E N T




To Whom It May Concern,

,DPZULWLQJWKLVOHWWHUWRGLVFXVVP\UHODWLRQVKLSZLWK)UDQFHVFDDQGKHUUROHLQWKHODXQFKRIWKH
,QFOXVLRQFRXUVH,¶GEHKDSS\WRGLVFXVVDQ\DVSHFWRIWKLVOHWWHULIQHHGHG
         
+RZ,NQRZ)UDQFHVFD

,¶YHNQRZQ)UDQFHVFDVLQFHVKHMRLQHG720DVDSRVWGRFWRUDOIHOORZDW+%6  ,
ZDVJODGZKHQDIWHUUHFHLYLQJWZRRIIHUVIURP+%6 RQHIURP2%DQGRQHIURP120 VKH
GHFLGHGWRMRLQWKHVFKRROLQDVDQ$VVRFLDWH3URIHVVRU6KHFDPHWRPHIRUDGYLFH±DVVKH
KDGRWKHURIIHUVIURP6WHUQ:KDUWRQDQG%HUNHOH\0RVWRIKHUDGYLVRUVDQGIULHQGVZHUHWHOOLQJ
KHUVKHVKRXOGJRWRSODFHVWKDWZRXOGWHQXUHKHUZLWKLQD\HDURUWZR%XWVKHZDVQRWIRFXVHG
RQJHWWLQJWHQXUHVKHZDVDVNLQJKHUVHOIZKLFKVFKRROZRXOGSURYLGHKHUWKHRSSRUWXQLW\WRNHHS
OHDUQLQJDQGEHDQLQWHUHVWLQJUHVHDUFKHULQDGHFDGHRUWZR,ZDVWKULOOHGZKHQVKHFKRVH+%6

2Q'HFHPEHU)UDQFHVFDUHDFKHGRXWWRWHOOPHVKHKDGKHDUG,ZDVLQWHUHVWHGLQ
WHDFKLQJDFRXUVHRQGLYHUVLW\DQGOHYHUDJLQJGLIIHUHQFHV6KHZDVFXULRXVWROHDUQDERXWLWDQG
H[SUHVVHGLQWHUHVWLQWHDFKLQJWKHFRXUVHZLWKPH,ZDVEH\RQGH[FLWHG)UDQFHVFDZDVWRR:H
WDONHGDWOHQJWK%\WKHEHJLQQLQJRI-DQXDU\ZHKDGGHFLGHGZHZRXOGWHDFKWKHFRXUVH
WRJHWKHU2XUQHZFRXUVHWLWOHG/HDGLQJ'LIIHUHQFHZDVDSSURYHGRQ0DUFK:HWDXJKW
LWLQWKH(&IRUWKHILUVWWLPHLQWKH:LQWHURIPRYLQJRQOLQHLQ0DUFKDIWHUWKHVSULQJ
EUHDNGXHWRWKH&29,'SDQGHPLF7RJHWKHUZHDOVRODXQFKHGDQH[HFXWLYHHGXFDWLRQ
YHUVLRQRIWKLVFRXUVHZKLFKZHFRWDXJKWLQ$XJXVWYLUWXDOO\LWZDVDPRQJWKHILUVW
H[HFXWLYHHGXFDWLRQFRXUVHVERUQYLUWXDOZKLFKIHOWOLNHTXLWHDPLOHVWRQHWRXV,Q-DQXDU\
ZHWDXJKWD6,3WRJHWKHUZLWK                       DWWKHWLPHWKH&02RI1HWIOL[:HWKHQ
WDXJKWRXU(&FRXUVHDJDLQ ZLWKDQHZWLWOH,QFOXVLYH/HDGHUVKLS LQWKH6SULQJRI

:HORYHGWHDFKLQJWRJHWKHU:HZHUHERWKYHU\FRPPLWWHGWRWKHWRSLFDQGUHDOL]HGWKDWPRVWRI
WKH0%$VWXGHQWVLQRXUFODVVURRPZHUHOLNHO\VWXGHQWVZKRQHHGHGWKHFRXUVHWKHOHDVW6RZH
VWDUWHGZRUNLQJRQDELJGUHDPZHVKDUHGEULQJLQJWKHFRXUVHLQWRWKH5&:HWDXJKWLWWRWKH
5&IRUWKHILUVWWLPHDVDQLQLWLDOH[SHULPHQWLQ)HEUXDU\RI

,JRWWRNQRZ)UDQFHVFDUHDOO\ZHOORYHUWKHODVWIRXU\HDUV:HOLYHMXVWDIHZEORFNVIURPRQH
DQRWKHUDQGWDONHGPXOWLSOHWLPHVDZHHNZKLOHGHYHORSLQJWKHFRXUVHWKHPDQ\QHZFDVHVDQG
H[HUFLVHVIRULWDQGZKLOHWHDFKLQJ:HDOVRSDUWQHUHGXSIRUZRUNRXWVLGHRI+%6EHFDXVHZH
YDOXHHDFKRWKHU¶VDSSURDFKDQGLGHDVDQGJHQXLQHO\OLNHZRUNLQJZLWKRQHDQRWKHU*LYHQKRZ
FORVHO\ZHZRUNHGRYHUWKHODVWPDQ\\HDUV,KDYHEHHQDSHUVRQ)UDQFHVFDWXUQHGWRLQGLIILFXOW




                        ! %"                                             
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1063 of 1282




WLPHV:KHWKHUVKHLVJRLQJWKURXJKGLIILFXOWRUHDV\WLPHV)UDQFHVFDDOZD\VDFWVZLWK
WKRXJKWIXOQHVVDQGDEVROXWHLQWHJULW\6KHLVDOOHUJLFWRZKDWVHHPVXQIDLURUXQMXVWRQHRIWKH
UHDVRQVZK\VKHLVVRFRPPLWWHGWRWHDFKLQJ,QFOXVLYH/HDGHUVKLS(YHQZKHQZKDWVKHKDVWR
VD\LVGLIILFXOWVKHFDUHVDERXWEHLQJGLUHFWDQGKRQHVW

%ULQJLQJ,QFOXVLYH/HDGHUVKLSWRWKH5&

2XUGUHDPWREULQJWKH,QFOXVLYH/HDGHUVKLSFRXUVHWRWKH5&ZDVVRPHWKLQJZHZHUHWUXO\
H[FLWHGDERXW:HZRUNHGUHDOO\KDUGLQGHYHORSLQJPDWHULDOVIRUWKHFRXUVH:HKDGHQGOHVV
FRQYHUVDWLRQVDERXWWKHFRQWHQWDQGKRZWREHVWXQFRYHULQVLJKWVLQHDFKFODVVVHVVLRQ:H
WDXJKWWKHFRXUVHLQ)HEUXDU\LQIRXUPRGXOHVHDFKWREHGHOLYHUHGLQ.ODUPDQZLWK
VWXGHQWVRQ:HGQHVGD\VWKDWPRQWK'HVSLWHRXUHQWKXVLDVPWKHFRXUVHGLGQRWJRZHOO$IWHU
WKHVHFRQGPRGXOHDJURXSRIVWXGHQWVZURWHDOHWWHUWRWKH'HDQDVNLQJIRUWKHFRXUVHWREH
GURSSHG)UDQFHVFDKLWURFNERWWRP7KHODQJXDJHWKHVWXGHQWVXVHGLQWKHOHWWHUZDVKDUVK%XW
WKDWZDVQRWWKHPDLQLVVXHWKDWERWKHUHG)UDQFHVFDVKHIHOWZHZHUH³IDLOLQJWKHVWXGHQWV´DV
VKHWROGPHE\EULQJLQJPDWHULDOVZHNQHZZHUHJRLQJWREHFULWLFDOO\LPSRUWDQWWRWKHPLQWKH
IXWXUHEXWIDLOHGWRJHWWKHPLQWHUHVWHG

)HEUXDU\ZDVDUHDOO\KDUGPRQWKIRUERWKRIXV

%XWLWZDVSDUWLFXODUO\FKDOOHQJLQJIRU)UDQFHVFD+HUHQWLUHIDPLO\RIVL[JRW&29,'LQWKH)DOO
RIDQGGXHWRTXDUDQWLQLQJVKHZDVZLWKQRKHOSIRURYHUWZRPRQWKV6KHKDGWRJLYHXS
KHUSRVLWLRQRIXQLWKHDGDVDUHVXOWZKLFKVDGGHQHGKHUDJUHDWGHDOJLYHQKRZPXFKVKHFDUHV
DERXWKHUXQLWDQGWKHMXQLRUSHRSOHLQLW%XWPDQDJLQJVXFKDODUJHIDPLO\SURYHGGLIILFXOW
:KHQLQWKHVXPPHURILWVHHPHGDVLIWKHSDQGHPLFZDVILQDOO\RYHU)UDQFHVFDJRWKLW
DJDLQ±ZLWKWKHUHWUDFWLRQRIDSDSHUWKDWKDGEHHQSXEOLVKHGLQ31$6LQ7KLVVKRRNKHU
1RWRQO\EHFDXVHRIKHUGHHSFRPPLWPHQWWRLQWHJULW\EXWEHFDXVHRIKRZKDUGWKHFROODERUDWLRQ
KDGEHHQRQWKDWSURMHFW,UHPHPEHUWDONLQJWRKHULQ$XJXVWRIEHIRUHWKH'DWDFRODGD
SRVWWKDWOHGWRWKHUHWUDFWLRQFDPHRXW)UDQFHVFDZDVLQWHDUVXQVXUHDERXWKRZWKHPHGLD
ZRXOGSLFNXSRQWKHSRVW2QHRIWKHFRDXWKRUVRQWKHSDSHUKDGWROGKHUWKDWVKHZLVKHG
RQHGD\VKHZRXOGVXIIHUDVPXFKDVVKHGLGDQG)UDQFHVFDZRUULHGWKDWWKH\ZRXOGVSHDNWRWKH
PHGLDLQZD\VWKDWGLGQRWPLUURUWKHWUXWK

$QG\HWGHVSLWHWKHSDLQVKHZDVJRLQJWKURXJK)UDQFHVFDVWD\HGIRFXVHGRQFUHDWLQJPDWHULDOV
IRUWKHFRXUVHWHVWLQJWKHPRXWZLWKH[HFXWLYHHGXFDWLRQDXGLHQFHVDQGGRLQJUHVHDUFKWKDW
ZRXOGVXSSRUWNH\FRXUVHLQVLJKWV

$IWHUWKH)HEUXDU\H[SHULHQFHPDQ\ZRXOGKDYHSUREDEO\GHFLGHGWRJLYHXS:HGLGQRW
)UDQFHVFDZDVFRQYLQFHGWKDWZHFRXOGOHDUQIURPWKHH[SHULHQFHPDNHUHYLVLRQVWRWKHFRXUVH
DQGWHDFKLWDJDLQ

:HZHUHJLYHQWKDWRSSRUWXQLW\:HWDXJKWWKHFRXUVHDJDLQLQWKHIDOORIVWDUWLQJLQ
6HSWHPEHU:HZRUNHGVRKDUGEHWZHHQ0DUFKDQG$XJXVWWRFUHDWH\HWDJDLQQHZPDWHULDOVIRU
WKHFRXUVH,UHFUXLWHGRWKHUFROOHDJXHVWRWHDFKZLWKXVVLQFHWKHFRXUVHZDVRIIHUHGWKLVWLPHLQ
6HFWLRQV)UDQFHVFDWRRNRQWKHUROHRI&RXUVH+HDG)UDQFHVFDZDVRQDPLVVLRQVKHZDQWHGWR
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1064 of 1282




PDNHVXUHWKHVHFRQGLWHUDWLRQRIWKHFRXUVHLQWKH5&ZDVDVLJQLILFDQWLPSURYHPHQWWRWKH
)HEUXDU\LWHUDWLRQ,WZDVLQFUHGLEOHWRVHHKRZKDUGVKHZRUNHGRQWKHFRXUVH6KHWDONHGWR
VWXGHQWVUHJXODUO\WRPDNHVXUHWKHLUIHHGEDFNKDGEHHQKHDUG6KHWDONHGWRFROOHDJXHVLQRWKHU
XQLWV2%HVSHFLDOO\WRPDNHVXUHRXUFRXUVHVDGGHGWRWKHLUVLQDSRVLWLYHZD\$QGRQFHZH
ZHUHWHDFKLQJWKHFRXUVHVKHPHWZLWKPRVWRIKHUVWXGHQWVRQHRQRQHRULQVPDOOJURXSV6KH
UHDGHYHU\VLQJOHUHIOHFWLRQWKH\VXEPLWWHGDQGUHVSRQGHGWRHDFKRIWKHPLQGLYLGXDOO\

,FDQVD\ZLWKFRPSOHWHFRQILGHQFHWKDWEULQJLQJWKHFRXUVHWRWKH5&ZDVDQHPRWLRQDOO\
FKDOOHQJLQJH[SHULHQFHDQGDQLQFUHGLEO\WLPHFRQVXPLQJRQH,I)UDQFHVFDGLGQRWGHGLFDWH
HQRXJKWLPHWRRWKHUFRPPLWPHQWVVKHKDGLQFOXGLQJZULWLQJKHUQHZERRN ZKLFKVKHGHOD\HG
RQPXOWLSOHRFFDVLRQV LWLVRQO\EHFDXVHVKHZDVVXSHUFRPPLWWHGWRPDNLQJWKHFRXUVHDV
VWURQJDVSRVVLEOH

,DPVWUXFNE\KRZRIWHQ)UDQFHVFDSXWVWKLQJVWKDWEHQHILWRWKHUVDQGWKHVFKRROEHIRUHKHURZQ
VHOILQWHUHVW%XW\HWDJDLQWKLVLVSUREDEO\RQHRIWKHPDQ\UHDVRQV,DGPLUHKHUDQG,OLNH
ZRUNLQJZLWKKHU)UDQFHVFDDVVKHGHPRQVWUDWHGLQHQGOHVVRFFDVLRQVLQWKHODVWIRXU\HDUVLV
WKHSHUIHFWH[DPSOHRIZKDWWKH6FKRROFDUHVDERXWKRQHVW\UHVSHFWLPSDFW

,FKHULVK)UDQFHVFDDVDFROOHDJXHDIULHQGDQGDKXPDQEHLQJ,DPVRPXFKEHWWHURIIVLQFHVKH
HPDLOHGPHEDFNLQ


6LQFHUHO\





Harvard Business School
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1065 of 1282













                              (;+,%,7
                                   
           4XHVWLRQVIRU       DQG7UDQVFULSWLRQVRIKHU$QVZHUV
                                   
                                   
       3/($6(),1'+(55(63216(6,17+(5(&25',1*66+(6+$5('
                  $77$&+('6(3$5$7(/<$6$8',2),/(6
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1066 of 1282
                                                        $!!"%#"#   


   
      &# %#%& '!$'!$#      
    


    !

   '(4'0*'!&2$$:  1&*-&'&, '$$'*-'&, ,$,',  ((*2
(0$!+ !&GEGE@            A:  12
)0+-'&+'*4'0, , 2+ '(!&4'0'0$&+2*: *, 4*9

     F: '0 1&(*,', *,'*,+ !&, GEGE ((*: '$$'*-'&2+1*4
         !0$,:&4'0+*!2 47&2 ,*'$8!&4'0*1!28! ($4!&!,7

     G:  &!,2+-%,'*?*0&!*,*($!-'&''&', $'*,'*4+,0!+*'%, GEFG 
         ((*84'0& !+0++, ,!$+', (*'0*,'0+:&4'0*!4+*!2 , ((&
         !& (*,', +,047  %&',%!+,#&84'0*,, !&+,*0-'&+'*, (*+'&2 '&
         0(*0&&!&!,7

     H: '&;,$!1, *2*&4('!&,+',&+!'&2 &2!+0++, $(*'0*+,''$$'2: +, !+
         4'0**'$$-'&7

     I: &, ,3'*%, *!++&,&*!&<(4%&,*!1:= +&,&%4'%*'+++
         %!0'0+8&!,!+, +%$&00+!&, '*!!&$+,04, ,2+(*,', GEFG 
         ((*: '&;,*$$1*!+0++!&!,2 &2'*#!&'&, *($!-'&', $+,04: +, !+4'0*
         *'$$-'&7

     J: ,+'%('!&,8+22*2'*#!&'&, GEGE ((*82!+0++2 , *2+ '0$*,*,
         , GEFG ((*: ,'$4'0, ,!,!&',+%, *! ,'0*+'-'&+!& !&', 1&4
         '0,'0,, 1$!!,4', +,0!+!&$0!&, GEFG ((*:'4'0*%%*, !+
         '&1*+-'&7
           
     K: #!&%*8 2*',&',,'4'0&2', *','*$+,0&,+*-&'&GEGG&
         ,$$!&4'0$$ '2*,0$ $,'*2!&&!&, 4++2*'*%&,'*!&*$!*!&GEGG:'02*',
         #+4!&, ,< ,B++0 ($+0*,'2'*#2!, 4'0&,'$*&*'%4'0@', %!$$480,
         $+'8 '24'0,2!, !&,*!,4!&, ' $$&!&!*0%+,&+6A:= &#4'0'*, &!
         2'*+:'4'0%!&,$$!&%2 ,4'02****!&,'+(!$$42 &+4!&, , ,2!,
         !&,*!,47
           
     L: ;1'$$'*,'&2(*'",+&,$#'0,%&4*+* !+'1*, (+,24*+:
         '4'0 1&4, !&,'+4'0,'0*'$$'*-'&+&*$$4&2 , '0$','!%(*'17
           
 &#4'08            %$24+$*&!&:

*&




                                                                                                               !
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1067 of 1282


??????????????????????????????????????????????????????????????????????
*&+!&'
&'&%!$4*'++'*'0+!&++%!&!+,*-'&
  *1*0+!&++ ''$
+!,9 /(9>>*&+!&':'%>
2!/*9C*&+!&'
& !&# && &+,*%
   '+,&,''#9          
3,$#9   




                                                                                    ! !
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1068 of 1282




                7UDQVFULSWLRQRIWKH$XGLR)LOHV                     VHQWDV$QVZHUV

$QVZHUWR4XHVWLRQ

,QLWLDOO\LWZDVPH      DQG          $VVRRQDVZHNHSWIDLOLQJWRUHSOLFDWHWKHRULJLQDO
ILQGLQJVRIWKHODEVWXGLHVZHGHFLGHGWRSXOOWKHRULJLQDOWHDPWRJHWKHU&RQVLGHULQJ\RXZHUH
DW+%6ZHILUVWKDGDPHHWLQJZLWK\RX<RXZHUHVXSHURSHQDQG\RXZHUHOLNH³OHWPHVHQG
\RXDOOWKHPDWHULDOVDQGDQ\WKLQJ\RXQHHGKHOSZLWKOHWPHNQRZ´<RXZHUHFRPPLWWHGWR
ILQGLQJRXWZKDWKDSSHQV<RXZHUHOLNH³ZKDWHYHUZHILQGIURPWKLVGLUHFWUHSOLFDWLRQ,¶OO
DFFHSWWKRVHDVWKHUHVXOWV´

$QGWKHQZLWK        DQG      LWZDVDOLWWOHELWPRUHFRPSOLFDWHG,ZRUNHGFORVHO\ZLWK        LQ
GHVLJQLQJWKHGLUHFWUHSOLFDWLRQILJXULQJRXWDOOWKHQXDQFHVRQKRZWRLPSOHPHQWLWEHFDXVHZH
ZHUHGRLQJLWDW%86KHDQG,ZRXOGJHWLQWRWKHVHOLWWOHKHDGWRKHDGOLNH³+RZGRZH
LPSOHPHQWWKLQJV"´$QGVRPHWLPHVVKH¶GIRUJHWWKDWZHZHUHGRLQJVLJQILUVWDQGQRWMXVW
JHQHUDOPDWULFHVDQGVLJQLQJ:HHYHQWXDOO\ILJXUHGRXWDZD\WKDWZHZHUHDOOVDWLVILHGZLWK

:HUDQWKHVWXGLHVDW%8DW+DUYDUGDQGDW&KLFDJRDQGZKHQZHJRWWKHUHVXOWVEDFN\RXVDZ
WKHUHVXOWVDQGDFFHSWHGWKHPDVWKH\ZHUH\RXZHUHOLNHRND\RXUILQGLQJLVQRWUREXVW/HW¶V
SXEOLVKWKLV%XW      DQG      NHSWWU\LQJWRWHPSHUWKHODQJXDJH$QGHYHQZKHQZHIRXQGRXW
WKDWWKHUDQGRPL]DWLRQIDLOHGLQWKHILHOGH[SHULPHQW\RXZHUHOLNH³RND\ZHQHHGWRSXWWKDWLQ
WKHUH´%XW      DQG     NHSWWU\LQJWRVRIWHQWKHODQJXDJH7KH\NHSWVD\LQJOLNH³RKZHOOLW¶V
QRWWKDWLWGRHVQ¶WUHSOLFDWHLW¶VQRWWKDWLWGLGIDLOLWFRXOGKDYHIDLOHG´7KH\ZHUHWKHRQHVZKR
ZHUHPDNLQJLWUHDOO\KDUGZKHQZHNHSWWU\LQJWRZULWHXSWKHPDQXVFULSWGHILQLWLYHO\VD\LQJ
³ZHUHDOO\GRQ¶WKDYHFRQILGHQFHLQWKHRULJLQDOILQGLQJ´7KH\ZHUHMXVWOLNH³RKWKLVPD\EH
ZHDNHQVLW´

$QGVR\RXKDGLQWHJULW\WKURXJKRXWDQG,ZLVKWKH\KDGDFWHGPRUHOLNH\RXEHFDXVH\RXUHDOO\
GLGQ¶WKDYHDQ\HJRLQLW<RXZDQWHGWRNQRZZKDWKDSSHQHGDQGZKHQWKHUHVXOWVFDPHRXW
\RXDFFHSWHGWKHP,WKLQNWKDWZDVUHDOO\DGPLUDEOH$QGHYHQ              KDGWKRXJKWVDERXWLWZKHQ
ZHZHUHGRLQJWKHSDSHUEXWWKHQNLQGRIEDFNHGRIIDELW

%XWWKHQZKHQZHZDQWHGWRZULWHWKHSXEOLFLQWHUHVWSROLF\WRUHDFKOLNHWKHWKLUGDXGLHQFHDQG
PRUHRWKHUSHRSOHWKDW¶VZKHQ          UHDOO\JRWPDGPDGHWKLQJVGLIILFXOWDQGZRXOGQ¶WOHWXVVD\
WKLQJVZKHQZHNHSWWU\LQJWRVHWWKHUHFRUGVWUDLJKW$QGSDUWRIWKDWDOVRWKHQLWEHFDPHDELW
IUDFWLRXVEHWZHHQ       DQG       YHUVXV      $QG\RXZHUHPRUHRQXVDQG7HDP           EXW\RX
ZHUHWU\LQJWREURNHUSHDFHEHWZHHQWKHWZRIDFWLRQV<RXZHUHWU\LQJWREHWKHSHDFHNHHSHUDQG
,ZRXOGGRDORWRIWKHZULWLQJDQGWU\LQJWRPDNHSRLQWVHYHQGXULQJZULWLQJWKHPDQXVFULSWDQG
WKHEORJSRVWDQGWKHQ\RXZRXOGVHQGWKDWEHFDXVH\RXZHUHPRUHVHQLRU$QGVR,ZRXOGEH
VSHDNLQJIRUXVDVWKH+%6FRQWLQJHQWDQGWKHQZRXOGJRWKURXJK\RX6R,UHDOL]HWKDWZHSXW
\RXLQDGLIILFXOWSRVLWLRQEXWDWWKHWLPH\RXWKRXJKWLWZDVWU\LQJWREURNHUERWKVLGHV%XWWKDW
REYLRXVO\JRWPRUHFRPSOLFDWHG

,WKRXJKWWKDW\RXZHUHUHDOO\KHOSIXODQGLIWKH\KDGDFWHGOLNH\RXWKLVZRXOGKDYHDWRWDOO\
GLIIHUHQWVWRU\$QG,NLQGRIZLVKWKH\GLG




                                                                                                       
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1069 of 1282




$QVZHUWR4XHVWLRQ

<RXVHQWPHDOORI\RXUPDWHULDOVDQGLWZDVDOOSUHWW\VWUDLJKWIRUZDUG:KHQ,PHWZLWK         WR
ILJXUHRXWKRZWRUXQLWDW%8LWKHOSHGUHILQHKRZ,GLGLWDW+DUYDUGEXW,ZDVEDVLFDOO\DEOHWR
GRLWPRVWO\DW+DUYDUGEDVHGRQKRZ\RXJX\VZURWHLWXSRQWKHVWXG\

7KHILUVWSDUWRIWKHVWXG\LQYROYHGSHRSOHJRLQJLQWRDURRPZKHUHWKH\ZRXOGILOORXWWKHVH
PDWULFHVDQGRQWKHLQVWUXFWLRQIRUPWKHUH¶GEHLQVWUXFWLRQVDQGWKHQWKHUHZDVDXQLTXH
LGHQWLILHURQWKHWRSULJKW$QGRQWKHEDFNRILWZHUHPDWULFHVWKDWWKH\KDGWRILOORXW$QG
WKHQWKH\ZRXOGWKURZWKDWLQWKHLUUHF\FOLQJELQ

$QGWKHQRQWKHLUWDEOHWKHUHZRXOGDOVREHDVKHHWZLWKDWD[UHWXUQEXWLWZDVFRYHUHGE\D
IRUP$QGVRWKH\ZRXOGWKURZRXWWKHVKHHWIURPGRLQJWKHPDWUL[WDVNDQGWKHQWKH\¶GWDNH
WKHFOLSERDUGWKDWWKH\KDGQ¶WVHHQEHIRUHWKDWZDVRQWKHLUWDEOHDQGLWKDGDFRYHUWRSVKHHW
$QGWKH\¶GWDNHWKHFOLSERDUGDQGJRLQWRDVHSDUDWHURRPZKHUHWKH\ZRXOGILOORXWWKHWD[VWXG\
IRUP:KHQWKH\ZHUHILOOLQJRXWWKDWIRUPWKH\ZRXOGHLWKHUVLJQDWWKHWRSRUVLJQDWWKH
ERWWRP

,WKLQNLQRQHRI\RXUVWXGLHV\RXKDGDQRVLJQDWXUHFRQGLWLRQEXWZHGLGQ¶WGRWKDWKHUH:H
MXVWKDGVLJQDWWKHWRSVLJQDWWKHERWWRP

$QGRQWKLVIRUPWKDW¶VZKHUHWKH\UHSRUWHGKRZPDQ\WKH\VROYHGDQGFDOFXODWHGZKDWWKHLU
SD\PHQWVKRXOGEHIRUQXPEHUVROYLQJ$QGWKHQWKHUHZHUHDOVRWKHVHWD[GHGXFWLRQVWKDWWKH\
VKRXOGDOVRFDOFXODWH$QGWKHUHZDVDOVRDGHPRJUDSKLFVOLS$QGWKHQWKH\JDYHWKDWVKHHWWR
WKHSDUWWRVRPHRQHZKRZDVUXQQLQJWKHVWXG\

$QGWKHQWKH\JRWSDLGDQGWKHQZHZHUHDEOHWRPDWFKWKDWVKHHWEHFDXVHLWKDGDWD[QXPEHURQ
WKHWRSULJKWWKDWZDVDWKUHHGLJLWQXPEHUWKDWZRXOGPDWFKZKDWWKH\WKUHZRXWLQWKHUHF\FOLQJ
ELQLQWKHRWKHUURRP$QGWKHQZHPDWFKHGLWWRJHWKHUDQGWKDW¶VKRZZHFRXOGWHOOLIWKH\ZHUH
O\LQJ

,FUHDWHGDSURWRFROWKDW,¶OOVHQGWR\RX,WKLQN\RXKDYHDFFHVVWRLWEHFDXVHLW¶VRQWKH26)
ZKHUH,JDYHLQVWUXFWLRQVIRUWKHSHRSOHLPSOHPHQWLQJLWOLNHZKDWWKHH[SHULPHQWHUVKRXOGVD\
DWHDFKSRLQWZKDWURRPHDFKWKLQJVKRXOGKDSSHQ$QGWKHWZRURRPWKLQJZDVVRPHWKLQJWKDW
,UHDGIURP\RXUPDWHULDOVDQG\RXVDLGKRZLWZDVVHWXSDW81&

$QVZHUWR4XHVWLRQ

7KHUHZDVQRWHQVLRQZKHQZHWDONHGDERXWWKHODESURFHGXUHVWRIROORZ:KHQZHWDONHGDERXW
LW,MXVWZDQWHGWRNQRZLIWKHLQVWUXFWLRQVWKDW,HQGHGXSZULWLQJIRUWKH5$VWRLPSOHPHQWLI
\RXKDGKDGWKDWDQG\RXMXVWVDLG\RXGLGQ¶WDQG,ZDVZRQGHULQJLI\RXFRXOGFRQQHFWPHWR
\RXU81&5$EXWLWZDVDOUHDG\\HDUVDZD\DQGWKDWSHUVRQOHIWDFDGHPLDDQGVRLWMXVW
ZDVQ¶WJRQQDZRUN$QGVRWKDW¶VZK\,KDGWRUHZULWHWKDWIURPVFUDWFK

%XWQRWKHUHZDVGHILQLWHO\QRWHQVLRQZLWKXV




                                                                                                   
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1070 of 1282




:LWK       DWRQHSRLQWWKHUHZDVEHFDXVHVKHJRWXVFRQIXVHGZLWKWKHVKUHGGHUDQGVKHIRUJRW
ZK\ZHQHHGHGWKHH[DFWQXPEHUVRUEODKEODKEODK%XWWKDWZDVMXVWIURPDPLVXQGHUVWDQGLQJ
RIZKDWZHZHUHWU\LQJWRGR$QGWKHQRQFHZHILJXUHGRXWZKDWZHZHUHWU\LQJWRGRDQGJRW
RQWKHVDPHSDJHWKHWHQVLRQZLWKKHUZHQWDZD\

(YHQZKHQZHVHWXSWKHODEGLUHFWUHSOLFDWLRQ\RXZHUHDOZD\VILQHZLWKKRZHYHUZHSODQQHG
RQJRLQJDKHDGZLWKWKHDQDO\VLV<RXMXVWZDQWHGWRNQRZZKDWKDSSHQHG%XWWKDWVXPPHU
      DQG     ¶VFRPPDQGPHQWSDSHUZDVIDLOHGWRUHSOLFDWH$QG,WKLQNWKH\XVHGDGLIIHUHQW
YHUVLRQRIWKHPDWUL[WDVN>IRUWKDWSDSHU@ZKLFKLVZK\        ZDVJHWWLQJFRQIXVHG%XWZKHQ
WKHLUVGLGQ¶WUHSOLFDWHWKDWVXPPHUEHIRUHZHLPSOHPHQWHGRXUVWKHLUUHVSRQVHWRWKDWIDLOHG
UHSOLFDWLRQZDVOLNH³RKZHOOLW¶VDGLIIHUHQWFXOWXUDOFRQWH[W´6RLWZDVOLNHWKH1HWKHUODQGV
YHUVXVWKH86ZKLFKZRXOGQ¶WDIIHFWXVKHUH

%XWWKHWZRSRLQWVWKH\GLGPDNHWKDWZHWRRNLQWRDFFRXQWWKDW,PDGHVXUHWRGRDQG\RXZHUH
WRWDOO\ILQHZLWKZDVRQHWKH\VDLGWKDWLQWKDWIDLOHGFRPPDQGPHQWVUHSOLFDWLRQWKDWWKHUH
ZHUHQ¶WHQRXJKSHRSOHFKHDWLQJLQWKHFRQWUROFRQGLWLRQ$QGVRREYLRXVO\WKHWUHDWPHQWGLGQ¶W
UHGXFHFKHDWLQJEHFDXVHWKHUHZDVHQRXJKFKHDWLQJWREHJLQZLWK6RZHSUHUHJLVWHUHGWKDWZH
ZRXOGFKHFNFKHDWLQJLQWKHFRQWUROFRQGLWLRQRQFHZHKDGRIWKHVDPSOHDQGPDNHVXUHZH
KDGDWOHDVWSHRSOHFKHDWLQJVRWKDWZHFRXOGUHGXFHLWDQGGHWHFWWKDWHIIHFW$QGVRZHGLG
WKDW$QGWKHQWKHRWKHUWKLQJWKDWWKH\FRPSODLQHGDERXWLW¶V«ZKDWGLGWKH\FRPSODLQDERXW"
7KH\FRPSODLQHGDERXWVRPHWKLQJHOVH%XW,UHPHPEHUWKDWEHLQJDELJRQH

<RXZHUHVXSHUHDV\LQWHUPVRIPDQDJLQJUHODWLRQVKLSVDQGWHQVLRQDQG\HDKDOORIWKHWHQVLRQ
ZDVGHILQLWHO\ZLWKWKHP

$QVZHUWR4XHVWLRQ

,UHDGDOOWKHVHTXHVWLRQVEHIRUH,VWDUWHGDQVZHULQJWKHPDQG,MXVWZHQWEDFNWRWKHWD[IRUPDQG
VHHWKDW,WUHDOO\VKRXOGUHDG³SD\PHQWWRUHFHLYH´EXWLW¶VUHDOO\VPDOOSULQW,GLGQ¶WQRWLFHLW
ZKHQGRLQJWKHGLUHFWDSSOLFDWLRQ:HXVHGDOO\RXUPDWHULDOVIURPEHIRUHDQGVR«,JXHVV,
DVVXPHWKDWLWHLWKHUVKRXOGVD\³SD\PHQWWRUHFHLYH´RU³SD\PHQWHDUQHG´%XWLWZRXOGQ¶WPDNH
VHQVH\HW

:HGLGQ¶WWDONDERXWLW$QGDOVRKRZZRXOGWKH\UHFHLYHWKDWSD\PHQWEHIRUH"7KH\MXVWGLGWKH
WDVNDQGWKH\QHHGWRILOORXWWKLVIRUPLQRUGHUWRUHFHLYHSD\PHQW6R«1RQHRIWKH5$VZKR
,¶YHZRUNHGZLWKWRLPSOHPHQWWKLVLQDQ\RIWKHORFDWLRQVRUQRRQH,¶YHVSRNHQWREURXJKWWKDW
XSDQGZHXVHWKHVHH[DFWPDWHULDOVLQRXUV

,JXHVVJRLQJIRUZDUGZHVKRXOGSUREDEO\FKDQJHLWLQIXWXUHVWXGLHV%XWWKDWZDVLQLWDQGLW
ZDVWRWDOO\ILQH%XWWKHUH¶VQRZD\WKH\FRXOGKDYHUHFHLYHGSD\PHQWEHIRUHDQGWKDWQHYHU
FDPHXSLQRXUFRQYHUVDWLRQV

$QVZHUWR4XHVWLRQ

)RUTXHVWLRQILYHDERXWZKHWKHUZHWDONHGDERXWUHWUDFWLQJ,MXVWIRXQGHPDLOVIURP-XO\VW
ZKHUHZHZHUHWDONLQJDERXWWU\LQJWRUHWUDFWRUQRW$QGWKLVZDVKDSSHQLQJEHFDXVH



                                                                                                   
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1071 of 1282




GXULQJWKH5 5WKH$(ZKRZDVKDQGOLQJLW              NHSWZDQWLQJWRSXVKZK\ZHWKRXJKW
WKHRULJLQDOVWXGLHVGLGQ¶WZRUN7KHWZRODEVWXGLHVKDGSHRSOHSHUFRQGLWLRQZKLFKLVMXVW
UHDOO\VPDOO$QGVRZHUHDOO\WKRXJKWLWZDVWRWDOO\LQQRFXRXVUHDVRQVIRUZK\WKRVHGLGQ¶W
ZRUN$QGWKHQZHWKRXJKWDIDLOHGUDQGRPL]DWLRQIRUWKHILHOGVWXG\:HGLGQ¶WNQRZWKHILHOG
VWXG\ZDVFRPSOHWHO\IDEULFDWHGDQGIUDXG

,IRXQGWKLVHPDLOZKHUH\RXVDLGWKDW³,¶YHEHHQWU\LQJWRWUDFNGRZQWKH5$VZKRKHOSHGZLWK
WKHVWXGLHVEXWWKH\PRYHGRQ$QGWKHRQH,ZDVDEOHWRWDONWRXQGHUVWDQGDEO\GRHVQRWUHDOO\
UHPHPEHUWKHVWXG\VKHKHOSHGZLWK´$QGVR\RXVDLG³,¶PLQDQDZNZDUGSRVLWLRQ,GRQ¶W
KDYHHQRXJKLQIRUPDWLRQWREODPHFRDXWKRUV$QGLWVHHPVXQIDLUIRUPHWRGUDZFRQFOXVLRQV
QRZZLWKRXWKDYLQJDVNHGTXHVWLRQV,VKRXOGKDYHDVNHGPDQ\\HDUVDJRDERXWWKHUHVHDUFK,
GRQ¶WNQRZZKDWWKHVWRU\LVEHKLQGWKHILHOGGDWDDQGWKHODEVWXGLHVKDGVXFKDVPDOOVDPSOH
WKDW,WKLQNWKH\ZHUHXQGHUSRZHUHG,IZHDUHZRUULHGWKDWWKHVHDUHQRWWKHUHDVRQVEHKLQGWKH
RULJLQDOUHVHDUFKWKHQ,WKLQNZHVKRXOGUHWUDFWWKHRULJLQDOSDSHUUDWKHUWKDQWU\LQJWRFRUUHFWWKH
UHFRUGZLWKWKLVUHVHDUFKWKDWVD\VKLJKO\SRZHUHGVWXGLHVVKRZODFNRIDQHIIHFW´6REDVLFDOO\
)UDQ\RXWKRXJKWLWZDVMXVWEHLQJIDUIURPWKHGDWDDQG\RXGRQ¶WNQRZZKDWKDSSHQHGDQG\RX
GLGQ¶WUHDOO\NQRZZKDWWRGR

$QG,WKLQNWKDWSDUWRIWKHUHDVRQ,ZDVSXVKLQJIRUQRWUHWUDFWLQJLWLVWKDWDWWKLVSRLQW,KDG
VSHQWWZR\HDUVRQFROOHFWLQJDOORIWKLVGDWDDQGLWZDVVXFKDELJILQGLQJWKDW«ZHGLGQ¶WKDYH
UHDVRQVWREHOLHYHDQ\RILWZDVIDEULFDWHG:KDW\RXZDQWHGWRGRZDV«%DVLFDOO\,GLGQ¶W
ZDQWLWWREHUHWUDFWHGEHFDXVH,ZDQWHGWRSXEOLVKWKLVSDSHUFRUUHFWLQJWKHUHFRUGZLWKKLJK
SRZHUHGGLUHFWUHSOLFDWLRQV$QGVR\RXZHUHRSHQWRKHOSLQJPHJHWWKLVSXEOLVKHGEHFDXVHLI
\RXJX\VMXVWUHWUDFWHGWKHROGVWXIIDQGWKHQHZVWXIIGLGQ¶WJHWSXEOLVKHGWKDWZDVWZR\HDUVRI
P\JUDGVFKRRODOPRVWKDOIP\JUDGVFKRROFDUHHURIZRUNJRQHWRZDVWH

%XW\RXZHUHGHILQLWHO\SOD\LQJGDWDVOHXWKWU\LQJWRILJXUHLWRXWDQGEHFDXVH\RXGLGQ¶WWKLQN
WKHUHZDVDQ\ZURQJGRLQJ\RXGLGQ¶WWKLQNWKDWMXVWIROORZLQJWKHPHWKRGVDWWKHWLPH
QHFHVVDULO\ZDUUDQWHGUHWUDFWLRQDQGHVSHFLDOO\EHFDXVHWKHUHZDVDILHOGKLJKSRZHUHGILHOGV
VWXG\WKDW¶VZK\WKHRULJLQDOSDSHUPDGHLW«ZHDOOFDPHWRWKHFRQFOXVLRQWKDWLWZDVZRUWK
SXEOLVKLQJWKLVQHZSDSHUDQGQRWUHWUDFWLQJWKHROGSDSHUEHFDXVHRIZKDWZHIRXQGDQGWKH
DPRXQWRIZRUNZHGLG,GRQ¶WNQRZLIWKDW¶VZKDW\RX¶UHWU\LQJ«,GRQ¶WNQRZLIWKDWKHOSV
\RXDWDOO%DVLFDOO\\RXGLGQ¶WGRXEWWKHYDOLGLW\RIKRZWKHVWXGLHVZHUHGRQHLQ<RXU
ELJWKLQJZDVMXVW\RXZHUHIDUUHPRYHGRQKRZLWPLJKWKDYHEHHQH[HFXWHGDQG\RXGLGQ¶W
ZDQWWREODPH\RXU5$VZLWKRXWNQRZLQJZKDWPLJKWKDYHKDSSHQHGEXW\RXZHUHZLOOLQJWR
VD\OLNHOHW¶VUHSODFHZKDWZHIRXQGEHIRUHZLWKZKDWZHNQRZQRZ%HFDXVHZKDWZHNQRZ
QRZLVUHDOO\JRRGHYLGHQFHVKRZLQJWKHUH¶VQRHIIHFW

$QG\RXZHUHRQFHDJDLQ\RXZHUHWKHHDV\RQHWRFRQYLQFHDERXWXSGDWLQJWKHUHFRUG<RX
UHDOO\\RXKDG\RXUSULRUVWKLQNLQJLWZRXOGZRUNDQGWKHQZKHQLWGLGQ¶W\RXXSGDWHG\RXU
EHOLHIVDQGGLGQ¶WWU\DQGILQGVPDOOZD\VRIPD\EHLWZRXOGZRUNIRUWKHVHSHRSOHLQWKLV
FRQGLWLRQ

(YHQDIWHUWKHVWXG\HQGHGLWVHHPHGOLNH      DQG     WULHGWRILJXUHRXWOLNHVPDOOVXEJURXSV
IRUZKRPWKHLQWHUYHQWLRQPLJKWKDYHZRUNHGZKHUHDV\RXDFFHSWHGWKHUHVXOWV




                                                                                                    
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1072 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1073 of 1282





,WZDVUHDOO\PDQDJLQJ      DQG       WKDWZDVWKHFKDOOHQJLQJSDUWIRUVHWWLQJWKHUHFRUGVWUDLJKW

,WKLQN\RXDQG      ERWKDFWHGZLWKVXFKLQWHJULW\EHFDXVH\RXIHOWEDGWKDW\RXUQDPHZDVRQ
VRPHWKLQJWKDWZDVQ¶WWUXHDQG\RXZDQWHGWRGRWKHKRQHVWWKLQJDQGVHWWKHUHFRUGVWUDLJKW$QG
\RXSUHFRPPLWWHGWRDFFHSWLQJWKHUHVXOWVRIWKLVUHSOLFDWLRQDQGWKH\FDPHRXWWKHZD\WKH\GLG
DQG\RXZHUHOLNH³RND\WKDW¶VZKDWLWLV´:KHUHDVHYHQDIWHULWFDPHRXW          DQG    NHSW
WU\LQJWREHOLNH³EXWZKDWDERXWKHUH"$QGZKDWDERXWWKDW"´$QGWKH\ZDQWHGWRVRIWHQWKH
ODQJXDJH«

6R,ZURWHDERXWKRZ\RXKDGDORWRILQWHJULW\EHFDXVH\RXVDZWKHGDWDOHWLWVSHDNIRULWVHOI
DQGDFFHSWHGWKHUHVXOWVLQVWHDGRIWU\LQJWRPDNHWKHGDWDILW\RXUSUHFRQFHLYHGQRWLRQVRIZKDW
LWVKRXOGKDYHEHHQ

,WKRXJKW\RXDQG       \RXJX\VKDYHWHQXUH\RXUFDUHHUVDUHVHFXUHDQG\RXGLGWKHQREOH
KRQRUDEOHWKLQJRIEHLQJOLNHZKDWZHSXEOLVKHGEHIRUHZDVQRWFRUUHFW:HGLGQ¶WGRDQ\WKLQJ
ZURQJEXWZHIROORZHGZKDWZDVWKHEHVWPHWKRGVDWWKHWLPHDQGQRZZH¶UHGRLQJZKDWZH
NQRZWREHHYHQEHWWHUKDYLQJDKLJKHUSRZHUHGVDPSOHDQGZH¶UHXSGDWLQJWKHUHFRUG$QGVR
,WKRXJKWWKDW\RXJX\VERWKMXVWVKRZHGWKLVLQWHJULW\DQG,ZDVFRQIXVHGE\            DQG    ERWK
DOVRKDYHWHQXUHDQGZK\WKH\ZHUHQ¶WDEOHWRKDQGOHLWZLWKWKHVDPHJUDFH\RXZHUH

$QVZHUWR4XHVWLRQ

:H¶YHFROODERUDWHGRQDIHZWKLQJVWKLVRWKHUSDSHUZLWK            ,QJHQHUDO,JXHVV«LW¶VKDUG
EHFDXVHPRVWRIRXUFROODERUDWLQJKDVUHDOO\WDNHQRIIVLQFHWKHSDQGHPLFDQG\RX¶YHKDGVR
PXFKRQ\RXUSODWHZLWK\RXUIRXUNLGVDQGSHRSOHDOZD\VJHWWLQJVLFN6RWKHELJJHVWWKLQJ,
WKLQNWKDW\RXFRXOGGRWRLPSURYHLVEHDEOHWRVSHQGPRUHWLPHZLWK\RXUFROODERUDWRUV%XW
HYHQ\RXNQRZWKDWDQGIHHOEDGDERXWWKDW$QGZKHQ\RXDUHSUHVHQW\RX¶UHYHU\SUHVHQWDQG
\RX¶UHWKHUHDQG\RXDOZD\VKDYHVXFKJRRGLGHDVDQGVXFKLQWHUHVWLQJZD\VRIIUDPLQJWKLQJV
$QGVR\RXVWLOOPDNHORWVRIYDOXDEOHFRQWULEXWLRQVHYHQLI\RXIRUWKHUHFHQWSDVWKDYHQ¶WKDG
DVPXFKWLPHWRJLYH

(YHQZKHQWKHZKROHGDWDFRODGDVWXIIKDSSHQHGLQP\SDSHUZLWK                WKDW\RX¶UHRQ\RX
ZHUHVD\LQJKRZ\RXOHDUQHGWKHOHVVRQWKDW\RXGRQ¶WZDQQDEHRQDVPDQ\SURMHFWVEHFDXVH
ZKHQ\RX¶UHQRWDVFORVHWRWKHGDWD\RXUQDPHPLJKWEHRQWKLQJVWKDW\RXFDQ¶WYHULI\DUHWUXH
$QGVR\RXZHUHVD\LQJKRZ\RXZHUHWDNLQJ\RXUVHOIRIISURMHFWVWKHQVRWKDW\RXZRXOGKDYH
PRUHWLPHWRGHYRWHWRWKHSURMHFWV\RXDUHRQDQGGRFDUHDERXW,WKLQNWKDW¶VUHDOO\DGPLUDEOH

$QGHYHQWKHQ\RXKDGUHDOO\KHOSHGXVZLWKVRPHRIWKHIUDPLQJDQGWKLQNLQJWKURXJKWKH
H[SHULPHQWVDQGEHFDXVHRIWKHGDWDFRODGDVWXIIWKDWZDVJRLQJWRFRPHRXWWKLVZDVEHIRUHLW
ZDVDFWXDOO\SRVWHGEXWRQFHZHDOUHDG\NQHZDERXWLW\RXHYHQRIIHUHGWRWDNH\RXUVHOIRIIWKH
SURMHFWZLWKPHDQG          VRWKDWLI\RXUQDPHFDPHGRZQEHFDXVHLWZDVDVVRFLDWHGZLWKWKDW
IUDXGZHZRXOGQ¶WVXIIHUUHSXWDWLRQDOO\%XWZHNQRZWKDW\RXZHUHQRWLQYROYHGLQWKHILHOG
H[SHULPHQWDQGZHNQRZWKHLQWHJULW\ZLWKZKLFK\RXFRQGXFW\RXUZRUN6RZHZHUHQ¶WUHDOO\
ZRUULHGDQGZHWKRXJKW\RXDGGHGPRUHYDOXHWKDQ«ZHZRXOG¶YHORVWKDYLQJ\RXUQDPH
DVVRFLDWHG$QGVRZHZDQWHGWRNHHS\RXRQLW



                                                                                                      
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1074 of 1282





,WKLQN\RXKDYHDUHDOO\LQWHUHVWLQJZD\RIWKLQNLQJWKURXJK,¶YHDOZD\VDGPLUHG\RXUFDUHHU
DQG\RXUFUHDWLYHDSSURDFKHVWRH[SHULPHQWVDQGDOORIWKDW6RWKHEHVWWKLQJ\RXFRXOGGRLV
MXVWOLYHQRWGXULQJDSDQGHPLFZKHQ\RXQHYHUKDYHFKLOGFDUHLVVXHVRUOLNH\RXUQDQQ\¶VQRW
EUHDNLQJERQHVRUJHWWLQJVLFNEXWWRWKHH[WHQWWKDW«DWDQJLEOHWKLQJ\RXFRXOGGRLV,JXHVV
RQFHWKLQJVJHWEDFNWRQRUPDO\RX¶UHDOUHDG\WU\LQJWRPDNHWLPHDQGZKHQZHUHDOO\QHHGLW
\RX¶UHDOZD\VWKHUH6RZKHQZHQHHGILJXULQJRXWKRZWRIUDPHVRPHWKLQJRUZHKDYHDQ
HGLWRUZKRZDQWVDWLPHO\UHVSRQVH\RX¶UHDOZD\VWKHUHDQGZLOOLQJWR6N\SHIURP4DWDURUWH[W
RUZKDWHYHU6R,UHDOO\OLNHZRUNLQJZLWK\RXDQGOHDUQLQJIURP\RX

(YHQULJKWDIWHUWKHGDWDFRODGDWKLQJFDPHRXW\RXUILUVWWKLQJZDV³RND\ZKDWVKRXOG,OHDUQ
IURPWKLV":KDWOHVVRQVFDQ,H[WUDFWIURPWKLV":KDWFDQ,GRLQWKHIXWXUH"´1RWRQO\WR
SUHYHQWVRPHWKLQJOLNHWKLVEHFDXVHREYLRXVO\\RXFDQ¶W,PHDQZHOOSDUWRILWZDVKRZGR\RX
WUXVWRWKHUSHRSOHLIWKH\¶UHGRLQJIUDXGDQG\RXGRQ¶WNQRZLW

,ORYHWKHZD\\RXDSSURDFKUHVHDUFKERWKZKHQZH¶UHLQWKHUHVHDUFKWDONLQJDERXWWKHLGHDV
EXWWKHQIURPDPHWDSHUVSHFWLYHRIKRZZKHQ\RXWDNHDVWHSEDFNWKLQNLQJDERXWOHDUQLQJLQ
JHQHUDO$QG,UHDOO\GRIHHO\RX¶UHRQHRIWKRVHOLIHORQJVWXGHQWV6RHYHQLQWKLVTXHVWLRQ
\RX¶UHWKLQNLQJDERXWKRZWRLPSURYH




                                                                                               
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1075 of 1282













                               (;+,%,76$$1'%
                                           
      5HVSRQVHVWR(PDLOV,QGLFDWLQJ)DLOXUHWR5HSOLFDWHWKH31$6)LQGLQJV
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1076 of 1282
                                                               #" "# !%$&                


      (  "
        "$'"$/4'/-.3.(.2(/. $
      '
 

  --/)'--0)'--1)

((.'1$#'##8#$)'-#()-())/%-)#)9'/'8: ()(#)-'$#!#4

 ($5))"1)'#8%%'1            ?')(%!!#4@'%!)$-'##($'(#)-'$#
%%'8-)5"1""$'1($'')5)$#!#(#)-'#$)/$' $'.# '8 !.)''$)'
'%!*$#($$-'##(($)((%'*-!'!1%-22!#8

# /# "#'$#)$"1$"%-)'8

 $#:))# 1$-($-!&-(*$#    :(!)8(-(-!!1#$)(!$((1$-')$)%'$)((#.$!.
/)5-) (/("$'!$"%(()()"-!*%!*"(#!/1("$$($#(>885#$#$#*#-#
/$' #$#%'$)(/'))'()-(#$)($/)("%,'#$'(-!)($)'())/$5)*"%'$'
)$FDED8

'#(

# -!FK5FDEJ5)I7DG 5                                         M/'$)7


            #'#(7
       
                          # .$#-)-#$()-(/'/.!)$'%!)(##
       '()=/)#$)#.#$"#!$(8!!$$-'()-(.#$#!#)'$-")-' 8
       "$()'#)!-'/(!'#5%''()'()-1?(!$/@8$#()!15 ".'1
       $#'#8(1$- #$/5 #.'!)$##)#           :()8-)5 !/1(!$.$-'!'(-!)(8
         .'!$$ ))"5#)1'("!!("%!(2()-(5(/($""$#))*"8
       /'-#$)'5!()-($#(##'()4
       
       ')# #$'-####$.'%$/'5%-''%!*$#$$#$$-'!()-(5
       %''()'8 /)))5/#)$-'$-)/1)/$' (#%'($###$)$#!#8
         /!)$)))5/')# #$$-"#*#$-'!-'(8
       
       /$&-(*$#(7
       
                  E@$1$-.#1#()($#/1/'!#($$#(()#)!14
                  F@$1$-/()$%')$)%'$)"$.#$'/'.#))/$-!#-%
                         %-!(#;!-')$'%!)<()$'18
                         
       .$-(!15)((#()-'#)$"5# ("%!1/#))$$!!$/()(#*%'*
       "$.#$'/'8
       
       # (5
       



                                                                                                                         !"
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1077 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1078 of 1282
                                                              $#!#$ "'%($&              


      (  "
        "$'"$/4'/-.3.(/2(1. $
      '
 

  --/)'--0)'--2)

&"2!'&#%'"""&!2."**&6##%7'.#&!'*%!"*%!(%&*'&"!"'%#'2
."*:,&"*#*&'*%'"%#'5'7& #"%'!'<7+!'!"*'"*%##%!'&%&*'&
,'"!!"%.%&!",2!,%!'"%!/("!&!'%#%"&&&'" *&",',
%!

%!&

 !*DI2DBCH2'G4BE   2                                         ,%"'4


            !%!&4
       
                         !+"!*'*!"&'*&,%,+'"%#'&!!
       %&';,'!"'!+!" !"&5""*%&'*&+!"!!'%"* '*%5
          "&'%!'*%,&%!2#%%&'%&'*.=&",>5"!&'.2 +%.
       "!%!5&."*!",2!+%'"!!'!          7&'5*'2,.&"+"*%%&*'&5
       +%""'' 2!'.%& & #&/&'*&2&,&"             "!''( 5
       ,%*!"'%2&'*&"!&!!%&'1
       
       %'!!"%*!!!!"+%#",%2#*%%#("!""!""*%&'*&2
       #%%&'%5,'''2,!'"*%"*',.',"%&!#%&"!!!"'"!!5
       ,'"'''2,%'!!""* !(!"*%*%&5
       
       ,"$*&("!&4
       
                 C>"."*+!.!&'&"!,.,%!&""!&&'!'.1
                 D>"."*,&'"#%'"'#%"' "+!"%,%+!'',"*!*#
                        #*&!8*%'"%#'9&'"%.5
                        
         +"*&.2'&&!&'*%!'" 2!& #.,!''""",&'&!(#%(
          "+!"%,%5
       
       !&2
       

       
       
       
                     
       *!.2*.DI2DBCHE4CF
         
         #("!*%
       

                                                                                                                       "#
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1079 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1080 of 1282













                                    (;+,%,7$
                                           
          (PDLOVZLWK'LVFXVVLRQVDERXW5HWUDFWLRQRU&RUUHFWLQJWKH5HFRUGV
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1081 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1082 of 1282
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1083 of 1282


              MH)."&-.4#-6,)(4..().",4(#5,-#.8),)(5(#(,-)(-<(6()
              &)(!,.,4-..".."86,)&&.#(**,)*,#.),'?


&,.)&),.)(6".     -")4&.)&<(6".",#.#-)(#(6,#/(!),8*")(?

"(%-<



                                
(-8< 4&8NL<MKLSO>LL
 
  







 #

    ")*8)4,($)8#(!(-4'',?

 "5(-%.)-,5-/)(#.),),8)4,'-)(."#&,*&#/)(**,8)4(8)4,)E
4."),--4'#1.)?



- 6#.),.",5#6-)."5,8)'*.(.(6&&%()6,5#6,-? ,."'-()4('8-&
*/(!8)4,)(&4-#)(4.6)(,6"88)4#().,--."+4-/)()6"8<#."(4&&
"8*)."-#-, .-.",&-..)."#(!-8)4!).*,18-.,)(!.G#(.,'-).-#9H)(.".6)
),#!#(&-'&&-.4#-,*),.#(."),#!#(&**,?"."#,<&,!-'*&-.48*,)4(.-#9
-'&&()4!".)+4#.)'*/&6#.".",-4&.-)."4,,(.,*&#/)(-?

 -8)4,-.!4--.".."-(#(!-, .-)'."#(!"(5#/)(,)'(4&&),/(8.-#9),
.".."),#!#(&-.4#-&&)6),-)'-8-.'/#-;"(-6,.).".+4-/)(#-*,)&8
#,,&5(.#)4,)(&8)(,(#-."5&##.8),5(.",)4-.(--)."),,)-#!(#(!*"()'()(?
4.#.'8"#!"&8,&5(.-6*)(,."'),!(,&,*&##&#.8#--4?



')(-.,/)(7*,#'(.-G#((8#(#5#4&7*,#'(.-H')(-.,.6"."**(EE5(#8
"(<&.")4!"-4--4&,*&#/)(-'%"(&--5#&7*&(/)(5(),-4,*,#-#(!,-4&.-?
#&,*&#/)(-#(#.&%),)4-.(--.'#(#'4'?4.6".",."8#(#."(5,#/)(<
#-")(-.8<),4#)4-,-,"*,/-<-)**)-.)*(()((,,)6-.)'),/(!
.),-<),#&4,)'(#*4&/)(.)*,)4."-..#(.",-,"*,/#*(.*)-.4&..)'#.
(*,)4.".,!.*"()'()(,'#(--)'6".)*(+4-/)(?



                                                                                                           $%
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1084 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1085 of 1282













                                 (;+,%,7%
                                     
                   (PDLOVEHWZHHQ       DQG31$6(GLWRU
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1086 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1087 of 1282


       GB

                  
        
       ?  
        B K  
  ?     
  K B      
        GG      
 GG    B

        B







&701;?7%712P?QOPXPAPP
 
  

         0

        &,)1!-090'4,%B 2'1%--2-& 0!0-+;-7?, 9-7*  *'%&2 2-2&7.-,*'!
        ',% , 0*B &8 ,C22*) !-09;2--*-,%B -9*-1 0 ;-72-2-9 ??9& 0 9
        0 1. ,',%+7&-!2& 17++ 0>

        72?**-!2&'1,9'27,4*9 1-*8 2& '117 2&,?9&'& #,9)90,
         +0011',%B7'2 1'+.*;? #0+*; *' 8 2& -0'%',*.. 0?,&8 27%&2'2,
        8'1 #0+12--.2D1'%,',%#012E!02--+,;4+ 1B                 , 9 0 1'+.*;
        71;20;',%2- :.,2& .0-( 22-!-71-,&-92-% 2. -.* 2-2 **2& 2072&-,*', ?,
        1202 9'2&1'%,',%#012?',-0 02-0 2 .*3-0+!-0-2& 0127' 1H117+',%2&2
        1'%,',%#01291%-',%2-  1;2-0 .*'2 B& 700 ,2.. 0.0-8' 1-70(-70, ;!'*',%
        2-0 .*'2 B

         ,'0 20 1.-,1 2-;-70 +'*?& 0 '1+;+-12-+.* 2 11 11+ ,2-,2& -0'%',*
        127' 1A

                 127' 1A& *127' 1&1+**1+.* 1,9 0 7, 0.-9 0 B ,
                '4-,?-, -!2& 72&-011 ,22& +2-&'1F& 0*2&'1F& 0.0'-07,'8 01'2;?,
                ,-, -!2& #8 72&-0117. 08'1 2& 2-** 4-,*-1 *;B702& 0?,--, -,
                -702 +&1* 00 -** 4-,9& 2& 0'4-,*127' 19 0 07,,!'* B
                72?2& , 20 17*2'12&29 .* 8 0;?8 0;*'6* 9 '%&2F!'2&-,2& 29-*
                127' 1?%'8 ,2& !'* 0 .*'4-,I.047*0*;2& *12?&'%&*;.-9 0 127;',
                2& 700 ,2.. 0JB

                ' *127' 1A&'1291.0-8' 2-29--!2& #8 -0'%',*72&-01?,9 &
                *9;1 *' 8 2&2*0% 1+.* # * :. 0'+ ,2& ,07,B -9 8 0?0 G
                ,*;1 1-!2& 2?;2& -G72&-01-!2& 700 ,2.. 0?2&29 0 ,-2.02-!
                2& -0'%',*2 +?1&-92&22& 29--,'4-,1&0+4**;'" 0 ,2+ ,1
                !-0--+ 2 00 ',%1 !-0 D+,'.7*4-,E17&2&29 -,-2 *' 8 2&2207
                0,-+'<4-, 8 0-700 B10 17*2?2& +(-0'2;-!2& 72&-01-!2& 700 ,2
                .. 0&8 ,-!'2&',2& 0 17*21-!2&'1# *2B



                                                                                                          !#
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1088 of 1282


         7122- * 0?9&'*  91,C2',8-*8 ',,;',2 ,4-,*  .4-,? -2&',)2&2 !'* ',
        +;-8 01'%&20 1.-,1''*'4 1',2& -0'%',*.0-( 2?,!-0+ ?2&'1'1.02-!2& * 0,',%
        + 11% B +8 0;-. ,2- ',% 8 ,* 0 0',2& 700 ,2.. 0@2& +-7,2-!(-70,*
        1. 2&21&-7* 71 !-02& 1  2'*1'18 0;0 1-,* '117 ?,9 9-7*
        -. ,2-;-70 '2-0'*. 01. 48 B

        ,-2& 01202 %;17%% 12 ;-, -!2& 72&-01'12-0 2022& -0'%',*.. 0B72?
         *' 8 2&22&'1!'*12-!7**;0 119&2&.. , ?,'1* 11*') *;2-% 22& + 11%
        -722-2&-1 9&-&8 -+ 2- *' 8 ',1'%,',%#012B  *' 8 2&22& 700 ,2.. 0'12&
         129;2--00 22& !7*2;0 -0',.. 02&2 & *. 0 2 B

        +&..;2-'17112&'19'2&;-7;.&-, I                 J?,*--)!-0902-'1711',%
        +-0 .-1'48 0 17*21, :. 0' , 1B

        '2&..0 '4-,?




                                
 , 1;? 7*;RP?QOPXSAPP
 
  


 '

&-. ;-70  ,(-;',%#, 17++ 0B

 &8  ,1) 2-1 08 14-, '2-0!-0;-70+1-,2& !'* 0 .*'4-,.. 0;-7,;-70
-G72&-0117+'6 2-B

1 9'2!-02& 0 8' 91-!2& 8 0;-+. 2 ,2,9 **),-90 8' 9 01B 0 2& +1,!-7,
+;1 *! .4,%;-70-,*71'-,729-, 0 9&;;-7',-20 112& /7 14-,-!9&;?'!2&
,7**&;.-2& 1'10 $ 212& 0 *122 -!2&',%1;-7%-2.0 6;120-,%2I',2 0+1-! " 21'< J-,
2& 29--0'%',*1+**127' 10 .-02 ',2& -0'%',*.. 0B& 2&'0?*0% 1+.* 127;
.0-7 , " 21'< 1+** ,-7%&2- /7'2 -+.4* 9'2&2& 0 17*21-!2& 700 ,2
0 .*'4-,1B

 1;-70 12%7 112&22& 1 #,',%10 $ 21-+ 2&',%&,  8'4-,!0-+,7**-04,; " 2
1'< -02&22& -0'%',*127' 1**-9 !-01-+ 1;12 +4'1>& ,19 02-2&2/7 14-,'1
.0-*;'00 * 8,2'!-70-,*;-, 0,'12& 8*''2;-0 8 ,2& 0-712, 11-!2& -0 0-!1'%,',%
.& ,-+ ,-,B72'2+; &'%&*;0 * 8,219 .-, 02& +-0 % , 0*0 .*''*'2;'117 B

 +-,1204-, :. 0'+ ,21I', ,;','8'7* :. 0'+ ,21J +-,1202 9&2 &.. ,GG
  8 ,'!;&, ?*2&-7%&17 11!7*0 .*'4-,1+) &, * 118'*  :.*,4-, 8 ,!-0
170.0'1',%0 17*21B'* 0 .*'4-,1','2 *)-!0-712, 112+','+7+B729& 2& 02& ;
','2 &, 80'4-,?'1&-, 12;?-07'-710 1 0&.04 1?1-..-1 2- . , , -,
,00-91 2-!+- 04,%!2-01?-0!'*70 -!+,'.7*4-,2-.0-7 2& 122 ',2& 0 1 0&
.04'.,2.-127*2 2-+ '2 ,.0-7 2& 20% 2.& ,-+ ,-,0 +',11-+ 9&2-. ,
/7 14-,B




                                                                                                             "#
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1089 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1090 of 1282













                                 (;+,%,7
                                      
             /DQJXDJH)URP9DULRXV3DSHUVWKDW8VHGWKH0DWUL[7DVN
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1091 of 1282




   $OOSDSHUVDUHDYDLODEOHLQ3')IRUPDWKHUHKWWSVIUDQFHVFDJLQRFRPUHVHDUFKSDSHUV

'HVFULSWLRQXVHGLQWKHYHUVLRQRIWKH31$6SDSHU

3J³3UREOHPVROYLQJWDVN)RUWKLVWDVNSDUWLFLSDQWVUHFHLYHGDZRUNVKHHWZLWK
PDWULFHVHDFKFRQVLVWLQJRIWKUHHGLJLWQXPEHUV HJ0D]DU$PLU $ULHO\ 
DQGDFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWVUHSRUWHGWKHLUSHUIRUPDQFHDWWKHHQGRIWKLVSDUWRI
WKHVWXG\3DUWLFLSDQWVZHUHWROGWKDWWKH\ZRXOGKDYHPLQWRILQGWZRQXPEHUVLQHDFKPDWUL[
WKDWDGGHGXSWR)RUHDFKSDLURIQXPEHUVFRUUHFWO\LGHQWLILHGWKH\ZRXOGUHFHLYHIRUD
PD[LPXPSD\PHQWRI,QSUHYLRXVVWXGLHV *LQR$\DO $ULHO\0D]DUHWDO 
SHRSOHZHUHDEOHWRILQGDERXWRIWKHSDLUVRQDYHUDJHGXULQJWKLVDPRXQWRIWLPH2QFHWKH
ILYHPLQXWHVZHUHRYHUWKHH[SHULPHQWHUDVNHGSDUWLFLSDQWVWRILOORXWWKHFROOHFWLRQVOLSDQG
WKHQVXEPLWWKHFROOHFWLRQVOLSWRWKHH[SHULPHQWHU7KHLQVWUXFWLRQVLQIRUPHGWKHPWKDW

       ,QRUGHUWRHQDEOHWKHH[SHULPHQWHUWRTXLFNO\FDOFXODWH\RXUSD\PHQWSOHDVHWKURZ\RXU
       PDWUL[VKHHWLQWRWKHUHF\FOLQJELQDQGKDQGLQ21/<\RXUFROOHFWLRQVOLS:HDUHQRW
       LQWHUHVWHGLQZKLFKVSHFLILFPDWULFHV\RXVROYHGFRUUHFWO\EXWRQO\LQKRZPDQ\\RX
       PDQDJHGWRVROYHZLWKLQWKHDOORWWHGWLPH7KHH[SHULPHQWHUZLOOJLYH\RX\RXUSD\PHQW
       DQGDVN\RXWRILOORXWDSD\PHQWIRUP

3D\PHQWIRUP3DUWLFLSDQWVWKHQZHQWWRDVHFRQGURRPWRILOORXWDSD\PHQWIRUP7KHIRUPZH
XVHGPLUURUHGDW\SLFDOWD[UHWXUQIRUP:HYDULHGZKHWKHUSDUWLFLSDQWVZHUHDVNHGWRVLJQD
SOHGJHRIKRQHVW\DWWKHWRSRUDWWKHERWWRPRIWKHIRUP VHH$SSHQGL[$ 3DUWLFLSDQWVILOOHGRXW
WKHIRUPE\UHSRUWLQJWKHLULQFRPH LHWKHLUSHUIRUPDQFHRQWKHPDWUL[WDVN RQZKLFKWKH\SDLG
DWD[ LHIRUHYHU\GROODUHDUQHG ,QDGGLWLRQWKH\LQGLFDWHGKRZPDQ\PLQXWHVLW
WRRNWKHPWRWUDYHOWRWKHODERUDWRU\DQGWKHLUHVWLPDWHGFRVWIRUWKHLUFRPPXWH7KHVHFRVWV
ZHUH³FUHGLWHG´WRFRPSXWHWKHLUILQDOSD\PHQW´

*LQR$\DO$ULHO\  3V\FK6FLHQFH

3J³3DUWLFLSDQWVDOVRUHFHLYHGWZRVKHHWVRISDSHU7KHILUVWZDVDZRUNVKHHWZLWK
PDWULFHVHDFKFRQWDLQLQJQXPEHUVFRQVLVWLQJRIDQLQWHJHUDQGWZRGHFLPDOV HJ DQG
WKHVHFRQGZDVDFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWVZHUHVXSSRVHGWRUHSRUWWKHLUSHUIRUPDQFH
DQGDQVZHUTXHVWLRQVDERXWWKHLUJHQGHUDQGDJH2QFHWKHH[SHULPHQWVWDUWHGSDUWLFLSDQWVKDG
PLQWRILQGWZRQXPEHUVSHUPDWUL[WKDWDGGHGXSWR7KHDOORWWHGWLPHZDVQRWVXIILFLHQWIRU
DQ\RQHWRVROYHDOOPDWULFHV´

0HDGHWDO  -(63

3J³2VWHQVLEO\DVDVHSDUDWHH[SHULPHQWSDUWLFLSDQWVZHUHWKHQJLYHQDVKHHWZLWK
QXPEHUPDWULFHVHDFKFRQWDLQLQJGLJLWQXPEHUV HJVHH0D]DU$PLU $ULHO\
 :HLQVWUXFWHGSDUWLFLSDQWVWRILQGWKHWZRQXPEHUVLQHDFKPDWUL[WKDWVXPPHGWR
,QVWUXFWLRQVDQGDQH[DPSOHZHUHSULQWHGDWWKHWRSRIWKHSDJH3DUWLFLSDQWVZHUHWROGWKH\
ZRXOGHDUQIRUHDFKFRUUHFWVROXWLRQ$IWHUPLQSDUWLFLSDQWVLQWKHH[SHULPHQWHUVFRUHG
FRQGLWLRQVJDYHWKHLUZRUNVKHHWVWRWKHH[SHULPHQWHUZKRVFRUHGWKHLUWDVNDQGSDLGWKHP
DFFRUGLQJO\3HUIRUPDQFHLQWKLVFRQGLWLRQSURYLGHGDEDVHOLQHDVVHVVPHQWRIKRZPDQ\PDWULFHV
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1092 of 1282




SDUWLFLSDQWVFRXOGFRPSOHWHLQPLQZKHQWKH\GLGQRWKDYHWKHRSSRUWXQLW\WRFKHDW
3DUWLFLSDQWVLQWKHVHOIVFRUHGFRQGLWLRQV FKHDWLQJSRVVLEOH VLPSO\FKHFNHGDER[EHORZWKH
PDWUL[ZKHQWKH\LGHQWLILHGWZRQXPEHUVLQWKHPDWUL[WKDWVXPPHGWR$IWHUPLQ
SDUWLFLSDQWVFRXQWHGKRZPDQ\PDWULFHVWKH\KDGFKHFNHGUHF\FOHG GHVWUR\HG WKHLU
ZRUNVKHHWVDQGSDLGWKHPVHOYHVIRUWKHLUSHUIRUPDQFH´

=KRQJHWDO  3V\FK6FLHQFH

3J³)RUWKHWDVNSDUWLFLSDQWVUHFHLYHGDEURZQHQYHORSHWKDWFRQWDLQHG QLQHELOOV
DQGIRXUTXDUWHUV DQGDQHPSW\ZKLWHHQYHORSHDORQJZLWKWZRVKHHWVRISDSHU7KHILUVWSDSHU
ZDVDZRUNVKHHWZLWKPDWULFHVHDFKFRQVLVWLQJRIWKUHHGLJLWQXPEHUV HJ0D]DU
$PLU $ULHO\ 7KHVHFRQGSDSHUZDVDFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWVZHUHWR
UHSRUWWKHLUSHUIRUPDQFHDQGDQVZHUGHPRJUDSKLFTXHVWLRQV2QWKHEDFNRIWKHFROOHFWLRQVOLS
ZHLQFOXGHGLQVWUXFWLRQVIRUWKHWDVNDQGDGLIIHUHQWPDWUL[DVDQH[DPSOH´

*LQRHWDO  3V\FK6FLHQFH

3J³(DFKSDUWLFLSDQWUHFHLYHGWZRVKHHWVRISDSHU7KHILUVWZDVDZRUNVKHHWZLWK
PDWULFHVHDFKEDVHGRQDVHWRIWKUHHGLJLWQXPEHUV HJVHH0D]DU$PLU $ULHO\
 7KHVHFRQGVKHHWZDVDFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWVZHUHVXSSRVHGWRUHSRUWWKHLU
SHUIRUPDQFHDQGDQVZHUTXHVWLRQVDERXWWKHLUJHQGHUDQGDJH3DUWLFLSDQWVKDGPLQWRILQGWZR
QXPEHUVLQHDFKPDWUL[WKDWDGGHGXSWRWKHWLPHDOORWWHGZDVQRWVXIILFLHQWIRUDQ\RQHWR
VROYHDOOPDWULFHV)RUHDFKSDLURIQXPEHUVLGHQWLILHGFRUUHFWO\SDUWLFLSDQWVUHFHLYHG
 IRUDPD[LPXPSD\PHQWRI $IWHUWKHPLQKDGSDVVHGSDUWLFLSDQWVIROGHGWKHLUZRUN
VKHHWDQGSODFHGLWLQDUHF\FOLQJER[SRVLWLRQHGLQDFRUQHURIWKHURRPWKHQWKH\ZURWHGRZQ
WKHLUSHUIRUPDQFHRQWKHLUFROOHFWLRQVOLS´

*LQRHWDO  2%+'3

3J³3DUWLFLSDQWVZHUHSUHVHQWHGZLWKPDWULFHVRQWKHFRPSXWHU(DFKPDWUL[FRQWDLQHG
WKUHHURZVDQGIRXUFROXPQVRIWKUHHGLJLWQXPEHUV HJ (DFKPDWUL[ZDVSUHVHQWHGWR
SDUWLFLSDQWVRQDGLIIHUHQWVFUHHQ3DUWLFLSDQWVKDGVWRILQGWZRQXPEHUVLQHDFKPDWUL[WKDW
VXPPHGWR:HLQIRUPHGSDUWLFLSDQWVWKDWWKH\ZRXOGHDUQFHQWVIRUHDFKFRUUHFWO\VROYHG
PDWUL[7KHFRPSXWHUNHSWWUDFNRIWKHLUSHUIRUPDQFHDQGRQWKHODVWVFUHHQLWVXPPDUL]HGKRZ
PDQ\PDWULFHVWKHSDUWLFLSDQWVROYHGFRUUHFWO\+RZHYHUSDUWLFLSDQWVZHUHWROGWRUHSRUWWKHLU
SHUIRUPDQFHRQWKHFROOHFWLRQVOLSWKH\KDGUHFHLYHGDQGWRVWRSE\WKHH[SHULPHQWHU¶VGHVNWR
UHFHLYHSD\PHQWEDVHGRQWKHLUVHOIUHSRUWHGSHUIRUPDQFHDIWHUFRPSOHWLQJWKHWDVN´

6KXHWDO  363%

3J³(DFKSDUWLFLSDQWDOVRUHFHLYHGWZRVKHHWVRISDSHU7KHILUVWZDVDZRUNVKHHWZLWK
PDWULFHVHDFKEDVHGRQDVHWRIWKUHHGLJLWQXPEHUV HJ 7KHVHFRQGVKHHWZDVD
FROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWVZHUHVXSSRVHGWRUHSRUWWKHLUSHUIRUPDQFHDQGDQVZHU
TXHVWLRQVDERXWWKHLUJHQGHUDQGDJH2QFHWKHH[SHULPHQWVWDUWHGSDUWLFLSDQWVKDGPLQXWHVWR
ILQGWZRQXPEHUVSHUPDWUL[WKDWDGGHGXSWRDGXUDWLRQWKDWZDVQRWVXIILFLHQWIRUDQ\RQHWR
VROYHDOOPDWULFHV)RUHDFKSDLURIQXPEHUVFRUUHFWO\LGHQWLILHGSDUWLFLSDQWVZHUHDOORZHGWR
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1093 of 1282




NHHSIURPWKHLUVXSSO\RIPRQH\$WWKHHQGRIWKHDOORWWHGWLPHWKH\ZHUHDVNHGWR
WUDQVIHUWKHXQHDUQHGDPRXQWWRWKHZKLWHHQYHORSH´

*LQR 0DUJROLV  2%+'3

3J³7KHILUVWZDVDZRUNVKHHWZLWKPDWULFHVHDFKZLWKDVHWRIWKUHHGLJLWQXPEHUV
 HJ0D]DU$PLU $ULHO\ 7KHVHFRQGZDVDFROOHFWLRQVOLSRQZKLFKSDUWLFLSDQWV
ZHUHWRUHSRUWWKHLUSHUIRUPDQFHDQGDQVZHUGHPRJUDSKLFTXHVWLRQV2QWKHEDFNRIWKH
FROOHFWLRQVOLSZHLQFOXGHGLQVWUXFWLRQVRIWKHWDVNDQGDGLIIHUHQWPDWUL[DVDQH[DPSOH
3DUWLFLSDQWVZHUHWROGWKDWWKH\ZRXOGKDYHPLQWRILQGWZRQXPEHUVSHUPDWUL[WKDWDGGHGXS
WR)RUHDFKSDLURIQXPEHUVFRUUHFWO\LGHQWLILHGWKH\ZRXOGNHHSIURPWKHLUVXSSO\RI
PRQH\WKH\ZHUHDOVRDVNHGWROHDYHWKHUHPDLQLQJDPRXQWLQWKHHQYHORSHDQGGURSLWLQD
GHVLJQDWHGER[DORQJZLWKWKHFROOHFWLRQVOLS1RWHWKDWPLQLVQRWHQRXJKWLPHWRVROYHDOO
PDWULFHV,QSUHYLRXVVWXGLHV *LQR$\DO $ULHO\0D]DUHWDO SHRSOHZHUHDEOH
WRILQGRIWKHSDLUVRQDYHUDJH,QDGGLWLRQWKHUHZDVQRDSSDUHQWLGHQWLI\LQJLQIRUPDWLRQ
DQ\ZKHUHRQWKHWZRVKHHWVVRUHVXOWVVHHPHGDQRQ\PRXV7KXVSDUWLFLSDQWVKDGERWKDQ
LQFHQWLYHDQGRSSRUWXQLW\WRRYHUUHSRUWWKHLUSHUIRUPDQFHWRHDUQPRUHPRQH\´


    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1094 of 1282













                                   (;+,%,7
                                         
                   'LIIHUHQFHV2I2SLQLRQV$PRQJ&ROODERUDWRUV
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1095 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1096 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1097 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1098 of 1282













                            (;+,%,76$$1'%
                                       
                        7DNLQJ7KH5ROH2I3HDFHPDNHU
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1099 of 1282
                                                                 ! #! "      


   
        !#" "  &!'$%     
   


    !
 4+!$!& -!%"*&"*$ ##$!  %1$/!&$$%" !.
$!&!%"*&&%##$3 4"+&"* #"!,&."*&,"1 ."! "!.1%"&& !
*!$%&!,&&$* !&%!%$ !&%$1!",&"%& "+"$,$!,.&&"%
!"&$&*!!%%$.!%3
$!


6666666666666666666666666666666666666666666666666666666666666666666666
$!%!"
!"! . $"%%"$"*%!%% !%&$'"!
$+$*%!%%""
$1 "''"!1 $!/'"!%! $&%7                         8!&
"6$1#%"!#"! 
"6$1#  $ %"!#"! 
%&2)#255$!%!"3" 5
,)$29$!%!"
  ,""2   '&  &   "  
  ,$'2  " !





                                                                                                                  
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1100 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1101 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1102 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1103 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1104 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1105 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1106 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1107 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1108 of 1282













                                 (;+,%,7
                                     
                   7LPH:LWK          $W81&,Q-XO\
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1109 of 1282
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1110 of 1282


  2#,#-

    #   9

    ")*5)1+($)5#(!-"3%(;
    '3)(+#(!3"-"+5)1()(+''5()-,)('5')2+)'-) ;

  '-"')2#(-",1''+)FDED91-,*(-,)'.'#(&#)+(#@3)+%#(!,+,+")(,1&-(-
)+#,(5A#( 1()FDED(*+-) 1&5; 3,%#("*& #&&)+-3)3%,-3( 1&5EK= 1&5GD9
-)(#,"*%#(!(-"(+)2-)),-)(+)'-"+)( 1&5GD;

  '-3#-"5)1--)#,1,,1++(-*+)$-,9(3#-"                3")3)1&"&*#(!)(,-1#,
2( + ')2-) ;

(5)1)(+''5()-,+1+-8

"(%5)17
+(


======================================================================
+(,#()
()('#&5+),,)+)1,#(,,'#(#,-+.)(
  +2+1,#(,,"))&
,#-:"0*:<<+(,!#();)'<
3#0+:B+(,!#()
( #(% (( (,-!+'
),-(-))%:          
4-&%:   




                                                                                                              !!
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1111 of 1282













                                  (;+,%,7
                                       
                                &RQILUPLQJ7ULS,Q-XO\
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1112 of 1282
                                                             "  !    !          


     (% '%&%
           '% '%'( )!%)!'+     

          
   '%'(#%&#'%&*")*"&&"       '%&%"
              " #+)"

                                   
"&        !&" " # #  &

 #*'%)'('&"  #*(%)'('&" # "   #"&

 %




                                                                                                                    
                                                                                                                                                                 
     (,049 9                      )-159 9                                      9   89 9 *692$9.%!+"/39 9 9   
               7d 2#JK<LId             
               $T3d %MN=
                                                                                                                                                          
                                                                                                                                                          
                                                                                                                                                          
                                                                                                                                                               
                                                                    




                                                                                     ;?-d                                   cd 6Y0d


                                                                                    X9^.dd!QBC/Gadd



                                                         
                                   

                                                                                                                                             d"RDE1H_[d

                                                                                     :>&d                                      




                                                                                    &'#9   79
                                                                                

                                                                                    U8\'d d O@A(F`d                                                                 
                                                                                                                                                                    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1113 of 1282




  bS)d 4*V+d]PdZ,W 5
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1114 of 1282













                                  (;+,%,7
                                        
                       /HWWHUIURP3URIHVVRU        
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1115 of 1282
                                                           


     
        ##"#$ % $' #&     

       




*-/#)7/LO8-..6''? -((-66*4'/4-)*4--5$.$*).+-8=P(/*LK+(?#+.8#
.$)) ++-.6$'''68./6**(85*-$/.? '*5#*6$)/#($./*5-8*)4.$)"
$("$)-8*-&(*)8..1(4'$=64.-'.#$)'-"(*4)/.?#/ '-)-*(/#/6./#/$
8*46)//*$)18-'/.=4.-')./-*)".1(4'$?#*./)-.4'/.6-*/#(9$)"?

#+-*%/6$/#       /*/''8/&.(&? @&$)**-"*3)*4/$/=4//#)$/''(&/*(? /
#'+. #5$/''$)(8($'.?#= -((-''/#.$")6*-&6$=)6#/"-/$$/.(
'$&=)4'1(/'8/#$.++*$)/()/6#)6-'$9/#/*4-7+-$()/.#)*/6*-&=)#/*
)*)$/?#-6./*)*6*-&$)$/=4/6#/-8*4"*$)"/**< /6."**'..*)*-(/**/#/
"-/--$.'$3-6$/#$'4-.? /#$)&6#.*(*/#-.=-$"#/<#8*/#6&*)6$/#/#
  -!/<)-$(4-.()/-4<#/6."-/$=4//#-6..$(+'8)*5$)$)/#/?
#/'.???*#8#/#-4)&-$5$)"//#/)4+$)"-''8$.++*$)1)"?/'./6)5-
$."-*))*)$)"/#+-*%/.?86'-)*4/.4)&*./''8/''/# *)-).
66)//*?

4/ $"-..???*/*).6-8*4-,4.1*).=6.+)//*)*1(6*-&$)"$)/#.(-**(*-6$/#/#
.(/? -((-*-*/#/#MKKR.8#$))MKKR /#/*/#-)/#)'8.$.
.+-/'8=+-14'-'84. .+)/.*(1(-$)"4+*)/#.8(+/*1.*#$D.,4-/./.? *
-((-/#MKLN +-.)/1*)4. 6.$)/#4$)=)5).&,4.1*)?5-8*)
6..4+-7$/*4//#/++-=)(8,4.1*)C*(()/6.*4//#))$'$(+'$1*).E6#$#
6*4'#5)#4"F? @.)        +-.)/$//#8-*-.6''?4/ )5-"*/)8.)./#/)8*)
,4.1*)/#-.4'/.=)-/$)'8)*/       *-     6#* '.*$)/-/6$/#'*/?

  **&-)???6"*68&=)/#'.//#$)" 6*4'5-.-$8*4.$../4*-)?*4)5-6-*)
)8**4-+-*%/.? /#$)&6*/#-'$9-'8*)#*6$(+*-/)/$/6./**+/+*-0*'$**+-*%/.=
.4#/#/66*4')5-#5/*-'8*))8*)?#*.+-*%/.6#/#/$'#/)4+/*)*
1(=4/*4---.*-.4..)5-+)*))8*/#(?@5'68.-*+++-*%/.)++-.
/#/6-)@/-$"#/*-./-*)"=4.6*4'?*4-/$)'8$)@/)/#/MKLM++-?) *-&)*6.
/#/6'68.'$./)/**))*/#-@.$.)+/? /#$)&()8+*+'($./&/-($)1*))
-$5*-./4*-))..=) /#$)&/#$.$.4)$-'8++'$/*6*()E'$&.*()8/#$)".F?#-6.'*/*
)58/*6-8*44.*8*4-.4..)+-*415$/8=) -((-7+'$)$)"/*+*+'/#/8*4
'$/-''86*-&LQDMK#*4-.+-8=)-'85-8.$)"'8*/#8-? -((-8*46*-&$)"*)
#-$./(.?)6#/6.'68..*(9$)"/*(6..$)"/#-+$'-)$)"D8D*$)"/#/(6$/#
/#/?*4-*)*/#/*4"#./+*+' &)*6=6#$#"$)=$.*!)($.3-$4/*-5$6)"15'8$)
.4..4'6*()?4//*4"#$.)*/./4*-)?*4@-*)*/#6+*+' &)*6/#/$./*4"#-/#) (?

 *6*4'8*43-*''*-/*-<''.'.#'8 @'*5*-4./**/#6*-&*)*)+-*%//*"/#-
))*/#$)"'.? ?*4@-'$&(=)#5/&)*)()8-.+*).$$'$1.?4//#/@.+-/*$)"
.)$*-4'/8((-=)5)(*-.**-6*()6#*"/.&/**5)(*-)*)D+-*(*/'/.&.?

                                                                                                                
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1116 of 1282
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1117 of 1282


,4.1*).        -$5=   ) (//*$.4..?*8*4-((-.$)"4.-*4)*(+4/-
/'&$)"<)8.).*/#/8+*,4.1*)..#-$5<

)$8*4#5)8/#*4"#/.*)#*6 *4'*(3-*''*-/*-= (''-.? ('68.'-)$)"?

  8*4*4''/(&)*6= 6*4'5-8(4#++-$/$/?

#)&8*4=
-)


DDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDD
-).$)*
)*)($'8-*..*-*4.$)..($)$./-1*)
  -5-4.$)..#**'
.$/>#3+>CC-)."$)*?*(C
6$3->H-)."$)*
) $)& )) )./"-(
*./)/**&>  !      
7/'&>  




                                                                                                           
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1118 of 1282













                                  (;+,%,7
                                        
                        /HWWHUIURP3URIHVVRU      
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1119 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1120 of 1282
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1121 of 1282


  9*5*5''/(&)*7> 7*5'6-9(5#++-$/$/@

#)&9*5>
-)


EEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEEE
-).$)*
)*)($'9-*..*-*5.$)..($)$./-0*)
  -6-5.$)..#**'
.$/?#2+?DD-)."$)*@*(D
7$2-?L-)."$)*
) $)& )) )./"-(
*./)/**&? "(' " '!  $!"   
8/'&? & '




                                                                                      ##
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1122 of 1282













                                 (;+,%,7
                                     
                        (PDLOIURP                 
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1123 of 1282
                                                          


   #
       "  '"%$%& %#%(#'$     

     " 

  #,(-<

"(%6)2),."%#(4),-9 >&&*,)3#-)',#(-4,-",;2. ."#(% '#!".'),"&*2&.)6)2
)3,."*")(=)2&".(5.-),"2,-4),%),6)2:

     J= (),.2(.&6; )(>."34),%#(!**,),."!(,()((*,)$.="*,)$."-
         .%(#.)(4#,/)(;-'6)2."),-( -.,2!!&.),*&#.."&--#%&-"(#(!
         4",!(/4)'(,-)#&&6*2(#-"'),."(!(/'(=>3.-.-3,&'),.),-
         .".-'.)-&#!".&6,2."5.(..)4"#")((.4)'(,.,2-.'),."()((.
         '(E#(.,'-)(3)&(B-(#(.!,#.6B-.,2-.F=/&&;4"3().6.)2((.
         4",4)'(,*(&#7'),."('(),#-*&6#(!!(6#(."),')"#!")((=
         #3(."--.,2!!&-.),*&#.&--#%&-".-;4>3(4)(,#(!4".",-)'
         #( 2(/&(#(!-#(.".&#.,.2,-/&&")&.)6(,*,)#(!4#.",*&#/)(**,.".
         1'*.-5.,*&#/)(-)-)'-'#(&(#(!-*2&#-"JIO6,-!)=

           -*#."(!#(!."*,)$.G-#,/)(;4"3&).).,)'-.2#-."..-.")4.".6*
           ))((#(!5*,--E=!=;)3,*&'(.3-=)3,-/'/)(F'#!".#'*.."5.(..)
           4"#"'(,*(&#7),#-*&6#(!)(()'*,.)4)'(= 6)2,#(.,-.#(
           ",#(!'),)2.."*,3#)2--.2#-4,(; >"**6.)*,)3#'),.#&-)3,."*")(
           )2.4".4"3.,#()2(=
           
     K= #4-&,!&6,-*)(-#&),),!(#7#(!.",%&6$)2,(&&2="(#.-.,.;')-.**,-4,
         ")-(6#.","#'; )#'')(-;),,##')(-)"(E",.)(-.,.$)2,(&&2,)2(."
         -'/'(#.,()(2,,(.&64#.".",%&6)(F=,16'2"(6)64")4(..))'
         *,/#*.="'#(*,/#*(.-4,)(-2',"3#),2&.6-.2(.-;')-.)." #,)B
         ),#(.2&.6(-.2(.-;(4  B),#(.-.2(.-#(.")#&-6"*,.'(.E4>
         &-)!.)-#)(&!2-.1(-,)'-'#(,-*%,-),).",'#-#(.)4(D ,'',
                      #(!.)('/(!#(,%&6;),5'*&F=2.;.))'').'),#3,-
         **,-(,-,".)*#-;."&23(.2&&63)&3#(.)-",&,-"#*')&4",2&.6
         4")1(."'/(!-.%.2,(--&/(!,(.&6*2&#-",/&-."6(#(.,-/(!(4(.
         .)#-2--=.",."(().-&/(!**,-,)',!2&,'/(!1(-(.,6#(!.)%*."
         )2-)(,(.**,-E&')-.&&)."'4,3,6,(.&6*.#($)2,(&-F;.",4,(>.(6
         !,)2(,2&-.". ,&&=

     L= .",."((#(!()&'#&,)' #.".)(,'-6)2,KIJM**,4#."                      4-
         #-2--#()()."'/(!-; )().,'',(6."#(!)2..".'/(!= )2&*).(/&&6
         .%-)'!2---)2.4".'#!"."3)'2*-)('6''),6).".6*-)."#(!-.".
         .(.)!.,)2!".2*#(.")-#-2--#)(-;2.#.4)2&$2-.'-*2&/(!=


#();,(-P!#()H"-=2Q
 .2,6;,2,6M;KIKL.N<LI

  +2#%+2-/)(

                                                                                                             
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1124 of 1282


    #

    ")*6)2,)#(!4&&9

    '4,#/(!4#.".",+2-/)(-),6)2=

         J= -6)2,**,)(?4"((4"6)((.4)'(,.,2-.'),."()((.'(@3#&&),
             -",#(!-4),%#(!**,:#-);4)2&6)2'#(-",#(!#.4#."': ')#(!-)',-,")(
             4"(4)'(3)#%&-"(."#--'-,&3(.=
         K= &#3             .)&'.-)'*)#(..".6)24,*,.)."$)2,(&&2.,%&6.". #
             ),!(#7= -.".,#!".:(6)2.&&'")4."&2#-),!(#7(4")*,/#*.-:,.",
             ,2&-: )4,**,-")-(: '64(..),.-)'."#(!-#'#&,C)&&!2)'#(( "
             (#-2--#(!."*)--##&#.6=
         L= --2'#(!6)24,*,.)."&2;)6)2,'',#(!*,.)#-2--#)(.".#-2--'6
             KIJM-6"#(**,4#."                    :(#-);)6)2,'',4".6)2&&#-2--:

."#-#--#,.)#-2--&#3; >"**6.)&&6)2=
)(!,.-)(&&."'7#(!,-,"6)2,)#(!=

,(-



BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
,(-#()
()('#&6,)--),)2-#(--'#(#-.,/)(
  ,3,2-#(--"))&
-#.<"1*<AA,(-!#()=)'A
4#1,<H,(-!#()
( #(% (( (-.!,'
   )-.(.))%<          
5.&%<   




                                                                                                                    
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1125 of 1282













                                (;+,%,7
                                        
                            (PDLOIURP         
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1126 of 1282
                                                            !   


   ! 
       & $"$% &!'#!&%    

        

 )%*7

)++&))&$3&/5#+&/+*)0) 1*)/%% %"+% *%&1& %7 # 0 $ +0&'3&
+& 1)&+&)++*"*9&$/,$*'**?5@+&/++ 1&/#')&#3%+&+1"(/ + ++&
) %+&/'+&/))%+*/) +3*+%)*7$" +1&)"1 ++$&)%0)* &%&+&# ))37%0 +
1&)"1 +$&)%1)&1*)*9 1&/##*&%+&+%11*)0)%+*/'%)/%% %9 +
+*"*1), %+&/#+) *?%:+)## 3&/)*1)@+%+)1&/#$&)+1" %=+)&/#*&&,%* %
/#+) **%(/ + +* %+%9## %##7 +$ +%&+;+&%<&1&)"+&/9

&3&/0%)#,$# %&)3&/)')&!+6

 :$/))%+#3+)0# %+)&//%37/+ :#+&+&/*1 +3&/&% &%3&)/*3&% +&$
+&#+3&/"%&1  :$#+&%+&)  %#&9

&'3&/:)& %1##5


%+)&$$3 &%




        %F7DBDE7+H8GH 7 %&7)%*I %&A*9/J1)&+8


       
       
         &'## *1##9
       
          &+*/)3&/)$$)$9 3&##/                  %+)&/*/*" %DBCD?5@* %
       1* %+)*+ %0#&' %*) *&%&%# %+*"*+&/* %)*) 1*&%/,%++
       ,$9&/)+++*"**&+++31&/#'#33*+/3'), '%+*&/+* &
       /#+) *9
       
       &$" +* )+&&##+++73&/# %"*&%&/#/*+&&1%#& +9 %3&/"%1
         1* %+)*+ %/* %++*"* %/+/)*+/ *73&/+%)+/%,&%# +3++#+
       +&##++&)+*"7*&++%1+&/#&##+1%/* %++*" %9
       
         *$3$$&)3/)+6
       
       %  $ %++*"*&%:+2 *+%3#&%) 0%++ + *%&1&0)CB3)*&9
          1) %+)*+ %)),%+$7)3&/*,##& %1&)"*;&%+)+&)<6&)03&/
       $&0&%6
       
       %"*5
       )%*


                                                                                                                   
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1127 of 1282



>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>>
)%* %&
%&%$ #3)&**&)&/* %**$ % *+),&%
)0)/* %**&&#
* +8.'8==)%* %&9&$=
1 .)8A)%* %&
  % %" %% %*+)$
   &*+%+&&"8          
2+#"8   




                                                                                     
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1128 of 1282













                                 (;+,%,7
                                       
                         (PDLO([FKDQJHZLWK      
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1129 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1130 of 1282
 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1131 of 1282


N=".#-."#,(.4(."O-.2#-:)2F3#(&2."'#(."-'-.26#()
-".= -.")(&6#,(#(."*,/#*(.&#!##&#.6,+2#,'(.-:,."*6'(.-"'
(*2&#-.26('."-'),).":,6)2*&((#(!.),2().".."-'/'),
-4#.".4(."')(."-'6:

O= 6)2)2&*&-&&)2.."-.26-,#*/)(-/)(.."(D),$2-.-(')(3#
'#&E;.".4)2&!,.="-.26-,#*/)(.6*#&&6#(&2--)'3!2.#&-)2.
4".*,/#*(.-4#&&)#(!D=!=;G,/#*(.-4#&&,-,#-))2'(.-((-4,
+2-/)(-)2.4".."6"3,G),G,/#*(.-4#&&'%#-#)(-()'*&.
-2,36GE="-,#*/)(4#&&&-)#(&2*6'(.#(),'/)(;-*#&&6#6)2"3(6)(2-
*6'(.-D=!=;G,/#*(.-4#&&,#3-')2(.)JOM4#.""(.),(2*.)(
#/)(&JRGE=

"(%-;



(.,)''6#")(

(*V;OMNQ;.NN<MQ ;G#();,(-GW!#()H"-=2X4,).<

          #
      
      "(%-= 1"."-.26#(),'/)(-".=
        )(&6.4)6-4%,*)--#&")4)2..")&&)4#(!D (5.,
      ---#)(4#."#(64", 4)2&"3."&),."(/,6E<
                V@NR.4)---#)(-D-);&.4(PBS<PMEP<PMR*'
                V@NT.4)---#)(-D-);."&.4(PBS<PMEP<PMR*'
                V@NU<&&6D---#)(-.NM;NN<PM;N;O<PM;Q;R<PM*'E
                
                V@OO.4)---#)(-D-);&.4(PBS<PMEP<PMR*'
                V@OS<&&6D---#)(-.NM;NN<PM;N;O<PM;Q;R<PM*'E
                NM@MN.4)---#)(-D-);&.4(PBS<PMEP<PMR*'
                NM@O<&&6D---#)(-.NM;NN<PM;N;O<PM;Q;R<PM*'E
                NM@V<&&6D---#)(-.NM;NN<PM;N;O<PM;Q;R<PM*'E
                NM@NM<&&6D---#)(-.NM;NN<PM;N;O<PM;Q;R<PM*'E
      "(%-;
      ,(-
      
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      ,(-#()
      ,)--),)2-#(--'#(#-.,/)(
        ,3,2-#(--"))&
      -#.<"1*<@@,(-!#()=)'@
      4#1,<H,(-!#()
      ))%< 
      
      




                                                                                                    !&
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1132 of 1282


   
     2-6;*.',V;OMNQ.Q<RT
   ,(-#()W!#()H"-=2X
    
     < NQBPMQU<(,-.(#(!2."(/#.6
   
      #,(-;
   
   (,&&64,+2-..".,-,",-,2(().'),."(O6-*,4%-).".
   ."&(3#&&.)).",,-,",-=('%(5*/)(),(5.
   4%;2.6)24#&&(.).-.6)2,-.26*,#),.),,2#.'(.;4"#"'(-6)2F
   "3.')-.R6-.),,2#.),.",-.6)---#)(-=
   
   )-"2&.-/(!;*&-)(..                     4#.".".#&-)6)2,
   -.26F-."(#&,+2#,'(.-=#/)(&&6; 4#&&(.".26 ()".-
   -))(-*)--#&.)!#(,,2#/(!=
   
   &-&.'%()4#6)2."#(%."#-4#&&&&-#&),6)2;( 4#&&))%(5.
   4%=V@NR(V@NT,-/&&3#&&.."/'-6)2,+2-.;2.           "-
   .-/(!),."*.',#-#)( %#(!(,,(-2(&.O*')(
   V@NU= ("%4#."       (    .)-#.".(,-"2&.).6)2
   #(=
   
     4#&&)(,'4#."6)2),."4% ,.".DV@OOBV@OSE)(,#6=
   
   "(%6)2;

   

   (.,)''6#")(

   (*V;OMNQ;.P<RV ;G#();,(-GW!#()H"-=2X4,).<

           #
         
         Q,ERRNWKHIROORZLQJWLPHVGD\VLQWKHODE"
         
         V@NR.4)---#)(-D-);&.4(PBS<PMEP<PMR*'
         V@NT.4)---#)(-D-);."&.4(PBS<PMEP<PMR*'
         V@NU<&&6D---#)(-.NM<PM;NO;N<PM;P;Q<PME
         V@OO.4)---#)(-D-);&.4(PBS<PMEP<PMR*'
         V@OP.4)---#)(-D-);&.4(PBS<PMEP<PMR*'




                                                                                               "&
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1133 of 1282


        V@OQ.4)---#)(-D-);&.4(PBS<PMEP<PMR*'
        V@OS<&&6D---#)(-.NM<PM;NO;N<PM;P;Q<PME
        NM@MN.4)---#)(-D-);&.4(PBS<PMEP<PMR*'
        NM@O<&&6D---#)(-.NM<PM;NO;N<PM;P;Q<PME
        NM@V<&&6D---#)(-.NM<PM;NO;N<PM;P;Q<PME
        NM@NM<&&6D---#)(-.NM<PM;NO;N<PM;P;Q<PME
        
        ").),.-'6().(--,62. 4)2&&)3.)))%."
        &$2-.#(-!#3(")4'(6*,/#*(.- (.,)'
        &-&.'%()4#."#-#-)%4#."6)2=
        ,(-
        
        
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        ,(-#()
        ,)--),)2-#(--'#(#-.,/)(
          ,3,2-#(--"))&
        -#.<"1*<@@,(-!#()=)'@
        4#1,<H,(-!#()
        ))%< 
        
        
        
        
        
        
        
          2-6;*.',V;OMNQ.NM<OS
        ,(-#()W!#()H"-=2X
         
          < NQBPMQU<(,-.(#(!2."(/#.6
        
        Hi Francesca,

        Here is the lab availability for the next 4 weeks:

        9/15: all day
        9/16: 10am-11:30am
        9/17: after 2pm
        9/18: all day
        9/19: 10am-noon

        9/22: all day
        9/23: all day
        9/24: after 2pm
        9/25: not available
        9/26: all day

        9/29: not available
        9/30: not available
        10/1: all day
        10/2: all day
        10/3: not available

        10/6: all day

                                                                                #&
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1134 of 1282


        10/7: all day
        10/8: all day
        10/9: all day
        10/10: all day


        While there is some availability in the lab remaining this week, it
        will be difficult to recruit full sessions for them (depending on
        how many people you need per session).

        Please let me know what times you’d like! I will also need the
        completed In-Lab Study Info Sheet for this study at your earliest
        convenience.

        Thanks very much,




        

         $)*,)!-
         *) 0!+.!(!,   
        
         !   ) !,-.) $)"/.#!).$$.0
              $"#
        
          #
        
        )2&6)2*&-&.'%()44"(."&#-3#&&: (&).)
        -2$.-),.4)#,(.-.2#->);."-))(, (-.,.)&&/(!."
        .;."1,=
        
         4#&&!.",.,)'RMM-.2(.-D&&2(,!,2..
         ,3,E("3."')'*&.SMB'#(2.-.26=




                                                                                        $&
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1135 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1136 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1137 of 1282













                            (;+,%,76$$1'%
                                         
      (PDLO([FKDQJHVZLWK5$VKHOSLQJRQWKH3V\FKRORJLFDO6FLHQFH3DSHU
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1138 of 1282
                                                                     !   


   " 
      ! %$!&$%'("'%"%(   

    !

)&*

)+ &#**'%, %$''#!&').)+'!+



 "3$?>3@>?B'F4B> 3"#3%"&H"#;&5+I-%#'4
 

  &3.#+&#+  '# ,.D$!#"'#&.&5
   +&'' '#' !"%"&%%+'$#$ #%'-#&&&#"&.4A4A>"C$!5&&&#"
  &#+  &'#+'D>!"9"#'' &&:

  - &.#+" #" #".%#+"B4A>$!

  %"&



  8888888888888888888888888888888888888888888888888888888888

  %"&"#

  %#&&#%#+&"&&!"&'%(#"

  %,%+&"&&##

  &'4*$477%"&"#5#!7

  -*%4;%"&"#

  ##4 



  
   "&.3$'!%?>3@>?B'F4A@

  %"&"#H"#;&5+I
    4.#+% $

  )&*

  '+%/$****+!'&+'/*'%/* ,$!*$!++$!)&+)'%. ++'$/',/*+)/%
  -!$$'&'&/(+%) + +) (%%$+'%#+ )*+'+ +*

  '.-).',$!+('**!$+'$-+ (%*' -&', +!%+'++'%/()'**')*'!
   ',)*'&+!%&'+%*,)',$+)/&.')#*'%+ !&',+.!+  !%

  *+


                                                                                                                      
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1139 of 1282




"3$?>3@>?B'F4@B 3"#3%"&H"#;&5+I-%#'4


#+ '$#&& #%.#+'#"' 9' :%#!@4A>9-''%&'&&&#"&'%("'A$!:'#D4A>
$!#"

           #".3&$'?C
          "&.3&$'?E
           #".3&$'@@
          3#'?2

'-#+ %'1
%"&



8888888888888888888888888888888888888888888888888888888888

%"&"#

%#&&#%#+&"&&!"&'%(#"

%,%+&"&&##

&'4*$477%"&"#5#!7

-*%4;%"&"#

##4 




 +&.3$'!%G3@>?B'D4C@
%"&"#H"#;&5+I
  4.#+% $

!)&*

.',$$'-+' $(& -$**)'% (%&'&, %/$***))'% (%
&  (%+ )+ &+ +%()++/%, ) +!%*%/*,"++' &(&!&'&
. &%/+ !&$$'.*!+'*+!'&%,+.!$$$+/',#&'.%$''#!&').)+'.')#!&
.!+ /', &#/',

*+


  "+3$G3@>?B'??4A? 3"#3%"&H"#;&5+I-%#'4
        "

    !'.#++%".#+%$%&"'(#"&#%      5 !#"#'+ '.#%"/"' .#+%$%'#5 !
   -%("'#&.#+6- "'# $!%+"'-#&'+&" "&$'"% . '#%5 -#+ $..#+
   #%""' "#"+("'%&%5

   #" .'" "'#"#-&-'%.#+6- "'##'&"-'.#+%,  '.&


                                                                                                                  
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1140 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1141 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1142 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1143 of 1282













                                   (;+,%,7
                                         
        (PDLOIURP5$LQGLFDWLQJVRPHSDUWLFLSDQWVGLGQRWIROORZLQVWUXFWLRQV
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1144 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1145 of 1282













                                  (;+,%,7
                                      
                         (PDLOIURP5$            
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1146 of 1282
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1147 of 1282


# (4

'#(





<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<

'#(#$

#$#"!1'$(($'$-(#(("#()'*$#

    '.'-(#(($$!

()6,%6;;'#(#$7$";

/,'6A'#(#$

# #  ## #()'"

    $()#)$$ 6                   

0)! 6   




                                                                                              & &
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1148 of 1282













                                  (;+,%,7
                                      
                         (PDLOIURP5$            
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1149 of 1282
                                                             "     +"'%'( %,#),#%*           


  # "
  #     ! ,!'%'( -"&+")*     
#
#    ! 

,,)--),<

)2,- ,'',6)2(."-.2#- 4),%)(. (.."#-#)( ;&-*.'6*)&)!#-#(
."&.,-*)(-< -)'/'-)()."%."#-,---) (>

 .#-4)(,2&.)",,)'6)2> ',# 4#&&().)'2""&*#(."#--> -((.")&, "3,)'
."4),%4#."       #('6,#3<")43,#.-'- )(&6"33,64&-,)'."./'> ,&&6)4#-" "#.
'),#(),'/)(,)'''),6),#(4,#1().)"&*6)24#."."#-> &-)()&)(!,2-.")'*2., ".
.".(-)'."#(!-4,().%2*>6*)&)!#->

(-.",#-(6).",46 ("&*<*&-&.'%()4>

 #(,!,-<


 #'>K3,>HFHIGK=IF<#()<,(-L!#()E"->2M,#.=

      #

  

   '().-2,6)2,'','D '*,)--),. >           4")2-.). <#(.,)22-
  %#(*.)HFGJ-).".6)2)2&"&*4#."-.26 4-)(2/(!#( >"(%6)2!#(),&&
  6)2,"&*;

  

  -#((6-.26<().&&*,/#*(.-5.&6)&&)4&&."#(-.,2/)(->),#(-.(<.."/'<6)2(
  .").","&*#(!)(."#--.26.)&'-)'*,/#*(.-#().)&&)4."*,)2,),." ."6
  4,-%.)2-),(-4,@ ,3,A4"(-%)2.@,#(-"))&>A ,'','/(!4#."
  6)2#('6)(#-2--#(!4".4)2&)2(.-@*)),+2&#.6.A.".4)2&&.)5&2-#)(-(
  4".4)2&().>                !

  

  ,&#74!).%&')-.GF6,-<( '-%#(!)2.)(-.26#(*,/2&,4"(6)2"&*4#."
  '(6<-)#6)2)(?.,'',.".?-)%>2. 4(..)"%$2-.#(->

  

  #(6)2"&*4#.".".&(#(!(',!#(!< 4-4)(,#(!4".",6)2"4,#.2*)."
  5&2-#)(-4#-2-->

  

  "(%-;

  ,(-

                                                                                                                       &'
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1150 of 1282






CCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCCC

,(-#()

()('#&6,)--),)2-#(--'#(#-.,/)(

    ,3,2-#(--"))&

-#.="1*=BB,(-!#()>)'B

4#1,=E,(-!#()

( #(% (( (-.!,'

)-.(.))%=                      

5.&%=   




                                                                                               ''
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1151 of 1282













                                 (;+,%,7
                                       
                      (PDLOIURP3URIHVVRU           
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1152 of 1282
                                                          !   


   #  
     !" ,)"+)*- **#+)#.)     

    "  "

  "*!%""5&!,!&&&$&" #!%'"!",!&""!%!&!5%"3,"**&&$%&
%!&!"&%*%%"!3&"*&5

  "&!3*%&&&.##$,%" #$%"!%5."*&&"!$$"!&"&-&$ ,%"*"!
"$$'"!%"!+$.??%&!+"+%&$&%&%8&," !&!!&$'"!95

    "&')&*%"$+'  "&'!*,
 ,&/'-%)     
 
  (()&$++)

!."*         "*$!%$$&5"!.&!, .!&"%&&$&7" #!%'"!
&$&*$%!&$+,$%%"$&5
 "!&""*+$.&!!& %%!!"$ '"!."* !'"!5

%"$"!$$"!"$$'"!%3,%%&"$#"$&& !#$+"*% %. !%* %%"!5&,"*."*
$#"$&!%&2

$!%


  *!.3 "+ $@=3?=>A&>>4=A
$!%!"E!";%5*F3

  ##$!)$

$%&##$1&%""!$&1

*%" .#$'"!%'&!!%3 ,!%5

+-#$ !&'&5

  "*,$#"$&&%/"$" #$%"!%5%"%" ' %,$#"$& !%" ' %,"!6&5
%"*"!%%&!&!+"$$#"$'! "$ !%5

 !"&!+"$"&"!$$"!"$$'"!5!&"!%$+'+!*!!%%$.&%&!,*%&
$,&!#*&#$%%*$"!"*$%+%*%&&' 5

+!&&"#8 "$!%!%" *!$)9!&%&$!&"&$%*&%3 .*%%%&&&
&'+% .%"$"*$&5 ",%"*"*%&&%!%"#$#$&"%$&&
%&%5

$% .,"$"*!&5&"*&"*&"*&@==,"$%$" &%*%%"!&"&*%",!&"?===5
!&"4>==?
  &*.>!&$"4@=

                                                                                                                
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1153 of 1282


  &*.>%*%%"!4@B
  &*.?!&$"4A@
  &*.?%*%%"!4@>
  &*.@!&$"4>=@
  &*.@%*%%"!4BD
  &*.A!&$"4?>A
  &*.A%*%%"!4C>
  &*.B!&$"4BB
  &*.B%*%%"!4@A
%*%%"!4@@@
"&4?===

##.&"&&$"*!."&%%%*%1

%&3




                                                                                  
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1154 of 1282













                                  (;+,%,7
                                       
          (PDLO([FKDQJHVZLWK+%6+XPDQ6XEMHFWV5HVHDUFK&RRUGLQDWRU
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1155 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1156 of 1282
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1157 of 1282



 ( ($%$" $(*'+-)), "")!%*)  # $*)(%*, ""' + 
#.%$ )'%'%#&") $) ((*'+-%*, """)%%#&"))(*'+-
$' +&-#$)%$"- -%*'*''$)"-$*$''*))'+'$+
+" '+''

$'-&"(&'((

              

      

$!-%*%'&')  &) $ $) (()*-(''()'+'*( $((%%"
%)$%$*)'('()* (%'&--%*' $)'() $( $ $*&%' $&')
%)'('&%%"&"(+ ( ))%""%, $" $!

                 


-( $ $*&)%--%*""")%!$%,,$()* (''*$$ $(%))-%*$
&')  &)

   0)'*+6%8+4$5*8/4##/1+*/+.%),.+5)*0>
/+.0$)%( ?(%'0+/*+400+4(08<$.%0%/=

\\\\\\\\\\\\\\\\\\\\
.<

  )6.%1*#0+/%8+4?+,*0+0((8+4./04*0/+40/048 )+*41*#>04*0/*!((+40*+*(%*
/4.58F+40SWDTR)%*(+*#G*.%5OSR)9+*#%".>+.0$/048< *+40WRR .5.
4*.#.40/</+ ?.((8,,.%0%8+4+4((08+4./04*0/'*+6+400$%/+,,+.04*%08>

$/4.58*//$.=H  I

  ?$,,80+/$.*)%(8+4+4(/*0+8+4./04*0/<+.,.,./(%+.8+40+0('+40%*(//>

$*'8+4+.+*/%.%*#0$%/<

.*/
\\\\\\\\\\\\\\\\\\\\

   0)'*+6<
.*/


)UDQFHVFD*LQR
3URIHVVRURI%XVLQHVV$GPLQLVWUDWLRQ
+DUYDUG%XVLQHVV6FKRRO
:HEVLWHKWWSIUDQFHVFDJLQRFRP
7ZLWWHU#IUDQFHVFDJLQR
%RRN6LGHWUDFNHG




                                                                                                                  -!-
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1158 of 1282













                                  (;+,%,7
                                       
      (PDLO([FKDQJHVZLWK&RDXWKRUV            DQG               
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1159 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1160 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1161 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1162 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1163 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1164 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1165 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1166 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1167 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1168 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1169 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1170 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1171 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1172 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1173 of 1282













                        (;+,%,76$%$1'&
                                       
                     (PDLOVIURP&RDXWKRU            
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1174 of 1282
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1175 of 1282
                                                                  #!"   


   # &  
   " %("&$%( '#$)#&%    

    "  "

%"&5

'#' 1-"%&'"'"&+"#-'##"'%# #%/ 5"!'% '#%1#-:  '#/#%#"
'$$%&##"8##"/&&'''&"$''' -"##"%"= -"DC<DD>5&#"#//
% 1%#"'&$#''#$-&'#%/%"'"0'//&8&&5#'%$#$ %#".%"#"'
"0-&'/""'/#%&"!#(.(#"5"//"''##'''%"9

 1 ##"#%/%'#'/#%4%'" 1%+"- #-&"#-%!"'%#!#-%
# -&'#$'-$4



"#5%"&?! '#7"#A&8-@
  1<CF<CFD7FD

  7$%D%.&0'"&'%'



#%%1/"' 8'&!&'%9 ##5-&'!--&%'"0$'8
&&'#$$%#%'1#%!8 -&''"-% *%"%#"'#'5-': "'#-/'##-$'"'"0'/#%
&#

#"%'&'#-&#%'/%8 1/#"%- 4
%"&

<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<
%"&"#
%#&&#%#-&"&&!"&'%(#"
%.%-&"&&##
&'7*$7;;%"&"#8#!;
/*%7A%"&"#
##7 


 -&15 1CD5DBCF'G7EG
%"&"#H"#A&8-I5
  $%D%.&0'"&'%'

%"&"

:.'"&''0$""'0'"&'%'#%$$%D=*>5":.&"''' -"#
#"%"#%"2%&8'!1'## * 5'## '#%'#"%"5-'$%$&'/  $!#.'"&
 #"#%-&8 "1#-'&%$(#"#' /%!&'-1= &#*>5'&'%'&'#  *  #&%
'#"'- $$%8#!(!&5."/0'%$%%$&#"$$%"&$%&/%("%'%#-4☺


                                                                                                                         
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1176 of 1282


&'5






                                                                                  
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1177 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1178 of 1282













                                (;+,%,7
                                       
                             (PDLOWR         
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1179 of 1282
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1180 of 1282


,-9
+(,



??????????????????????????????????????????????????????????????????????
+(,#()
()('#&5+),,)+)1,#(,,'#(#,-+.)(
  +2+1,#(,,"))&
"#+9!)..)(9+!(#6.)(,( +%-,A B(#-
)?"#+9#%"!#"! 
)?"#+9#  $ %"!#"! 
#-)+#("#9 '!#" 
,#-:"0*:>>+(,!#();)'>
3#0+:C+(,!#()
3))%:   (&  &   "  




                                                                                   !!
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1181 of 1282













                                  (;+,%,7
                                       
                      (PDLO&RQILUPLQJ6XEPLVVLRQWR-363
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1182 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1183 of 1282













                      (;+,%,76$%&$1''
                                       
                    (PDLO([FKDQJHVZLWK5$             
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1184 of 1282
                                                                          $!!" !$%$#       


       +&! "
          (* $(4*0.0.!3+21+35  !!

        * 
    ! !& "% ./,.4,0.0.%./,'

    $-)>

    %5./)$.#-!$)"+-*/**'*-/#../5$.F2##-G@

  $)'5.*(,5.0*).$)/#(-"$).@'.*> 5.-&/.)9''*7#$"#'$"#0)"/*$)$/5)-/$)/9
F@"@> *)A/&)*7$9*57)//*5.-*+*8*-)-$6/*./*-/#./59/>.* 7-*/B -6-
H-*+*8I*-,5.0*)NO@OSG@

'.*>7.0'')/*+5//*"/#-?
     N@ *).)/*-(*5()/.*-/#/#-$-)/./5$.
            @ *9*5#65'/-$.C 5-&6-.$*).6$''= .*> )(&/#($)/**-*5()/.
                *-/# @
     O@ (.5-.*5()/F%5./*-8+*-/.*/#/#-$-)/5'/-$..5-69..#*5'.5 G@

)(*-/#$)"? -/-!.5($..$*)*-/#$../59F7#$#)*5)#-DU OMDMMNR?
/7*-&$)" *06.G@ A''5+'*/#)'$:+-*/**'>(.5-.>*).)/*-(.>/@7#)7A6)$.#
/#*.@

  /#-A.)9/#$)"'. )*/*#'+7$/#/#$.>+'.'/(&)*7@

./>


$)*>-).T"$)*K#.@5U
  *)9> )5-9R>OMOMNM?MS

  ?#'+7$/#) ++'$0*)

  <
  A(-D/&$)"/#  -00*))*7

E'/(&)*7$9*5)-# /*9@ (+'))$)"/*5./#../59$) -#.*$/A"-//*
#6$/$)/#.9./(.**)



DDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDD
-).$)*
)*)($'9-*..*-*5.$)..($)$./-0*)
  -6-5.$)..#**'
#$->"*00*)>-")$:0*).) -&/.F G)$/
*D#$->#%"!#"! 
*D#$->#  $ %"!#"! 
.$/?#2+?CC-)."$)*@*(C

                                                                                                                              "
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1185 of 1282


7$2-?K-)."$)*
7**&?   '&  &   "  
7 -0'?  " !



   *)9> )5-9R>OMOM/NM?MQ
-).$)*T"$)*K#.@5U
  ?#'+7$/#) ++'$0*)

    $-)>

5-/#$)"> A''./-/7*-&$)"*)/#++'$0*)/*9)7$''.)9*5)5+/*)(9+-*"-..*-@

./>


$)*>-).T"$)*K#.@5U
  *)9> )5-9R>OMOMNM?MO

  #'+7$/#) ++'$0*)

    $
  (7*)-$)"$9*5*5'#'+(+-+-) ++'$0*)/#/()0*)P$-)/./5$.>8+'$)$)
/#2#@

0*)'*-/#./5$.?
/7*-&.-&9.*5-*.*$'+$/'*-#$6$)""*'.$)+-*..$*)')+-.*)'.3)".@/>
.+$//#'-)/.*#6$)")8/).$6)/7*-&>$)$6$5'.*!).#979-*(/#*++*-/5)$/9/*
-/)7*))0*).5.)""$)"$)$)./-5()/')/7*-&$)")(&/#('$)5/#)0)
+#9.$''9$-/9@ )/#$.-.-#>78+'*-#*7/#(*06.+*+'#67#))""$)"$))/7*-&$)")
-5/#.'$)".)'/#(/*)/7*-&(*-*!)@+$''9>78($)#*7.'D-"5'/*-9
*5.>7#/#-+-*(*0*)*-+-6)0*)>/.+*+'A.8+-$)*)*5/*(.-*()/7*-&$)"@
+-$//#/+-*(*0*)*5.$.)$'/*+-*..$*)')/7*-&$)"@*+'7#*++-*#)/7*-&$)"
7$/#+-*(*0*)*5.8+-$)'*7-'6'.*(*-'$(+5-$/97#))""$)"$)$)./-5()/')/7*-&$)"
/#)/#*.7#*++-*#)/7*-&$)"7$/#+-6)0*)*5.@.-.5'/>)/7*-&$)"7$/#+-*(*0*)*5.
$)-../#-,5)9*$)./-5()/')/7*-&$)".*(+-/*)/7*-&$)"7$/#+-6)0*)*5.>7$/#
+*.$06*).,5).*-%*+-*-()@

  )''$)/#')&.*-/#$)".9*5*)*/&)*7#*7/*''$)@
  A''#6/#5'/-$.-99

#)&.<
-)


DDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDD
-).$)*
)*)($'9-*..*-*5.$)..($)$./-0*)
  -6-5.$)..#**'
#$->"*00*)>-")$:0*).) -&/.F G)$/


                                                                                                           !"
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1186 of 1282


*D#$->#%"!#"! 
*D#$->#  $ %"!#"! 
.$/?#2+?CC-)."$)*@*(C
7$2-?K-)."$)*
7**&?   '&  &   "  
7 -0'?  " !





                                                                                   ""
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1187 of 1282
                                                                        )+-!)!+;-8689#86.;<.;="#! #! 


 )#.    .!)$ !!% 
#.       '#+- '"+7-4242$5.33.56 #$"$"
!.
 .          -"#
&#". '$ #$ "!$/ *-" $   $) " %(#23/27/4242"
            )$$"#/ *-$'+3  #$ "0" $'+3"$3'$"#
            '"(+1/ *

    %.*?

    0$%*'8C.()+/0.:0+/6)%00$%/,,(%1+*@&6/08)+.0%(/0+$*(B

    .7%80$,.+0++(*.7%/%06/%*#:+6.+))*0/*0$6(0.%/+6)*0/:+6/*0)B

  :+68*00+/0$(0/0$*#/?0$:C.((%*D "!$!! $(!"  !%'#-.,-0,/-/-"($
$" #,!)EI%*.'$*#/JB

  C7(/+6,(+0$..6%0)*0/.%,0/?0$.7%/,.+0++(?0$6(0.%/+*/*0+.)/?*0$
)/6./F6(0.%/+6)*0/0+0$,,(%1+*I8$%$%/$.A SQGQQRWA08+.'%*#+17/JB

+)-6/1+*/A
        RB *0$,.+0++(?:+6/%0$006:R.0S,.1%,*0/8%((+*00D*E".0$:
                  +),(006:R.0RB *0$06:R+*/*0+.)?%0/:/0$0,.1%,*0/8%((.%70$.0S
                  (%*'D#!+"E"..0RB
                          B $%$(*#0$+1)IR8'7/BT:/J08*.0/R*S8+6(:+6,..>
        RB $0+:+6,(*0++8%0$0$)%(.///+((06.%*#06:R.0R".:+6 *%/$06:
                  R>
                          B %#$0*+8?0$,.+0++(/:/0$0:+6C(((00$06:R)%(.///".06:R.0S%/
                                    (+/B /0$00$,(*>
%B6/1+*WBS%*0$,.+0++(I,#RXJ%//,%((:.(7*0I*%*(6/.+6#$

                                                                ,(*+.%/,+/%*#+0$+/)%(.///*(%*'%*#0$.0R*.0S0B
%%B+.RSBSU%*0$,.+0++(I,#TQJ? ).'0$ ./0+,1+*%*+..0+%*%0

                                                                0$00$%.0%*1 ./I0$)%(.///J8%(((0".:+6 *%/$06:
                                                                RB (/+)*1+*0$%/,(*%*RSBSVB
+))*0/A
        RB $6(0.%/+*/*0+.)/+*C0)0$6,8%0$0$ +*/*0+.)0),(0/ C))%(%.8%0$
                  I,(//D)#"#!  #EJB
                          B +6./?%:+6C7(.:/6)%30$%//+.0++*(%*+*/*0+.)0+0$ +.?0$*
                                    0$.C/,.+(:*+0$%*#0+8+..:+60B 6/08*00+$'8%0$:+6B
                          B 0## )#!"!'3//-1 #)+7 "#!24*#!#
                                    )"#!# #)+ $/
                           B +)*###!+### )#!""#!"####"#!#
                                    "#!# #-#!+###3#)#*!"! !&+!#4/
        SB $06:T+*/*0+.)+/*C0)*1+* %*' *B 0$%*'0$++.%*0+./)%#$0,6/$'+*0$%/
                  *8%((,.+(:/':+60+)*1+* %*' *%*0$06:T+*/*0+.)B
                          B +6(/6)%00$,,(%1+**8%00+/8$00$:/:B,0+:+6?++6./B

+..:0$%/0++'/+(+*#B  *$(,8%0$*:0$%*#(/?,(/(0)'*+8B

                                                                                                                                                    7;
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1188 of 1282



/0?


!.%*+?.*/Z#%*+N$/B6[
 #.6/:? *6.:X?SQSQRSAQX
 .
 )#.A$(,8%0$* ,,(%1+*

    ..0$8+.7./%+*/B+0$/8+.'>



GGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGG
.*/%*+
*+*)%(:.+//+.+6/%*//)%*%/0.1+*
  .7.6/%*//$++(
$%.?#+11+*?.#*%;1+*/*.'0/IJ*%0
+G$%.?'!"! !#)&%'&%!  "!"
+G$%.?"'  "!$"!($)&%'&%!  "!"
/%0A$3,AFF.*/#%*+B+)F
8%3.AN.*/#%*+
8++'A $+* $ *#!"&#$!"   
8 .1(A" $!!&#$ !!"%!


!.
#.6/:? *6.:X?SQSQ0RRAVY
 ..*/%*+Z#%*+N$/B6[
 )#.A$(,8%0$* ,,(%1+*

$*'/.*=

  *+10$00$+*/*0+.)/%*0$,.%*0+60/+.0$/6.7:/.60+IB#B?+*/*0+.)/+.06:
R.0R%/60++*,#UJB+0$6#(?600$++.%*0+./)%#$0/'+600$0B

  :+6$7.)+)*0?8+6(:+68%((%*#0+/$.+*+0$/6.7:/8%0$)> *+0$+*/*0
+.),.%*0+60/%:+6/$.+*+0$/6.7:/8%0$)B

$*'/+.:+6.$(,@ /$+6((0+ *%/$0$%/:0$.(:".*++*B

/0?


!.%*+?.*/Z#%*+N$/B6[
 #.6/:? *6.:X?SQSQRQAVT
 .
 )#.A$(,8%0$* ,,(%1+*


    .%/0$.7%/,.+0++(?*0$/6.7:/.+)6(0.%/B


                                                                                                            8;
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1189 of 1282


  0)'*+8%:+6$7*:-6/1+*/
.*



GGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGG
.*/%*+
*+*)%(:.+//+.+6/%*//)%*%/0.1+*
  .7.6/%*//$++(
$%.?#+11+*?.#*%;1+*/*.'0/IJ*%0
+G$%.?'!"! !#)&%'&%!  "!"
+G$%.?"'  "!$"!($)&%'&%!  "!"
/%0A$3,AFF.*/#%*+B+)F
8%3.AN.*/#%*+
8++'A $+* $ *#!"&#$!"   
8 .1(A" $!!&#$ !!"%!


!.
#.+*:? *6.:W?SQSQ0VAUU
 ..*/%*+Z#%*+N$/B6[
 )#.A$(,8%0$* ,,(%1+*

    %.*?

    &6/0 *%/$."%*#,.+0++(+.0$//06%/I3$$.JB

  %*(6/+)-6/1+*/%*0$).#%*/B(/+? 6/.'0/*:((+8$%#$(%#$1*#0+%*%06*.0%*0:
IB#B? +*C0'*+8%:+68*00+6/.+,+9+.*.%70+/0+.0$/06:0?/+ 8.+0D .7.
K.+,+9L+.-6/1+*RSBSXJB

(/+?8/1((*0+,600+#0$.A
     RB +*/*0+.)+6)*0/+.0$0$.%.*0/06%/
            B +:+6$76(0.%/F6.'7./%+*/7%((> /+? *)'0$)%*0++.+6)*0/
                +.0$ B
     SB )/6./+6)*0I&6/0+.9,+.0/+0$0$.%.*06(0.%//6.7://$+6(/6!JB

*)+.0$%*#A .0."/6)%//%+*+.0$%//06:I8$%$*+6*$.G[ SQGQQRWA
08+.'%*#+17/JB C((6,(+0$ *(%;,.+0++(?)/6./?+*/*0+.)/?0B8$*8C7 *%/$
0$+/B

  0$.C/*:0$%*#(/ *+0+$(,8%0$0$%/?,(/(0)'*+8B

/0?


!.%*+?.*/Z#%*+N$/B6[
 #.+*:? *6.:W?SQSQRQAQX
 .
 )#.A$(,8%0$* ,,(%1+*



                                                                                                           9;
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1190 of 1282


  =
  C).G0'%*#0$  .1 1+**+8

H(0)'*+8%:+6*.$ 0+:B ),(**%*#0+6/0$//06:%*.$/+%0C#.00+
$7%0%*0$/:/0)/++*



GGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGG
.*/%*+
*+*)%(:.+//+.+6/%*//)%*%/0.1+*
  .7.6/%*//$++(
$%.?#+11+*?.#*%;1+*/*.'0/IJ*%0
+G$%.?'!"! !#)&%'&%!  "!"
+G$%.?"'  "!$"!($)&%'&%!  "!"
/%0A$3,AFF.*/#%*+B+)F
8%3.AN.*/#%*+
8++'A $+* $ *#!"&#$!"   
8 .1(A" $!!&#$ !!"%!


!.
#.+*:? *6.:W?SQSQ0RQAQU
 ..*/%*+Z#%*+N$/B6[
 )#.A$(,8%0$* ,,(%1+*

    %.*?

6.0$%*#? C((/0.08+.'%*#+*0$,,(%1+*0+:*8%((/*:+6*6,0+*):,.+#.//+.B

/0?


!.%*+?.*/Z#%*+N$/B6[
 #.+*:? *6.:W?SQSQRQAQS
 .
 )#.$(,8%0$* ,,(%1+*

   %
  )8+*.%*#%:+6+6($(,),.,.* ,,(%1+*0$0)*1+*T%.*0/06%/?9,(%*%*
0$3$B

1+*(+.0$/06%/A
08+.'/.':/+6.+/+%(,%0(+.$%7%*##+(/%*,.+//%+*(*,./+*(/4*#/B0?
/,%00$(.* 0/+$7%*#*90*/%7*08+.'?%*%7%6(/+"*/$:8:.+)0$+,,+.06*%0:0+
.0*8+**1+*/6/*##%*#%*%*/0.6)*0(*08+.'%*#*)'0$)(%*60$*1*
,$:/%((:%.0:B *0$%/./.$?89,(+.$+80$)+17/,+,($78$**##%*#%**08+.'%*#*
.60$/(%*#/*(0$)0+*08+.')+.+"*B,% ((:?89)%*$+8/(G.#6(0+.:
+6/?8$0$.,.+)+1+*+.,.7*1+*?0/,+,(C/9,.%*+*+60+)/.+)*08+.'%*#B
,.%00$0,.+)+1+*+6/%/* %(0+,.+//%+*(*08+.'%*#B+,(8$+,,.+$*08+.'%*#
8%0$,.+)+1+*+6/9,.%*(+8.(7(/+)+.(%),6.%0:8$**##%*#%*%*/0.6)*0(*08+.'%*#
0$*0$+/8$+,,.+$*08+.'%*#8%0$,.7*1+*+6/B/./6(0?*08+.'%*#8%0$,.+)+1+*+6/

                                                                                                          :;
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1191 of 1282


%*.//0$.-6*:+%*/0.6)*0(*08+.'%*#/+),.0+*08+.'%*#8%0$,.7*1+*+6/?8%0$
,+/%17+*/-6*/+.&+,.+.)*B

  * ((%*0$(*'/+.0$%*#/:+6+*+0'*+8$+80+ ((%*B
  C(($70$6(0.%/.::

$*'/=
.*


GGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGG
.*/%*+
*+*)%(:.+//+.+6/%*//)%*%/0.1+*
  .7.6/%*//$++(
$%.?#+11+*?.#*%;1+*/*.'0/IJ*%0
+G$%.?'!"! !#)&%'&%!  "!"
+G$%.?"'  "!$"!($)&%'&%!  "!"
/%0A$3,AFF.*/#%*+B+)F
8%3.AN.*/#%*+
8++'A $+* $ *#!"&#$!"   
8 .1(A" $!!&#$ !!"%!





                                                                                                      ;;
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1192 of 1282
                                                                 "  !  !"#       


         
            &'&$&$ ( %& &&      

         
      %" !

    "+'<

    !45*3,.(',(3--!("' ,!&>
       K? !(3&'-&'.(',O- (+",E? ?<A7)('-5(+$.,B<A-+- "(+"'-.('BF<'-!+
           +KM"&',"(','-!-!(,- (+",E? ?<&"%"+"-75"-!-+ -<%+'"' 1-3<('D('D('
           4,? +(3)'-5(+$"' F?
               ? (7(35'-&-((-!NKL,,7,('%%KM"&',"(',<(+#3,-,3,-(-!
                   "&',"(',;
       L? @&"-('3,75!--!("' ,!&&',7A-+ -B"'-!+,-- (+7<A7)('-5(+$
           .,B?
               ? (+6&)%<"-!)+.")'-,+",'-5(+$"' 5"-!&3%.)%)()%<5!"!)+,('",-!
                   A-+ -B;
               ? !-"-!++&3%.)%-+ -,'-!-+ -,"+('"&',"('E? ?<-!)+.")'-
                   ,+",'-5(+$"' 5"-!)()%(-!5"-!"'(3-,"(-!"+(&)'7F;
       M? 7(3!4,(&.&<5(3%7(35"%%"' -(,$"&-!6&)% @40!EA" 
           !"$(,+ *'!'BF-(,"7(3@+($75"-!!(5 @4++' -!KM"&',"(',;

,-<


"'(<+',Q "'(H!,?3R
 !3+,7< '3+7LM<LJLJKJ>LN

  >("' -,$

!'$7(3:::



DDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDD
+',"'(
'('&"%7+(,,(+(3,"',,&"'",-+.('
  +4+3,"',,!((%
!"+< (..('<+ '"8.(',' +$-,E F'"-
(D!"+<% !'$#%$#  
(D!"+< % " &"'$#%$#  
,"->!0)>CC+', "'(?(&C
5"0+>H+', "'(
5(($> ")( " (!  $!"   
5 +.%> "$!" #



  !3+,7< '3+7LM<LJLJ-KJ>LK

                                                                                                                    
              Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1193 of 1282


+',"'(Q "'(H!,?3R
  >("' -,$

    "+'<

(3', ((-(&= ,!(3%%-(,'7(3-!(&)%-("' 7-(&(++(5+'(('? @%%%-7(3
$'(5" !4'7*3,.(',"'-!&'.&?

,-<


?? !4,(&('+',(3--!"$"' 4"(,)+(#-= @%%-+7-(,'7(3'3)-('-!-(+-!
'(-!7?! ",-",-!-      @,",)3,!"' (+5+5"-!-!-+',+").(',5"-!(3-.&,-&),?

"'(<+',Q "'(H!,?3R
 !3+,7< '3+7LM<LJLJKJ>JP

  ("' -,$

    "

  7(3!4.&-(7'-(&(++(5< 5,5('+"' " ' -7(3+!%)('-!(%%(5"' -,$?
!-"%,+"'-!(%?!,,7,+"'-! (%3&'(-!6%%?

  7(3'<7(3'#3,-(%3&',(+!(-!"&',"(',-(("'-!6%%? -!"'$(+!
"&',"(',-!(,!(3%J(+KE(+'('7,F3-7(3'"-(3,,%,EKDOF"7(3-!"'$-!-
5(3%,-++"' 5(-!,,7,

!'$,:
+'


DDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDD
+',"'(
'('&"%7+(,,(+(3,"',,&"'",-+.('
  +4+3,"',,!((%
!"+< (..('<+ '"8.(',' +$-,E F'"-
(D!"+<% !'$#%$#  
(D!"+< % " &"'$#%$#  
,"->!0)>CC+', "'(?(&C
5"0+>H+', "'(
5(($> ")( " (!  $!"   
5 +.%> "$!" #





                                                                                                              
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1194 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1195 of 1282
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1196 of 1282



(#()=,(-U!#()J"-@4V
(4-8= (4,8NQ=OMOMT?QS
 (
!  (.-/(!



), *)-.."-.4#-=(8)4"%").")&&)6#(!&#(%-H!)#(!.",)4!"."')4*&)/'-I.)
-#(8."#(!-'-)<

6WXG\3DUW
KWWSVKEVTXDOWULFVFRPMIHIRUP69BE,/NFM<MF+$.:K

.48O
KWWSVKEVTXDOWULFVFRPMIHIRUP69BMH,3;YORZ%Q5U

.48P
KWWSVKEVTXDOWULFVFRPMIHIRUP69B*4<=SQVD9.'-

."(%-;
,(


GGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGGG
,(-#()
()('#&8,)--),)4-#(--'#(#-.,/)(
  ,5,4-#(--"))&
"#,= !)//)(=,!(#9/)(-( ,%.-H  I(#.
)G"#,=$ &#"$#" 
)G"#,=$ !%!&#"$#" 
-#.?"1*?FF,(-!#()@)'F
6#1,?J,(-!#()
  6))%?  !('! '    # ! 
  6 ,/&?! # !"





                                                                                                           --
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1197 of 1282













                                 (;+,%,7
                                       
                   5$V:RUNLQJZLWK0H%HWZHHQDQG
                                         ,
                                                  
                                               
==                ?6=6==       B6?<6==         CAH            @B4>AB5<<            1'*-8&+#9
==               D6>>6=<       >6>D6==         A<H            @B4>AB5<<            41'*-
==                C6=6=<       B6?<6==      =>5A<H            BA4>D<5<<            1'*-8&+#9
=>                C6=6==      =>6>E6==         CAH            @E4<<<5<<            1'*-8&+#9
=>               B6=A6==       ?6?=6=>        AAC5A               >@5<<            )(-+-)+8 ).+&29
=>               >6=>6=>       ?6=<6=>                            =>5<<             -.(-8 ).+&29
=>                C6=6==       B6?<6=>         >AH            BB4E=>5<<            1'*-8&+#9
=>                C6=6==       D6>C6==                            =>5<<            '*8 ).+&29
=?               >6==6=?       >6=?6=?                                             !(2'*8 ).+&298 ).+&29
=?                D6D6=>       B6?<6=?      @?5CAH            B<4<<<5<<            1'*-8&+#9
=?                C6=6=>       ?6?=6=?         >AH            BD4E=E5<<            1'*-8&+#9
=?                =6B6=?       B6?<6=?         A<H            AB4<<<5<<            1'*-8&+#9
=?               C6>E6=>        E6=6=>           CA              =<<5<<            )(-+-)+8 ).+&29
=?             =>6?<6=>         ?6>6=?                            =>5<<             -.(-8 ).+&29
=@               =6=C6=@       =6?=6=@                            =A5<<             -.(-8 ).+&29
=@               D6=A6=?       E6>D6=?                            =A5<<            '*8 ).+&29
=@               =6><6=@       A6?=6=@                            =A5<<             -.(-8 ).+&29
=@                C6=6=?       B6?<6=@      @?5CAH            B=4D<<5<<            1'*-8&+#9
=@               D6=A6=?       E6>D6=?                            =A5<<             -.(-8 ).+&29
=@                C6=6=?       B6?<6=@         >AH            C<4EDB5AC            1'*-8&+#9
=@                C6=6=?       A6?<6=@         A<H            AC4BD<5<<            1'*-8&+#9
=A                A6D6=A        A6D6=A                            >=5<<            !(2'*8 ).+&298 ).+&29
=A               D6==6=@       D6=B6=@                            ?<5CD            (7#'2'(-
=A               E6>>6=@      =>6><6=@           =>               =A5<<             -.(-8 ).+&29
=A                C6=6=@       D6?<6=@        =CA5A               =A5<<            '*8 ).+&29
=A                C6=6=@       D6?<6=@           EA               =A5<<            '*8 ).+&29
=A                C6=6=@        E6B6=@           AA               =?5<<            '*8 ).+&29
=A               C6>@6=@      =>6?=6=@         B<5A               =>5<<            2+)&&+/#8 ).+&29
=A             =>6>=6=@        >6>D6=A         =<D                >B5@@              8 ).+&29
                                                                                                                     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1198 of 1282




=A                C6=6=@       D6?<6=@        =?C5A               =A5<<            '*8 ).+&29
=A                E6>6=@       >6>D6=A         ?A<                >@5B>              8 ).+&29
=A                C6=6=@       B6?<6=A      @?5CAH            B?4BA@5<<            1'*-8&+#9
=A    D6=D6=@   =>6?=6=@     >@5@B       >@5B>   2+)&&+/#8 ).+&29
=A     C6=6=@    B6?<6=A   A@@5@AA       ?A5>D   2+)&&+/#8 ).+&29
=B    =>6B6=A   =>6=E6=A         C       >A5EB    -.(-8 ).+&29
=B    C6=?6=A    E6><6=A     =AB5A       =A5<<   2+)&&+/#8 ).+&29
=B     D6?6=A     D6C6=A                 >=5<<   !(2'*8 ).+&298 ).+&29
=B    =>6B6=A    B6?<6=B       ?D        =A5<<    -.(-8 ).+&29
=B     C6=6=A    D6>E6=A      >B5A       =A5<<    -.(-8 ).+&29
=B    =>6B6=A   =>6=E6=A      =B5A       >A5<<    -.(-8 ).+&29
=B    =>6E6=A   =>6=@6=A                 >=5<<   !(2'*8 ).+&298 ).+&29
=B    C6><6=A    E6?<6=A      =DA        =A5<<   2+)&&+/#8 ).+&29
=B     D6?6=A     D6C6=A                 >=5<<   !(2'*8 ).+&298 ).+&29
=B    =>6E6=A   =>6=@6=A                 >=5<<   !(2'*8 ).+&298 ).+&29
=B     C6=6=A    =6?=6=B   ?C5A<H    BA4AB?5B>   1'*-8&+#9
=B     >6=6=B    A6>C6=B       AH    BA4AB?5B>   1'*-8&+#9
=B     C6=6=A    B6?<6=B      A><        ?B5?@   2+)&&+/#8 ).+&29
=B    A6?=6=B     B6>6=B                >CB5<<   1-+7)'*(,-#)(
=B    =>6B6=A   =>6=E6=A      =<5A       =@5<<   '*8 ).+&29
=B     C6=6=A    C6?=6=A     AD5E>       =@5<<   2+)&&+/#8 ).+&29
=C   =<6=A6=B    B6?<6=C      A<H    B>4<<<5<<   1'*-8&+#9
=C    =6>E6=C    B6?<6=C                 ?<5CC    -.(-8 ).+&29
=C     C6=6=B     D6B6=B        =D       =A5<<    -.(-8 ).+&29
=C    >6=E6=C    @6>E6=C     ?B5CA       >B5@@      8 ).+&29
=C     C6=6=B    B6?<6=C     A<E5C       ?C5@?   2+)&&+/#8 ).+&29
=D    @6=<6=D    @6>C6=D                 >=5<<   !(2'*8 ).+&298 ).+&29
=D   ==6>E6=C   ==6>E6=C                 >=5<<   !(2'*8 ).+&298 ).+&29
=D     @6E6=D     @6E6=D                 >=5<<   !(2'*8 ).+&298 ).+&29
=D   =<6>C6=C   =<6>E6=C                 >=5<<   !(2'*8 ).+&298 ).+&29
=D   ==6>E6=C   ==6>E6=C                 >=5<<   !(2'*8 ).+&298 ).+&29
=D     C6=6=C    E6?<6=C     >E5CA       ?<5CC    -.(-8 ).+&29
=D   =<6>C6=C    ==6>6=C                 >=5<<   !(2'*8 ).+&298 ).+&29
=D    C6>?6=C    C6?=6=C                >?<5<=   (7#'2'(-
=D     >6@6=D    B6?<6=D       =D        =@5<<    -.(-8 ).+&29
=D     C6=6=C    B6?<6=D      A><        ?D5?C   2+)&&+/#8 ).+&29
                                                                                   Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1199 of 1282




=D    ==6>6=C    ==6>6=C                 >=5<<   !(2'*8 ).+&298 ).+&29
=E     C6=6=D    B6?<6=E      CAH    AB4BA<5<<   1'*-8&+#9
=E   ==6=@6=D     >6E6=E               E5<<   )(-+-)+8 ).+&29
=E     C6=6=D    B6?<6=E     =<       ?E5A>   2+)&&+/#8 ).+&29
><   =<6=C6=E    ==6E6=E              =@5<<    -.(-8 ).+&29
><   %$"&%"%)    ("'$"&$              =A5<<    -.(-8 ).+&29
><     C6=6=E    E6>D6=E     =A       =@5<<   )(-+-)+8 ).+&29
><    >6=@6><    >6=E6><              >=5<<   !(2'*8 ).+&298 ).+&29
><    )"&'"%)    ("'$"&$              =A5<<    -.(-8 ).+&29
><     C6=6=E    B6?<6><   =<<H   AE4<<<5<<   1'*-8&+#9
><     C6=6=E    B6?<6><              @<5C=   2+)&&+/#8 ).+&29
><    A6=>6><    B6?<6><              =@5<<    -.(-8 ).+&29
><    E6=B6=E    =<6A6=E              =@5<<    -.(-8 ).+&29
><    A6==6><    B6?<6><              =@5<<    -.(-8 ).+&29
>=     >6@6>=    @6?<6>=              >C5DD   '*8 ).+&29
>=     C6=6><    D6>E6><    @DB       =A5<<    -.(-8 ).+&29
>=     =6C6>=    >6>D6>=              =C5<<   2+)&&+/#8 ).+&29
>=     B6E6>=    B6?<6>=              =C5<<    -.(-8 ).+&29
>=    B6=@6>=    B6?<6>=   A<H    AD4<<<5<<   1'*-8&+#9
>=     =6C6>=    >6>D6>=              =C5<<   2+)&&+/#8 ).+&29
>=     C6=6><    =6?<6>=              =B5<<    -.(-8 ).+&29
>=    D6?<6><    E6>B6><              =A5<<    -.(-8 ).+&29
>=     C6=6><    C6==6><   =<<H   AE4<<<5<<   1'*-8&+#9
>=    C6=>6><    B6?<6>=    CAH   AE4<<<5<<   1'*-8&+#9
>=     C6=6><    B6?<6>=              @<5C=   2+)&&+/#8 ).+&29
>=    C6=?6><    =6?<6>=      C       =A5<<    -.(-8 ).+&29
>=    C6=?6><    D6>E6><              =A5<<    -.(-8 ).+&29
>>     C6=6>=   =>6=D6>=              =C5<<    -.(-8 ).+&29
>>     C6=6>=    B6?<6>>   A<H    AD4<<<5<<   1'*-8&+#9
>>     C6=6>=    B6?<6>>              @=5E?   2+)&&+/#8 ).+&29
                                                                                Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1200 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1201 of 1282













                                    (;+,%,7
                                         
           'UDIW&KDSWHURI3URIHVVRU          ¶V%RRN³&RPSOLFLW´
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1202 of 1282




                                             &KDSWHU

                              3URILOH)7UXVWLQRXU5HODWLRQVKLSV



       ,QWKHVXPPHURIZKHQ,ZDVQHDUO\ILQLVKHGZLWKWKHILUVWGUDIWRIWKLVERRNWKUHH

UHVSHFWHGVRFLDOVFLHQFHUHVHDUFKHUV²8UL6LPRQVRKQ-RH6LPPRQVDQG/HLI1HOVRQ²

SXEOLVKHGDSRVWRQWKHDFDGHPLFEORJ'DWD&RODGD KWWSGDWDFRODGDRUJ HQWLWOHG³(YLGHQFH

RI)UDXGLQDQ,QIOXHQWLDO)LHOG([SHULPHQW$ERXW'LVKRQHVW\´L7KHDXWKRUVSUHVHQWHG

FRPSHOOLQJHYLGHQFHWKDWWKHZHOOFLWHGUHVHDUFKSDSHU³6LJQLQJDWWKH%HJLQQLQJ0DNHV(WKLFV

6DOLHQWDQG'HFUHDVHV'LVKRQHVW6HOI5HSRUWVLQ&RPSDULVRQWR6LJQLQJDWWKH(QG´ZDV

IUDXGXOHQW8QIRUWXQDWHO\,ZDVDFRDXWKRURIWKHSDSHU:KLOH,GLGQRWFRPPLWWKHIUDXG,ZDV

FRPSOLFLWLQWKHIUDXGWKDWZDVXQFRYHUHG0\WUXVWLQRWKHUVZDVFHQWUDOWRP\FRPSOLFLW\

       7KLVFKDSWHUGRFXPHQWVP\VWUXJJOHLQWKLQNLQJDERXWKRZWRPDQDJHWKHPDQ\EHQHILWV

RIEHLQJWUXVWLQJDJDLQVWWKHULVNRIEHFRPLQJDFRPSOLFLWRU$V,ZLOOGRFXPHQW,ZDVIDUIURPD

SDVVLYHREVHUYHU:KHQ,VDZSRVVLEOHHWKLFDOSUREOHPV,GLGVHHNFODULILFDWLRQ%XW,WRRHDVLO\

DFFHSWHGDQVZHUVZKHQ,VKRXOGKDYHSXVKHGHYHQKDUGHU7KHIDLOXUHWRSXVKKDUGHUFUHDWHGP\

FRPSOLFLW\

                                                             DQG,SXEOLVKHGWKHSDSHULQTXHVWLRQ

LQLQWKHMRXUQDO3URFHHGLQJVRIWKH1DWLRQDO$FDGHP\RI6FLHQFHVLL7KHSDSHUDLPHGWR

LGHQWLI\DVLPSOHLQWHUYHQWLRQWKDW³QXGJHV´SHRSOHWREHPRUHKRQHVWZKHQILOOLQJRXWIRUPV

VXFKDVWKHLULQFRPHWD[UHWXUQRUDPLOHDJHUHSRUWIRUWKHFRPSDQ\WKDWLQVXUHVWKHLUFDU

6SHFLILFDOO\EDVHGRQWKHUHVXOWVRIWKUHHH[SHULPHQWVZHFODLPHGWKDWLIDQRUJDQL]DWLRQDVNV

SHRSOHWRVLJQDVWDWHPHQWSURPLVLQJWRWHOOWKHWUXWKEHIRUHWKH\ILOORXWDIRUPWKH\ZLOOSURYLGH

PRUHKRQHVWLQIRUPDWLRQWKDQLIWKH\VLJQVXFKDVWDWHPHQWDIWHUSURYLGLQJWKHUHTXHVWHG
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1203 of 1282




LQIRUPDWLRQ:HSUHGLFWHGWKDWUHPLQGLQJSHRSOHXSIURQWRIWKHLUREOLJDWLRQWREHWUXWKIXOZRXOG

SURPSWWKHPWRUHVSRQGPRUHKRQHVWO\$QGLQGHHGWKLVLVZKDWRXUH[SHULPHQWVDOODSSHDUHGWR

VKRZ

          7KHSDSHUFRPELQHGWZRSUHYLRXVO\XQSXEOLVKHGHPSLULFDOHIIRUWV  WZRODERUDWRU\

H[SHULPHQWVE\             DQG,WKDWFODLPHGWRGHPRQVWUDWHWKH³VLJQLQJILUVW´HIIHFWDQG  

RQHILHOGH[SHULPHQWFRQGXFWHGDWDQLQVXUDQFHFRPSDQ\SUHYLRXVO\GHVFULEHGE\               LQ

PXOWLSOHSXEOLFIRUXPV*LQRLQLWLDWHGWKHFRQWDFWWR         ZKRZDVSRVLWLYHDERXWMRLQLQJ

WRJHWKHUDQGQRWHG³,KDYHEHHQZRUNLQJRQWKLVZLWK         VRWKLVZLOOKDYHWRLQYROYHKHUDV

ZHOO´*LQRFRQWDFWHG          ZKRDOVRDJUHHGWRMRLQQRWLQJWKDW³LW VDJRRGLGHDWRFRPELQH

IRUFHV´%\HDUO\WKHILYHRIXVFRPELQHHIIRUWVUHDOL]LQJWKDWWKHWZRSURMHFWVUHVSRQGHG

WROLPLWDWLRQVRIWKHRWKHUWKH                     VWXGLHVFODLPHGWRRIIHUZHOOFRQWUROOHG

ODERUDWRU\H[SHULPHQWVZKLOHWKHILHOGVWXG\FODLPHGWRSURYLGHDQH[SHULPHQWXVLQJGDWDIURP

DQLQVXUDQFHFRPSDQ\

          ,QWKHILHOGH[SHULPHQWFXVWRPHUVZHUHVDLGWRKDYHVLJQHGDQKRQHVW\VWDWHPHQWHLWKHU

EHIRUHRUDIWHUUHSRUWLQJPLOHDJHIURPWKHLUFDU¶VRGRPHWHU%HFDXVHWKHLQVXUDQFHFRPSDQ\

ZRXOGFKDUJHFXVWRPHUVPRUHLIWKH\GURYHPRUHFXVWRPHUVKDGDPRQHWDU\LQFHQWLYHWR

XQHWKLFDOO\ XQGHUUHSRUWWKHLUPLOHDJH'DWDZHUHRVWHQVLEO\FROOHFWHGIURPFXVWRPHUVWZLFH

HDFKFXVWRPHUKDGSURYLGHGWKHLURGRPHWHUUHDGLQJHDUOLHUEHIRUHWKHUHVHDUFKHUVZHUHLQYROYHG

DQGDVHFRQGWLPHDIWHUWKHUHVHDUFKHUVDVVLJQHGWKHPWRRQHRIWZRFRQGLWLRQV VLJQLQJEHIRUH

UHSRUWLQJPLOHDJHRUVLJQLQJDIWHUUHSRUWLQJPLOHDJH 7KHNH\PHDVXUHLQWKHILHOGH[SHULPHQW

ZDVWKHGLIIHUHQFHEHWZHHQWKHWZRPLOHDJHUHSRUWVZKLFKZRXOGSURYLGHDPHDVXUHRIKRZ

PDQ\PLOHVFXVWRPHUVGURYHGXULQJWKDWSHULRGRIWLPH,WZDVLPSRUWDQWIRUFXVWRPHUVWREH

UDQGRPO\DVVLJQHGWRRQHRIWKHWZRFRQGLWLRQVDVWKLVZRXOGHQVXUHWKDWDQ\GLIIHUHQFH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1204 of 1282




REVHUYHGLQPLOHDJHUHSRUWLQJFRXOGEHFDXVDOO\H[SODLQHGE\ZKHWKHUWKH\VLJQHGEHIRUHRUDIWHU

UHSRUWLQJWKHLUPLOHDJHVHFRQGWLPH7KHILHOGH[SHULPHQWZDVUHSUHVHQWHGDVLQYROYLQJ

UDQGRPO\DVVLJQLQJFXVWRPHUVWRRQHRIWKHWZRFRQGLWLRQV

           ,Q)HEUXDU\DOODXWKRUVUHFHLYHGDGUDIWRIWKHQHZFRPELQHGSDSHU*LQR     DQG

          KDGZRUNHGRQLWEHIRUH,VDZDGUDIW7KLVZDVWKHILUVWRSSRUWXQLW\,¶GKDGWRH[DPLQH

LQVXUDQFHFRPSDQ\VWXG\LQDQ\GHWDLO7KHZULWHXSRIWKDWH[SHULPHQWFODLPHGWKDWFXVWRPHUV

ZKRVLJQHGWKH³WUXWK´VWDWHPHQWDIWHUUHSRUWLQJWKHLURGRPHWHUPLOHDJHKDGGULYHQPLOHV

LQWKHSDVW\HDUDQGWKDWFXVWRPHUVZKRVLJQHGWKH³WUXWK´VWDWHPHQWEHIRUHUHSRUWLQJWKHLU

PLOHDJHKDGGULYHQPLOHVLQWKHSDVW\HDU²PRUHPLOHVWKDQWKRVHZKRVLJQHGWKH

WUXWKVWDWHPHQWDIWHU7KLVZDVDYHU\ODUJHVWDWLVWLFDOO\VLJQLILFDQWGLIIHUHQFH7KHLPSOLFDWLRQ

ZDVWKDWZKHQVLJQLQJRQWKHIURQWHQGRIDIRUPSHRSOHFRQVLGHUHGWKHHWKLFDOGLPHQVLRQRI

ZKDWWKH\ZHUHDERXWWRUHSRUWZKLFKPDGHWKHPOHVVOLNHO\WROLHE\XQGHUUHSRUWLQJWKHLU

PLOHDJH

           7KHGDWDLQWKHLQVXUDQFHH[SHULPHQWPDGHPHQHUYRXV6SHFLILFDOO\,IRXQGLWVWUDQJH

WKDWSHRSOHKDGGULYHQVXFKDODUJHQXPEHURIPLOHVLQRQH\HDULQERWKFRQGLWLRQV²DYHUDJLQJ

RYHUPLOHV³7KHPHDQVIRUWKHQXPEHURIPLOHVGULYHQLQD\HDUVHHPHQRUPRXV²WZLFH

ZKDW,ZRXOGKDYHH[SHFWHG´,ZURWHWRP\FRDXWKRUVLQ0DUFK³$P,VLPSO\ZURQJLV

WKHVDPSOHXQXVXDORULVWKHUHDQHUURULQUHFRUGLQJWKHGDWD"´         UHVSRQGHGWRPHTXLFNO\

ZLWKDEULHIHPDLO³WKHPLODJH>VLF@DUHFRUUHFW´2YHUWKHQH[WIHZZHHNV,KDGPXOWLSOH

GLVFXVVLRQVLQSHUVRQZLWK       DQG*LQRDW+DUYDUGLQZKLFK,FRPPXQLFDWHGP\VXVSLFLRQV

DERXWWKHGDWD²VSHFLILFDOO\WKHQXPEHURIPLOHVGULYHQZKLFKVHHPHGWRPHWREHDEQRUPDOO\

KLJK
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1205 of 1282




          0\FRQFHUQVOHGWRIXUWKHUFRPPXQLFDWLRQDPRQJWKHILYHDXWKRUV,QDQ$SULO

HPDLO         SURYLGHGPRUHLQIRUPDWLRQDERXWWKHVRXUFHRIWKHGDWD³:HXVHGDQROGHU

SRSXODWLRQPRVWO\LQ)ORULGDEXWZHFDQ WWHOOKRZZHJRWWKHGDWDZKRZDVWKHSRSXODWLRQ

WKH\ZHUHDOO$$53PHPEHUV DQGZHDOVRFDQ WVKRZWKHIRUPV´,VWLOOGLGQRW

XQGHUVWDQGZK\WKHFXVWRPHUV¶PLOHDJHZRXOGEHVRKLJKDQGUHFHLYHGQRJRRGDQVZHUVWRP\

TXHVWLRQVWKURXJKRXWWKHUHVWRI

          ,Q-DQXDU\RI,DWWHQGHGDSURIHVVLRQDOFRQIHUHQFHLQ6DQ'LHJRZKHUH,UDQLQWR

            ZKRZDVP\DGYLVHHDFRDXWKRURIPLQHRQRWKHUSDSHUVDQGDIULHQG           ZDVZLWK

               ZKRP,KDGQHYHUPHW$IWHU       LQWURGXFHGXV,H[SUHVVHGP\VLJQLILFDQWFRQFHUQ

DERXW         ¶VODFNRIFODULW\LQH[SODLQLQJWKHPLOHDJHLVVXH,KDGTXHVWLRQHG,WROG      DQG

         WKDW,GLGQ¶WWKLQN     ¶VH[SODQDWLRQ²WKDWWKHGDWDFDPHIURPDQHOGHUO\SRSXODWLRQ²

DFFRXQWHGIRUZKDWVHHPHGWRPHWREHDEQRUPDOO\KLJKPLOHDJHQXPEHUV                SXOOHGRXWKHU

ODSWRSDQGIRXQGWKHGDWDILOHWKDWZHZHUHGLVFXVVLQJ6KHVDLGWKDWZKLOH          PD\QRWKDYH

H[SODLQHGWKHLVVXHZHOOHQRXJKZHZHUHVLPSO\GHDOLQJZLWKDPLQRULVVXHUHJDUGLQJKRZWR

H[SODLQWKHGDWD$V,UHFDOOWKDWFRQYHUVDWLRQ         EHOLHYHGWKDWWKHFRQIXVLRQFDPHIURPWKH

ILUVWRGRPHWHUUHDGLQJZKLFKFXVWRPHUVSURYLGHGEHIRUHEHLQJDVVLJQHGWRDVLJQEHIRUHRUVLJQ

DIWHUFRQGLWLRQ6SHFLILFDOO\VKHH[SODLQHGWKDWLWZDVQ¶WFOHDUZKHQWKHILUVWUHDGLQJVKDGEHHQ

WDNHQDQGLWPD\KDYHEHHQPRUHWKDQD\HDUEHIRUHWKHVHFRQGUHDGLQJVZHUHWDNHQ7KXVWKH

ILUVWGUDIWRIWKHZULWHXSRIWKHVWXG\DSSDUHQWO\ZDVQRWDFFXUDWHLQVWDWLQJWKDWWKHUHKDGEHHQD

\HDUEHWZHHQWKHWZRPLOHDJHUHSRUWV7KHLPSOLFDWLRQZDVWKDWWKHWLPHGLIIHUHQFHEHWZHHQWKH

PLOHDJHUHSRUWLQJZDVXQFOHDUUDWKHUWKDQWKDWWKHPLOHDJHGDWDZHUHZURQJ            ¶V

H[SODQDWLRQZDVSODXVLEOHDQGFRQVLVWHQWZLWKWKHJHQHUDOWUXVW,KDYHLQP\FRDXWKRUV LQWKH
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1206 of 1282




SDVW,KDGQHYHUFRQVLGHUHGWKHSRVVLELOLW\WKDWDFRDXWKRUKDGSURYLGHGIUDXGXOHQWGDWD VR,

WUXVWHGKHUDFFRXQW

          :HFKDQJHGWKHGHVFULSWLRQRIWKHGDWDFROOHFWLRQFRQVLVWHQWZLWK      U¶VRUDOUHSRUW

DIWHU        KDGDGGLWLRQDOFRPPXQLFDWLRQZLWKWKHLQVXUDQFHFRPSDQ\:KLOH,FRQVLGHUHG

         ¶VHDUOLHUDQVZHUVWREHLQDGHTXDWH,ZDQWHGWREHOLHYHWKHXSGDWHGH[SODQDWLRQDQGWKDW

WKHVWXG\ZDVVROLG            ZDVDJUDGXDWHVWXGHQWDWWKHWLPHP\DGYLVHHDQGKDGEHHQ

SUHVHQWLQJWKLVUHVHDUFKRQWKHMREPDUNHWDVSDUWRIKHUSRUWIROLRRIRQJRLQJUHVHDUFK,ZDV

URRWLQJIRUKHUWRVXFFHHGDQGZDQWHGWKLVSDSHUWRKHOSFDUU\KHUIRUZDUG$V,ZULWHWKLVERRND

GHFDGHODWHU,DPRSHQWRWKHSRVVLELOLW\WKDW,ZDVHQJDJHGLQPRWLYDWHGEOLQGQHVV²WKH

WHQGHQF\WRLJQRUHLQIRUPDWLRQDERXWRWKHUV¶XQHWKLFDOEHKDYLRUZKHQGRLQJVRZRXOGZRUN

DJDLQVWRXUVHOILQWHUHVWLLL

         $IWHUZHSXEOLVKHGRXUSDSHULQLWUHFHLYHGDJUHDWGHDORIDWWHQWLRQ%\WKHHQGRI

WKHSDSHUKDGEHHQFLWHGLQRWKHUUHVHDUFKSDSHUVFORVHWRWLPHVLY1XPHURXV

RUJDQL]DWLRQVLPSOHPHQWHGRXULGHDDQGPRYHGWKHVLJQDWXUHOLQHIURPWKHERWWRPRIIRUPVWR

WKHWRS,EHOLHYHGWKHFRUHUHVXOW²WKDWVLJQLQJILUVWOHDGVWRPRUHKRQHVWUHSRUWLQJWKDQVLJQLQJ

DIWHU,SUHVHQWHGRXUZRUNDWXQLYHUVLWLHVDQGZKHQ,WDXJKW0%$VWXGHQWVDQGH[HFXWLYHV,QP\

FRQVXOWLQJSUDFWLFH,DGYLVHGRUJDQL]DWLRQVWRPRYHVLJQDWXUHOLQHVWRWKHWRSRIIRUPV

         ,Q6HSWHPEHU,UHFHLYHGDQHPDLOIURP6WXDUW%DVHUPDQWKHFRIRXQGHURI6OLFH

/DEVDWHFKQRORJ\FRPSDQ\ZRUNLQJWRPRYHWKHLQVXUDQFHLQGXVWU\RQOLQH DJURZLQJILHOG

NQRZQDV³LQVXUWHFK´ ³$FRXSOHRIGD\VDJR´%DVHUPDQZURWH³,ZDVUHVHDUFKLQJ

WKHµSV\FKRORJ\RIFODLPV¶DQG,FDPHDFURVVµ6LJQLQJDWWKHEHJLQQLQJPDNHVHWKLFVVDOLHQW¶

2IFRXUVHWKHSDSHUDQG\RXUQDPHFDXJKWP\DWWHQWLRQ,I\RXKDYHVRPHWLPHLWZRXOGEH

QLFHWROHDUQDERXW\RX\RXUZRUNDQGKRZLWPD\UHODWHWRZKDWZHDUHEXLOGLQJDW6OLFH´
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1207 of 1282




       ,VRRQPHW%DVHUPDQDQGEHJDQZRUNDVDFRQVXOWDQWWR6OLFH 7KHVLPLODULW\RIRXU

VXUQDPHVOHGP\VSRXVHWRRUGHU'1$WHVWLQJNLWVIRUHDFKRIXVZKLFKVKRZHGWKDWZHDUHYHU\

GLVWDQWFRXVLQV 3DUWRIP\FRQVXOWLQJDVVLJQPHQWLQYROYHGKHOSLQJ6OLFHFUHDWHDSODWIRUPWKDW

ZRXOGLQGXFHFODLPDQWVWRWHOOWKHWUXWKRQOLQH:RUNLQJZLWK6OLFHOHGPHWREURDGHQRXWIURP

WKHLGHDRI³VLJQLQJILUVW´WRILQGZD\VWRLQGXFHRQOLQHKRQHVW\LQFOXGLQJZKHQSHRSOHDUH

DQVZHULQJTXHVWLRQVDQGPDNLQJGHFLVLRQV

        ,Q,VWDUWHGDUHVHDUFKFROODERUDWLRQZLWK                   WKHQD+DUYDUG3K'

VWXGHQW DQG                    WKHQDQDVVLVWDQWSURIHVVRUDW+DUYDUG WKDWORRNHGDWWKLVEURDGHU

TXHVWLRQRIRQOLQHKRQHVW\.QRZLQJWKDW6OLFHZRXOGEHLQWHUHVWHGLQWKHUHVXOWVRIWKHUHVHDUFK

EHIRUHZHEHJDQ,UHDFKHGRXWWR+DUYDUG%XVLQHVV6FKRRORIILFLDOVWRFRQILUPWKDWLWZRXOGEH

DFFHSWDEOHIRUPHWRFRQGXFWWKHEDVLFUHVHDUFKXVLQJ+%6UHVRXUFHVJLYHQWKHUHODWLRQVKLS

EHWZHHQWKHUHVHDUFKDQGP\ZRUNIRUDFRQVXOWLQJFOLHQW²DSRVVLEOHFRQIOLFWRILQWHUHVW,

UHFHLYHGWKLVSHUPLVVLRQ

       *LYHQWKHDSSDUHQWVXFFHVVRIVLJQLQJILUVWGRFXPHQWHGLQWKH6KX0D]DU*LQR$ULHO\

%D]HUPDQSXEOLFDWLRQLWIHOWREYLRXVWRVWDUWE\GHPRQVWUDWLQJWKHVLJQLQJILUVWVWUDWHJ\LQ

DQRQOLQHFRQWH[W,QWKH6KX0D]DU*LQR$ULHO\%D]HUPDQODERUDWRU\VWXGLHVSDUWLFLSDQWVKDG

VKRZQXSDWDODELQSHUVRQDQGGDWDZDVFROOHFWHGXVLQJSK\VLFDOIRUPV,EHOLHYHGWKDW               

          DQG,ZRXOGEHFRQGXFWLQJDQHDV\H[WHQVLRQVWXG\WKDWZRXOGVLPSO\UHSOLFDWHWKH

UHVXOWVLQDQRQOLQHFRQWH[W<HWRXUILUVWDWWHPSWDWUHSOLFDWLRQIDLOHGWKDWLVSHRSOH¶V

UHSRUWLQJZDVQRWVWDWLVWLFDOO\GLIIHUHQWZKHWKHUWKH\VLJQHGEHIRUHRUDIWHUILOOLQJRXWDQRQOLQH

IRUP:HWULHGIRXUPRUHWLPHVDQGIDLOHGHDFKWLPH

        :HQRZKDGILYHIDLOXUHVWRUHSOLFDWHZKDW               *LQR        DQG,KDGUHSRUWHG

DVDODUJHVWDWLVWLFDOO\VLJQLILFDQWHIIHFWLQRXUSDSHU                 DQG,GHFLGHGWKH
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1208 of 1282




QH[WVWHSZRXOGEHWRGRDSXUHUHSOLFDWLRQRIRQHRIWKHODERUDWRU\VWXGLHVIURPWKHSDSHU

ZLWKDODUJHVDPSOH7REHFROODERUDWLYHUDWKHUWKDQDGYHUVDULDO         DQG          VXJJHVWHG

WKDWZHLQYLWHWKHRWKHUIRXUDXWKRUVIURPWKHRULJLQDOSDSHU 6KX0D]DU*LQR$ULHO\ LQWRWKH

SURMHFW$OOIRXUDXWKRUVDJUHHGWRMRLQXV$JDLQZHIDLOHGWRUHSOLFDWHWKHVLJQLQJILUVWHIIHFW

7KHVHYHQRIXV .ULVWDO:KLOODQV%D]HUPDQ*LQR6KX0D]DU$ULHO\ ZHQWRQWRGRFXPHQWWKLV

IDLOXUHLQD3URFHHGLQJVRIWKH1DWLRQDO$FDGHP\RI6FLHQFHVSDSHULQY

       ,QWKHSURFHVVRIZULWLQJWKLVIDLOXUHWRUHSOLFDWHSDSHU        XQFRYHUHGDQ

XQH[SODLQDEO\ODUJHGLIIHUHQFHLQWKHILUVWEDVHOLQHRGRPHWHUUHDGLQJLQWKHILHOGVWXG\²WKH

PLOHDJHWKDWWKHLQVXUDQFHFRPSDQ\¶VFXVWRPHUVUHSRUWHGDWOHDVWD\HDUEHIRUHEHLQJDVVLJQHGWR

WKHVLJQLQJILUVWRUVLJQLQJDIWHUFRQGLWLRQV1DPHO\WKHUHZDVDQHQRUPRXVGLIIHUHQFHEHWZHHQ

WKHWZRJURXSVLQWKLVILUVWRGRPHWHUUHDGLQJZKLFKZDVWDNHQEHIRUHDQ\UHVHDUFKHULQWHUYHQHG

WKHEDVHOLQHPLOHDJHIRUGULYHUVVLJQLQJDIWHUPLOHDJHUHSRUWLQJZDVPLOHVZKLOHWKH

EDVHOLQHIRUGULYHUVVLJQLQJILUVWZDV5HVHDUFKHUVFDOOWKLVD³UDQGRPL]DWLRQIDLOXUH´

PHDQLQJWKDWWKHWZRFRQGLWLRQVGLIIHUHGRQDQLPSRUWDQWRXWFRPHEHIRUHUHVHDUFKHUVLQWHUYHQHG

7KHOLNHOLKRRGRIWKHWZRFRQGLWLRQVGLIIHULQJE\WKLVODUJHDPRXQWE\FKDQFHZDVOHVVWKDQLQ

ZKLFKUDLVHGTXHVWLRQVDERXWZKHWKHUDUDQGRPL]HGH[SHULPHQWKDGHYHQWDNHQSODFH,

H[SUHVVHGWKLVFRQFHUQWRDOORIP\FRDXWKRUV,QWKHHQGZHDJUHHGWRGRFXPHQWWKHHQRUPRXV

SUHPHDVXUHGLIIHUHQFHLQRXUSXEOLFDWLRQ

       $QHDUO\GUDIWRIWKHSDSHUVDLGWKDWZHKDGRQO\OHDUQHGDERXWWKH

UDQGRPL]DWLRQIDLOXUHGXHWR        ¶VUHFHQWUHH[DPLQDWLRQRIWKHGDWD,QDWHOHSKRQH

FRQYHUVDWLRQ       UHVSRQGHGE\FODLPLQJWKDWDOOILYHDXWKRUVRIWKHSDSHU 6KX0D]DU

*LQR$ULHO\%D]HUPDQ KDGEHHQRQDWHOHSKRQHFDOOZLWKWKHLQVXUDQFHFRPSDQ\GXULQJZKLFK

WKHUDQGRPL]DWLRQIDLOXUHKDGEHHQGLVFXVVHG,UHVSRQGHGWKDW,KDGQHYHUEHHQRQVXFKDFDOORU
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1209 of 1282




RQDQ\FDOOZLWKWKHLQVXUDQFHFRPSDQ\LQYROYHGLQWKHILHOGH[SHULPHQW,DPFHUWDLQ,

ZRXOGKDYHUHPHPEHUHGVXFKDFDOO$V,QRWHG,GLGQ¶WNQRZDERXWWKHUDQGRPL]DWLRQIDLOXUH

XQWLO

        $VZHZRUNHGRQWKHUHSOLFDWLRQSURMHFW                       DQG,KDGUHJXODU

GLVDJUHHPHQWVZLWK           DQG       DERXWWKHGHJUHHWRZKLFKWKHQHZVWXGLHVLQYDOLGDWHGWKH

UHVXOWVSXEOLVKHGLQ                     DQG,IDYRUHGFOHDUO\H[SUHVVLQJRXUYLHZWKDWWKH

VLJQLQJILUVWHIIHFWGLGQRWUHSOLFDWHZKLOH        DQG        VLPSO\ZDQWHGWRQDUURZWKH

FRQFOXVLRQVRIWKHIDLOXUHWRUHSOLFDWHSDSHU,QWKHLQWHUHVWRIUHDFKLQJDFRQVHQVXV,PDGHWRR

PDQ\FRQFHVVLRQV$VDUHVXOWWKHSDSHULVQRWDVFULWLFDORIRXUSDSHUDV,DUJXHGLW

VKRXOGEH,DOVRKDYHQRUHFROOHFWLRQRIDQ\RIWKHDXWKRUV LQFOXGLQJPH RIWKHSDSHU

PDNLQJWKHDUJXPHQWWRLQLWLDWHWKHSURFHVVWRUHWUDFWWKHSDSHU0\IDLOXUHWRILJKWKDUGHU

WRFOHDUO\GHVFULEHWKHODFNRIYDOLGLW\RIWKHSDSHUPDGHPHFRPSOLFLW

        2Q-XO\VRRQDIWHUWKHSDSHUZDVSXEOLVKHGWKHHGLWRUVRIWKH3URFHHGLQJV

RIWKH1DWLRQDO$FDGHP\RI6FLHQFHV 31$6 DVNHGLIRXURULJLQDOSDSHUVKRXOGEH

UHWUDFWHG$QHPDLOGLVFXVVLRQHQVXHGDPRQJWKHILYHFRDXWKRUVRIWKHSDSHUDERXW

UHWUDFWLQJ,ZDVLQIDYRURIUHWUDFWLRQ2Q-XO\          HPDLOHGWKHRWKHUIRXUDXWKRUV

³,DPQRWDZDUHRIDQ\H[SHULPHQWDOHUURU²P\JXHVVLVWKDWLWLVMXVWRQHRIWKHVHWLPHVZKHQ

WKHODESURGXFHVDGLIIHUHQWUHVXOWIRUVRPHUHDVRQ²,DPQRWVXJJHVWLQJDQ\PLVWDNH«,EHOLHYH

WKDWRYHUWLPHWKHZHLJKWRIWKHHYLGHQFHZLOOEHLQIDYRURIWKHILUVWUHVXOW«%XW²ZHZLOOVHH

7KLVLVWKHEHDXWLI\>VLF@RIWKLVSURFHVV´$IHZKRXUVODWHU         VHQWDQRWKHUHPDLOH[SUHVVLQJ

FRQILGHQFHLQWKHUHVXOWVRIWKHSDSHUGHVSLWHILYHIDLOXUHVWRUHSOLFDWH*RLQJDVWHSIXUWKHU

KHSUHGLFWHGWKDWWKHIDLOXUHWRUHSOLFDWHSDSHUZRXOGQHHGWREHUHWUDFWHG³,VXVSHFW

WKDWZHZLOOHQGXSUHWUDFWLQJWKHVHFRQGSDSHU0\VWURQJSUHIHUHQFHLVWRNHHSERWKSDSHUV
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1210 of 1282




RXWDQGOHWWKHVFLHQFHSURFHVVGRLWVMRE´,QDQHPDLOVHQWWKHVDPHGD\     DJUHHGZLWK

       ³,GRQRWVHHUHDVRQIRUUHWUDFWLQJRXUSDSHUJLYHQ31$6¶FULWHULD$VIDUDV,NQRZZH

GRQRWKDYHHYLGHQFHWKDWWKHILQGLQJVRIRXUWKUHHH[SHULPHQWVDUHXQUHOLDEOHHLWKHUDVDUHVXOW

RIPDMRUHUURUWKURXJKPLVFDOFXODWLRQRUH[SHULPHQWDOHUURU)URPWKHHPDLOWKUHDGVRIDULW

ORRNVOLNHWKHPDMRULW\DJUHHVWKDWWKHUHLVQRQHHGIRUUHWUDFWLRQ6KDOOZHUHVSRQGWR31$6ZLWK

WKDWRULVWKHUHPRUHQHHGIRUGLVFXVVLRQ"&KHHUV       

        ³,WLVREYLRXVWRPHWKDWWKHRULJLQDOSDSHUZDVEDVHGRQXQVFLHQWLILFDQGXQHWKLFDO

UHSRUWLQJRIGDWD´,ZURWHWKHQH[WHYHQLQJLQDQRWKHUHPDLODUJXLQJIRUUHWUDFWLRQ³7KLVLVWKH

EDVLVRIP\SUHIHUHQFHWRUHWUDFW,WKLQNZHVKRXOGDOOEHHPEDUUDVVHGWKDWRXUQDPHVDUHRQWKH

SDSHU±,FHUWDLQO\DPHPEDUUDVVHGE\KDYLQJP\QDPHRQWKDWSDSHU,PD\EHRXWYRWHGEXW

GRQRWUHDGPHDVEHLQJSDUWRIDFRQVHQVXV         

              UHVSRQGHGWRWKHJURXSZLWKLQDIHZKRXUVUHTXHVWLQJWKDW,FODULI\ZKDWZDV

XQVFLHQWLILFDQGXQHWKLFDODERXWRXURULJLQDOGDWDUHSRUWLQJ7KHQH[WPRUQLQJ,DQVZHUHGKHU

TXHVWLRQ³5HSRUWLQJDUDQGRPL]HGH[SHULPHQWZKHUHWKHUHZDVQRUDQGRPL]DWLRQ/DFNRI

WUDQVSDUHQF\DERXWWKLVLVVXH2EIXVFDWLRQWRPXOWLSOHTXHVWLRQVWKDW,DVNHGLQWKHFUHDWLRQRI

WKHRULJLQDOSDSHU1RWLQIRUPLQJPHRIWKHODFNRIUDQGRPL]DWLRQGXULQJWKHFUHDWLRQRIWKH

SDSHU´%XWHYHQWKHQ,GLGQRWVXVSHFWSXUHGDWDIDEULFDWLRQLQRXUSXEOLVKHGZRUN      DQG,

UHPDLQHGWKHRQO\WZRDXWKRUVRIWKHSDSHUH[SOLFLWO\LQIDYRURIUHWUDFWLRQ8OWLPDWHO\ZH

GLGQRWUHWUDFWWKHRULJLQDOVWXG\,WKLQNWKDWWKLVZDVDPLVWDNH

        ,Q-XO\DERXWD\HDUDIWHUZHSDVVHGRQWKHRSSRUWXQLW\WRUHWUDFWRXUSDSHU

8UL6LPRQVRKQFRQWDFWHGDOOILYHRIWKHDXWKRUVRIWKHSDSHUWROHWXVNQRZWKDWWKH'DWD

&RODGDWHDPKDGGUDIWHGDSRVWSURYLGLQJVWURQJHYLGHQFHSRLQWLQJWRZDUGGDWDIUDXGLQWKH

LQVXUDQFHH[SHULPHQW         TXLFNO\SURSRVHGWKDWDOOWKHSDSHU¶VDXWKRUVPHHWRQOLQH,
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1211 of 1282




UHVSRQGHGWKDW,ZDVQRWZLOOLQJWREHSDUWRIWKDWJURXSXQWLO,UHFHLYHGDZULWWHQVWDWHPHQWWKDW

FOHDUO\H[SODLQHGKRZWKHIUDXGKDGRFFXUUHG,GLGQRWUHFHLYHWKLVLQIRUPDWLRQ

        ,WKHQLQLWLDWHGZKDWEHFDPHUHSHDWHGUHTXHVWVIRUWKHRULJLQDOHPDLOVDQGGDWDWKDW                 

FODLPHGWRKDYHUHFHLYHGIURPWKHLQVXUDQFHFRPSDQ\:LWKLQDIHZGD\V                    FODLPHGWKDW

WKH\¶GEHHQORVW6RRQDIWHUKHOHIWDQDXGLRPHVVDJHIRUPH*LQR               DQG     WKDWLQFOXGHG

WKHIROORZLQJ³+HOORWRHYHU\ERG\WKHILUVWSRLQW,VKRXOGVD\LVWKDWWKLVLVLIDQ\WKLQJLV

ZURQJLWLVSHUIHFWO\P\²P\IDXOWDQGQRERG\HOVH,ZDVWKHRQHWKDWZDVJRWWKHFRQQHFWLRQ

WRWKHWKH+DUWIRUGLQVXUDQFHFRPSDQ\WKDWUDQWKLVVWXG\ZHJDYHWKHPWKHLQVWUXFWLRQVRI

ZKDWWRGRDQGZHJRWWKHGDWD      DQG,IRXQGWKHRULJLQDOGDWD´         VXEVHTXHQWO\

FODULILHGWKDWILQGLQJWKHRULJLQDOGDWDUHIHUUHGWR        ILQGLQJWKHGDWDWKDW          SURYLGHGWR

KHULQ)HEUXDU\

        ,VWLOOGRQRWNQRZZK\RYHUWKHFRXUVHRIWHQ\HDUV           DYRLGHGP\TXHVWLRQVIRXJKW

VRKDUGDJDLQVWUHWUDFWLQJWKHSDSHUUHSHDWHGO\WULHGWREROVWHUWKHVWUHQJWKRIWKHSDSHURU

KRZKHNQHZWKDWWKHPLOHDJHGDWDZDVFRUUHFWZKHQ,ILUVWUDLVHGTXHVWLRQV:KLOH                  

FRQVLVWHQWO\FODULILHGWKDWKHZDVWKHRQO\DXWKRUZKRKDGEHHQLQFRQWDFWZLWKWKHLQVXUDQFH

FRPSDQ\KHWROG%X]]IHHG1HZVWKDWKHZDVLQQRFHQWRIIUDXGDQGLPSOLHGWKDW+DUWIRUGZDV

UHVSRQVLEOHYL³,FDQVHHZK\LWLVWHPSWLQJWRWKLQNWKDW,KDGVRPHWKLQJWRGRZLWKFUHDWLQJWKH

GDWDLQDIUDXGXOHQWZD\´KHVDLGYLL%XWDFFRUGLQJWR%X]]IHHG              JDYHFRQIOLFWLQJDQVZHUV

DERXWWKHRULJLQVRIWKHGDWDILOHWKDWZDVWKHEDVLVIRUWKHDQDO\VLVYLLL

        2Q-XO\*LQR         DQG,DVNHG31$6WRUHWUDFWRXUSDSHU              DQG

       DOVRPDGHLQGHSHQGHQWUHTXHVWVIRUUHWUDFWLRQDURXQGWKHVDPHWLPH 7KHPHGLDIRFXVHG

LWVDWWHQWLRQRQ       DQGUHOHDVHGWKHUHVWRIWKHDXWKRUVIURPEODPHIRUFRPPLWWLQJGDWDIUDXG
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1212 of 1282




,DPFRQILGHQWWKDWSHRSOHWKDW,FDUHDERXWLQP\SURIHVVLRQDOQHWZRUNGRQRWYLHZPHZLWK

VXVSLFLRQ\HW,UHPDLQXQFRPIRUWDEOHDERXWKDYLQJP\QDPHFRQQHFWHGWRDIUDXGXOHQWSDSHU

       :KLOH,GLGQRWFROOHFWWKHLQVXUDQFHFRPSDQ\GDWDDQGZDVQRWGLUHFWO\LQYROYHGLQLWV

DQDO\VLV,VXVSHFWHGLWZDVSUREOHPDWLFDQGVKDUHGP\VXVSLFLRQVZLWKP\FRDXWKRUV,WRRNWKHLU

DQVZHUVDWIDFHYDOXHDQGEHOLHYHGWKHPZKHQ,VKRXOGKDYHEHHQPRUHSHUVLVWHQWLQGHPDQGLQJ

EHWWHUDQVZHUV$QGZKHQIXUWKHUGDWDDUULYHGWKDWTXHVWLRQHGWKHUHVXOWVRIWKHSDSHU,

FRXOGDQGVKRXOGKDYHEHHQPRUHSHUVLVWHQWLQKLJKOLJKWLQJP\YLHZV%HLQJDQDXWKRURID

IUDXGXOHQWSDSHUKDXQWVPHLQODUJHSDUWGXHWRP\RZQFRPSOLFLW\

      7KHVWRU\,¶YHMXVWWROGLVQRWQHDUO\DVLPSRUWDQWDVWKHVWRULHV,¶YHWROGDERXWRWKHU

FRPSOLFLWRUVLQWKLVERRN%XWLWKLJKOLJKWVWKHXELTXLW\RIVLWXDWLRQVLQZKLFKZHDUHIDFHGZLWKD

FKRLFHEHWZHHQEHLQJFRPSOLFLWDQGWDNLQJDVWDQGHVSHFLDOO\ZKHQIDFHGZLWKWKHTXHVWLRQRI

ZKHWKHUWRWUXVWWKRVHDURXQGXV7KHLURQ\RIWKLVEHLQJDVWRU\DERXWGDWDIUDXGLQDSDSHURQ

LQGXFLQJKRQHVW\LVQRWORVWRQPH



7KH9DOXHDQG&KDOOHQJHRI7UXVW 

      &KRRVLQJWRWUXVWWKHSHRSOHZKRVXUURXQG\RXFUHDWHVHQRUPRXVRSSRUWXQLWLHVLQOLIH%\

WUXVWLQJ\RXUFROOHDJXHV\RXFDQDFFRPSOLVKVRPXFKPRUHIRU\RXURUJDQL]DWLRQWKDQLI\RX

VSHQWWLPHUHFKHFNLQJDOORIWKHLUZRUNRUKHOGEDFNIURPVKDULQJLPSRUWDQWLQIRUPDWLRQZLWK

WKHP'HYHORSLQJWUXVWDOVRKHOSVXVEXLOGUHODWLRQVKLSVWKDWFDQEHNH\WRRXUKDSSLQHVV7KXV

DQ\FRQFHUQVZHPD\KDYHDERXWEHFRPLQJFRPSOLFLWDVDUHVXOWRIRXUWUXVWLQRWKHUVQHHGWREH

EDODQFHGDJDLQVWWKHEHQHILWVRIWUXVWLQJWKHP

      2QHFKDOOHQJHDVVRFLDWHGZLWKWKLVEDODQFLQJDFWLVWKDWWKHFXHVWKDWVRPHWKLQJLVZURQJ

DUHW\SLFDOO\DPELJXRXV:KHQ\RXVHHKLQWVWKDWVRPHWKLQJLVZURQJLWLVSRVVLEOHWKDW\RXDUH
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1213 of 1282




VHHLQJVPRNHZKHQWKHUHLVQRILUH)XUWKHULQYHVWLJDWLRQPLJKWVKRZWKDWQRKDUPZDVGRQHDQG

\RXFRXOGHQGXSRIIHQGLQJSHRSOH\RXFDUHDERXWE\VKRZLQJ\RXUODFNRIWUXVW,QDFDGHPLD

JLYHQDOORIWKHFKDOOHQJHVWRHQVXULQJWKHLQWHJULW\RIGDWDLQWKHVRFLDOVFLHQFHV,WKLQNLWZRXOG

EHKHDOWK\LIZHFKDQJHGRXUQRUPVWRPDNHLWVWDQGDUGIRUDXWKRUVWRH[SHFWJUHDWHU

GRFXPHQWDWLRQRIWKHZRUNRIWKHLUFRDXWKRUVZLWKRXWRIIHQVHEHLQJWDNHQLQWKHSURFHVV

       ,QDQLPSRUWDQWSDSHURQWUXVWRUJDQL]DWLRQDOVFKRODUV5RJHU0H\HU-LP'DYLVDQG

'DYLG6FKRRUPDQKLJKOLJKWWKHSRZHURIGLVWLQJXLVKLQJWUXVWEDVHGRQWKUHHGLIIHUHQWDWWULEXWHV

RIDSHUVRQWKHLUDELOLW\WKHLUEHQHYROHQFHDQGWKHLULQWHJULW\L[7KHVFKRODUVKLJKOLJKWWKDWZKHQ

\RXVD\³,WUXVW\RX´WRVRPHRQHWKDWFDQPHDQWKDW\RXWUXVWWKHSHUVRQWRKDYHWKHFRPSHWHQFH

WRFRPSOHWHDWDVN DELOLW\ WKHJHQHURVLW\UHTXLUHGWRPHHWWKHLUFRPPLWPHQW EHQHYROHQFH RU

WKHLQWHQWLRQRIFRPSOHWLQJDSURMHFWLQDQKRQHVWPDQQHU LQWHJULW\ ,WLVHDV\WRUHFDOOHSLVRGHV

LQOLIHZKHUHZHWUXVWHGSHRSOHEDVHGRQHDFKRIWKHVHWKUHHGLIIHUHQWTXDOLWLHV

      %HLQJWUXVWLQJLVJHQHUDOO\DJRRGWKLQJ:HYLHZSHRSOHZKRDUHQRWWUXVWLQJZLWK

VXVSLFLRQ,WLVDZNZDUGWRUHYHDOWKDW\RXGRQRWWUXVWVRPHRQHLWVRXQGVOLNHDQDFFXVDWLRQDQG

FDQWKUHDWHQWKHUHODWLRQVKLS%XWWUXVWFDQDOVROHDGWR6\VWHPWKLQNLQJRUWKHKDELWRI

LQWXLWLYHO\UHO\LQJRQLQIRUPDWLRQSURYLGHGE\RWKHUVHYHQZKHQZHUHFHLYHVLJQDOVWKDWWKHUH

PLJKWEHUHDVRQIRUFRQFHUQ$QGDV,KLJKOLJKWLQ&KDSWHUZHPD\EHELDVHGLQRYHUWUXVWLQJ

SHRSOHZKRDUHSDUWRIRXUWHDPIRUH[DPSOHRUFRDXWKRUV

      ,WUXVWHGERWKWKHDELOLW\DQGLQWHJULW\RIDOORIP\FRDXWKRUVRQWKHSDSHU

5HIOHFWLQJRQP\KLVWRU\RILQWHUDFWLRQVZLWKDOORIP\PDQ\SDVWFRDXWKRUV,ILQGWKDWWKHRQO\

WLPHVLQP\FDUHHUZKHQ,GLGQ¶WWUXVWDFRDXWKRU¶VDELOLW\ZHUHZKHQ,ZDVPHQWRULQJD

UHODWLYHO\QHZGRFWRUDOVWXGHQWRQRQHRIWKHLUILUVWSURMHFWV,QWKRVHFDVHV,ZRXOGFDUHIXOO\

UHYLHZWKHLUZRUNVLQFHWKH\PLJKWQRW\HWKDYHWKHVNLOOVWRFRQGXFWWKHWHFKQLFDOSLHFHVRID
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1214 of 1282




SURMHFWFRUUHFWO\+RZHYHU,KDYHQHYHUSDXVHGWRTXHVWLRQWKHLQWHJULW\RIGDWDSURYLGHGE\D

FRDXWKRU$QGRYHUDOO,WKLQNWKDWEHLQJWUXVWLQJKDVKHOSHGPHFRPSOHWHLQWHUHVWLQJUHVHDUFK

SURMHFWVDQGGHYHORSLPSRUWDQWSURIHVVLRQDOUHODWLRQVKLSV

         %\WKHWLPHWKHUHSOLFDWLRQIDLOXUHSDSHUZDVSXEOLVKHG,QRORQJHUEHOLHYHGLQWKH

LQWHJULW\RIWKHLQVXUDQFHGDWD,ZDVVNHSWLFDODERXWZKHWKHUDYDOLGVWXG\KDGEHHQFRQGXFWHG

EXW,GLGQRWLPDJLQHWKDWWKHGDWDZHUHSXUHO\IUDXGXOHQW:KDWVKRXOG,KDYHGRQH",FRXOG

KDYHH[SORUHGWKHGDWDPRUHIXOO\P\VHOI,FRXOGKDYHFRQWDFWHGWKHMRXUQDOWKDWSXEOLVKHGWKH

SDSHUZLWKRXWWKHPDMRULW\RIP\FRDXWKRUVDQGDVNHGWKDWLWEHUHWUDFWHG,QUHWURVSHFW,

ZLVK,KDGGRQHWKLV%XW,GLGQ¶W,QVWHDGE\QRWVHWWLQJWKHUHVHDUFKUHFRUGVWUDLJKWDVTXLFNO\

DVSRVVLEOH,ZDVFRPSOLFLW

        $IWHUWKHGDWDIUDXGVWRU\EURNHLQLWEHFDPHFOHDUWRPHWKDW,KDGSODFHGWRRPXFK

WUXVWLQRWKHUVDQGLQGLUHFWO\WRRPXFKWUXVWLQGDWDSUHVHQWHGLQDSDSHUWKDWKDGP\QDPHRQLW

,QUHFHQW\HDUVPDQ\TXHVWLRQVKDYHDULVHQVXUURXQGLQJWKHYDOLGLW\DQGLQWHJULW\RIVRFLDO

VFLHQFHUHVHDUFKZKLFKKDYHOHGWRPRUHVWULQJHQWSUDFWLFHVZKHQLWFRPHVWRFRQGXFWLQJ

H[SHULPHQWVDQGUHSRUWLQJGDWD:HFDQDSSO\WKHVHQHZQRUPVWRWKHTXHVWLRQRIZKHWKHULWLV

DSSURSULDWHWRFKHFNWKHZRUNRIRXUFROOHDJXHVSDUWLFXODUO\ZKHQZHQRWLFHVRPHWKLQJWKDW

GRHVQ¶WORRNULJKW,GRQRWZLVKWREHFRPHDOHVVWUXVWLQJSHUVRQEXW,GRZLVKWKDW,KDG

OLVWHQHGWRWKHVLJQDOVWKDWHPHUJHGRYHUWLPHLQWKHGDWDIUDXGVWRU\DQGTXHVWLRQHGP\WUXVW

%HLQJWUXVWLQJPD\EHDJRRGDWWULEXWHJHQHUDOO\EXWZKHQZHWUXVWWKRVHZKRPD\QRWEH

ZRUWK\RIRXUWUXVWZHFDQEHFRPHFRPSOLFLWLQDQ\KDUPWKDWUHVXOWV




                                    
&KDSWHU
L
  6LPRQVRKQ86LPPRQV- 1HOVRQ/ $XJXVW (YLGHQFHRIIUDXGLQDQLQIOXHQWLDOILHOGVWXG\DERXW
GLVKRQHVW\'DWD&RODGD5HWULHYHGIURPKWWSGDWDFRODGDRUJ
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1215 of 1282




                                                                                                                     
LL
  6KX/0D]DU1*LQR)$ULHO\' %D]HUPDQ0  6LJQLQJDWWKHEHJLQQLQJPDNHVHWKLFVVDOLHQWDQG
GHFUHDVHVGLVKRQHVWVHOIUHSRUWVLQFRPSDULVRQWRVLJQLQJDWWKHHQG3URFHHGLQJVRIWKH1DWLRQDO$FDGHP\RI
6FLHQFHV  
LLL
    %D]HUPDQ 7HQEUXQVHO%OLQGVSRWV
LY
   *RRJOH6FKRODU5HWULHYHG1RYHPEHUIURP
1KWWSVVFKRODUJRRJOHFRPFLWDWLRQV"YLHZBRS YLHZBFLWDWLRQ KO HQ XVHU 1*.:7J$$$$- FVWDUW  SDJHV
L]H  FLWDWLRQBIRUBYLHZ 1*.:7J$$$$-KW2ETF5ZV&
Y
  .ULVWDO$6:KLOODQV$9%D]HUPDQ0+*LQR)6KX//0D]DU1 $ULHO\'  6LJQLQJDWWKH
EHJLQQLQJYHUVXVDWWKHHQGGRHVQRWGHFUHDVHGLVKRQHVW\3URFHHGLQJVRIWKH1DWLRQDO$FDGHP\RI6FLHQFHV

YL
   /HH60 $XJXVW $IDPRXVKRQHVW\UHVHDUFKHULVUHWUDFWLQJDVWXG\RYHUIDNHGDWD%X]])HHG
5HWULHYHGIURPKWWSVZZZEX]]IHHGQHZVFRPDUWLFOHVWHSKDQLHPOHHGDQDULHO\KRQHVW\VWXG\UHWUDFWLRQ
YLL
     /HH6$IDPRXVKRQHVW\UHVHDUFKHULVUHWUDFWLQJDVWXG\RYHUIDNHGDWD
YLLL
      /HH6$IDPRXVKRQHVW\UHVHDUFKHULVUHWUDFWLQJDVWXG\RYHUIDNHGDWD
L[
   0D\HU5&'DYLV-+ 6FKRRUPDQ)'  $QLQWHJUDWLYHPRGHORIRUJDQL]DWLRQDOWUXVW$FDGHP\RI
0DQDJHPHQW5HYLHZ±

&KDSWHU
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1216 of 1282













                                  (;+,%,7
                                         
      3URIHVVRU        ¶V5HSO\WR3URIHVVRU         ¶V'UDIW&KDSWHU
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1217 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1218 of 1282
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1219 of 1282
                                                                                                      


)HEUXDU\           LQWURGXFHGDOORIXVYLDHPDLOWRWZRSHRSOH³ ´DQG³         ´ZLWKZKRPKH
DSSDUHQWO\KDGZRUNHGZLWKRQWKHLQVXUDQFHILHOGVWXG\/LNH\RX,KDGQRWNQRZQRUKDGDQ\
FRQWDFWZLWK RU              EHIRUHWKDWHPDLO)ROORZLQJWKLVLQWURGXFWLRQRXUHQWLUHDXWKRUVKLS
JURXSKDGVHYHUDOHPDLOH[FKDQJHVZLWK(GLQZKLFK(GPHQWLRQHG³+DUWIRUG´VHYHUDOWLPHV,Q
DGGLWLRQ       DOVRVKDUHGWKHLQVXUDQFHGDWDILOHZLWKDOORIXVLQRQHRIWKHVHHPDLOVLQFOXGLQJ
WKHLQVXUDQFHIRUPILOHVWKDWZHUHODEHOHG³+DUWIRUG´6RE\)HEUXDU\DWWKHYHU\ODWHVW
  WKDWLVPRQWKVEHIRUHILUVWVXEPLVVLRQWR31$6 HYHU\FRDXWKRUKDGUHFHLYHGWKHILHOG
H[SHULPHQWGDWDDQGLQVXUDQFHIRUPVIURP              DQGZHUHLQIRUPHGWKDWWKHLQVXUDQFHFRPSDQ\
GDWDZDVIURP+DUWIRUG'XULQJWKDWWLPH,DOVRVHWXSD'URSER[IROGHURQP\SULYDWHDFFRXQW
ZKHUH,SXWRXUMRLQWILOHVDQGVKDUHGLWZLWKHYHU\RQHIRUWKHLUFRQYHQLHQFH,Q,VKDUHGWKH
LQVXUDQFHGDWDILOHZLWK              DQGDGGHGKHUWRWKHSHRSOHZLWKDFFHVVWRP\'URSER[IROGHU

/DWHU\RXZULWHLQ\RXUFKDSWHUDERXWRXULQWHUDFWLRQVWKLVSDVWVXPPHUDIWHUEHLQJ
FRQWDFWHGE\'DWD&RODGDDQGP\HIIRUWWRVHWXSDPHHWLQJDPRQJVWWKHDXWKRUV

         ³,ZDVQRWZLOOLQJWREHSDUWRIWKDWJURXSXQWLO,UHFHLYHGDZULWWHQVWDWHPHQWIURP           
           DQGRU          WKDWFOHDUO\H[SODLQHGKRZWKHIUDXGKDGRFFXUUHG,UHFHLYHGQRGLUHFW
           UHVSRQVHWRWKLVUHTXHVW´
         
,ZRXOGOLNHWRUHPLQG\RXWKDW,GLGUHVSRQGWR\RXUHPDLOLQZULWLQJWKDWVDPHGD\-XO\
,GLGVRGHVSLWH\RXUXQIRXQGHGLPSOLFLWDFFXVDWLRQWKDW,NQHZRIWKHIUDXG*LYHQWKLV
H[WUHPHOHYHORIKRVWLOLW\WKDW\RXGLUHFWHGDWPHP\UHVSRQVHZDVVKRUWEXWWRWKHSRLQW,
VWDWHGWKHWUXWK

          ³,ZDVQRWDZDUHRIIUDXGXQWLOWKHHPDLOZHJRWIURP8UL/HLIDQG-RH,FDQQRWVSHDN
           WRKRZWKHVWXG\ZDVFRQGXFWHGRUWKHGDWDZDVFROOHFWHGEH\RQGZKDWZHDOONQRZ´

7KXV\RXDUHDWEHVWLQDFFXUDWHZKHQ\RXZULWH\RXUHFHLYHGQRUHVSRQVH7KHIDFWLVWKDW\RX
GLGUHFHLYHDUHVSRQVHIURPPHWR\RXUUHTXHVWDQG\HW\RXVKRZHGQRLQWHUHVWWRKDYHDOHYHO
KHDGHGKRQHVWFRXUWHRXVFRQYHUVDWLRQZLWKRXUDXWKRUVKLSJURXSGHYRLGRIXQIRXQGHG
DFFXVDWLRQV

)LQDOO\,ZRXOGOLNHWRDGGUHVVIRXURWKHUSRLQWVLQ\RXUGUDIWFKDSWHUWKDWDUHPLVOHDGLQJLQ
VRPHFDVHVGXHWRRPLWWHGLQIRUPDWLRQRUPLVVLQJFRQWH[W

       <RXZULWH
           
                   ³$VZHZRUNHGRQWKHUHSOLFDWLRQSURMHFW                      DQG,KDGUHJXODU
                   EDWWOHVZLWK          DQG      DERXWWKHGHJUHHWRZKLFKWKHQHZVWXGLHV
                   LQYDOLGDWHGWKHUHVXOWVSXEOLVKHGLQ                    DQG,IDYRUHGFOHDUO\
                   H[SUHVVLQJRXUYLHZWKDWWKHVLJQLQJILUVWHIIHFWGLGQRWUHSOLFDWHZKLOH         DQG
                            VLPSO\ZDQWHGWRQDUURZWKHFRQFOXVLRQVRIWKHIDLOXUHWRUHSOLFDWHSDSHU
                   ´
           
           :KLOHWKLVLVHVVHQWLDOO\FRUUHFWLWIDLOVWRJLYHWKHUHDGHUVRPHRIWKHUHDVRQVZK\,
           ZDQWHGWRQDUURZWKHFRQFOXVLRQVRIWKHIDLOXUHWRUHSOLFDWHSDSHU)RUWKHUHFRUG,GLG
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1220 of 1282




       QRWZDQWWRGRLWMXVWIRUWKHVDNHRILW,KDGWZRPDLQUHDVRQV)LUVW,ZDQWHGWR
       XQGHUVWDQGWKHGLVFUHSDQFLHVZLWKWKHROGODEVWXGLHVJLYHQWKDWDWWKHWLPH,ZDVLQYLWHG
       WRMRLQWKHJURXSRIFRDXWKRUV,ZDVLQIRUPHGE\)UDQFHVFDWKDWWKHUHZDVDWRWDO
       RIIRXUODEVWXGLHVVKRZLQJWKHHIIHFW XOWLPDWHO\RQO\PDGHLWLQWRWKH31$6SDSHU 
       6LQFHZHGLGQRWKDYHDQ\HYLGHQFHWKDWDQ\RIWKRVHODEILQGLQJVZHUHWKHUHVXOWRI
       PDMRUHUURUWKURXJKPLVFDOFXODWLRQRUH[SHULPHQWDOHUURULQP\PLQGWKHUHH[LVWHGIRXU
       ROGODEVWXGLHVVKRZLQJWKHHIIHFWYVVL[QHZODEVWXGLHVWKDWZHUHQRWVKRZLQJWKHHIIHFW
       DQG,ZDVJHQXLQHO\LQWHUHVWHGLQGLVFRYHULQJSRWHQWLDOPRGHUDWRUVRIWKHHIIHFW6HFRQG,
       WKRXJKWWKHROGDQGQHZVWXGLHVZHUHFRPSDULQJDSSOHVWRRUDQJHV)RUH[DPSOHWKHROG
       ODEVWXGLHVWHVWHGWKHORFDWLRQRIWKHVLJQDWXUHLQDFRQWH[WZKHUHRQHW\SLFDOO\H[SHFWVWR
       VLJQDWVRPHSRLQW DWD[IRUP ZKLOHWKHODEVWXGLHVZHUHLQDFRQWH[WZKHUH
       RQHGRHVQ¶WH[SHFWWRVLJQDWVRPHSRLQW,ZDVDOVRFRQFHUQHGWKDWWKHODEVWXGLHV
       ZHUHSHUIRUPHGZLWKRXWDFRQWUROFRQGLWLRQ LHDFKHDWLQJFRQGLWLRQZLWKRXWD
       VLJQDWXUH 
       
       $VUHVHDUFKHUVZHRXJKWWRVHHNWKHWUXWKDQGWKDW¶VZKDW,ZDVWU\LQJWRGR7KHWUXWKLV
       WKDW\RXPDGHLWYHU\FOHDUZKDWWKHJRDORIWKHSDSHUZDVDQGZKDW\RXH[SHFWHG
       IURPXV<RXZURWHLQ
                
                ³                 DQG,PHDQWWREHLQFOXVLYHZKHQZHDVNHGDOORULJLQDODXWKRUV
                WRMRLQ%XW,GRQRWZDQWWKDWGHFLVLRQWRUHVXOWLQIXUWKHUGHOD\LQZKDW,WKLQN
                RIDVµFRPLQJFOHDQ¶´
       
       ,QDQRWKHUHPDLO\RXVWDWHG
                
                ³7KHIDFWWKDWDIWHUDQGQRVLJQDWXUHGRQRWGLIIHUGRHVQRWPDNHWKHPWKHVDPH´

       <HW\RXGLGQ¶WDSSO\WKDWVDPHWDNHDZD\WRWKHIDFWWKDWVLJQEHIRUHDQGDIWHUGLGQRW
       GLIIHU

       ,QRZUHDOL]HWKDWJLYHQWKHLVVXHV,KDYHKDGZLWKWKHSDSHUDQGWKHSUHVVXUH,KDYH
       EHHQIHHOLQJWRQRWUDLVHDQ\PRUHLVVXHVDERXWLW,VKRXOGKDYHWDNHQP\QDPHRIIWKH
       OLVWRIDXWKRUV7KHLURQ\LVWKDWWKLVLVKRZ,EHOLHYH\RXIHOWUHJDUGLQJWKHSDSHU
       7KHGLIIHUHQFHWR\RXUIHHOLQJRIFRPSOLFLW\LVWKDW,IHHOFRPSOLFLWZLWKERWKWKH
       DQGWKHSDSHUV
       
       7REHFOHDU,GREHOLHYHWKDWWKHSDSHUZDVHVVHQWLDOIRUPDNLQJWKHLQVXUDQFHILHOG
       VWXG\GDWDSXEOLFO\DYDLODEOHZKLFKXOWLPDWHO\PDGHSRVVLEOHWKHGLVFRYHU\RIWKHIUDXG
       ,WDOVRPD\YHU\ZHOOEHWKDWWKHORFDWLRQRIWKHVLJQDWXUHGRHVQ¶WDIIHFWKRQHVWVHOI
       UHSRUWLQJ+RZHYHULWLVYHU\FOHDUWRPHQRZ HVSHFLDOO\DOVRDIWHUWKHQHZLVVXHVWKDW,
       RQO\GLVFRYHUHGSRVWSXEOLFDWLRQRIWKHSDSHUDQGWKDW,KDYHVLQFHSRLQWHGRXWWR
       WKHHQWLUHDXWKRUVKLSJURXS WKDWWKHHYLGHQFHSUHVHQWHGLQWKHSDSHULVQRWVXIILFLHQW
       WRFODLPWKDWVLJQLQJEHIRUHYHUVXVDIWHUGRHVQRWGHFUHDVHGLVKRQHVW\

      <RXGHFLGHGWRTXRWHYHUEDWLPP\HPDLOIURP-XO\
        
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1221 of 1282
                                                                                                  


               ³>7RDGGP\RSLQLRQWRWKHH[FKDQJH@,GRQRWVHHUHDVRQIRUUHWUDFWLQJRXU
               SDSHUJLYHQ31$6¶FULWHULD$VIDUDV,NQRZZHGRQRWKDYHHYLGHQFHWKDWWKH
               ILQGLQJVRIRXUWKUHHH[SHULPHQWVDUHXQUHOLDEOHHLWKHUDVDUHVXOWRIPDMRUHUURU
               WKURXJKPLVFDOFXODWLRQRUH[SHULPHQWDOHUURU)URPWKHHPDLOWKUHDGVRIDULW
               ORRNVOLNHWKHPDMRULW\DJUHHVWKDWWKHUHLVQRQHHGIRUUHWUDFWLRQ6KDOOZH
               UHVSRQGWR31$6ZLWKWKDWRULVWKHUHPRUHQHHGIRUGLVFXVVLRQ"&KHHUV
                      
       
       7KHILUVWSDUWRIP\HPDLOLVPHDGGLQJP\RSLQLRQWRWKDWRIWKHRWKHUIRXUFRDXWKRUV
       7KHVHFRQGSDUWRIP\HPDLOLVZKDW,ZURWHLQWKHFDSDFLW\DVFRUUHVSRQGLQJDXWKRU0\
       FDVXDOWRQHLQWKLVFRQWH[WPD\FRPHDFURVVDVLI,GLGQ¶WWDNHWKHLVVXHVHULRXVO\ZKHQ
       WKHWUXWKLVWKDWWKHFDVXDOWRQHZDVP\EDGDWWHPSWRIGLIIXVLQJDKRVWLOHWHDPG\QDPLF
       
       )XUWKHUPRUHZKDWLVPLVVLQJLVWKDWEDFNLQZKHQZHZHUHZRUNLQJRQWKH
       SDSHUWKHJURXSRIFRDXWKRUVGHFLGHGWRSRLQWRXWWKHUDQGRPL]DWLRQLVVXHZLWKWKH
       LQVXUDQFHILHOGVWXG\IURPWKHSDSHU0\EHVWUHFROOHFWLRQLVWKDW\RXGLGQRWUDLVH
       WKHSRVVLELOLW\RIUHWUDFWLRQRIWKHDWWKDWWLPH7KDW¶VZK\WRP\NQRZOHGJHWKH
       ZDVDOVRZULWWHQWKHZD\LWZDV,WZDVPHDQWWREXLOGRQWKHSDSHUHYHQLILW
       UDLVHGTXHVWLRQVDERXWVRPHRILWVFRQFOXVLRQV
       
       $V,UHFDOO\RXILUVWPHQWLRQHGUHWUDFWLRQIRUWKHSDSHUZKHQ31$6ZURWHWRXVRQ
       -XO\ LHDERXWIRXUPRQWKVDIWHUWKHSDSHUZDVSXEOLVKHG EHFDXVHWKH\
       KDGUHFHLYHGDQHPDLOIURPDUHDGHUDVNLQJLIWKHSDSHUZRXOGEHUHWUDFWHG
       7RJHWKHUZLWK)UDQFHVFDDQG         ,YRWHGDJDLQVWUHWUDFWLRQ,KDGWZRSULPHUHDVRQVIRU
       P\YRWH)LUVWEHFDXVHRIZKDW,MXVWGHVFULEHGDERYHDQGVHFRQGEHFDXVHZHGLGQRW
       KDYHDQ\RWKHUQHZHYLGHQFHVLQFHERWK)UDQFHVFDDQG            WROGXVWKH\ZHUHQRW
       DZDUHRIDQ\H[SHULPHQWDOHUURUVLQWKHVWXGLHVWKH\KDGFRQGXFWHGIRUWKHSDSHU
       
       $WWKHHQGRIWKHGD\LQUHVSRQVHWR31$6¶UHTXHVWDIWHUSXEOLVKLQJWKHSDSHUDOO
       ILYHRIXVFRDXWKRUVZHUHVWLOOLQDJUHHPHQWRQWKHUDQGRPL]DWLRQSUREOHPZLWKWKH
       LQVXUDQFHILHOGVWXG\ ZKLFKWRUHLWHUDWHZDVSRLQWHGRXWLQWKHSDSHU EXWZH
       UHDFKHGGLIIHUHQWFRQFOXVLRQVDERXWZKHWKHURUQRWWRYRWHIRUUHWUDFWLRQRIWKH
       SDSHU$V\RXNQRZ,ZDVWUDQVSDUHQWDERXWWKDWLQP\FRUUHVSRQGLQJHPDLOWR31$6
       ZKLFKE\WKHZD\DOOILYHRIXVFRDXWKRUVDSSURYHGDQGDJUHHGWRVHQG,QWKHHQGZH
       UHFHLYHGWKHIROORZLQJGHFLVLRQIURP31$6
       
               ³:HKDYHQRZVKDUHG\RXUUHVSRQVHZLWKWZRH[SHUWVVHUYLQJRQRXU(GLWRULDO
               %RDUG%RWKDUHLQDJUHHPHQWWKDWµJLYHQWKDWWKHSDSHUSRLQWVRXWWKH
               ZHDNQHVVHVRIWKHHDUOLHURQH,WKLQNWKDWERWKSDSHUVVKRXOGEHLQWKHOLWHUDWXUH
               DQGUHDGHUVVKRXOGGUDZWKHLURZQFRQFOXVLRQV¶$VVXFKQRIXUWKHUDFWLRQZLOO
               EHWDNHQ´

      <RXFKRVHWRTXRWHYHUEDWLP     ¶VDXGLRPHVVDJHWRXVIURPZKHUH           VD\V
        
              ³     DQG,IRXQGWKHRULJLQDOGDWDWKDWWKH\VHQG>VLF@XV´
        
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1222 of 1282




      ,WLVFRUUHFWWKDW   VDLGWKDW+RZHYHUXQIRUWXQDWHO\KLVVWDWHPHQWLVPLVOHDGLQJ7KH
       IDFWLVWKHLQVXUDQFHFRPSDQ\KDVQHYHUVHQWDQ\WKLQJWRPH7KHRQO\ILOHV,UHFHLYHG
       ZHUHVHQWWRPHE\       $OVR    DQG,GLGQRWILQGDQ\WKLQJWRJHWKHU

       )RUFRQWH[WSULRUWRKLVDXGLRPHVVDJHWRXV,KDGLQIRUPHG       WKDW,KDGIRXQGWKHGDWD
       ILOHWKDWDFFRPSDQLHGWKHDQDO\VLVUHVXOWVILOHVWKDWKHVKDUHGZLWKPHIRUP\ZULWHXS
       EDFNLQ)HEUXDU\,FDQRQO\DVVXPHWKDW        ZDVUHIHUULQJWRWKDWLQKLVDXGLR
       PHVVDJH7KLVLVE\WKHZD\WKHGDWDILOHWKDW,DOVRVKDUHGZLWKWKH'DWD&RODGDDXWKRUV

       $V,KDYHVWDWHGEHIRUH,ZDVQRWLQYROYHGLQWKHILHOGVWXG\KDGQRFRQWDFWZLWKWKH
       LQVXUDQFHFRPSDQ\QRRQJRLQJSURMHFWZLWK       RQWKDWWRSLFDQGQRILOHVRUGHWDLOHG
       LQIRUPDWLRQDERXWWKHILHOGVWXG\SULRUWRWKHFROODERUDWLRQ

      <RXDOVRZULWH
        
                 ³2Q-XO\*LQR     DQG,DVNHG31$6WRUHWUDFWRXUSDSHU´
        
        7KLVFUHDWHVWKHIDOVHLPSUHVVLRQWKDWRQO\WKHWKUHHRI\RXDVNHGIRUUHWUDFWLRQ7KHWUXWK
        LVDOOILYHFRDXWKRUVDVNHG31$6WRUHWUDFWWKHSDSHU:HMXVWGLGQ¶WGRLWWRJHWKHU
        LQDVLQJOHOHWWHUEHFDXVHRIWKHG\VIXQFWLRQDQG³GLVWUXVW´LQWKHJURXS

,I\RXUPDLQSRLQWLVWKDW³WUXVWLQJ´HDFKRWKHUOHGWRDODFNRIGXHGLOLJHQFHDQGQHHGHG
RYHUVLJKW\RXSRLQWLVZHOOWDNHQ,FRXOGQRWDJUHHPRUH%XWIRUDVFLHQWLVWSODFLQJSXUVXLWRI
WUXWKDWWKHIRUHJURXQGVRPHRI\RXUFODLPVDUHIDOVHDQGVRPHRI\RXUUHSUHVHQWDWLRQVXQIDLU
PLVOHDGLQJSUHVHQWHGRXWRIFRQWH[WDQGIUDQNO\GHIDPDWRU\

6LQFHUHO\

     


    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1223 of 1282













                                  (;+,%,7
                                       
     (PDLO([FKDQJH%HWZHHQ3URIHVVRU        DQG3URIHVVRU          
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1224 of 1282
                                                             $#!#$ "&%'#"         


      %" 
         "$  *0$+)+**)%./%-,   

 
        $$
              +)+****/'       &!$0&**&*0&+*&!



!*+,8, &#5'1'*, .%&'*,,'*2!3,  (,*, , +&,: %0%(.&,'+1*,+
  &'1,,  !+,'*58(*.1$*$5'1,%5'%($!!,5!&, +,'*5:&!&,  (,*,'$$'?1, '*+
3+!&,&+ #'&%51*5:

  $+'3&,,'$*, ,, !+!+%5*+,?(*+'&'1&,'%5 '&+,1&*+,&!&', ,*1
+,'*5: 1+')1',+A*'%%!$+B!+!&,&,' $(%2'!, &,'!&,*(*,, %'.2+'
', *+:

0 !+&1(,*',  (,*, ,!+*+('&+!2,'%&5'5'1*'&*&+!&5'1*$0*,'%
'&GG>GL>HG: !+ (,*!+&',5,&$8& *%!&'(&,'$*!,5*'%', *+:            *)1+,&4,*
3#,'*+('&8& !&,&,'(*'2!, ,.%:

'1*'&&.'&,', $+,1591!, '&+,$58 $35+++1%, ,, $4(*!%&,3+"'!&,
(*'1,5, ,3''5'1A1&.$!,%(*,''1*2?1, '*(1$!.'&B: 5*', %!$ !&!&
  &1*58HFGG!%($!+, ,         +35'1+ !+'$$'*,'*8, ,!&', '1 ,5'13*(*,', ,(*'",8
&, ,5'1+3, !&,*.'&'21, '*++"'!&!&'*+8*, *, &5'1!&,'
'%!&.'&', '1*'1+@, $0*$2!&!,1&$*, +!+'*5'1*!&$1+!'&:1,8***!&,', 
$4(*!%&,+          &       +,15!+&',*$$5&'*%5'1&,8&  2!,, ,'1,
', *2!+!'&:

   2!,%5'1&,'1,3 '*,, !&!.$*!&HFGG&'1,'1**+,%.&!&&!'
(*5'1*$0*: ((*!,, $*!,5:

  ((*!,, ,!&'&5'1+35'1*+$!&, %!$,3&              &%,%1$.($('!&,+:1,8%5
4(*!&'1&5'1!&$!&%&,3!,              ,#5"1&,1*+!&, +,'*5:  22'!!,'*!$!6!&
'1,, ,8&'&$51+,1$3'*+, , *!2*'%5'1: 5'1+&5*%!&!&**'*+8 %'(&,'
*2!3!&%'*'5'1*'+*2.'&+: ($&,''&.&1,',*5,'2'!'*!&!&'*%.'&'1,, 
%'.2+'', *+8!&'*%.'&, , !&', 2+, +,'*52$'(:

&$5*&,$53+ %3*', %!$+, ,3*!&%5!&'4!&HFGH, ,%&.'&& *-'*:
   '&+,$5 2&'*'$$.'&'+!&, %: 3+*,!&$5*1+,*,5, !&'*%.'&'3!&, (*'",
5, &8&3+'&+!*!&3!, *3!&*'%, (*'",A!,3+%5!+!'&,'&','+'B:1,8  2
$!%!&,, +,,%&,, , !&;,#&'3'1,, &%', !&+1*&'%(&51&.$HFGO8+!&, 
&!.'&'<#&'3=&%!1'1+:

+'&5'1*$0*'&GG>GL>HG8  2$!%!&,, +&,&< *!2&'!*,*+('&+,', !+
*)1+,=:

  &1&*+,&5'1**1+,*.'&3!, %5$#'3!$$!&&++,'%,+*'1(!& 1$58HFHG:*'%%5
(*+(.28 3&,,'!+'&&,*'%, *1+%1 +('++!$: $+'3&,,'+1*,

                                                                                                                  "$
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1225 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1226 of 1282
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1227 of 1282













                                      (;+,%,7
                                            
    (PDLO,QIRUPLQJ&RDXWKRUV$ERXW*LYLQJ8SWKH5ROHRI&RUUHVSRQGLQJ$XWKRUIRUWKH
                                    31$6SDSHU
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1228 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1229 of 1282













                                 (;+,%,7
                                      
                          (PDLOIURP5$          
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1230 of 1282
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1231 of 1282




%&+$%3)*&%*13 %!&31&)" %1 +3&/ *++3&/1)*/')1##&)% 4:&)*&$
&+*+/ *1&%/+83&/#')&$&+)*8 +))&$+#&) )+$'&)) #3:&3&/
)$$) +31)$ %#3/%))*7



 % ,&%+&*/''&),%$83&/#*&1&)"1 +&+)/#+3$$)*81&=# "$=)%$%3
#&)+&)3*+/ *81&)"1 +&+&)#*+/%+*%*&#)*+&+)*&&#*:)$3'),** $ #)
+&+ )*7



    3&/&/##+$"%&18 1&/#0)3$/'') + +:



%"3&/8

)%*







<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<

)%* %&

%&%$ #3)&**&)&/* %**$ % *+),&%

    )0)/* %**&&#

* +9.'9;;)%* %&:&$;

1 .)9B)%* %&

% %" %% %*+)$

     &*+%+&&"9                  

2+#"9   




                                                                                                        
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1232 of 1282













                            (;+,%,76$$1'%
                                      
          (PDLOVIURP3UHYLRXV)66           DQG)66           
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1233 of 1282
                                                                                  "   !           


     
      )%#%& $# '* &(                                       

       

  *&

'(0'-!( +&,/#&,/+.*0' '&,-*00(*,&*&!.' &'/&!!,'/*! +',,' '
'-,+ &.&,!&! &,/&,,'+,0'-,+ '* '&  

&*+('&+,'0'-*)-+, '&+

  ./+!*0'-*'-&, &'*%, '& ,,!, % ,/+(* %* 0%-*#&- ,* +,! &# ',!'.*% & ,'
'*%%*+!* &  ,/ ,!+'%'0'-*+,-&,+ ,' &+'%' '*,'*+'.*%  &*%%*,!,
0'-**+*!- ,/'- ',& ''.*-,',!%&0'& ' & +,- +

 '-/* & , 0,!%'+,(*'  *+*!*',!('( /'*#'* +'&+ **0&,&'&',* +!* & ,!,
&'*%, '&+',&/ ,!,! *+,-&,+&' '*,'*+ +',! &# ,/+(* %* 0 & (*+'&& '*,!- ,0%%*+!* ,
 *, 0/ ,!,! *+,-&,+*%%* &  ++ &.' . & +'&+*+*!&%'* &.' . &,! & &% & +,*, .
+-(('*,,

'(,!,+! (-  , & '&,!(+,%#+%% ++,!/'&*- '  -+ &




 !%3@3?=?@'>>4@A !"3%!&C!";&5+D-%"'4

  !/"+111

  %!

  

  

  
  7777777777777777777777777777777777777777777777777777777777777777777777

  %!&!"

  !"! / %"&&"%"+&!&& !&'%("!

  %,%+&!&&""

  &'4*#466%!&!"5" 6

  -*%4;%!&!"

      ! ! !! !&'%

      "&'!'""4                   

  .'4   

  


  
    %/3%+%/@3?=?@'>=4??
  %!&!"C!";&5+D

                                                                                                                                         
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1234 of 1282


  4$+$+&("!


" *&



$$ ,#,'0'-'.*,!/#&",!,+$$*" !, -+0,"%+'.*,-*"& ,&-*
+++'& 






    !+3?3?=?@'>=4?B !"3%!&C!";&5+D-%"'4

     

     

         "#/"+%-5

     

      ,!&#!!&" ( !'&'- "!'&'!!"+'"-'"&' #%",'-/ -"%-'
     ""%'"%&3"'"%&'+!'&!&3&"'' "!"'"",% /%&%+'9&'##!!'
     #&':!&", "%"!'%"!'%!&#%!/",%-"&"!-'5

     

     !/"+-%&('3'-&"     "!"%/"+'"&% /"+!'!"% ("!"%+'%&3 +%!
      %"&"'' !"'" "*!"%#"#-"%!-' 5 !"-/"+!"'%&&" /
     %'"+!'"%'& %&"!5

     

      "!&%'&!"% ("!-'#"#'"5/"+&%'&!"% ("!'"&""%,
      2

     

      !("!'"&+##"%(! 3/"+&"-"%-'"'%+'/  %&3-"8 8%! !/"%'"%/
     &'+&3-"%-'"'"%&'+!'&!&"%&'"'%&""&!-%&+##"%'/&5% /
     #%(&& %'"'%&2

     

         /"+"+' !"-3 -"+,%/ +##%''5

     

     !/"+3

     %!


                                                                                                                   
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1235 of 1282






7777777777777777777777777777777777777777777777777777777777777777777777

%!&!"

!"! / %"&&"%"+&!&& !&'%("!

%,%+&!&&""

&'4*#466%!&!"5" 6

-*%4;%!&!"

    ! ! !! !&'%

    "&'!'""4                   

.'4   




                                                                                                
           Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1236 of 1282
                                                                         "  " !                 


   "
        !  *!&%&' ("(+"')     

     ! 

 -)

#*+ 3*01    )* )"2 /***.*--3!*-(3 3 - .+*). 1      )*2)*0/2 /# /# )&(/#  ./+ -.*)
&)*2/*" / /

*)/ 1 -.#- 3*0--  /- )!*1  ( %0./*1 -/# +#*) *-! /*! 2 /#*0+ *!!* &. ) 0 )"/#  
()" -.!*-3*0-* *-/*-/       1  -& 3. ) 2 )  /*!0).*( *)  . .*0)/ *2 1 -&)*22  .#-
3*0--* !  0 /- . /  *" ) )!*-(/ *)1  ( 2 /#! 2!* &. & 3*0- .)*/*- ./0 )/.0/*)//# )&)3*)  . 

 /#(3*/# -!0 /3 /& )*!1-  /*) +* )/ )/ ( 2./# *) 3*) 2#*2*0 +0-#. -* ! *-(0-&-  /. /#
 */*- ./0 )/2*0 " /++-*1 !-*(/# -!0 /3)/# )!*-2-/# - ,0 .//*( /*+0-#. /# /0 -  /.#) /#
- (0-. ( )/ *2 1 -!*-/# (*./+-/ .).*( / ( .*/*- ./0 )/.#/# )  ..-3 *" )-  /- )!*-(/ *)/*
(& /# . +0-#. ./# (. 1 .)/# 32*0 %0./(& .0- /*!*-2-( /# !0 /3/# -  +/. # .*!*0-. ( )/2
)  /** /(*- 2*-&/*2-/#  )*! #! . 3 -/*& + 1 -3*)  )/#  **+2 /#- "-/*/# 0" /. ) .*/#/
!* &.*0 + )*- )" 3) -/( /# !0 /3 !)3 "+0-#. .)  /* ( 

#*+ /#/# +. /( &)*2 !)3*/# - )!*-(/ *)2*0  # +!0 *- !3*0#1 )3,0 ./ *).*0//# *1

*+ 3*0)3*0-!( 3- * )"2 )#1 )""- /) 23 -.*!-




 !*1<1<;<=&>2<? !"1$!%@!"9%3*A,$"&2

  

  

      "#."*$,3

  

   +!%#!!%" ' !&%&, "!&%&!!"*&",&"%& #$"+&,. ,"$
  ,&""$&"$%1"&"$%&*!&%!%1%"&& "!"&""+$ .$%$*&7%&##!
  !&#%&8!%"+ "$"!&$"!&$!%#$!."+$,"%"!,&3

  

  !."*,$%'&1&,%"     "!"$."*&"%$ ."*!&!"$ '"!"$*&$%1 *$
  ! $"%"&& !"&" ")!"$#"#,"$!,& 3 !",."*!"&$%%"
   .$&"*!&"$&% $%"!3

  

   "!%$&%!"$ '"!,&#"#&"3."*%$&%!"$ '"!&"%""$
  + 0

  

   !'"!&"%*##"$'! 1."*%","$,&"&$*&.  $%1,"6 6$! !.
  "$&"$.%&*%1,"$,&"&"$%&*!&%!%"$%&"&$%""%!,$%*##"$&.
  %3$ .#$'%% $&"&$%0

  

                                                                                                                                          
               Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1237 of 1282



          ."*"*& !",1 ,"*+$. *##$&&3

      

      !."*1

      $!

      

      5555555555555555555555555555555555555555555555555555555555555555555555

      $!%!"

      !"! . $"%%"$"*%!%% !%&$'"!

      $+$*%!%%""

      %&2)#244$!%!"3" 4

      ,)$29$!%!"

          ! ! !! !%&$

           "%&!&""2                  

      -&2   



55



Harvard Prison Divestment Campaign




                                                                                                     
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1238 of 1282













                                    (;+,%,7
                                         
       (PDLO:LWK/HWWHUV8VHGIRU1RPLQDWLRQWRWKH$200HQWRUVKLS$ZDUG
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1239 of 1282
       Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1240 of 1282





    #*'.=?0><=@

''$(($'          

'+'.%!()$#$"#)'$(($''#(#$0 '+'*(#(($$!0$')
".$#"#)'#/)$#!+$'+($#4(#)$'(%,'3

'#((%'$+#)$#)+"#)$'2'"#)(+$#(()#)!.*!)+)#$+!
#"%$')#)"#))(0#'0$''$#)',.)$$"#0"%$')#)
$#)'*)$'()$)$'#/)$#!+$'$""*#).3((.()"))##.7)$*!)+)
()'$#($!'(0$#)'*)##"%$')#),.()$#"$""*#).0()(!()'$#
+#$'&*!)$#$')(,'3

*)'')()+!*("#)$'(#()'$*,#$#('#),$'($'"#)(
,#).'!)$#'"#)$'(%3$')#"'!.!%#'"#)($"')
($!'(0)(!'))'#(4("#)$'(%(#)'!)$!%#%$%!)$$"))'
+'($#($)"(!+(3#$'"#)(0#)'#$"#)$#!))'0('('#(4(
*"!).#%'($#! ##(((+#%$,'*!"%)$#'($)$'!()*#)3
#$)'!!'5'##+$)63)!!#$)'(''(($"$#,$5(
')#((#$)'(0+#,#).#4)())"(!+(63+'.$#$'"#)(
('('((!!((7(+#'!.$')"0'($*'(#($!#),$' 7$)#,)
#$-%))$#$%'($#!#)0*)("%!.('!)$#$)#*#0%'($#!'
'#(($')$(($"(#)$$#)),)3'!.+'."#)(''#(
(%'($#,$,()'$')"7,$+$'(!0#%'$++)!"$)$#!#
"$'!(*%%$')7,#)"(,'*!)0)'%'($#!!.$'%'$(($#!!.3

  #($')0)'(*!)($'#(4("#)$'(%(% $')"(!+(0#''!)#)
(*(($)$(,$!!'"#)$'3*))')()"%)(4($#)$(,$"(
*(0''!)$#$'')'3()'*!." #)$'#/)$#!+$'
($!'!.$""*#).))'7$).*!)+)#,$#'*!($!'(0#.%'$+#
!*%'#)$"%!')'3

+)))$)(!))'#$"#)$#!))'('$""#.$'"#)(2                 
           8$'),()'#91                 8#+'().$$')'$!#)%! !!91         
8#+'().$#91             8$!*"91            8#+'().$$')'$!#)
%! !!91          8 $#$#*(#(($$!91                  8#+'().$-(0*()#91
             8 '+'*(#(($$!93)'*())).$*4!!#)(!))'(($"%!!#(
,$0#,!!())$'$#/'#(4($+$*("%)("#)$'3

#'!.0


                                                  
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1241 of 1282

                                                    





-DQXDU\


'HDU&ROOHDJXHV

,DPKRQRUHGWRVKDUHP\VXSSRUWIRUWKHQRPLQDWLRQRI)UDQFHVFD*LQR7DQGRQ)DPLO\
3URIHVVRURI%XVLQHVV$GPLQLVWUDWLRQDW+DUYDUG%XVLQHVV6FKRROIRU2%0HQWRUVKLS$ZDUG
6KHKDVEHHQDQH[FHSWLRQDOPHQWRUDQGUROHPRGHOIRUPH)RUWKHSDVWGHFDGH,KDYHKDGWKH
SULYLOHJHGRSSRUWXQLW\WROHDUQDQGIORXULVKLQP\RZQDFDGHPLFHQGHDYRUVWKDQNVWRKHU
PHQWRUVKLS

,ILUVWPHW)UDQFHVFDZKHQ,ZDVDWKLUG\HDU3K'VWXGHQWDWWKH8QLYHUVLW\RI8WDK6KHZDV
WK   QLRUIDFXOW\PHPEHUDWWKH8QLYHUVLW\RI1RUWK&DUROLQD&KDSHO+LOO)URPWKLVILUVW
LQWHUDFWLRQVKHKDVVKRZQGHHSFRPPLWPHQWWRP\SHUVRQDODQGSURIHVVLRQDODGYDQFHPHQWDW
HYHU\VWDJH6SHFLILFDOO\VKHZDVLQYDOXDEOHLQJXLGLQJPHWKURXJKJUDGXDWHVFKRROWKHMRE
PDUNHWDQGQRZP\FXUUHQWSRVLWLRQDVDMXQLRUIDFXOW\,DPGHHSO\LQGHEWHGWRP\PHQWRU
)UDQFHVFD*LQRIRUKHUFRQWLQXRXVFDUHVXSSRUWDWWHQWLRQDQGLQWHOOHFW)XUWKHU,DPJUDWHIXO
WRKHUIRUDOZD\VEHLQJDYDLODEOHZKHQ,QHHGHGDQ\DGYLFHSHUVRQDOO\RUSURIHVVLRQDOO\,KDYH
EHQHILWHGWUHPHQGRXVO\IURPKHUPHQWRULQJDQG,DPKRQRUHGWRVKDUHP\VXSSRUW

:KLOH)UDQFHVFDSURYHVWREHDUHVHDUFKOHDGHUDQGDQDFDGHPLFVWDUKHUGHGLFDWLRQWRRWKHUV
H                 RQDOUHODWLRQVKLSV:KDWPDNHVKHUDPD]LQJLVKHUJHQXLQHFDUHIRUSHRSOH
V                                                HVHVSHFLDOO\VXSSRUWLQJWKRVHZKRQHHG
L                            GMXQLRUIDFXOW\)UDQFHVFD¶VJHQXLQHFDUHFRXSOHGZLWKKHU
L                        HVKHUWKHSHUIHFWPHQWRU

$VDJUDGXDWHVWXGHQWDQGQRZMXQLRUIDFXOW\VKHKDVJLYHQPHH[SRVXUHWRYDULRXV
SURIHVVLRQDOUHVRXUFHVRSSRUWXQLWLHVDQGQHWZRUNV6KHKDVVXSSRUWHGPHWKURXJKWKHMRE
PDUNHWDQGZLWKKHUFRQVWDQWPHQWRULQJ,VXFFHVVIXOO\ODQGHGDMREDW.HOORJJ)UDQFHVFD
SURYLGHVHPRWLRQDODQGPRUDOVXSSRUWHQFRXUDJHPHQWDQGFRQWLQXHVWRFKDOOHQJHPH
LQWHOOHFWXDOO\6KHLVDFRQVWDQWUHPLQGHUWRPHWREHWUXHWRP\VHOIDQGP\SDVVLRQ

,QDGGLWLRQWRFRPPLWPHQWWRP\GHYHORSPHQWVKHKDVLQVSLUHGPHWREHSDVVLRQDWHDERXWP\
ZRUNDQGKDVSXVKHGPHWRGHYRWHP\FDUHHUWRZRUNWKDWPDWWHUV,KDYHEHHQIRUWXQDWHWR
SXEOLVKPXOWLSOHSDSHUVZLWKKHURQHZLQQLQJ2%'LYLVLRQ¶V2XWVWDQGLQJ3XEOLFDWLRQ$ZDUG
LQIRUWKHPRVWVLJQLILFDQWFRQWULEXWLRQWRWKHDGYDQFHPHQWRIWKHILHOGRI2%,KDYHQRW
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1242 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1243 of 1282













                                                                                                
-DQXDU\

7R
7KH6HOHFWLRQ&RPPLWWHH
$200HQWRUVKLS$ZDUG
$FDGHP\RI0DQDJHPHQW&RQIHUHQFH

6XE1RPLQDWLQJ'U)UDQFHVFD*LQRIRUWKH$200HQWRUVKLS$ZDUG

'HDU6HOHFWLRQFRPPLWWHH

,WLVZLWKJUHDWSOHDVXUHWKDW,QRPLQDWH3URIHVVRU)UDQFHVFD*LQRIRUWKH$200HQWRUVKLS
$ZDUG,KDYHNQRZQ3URIHVVRU*LQRVLQFHDQGLQHYHU\LQVWDQFH,KDYHIRXQGKHUD
GHYRWHGIULHQGILQHVFKRODUDQGDQLQYDOXDEOHPHQWRU

-RKQ&URVE\RQFHVDLG³$PHQWRULVDEUDLQWRSLFNDQHDUWROLVWHQDQGDSXVKLQWKHULJKW
GLUHFWLRQ´)UDQFHVFDLVDQLGHDOHGXFDWRUDQGPHQWRU±HQWKXVLDVWLFFRPSDVVLRQDWHDQGDZH
LQVSLULQJ7KHOHYHORIUHVSHFWVKHHQMR\VLQWKHILHOGVRIRUJDQL]DWLRQDOEHKDYLRUDQGVRFLDO
SV\FKRORJ\DUHSURRIRIWKLVIDFW%XWDOORZPHWRVKDUHZLWK\RXKRZ)UDQFHVFDKDVEHHQD
ZRQGHUIXOPHQWRUWRPH

:KHQ,ZDVDQHZELHSUHGRFWRUDOVFKRODUDWWKH+DUYDUG/DZ6FKRRO¶V3URJUDPRQ1HJRWLDWLRQ
)UDQFHVFDDQG,VWDUWHGZRUNLQJRQRXUSURMHFWRQFKLOGKRRGPHPRULHV:HFKDWWHGRQSKRQH
UHJXODUO\DQG)UDQFHVFDZDVYHU\DWWHQWLYHWRDQ\LQSXW,KDGHYHQZKHQVRPHWLPHVP\
VXJJHVWLRQVZHUHPRUHDFDGHPLFWKDQSUDJPDWLF2IWHQRXUSKRQHFRQYHUVDWLRQVZRXOGYHHULQWR
WRSLFVXQUHODWHGWRRXUSURMHFWVXFKDVWKHFKDOOHQJHV,ZDVIDFLQJRQWKHDFDGHPLFMREPDUNHW
6KHSURYLGHGGLUHFWLRQDQGRSSRUWXQLW\SXWWLQJPHLQWRXFKZLWKLQIOXHQWLDORWKHUVDOORZLQJPH
WRFKDUWP\RZQSDWKEXWDWWKHVDPHWLPHPDNLQJVXUHWKDW,ZDVJHDUHGIRUVXFFHVV
&RQVHTXHQWO\,ODQGHGP\ILUVWMREDWWKH.HQDQ)ODJOHU%XVLQHVV6FKRRO

(YHQDIWHURXUSURMHFWHQGHGZLWKDVXFFHVVIXOSXEOLFDWLRQLQWKH-RXUQDORI3HUVRQDOLW\DQG
6RFLDO3V\FKRORJ\)UDQFHVFDDQG,FRQWLQXHGWRVWD\LQWRXFK6KHZRXOGURXWLQHO\UHDFKRXWWR
PHVR,FRXOGOHWKHUNQRZKRZ,ZDVGRLQJ'XULQJP\HDUO\\HDUVDW.HQDQ)ODJOHU,VWUXJJOHG
ZLWKWHDFKLQJWKHFRUH0%$FRXUVHRQHWKLFV)UDQFHVFDJHQHURXVO\VKDUHGZLWKPHKHURZQ
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1244 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1245 of 1282




Management and Organizations


-DQXDU\


'HDU0HPEHUVRIWKH$FDGHP\RI0DQDJHPHQW2%0HQWRUVKLS$ZDUG

,WLVZLWKJUHDWSOHDVXUHWKDW,QRPLQDWH)UDQFHVFD*LQRIRUWKHSUHVWLJLRXV2%
0HQWRUVKLS$ZDUG,KDYHNQRZQ)UDQFHVFDIRUWKHSDVWVHYHQ\HDUVDQGVKHZDVWKH
&KDLURIP\GLVVHUWDWLRQFRPPLWWHH)UDQFHVFDWDXJKWPHKRZWRWKLQNFUHDWLYHO\DQG
FULWLFDOO\'XULQJRXUPHHWLQJVLQKHURIILFHRUDW3HWVL3LHVZHRIWHQVWRSWDONLQJWR
VLPSO\WKLQNWKURXJKDSDUWLFXODUWKHRUHWLFDOZULQNOHRULQWHOOHFWXDOURDGEORFN2QHRQ
RQHPHHWLQJVZLWK)UDQFHVFDUDUHO\ODVWHGOHVVWKDQDQKRXUDQGVKHQHYHUJLYHVWKH
LPSUHVVLRQWKDWVKHKDVVRPHWKLQJPRUHLPSRUWDQWWRGR+HUIRFXVRQDVWXGHQWLV
FRPSOHWH7KLVOHYHORIDWWHQWLRQLVDVWRXQGLQJJLYHQWKHVKHHUQXPEHURIGRFWRUDO
VWXGHQWVZKRZRUNZLWKKHULQKHURZQGHSDUWPHQWQRWWRPHQWLRQWKHUDQJHRIDFWLYH
UHVHDUFKFROODERUDWRUVVKHPDLQWDLQVDFURVVWKHFRXQWU\DQGWKHZRUOG

)UDQFHVFDLVDQLQGHSHQGHQWDQGRULJLQDOWKLQNHUZKRLVJHQXLQHO\LQWHUHVWHGLQ
GLVFXVVLQJQHZLGHDVDQGLQKHOSLQJVWXGHQWVPRYHIRUZDUGZLWKULJRURXVDQGFUHDWLYH
PHWKRGV6WXGHQWVRIWHQHQFRXQWHUPRPHQWVRIIUXVWUDWLRQDVGDWDHLWKHUGRQRW
FRUURERUDWHLQLWLDOK\SRWKHVHVRUUHPDLQWRRPHVV\WRGHFLSKHU6KHLVQRWRQO\LQFUHGLEO\
SDWLHQWDQGWKRXJKWIXODERXWWKLVSURFHVVEXWVKHDOVREULQJVLQPXFKQHHGHGGRVHVRI
RSWLPLVPDWWKHULJKWWLPHVDQGSRZHUIXOO\UHLJQLWHVDVWXGHQW¶VSDVVLRQIRUWKHLQLWLDO
TXHVWLRQ)RUH[DPSOHDIWHUFULWLFDOO\H[DPLQLQJWKHGDWDDQGWKLQNLQJWKURXJKZKDWZHQW
ZURQJDQGZKDWFRXOGEHLPSURYHGVKHKHOSHGPHGHVLJQKLJKTXDOLW\H[SHULPHQWVDQG
EHWWHUH[HFXWHWKHSURMHFW+HURSWLPLVPVKLQHVWKURXJKQRWRQO\WKHGDWDFROOHFWLRQ
DQDO\VLVDQGZULWLQJSURFHVVHVEXWDOVRWKURXJKWKHUHYLHZSURFHVVZKLFKFDQRIWHQEH
WKHPRVWGLVFRXUDJLQJ6KHWDXJKWPHKRZQRWWREHGLVFRXUDJHGDQGLQIDFWKRZWREH
UHVLOLHQWLQWKHIDFHRIVFDWKLQJUHYLHZV7KDQNVWRKHUWUDLQLQJRQWKHVFLHQWLILFSURFHVV,
QRZKDYHDEHWWHUVHQVHRISURMHFWVWKDWDUHZRUWK\RISXUVXLWDQGWKLQNDKHDGDERXWWKH
WKHRUHWLFDODQGSUDFWLFDOFRQWULEXWLRQVP\ZRUNZLOOEHPDNLQJ

)UDQFHVFD¶VLPPHQVHSDVVLRQIRUDQGGHGLFDWLRQWRUHVHDUFKLVHYLGHQWLQWKHQXPEHURI
SXEOLFDWLRQVVKHKDVDFFXPXODWHGDQGWKHLPSDFWKHUUHVHDUFKKDVRQWKHILHOGRI
MXGJPHQWDQGGHFLVLRQPDNLQJDQGEH\RQG<HWGHVSLWHKHUPDQ\DFFRPSOLVKPHQWVVKH
LVRQHRIWKHPRVWKXPEOHSHRSOH,NQRZVRPHRQHZKRHQFRXUDJHVVWXGHQWVWRYRLFH
WKHLURSLQLRQVDWDOOWLPHV,DOZD\VIHHOVDIHUDLVLQJQHZLGHDV VRPHWLPHVWKURXJKODWH
QLJKWHPDLOH[FKDQJHVZLWKKHU WKDWVHHPHGVRVLOO\WRGLVFXVVZLWKDQ\RQHHOVH,QHYHU
IHOWVWUHVVHGRXWDERXWPHHWLQJZLWKKHU,QIDFWLQSHUVRQRUSKRQHPHHWLQJVZLWKKHU


         701 Tappan Avenue, R5312   |   Ann Arbor, Michigan 48109-1234   |   T:   |
 Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1246 of 1282
University of Michigan Stephen M. Ross School of Business                                    2




DOZD\VVSDUNVRPXFKH[FLWHPHQWDQGHQWKXVLDVPLQPH'XHWRKHUJHQXLQHKXPLOLW\DQG
KHURSHQPLQGHDJHUIRUQHZLGHDV)UDQFHVFDKDVPDGHZRUNLQJZLWKKHURQHRIWKHPRVW
HQULFKLQJDQGIXQH[SHULHQFHVRIP\JUDGXDWHOLIH

,DGPLUHDQGUHVSHFWKHUIRUWKHJUHDWVFKRODUWKDWVKHLVEXWHYHQPRUHIRUWKHSHUVRQVKH
LV$OWKRXJKWKHUHDUHPDQ\DFFRPSOLVKHGSURIHVVRUVWKHUHDUHRQO\DIHZZKRJHQXLQHO\
FDUHIRUWKHLUVWXGHQWVDQGWUDLQWKHPQRWRQO\WREHDFFRPSOLVKHGVFLHQWLVWVEXWDOVRWR
EHJRRGKXPDQEHLQJV6KHWKLQNVRIKHUVWXGHQWVDQGWKHLUFDUHHUVILUVW6KHVXSSRUWV
VWXGHQWVILQDQFLDOO\ZKHQWKH\QHHGLWPRVWDQGLVHPRWLRQDOO\DYDLODEOHIRUWKHP
'XULQJP\GRFWRUDOSURJUDP,ZHQWWKURXJKPDMRUIDPLO\UHODWHGFULVHVEDFNKRPH
ZKLFKPDGHLWH[WUHPHO\GLIILFXOWIRUPHWRVWD\IRFXVHGRQP\UHVHDUFK6KHHQFRXUDJHG
PHWRVWD\SRVLWLYHZKLOHSURYLGLQJWKHVXSSRUWQHFHVVDU\WRKHOSPHILQLVKPXOWLSOH
SURMHFWVZHKDGWRJHWKHU7KDQNVWRWKLVXQOLPLWHGVXSSRUWDQGWUXVW,GLGQRWORVHWUDFN
RIP\UHVHDUFKEXWZDVDEOHWRFKDQQHODOOP\HQHUJ\LQWRLW,DOZD\VIHOWVDIHGLVFXVVLQJ
SHUVRQDOPDWWHUVZLWKKHUDQGHYHQZKLOH,ZDVDZD\VKHQHYHUIRUJRWWRFKHFNRQPH
DQGP\IDPLO\DQGWRDVNZKHWKHUVKHFRXOGKHOSLQDQ\ZD\

)UDQFHVFDLVWKHHSLWRPHRILQWHOOLJHQFHNLQGQHVVZDUPWKDQGLQWHJULW\6KHKDV
FRQVLVWHQWO\SURYLGHG\DUGVWLFNVDJDLQVWZKLFK,FDQPHDVXUHP\VHOIDVDUHVHDUFKDQG
FLWL]HQRIDFDGHPLDDQGUHLQIRUFHGP\SDVVLRQIRUWKHILHOGRIDFDGHPLFLQTXLU\,DP
JUHDWO\LQGHEWHGWRKHUDQGWRWKHUHPDUNDEOHVXSSRUWVKHKDVJHQHURXVO\EURXJKWLQWRP\
OLIH

3OHDVHKHOSKRQRU)UDQFHVFDZLWKWKLVH[WUHPHO\PHDQLQJIXOPHQWRULQJDZDUG


6LQFHUHO\<RXUV




             701 Tappan Avenue, R5312      |   Ann Arbor, Michigan 48109-1234   |   T:   |
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1247 of 1282

Faculty Mentor: Francesca Gino
Nominator:

)UDQFHVFDHPERGLHVDPHQWRUZKRSURYLGHVRXWVWDQGLQJLQWHOOHFWXDOVRFLDODQGPRUDOVXSSRUW
6KHSXVKHVKHUVWXGHQWVLQWHOOHFWXDOO\EXWDOVRPDNHVWKHPIHHOSV\FKRORJLFDOO\VDIH6KHJXLGHV
KHUVWXGHQWVZKLOHJLYLQJWKHPWKHIUHHGRPWRH[SORUHWKHLULQWHUHVWV6KHLVDIULHQGDQG
DGYRFDWH0RVWLPSRUWDQWO\VKHLVXQGHUVWDQGLQJGXULQJWLPHVRIKDUGVKLSDQGLVZLOOLQJWREH
YXOQHUDEOHZLWKKHUVWXGHQWV0DQ\SHRSOHLQWKHILHOGDUHOXFN\LIWKHLUDGYLVHULVDEOHWRIXOILOO
RQHRIWKHVHUROHVEXWRQO\VWXGHQWVZKRZRUNZLWK)UDQFHVFDKDYHWKHLQFUHGLEOHIRUWXQHWR
KDYHDQDGYLVHUZKRIXOILOOVDOORIWKHVHUROHVZHOO%HORZ,SURYLGHVRPHVWRULHVWKDWFDSWXUH
KRZLWKDVEHHQDWUXHSULYLOHJHWRKDYH)UDQFHVFDDVPHQWRU

0\ILUVWPHHWLQJZLWK)UDQFHVFDWRRNSODFHWKHKRXUDIWHUVKHDUULYHGLQ%RVWRQWRVWDUWKHU
SRVLWLRQDW+DUYDUG7KHIDFWWKDWZHPHWLPPHGLDWHO\DIWHUVKHDUULYHG²EHIRUHVKHHYHQJRWD
FKDQFHWRXQSDFNIURPKHUVXLWFDVHV²VKRZVKRZPXFKVKHSULRULWL]HVKHUUROHDVDQDGYLVHU
'XULQJWKDWILUVWPHHWLQJZHMXPSHGLQWRGLVFXVVLRQRIKRZ,FRXOGZRUNRQDQXPEHURI
GLIIHUHQWSURMHFWV)URPGD\RQH,IHOWOLNHVKHKDGDYHVWHGLQWHUHVWLQP\DFDGHPLF
GHYHORSPHQW

'XULQJP\ILUVW\HDU,KDGMXVWFROOHFWHGVRPHQHZGDWDIRUDSURMHFWDQGPHWZLWKKHUWRGLVFXVV
WKHUHVXOWV:DONLQJLQWRWKLVPHHWLQJ,H[SHFWHGDFRQYHUVDWLRQLQZKLFKZHZRXOGEURDGO\WDON
DERXWWKHUHVHDUFKILQGLQJVDQGQH[WVWHSV,QVWHDG)UDQFHVFDSURSRVHGWKDW,VLWGRZQDQGWDNH
QRWHVZKLOHVKHDQDO\]HGWKHGDWDZLWKPH$OWKRXJKWKHPHHWLQJZDVPHDQWWREHDQKRXULW
ODVWHGILYHKRXUVDQGWKHSULQFLSOHVWKDW,OHDUQHGIURPWKDWPHHWLQJVWLOODSSOLHVWRWKHUHVHDUFK
WKDW,FRQGXFWWRGD\

:KHQLWFDPHWLPHWRGHYHORSLQJP\GLVVHUWDWLRQ)UDQFHVFDDGDSWHGKHUDGYLVLQJVW\OHWRDOORZ
PHWRH[SORUHLQGHSHQGHQWO\DQGLPSRUWDQWO\DOVRIDLOLQDVDIHHQYLURQPHQW'XULQJP\ILUVW
GLVVHUWDWLRQSURSRVDOPHHWLQJ,SUHVHQWHGDQXPEHURILGHDVWKDWQHHGHGPRUHGHYHORSPHQW
:KHUHDVVRPHDGYLVHUVPD\KDYHIRFXVHGRQWKHVKRUWFRPLQJVRIWKHLGHDVRULQWHUYHQHGWRRIIHU
DGLUHFWHGSDWKRIKRZWRGHYHORSWKHVHLGHDVIXUWKHU)UDQFHVFDH[SUHVVHGFXULRVLW\LQDUHDVRI
SURPLVHDQGHQFRXUDJHGPHWRVWUXJJOHLQILQGLQJP\RZQVROXWLRQV6KHSDWLHQWO\OLVWHQHGWR
FRXQWOHVVLWHUDWLRQVRIP\LGHDVDQGLQHDFKFDVHVKHQHYHUPDGHPHIHHOLQFRPSHWHQWHYHQ
ZKHQWKHLGHDVZHUHQRWJRRG+HUJUHDWHVWJLIWWRPHZDVWKDWVKHEHOLHYHGLQPHHQRXJKWRJLYH
PHWKHIUHHGRPWROHDUQIURPP\RZQIDLOXUHV

%H\RQGWKHLQWHOOHFWXDOVXSSRUW)UDQFHVFDKDVDOVRSURYLGHGLQFUHGLEOHVRFLDODQGPRUDOVXSSRUW
:KHQHYHUZHDWWHQGHGDFRQIHUHQFHWRJHWKHURUDVSHDNHUZDVFRPLQJWRFDPSXVVKHFRQQHFWHG
PHWRLQGLYLGXDOVZLWKUHVHDUFKRYHUODSVRWKDW,FRXOGKDYHDUHVHDUFKFRPPXQLW\WKDWZRXOG
VWD\ZLWKPHEH\RQGJUDGXDWLRQ)UDQFHVFDKDVLQWURGXFHGPHWRDQXPEHURISHRSOHZKRDUH
OLIHORQJFROODERUDWRUVFROOHDJXHVDQGIULHQGV,DWWULEXWHPXFKRIP\FRQWLQXHGGHYHORSPHQWDV
DVFKRODUWRWKHFRPPXQLW\WKDWVKHKDVKHOSHGPHGHYHORS%H\RQGVRFLDOVXSSRUW)UDQFHVFD
DOVRSURYLGHGPRUDOVXSSRUWHVSHFLDOO\GXULQJFULWLFDOPRPHQWVRISHUVRQDOVWUXJJOH:KHWKHULQ
WKHIRUPRIRIIHULQJWRWDNHDVSLQQLQJFODVVWRJHWKHULQYLWLQJPHRYHUWRVSHQGWLPHZLWKKHU
IDPLO\RUUHYHDOLQJSHUVRQDOIDLOXUHVRIKHURZQ)UDQFHVFDDOZD\VNQHZKRZWRHQFRXUDJHDQG
PRWLYDWHPH

)RUDOORIWKHVHUHDVRQVDQGPRUH,EHOLHYHWKDW)UDQFHVFDLVPRVWGHVHUYLQJRIWKH$20
0HQWRULQJ$ZDUG
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1248 of 1282





-DQXDU\




'HDU$ZDUG&RPPLWWHH

,WLVP\JUHDWKRQRUWRUHFRPPHQG3URIHVVRU)UDQFHVFD*LQRIRUHDUQHVWFRQVLGHUDWLRQIRUWKH
$FDGHP\RI0DQDJHPHQW2%'LYLVLRQ0HQWRUVKLS$ZDUG

,ILUVWPHW)UDQFHVFDLQ²SULRUWRKHUPHWHRULFULVHLQWKHILHOG$WWKHWLPHVKHZDVRQWKHDFDGHPLF
MREPDUNHWDQGMXVWFRPLQJLQWRWKHVSRWOLJKWDV,ZDVVWDUWLQJP\GRFWRUDWH:HFRQQHFWHGRYHUDODE
PHHWLQJRI                  VWXGHQWVWKURXJKRXUPXWXDOLQWHUHVWLQEHKDYLRUDOHWKLFVDQGWKDWZDVWKH
EHJLQQLQJRIVHVVLRQVRIEUDLQVWRUPLQJWKDWOHGWRDVHULHVRIIUXLWIXOFROODERUDWLRQV

(YHQLQWKHYHU\EHJLQQLQJRIZRUNLQJWRJHWKHUGHVSLWHRXUJDSLQWUDLQLQJ)UDQFHVFDZDVWKHILUVW
FROODERUDWRUWRFKDOOHQJHPHWRWKLQNRIP\VHOIDVKHUSHHU6KHZHLJKHGP\LQSXWV²LQWRGHVLJQ
PHWKRGRORJ\OLWHUDWXUHDQDO\VLVDQGZULWLQJ²ZLWKDVPXFKFRQVLGHUDWLRQDVWKRVHRIPRUHVHQLRU
FROODERUDWRUVDQGIXOO\WUXVWHGLQP\DELOLW\WRFRQWULEXWHWRDOODVSHFWVRIRXUSURMHFWV+HUWUXVWLQP\RZQ
SRWHQWLDOFKDOOHQJHGPHWRPHHWKHUVWDQGDUGVDQGWRWKLQNDFWDQGZULWHDVKHUSHHU)UDQFHVFD
GLVWLQJXLVKHGKHUVHOIIURPP\RWKHUH[FHOOHQWPHQWRUV ,FRXOGQRWKDYHEHHQLQEHWWHUFRPSDQ\ WKURXJK
SODFLQJWKLVWUXVWYHU\HDUO\RQLQPHZKLOH,ZDVVWLOODQRYLFHJUDGXDWHVWXGHQW6KHLQYHVWHGLQPHWKURXJK
VSHQGLQJDWUHPHQGRXVDPRXQWRIWLPHWHDFKLQJDQGVKRZLQJPHWKHZRUNRIUHVHDUFKIURPZULWLQJ,5%
DSSOLFDWLRQVWRGHVLJQLQJH[SHULPHQWVWRFOHDQLQJDQGDQDO\]LQJGDWDVHWVDQGFRZULWLQJSDSHUV
VLPXOWDQHRXVO\LQWKHVDPHVSDFHVKHVSHQWGHGLFDWHGWLPHPHWLFXORXVO\WHDFKLQJPHDOODVSHFWVRIWKH
UHVHDUFKSURFHVVDOOZKLOHFKDOOHQJLQJPHWRVHUYHDVWUXHFRSLORWRIRXUSURMHFWV²QHYHUMXVWFDELQRU
FOHDQLQJFUHZ

:KHQHYHU)UDQFHVFDKDVFROODERUDWRUVPRUHMXQLRUWKDQVKHLVVKHLVDOOHUJLFWRUHFHLYLQJGXHFUHGLW,
EHOLHYHKHULPPHQVHFRQWULEXWLRQDQGGHGLFDWLRQWRVRPDQ\RIRXUPDQXVFULSWVWRJHWKHU DOORQZKLFK,
DSSHDUDVILUVWDXWKRU PRUHWKDQTXDOLILHVKHUIRUWKHILUVWDXWKRUSRVLWLRQ7KHPDLQUHDVRQP\QDPH
DSSHDUVUDWKHUWKDQRIKHUVDVILUVWDXWKRULVEHFDXVHKHUJHQHURVLW\DQGLQIOXHQFHDPRQJRXUFROODERUDWRUV
IDURXWZHLJKP\RZQ

)UDQFHVFDKDVEHHQVWHDG\LQKHUGHGLFDWLRQDQGFRPPLWPHQWWRKHUPHQWHHVWKURXJKRXWWKHDVWRXQGLQJULVH
RIKHUFDUHHU6KHKDVDOZD\VH[HPSOLILHGKRZWRWUXO\DGRSWDJURZWKPLQGVHW$VDFDGHPLFVZHPXVW
IDFHIUHTXHQWIDLOXUHLQWKHSURFHVVRIDWWHPSWLQJWRXQFRYHUQHZNQRZOHGJH)UDQFHVFD¶VGHWHUPLQDWLRQWR
SHUVHYHUHGHVSLWHQXPHURXVREVWDFOHVRQHHQFRXQWHUVLQWKHSXEOLVKLQJSURFHVVKDVVWXFNZLWKPHIRUJRRG
LWLVQRWHQRXJKWRKDYHDJRRGPLQG²EXWUDWKHUVXFFHVVLQDFDGHPLDUHTXLUHVQXPHURXVLWHUDWHGDWWHPSWV
FRXSOHGZLWKSDWLHQWRSWLPLVPWKDWDOPRVWHYHU\FDUHIXOO\FRQVLGHUHGSURMHFWFDQHYHQWXDOO\ILQGDJRRG
MRXUQDOWRFDOOKRPH7KHZLVGRPRIDGRSWLQJDJURZWKPLQGVHWLVDOLIHORQJOHVVRQ,HQGHDYRUWRSDVVRQWR
P\DGYLVHHV

)UDQFHVFDKDVEHHQDQH[HPSODU\FROODERUDWRUPHQWRUDQGIULHQG,EHOLHYHWKH2%'LYLVLRQ0HQWRUVKLS
$ZDUGLVDZHOOGHVHUYHGZD\WRFHOHEUDWH)UDQFHVFD¶VH[FHSWLRQDOFRPPLWPHQWWRKHUPHQWHHVWKURXJKRXW
KHUFDUHHU

$OOP\EHVW
           


BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                                     
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1249 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1250 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1251 of 1282




        #"""(*&$##$#&('!&#(%"!
!""&!$'!!+"#(*#"$!
&!#"#!#"!""!"(&("+#" $#
$##"!&""""!""!"!"+$#
&#!(("#+
        #!"*#!"#&!"##"#("
.$!#/+"#!###!!!*&"#"$!$#&
$"$##!"!!#"+!"&("####
"##("#!$##&("$!#
####%+ "#(#%%!"!!#"%!(
!(##!!!*$#"%$!#!$#"!
(!"!"&# $#(+#####%
"$"""&#!#!"!!""#("#"!"!
!#*"&##!"!%$!#!"
!!"!!#"+
        !"-"$!"!"'#(""
"##(#!#!#("+!'*&!"#"#!##
#!!!*&#"##"#(""*"&$"#&&#
!&#!$#"#"&##&(+
!!##%##(*&""$!!"##"$!,"#!"!
!"$###""##"##"#+"#&#(
%!#"!#"#"*&$!"$""""#"
!$#&#! $"#0!"!"1*!&##!!#$!
!"$#"*!&#"#!$#!+#!&!"*""#!!&%!
!*"&(""#"##!$#%&(!
#("+
          #!""&("%&!&#!""#!"!
$#(##"!#+%!#!$""&!$
#!)#+ "$!""#$#"#!#+!"#
#!#"#'!"(!"#(!&"#!#&#2!(!
"#$#!"!!#+#*!"!#!$$"#"!
%#"*"#!$"$"#!"!!"!#!""&#"!#!"#"*
&""!#&(#"#!#!#"+
          ####("$!$#"##!"&&("
#!+ ##!&$"(!"$""&#(##!
*$#"&$"!####$!!#$!$!
#"+ "%"!#%$#&#%#"*&#!!
!"##"*&##!"+"##!"!!#"
##&!"*"&("%!"#'""&#!!"!$#+
        ###!&&!#*#&"$##"!
!"+ "#(#!$#"!#!+ $!"
#"*#"$#*"#,##!"!#(#"#
&!$"#"(#!"#$#'!+ #"#!$#%
#!"(&"###!#!"+ """!*"
!#*$!&("!(##$"##*&"!*
"'#!!(##"+#!###$0##""%!
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1252 of 1282




#!!%!$"(##!($"1!#$""$#!
&!"$"#&!$+!($(#!"#$#!%
#&!&#!+"(##&!&#!*#($"""!#
"!$#"$""""$!#&!$!"+
         ($"$!($!"!#+
       
       "#&""*
       
       
                 
                                             
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1253 of 1282













                                 (;+,%,7
                                        
             (PDLO6KRZLQJ5$$FFHVVWR&RDXWKRU¶V4XDOWULFV$FFRXQW
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1254 of 1282
                                                             $!!" !!!#            


      #!
         "'("(&'+''#))#(*                 

 
        "
  &&'$

!

%, '+ &+&4', *+>*!+, $!&#&$'4!+$!+,'%6 &+9

http://rotman.az1.qualtrics.com/SE/?SID=SV_6zZcHkq5GhoLePb

 &+ %=
D &'&+&,'*%=, $'',''&+&,

D &'&+&,'*%= &, J2!'*!&'*%'&+&,J$!&#,' 6(*$!&#+', ,(*-!(&,+'2$$!#'&!,
&!%%!,$6!*,,', (> &''$ *'%!,'(&+2(!&&4,> &+*!&*'5!,'(&+!&
, +%,&6'2 3,'(*++, #2/'&,'*,2*&,', +2*36> 6'2, !&#, !+!+,'''&2+!&; &
"2+,,*!',  6(*$!&#&#(!, '4!,4+'*"2+,+($!&,5,>

D'2* &*'%J&',3*6$'+J,'J)2!&,&J4+2,'%-$$6(($!,', *+,', $$+>*
%#!&,  &;6'2"2+, ,'$!#'2,', )2+-'&'*!,,'**+ 9

D ,4'*#)2+-'&+E$$', %F= (2,, )2+-'&+!&$**'&,+', ,!(*-!(&,+ 3,'+*'$$2(,'*D*
, )2+-'&;!,4!$$('('2,,, %>

D ,4'*#)2+-'&+DD, $'+&++)2+-'&=  &, '**', 5($&-'&+' *$-'&+ !(,6(E>>;
J3'!*$-'&+ !(+*>>>JF,''&+!+,&,4!, , '**', +$$$+>'*!,+,*,4!, J3*6$'+
*$-'&+ !(+J*, *, &J3'!>J $+'',*!', 5,*4'*+&$!+,, %'2,%'*+&!-'&+> ,4+
"2+,0&,''4'*6& 4&,,'%#!,$''#$&*> ,%#&'4!6'2(**!,, '*!!&$46& I$$
 &!,#9




 & '&;NO;OMNR,Q=MP ;                                                             4*',=

  !

  

   +2*36$''#+*,9 &#6'2+'%2 '*, 2-2$4'*#>

  

  '&+4*6'2*)2+-'&+=

  D ,@++,&',,'*&'%!7, &,4'*#)2+-'&+>

  D ,@+'**+('&++>

  D $''#6'2 '+!+(*,>

                                                                                                                     "
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1255 of 1282



D %4'**!;,'';'2,, '+4 '$!+,'$','('($$'+!&,*#'4 ,)2+-'&+, 6*
&+4*!&> ,@++4 ,!3,*+'$#++6*(!$'-&, +2*36?



'*4+ *, $!&#4!, !3,*+; **'2($'&$ &+ @$!#,'%#=

D, $'',', !&,*'C'&+&,(

D($A ',3*6$'+B4!, A)2!&,&B!&, $'+&+++-'&E  &, *+,-%, ,+$!+
(*+&,;2,'2$&@,& '4,'*($$$, ', *+9

D ;!&, A #'4 '6'2#&'4B)2+-'&; @3*($A? 3!&!&,*,!*,$64!, , ,(*+'&;
!, *!&(*+'&'*3!*,2$$6B4!, A? 3!&!&,*,!*,$64!, , ,!&!3!2$;!, *!&(*+'&'*
3!*,2$$6B>



 &#+!&'*6'2**, $(9







                                                 
%*NN;OMNRN=MN
                                                               !&';*&+S!&'K +>2T
  +2*36**6,''9



!



#$''#,, +2*36&$,%#&'44 ,6'2, !&#*='*%0&;+!&;,>*!+, $!&#E6'2&$+'
'!&,'6'2*2$,*!+'2&,,'3!4!,F>



http://rotman.az1.qualtrics.com/SE/?SID=SV_6zZcHkq5GhoLePb



4, !&+,'&',=



D !&',*&'%!7, '**', &,4'*#)2+-'&+> , '2 ,!,4'2$+,,'#(, )2+-'&,6(+E, 
+,,%&,)2+-'&+&, !*,)2+-'&+F,', *,'3'!'&2+!'&> ,%#&'4!6'24&,,'*&'%!7
'%($,$6>&', *'(-'&!+,'*'2(, !*,)2+-'&+,', *&, +,,%&,)2+-'&+,', *;2,
*&'%!74!, !&*'2(+>*!++*&+ ',', ,'(-'&=



                                                                                                                !"
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1256 of 1282








D %$$', )2+-'&+'**+('&+>'43*;, *I+$+'J*)2+,*+('&+J'(-'&, ,+ '4+
%++4 &6'2,*6,'+2%!,2&&+4*)2+-'&+> %+++#+6'2,'*+('&2,$$'4+6'2,'
(*'4!, '2,&+4*!&, %>



D **3*!'2+J$''#&$J,%($,+,6$+>2+2$$62+($!&,*!-'&$'&+!&'2*$2, , !&#4 ,
+$,'*, !+'&%6/*2+!, ! $! ,+, )2+-'&4 &6'2+*'$$'3*, %> ,%#&'4
4 ,6'2I(**>



D (*-!(&,++$,$','('($, 6#&'4;, 64!$$ 3$'&$!+,'('($'*, &,4'*#)2+-'&+> %
4'**!'2,(*-!(&,+&',!&$,'+, )2+-'&, 6I*&+4*!&+, 6+*'$$'4&, (>
 *I+*$$6&'+'$2-'&'*, !+2, I%"2+,('!&-&!,'2,> 2+++$'&+, '**', ('($*
*&'%!7;, !+!+&I, 2!++2:










                                                                                                                  ""
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1257 of 1282













                                  (;+,%,7
                                       
                  (PDLO([FKDQJHZLWK+%65,2$ODLQ%RQDFRVVD
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1258 of 1282
                                                                !  "#       


      ')))     )))#"! !!%
          $& !-+&,*,,!-'--'-.  !$!
       &
        & 
   **+(

  !*&+7
  ''&3(,%2'0$$'*2&,,'$'!&,'4'0*'0&,'**+* !&,*!,4(0*('+9$+'7 
'!$+2'0$&1*+ *4'0**&-$+9 &,7 '&:,1& 1, %9 "0+, 1, !$!,4,'$'!&,'
&'0&,++4+,%%!&!+,*,'*0,, ,'+&',%&  14'0*$'!&*&-$+9$$', !+,'+4
, '*&+!*%2'0$&1*$,'++4'0*0$,*!+'0&,&'*2*, 41*(*'1!2!, 4'0*
$'!&!&'*%-'&9
$!&

!&'7*&+M!&'A +90N
  '&47,'*GE7FDFFG8GD
'&'++7$!&M'&'++A +90N
  8???     ???2%!&0,+,' ,6

(7'!&, ,&'29&'4'0#&'2!, ', *$'!&+!&, +0%%*2**'%, '*&+!*%6
 &#4'07
*&+



<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<
*&+!&'
&'&%!$4*'++'*'0+!&++%!&!+,*-'&
  *1*0+!&++ ''$
+!,8 /(8;;*&+!&'9'%;
2!/*8A*&+!&'
& !&# && &+,*%
   '+,&,''#8          
3,$#8   

@'&'++7$!&@M'&'++A +90N
   '&47,'*GE7FDFF,E8FL
*&+!&'M!&'A +90N
  8???     ???2%!&0,+,' ,6

  !*&+7

+74'0& &4'0*0$,*!+(++2'*=& :*'%%&&',+ *!&!,2!, ', *+>9 :%*&
%!&!+,*,'*+' '0$++4'0*'0&,7!, *2+&*$,,'*+* !&,*!,49

 &#+7
$!&

!&'7*&+M!&'A +90N
  '&47,'*GE7FDFFE8FG

                                                                                                                 
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1259 of 1282


'&'++7$!&M'&'++A +90N
  8???     ???2%!&0,+,' ,6

 &#4'07$!&9

  "0+,%,2!,  & &$$%4(++2'*+'*$'!&!&,'%4'%(0,*&'0&,+9& $+''
 & &%40$,*!+(++2'*6
   ''#!&,*&,$'!&+, **1*!'0+/%(,+,'$'!&,'%4'0&,, ,*&',*'%%9'4'0&
%4'0&,!&'*%-'&'* %'# &!&(++2'*6 ,$''#+$!#4'0%4 1$'!&2!, ,2'
!*&,'0&,+9

  $+'$*&*'%0$,*!+, , '!&+*'&$4*&,+'%!&'&$4'#,', +0%%*'FDFF72 !
!+,''0&'*,0&,9

 &#+'*$*!4!&9
*&+






                                                                                                           
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1260 of 1282





<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<<
*&+!&'
&'&%!$4*'++'*'0+!&++%!&!+,*-'&
  *1*0+!&++ ''$
+!,8 /(8;;*&+!&'9'%;
2!/*8A*&+!&'
& !&# && &+,*%
   '+,&,''#8          
3,$#8   

@'&'++7$!&@M'&'++A +90N
   '&47,'*GE7FDFF,J8HF
*&+!&'M!&'A +90N
  8???     ???2%!&0,+,' ,6

''%'*&!&7*&+9

"0+,*!1, '*&+!*('*,'*$$-'&G7+' 2!$$+&!&, ,,'4'01!,', *2!, 
&'-'+$! , &!&, $$-'&G$&0!,+$9

$+$,%#&'2!4'0 1&4)0+-'&+'*!4'0 1,*'0$++!&, $+9

 &#+7
$!&

!&'7*&+M!&'A +90N
 *!47,'*FK7FDFFK8IL
'&'++7$!&M'&'++A +90N
  8???     ???2%!&0,+,' ,6

   , +%!++02!, , %!$+0, 2+$,''(&, +9 &#4'07
*&+



                                                                                                             !
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1261 of 1282













                                  (;+,%,7
                                        
          (PDLO6KRZLQJ6KDULQJRI4XDOWULFV/RJLQ,QIRUPDWLRQE\2WKHUV
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1262 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1263 of 1282













                                  (;+,%,7
                                       
                (PDLO6KRZLQJ-RLQW:RUNZLWK              
            Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1264 of 1282
                                                                      


   
       #!#!"$ "#$"%"    

      

&--0

8"/5&%50,/08)088&8"/550130$&&% &3&*45)&-*45  )"5$"/%0



65)&/5*$*59.03"-*59;

/90631-"5&

49$)0-0(*$"-08/&34)*1

&/59065)&%3"'50/90631-"5& 8&/&&%5046#.*55)*4

;130.*4&,&&1*/(1*&$&
/90631-"5&

6*-5$0/530- 

           &."*-&%"/%"4,&%"26&45*0/ 8*--83*5&615)&-"45456%9'033&7*40/ 

./&4*"

           "5"$0--&$5*0/ $"/9065",&$"3&0'*5

65)&/5*$*5913040$*"-.05*7"5*0/

           "5"$0--&$5*0/ $"/9065",&$"3&0'*5

/4536.&/5"-/&5803,*/(

           /90631-"5&803,*/(0/            4%3"'5

03103"5&13"$5*$&4)05-*/&%"5"&5$

           08&8"/55045"355)*/,*/("#065"/% &"3&13&4&/5*/(5)*4*/'*3458&&,0'&#36"39

           90646((&45&%8&%&%*$"5&  4505)*4#65%0/05,/088)"550"4,5)&.50%09&5

0..*5.&/5%3*'5

           0--&$5*/(%"5"

0%&40'$0/%6$530+&$58*5)!67"-

           8*--$0--&$5.03&%"5"8"*5*/('039063'&&%#"$,

)94*0%"5"

           "5""/"-94*4

*4/&9
8"*5*/(0/4 ""35&/&."*-&%64906)"7&/053&410/%&%

  *130





                                                                                                                       
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1265 of 1282













                            (;+,%,76$$1'%
                                      
          (PDLO([FKDQJHV%HWZHHQ              DQG5$           
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1266 of 1282
                                                         $" "# "!!% &       


     % "    !#
      #$  ))$*()+ )(%(,%+-  # 

 
       $
  !# & "

!7

BB/1632>:3/A347<2B63+BC2GA</>A6=B4=@=C@ABC2G 



A4=@B63/<AE3@AB=B63?C3AB7=<A4=@B67AABC2G

(@=D723/=<3>/@/5@/>623A1@7>B7=<=43/163F>3@7;3<B

        'C@5=/:7AB=C<23@AB/<2/CB63<B717BG/A/>AG16=:=571/:AB/B3 /<2B631=<A3?C3<13A=4433:7<5
        7</CB63<B71=@/CB63<B71 -3B3ABE63B63@/CB63<B717BG;/93A/>3@A=<>AG16=:=571/::G>@3A3<BE67:3
        7</CB63<B717BG7;>/7@A1=5<7B7=< %=@3=D3@ E3;3/AC@3A/:73<13=4;=@/:5=/:A/AE3::/A;=@/:
        /BB3<B7D3<3AA 

 7D34C::/113AAB=G=C@AC@D3GA=<:7<3

        ,63AC@D3G7A1/::32HCB63<B717BG:=E =/:@323<B7/:$* +3> I"E7::A6/@37BE7B6G=C7</
        ;7<CB3/B                  "4G=C2=<=BA337B >:3/A3:3B;39<=E 

7@31B*, %327/$/0 /<G3FB@/1=;>3<A/B7=<4=@>/@B717>/B7=<7<G=C@

ABC2G >/G4=@>3@4=@;/<13 574BA AC0831B@3AB@71B7=<A A>317/:

23;=5@/>671A =B63@A>317/:/@@/<53;3<BA 3B1 

        &=A>317/:7<AB@C1B7=<A

,63A3;/G@3?C7@3/27443@3<B>@=13AA>:3/A327A1CAA034=@3B632C3

2/B3 "4G=C2=<=B2=B67A B63@3?C3AB;/G<=B03>@=13AA32 /<2B63

ABC2G;/G<=B037<1:C2327<B63A3AA7=<

    !/D3G=C@C<B67AABC2G034=@3=@/<=B63@ABC2GA7;7:/@3<=C56B6/B

G=C2=<BE/<BB63A/;3>/@B717>/<BA"4A= =<E6/B2/B3A

        &=

+3<2+*&+!',+=43/16ABC2G7<(=E3@(=7<B 03AC@37B7A4=@;/BB32

B=A6=EB63>/@B717>/<BAD73E=4B63A1@33< "<1:C23B634=::=E7<5

7<4=@;/B7=<

        BB/1632



                                                                                                            !#
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1267 of 1282
      Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1268 of 1282


+C0831B*3&3FB$*ABC2G

"/;11 7<5     E6=1/<B3::CA 

@=;
/B3-32<3A2/G C5CAB  (%
,= 7<= @/<13A1/457<=60A 32C;/7:B=457<=60A 32C
+C0831B&3FB$*ABC2G

!7@/<13A1/

"8CABE/<B32B=A/GB6/B"/;B67<97<5=42=7<5/A6=@BABC2G=<=C@723//0=CB;=@/:5=/:A7<$*
B6@=C56       =G=C9<=EE63<7AB63<3FB2/B/1=::31B7=<




                                                                                                        ##
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1269 of 1282
                                                               #!!" !#$#         


      
           """ !# $#!$#      

 
         
          !

 "      

0!)%,'-!-37,'),!(-<,(+-!',5+-(-!*3,.(',


+(4"(')+ +)!,+").('(!6)+"&'-

+5"' ('+'-+,+!"'&(+%),7!(%( 7:5)+()(,-!-3-!'."-7","+-%7%"'$-(&(+%"-7<
6)%(+-!",%"'$7"'4,. .' !(5)()%+--(-!+-,-(-!"+3-!'."-7<+.")'-,++'(&%7,," '
-(+%%"+'-,"-3.(','-!'-!"+,,""%"-7(%',"' >+%-(')-,,5%%,-!"+!%)"' !4"(+
",&,3+<+ 3-!-%',"' ,"+", '+.4)+(,,%"'$"' "'3-!'."-75"-!&(+%(&)',.('
,3!-!--!+(3 !"-!+-!())(+-3'"-7-()!7,"%%7%',(',%(+)+(,("%!4"(+)()%(&)',-(+
-!"+"'3-!'."-7<(+3%(3--!"-!-+%%"' '7' .44'-'%-(-!,&-,:5&)%(7
E?4%'(6)+"';)(,".44,<' .4@E?('-6-;3-!'.4,<-,-@-5'>,3#-,," '<

AA"43%%,,-(7(3+,3+47,('%"'

-!,3+47('&7(3'-%%C3-!'."-7>5"-!"%3+=,3,,('".(', C< 5"%%,!+"-5"-!7(3"'
&"'3--                  7(3('(-,"-:)%,%-&$'(5<

AA(7(3''7-!"' ,)"%?< <'7,(5+(-!+-!'

"+-= " :'76-+(&)',.('(+)+.").('"'7(3+

,-37=)7(+)+(+&': ",:,3#-+,-+".(',:,)"%

&( +)!",:(-!+,)"%++' &'-,:-<@9

'-!,-37-(-!%,-(',"'5,$(+)+.")'-,F!%)'-!(,5!( +5"%%',5+5
*3,.(',<

HHH!,&7+*3"+"+'-)+(,,AA)%,",3,,(+-!3

-< 7(3('(-(-!",:-!+*3,-&7'(-)+(,,:'-!

,-37&7'(-"'%3"'-!,,,"('<

>> 47(3+3'-!",,-37(+?(+'(-!+,-37,"&"%+'(3 !-!-

7(3('B-5'--!,&)+.")'-,@9 ,(:('5!--,9

 (

AA'  (!,-37"'(5+("'-:,3+"-",(+&0

-(,!(5-!)+.")'-,4"5(-!,+'< '%3-!(%%(5"'

"'(+&.(';

                                                                                                                        !
         Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1270 of 1282


0!

>> 7(3!4%(-(+)..4*3,.(',:7(3'3,,(&6&)%,

',+"-!+,-<,+""+',-5'('".(',<'-!

+,-) (!,-(,+',!(-,:"'"--!(%%(5"' ;

>> &(-!6)+"&'-

>> &,(%%+,+!+,"'4(%4

>>&(3'-(.&"-5"%%-$)+.")'-,-((&)%-

AA+(4"%"'$(+!5>,,-37:'"+-= " %,

>>!,3+47,!(3%!4('%7('%"'$?5!"!%"'$,-(%%('".(',@<

AA3%-+",1' ,

>>)-&3%.)%+,)(',,('-!,&(&)3-+?3%-+",;('B-

,%-C (%%(-,-3' C@

>>('(-&$'7*3,.(',+*3"+

>>"+,-*3,.('(+"'>%,-3",,!(3%C!-",7(3+  

'3&+9C

>>('(-3,-!'$7(3) 

>>(3%!$7(3+%"'$,',3+47,1' ,

('


%,%-&$'(5"7(3''7&(+"'(+&.('< ,.%%'-("& ,-(-!)+(3-!(",--!'(
,3+47<5(3%-!-($79

,-:




                                                                                                                !!
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1271 of 1282













                                    (;+,%,7
                                        
         (PDLO([FKDQJHV%HWZHHQ                 DQG5$         
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1272 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1273 of 1282
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1274 of 1282













                                 (;+,%,7
                                      
            (PDLOIURP5$          7DONLQJ$ERXW5$V+HOSLQJ+HU
             Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1275 of 1282
                                                                      "  #"# !       


    
      $(%#$'% &) %*   


    

    !

*:+ +3'1$3')#"1*+&=$* 2+ *  + !)!&2'!*+'%=

 !&2'!** '1$%'1++'<

'+%& ''$'&%&+
NMR+=')+=
')'&+':RPS
&

&5+ &#*8


              E%!$+'<1&4()!%&+)H%!$='%F
  &1)5ANRANQT<NN

 )&*!&';
  <*+15

+L

,ZRQ WEHDEOHWRVHQG\RXDQLQYRLFHGLUHFWO\IURP.HQDQ)ODJOHUEXW,FDQKDYHHDFK5$VHQG\RX
DQLQGLYLGXDOLQYRLFHIURPWKHP:LOOWKDWZRUN"



                                                                              
                                                                
                                                                 


            

2Q-DQDW30                             ZURWH


             !
         
          &#*')+ !*!&(1+='1$ *#5'1&+ +'!&2'!%++ &!2)*!+5'')'&+''&
         + *+15!*'%($+:& ?$$ 2'1)'1&+*(5$()'**+ !&2'!*9
         
         *+:

         

                                                                                                                         "
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1276 of 1282


                                                           
  &1)5ANMANQT<MQ
!&':)&*
 
  <*+15

+L)UDQFL

7KDW VKDUGWRVD\

%HVWFDVHVFHQDULRDFRXSOHKRXUVIRUDGPLQVWXIIDQGPD[ILOOUDWH KUV ZRXOGEHXQGHU
KUV
2IFRXUVHZHGRQ WDOZD\VILOODQGKDYHDPHGQRVKRZUDWHVRWKDWQHHGVWRJHWIDFWRUHG
LQ

,ZLOOOLNHO\WU\WRGHOHJDWHDVPXFKRIWKLVDVSRVVLEOH6R,ZRXOGHVWLPDWHVRPHZKHUH
EHWZHHQKUV
SUREDEO\IDOOLQJVRPHZKHUHLQWKHPLGGOHDWDUDWHRIKU

/HWPHNQRZLIWKDWPDNHVVHQVH



                                                                      
                                                        
                                                         


        

2Q-DQDW30*LQR)UDQFHVFDZURWH




        
        &5'1*,%++ %'1&+' '1)*5'1&+ 3'1$3')#!&9
          + +!*'#3!+ 5'1:  3'1$(5')+ @5'1)'*+*:& 3'1$(5')+ 
        *+15= 4(&**3'1$%1 *!)+' &$>
        
        )&!
        
                   W1&4()!%&+)H%!$='%X
          '&5: &1)5S:OMNQP<OP




                                                                                                 "
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1277 of 1282
Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1278 of 1282
        Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1279 of 1282


                               !
                           
                               8
                           
                             %3)!,&+'*!3'1$)1&*+15++ !*
                           %'&+ =)+ *+1&+*#9
                             5'1& $(1*3!+ + !*: &*&5'1+!$
                           *)!(,'&'+ *+15%+)!$*=
                           
                            &#*8
                           )&*
                           
                           B '+()'%'++'+&1):1$$
                           ()'**')!&%)<AD58
                           
                           AAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAA
                           AAAA
                           )&*!&'
                           **'!+)'**')'1*!&**
                           %!&!*+),'&
                             )2)1*!&** ''$
                           *!+< .(<@@)&*!&'='%@
                           3!.)<H)&*!&'
                           ''#< 
                           
                      
                  
                
                W+15*!&='4X
           
    





                                                                                        ""
    Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1280 of 1282













                                 (;+,%,7
                                      
             (PDLOIURP5$          $ERXW81&,5%$SSOLFDWLRQV
          Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1281 of 1282
                                                          !  "!#!        


   %  
    !$  !),$)'(+)%+'%** 

                $$$



.!!! -  !%!$!%! $ !!'$
!! %-

  '! *


             0!,$&!2-1
  $'/69/586,47
 +
 
  %, "

6685<+*9+99/549;6'4*8;44/4-4+>:=++18'4)/)'4?5;9+4*3+').+)1
,586'8:/)/6'4:6'?3+4:'9'6

$.'419


                                                                   
                                                    
                                                     


        

+-/4,58='8*+*3+99'-+


        From: IRB <irb_no_reply@mailserv.unc.edu>
        Subject: IRB Notice
        Date: January 27, 2014 3:27:00 PM EST
        To:
        Cc:




                                                                                                             
     Case 1:23-cv-11775-MJJ Document 20-5 Filed 10/10/23 Page 1282 of 1282


    7R
    .HQDQ)ODJOHU%XVLQHVV6FKRRO

    )URP2IILFHRI+XPDQ5HVHDUFK(WKLFV

    'DWH
    5(1RWLFHRI,5%([HPSWLRQ
    ([HPSWLRQ&DWHJRU\6XUYH\LQWHUYLHZSXEOLFREVHUYDWLRQ
    6WXG\

    6WXG\7LWOH,QVWUXPHQWDO1HWZRUNLQJ

    7KLVVXEPLVVLRQKDVEHHQUHYLHZHGE\WKH2IILFHRI+XPDQ5HVHDUFK(WKLFVDQGZDV
    GHWHUPLQHGWREHH[HPSWIURPIXUWKHUUHYLHZDFFRUGLQJWRWKHUHJXODWRU\FDWHJRU\FLWHG
    DERYHXQGHU&)5 E 

    6WXG\'HVFULSWLRQ

    3XUSRVH7RVHHLIVRFLDOQHWZRUNLQJIRUSURIHVVLRQDOJDLQPDNHVLQGLYLGXDOVIHHOPRUDOO\
    DQGSK\VLFDOO\XQFOHDQDQGWRH[DPLQHKRZWKHDPRXQWRISRZHUDSHUVRQKDVZKHQ
    HQJDJLQJLQWKLVNLQGRIQHWZRUNLQJDIIHFWVWKHLUIHHOLQJVRIGLUWLQHVV

    3DUWLFLSDQWV$SSUR[LPDWHO\LQGLYLGXDOVDJHV


    3URFHGXUHV PHWKRGV 6XEMHFWVZLOOWDNHDOHDGHUVKLSTXHVWLRQQDLUH:LWKLQWKH
    TXHVWLRQQDLUHVXEMHFWVZLOOEHQRWLILHGRIWKHLUDVVLJQPHQWWRDQHPSOR\HHRUPDQDJHUUROH
    IRUDIXWXUHJURXSWDVNKRZHYHUWKHJURXSWDVNZLOOQRWDFWXDOO\WDNHSODFH7KHQ
    VXEMHFWVZLOOXVHHLWKHUWKHLU/LQNHGLQRU)DFHERRNDFFRXQWWRVHQGDPHVVDJHWRDSHUVRQ
    RIWKHLUFKRRVLQJWKHPHVVDJHLVLQWHQGHGWREXLOGDSURIHVVLRQDO /LQNHGLQ RUSHUVRQDO
     )DFHERRN UHODWLRQVKLS6XEMHFWVZLOOWKHQSHUIRUPDZRUGFRPSOHWLRQWDVNLQGLFDWHWR
    ZKDWH[WHQWWKH\DUHIHHOLQJVHYHUDOHPRWLRQVUDWHWKHGHVLUDELOLW\RIYDULRXVSURGXFWVDQG
    UHSRUWKRZSRZHUIXOWKHUROHDVVLJQPHQWDWWKHEHJLQQLQJPDGHWKHPIHHO



    ,QYHVWLJDWRU¶V5HVSRQVLELOLWLHV

    ,I\RXUVWXG\SURWRFROFKDQJHVLQVXFKDZD\WKDWH[HPSWVWDWXVZRXOGQRORQJHUDSSO\\RX
    VKRXOGFRQWDFWWKHDERYH,5%EHIRUHPDNLQJWKHFKDQJHV7KH,5%ZLOOPDLQWDLQUHFRUGV
    IRUWKLVVWXG\IRU\HDUVDWZKLFKWLPH\RXZLOOEHFRQWDFWHGDERXWWKHVWDWXVRIWKHVWXG\

    3OHDVHEHDZDUHWKDWDSSURYDOPD\VWLOOEHUHTXLUHGIURPRWKHUUHOHYDQWDXWKRULWLHVRU
    JDWHNHHSHUV HJVFKRROSULQFLSDOVIDFLOLW\GLUHFWRUVFXVWRGLDQVRIUHFRUGV HYHQ
    WKRXJKWKHSURMHFWKDVGHWHUPLQHGWREHH[HPSW

    &&
                 .HQDQ)ODJOHU%XVLQHVV6FKRRO,5%,QIRUPDWLRQDO0HVVDJHSOHDVHGRQRW
    XVHHPDLO5(3/<WRWKLVDGGUHVV






                                                                                                       
